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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


 LIBERTY RESOURCES, INC.;
 DISABLED IN ACTION OF
 PENNSYLVANIA, INC;                                  :         Case Number
 PHILADELPHIA ADAPT; TONY                            :         19-cv-3846
 BROOKS; LIAM DOUGHERTY; FRAN                        :
 FULTON; and LOUIS OLIVO                             :         SETTLEMENT AGREEMENT
                                                     :
                             Plaintiffs,             :

         V.

 CITY OF PHILADELPHIA,

                              Defendant.


                              I.      PRELIMINARY MATTERS
       A.      Plaintiffs in this matter are Tony Brooks, Liam Dougherty, Fran Fulton, Louis

Olivo, Liberty Resources, Inc., Disabled in Action of Pennsylvania, Inc., and Philadelphia

ADAPT. Defendant in this matter is the City of Philadelphia (“the City”), a public entity. The

City and the Plaintiffs shall be referred to in this Settlement Agreement (“Agreement”)

individually as a “Party” and collectively as the “Parties.”

       B.      Tony Brooks, Liam Dougherty, Fran Fulton, and Louis Olivo are individuals with

an impairment or impairments that affect their mobility and who use or will use pedestrian rights

of way in the City of Philadelphia (“Individual Plaintiffs”). Each of the Individual Plaintiffs is

an individual with a disability within the meaning of Section 3(2) of the Americans with

Disabilities Act of 1990, 42 U.S.C. §§ 12101, 12102 (“ADA”) and Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. §§ 705(20), 794(a) (“Section 504”). Plaintiffs Liberty

Resources, Inc., Disabled in Action of Pennsylvania, Inc., and Philadelphia ADAPT are




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organizations within the City of Philadelphia who provide services to and/or advocate on behalf

of people with disabilities (“Organizational Plaintiffs”).

       C.      On July 7, 2020, this Court certified this case as a class action pursuant to Federal

Rule of Civil Procedure 23(a) and (b)(2). The certified class is defined as a class of all persons

with disabilities or impairments that affect their mobility—including, for example, people who

use wheelchairs or other mobility devices, as well as those who are blind or have low vision—

and who use or will use pedestrian rights of way in the City of Philadelphia. The Court

appointed Plaintiffs Liberty Resources, Inc., Disabled in Action of Pennsylvania, Inc.,

Philadelphia ADAPT, Tony Brooks, Liam Dougherty, Fran Fulton, and Louis Olivo as class

representatives. David Ferleger and Disability Rights Advocates were appointed as class counsel

(“Class Counsel”).

       D.      During the pendency of this Action, the Parties undertook extensive fact and

expert discovery and engaged in extensive discussions regarding a potential resolution and

settlement of the alleged claims, including in mediation before Magistrate Judge Elizabeth Hey.

As a result of such discussions, the Parties now wish to effect a complete resolution and

settlement of the claims, disputes, and controversies relating to the allegations of Plaintiffs and

the Settlement Class, and to resolve their differences and disputes by settling such claims,

disputes, and controversies under the terms set forth in this Agreement.

       E.      In entering into this Agreement, the Parties intend to resolve any and all claims

that either were or could have been asserted in this Action on behalf of individuals with Mobility

Disabilities with respect to the City’s Pedestrian Facilities, subject to the Release of Claims set

forth in Section 12 below.




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       F.      In entering into this Agreement, the City does not admit that it has violated or

failed to comply with, or has any liability to Plaintiffs or the Settlement Class under, any

provisions of the ADA, Section 504, or any applicable laws of the State of Pennsylvania relating

to accessibility for persons with Mobility Disabilities to the City’s Pedestrian Facilities, any

regulations or guidelines promulgated pursuant to those statutes, or any other applicable laws,

regulations, or legal requirements. The City expressly denies and disputes, and continues to

deny and dispute, the claims and contentions by Plaintiffs, and does not admit any liability to

Plaintiffs or the Settlement Class. Neither this Agreement nor any of its terms or provisions, nor

any of the negotiations connected with it, shall be construed as an admission or concession by

the City of any such violation or failure to comply with any applicable law. This Agreement and

its terms and provisions shall not be offered or received as evidence for any purpose whatsoever

against the City in any action or proceeding, other than a proceeding to enforce the terms of this

Agreement. By entering into this Agreement, the Plaintiffs do not concede any lack of merit in

their allegations as stated in their Complaint as to the Defendant’s alleged non-compliance with

Title II of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., as amended, and the

Rehabilitation of 1973, 29 U.S.C. § 794, as amended, et seq., and their implementing regulations.

       G.      Section titles and other headings contained in this Agreement are included only

for ease of reference and shall have no substantive effect.

                                      II.     AGREEMENT
1.     Definitions

       1.1.    “Access” or “Accessible” or “Accessibility”, unless otherwise indicated, means

conditions that comply with the requirements of the Americans with Disabilities Act (“ADA”),

42 U.S.C. § 12101, et seq.; the ADA’s implementing regulations, codified at 28 C.F.R. Ch. 1, Pt.

35, et seq.; and the standards set forth in the 2010 ADA Standards for Accessible Design,


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including but not limited to equivalent facilitation and construction tolerances, codified at 28

C.F.R. § 35.151 and 36 C.F.R. part 1191, and Appendices B and D (hereafter “2010 ADA

Standards”).

       1.2.    “Accessibility Score” means the score developed by the City based on census and

survey information to assign weight to intersections based on their importance for the pedestrian

circulation of persons with disabilities. The City shall consider the incorporation of additional

criteria into the Accessibility Score based on relevant feedback from Plaintiffs after the Request

System begins operating.

       1.3.    “Americans with Disabilities Act” or “ADA” means the Americans with

Disabilities Act of 1990, 42 U.S.C. § 12101, et seq., and the 2010 ADA Standards.

       1.4.    “Best Efforts” means each Party will, to the extent of its own capabilities, take all

reasonable actions to perform an obligation in good faith.

       1.5.    “Compliant Curb Ramp” means any curb ramp which complies with the 2010

ADA Standards.

       1.6.    “Effective Date” means the date of the District Court’s final approval of the

Agreement.

       1.7.    “Federal Aid Municipality” or “FAM Network” or “FAM” means the network of

streets within the City’s geographic boundaries, which the City partially funds in conjunction

with the federal government as identified in the City’s geographic information system, currently

reflected in the list attached to this Agreement as Exhibit A.

       1.8.    “Installation” or “Install” means the construction of a Compliant Curb Ramp at a

location where no curb ramp previously existed.




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       1.9.    “Local Streets Network” means the network of streets within the City’s

geographic boundaries for which the City is solely responsible for resurfacing and funding as

identified in the City’s geographic information system, currently reflected in the list attached to

this Agreement as Exhibit B.

       1.10.   “Maintenance” or “Maintain” means any work undertaken to ensure existing curb

ramps are operable. Such work shall include, but not be limited to, the clearing of debris or

objects from the path of travel on a curb ramp, asphalt adjustments, repairing damaged detectable

warning surfaces, and patching concrete defects.

       1.11.   “Mobility Disability” or “Mobility Disabilities” means any impairment or medical

condition that limits a person’s ability to walk, ambulate, maneuver around objects, or to ascend

or descend steps or slopes. A person with a Mobility Disability may or may not use a

wheelchair, scooter, electric personal assisted mobility device, crutches, walker, cane, brace,

orthopedic device, or similar equipment or device to assist their navigation along a pedestrian

walkway, or may be semi-ambulatory. Mobility Disability includes vision impairments that limit

mobility.

       1.12.   “Pedestrian Facility” or “Pedestrian Facilities” means any curb ramps,

crosswalks, sidewalks, pathways, or other structures or walks used by pedestrians that are, in

whole or in part, owned, controlled, or maintained by or otherwise within the Right of Way,

responsibility, or geographic boundaries of the City of Philadelphia.

       1.13.   “PennDOT” means the Pennsylvania Department of Transportation.

       1.14.   “Post Construction Inspection Form” means a PennDOT CS-4401 Post

Construction Inspection Form, substantially in the form attached to this Agreement as Exhibit C,

or any other form adopted by PennDOT or the City for the purpose of post-construction




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inspection of curb ramps to document conformity with City, PennDOT, and 2010 ADA

Standards, as applicable. The City shall notify Plaintiffs if any substantive changes are made to

the Post Construction Inspection Form during the Settlement Period.

       1.15.   “Related Entities” means any and all departments, divisions, agencies, bureaus,

commissions, offices, corporations, commissioners, officers, employees, agents, representatives,

board members, officials, assigns, assignors, attorneys, affiliates, predecessors, successors,

employee welfare benefit plans, pensions, or deferred compensation plans (and their trustees,

administrators, and other fiduciaries) of the City and any other person or entity acting or

purporting to act by, through, under, in concert with or on behalf of the City, or any of them,

with respect to the matters described in this Agreement.

       1.16.   “Remediation” or “Remediate” means any work undertaken with regard to a

location with an existing curb ramp that results in a Compliant Curb Ramp.

       1.17.   “Right of Way” means the surface of and space above and below any real

property within the geographic boundaries of the City in which the City has a regulatory interest,

or interest as a trustee for the public, as such interests now or hereafter exist, including, but not

limited to, all streets, highways, avenues, roads, alleys, sidewalks, pedestrian and vehicle tunnels

and passageways, concourses, viaducts, bridges, and skyways under the control of the City.

       1.18.   “Section 504” means Section 504 of the Rehabilitation Act of 1973, codified at 29

U.S.C. § 794, et seq.

       1.19.   “Technical Infeasibility Form” means a PennDOT Technical Infeasibility Form,

substantially in the form attached to this Agreement as Exhibit D, or any other form adopted by

PennDOT or the City for the purpose of documenting technical infeasibility of curb ramps. The




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City shall notify Plaintiffs if any substantive changes are made to the Technical Infeasibility

Form during the Settlement Period.

       1.20.   “Year” means a Fiscal Year of the City of Philadelphia, which runs from the first

day in July to the last day in June, unless otherwise specified. For example, Fiscal Year 2023

begins on July 1, 2022, and ends on June 30, 2023.

2.     Settlement Period

       This Agreement shall become effective on the Effective Date and shall remain in effect

for 15 years. If Class Counsel dispute that the Installation or Remediation of Compliant Curb

Ramps has been completed, this Agreement shall remain in effect pending the conclusion of any

dispute resolution proceedings or action to enforce the Agreement. The foregoing time period is

referenced herein as the “Settlement Period.”

3.     New Construction, Alterations, and Maintenance

       3.1.    For the duration of the Settlement Period, whenever the City (or a third-party

acting on the City’s behalf) newly constructs a road or street with a pedestrian walkway, it will

Install accessible curb ramps, as required by 28 C.F.R. § 35.151(a), except where the City can

demonstrate that Installation of accessible curb ramps is technically infeasible or where the City

has banned pedestrian crossing for all pedestrians due to safety concerns.

       3.2.    For the duration of the Settlement Period, whenever the City (or a third-party

acting on the City’s behalf) alters a road or street with a pedestrian walkway, it will Remediate

existing but non-compliant curb ramps, and/or Install new accessible curb camps, as required by

28 C.F.R. § 35.151(b), except where the City can demonstrate that Remediation or Installation of

accessible curb ramps is technically infeasible or where the City has banned pedestrian crossing

for all pedestrians due to safety concerns.




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       3.3.     Any treatment installed to indicate that the City has banned pedestrian crossing

for all pedestrians at a particular location shall be consistent with PennDOT standards and in the

sole discretion of the City.

       3.4.     For the duration of the Settlement Period, the City shall maintain curb ramps over

which it has responsibility in operable working condition as required by 28 C.F.R. § 35.133.

4.     Curb Ramp Obligation

       4.1.     Beginning on the Effective Date, the City shall ensure the Installation or

Remediation of at least 10,000 curb ramps by the end of the Settlement Period (the “Curb Ramp

Obligation”).

       4.2.     For the purposes of this Agreement, the Curb Ramp Obligation includes the

Installation and Remediation of curb ramps anywhere within the City, whether as part of street

resurfacing on the Local or FAM Streets Networks, through the Request System set forth under

Section 5, or as a result of any other third-party activity within the City for which the City

requires a Compliant Curb Ramp, including, for example, work done by utilities, Related

Entities, and in conjunction with development projects.

       4.3.     The City shall fulfill the Curb Ramp Obligation in Section 4.1 in accordance with

the following schedule of tri-annual milestones for curb ramp Installation or Remediation:

                4.3.1. 2,000 curb ramps by the end of Year three (3);

                4.3.2. 4,000 curb ramps by the end of Year six (6);

                4.3.3. 6,000 curb ramps by the end of Year nine (9);

                4.3.4. 8,000 curb ramps by the end of Year twelve (12); and

                4.3.5. 10,000 curb ramps by the end of Year fifteen (15).




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       4.4.    The tri-annual milestones set forth in Section 4.3 are cumulative such that, if in

any given milestone period the City exceeds the milestone for the Installation or Remediation of

curb ramps, excess curb ramps shall count towards the satisfaction of any following milestone.

For example, if the City has ensured the Remediation of 2,125 curb ramps by the conclusion of

Year 3, ensuring the Installation or Remediation of an additional 1,875 curb ramps during Years

4, 5, and 6 would satisfy the milestone of 4,000 curb ramps by the conclusion of Year 6.

       4.5.    There will be instances when it will be technically infeasible for a curb ramp

Installed or Remediated to be constructed in full and strict compliance with the requirements of

the 2010 ADA Standards because of physical or site constraints. In such circumstances, the City

must Install or Remediate curb ramps that provide Accessibility to the maximum extent feasible.

Before reaching a conclusion about technical infeasibility, the City will consider the extent to

which physical or site constraints can be addressed by alternative curb ramp designs as

documented by a Post Construction Inspection Form and Technical Infeasibility Form.

5.     Curb Ramp Request System

       5.1.    By the conclusion of Year 3 following the Effective Date and through the end of

the Settlement Period, the City shall enable City residents to submit requests for the Installation,

Remediation, or Maintenance of a curb ramp at any crossing on the Local Streets Network or

FAM streets (the “Request System”).

       5.2.    The City shall not be obligated to Install or Remediate more than fifty (50) curb

ramps under the Request System in any given Year.

       5.3.    The City shall not be obligated to Maintain more than fifty (50) curb ramps under

the Request System in any given Year.




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       5.4.    Requests may be submitted by City residents using the City’s existing 311 service

request system via website, dedicated mobile phone application, telephone, or in person.

Plaintiffs and Settlement Class members shall not be restricted from using the Request System.

       5.5.    Requests submitted shall be investigated as follows:

               5.5.1. The City will use Best Efforts to investigate each request within thirty (30)

days of the date the request was received.

               5.5.2. Investigations shall include a determination of whether any existing curb

ramp requires Maintenance or Remediation, or for requests regarding any location without an

existing curb ramp, whether a curb ramp should be Installed.

               5.5.3. Existing curb ramps with damaged detectable warning surfaces, in need of

asphalt adjustments to address excessive lips or drainage at the base of the curb ramp, or other

repairs that can be fixed with concrete patches, or where the path of travel is blocked by debris or

objects, shall be scheduled for Maintenance. No work described in this Section shall constitute

an Alteration under 28 C.F.R. § 35.151.

               5.5.4. Existing curb ramps that have serious cracking or damage, or other major

structural defects, will be scheduled for Remediation.

               5.5.5. Locations without an existing curb ramp that serve a pedestrian crossing

shall be scheduled for Installation unless the pedestrian crossing has been banned due to safety

concerns. A crossing ban shall only be implemented, however, after an investigation and

approval by a professional engineer. Investigation determinations shall be in the sole discretion

of the City; however, such discretion shall not alter the City’s obligations under Section 5. The

investigation determination, or need for additional information, shall be communicated to the

requestor after the investigation is complete.




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       5.6.    Where the City has identified Installation, Remediation, or Maintenance is

required in response to a request regarding a curb ramp at any crossing on the Local Streets

Network the City shall perform such work as soon as practicable but no later than the following

timelines:

               5.6.1. The City shall use Best Efforts to complete Maintenance within nine (9)

months of the conclusion of an investigation.

               5.6.2. The City shall use Best Efforts to complete Installation or Remediation

within twelve (12) months of the conclusion of an investigation unless (a) site-specific

conditions, such as a limited right of way or existing utilities, buildings, walls, or vaults, require

the curb ramp to be designed prior to construction; or (b) the curb ramp location is on a street

scheduled to be resurfaced within the next twelve (12) months. For such curb ramp locations,

the City shall use Best Efforts to complete Installation or Remediation within twenty-four (24)

months of the conclusion of an investigation. In the event that site-specific conditions prevent

the City from Installing or Remediating a curb ramp within twenty-four (24) months, despite

Best Efforts, the City shall notify the person who made the request and complete such work

within a reasonable period of time given the nature of the conditions.

       5.7.    Work performed in response to requests regarding a curb ramp at any crossing on

the Local Streets Network shall be prioritized in accordance with the following:

               5.7.1. Generally, the City shall prioritize work performed in response to requests

based on the order in which the requests were received.

               5.7.2. Should the City receive requests that warrant Installation, Remediation, or

Maintenance in excess of the limits described in Sections 5.2 and 5.3, such work shall be

prioritized based on (a) the Accessibility Score, or an equivalent accessibility need metric, for




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that curb ramp location; and (b) whether the curb ramp location in question serves a crossing on

a street scheduled for resurfacing within twelve (12) months of the conclusion of the

investigation. The City shall make the methodology used to develop the Accessibility Score or

equivalent accessibility need metric public on the City’s official website.

          5.8.   Sections 5.6 and 5.7 shall only apply to curb ramps crossing the Local Streets

Network and shall not apply to any other streets network within the City.

          5.9.   Where the City has identified Installation, Remediation, or Maintenance is

required in response to a request regarding a curb ramp at any crossing on the FAM Network, the

City shall perform such work subject to funding and contract requirements applicable to FAM

projects.

6.        Reporting

          6.1.   The City shall make publicly available the number and location of curb ramps for

which the City has noticed work to proceed for Installation or Remediation within a reasonable

time period after the finalization of any such notice to proceed for the duration of the Settlement

Period.

          6.2.   The City shall make publicly available on an annual basis a single Status Report

containing:

                 6.2.1. The number and location of curb ramps the City has ensured have been

Installed or Remediated, over the prior year, whether as part of street resurfacing on the Local or

FAM Streets Networks, through the Request System set forth under Section 5, or as a result of

any other third-party activity within the City for which the City requires a Compliant Curb

Ramp, including, for example, work done by utilities, Related Entities, and in conjunction with

development projects for the duration of the Settlement Period.




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               6.2.2. The number and location of curb ramps for which the City has noticed

work to proceed for Installation or Remediation within the prior year as part of street resurfacing

on the Local or FAM Streets Networks or through the Request System set forth under Section 5.

               6.2.3. The number, location, and basis of any banned pedestrian crossings.

       6.3.    Each Status Report will be made available to the public on the City’s website in a

format that complies with the Web Content Accessibility Guidelines published by the Web

Accessibility Initiative (WAI) of the World Wide Web Consortium. Each Status Report will also

be made available to Class Counsel, together with a declaration that the information therein

accurately reflects the City’s business records.

       6.4.    The City will provide to Class Counsel the Post Construction Inspection Forms

and Technical Infeasibility Forms, if applicable, upon reasonable request.

       6.5.    Within forty-five (45) days of the Effective Date of the Agreement, the City will

provide Class Counsel with copies of the current version of the Post Construction Inspection and

Technical Infeasibility Forms, and any standard curb ramp design plans used by the City.

7.     Training

       The City shall ensure that City personnel involved with any curb ramp Installation,

Remediation, or Maintenance performed by the City shall be trained regarding such work and

any relevant requirements as set forth under this Agreement, including ADA accessibility laws

regarding curb ramps.

8.     Force Majeure

       Any obligation on the City set forth in this Agreement may be postponed or altered if the

postponement or alteration is caused or attributable to a force majeure (that is, due to acts of

God, war, government regulations (other than regulations promulgated by the City), terrorism,




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disaster (including power outages), strikes, civil disorder, recession, government declared fiscal

emergency, pandemic or other emergency beyond the City’s control that makes it illegal or

impossible for the City to perform any such obligation. Any postponement or alteration of an

obligation or obligations set forth in this Agreement as a result of an event outlined in this

section shall only impact the relevant obligation or obligations and shall not impact any other

unaffected obligation the City has agreed to undertake in this Agreement. If any event in this

paragraph impacts the City’s ability to meet its tri-annual milestones, such milestones shall be

extended by the duration of any such event.

       Notwithstanding this Section, Plaintiffs may challenge a postponement or alteration of

any obligation under this Agreement using the dispute resolution process outlined at Section 13.

9.     Enforcement

       The Parties agree to and request that the U.S. District Court for the Eastern District of

Pennsylvania retain jurisdiction over this matter for the purposes of enforcement of the terms and

conditions of this Settlement Agreement, or any extension thereof. Notwithstanding the

foregoing, this provision shall not prevent the Parties from seeking legal recourse under federal

or state law for a breach of the terms herein.

10.    Inspection

       Throughout the Settlement Period, the Plaintiffs, Class Counsel, and/or any third party

hired by Plaintiffs or Class Counsel may inspect work done in the City’s pedestrian rights of way

to install Compliant Curb Ramps, or to Remediate and repair non-compliant curb ramps in order

to monitor compliance with the Agreement. Any review by Plaintiffs, Class Counsel, and/or a

third party shall be undertaken in a manner to assure it will not unreasonably interfere with the

City’s operations.




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11.    Attorneys’ Fees and Costs

       11.1.    The Parties agree that as a complete and total resolution of any and all attorneys’

fees and costs to be sought in connection with this Action, except as provided in Sections 11.3

and 11.4, the City shall pay to Class Counsel the sum of $1,100,000 for all attorneys’ fees, costs,

and expenses.

       11.2.    Conditioned upon the District Court granting Final Approval of this Agreement,

the City shall deliver payment in the amount agreed in Section 11.1 within forty-five (45)

business days of the Effective Date.

       11.3.    The City shall pay Class Counsel their reasonable attorneys’ fees, expenses, and

costs incurred for performing all work reasonably necessary to monitor, implement, and

administer the Agreement subject to a tri-annual cap of $60,000. Class Counsel’s costs may

include reasonable payment to a third party retained to provide technical expertise in monitoring

the Agreement.

       11.4.    In the event that Plaintiffs seek to enforce the Agreement as set forth in Section

13.3, reasonable fees and costs shall be awarded for relief granted by the Court. The City shall

be entitled to an award of reasonable fees and costs only if Plaintiffs’ enforcement action is

frivolous, unreasonable, or without foundation.

12.    Release of Claims

       12.1.    Effective upon entry of judgment of Final Approval of the Agreement by the

District Court, and in consideration for the City’s commitments set forth in the Agreement, each

of the Individual and Organizational Plaintiffs, on behalf of themselves and their respective

heirs, assigns, successors, executors, administrators, agents, and representatives, (“Plaintiff

Releasing Parties”) will, upon the Effective Date, fully and finally release, acquit and discharge




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the City from any and all claims, allegations, demands, damages, charges, complaints, actions,

lawsuits, rights, liabilities, losses, injuries, obligations, disputes and causes of action of any kind,

and whether known or unknown, suspected or unsuspected, asserted or unasserted, or actual or

contingent, for monetary, injunctive, declaratory, or other relief, however described, that were

brought, could have been brought, or could be brought now or in the future by the Plaintiff

Releasing Parties that in any way relate to or arise from any of the City’s or Related Entities’

alleged actions, omissions, incidents, or conduct under the ADA, Section 504, or similar statutes

related to the Accessibility, Installation, Remediation, or Maintenance of the City’s Pedestrian

Facilities at any time prior to the end of the Settlement Period (the “Plaintiff Released Claims”).

Such Plaintiff Released Claims, however, shall not include any claims to enforce the terms of

Agreement.

        12.2.   Effective upon entry of judgment of Final Approval of the Agreement by the

District Court, and in consideration for the City’s commitments set forth in the Agreement, the

members of the Settlement Class, on behalf of themselves and their respective heirs, assigns,

successors, executors, administrators, agents, and representatives, (“Class Member Releasing

Parties”) will, upon the Effective Date, fully and finally release, acquit and discharge the City

from any claim for injunctive or declaratory relief that arises from any of the City’s or Related

Entities’ alleged actions, omissions, incidents, or conduct under the ADA, Section 504, or similar

statutes related to the Accessibility, Installation, Remediation, or Maintenance of the City’s

Pedestrian Facilities, at any time prior to the end of the Settlement Period (the “Class Member

Released Claims”).

        12.3.   The Release provided in this Section is expressly intended to assure that no

further lawsuits for Plaintiff Released Claims or Class Member Released Claims are maintained




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or instituted at any time during the Settlement Period and that the City will not be subject to

conflicting judgments regarding the ADA-compliance or Accessibility of the City’s Pedestrian

Facilities. The Parties agree that during the Settlement Period, the Plaintiff Releasing Parties and

the Class Member Releasing Parties will therefore refrain and forbear from commencing,

instituting, or prosecuting any lawsuit, action, or other proceeding, in law, equity or otherwise,

against the City and its Related Entities arising out of or relating to any of the Plaintiff Released

Claims or Class Member Released Claims, including, without limitation, an action claiming that

this Agreement was fraudulently induced. The Parties agree that monetary damages alone are

inadequate to compensate for injury caused or threatened by a breach of this covenant not to sue,

and that preliminary and permanent injunctive relief restraining and prohibiting the prosecution

of any action or proceeding brought or instituted in violation hereof is a necessary and

appropriate remedy in the event of such a breach or threatened breach. Such covenant not to sue,

however, shall not include any claims to enforce the terms of this Agreement.

       12.4.   With respect to any claim to enforce the terms of this Agreement, the Parties

agree that no claim, action, or proceeding alleging any violation of or failure to perform any

provision of this Agreement shall be filed, commenced, or maintained unless and until the Parties

have complied with all of the Dispute Resolution procedures set forth in Section 13 below.

13.    Dispute Resolution

       13.1.   Meet and Confer Obligation: If any Party believes that a dispute exists relating to

any violation of or failure to perform any of the provisions of the Agreement (“Dispute”), it shall

notify the other Party in writing and describe the alleged violation or failure to perform with

particularity. For any Dispute relating to the compliance of a curb ramp Installed or Remediated

under this Agreement, such notice must occur within two (2) years of the date the curb ramp was




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Installed or Remediated. For all other Disputes relating to obligations under this Agreement,

such notice must occur within one (1) year of the date when the party knew or should have

known about the alleged violation. The Party alleged to have committed the violation or failure

to perform shall provide a written response within fifteen (15) business days of receipt of such

notice and shall have a period of forty-five (45) days from receipt of notice from the other Party

that they have violated or failed to perform to cure the alleged violation or failure to perform. If

the Party alleging a violation or failure to perform maintains that the violation or failure to

perform has not been cured, the Parties shall meet and confer and attempt to resolve the Dispute

on an informal basis for a period of no more than sixty (60) days following the expiration of the

time to cure the alleged violation, unless the parties mutually agree to an extension. Each party

shall bear its own costs during this process.

       13.2.   Mediation Obligation: If the Parties are unable to resolve a Dispute through the

meet and confer process described above, the Parties shall mediate in an effort to resolve the

matter. The Parties shall have thirty (30) days to jointly select a mediator. The mediation shall

be conducted in the manner determined by the mediator, and the Parties shall engage in good

faith efforts to resolve the Dispute through such mediation. The Parties shall bear their own

costs during the mediation and any costs associated with the mediator shall be equally divided

between the Parties. If the Parties are unable to resolve a Dispute through mediation within 120

days of initiating mediation, either Party may enforce the agreement as provided in Section 13.3.

       13.3.   Agreement Enforcement Following Mediation: If the Parties are unable to resolve

a Dispute through the mediation process described above, either Party may provide the other

with written notice of its intent to enforce the Agreement. Thereafter, either Party may file a

motion with the District Court to enforce the Agreement.




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       13.4.   Governing Law: The terms of this Agreement shall be construed pursuant to the

laws of the State of Pennsylvania with respect to principles of common law contract

interpretation, and in accordance with the substantive law of the ADA and Section 504, as

applicable.

14.    Settlement Approval Process

       14.1.   Court Approval: This Agreement will be subject to approval by the District Court.

However, nothing in this Agreement will be deemed to authorize the District Court to change or

modify any of its terms. Any change, modification, or rejection of any of the provisions of this

Agreement by the District Court or any other court will constitute a material modification of this

Agreement, will prevent the Judgment from becoming Final, and will give any Party the right to

terminate this Agreement in its entirety.

       14.2.   Preliminary Approval by the District Court: Within fifteen (15) days of

circulating the fully executed Agreement, the Plaintiffs and the City will jointly submit a request

to the District Court for Preliminary Approval of this Agreement, along with a request for an

order from the District Court (substantially in the form attached to this Agreement as Exhibit E)

(the “Preliminary Approval Order”): (i) preliminarily approving this Agreement;

(ii) conditionally certifying the Settlement Class; (iii) appointing the Plaintiffs as class

representatives for the Settlement Class; (iv) appointing Class Counsel to represent the

Settlement Class; (v) directing notice to the Settlement Class as provided in this Agreement;

(vi) setting forth procedures and deadlines for objections as provided in this Agreement; (vii)

scheduling a Fairness Hearing; and (viii) enjoining Settlement Class members from asserting or

maintaining any claims to be released by this Agreement pending the Fairness Hearing.




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       14.3.   Conditional Certification of Settlement Class: The Parties acknowledge and agree

that the Court has certified a class in this case and agree that the Settlement Class is identical to

the class previously certified by the Court: all persons with disabilities or impairments that affect

their mobility—including, for example, people who use wheelchairs or other mobility devices, as

well as those who are blind or have low vision—and who use or will use pedestrian rights of way

in the City of Philadelphia. The Parties further agree that the Settlement Class will be

conditionally certified, in accordance with the terms of this Agreement, for the purposes of

effectuating the settlement embodied in this Agreement.

       14.4.   No Opt-Out: The Parties agree that the Settlement Class will be certified in

accordance with the standards applicable under Rule 23(b)(2) of the Federal Rules of Civil

Procedure and that, accordingly, no Settlement Class member may opt out of any of the

provisions of this Agreement.

       14.5.   Notice to Settlement Class: The Parties will jointly request approval by the

District Court of notice to the Settlement Class as set forth in this Section 14.5.

               14.5.1.    Following the District Court’s issuance of the Preliminary Approval

Order, the Parties will provide notice of the proposed Agreement, advising the members of the

Settlement Class of the terms of the proposed Agreement and their right to object to the proposed

Agreement. Such notice will include the terms required by the District Court, which are

anticipated to be as follows: (i) a brief statement of this Action, the settlement embodied in this

Agreement, and the claims released by the Settlement Class; (ii) the date and time of the Fairness

Hearing and/or Final Approval Hearing of the proposed Agreement; (iii) the deadline for

submitting objections to the proposed Agreement; and (iv) the web page, address, and telephone




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numbers that may be used to obtain a copy of the Settlement Agreement (substantially in the

form attached to this Agreement as Exhibit F).

                 14.5.2.     The Notice of Settlement will be published as follows:

                           14.5.2.1.     Within twenty (20) days after the District Court has issued

the Preliminary Approval Order, the City will cause a copy of the Notice of Settlement in

English and Spanish and a copy of the Settlement Agreement to be posted and remain posted on

the City’s official website (www.phila.gov) through the deadline for any member of the

Settlement Class to submit an objection.

                           14.5.2.2.     Within twenty (20) days after the District Court has issued

the Preliminary Approval Order, each firm making up Class Counsel will post on its website a

copy of the Notice of Settlement in English and Spanish (as provided by the City) and a copy of

the Settlement Agreement. Additionally, Class Counsel will distribute the Notice of Settlement

to local disability rights organizations.

                           14.5.2.3.     Within thirty (30) days after the District Court has issued

the Preliminary Approval Order, the City will cause the Notice of the Settlement to be published

in a main local media outlet in English and Spanish, and/or as the District Court may otherwise

order.

         14.6.   Objections to the Agreement: Members of the Settlement Class will have an

opportunity to object to the proposed Agreement but may not opt-out. The Parties will request

that the District Court order the following procedures for assertion of objections, if any, to the

Agreement:




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               14.6.1. Any Settlement Class member may object to this Agreement by mailing

written objections to the District Court at least thirty (30) days before the Fairness Hearing, with

a copy of such objections mailed concurrently to Class Counsel and Counsel for the City.

               14.6.2. With respect to any and all objections to this Agreement received by Class

Counsel, Class Counsel will provide a copy of each objection to counsel of record for the City,

by messenger delivery or electronic-mail delivery, within two (2) court days after receipt of such

objection.

               14.6.3. Responses by Class Counsel and/or the City to any timely-filed objections

will be filed with the District Court in conjunction with the Parties’ motion for final approval, or

as otherwise ordered by the Court.

       14.7.   Additional Steps: The Parties will take all procedural steps regarding the Fairness

Hearing that may be requested by the District Court and will otherwise use their respective best

efforts to consummate the settlement embodied in this Agreement, and to obtain approval of this

Agreement, and entry of the Judgment.

       14.8.   Fairness Hearing: The Parties will jointly request that the District Court schedule

and conduct a Fairness Hearing to decide whether Final Approval of the Agreement will be

granted. At the Fairness Hearing, the Parties will jointly move for entry of the Judgment

(substantially in the form as attached to this Agreement as Exhibit G), providing for: (i) Final

Approval of this Agreement as fair, adequate, and reasonable; (ii) final certification of the

Settlement Class for settlement purposes only; (iii) final approval of the form and method of

notice of the Judgment to the Settlement Class; (iv) final approval of the appointment of Class

Counsel for the Settlement Class; (v) final approval of the appointment of Plaintiffs as class

representatives of the Settlement Class; (vi) final approval of the release of the City from the




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Plaintiff Released Claims and Class Member Released Claims; (vii) final approval of the Parties

and all members of the Settlement Class to be bound by the Judgment; (viii) final approval of

attorneys’ fees and costs, and (ix) the District Court’s retention of jurisdiction over the Parties to

enforce the terms of the Judgment throughout the Settlement Period.

       14.9.   Media Communications Regarding Settlement: The Parties agree that after the full

execution of this Agreement, they and their respective counsel may issue a press release and

discuss the settlement set forth in this Agreement with the media but will use their best efforts to

refrain from disparaging the other Parties or their counsel in connection with the settlement and

the matters set forth in this Agreement.

       14.10. Waiver: The failure of any party to assert any of its rights hereunder shall not

constitute a waiver of such rights.

       14.11. Final Approval.

               14.11.1.        The Parties agree that, upon Final Approval the District Court will

enter the Judgment under Rule 54(b) of the Federal Rules of Civil Procedure (substantially in the

form attached to this Agreement as Exhibit G) dismissing this Action with prejudice.

               14.11.2.        Should the District Court deny the Parties’ request to enter the

Judgment, should this Agreement not receive Final Approval by the District Court for any

reason, or should this Agreement not become Final for any reason in accordance with its terms:

(i) this Agreement will be null and void and of no force and effect; (ii) nothing in this Agreement

will be deemed to prejudice the position of any of the Parties with respect to any matter; and

(iii) neither the existence of this Agreement, nor its contents, will be admissible in evidence,

referred to for any purpose in any litigation or proceeding, or be deemed an admission by the

City of any fault, wrongdoing, or liability.




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                 14.11.3.      This Agreement, upon Final Approval, will be binding upon the

City, Plaintiffs, and all Settlement Class members and, to the extent specifically set forth in this

Agreement, upon Class Counsel; will extinguish all Plaintiff Released Claims and Class Member

Released Claims and will constitute the final and complete resolution of all issues addressed

herein. This Agreement is the complete and final disposition and settlement of any and all

Plaintiff Released Claims and Class Member Released Claims, as detailed in Section 12.

15.    Notices

       All notices, demands, or other communications to be provided pursuant to this

Agreement shall be in writing and delivered by registered or overnight mail to the following

persons and addresses (or such other persons and addresses as any Party may designate in

writing from time to time):

 For the City:                                      For the Plaintiffs:

 Diana P. Cortes                                    Meredith J. Weaver, Senior Staff Attorney
 City Solicitor                                     Disability Rights Advocates
 Benjamin Field                                     2001 Center Street, Fourth Floor
 Chief Deputy City Solicitor                        Berkeley, CA 97404
 Sean McGrath                                       mweaver@dralegal.org
 Deputy City Solicitor                              (510) 665-8644
 City of Philadelphia Law Department
 1515 Arch Street, 15th Floor
 Philadelphia, PA 19102                             David Ferleger
 (215) 683-5038                                     620 W. Mt. Airy Ave.
 Sean.McGrath@phila.gov                             Philadelphia, PA 19119
                                                    (215) 498-1777
                                                    http://www.ferleger.com
 Kymberly K. Evanson
 Paul Lawrence
 Pacifica Law Group LLP
 1191 Second Avenue, Suite 2000
 Seattle, WA 98101
 (206) 245-1700
 Kymberly.Evanson@pacificalawgroup.com




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16.    Authority

       Each of the Parties represents, warrants, and agrees that he, she, they, or it has the full

right and authority to enter into this Agreement, and that the person executing this Agreement

has the full right and authority to commit and bind such Party.

17.    Entire Agreement

       This Agreement, and the documents attached to or expressly referred to in this

Agreement, constitute the final and complete written expression and exclusive statement of all

the agreements, conditions, promises, representations, and covenants between the Parties with

respect to the matters referenced in this Agreement, and supersede all prior or contemporaneous

negotiations, promises, covenants, agreements or representations of any nature whatsoever with

respect to such matters, all of which are superseded by this Agreement. Each of the Parties

understands and agrees that in the event of any subsequent litigation, controversy, or dispute

concerning any of the terms, conditions or provisions of this Agreement, no Party shall be

permitted to offer or introduce any oral evidence concerning any oral promises or oral

agreements between the Parties relating to the subject matters of this Agreement not included or

referred to in this Agreement and not reflected in a writing. This Agreement cannot be amended,

modified, or supplemented except by a written document signed by all of the Parties and

approved by the District Court.

18.    Authorization and Execution in Counterparts

       The Parties have read and understood this Agreement, have had the opportunity to

discuss same with legal counsel, and have voluntarily agreed to sign the Agreement and agree to

be bound thereby. Each person executing this Agreement on each party’s behalf has been duly

authorized to sign on behalf of the respective party and to bind each to the terms of the

Agreement. The Parties agree that this Agreement may be executed in counterparts, each of


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             which shall be deemed an original but all of which together shall constitute but one and the same

            instrument. The Parties agree that this Agreement may be executed by electronic means. The

            Parties agree and acknowledge that a photocopy, facsimile copy, or scanned copy of an executed

            signature may be used in place of an original executed signature for any purpose.

                     IN WITNESS WHEREOF, the Parties hereto have approved and executed this

            Agreement on the dates set forth opposite their respective signatures.

                     EXECUTED by the Parties as follows:

            DATED:      ________                       2022   THE CITY OF PHILADELPHIA
                           October 12, 2022

                                                                    DIANA P. CORTES
                                                  _,


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                                                                    Citv Sdolicitor
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            DATED: ________ , 2022                            LIBERTY RESOURCES, INC., individually and as
                                                              a Representative of the Class

                                                              By:
                                                                        Thomas Earle, CEO


            DATED: ________, 2022                             DISABLED IN ACTION OF PENNSYLVANIA,
                                                              INC., individually and as a Representative of the
                                                              Class

                                                              By:
                                                                        Latoya Maddox, President


            DATED: -------� 2022                              PHILADELPHIA ADAPT, individually and as a
                                                              Representative of the Class

                                                              By:
                                                                        German Parodi, Organizer

            DATED: ________ 2022                              By:
                                                                        TONY BROOKS, individually and as a
                                                                        Representative of the Class




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            which shall be deemed an original but all of which together shall constitute but one and the same

            instrument. The Parties agree that this Agreement may be executed by electronic means. The

            Parties agree and acknowledge that a photocopy, facsimile copy, or scanned copy of an executed

            signature may be used in place of an original executed signature for any purpose.

                    IN WITNESS WHEREOF, the Parties hereto have approved and executed this

            Agreement on the dates set forth opposite their respective signatures.

                    EXECUTED by the Parties as follows:

            DATED: ____________________, 2022                THE CITY OF PHILADELPHIA
                                                                  DIANA P. CORTES
                                                                  City Solicitor

                                                             By:    ___________________________

                        October 13, 2022
            DATED: ____________________, 2022                LIBERTY RESOURCES, INC., individually and as
                                                             a Representative of the Class

                                                             By:    ___________________________
                                                                    Thomas Earle, CEO

                        October 13, 2022
            DATED: ____________________, 2022                DISABLED IN ACTION OF PENNSYLVANIA,
                                                             INC., individually and as a Representative of the
                                                             Class

                                                             By:    ___________________________
                                                                    Latoya Maddox, President

                        October 12, 2022
            DATED: ____________________, 2022                PHILADELPHIA ADAPT, individually and as a
                                                             Representative of the Class

                                                             By:    ___________________________
                                                                    Germán Parodi, Organizer
                       October 13, 2022
            DATED: ____________________, 2022                By:    ___________________________
                                                                    TONY BROOKS, individually and as a
                                                                    Representative of the Class




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                        October 12, 2022
            DATED: ____________________, 2022                By:    ___________________________
                                                                    LIAM DOUGHERTY, individually and as a
                                                                    Representative of the Class
                        October 13, 2022
            DATED: ____________________, 2022                By:    ___________________________
                                                                    FRAN FULTON, individually and as a
                                                                    Representative of the Class

            DATED: ____________________, 2022                By:    ___________________________
                                                                    LOUIS OLIVO, individually and as a
                                                                    Representative of the Class

            APPROVED AS TO FORM:

            DATED: ____________________, 2022                PACIFICA LAW GROUP LLP

                                                             By:    ___________________________
                                                                    Kymberly Evanson
                                                                    Attorneys for City of Philadelphia
                         October 12, 2022
            DATED: ____________________, 2022                DISABILITY RIGHTS ADVOCATES

                                                             By:    ___________________________
                                                                    Meredith J. Weaver
                                                                    Attorneys for Plaintiffs/Class
                         October 12, 2022
            DATED: ____________________, 2022                DAVID FERLEGER LAW OFFICE

                                                             By:    ___________________________
                                                                    David Ferleger
                                                                    Attorney for Plaintiffs/Class




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     Case 2:19-cv-03846-HB Document 142-4 Filed 10/14/22 Page 29 of 690




DATED: ____________________, 2022   By:    ___________________________
                                           LIAM DOUGHERTY, individually and as a
                                           Representative of the Class

DATED: ____________________, 2022   By:    ___________________________
                                           FRAN FULTON, individually and as a
                                           Representative of the Class

        October 13
DATED: ____________________, 2022   By:    ___________________________
                                           LOUIS OLIVO, individually and as a
                                           Representative of the Class

APPROVED AS TO FORM:

DATED: ____________________, 2022   PACIFICA LAW GROUP LLP

                                    By:    ___________________________
                                           Kymberly Evanson
                                           Attorneys for City of Philadelphia

DATED: ____________________, 2022   DISABILITY RIGHTS ADVOCATES

                                    By:    ___________________________
                                           Meredith J. Weaver
                                           Attorneys for Plaintiffs/Class

DATED: ____________________, 2022   DAVID FERLEGER LAW OFFICE

                                    By:    ___________________________
                                           David Ferleger
                                           Attorney for Plaintiffs/Class




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            DATED:_ _ _ _ _ _
                            __, 2022                         By:
                                                                    LIAM DOUGHERTY, individually and as a
                                                                    Representative of the Class

            DATED: ________. 2022                            By:
                                                                    FRAN FULTON, individually and as a
                                                                    Representative of the Class

            DATED: ________.2022                             By:
                                                                    LOUIS OLIVO, individually and as a
                                                                    Representative of the Class

            APPROVED AS TO FORM:

            DATED: _October 12, 2022
                       ______        _, 2022                 PACIFICA LAW GROUP LLP

                                                             By:
                                                                    Kymberly Evanson
                                                                    Attorneys for City of Philadelphia

            DATED: _              _, 2022
                             ______                          DISABILITY RIGHTS ADVOCATES

                                                             By:
                                                                    Meredith J. Weaver
                                                                    Attorneys for Plaintiffs/Class

            DATED:      _________, 2022                      DAVID FERLEGER LAW OFFICE

                                                             By:
                                                                    David Ferleger
                                                                    Attorney for Plaintiffs/Class




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   EXHIBIT A
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Federal Aid Routes in Philadelphia

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                                                                                                          18TH
                  57TH




                                                                                              21ST 23RD




                                                                                                                      4TH




                                   SPRUCE
                                                                      34TH




                               CEDAR
                                                                                                            16TH
                                               49
                       57




                                                                                                                             SOUTH
                                                 TH
                          TH




                                                                 LD




                                                                                                            WASH
                                                                                                                 IN            GTON
                                                          WARFIE
                                    58




                                                                                                                             5TH 6TH




                                                                                               TASKER
                                          TH




                                                                                                                             FRONT




                                                                                                                                                                                                                19TH


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                              LA
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                      O              IS              ST
                                                                                          OR E GO                                                                                                    RACE                                                                               L
              W                BU                                                                            N                                                                                              RACE
                  70




                                                                                                                                                                                                                                                                       5TH




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                                                                                          20TH




                                                                                                                                                                                                22ND




                                                                                                                                                                                                                                                                                2ND
                                                                                                                                                                                                       20TH




                                                                                                                                                                                                                                                         7TH
                                                                                                                       7TH




                                                                                                                                                                                                                                                    8TH 9TH
                                                                                                                                                                                                                                             11TH
                                                                                                                                                                                                                18TH



                                                                                                                                                                                                                                     13TH




                       GH                                                                                 PATTISO
                                                                                                                                                                                                                       16TH




                                                                                                                                                                                                                                                                       4TH




             R                                                                                                    N
          BE
                                                                                  26TH




                                                                                                                                                                                           23RD




                                                                                                                                                                                                                                                                                FRONT




    ND
                                                                                                    BROAD




  LI                                                                                                                                                                                            SPRUCE  LOCUST
                               BAR
                                  T           RAM                                                                                                                                           LOMBAR
                                                                                                                                                                                                                                                                        3RD




                                                                                                                                                                                                  D     PINE
                                                                                                                                                                                                                                                                 5TH
                               ISL




                                                                                                                                                                                                                                                          7TH




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                                    AN
                                        D




                                                                                                                                                                                                                                                                                                Created by AN - 12/08/2015
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Street                        FAM#    From                     To
ADAMS AVE                     G131    CASTOR AVE               SUMMERDALE AVE
ALBURGER AVE                  G174    PINE RD                  WELSH RD
ALGON AVE                     G123    LEVICK ST                BENTON AVE
AMERICAN ST                   G523    CADWALLADER ST           W INDIANA AVE
                              G525    W GIRARD AVE             CADWALLADER ST
                              G570    W CAMBRIA ST             W INDIANA AVE
                              G718    W LUZERNE ST             W HUNTING PARK AVE
ARCH ST                       G711    N 23RD ST                N 16TH ST
ARROTT ST                     G104    CASTOR AVE               FRANKFORD AVE
ASHBURNER ST                  G118    FRANKFORD AVE            STATE RD
ASHTON RD                     G205    HOLME CIR                GRANT AVE
B ST                          G528    E GURNEY ST              E SOMERSET ST
BAINBRIDGE ST                 G022    GRAYS FERRY AVE          S FRONT ST
BARNETT ST                    G060    TACONY ST                ELBRIDGE ST
BARTRAM AVE                   G078    ESSINGTON AVE            DELAWARE EXPY RAMP D
BASIN BRIDGE RD               G737    LANGLEY AVE              S 26TH ST
BATH ST                       G730    E ALLEGHENY AVE          E WESTMORELAND ST
BAYNTON ST                    G119    E RITTENHOUSE ST         MORTON ST
BELFIELD AVE                  G229    E JOHNSON ST             E UPSAL ST
                              G248    OLD YORK RD              MORTON ST
BELLS MILL RD                 G181    RIDGE AVE                STENTON AVE
BENTON AVE                    G123    BUSTLETON AVE            ALGON AVE
BLOOMFIELD AVE                G158    PINE RD                  KREWSTOWN RD
BROAD ST                      G703    OLD YORK RD              W CHELTENHAM AVE
                              G740    INTREPID AVE             TERMINAL AVE
BUIST AVE                     G084    ISLAND AVE               LINDBERGH BLVD
BYBERRY RD                    G193    PHILMONT AVE             BUSTLETON AVE
                              G196    THORNTON RD              WOODHAVEN RD
                                      WOODHAVEN RD             CITY BOUNDARY
                               G197   BUSTLETON AVE            E ROOSEVELT BLVD
CADWALLADER ST                 G525   MASTER ST                W OXFORD ST
CALLOWHILL ST                  G026   N 17TH ST                DELAWARE EXPY RAMP N2V
                               G176   DELAWARE EXPY RAMP N2V   N CHRISTOPHER COLUMBUS BLVD
                               G180   N 20TH ST                N 17TH ST
CALUMET ST                     G079   KELLY DR                 RIDGE AVE
CARDINGTON RD                  G253   CITY BOUNDARY            LANSDOWNE AVE
CECIL B MOORE AVE              G036   N 10TH ST                N FRONT ST
                                      N 33RD ST                RIDGE AVE
CEDAR AVE                      G070   COBBS CREEK PKWY         BALTIMORE AVE
CEMETERY AVE                   G086   CHESTER AVE              KINGSESSING AVE
                               G527   KINGSESSING AVE          WOODLAND AVE
CENTRAL AVE                    G129   COTTMAN AVE              HASBROOK AVE
CHAMPLOST AVE                  G132   N 02ND ST                HAMMOND AVE
CHELTEN AVE                    G137   WISSAHICKON AVE          E WISTER ST
CHESTER AVE                    G086   S 65TH ST                CEMETERY AVE
                               G726   S 42ND ST                WOODLAND AVE
CHESTNUT HILL AVE              G172   SEMINOLE AVE             BETHLEHEM PIKE
CHRISTOPHER COLUMBUS BLVD      G569   PATTISON AVE             OREGON AVE
                               G733   DEAD END SOUTH           OREGON AVE
CLEARFIELD ST                  G495   KENSINGTON AVE           FRANKFORD AVE
CLIVEDEN ST                    G229   GERMANTOWN AVE           CHEW AVE
COLUMBIA AVE                   G210   FRANKFORD AVE            N FRONT ST
COMLY RD                       G574   E ROOSEVELT BLVD         ACADEMY RD
COMLY ST                       G106   HARBISON AVE             TACONY ST


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Street                         FAM#    From                    To
CONCOURSE DR                   G051    BELMONT AVE             LANSDOWNE DR
CONSHOHOCKEN AVE               G074    CITY AVE                BELMONT AVE
CRESCENTVILLE RD               G133    HAMMOND AVE             E GODFREY AVE
CRESHEIM VALLEY DR             G145    EMLEN ST                STENTON AVE
DAUPHIN DR                     G030    GREENLAND DR            N 33RD ST
DAUPHIN ST                     G030    N 33RD ST               RIDGE AVE
DIAMOND ST                     G032    N 33RD ST               N 05TH ST
DOCK ST                        G307    S 02ND ST               38TH PARALLEL PL
                               G710    38TH PARALLEL PL        S CHRISTOPHER COLUMBUS BLVD
DOMINO LN                      G139    UMBRIA ST               VALLEY AVE
DUNKS FERRY RD                 G444    BYBERRY RD              CITY BOUNDARY
EDISON AVE                     G246    PROSPECT ST             TREVOSE RD
ELBRIDGE ST                    G060    NEW STATE RD            BARNETT ST
EMLEN ST                       G145    LINCOLN DR              CRESHEIM VALLEY DR
ENTERPRISE AVE                 G178    ISLAND AVE              DELAWARE EXPY RAMP B
FAIRMOUNT AVE                  G502    KELLY DR                N BROAD ST
FALLS RD                       G079    MARTIN LUTHER KING DR   KELLY DR
                               G140    NEILL DR                MARTIN LUTHER KING DR
FISHER AVE                     G083    WINDRIM AVE             RISING SUN AVE
FORD RD                        G152    BELMONT AVE             GREENLAND DR
FORT MIFFLIN RD                G179    HOG ISLAND RD           ENTERPRISE AVE
FOX ST                         G591    N 22ND ST               MIDVALE AVE
FRANKLIN ST                    G206    N 07TH ST               VINE STREET EXPY RAMP 8061H
FRANKLIN TOWN BLVD             G713    VINE ST                 N 18TH ST
FRONT ST                       G005    PATTISON AVE            ARCH ST
                                       VINE ST                 E FISHER AVE
                                G504   ARCH ST                 QUARRY ST
G ST                            G495   KENSINGTON AVE          E WYOMING AVE
GERMANTOWN AVE                  G101   W SUSQUEHANNA AVE       W LEHIGH AVE
                                G254   N 06TH ST               W SUSQUEHANNA AVE
                                G557   W LEHIGH AVE            W ERIE AVE
                                G720   BETHLEHEM PIKE          E NORTHWESTERN AVE
GLENWOOD AVE                    G052   W YORK ST               W VENANGO ST
GRAYS FERRY AVE                 G016   S 34TH ST               WASHINGTON AVE
                                G021   WASHINGTON AVE          BAINBRIDGE ST
                                G148   BAINBRIDGE ST           S 23RD ST
GREEN LN                        G076   CITY BOUNDARY           MAIN ST
                                G558   MAIN ST                 RIDGE AVE
GREENE ST                       G136   LINCOLN DR              BERKLEY ST
GREENLAND DR                    G030   STRAWBERRY MANSION DR   W DAUPHIN DR
                                G152   FORD RD                 MARTIN LUTHER KING DR RAMP S
GURNEY ST                       G528   B ST                    E SOMERSET ST
HAGYS MILL RD                   G182   SPRING LN               PORT ROYAL AVE
HALDEMAN AVE                    G200   BUSTLETON AVE           RED LION RD
HAMMOND AVE                     G133   E NEDRO AVE             E CHAMPLOST AVE
HARBISON AVE                    G729   E ROOSEVELT BLVD        BUSTLETON AVE
HASBROOK AVE                    G129   CENTRAL AVE             OXFORD AVE
HERMIT ST                       G524   RIDGE AVE               HENRY AVE
HOLME CIR                       G446   WELSH RD                HOLME AVE
HUNTING PARK AVE                G048   W ROOSEVELT BLVD        FRANKFORD AVE
INDIANA AVE                     G308   N 03RD ST               N 02ND ST
ISLAND AVE                      G178   ENTERPRISE AVE          PENROSE AVE
IVY HILL RD                     G499   STENTON AVE             CHELTENHAM AVE
JEFFERSON ST                    G081   N 54TH ST               N 52ND ST


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Street                      FAM#   From                      To
JOHNSON ST                  G229   CHEW AVE                  BELFIELD AVE
JUNIPER ST                  G034   S PENN SQ                 N JUNIPER ST
KENSINGTON AVE              G046   E LEHIGH AVE              FRANKFORD AVE
                            G058   N FRONT ST                E LEHIGH AVE
KREWSTOWN RD                G497   ALGON AVE                 GRANT AVE
LANGLEY AVE                 G739   BASIN BRIDGE RD           S BROAD ST
LANSDOWNE AVE               G064   CITY BOUNDARY             LANCASTER AVE
LANSDOWNE DR                G051   S CONCOURSE DR            W GIRARD AVE
LEFEVRE ST                  G104   RICHMOND ST               MARGARET ST
LEVERINGTON AVE             G114   MAIN ST                   HENRY AVE
LEVICK ST                   G061   CITY BOUNDARY             RISING SUN AVE
LINCOLN DR                  G109   KELLY DR                  W CLIVEDEN ST
LINDBERGH BLVD              G073   S 84TH ST                 S 65TH ST
LINDEN AVE                  G120   STATE RD                  DELAWARE EXPY RAMP L
LINDENHURST ST              G245   BUSTLETON AVE             TREVOSE RD
LOCUST ST                   G709   S 18TH ST                 W WASHINGTON SQ
LOMBARD ST                  G024   S 27TH ST                 S FRONT ST
LONGSHORE AVE               G110   TORRESDALE AVE            NEW STATE RD
LUZERNE ST                  G050   N DARIEN ST               N FRONT ST
LYCOMING ST                 G050   N BROAD ST                N DARIEN ST
MAIN ST                     G076   GREEN LN                  RIDGE AVE
                            G114   LEVERINGTON AVE           GREEN LN
MANAYUNK AVE                G526   RIDGE AVE                 ROXBOROUGH AVE
MANHEIM ST                  G117   WISSAHICKON AVE           GERMANTOWN AVE
MANTUA AVE                  G063   N 34TH ST                 N 33RD ST
MARGARET ST                 G104   LEFEVRE ST                FRANKFORD AVE
MARTIN LUTHER KING DR       G079   BENJAMIN FRANKLIN PKWY    FALLS RD
MASCHER ST                  G127   RISING SUN AVE            W DUNCANNON AVE
                            G168   W DUNCANNON AVE           OLD SECOND ST
MC CALLUM ST                G214   W MERMAID LN              LINCOLN DR
MERMAID LN                  G170   MC CALLUM ST              SAINT MARTINS LN
MIDVALE AVE                 G099   KELLY DR                  RIDGE AVE
MINERVA ST                  G184   UMBRIA ST                 SHAWMONT AVE
MONTGOMERY DR               G082   BELMONT AVE               MARTIN LUTHER KING DR
MONUMENT RD                 G702   BELMONT AVE               CITY AVE
MOORE ST                    G735   DEAD END WEST             WARFIELD ST
MOREDUN AVE                 G158   CITY BOUNDARY             PINE RD
MORRELL AVE                 G701   FRANKFORD AVE             ACADEMY RD
MORRIS ST                   G012   S FRONT ST                S 34TH ST
MOUNT PLEASANT AVE          G142   LINCOLN DR                W CHELTENHAM AVE
NEDRO AVE                   G133   N 02ND ST                 HAMMOND AVE
                            G731   N BROAD ST                DEAD END EAST
NEILL DR                    G140   WINDING DR                FALLS RD
NEWTON ST                   G500   BETHLEHEM PIKE            STENTON AVE
NORRIS ST                   G100   CEDAR ST                  ARAMINGO AVE
                            G107   N FRONT ST                CEDAR ST
NORTHEAST BLVD              G163   BUSTLETON AVE             RED LION RD
NORTHWESTERN AVE            G187   GERMANTOWN AVE            STENTON AVE
OGONTZ AVE                  G135   BELFIELD AVE              N 19TH ST
                            G724   N 19TH ST                 W CHELTENHAM AVE
OLD BUSTLETON AVE           G498   WINCHESTER AVE            WELSH RD
OLD SECOND ST               G168   MASCHER ST                N 02ND ST
OLD YORK RD                 G248   W ROOSEVELT BLVD RAMP F   BELFIELD AVE




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Street                         FAM#    From                          To
OREGON AVE                     G009    VARE AVE                      W MOYAMENSING AVE
                               G733    S CHRISTOPHER COLUMBUS BLVD   S CHRISTOPHER COLUMBUS BLVD
ORTHODOX ST                    G102    RICHMOND ST                   CASTOR AVE
OXFORD AVE                     G121    FRANKFORD AVE                 OXFORD CIR
OXFORD CIR                     G232    E ROOSEVELT BLVD              CASTOR AVE
                                       OXFORD AVE                    E ROOSEVELT BLVD
OXFORD ST                       G028   N 33RD ST                     N 28TH ST
                                G198   N 28TH ST                     RIDGE AVE
                                G199   N BROAD ST                    N 06TH ST
                                G202   N 06TH ST                     FRANKFORD AVE
PACKER AVE                      G042   S BROAD ST                    S FRONT ST
PASCHALL AVE                    G096   S 49TH ST                     GRAYS FERRY AVE
PASSYUNK AVE                    G509   S BROAD ST                    WASHINGTON AVE
PATTISON AVE                    G005   PENROSE AVE                   S FRONT ST
                                G569   S FRONT ST                    S CHRISTOPHER COLUMBUS BLVD
PENN SQ, S                      G034   S BROAD ST                    S JUNIPER ST
PENNSYLVANIA AVE                G180   N 20TH ST                     N 21ST ST
PINE RD                         G121   RHAWN ST                      WELSH RD
PINE ST                         G707   S 23RD ST                     S FRONT ST
POPLAR DR                       G029   SEDGELEY DR                   W GIRARD AVE
POPLAR ST                       G038   N FRONT ST                    N DELAWARE AVE
                                       POPLAR DR                     W COLLEGE AVE
                                       S COLLEGE AVE                 N 02ND ST
POQUESSING AVE                  G246   BUSTLETON AVE                 STATION RD
PORT ROYAL AVE                  G182   HAGYS MILL RD                 RIDGE AVE
POWELTON AVE                    G020   MARKET ST                     N 31ST ST
PRESIDENTIAL BLVD               G140   WINDING DR                    CITY AVE
PROSPECT ST                     G246   STATION RD                    EDISON AVE
PULASKI AVE                     G057   N 18TH ST                     N 17TH ST
RACE ST                         G010   N 06TH ST                     N 02ND ST
                                       N 23RD ST                     N 08TH ST
                                G491   N 02ND ST                     N CHRISTOPHER COLUMBUS BLVD
                                G504   DELAWARE EXPY RAMP NFN        QUARRY ST
RAMONA AVE                      G130   E WYOMING AVE                 ADAMS AVE
RED LION RD                     G164   CITY BOUNDARY                 E ROOSEVELT BLVD
REED ST                         G568   S FRONT ST                    S CHRISTOPHER COLUMBUS BLVD
RIDGE AVE                       G027   WOOD ST                       SPRING GARDEN ST
RISING SUN AVE                  G003   N 05TH ST                     W LUZERNE ST
                                G044   N 02ND ST                     E ROOSEVELT BLVD
                                G056   N BROAD ST                    N 06TH ST
                                G718   W HUNTING PARK AVE            N 02ND ST
RITTENHOUSE SQ                  G709   W RITTENHOUSE SQ              S 18TH ST
RITTENHOUSE SQ, W               G041   RITTENHOUSE SQ                WALNUT ST
RITTENHOUSE ST                  G119   LINCOLN DR                    WAYNE AVE
                                G248   GERMANTOWN AVE                BAYNTON ST
                                G738   WAYNE AVE                     GERMANTOWN AVE
ROWLAND AVE                     G496   COTTMAN AVE                   SOLLY AVE
ROXBOROUGH AVE                  G526   MANAYUNK AVE                  RIDGE AVE
SAINT MARTINS LN                G144   W MERMAID LN                  SEMINOLE AVE
SCHOOL HOUSE LN                 G105   RIDGE AVE                     GERMANTOWN AVE
SEDGLEY AVE                     G057   DIAMOND ST                    N 17TH ST
                                G098   W WESTMORELAND ST             W ERIE AVE
SEDGLEY DR                      G029   KELLY DR                      POPLAR DR
SEMINOLE AVE                    G144   W CHESTNUT HILL AVE           SAINT MARTINS LN


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Street                     FAM#   From                    To
SHADY LN                   G150   CITY BOUNDARY           PINE RD
SHAWMONT AVE               G184   MINERVA ST              WIGARD AVE
SHURS LN                   G111   MAIN ST                 RIDGE AVE
SOLLY AVE                  G722   ROWLAND AVE             FRANKFORD AVE
SOMERSET ST                G530   N 06TH ST               KENSINGTON AVE
SOUTH ST                   G018   S 33RD ST               S FRONT ST
SOUTHAMPTON RD             G196   THORNTON RD             TREVOSE RD
SPRING GARDEN ST           G004   ANNE DHARNONCOURT WAY   PENNSYLVANIA AVE
SPRING GARDEN TUNL         G004   SPRING GARDEN ST        SPRING GARDEN ST
SPRING LN                  G181   HAGYS MILL RD           RIDGE AVE
SPRINGFIELD AVE            G072   COBBS CREEK PKWY        BALTIMORE AVE
SPRUCE ST                  G008   38TH PARALLEL PL        S CHRISTOPHER COLUMBUS BLVD
                           G066   COBBS CREEK PKWY        S 33RD ST
                           G708   S 23RD ST               38TH PARALLEL PL
STATION RD                 G246   POQUESSING AVE          PROSPECT ST
STRAWBERRY MANSION BRG     G152   GREENLAND DR            STRAWBERRY MANSION DR
STRAWBERRY MANSION DR      G030   GREENLAND DR            STRAWBERRY MANSION BRG
SUMMERDALE AVE             G131   E ROOSEVELT BLVD        OXFORD AVE
SUSQUEHANNA AVE            G572   N BROAD ST              N FRONT ST
SWANSON ST                 G566   OREGON AVE              SNYDER AVE
SWEET BRIAR DR             G715   LANSDOWNE DR            MARTIN LUTHER KING DR
TABOR AVE                  G083   ADAMS AVE               LEVICK ST
TABOR RD                   G083   RISING SUN AVE          ADAMS AVE
TASKER ST                  G014   S 34TH ST               S FRONT ST
THOURON AVE                G146   IVY HILL RD             LIMEKILN PIKE
TOMLINSON RD               G194   BUSTLETON AVE           CITY BOUNDARY
TREVOSE RD                 G245   BUSTLETON AVE           EDISON AVE
                           G246   EDISON AVE              COUNTY LINE RD
TULPEHOCKEN ST             G175   LIMEKILN PIKE           OGONTZ AVE
TYSON AVE                  G110   E ROOSEVELT BLVD        TORRESDALE AVE
UMBRIA ST                  G184   LEVERINGTON AVE         MINERVA ST
VALLEY AVE                 G138   WIGARD AVE              HENRY AVE
VARE AVE                   G009   OREGON AVE              W PASSYUNK AVE
                           G734   S 28TH ST               MOORE ST
VENANGO ST                 G052   MASCHER ST              B ST
VINE ST                    G005   N WATER ST              N CHRISTOPHER COLUMBUS BLVD
                           G727   N 05TH ST               N 04TH ST
WARFIELD ST                G734   MOORE ST                WHARTON ST
WASHINGTON AVE             G016   GRAYS FERRY AVE         S CHRISTOPHER COLUMBUS BLVD
WASHINGTON SQ, S           G206   W WASHINGTON SQ         S 07TH ST
WASHINGTON SQ, W           G206   S WASHINGTON SQ         WALNUT ST
WATER ST                   G567   SNYDER AVE              REED ST
WELSH RD                   G125   ROWLAND AVE             WILLITS RD
WESTMORELAND ST            G730   RICHMOND ST             BATH ST
WHARTON ST                 G736   WARFIELD ST             S 34TH ST
WHITBY AVE                 G075   CITY BOUNDARY           COBBS CREEK PKWY
WIGARD AVE                 G138   VALLEY AVE              SHAWMONT AVE
WILLOW GROVE AVE           G156   SAINT MARTINS LN        STENTON AVE
WINCHESTER AVE             G501   OLD BUSTLETON AVE       BUSTLETON AVE
WINDRIM AVE                G083   WAYNE AVE               W FISHER AVE
WINTER ST                  G712   N 22ND ST               N 20TH ST
WISTER ST                  G117   GERMANTOWN AVE          BELFIELD AVE
WOOD ST                    G027   RIDGE AVE               N 09TH ST
WOODHAVEN RD               G196   BYBERRY RD              BYBERRY RD


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WOODLAND AVE                 G097 GRAYS FERRY AVE          S 41ST ST
                                  ISLAND AVE               S 49TH ST
                             G726 S 41ST ST                BALTIMORE AVE
WYNCOTE AVE                  G137 E WISTER ST              OGONTZ AVE
WYNNEFIELD AVE               G082 N 54TH ST                BELMONT AVE
WYOMING AVE                  G054 N BROAD ST               CASTOR AVE
YORK ST                      G052 W SEDGLEY AVE            W GLENWOOD AVE
02ND ST                      G040 SOUTH ST                 PINE ST
                             G044 W TIOGA ST               RISING SUN AVE
                             G168 W CALVERT ST             W CHELTENHAM AVE
                             G307 BAINBRIDGE ST            SPRUCE ST
                                  DOCK ST                  W TIOGA ST
03RD ST                      G525 W OXFORD ST              W INDIANA AVE
                             G705 SOUTH ST                 SPRING GARDEN ST
04TH ST                      G706 SOUTH ST                 SPRING GARDEN ST
05TH ST                      G001 OREGON AVE               WALNUT ST
                                  RACE ST                  CALLOWHILL ST
                                  SPRING GARDEN ST         W CHELTENHAM AVE
05TH ST TUNL                 G001 N INDEPENDENCE MALL E    CALLOWHILL ST
06TH ST                      G002 OREGON AVE               WALNUT ST
                                  SPRING GARDEN ST         RISING SUN AVE
07TH ST                      G003 PATTISON AVE             OREGON AVE
                             G054 W ROOSEVELT BLVD         W ROOSEVELT BLVD
                             G206 WASHINGTON AVE           SPRING GARDEN ST
08TH ST                      G033 SOUTH ST                 SPRING GARDEN ST
09TH ST                      G025 CALLOWHILL ST            SPRING GARDEN ST
                                  SOUTH ST                 VINE ST
                             G049 W LYCOMING ST            W WYOMING AVE
                             G166 VINE STREET EXPY RAMP    CALLOWHILL ST
10TH ST                      G023 SOUTH ST                 POPLAR ST
11TH ST                      G017 WASHINGTON AVE           W LEHIGH AVE
                             G732 W NEDRO AVE              W GODFREY AVE
12TH ST                      G015 WASHINGTON AVE           W LEHIGH AVE
13TH ST                      G035 SOUTH ST                 SPRING GARDEN ST
15TH ST                      G039 VINE ST                  W GIRARD AVE
                                  WASHINGTON AVE           S PENN SQ
16TH ST                      G043 WASHINGTON AVE           JOHN F KENNEDY BLVD
                                  VINE ST                  SPRING GARDEN ST
17TH ST                      G047 CALLOWHILL ST            SPRING GARDEN ST
                                  SOUTH ST                 VINE ST
                             G057 W SEDGLEY AVE            PULASKI AVE
18TH ST                      G045 SOUTH ST                 CALLOWHILL ST
                             G057 PULASKI AVE              W HUNTING PARK AVE
                             G713 FRANKLIN TOWN BLVD       SPRING GARDEN ST
19TH ST                      G041 SOUTH ST                 SPRING GARDEN ST
                             G137 OGONTZ AVE               W CHELTENHAM AVE
20TH ST                      G037 SOUTH ST                 SPRING GARDEN ST
                             G093 PATTISON AVE             OREGON AVE
                             G204 BELFIELD AVE             W OLNEY AVE
21ST ST                      G013 SNYDER AVE               SPRING GARDEN ST
22ND ST                      G011 SNYDER AVE               SPRING GARDEN ST
                             G031 W YORK ST                W ERIE AVE
                             G108 RIDGE AVE                W YORK ST
23RD ST                      G148 GRAYS FERRY AVE          VINE STREET EXPY RAMP C


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26TH ST                      G737    BASIN BRIDGE RD       PENROSE AVE
27TH ST                      G024    SOUTH ST              LOMBARD ST
28TH ST                      G734    W PASSYUNK AVE        VARE AVE
29TH ST                      G053    POPLAR ST             W GIRARD AVE
31ST ST                      G020    POWELTON AVE          SPRING GARDEN ST
32ND ST                      G162    POWELTON AVE          SPRING GARDEN ST
33RD ST                      G063    LANCASTER WALK        MANTUA AVE
34TH ST                      G051    CONVENTION AVE        MARKET ST
                                     LANCASTER AVE         W GIRARD AVE
38TH PARALLEL PL              G307   SPRUCE ST             DOCK ST
40TH ST                       G080   BALTIMORE AVE         W GIRARD AVE
41ST ST                       G055   WOODLAND AVE          CHESTER AVE
42ND ST                       G092   WOODLAND AVE          CHESTER AVE
                              G094   BALTIMORE AVE         MARKET ST
43RD ST                       G085   BALTIMORE AVE         MARKET ST
44TH ST                       G160   BALTIMORE AVE         POWELTON AVE
45TH ST                       G077   CHESTER AVE           BALTIMORE AVE
46TH ST                       G070   BALTIMORE AVE         CEDAR AVE
                              G725   CHESTER AVE           BALTIMORE AVE
48TH ST                       G062   HAVERFORD AVE         LANCASTER AVE
49TH ST                       G520   WOODLAND AVE          BALTIMORE AVE
52ND ST                       G071   SPRINGFIELD AVE       WHITBY AVE
54TH ST                       G081   JEFFERSON ST          CITY AVE
57TH ST                       G067   BALTIMORE AVE         LANCASTER AVE
                              G529   WHITBY AVE            BALTIMORE AVE
58TH ST                       G065   LINDBERGH BLVD        HOFFMAN AVE
59TH ST                       G230   LANSDOWNE AVE         LANCASTER AVE
61ST ST                       G095   W PASSYUNK AVE        LINDBERGH BLVD
63RD ST                       G068   CEMETERY AVE          LINDBERGH BLVD
66TH AVE                      G134   STENTON AVE           N 02ND ST
67TH ST                       G207   WOODLAND AVE          BUIST AVE
70TH ST                       G069   ESSINGTON AVE         CITY BOUNDARY




                                                7 of 7
Case 2:19-cv-03846-HB Document 142-4 Filed 10/14/22 Page 40 of 690




          Exhibit B
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Street                          From                         To

PASCHALL AVE                    S 69TH ST                    S 70TH ST
S 70TH ST                       SAYBROOK AVE                 PASCHALL AVE
ELMWOOD AVE                     HOBSON ST                    S 68TH ST
WOODLAND AVE                    S 70TH ST                    S 71ST ST
S 71ST ST                       YOCUM ST                     WOODLAND AVE
LINMORE AVE                     S 69TH ST                    S 70TH ST
S 70TH ST                       PASCHALL AVE                 LINMORE AVE
BONNAFFON ST                    ELMWOOD AVE                  BUIST AVE
ELMWOOD AVE                     S 68TH ST                    CARROLL ST
YOCUM ST                        S 71ST ST                    S 72ND ST
SAYBROOK AVE                    S 70TH ST                    S 71ST ST
S 71ST ST                       WOODLAND AVE                 SAYBROOK AVE
WOODLAND AVE                    S 71ST ST                    S 72ND ST
HOBSON ST                       ELMWOOD AVE                  BUIST AVE
ELMWOOD AVE                     CARROLL ST                   MASSEY ST
GREENWAY AVE                    LLOYD ST                     COBBS CREEK PKWY
YOCUM ST                        S 72ND ST                    LLOYD ST
LLOYD ST                        GREENWAY AVE                 YOCUM ST
PASCHALL AVE                    S 70TH ST                    S 71ST ST
S 71ST ST                       SAYBROOK AVE                 PASCHALL AVE
HOBSON ST                       BUIST AVE                    DICKS AVE
S 72ND ST                       YOCUM ST                     WOODLAND AVE
S 68TH ST                       ELMWOOD AVE                  BUIST AVE
ELMWOOD AVE                     MASSEY ST                    S 69TH ST
CARROLL ST                      ELMWOOD AVE                  BUIST AVE
PASCHALL AVE                    S 71ST ST                    S 72ND ST
S 68TH ST                       BUIST AVE                    DICKS AVE
ELMWOOD AVE                     S 69TH ST                    S 70TH ST
WOODLAND AVE                    COBBS CREEK PKWY             COBBS CREEK PKWY
CARROLL ST                      BUIST AVE                    DICKS AVE
WHEELER ST                      S 70TH ST                    S 71ST ST
ELMWOOD AVE                     S 70TH ST                    HOLBROOK ST
MASSEY ST                       BUIST AVE                    DICKS AVE
GRAYS AVE                       S 71ST ST                    S 72ND ST
S 70TH ST                       THEODORE ST                  BUIST AVE
ELMWOOD AVE                     HOLBROOK ST                  S 71ST ST
HOLBROOK ST                     ELMWOOD AVE                  BUIST AVE
S 71ST ST                       ELMWOOD AVE                  THEODORE ST
GRAYS AVE                       S 72ND ST                    S 73RD ST
ELMWOOD AVE                     S 71ST ST                    S 72ND ST
S 72ND ST                       GRAYS AVE                    ELMWOOD AVE
S 70TH ST                       BUIST AVE                    DICKS AVE
HOLBROOK ST                     BUIST AVE                    DICKS AVE
ELMWOOD AVE                     S 72ND ST                    LLOYD ST
THEODORE ST                     S 71ST ST                    S 72ND ST
ELMWOOD AVE                     LLOYD ST                     S 73RD ST
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W PASSYUNK AVE                    S 70TH ST                    HOLBROOK ST
W PASSYUNK AVE                    HOLBROOK ST                  HOLBROOK ST
W PASSYUNK AVE                    HOLBROOK ST                  MUHFELD ST
S 72ND ST                         THEODORE ST                  BUIST AVE
THEODORE ST                       S 72ND ST                    STETLER ST
S 70TH ST                         W PASSYUNK AVE               GROVERS AVE
THEODORE ST                       STETLER ST                   LLOYD ST
LLOYD ST                          ELMWOOD AVE                  THEODORE ST
S 70TH ST                         GROVERS AVE                  REEDBIRD PL
GLENMORE AVE                      ISLAND AVE                   DEAD END WEST
STETLER ST                        THEODORE ST                  BUIST AVE
GROVERS AVE                       S 70TH ST                    HOLBROOK ST
S 73RD ST                         ELMWOOD AVE                  W PASSYUNK AVE
GROVERS AVE                       HOLBROOK ST                  MUHFELD ST
W PASSYUNK AVE                    S 73RD ST                    ISLAND AVE
S 71ST ST                         GUYER AVE                    DOREL ST
GROVERS AVE                       MUHFELD ST                   S 71ST ST
S 71ST ST                         DOREL ST                     GROVERS AVE
ELMWOOD AVE                       ISLAND AVE                   ARDELL ST
S 72ND ST                         W PASSYUNK AVE               DICKS AVE
THEODORE ST                       BIALY ST                     BERBRO ST
ELMWOOD AVE                       ARDELL ST                    MILAN ST
GUYER AVE                         S 71ST ST                    S 72ND ST
S 72ND ST                         DICKS AVE                    GUYER AVE
ELMWOOD AVE                       S 74TH ST                    ASHFORD ST
GUYER AVE                         S 72ND ST                    S 73RD ST
S 73RD ST                         GUYER AVE                    KINGLET PL
S 72ND ST                         BRANT PL                     PHOEBE PL
ELMWOOD AVE                       CLAYMONT ST                  ARCOLA ST
ARCOLA ST                         WHEELER ST                   ELMWOOD AVE
CLAYMONT ST                       ELMWOOD AVE                  ESTE AVE
ELMWOOD AVE                       ARCOLA ST                    S 76TH ST
ELMWOOD AVE                       S 76TH ST                    ROSELLA ST
CHELWYNDE AVE                     ISLAND AVE                   S 75TH ST
S 75TH ST                         BUIST AVE                    CHELWYNDE AVE
ELMWOOD AVE                       ROSELLA ST                   ROSELLA PL
ULENA ST                          WHEELER ST                   ELMWOOD AVE
ESTE AVE                          CLAYMONT ST                  S 76TH ST
S 76TH ST                         DICKENS AVE                  ESTE AVE
ROSELLA PL                        ELMWOOD AVE                  CUL DE SAC SOUTH
S 76TH ST                         ESTE AVE                     BUIST AVE
CHELWYNDE AVE                     S 75TH ST                    S 76TH ST
S 76TH ST                         BUIST AVE                    CHELWYNDE AVE
DICKENS AVE                       S 76TH ST                    S 77TH ST
S 74TH ST                         BOREAL PL                    HENSLOW PL
S 76TH ST                         CHELWYNDE AVE                DICKS AVE
S 76TH ST                         RAVEN PL                     ISLAND AVE
S 78TH ST                         MERCURY PL                   BUIST AVE
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BARTRAM AVE                    DELAWARE EXPY RAMP H         DELAWARE EXPY RAMP TP
HARLEY PL                      S 85TH ST                    S 86TH ST
LUTHER PL                      S 85TH ST                    S 86TH ST
S 81ST ST                      MADISON AVE                  DEAD END WEST
CHELWYNDE AVE                  S 83RD ST                    CUL DE SAC SOUTH
LINDBERGH BLVD                 S 84TH ST                    S 84TH ST
LINDBERGH BLVD                 S 84TH ST                    S 86TH ST
GROVERS AVE                    S 82ND ST                    DEAD END SOUTH
CRATIN PL                      CUL DE SAC EAST              S 86TH ST
S 83RD ST                      CHELWYNDE AVE                LINDBERGH BLVD
S 86TH ST                      CHENEY PL                    GIBSON PL
S 86TH ST                      EASTWICK PL                  MARIO LANZA BLVD
CRATIN PL                      S 86TH ST                    CUL DE SAC SOUTH
S 82ND ST                      LINDBERGH BLVD               GROVERS AVE
CRANE ST                       S 84TH ST                    MARIO LANZA BLVD
LINDBERGH BLVD                 LINDBERGH BLVD               S 84TH ST
LINDBERGH BLVD                 LINDBERGH BLVD               S 84TH ST
LINDBERGH BLVD                 S 82ND ST                    LINDBERGH BLVD
LINDBERGH BLVD                 S 82ND ST                    LINDBERGH BLVD
S 84TH ST                      BRUNSWICK PL                 SUFFOLK PL
S 84TH ST                      LINDBERGH BLVD               MADISON PL
S 84TH ST                      MADISON PL                   LYONS PL
S 84TH ST                      LYONS PL                     S 84TH ST
INDUSTRIAL HWY                 CITY BOUNDARY                CITY BOUNDARY
DELAWARE EXPY RAMP             DELAWARE EXPY RAMP G         DELAWARE EXPY RAMP L
DELAWARE EXPY RAMP             DELAWARE EXPY RAMP L         SB DELAWARE EXPY
DELAWARE EXPY RAMP TP          BARTRAM AVE                  DELAWARE EXPY RAMP TP
LINDBERGH BLVD                 S 82ND ST                    LINDBERGH BLVD
LINDBERGH BLVD                 LINDBERGH BLVD               S 84TH ST
DELAWARE EXPY RAMP G           DELAWARE EXPY RAMP G         SB DELAWARE EXPY
SB DELAWARE EXPY               CITY BOUNDARY                DELAWARE EXPY RAMP TP
AIRPORT RAMP K                 ARRIVALS RD                  ARRIVALS RD
DELAWARE EXPY RAMP L           DELAWARE EXPY RAMP           DELAWARE EXPY RAMP H
DELAWARE EXPY RAMP H           DELAWARE EXPY RAMP L         BARTRAM AVE
SB DELAWARE EXPY               DELAWARE EXPY RAMP G         DELAWARE EXPY RAMP
LINDBERGH BLVD                 LINDBERGH BLVD               LINDBERGH BLVD
S 82ND ST                      GROVERS AVE                  LYONS AVE
BUIST AVE                      VERMEER PL                   S 82ND ST
VERMEER PL                     CUL DE SAC EAST              BUIST AVE
LYONS AVE                      S 80TH ST                    S 81ST ST
LYONS AVE                      S 81ST ST                    S 82ND ST
S 81ST ST                      LYONS AVE                    BRUNSWICK AVE
CITY BOUNDARY                  CITY BOUNDARY                SB DELAWARE EXPY
CITY BOUNDARY                  INDUSTRIAL HWY               CITY BOUNDARY
TINICUM BLVD                   S 89TH ST                    S 90TH ST
S 88TH ST                      BARTRAM AVE                  TINICUM BLVD
S 89TH ST                      BARTRAM AVE                  TINICUM BLVD
S 90TH ST                      BARTRAM AVE                  TINICUM BLVD
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BARTRAM AVE                    S 88TH ST                    S 89TH ST
BARTRAM AVE                    S 89TH ST                    S 90TH ST
MARIO LANZA BLVD               S 86TH ST                    DEAD END SOUTH
S 84TH ST                      S 84TH ST                    S 84TH ST
S 84TH ST                      S 84TH ST                    S 84TH ST
S 84TH ST                      S 84TH ST                    S 84TH ST
S 84TH ST                      S 84TH ST                    CRANE ST
S 84TH ST                      LINDBERGH BLVD               S 84TH ST
RAMP F                         INDUSTRIAL HWY               RAMP F
RAMP F                         RAMP F                       DELAWARE EXPY RAMP
MARIO LANZA BLVD               S 81ST ST                    CRANE ST
S 84TH ST                      S 84TH ST                    BARTRAM AVE
CITY BOUNDARY                  CITY BOUNDARY                NB DELAWARE EXPY
SB DELAWARE EXPY               DELAWARE EXPY RAMP TP        DELAWARE EXPY RAMP G
TINICUM BLVD                   BARTRAM AVE                  S 88TH ST
S 84TH ST                      CITY BOUNDARY                LINDBERGH BLVD
NB DELAWARE EXPY               CITY BOUNDARY                AIRPORT RAMP NB
NB DELAWARE EXPY               AIRPORT RAMP NB              DELAWARE EXPY RAMP
AIRPORT RAMP NB                NB DELAWARE EXPY             AIRPORT RAMP KK
AIRPORT RAMP NB                AIRPORT RAMP KK              AIRPORT RAMP LL
AIRPORT RAMP KK                AIRPORT RAMP NB              DELAWARE EXPY RAMP L
AIRPORT RAMP LL                DELAWARE EXPY RAMP L         AIRPORT RAMP NB
AIRPORT RAMP LL                AIRPORT RAMP NB              TINICUM ISLAND RD
SUNFLOWER DR                   DEAD END SOUTH               MARIGOLD LN
ARRIVALS RD                    AIRPORT RAMP K               INDUSTRIAL HWY
DELAWARE EXPY RAMP G           ARRIVALS RD                  DELAWARE EXPY RAMP G
DELAWARE EXPY RAMP G           DEPARTURES RD                DELAWARE EXPY RAMP G
DELAWARE EXPY RAMP             DELAWARE EXPY RAMP           DELAWARE EXPY RAMP
SCOTT WAY                      INDUSTRIAL HWY               TINICUM ISLAND RD
BARTRAM AVE                    BARTRAM AVE                  ARRIVALS RD
AIRPORT RAMP LL                TINICUM ISLAND RD            DEPARTURES RD
ARRIVALS RD                    AIRPORT RAMP K               DELAWARE EXPY RAMP
AIRPORT RAMP K                 AIRPORT RAMP KK              ARRIVALS RD
ESCORT ST                      CUL DE SAC NORTH             EXECUTIVE AVE
HOLSTEIN AVE                   S 78TH ST                    BARTRAM AVE
BARTRAM AVE                    HOLSTEIN AVE                 ISLAND AVE
PENROSE AVE                    PENROSE AVE                  DELAWARE EXPY RAMP E
PENROSE AVE                    DELAWARE EXPY RAMP E         SOUTH RD
FORT MIFFLIN RD                DEAD END SOUTH               HOG ISLAND RD
MINGO AVE                      BARTRAM AVE                  BARTRAM AVE
MINGO AVE                      DEAD END NORTH               BARTRAM AVE
DELAWARE EXPY RAMP             PENROSE AVE                  DELAWARE EXPY RAMP
DELAWARE EXPY RAMP             DELAWARE EXPY RAMP           DELAWARE EXPY RAMP G
DELAWARE EXPY RAMP E           PENROSE AVE                  DELAWARE EXPY RAMP E
DELAWARE EXPY RAMP             NB DELAWARE EXPY             DELAWARE EXPY RAMP E
SB DELAWARE EXPY               DELAWARE EXPY RAMP B         NB DELAWARE EXPY
PENROSE AVE                    PENROSE AVE                  DELAWARE EXPY RAMP E
BARTRAM AVE                    DELAWARE EXPY RAMP C         MINGO AVE
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ISLAND AVE                      ESCORT ST                    ENTERPRISE AVE
ISLAND AVE                      ISLAND AVE                   ISLAND AVE
NB DELAWARE EXPY                DELAWARE EXPY RAMP           DELAWARE EXPY RAMP C
BARTRAM AVE                     MINGO AVE                    ESSINGTON AVE
BARTRAM AVE                     MINGO AVE                    ESSINGTON AVE
PENROSE FERRY RD                HOG ISLAND RD                BARTRAM AVE
ENTERPRISE AVE                  EXECUTIVE AVE                ISLAND AVE
S 78TH ST                       BREWSTER AVE                 HOLSTEIN AVE
HOG ISLAND RD                   FORT MIFFLIN RD              CITY BOUNDARY
SB DELAWARE EXPY                DELAWARE EXPY RAMP           DELAWARE EXPY RAMP D
SB DELAWARE EXPY                DELAWARE EXPY RAMP           SB DELAWARE EXPY
ISLAND AVE                      PENROSE AVE                  PENROSE AVE
ENTERPRISE AVE                  DELAWARE EXPY RAMP A         FORT MIFFLIN RD
ENTERPRISE AVE                  FORT MIFFLIN RD              EXECUTIVE AVE
PENROSE AVE                     DELAWARE EXPY RAMP E         ISLAND AVE
PENROSE AVE                     SOUTH RD                     ISLAND AVE
ISLAND AVE                      DELAWARE EXPY RAMP G         PENROSE AVE
ISLAND AVE                      PENROSE AVE                  ESCORT ST
ISLAND AVE                      BARTRAM AVE                  DELAWARE EXPY RAMP G
SB DELAWARE EXPY                SB DELAWARE EXPY             DELAWARE EXPY RAMP
NB DELAWARE EXPY                DELAWARE EXPY RAMP           DELAWARE EXPY RAMP
NB DELAWARE EXPY                DELAWARE EXPY RAMP C         DELAWARE EXPY RAMP A
SB DELAWARE EXPY                DELAWARE EXPY RAMP D         DELAWARE EXPY RAMP B
PIA WAY                         ESCORT ST                    PRIVATE PROPERTY
HOG ISLAND RD                   FORT MIFFLIN RD              TINICUM ISLAND RD
TINICUM ISLAND RD               SCOTT WAY                    AIRPORT RAMP LL
FORT MIFFLIN RD                 ENTERPRISE AVE               HOG ISLAND RD
HOG ISLAND RD                   FORT MIFFLIN RD              CUL DE SAC EAST
S 66TH ST                       CHESTER AVE                  ALLMAN ST
KINGSESSING AVE                 S 65TH ST                    S 66TH ST
S 66TH ST                       REGENT ST                    KINGSESSING AVE
CHESTER AVE                     S 66TH ST                    S 67TH ST
GREENWAY AVE                    S SIMPSON ST                 S 65TH ST
S 63RD ST                       SAYBROOK AVE                 PASCHALL AVE
S 67TH ST                       CHESTER AVE                  REGENT ST
GREENWAY AVE                    S 65TH ST                    S DAGGETT ST
GREENWAY AVE                    S DAGGETT ST                 GOULD ST
WOODLAND AVE                    S 64TH ST                    S SIMPSON ST
SAYBROOK AVE                    S 63RD ST                    S 64TH ST
S 64TH ST                       WOODLAND AVE                 SAYBROOK AVE
GREENWAY AVE                    GOULD ST                     S 66TH ST
S 66TH ST                       UPLAND ST                    GREENWAY AVE
S 65TH ST                       GREENWAY AVE                 WOODLAND AVE
PASCHALL AVE                    S 63RD ST                    S 64TH ST
GREENWAY AVE                    S 66TH ST                    SHIELDS ST
S 68TH ST                       CHESTER AVE                  REGENT ST
UPLAND ST                       S 66TH ST                    S 67TH ST
WOODLAND AVE                    S 65TH ST                    S DAGGETT ST
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S DAGGETT ST                    GREENWAY AVE                 WOODLAND AVE
S 65TH ST                       WOODLAND AVE                 SAYBROOK AVE
S 66TH ST                       GREENWAY AVE                 YOCUM ST
WOODLAND AVE                    S DAGGETT ST                 GOULD ST
GOULD ST                        GREENWAY AVE                 WOODLAND AVE
GREENWAY AVE                    SHIELDS ST                   S 67TH ST
S 67TH ST                       UPLAND ST                    GREENWAY AVE
UPLAND ST                       S 67TH ST                    BONNAFFON ST
SHIELDS ST                      GREENWAY AVE                 YOCUM ST
WOODLAND AVE                    GOULD ST                     S 66TH ST
S 66TH ST                       YOCUM ST                     WOODLAND AVE
PASCHALL AVE                    S 64TH ST                    S 65TH ST
S 65TH ST                       GESNER ST                    PASCHALL AVE
S 64TH ST                       GLENMORE AVE                 GRAYS AVE
YOCUM ST                        S 66TH ST                    SHIELDS ST
SHIELDS ST                      YOCUM ST                     YOCUM ST
SAYBROOK AVE                    S 65TH ST                    S 66TH ST
S 66TH ST                       WOODLAND AVE                 SAYBROOK AVE
GREENWAY AVE                    S 67TH ST                    BONNAFFON ST
BONNAFFON ST                    UPLAND ST                    GREENWAY AVE
WOODLAND AVE                    S 66TH ST                    SHIELDS ST
SHIELDS ST                      YOCUM ST                     WOODLAND AVE
UPLAND ST                       BONNAFFON ST                 S 68TH ST
S 67TH ST                       GREENWAY AVE                 YOCUM ST
S 69TH ST                       CHESTER AVE                  REGENT ST
GESNER ST                       S 65TH ST                    S 66TH ST
S 66TH ST                       SAYBROOK AVE                 GESNER ST
GLENMORE AVE                    S 64TH ST                    S 65TH ST
PASCHALL AVE                    S 65TH ST                    S 66TH ST
S 66TH ST                       GESNER ST                    PASCHALL AVE
WOODLAND AVE                    SHIELDS ST                   S 67TH ST
S 67TH ST                       YOCUM ST                     WOODLAND AVE
GREENWAY AVE                    BONNAFFON ST                 S 68TH ST
S 68TH ST                       UPLAND ST                    GREENWAY AVE
S 65TH ST                       GLENMORE AVE                 GRAYS AVE
LINMORE AVE                     S 65TH ST                    S 66TH ST
WOODLAND AVE                    S 67TH ST                    BONNAFFON ST
PASCHALL AVE                    S 66TH ST                    SHIELDS ST
SHIELDS ST                      WOODLAND AVE                 PASCHALL AVE
GREENWAY AVE                    S 68TH ST                    AIKENS ST
AIKENS ST                       UPLAND ST                    GREENWAY AVE
S 68TH ST                       GREENWAY AVE                 YOCUM ST
UPLAND ST                       AIKENS ST                    S 69TH ST
S 69TH ST                       KINGSESSING AVE              UPLAND ST
WOODLAND AVE                    BONNAFFON ST                 HOBSON ST
S 65TH ST                       WHEELER ST                   REEDLAND ST
GLENMORE AVE                    S 65TH ST                    S 66TH ST
PASCHALL AVE                    SHIELDS ST                   S 67TH ST
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S 67TH ST                         WOODLAND AVE                 PASCHALL AVE
WOODLAND AVE                      HOBSON ST                    S 68TH ST
S 68TH ST                         YOCUM ST                     WOODLAND AVE
GRAYS AVE                         S 65TH ST                    S 66TH ST
S 66TH ST                         GLENMORE AVE                 GRAYS AVE
GREENWAY AVE                      AIKENS ST                    LARRY ST
S 69TH ST                         UPLAND ST                    GREENWAY AVE
S 67TH ST                         PASCHALL AVE                 LINMORE AVE
PASCHALL AVE                      S 67TH ST                    BONNAFFON ST
BONNAFFON ST                      WOODLAND AVE                 PASCHALL AVE
WHEELER ST                        S 65TH ST                    S 66TH ST
WOODLAND AVE                      S 68TH ST                    LARRY ST
PASCHALL AVE                      BONNAFFON ST                 HOBSON ST
HOBSON ST                         WOODLAND AVE                 PASCHALL AVE
PASCHALL AVE                      HOBSON ST                    S 68TH ST
S 68TH ST                         WOODLAND AVE                 PASCHALL AVE
GREENWAY AVE                      LARRY ST                     S 70TH ST
S 70TH ST                         UPLAND ST                    GREENWAY AVE
WOODLAND AVE                      LARRY ST                     S 69TH ST
S 66TH ST                         ELMWOOD AVE                  THEODORE ST
LINMORE AVE                       S 67TH ST                    S 68TH ST
UPLAND ST                         S 70TH ST                    S 71ST ST
S 69TH ST                         WOODLAND AVE                 SAYBROOK AVE
ELMWOOD AVE                       S 66TH ST                    SHIELDS ST
PASCHALL AVE                      S 68TH ST                    S 69TH ST
S 69TH ST                         SAYBROOK AVE                 PASCHALL AVE
ELMWOOD AVE                       SHIELDS ST                   S 67TH ST
WOODLAND AVE                      S 69TH ST                    S 70TH ST
S 70TH ST                         GREENWAY AVE                 WOODLAND AVE
GREENWAY AVE                      S 70TH ST                    S 71ST ST
S 71ST ST                         UPLAND ST                    GREENWAY AVE
ELMWOOD AVE                       S 67TH ST                    BONNAFFON ST
S 69TH ST                         PASCHALL AVE                 LINMORE AVE
SAYBROOK AVE                      S 69TH ST                    S 70TH ST
S 70TH ST                         WOODLAND AVE                 SAYBROOK AVE
S SIMPSON ST                      GREENWAY AVE                 WOODLAND AVE
S 66TH ST                         ALLMAN ST                    REGENT ST
SAYBROOK AVE                      S 64TH ST                    S 65TH ST
PLOVER ST                         MEDRICK PL                   TANAGER ST
PLOVER ST                         TANAGER ST                   SANDPIPER PL
S 71ST ST                         BUIST AVE                    DICKS AVE
S 71ST ST                         THEODORE ST                  BUIST AVE
W PASSYUNK AVE                    S 72ND ST                    BUIST AVE
W PASSYUNK AVE                    MUHFELD ST                   DICKS AVE
S 71ST ST                         DICKS AVE                    GUYER AVE
W PASSYUNK AVE                    LLOYD ST                     S 73RD ST
W PASSYUNK AVE                    STETLER ST                   LLOYD ST
LLOYD ST                          THEODORE ST                  W PASSYUNK AVE
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S 72ND ST                         BUIST AVE                    W PASSYUNK AVE
LARRY ST                          S 70TH ST                    KINGSESSING AVE
LARRY ST                          KINGSESSING AVE              GREENWAY AVE
BONNAFFON ST                      BUIST AVE                    DICKS AVE
S 67TH ST                         COBBS CREEK PKWY             BEAUMONT ST
S 67TH ST                         DEAD END WEST                UPLAND ST
PASCHALL AVE                      LLOYD ST                     ISLAND AVE
PASCHALL AVE                      S 72ND ST                    LLOYD ST
LLOYD ST                          SAYBROOK AVE                 PASCHALL AVE
S 72ND ST                         SHEARWATER PL                HUMMINGBIRD PL
S 80TH ST                         MARS PL                      BUIST AVE
MALLARD PL                        S 72ND ST                    CUL DE SAC SOUTH
LINDBERGH BLVD                    S 80TH ST                    S 82ND ST
LINDBERGH BLVD                    S 80TH ST                    S 82ND ST
S 80TH ST                         CUL DE SAC WEST              MARS PL
S 75TH ST                         DEAD END WEST                S 75TH ST
S 75TH ST                         S 75TH ST                    ELMWOOD AVE
ASHFORD ST                        DEAD END WEST                ELMWOOD AVE
BELLFORD ST                       DEAD END WEST                ELMWOOD AVE
S 74TH ST                         WHEELER ST                   ELMWOOD AVE
ARDELL ST                         WHEELER ST                   ELMWOOD AVE
MILAN ST                          WHEELER ST                   ELMWOOD AVE
S 75TH ST                         ELMWOOD AVE                  ESTE AVE
ESTE AVE                          S 75TH ST                    CLAYMONT ST
ELMWOOD AVE                       BELLFORD ST                  S 75TH ST
ELMWOOD AVE                       ASHFORD ST                   BELLFORD ST
ASHFORD ST                        ELMWOOD AVE                  BUIST AVE
S 74TH ST                         ELMWOOD AVE                  ISLAND AVE
S 75TH ST                         ESTE AVE                     BUIST AVE
CHELWYNDE AVE                     BERBRO ST                    DICKS AVE
THEODORE ST                       BERBRO ST                    ISLAND AVE
BIALY ST                          BUIST AVE                    GARMAN ST
BERBRO ST                         BUIST AVE                    GARMAN ST
BIALY ST                          GARMAN ST                    CHELWYNDE AVE
BERBRO ST                         GARMAN ST                    CHELWYNDE AVE
BIALY ST                          CHELWYNDE AVE                DICKS AVE
TANAGER ST                        PLOVER ST                    ISLAND AVE
TANAGER ST                        ISLAND AVE                   ISLAND AVE
CHELWYNDE AVE                     S 77TH ST                    HERMES PL
CHELWYNDE AVE                     S 80TH ST                    CAESAR PL
MERCURY PL                        S 78TH ST                    MARS PL
ORPHEUS PL                        CUL DE SAC NORTH             S 78TH ST
MERGANSER PL                      CUL DE SAC EAST              S 74TH ST
HENSLOW PL                        S 74TH ST                    CUL DE SAC WEST
PEREGRINE PL                      S 74TH ST                    CUL DE SAC WEST
BERBRO ST                         THEODORE ST                  BUIST AVE
GARMAN ST                         BIALY ST                     BERBRO ST
HOLBROOK ST                       DICKS AVE                    W PASSYUNK AVE
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GARMAN ST                        S 69TH ST                    SYLMAR ST
CHELWYNDE AVE                    S 69TH ST                    SYLMAR ST
REEDLAND ST                      S 70TH ST                    S 71ST ST
SAYBROOK AVE                     LLOYD ST                     ISLAND AVE
YOCUM ST                         S 68TH ST                    DEAD END SOUTH
YOCUM ST                         S 67TH ST                    S 68TH ST
YOCUM ST                         SHIELDS ST                   S 67TH ST
CHESTER AVE                      S 70TH ST                    COBBS CREEK PKWY
S 68TH ST                        COBBS CREEK PKWY             TRINITY ST
S 67TH ST                        BEAUMONT ST                  WINDSOR ST
CHESTER AVE                      S 68TH ST                    S 69TH ST
S 68TH ST                        REGENT ST                    KINGSESSING AVE
UPLAND ST                        S 68TH ST                    AIKENS ST
S 72ND ST                        WOODLAND AVE                 SAYBROOK AVE
LLOYD ST                         WOODLAND AVE                 SAYBROOK AVE
S 66TH ST                        PASCHALL AVE                 LINMORE AVE
S 66TH ST                        GRAYS AVE                    WHEELER ST
S 66TH ST                        WHEELER ST                   REEDLAND ST
S 66TH ST                        REEDLAND ST                  ELMWOOD AVE
SHIELDS ST                       ELMWOOD AVE                  BUIST AVE
MASSEY ST                        ELMWOOD AVE                  BUIST AVE
S 69TH ST                        ELMWOOD AVE                  THEODORE ST
S 69TH ST                        DICKS AVE                    GUYER AVE
S 69TH ST                        BUIST AVE                    GARMAN ST
S 69TH ST                        GARMAN ST                    CHELWYNDE AVE
S 69TH ST                        CHELWYNDE AVE                DICKS AVE
S 71ST ST                        REEDLAND ST                  ELMWOOD AVE
S 71ST ST                        WHEELER ST                   REEDLAND ST
S 71ST ST                        GRAYS AVE                    WHEELER ST
S 71ST ST                        KINGSESSING AVE              UPLAND ST
UPLAND ST                        S 71ST ST                    ALLMAN ST
LARRY ST                         GREENWAY AVE                 WOODLAND AVE
MEADOWLARK PL                    S 73RD ST                    CUL DE SAC WEST
SATURN PL                        S 78TH ST                    CUL DE SAC SOUTH
VENUS PL                         S 78TH ST                    CUL DE SAC SOUTH
POMPEY PL                        S 80TH ST                    CUL DE SAC WEST
JAY PL                           S 76TH ST                    CUL DE SAC SOUTH
DELPHI PL                        CUL DE SAC EAST              S 78TH ST
OLYMPUS PL                       CUL DE SAC EAST              S 78TH ST
JASON PL                         CUL DE SAC EAST              S 78TH ST
S 80TH ST                        GROVERS AVE                  MADISON AVE
BUNTING PL                       S 73RD ST                    CUL DE SAC WEST
KINGLET PL                       S 73RD ST                    CUL DE SAC WEST
SANDPIPER PL                     CUL DE SAC NORTH             PLOVER ST
BUIST AVE                        ISLAND AVE                   ASHFORD ST
BUIST AVE                        BELLFORD ST                  S 75TH ST
BUIST AVE                        S 75TH ST                    S 76TH ST
BUIST AVE                        S 77TH ST                    S 78TH ST
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BUIST AVE                     S 78TH ST                    S 80TH ST
BUIST AVE                     S 80TH ST                    APOLLO PLZ
BUIST AVE                     ASHFORD ST                   BELLFORD ST
DOTHAN PLZ                    DICKS AVE                    DOTHAN PLZ
LAPWING PL                    S 74TH ST                    CUL DE SAC SOUTH
LONGSPUR PL                   CUL DE SAC EAST              S 74TH ST
GANNET PL                     S 72ND ST                    CUL DE SAC SOUTH
SHEARWATER PL                 S 72ND ST                    CUL DE SAC SOUTH
PHOEBE PL                     S 72ND ST                    CUL DE SAC EAST
BOREAL PL                     CUL DE SAC EAST              S 74TH ST
SANDERLING PL                 CUL DE SAC EAST              HENSLOW PL
HUMMINGBIRD PL                S 72ND ST                    CUL DE SAC EAST
MARS PL                       MERCURY PL                   S 80TH ST
MARS PL                       S 80TH ST                    ANGELO PL
APOLLO PLZ                    BUIST AVE                    CUL DE SAC EAST
CAESAR PL                     S 80TH ST                    CUL DE SAC EAST
MIDIS PL                      DELPHI PL                    CUL DE SAC EAST
HERMES PL                     CHELWYNDE AVE                CUL DE SAC EAST
ISLAND AVE                    SUFFOLK AVE                  LINDBERGH BLVD
ISLAND AVE                    S 76TH ST                    LINDBERGH BLVD
MUHFELD ST                    W PASSYUNK AVE               GROVERS AVE
MUHFELD ST                    BUIST AVE                    DICKS AVE
TRINITY ST                    S 67TH ST                    S 68TH ST
SYLMAR ST                     BUIST AVE                    GARMAN ST
SYLMAR ST                     GARMAN ST                    CHELWYNDE AVE
SYLMAR ST                     CHELWYNDE AVE                DICKS AVE
SYLMAR ST                     DICKS AVE                    DEAD END EAST
REGENT ST                     S 66TH ST                    S 67TH ST
REGENT ST                     S 67TH ST                    S 68TH ST
REGENT ST                     S 68TH ST                    S 69TH ST
CENTAUR PL                    CUL DE SAC SOUTH             S 78TH ST
RAVEN PL                      S 76TH ST                    CUL DE SAC SOUTH
MADISON AVE                   S 80TH ST                    S 81ST ST
MEDRICK PL                    CUL DE SAC NORTH             PLOVER ST
S 68TH ST                     PASCHALL AVE                 LINMORE AVE
S 68TH ST                     LINMORE AVE                  DEAD END SOUTH
DICKS AVE                     CARROLL ST                   MASSEY ST
DICKS AVE                     S 69TH ST                    SYLMAR ST
DICKS AVE                     SYLMAR ST                    S 70TH ST
DICKS AVE                     S 70TH ST                    HOLBROOK ST
DICKS AVE                     S 72ND ST                    S 72ND ST
DICKS AVE                     S 72ND ST                    LLOYD ST
DICKS AVE                     LLOYD ST                     S 73RD ST
DICKS AVE                     HOLBROOK ST                  MUHFELD ST
DICKS AVE                     BIALY ST                     CHELWYNDE AVE
DICKS AVE                     DOTHAN PLZ                   DOTHAN PLZ
S 75TH ST                     CHELWYNDE AVE                DOTHAN PLZ
DICKS AVE                     DOTHAN PLZ                   S 76TH ST
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DICKS AVE                      CHELWYNDE AVE                ISLAND AVE
DICKS AVE                      ISLAND AVE                   ISLAND AVE
ISLAND AVE                     BUIST AVE                    DICKS AVE
DICKS AVE                      ISLAND AVE                   CHELWYNDE AVE
ISLAND AVE                     DICKS AVE                    DICKS AVE
DICKS AVE                      S 73RD ST                    BIALY ST
DICKS AVE                      MASSEY ST                    S 69TH ST
TURNSTONE PL                   CUL DE SAC NORTH             ISLAND AVE
ISLAND AVE                     PLOVER ST                    TANAGER ST
ISLAND AVE                     TANAGER ST                   TURNSTONE PL
ISLAND AVE                     LINDBERGH BLVD               LINDBERGH BLVD
WHEELER ST                     CLAYMONT ST                  ARCOLA ST
WHEELER ST                     ROSELLA ST                   ULENA ST
ROSELLA ST                     WHEELER ST                   ELMWOOD AVE
CLAYMONT ST                    WHEELER ST                   ELMWOOD AVE
WHEELER ST                     ISLAND AVE                   WHEELER ST
WHEELER ST                     MILAN ST                     S 74TH ST
WHEELER ST                     WHEELER ST                   ARDELL ST
WHEELER ST                     ARDELL ST                    MILAN ST
POMPEY PL                      PHILLIPS TER                 S 80TH ST
MARIO LANZA BLVD               LINDBERGH BLVD               LINDBERGH BLVD
KINGSESSING AVE                LARRY ST                     S 70TH ST
KINGSESSING AVE                S 70TH ST                    S 71ST ST
KINGSESSING AVE                S 69TH ST                    LARRY ST
KINGSESSING AVE                S 68TH ST                    S 69TH ST
CHESTER AVE                    S 67TH ST                    S 68TH ST
S 66TH ST                      REGENT ST                    REGENT ST
S 68TH ST                      KINGSESSING AVE              UPLAND ST
S 72ND ST                      PASCHALL AVE                 GRAYS AVE
S 72ND ST                      SAYBROOK AVE                 PASCHALL AVE
S 67TH ST                      WINDSOR ST                   TRINITY ST
S 71ST ST                      PASCHALL AVE                 GRAYS AVE
HOLBROOK ST                    W PASSYUNK AVE               GROVERS AVE
S 80TH ST                      POMPEY PL                    LINDBERGH BLVD
CHESTER AVE                    S 69TH ST                    S 70TH ST
S 67TH ST                      TRINITY ST                   BELMAR ST
DICKS AVE                      S 71ST ST                    S 72ND ST
THEODORE ST                    S 69TH ST                    S 70TH ST
ISLAND AVE                     TANAGER ST                   S 76TH ST
ISLAND AVE                     ISLAND AVE                   LINDBERGH BLVD
ISLAND AVE                     LINDBERGH BLVD               ISLAND AVE
ISLAND AVE                     LINDBERGH BLVD               ISLAND AVE
DOTHAN PLZ                     DOTHAN PLZ                   DICKS AVE
CAESAR PL                      CHELWYNDE AVE                CUL DE SAC EAST
S 72ND ST                      HUMMINGBIRD PL               LINDBERGH BLVD
ESTE AVE                       DEAD END NORTH               S 77TH ST
S 77TH ST                      ESTE AVE                     BUIST AVE
ELMWOOD AVE                    S 74TH ST                    S 74TH ST
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ISLAND AVE                        LINDBERGH BLVD               LINDBERGH BLVD
ISLAND AVE                        LINDBERGH BLVD               LINDBERGH BLVD
S 80TH ST                         LINDBERGH BLVD               LINDBERGH BLVD
S 80TH ST                         LINDBERGH BLVD               LINDBERGH BLVD
S 80TH ST                         LINDBERGH BLVD               LINDBERGH BLVD
LINDBERGH BLVD                    S 78TH ST                    S 80TH ST
S 80TH ST                         LINDBERGH BLVD               GROVERS AVE
LINDBERGH BLVD                    MARIO LANZA BLVD             S 80TH ST
LINDBERGH BLVD                    ISLAND AVE                   S 78TH ST
S 78TH ST                         LINDBERGH BLVD               LINDBERGH BLVD
ALLMAN ST                         DEAD END NORTH               UPLAND ST
UPLAND ST                         ALLMAN ST                    COBBS CREEK PKWY
PHILLIPS TER                      POMPEY PL                    CUL DE SAC EAST
S 74TH ST                         LINDBERGH BLVD               LINDBERGH BLVD
S 74TH ST                         MERGANSER PL                 LINDBERGH BLVD
DICKS AVE                         S 76TH ST                    DOTHAN TER
DOTHAN TER                        DICKS AVE                    CUL DE SAC EAST
CHEIRON PL                        CHELWYNDE AVE                CUL DE SAC EAST
CHELWYNDE AVE                     S 78TH ST                    CHEIRON PL
S 71ST ST                         UPLAND ST                    UPLAND ST
REGENT ST                         S 69TH ST                    DEAD END WEST
REGENT ST                         DEAD END EAST                S 70TH ST
TANAGER ST                        ISLAND AVE                   ISLAND AVE
S 71ST ST                         S 70TH ST                    KINGSESSING AVE
ISLAND AVE                        ISLAND AVE                   SUFFOLK AVE
SUFFOLK AVE                       SUFFOLK AVE                  ISLAND AVE
SUFFOLK AVE                       LINDBERGH BLVD               SUFFOLK AVE
SUFFOLK AVE                       SUFFOLK AVE                  ISLAND AVE
REDWING PL                        CUL DE SAC WEST              REDWING PL
REDWING PL                        REDWING PL                   PLOVER ST
SAYBROOK AVE                      S 72ND ST                    LLOYD ST
GREENWAY AVE                      S 71ST ST                    S 72ND ST
GREENWAY AVE                      GREENWAY AVE                 LLOYD ST
GREENWAY AVE                      S 72ND ST                    GREENWAY AVE
ISLAND AVE                        ISLAND AVE                   DICKS AVE
DICKS AVE                         DICKS AVE                    S 71ST ST
DICKS AVE                         MUHFELD ST                   DICKS AVE
S SMEDLEY ST                      OREGON AVE                   S SMEDLEY ST
JOHNSTON ST                       S 19TH ST                    S 20TH ST
PACKER AVE                        S SMEDLEY ST                 S 17TH ST
PACKER AVE                        S 16TH ST                    S SMEDLEY ST
PACKER AVE                        S SYDENHAM ST                S 16TH ST
PACKER AVE                        S 15TH ST                    S SYDENHAM ST
SCHLEY ST                         S 19TH ST                    S UBER ST
LANVALE PL                        LANVALE PL                   CUL DE SAC WEST
CROATAN PL                        CROATAN PL                   S 17TH ST
BOISE PL                          BOISE PL                     CUL DE SAC WEST
FORRESTAL ST                      HALSEY PL                    OLYMPIA PL
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FORRESTAL ST                      DENFELD PL                   HALSEY PL
FORRESTAL ST                      BOISE PL                     DENFELD PL
FORRESTAL ST                      S 18TH ST                    BOISE PL
HALSEY PL                         FORRESTAL ST                 CUL DE SAC SOUTH
LEYTE PL                          FORRESTAL ST                 CUL DE SAC SOUTH
HULSEMAN ST                       S 18TH ST                    DENFELD PL
HARTRANFT ST                      S 18TH ST                    S 20TH ST
PACKER AVE                        S 17TH ST                    S 17TH ST
PACKER AVE                        S 17TH ST                    S COLORADO ST
S 18TH ST                         FORRESTAL ST                 S 18TH ST
S 18TH ST                         S 18TH ST                    S 18TH ST
HARTRANFT ST                      CHAUCER ST                   S SMEDLEY ST
HARTRANFT ST                      S SMEDLEY ST                 S 17TH ST
HARTRANFT ST                      S BROAD ST                   S SYDENHAM ST
HARTRANFT ST                      S SYDENHAM ST                CHAUCER ST
NORWITCH DR                       CUL DE SAC NORTH             S 67TH ST
BREWSTER AVE                      S 74TH ST                    S 76TH ST
S 76TH ST                         BREWSTER AVE                 HOLSTEIN AVE
BREWSTER AVE                      S 76TH ST                    S 78TH ST
SHUNK ST                          S LAMBERT ST                 S 21ST ST
SHUNK ST                          S 20TH ST                    S LAMBERT ST
SHUNK ST                          S GARNET ST                  S 20TH ST
S 19TH ST                         PORTER ST                    SHUNK ST
SHUNK ST                          S 19TH ST                    S GARNET ST
SHUNK ST                          S CLEVELAND ST               S 19TH ST
SHUNK ST                          S 18TH ST                    S CLEVELAND ST
SHUNK ST                          S BOUVIER ST                 S 18TH ST
SHUNK ST                          S COLORADO ST                S BOUVIER ST
SHUNK ST                          S COLORADO ST                S COLORADO ST
S 17TH ST                         PORTER ST                    SHUNK ST
SHUNK ST                          S 17TH ST                    S COLORADO ST
SHUNK ST                          S CHADWICK ST                S 17TH ST
SHUNK ST                          S BANCROFT ST                S CHADWICK ST
SHUNK ST                          S 16TH ST                    S BANCROFT ST
SHUNK ST                          S MOLE ST                    S 16TH ST
SHUNK ST                          S HICKS ST                   S MOLE ST
SHUNK ST                          S 15TH ST                    S HICKS ST
SHUNK ST                          S CARLISLE ST                S 15TH ST
SHUNK ST                          S ROSEWOOD ST                S CARLISLE ST
SHUNK ST                          S BROAD ST                   S ROSEWOOD ST
S 19TH ST                         SHUNK ST                     OREGON AVE
S 17TH ST                         SHUNK ST                     OREGON AVE
S 19TH ST                         OREGON AVE                   JOHNSTON ST
S CLEVELAND ST                    OREGON AVE                   JOHNSTON ST
JOHNSTON ST                       S CLEVELAND ST               S 19TH ST
JOHNSTON ST                       S 18TH ST                    S CLEVELAND ST
JOHNSTON ST                       S COLORADO ST                S 18TH ST
S 17TH ST                         OREGON AVE                   JOHNSTON ST
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JOHNSTON ST                   S 17TH ST                    S COLORADO ST
S 17TH ST                     JOHNSTON ST                  STOCKER ST
S 19TH ST                     JOHNSTON ST                  BIGLER ST
BIGLER ST                     S SMEDLEY ST                 S 17TH ST
BIGLER ST                     S 16TH ST                    S SMEDLEY ST
BIGLER ST                     S SYDENHAM ST                S 16TH ST
BIGLER ST                     S 15TH ST                    S SYDENHAM ST
BIGLER ST                     S CARLISLE ST                S 15TH ST
BIGLER ST                     S BROAD ST                   S BROAD ST
BIGLER ST                     S 17TH ST                    W MOYAMENSING AVE
PORTER ST                     S 17TH ST                    S COLORADO ST
PORTER ST                     S CHADWICK ST                S 17TH ST
PORTER ST                     S BANCROFT ST                S CHADWICK ST
PORTER ST                     S 16TH ST                    S BANCROFT ST
PORTER ST                     S MOLE ST                    S 16TH ST
PORTER ST                     S HICKS ST                   S MOLE ST
PORTER ST                     S 15TH ST                    S HICKS ST
PORTER ST                     S CARLISLE ST                S 15TH ST
PORTER ST                     S ROSEWOOD ST                S CARLISLE ST
PORTER ST                     S BROAD ST                   S ROSEWOOD ST
S COLORADO ST                 PORTER ST                    SHUNK ST
S CHADWICK ST                 PORTER ST                    SHUNK ST
S 16TH ST                     PORTER ST                    SHUNK ST
S HICKS ST                    PORTER ST                    SHUNK ST
S ROSEWOOD ST                 PORTER ST                    SHUNK ST
S 16TH ST                     SHUNK ST                     OREGON AVE
S ROSEWOOD ST                 SHUNK ST                     OREGON AVE
S COLORADO ST                 OREGON AVE                   S COLORADO ST
S HICKS ST                    SHUNK ST                     OREGON AVE
S COLORADO ST                 S COLORADO ST                S COLORADO ST
S COLORADO ST                 S COLORADO ST                JOHNSTON ST
S BANCROFT ST                 PORTER ST                    SHUNK ST
S MOLE ST                     PORTER ST                    SHUNK ST
S 15TH ST                     PORTER ST                    SHUNK ST
S CARLISLE ST                 PORTER ST                    SHUNK ST
S BOUVIER ST                  SHUNK ST                     OREGON AVE
S COLORADO ST                 SHUNK ST                     OREGON AVE
S BANCROFT ST                 SHUNK ST                     OREGON AVE
S MOLE ST                     SHUNK ST                     OREGON AVE
S 15TH ST                     SHUNK ST                     OREGON AVE
S CARLISLE ST                 SHUNK ST                     OREGON AVE
S 15TH ST                     W MOYAMENSING AVE            BIGLER ST
S CHADWICK ST                 SHUNK ST                     OREGON AVE
W MOYAMENSING AVE             S BROAD ST                   OREGON AVE
S CLEVELAND ST                PORTER ST                    SHUNK ST
STOCKER ST                    S 17TH ST                    S 18TH ST
S LAMBERT ST                  PORTER ST                    SHUNK ST
S 20TH ST                     PORTER ST                    SHUNK ST
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S GARNET ST                       PORTER ST                    SHUNK ST
S 20TH ST                         SHUNK ST                     OREGON AVE
S 18TH ST                         OREGON AVE                   JOHNSTON ST
S 18TH ST                         JOHNSTON ST                  STOCKER ST
S 18TH ST                         STOCKER ST                   BARBARA ST
S 18TH ST                         BARBARA ST                   BIGLER ST
S 18TH ST                         SHUNK ST                     OREGON AVE
PORTER ST                         S LAMBERT ST                 S 21ST ST
PORTER ST                         S LAMBERT ST                 S LAMBERT ST
PORTER ST                         S WOODSTOCK ST               S LAMBERT ST
PORTER ST                         S 20TH ST                    S WOODSTOCK ST
PORTER ST                         S OPAL ST                    S 20TH ST
PORTER ST                         S GARNET ST                  S OPAL ST
PORTER ST                         S GARNET ST                  S GARNET ST
PORTER ST                         S 19TH ST                    S GARNET ST
PORTER ST                         S CLEVELAND ST               S 19TH ST
PORTER ST                         S 18TH ST                    S CLEVELAND ST
SHUNK ST                          S 21ST ST                    S 22ND ST
S 17TH ST                         W MOYAMENSING AVE            BIGLER ST
S SYDENHAM ST                     W MOYAMENSING AVE            BIGLER ST
S 17TH ST                         BIGLER ST                    POLLOCK ST
S SMEDLEY ST                      BIGLER ST                    POLLOCK ST
S SYDENHAM ST                     BIGLER ST                    POLLOCK ST
S 16TH ST                         W MOYAMENSING AVE            BIGLER ST
S CLEVELAND ST                    W MOYAMENSING AVE            POLLOCK ST
S 16TH ST                         BIGLER ST                    POLLOCK ST
S 18TH ST                         W MOYAMENSING AVE            POLLOCK ST
POLLOCK ST                        S CLEVELAND ST               W MOYAMENSING AVE
POLLOCK ST                        S 18TH ST                    S CLEVELAND ST
POLLOCK ST                        S COLORADO ST                S 18TH ST
POLLOCK ST                        S 17TH ST                    S COLORADO ST
POLLOCK ST                        S SMEDLEY ST                 S 17TH ST
POLLOCK ST                        S 16TH ST                    S SMEDLEY ST
POLLOCK ST                        S SYDENHAM ST                S 16TH ST
POLLOCK ST                        S 15TH ST                    S SYDENHAM ST
POLLOCK ST                        S CARLISLE ST                S 15TH ST
S 15TH ST                         BIGLER ST                    POLLOCK ST
CURTIN ST                         S BROAD ST                   SCHUYLKILL EXPY RAMP L
S DOVER ST                        PORTER ST                    ERNEST ST
PORTER ST                         DEAD END EAST                S 28TH ST
S DOVER ST                        ERNEST ST                    WALTER ST
WALTER ST                         S NEWKIRK ST                 S DOVER ST
ERNEST ST                         S 28TH ST                    S DOVER ST
PORTER ST                         S COLORADO ST                S 18TH ST
S 18TH ST                         PORTER ST                    SHUNK ST
HARTRANFT ST                      S BROAD ST                   S BROAD ST
S UBER ST                         SCHLEY ST                    FORRESTAL ST
S UBER ST                         FORRESTAL ST                 GEARY ST
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FORRESTAL ST                    LEYTE PL                     S SMEDLEY ST
NORWITCH DR                     S 67TH ST                    S 70TH ST
S COLORADO ST                   S COLORADO ST                S COLORADO ST
S SMEDLEY ST                    W MOYAMENSING AVE            BIGLER ST
PORTER ST                       S 28TH ST                    S DOVER ST
S 67TH ST                       ESSINGTON AVE                DEAD END EAST
PENROSE AVE                     PENROSE AVE                  S 26TH ST
PENROSE AVE                     PENROSE AVE                  LANIER AVE
HARTRANFT ST                    PENROSE AVE                  S 22ND ST
S 15TH ST                       OREGON AVE                   W MOYAMENSING AVE
S 15TH ST                       W MOYAMENSING AVE            W MOYAMENSING AVE
S 17TH ST                       STOCKER ST                   W MOYAMENSING AVE
S 17TH ST                       W MOYAMENSING AVE            W MOYAMENSING AVE
BIGLER ST                       W MOYAMENSING AVE            W MOYAMENSING AVE
BIGLER ST                       W MOYAMENSING AVE            S 18TH ST
S 18TH ST                       BIGLER ST                    W MOYAMENSING AVE
S 18TH ST                       W MOYAMENSING AVE            W MOYAMENSING AVE
S 19TH ST                       W MOYAMENSING AVE            W MOYAMENSING AVE
S SMEDLEY ST                    S SMEDLEY ST                 S SMEDLEY ST
S SMEDLEY ST                    S SMEDLEY ST                 S SMEDLEY ST
S 17TH ST                       S 17TH ST                    HARTRANFT ST
S 17TH ST                       FORRESTAL ST                 S 17TH ST
S 17TH ST                       S 17TH ST                    S 17TH ST
PENROSE AVE                     LANIER AVE                   PENROSE AVE
PORTER ST                       S 21ST ST                    S 22ND ST
PENROSE FERRY RD                DEAD END NORTH               PATTISON AVE
S 18TH ST                       S 18TH ST                    S 18TH ST
S 17TH ST                       S 17TH ST                    S 17TH ST
S 18TH ST                       POLLOCK ST                   DEAD END SOUTH
S 18TH ST                       DEAD END NORTH               PACKER AVE
S 17TH ST                       POLLOCK ST                   DEAD END SOUTH
S 17TH ST                       DEAD END NORTH               PACKER AVE
S COLORADO ST                   DEAD END NORTH               PACKER AVE
S COLORADO ST                   POLLOCK ST                   DEAD END SOUTH
S SMEDLEY ST                    POLLOCK ST                   DEAD END SOUTH
S SMEDLEY ST                    DEAD END NORTH               PACKER AVE
S 16TH ST                       DEAD END NORTH               PACKER AVE
S 16TH ST                       POLLOCK ST                   DEAD END SOUTH
S SYDENHAM ST                   DEAD END NORTH               PACKER AVE
S SYDENHAM ST                   POLLOCK ST                   DEAD END SOUTH
S 15TH ST                       DEAD END NORTH               PACKER AVE
S 15TH ST                       POLLOCK ST                   DEAD END SOUTH
S CARLISLE ST                   POLLOCK ST                   DEAD END SOUTH
S BROAD ST                      S BROAD ST                   PATTISON AVE
CHAUCER ST                      HULSEMAN ST                  HARTRANFT ST
ZINKOFF BLVD                    S BROAD ST                   S BROAD ST
S SMEDLEY ST                    S SMEDLEY ST                 W MOYAMENSING AVE
GEARY ST                        S BROAD ST                   S BROAD ST
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BOISE PL                        BOISE PL                     FORRESTAL ST
S SMEDLEY ST                    CURTIN ST                    FORRESTAL ST
MOYAMENSING RD                  PENROSE AVE                  DEAD END WEST
HARTRANFT ST                    NAPOLI WAY                   S 26TH ST
PENROSE FERRY RD                DEAD END NORTH               HARTRANFT ST
GATEWAY DR                      GATEWAY DR                   PENROSE AVE
S BROAD ST                      S BROAD ST                   S BROAD ST
S 16TH ST                       OREGON AVE                   W MOYAMENSING AVE
S 16TH ST                       W MOYAMENSING AVE            W MOYAMENSING AVE
S 16TH ST                       W MOYAMENSING AVE            W MOYAMENSING AVE
S SYDENHAM ST                   HULSEMAN ST                  HARTRANFT ST
S SMEDLEY ST                    HULSEMAN ST                  HARTRANFT ST
HULSEMAN ST                     S SYDENHAM ST                CHAUCER ST
HULSEMAN ST                     CHAUCER ST                   S SMEDLEY ST
S MOLE ST                       OREGON AVE                   W MOYAMENSING AVE
POLLOCK ST                      S BROAD ST                   S BROAD ST
HARTRANFT ST                    PENROSE FERRY RD             CALABRIA WAY
PENROSE AVE                     PENROSE AVE                  PENROSE AVE
HOMESTEAD ST                    PENROSE AVE                  S 22ND ST
SHUNK ST                        S 22ND ST                    DEAD END WEST
HARTRANFT ST                    S 22ND ST                    PENROSE FERRY RD
PENROSE FERRY RD                HARTRANFT ST                 CUL DE SAC SOUTH
S NEWKIRK ST                    WALTER ST                    W PASSYUNK AVE
S DOVER ST                      WALTER ST                    W PASSYUNK AVE
HOLSTEIN AVE                    S 70TH ST                    S 74TH ST
HOLSTEIN AVE                    S 74TH ST                    S 76TH ST
HOLSTEIN AVE                    S 76TH ST                    S 78TH ST
S 74TH ST                       BREWSTER AVE                 HOLSTEIN AVE
S 22ND ST                       HOMESTEAD ST                 SCHUYLKILL EXPY RAMP N
S 22ND ST                       DEAD END NORTH               HOMESTEAD ST
PACKER AVE                      S BROAD ST                   S 15TH ST
BARBARA ST                      W MOYAMENSING AVE            S 18TH ST
BIGLER ST                       S 18TH ST                    S 19TH ST
S 19TH ST                       BIGLER ST                    W MOYAMENSING AVE
FORRESTAL ST                    S SMEDLEY ST                 S 17TH ST
S 17TH ST                       PACKER AVE                   CROATAN PL
S 17TH ST                       CROATAN PL                   FORRESTAL ST
CURTIN ST                       S BROAD ST                   S SYDENHAM ST
CURTIN ST                       S SYDENHAM ST                S SMEDLEY ST
FORRESTAL ST                    S SYDENHAM ST                LEYTE PL
S SYDENHAM ST                   CURTIN ST                    FORRESTAL ST
S SYDENHAM ST                   FORRESTAL ST                 CUL DE SAC SOUTH
S 18TH ST                       SCHLEY ST                    FORRESTAL ST
PACKER AVE                      S COLORADO ST                S 18TH ST
FORRESTAL ST                    S 17TH ST                    S 18TH ST
PACKER AVE                      S 18TH ST                    S 19TH ST
GEARY ST                        S UBER ST                    S 20TH ST
GEARY ST                        DENFELD PL                   S UBER ST
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S 18TH ST                        HULSEMAN ST                  HARTRANFT ST
S 18TH ST                        S 18TH ST                    HULSEMAN ST
HARTRANFT ST                     S 17TH ST                    S 18TH ST
POLLOCK ST                       S BROAD ST                   S CARLISLE ST
S CARLISLE ST                    BIGLER ST                    POLLOCK ST
S BROAD ST                       BIGLER ST                    POLLOCK ST
BIGLER ST                        S BROAD ST                   S CARLISLE ST
S 68TH ST                        CUL DE SAC NORTH             EGRET PL
S 68TH ST                        EGRET PL                     GREBE PL
FINCH PL                         S 68TH ST                    CUL DE SAC WEST
S 68TH ST                        GREBE PL                     LINDBERGH BLVD
S 68TH ST                        LINDBERGH BLVD               LINDBERGH BLVD
DICKS AVE                        S 63RD ST                    S 64TH ST
S 66TH ST                        THEODORE ST                  BUIST AVE
DICKS AVE                        S 64TH ST                    S 65TH ST
DICKS AVE                        S 65TH ST                    S DAGGETT ST
EASTWICK AVE                     S 63RD ST                    S 64TH ST
S 64TH ST                        LINDBERGH BLVD               EASTWICK AVE
DICKS AVE                        S DAGGETT ST                 S 66TH ST
S 66TH ST                        BUIST AVE                    DICKS AVE
EASTWICK AVE                     S 64TH ST                    S SIMPSON ST
S SIMPSON ST                     LINDBERGH BLVD               EASTWICK AVE
S 66TH ST                        DICKS AVE                    GUYER AVE
DICKS AVE                        S 66TH ST                    SHIELDS ST
S 66TH ST                        GUYER AVE                    DOREL ST
DICKS AVE                        SHIELDS ST                   S 67TH ST
S 67TH ST                        BUIST AVE                    DICKS AVE
EASTWICK AVE                     S SIMPSON ST                 S 65TH ST
S 65TH ST                        LINDBERGH BLVD               EASTWICK AVE
BOBOLINK PL                      CUL DE SAC NORTH             S 66TH ST
S 66TH ST                        DOREL ST                     BOBOLINK PL
DICKS AVE                        S 67TH ST                    BONNAFFON ST
S 67TH ST                        DICKS AVE                    GUYER AVE
DICKS AVE                        BONNAFFON ST                 HOBSON ST
S 67TH ST                        GUYER AVE                    DOREL ST
S 66TH ST                        BOBOLINK PL                  CURLEW PL
DICKS AVE                        HOBSON ST                    S 68TH ST
S 67TH ST                        DOREL ST                     GROVERS AVE
HARLEY ST                        LINDBERGH BLVD               S 66TH ST
S 66TH ST                        CURLEW PL                    HARLEY ST
EASTWICK AVE                     S 65TH ST                    BITTERN PL
DICKS AVE                        S 68TH ST                    CARROLL ST
HARLEY ST                        S 66TH ST                    DOWITCHER PL
S 68TH ST                        GUYER AVE                    DOREL ST
HARLEY ST                        DOWITCHER PL                 S 67TH ST
EASTWICK AVE                     BITTERN PL                   LINDBERGH BLVD
GROVERS AVE                      S 67TH ST                    S 68TH ST
S 68TH ST                        DOREL ST                     GROVERS AVE
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HARLEY ST                        S 67TH ST                    S 68TH ST
THEODORE ST                      S 65TH ST                    S 66TH ST
GUYER AVE                        LINDBERGH BLVD               S 64TH ST
CHELWYNDE AVE                    S 64TH ST                    S 65TH ST
GUYER AVE                        S 64TH ST                    S 65TH ST
S DAGGETT ST                     BUIST AVE                    DICKS AVE
GUYER AVE                        S 65TH ST                    S 66TH ST
SHIELDS ST                       BUIST AVE                    DICKS AVE
GUYER AVE                        S 66TH ST                    S 67TH ST
GUYER AVE                        S 67TH ST                    S 68TH ST
GUYER AVE                        S 68TH ST                    S 69TH ST
DOREL ST                         S 64TH ST                    S 65TH ST
DOREL ST                         S 65TH ST                    S 66TH ST
DOREL ST                         S 66TH ST                    S 67TH ST
DOREL ST                         S 67TH ST                    S 68TH ST
GARMAN ST                        S 64TH ST                    S 65TH ST
S 62ND ST                        DICKENS AVE                  BUIST AVE
S 64TH ST                        GRAYS AVE                    WHEELER ST
S 64TH ST                        WHEELER ST                   REEDLAND ST
S 62ND ST                        BUIST AVE                    CHELWYNDE AVE
S 64TH ST                        REEDLAND ST                  ELMWOOD AVE
EASTWICK AVE                     S 61ST ST                    S DEWEY ST
S 62ND ST                        CHELWYNDE AVE                DICKS AVE
S 62ND ST                        DICKS AVE                    LINDBERGH BLVD
S 64TH ST                        ELMWOOD AVE                  DICKENS AVE
EASTWICK AVE                     S DEWEY ST                   S ROBINSON ST
DICKS AVE                        S 62ND ST                    S FELTON ST
S 62ND ST                        LINDBERGH BLVD               HARLEY AVE
S 62ND ST                        HARLEY AVE                   HARLEY AVE
EASTWICK AVE                     S ROBINSON ST                S 62ND ST
S 62ND ST                        HARLEY AVE                   EASTWICK AVE
DICKS AVE                        S FELTON ST                  S 63RD ST
S 64TH ST                        BUIST AVE                    GARMAN ST
EASTWICK AVE                     S 62ND ST                    S FELTON ST
S 64TH ST                        GARMAN ST                    CHELWYNDE AVE
S 64TH ST                        CHELWYNDE AVE                CHELWYNDE AVE
S 64TH ST                        CHELWYNDE AVE                DICKS AVE
EASTWICK AVE                     S FELTON ST                  S 63RD ST
S 64TH ST                        DOREL ST                     LINDBERGH BLVD
S 64TH ST                        DICKENS AVE                  THEODORE ST
S 64TH ST                        THEODORE ST                  BUIST AVE
S DEWEY ST                       BUIST AVE                    LINDBERGH BLVD
CHELWYNDE AVE                    S 62ND ST                    S FELTON ST
S DEWEY ST                       HARLEY AVE                   EASTWICK AVE
S FELTON ST                      CHELWYNDE AVE                DICKS AVE
CHELWYNDE AVE                    S FELTON ST                  S 63RD ST
HARLEY AVE                       S 62ND ST                    S FELTON ST
S FELTON ST                      HARLEY AVE                   EASTWICK AVE
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CHELWYNDE AVE                     S 63RD ST                    S 64TH ST
HARLEY AVE                        S FELTON ST                  S 63RD ST
WHEELER ST                        S 62ND ST                    S 63RD ST
S ROBINSON ST                     ELMWOOD AVE                  BUIST AVE
WHEELER ST                        S 63RD ST                    S 64TH ST
S ROBINSON ST                     BUIST AVE                    DICKS AVE
S GROSS ST                        ELMWOOD AVE                  DICKENS AVE
THEODORE ST                       S 63RD ST                    S 64TH ST
THEODORE ST                       S 60TH ST                    S EDGEWOOD ST
S 60TH ST                         THEODORE ST                  BUIST AVE
S 61ST ST                         ELMWOOD AVE                  BUIST AVE
S 61ST ST                         BUIST AVE                    LINDBERGH BLVD
DICKENS AVE                       S 63RD ST                    S GROSS ST
DICKENS AVE                       S GROSS ST                   S 64TH ST
DICKENS AVE                       S 64TH ST                    S 65TH ST
REEDLAND ST                       S 62ND ST                    S 63RD ST
DICKENS AVE                       S 62ND ST                    S FELTON ST
S FELTON ST                       ELMWOOD AVE                  DICKENS AVE
DICKENS AVE                       S FELTON ST                  S 63RD ST
REEDLAND ST                       S 63RD ST                    S 64TH ST
S 62ND ST                         GLENMORE AVE                 GRAYS AVE
S 62ND ST                         GRAYS AVE                    WHEELER ST
S 62ND ST                         WHEELER ST                   REEDLAND ST
S 62ND ST                         REEDLAND ST                  ELMWOOD AVE
S 62ND ST                         ELMWOOD AVE                  DICKENS AVE
DICKS AVE                         S ROBINSON ST                S 62ND ST
S DEWEY ST                        ELMWOOD AVE                  BUIST AVE
GRAYS AVE                         S 62ND ST                    S 63RD ST
GRAYS AVE                         S 63RD ST                    S 64TH ST
GRAYS AVE                         S 64TH ST                    S 65TH ST
PASCHALL AVE                      S FELTON ST                  S 63RD ST
THEODORE ST                       S EDGEWOOD ST                S MILLICK ST
THEODORE ST                       S MILLICK ST                 S 61ST ST
REEDLAND ST                       S 65TH ST                    S 66TH ST
GREBE PL                          S 68TH ST                    CUL DE SAC WEST
BITTERN PL                        LINDBERGH BLVD               EASTWICK AVE
LINDBERGH BLVD                    S 68TH ST                    S 70TH ST
S 70TH ST                         WAXWING PL                   GROSBEAK PL
S 70TH ST                         GROSBEAK PL                  IBIS PL
S 70TH ST                         IBIS PL                      LINDBERGH BLVD
LINDBERGH BLVD                    S 70TH ST                    S 72ND ST
LINDBERGH BLVD                    S 72ND ST                    S 74TH ST
HARLEY AVE                        S 61ST ST                    S DEWEY ST
HARLEY AVE                        S DEWEY ST                   S ROBINSON ST
HARLEY AVE                        S ROBINSON ST                S 62ND ST
S ROBINSON ST                     HARLEY AVE                   EASTWICK AVE
DICKS AVE                         LINDBERGH BLVD               S ROBINSON ST
REEDBIRD PL                       S 70TH ST                    S 70TH ST
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REEDBIRD PL                      CUL DE SAC EAST              S 70TH ST
GROSBEAK PL                      CUL DE SAC NORTH             S 70TH ST
IBIS PL                          CUL DE SAC NORTH             S 70TH ST
CORMORANT PL                     S 66TH ST                    CUL DE SAC WEST
EGRET PL                         CUL DE SAC EAST              FINCH PL
DOWITCHER PL                     HARLEY ST                    CUL DE SAC EAST
CURLEW PL                        S 66TH ST                    CUL DE SAC WEST
WAXWING PL                       CUL DE SAC EAST              S 70TH ST
S 70TH ST                        REEDBIRD PL                  WAXWING PL
LARK PL                          S 70TH ST                    CUL DE SAC SOUTH
S 72ND ST                        LINDBERGH BLVD               LINDBERGH BLVD
SHELDRAKE PL                     S 70TH ST                    S 70TH ST
LARK PL                          S 70TH ST                    S 70TH ST
S MILLICK ST                     LINDBERGH BLVD               DEAD END EAST
S 60TH ST                        BUIST AVE                    LINDBERGH BLVD
S 62ND ST                        PASCHALL AVE                 GLENMORE AVE
S 62ND ST                        GLENMORE AVE                 GLENMORE AVE
GLENMORE AVE                     S 62ND ST                    S 63RD ST
S 68TH ST                        DICKS AVE                    GUYER AVE
S 68TH ST                        GROVERS AVE                  HARLEY ST
S 67TH ST                        GROVERS AVE                  HARLEY ST
S 64TH ST                        DICKS AVE                    GUYER AVE
S 64TH ST                        GUYER AVE                    DOREL ST
S 70TH ST                        SHELDRAKE PL                 LARK PL
SHELDRAKE PL                     S 70TH ST                    CUL DE SAC SOUTH
S 70TH ST                        LARK PL                      LINDBERGH BLVD
FORRESTAL ST                     OLYMPIA PL                   S UBER ST
LANVALE PL                       SCHLEY ST                    LANVALE PL
PORTER ST                        S BROAD ST                   S BROAD ST
SHUNK ST                         S BROAD ST                   S BROAD ST
S 18TH ST                        OREGON AVE                   OREGON AVE
S BOUVIER ST                     OREGON AVE                   OREGON AVE
S COLORADO ST                    OREGON AVE                   OREGON AVE
S 17TH ST                        OREGON AVE                   OREGON AVE
S CHADWICK ST                    OREGON AVE                   OREGON AVE
S 16TH ST                        OREGON AVE                   OREGON AVE
S MOLE ST                        OREGON AVE                   OREGON AVE
S HICKS ST                       OREGON AVE                   OREGON AVE
S 15TH ST                        OREGON AVE                   OREGON AVE
S COLORADO ST                    OREGON AVE                   OREGON AVE
S 19TH ST                        OREGON AVE                   OREGON AVE
S SMEDLEY ST                     OREGON AVE                   OREGON AVE
S 62ND ST                        WHEELER ST                   WHEELER ST
S 69TH ST                        GUYER AVE                    DEAD END SOUTH
CAPRI DR                         S 20TH ST                    DAVINCI DR
EASTWICK AVE                     LINDBERGH BLVD               LINDBERGH BLVD
PACKER AVE                       S 19TH ST                    S 20TH ST
S 19TH ST                        PACKER AVE                   SCHLEY ST
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S 18TH ST                       PACKER AVE                   SCHLEY ST
SCHLEY ST                       S 18TH ST                    LANVALE PL
SCHLEY ST                       LANVALE PL                   S 19TH ST
IBIS PL                         S 70TH ST                    S 70TH ST
S 67TH ST                       NORWITCH DR                  ESSINGTON AVE
S 67TH ST                       ESSINGTON AVE                ESSINGTON AVE
ESSINGTON AVE                   W PASSYUNK AVE               S 67TH ST
ESSINGTON AVE                   S 67TH ST                    WHOLESALE PRODUCE MARKET DWY
S 60TH ST                       LINDBERGH BLVD               DEAD END EAST
S EDGEWOOD ST                   LINDBERGH BLVD               DEAD END EAST
RESERVE DR                      S 20TH ST                    PRIMA CT
RESERVE DR                      PRIMA CT                     TUSCANY DR
RESERVE DR                      TUSCANY DR                   CAPRI CT
RESERVE DR                      CAPRI CT                     TREVI CT
RESERVE DR                      TREVI CT                     RESERVE DR
RESERVE DR                      RESERVE DR                   SIENA CT
RESERVE DR                      SIENA CT                     PATTISON AVE
TUSCANY DR                      RESERVE DR                   PATTISON AVE
CAPRI CT                        CAPRI DR                     RESERVE DR
S 28TH ST                       W PASSYUNK AVE               FRONTAGE RD
S BROAD ST                      S BROAD ST                   S BROAD ST
FDR PARK DR                     PATTISON AVE                 FDR PARK DR
FDR PARK DR                     S BROAD ST                   FDR PARK DR
CAPRI DR                        DAVINCI DR                   VERONA DR
DAVINCI DR                      CAPRI DR                     VERONA DR
VERONA DR                       DAVINCI DR                   CAPRI DR
CROATAN PL                      CUL DE SAC EAST              CROATAN PL
OLYMPIA PL                      CUL DE SAC NORTH             OLYMPIA PL
OLYMPIA PL                      OLYMPIA PL                   FORRESTAL ST
HARTRANFT ST                    CALABRIA WAY                 PIETRO WAY
CALABRIA WAY                    FOGGIA DR                    HARTRANFT ST
PIETRO WAY                      FOGGIA DR                    HARTRANFT ST
PIETRO WAY                      ROMA DR                      FOGGIA DR
FOGGIA DR                       SALERNO WAY                  CALABRIA WAY
FOGGIA DR                       CALABRIA WAY                 PIETRO WAY
SALERNO WAY                     ROMA DR                      FOGGIA DR
ROMA DR                         SALERNO WAY                  PIETRO WAY
ROMA DR                         PIETRO WAY                   NAPOLI WAY
ROMA DR                         NAPOLI WAY                   TRIESTE WAY
TRIESTE WAY                     ROMA DR                      GENOA DR
NAPOLI WAY                      ROMA DR                      GENOA DR
NAPOLI WAY                      GENOA DR                     HARTRANFT ST
GENOA DR                        NAPOLI WAY                   TRIESTE WAY
CAPRI DR                        VERONA DR                    SORRENTO CT
HARTRANFT ST                    PIETRO WAY                   NAPOLI WAY
DENFELD PL                      FORRESTAL ST                 CUL DE SAC SOUTH
DENFELD PL                      GEARY ST                     HULSEMAN ST
PENROSE FERRY RD                S 26TH ST                    CUL DE SAC SOUTH
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FDR PARK DR                   FDR PARK DR                  FDR PARK DR
FDR PARK DR                   FDR PARK DR                  S 20TH ST
FDR PARK DR                   S 20TH ST                    FDR PARK DR
S 20TH ST                     PATTISON AVE                 FDR PARK DR
WAXWING PL                    S 70TH ST                    S 70TH ST
W MOYAMENSING AVE             S 12TH ST                    S CAMAC ST
W MOYAMENSING AVE             S CAMAC ST                   S ISEMINGER ST
W MOYAMENSING AVE             S ISEMINGER ST               S 13TH ST
S WATTS ST                    PORTER ST                    SHUNK ST
W MOYAMENSING AVE             S 13TH ST                    S CLARION ST
S CLARION ST                  PORTER ST                    W MOYAMENSING AVE
SHUNK ST                      W MOYAMENSING AVE            S JUNIPER ST
S JUNIPER ST                  PORTER ST                    SHUNK ST
SHUNK ST                      S JUNIPER ST                 S WATTS ST
SHUNK ST                      S 13TH ST                    W MOYAMENSING AVE
SHUNK ST                      S ISEMINGER ST               S 13TH ST
W MOYAMENSING AVE             SHUNK ST                     S JUNIPER ST
S CAMAC ST                    W MOYAMENSING AVE            SHUNK ST
SHUNK ST                      S CAMAC ST                   S ISEMINGER ST
S 12TH ST                     W MOYAMENSING AVE            SHUNK ST
SHUNK ST                      S 12TH ST                    S CAMAC ST
SHUNK ST                      S SARTAIN ST                 S 12TH ST
SHUNK ST                      S JESSUP ST                  S SARTAIN ST
W MOYAMENSING AVE             S JUNIPER ST                 S WATTS ST
SHUNK ST                      S 11TH ST                    S JESSUP ST
SHUNK ST                      S WARNOCK ST                 S 11TH ST
SHUNK ST                      S ALDER ST                   S WARNOCK ST
SHUNK ST                      S 10TH ST                    S ALDER ST
SHUNK ST                      S HUTCHINSON ST              S 10TH ST
SHUNK ST                      S PERCY ST                   S HUTCHINSON ST
S 12TH ST                     SHUNK ST                     OREGON AVE
SHUNK ST                      S WATTS ST                   S BROAD ST
W MOYAMENSING AVE             S WATTS ST                   S BROAD ST
S LAWRENCE ST                 PACKER AVE                   PATTISON AVE
S 3RD ST                      PACKER AVE                   PATTISON AVE
S 3RD ST                      PATTISON AVE                 DEAD END SOUTH
S GALLOWAY ST                 PATTISON AVE                 DEAD END SOUTH
S LAWRENCE ST                 PATTISON AVE                 DEAD END SOUTH
S DARIEN ST                   PATTISON AVE                 DEAD END SOUTH
S 13TH ST                     PACKER AVE                   CURTIN ST
S 13TH ST                     CURTIN ST                    GEARY ST
S JUNIPER ST                  PACKER AVE                   CURTIN ST
S JUNIPER ST                  CURTIN ST                    GEARY ST
BIGLER ST                     S DARIEN ST                  S MILDRED ST
BIGLER ST                     S 8TH ST                     S DARIEN ST
BIGLER ST                     S FRANKLIN ST                S 8TH ST
BIGLER ST                     S FRANKLIN ST                S FRANKLIN ST
BIGLER ST                     S BEULAH ST                  S FRANKLIN ST
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BIGLER ST                       S 7TH ST                     S BEULAH ST
S DARIEN ST                     BIGLER ST                    STELLA MARIS ST
S FRANKLIN ST                   BIGLER ST                    STELLA MARIS ST
STELLA MARIS ST                 S FRANKLIN ST                S DARIEN ST
SAINT MICHAEL DR                S 5TH ST                     CUL DE SAC WEST
S 3RD ST                        OREGON AVE                   CUL DE SAC SOUTH
SHUNK ST                        S SWANSON ST                 S FRONT ST
PORTER ST                       S ORKNEY ST                  S 5TH ST
PORTER ST                       S LAWRENCE ST                S ORKNEY ST
PORTER ST                       S 4TH ST                     S LAWRENCE ST
PORTER ST                       S GALLOWAY ST                S 4TH ST
PORTER ST                       S 3RD ST                     S GALLOWAY ST
PORTER ST                       S AMERICAN ST                S 3RD ST
PORTER ST                       S PHILIP ST                  S AMERICAN ST
PORTER ST                       S 2ND ST                     S PHILIP ST
PORTER ST                       S LEE ST                     S FRONT ST
PORTER ST                       S WATER ST                   S LEE ST
PORTER ST                       S SWANSON ST                 S WATER ST
S AMERICAN ST                   PORTER ST                    SHUNK ST
S 2ND ST                        PORTER ST                    SHUNK ST
S 2ND ST                        SHUNK ST                     OREGON AVE
PORTER ST                       S HANCOCK ST                 S 2ND ST
PORTER ST                       S FRONT ST                   S HOWARD ST
PORTER ST                       S HOWARD ST                  S HANCOCK ST
S 4TH ST                        PORTER ST                    VOLLMER ST
VOLLMER ST                      S 4TH ST                     S 5TH ST
SHUNK ST                        S LAWRENCE ST                S 5TH ST
S 4TH ST                        VOLLMER ST                   SHUNK ST
S GALLOWAY ST                   PORTER ST                    SHUNK ST
SHUNK ST                        S GALLOWAY ST                S 4TH ST
S 3RD ST                        PORTER ST                    SHUNK ST
SHUNK ST                        S 3RD ST                     S GALLOWAY ST
SHUNK ST                        S AMERICAN ST                S 3RD ST
SHUNK ST                        SAINT CHRISTOPHER DR         S AMERICAN ST
S PHILIP ST                     PORTER ST                    SHUNK ST
SHUNK ST                        S PHILIP ST                  SAINT CHRISTOPHER DR
S 4TH ST                        SHUNK ST                     OREGON AVE
S 3RD ST                        SHUNK ST                     OREGON AVE
SHUNK ST                        S HANCOCK ST                 S 2ND ST
SHUNK ST                        S FRONT ST                   S HOWARD ST
SHUNK ST                        S HOWARD ST                  S HANCOCK ST
SAINT CHRISTOPHER DR            SHUNK ST                     OREGON AVE
PORTER ST                       S SARTAIN ST                 W MOYAMENSING AVE
PORTER ST                       S JESSUP ST                  S SARTAIN ST
PORTER ST                       S 11TH ST                    S JESSUP ST
PORTER ST                       S WARNOCK ST                 S 11TH ST
PORTER ST                       S ALDER ST                   S WARNOCK ST
PORTER ST                       S 10TH ST                    S ALDER ST
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PORTER ST                        S HUTCHINSON ST              S 10TH ST
PORTER ST                        S PERCY ST                   S HUTCHINSON ST
PORTER ST                        S 9TH ST                     S PERCY ST
PORTER ST                        S DARIEN ST                  S 9TH ST
PORTER ST                        S MILDRED ST                 S DARIEN ST
PORTER ST                        S 8TH ST                     S MILDRED ST
PORTER ST                        S FRANKLIN ST                S 8TH ST
PORTER ST                        S BEULAH ST                  S FRANKLIN ST
PORTER ST                        S 7TH ST                     S BEULAH ST
PORTER ST                        S SHERIDAN ST                S 7TH ST
PORTER ST                        S MARSHALL ST                S SHERIDAN ST
PORTER ST                        S 6TH ST                     S MARSHALL ST
PORTER ST                        S FAIRHILL ST                S 6TH ST
PORTER ST                        S REESE ST                   S FAIRHILL ST
PORTER ST                        S 5TH ST                     S REESE ST
S 11TH ST                        PORTER ST                    SHUNK ST
S WARNOCK ST                     PORTER ST                    SHUNK ST
S ALDER ST                       PORTER ST                    SHUNK ST
S 9TH ST                         PORTER ST                    SHUNK ST
S DARIEN ST                      PORTER ST                    SHUNK ST
S MILDRED ST                     PORTER ST                    SHUNK ST
S FRANKLIN ST                    PORTER ST                    SHUNK ST
S 7TH ST                         PORTER ST                    SHUNK ST
S MARSHALL ST                    PORTER ST                    SHUNK ST
S FAIRHILL ST                    PORTER ST                    SHUNK ST
S REESE ST                       PORTER ST                    SHUNK ST
S 11TH ST                        SHUNK ST                     OREGON AVE
S 9TH ST                         SHUNK ST                     OREGON AVE
S FRANKLIN ST                    SHUNK ST                     OREGON AVE
S 7TH ST                         SHUNK ST                     OREGON AVE
S BEULAH ST                      OREGON AVE                   MOLLBORE TER
S 11TH ST                        MOLLBORE TER                 JOHNSTON ST
S 9TH ST                         OREGON AVE                   JOHNSTON ST
S SHERIDAN ST                    OREGON AVE                   JOHNSTON ST
S MARSHALL ST                    OREGON AVE                   JOHNSTON ST
S SHERIDAN ST                    JOHNSTON ST                  BIGLER ST
S MARSHALL ST                    JOHNSTON ST                  BIGLER ST
S 11TH ST                        OREGON AVE                   MOLLBORE TER
S 11TH ST                        MOLLBORE TER                 MOLLBORE TER
S BEULAH ST                      MOLLBORE TER                 MOLLBORE TER
S BEULAH ST                      MOLLBORE TER                 JOHNSTON ST
S 10TH ST                        PORTER ST                    SHUNK ST
SHUNK ST                         S PERCY ST                   S PERCY ST
SHUNK ST                         S 9TH ST                     S PERCY ST
SHUNK ST                         S DARIEN ST                  S 9TH ST
SHUNK ST                         S MILDRED ST                 S DARIEN ST
S 8TH ST                         PORTER ST                    SHUNK ST
SHUNK ST                         S 8TH ST                     S MILDRED ST
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SHUNK ST                           S FRANKLIN ST                S 8TH ST
S BEULAH ST                        PORTER ST                    SHUNK ST
SHUNK ST                           S BEULAH ST                  S FRANKLIN ST
SHUNK ST                           S 7TH ST                     S BEULAH ST
S SHERIDAN ST                      PORTER ST                    SHUNK ST
SHUNK ST                           S SHERIDAN ST                S 7TH ST
SHUNK ST                           S MARSHALL ST                S SHERIDAN ST
SHUNK ST                           S 6TH ST                     S MARSHALL ST
SHUNK ST                           S FAIRHILL ST                S 6TH ST
SHUNK ST                           S REESE ST                   S FAIRHILL ST
SHUNK ST                           S 5TH ST                     S REESE ST
S ALDER ST                         SHUNK ST                     OREGON AVE
S 10TH ST                          SHUNK ST                     OREGON AVE
S HUTCHINSON ST                    SHUNK ST                     OREGON AVE
S MILDRED ST                       SHUNK ST                     OREGON AVE
S BEULAH ST                        SHUNK ST                     OREGON AVE
S SHERIDAN ST                      SHUNK ST                     OREGON AVE
S MARSHALL ST                      SHUNK ST                     OREGON AVE
S 8TH ST                           OREGON AVE                   MOLLBORE TER
S ALDER ST                         MOLLBORE TER                 JOHNSTON ST
S HUTCHINSON ST                    OREGON AVE                   JOHNSTON ST
S FAIRHILL ST                      OREGON AVE                   JOHNSTON ST
S RANDOLPH ST                      OREGON AVE                   JOHNSTON ST
BIGLER ST                          S SHERIDAN ST                S 7TH ST
BIGLER ST                          S MARSHALL ST                S SHERIDAN ST
S FAIRHILL ST                      JOHNSTON ST                  BIGLER ST
BIGLER ST                          S FAIRHILL ST                S MARSHALL ST
BIGLER ST                          S RANDOLPH ST                S FAIRHILL ST
S ALDER ST                         OREGON AVE                   MOLLBORE TER
S ALDER ST                         MOLLBORE TER                 MOLLBORE TER
S 8TH ST                           MOLLBORE TER                 MOLLBORE TER
S 8TH ST                           SHUNK ST                     OREGON AVE
S DARIEN ST                        OREGON AVE                   JOHNSTON ST
S 8TH ST                           MOLLBORE TER                 JOHNSTON ST
S PERCY ST                         PORTER ST                    SHUNK ST
S PERCY ST                         SHUNK ST                     OREGON AVE
S DARIEN ST                        SHUNK ST                     OREGON AVE
S 10TH ST                          OREGON AVE                   JOHNSTON ST
BIGLER ST                          S WARNOCK ST                 S 11TH ST
BIGLER ST                          S ALDER ST                   S WARNOCK ST
BIGLER ST                          S 9TH ST                     S HUTCHINSON ST
BIGLER ST                          S MILDRED ST                 S 9TH ST
BIGLER ST                          S HUTCHINSON ST              S 10TH ST
S JESSUP ST                        SHUNK ST                     OREGON AVE
S WARNOCK ST                       SHUNK ST                     OREGON AVE
S 13TH ST                          JOHNSTON ST                  BIGLER ST
BIGLER ST                          S 13TH ST                    S JUNIPER ST
BIGLER ST                          S CAMAC ST                   S ISEMINGER ST
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BIGLER ST                         S 12TH ST                    S CAMAC ST
BIGLER ST                         S MARVINE ST                 S 12TH ST
BIGLER ST                         S 11TH ST                    S MARVINE ST
BIGLER ST                         S BROAD ST                   S BROAD ST
PORTER ST                         S JUNIPER ST                 S WATTS ST
PORTER ST                         S CLARION ST                 S JUNIPER ST
PORTER ST                         S 13TH ST                    S CLARION ST
PORTER ST                         S ISEMINGER ST               S 13TH ST
PORTER ST                         S CAMAC ST                   S ISEMINGER ST
PORTER ST                         W MOYAMENSING AVE            S CAMAC ST
S 13TH ST                         PORTER ST                    W MOYAMENSING AVE
S 13TH ST                         W MOYAMENSING AVE            SHUNK ST
S ISEMINGER ST                    W MOYAMENSING AVE            SHUNK ST
S SARTAIN ST                      PORTER ST                    SHUNK ST
S ISEMINGER ST                    SHUNK ST                     OREGON AVE
PORTER ST                         S WATTS ST                   S BROAD ST
S 12TH ST                         MOLLBORE TER                 MOLLBORE TER
S ISEMINGER ST                    MOLLBORE TER                 MOLLBORE TER
S 13TH ST                         SHUNK ST                     OREGON AVE
S JESSUP ST                       PORTER ST                    SHUNK ST
S WATTS ST                        W MOYAMENSING AVE            OREGON AVE
S JUNIPER ST                      W MOYAMENSING AVE            OREGON AVE
S CAMAC ST                        SHUNK ST                     OREGON AVE
S SARTAIN ST                      SHUNK ST                     OREGON AVE
S MARVINE ST                      OREGON AVE                   JOHNSTON ST
JOHNSTON ST                       S 9TH ST                     S HUTCHINSON ST
JOHNSTON ST                       S MILDRED ST                 S 9TH ST
JOHNSTON ST                       S FRANKLIN ST                S 8TH ST
JOHNSTON ST                       S 8TH ST                     S 8TH ST
JOHNSTON ST                       S CAMAC ST                   S ISEMINGER ST
JOHNSTON ST                       S 12TH ST                    S CAMAC ST
JOHNSTON ST                       S WARNOCK ST                 S 11TH ST
JOHNSTON ST                       S ALDER ST                   S WARNOCK ST
JOHNSTON ST                       S BEULAH ST                  S FRANKLIN ST
JOHNSTON ST                       S MARSHALL ST                S SHERIDAN ST
JOHNSTON ST                       S FAIRHILL ST                S MARSHALL ST
JOHNSTON ST                       S RANDOLPH ST                S FAIRHILL ST
GEARY ST                          S JUNIPER ST                 S BROAD ST
GEARY ST                          S 13TH ST                    S JUNIPER ST
CURTIN ST                         S 13TH ST                    S JUNIPER ST
POLLOCK ST                        SCHUYLKILL EXPY RAMP         S JUNIPER ST
S JUNIPER ST                      BIGLER ST                    POLLOCK ST
S 13TH ST                         BIGLER ST                    POLLOCK ST
BIGLER ST                         S ISEMINGER ST               S 13TH ST
POLLOCK ST                        S JUNIPER ST                 S BROAD ST
BIGLER ST                         S JUNIPER ST                 S BROAD ST
S 12TH ST                         JOHNSTON ST                  BIGLER ST
S MARVINE ST                      JOHNSTON ST                  BIGLER ST
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S CAMAC ST                      JOHNSTON ST                  BIGLER ST
S ISEMINGER ST                  JOHNSTON ST                  BIGLER ST
S 11TH ST                       JOHNSTON ST                  BIGLER ST
S WARNOCK ST                    JOHNSTON ST                  BIGLER ST
S 12TH ST                       MOLLBORE TER                 JOHNSTON ST
S ISEMINGER ST                  OREGON AVE                   MOLLBORE TER
S 12TH ST                       OREGON AVE                   MOLLBORE TER
JOHNSTON ST                     S ISEMINGER ST               S 13TH ST
JOHNSTON ST                     S 11TH ST                    S MARVINE ST
JOHNSTON ST                     S MARVINE ST                 S 12TH ST
S ISEMINGER ST                  MOLLBORE TER                 JOHNSTON ST
JOHNSTON ST                     S 10TH ST                    S ALDER ST
JOHNSTON ST                     S HUTCHINSON ST              S 10TH ST
S ALDER ST                      JOHNSTON ST                  BIGLER ST
S 10TH ST                       JOHNSTON ST                  BIGLER ST
S HUTCHINSON ST                 JOHNSTON ST                  BIGLER ST
S 9TH ST                        JOHNSTON ST                  BIGLER ST
S MILDRED ST                    JOHNSTON ST                  BIGLER ST
JOHNSTON ST                     S 8TH ST                     S DARIEN ST
JOHNSTON ST                     S 7TH ST                     S BEULAH ST
S 8TH ST                        JOHNSTON ST                  BIGLER ST
S FRANKLIN ST                   JOHNSTON ST                  BIGLER ST
S BEULAH ST                     JOHNSTON ST                  BIGLER ST
S DARIEN ST                     JOHNSTON ST                  BIGLER ST
JOHNSTON ST                     S DARIEN ST                  S MILDRED ST
JOHNSTON ST                     S SHERIDAN ST                S 7TH ST
S LAWRENCE ST                   SHUNK ST                     SAINT MICHAEL DR
SHUNK ST                        S 4TH ST                     S LAWRENCE ST
SAINT MICHAEL DR                S LAWRENCE ST                S 5TH ST
SHUNK ST                        S 2ND ST                     S PHILIP ST
S FAIRHILL ST                   SHUNK ST                     OREGON AVE
BIGLER ST                       S 10TH ST                    S ALDER ST
S 11TH ST                       PATTISON AVE                 NORTH ACCESS RD
S 11TH ST                       NORTH ACCESS RD              TERMINAL AVE
PACKER AVE                      CUL DE SAC EAST              S CHRISTOPHER COLUMBUS BLVD
S HANCOCK ST                    SHUNK ST                     OREGON AVE
S HANCOCK ST                    PORTER ST                    SHUNK ST
S HOWARD ST                     SHUNK ST                     OREGON AVE
S HOWARD ST                     PORTER ST                    SHUNK ST
S GALLOWAY ST                   PACKER AVE                   DEAD END SOUTH
S LAWRENCE ST                   SAINT MICHAEL DR             CUL DE SAC SOUTH
MOLLBORE TER                    S ALDER ST                   S 11TH ST
MOLLBORE TER                    S BEULAH ST                  S 8TH ST
MOLLBORE TER                    S 12TH ST                    S ISEMINGER ST
MOLLBORE TER                    S BEULAH ST                  S 8TH ST
MOLLBORE TER                    S ALDER ST                   S 11TH ST
MOLLBORE TER                    S 12TH ST                    S ISEMINGER ST
S 10TH ST                       BIGLER ST                    PACKER AVE
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S BROAD ST                     BIGLER ST                     S BROAD ST
CURTIN ST                      S JUNIPER ST                  S BROAD ST
HARTRANFT ST                   S BROAD ST                    S BROAD ST
S RANDOLPH ST                  JOHNSTON ST                   BIGLER ST
PACKER AVE                     S CHRISTOPHER COLUMBUS BLVD   S CHRISTOPHER COLUMBUS BLVD
S BROAD ST                     HARTRANFT ST                  S BROAD ST
S BROAD ST                     CUL DE SAC NORTH              CURTIN ST
S BROAD ST                     CURTIN ST                     GEARY ST
S CHRISTOPHER COLUMBUS BLVD    CUL DE SAC NORTH              OREGON AVE
POLLOCK ST                     DEAD END EAST                 S 13TH ST
CURTIN ST                      DEAD END EAST                 S 13TH ST
S 13TH ST                      OREGON AVE                    JOHNSTON ST
GEARY ST                       S BROAD ST                    S BROAD ST
TERMINAL AVE                   S 11TH ST                     NORTH TERMINAL AVE
TERMINAL AVE                   NORTH TERMINAL AVE            S BROAD ST
NORTH TERMINAL AVE             TERMINAL AVE                  S BROAD ST
TERMINAL AVE                   S BROAD ST                    S BROAD ST
S 10TH ST                      PACKER AVE                    PHILLIES DR
S DARIEN ST                    SCHUYLKILL EXPY RAMP          PHILLIES DR
S DARIEN ST                    PHILLIES DR                   PATTISON AVE
S BROAD ST                     S BROAD ST                    DEAD END SOUTH
DELANCEY ST                    S 61ST ST                     S 62ND ST
PINE ST                        S 61ST ST                     S 62ND ST
S 62ND ST                      PINE ST                       OSAGE AVE
S 62ND ST                      OSAGE AVE                     OSAGE AVE
PINE ST                        S 58TH ST                     S 59TH ST
DELANCEY ST                    S 55TH ST                     S ALLISON ST
S 60TH ST                      PINE ST                       OSAGE AVE
S 61ST ST                      PINE ST                       OSAGE AVE
S 62ND ST                      OSAGE AVE                     ADDISON ST
DELANCEY ST                    S 54TH ST                     S 55TH ST
PINE ST                        S FRAZIER ST                  S 57TH ST
S 60TH ST                      OSAGE AVE                     OSAGE AVE
OSAGE AVE                      S 60TH ST                     S 61ST ST
PINE ST                        S 56TH ST                     S FRAZIER ST
DELANCEY ST                    S 53RD ST                     S 54TH ST
OSAGE AVE                      S 58TH ST                     S 59TH ST
S 60TH ST                      OSAGE AVE                     ADDISON ST
PINE ST                        S 55TH ST                     S ALLISON ST
PINE ST                        S CONESTOGA ST                S 55TH ST
PINE ST                        S 54TH ST                     S CONESTOGA ST
S 61ST ST                      OSAGE AVE                     LARCHWOOD AVE
ADDISON ST                     S 58TH ST                     S 59TH ST
PINE ST                        S 53RD ST                     S 54TH ST
S 60TH ST                      ADDISON ST                    LARCHWOOD AVE
LARCHWOOD AVE                  S REDFIELD ST                 S SALFORD ST
LARCHWOOD AVE                  S 59TH ST                     S REDFIELD ST
S 56TH ST                      OSAGE AVE                     ADDISON ST
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OSAGE AVE                        S 53RD ST                    S 54TH ST
LARCHWOOD AVE                    S 58TH ST                    S 59TH ST
S 55TH ST                        OSAGE AVE                    ADDISON ST
S 61ST ST                        LARCHWOOD AVE                HAZEL AVE
S 60TH ST                        LARCHWOOD AVE                HAZEL AVE
S 56TH ST                        ADDISON ST                   LARCHWOOD AVE
ADDISON ST                       S 53RD ST                    S 54TH ST
HAZEL AVE                        S 58TH ST                    S 59TH ST
S 55TH ST                        ADDISON ST                   LARCHWOOD AVE
S 62ND ST                        HAZEL AVE                    CEDAR AVE
LARCHWOOD AVE                    S YEWDALL ST                 S CONESTOGA ST
S 56TH ST                        LARCHWOOD AVE                HAZEL AVE
S 61ST ST                        HAZEL AVE                    CEDAR AVE
RODMAN ST                        S 58TH ST                    S 59TH ST
S 60TH ST                        HAZEL AVE                    CEDAR AVE
S 56TH ST                        HAZEL AVE                    HAZEL AVE
WALTON AVE                       S FELTON ST                  COBBS CREEK PKWY
S 56TH ST                        HAZEL AVE                    RODMAN ST
WALTON AVE                       S 61ST ST                    S 62ND ST
S 60TH ST                        CEDAR AVE                    WALTON AVE
S 56TH ST                        RODMAN ST                    CEDAR AVE
PEMBERTON ST                     S 58TH ST                    S 59TH ST
S 59TH ST                        PEMBERTON ST                 WALTON AVE
CATHARINE ST                     S FELTON ST                  COBBS CREEK PKWY
CATHARINE ST                     S 62ND ST                    S FELTON ST
CATHARINE ST                     S 61ST ST                    S 62ND ST
S 56TH ST                        CEDAR AVE                    PEMBERTON ST
WALTON AVE                       S 58TH ST                    S 59TH ST
S 60TH ST                        WALTON AVE                   CATHARINE ST
S 55TH ST                        CEDAR AVE                    PEMBERTON ST
S 56TH ST                        PEMBERTON ST                 WALTON AVE
CATHARINE ST                     S ALDEN ST                   S CECIL ST
S 55TH ST                        PEMBERTON ST                 WALTON AVE
WEBSTER ST                       S 61ST ST                    S 62ND ST
CATHARINE ST                     S ITHAN ST                   S FRAZIER ST
S 59TH ST                        CATHARINE ST                 WEBSTER ST
S 56TH ST                        WALTON AVE                   CATHARINE ST
S 60TH ST                        CATHARINE ST                 WEBSTER ST
S 59TH ST                        WEBSTER ST                   WEBSTER ST
S 55TH ST                        WALTON AVE                   CATHARINE ST
CHRISTIAN ST                     S 62ND ST                    COBBS CREEK PKWY
CATHARINE ST                     S YEWDALL ST                 S CONESTOGA ST
S 59TH ST                        WEBSTER ST                   NORFOLK ST
S 54TH ST                        WALTON AVE                   CATHARINE ST
CATHARINE ST                     S 54TH ST                    S YEWDALL ST
CHRISTIAN ST                     S 61ST ST                    S 62ND ST
CATHARINE ST                     S 53RD ST                    S 54TH ST
S 55TH ST                        CATHARINE ST                 WEBSTER ST
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S 60TH ST                     WEBSTER ST                   CHRISTIAN ST
CATHARINE ST                  S 52ND ST                    S 53RD ST
S 55TH ST                     WEBSTER ST                   WEBSTER ST
CARPENTER ST                  S 62ND ST                    COBBS CREEK PKWY
CHRISTIAN ST                  S 58TH ST                    S 59TH ST
S 55TH ST                     WEBSTER ST                   NORFOLK ST
CHRISTIAN ST                  S ALDEN ST                   S CECIL ST
S 61ST ST                     CHRISTIAN ST                 CARPENTER ST
CARPENTER ST                  S 61ST ST                    S 62ND ST
WEBSTER ST                    S 53RD ST                    S 54TH ST
S 60TH ST                     CHRISTIAN ST                 CARPENTER ST
S 56TH ST                     WEBSTER ST                   CHRISTIAN ST
S 59TH ST                     MONTROSE ST                  CARPENTER ST
S 55TH ST                     NORFOLK ST                   CHRISTIAN ST
WASHINGTON AVE                S 62ND ST                    COBBS CREEK PKWY
S 59TH ST                     CARPENTER ST                 CARPENTER ST
S 61ST ST                     CARPENTER ST                 WASHINGTON AVE
WASHINGTON AVE                S 61ST ST                    S 62ND ST
S 56TH ST                     CHRISTIAN ST                 MONTROSE ST
S 58TH ST                     MONTROSE ST                  CARPENTER ST
S 60TH ST                     CARPENTER ST                 WASHINGTON AVE
S 56TH ST                     MONTROSE ST                  CARPENTER ST
WHITBY AVE                    BALTIMORE AVE                S 52ND ST
ELLSWORTH ST                  S 62ND ST                    COBBS CREEK PKWY
S 58TH ST                     CARPENTER ST                 WASHINGTON AVE
ELLSWORTH ST                  S 61ST ST                    S 62ND ST
THOMAS AVE                    S 53RD ST                    ANGORA TER
BROOMALL ST                   BALTIMORE AVE                S 53RD ST
S 53RD ST                     THOMAS AVE                   BROOMALL ST
S 60TH ST                     WASHINGTON AVE               ELLSWORTH ST
ELLSWORTH ST                  S 60TH ST                    S 61ST ST
S 58TH ST                     WASHINGTON AVE               ALTER ST
S 59TH ST                     ALTER ST                     ELLSWORTH ST
S 59TH ST                     ELLSWORTH ST                 ELLSWORTH ST
S 53RD ST                     BROOMALL ST                  WHITBY AVE
S 58TH ST                     ALTER ST                     ELLSWORTH ST
S 58TH ST                     ELLSWORTH ST                 BALTIMORE AVE
S 54TH ST                     THOMAS AVE                   WHITBY AVE
S 61ST ST                     LATONA ST                    WHARTON ST
S 55TH ST                     ELLIOTT ST                   BROOMALL ST
S CONESTOGA ST                THOMAS AVE                   WHITBY AVE
S 54TH ST                     MALCOLM ST                   HADFIELD ST
S 60TH ST                     LATONA ST                    WHARTON ST
THOMAS AVE                    S 55TH ST                    S 55TH ST
CEDARHURST ST                 COBBS CREEK PKWY             S 59TH ST
THOMAS AVE                    S 56TH ST                    S ITHAN ST
S 60TH ST                     WHARTON ST                   BALTIMORE AVE
THOMAS AVE                    S ITHAN ST                   S FRAZIER ST
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S 56TH ST                     ELLIOTT ST                   BROOMALL ST
S 55TH ST                     MALCOLM ST                   HADFIELD ST
S 54TH ST                     PENTRIDGE ST                 RIDGEWOOD ST
WILLOWS AVE                   S 54TH ST                    S 55TH ST
S 54TH ST                     RIDGEWOOD ST                 FLORENCE AVE
PENTRIDGE ST                  S 54TH ST                    S 55TH ST
S 56TH ST                     MALCOLM ST                   HADFIELD ST
THOMAS AVE                    S 57TH ST                    S 58TH ST
S 55TH ST                     PENTRIDGE ST                 RIDGEWOOD ST
WILLOWS AVE                   S 55TH ST                    S 56TH ST
MALCOLM ST                    S FRAZIER ST                 S 57TH ST
WILLOWS AVE                   S 56TH ST                    S FRAZIER ST
HADFIELD ST                   S FRAZIER ST                 S 57TH ST
THOMAS AVE                    S 58TH ST                    COBBS CREEK PKWY
S 55TH ST                     LITCHFIELD ST                WARRINGTON AVE
WILLOWS AVE                   S FRAZIER ST                 S 57TH ST
FLORENCE AVE                  S 55TH ST                    S 56TH ST
S 57TH ST                     PENTRIDGE ST                 PENTRIDGE ST
S 56TH ST                     BEAUMONT ST                  LITCHFIELD ST
HADFIELD ST                   S 58TH ST                    COBBS CREEK PKWY
S 56TH ST                     WARRINGTON AVE               WINDSOR ST
S 56TH ST                     WINDSOR ST                   BELMAR ST
S 57TH ST                     BEAUMONT ST                  LITCHFIELD ST
WARRINGTON AVE                S 56TH ST                    S 57TH ST
PENTRIDGE ST                  S 58TH ST                    COBBS CREEK PKWY
S 57TH ST                     SPRINGFIELD AVE              CHESTER AVE
BEAUMONT ST                   S 58TH ST                    S 59TH ST
WARRINGTON AVE                S 58TH ST                    S 59TH ST
BELMAR ST                     S 59TH ST                    S 60TH ST
CHESTER AVE                   S 58TH ST                    S 59TH ST
CHESTER AVE                   S 59TH ST                    S REDFIELD ST
TRINITY ST                    S 59TH ST                    S 60TH ST
CHESTER AVE                   S REDFIELD ST                S SALFORD ST
S 60TH ST                     TRINITY ST                   TRINITY ST
CHESTER AVE                   S SALFORD ST                 S 60TH ST
S 60TH ST                     REGENT ST                    ALLMAN ST
CHESTER AVE                   S 60TH ST                    S EDGEWOOD ST
S 60TH ST                     ALLMAN ST                    KINGSESSING AVE
REGENT ST                     S EDGEWOOD ST                S 61ST ST
S 60TH ST                     UPLAND ST                    GREENWAY AVE
ALLMAN ST                     S EDGEWOOD ST                S 61ST ST
REINHARD ST                   S 60TH ST                    S 61ST ST
S EDGEWOOD ST                 GREENWAY AVE                 YOCUM ST
UPLAND ST                     S 60TH ST                    S 61ST ST
S 61ST ST                     YOCUM ST                     WOODLAND AVE
YOCUM ST                      S 61ST ST                    CEMETERY AVE
CHESTER AVE                   S 65TH ST                    S 66TH ST
UPLAND ST                     S AVONDALE ST                S SIMPSON ST
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S AVONDALE ST                 UPLAND ST                    GREENWAY AVE
GREENWAY AVE                  FARRELL LN                   S AVONDALE ST
S 64TH ST                     GREENWAY AVE                 WOODLAND AVE
S 53RD ST                     BALTIMORE AVE                THOMAS AVE
GREENWAY AVE                  DEAD END EAST                CEMETERY AVE
S 60TH ST                     DELANCEY ST                  DELANCEY ST
S 60TH ST                     DELANCEY ST                  PINE ST
S 59TH ST                     DELANCEY ST                  DELANCEY ST
S 58TH ST                     WEBSTER ST                   WEBSTER ST
S 58TH ST                     WEBSTER ST                   NORFOLK ST
S 54TH ST                     WEBSTER ST                   WEBSTER ST
THOMAS AVE                    S FRAZIER ST                 S FRAZIER ST
S SALFORD ST                  KINGSESSING AVE              GREENWAY AVE
S REDFIELD ST                 KINGSESSING AVE              GREENWAY AVE
S 61ST ST                     REINHARD ST                  UPLAND ST
BELMAR ST                     S AVONDALE ST                S 65TH ST
S 61ST ST                     KINGSESSING AVE              REINHARD ST
S 59TH ST                     WINDSOR ST                   BELMAR ST
S 59TH ST                     BELMAR ST                    SPRINGFIELD AVE
S 60TH ST                     WINDSOR ST                   BELMAR ST
S 60TH ST                     BELMAR ST                    SPRINGFIELD AVE
S 59TH ST                     WARRINGTON AVE               WINDSOR ST
WARRINGTON AVE                S 59TH ST                    S 60TH ST
S 57TH ST                     FLORENCE AVE                 BEAUMONT ST
S 56TH ST                     FLORENCE AVE                 BEAUMONT ST
S 60TH ST                     ANGORA TER                   CEDARHURST ST
CEDARHURST ST                 S 60TH ST                    ANGORA TER
S 60TH ST                     BALTIMORE AVE                CEDARHURST ST
S 61ST ST                     S MILLICK ST                 CEDARHURST ST
S 62ND ST                     ELLSWORTH ST                 COBBS CREEK PKWY
S 62ND ST                     CARPENTER ST                 WASHINGTON AVE
S 62ND ST                     WASHINGTON AVE               ELLSWORTH ST
ANGORA TER                    THOMAS AVE                   S 55TH ST
THOMAS AVE                    ANGORA TER                   S 54TH ST
S 61ST ST                     GREENWAY AVE                 YOCUM ST
S 56TH ST                     PENTRIDGE ST                 RIDGEWOOD ST
S 61ST ST                     WASHINGTON AVE               ELLSWORTH ST
S 61ST ST                     ELLSWORTH ST                 COBBS CREEK PKWY
S EDGEWOOD ST                 COBBS CREEK PKWY             SPRINGFIELD AVE
S 60TH ST                     COBBS CREEK PKWY             WARRINGTON AVE
WINDSOR ST                    S 59TH ST                    S 60TH ST
CHESTER AVE                   S EDGEWOOD ST                S 61ST ST
S AVONDALE ST                 WINDSOR ST                   BELMAR ST
S AVONDALE ST                 BELMAR ST                    TRINITY ST
BELMAR ST                     S 65TH ST                    S 67TH ST
ALLMAN ST                     S 65TH ST                    S 66TH ST
REGENT ST                     S 65TH ST                    S 66TH ST
ALLMAN ST                     CEMETERY AVE                 S 65TH ST
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REGENT ST                     CEMETERY AVE                 S 65TH ST
S 64TH ST                     UPLAND ST                    GREENWAY AVE
GREENWAY AVE                  S 63RD ST                    S 64TH ST
BEAUMONT ST                   S 65TH ST                    S 67TH ST
WINDSOR ST                    S 65TH ST                    S 67TH ST
S FELTON ST                   WOODLAND AVE                 PASCHALL AVE
GREENWAY AVE                  S EDGEWOOD ST                S 61ST ST
UPLAND ST                     S 61ST ST                    S 62ND ST
REINHARD ST                   S 61ST ST                    S 62ND ST
S 62ND ST                     KINGSESSING AVE              REINHARD ST
S 60TH ST                     REINHARD ST                  UPLAND ST
S 61ST ST                     UPLAND ST                    GREENWAY AVE
S 60TH ST                     KINGSESSING AVE              REINHARD ST
S EDGEWOOD ST                 ALLMAN ST                    KINGSESSING AVE
S 61ST ST                     ALLMAN ST                    KINGSESSING AVE
S EDGEWOOD ST                 REGENT ST                    ALLMAN ST
S 61ST ST                     REGENT ST                    ALLMAN ST
ALLMAN ST                     S 60TH ST                    S EDGEWOOD ST
S EDGEWOOD ST                 CHESTER AVE                  REGENT ST
REGENT ST                     S 60TH ST                    S EDGEWOOD ST
TRINITY ST                    S 60TH ST                    S EDGEWOOD ST
S SALFORD ST                  CHESTER AVE                  KINGSESSING AVE
S 60TH ST                     CHESTER AVE                  REGENT ST
S REDFIELD ST                 CHESTER AVE                  KINGSESSING AVE
S 59TH ST                     SPRINGFIELD AVE              TRINITY ST
S 60TH ST                     SPRINGFIELD AVE              TRINITY ST
S 59TH ST                     TRINITY ST                   CHESTER AVE
S 60TH ST                     TRINITY ST                   CHESTER AVE
TRINITY ST                    S 58TH ST                    S 59TH ST
S ALDEN ST                    SPRINGFIELD AVE              CHESTER AVE
S CECIL ST                    SPRINGFIELD AVE              CHESTER AVE
S 57TH ST                     BELMAR ST                    SPRINGFIELD AVE
WINDSOR ST                    S 58TH ST                    S 59TH ST
BELMAR ST                     S 58TH ST                    S 59TH ST
S 60TH ST                     WARRINGTON AVE               WINDSOR ST
S 59TH ST                     BEAUMONT ST                  WARRINGTON AVE
S 59TH ST                     COBBS CREEK PKWY             BEAUMONT ST
FLORENCE AVE                  S 58TH ST                    S 59TH ST
WINDSOR ST                    S 57TH ST                    S 58TH ST
BELMAR ST                     S 57TH ST                    S 58TH ST
WARRINGTON AVE                S 57TH ST                    S 58TH ST
S 57TH ST                     WARRINGTON AVE               WINDSOR ST
S 57TH ST                     WINDSOR ST                   BELMAR ST
WINDSOR ST                    S 56TH ST                    S 57TH ST
S 56TH ST                     LITCHFIELD ST                WARRINGTON AVE
S 57TH ST                     LITCHFIELD ST                WARRINGTON AVE
LITCHFIELD ST                 S 56TH ST                    S 57TH ST
BEAUMONT ST                   S 56TH ST                    S 57TH ST
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S 57TH ST                        BEAUMONT ST                  BEAUMONT ST
BEAUMONT ST                      S 57TH ST                    S 58TH ST
FLORENCE AVE                     S 57TH ST                    S 58TH ST
S 57TH ST                        RIDGEWOOD ST                 FLORENCE AVE
PENTRIDGE ST                     S 57TH ST                    S 58TH ST
BEAUMONT ST                      S 55TH ST                    S 56TH ST
LITCHFIELD ST                    S 55TH ST                    S 56TH ST
S 57TH ST                        WILLOWS AVE                  PENTRIDGE ST
S 57TH ST                        PENTRIDGE ST                 RIDGEWOOD ST
S 56TH ST                        RIDGEWOOD ST                 FLORENCE AVE
RIDGEWOOD ST                     S 56TH ST                    S 57TH ST
MALCOLM ST                       S 57TH ST                    S 58TH ST
S 57TH ST                        HADFIELD ST                  WILLOWS AVE
HADFIELD ST                      S 57TH ST                    S 58TH ST
WILLOWS AVE                      S 57TH ST                    S 58TH ST
WILLOWS AVE                      S 58TH ST                    COBBS CREEK PKWY
S 55TH ST                        FLORENCE AVE                 BEAUMONT ST
S 55TH ST                        BEAUMONT ST                  LITCHFIELD ST
S 55TH ST                        RIDGEWOOD ST                 FLORENCE AVE
PENTRIDGE ST                     S 56TH ST                    S 57TH ST
S 56TH ST                        WILLOWS AVE                  PENTRIDGE ST
S FRAZIER ST                     HADFIELD ST                  WILLOWS AVE
S FRAZIER ST                     MALCOLM ST                   HADFIELD ST
S 57TH ST                        MALCOLM ST                   HADFIELD ST
BROOMALL ST                      S 57TH ST                    S 58TH ST
ASHLAND AVE                      S 58TH ST                    COBBS CREEK PKWY
FERNWOOD ST                      COBBS CREEK PKWY             S 59TH ST
S EDGEWOOD ST                    WHARTON ST                   BALTIMORE AVE
WHARTON ST                       S 60TH ST                    S EDGEWOOD ST
WHARTON ST                       S EDGEWOOD ST                S MILLICK ST
WHARTON ST                       S MILLICK ST                 S 61ST ST
S 61ST ST                        WHARTON ST                   BALTIMORE AVE
S MILLICK ST                     WHARTON ST                   S 61ST ST
S 61ST ST                        COBBS CREEK PKWY             LATONA ST
S 60TH ST                        COBBS CREEK PKWY             LATONA ST
LATONA ST                        S 60TH ST                    S 61ST ST
S 62ND ST                        CHRISTIAN ST                 CARPENTER ST
WEBSTER ST                       S 62ND ST                    COBBS CREEK PKWY
S 62ND ST                        WEBSTER ST                   CHRISTIAN ST
S 62ND ST                        CATHARINE ST                 WEBSTER ST
S FELTON ST                      WALTON AVE                   CATHARINE ST
S 62ND ST                        WALTON AVE                   CATHARINE ST
S 62ND ST                        CEDAR AVE                    WALTON AVE
S FELTON ST                      CEDAR AVE                    WALTON AVE
S 62ND ST                        HAZEL AVE                    HAZEL AVE
HAZEL AVE                        S 62ND ST                    COBBS CREEK PKWY
S 62ND ST                        LARCHWOOD AVE                HAZEL AVE
ADDISON ST                       S 62ND ST                    COBBS CREEK PKWY
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LARCHWOOD AVE                 S 62ND ST                    COBBS CREEK PKWY
OSAGE AVE                     S 62ND ST                    COBBS CREEK PKWY
PINE ST                       S 62ND ST                    COBBS CREEK PKWY
DELANCEY ST                   S 62ND ST                    COBBS CREEK PKWY
S 62ND ST                     DELANCEY ST                  PINE ST
DELANCEY ST                   S 60TH ST                    S 61ST ST
DELANCEY ST                   S 59TH ST                    S 60TH ST
DELANCEY ST                   S 57TH ST                    S 58TH ST
S 56TH ST                     DELANCEY ST                  PINE ST
DELANCEY ST                   S ALLISON ST                 S 56TH ST
DELANCEY ST                   S 52ND ST                    S 53RD ST
S 53RD ST                     DELANCEY ST                  PINE ST
PINE ST                       S 52ND ST                    S 53RD ST
S 54TH ST                     DELANCEY ST                  PINE ST
S 55TH ST                     DELANCEY ST                  PINE ST
S ALLISON ST                  DELANCEY ST                  PINE ST
PINE ST                       S ALLISON ST                 S 56TH ST
S 58TH ST                     DELANCEY ST                  PINE ST
PINE ST                       S 57TH ST                    S 58TH ST
OSAGE AVE                     S 57TH ST                    S 58TH ST
S 58TH ST                     PINE ST                      OSAGE AVE
DELANCEY ST                   S 58TH ST                    S 59TH ST
S 59TH ST                     PINE ST                      OSAGE AVE
PINE ST                       S 59TH ST                    S 60TH ST
S 59TH ST                     DELANCEY ST                  PINE ST
PINE ST                       S 60TH ST                    S 61ST ST
S 61ST ST                     DELANCEY ST                  PINE ST
OSAGE AVE                     S 61ST ST                    S 62ND ST
S 62ND ST                     ADDISON ST                   LARCHWOOD AVE
HAZEL AVE                     S 61ST ST                    S 62ND ST
LARCHWOOD AVE                 S 61ST ST                    S 62ND ST
S 61ST ST                     CEDAR AVE                    WALTON AVE
S 61ST ST                     WALTON AVE                   CATHARINE ST
S 61ST ST                     CATHARINE ST                 WEBSTER ST
S 61ST ST                     WEBSTER ST                   CHRISTIAN ST
WASHINGTON AVE                S 59TH ST                    S 60TH ST
ELLSWORTH ST                  S 59TH ST                    S 60TH ST
S 59TH ST                     WASHINGTON AVE               ALTER ST
S 60TH ST                     ELLSWORTH ST                 COBBS CREEK PKWY
S 59TH ST                     ELLSWORTH ST                 COBBS CREEK PKWY
CARPENTER ST                  S 60TH ST                    S 61ST ST
WASHINGTON AVE                S 60TH ST                    S 61ST ST
CHRISTIAN ST                  S 60TH ST                    S 61ST ST
WEBSTER ST                    S 60TH ST                    S 61ST ST
CATHARINE ST                  S 60TH ST                    S 61ST ST
WALTON AVE                    S 60TH ST                    S 61ST ST
LARCHWOOD AVE                 S 60TH ST                    S 61ST ST
OSAGE AVE                     S 59TH ST                    S 60TH ST
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S 59TH ST                     OSAGE AVE                    ADDISON ST
ADDISON ST                    S 59TH ST                    S 60TH ST
HAZEL AVE                     S SALFORD ST                 S 60TH ST
LARCHWOOD AVE                 S SALFORD ST                 S 60TH ST
S SALFORD ST                  HAZEL AVE                    CEDAR AVE
S REDFIELD ST                 LARCHWOOD AVE                CEDAR AVE
S SALFORD ST                  LARCHWOOD AVE                HAZEL AVE
S 59TH ST                     LARCHWOOD AVE                HAZEL AVE
S 59TH ST                     RODMAN ST                    CEDAR AVE
WALTON AVE                    S 59TH ST                    S 60TH ST
S 59TH ST                     CEDAR AVE                    PEMBERTON ST
CATHARINE ST                  S 59TH ST                    S 60TH ST
WEBSTER ST                    S 59TH ST                    S 60TH ST
CHRISTIAN ST                  S 59TH ST                    S 60TH ST
S 59TH ST                     NORFOLK ST                   CHRISTIAN ST
CARPENTER ST                  S 59TH ST                    S 60TH ST
S 59TH ST                     CHRISTIAN ST                 MONTROSE ST
S 59TH ST                     CARPENTER ST                 WASHINGTON AVE
S 59TH ST                     COBBS CREEK PKWY             BALTIMORE AVE
LATONA ST                     S 59TH ST                    S 60TH ST
WHARTON ST                    BALTIMORE AVE                S 60TH ST
S 59TH ST                     BALTIMORE AVE                CEDARHURST ST
ANGORA TER                    COBBS CREEK PKWY             S 59TH ST
ELLSWORTH ST                  S 58TH ST                    S 59TH ST
ALTER ST                      S 58TH ST                    S 59TH ST
HAZEL AVE                     S 60TH ST                    S 61ST ST
CARPENTER ST                  S 58TH ST                    S 59TH ST
WASHINGTON AVE                S 58TH ST                    S 59TH ST
MONTROSE ST                   S 58TH ST                    S 59TH ST
S 58TH ST                     CHRISTIAN ST                 MONTROSE ST
NORFOLK ST                    S 58TH ST                    S 59TH ST
WEBSTER ST                    S 58TH ST                    S 59TH ST
CATHARINE ST                  S 58TH ST                    S 59TH ST
S 58TH ST                     CATHARINE ST                 WEBSTER ST
S 59TH ST                     WALTON AVE                   CATHARINE ST
S 58TH ST                     WALTON AVE                   CATHARINE ST
S 59TH ST                     WALTON AVE                   WALTON AVE
S 58TH ST                     PEMBERTON ST                 WALTON AVE
S 58TH ST                     CEDAR AVE                    PEMBERTON ST
S 58TH ST                     RODMAN ST                    CEDAR AVE
S 58TH ST                     LARCHWOOD AVE                HAZEL AVE
S 58TH ST                     HAZEL AVE                    RODMAN ST
S 59TH ST                     HAZEL AVE                    RODMAN ST
S 58TH ST                     OSAGE AVE                    ADDISON ST
S 58TH ST                     ADDISON ST                   LARCHWOOD AVE
S 59TH ST                     ADDISON ST                   LARCHWOOD AVE
ADDISON ST                    S 57TH ST                    S 58TH ST
LARCHWOOD AVE                 S 57TH ST                    S 58TH ST
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HAZEL AVE                     S 57TH ST                    S 58TH ST
RODMAN ST                     S 57TH ST                    S 58TH ST
PEMBERTON ST                  S 57TH ST                    S 58TH ST
WALTON AVE                    S 57TH ST                    S 58TH ST
CATHARINE ST                  S 57TH ST                    S ALDEN ST
CATHARINE ST                  S CECIL ST                   S 58TH ST
WEBSTER ST                    S CECIL ST                   S 58TH ST
S CECIL ST                    CATHARINE ST                 WEBSTER ST
S ALDEN ST                    CATHARINE ST                 WEBSTER ST
WEBSTER ST                    S ALDEN ST                   S CECIL ST
WEBSTER ST                    S 57TH ST                    S ALDEN ST
CHRISTIAN ST                  S 57TH ST                    S ALDEN ST
S ALDEN ST                    WEBSTER ST                   CHRISTIAN ST
S CECIL ST                    WEBSTER ST                   CHRISTIAN ST
S 58TH ST                     NORFOLK ST                   CHRISTIAN ST
S ALDEN ST                    CHRISTIAN ST                 WASHINGTON AVE
CHRISTIAN ST                  S CECIL ST                   S 58TH ST
WASHINGTON AVE                S CECIL ST                   S 58TH ST
WASHINGTON AVE                S ALDEN ST                   S CECIL ST
S CECIL ST                    CHRISTIAN ST                 WASHINGTON AVE
S CECIL ST                    WASHINGTON AVE               BALTIMORE AVE
S ALDEN ST                    WASHINGTON AVE               BALTIMORE AVE
WASHINGTON AVE                S 57TH ST                    S ALDEN ST
ASHLAND AVE                   S 57TH ST                    S 58TH ST
S FRAZIER ST                  HOFFMAN AVE                  THOMAS AVE
S 55TH ST                     ANGORA TER                   THOMAS AVE
S 55TH ST                     BALTIMORE AVE                ANGORA TER
ANGORA TER                    S 55TH ST                    S 57TH ST
MONTROSE ST                   S 56TH ST                    S 57TH ST
CARPENTER ST                  S 56TH ST                    S 57TH ST
WASHINGTON AVE                BALTIMORE AVE                S 57TH ST
CHRISTIAN ST                  S FRAZIER ST                 S 57TH ST
CHRISTIAN ST                  S 56TH ST                    S FRAZIER ST
WEBSTER ST                    S FRAZIER ST                 S 57TH ST
S FRAZIER ST                  WEBSTER ST                   CHRISTIAN ST
S FRAZIER ST                  CATHARINE ST                 WEBSTER ST
WEBSTER ST                    S ITHAN ST                   S FRAZIER ST
S ITHAN ST                    CATHARINE ST                 WEBSTER ST
PEMBERTON ST                  S 56TH ST                    S 57TH ST
WALTON AVE                    S 56TH ST                    S 57TH ST
CATHARINE ST                  S 56TH ST                    S ITHAN ST
CATHARINE ST                  S FRAZIER ST                 S 57TH ST
RODMAN ST                     S 56TH ST                    S 57TH ST
HAZEL AVE                     S 56TH ST                    S 57TH ST
LARCHWOOD AVE                 S 56TH ST                    S 57TH ST
ADDISON ST                    S 56TH ST                    S 57TH ST
OSAGE AVE                     S 56TH ST                    S 57TH ST
S 56TH ST                     PINE ST                      OSAGE AVE
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OSAGE AVE                         S 55TH ST                    S 56TH ST
ADDISON ST                        S 55TH ST                    S 56TH ST
S 55TH ST                         PINE ST                      OSAGE AVE
S CONESTOGA ST                    PINE ST                      OSAGE AVE
OSAGE AVE                         S CONESTOGA ST               S 55TH ST
ADDISON ST                        S CONESTOGA ST               S 55TH ST
S CONESTOGA ST                    OSAGE AVE                    ADDISON ST
S 54TH ST                         PINE ST                      OSAGE AVE
OSAGE AVE                         S 54TH ST                    S CONESTOGA ST
ADDISON ST                        S 54TH ST                    S CONESTOGA ST
LARCHWOOD AVE                     S CONESTOGA ST               S 55TH ST
S CONESTOGA ST                    ADDISON ST                   LARCHWOOD AVE
LARCHWOOD AVE                     S 54TH ST                    S YEWDALL ST
LARCHWOOD AVE                     S 55TH ST                    S 56TH ST
HAZEL AVE                         S 55TH ST                    S 56TH ST
PEMBERTON ST                      S 55TH ST                    S 56TH ST
WALTON AVE                        S 55TH ST                    S 56TH ST
CATHARINE ST                      S 55TH ST                    S 56TH ST
WEBSTER ST                        S 55TH ST                    S 56TH ST
S 56TH ST                         CATHARINE ST                 WEBSTER ST
WEBSTER ST                        S 56TH ST                    S ITHAN ST
CHRISTIAN ST                      S ALLISON ST                 S 56TH ST
S 56TH ST                         CARPENTER ST                 BALTIMORE AVE
S ALLISON ST                      CHRISTIAN ST                 BALTIMORE AVE
CHRISTIAN ST                      S VOGDES ST                  S ALLISON ST
S VOGDES ST                       CHRISTIAN ST                 BALTIMORE AVE
CHRISTIAN ST                      S 55TH ST                    S VOGDES ST
S 55TH ST                         CHRISTIAN ST                 BALTIMORE AVE
S ITHAN ST                        HOFFMAN AVE                  THOMAS AVE
S FRAZIER ST                      THOMAS AVE                   ELLIOTT ST
THOMAS AVE                        S FRAZIER ST                 S 57TH ST
ELLIOTT ST                        S FRAZIER ST                 S 57TH ST
S FRAZIER ST                      ELLIOTT ST                   BROOMALL ST
BROOMALL ST                       S FRAZIER ST                 S 57TH ST
S 56TH ST                         HOFFMAN AVE                  THOMAS AVE
ELLIOTT ST                        S 56TH ST                    S FRAZIER ST
BROOMALL ST                       S 56TH ST                    S FRAZIER ST
S 56TH ST                         BROOMALL ST                  WHITBY AVE
S FRAZIER ST                      BROOMALL ST                  WHITBY AVE
S FRAZIER ST                      WHITBY AVE                   MALCOLM ST
S 57TH ST                         WHITBY AVE                   MALCOLM ST
S 56TH ST                         HADFIELD ST                  WILLOWS AVE
HADFIELD ST                       S 56TH ST                    S FRAZIER ST
MALCOLM ST                        S 56TH ST                    S FRAZIER ST
S 56TH ST                         WHITBY AVE                   MALCOLM ST
MALCOLM ST                        S 55TH ST                    S 56TH ST
HADFIELD ST                       S 55TH ST                    S 56TH ST
S 55TH ST                         HADFIELD ST                  WILLOWS AVE
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S 55TH ST                         WHITBY AVE                   MALCOLM ST
S 55TH ST                         BROOMALL ST                  WHITBY AVE
BROOMALL ST                       S 55TH ST                    S 56TH ST
ELLIOTT ST                        S 55TH ST                    S 56TH ST
S 55TH ST                         THOMAS AVE                   ELLIOTT ST
THOMAS AVE                        S CONESTOGA ST               S 55TH ST
S YEWDALL ST                      THOMAS AVE                   WHITBY AVE
THOMAS AVE                        S 54TH ST                    S YEWDALL ST
THOMAS AVE                        S YEWDALL ST                 S CONESTOGA ST
CHRISTIAN ST                      BALTIMORE AVE                S 55TH ST
WEBSTER ST                        S 54TH ST                    S 55TH ST
NORFOLK ST                        S 54TH ST                    S 55TH ST
S 54TH ST                         WEBSTER ST                   NORFOLK ST
S 54TH ST                         NORFOLK ST                   CHRISTIAN ST
CATHARINE ST                      S CONESTOGA ST               S 55TH ST
S 54TH ST                         CATHARINE ST                 WEBSTER ST
S CONESTOGA ST                    CEDAR AVE                    CATHARINE ST
S YEWDALL ST                      CEDAR AVE                    CATHARINE ST
S 54TH ST                         CEDAR AVE                    WALTON AVE
S CONESTOGA ST                    LARCHWOOD AVE                CEDAR AVE
S YEWDALL ST                      LARCHWOOD AVE                CEDAR AVE
S 54TH ST                         LARCHWOOD AVE                CEDAR AVE
S 53RD ST                         CEDAR AVE                    WALTON AVE
WALTON AVE                        S 53RD ST                    S 54TH ST
S 54TH ST                         ADDISON ST                   LARCHWOOD AVE
S 53RD ST                         ADDISON ST                   LARCHWOOD AVE
S 54TH ST                         OSAGE AVE                    ADDISON ST
S 53RD ST                         OSAGE AVE                    ADDISON ST
S 53RD ST                         PINE ST                      OSAGE AVE
OSAGE AVE                         S 52ND ST                    S 53RD ST
ADDISON ST                        S 52ND ST                    S 53RD ST
LARCHWOOD AVE                     S 52ND ST                    S 53RD ST
S 53RD ST                         LARCHWOOD AVE                HAZEL AVE
HAZEL AVE                         S 52ND ST                    S 53RD ST
S 53RD ST                         HAZEL AVE                    RODMAN ST
RODMAN ST                         S 52ND ST                    S 53RD ST
S 53RD ST                         RODMAN ST                    CEDAR AVE
WALTON AVE                        S 52ND ST                    S 53RD ST
S 53RD ST                         WALTON AVE                   CATHARINE ST
S 53RD ST                         CATHARINE ST                 WEBSTER ST
S 53RD ST                         WEBSTER ST                   BALTIMORE AVE
HADFIELD ST                       S 54TH ST                    S 55TH ST
S 54TH ST                         WHITBY AVE                   MALCOLM ST
MALCOLM ST                        S 54TH ST                    S 55TH ST
S 54TH ST                         HADFIELD ST                  WILLOWS AVE
S 53RD ST                         HADFIELD ST                  WILLOWS AVE
HADFIELD ST                       S 53RD ST                    S 54TH ST
WILLOWS AVE                       S 53RD ST                    S 54TH ST
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S 53RD ST                          MALCOLM ST                   HADFIELD ST
MALCOLM ST                         S 53RD ST                    S 54TH ST
S 53RD ST                          WHITBY AVE                   MALCOLM ST
PENTRIDGE ST                       S 55TH ST                    S 56TH ST
RIDGEWOOD ST                       S 55TH ST                    S 56TH ST
S 55TH ST                          WILLOWS AVE                  PENTRIDGE ST
RIDGEWOOD ST                       S 54TH ST                    S 55TH ST
S 54TH ST                          WILLOWS AVE                  PENTRIDGE ST
WEBSTER ST                         S 52ND ST                    S 53RD ST
S 62ND ST                          WOODLAND AVE                 PASCHALL AVE
S 53RD ST                          WILLOWS AVE                  PENTRIDGE ST
HOFFMAN AVE                        S 57TH ST                    COBBS CREEK PKWY
HOFFMAN AVE                        S FRAZIER ST                 S 57TH ST
HOFFMAN AVE                        S ITHAN ST                   S FRAZIER ST
FLORENCE AVE                       S 56TH ST                    S 57TH ST
S 55TH ST                          LARCHWOOD AVE                HAZEL AVE
S 55TH ST                          HAZEL AVE                    CEDAR AVE
ANGORA TER                         S 60TH ST                    CEDARHURST ST
S 59TH ST                          FERNWOOD ST                  COBBS CREEK PKWY
S EDGEWOOD ST                      TRINITY ST                   CHESTER AVE
S 61ST ST                          CHESTER AVE                  REGENT ST
S 62ND ST                          REINHARD ST                  UPLAND ST
HOFFMAN AVE                        S 56TH ST                    S ITHAN ST
UPLAND ST                          S 64TH ST                    S AVONDALE ST
WINDSOR ST                         S AVONDALE ST                S 65TH ST
TRINITY ST                         S AVONDALE ST                S 65TH ST
S 59TH ST                          CEDARHURST ST                ANGORA TER
S 56TH ST                          THOMAS AVE                   ELLIOTT ST
LANGTON PL                         CEMETERY AVE                 DEAD END NORTH
SPRINGFIELD AVE                    SPRINGFIELD AVE              SPRINGFIELD AVE
PINE ST                            S 51ST ST                    S 52ND ST
PINE ST                            S 50TH ST                    S 51ST ST
PINE ST                            S SAINT BERNARD ST           S 50TH ST
PINE ST                            S 49TH ST                    S SAINT BERNARD ST
PINE ST                            HANSON ST                    S 49TH ST
PINE ST                            S 48TH ST                    HANSON ST
PINE ST                            S 47TH ST                    S 48TH ST
S 51ST ST                          DELANCEY ST                  PINE ST
S 50TH ST                          SPRUCE ST                    PINE ST
S 51ST ST                          PINE ST                      OSAGE AVE
S 50TH ST                          PINE ST                      OSAGE AVE
S 51ST ST                          OSAGE AVE                    LARCHWOOD AVE
S 50TH ST                          OSAGE AVE                    LARCHWOOD AVE
S 51ST ST                          LARCHWOOD AVE                HAZEL AVE
S 50TH ST                          LARCHWOOD AVE                HAZEL AVE
DELANCEY ST                        S 51ST ST                    S 52ND ST
OSAGE AVE                          S 50TH ST                    S 51ST ST
OSAGE AVE                          S 49TH ST                    S 50TH ST
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OSAGE AVE                        S 47TH ST                    S 48TH ST
S 49TH ST                        SPRUCE ST                    PINE ST
S 49TH ST                        PINE ST                      OSAGE AVE
S 49TH ST                        OSAGE AVE                    LARCHWOOD AVE
S 49TH ST                        LARCHWOOD AVE                HAZEL AVE
LARCHWOOD AVE                    S 51ST ST                    S 52ND ST
LARCHWOOD AVE                    S 50TH ST                    S 51ST ST
LARCHWOOD AVE                    S 49TH ST                    S 50TH ST
LARCHWOOD AVE                    S 48TH ST                    S 49TH ST
LARCHWOOD AVE                    S 47TH ST                    S 48TH ST
S 48TH ST                        PINE ST                      OSAGE AVE
S 48TH ST                        OSAGE AVE                    LARCHWOOD AVE
S 48TH ST                        LARCHWOOD AVE                HAZEL AVE
S 47TH ST                        PINE ST                      OSAGE AVE
S 47TH ST                        OSAGE AVE                    LARCHWOOD AVE
S 47TH ST                        LARCHWOOD AVE                HAZEL AVE
PINE ST                          S 46TH ST                    S 47TH ST
PINE ST                          S 45TH ST                    S 46TH ST
OSAGE AVE                        S 46TH ST                    S 47TH ST
OSAGE AVE                        S 45TH ST                    S 46TH ST
OSAGE AVE                        S 44TH ST                    S 45TH ST
S 46TH ST                        PINE ST                      OSAGE AVE
S 46TH ST                        OSAGE AVE                    LARCHWOOD AVE
S 46TH ST                        LARCHWOOD AVE                HAZEL AVE
LARCHWOOD AVE                    S 46TH ST                    S 47TH ST
LARCHWOOD AVE                    S 45TH ST                    S MELVILLE ST
S 45TH ST                        PINE ST                      OSAGE AVE
S 45TH ST                        OSAGE AVE                    LARCHWOOD AVE
S 45TH ST                        LARCHWOOD AVE                BALTIMORE AVE
PINE ST                          S 43RD ST                    S 44TH ST
OSAGE AVE                        S 43RD ST                    S 44TH ST
LARCHWOOD AVE                    S 44TH ST                    S 45TH ST
LARCHWOOD AVE                    S 43RD ST                    S 44TH ST
S MELVILLE ST                    LARCHWOOD AVE                BALTIMORE AVE
OSAGE AVE                        S 42ND ST                    S 43RD ST
PINE ST                          SAINT MARKS ST               S 43RD ST
PINE ST                          S 42ND ST                    SAINT MARKS ST
PINE ST                          S 41ST ST                    S 42ND ST
PINE ST                          S PRESTON ST                 S 41ST ST
PINE ST                          S 40TH ST                    S PRESTON ST
DELANCEY ST                      S PRESTON ST                 S 41ST ST
S PRESTON ST                     DELANCEY ST                  PINE ST
S 41ST ST                        DELANCEY ST                  PINE ST
S 41ST ST                        PINE ST                      BALTIMORE AVE
S 41ST ST                        BALTIMORE AVE                CHESTER AVE
PINE ST                          S 39TH ST                    S 40TH ST
WOODLAND TER                     BALTIMORE AVE                WOODLAND AVE
S 43RD ST                        BALTIMORE AVE                CHESTER AVE
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S 43RD ST                       CHESTER AVE                  REGENT SQ
REGENT SQ                       S 42ND ST                    S 43RD ST
S 45TH ST                       CHESTER AVE                  REGENT ST
S 45TH ST                       REGENT ST                    KINGSESSING AVE
HAZEL AVE                       S 47TH ST                    S 48TH ST
HAZEL AVE                       S 46TH ST                    S 47TH ST
S 47TH ST                       HAZEL AVE                    CEDAR AVE
S 47TH ST                       CEDAR AVE                    BALTIMORE AVE
S 47TH ST                       BALTIMORE AVE                WARRINGTON AVE
S 47TH ST                       WARRINGTON AVE               WINDSOR ST
S 47TH ST                       WINDSOR ST                   SPRINGFIELD AVE
FARRAGUT TER                    BALTIMORE AVE                SPRINGFIELD AVE
FARRAGUT TER                    SPRINGFIELD AVE              CHESTER AVE
HAZEL AVE                       S 51ST ST                    S 52ND ST
HAZEL AVE                       S 50TH ST                    S 51ST ST
HAZEL AVE                       S 49TH ST                    S 50TH ST
HAZEL AVE                       S 48TH ST                    S 49TH ST
WALTON AVE                      S 49TH ST                    S 50TH ST
WALTON AVE                      S 50TH ST                    S 51ST ST
S 50TH ST                       HAZEL AVE                    CEDAR AVE
S 50TH ST                       CEDAR AVE                    WALTON AVE
S 50TH ST                       WALTON AVE                   CATHARINE ST
S 50TH ST                       CATHARINE ST                 BALTIMORE AVE
S 46TH ST                       HAZEL AVE                    CEDAR AVE
S 48TH ST                       HAZEL AVE                    CEDAR AVE
S 48TH ST                       CEDAR AVE                    WALTON AVE
S 48TH ST                       WALTON AVE                   BALTIMORE AVE
S 49TH ST                       HAZEL AVE                    CEDAR AVE
S 49TH ST                       WALTON AVE                   BALTIMORE AVE
S 49TH ST                       CEDAR AVE                    WALTON AVE
WALTON AVE                      S 48TH ST                    S 49TH ST
WALTON AVE                      S 51ST ST                    S 52ND ST
S 51ST ST                       HAZEL AVE                    CEDAR AVE
S 51ST ST                       CEDAR AVE                    WALTON AVE
S 51ST ST                       WALTON AVE                   CATHARINE ST
S 51ST ST                       CATHARINE ST                 WEBSTER ST
CATHARINE ST                    S 51ST ST                    S 52ND ST
CATHARINE ST                    S 50TH ST                    S 51ST ST
CATHARINE ST                    S 49TH ST                    S 50TH ST
WEBSTER ST                      S 51ST ST                    S 52ND ST
MALCOLM ST                      BALTIMORE AVE                S 52ND ST
S 50TH ST                       FLORENCE AVE                 BEAUMONT ST
PENTRIDGE ST                    S 50TH ST                    S 51ST ST
PENTRIDGE ST                    S 51ST ST                    S 52ND ST
S 51ST ST                       BALTIMORE AVE                HADFIELD ST
S 51ST ST                       HADFIELD ST                  WILLOWS AVE
S 51ST ST                       WILLOWS AVE                  PENTRIDGE ST
S 51ST ST                       PENTRIDGE ST                 FLORENCE AVE
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S 51ST ST                       FLORENCE AVE                 BEAUMONT ST
S 51ST ST                       WEBSTER ST                   BALTIMORE AVE
S 50TH ST                       PENTRIDGE ST                 PENTRIDGE ST
S 50TH ST                       PENTRIDGE ST                 FLORENCE AVE
PENTRIDGE ST                    S 49TH ST                    S 50TH ST
HADFIELD ST                     S 51ST ST                    S 52ND ST
WILLOWS AVE                     S 51ST ST                    S 52ND ST
S 48TH ST                       BALTIMORE AVE                BEAUMONT ST
S 48TH ST                       BEAUMONT ST                  WARRINGTON AVE
S 48TH ST                       WARRINGTON AVE               WINDSOR ST
S 48TH ST                       WINDSOR ST                   SPRINGFIELD AVE
FLORENCE AVE                    BALTIMORE AVE                S 49TH ST
FLORENCE AVE                    S 49TH ST                    S SAINT BERNARD ST
FLORENCE AVE                    S SAINT BERNARD ST           S 50TH ST
FLORENCE AVE                    S 50TH ST                    S 51ST ST
BEAUMONT ST                     S 48TH ST                    S 49TH ST
S SAINT BERNARD ST              FLORENCE AVE                 WARRINGTON AVE
WARRINGTON AVE                  S 47TH ST                    S 48TH ST
WARRINGTON AVE                  S 48TH ST                    S 49TH ST
WARRINGTON AVE                  S 49TH ST                    S SAINT BERNARD ST
WARRINGTON AVE                  S SAINT BERNARD ST           S 50TH ST
WARRINGTON AVE                  S 50TH ST                    S 51ST ST
WINDSOR ST                      S 47TH ST                    S 48TH ST
WINDSOR ST                      S 48TH ST                    S 49TH ST
S SAINT BERNARD ST              WARRINGTON AVE               SPRINGFIELD AVE
S SAINT BERNARD ST              SPRINGFIELD AVE              S 49TH ST
S 48TH ST                       SPRINGFIELD AVE              TRINITY ST
S 48TH ST                       CHESTER AVE                  REGENT ST
S 48TH ST                       REGENT ST                    KINGSESSING AVE
S 48TH ST                       TRINITY ST                   CHESTER AVE
TRINITY ST                      S 48TH ST                    S 49TH ST
S 51ST ST                       BEAUMONT ST                  WARRINGTON AVE
BEAUMONT ST                     S 50TH ST                    S 51ST ST
S 50TH ST                       BEAUMONT ST                  WARRINGTON AVE
S 50TH ST                       WARRINGTON AVE               SPRINGFIELD AVE
PENTRIDGE ST                    S 52ND ST                    S 53RD ST
FLORENCE AVE                    S 52ND ST                    S 53RD ST
FLORENCE AVE                    S PAXON ST                   S 52ND ST
WARRINGTON AVE                  S PAXON ST                   S 52ND ST
WARRINGTON AVE                  S 52ND ST                    S WILTON ST
WARRINGTON AVE                  S WILTON ST                  S 53RD ST
BEAUMONT ST                     S 52ND ST                    S 53RD ST
LITCHFIELD ST                   S 52ND ST                    S 53RD ST
S PAXON ST                      WARRINGTON AVE               SPRINGFIELD AVE
S PAXON ST                      SPRINGFIELD AVE              CHESTER AVE
S 51ST ST                       SPRINGFIELD AVE              CHESTER AVE
S 51ST ST                       CHESTER AVE                  REGENT ST
DIVINITY ST                     SPRINGFIELD AVE              CHESTER AVE
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REGENT ST                          S 48TH ST                    S 49TH ST
KINGSESSING AVE                    S 46TH ST                    S 47TH ST
KINGSESSING AVE                    S 47TH ST                    S 48TH ST
KINGSESSING AVE                    S 49TH ST                    GREYLOCK ST
KINGSESSING AVE                    GREYLOCK ST                  S SAINT BERNARD ST
KINGSESSING AVE                    S SAINT BERNARD ST           S 50TH ST
KINGSESSING AVE                    S 50TH ST                    S 51ST ST
REINHARD ST                        HANSON ST                    S 49TH ST
HANSON ST                          REINHARD ST                  GREENWAY AVE
S 47TH ST                          SPRINGFIELD AVE              CHESTER AVE
S 47TH ST                          CHESTER AVE                  REGENT ST
S 47TH ST                          REGENT ST                    KINGSESSING AVE
S 47TH ST                          KINGSESSING AVE              REINHARD ST
S 46TH ST                          CHESTER AVE                  REGENT ST
S 46TH ST                          REGENT ST                    KINGSESSING AVE
S 46TH ST                          KINGSESSING AVE              YOCUM ST
S 46TH ST                          YOCUM ST                     WOODLAND AVE
REGENT ST                          S 45TH ST                    S 46TH ST
KINGSESSING AVE                    S 45TH ST                    S MELVILLE ST
KINGSESSING AVE                    S MELVILLE ST                S 46TH ST
S MELVILLE ST                      KINGSESSING AVE              WOODLAND AVE
S 45TH ST                          KINGSESSING AVE              WOODLAND AVE
YOCUM ST                           S 46TH ST                    S MARKOE ST
S 47TH ST                          WOODLAND AVE                 LINMORE AVE
S MAY ST                           WOODLAND AVE                 LINMORE AVE
S MARKOE ST                        WOODLAND AVE                 LINMORE AVE
S MARKOE ST                        YOCUM ST                     WOODLAND AVE
S 46TH ST                          WOODLAND AVE                 SAYBROOK AVE
S 46TH ST                          SAYBROOK AVE                 LINMORE AVE
S MELVILLE ST                      SAYBROOK AVE                 LINMORE AVE
LINMORE AVE                        S 45TH ST                    S MELVILLE ST
LINMORE AVE                        S MELVILLE ST                S 46TH ST
LINMORE AVE                        S 46TH ST                    S MARKOE ST
LINMORE AVE                        S MARKOE ST                  S MAY ST
LINMORE AVE                        S MAY ST                     S 47TH ST
S 54TH ST                          SPRINGFIELD AVE              TRINITY ST
S 54TH ST                          TRINITY ST                   CHESTER AVE
S WILTON ST                        WARRINGTON AVE               SPRINGFIELD AVE
S WILTON ST                        SPRINGFIELD AVE              CHESTER AVE
S 53RD ST                          SPRINGFIELD AVE              CHESTER AVE
S 53RD ST                          CHESTER AVE                  KINGSESSING AVE
S RUBY ST                          SPRINGFIELD AVE              CHESTER AVE
CHESTER AVE                        S WILTON ST                  S WILTON ST
CHESTER AVE                        S WILTON ST                  S LINDENWOOD ST
CHESTER AVE                        S LINDENWOOD ST              S 53RD ST
CHESTER AVE                        S 53RD ST                    S RUBY ST
CHESTER AVE                        S RUBY ST                    S 54TH ST
CHESTER AVE                        S 54TH ST                    S 55TH ST
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CHESTER AVE                     S 55TH ST                    S VOGDES ST
TRINITY ST                      S 54TH ST                    S 55TH ST
S 55TH ST                       SPRINGFIELD AVE              TRINITY ST
S 55TH ST                       TRINITY ST                   CHESTER AVE
S 55TH ST                       CHESTER AVE                  REGENT ST
S 56TH ST                       SPRINGFIELD AVE              CHESTER AVE
S 52ND ST                       SPRINGFIELD AVE              CHESTER AVE
S 51ST ST                       REGENT ST                    KINGSESSING AVE
S 51ST ST                       KINGSESSING AVE              UPLAND ST
S 51ST ST                       UPLAND ST                    GREENWAY AVE
S 52ND ST                       KINGSESSING AVE              REINHARD ST
S 52ND ST                       REINHARD ST                  UPLAND ST
S 52ND ST                       UPLAND ST                    GREENWAY AVE
S 51ST ST                       GREENWAY AVE                 WOODLAND AVE
CHESTER AVE                     S 52ND ST                    S WILTON ST
REGENT ST                       S 51ST ST                    S 52ND ST
S WILTON ST                     CHESTER AVE                  KINGSESSING AVE
S LINDENWOOD ST                 CHESTER AVE                  KINGSESSING AVE
KINGSESSING AVE                 S 51ST ST                    S PAXON ST
KINGSESSING AVE                 S PAXON ST                   S 52ND ST
GREYLOCK ST                     KINGSESSING AVE              GREENWAY AVE
S SAINT BERNARD ST              KINGSESSING AVE              GREENWAY AVE
S 50TH ST                       KINGSESSING AVE              UPLAND ST
S 50TH ST                       UPLAND ST                    GREENWAY AVE
S 50TH ST                       GREENWAY AVE                 WOODLAND AVE
UPLAND ST                       S 50TH ST                    S 51ST ST
YOCUM ST                        HANSON ST                    S 49TH ST
S 48TH ST                       GREENWAY AVE                 WOODLAND AVE
GREENWAY AVE                    HANSON ST                    S 49TH ST
GREENWAY AVE                    S 49TH ST                    GREYLOCK ST
GREENWAY AVE                    GREYLOCK ST                  S SAINT BERNARD ST
GREENWAY AVE                    S SAINT BERNARD ST           S 50TH ST
GREENWAY AVE                    S 50TH ST                    DIVINITY ST
GREENWAY AVE                    DIVINITY ST                  S 51ST ST
GREENWAY AVE                    S PAXON ST                   S 52ND ST
GREENWAY AVE                    S 48TH ST                    HANSON ST
GREENWAY AVE                    HANSON ST                    HANSON ST
HANSON ST                       GREENWAY AVE                 YOCUM ST
DIVINITY ST                     GREENWAY AVE                 WOODLAND AVE
S 48TH ST                       WOODLAND AVE                 GRAYS FERRY AVE
S 48TH ST                       PASCHALL AVE                 GLENMORE AVE
GLENMORE AVE                    S 48TH ST                    DEAD END SOUTH
HANSON ST                       PASCHALL AVE                 DEAD END SOUTH
SAYBROOK AVE                    HANSON ST                    S 49TH ST
HANSON ST                       WOODLAND AVE                 SAYBROOK AVE
HANSON ST                       SAYBROOK AVE                 PASCHALL AVE
S FALLON ST                     GRAYS FERRY AVE              PASCHALL AVE
PASCHALL AVE                    S 47TH ST                    GRAYS FERRY AVE
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PASCHALL AVE                  S 49TH ST                    S 50TH ST
S 50TH ST                     WOODLAND AVE                 SAYBROOK AVE
S 50TH ST                     SAYBROOK AVE                 PASCHALL AVE
S 50TH ST                     PASCHALL AVE                 DEAD END SOUTH
SAYBROOK AVE                  S 49TH ST                    S 50TH ST
S 47TH ST                     PASCHALL AVE                 GRAYS FERRY AVE
GRAYS AVE                     LINDBERGH BLVD               S 53RD ST
GLENMORE AVE                  S 53RD ST                    S 54TH ST
S 53RD ST                     GLENMORE AVE                 GRAYS AVE
S 54TH ST                     WOODLAND AVE                 PASCHALL AVE
S 54TH ST                     GLENMORE AVE                 GRAYS AVE
S 54TH ST                     GRAYS AVE                    LINDBERGH BLVD
WHEELER ST                    LINDBERGH BLVD               S 56TH ST
GRAYS AVE                     S 54TH ST                    S 56TH ST
GRAYS AVE                     S 56TH ST                    S ITHAN ST
GRAYS AVE                     S ITHAN ST                   S FRAZIER ST
S 56TH ST                     GRAYS AVE                    WHEELER ST
S 56TH ST                     WHEELER ST                   ELMWOOD AVE
S 57TH ST                     GRAYS AVE                    WHEELER ST
S 57TH ST                     WHEELER ST                   REEDLAND ST
S 57TH ST                     REEDLAND ST                  ELMWOOD AVE
S 57TH ST                     ELMWOOD AVE                  LINDBERGH BLVD
S ITHAN ST                    GRAYS AVE                    ELMWOOD AVE
S FRAZIER ST                  GRAYS AVE                    ELMWOOD AVE
GRAYS AVE                     S FRAZIER ST                 S 57TH ST
GRAYS AVE                     S 57TH ST                    S 58TH ST
WHEELER ST                    S 57TH ST                    S 58TH ST
REEDLAND ST                   S 57TH ST                    S 58TH ST
DICKENS AVE                   S WANAMAKER ST               S 59TH ST
THEODORE ST                   S WANAMAKER ST               S 59TH ST
S WANAMAKER ST                ELMWOOD AVE                  DICKENS AVE
S WANAMAKER ST                DICKENS AVE                  THEODORE ST
S 59TH ST                     ELMWOOD AVE                  DICKENS AVE
S WANAMAKER ST                THEODORE ST                  LINDBERGH BLVD
S 59TH ST                     DICKENS AVE                  THEODORE ST
S 59TH ST                     THEODORE ST                  LINDBERGH BLVD
GRAYS AVE                     DEAD END EAST                S EDGEWOOD ST
GRAYS AVE                     S EDGEWOOD ST                S MILLICK ST
GRAYS AVE                     S MILLICK ST                 S 61ST ST
GRAYS AVE                     S 61ST ST                    S 62ND ST
S 61ST ST                     GLENMORE AVE                 GRAYS AVE
GLENMORE AVE                  S 61ST ST                    S 62ND ST
WHEELER ST                    S 61ST ST                    S 62ND ST
S 61ST ST                     GRAYS AVE                    WHEELER ST
S 61ST ST                     WHEELER ST                   REEDLAND ST
S 61ST ST                     REEDLAND ST                  ELMWOOD AVE
REEDLAND ST                   S 61ST ST                    S 62ND ST
S MILLICK ST                  ELMWOOD AVE                  THEODORE ST
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S EDGEWOOD ST                    ELMWOOD AVE                  THEODORE ST
S EDGEWOOD ST                    GRAYS AVE                    ELMWOOD AVE
S MILLICK ST                     GRAYS AVE                    ELMWOOD AVE
S 58TH ST                        LINDBERGH BLVD               EASTWICK AVE
EASTWICK AVE                     S 58TH ST                    DEAD END SOUTH
S 56TH ST                        HARLEY DR                    EASTWICK AVE
PASCHALL AVE                     S 62ND ST                    S FELTON ST
GREENWAY AVE                     S 60TH ST                    S EDGEWOOD ST
S 60TH ST                        GREENWAY AVE                 YOCUM ST
S 60TH ST                        YOCUM ST                     WOODLAND AVE
YOCUM ST                         S 60TH ST                    S EDGEWOOD ST
S 59TH ST                        KINGSESSING AVE              GREENWAY AVE
GREENWAY AVE                     S 59TH ST                    S REDFIELD ST
GREENWAY AVE                     S REDFIELD ST                S SALFORD ST
GREENWAY AVE                     S SALFORD ST                 S 60TH ST
GREENWAY AVE                     S 56TH ST                    S ITHAN ST
GREENWAY AVE                     S ITHAN ST                   S FRAZIER ST
GREENWAY AVE                     S FRAZIER ST                 S FRAZIER ST
GREENWAY AVE                     S FRAZIER ST                 S 57TH ST
GREENWAY AVE                     S 57TH ST                    S ALDEN ST
GREENWAY AVE                     S ALDEN ST                   S CECIL ST
GREENWAY AVE                     S CECIL ST                   S 58TH ST
S CECIL ST                       KINGSESSING AVE              GREENWAY AVE
S CECIL ST                       GREENWAY AVE                 WOODLAND AVE
S ALDEN ST                       KINGSESSING AVE              GREENWAY AVE
S ALDEN ST                       GREENWAY AVE                 WOODLAND AVE
S 57TH ST                        KINGSESSING AVE              GREENWAY AVE
S 57TH ST                        GREENWAY AVE                 WOODLAND AVE
S FRAZIER ST                     GREENWAY AVE                 WOODLAND AVE
S 57TH ST                        CHESTER AVE                  KINGSESSING AVE
S FRAZIER ST                     KINGSESSING AVE              GREENWAY AVE
S FRAZIER ST                     GRAYS LN                     KINGSESSING AVE
S ITHAN ST                       SPRINGFIELD AVE              CHESTER AVE
CHESTER AVE                      S ALLISON ST                 S 56TH ST
CHESTER AVE                      S 56TH ST                    S ITHAN ST
S 56TH ST                        CHESTER AVE                  REGENT ST
S 56TH ST                        REGENT ST                    KINGSESSING AVE
CHESTER AVE                      S FRAZIER ST                 S 57TH ST
CHESTER AVE                      S 57TH ST                    S ALDEN ST
CHESTER AVE                      S ALDEN ST                   S CECIL ST
S 56TH ST                        KINGSESSING AVE              UPLAND ST
CHESTER AVE                      S CECIL ST                   S 58TH ST
S 56TH ST                        UPLAND ST                    GREENWAY AVE
S CECIL ST                       CHESTER AVE                  KINGSESSING AVE
S ALDEN ST                       CHESTER AVE                  KINGSESSING AVE
S FRAZIER ST                     SPRINGFIELD AVE              CHESTER AVE
S ITHAN ST                       KINGSESSING AVE              GREENWAY AVE
S VOGDES ST                      SPRINGFIELD AVE              CHESTER AVE
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S ALLISON ST                    SPRINGFIELD AVE              CHESTER AVE
CHESTER AVE                     S VOGDES ST                  S ALLISON ST
S 55TH ST                       REGENT ST                    REGENT ST
S 55TH ST                       REGENT ST                    KINGSESSING AVE
S 55TH ST                       KINGSESSING AVE              UPLAND ST
S 55TH ST                       UPLAND ST                    GREENWAY AVE
REGENT ST                       S 55TH ST                    S VOGDES ST
REGENT ST                       S VOGDES ST                  S ALLISON ST
REGENT ST                       S ALLISON ST                 S 56TH ST
S VOGDES ST                     REGENT ST                    KINGSESSING AVE
S ALLISON ST                    REGENT ST                    KINGSESSING AVE
REGENT ST                       S 54TH ST                    S 55TH ST
S 54TH ST                       CHESTER AVE                  REGENT ST
S 54TH ST                       REGENT ST                    KINGSESSING AVE
S 54TH ST                       KINGSESSING AVE              REINHARD ST
S 54TH ST                       REINHARD ST                  UPLAND ST
S 54TH ST                       UPLAND ST                    GREENWAY AVE
S 52ND ST                       GREENWAY AVE                 WOODLAND AVE
S 52ND ST                       WOODLAND AVE                 SAYBROOK AVE
S 52ND ST                       SAYBROOK AVE                 PASCHALL AVE
PASCHALL AVE                    S 52ND ST                    S WILTON ST
PASCHALL AVE                    S WILTON ST                  S LINDENWOOD ST
PASCHALL AVE                    S LINDENWOOD ST              S 53RD ST
PASCHALL AVE                    S 53RD ST                    S RUBY ST
PASCHALL AVE                    S RUBY ST                    S 54TH ST
PASCHALL AVE                    S 54TH ST                    S YEWDALL ST
PASCHALL AVE                    S YEWDALL ST                 S CONESTOGA ST
PASCHALL AVE                    S CONESTOGA ST               S 55TH ST
S 56TH ST                       YOCUM ST                     WOODLAND AVE
PASCHALL AVE                    S 55TH ST                    S VOGDES ST
PASCHALL AVE                    S VOGDES ST                  S ALLISON ST
S 56TH ST                       WOODLAND AVE                 PASCHALL AVE
S 55TH ST                       YOCUM ST                     WOODLAND AVE
S 55TH ST                       WOODLAND AVE                 SAYBROOK AVE
S 55TH ST                       SAYBROOK AVE                 PASCHALL AVE
S 55TH ST                       PASCHALL AVE                 LINMORE AVE
SAYBROOK AVE                    S 55TH ST                    S VOGDES ST
S VOGDES ST                     WOODLAND AVE                 SAYBROOK AVE
S VOGDES ST                     SAYBROOK AVE                 PASCHALL AVE
S ALLISON ST                    WOODLAND AVE                 PASCHALL AVE
S 54TH ST                       YOCUM ST                     WOODLAND AVE
S 55TH ST                       GREENWAY AVE                 YOCUM ST
S 56TH ST                       GREENWAY AVE                 YOCUM ST
UPLAND ST                       S 55TH ST                    S 56TH ST
GREENWAY AVE                    S CONESTOGA ST               S 55TH ST
GREENWAY AVE                    S 53RD ST                    S 54TH ST
S 53RD ST                       YOCUM ST                     WOODLAND AVE
S 53RD ST                       WOODLAND AVE                 SAYBROOK AVE
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GREENWAY AVE                   S 54TH ST                    S YEWDALL ST
S YEWDALL ST                   KINGSESSING AVE              GREENWAY AVE
S 54TH ST                      GREENWAY AVE                 YOCUM ST
GREENWAY AVE                   S YEWDALL ST                 S CONESTOGA ST
S 53RD ST                      SAYBROOK AVE                 PASCHALL AVE
S RUBY ST                      WOODLAND AVE                 PASCHALL AVE
S YEWDALL ST                   GREENWAY AVE                 WOODLAND AVE
S YEWDALL ST                   WOODLAND AVE                 PASCHALL AVE
S CONESTOGA ST                 KINGSESSING AVE              GREENWAY AVE
S CONESTOGA ST                 GREENWAY AVE                 WOODLAND AVE
S CONESTOGA ST                 WOODLAND AVE                 PASCHALL AVE
YOCUM ST                       S 53RD ST                    S 54TH ST
S 53RD ST                      KINGSESSING AVE              REINHARD ST
GREENWAY AVE                   S 52ND ST                    S WILTON ST
S 53RD ST                      REINHARD ST                  UPLAND ST
GREENWAY AVE                   S WILTON ST                  S LINDENWOOD ST
GREENWAY AVE                   S LINDENWOOD ST              S 53RD ST
S 53RD ST                      UPLAND ST                    GREENWAY AVE
S 53RD ST                      GREENWAY AVE                 YOCUM ST
S WILTON ST                    GREENWAY AVE                 WOODLAND AVE
S LINDENWOOD ST                GREENWAY AVE                 WOODLAND AVE
UPLAND ST                      S 53RD ST                    S 54TH ST
UPLAND ST                      S 52ND ST                    S 53RD ST
REINHARD ST                    S 52ND ST                    S 53RD ST
REINHARD ST                    S 53RD ST                    S 54TH ST
SAYBROOK AVE                   S 52ND ST                    S WILTON ST
SAYBROOK AVE                   S WILTON ST                  S LINDENWOOD ST
SAYBROOK AVE                   S LINDENWOOD ST              S 53RD ST
S LINDENWOOD ST                SAYBROOK AVE                 PASCHALL AVE
S WILTON ST                    SAYBROOK AVE                 PASCHALL AVE
S PAXON ST                     KINGSESSING AVE              GREENWAY AVE
GREENWAY AVE                   S 51ST ST                    S PAXON ST
GREENWAY AVE                   S PAXON ST                   S PAXON ST
S PAXON ST                     GREENWAY AVE                 WOODLAND AVE
WAVERLY ST                     S MOLE ST                    S 16TH ST
WAVERLY ST                     S SYDENHAM ST                S MOLE ST
WAVERLY ST                     S HICKS ST                   S SYDENHAM ST
WAVERLY ST                     S 15TH ST                    S HICKS ST
ADDISON ST                     S 16TH ST                    S 17TH ST
S CARLISLE ST                  PINE ST                      WAVERLY ST
WAVERLY ST                     S CARLISLE ST                S 15TH ST
S MOLE ST                      WAVERLY ST                   ADDISON ST
S SYDENHAM ST                  WAVERLY ST                   ADDISON ST
ADDISON ST                     S SYDENHAM ST                S MOLE ST
S HICKS ST                     WAVERLY ST                   ADDISON ST
ADDISON ST                     S HICKS ST                   S SYDENHAM ST
S SYDENHAM ST                  ADDISON ST                   LOMBARD ST
S CARLISLE ST                  WAVERLY ST                   LOMBARD ST
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CYPRESS ST                       S CHADWICK ST                S 17TH ST
S CHADWICK ST                    CYPRESS ST                   PINE ST
PANAMA ST                        S 18TH ST                    S 19TH ST
DELANCEY PL                      S 18TH ST                    S 19TH ST
DELANCEY PL                      S BOUVIER ST                 S 18TH ST
DELANCEY PL                      S 17TH ST                    S BOUVIER ST
WAVERLY ST                       S 16TH ST                    S 17TH ST
WAVERLY ST                       S 17TH ST                    S 18TH ST
ADDISON ST                       S 17TH ST                    S 18TH ST
WAVERLY ST                       S 18TH ST                    S 19TH ST
CYPRESS ST                       S 18TH ST                    S 19TH ST
DELANCEY PL                      S 19TH ST                    S 20TH ST
WAVERLY ST                       S UBER ST                    S 20TH ST
WAVERLY ST                       S 19TH ST                    S UBER ST
ADDISON ST                       S 18TH ST                    S 19TH ST
WAVERLY ST                       S CAPITOL ST                 S 21ST ST
WAVERLY ST                       S 20TH ST                    S CAPITOL ST
ADDISON ST                       S CAPITOL ST                 S 21ST ST
ADDISON ST                       S 20TH ST                    S CAPITOL ST
S CAPITOL ST                     PINE ST                      WAVERLY ST
S CAPITOL ST                     WAVERLY ST                   ADDISON ST
DELANCEY PL                      S 20TH ST                    S 21ST ST
PANAMA ST                        S 20TH ST                    S 21ST ST
CYPRESS ST                       S 21ST ST                    S 22ND ST
DELANCEY PL                      S 21ST ST                    S 22ND ST
CYPRESS ST                       S 20TH ST                    S 21ST ST
DELANCEY PL                      S 22ND ST                    S 23RD ST
PINE ST                          S 25TH ST                    S 26TH ST
PINE ST                          S 24TH ST                    S 25TH ST
PINE ST                          S 23RD ST                    S 24TH ST
S CROSKEY ST                     PINE ST                      LOMBARD ST
PANAMA ST                        S 23RD ST                    S 24TH ST
S 24TH ST                        CYPRESS ST                   DELANCEY PL
S 24TH ST                        DELANCEY PL                  PANAMA ST
S 24TH ST                        PANAMA ST                    PINE ST
S 24TH ST                        PINE ST                      WAVERLY ST
S 24TH ST                        WAVERLY ST                   LOMBARD ST
PANAMA ST                        S 22ND ST                    S 23RD ST
DELANCEY PL                      S 24TH ST                    S 25TH ST
DELANCEY PL                      S 23RD ST                    S 24TH ST
PANAMA ST                        S 24TH ST                    S 25TH ST
DELANCEY PL                      S 25TH ST                    S 26TH ST
PANAMA ST                        S 25TH ST                    S 26TH ST
WAVERLY ST                       S 24TH ST                    S 25TH ST
WAVERLY ST                       S 23RD ST                    S 24TH ST
PINE ST                          S 26TH ST                    S TANEY ST
S TANEY ST                       PINE ST                      LOMBARD ST
S TANEY ST                       LOMBARD ST                   NAUDAIN ST
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S TANEY ST                       NAUDAIN ST                   SOUTH ST
S TANEY ST                       SOUTH ST                     BAINBRIDGE ST
BAINBRIDGE ST                    S 27TH ST                    SCHUYLKILL AVE
BAINBRIDGE ST                    S TANEY ST                   S 27TH ST
BAINBRIDGE ST                    S 26TH ST                    S TANEY ST
BAINBRIDGE ST                    S BAMBREY ST                 S 26TH ST
S 26TH ST                        SOUTH ST                     BAINBRIDGE ST
S BAMBREY ST                     SOUTH ST                     BAINBRIDGE ST
NAUDAIN ST                       S 26TH ST                    S TANEY ST
NAUDAIN ST                       S 25TH ST                    S 26TH ST
NAUDAIN ST                       S 24TH ST                    S 25TH ST
S 26TH ST                        NAUDAIN ST                   SOUTH ST
S 26TH ST                        LOMBARD ST                   NAUDAIN ST
S 26TH ST                        WAVERLY ST                   LOMBARD ST
S 24TH ST                        LOMBARD ST                   NAUDAIN ST
S 24TH ST                        NAUDAIN ST                   SOUTH ST
S 24TH ST                        SOUTH ST                     BAINBRIDGE ST
NAUDAIN ST                       S 22ND ST                    S 23RD ST
NAUDAIN ST                       S 23RD ST                    S 24TH ST
NAUDAIN ST                       S 21ST ST                    S 22ND ST
TRYON ST                         S 21ST ST                    S 22ND ST
RODMAN ST                        S 21ST ST                    S 22ND ST
KATER ST                         S 22ND ST                    GRAYS FERRY AVE
S 20TH ST                        SOUTH ST                     KATER ST
S 20TH ST                        KATER ST                     BAINBRIDGE ST
NAUDAIN ST                       S 20TH ST                    S 21ST ST
NAUDAIN ST                       S 19TH ST                    S 20TH ST
RODMAN ST                        S 20TH ST                    S 21ST ST
RODMAN ST                        S 19TH ST                    S 20TH ST
KATER ST                         S 19TH ST                    S 20TH ST
S 19TH ST                        SOUTH ST                     KATER ST
S 19TH ST                        KATER ST                     BAINBRIDGE ST
S 19TH ST                        BAINBRIDGE ST                PEMBERTON ST
S 19TH ST                        PEMBERTON ST                 FITZWATER ST
S 18TH ST                        SOUTH ST                     KATER ST
S 18TH ST                        KATER ST                     BAINBRIDGE ST
S 18TH ST                        BAINBRIDGE ST                PEMBERTON ST
S 18TH ST                        PEMBERTON ST                 FITZWATER ST
PEMBERTON ST                     S 18TH ST                    S 19TH ST
S COLORADO ST                    BAINBRIDGE ST                FITZWATER ST
KATER ST                         S 18TH ST                    S 19TH ST
KATER ST                         S 17TH ST                    S 18TH ST
S 17TH ST                        SOUTH ST                     KATER ST
S 17TH ST                        KATER ST                     BAINBRIDGE ST
S 17TH ST                        BAINBRIDGE ST                FITZWATER ST
NAUDAIN ST                       S 17TH ST                    S 18TH ST
RODMAN ST                        S 17TH ST                    S 18TH ST
RODMAN ST                        S 16TH ST                    S 17TH ST
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NAUDAIN ST                       S 15TH ST                    S 16TH ST
NAUDAIN ST                       S 16TH ST                    S 17TH ST
RODMAN ST                        S 15TH ST                    S 16TH ST
KATER ST                         S 15TH ST                    S 16TH ST
KATER ST                         S 16TH ST                    S 17TH ST
KATER ST                         S ROSEWOOD ST                S 15TH ST
S ROSEWOOD ST                    KATER ST                     BAINBRIDGE ST
KENILWORTH ST                    DEAD END EAST                S 15TH ST
S ROSEWOOD ST                    PEMBERTON ST                 SENATE ST
SENATE ST                        S ROSEWOOD ST                DEAD END WEST
FITZWATER ST                     S BANCROFT ST                S SMEDLEY ST
FITZWATER ST                     S 16TH ST                    S BANCROFT ST
FITZWATER ST                     S MOLE ST                    S 16TH ST
FITZWATER ST                     S HICKS ST                   S HICKS ST
FITZWATER ST                     S HICKS ST                   S MOLE ST
FITZWATER ST                     S 15TH ST                    S HICKS ST
FITZWATER ST                     S ROSEWOOD ST                S 15TH ST
FITZWATER ST                     S BROAD ST                   S ROSEWOOD ST
S HICKS ST                       BAINBRIDGE ST                SENATE ST
S HICKS ST                       SENATE ST                    FITZWATER ST
S MOLE ST                        BAINBRIDGE ST                SENATE ST
SENATE ST                        S HICKS ST                   S MOLE ST
FITZWATER ST                     S COLORADO ST                S 18TH ST
FITZWATER ST                     S 17TH ST                    S COLORADO ST
FITZWATER ST                     S CHADWICK ST                S 17TH ST
S BANCROFT ST                    BAINBRIDGE ST                FITZWATER ST
S SMEDLEY ST                     BAINBRIDGE ST                FITZWATER ST
S CHADWICK ST                    BAINBRIDGE ST                FITZWATER ST
FITZWATER ST                     S SMEDLEY ST                 S CHADWICK ST
FITZWATER ST                     S CHADWICK ST                S CHADWICK ST
S CHADWICK ST                    FITZWATER ST                 CATHARINE ST
CATHARINE ST                     S CHADWICK ST                S 17TH ST
CATHARINE ST                     S MOLE ST                    S 16TH ST
CATHARINE ST                     S MOLE ST                    S MOLE ST
CATHARINE ST                     S HICKS ST                   S MOLE ST
CATHARINE ST                     S 15TH ST                    S HICKS ST
CATHARINE ST                     S 17TH ST                    S 18TH ST
S MOLE ST                        CATHARINE ST                 WEBSTER ST
WEBSTER ST                       S 15TH ST                    S MOLE ST
WEBSTER ST                       S ROSEWOOD ST                S 15TH ST
S ROSEWOOD ST                    WEBSTER ST                   CHRISTIAN ST
S 17TH ST                        FITZWATER ST                 CATHARINE ST
S 17TH ST                        CATHARINE ST                 WEBSTER ST
S 17TH ST                        WEBSTER ST                   CHRISTIAN ST
S 17TH ST                        CHRISTIAN ST                 MONTROSE ST
S MOLE ST                        FITZWATER ST                 CATHARINE ST
S HICKS ST                       FITZWATER ST                 CATHARINE ST
CATHARINE ST                     S 16TH ST                    S CHADWICK ST
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CATHARINE ST                       S ROSEWOOD ST                S ROSEWOOD ST
CATHARINE ST                       S ROSEWOOD ST                S 15TH ST
S ROSEWOOD ST                      CATHARINE ST                 WEBSTER ST
CHRISTIAN ST                       S 15TH ST                    S 16TH ST
CHRISTIAN ST                       S ROSEWOOD ST                S 15TH ST
CHRISTIAN ST                       S BROAD ST                   S ROSEWOOD ST
S 18TH ST                          FITZWATER ST                 CATHARINE ST
S 18TH ST                          CATHARINE ST                 WEBSTER ST
S 18TH ST                          WEBSTER ST                   CHRISTIAN ST
S 18TH ST                          CHRISTIAN ST                 MONTROSE ST
S 19TH ST                          FITZWATER ST                 CATHARINE ST
S 19TH ST                          CATHARINE ST                 WEBSTER ST
S 19TH ST                          WEBSTER ST                   CHRISTIAN ST
S 19TH ST                          CHRISTIAN ST                 MONTROSE ST
FITZWATER ST                       HARSHAW ST                   S 20TH ST
FITZWATER ST                       MARTIN ST                    HARSHAW ST
FITZWATER ST                       S 19TH ST                    MARTIN ST
FITZWATER ST                       DORRANCE ST                  S 19TH ST
FITZWATER ST                       S CLEVELAND ST               DORRANCE ST
FITZWATER ST                       S 18TH ST                    S CLEVELAND ST
CATHARINE ST                       HARSHAW ST                   S 20TH ST
CATHARINE ST                       MARTIN ST                    HARSHAW ST
CATHARINE ST                       S 19TH ST                    MARTIN ST
CATHARINE ST                       DORRANCE ST                  S 19TH ST
CATHARINE ST                       S CLEVELAND ST               DORRANCE ST
CATHARINE ST                       S 18TH ST                    S CLEVELAND ST
CHRISTIAN ST                       S 18TH ST                    S 19TH ST
CHRISTIAN ST                       S 17TH ST                    S 18TH ST
WEBSTER ST                         S 17TH ST                    S 18TH ST
S CLEVELAND ST                     FITZWATER ST                 CATHARINE ST
DORRANCE ST                        FITZWATER ST                 CATHARINE ST
HARSHAW ST                         FITZWATER ST                 CATHARINE ST
MARTIN ST                          FITZWATER ST                 CATHARINE ST
S 20TH ST                          BAINBRIDGE ST                PEMBERTON ST
S 20TH ST                          PEMBERTON ST                 FITZWATER ST
S 20TH ST                          FITZWATER ST                 CLYMER ST
S 20TH ST                          CLYMER ST                    SAINT ALBANS ST
S 20TH ST                          SAINT ALBANS ST              FULTON ST
S 20TH ST                          FULTON ST                    CATHARINE ST
S 20TH ST                          CATHARINE ST                 WEBSTER ST
PEMBERTON ST                       S 19TH ST                    S 20TH ST
FITZWATER ST                       S 22ND ST                    S 23RD ST
FITZWATER ST                       S 21ST ST                    S 22ND ST
FITZWATER ST                       S 20TH ST                    S 21ST ST
PEMBERTON ST                       S 22ND ST                    S 23RD ST
GRAYS FERRY AVE                    SOUTH ST                     S 23RD ST
S 24TH ST                          BAINBRIDGE ST                GRAYS FERRY AVE
PEMBERTON ST                       S 23RD ST                    GRAYS FERRY AVE
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S 23RD ST                          PEMBERTON ST                 SENATE ST
S 23RD ST                          SENATE ST                    FITZWATER ST
S 23RD ST                          FITZWATER ST                 CLYMER ST
S 23RD ST                          CLYMER ST                    SAINT ALBANS ST
S 23RD ST                          SAINT ALBANS ST              FULTON ST
FITZWATER ST                       S 23RD ST                    GRAYS FERRY AVE
FULTON ST                          S 23RD ST                    S 24TH ST
CATHARINE ST                       S 23RD ST                    S 24TH ST
CATHARINE ST                       S 22ND ST                    S 23RD ST
S TANEY ST                         WEBSTER ST                   CHRISTIAN ST
CATHARINE ST                       S TANEY ST                   SCHUYLKILL AVE
SCHUYLKILL AVE                     CATHARINE ST                 WEBSTER ST
CATHARINE ST                       S BAMBREY ST                 S TANEY ST
S TANEY ST                         CATHARINE ST                 WEBSTER ST
WEBSTER ST                         S TANEY ST                   SCHUYLKILL AVE
S BAMBREY ST                       CATHARINE ST                 WEBSTER ST
WEBSTER ST                         S BAMBREY ST                 S TANEY ST
WEBSTER ST                         S STILLMAN ST                S BAMBREY ST
SCHUYLKILL AVE                     WEBSTER ST                   CHRISTIAN ST
CHRISTIAN ST                       S TANEY ST                   SCHUYLKILL AVE
CHRISTIAN ST                       S 26TH ST                    S TANEY ST
S STILLMAN ST                      WEBSTER ST                   CHRISTIAN ST
CHRISTIAN ST                       S STILLMAN ST                S 26TH ST
CHRISTIAN ST                       S 25TH ST                    S STILLMAN ST
CLYMER ST                          S 23RD ST                    ACADEMY CIR
CATHARINE ST                       S 24TH ST                    GRAYS FERRY AVE
MADISON SQ                         S 24TH ST                    GRAYS FERRY AVE
CHRISTIAN ST                       S 24TH ST                    GRAYS FERRY AVE
CHRISTIAN ST                       S 23RD ST                    S 24TH ST
CHRISTIAN ST                       S 22ND ST                    S 23RD ST
CHRISTIAN ST                       S 21ST ST                    S 22ND ST
SAINT ALBANS ST                    S 22ND ST                    S 23RD ST
RITNER ST                          S MOLE ST                    S 16TH ST
RITNER ST                          S HICKS ST                   S MOLE ST
RITNER ST                          S 15TH ST                    S HICKS ST
RITNER ST                          S CARLISLE ST                S 15TH ST
RITNER ST                          S ROSEWOOD ST                S CARLISLE ST
RITNER ST                          S BROAD ST                   S ROSEWOOD ST
WOLF ST                            S MOLE ST                    S 16TH ST
WOLF ST                            S HICKS ST                   S MOLE ST
WOLF ST                            S 15TH ST                    S HICKS ST
WOLF ST                            S CARLISLE ST                S 15TH ST
WOLF ST                            S ROSEWOOD ST                S CARLISLE ST
WOLF ST                            S BROAD ST                   S ROSEWOOD ST
JACKSON ST                         S 16TH ST                    S BANCROFT ST
JACKSON ST                         S MOLE ST                    S 16TH ST
JACKSON ST                         S HICKS ST                   S MOLE ST
JACKSON ST                         S 15TH ST                    S HICKS ST
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JACKSON ST                      S CARLISLE ST                S 15TH ST
JACKSON ST                      S ROSEWOOD ST                S CARLISLE ST
JACKSON ST                      S BROAD ST                   S ROSEWOOD ST
MC KEAN ST                      S 16TH ST                    S BANCROFT ST
MC KEAN ST                      S MOLE ST                    S 16TH ST
MC KEAN ST                      S HICKS ST                   S MOLE ST
MC KEAN ST                      S 15TH ST                    S HICKS ST
MC KEAN ST                      S BROAD ST                   S 15TH ST
MIFFLIN ST                      S BANCROFT ST                S CHADWICK ST
MIFFLIN ST                      S 16TH ST                    S BANCROFT ST
MIFFLIN ST                      S MOLE ST                    S 16TH ST
MIFFLIN ST                      S HICKS ST                   S MOLE ST
MIFFLIN ST                      S 15TH ST                    S HICKS ST
MIFFLIN ST                      S CARLISLE ST                S 15TH ST
MIFFLIN ST                      S ROSEWOOD ST                S CARLISLE ST
MIFFLIN ST                      S BROAD ST                   S ROSEWOOD ST
MOORE ST                        S BANCROFT ST                S CHADWICK ST
MOORE ST                        S 16TH ST                    S BANCROFT ST
MOORE ST                        S MOLE ST                    S 16TH ST
MOORE ST                        S HICKS ST                   S MOLE ST
MOORE ST                        S 15TH ST                    S HICKS ST
MOORE ST                        S CARLISLE ST                S 15TH ST
MOORE ST                        S ROSEWOOD ST                S CARLISLE ST
MOORE ST                        S BROAD ST                   S ROSEWOOD ST
DICKINSON ST                    S 16TH ST                    S BANCROFT ST
DICKINSON ST                    S MOLE ST                    S 16TH ST
DICKINSON ST                    S HICKS ST                   S MOLE ST
DICKINSON ST                    S 15TH ST                    S HICKS ST
DICKINSON ST                    S CARLISLE ST                S 15TH ST
DICKINSON ST                    S BROAD ST                   S CARLISLE ST
REED ST                         S 16TH ST                    S BANCROFT ST
REED ST                         S 15TH ST                    S HICKS ST
REED ST                         S CARLISLE ST                S 15TH ST
REED ST                         S BROAD ST                   S CARLISLE ST
WHARTON ST                      S 16TH ST                    S BANCROFT ST
WHARTON ST                      S MOLE ST                    S 16TH ST
WHARTON ST                      S HICKS ST                   S MOLE ST
WHARTON ST                      S 15TH ST                    S HICKS ST
WHARTON ST                      S CARLISLE ST                S 15TH ST
WHARTON ST                      S BROAD ST                   S CARLISLE ST
FEDERAL ST                      S MOLE ST                    S 16TH ST
FEDERAL ST                      S SYDENHAM ST                S MOLE ST
FEDERAL ST                      S HICKS ST                   S SYDENHAM ST
FEDERAL ST                      S 15TH ST                    S HICKS ST
FEDERAL ST                      S CARLISLE ST                S 15TH ST
ELLSWORTH ST                    S 16TH ST                    S 17TH ST
ELLSWORTH ST                    S MOLE ST                    S 16TH ST
CARPENTER ST                    S 15TH ST                    S 16TH ST
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CARPENTER ST                    S BROAD ST                   S 15TH ST
MONTROSE ST                     DEAD END EAST                S 15TH ST
MONTROSE ST                     S 15TH ST                    S 16TH ST
MONTROSE ST                     S 20TH ST                    S 21ST ST
MONTROSE ST                     S 18TH ST                    S 19TH ST
MONTROSE ST                     S 17TH ST                    S 18TH ST
CHRISTIAN ST                    S 20TH ST                    S 21ST ST
CHRISTIAN ST                    S 19TH ST                    S 20TH ST
CARPENTER ST                    S 19TH ST                    S 20TH ST
CARPENTER ST                    DORRANCE ST                  S 19TH ST
CARPENTER ST                    S CLEVELAND ST               DORRANCE ST
CARPENTER ST                    S 18TH ST                    S CLEVELAND ST
CARPENTER ST                    S BOUVIER ST                 S 18TH ST
CARPENTER ST                    S COLORADO ST                S BOUVIER ST
CARPENTER ST                    S 17TH ST                    S COLORADO ST
CARPENTER ST                    S CHADWICK ST                S 17TH ST
ELLSWORTH ST                    S 20TH ST                    S 21ST ST
ELLSWORTH ST                    S 19TH ST                    S 20TH ST
ELLSWORTH ST                    DORRANCE ST                  S 19TH ST
ELLSWORTH ST                    S 17TH ST                    S 18TH ST
FEDERAL ST                      S 20TH ST                    S 21ST ST
FEDERAL ST                      S 19TH ST                    POINT BREEZE AVE
FEDERAL ST                      DORRANCE ST                  S 19TH ST
FEDERAL ST                      S 17TH ST                    S 18TH ST
FEDERAL ST                      S 16TH ST                    S 17TH ST
WHARTON ST                      S 20TH ST                    S WOODSTOCK ST
WHARTON ST                      S OPAL ST                    S 20TH ST
WHARTON ST                      S GARNET ST                  S OPAL ST
WHARTON ST                      S 19TH ST                    S GARNET ST
WHARTON ST                      DORRANCE ST                  S 19TH ST
WHARTON ST                      S CLEVELAND ST               DORRANCE ST
WHARTON ST                      S 18TH ST                    S CLEVELAND ST
WHARTON ST                      S BOUVIER ST                 S 18TH ST
WHARTON ST                      S COLORADO ST                S BOUVIER ST
WHARTON ST                      S 17TH ST                    S COLORADO ST
WHARTON ST                      S CHADWICK ST                S 17TH ST
WHARTON ST                      S BANCROFT ST                S CHADWICK ST
REED ST                         S GARNET ST                  S OPAL ST
REED ST                         S 19TH ST                    S GARNET ST
REED ST                         S 18TH ST                    S 19TH ST
REED ST                         S BOUVIER ST                 S 18TH ST
REED ST                         S COLORADO ST                S BOUVIER ST
REED ST                         S 17TH ST                    S COLORADO ST
DICKINSON ST                    S GARNET ST                  S OPAL ST
DICKINSON ST                    S 19TH ST                    S GARNET ST
DICKINSON ST                    DORRANCE ST                  S 19TH ST
DICKINSON ST                    S CLEVELAND ST               DORRANCE ST
DICKINSON ST                    S 18TH ST                    S CLEVELAND ST
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DICKINSON ST                    S BOUVIER ST                 S 18TH ST
DICKINSON ST                    S COLORADO ST                S BOUVIER ST
DICKINSON ST                    S 17TH ST                    S COLORADO ST
DICKINSON ST                    S CHADWICK ST                S 17TH ST
DICKINSON ST                    S BANCROFT ST                S CHADWICK ST
MOORE ST                        S 20TH ST                    S 21ST ST
MOORE ST                        S 19TH ST                    S 20TH ST
MOORE ST                        DORRANCE ST                  S 19TH ST
MOORE ST                        S CLEVELAND ST               DORRANCE ST
MOORE ST                        S 18TH ST                    S CLEVELAND ST
MOORE ST                        S 17TH ST                    S 18TH ST
MOORE ST                        S CHADWICK ST                S 17TH ST
MIFFLIN ST                      S LAMBERT ST                 S 21ST ST
MIFFLIN ST                      S WOODSTOCK ST               S LAMBERT ST
MIFFLIN ST                      S 20TH ST                    S WOODSTOCK ST
MIFFLIN ST                      S 19TH ST                    S 20TH ST
MIFFLIN ST                      S 18TH ST                    S 19TH ST
MIFFLIN ST                      S BOUVIER ST                 S 18TH ST
MIFFLIN ST                      S 17TH ST                    S BOUVIER ST
MIFFLIN ST                      S CHADWICK ST                S 17TH ST
MC KEAN ST                      S LAMBERT ST                 S 21ST ST
MC KEAN ST                      S WOODSTOCK ST               S LAMBERT ST
MC KEAN ST                      S 20TH ST                    S WOODSTOCK ST
MC KEAN ST                      S OPAL ST                    S 20TH ST
MC KEAN ST                      S GARNET ST                  S OPAL ST
MC KEAN ST                      S 19TH ST                    S GARNET ST
MC KEAN ST                      DORRANCE ST                  S 19TH ST
MC KEAN ST                      S CLEVELAND ST               DORRANCE ST
MC KEAN ST                      S 18TH ST                    S CLEVELAND ST
MC KEAN ST                      S BOUVIER ST                 S 18TH ST
MC KEAN ST                      S COLORADO ST                S BOUVIER ST
MC KEAN ST                      S 17TH ST                    S COLORADO ST
MC KEAN ST                      S CHADWICK ST                S 17TH ST
MC KEAN ST                      S BANCROFT ST                S CHADWICK ST
JACKSON ST                      S 18TH ST                    W PASSYUNK AVE
JACKSON ST                      S BOUVIER ST                 S 18TH ST
JACKSON ST                      S COLORADO ST                S BOUVIER ST
JACKSON ST                      S 17TH ST                    S COLORADO ST
JACKSON ST                      S CHADWICK ST                S 17TH ST
JACKSON ST                      S BANCROFT ST                S CHADWICK ST
JACKSON ST                      S WOODSTOCK ST               S LAMBERT ST
JACKSON ST                      S 20TH ST                    S WOODSTOCK ST
JACKSON ST                      S OPAL ST                    S 20TH ST
JACKSON ST                      S GARNET ST                  S OPAL ST
JACKSON ST                      S 19TH ST                    S GARNET ST
JACKSON ST                      W PASSYUNK AVE               S 19TH ST
WOLF ST                         S 20TH ST                    S WOODSTOCK ST
WOLF ST                         S OPAL ST                    S 20TH ST
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WOLF ST                       S GARNET ST                   S OPAL ST
WOLF ST                       S 19TH ST                     S GARNET ST
WOLF ST                       S 18TH ST                     S 19TH ST
WOLF ST                       S BOUVIER ST                  S 18TH ST
WOLF ST                       S COLORADO ST                 S BOUVIER ST
WOLF ST                       S 17TH ST                     S COLORADO ST
WOLF ST                       S CHADWICK ST                 S 17TH ST
WOLF ST                       S BANCROFT ST                 S CHADWICK ST
WOLF ST                       S 16TH ST                     S BANCROFT ST
RITNER ST                     S WOODSTOCK ST                S LAMBERT ST
RITNER ST                     S 20TH ST                     S WOODSTOCK ST
RITNER ST                     S OPAL ST                     S 20TH ST
RITNER ST                     S GARNET ST                   S OPAL ST
RITNER ST                     S 19TH ST                     S GARNET ST
RITNER ST                     S 18TH ST                     S 19TH ST
RITNER ST                     S BOUVIER ST                  S 18TH ST
RITNER ST                     S COLORADO ST                 S BOUVIER ST
RITNER ST                     S 17TH ST                     S COLORADO ST
RITNER ST                     S CHADWICK ST                 S 17TH ST
RITNER ST                     S BANCROFT ST                 S CHADWICK ST
RITNER ST                     S 16TH ST                     S BANCROFT ST
RITNER ST                     S 24TH ST                     S 25TH ST
RITNER ST                     S 24TH ST                     S 24TH ST
RITNER ST                     S BUCKNELL ST                 S 24TH ST
RITNER ST                     S BONSALL ST                  S BUCKNELL ST
RITNER ST                     S 23RD ST                     S BONSALL ST
RITNER ST                     S 22ND ST                     S 23RD ST
RITNER ST                     S 21ST ST                     S 22ND ST
RITNER ST                     S LAMBERT ST                  S 21ST ST
WOLF ST                       S 24TH ST                     S 25TH ST
WOLF ST                       S 24TH ST                     S 24TH ST
WOLF ST                       S BUCKNELL ST                 S 24TH ST
WOLF ST                       S BONSALL ST                  S BUCKNELL ST
WOLF ST                       S 23RD ST                     S BONSALL ST
WOLF ST                       S HEMBERGER ST                S 23RD ST
WOLF ST                       S CROSKEY ST                  S HEMBERGER ST
WOLF ST                       S 22ND ST                     S CROSKEY ST
WOLF ST                       S BEECHWOOD ST                S 22ND ST
WOLF ST                       S NORWOOD ST                  S BEECHWOOD ST
WOLF ST                       S 21ST ST                     S NORWOOD ST
WOLF ST                       S LAMBERT ST                  W PASSYUNK AVE
WOLF ST                       S WOODSTOCK ST                S LAMBERT ST
JACKSON ST                    S BUCKNELL ST                 S 24TH ST
JACKSON ST                    S BONSALL ST                  S BUCKNELL ST
JACKSON ST                    S 23RD ST                     S BONSALL ST
JACKSON ST                    S HEMBERGER ST                S 23RD ST
JACKSON ST                    S CROSKEY ST                  S HEMBERGER ST
JACKSON ST                    S 22ND ST                     S CROSKEY ST
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JACKSON ST                      S BEECHWOOD ST                S 22ND ST
JACKSON ST                      S NORWOOD ST                  S BEECHWOOD ST
JACKSON ST                      S 21ST ST                     S NORWOOD ST
JACKSON ST                      S LAMBERT ST                  S 21ST ST
MC KEAN ST                      S 23RD ST                     S BONSALL ST
MC KEAN ST                      S HEMBERGER ST                S 23RD ST
MC KEAN ST                      S CROSKEY ST                  S HEMBERGER ST
MC KEAN ST                      S 22ND ST                     S CROSKEY ST
MC KEAN ST                      S BEECHWOOD ST                S 22ND ST
MC KEAN ST                      S NORWOOD ST                  S BEECHWOOD ST
MC KEAN ST                      S 21ST ST                     S NORWOOD ST
MC KEAN ST                      S 25TH ST                     S 26TH ST
MC KEAN ST                      POINT BREEZE AVE              S 25TH ST
MC KEAN ST                      S 24TH ST                     POINT BREEZE AVE
MC KEAN ST                      S 24TH ST                     S 24TH ST
MC KEAN ST                      S BUCKNELL ST                 S 24TH ST
MC KEAN ST                      S BONSALL ST                  S BUCKNELL ST
MIFFLIN ST                      S TAYLOR ST                   S 25TH ST
MIFFLIN ST                      S RINGGOLD ST                 S TAYLOR ST
MIFFLIN ST                      S 24TH ST                     S RINGGOLD ST
MIFFLIN ST                      S BONSALL ST                  POINT BREEZE AVE
MIFFLIN ST                      S 23RD ST                     S BONSALL ST
MIFFLIN ST                      S HEMBERGER ST                S 23RD ST
MIFFLIN ST                      S CROSKEY ST                  S HEMBERGER ST
MIFFLIN ST                      S 22ND ST                     S CROSKEY ST
MIFFLIN ST                      S BEECHWOOD ST                S 22ND ST
MIFFLIN ST                      S NORWOOD ST                  S BEECHWOOD ST
MIFFLIN ST                      S 21ST ST                     S NORWOOD ST
MOORE ST                        S TAYLOR ST                   S 25TH ST
MOORE ST                        S RINGGOLD ST                 S TAYLOR ST
MOORE ST                        S 24TH ST                     S RINGGOLD ST
MOORE ST                        POINT BREEZE AVE              S 24TH ST
MOORE ST                        S 23RD ST                     POINT BREEZE AVE
MOORE ST                        S 22ND ST                     S 23RD ST
MOORE ST                        S 21ST ST                     S 22ND ST
DICKINSON ST                    S TAYLOR ST                   S 25TH ST
DICKINSON ST                    S RINGGOLD ST                 S TAYLOR ST
DICKINSON ST                    S 24TH ST                     S RINGGOLD ST
DICKINSON ST                    S 23RD ST                     S 24TH ST
DICKINSON ST                    S 22ND ST                     S 23RD ST
DICKINSON ST                    POINT BREEZE AVE              S 22ND ST
DICKINSON ST                    S 21ST ST                     POINT BREEZE AVE
DICKINSON ST                    S LAMBERT ST                  S 21ST ST
DICKINSON ST                    S CAPITOL ST                  S LAMBERT ST
DICKINSON ST                    S WOODSTOCK ST                S CAPITOL ST
DICKINSON ST                    S 20TH ST                     S WOODSTOCK ST
DICKINSON ST                    S OPAL ST                     S 20TH ST
REED ST                         S 23RD ST                     S 24TH ST
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REED ST                         S 22ND ST                     S 23RD ST
REED ST                         POINT BREEZE AVE              S 22ND ST
REED ST                         S 21ST ST                     POINT BREEZE AVE
REED ST                         S LAMBERT ST                  S 21ST ST
REED ST                         S CAPITOL ST                  S LAMBERT ST
REED ST                         S WOODSTOCK ST                S CAPITOL ST
REED ST                         S 20TH ST                     S WOODSTOCK ST
REED ST                         S OPAL ST                     S 20TH ST
WHARTON ST                      S 24TH ST                     S RINGGOLD ST
WHARTON ST                      S BUCKNELL ST                 S 24TH ST
WHARTON ST                      S BONSALL ST                  S BUCKNELL ST
WHARTON ST                      S 23RD ST                     S BONSALL ST
WHARTON ST                      S 22ND ST                     S 23RD ST
WHARTON ST                      S 21ST ST                     S 22ND ST
WHARTON ST                      POINT BREEZE AVE              S 21ST ST
WHARTON ST                      S CAPITOL ST                  POINT BREEZE AVE
WHARTON ST                      S WOODSTOCK ST                S CAPITOL ST
ELLSWORTH ST                    S 24TH ST                     S 25TH ST
ELLSWORTH ST                    S 23RD ST                     S 24TH ST
ELLSWORTH ST                    S 22ND ST                     S 23RD ST
ELLSWORTH ST                    S 21ST ST                     S 22ND ST
FEDERAL ST                      S BUCKNELL ST                 S 24TH ST
FEDERAL ST                      S BONSALL ST                  S BUCKNELL ST
FEDERAL ST                      S 23RD ST                     S BONSALL ST
FEDERAL ST                      S 22ND ST                     S 23RD ST
FEDERAL ST                      S 21ST ST                     S 22ND ST
CARPENTER ST                    S 24TH ST                     S 25TH ST
CARPENTER ST                    S BONSALL ST                  S 24TH ST
CARPENTER ST                    S 23RD ST                     S BONSALL ST
CARPENTER ST                    S 22ND ST                     S 23RD ST
CARPENTER ST                    S 21ST ST                     S 22ND ST
CARPENTER ST                    S 20TH ST                     S 21ST ST
CATHARINE ST                    S 21ST ST                     S 22ND ST
CATHARINE ST                    S 20TH ST                     S 21ST ST
MC KEAN ST                      S HOLLYWOOD ST                S 30TH ST
MC KEAN ST                      S 29TH ST                     S HOLLYWOOD ST
MC KEAN ST                      S NEWKIRK ST                  S 29TH ST
MC KEAN ST                      S 28TH ST                     S NEWKIRK ST
MC KEAN ST                      S ETTING ST                   S 28TH ST
MC KEAN ST                      S 27TH ST                     S ETTING ST
MC KEAN ST                      S 26TH ST                     S 27TH ST
MIFFLIN ST                      S HOLLYWOOD ST                S 30TH ST
MIFFLIN ST                      S 29TH ST                     S HOLLYWOOD ST
MIFFLIN ST                      S DOVER ST                    S 29TH ST
MIFFLIN ST                      S 28TH ST                     S NEWKIRK ST
MIFFLIN ST                      S ETTING ST                   S 28TH ST
MIFFLIN ST                      S 27TH ST                     S ETTING ST
MIFFLIN ST                      S 26TH ST                     S 27TH ST
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MIFFLIN ST                      S 25TH ST                     S 26TH ST
MOORE ST                        S DOVER ST                    S 29TH ST
MOORE ST                        S NEWKIRK ST                  S DOVER ST
MOORE ST                        S 28TH ST                     S NEWKIRK ST
MOORE ST                        S ETTING ST                   S 28TH ST
MOORE ST                        S 27TH ST                     S ETTING ST
MOORE ST                        S 26TH ST                     S 27TH ST
MOORE ST                        S BAMBREY ST                  S 26TH ST
MOORE ST                        S 25TH ST                     S BAMBREY ST
DICKINSON ST                    S DOVER ST                    S 29TH ST
DICKINSON ST                    S NEWKIRK ST                  S DOVER ST
DICKINSON ST                    S 28TH ST                     S NEWKIRK ST
DICKINSON ST                    S MARSTON ST                  S 28TH ST
DICKINSON ST                    S ETTING ST                   S MARSTON ST
DICKINSON ST                    S 27TH ST                     S ETTING ST
DICKINSON ST                    S TANEY ST                    S 27TH ST
DICKINSON ST                    S BAILEY ST                   S TANEY ST
DICKINSON ST                    S 26TH ST                     S BAILEY ST
DICKINSON ST                    S BAMBREY ST                  S 26TH ST
DICKINSON ST                    S STILLMAN ST                 S BAMBREY ST
DICKINSON ST                    S 25TH ST                     S STILLMAN ST
REED ST                         S DOVER ST                    S 29TH ST
REED ST                         S NEWKIRK ST                  S DOVER ST
REED ST                         S 28TH ST                     S NEWKIRK ST
REED ST                         S MARSTON ST                  S 28TH ST
REED ST                         S ETTING ST                   S MARSTON ST
REED ST                         S 27TH ST                     S ETTING ST
REED ST                         S 26TH ST                     S 27TH ST
REED ST                         S 25TH ST                     S 26TH ST
REED ST                         S 24TH ST                     S RINGGOLD ST
WHARTON ST                      S DOVER ST                    S 29TH ST
WHARTON ST                      S NEWKIRK ST                  S DOVER ST
WHARTON ST                      S 28TH ST                     S NEWKIRK ST
WHARTON ST                      S 27TH ST                     S 28TH ST
WHARTON ST                      S 26TH ST                     S 27TH ST
WHARTON ST                      S 25TH ST                     S 26TH ST
WHARTON ST                      S TAYLOR ST                   S 25TH ST
WHARTON ST                      S RINGGOLD ST                 S TAYLOR ST
OAKFORD ST                      S DOVER ST                    S 29TH ST
OAKFORD ST                      S NEWKIRK ST                  S DOVER ST
OAKFORD ST                      S 28TH ST                     S NEWKIRK ST
OAKFORD ST                      S 27TH ST                     S 28TH ST
OAKFORD ST                      S 26TH ST                     S 27TH ST
OAKFORD ST                      S TAYLOR ST                   S 25TH ST
OAKFORD ST                      S RINGGOLD ST                 S TAYLOR ST
OAKFORD ST                      S 24TH ST                     S RINGGOLD ST
OAKFORD ST                      S BUCKNELL ST                 S 24TH ST
OAKFORD ST                      S BONSALL ST                  S BUCKNELL ST
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FEDERAL ST                        S 26TH ST                     S 27TH ST
FEDERAL ST                        S 25TH ST                     S 26TH ST
FEDERAL ST                        S 24TH ST                     S 25TH ST
FEDERAL ST                        S 27TH ST                     GRAYS FERRY AVE
ELLSWORTH ST                      S 26TH ST                     S 27TH ST
CLYMER ST                         S 21ST ST                     DEAD END WEST
WEBSTER ST                        S 19TH ST                     S 20TH ST
MONTROSE ST                       S 24TH ST                     S 25TH ST
MONTROSE ST                       S 22ND ST                     S 23RD ST
MONTROSE ST                       S 21ST ST                     S 22ND ST
CARPENTER ST                      GRAYS FERRY AVE               S 26TH ST
CARPENTER ST                      S 25TH ST                     GRAYS FERRY AVE
S 26TH ST                         CHRISTIAN ST                  MONTROSE ST
S 26TH ST                         MONTROSE ST                   CARPENTER ST
MONTROSE ST                       GRAYS FERRY AVE               S 26TH ST
KIMBALL ST                        S 24TH ST                     S 25TH ST
S BONSALL ST                      MONTROSE ST                   CARPENTER ST
LEAGUE ST                         S 22ND ST                     S 23RD ST
KIMBALL ST                        S 22ND ST                     S 23RD ST
LEAGUE ST                         S 19TH ST                     S 20TH ST
KIMBALL ST                        S 19TH ST                     S 20TH ST
DORRANCE ST                       CARPENTER ST                  WASHINGTON AVE
S CLEVELAND ST                    CARPENTER ST                  WASHINGTON AVE
S BOUVIER ST                      CARPENTER ST                  WASHINGTON AVE
S COLORADO ST                     CARPENTER ST                  WASHINGTON AVE
S CHADWICK ST                     CARPENTER ST                  WASHINGTON AVE
S MOLE ST                         ELLSWORTH ST                  FEDERAL ST
ANNIN ST                          S 17TH ST                     S 18TH ST
ANNIN ST                          S 16TH ST                     S 17TH ST
S CARLISLE ST                     FEDERAL ST                    WHARTON ST
S 15TH ST                         WASHINGTON AVE                ALTER ST
S 15TH ST                         ALTER ST                      ELLSWORTH ST
S 15TH ST                         ELLSWORTH ST                  FEDERAL ST
S 16TH ST                         WASHINGTON AVE                ALTER ST
S 16TH ST                         ALTER ST                      ELLSWORTH ST
S 16TH ST                         ELLSWORTH ST                  ANNIN ST
S 17TH ST                         MONTROSE ST                   CARPENTER ST
S 17TH ST                         CARPENTER ST                  WASHINGTON AVE
S 17TH ST                         WASHINGTON AVE                ALTER ST
S 17TH ST                         ALTER ST                      ELLSWORTH ST
S 17TH ST                         ELLSWORTH ST                  ANNIN ST
S 17TH ST                         ANNIN ST                      FEDERAL ST
S 18TH ST                         MONTROSE ST                   CARPENTER ST
S 18TH ST                         CARPENTER ST                  WASHINGTON AVE
S 18TH ST                         WASHINGTON AVE                ALTER ST
S 18TH ST                         ALTER ST                      ELLSWORTH ST
S 18TH ST                         ELLSWORTH ST                  ANNIN ST
S 18TH ST                         ANNIN ST                      FEDERAL ST
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S 19TH ST                      MONTROSE ST                   CARPENTER ST
S 19TH ST                      CARPENTER ST                  KIMBALL ST
S 19TH ST                      KIMBALL ST                    LEAGUE ST
S 19TH ST                      LEAGUE ST                     WASHINGTON AVE
S 19TH ST                      WASHINGTON AVE                ALTER ST
S 19TH ST                      ALTER ST                      ELLSWORTH ST
S 19TH ST                      ELLSWORTH ST                  ANNIN ST
S 19TH ST                      ANNIN ST                      FEDERAL ST
S 19TH ST                      FEDERAL ST                    MANTON ST
DORRANCE ST                    ELLSWORTH ST                  FEDERAL ST
S 20TH ST                      WEBSTER ST                    CHRISTIAN ST
S 20TH ST                      CHRISTIAN ST                  MONTROSE ST
S 20TH ST                      MONTROSE ST                   CARPENTER ST
S 20TH ST                      CARPENTER ST                  KIMBALL ST
S 20TH ST                      KIMBALL ST                    LEAGUE ST
S 20TH ST                      LEAGUE ST                     WASHINGTON AVE
S 20TH ST                      WASHINGTON AVE                ALTER ST
KIMBALL ST                     S 20TH ST                     S 21ST ST
KIMBALL ST                     S 21ST ST                     S 22ND ST
S 23RD ST                      FULTON ST                     CATHARINE ST
S 23RD ST                      CHRISTIAN ST                  MONTROSE ST
S 23RD ST                      MONTROSE ST                   MONTROSE ST
S 23RD ST                      MONTROSE ST                   CARPENTER ST
S 23RD ST                      CARPENTER ST                  KIMBALL ST
S 23RD ST                      KIMBALL ST                    LEAGUE ST
S 23RD ST                      LEAGUE ST                     WASHINGTON AVE
S 23RD ST                      WASHINGTON AVE                ALTER ST
S 24TH ST                      CHRISTIAN ST                  MONTROSE ST
S 24TH ST                      MONTROSE ST                   MONTROSE ST
S 24TH ST                      MONTROSE ST                   CARPENTER ST
S 24TH ST                      CARPENTER ST                  KIMBALL ST
S 24TH ST                      SAINT ALBANS ST               FULTON ST
S 24TH ST                      FULTON ST                     CATHARINE ST
S 24TH ST                      CLYMER ST                     SAINT ALBANS ST
S 25TH ST                      CHRISTIAN ST                  MONTROSE ST
S 25TH ST                      MONTROSE ST                   CARPENTER ST
S 25TH ST                      CARPENTER ST                  KIMBALL ST
S 25TH ST                      KIMBALL ST                    KIMBALL ST
S 25TH ST                      KIMBALL ST                    WASHINGTON AVE
S 25TH ST                      WASHINGTON AVE                ELLSWORTH ST
S 25TH ST                      ELLSWORTH ST                  ANNIN ST
S 25TH ST                      ANNIN ST                      FEDERAL ST
S 25TH ST                      FEDERAL ST                    MANTON ST
S 25TH ST                      MANTON ST                     OAKFORD ST
S 25TH ST                      OAKFORD ST                    WHARTON ST
S 24TH ST                      WASHINGTON AVE                ALTER ST
S 24TH ST                      ALTER ST                      ELLSWORTH ST
S 23RD ST                      ALTER ST                      ELLSWORTH ST
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S 24TH ST                       ELLSWORTH ST                  FEDERAL ST
S 23RD ST                       ELLSWORTH ST                  FEDERAL ST
S 24TH ST                       FEDERAL ST                    MANTON ST
S 23RD ST                       FEDERAL ST                    MANTON ST
S 24TH ST                       MANTON ST                     OAKFORD ST
S 23RD ST                       MANTON ST                     OAKFORD ST
S 26TH ST                       ALTER ST                      ALTER ST
S 26TH ST                       ALTER ST                      ELLSWORTH ST
S 26TH ST                       ELLSWORTH ST                  ANNIN ST
S 26TH ST                       ANNIN ST                      FEDERAL ST
S 26TH ST                       FEDERAL ST                    MANTON ST
S 26TH ST                       MANTON ST                     OAKFORD ST
S 26TH ST                       OAKFORD ST                    LATONA ST
S 26TH ST                       LATONA ST                     TITAN ST
S 26TH ST                       TITAN ST                      WHARTON ST
S 26TH ST                       WHARTON ST                    SEARS ST
S 26TH ST                       SEARS ST                      EARP ST
S 25TH ST                       WHARTON ST                    REED ST
S 25TH ST                       REED ST                       DICKINSON ST
S 25TH ST                       DICKINSON ST                  TASKER ST
S 26TH ST                       EARP ST                       REED ST
S 26TH ST                       REED ST                       GERRITT ST
S 26TH ST                       GERRITT ST                    WILDER ST
S 26TH ST                       WILDER ST                     DICKINSON ST
S 26TH ST                       DICKINSON ST                  TASKER ST
S 26TH ST                       TASKER ST                     MORRIS ST
S 26TH ST                       MORRIS ST                     MOORE ST
S 25TH ST                       TASKER ST                     MORRIS ST
S 25TH ST                       MORRIS ST                     MOORE ST
S 25TH ST                       MOORE ST                      MIFFLIN ST
S 25TH ST                       MIFFLIN ST                    MC KEAN ST
S 25TH ST                       MC KEAN ST                    POINT BREEZE AVE
S 25TH ST                       POINT BREEZE AVE              SNYDER AVE
S 26TH ST                       MIFFLIN ST                    DUDLEY ST
S 26TH ST                       DUDLEY ST                     MC KEAN ST
S 26TH ST                       MC KEAN ST                    EMILY ST
POINT BREEZE AVE                MC KEAN ST                    S 25TH ST
POINT BREEZE AVE                S 25TH ST                     SNYDER AVE
ALTER ST                        S 23RD ST                     S 24TH ST
ALTER ST                        S 22ND ST                     S 23RD ST
ALTER ST                        S 21ST ST                     S 22ND ST
ALTER ST                        S 20TH ST                     S 21ST ST
ALTER ST                        S 19TH ST                     S 20TH ST
S 20TH ST                       ALTER ST                      ELLSWORTH ST
S 20TH ST                       ANNIN ST                      FEDERAL ST
S 20TH ST                       POINT BREEZE AVE              MANTON ST
S 20TH ST                       MANTON ST                     LATONA ST
ANNIN ST                        S 21ST ST                     S 22ND ST
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ANNIN ST                        S 19TH ST                     S 20TH ST
S 20TH ST                       ELLSWORTH ST                  ANNIN ST
S 20TH ST                       ANNIN ST                      ANNIN ST
ANNIN ST                        S 20TH ST                     S 21ST ST
OAKFORD ST                      S 23RD ST                     S BONSALL ST
OAKFORD ST                      S 22ND ST                     S 23RD ST
OAKFORD ST                      S 21ST ST                     S 22ND ST
OAKFORD ST                      POINT BREEZE AVE              S 21ST ST
POINT BREEZE AVE                FEDERAL ST                    MANTON ST
POINT BREEZE AVE                MANTON ST                     OAKFORD ST
POINT BREEZE AVE                OAKFORD ST                    LATONA ST
POINT BREEZE AVE                LATONA ST                     TITAN ST
POINT BREEZE AVE                TITAN ST                      TITAN ST
POINT BREEZE AVE                TITAN ST                      WHARTON ST
POINT BREEZE AVE                WHARTON ST                    S LAMBERT ST
MANTON ST                       S 22ND ST                     S 23RD ST
MANTON ST                       POINT BREEZE AVE              S 21ST ST
MANTON ST                       S 21ST ST                     S 22ND ST
S BUCKNELL ST                   FEDERAL ST                    OAKFORD ST
S BONSALL ST                    FEDERAL ST                    OAKFORD ST
S BUCKNELL ST                   OAKFORD ST                    WHARTON ST
S BONSALL ST                    OAKFORD ST                    WHARTON ST
S 23RD ST                       OAKFORD ST                    LATONA ST
S 23RD ST                       LATONA ST                     TITAN ST
S 23RD ST                       TITAN ST                      WHARTON ST
S 23RD ST                       WHARTON ST                    SEARS ST
S 23RD ST                       SEARS ST                      EARP ST
S 23RD ST                       EARP ST                       REED ST
PELTZ ST                        S 29TH ST                     DEAD END WEST
S 29TH ST                       ELLSWORTH ST                  DEAD END SOUTH
ELLSWORTH ST                    S 27TH ST                     GRAYS FERRY AVE
ANNIN ST                        S 27TH ST                     GRAYS FERRY AVE
ALTER ST                        S 26TH ST                     S 27TH ST
ANNIN ST                        S 26TH ST                     S 27TH ST
ANNIN ST                        S 25TH ST                     S 26TH ST
MANTON ST                       S 27TH ST                     S 28TH ST
MANTON ST                       S 25TH ST                     S 26TH ST
MANTON ST                       S 24TH ST                     S 25TH ST
SCHUYLKILL AVE                  SEARS ST                      EARP ST
SCHUYLKILL AVE                  EARP ST                       REED ST
SCHUYLKILL AVE                  REED ST                       DEAD END SOUTH
WHARTON ST                      S 36TH ST                     SCHUYLKILL AVE
SEARS ST                        S 36TH ST                     SCHUYLKILL AVE
EARP ST                         S 36TH ST                     SCHUYLKILL AVE
REED ST                         S 36TH ST                     SCHUYLKILL AVE
REED ST                         GROVE ST                      S 36TH ST
REED ST                         S HARMONY ST                  GROVE ST
WHARTON ST                      GROVE ST                      S 36TH ST
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WHARTON ST                       S HARMONY ST                  GROVE ST
WHARTON ST                       S 35TH ST                     S HARMONY ST
S 36TH ST                        WHARTON ST                    SEARS ST
S 36TH ST                        SEARS ST                      EARP ST
S 36TH ST                        EARP ST                       REED ST
GROVE ST                         WHARTON ST                    REED ST
S HARMONY ST                     WHARTON ST                    REED ST
TITAN ST                         POINT BREEZE AVE              S 21ST ST
S 24TH ST                        OAKFORD ST                    WHARTON ST
S 24TH ST                        WHARTON ST                    REED ST
S 24TH ST                        REED ST                       GERRITT ST
S 24TH ST                        GERRITT ST                    WILDER ST
TITAN ST                         S 21ST ST                     S 22ND ST
TITAN ST                         S 22ND ST                     S 23RD ST
LATONA ST                        S 22ND ST                     S 23RD ST
LATONA ST                        S 21ST ST                     S 22ND ST
SEARS ST                         S 22ND ST                     S 23RD ST
EARP ST                          S 22ND ST                     S 23RD ST
SEARS ST                         S 21ST ST                     S 22ND ST
EARP ST                          S 21ST ST                     S 22ND ST
S TAYLOR ST                      OAKFORD ST                    WHARTON ST
S RINGGOLD ST                    OAKFORD ST                    WHARTON ST
REED ST                          S TAYLOR ST                   S 25TH ST
S TAYLOR ST                      WHARTON ST                    REED ST
REED ST                          S RINGGOLD ST                 S TAYLOR ST
S RINGGOLD ST                    WHARTON ST                    REED ST
S 23RD ST                        REED ST                       GERRITT ST
S 23RD ST                        GERRITT ST                    WILDER ST
S 23RD ST                        WILDER ST                     DICKINSON ST
S 23RD ST                        DICKINSON ST                  GREENWICH ST
S 24TH ST                        WILDER ST                     DICKINSON ST
S 24TH ST                        DICKINSON ST                  GREENWICH ST
WILDER ST                        S 23RD ST                     S 24TH ST
WILDER ST                        S 22ND ST                     S 23RD ST
GERRITT ST                       S 23RD ST                     S 24TH ST
GERRITT ST                       S 22ND ST                     S 23RD ST
S RINGGOLD ST                    DICKINSON ST                  REED ST
S TAYLOR ST                      DICKINSON ST                  REED ST
S ROSEWOOD ST                    RITNER ST                     PORTER ST
S MOLE ST                        RITNER ST                     PORTER ST
S HICKS ST                       RITNER ST                     PORTER ST
S CARLISLE ST                    RITNER ST                     PORTER ST
S 15TH ST                        WOLF ST                       RITNER ST
S 15TH ST                        RITNER ST                     PORTER ST
S 16TH ST                        WOLF ST                       RITNER ST
S 16TH ST                        RITNER ST                     PORTER ST
S 17TH ST                        WOLF ST                       RITNER ST
S 17TH ST                        RITNER ST                     ROSEBERRY ST
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S 17TH ST                        ROSEBERRY ST                  PORTER ST
S 16TH ST                        W PASSYUNK AVE                CANTRELL ST
S 16TH ST                        CANTRELL ST                   JACKSON ST
S 16TH ST                        JACKSON ST                    WOLF ST
S 15TH ST                        SNYDER AVE                    JACKSON ST
S 15TH ST                        JACKSON ST                    WOLF ST
S ROSEWOOD ST                    SNYDER AVE                    JACKSON ST
S ROSEWOOD ST                    JACKSON ST                    WOLF ST
S ROSEWOOD ST                    WOLF ST                       RITNER ST
S CARLISLE ST                    SNYDER AVE                    JACKSON ST
S CARLISLE ST                    JACKSON ST                    WOLF ST
S CARLISLE ST                    WOLF ST                       RITNER ST
S MOLE ST                        WOLF ST                       RITNER ST
S HICKS ST                       SNYDER AVE                    JACKSON ST
S HICKS ST                       JACKSON ST                    WOLF ST
S HICKS ST                       WOLF ST                       RITNER ST
S 20TH ST                        LATONA ST                     TITAN ST
S 20TH ST                        TITAN ST                      WHARTON ST
S 20TH ST                        WHARTON ST                    REED ST
S 18TH ST                        FEDERAL ST                    MANTON ST
S 18TH ST                        MANTON ST                     LATONA ST
S 18TH ST                        LATONA ST                     TITAN ST
S 18TH ST                        TITAN ST                      WHARTON ST
S 18TH ST                        WHARTON ST                    EARP ST
S 19TH ST                        LATONA ST                     TITAN ST
S 19TH ST                        TITAN ST                      WHARTON ST
S 19TH ST                        WHARTON ST                    EARP ST
LATONA ST                        S 20TH ST                     POINT BREEZE AVE
LATONA ST                        S 19TH ST                     S 20TH ST
LATONA ST                        S 18TH ST                     S 19TH ST
LATONA ST                        S 17TH ST                     S 18TH ST
MANTON ST                        S 19TH ST                     S 20TH ST
MANTON ST                        S 17TH ST                     S 18TH ST
S 19TH ST                        MANTON ST                     MANTON ST
S 19TH ST                        MANTON ST                     LATONA ST
MANTON ST                        S 18TH ST                     S 19TH ST
TITAN ST                         S 20TH ST                     POINT BREEZE AVE
TITAN ST                         S 19TH ST                     S 20TH ST
TITAN ST                         S 18TH ST                     S 19TH ST
TITAN ST                         S 17TH ST                     S 18TH ST
S 15TH ST                        FEDERAL ST                    MANTON ST
S 15TH ST                        MANTON ST                     LATONA ST
S 15TH ST                        LATONA ST                     WHARTON ST
S 15TH ST                        WHARTON ST                    REED ST
S 16TH ST                        ANNIN ST                      FEDERAL ST
S 16TH ST                        FEDERAL ST                    MANTON ST
S 16TH ST                        MANTON ST                     LATONA ST
S 16TH ST                        LATONA ST                     TITAN ST
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S 16TH ST                        TITAN ST                      WHARTON ST
S 16TH ST                        WHARTON ST                    REED ST
S 17TH ST                        FEDERAL ST                    MANTON ST
S 17TH ST                        MANTON ST                     LATONA ST
S 17TH ST                        LATONA ST                     TITAN ST
S 17TH ST                        TITAN ST                      WHARTON ST
S 17TH ST                        WHARTON ST                    REED ST
TITAN ST                         S 16TH ST                     S 17TH ST
LATONA ST                        S 16TH ST                     S 17TH ST
LATONA ST                        S 15TH ST                     S 16TH ST
MANTON ST                        S 16TH ST                     S 17TH ST
MANTON ST                        S 15TH ST                     S 16TH ST
S CARLISLE ST                    REED ST                       DICKINSON ST
S CARLISLE ST                    WHARTON ST                    REED ST
S MOLE ST                        REED ST                       DICKINSON ST
S HICKS ST                       REED ST                       DICKINSON ST
REED ST                          S HICKS ST                    S HICKS ST
REED ST                          S HICKS ST                    S MOLE ST
S HICKS ST                       WHARTON ST                    REED ST
REED ST                          S MOLE ST                     S MOLE ST
REED ST                          S MOLE ST                     S 16TH ST
S MOLE ST                        WHARTON ST                    REED ST
S 15TH ST                        REED ST                       DICKINSON ST
S 15TH ST                        DICKINSON ST                  TASKER ST
S 16TH ST                        REED ST                       DICKINSON ST
S 16TH ST                        DICKINSON ST                  TASKER ST
S 17TH ST                        REED ST                       DICKINSON ST
S 17TH ST                        DICKINSON ST                  TASKER ST
S 18TH ST                        EARP ST                       REED ST
S 18TH ST                        REED ST                       GERRITT ST
S 18TH ST                        GERRITT ST                    WILDER ST
S 18TH ST                        WILDER ST                     DICKINSON ST
S 18TH ST                        DICKINSON ST                  TASKER ST
S 18TH ST                        TASKER ST                     FERNON ST
S 18TH ST                        FERNON ST                     MOUNTAIN ST
S 18TH ST                        MOUNTAIN ST                   MORRIS ST
S 18TH ST                        MORRIS ST                     WATKINS ST
S 18TH ST                        WATKINS ST                    PIERCE ST
S 17TH ST                        TASKER ST                     FERNON ST
S 17TH ST                        FERNON ST                     MORRIS ST
S 17TH ST                        MORRIS ST                     WATKINS ST
S 17TH ST                        WATKINS ST                    PIERCE ST
S 16TH ST                        TASKER ST                     MORRIS ST
S 16TH ST                        MORRIS ST                     MOORE ST
S 15TH ST                        TASKER ST                     MORRIS ST
S 15TH ST                        MORRIS ST                     CASTLE AVE
S 19TH ST                        EARP ST                       REED ST
S 19TH ST                        REED ST                       GERRITT ST
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S 19TH ST                    GERRITT ST                    WILDER ST
S 19TH ST                    WILDER ST                     DICKINSON ST
S 19TH ST                    DICKINSON ST                  TASKER ST
S 19TH ST                    TASKER ST                     FERNON ST
S 19TH ST                    FERNON ST                     MOUNTAIN ST
S 19TH ST                    MOUNTAIN ST                   MORRIS ST
S 19TH ST                    MORRIS ST                     WATKINS ST
S 19TH ST                    WATKINS ST                    PIERCE ST
S 19TH ST                    PIERCE ST                     MOORE ST
S 19TH ST                    MOORE ST                      MC CLELLAN ST
S 20TH ST                    REED ST                       GERRITT ST
S 20TH ST                    GERRITT ST                    WILDER ST
S 20TH ST                    WILDER ST                     DICKINSON ST
S 20TH ST                    DICKINSON ST                  TASKER ST
S 20TH ST                    TASKER ST                     FERNON ST
S 20TH ST                    FERNON ST                     MOUNTAIN ST
S 20TH ST                    MOUNTAIN ST                   MORRIS ST
S 20TH ST                    MORRIS ST                     WATKINS ST
S 20TH ST                    WATKINS ST                    PIERCE ST
S 20TH ST                    PIERCE ST                     MOORE ST
S 20TH ST                    MOORE ST                      MC CLELLAN ST
S 24TH ST                    GREENWICH ST                  CROSS ST
S 23RD ST                    GREENWICH ST                  CROSS ST
S 24TH ST                    CROSS ST                      TASKER ST
S 23RD ST                    CROSS ST                      TASKER ST
S 24TH ST                    TASKER ST                     FERNON ST
S 23RD ST                    TASKER ST                     FERNON ST
S 24TH ST                    FERNON ST                     MOUNTAIN ST
S 23RD ST                    FERNON ST                     MOUNTAIN ST
S 24TH ST                    MOUNTAIN ST                   MORRIS ST
S 23RD ST                    MOUNTAIN ST                   MORRIS ST
S 24TH ST                    MORRIS ST                     WATKINS ST
S 23RD ST                    MORRIS ST                     WATKINS ST
S 24TH ST                    WATKINS ST                    PIERCE ST
S 23RD ST                    WATKINS ST                    PIERCE ST
S 24TH ST                    PIERCE ST                     MOORE ST
S 23RD ST                    POINT BREEZE AVE              MOORE ST
S 24TH ST                    MOORE ST                      MC CLELLAN ST
S 23RD ST                    MOORE ST                      MC CLELLAN ST
S 23RD ST                    MC CLELLAN ST                 SIGEL ST
S 24TH ST                    MC CLELLAN ST                 MIFFLIN ST
S 23RD ST                    SIGEL ST                      MIFFLIN ST
S 29TH ST                    WHARTON ST                    REED ST
S 29TH ST                    REED ST                       GERRITT ST
S 29TH ST                    GERRITT ST                    WILDER ST
S 29TH ST                    WILDER ST                     DICKINSON ST
S 29TH ST                    DICKINSON ST                  TASKER ST
S 29TH ST                    TASKER ST                     MORRIS ST
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S 29TH ST                       MORRIS ST                     MOORE ST
S 29TH ST                       GRAYS FERRY AVE               OAKFORD ST
S 29TH ST                       OAKFORD ST                    WHARTON ST
S 30TH ST                       GRAYS FERRY AVE               OAKFORD ST
S 30TH ST                       OAKFORD ST                    TITAN ST
S 30TH ST                       TITAN ST                      WHARTON ST
S 30TH ST                       WHARTON ST                    REED ST
S 30TH ST                       REED ST                       GERRITT ST
S 30TH ST                       GERRITT ST                    WILDER ST
S 30TH ST                       WILDER ST                     DICKINSON ST
S 30TH ST                       DICKINSON ST                  TASKER ST
S 31ST ST                       TITAN ST                      WHARTON ST
S 31ST ST                       WHARTON ST                    REED ST
S 31ST ST                       REED ST                       DICKINSON ST
S 31ST ST                       DICKINSON ST                  TASKER ST
S 32ND ST                       GRAYS FERRY AVE               LATONA ST
S 32ND ST                       LATONA ST                     WHARTON ST
S 32ND ST                       WHARTON ST                    REED ST
S 32ND ST                       REED ST                       DICKINSON ST
S 32ND ST                       DICKINSON ST                  TASKER ST
S 29TH ST                       MOORE ST                      NEW HOPE ST
S 29TH ST                       NEW HOPE ST                   MIFFLIN ST
NEW HOPE ST                     S 29TH ST                     S 30TH ST
S 30TH ST                       TASKER ST                     MORRIS ST
S 30TH ST                       MIFFLIN ST                    MC KEAN ST
DICKINSON ST                    S PATTON ST                   S 32ND ST
DICKINSON ST                    S NAPA ST                     S PATTON ST
DICKINSON ST                    S 31ST ST                     S NAPA ST
DICKINSON ST                    S CORLIES ST                  S STANLEY ST
DICKINSON ST                    S 30TH ST                     S CORLIES ST
DICKINSON ST                    S MYRTLEWOOD ST               S 30TH ST
DICKINSON ST                    S HOLLYWOOD ST                S MYRTLEWOOD ST
DICKINSON ST                    S 29TH ST                     S HOLLYWOOD ST
DICKINSON ST                    S STANLEY ST                  S 31ST ST
REED ST                         S 32ND ST                     S 33RD ST
REED ST                         S PATTON ST                   S 32ND ST
REED ST                         S NAPA ST                     S PATTON ST
REED ST                         S CORLIES ST                  S STANLEY ST
REED ST                         S 30TH ST                     S CORLIES ST
REED ST                         S MYRTLEWOOD ST               S 30TH ST
REED ST                         S HOLLYWOOD ST                S MYRTLEWOOD ST
REED ST                         S 29TH ST                     S HOLLYWOOD ST
REED ST                         S 31ST ST                     S NAPA ST
REED ST                         S STANLEY ST                  S 31ST ST
LATONA ST                       S 32ND ST                     S 33RD ST
WHARTON ST                      S 32ND ST                     S 33RD ST
WHARTON ST                      S PATTON ST                   S 32ND ST
WHARTON ST                      S NAPA ST                     S PATTON ST
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WHARTON ST                     S 31ST ST                     S NAPA ST
WHARTON ST                     S STANLEY ST                  S 31ST ST
WHARTON ST                     S CORLIES ST                  S STANLEY ST
WHARTON ST                     S 30TH ST                     S CORLIES ST
WHARTON ST                     S MYRTLEWOOD ST               S 30TH ST
WHARTON ST                     S HOLLYWOOD ST                S MYRTLEWOOD ST
WHARTON ST                     S 29TH ST                     S HOLLYWOOD ST
S 33RD ST                      WHARTON ST                    REED ST
S PATTON ST                    GRAYS FERRY AVE               WHARTON ST
S NAPA ST                      GRAYS FERRY AVE               WHARTON ST
TITAN ST                       S 30TH ST                     S 31ST ST
S DOVER ST                     OAKFORD ST                    WHARTON ST
S NEWKIRK ST                   OAKFORD ST                    WHARTON ST
LATONA ST                      S 27TH ST                     S 28TH ST
LATONA ST                      S 26TH ST                     S 27TH ST
TITAN ST                       S 26TH ST                     S 27TH ST
TITAN ST                       S 27TH ST                     S 28TH ST
SEARS ST                       S 27TH ST                     S 28TH ST
SEARS ST                       S 26TH ST                     S 27TH ST
EARP ST                        S 27TH ST                     S 28TH ST
EARP ST                        S 26TH ST                     S 27TH ST
S PATTON ST                    REED ST                       DICKINSON ST
S NAPA ST                      REED ST                       DICKINSON ST
S PATTON ST                    DICKINSON ST                  TASKER ST
S NAPA ST                      DICKINSON ST                  TASKER ST
GERRITT ST                     S 29TH ST                     S 30TH ST
WILDER ST                      S 29TH ST                     S 30TH ST
S STANLEY ST                   WHARTON ST                    REED ST
S CORLIES ST                   WHARTON ST                    REED ST
S MYRTLEWOOD ST                WHARTON ST                    REED ST
S HOLLYWOOD ST                 WHARTON ST                    REED ST
S DOVER ST                     REED ST                       DICKINSON ST
S NEWKIRK ST                   REED ST                       DICKINSON ST
S DOVER ST                     WHARTON ST                    REED ST
S NEWKIRK ST                   WHARTON ST                    REED ST
GERRITT ST                     S 26TH ST                     S 27TH ST
WILDER ST                      S 26TH ST                     S 27TH ST
S ETTING ST                    REED ST                       DICKINSON ST
S MARSTON ST                   REED ST                       DICKINSON ST
POINT BREEZE AVE               S LAMBERT ST                  S 21ST ST
POINT BREEZE AVE               S 21ST ST                     REED ST
POINT BREEZE AVE               REED ST                       DICKINSON ST
POINT BREEZE AVE               DICKINSON ST                  CROSS ST
S CAPITOL ST                   WHARTON ST                    REED ST
S WOODSTOCK ST                 WHARTON ST                    REED ST
S OPAL ST                      WHARTON ST                    REED ST
S GARNET ST                    WHARTON ST                    REED ST
EARP ST                        DORRANCE ST                   S 19TH ST
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EARP ST                           S CLEVELAND ST                DORRANCE ST
EARP ST                           S 18TH ST                     S CLEVELAND ST
DORRANCE ST                       WHARTON ST                    EARP ST
S CLEVELAND ST                    WHARTON ST                    EARP ST
S BOUVIER ST                      WHARTON ST                    REED ST
S COLORADO ST                     WHARTON ST                    REED ST
REED ST                           S CHADWICK ST                 S 17TH ST
S CHADWICK ST                     WHARTON ST                    REED ST
REED ST                           S BANCROFT ST                 S BANCROFT ST
REED ST                           S BANCROFT ST                 S CHADWICK ST
S BANCROFT ST                     WHARTON ST                    REED ST
S 15TH ST                         CASTLE AVE                    MOORE ST
CASTLE AVE                        S ROSEWOOD ST                 S 15TH ST
CASTLE AVE                        S BROAD ST                    S ROSEWOOD ST
S CARLISLE ST                     TASKER ST                     MORRIS ST
S ROSEWOOD ST                     TASKER ST                     MORRIS ST
S CARLISLE ST                     DICKINSON ST                  TASKER ST
S HICKS ST                        DICKINSON ST                  TASKER ST
S HICKS ST                        TASKER ST                     MORRIS ST
S HICKS ST                        MORRIS ST                     MOORE ST
S MOLE ST                         DICKINSON ST                  TASKER ST
S MOLE ST                         TASKER ST                     MORRIS ST
S MOLE ST                         MORRIS ST                     MOORE ST
FERNON ST                         S 17TH ST                     S 18TH ST
S CHADWICK ST                     TASKER ST                     MORRIS ST
S CHADWICK ST                     DICKINSON ST                  TASKER ST
S CHADWICK ST                     MORRIS ST                     MOORE ST
S BANCROFT ST                     TASKER ST                     MORRIS ST
S BANCROFT ST                     MORRIS ST                     MOORE ST
S 17TH ST                         PIERCE ST                     MOORE ST
S 17TH ST                         MOORE ST                      MC CLELLAN ST
S 18TH ST                         PIERCE ST                     MOORE ST
S 18TH ST                         MOORE ST                      MC CLELLAN ST
S 18TH ST                         MC CLELLAN ST                 SIGEL ST
WATKINS ST                        S 17TH ST                     S 18TH ST
PIERCE ST                         S 17TH ST                     S 18TH ST
S CLEVELAND ST                    MORRIS ST                     MOORE ST
DORRANCE ST                       MORRIS ST                     MOORE ST
MOUNTAIN ST                       S 20TH ST                     S 21ST ST
MOUNTAIN ST                       S 19TH ST                     S 20TH ST
MOUNTAIN ST                       S 18TH ST                     S 19TH ST
FERNON ST                         S 19TH ST                     S 20TH ST
FERNON ST                         S 18TH ST                     S 19TH ST
WATKINS ST                        S 21ST ST                     S 22ND ST
WATKINS ST                        S 20TH ST                     S 21ST ST
WATKINS ST                        S 19TH ST                     S 20TH ST
PIERCE ST                         S 21ST ST                     S 22ND ST
PIERCE ST                         S 20TH ST                     S 21ST ST
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PIERCE ST                       S 19TH ST                     S 20TH ST
CROSS ST                        POINT BREEZE AVE              S 23RD ST
CROSS ST                        S 21ST ST                     POINT BREEZE AVE
POINT BREEZE AVE                S 22ND ST                     TASKER ST
POINT BREEZE AVE                TASKER ST                     FERNON ST
POINT BREEZE AVE                FERNON ST                     MORRIS ST
POINT BREEZE AVE                MORRIS ST                     WATKINS ST
POINT BREEZE AVE                WATKINS ST                    S 23RD ST
FERNON ST                       S 21ST ST                     S 22ND ST
FERNON ST                       S 20TH ST                     S 21ST ST
MOUNTAIN ST                     S 21ST ST                     S 22ND ST
S LAMBERT ST                    DICKINSON ST                  TASKER ST
S CAPITOL ST                    DICKINSON ST                  TASKER ST
S WOODSTOCK ST                  DICKINSON ST                  TASKER ST
S OPAL ST                       DICKINSON ST                  TASKER ST
S GARNET ST                     DICKINSON ST                  TASKER ST
DORRANCE ST                     DICKINSON ST                  TASKER ST
S CLEVELAND ST                  DICKINSON ST                  TASKER ST
S BOUVIER ST                    REED ST                       DICKINSON ST
S BOUVIER ST                    DICKINSON ST                  TASKER ST
S COLORADO ST                   REED ST                       DICKINSON ST
S COLORADO ST                   DICKINSON ST                  TASKER ST
GERRITT ST                      S 20TH ST                     S 21ST ST
GERRITT ST                      S 19TH ST                     S 20TH ST
GERRITT ST                      S 18TH ST                     S 19TH ST
WILDER ST                       S 20TH ST                     S 21ST ST
WILDER ST                       S 19TH ST                     S 20TH ST
WILDER ST                       S 18TH ST                     S 19TH ST
S 18TH ST                       DALY ST                       WOLF ST
S 18TH ST                       WOLF ST                       RITNER ST
S 18TH ST                       RITNER ST                     GLADSTONE ST
S 18TH ST                       GLADSTONE ST                  ROSEBERRY ST
S 18TH ST                       ROSEBERRY ST                  ROSEBERRY ST
S 18TH ST                       ROSEBERRY ST                  PORTER ST
S 17TH ST                       JACKSON ST                    WOLF ST
S 19TH ST                       WOLF ST                       DURFOR ST
S 19TH ST                       DURFOR ST                     FITZGERALD ST
S 19TH ST                       FITZGERALD ST                 RITNER ST
S 19TH ST                       RITNER ST                     GLADSTONE ST
S 19TH ST                       GLADSTONE ST                  ROSEBERRY ST
S 19TH ST                       ROSEBERRY ST                  PORTER ST
ROSEBERRY ST                    S 18TH ST                     S 19TH ST
GLADSTONE ST                    S 18TH ST                     S 19TH ST
ROSEBERRY ST                    S BOUVIER ST                  S 18TH ST
ROSEBERRY ST                    S 17TH ST                     S BOUVIER ST
S BOUVIER ST                    RITNER ST                     ROSEBERRY ST
S COLORADO ST                   JACKSON ST                    WOLF ST
S COLORADO ST                   WOLF ST                       RITNER ST
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S BOUVIER ST                     JACKSON ST                    WOLF ST
S BOUVIER ST                     WOLF ST                       RITNER ST
S CHADWICK ST                    RITNER ST                     PORTER ST
S BANCROFT ST                    RITNER ST                     PORTER ST
S CHADWICK ST                    JACKSON ST                    WOLF ST
S CHADWICK ST                    WOLF ST                       RITNER ST
S BANCROFT ST                    WOLF ST                       RITNER ST
S BANCROFT ST                    JACKSON ST                    WOLF ST
S 15TH ST                        MOORE ST                      MIFFLIN ST
S 15TH ST                        MIFFLIN ST                    MC KEAN ST
S 15TH ST                        MC KEAN ST                    EMILY ST
S 15TH ST                        EMILY ST                      W PASSYUNK AVE
S 15TH ST                        W PASSYUNK AVE                SNYDER AVE
EMILY ST                         S 15TH ST                     S 16TH ST
S 16TH ST                        MOORE ST                      MIFFLIN ST
S 16TH ST                        MIFFLIN ST                    MC KEAN ST
S 16TH ST                        MC KEAN ST                    EMILY ST
S 16TH ST                        EMILY ST                      W PASSYUNK AVE
S ROSEWOOD ST                    MOORE ST                      MIFFLIN ST
S CARLISLE ST                    MOORE ST                      MIFFLIN ST
S HICKS ST                       MOORE ST                      MIFFLIN ST
S MOLE ST                        MOORE ST                      MIFFLIN ST
S MOLE ST                        MIFFLIN ST                    MC KEAN ST
S HICKS ST                       MIFFLIN ST                    MC KEAN ST
S 17TH ST                        MC CLELLAN ST                 SIGEL ST
S 17TH ST                        SIGEL ST                      MIFFLIN ST
S 17TH ST                        MIFFLIN ST                    MC KEAN ST
S 17TH ST                        MC KEAN ST                    SNYDER AVE
S 18TH ST                        SIGEL ST                      MIFFLIN ST
S 18TH ST                        MIFFLIN ST                    HOFFMAN ST
S 18TH ST                        HOFFMAN ST                    DUDLEY ST
S 18TH ST                        DUDLEY ST                     MC KEAN ST
S 18TH ST                        MC KEAN ST                    SNYDER AVE
S BANCROFT ST                    MOORE ST                      MIFFLIN ST
S BANCROFT ST                    MIFFLIN ST                    MC KEAN ST
S BANCROFT ST                    MC KEAN ST                    SNYDER AVE
S CHADWICK ST                    MC KEAN ST                    SNYDER AVE
S CHADWICK ST                    MOORE ST                      MIFFLIN ST
S CHADWICK ST                    MIFFLIN ST                    MC KEAN ST
SIGEL ST                         S 18TH ST                     S 19TH ST
SIGEL ST                         S 17TH ST                     S 18TH ST
MC CLELLAN ST                    S 19TH ST                     S 20TH ST
MC CLELLAN ST                    S 18TH ST                     S 19TH ST
MC CLELLAN ST                    S 17TH ST                     S 18TH ST
S 20TH ST                        MC CLELLAN ST                 SIGEL ST
S 20TH ST                        SIGEL ST                      MIFFLIN ST
S 20TH ST                        MIFFLIN ST                    HOFFMAN ST
S 20TH ST                        HOFFMAN ST                    DUDLEY ST
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S 20TH ST                       DUDLEY ST                     MC KEAN ST
S 20TH ST                       MC KEAN ST                    EMILY ST
S 20TH ST                       EMILY ST                      MERCY ST
S 19TH ST                       MC CLELLAN ST                 SIGEL ST
S 19TH ST                       SIGEL ST                      MIFFLIN ST
S 19TH ST                       MIFFLIN ST                    HOFFMAN ST
S 19TH ST                       HOFFMAN ST                    DUDLEY ST
S 19TH ST                       DUDLEY ST                     MC KEAN ST
S 19TH ST                       MC KEAN ST                    SNYDER AVE
SIGEL ST                        S 20TH ST                     S 21ST ST
SIGEL ST                        S 19TH ST                     S 20TH ST
HOFFMAN ST                      S 19TH ST                     S 20TH ST
HOFFMAN ST                      S 18TH ST                     S 19TH ST
DUDLEY ST                       S 19TH ST                     S 20TH ST
DUDLEY ST                       S 18TH ST                     S 19TH ST
S WOODSTOCK ST                  MIFFLIN ST                    MC KEAN ST
S LAMBERT ST                    MIFFLIN ST                    MC KEAN ST
S NORWOOD ST                    MIFFLIN ST                    MC KEAN ST
S NORWOOD ST                    MC KEAN ST                    SNYDER AVE
S BEECHWOOD ST                  MC KEAN ST                    SNYDER AVE
S BEECHWOOD ST                  MIFFLIN ST                    MC KEAN ST
SIGEL ST                        S 21ST ST                     S 22ND ST
SIGEL ST                        S 22ND ST                     S 23RD ST
MC CLELLAN ST                   S 22ND ST                     S 23RD ST
MC CLELLAN ST                   S 21ST ST                     S 22ND ST
MC CLELLAN ST                   S 20TH ST                     S 21ST ST
WATKINS ST                      S 22ND ST                     POINT BREEZE AVE
WATKINS ST                      S 23RD ST                     S 24TH ST
PIERCE ST                       S 23RD ST                     S 24TH ST
PIERCE ST                       S 22ND ST                     S 23RD ST
POINT BREEZE AVE                PIERCE ST                     MOORE ST
POINT BREEZE AVE                MOORE ST                      MC CLELLAN ST
POINT BREEZE AVE                MC CLELLAN ST                 MIFFLIN ST
POINT BREEZE AVE                MIFFLIN ST                    S 24TH ST
MC CLELLAN ST                   POINT BREEZE AVE              S 24TH ST
MOUNTAIN ST                     S 23RD ST                     S 24TH ST
FERNON ST                       S 23RD ST                     S 24TH ST
FERNON ST                       POINT BREEZE AVE              S 23RD ST
CROSS ST                        S 23RD ST                     S 24TH ST
GREENWICH ST                    S 23RD ST                     S 24TH ST
GREENWICH ST                    S 22ND ST                     S 23RD ST
S RINGGOLD ST                   MOORE ST                      MIFFLIN ST
S TAYLOR ST                     MORRIS ST                     MOORE ST
S RINGGOLD ST                   MORRIS ST                     MOORE ST
S TAYLOR ST                     MOORE ST                      MIFFLIN ST
S RINGGOLD ST                   TASKER ST                     MORRIS ST
S TAYLOR ST                     TASKER ST                     MORRIS ST
S RINGGOLD ST                   DICKINSON ST                  TASKER ST
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S TAYLOR ST                   DICKINSON ST                  TASKER ST
S STILLMAN ST                 DICKINSON ST                  TASKER ST
S BAMBREY ST                  DICKINSON ST                  TASKER ST
S BAILEY ST                   TASKER ST                     MORRIS ST
S TANEY ST                    TASKER ST                     MORRIS ST
S TANEY ST                    DICKINSON ST                  TASKER ST
S BAILEY ST                   DICKINSON ST                  TASKER ST
S MARSTON ST                  DICKINSON ST                  TASKER ST
S MARSTON ST                  TASKER ST                     MORRIS ST
S ETTING ST                   TASKER ST                     MORRIS ST
S ETTING ST                   DICKINSON ST                  TASKER ST
S DOVER ST                    DICKINSON ST                  TASKER ST
S DOVER ST                    TASKER ST                     MORRIS ST
S NEWKIRK ST                  DICKINSON ST                  TASKER ST
S NEWKIRK ST                  TASKER ST                     MORRIS ST
S STANLEY ST                  DICKINSON ST                  TASKER ST
S CORLIES ST                  DICKINSON ST                  TASKER ST
S HOLLYWOOD ST                DICKINSON ST                  TASKER ST
S MYRTLEWOOD ST               DICKINSON ST                  TASKER ST
PIERCE ST                     S 27TH ST                     S 28TH ST
S ETTING ST                   MOORE ST                      MIFFLIN ST
S NEWKIRK ST                  MORRIS ST                     MOORE ST
S NEWKIRK ST                  MOORE ST                      MIFFLIN ST
S DOVER ST                    MORRIS ST                     MOORE ST
S DOVER ST                    MOORE ST                      MIFFLIN ST
S 29TH ST                     MIFFLIN ST                    MC KEAN ST
S 29TH ST                     MC KEAN ST                    SNYDER AVE
S HOLLYWOOD ST                MIFFLIN ST                    MC KEAN ST
S HOLLYWOOD ST                MC KEAN ST                    CUL DE SAC SOUTH
S NEWKIRK ST                  MC KEAN ST                    SNYDER AVE
MIFFLIN ST                    S NEWKIRK ST                  S NEWKIRK ST
MIFFLIN ST                    S NEWKIRK ST                  S DOVER ST
S NEWKIRK ST                  MIFFLIN ST                    MC KEAN ST
S ETTING ST                   MC KEAN ST                    SNYDER AVE
EMILY ST                      S 26TH ST                     S 27TH ST
S 26TH ST                     EMILY ST                      SNYDER AVE
DUDLEY ST                     S 27TH ST                     S 28TH ST
DUDLEY ST                     S 26TH ST                     S 27TH ST
S 28TH ST                     SNYDER AVE                    CANTRELL ST
S 28TH ST                     CANTRELL ST                   WINTON ST
S 28TH ST                     WINTON ST                     JACKSON ST
CANTRELL ST                   S 28TH ST                     S 29TH ST
WINTON ST                     S 28TH ST                     S 29TH ST
JACKSON ST                    S 25TH ST                     S 26TH ST
S 25TH ST                     SNYDER AVE                    JACKSON ST
S 25TH ST                     JACKSON ST                    WOLF ST
S 25TH ST                     WOLF ST                       PHA DRIVEWAY
S 25TH ST                     DURFOR ST                     FITZGERALD ST
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S 25TH ST                     FITZGERALD ST                 RITNER ST
S 25TH ST                     RITNER ST                     W PASSYUNK AVE
S 24TH ST                     WOLF ST                       DURFOR ST
S 24TH ST                     DURFOR ST                     FITZGERALD ST
S 24TH ST                     FITZGERALD ST                 RITNER ST
S 24TH ST                     RITNER ST                     W PASSYUNK AVE
S 24TH ST                     SNYDER AVE                    JACKSON ST
S 24TH ST                     JACKSON ST                    WOLF ST
S 24TH ST                     WOLF ST                       FITZGERALD ST
S 24TH ST                     FITZGERALD ST                 RITNER ST
S 24TH ST                     RITNER ST                     W PASSYUNK AVE
S 24TH ST                     W PASSYUNK AVE                VARE AVE
DURFOR ST                     S 24TH ST                     S 25TH ST
FITZGERALD ST                 S 24TH ST                     S 25TH ST
FITZGERALD ST                 S 24TH ST                     S 24TH ST
S 23RD ST                     SNYDER AVE                    CANTRELL ST
S 23RD ST                     CANTRELL ST                   WINTON ST
S 23RD ST                     WINTON ST                     JACKSON ST
S 23RD ST                     JACKSON ST                    WOLF ST
S 24TH ST                     MIFFLIN ST                    POINT BREEZE AVE
S 24TH ST                     POINT BREEZE AVE              MC KEAN ST
S 24TH ST                     MC KEAN ST                    SNYDER AVE
S BONSALL ST                  MIFFLIN ST                    MC KEAN ST
S 23RD ST                     MIFFLIN ST                    MC KEAN ST
S 23RD ST                     MC KEAN ST                    SNYDER AVE
S BUCKNELL ST                 MC KEAN ST                    SNYDER AVE
S BONSALL ST                  MC KEAN ST                    SNYDER AVE
S HEMBERGER ST                MIFFLIN ST                    MC KEAN ST
S HEMBERGER ST                MC KEAN ST                    SNYDER AVE
S CROSKEY ST                  MIFFLIN ST                    MC KEAN ST
S CROSKEY ST                  MC KEAN ST                    SNYDER AVE
CANTRELL ST                   S 22ND ST                     S 23RD ST
WINTON ST                     S 22ND ST                     S 23RD ST
S BEECHWOOD ST                SNYDER AVE                    JACKSON ST
S NORWOOD ST                  SNYDER AVE                    JACKSON ST
S BONSALL ST                  JACKSON ST                    WOLF ST
S BUCKNELL ST                 JACKSON ST                    WOLF ST
S BUCKNELL ST                 WOLF ST                       RITNER ST
S HEMBERGER ST                JACKSON ST                    WOLF ST
S CROSKEY ST                  JACKSON ST                    WOLF ST
S CROSKEY ST                  WOLF ST                       W PASSYUNK AVE
S HEMBERGER ST                WOLF ST                       W PASSYUNK AVE
S BEECHWOOD ST                JACKSON ST                    WOLF ST
S NORWOOD ST                  JACKSON ST                    WOLF ST
EMILY ST                      S 20TH ST                     S 21ST ST
MERCY ST                      S 20TH ST                     S 21ST ST
S 20TH ST                     MERCY ST                      SNYDER AVE
S 20TH ST                     SNYDER AVE                    JACKSON ST
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S WOODSTOCK ST                SNYDER AVE                    JACKSON ST
S LAMBERT ST                  SNYDER AVE                    JACKSON ST
S 19TH ST                     SNYDER AVE                    JACKSON ST
S 19TH ST                     JACKSON ST                    W PASSYUNK AVE
S 19TH ST                     W PASSYUNK AVE                TREE ST
S 19TH ST                     TREE ST                       DALY ST
S 20TH ST                     JACKSON ST                    W PASSYUNK AVE
S 20TH ST                     W PASSYUNK AVE                WOLF ST
S 20TH ST                     WOLF ST                       DURFOR ST
S 20TH ST                     DURFOR ST                     FITZGERALD ST
S 20TH ST                     FITZGERALD ST                 RITNER ST
S 20TH ST                     RITNER ST                     PORTER ST
S LAMBERT ST                  JACKSON ST                    W PASSYUNK AVE
S LAMBERT ST                  W PASSYUNK AVE                WOLF ST
S LAMBERT ST                  WOLF ST                       RITNER ST
S WOODSTOCK ST                JACKSON ST                    W PASSYUNK AVE
S WOODSTOCK ST                WOLF ST                       RITNER ST
S 19TH ST                     DALY ST                       WOLF ST
S 18TH ST                     SNYDER AVE                    W PASSYUNK AVE
S 18TH ST                     W PASSYUNK AVE                JACKSON ST
S 18TH ST                     JACKSON ST                    TREE ST
S 18TH ST                     TREE ST                       DALY ST
DALY ST                       S 18TH ST                     S 19TH ST
TREE ST                       S 18TH ST                     S 19TH ST
S GARNET ST                   W PASSYUNK AVE                WOLF ST
S OPAL ST                     W PASSYUNK AVE                WOLF ST
DURFOR ST                     S 19TH ST                     S 20TH ST
FITZGERALD ST                 S 19TH ST                     S 20TH ST
S 17TH ST                     SNYDER AVE                    W PASSYUNK AVE
S 17TH ST                     W PASSYUNK AVE                JACKSON ST
S COLORADO ST                 W PASSYUNK AVE                JACKSON ST
S BOUVIER ST                  MC KEAN ST                    SNYDER AVE
S COLORADO ST                 MC KEAN ST                    SNYDER AVE
S CLEVELAND ST                MC KEAN ST                    SNYDER AVE
DORRANCE ST                   SNYDER AVE                    W PASSYUNK AVE
DORRANCE ST                   MC KEAN ST                    SNYDER AVE
S OPAL ST                     MC KEAN ST                    SNYDER AVE
S GARNET ST                   MC KEAN ST                    SNYDER AVE
S GARNET ST                   SNYDER AVE                    JACKSON ST
S OPAL ST                     SNYDER AVE                    JACKSON ST
S MOLE ST                     SNYDER AVE                    JACKSON ST
S CHADWICK ST                 W PASSYUNK AVE                CANTRELL ST
CANTRELL ST                   S BANCROFT ST                 S CHADWICK ST
CANTRELL ST                   S 16TH ST                     S BANCROFT ST
S CHADWICK ST                 CANTRELL ST                   JACKSON ST
S BANCROFT ST                 CANTRELL ST                   JACKSON ST
S OPAL ST                     RITNER ST                     PORTER ST
S GARNET ST                   RITNER ST                     PORTER ST
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S LAMBERT ST                  RITNER ST                     PORTER ST
S WOODSTOCK ST                RITNER ST                     PORTER ST
PASCHALL AVE                  DEAD END EAST                 S 47TH ST
WARRINGTON AVE                S 51ST ST                     S PAXON ST
S 51ST ST                     WARRINGTON AVE                SPRINGFIELD AVE
GRAYS AVE                     S 53RD ST                     S 54TH ST
S 25TH ST                     CYPRESS ST                    DELANCEY PL
S 25TH ST                     DELANCEY PL                   PANAMA ST
S 25TH ST                     PANAMA ST                     PINE ST
S 25TH ST                     PINE ST                       WAVERLY ST
S 25TH ST                     LOMBARD ST                    NAUDAIN ST
S 25TH ST                     NAUDAIN ST                    SOUTH ST
S 26TH ST                     DELANCEY PL                   PANAMA ST
S 26TH ST                     PANAMA ST                     PINE ST
S 25TH ST                     WAVERLY ST                    LOMBARD ST
S 23RD ST                     BAINBRIDGE ST                 PEMBERTON ST
BAINBRIDGE ST                 GRAYS FERRY AVE               S 24TH ST
S CHADWICK ST                 REED ST                       DICKINSON ST
S BANCROFT ST                 REED ST                       DICKINSON ST
CATHARINE ST                  S BROAD ST                    S ROSEWOOD ST
ELLSWORTH ST                  S BROAD ST                    S CARLISLE ST
ELLSWORTH ST                  S CARLISLE ST                 S 15TH ST
PASCHALL AVE                  S ALLISON ST                  S 56TH ST
PASCHALL AVE                  S 56TH ST                     S 56TH ST
S 28TH ST                     JACKSON ST                    VARE AVE
SAYBROOK AVE                  S MELVILLE ST                 S 46TH ST
ELLSWORTH ST                  S 25TH ST                     S 26TH ST
MANTON ST                     S 26TH ST                     S 27TH ST
PANAMA ST                     S 19TH ST                     S 20TH ST
S 24TH ST                     POINT BREEZE AVE              MC KEAN ST
S 29TH ST                     SNYDER AVE                    CANTRELL ST
S 29TH ST                     CANTRELL ST                   WINTON ST
S 26TH ST                     SNYDER AVE                    JACKSON ST
GREENWAY AVE                  S 55TH ST                     GRAYS LN
GREENWAY AVE                  GRAYS LN                      S 56TH ST
PINE ST                       S 44TH ST                     S 45TH ST
S PAXON ST                    FLORENCE AVE                  WARRINGTON AVE
S 47TH ST                     LINMORE AVE                   PASCHALL AVE
S 51ST ST                     GRAYS AVE                     BOTANIC AVE
S 54TH ST                     PASCHALL AVE                  GLENMORE AVE
S BOUVIER ST                  DELANCEY PL                   PINE ST
WAVERLY ST                    S 25TH ST                     S 26TH ST
S 27TH ST                     SOUTH ST                      BAINBRIDGE ST
CHRISTIAN ST                  S 16TH ST                     S 17TH ST
ELLSWORTH ST                  S 15TH ST                     S MOLE ST
CARPENTER ST                  S 16TH ST                     S CHADWICK ST
MIFFLIN ST                    POINT BREEZE AVE              S 24TH ST
RITNER ST                     S 25TH ST                     BAMBREY TER
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OAKFORD ST                      S 25TH ST                     S 26TH ST
KIMBALL ST                      S 25TH ST                     GRAYS FERRY AVE
S 23RD ST                       KAUFFMAN ST                   MADISON SQ
S 23RD ST                       NORFOLK ST                    CHRISTIAN ST
S 24TH ST                       KAUFFMAN ST                   MADISON SQ
S 24TH ST                       NORFOLK ST                    CHRISTIAN ST
S 26TH ST                       WASHINGTON AVE                ALTER ST
POINT BREEZE AVE                SNYDER AVE                    BAILEY TER
ELLSWORTH ST                    S 29TH ST                     DEAD END WEST
S 29TH ST                       PELTZ ST                      ELLSWORTH ST
PELTZ ST                        GRAYS FERRY AVE               S 29TH ST
WHARTON ST                      WARFIELD ST                   S 35TH ST
S 35TH ST                       MOORE ST                      DEAD END SOUTH
S 34TH ST                       VARE AVE                      MAIDEN LN
S 32ND ST                       TASKER ST                     FERNON DR
OAKFORD ST                      S 29TH ST                     S 30TH ST
S LAMBERT ST                    SEARS ST                      REED ST
JACKSON ST                      S 26TH ST                     BAILEY TER
S 27TH ST                       DALY TER                      WOLF ST
S 23RD ST                       WOLF ST                       W PASSYUNK AVE
S 24TH ST                       MC KEAN ST                    SNYDER AVE
S BONSALL ST                    WOLF ST                       RITNER ST
S BOUVIER ST                    SNYDER AVE                    W PASSYUNK AVE
PEMBERTON ST                    S ROSEWOOD ST                 S 15TH ST
S ROSEWOOD ST                   FITZWATER ST                  CATHARINE ST
FEDERAL ST                      S BROAD ST                    S CARLISLE ST
S 58TH ST                       EASTWICK AVE                  DEAD END EAST
S 57TH ST                       WOODLAND AVE                  DEAD END SOUTH
REED ST                         S 33RD ST                     S 34TH ST
NEW HOPE ST                     MIFFLIN ST                    VARE AVE
VARE AVE                        S 29TH ST                     SNYDER AVE
VARE AVE                        JACKSON ST                    S 29TH ST
VARE AVE                        S 28TH ST                     JACKSON ST
VARE AVE                        WOLF ST                       DALY TER
DELANCEY ST                     DEAD END EAST                 S 42ND ST
S HOLLY ST                      DEAD END NORTH                CHESTER AVE
REGENT ST                       CUL DE SAC EAST               S 47TH ST
S HARMONY ST                    GRAYS FERRY AVE               WHARTON ST
INGRAM ST                       S 27TH ST                     S 28TH ST
S MELVILLE ST                   DEAD END NORTH                SAYBROOK AVE
REINHARD ST                     S 47TH ST                     S 48TH ST
CHESTER AVE                     S ITHAN ST                    S FRAZIER ST
S 50TH ST                       BALTIMORE AVE                 WILLOWS AVE
S 50TH ST                       WILLOWS AVE                   PENTRIDGE ST
WILLOWS AVE                     S 50TH ST                     S 51ST ST
WILLOWS AVE                     BALTIMORE AVE                 S 50TH ST
BOTANIC AVE                     S 49TH ST                     S 51ST ST
S 56TH ST                       EASTWICK AVE                  JOHN BARTRAM DR
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S 56TH ST                          LINDBERGH BLVD                GIBSON DR
S 56TH ST                          GIBSON DR                     HARLEY DR
S ALDEN ST                         ELMWOOD AVE                   LINDBERGH BLVD
SAINT MARKS ST                     DELANCEY ST                   PINE ST
DELANCEY ST                        SAINT MARKS ST                S 43RD ST
SAINT MARKS ST                     BALTIMORE AVE                 DEAD END SOUTH
WHARTON ST                         S 33RD ST                     S SPANGLER ST
WHARTON ST                         S SPANGLER ST                 S 34TH ST
S SPANGLER ST                      DEAD END NORTH                WHARTON ST
SAINT ALBANS ST                    S 20TH ST                     S 21ST ST
SAINT ALBANS ST                    S 21ST ST                     S 22ND ST
S UBER ST                          PINE ST                       WAVERLY ST
S UBER ST                          WAVERLY ST                    LOMBARD ST
KATER ST                           S 21ST ST                     S 22ND ST
KATER ST                           S 20TH ST                     S 21ST ST
PEMBERTON ST                       S 20TH ST                     S 21ST ST
PEMBERTON ST                       S 21ST ST                     S 22ND ST
WEBSTER ST                         S 20TH ST                     S 21ST ST
WEBSTER ST                         S 21ST ST                     S 22ND ST
SENATE ST                          S 22ND ST                     S 23RD ST
MONTROSE ST                        S BONSALL ST                  S 24TH ST
MONTROSE ST                        S 23RD ST                     S BONSALL ST
CLYMER ST                          S 20TH ST                     S 21ST ST
S ROSEWOOD ST                      CASTLE AVE                    MOORE ST
S TANEY ST                         DEAD END NORTH                CATHARINE ST
FULTON ST                          S 22ND ST                     S 23RD ST
FULTON ST                          S 20TH ST                     S 21ST ST
ALTER ST                           S 15TH ST                     S 16TH ST
ALTER ST                           S 17TH ST                     S 18TH ST
MONTROSE ST                        S 16TH ST                     S 17TH ST
MONTROSE ST                        S 19TH ST                     S 20TH ST
WEBSTER ST                         S 16TH ST                     DEAD END WEST
S BOUVIER ST                       MIFFLIN ST                    MC KEAN ST
DICKINSON ST                       S 33RD ST                     SCHUYLKILL EXPY RAMP A
DICKINSON ST                       S 32ND ST                     S 33RD ST
S 33RD ST                          DICKINSON ST                  TASKER ST
S 33RD ST                          TASKER ST                     S 34TH ST
S 35TH ST                          GRAYS FERRY AVE               WHARTON ST
S 35TH ST                          WHARTON ST                    DEAD END SOUTH
GROVE ST                           GRAYS FERRY AVE               WHARTON ST
S 31ST ST                          DEAD END NORTH                GRAYS FERRY AVE
S STANLEY ST                       DEAD END NORTH                GRAYS FERRY AVE
S 33RD ST                          GRAYS FERRY AVE               LATONA ST
S 33RD ST                          LATONA ST                     WHARTON ST
S 33RD ST                          REED ST                       DICKINSON ST
REED ST                            WARFIELD ST                   S SHEDWICK ST
ELLSWORTH ST                       GRAYS FERRY AVE               S 29TH ST
MAIDEN LN                          VARE AVE                      VARE AVE
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MAIDEN LN                     VARE AVE                      S 34TH ST
S 29TH ST                     WINTON ST                     VARE AVE
JACKSON ST                    POINT BREEZE AVE              VARE AVE
S 23RD ST                     W PASSYUNK AVE                DEAD END SOUTH
S 53RD ST                     DEAD END EAST                 HARLEY ST
S 51ST ST                     WOODLAND AVE                  DEAD END SOUTH
ALTER ST                      DEAD END EAST                 S 26TH ST
S BAMBREY ST                  TASKER ST                     MORRIS ST
S CLEVELAND ST                ELLSWORTH ST                  FEDERAL ST
ELLSWORTH ST                  S CLEVELAND ST                DORRANCE ST
ELLSWORTH ST                  S 18TH ST                     S CLEVELAND ST
FEDERAL ST                    S CLEVELAND ST                DORRANCE ST
FEDERAL ST                    S 18TH ST                     S CLEVELAND ST
WEBSTER ST                    S 18TH ST                     DEAD END WEST
S SYDENHAM ST                 DEAD END NORTH                FEDERAL ST
S HICKS ST                    DEAD END NORTH                FEDERAL ST
S CARLISLE ST                 ELLSWORTH ST                  DEAD END SOUTH
CLYMER ST                     DEAD END EAST                 S 15TH ST
NAUDAIN ST                    DEAD END EAST                 S 15TH ST
PANAMA ST                     S 17TH ST                     DEAD END WEST
DELANCEY ST                   DEAD END EAST                 S 16TH ST
YOCUM ST                      S 55TH ST                     GRAYS LN
YOCUM ST                      GRAYS LN                      S 56TH ST
CYPRESS ST                    DEAD END EAST                 S CHADWICK ST
S 47TH ST                     UPLAND ST                     WOODLAND AVE
LINMORE AVE                   S 55TH ST                     S 56TH ST
SCHUYLKILL AVE                SOUTH ST                      BAINBRIDGE ST
PENTRIDGE ST                  S 53RD ST                     S 54TH ST
BEAUMONT ST                   S 54TH ST                     S 55TH ST
S RUBY ST                     FLORENCE AVE                  WARRINGTON AVE
S PEACH ST                    FLORENCE AVE                  WARRINGTON AVE
S PEACH ST                    WARRINGTON AVE                SPRINGFIELD AVE
S RUBY ST                     WARRINGTON AVE                SPRINGFIELD AVE
WINDSOR ST                    S 54TH ST                     S 55TH ST
BELMAR ST                     S 54TH ST                     S 55TH ST
BELMAR ST                     S 56TH ST                     S 57TH ST
BELMAR ST                     S 55TH ST                     S 56TH ST
S 53RD ST                     PENTRIDGE ST                  PENTRIDGE ST
S 53RD ST                     PENTRIDGE ST                  FLORENCE AVE
S 53RD ST                     FLORENCE AVE                  BEAUMONT ST
S 53RD ST                     BEAUMONT ST                   LITCHFIELD ST
S 53RD ST                     LITCHFIELD ST                 WARRINGTON AVE
FLORENCE AVE                  S 53RD ST                     S PEACH ST
FLORENCE AVE                  S PEACH ST                    S RUBY ST
FLORENCE AVE                  S RUBY ST                     S 54TH ST
WARRINGTON AVE                S 53RD ST                     S PEACH ST
WARRINGTON AVE                S PEACH ST                    S RUBY ST
WARRINGTON AVE                S RUBY ST                     S 54TH ST
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FLORENCE AVE                    S 54TH ST                     S 55TH ST
S 54TH ST                       FLORENCE AVE                  BEAUMONT ST
S 54TH ST                       BEAUMONT ST                   WARRINGTON AVE
S 54TH ST                       WARRINGTON AVE                WINDSOR ST
S 54TH ST                       WINDSOR ST                    BELMAR ST
S 54TH ST                       BELMAR ST                     SPRINGFIELD AVE
WARRINGTON AVE                  S 54TH ST                     S 55TH ST
WARRINGTON AVE                  S 55TH ST                     S 56TH ST
S 55TH ST                       WARRINGTON AVE                WINDSOR ST
S 53RD ST                       WARRINGTON AVE                SPRINGFIELD AVE
S 56TH ST                       BELMAR ST                     SPRINGFIELD AVE
S 55TH ST                       BELMAR ST                     SPRINGFIELD AVE
S 56TH ST                       PASCHALL AVE                  LINMORE AVE
S 55TH ST                       WINDSOR ST                    BELMAR ST
WINDSOR ST                      S 55TH ST                     S 56TH ST
KINGSESSING AVE                 S 48TH ST                     S 49TH ST
UPLAND ST                       S 47TH ST                     S 48TH ST
S 47TH ST                       REINHARD ST                   UPLAND ST
S 24TH ST                       CATHARINE ST                  KAUFFMAN ST
S 24TH ST                       MADISON SQ                    NORFOLK ST
KAUFFMAN ST                     S 23RD ST                     S 24TH ST
KAUFFMAN ST                     S 22ND ST                     S 23RD ST
NORFOLK ST                      S 23RD ST                     S 24TH ST
NORFOLK ST                      S 22ND ST                     S 23RD ST
S 23RD ST                       CATHARINE ST                  KAUFFMAN ST
S 23RD ST                       MADISON SQ                    NORFOLK ST
OSAGE AVE                       S 48TH ST                     S 49TH ST
LARCHWOOD AVE                   S MELVILLE ST                 S 46TH ST
S SAINT BERNARD ST              SPRUCE ST                     PINE ST
S 18TH ST                       MANTON ST                     MANTON ST
JACKSON ST                      S HICKS ST                    S HICKS ST
S 19TH ST                       LATONA ST                     LATONA ST
RITNER ST                       S BROAD ST                    S BROAD ST
WOLF ST                         S BROAD ST                    S BROAD ST
JACKSON ST                      S BROAD ST                    S BROAD ST
MC KEAN ST                      E PASSYUNK AVE                S BROAD ST
MIFFLIN ST                      S BROAD ST                    S BROAD ST
MOORE ST                        S BROAD ST                    S BROAD ST
DICKINSON ST                    S BROAD ST                    S BROAD ST
REED ST                         S BROAD ST                    S BROAD ST
CASTLE AVE                      S BROAD ST                    S BROAD ST
WHARTON ST                      S BROAD ST                    S BROAD ST
FEDERAL ST                      S BROAD ST                    S BROAD ST
ELLSWORTH ST                    S BROAD ST                    S BROAD ST
ALTER ST                        S BROAD ST                    S BROAD ST
CARPENTER ST                    S BROAD ST                    S BROAD ST
CHRISTIAN ST                    S BROAD ST                    S BROAD ST
CATHARINE ST                    S BROAD ST                    S BROAD ST
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FITZWATER ST                    S BROAD ST                    S BROAD ST
CYPRESS ST                      S BROAD ST                    S BROAD ST
S FRAZIER ST                    CHESTER AVE                   GRAYS LN
WOLF ST                         S 27TH ST                     RITNER ST
JACKSON ST                      BAILEY TER                    TANEY TER
JACKSON ST                      TANEY TER                     ETTING TER
JACKSON ST                      ETTING TER                    S 27TH ST
POINT BREEZE AVE                BAILEY TER                    TANEY TER
POINT BREEZE AVE                TANEY TER                     ETTING TER
POINT BREEZE AVE                ETTING TER                    MARSTON TER
POINT BREEZE AVE                MARSTON TER                   PHA DRIVEWAY
S 27TH ST                       JACKSON ST                    TREE TER
S 27TH ST                       TREE TER                      DALY TER
VARE AVE                        WINTON TER                    S 28TH ST
VARE AVE                        TREE TER                      WINTON TER
VARE AVE                        DALY TER                      TREE TER
RITNER ST                       BAILEY TER                    WOLF ST
RITNER ST                       BAMBREY TER                   BAILEY TER
POINT BREEZE AVE                PHA DRIVEWAY                  JACKSON ST
FLORENCE AVE                    S 51ST ST                     DEAD END WEST
RODMAN ST                       DEAD END EAST                 S 15TH ST
S VAN PELT ST                   PINE ST                       ADDISON ST
S VAN PELT ST                   ADDISON ST                    LOMBARD ST
VARE AVE                        SNYDER AVE                    SCHUYLKILL EXPY RAMP
VARE AVE                        SCHUYLKILL EXPY RAMP          NEW HOPE ST
S 48TH ST                       REINHARD ST                   UPLAND ST
JACKSON ST                      S 24TH ST                     S 24TH ST
S 24TH ST                       SNYDER AVE                    JACKSON ST
S 24TH ST                       JACKSON ST                    WOLF ST
S 26TH ST                       PINE ST                       RAINEY CT
S 26TH ST                       RAINEY CT                     WAVERLY ST
DRAWBRIDGE                      S 34TH ST                     DEAD END
S 56TH ST                       ELMWOOD AVE                   LINDBERGH BLVD
SEARS ST                        S LAMBERT ST                  S 21ST ST
S 31ST ST                       MOORE ST                      MIFFLIN ST
EASTWICK AVE                    S 56TH ST                     DEAD END SOUTH
EASTWICK AVE                    DEAD END                      S 57TH ST
S 49TH ST                       GRAYS AVE                     S 49TH ST
S 49TH ST                       S 49TH ST                     S 49TH ST
S 49TH ST                       S 49TH ST                     BOTANIC AVE
S 57TH ST                       LINDBERGH BLVD                EASTWICK AVE
HEALTH SCIENCES DR              CONVENTION AVE                SOUTH ST
CONVENTION AVE                  S 33RD ST                     HEALTH SCIENCES DR
S 30TH ST                       MORRIS ST                     MOORE ST
S 30TH ST                       MOORE ST                      MIFFLIN ST
S HOLLYWOOD ST                  MORRIS ST                     MOORE ST
S CORLIES ST                    MOORE ST                      MIFFLIN ST
MOORE ST                        S 29TH ST                     S HOLLYWOOD ST
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MOORE ST                         S HOLLYWOOD ST                S 30TH ST
MOORE ST                         S 30TH ST                     S CORLIES ST
MOORE ST                         S CORLIES ST                  S 31ST ST
MIFFLIN ST                       NEW HOPE ST                   S CORLIES ST
MIFFLIN ST                       S CORLIES ST                  S 31ST ST
S 23RD ST                        GRAYS FERRY AVE               BAINBRIDGE ST
MOORE ST                         S 31ST ST                     S NAPA ST
MOORE ST                         S NAPA ST                     S 32ND ST
MOORE ST                         S 32ND ST                     S NATRONA ST
MOORE ST                         S NATRONA ST                  S DOUGLAS ST
MOORE ST                         S DOUGLAS ST                  VARE AVE
MIFFLIN ST                       S 31ST ST                     S NAPA ST
MIFFLIN ST                       S NAPA ST                     VARE AVE
S 32ND ST                        FERNON DR                     MORRIS ST
S 31ST ST                        TASKER ST                     FERNON DR
S 31ST ST                        FERNON DR                     MORRIS ST
S CORLIES ST                     TASKER ST                     MORRIS ST
S 31ST ST                        MORRIS ST                     MOORE ST
S NAPA ST                        FERNON DR                     MORRIS ST
S NAPA ST                        MORRIS ST                     MOORE ST
S NAPA ST                        MOORE ST                      MIFFLIN ST
S 32ND ST                        MORRIS ST                     MOORE ST
S 32ND ST                        MOORE ST                      VARE AVE
S DOUGLAS ST                     MORRIS ST                     MOORE ST
S NATRONA ST                     MORRIS ST                     MOORE ST
VARE AVE                         MIFFLIN ST                    S 34TH ST
S 34TH ST                        MORRIS ST                     VARE AVE
VARE AVE                         NEW HOPE ST                   MIFFLIN ST
SCHUYLKILL AVE                   BAINBRIDGE ST                 CAPTAINS WAY
SCHUYLKILL AVE                   CAPTAINS WAY                  CATHARINE ST
S 39TH ST                        PINE ST                       WOODLAND WALK
JOHN BARTRAM DR                  DEAD END EAST                 S 56TH ST
S 43RD ST                        REGENT SQ                     KINGSESSING MALL
S 43RD ST                        KINGSESSING MALL              WOODLAND AVE
HEALTH SCIENCES DR               CONVENTION AVE                EAST SERVICE DR
HEALTH SCIENCES DR               EAST SERVICE DR               WEST SERVICE DR
HEALTH SCIENCES DR               WEST SERVICE DR               CIVIC CENTER BLVD
WEST SERVICE DR                  CIVIC CENTER BLVD             HEALTH SCIENCES DR
EAST SERVICE DR                  CIVIC CENTER BLVD             HEALTH SCIENCES DR
GRAYS AVE                        S 53RD ST                     LINDBERGH BLVD
SCHUYLKILL AVE                   WHARTON ST                    S SCHUYLKILL RIVER TRL
SCHUYLKILL AVE                   S SCHUYLKILL RIVER TRL        SEARS ST
S SCHUYLKILL RIVER TRL           DEAD END EAST                 S SCHUYLKILL RIVER TRL
S SCHUYLKILL RIVER TRL           GRAYS FERRY AVE               S SCHUYLKILL RIVER TRL
S SCHUYLKILL RIVER TRL           S SCHUYLKILL RIVER TRL        SCHUYLKILL AVE
S 31ST ST                        GRAYS FERRY AVE               TITAN ST
BAINBRIDGE ST                    S 24TH ST                     BRINLEY CT
BAINBRIDGE ST                    BRINLEY CT                    S BAMBREY ST
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HARLEY ST                        54TH DR                       LINDBERGH BLVD
HARLEY ST                        S 53RD ST                     54TH DR
S 24TH ST                        INNOVATOR WAY                 WASHINGTON AVE
S 24TH ST                        KIMBALL ST                    INNOVATOR WAY
S CAMAC ST                       CYPRESS ST                    PANAMA ST
S CAMAC ST                       PANAMA ST                     PINE ST
QUINCE ST                        PINE ST                       WAVERLY ST
QUINCE ST                        WAVERLY ST                    WAVERLY ST
FITZWATER ST                     S WATTS ST                    S BROAD ST
S SARTAIN ST                     BAINBRIDGE ST                 FITZWATER ST
S HANCOCK ST                     SOUTH ST                      KATER ST
S HANCOCK ST                     KATER ST                      BAINBRIDGE ST
S PHILIP ST                      BAINBRIDGE ST                 S AMERICAN ST
KENILWORTH ST                    S FRONT ST                    S 2ND ST
MONROE ST                        S FRONT ST                    S 2ND ST
PEMBERTON ST                     S FRONT ST                    S 2ND ST
CATHARINE ST                     S 3RD ST                      S 4TH ST
CATHARINE ST                     S FRONT ST                    S HANCOCK ST
S HANCOCK ST                     CATHARINE ST                  QUEEN ST
S HANCOCK ST                     QUEEN ST                      BECK ST
S HOWARD ST                      QUEEN ST                      BECK ST
S HANCOCK ST                     BECK ST                       CHRISTIAN ST
S HOWARD ST                      BECK ST                       CHRISTIAN ST
S 9TH ST                         SNYDER AVE                    CANTRELL ST
CANTRELL ST                      S 9TH ST                      S 10TH ST
S 10TH ST                        CANTRELL ST                   WINTON ST
S 9TH ST                         CANTRELL ST                   WINTON ST
WINTON ST                        S 9TH ST                      S 10TH ST
WINTON ST                        S 8TH ST                      S 9TH ST
S 10TH ST                        WINTON ST                     JACKSON ST
S 9TH ST                         WINTON ST                     JACKSON ST
S 10TH ST                        JACKSON ST                    TREE ST
S 9TH ST                         JACKSON ST                    TREE ST
TREE ST                          S 9TH ST                      S 10TH ST
S 10TH ST                        TREE ST                       DALY ST
S 9TH ST                         TREE ST                       DALY ST
DALY ST                          S 9TH ST                      S 10TH ST
S 10TH ST                        DALY ST                       WOLF ST
WOLF ST                          S HUTCHINSON ST               S 10TH ST
S 12TH ST                        WOLF ST                       DURFOR ST
DURFOR ST                        S 12TH ST                     S 13TH ST
WOLF ST                          S PERCY ST                    S HUTCHINSON ST
S 9TH ST                         DALY ST                       WOLF ST
WOLF ST                          S 9TH ST                      S PERCY ST
WOLF ST                          S DARIEN ST                   S 9TH ST
WOLF ST                          S MILDRED ST                  S DARIEN ST
S 13TH ST                        DURFOR ST                     FITZGERALD ST
DURFOR ST                        S 11TH ST                     S 12TH ST
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S 12TH ST                      DURFOR ST                     FITZGERALD ST
FITZGERALD ST                  S 12TH ST                     S 13TH ST
RITNER ST                      S WATTS ST                    S BROAD ST
RITNER ST                      S JUNIPER ST                  S WATTS ST
S 11TH ST                      DURFOR ST                     FITZGERALD ST
FITZGERALD ST                  S 11TH ST                     S 12TH ST
RITNER ST                      S CLARION ST                  S JUNIPER ST
S 13TH ST                      FITZGERALD ST                 RITNER ST
RITNER ST                      S 13TH ST                     S CLARION ST
RITNER ST                      S ISEMINGER ST                S 13TH ST
RITNER ST                      S CAMAC ST                    S ISEMINGER ST
S 12TH ST                      FITZGERALD ST                 RITNER ST
RITNER ST                      S 12TH ST                     S CAMAC ST
RITNER ST                      S SARTAIN ST                  S 12TH ST
RITNER ST                      S JESSUP ST                   S SARTAIN ST
S 11TH ST                      FITZGERALD ST                 RITNER ST
RITNER ST                      S 11TH ST                     S JESSUP ST
S WARNOCK ST                   WOLF ST                       RITNER ST
RITNER ST                      S WARNOCK ST                  S 11TH ST
S ALDER ST                     WOLF ST                       RITNER ST
RITNER ST                      S ALDER ST                    S WARNOCK ST
S WATTS ST                     RITNER ST                     PORTER ST
S JUNIPER ST                   RITNER ST                     PORTER ST
S CLARION ST                   RITNER ST                     PORTER ST
S 13TH ST                      RITNER ST                     PORTER ST
S ISEMINGER ST                 RITNER ST                     PORTER ST
S CAMAC ST                     RITNER ST                     PORTER ST
S 12TH ST                      RITNER ST                     W MOYAMENSING AVE
S 10TH ST                      SOUTH ST                      BAINBRIDGE ST
WAVERLY ST                     S 10TH ST                     S ALDER ST
S ALDER ST                     WAVERLY ST                    ADDISON ST
ADDISON ST                     DEAD END EAST                 S ALDER ST
S HUTCHINSON ST                PINE ST                       WAVERLY ST
S HUTCHINSON ST                WAVERLY ST                    LOMBARD ST
WAVERLY ST                     S HUTCHINSON ST               S 10TH ST
CLINTON ST                     S 10TH ST                     S 11TH ST
CLINTON ST                     S 9TH ST                      S 10TH ST
CYPRESS ST                     S 11TH ST                     QUINCE ST
CYPRESS ST                     S 10TH ST                     S 11TH ST
QUINCE ST                      CYPRESS ST                    PINE ST
S FAWN ST                      CYPRESS ST                    PANAMA ST
PANAMA ST                      S ISEMINGER ST                S 13TH ST
PANAMA ST                      S CAMAC ST                    S ISEMINGER ST
PANAMA ST                      S 12TH ST                     S FAWN ST
CYPRESS ST                     S WATTS ST                    S BROAD ST
CYPRESS ST                     S JUNIPER ST                  S WATTS ST
CYPRESS ST                     S ISEMINGER ST                S 13TH ST
CYPRESS ST                     S CAMAC ST                    S ISEMINGER ST
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CYPRESS ST                        S FAWN ST                     S CAMAC ST
CYPRESS ST                        S 12TH ST                     S FAWN ST
S ISEMINGER ST                    CYPRESS ST                    PANAMA ST
S CAMAC ST                        PINE ST                       WAVERLY ST
S CAMAC ST                        WAVERLY ST                    ADDISON WALK
S CAMAC ST                        ADDISON WALK                  LOMBARD ST
WAVERLY ST                        S 13TH ST                     S JUNIPER ST
WAVERLY ST                        S ISEMINGER ST                S 13TH ST
WAVERLY ST                        WAVERLY WALK                  S ISEMINGER ST
S JUNIPER ST                      PANAMA ST                     PINE ST
S JUNIPER ST                      PINE ST                       WAVERLY ST
S JUNIPER ST                      CYPRESS ST                    CYPRESS ST
S JUNIPER ST                      CYPRESS ST                    PANAMA ST
CYPRESS ST                        S 13TH ST                     S JUNIPER ST
S WATTS ST                        CYPRESS ST                    PINE ST
S WATTS ST                        PINE ST                       LOMBARD ST
ADDISON WALK                      S 12TH ST                     S CAMAC ST
S ISEMINGER ST                    WAVERLY ST                    LOMBARD ST
QUINCE ST                         WAVERLY ST                    LOMBARD ST
WAVERLY ST                        S JESSUP ST                   QUINCE ST
WAVERLY ST                        S 11TH ST                     S JESSUP ST
S JESSUP ST                       WAVERLY ST                    LOMBARD ST
ADDISON ST                        S 8TH ST                      S 9TH ST
DELANCEY ST                       S 7TH ST                      S 8TH ST
ADDISON ST                        S PERTH ST                    S 8TH ST
ADDISON ST                        S 7TH ST                      S PERTH ST
ADDISON ST                        S 6TH ST                      S 7TH ST
S PERTH ST                        ADDISON ST                    LOMBARD ST
PANAMA ST                         S 6TH ST                      S 7TH ST
CYPRESS ST                        S 6TH ST                      S 7TH ST
S REESE ST                        CYPRESS ST                    DELANCEY ST
DELANCEY ST                       S REESE ST                    S 6TH ST
CYPRESS ST                        S REESE ST                    S 6TH ST
CYPRESS ST                        S 5TH ST                      S REESE ST
CYPRESS ST                        S 4TH ST                      LAWRENCE CT
DELANCEY ST                       S FRONT ST                    S 2ND ST
KATER ST                          S HOWARD ST                   S HANCOCK ST
S HOWARD ST                       KATER ST                      DEAD END SOUTH
GASKILL ST                        S LEITHGOW ST                 S 5TH ST
GASKILL ST                        S 4TH ST                      S LEITHGOW ST
GASKILL ST                        S 3RD ST                      S 4TH ST
S 3RD ST                          SOUTH ST                      BAINBRIDGE ST
S 4TH ST                          SOUTH ST                      KATER ST
S 4TH ST                          KATER ST                      BAINBRIDGE ST
S ORIANNA ST                      SOUTH ST                      KATER ST
KATER ST                          S ORIANNA ST                  S 4TH ST
S ORIANNA ST                      KATER ST                      BAINBRIDGE ST
S LEITHGOW ST                     SOUTH ST                      BAINBRIDGE ST
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S LEITHGOW ST                    GASKILL ST                    SOUTH ST
KATER ST                         S 7TH ST                      S 8TH ST
KATER ST                         S MARSHALL ST                 S 7TH ST
KATER ST                         S 6TH ST                      S MARSHALL ST
KATER ST                         S FAIRHILL ST                 S 6TH ST
KATER ST                         S RANDOLPH ST                 S FAIRHILL ST
KATER ST                         S REESE ST                    S RANDOLPH ST
KATER ST                         S 5TH ST                      S REESE ST
RODMAN ST                        S 7TH ST                      S FRANKLIN ST
RODMAN ST                        S REESE ST                    RANDOLPH CT
RODMAN ST                        S FRANKLIN ST                 S 8TH ST
BRADFORD ALY                     S FRANKLIN ST                 DEAD END WEST
BRADFORD ALY                     S 7TH ST                      S FRANKLIN ST
S FRANKLIN ST                    BRADFORD ALY                  RODMAN ST
RODMAN ST                        S 6TH ST                      S 7TH ST
S REESE ST                       RODMAN ST                     SOUTH ST
RODMAN ST                        S 10TH ST                     S 11TH ST
RODMAN ST                        S 9TH ST                      S 10TH ST
RODMAN ST                        S SARTAIN ST                  S 12TH ST
S 13TH ST                        SOUTH ST                      KATER ST
S 13TH ST                        KATER ST                      BAINBRIDGE ST
S 13TH ST                        BAINBRIDGE ST                 KENILWORTH ST
S SARTAIN ST                     RODMAN ST                     SOUTH ST
RODMAN ST                        S 13TH ST                     S JUNIPER ST
S JUNIPER ST                     LOMBARD ST                    RODMAN ST
S JUNIPER ST                     RODMAN ST                     SOUTH ST
RODMAN ST                        S JUNIPER ST                  S BROAD ST
S CLARION ST                     SOUTH ST                      KATER ST
KATER ST                         S 13TH ST                     S CLARION ST
KATER ST                         S 12TH ST                     S 13TH ST
S CLARION ST                     KATER ST                      BAINBRIDGE ST
KATER ST                         S CLARION ST                  S BROAD ST
S ALDER ST                       SOUTH ST                      KATER ST
S ALDER ST                       KATER ST                      BAINBRIDGE ST
S DELHI ST                       SOUTH ST                      BAINBRIDGE ST
S PERCY ST                       SOUTH ST                      BAINBRIDGE ST
S 9TH ST                         SOUTH ST                      BAINBRIDGE ST
S 9TH ST                         BAINBRIDGE ST                 FITZWATER ST
S 8TH ST                         SOUTH ST                      KATER ST
S 8TH ST                         KATER ST                      KATER ST
S 8TH ST                         KATER ST                      BAINBRIDGE ST
S 8TH ST                         BAINBRIDGE ST                 PEMBERTON ST
S 8TH ST                         PEMBERTON ST                  FITZWATER ST
S SCHELL ST                      SOUTH ST                      KATER ST
S SCHELL ST                      KATER ST                      BAINBRIDGE ST
KATER ST                         S 8TH ST                      S SCHELL ST
S RANDOLPH ST                    SOUTH ST                      KATER ST
S FAIRHILL ST                    KATER ST                      BAINBRIDGE ST
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S MARSHALL ST                     KATER ST                      BAINBRIDGE ST
S MARSHALL ST                     BAINBRIDGE ST                 KENILWORTH ST
S MARSHALL ST                     KENILWORTH ST                 PEMBERTON ST
S MARSHALL ST                     PEMBERTON ST                  FITZWATER ST
S PERTH ST                        DEAD END NORTH                PEMBERTON ST
PEMBERTON ST                      S PERTH ST                    S 8TH ST
FITZWATER ST                      S DARIEN ST                   S SCHELL ST
FITZWATER ST                      S MILDRED ST                  S DARIEN ST
FITZWATER ST                      S 8TH ST                      S MILDRED ST
FITZWATER ST                      S 7TH ST                      S 8TH ST
FITZWATER ST                      S SHERIDAN ST                 S 7TH ST
FITZWATER ST                      S 6TH ST                      S MARSHALL ST
FITZWATER ST                      ABBOTTS CT                    S 6TH ST
FITZWATER ST                      S RANDOLPH ST                 ABBOTTS CT
FITZWATER ST                      S MARSHALL ST                 S MARSHALL ST
FITZWATER ST                      S MARSHALL ST                 S SHERIDAN ST
S MARSHALL ST                     FITZWATER ST                  CLYMER ST
FITZWATER ST                      S DELHI ST                    S 10TH ST
FITZWATER ST                      S HUTCHINSON ST               S DELHI ST
FITZWATER ST                      S PERCY ST                    S HUTCHINSON ST
FITZWATER ST                      S 9TH ST                      S PERCY ST
FITZWATER ST                      S SCHELL ST                   S 9TH ST
S DARIEN ST                       CATHARINE ST                  DARIEN WAY
S 10TH ST                         BAINBRIDGE ST                 FITZWATER ST
S 10TH ST                         FITZWATER ST                  CATHARINE ST
S WARNOCK ST                      BAINBRIDGE ST                 FITZWATER ST
S WARNOCK ST                      FITZWATER ST                  CATHARINE ST
FITZWATER ST                      S JESSUP ST                   S MARVINE ST
FITZWATER ST                      S 11TH ST                     S JESSUP ST
FITZWATER ST                      S 12TH ST                     S FAWN ST
FITZWATER ST                      S SARTAIN ST                  S 12TH ST
FITZWATER ST                      S MARVINE ST                  S SARTAIN ST
S SARTAIN ST                      FITZWATER ST                  CATHARINE ST
S MARVINE ST                      FITZWATER ST                  CATHARINE ST
S JESSUP ST                       FITZWATER ST                  CATHARINE ST
S MARVINE ST                      BAINBRIDGE ST                 FITZWATER ST
S JESSUP ST                       BAINBRIDGE ST                 FITZWATER ST
S 13TH ST                         FITZWATER ST                  CATHARINE ST
S 13TH ST                         CATHARINE ST                  WEBSTER ST
KENILWORTH ST                     S WATTS ST                    S BROAD ST
S 3RD ST                          MONROE ST                     PEMBERTON ST
S 3RD ST                          PEMBERTON ST                  FITZWATER ST
MONROE ST                         S 4TH ST                      S LEITHGOW ST
MONROE ST                         S 3RD ST                      S 4TH ST
MONROE ST                         S 2ND ST                      S AMERICAN ST
E PASSYUNK AVE                    SOUTH ST                      BAINBRIDGE ST
E PASSYUNK AVE                    BAINBRIDGE ST                 BAINBRIDGE ST
E PASSYUNK AVE                    BAINBRIDGE ST                 MONROE ST
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E PASSYUNK AVE                 S 5TH ST                      FITZWATER ST
E PASSYUNK AVE                 FITZWATER ST                  FITZWATER ST
S FAIRHILL ST                  BAINBRIDGE ST                 KENILWORTH ST
KENILWORTH ST                  S RANDOLPH ST                 S FAIRHILL ST
S REESE ST                     BAINBRIDGE ST                 KENILWORTH ST
KENILWORTH ST                  S REESE ST                    S RANDOLPH ST
S REESE ST                     KENILWORTH ST                 DEAD END SOUTH
S RANDOLPH ST                  KENILWORTH ST                 FITZWATER ST
S DELHI ST                     FITZWATER ST                  CATHARINE ST
S HUTCHINSON ST                FITZWATER ST                  CATHARINE ST
S PERCY ST                     FITZWATER ST                  CATHARINE ST
S MILDRED ST                   FITZWATER ST                  CATHARINE ST
S 8TH ST                       FITZWATER ST                  CLYMER ST
S 8TH ST                       CLYMER ST                     SAINT ALBANS ST
S 8TH ST                       SAINT ALBANS ST               FULTON ST
CLYMER ST                      S 7TH ST                      S 8TH ST
SAINT ALBANS ST                S 7TH ST                      S 8TH ST
FULTON ST                      S 7TH ST                      S 8TH ST
FULTON ST                      DEAD END EAST                 S 7TH ST
CATHARINE ST                   S DELHI ST                    S 10TH ST
CATHARINE ST                   S HUTCHINSON ST               S DELHI ST
CATHARINE ST                   S PERCY ST                    S HUTCHINSON ST
CATHARINE ST                   S 9TH ST                      S PERCY ST
CATHARINE ST                   S DARIEN ST                   S 9TH ST
CATHARINE ST                   S MILDRED ST                  S DARIEN ST
S 8TH ST                       FULTON ST                     CATHARINE ST
S 8TH ST                       CATHARINE ST                  CATHARINE ST
CATHARINE ST                   S 8TH ST                      S MILDRED ST
E PASSYUNK AVE                 CATHARINE ST                  S 6TH ST
CLYMER ST                      S MARSHALL ST                 DEAD END WEST
CLYMER ST                      S RANDOLPH ST                 S 6TH ST
S RANDOLPH ST                  CLYMER ST                     FULTON ST
FULTON ST                      S RANDOLPH ST                 S 6TH ST
FITZWATER ST                   E PASSYUNK AVE                S RANDOLPH ST
FITZWATER ST                   S RANDOLPH ST                 S RANDOLPH ST
S RANDOLPH ST                  FITZWATER ST                  CLYMER ST
FITZWATER ST                   S 4TH ST                      S 5TH ST
FITZWATER ST                   S 3RD ST                      S 4TH ST
FITZWATER ST                   S 5TH ST                      E PASSYUNK AVE
CLYMER ST                      S 6TH ST                      S MARSHALL ST
PEMBERTON ST                   S 3RD ST                      S 4TH ST
S 4TH ST                       MONROE ST                     PEMBERTON ST
S 4TH ST                       PEMBERTON ST                  FITZWATER ST
S 4TH ST                       FITZWATER ST                  FULTON ST
S 4TH ST                       FULTON ST                     CATHARINE ST
FULTON ST                      S 4TH ST                      S 5TH ST
S 3RD ST                       FULTON ST                     CATHARINE ST
S 2ND ST                       KENILWORTH ST                 MONROE ST
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S 2ND ST                      MONROE ST                     MONROE ST
S 2ND ST                      MONROE ST                     PEMBERTON ST
S 2ND ST                      PEMBERTON ST                  FITZWATER ST
S 2ND ST                      FULTON ST                     CATHARINE ST
S 2ND ST                      FITZWATER ST                  FITZWATER ST
S 2ND ST                      FITZWATER ST                  FULTON ST
BECK ST                       S HANCOCK ST                  S 2ND ST
BECK ST                       S HOWARD ST                   S HANCOCK ST
BECK ST                       S FRONT ST                    S HOWARD ST
S 2ND ST                      E MOYAMENSING AVE             CHRISTIAN ST
S 2ND ST                      QUEEN ST                      BECK ST
S 2ND ST                      BECK ST                       E MOYAMENSING AVE
BECK ST                       S 2ND ST                      DEAD END WEST
CHRISTIAN ST                  S BODINE ST                   S 3RD ST
CHRISTIAN ST                  S 2ND ST                      E MOYAMENSING AVE
CHRISTIAN ST                  S HANCOCK ST                  S 2ND ST
E MOYAMENSING AVE             S 2ND ST                      CHRISTIAN ST
E MOYAMENSING AVE             CHRISTIAN ST                  MONTROSE ST
E MOYAMENSING AVE             MONTROSE ST                   HALL ST
QUEEN ST                      S 4TH ST                      S LEITHGOW ST
KAUFFMAN ST                   S ORIANNA ST                  S 4TH ST
S ORIANNA ST                  KAUFFMAN ST                   QUEEN ST
S 3RD ST                      MONTROSE ST                   CARPENTER ST
CHRISTIAN ST                  S 4TH ST                      S 5TH ST
CHRISTIAN ST                  S 3RD ST                      S ORIANNA ST
CATHARINE ST                  S REESE ST                    E PASSYUNK AVE
CATHARINE ST                  S 5TH ST                      S REESE ST
CATHARINE ST                  S LAWRENCE ST                 S 5TH ST
CATHARINE ST                  S LEITHGOW ST                 S LAWRENCE ST
S LAWRENCE ST                 CATHARINE ST                  QUEEN ST
S LEITHGOW ST                 CATHARINE ST                  QUEEN ST
QUEEN ST                      S LAWRENCE ST                 S 5TH ST
QUEEN ST                      S LEITHGOW ST                 S LAWRENCE ST
S 4TH ST                      KAUFFMAN ST                   QUEEN ST
S 4TH ST                      QUEEN ST                      CHRISTIAN ST
S REESE ST                    CATHARINE ST                  KAUFFMAN ST
KAUFFMAN ST                   S REESE ST                    E PASSYUNK AVE
S REESE ST                    KAUFFMAN ST                   QUEEN ST
QUEEN ST                      S REESE ST                    S 6TH ST
QUEEN ST                      S 5TH ST                      S REESE ST
CHRISTIAN ST                  E PASSYUNK AVE                S 7TH ST
CHRISTIAN ST                  S 6TH ST                      E PASSYUNK AVE
E PASSYUNK AVE                S 6TH ST                      QUEEN ST
E PASSYUNK AVE                QUEEN ST                      CHRISTIAN ST
E PASSYUNK AVE                CHRISTIAN ST                  MONTROSE ST
E PASSYUNK AVE                MONTROSE ST                   S 7TH ST
CATHARINE ST                  S 7TH ST                      S 8TH ST
CATHARINE ST                  S SHERIDAN ST                 S 7TH ST
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CATHARINE ST                   S 6TH ST                      S SHERIDAN ST
CATHARINE ST                   E PASSYUNK AVE                S 6TH ST
S 8TH ST                       CATHARINE ST                  CHRISTIAN ST
S 8TH ST                       CHRISTIAN ST                  SALTER ST
S 8TH ST                       SALTER ST                     MONTROSE ST
S MILDRED ST                   CATHARINE ST                  CHRISTIAN ST
CHRISTIAN ST                   DARIEN WAY                    S 9TH ST
CHRISTIAN ST                   S MILDRED ST                  S DARIEN ST
CHRISTIAN ST                   S 8TH ST                      S MILDRED ST
CHRISTIAN ST                   S 7TH ST                      S 8TH ST
SALTER ST                      S 7TH ST                      S 8TH ST
S 9TH ST                       CATHARINE ST                  CHRISTIAN ST
S 9TH ST                       MONTROSE ST                   MONTROSE ST
S 9TH ST                       MONTROSE ST                   HALL ST
S 9TH ST                       HALL ST                       CARPENTER ST
S 9TH ST                       CARPENTER ST                  KIMBALL ST
S 10TH ST                      CATHARINE ST                  CHRISTIAN ST
S 10TH ST                      CHRISTIAN ST                  SALTER ST
S 10TH ST                      HALL ST                       CARPENTER ST
S 10TH ST                      CARPENTER ST                  KIMBALL ST
S DELHI ST                     CATHARINE ST                  CHRISTIAN ST
S HUTCHINSON ST                CATHARINE ST                  CHRISTIAN ST
S PERCY ST                     CATHARINE ST                  CHRISTIAN ST
S DELHI ST                     CHRISTIAN ST                  MONTROSE ST
CHRISTIAN ST                   S ALDER ST                    S WARNOCK ST
CHRISTIAN ST                   S 10TH ST                     S ALDER ST
CHRISTIAN ST                   S DELHI ST                    S 10TH ST
CHRISTIAN ST                   S HUTCHINSON ST               S DELHI ST
CHRISTIAN ST                   S PERCY ST                    S HUTCHINSON ST
CHRISTIAN ST                   S 9TH ST                      S PERCY ST
CATHARINE ST                   S JESSUP ST                   S MARVINE ST
CATHARINE ST                   S 11TH ST                     S JESSUP ST
CATHARINE ST                   S CLIFTON ST                  S 11TH ST
CATHARINE ST                   S WARNOCK ST                  S CLIFTON ST
CATHARINE ST                   S 10TH ST                     S WARNOCK ST
CHRISTIAN ST                   S 11TH ST                     S 12TH ST
CHRISTIAN ST                   S WARNOCK ST                  S 11TH ST
S WARNOCK ST                   CATHARINE ST                  CHRISTIAN ST
S CLIFTON ST                   CATHARINE ST                  DEAD END SOUTH
WEBSTER ST                     S 12TH ST                     S 13TH ST
WEBSTER ST                     S 11TH ST                     S 12TH ST
CATHARINE ST                   S SARTAIN ST                  S 12TH ST
CATHARINE ST                   S MARVINE ST                  S SARTAIN ST
WEBSTER ST                     S 13TH ST                     S BROAD ST
CHRISTIAN ST                   S 13TH ST                     S BROAD ST
CHRISTIAN ST                   S 12TH ST                     S 13TH ST
S 13TH ST                      WEBSTER ST                    CHRISTIAN ST
S 13TH ST                      CHRISTIAN ST                  MONTROSE ST
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CARPENTER ST                    S 12TH ST                     S 13TH ST
CARPENTER ST                    S 11TH ST                     S 12TH ST
S 13TH ST                       MONTROSE ST                   CARPENTER ST
S 13TH ST                       CARPENTER ST                  KIMBALL ST
S 13TH ST                       KIMBALL ST                    WASHINGTON AVE
MONTROSE ST                     S 12TH ST                     S 13TH ST
KIMBALL ST                      S 12TH ST                     S 13TH ST
MONTROSE ST                     S SARTAIN ST                  S 12TH ST
MONTROSE ST                     S JESSUP ST                   S SARTAIN ST
S SARTAIN ST                    MONTROSE ST                   HALL ST
MONTROSE ST                     S 11TH ST                     S JESSUP ST
S JESSUP ST                     MONTROSE ST                   HALL ST
HALL ST                         S JESSUP ST                   S SARTAIN ST
KIMBALL ST                      S 11TH ST                     S 12TH ST
KIMBALL ST                      S 10TH ST                     S 11TH ST
CARPENTER ST                    S CLIFTON ST                  S 11TH ST
CARPENTER ST                    S 10TH ST                     S CLIFTON ST
CARPENTER ST                    S 9TH ST                      S 10TH ST
S 10TH ST                       KIMBALL ST                    KIMBALL ST
S 10TH ST                       KIMBALL ST                    LEAGUE ST
KIMBALL ST                      S 9TH ST                      S 10TH ST
MONTROSE ST                     S CLIFTON ST                  S 11TH ST
S ALDER ST                      CHRISTIAN ST                  SALTER ST
SALTER ST                       S ALDER ST                    S CLIFTON ST
S CLIFTON ST                    SALTER ST                     MONTROSE ST
SALTER ST                       S 10TH ST                     S ALDER ST
S CLIFTON ST                    MONTROSE ST                   HALL ST
HALL ST                         S 10TH ST                     S CLIFTON ST
S CLIFTON ST                    HALL ST                       CARPENTER ST
S 10TH ST                       SALTER ST                     MONTROSE ST
S 10TH ST                       MONTROSE ST                   MONTROSE ST
MONTROSE ST                     S DELHI ST                    S 10TH ST
S 10TH ST                       MONTROSE ST                   HALL ST
S 10TH ST                       HALL ST                       HALL ST
HALL ST                         S 9TH ST                      S 10TH ST
MONTROSE ST                     S CLIFTON ST                  S CLIFTON ST
MONTROSE ST                     S 10TH ST                     S CLIFTON ST
MONTROSE ST                     S 8TH ST                      DARIEN WAY
MONTROSE ST                     S BEULAH ST                   S 8TH ST
S 8TH ST                        CARPENTER ST                  KIMBALL ST
S 8TH ST                        KIMBALL ST                    KIMBALL ST
CARPENTER ST                    S 8TH ST                      S 9TH ST
MONTROSE ST                     S 7TH ST                      S BEULAH ST
MONTROSE ST                     S 6TH ST                      E PASSYUNK AVE
MONTROSE ST                     S FAIRHILL ST                 S 6TH ST
S BEULAH ST                     MONTROSE ST                   CARPENTER ST
CARPENTER ST                    E PASSYUNK AVE                S BEULAH ST
CARPENTER ST                    S 6TH ST                      E PASSYUNK AVE
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CARPENTER ST                  S FAIRHILL ST                 S 6TH ST
KIMBALL ST                    S 8TH ST                      S 9TH ST
KIMBALL ST                    E PASSYUNK AVE                S 8TH ST
KIMBALL ST                    S 6TH ST                      S 7TH ST
LEAGUE ST                     S 8TH ST                      S 9TH ST
S 8TH ST                      LEAGUE ST                     WASHINGTON AVE
S 8TH ST                      KIMBALL ST                    LEAGUE ST
S 8TH ST                      LEAGUE ST                     LEAGUE ST
LEAGUE ST                     E PASSYUNK AVE                S 8TH ST
E PASSYUNK AVE                CARPENTER ST                  KIMBALL ST
E PASSYUNK AVE                KIMBALL ST                    LEAGUE ST
E PASSYUNK AVE                LEAGUE ST                     WASHINGTON AVE
LEAGUE ST                     S 6TH ST                      S 7TH ST
S FAIRHILL ST                 CARPENTER ST                  LEAGUE ST
CARPENTER ST                  S REESE ST                    S RANDOLPH ST
CARPENTER ST                  S 5TH ST                      S REESE ST
CARPENTER ST                  S RANDOLPH ST                 S FAIRHILL ST
S FAIRHILL ST                 MONTROSE ST                   CARPENTER ST
LEAGUE ST                     S FAIRHILL ST                 S 6TH ST
S REESE ST                    CARPENTER ST                  LEAGUE ST
LEAGUE ST                     S REESE ST                    S RANDOLPH ST
S RANDOLPH ST                 CARPENTER ST                  LEAGUE ST
S RANDOLPH ST                 LEAGUE ST                     WASHINGTON AVE
WASHINGTON AVE                E MOYAMENSING AVE             S 3RD ST
S BODINE ST                   MONTROSE ST                   HALL ST
S BODINE ST                   HALL ST                       CARPENTER ST
MONTROSE ST                   S BODINE ST                   S 3RD ST
MONTROSE ST                   S BODINE ST                   S BODINE ST
MONTROSE ST                   E MOYAMENSING AVE             S BODINE ST
HALL ST                       E MOYAMENSING AVE             S BODINE ST
CARPENTER ST                  S BODINE ST                   S 3RD ST
CARPENTER ST                  S 2ND ST                      E MOYAMENSING AVE
E MOYAMENSING AVE             HALL ST                       CARPENTER ST
CARPENTER ST                  S AMERICAN ST                 S BODINE ST
S 2ND ST                      CARPENTER ST                  LEAGUE ST
WASHINGTON AVE                ALTER ST                      E MOYAMENSING AVE
S 2ND ST                      ALTER ST                      ELLSWORTH ST
S 2ND ST                      ELLSWORTH ST                  FEDERAL ST
FEDERAL ST                    S 2ND ST                      E MOYAMENSING AVE
S 3RD ST                      WASHINGTON AVE                ELLSWORTH ST
S 3RD ST                      ELLSWORTH ST                  FEDERAL ST
S 3RD ST                      FEDERAL ST                    MANTON ST
S 3RD ST                      MANTON ST                     TITAN ST
S 3RD ST                      TITAN ST                      WHARTON ST
E MOYAMENSING AVE             WASHINGTON AVE                ELLSWORTH ST
E MOYAMENSING AVE             ELLSWORTH ST                  FEDERAL ST
E MOYAMENSING AVE             FEDERAL ST                    MANTON ST
E MOYAMENSING AVE             MANTON ST                     WHARTON ST
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ELLSWORTH ST                     S BODINE ST                   S 3RD ST
ELLSWORTH ST                     E MOYAMENSING AVE             S BODINE ST
S BODINE ST                      ELLSWORTH ST                  FEDERAL ST
FEDERAL ST                       S BODINE ST                   S 3RD ST
FEDERAL ST                       E MOYAMENSING AVE             S BODINE ST
S 4TH ST                         TITAN ST                      WHARTON ST
S 4TH ST                         FEDERAL ST                    MANTON ST
S RANDOLPH ST                    WASHINGTON AVE                ELLSWORTH ST
S RANDOLPH ST                    ELLSWORTH ST                  FEDERAL ST
FEDERAL ST                       S MARSHALL ST                 S MARSHALL ST
FEDERAL ST                       S 6TH ST                      S MARSHALL ST
FEDERAL ST                       S RANDOLPH ST                 S 6TH ST
FEDERAL ST                       S 5TH ST                      S RANDOLPH ST
MANTON ST                        S 5TH ST                      S 6TH ST
TITAN ST                         S 5TH ST                      S 6TH ST
MANTON ST                        S 4TH ST                      S 5TH ST
MANTON ST                        S 3RD ST                      S 4TH ST
S 4TH ST                         MANTON ST                     TITAN ST
S 4TH ST                         TITAN ST                      TITAN ST
TITAN ST                         S 3RD ST                      S 4TH ST
ANNIN ST                         S 7TH ST                      S 8TH ST
S MARSHALL ST                    ANNIN ST                      FEDERAL ST
FEDERAL ST                       S 7TH ST                      S 8TH ST
FEDERAL ST                       S MARSHALL ST                 S 7TH ST
S 7TH ST                         ALTER ST                      ELLSWORTH ST
S 7TH ST                         ELLSWORTH ST                  ANNIN ST
S 7TH ST                         ANNIN ST                      FEDERAL ST
S 7TH ST                         FEDERAL ST                    MANTON ST
S 7TH ST                         MANTON ST                     MANTON ST
S 7TH ST                         MANTON ST                     LATONA ST
S 7TH ST                         LATONA ST                     WHARTON ST
S 7TH ST                         SEARS ST                      MEDINA ST
MANTON ST                        S 7TH ST                      S 8TH ST
LATONA ST                        S 7TH ST                      S 8TH ST
S SHERIDAN ST                    MANTON ST                     WHARTON ST
MANTON ST                        S SHERIDAN ST                 S 7TH ST
S 7TH ST                         WASHINGTON AVE                ALTER ST
S DARIEN ST                      WASHINGTON AVE                ALTER ST
ALTER ST                         S 8TH ST                      S DARIEN ST
S DARIEN ST                      ALTER ST                      DEAD END SOUTH
S FRANKLIN ST                    WASHINGTON AVE                ALTER ST
ALTER ST                         S 7TH ST                      S FRANKLIN ST
S DARIEN ST                      ELLSWORTH ST                  FEDERAL ST
S 8TH ST                         WASHINGTON AVE                ALTER ST
S 8TH ST                         ALTER ST                      E PASSYUNK AVE
S 8TH ST                         E PASSYUNK AVE                ANNIN ST
S 8TH ST                         ANNIN ST                      FEDERAL ST
S 8TH ST                         FEDERAL ST                    MANTON ST
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ELLSWORTH ST                    S 9TH ST                      S DELHI ST
ELLSWORTH ST                    S DARIEN ST                   S 9TH ST
ELLSWORTH ST                    E PASSYUNK AVE                S DARIEN ST
S 9TH ST                        KIMBALL ST                    LEAGUE ST
S 9TH ST                        LEAGUE ST                     WASHINGTON AVE
S 9TH ST                        WASHINGTON AVE                ELLSWORTH ST
S 9TH ST                        ELLSWORTH ST                  ERNST ST
LEAGUE ST                       S 9TH ST                      S 10TH ST
S 10TH ST                       LEAGUE ST                     WASHINGTON AVE
S 10TH ST                       WASHINGTON AVE                ELLSWORTH ST
S 10TH ST                       ELLSWORTH ST                  ANNIN ST
ELLSWORTH ST                    S DELHI ST                    S 10TH ST
S CLIFTON ST                    WASHINGTON AVE                ELLSWORTH ST
ELLSWORTH ST                    S CLIFTON ST                  S 11TH ST
ELLSWORTH ST                    S ALDER ST                    S CLIFTON ST
ELLSWORTH ST                    S 10TH ST                     S ALDER ST
S ALDER ST                      WASHINGTON AVE                ELLSWORTH ST
S 11TH ST                       WASHINGTON AVE                ELLSWORTH ST
S 11TH ST                       ELLSWORTH ST                  ANNIN ST
ELLSWORTH ST                    S 12TH ST                     S 13TH ST
S 12TH ST                       WASHINGTON AVE                ALTER ST
S 12TH ST                       ALTER ST                      PETERS ST
S 12TH ST                       PETERS ST                     ELLSWORTH ST
S 12TH ST                       ELLSWORTH ST                  ANNIN ST
S 12TH ST                       ANNIN ST                      FEDERAL ST
S 13TH ST                       WASHINGTON AVE                ALTER ST
S 13TH ST                       ALTER ST                      ELLSWORTH ST
S 13TH ST                       ELLSWORTH ST                  ANNIN ST
ALTER ST                        S 13TH ST                     S BROAD ST
ELLSWORTH ST                    S WATTS ST                    S BROAD ST
ELLSWORTH ST                    S 13TH ST                     S WATTS ST
S WATTS ST                      ELLSWORTH ST                  ANNIN ST
FEDERAL ST                      S JUNIPER ST                  S BROAD ST
FEDERAL ST                      S CLARION ST                  S JUNIPER ST
FEDERAL ST                      S 13TH ST                     S CLARION ST
FEDERAL ST                      S 12TH ST                     S 13TH ST
S JUNIPER ST                    DEAD END NORTH                FEDERAL ST
S JUNIPER ST                    FEDERAL ST                    DEAD END SOUTH
LATONA ST                       S CLARION ST                  S JUNIPER ST
S JUNIPER ST                    LATONA ST                     WHARTON ST
ANNIN ST                        S 11TH ST                     S 12TH ST
ANNIN ST                        S 10TH ST                     S 11TH ST
S 13TH ST                       FEDERAL ST                    LATONA ST
S 13TH ST                       LATONA ST                     WHARTON ST
S 12TH ST                       FEDERAL ST                    LATONA ST
S 12TH ST                       LATONA ST                     LATONA ST
S 12TH ST                       LATONA ST                     TITAN ST
S 12TH ST                       TITAN ST                      TITAN ST
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LATONA ST                       S 11TH ST                     S 12TH ST
S 11TH ST                       ANNIN ST                      FEDERAL ST
S 11TH ST                       FEDERAL ST                    LATONA ST
S 11TH ST                       LATONA ST                     LATONA ST
S 11TH ST                       LATONA ST                     TITAN ST
FEDERAL ST                      S ALDER ST                    S 11TH ST
FEDERAL ST                      S 10TH ST                     S ALDER ST
FEDERAL ST                      S 9TH ST                      S 10TH ST
S DELHI ST                      ELLSWORTH ST                  ERNST ST
ERNST ST                        S 9TH ST                      S DELHI ST
S 10TH ST                       FEDERAL ST                    WHARTON ST
S 10TH ST                       ANNIN ST                      ANNIN ST
S 10TH ST                       ANNIN ST                      FEDERAL ST
ANNIN ST                        S 9TH ST                      S 10TH ST
S ALDER ST                      FEDERAL ST                    LATONA ST
S WARNOCK ST                    DEAD END NORTH                WHARTON ST
S ALDER ST                      LATONA ST                     WHARTON ST
FEDERAL ST                      S DARIEN ST                   S 9TH ST
FEDERAL ST                      E PASSYUNK AVE                S DARIEN ST
FEDERAL ST                      S 8TH ST                      E PASSYUNK AVE
S 9TH ST                        ERNST ST                      ANNIN ST
S 9TH ST                        ANNIN ST                      FEDERAL ST
S 9TH ST                        FEDERAL ST                    E PASSYUNK AVE
S 9TH ST                        E PASSYUNK AVE                WHARTON ST
LATONA ST                       S MILDRED ST                  E PASSYUNK AVE
LATONA ST                       S 8TH ST                      S MILDRED ST
S 8TH ST                        MANTON ST                     LATONA ST
S 8TH ST                        LATONA ST                     LATONA ST
S 8TH ST                        LATONA ST                     WHARTON ST
S 8TH ST                        WHARTON ST                    MEDINA ST
WHARTON ST                      E PASSYUNK AVE                S 10TH ST
WHARTON ST                      S 9TH ST                      E PASSYUNK AVE
WHARTON ST                      S 8TH ST                      S 9TH ST
WHARTON ST                      S 7TH ST                      S 8TH ST
WHARTON ST                      S SHERIDAN ST                 S 7TH ST
WHARTON ST                      S 6TH ST                      S MARSHALL ST
WHARTON ST                      S FAIRHILL ST                 S 6TH ST
WHARTON ST                      S REESE ST                    S FAIRHILL ST
WHARTON ST                      S 5TH ST                      S REESE ST
WHARTON ST                      S 3RD ST                      S 4TH ST
WHARTON ST                      E MOYAMENSING AVE             S 3RD ST
MANTON ST                       S AMERICAN ST                 E MOYAMENSING AVE
MANTON ST                       S PHILIP ST                   S AMERICAN ST
MANTON ST                       S 2ND ST                      S PHILIP ST
MANTON ST                       S HANCOCK ST                  S 2ND ST
MANTON ST                       S HOWARD ST                   S HANCOCK ST
S 2ND ST                        FEDERAL ST                    MANTON ST
S 2ND ST                        MANTON ST                     WHARTON ST
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S 2ND ST                      WHARTON ST                    EARP ST
S AMERICAN ST                 MANTON ST                     TITAN ST
S PHILIP ST                   MANTON ST                     TITAN ST
TITAN ST                      S PHILIP ST                   S AMERICAN ST
S HANCOCK ST                  MANTON ST                     TITAN ST
S HOWARD ST                   MANTON ST                     TITAN ST
TITAN ST                      S HOWARD ST                   S HANCOCK ST
S AMERICAN ST                 TITAN ST                      WHARTON ST
S PHILIP ST                   TITAN ST                      WHARTON ST
S HANCOCK ST                  TITAN ST                      WHARTON ST
S HOWARD ST                   TITAN ST                      WHARTON ST
WHARTON ST                    S AMERICAN ST                 E MOYAMENSING AVE
WHARTON ST                    S PHILIP ST                   S AMERICAN ST
WHARTON ST                    S 2ND ST                      S PHILIP ST
WHARTON ST                    S HANCOCK ST                  S 2ND ST
WHARTON ST                    S HOWARD ST                   S HANCOCK ST
S HANCOCK ST                  WHARTON ST                    SEARS ST
SEARS ST                      S HOWARD ST                   S HANCOCK ST
S HANCOCK ST                  SEARS ST                      EARP ST
EARP ST                       S HOWARD ST                   S HANCOCK ST
S HANCOCK ST                  EARP ST                       REED ST
S HANCOCK ST                  REED ST                       DEAD END SOUTH
S HOWARD ST                   REED ST                       DICKINSON ST
S HOWARD ST                   WHARTON ST                    SEARS ST
S HOWARD ST                   SEARS ST                      EARP ST
S HOWARD ST                   EARP ST                       REED ST
REED ST                       S PHILIP ST                   E MOYAMENSING AVE
REED ST                       S 2ND ST                      S PHILIP ST
REED ST                       S HANCOCK ST                  S 2ND ST
REED ST                       S HOWARD ST                   S HANCOCK ST
E MOYAMENSING AVE             WHARTON ST                    EARP ST
E MOYAMENSING AVE             EARP ST                       REED ST
S AMERICAN ST                 WHARTON ST                    SEARS ST
S PHILIP ST                   WHARTON ST                    SEARS ST
SEARS ST                      S PHILIP ST                   S AMERICAN ST
S AMERICAN ST                 SEARS ST                      EARP ST
S PHILIP ST                   SEARS ST                      EARP ST
EARP ST                       S PHILIP ST                   S AMERICAN ST
S 2ND ST                      EARP ST                       REED ST
S 2ND ST                      REED ST                       WILDER ST
S 3RD ST                      WHARTON ST                    SEARS ST
S 3RD ST                      SEARS ST                      EARP ST
S 3RD ST                      EARP ST                       REED ST
SEARS ST                      S 3RD ST                      S ORIANNA ST
S ORIANNA ST                  EARP ST                       SEARS ST
EARP ST                       S ORIANNA ST                  S 4TH ST
EARP ST                       S 3RD ST                      S ORIANNA ST
S 4TH ST                      WHARTON ST                    EARP ST
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S 4TH ST                         EARP ST                       REED ST
S 4TH ST                         REED ST                       GERRITT ST
EARP ST                          S LAWRENCE ST                 S 5TH ST
EARP ST                          S LEITHGOW ST                 S LAWRENCE ST
S LAWRENCE ST                    EARP ST                       REED ST
S LEITHGOW ST                    EARP ST                       REED ST
REED ST                          S REESE ST                    S FAIRHILL ST
REED ST                          S 5TH ST                      S REESE ST
REED ST                          S LAWRENCE ST                 S 5TH ST
REED ST                          S LEITHGOW ST                 S LAWRENCE ST
REED ST                          S 4TH ST                      S LEITHGOW ST
REED ST                          S 3RD ST                      S 4TH ST
S REESE ST                       WHARTON ST                    REED ST
S FAIRHILL ST                    WHARTON ST                    REED ST
REED ST                          S 6TH ST                      S 7TH ST
REED ST                          S FAIRHILL ST                 S 6TH ST
WHARTON ST                       S MARSHALL ST                 S SHERIDAN ST
SEARS ST                         S 6TH ST                      S 7TH ST
MEDINA ST                        S 7TH ST                      S 8TH ST
EARP ST                          S 7TH ST                      S 8TH ST
S 7TH ST                         EARP ST                       REED ST
S 7TH ST                         REED ST                       GERRITT ST
S 7TH ST                         WHARTON ST                    SEARS ST
S 7TH ST                         SEARS ST                      SEARS ST
SEARS ST                         S 7TH ST                      MEDINA ST
S 7TH ST                         MEDINA ST                     EARP ST
EARP ST                          S 6TH ST                      S 7TH ST
S 8TH ST                         MEDINA ST                     SEARS ST
S 8TH ST                         SEARS ST                      EARP ST
S 8TH ST                         EARP ST                       EARP ST
S 8TH ST                         EARP ST                       REED ST
S 8TH ST                         REED ST                       WILDER ST
REED ST                          S MILDRED ST                  S DARIEN ST
REED ST                          S 8TH ST                      S MILDRED ST
REED ST                          S FRANKLIN ST                 S 8TH ST
REED ST                          S BEULAH ST                   S FRANKLIN ST
REED ST                          S 7TH ST                      S BEULAH ST
REED ST                          S 9TH ST                      S PERCY ST
REED ST                          S DARIEN ST                   S 9TH ST
S 9TH ST                         WHARTON ST                    SEARS ST
S 9TH ST                         S PERCY ST                    EARP ST
S 9TH ST                         EARP ST                       REED ST
S 9TH ST                         REED ST                       WILDER ST
S 9TH ST                         WILDER ST                     DICKINSON ST
S 9TH ST                         DICKINSON ST                  GREENWICH ST
SEARS ST                         S 8TH ST                      S PERCY ST
EARP ST                          S 8TH ST                      S 9TH ST
REED ST                          S PERCY ST                    S PERCY ST
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REED ST                         S PERCY ST                    E PASSYUNK AVE
S PERCY ST                      REED ST                       WILDER ST
S DARIEN ST                     REED ST                       DEAD END SOUTH
WILDER ST                       S PERCY ST                    S 10TH ST
WILDER ST                       S 9TH ST                      S PERCY ST
S 10TH ST                       REED ST                       E PASSYUNK AVE
S 10TH ST                       E PASSYUNK AVE                WILDER ST
S 10TH ST                       WILDER ST                     DICKINSON ST
S 10TH ST                       DICKINSON ST                  GREENWICH ST
WHARTON ST                      S 11TH ST                     S 12TH ST
WHARTON ST                      S WARNOCK ST                  S 11TH ST
WHARTON ST                      S ALDER ST                    S WARNOCK ST
WHARTON ST                      S 10TH ST                     S ALDER ST
S 11TH ST                       TITAN ST                      WHARTON ST
S 11TH ST                       WHARTON ST                    REED ST
REED ST                         S WARNOCK ST                  S 11TH ST
REED ST                         S ALDER ST                    S WARNOCK ST
REED ST                         E PASSYUNK AVE                S 10TH ST
REED ST                         S 10TH ST                     S ALDER ST
S 10TH ST                       WHARTON ST                    REED ST
GERRITT ST                      DICKINSON ST                  S 12TH ST
DICKINSON ST                    S WATTS ST                    S BROAD ST
DICKINSON ST                    S JUNIPER ST                  S WATTS ST
DICKINSON ST                    S CLARION ST                  S JUNIPER ST
DICKINSON ST                    S 13TH ST                     S CLARION ST
DICKINSON ST                    S ISEMINGER ST                S 13TH ST
DICKINSON ST                    CROSS ST                      S 12TH ST
DICKINSON ST                    GREENWICH ST                  CROSS ST
DICKINSON ST                    GERRITT ST                    GREENWICH ST
DICKINSON ST                    E PASSYUNK AVE                GERRITT ST
DICKINSON ST                    S 10TH ST                     E PASSYUNK AVE
DICKINSON ST                    S 9TH ST                      S 10TH ST
WILDER ST                       GREENWICH ST                  S 12TH ST
S 12TH ST                       TITAN ST                      WHARTON ST
S 12TH ST                       WHARTON ST                    REED ST
S 12TH ST                       REED ST                       GERRITT ST
S 12TH ST                       GERRITT ST                    GERRITT ST
S 12TH ST                       GERRITT ST                    WILDER ST
S 12TH ST                       WILDER ST                     WILDER ST
S 12TH ST                       WILDER ST                     DICKINSON ST
S 12TH ST                       DICKINSON ST                  LINN ST
S 12TH ST                       LINN ST                       TASKER ST
S WARNOCK ST                    WHARTON ST                    REED ST
S ALDER ST                      WHARTON ST                    REED ST
WHARTON ST                      S JUNIPER ST                  S JUNIPER ST
WHARTON ST                      S CLARION ST                  S JUNIPER ST
WHARTON ST                      S 13TH ST                     S CLARION ST
TITAN ST                        S 11TH ST                     S 12TH ST
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REED ST                           S JUNIPER ST                  S WATTS ST
REED ST                           S CLARION ST                  S JUNIPER ST
REED ST                           S 13TH ST                     S CLARION ST
REED ST                           S 12TH ST                     S 13TH ST
GERRITT ST                        S 12TH ST                     S 13TH ST
WILDER ST                         S 12TH ST                     S 13TH ST
S 13TH ST                         WHARTON ST                    REED ST
S 13TH ST                         REED ST                       GERRITT ST
S 13TH ST                         GERRITT ST                    WILDER ST
S 13TH ST                         WILDER ST                     DICKINSON ST
S 13TH ST                         DICKINSON ST                  TASKER ST
S CLARION ST                      WHARTON ST                    REED ST
S CLARION ST                      REED ST                       DICKINSON ST
S WATTS ST                        REED ST                       DICKINSON ST
S JUNIPER ST                      WHARTON ST                    REED ST
S JUNIPER ST                      REED ST                       DICKINSON ST
GREENWICH ST                      E PASSYUNK AVE                DICKINSON ST
CROSS ST                          E PASSYUNK AVE                DICKINSON ST
LINN ST                           E PASSYUNK AVE                S 12TH ST
S CAMAC ST                        DEAD END NORTH                TASKER ST
S ISEMINGER ST                    DICKINSON ST                  TASKER ST
S ISEMINGER ST                    TASKER ST                     MORRIS ST
S CLARION ST                      DICKINSON ST                  TASKER ST
S CLARION ST                      TASKER ST                     MORRIS ST
S JUNIPER ST                      DICKINSON ST                  TASKER ST
S JUNIPER ST                      TASKER ST                     MORRIS ST
S WATTS ST                        DICKINSON ST                  TASKER ST
S 12TH ST                         TASKER ST                     E PASSYUNK AVE
S CAMAC ST                        TASKER ST                     MORRIS ST
S 13TH ST                         TASKER ST                     MORRIS ST
S WATTS ST                        TASKER ST                     MORRIS ST
S WATTS ST                        MORRIS ST                     CASTLE AVE
CROSS ST                          S 10TH ST                     E PASSYUNK AVE
GERRITT ST                        S 6TH ST                      S 7TH ST
GERRITT ST                        S 5TH ST                      S 6TH ST
WILDER ST                         S 6TH ST                      S 7TH ST
WILDER ST                         S 5TH ST                      S 6TH ST
DICKINSON ST                      S 8TH ST                      S 9TH ST
DICKINSON ST                      S 7TH ST                      S BEULAH ST
DICKINSON ST                      S MARSHALL ST                 S 7TH ST
DICKINSON ST                      S 6TH ST                      S MARSHALL ST
DICKINSON ST                      S 5TH ST                      S 6TH ST
S 8TH ST                          WILDER ST                     DICKINSON ST
S 8TH ST                          DICKINSON ST                  GREENWICH ST
S 8TH ST                          GREENWICH ST                  CROSS ST
S 8TH ST                          CROSS ST                      TASKER ST
S BEULAH ST                       DICKINSON ST                  TASKER ST
S 7TH ST                          GERRITT ST                    WILDER ST
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S 7TH ST                      WILDER ST                     DICKINSON ST
S 7TH ST                      DICKINSON ST                  GREENWICH ST
S 7TH ST                      GREENWICH ST                  CROSS ST
S FRANKLIN ST                 DICKINSON ST                  TASKER ST
S 9TH ST                      GREENWICH ST                  CROSS ST
S 9TH ST                      CROSS ST                      TASKER ST
S 9TH ST                      TASKER ST                     FERNON ST
S 9TH ST                      FERNON ST                     MOUNTAIN ST
S 8TH ST                      TASKER ST                     FERNON ST
S 7TH ST                      CROSS ST                      TASKER ST
S 7TH ST                      TASKER ST                     FERNON ST
S MARSHALL ST                 DICKINSON ST                  GREENWICH ST
S MARSHALL ST                 GREENWICH ST                  CROSS ST
CROSS ST                      S MARSHALL ST                 S 7TH ST
S MARSHALL ST                 CROSS ST                      TASKER ST
CROSS ST                      S 8TH ST                      S 9TH ST
CROSS ST                      S 9TH ST                      S 10TH ST
S 10TH ST                     GREENWICH ST                  CROSS ST
S 10TH ST                     CROSS ST                      TASKER ST
S 10TH ST                     TASKER ST                     FERNON ST
S 10TH ST                     FERNON ST                     MOUNTAIN ST
S 10TH ST                     MOUNTAIN ST                   MORRIS ST
S 8TH ST                      FERNON ST                     MOUNTAIN ST
GREENWICH ST                  S 10TH ST                     E PASSYUNK AVE
GREENWICH ST                  S 9TH ST                      S 10TH ST
GREENWICH ST                  S 8TH ST                      S 9TH ST
S 4TH ST                      DICKINSON ST                  GREENWICH ST
S 4TH ST                      GREENWICH ST                  CROSS ST
S 4TH ST                      CROSS ST                      TASKER ST
S 4TH ST                      TASKER ST                     MORRIS ST
CROSS ST                      S 5TH ST                      S 6TH ST
CROSS ST                      S 4TH ST                      S 5TH ST
CROSS ST                      E MOYAMENSING AVE             S 4TH ST
GREENWICH ST                  S 5TH ST                      S 6TH ST
GREENWICH ST                  S 4TH ST                      S 5TH ST
GREENWICH ST                  E MOYAMENSING AVE             S 4TH ST
DICKINSON ST                  S 4TH ST                      S 5TH ST
GERRITT ST                    E MOYAMENSING AVE             S ORIANNA ST
GERRITT ST                    S ORIANNA ST                  S 4TH ST
S ORIANNA ST                  GERRITT ST                    WILDER ST
GERRITT ST                    S PHILIP ST                   E MOYAMENSING AVE
S PHILIP ST                   REED ST                       GERRITT ST
DICKINSON ST                  S FRONT ST                    S HOWARD ST
S 2ND ST                      WILDER ST                     DICKINSON ST
S 2ND ST                      DICKINSON ST                  GREENWICH ST
E MOYAMENSING AVE             GERRITT ST                    S 3RD ST
E MOYAMENSING AVE             WILDER ST                     DICKINSON ST
E MOYAMENSING AVE             DICKINSON ST                  GREENWICH ST
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E MOYAMENSING AVE             GREENWICH ST                  CROSS ST
E MOYAMENSING AVE             CROSS ST                      TASKER ST
GREENWICH ST                  S 2ND ST                      E MOYAMENSING AVE
DICKINSON ST                  E MOYAMENSING AVE             S 4TH ST
DICKINSON ST                  S 2ND ST                      E MOYAMENSING AVE
S 2ND ST                      GREENWICH ST                  TASKER ST
S 2ND ST                      TASKER ST                     FERNON ST
S 2ND ST                      FERNON ST                     MOUNTAIN ST
S 2ND ST                      MOUNTAIN ST                   MORRIS ST
MOUNTAIN ST                   S 2ND ST                      E MOYAMENSING AVE
FERNON ST                     S HANCOCK ST                  S 2ND ST
S HANCOCK ST                  FERNON ST                     MOUNTAIN ST
E MOYAMENSING AVE             TASKER ST                     FERNON ST
E MOYAMENSING AVE             FERNON ST                     MOUNTAIN ST
E MOYAMENSING AVE             MOUNTAIN ST                   MORRIS ST
E MOYAMENSING AVE             MORRIS ST                     WATKINS ST
S LAWRENCE ST                 TASKER ST                     MORRIS ST
S ORKNEY ST                   TASKER ST                     MORRIS ST
S 4TH ST                      MORRIS ST                     WATKINS ST
S 4TH ST                      WATKINS ST                    PIERCE ST
FERNON ST                     S 5TH ST                      S 6TH ST
MOUNTAIN ST                   S 5TH ST                      S 6TH ST
FERNON ST                     S 6TH ST                      S 7TH ST
MOUNTAIN ST                   S 6TH ST                      S 7TH ST
S FRANKLIN ST                 TASKER ST                     MOUNTAIN ST
MOUNTAIN ST                   S 8TH ST                      S 9TH ST
MOUNTAIN ST                   S FRANKLIN ST                 S 8TH ST
MOUNTAIN ST                   S BEULAH ST                   S FRANKLIN ST
FERNON ST                     S 8TH ST                      S 9TH ST
S BEULAH ST                   TASKER ST                     MOUNTAIN ST
S 7TH ST                      FERNON ST                     MOUNTAIN ST
S 7TH ST                      MOUNTAIN ST                   MORRIS ST
S 7TH ST                      MORRIS ST                     WATKINS ST
S 8TH ST                      MOUNTAIN ST                   MORRIS ST
S 8TH ST                      MORRIS ST                     WATKINS ST
S 8TH ST                      WATKINS ST                    PIERCE ST
S 8TH ST                      PIERCE ST                     MOORE ST
S ORIANNA ST                  MORRIS ST                     MOORE ST
WATKINS ST                    S 4TH ST                      S 5TH ST
PIERCE ST                     S 5TH ST                      S 6TH ST
PIERCE ST                     S 4TH ST                      S 5TH ST
S 2ND ST                      MORRIS ST                     WATKINS ST
S 2ND ST                      WATKINS ST                    PIERCE ST
S 2ND ST                      PIERCE ST                     MOORE ST
S 2ND ST                      MOORE ST                      MC CLELLAN ST
S 2ND ST                      MC CLELLAN ST                 SIGEL ST
WATKINS ST                    S FRONT ST                    S 2ND ST
PIERCE ST                     S PHILIP ST                   E MOYAMENSING AVE
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E MOYAMENSING AVE             WATKINS ST                    PIERCE ST
E MOYAMENSING AVE             PIERCE ST                     MOORE ST
E MOYAMENSING AVE             MOORE ST                      MC CLELLAN ST
E MOYAMENSING AVE             MC CLELLAN ST                 SIGEL ST
MOORE ST                      S ORIANNA ST                  S 4TH ST
MOORE ST                      E MOYAMENSING AVE             S ORIANNA ST
MOORE ST                      S PHILIP ST                   E MOYAMENSING AVE
MOORE ST                      S 2ND ST                      S PHILIP ST
MOORE ST                      S HOWARD ST                   S 2ND ST
S ORIANNA ST                  MOORE ST                      DEAD END SOUTH
E MOYAMENSING AVE             SIGEL ST                      SIGEL ST
E MOYAMENSING AVE             SIGEL ST                      MIFFLIN ST
E MOYAMENSING AVE             MIFFLIN ST                    MC KEAN ST
SIGEL ST                      S 2ND ST                      E MOYAMENSING AVE
MC CLELLAN ST                 S 2ND ST                      E MOYAMENSING AVE
MOORE ST                      S 5TH ST                      S 6TH ST
MOORE ST                      S 4TH ST                      S 5TH ST
MC CLELLAN ST                 S 4TH ST                      S 5TH ST
SIGEL ST                      S 4TH ST                      S 5TH ST
S 4TH ST                      MC CLELLAN ST                 SIGEL ST
S 4TH ST                      SIGEL ST                      MIFFLIN ST
S 4TH ST                      MIFFLIN ST                    HOFFMAN ST
S 4TH ST                      PIERCE ST                     MOORE ST
S 4TH ST                      MOORE ST                      MC CLELLAN ST
LITTLE SIGEL ST               DEAD END EAST                 S 5TH ST
MC CLELLAN ST                 S 5TH ST                      S 6TH ST
SIGEL ST                      S 5TH ST                      S 6TH ST
SIGEL ST                      S 6TH ST                      S 7TH ST
WATKINS ST                    S 6TH ST                      S 7TH ST
WATKINS ST                    S 5TH ST                      S 6TH ST
WATKINS ST                    S 7TH ST                      S 8TH ST
PIERCE ST                     S 6TH ST                      S 7TH ST
S 7TH ST                      WATKINS ST                    PIERCE ST
S 7TH ST                      PIERCE ST                     MOORE ST
PIERCE ST                     S 7TH ST                      S 8TH ST
MOORE ST                      S 7TH ST                      S 8TH ST
MOORE ST                      S 6TH ST                      S 7TH ST
S 9TH ST                      MOUNTAIN ST                   MORRIS ST
S 9TH ST                      MORRIS ST                     WATKINS ST
S 9TH ST                      WATKINS ST                    PIERCE ST
S 9TH ST                      PIERCE ST                     MOORE ST
S 9TH ST                      MOORE ST                      MC CLELLAN ST
S 9TH ST                      MC CLELLAN ST                 SIGEL ST
S 9TH ST                      SIGEL ST                      MIFFLIN ST
S 9TH ST                      MIFFLIN ST                    HOFFMAN ST
S 8TH ST                      MOORE ST                      MC CLELLAN ST
S 8TH ST                      MC CLELLAN ST                 SIGEL ST
S 8TH ST                      SIGEL ST                      MIFFLIN ST
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S 7TH ST                         MOORE ST                      MC CLELLAN ST
S 7TH ST                         MC CLELLAN ST                 SIGEL ST
S 7TH ST                         SIGEL ST                      MIFFLIN ST
SIGEL ST                         S 7TH ST                      S 8TH ST
SIGEL ST                         S 9TH ST                      S 10TH ST
MC CLELLAN ST                    S 6TH ST                      S 7TH ST
MC CLELLAN ST                    S 8TH ST                      S 9TH ST
MC CLELLAN ST                    S 7TH ST                      S 8TH ST
MC CLELLAN ST                    S 9TH ST                      S 10TH ST
S 10TH ST                        MORRIS ST                     WATKINS ST
S 10TH ST                        WATKINS ST                    PIERCE ST
S 10TH ST                        PIERCE ST                     MOORE ST
S 10TH ST                        MOORE ST                      MC CLELLAN ST
S 10TH ST                        MC CLELLAN ST                 SIGEL ST
S 10TH ST                        SIGEL ST                      MIFFLIN ST
WATKINS ST                       S 10TH ST                     S 11TH ST
WATKINS ST                       S 9TH ST                      S 10TH ST
WATKINS ST                       S 8TH ST                      S 9TH ST
PIERCE ST                        S 9TH ST                      S 10TH ST
PIERCE ST                        S 8TH ST                      S 9TH ST
MOORE ST                         S 9TH ST                      S 10TH ST
MOORE ST                         S 8TH ST                      S 9TH ST
S JESSUP ST                      DEAD END NORTH                MORRIS ST
S 11TH ST                        CROSS ST                      TASKER ST
S 11TH ST                        TASKER ST                     FERNON ST
S 11TH ST                        FERNON ST                     MOUNTAIN ST
S 11TH ST                        MOUNTAIN ST                   MORRIS ST
S 11TH ST                        MORRIS ST                     WATKINS ST
S 11TH ST                        WATKINS ST                    PIERCE ST
S 11TH ST                        PIERCE ST                     MOORE ST
S 11TH ST                        MOORE ST                      MC CLELLAN ST
FERNON ST                        S 10TH ST                     S 11TH ST
MOUNTAIN ST                      S 9TH ST                      S 10TH ST
MOUNTAIN ST                      S 10TH ST                     S 11TH ST
FERNON ST                        S 9TH ST                      S 10TH ST
S 12TH ST                        MORRIS ST                     WATKINS ST
S 12TH ST                        WATKINS ST                    PIERCE ST
S 12TH ST                        PIERCE ST                     MOORE ST
S 12TH ST                        MOORE ST                      MIFFLIN ST
WATKINS ST                       S 11TH ST                     S 12TH ST
PIERCE ST                        S 11TH ST                     S 12TH ST
MOORE ST                         S 13TH ST                     S JUNIPER ST
MOORE ST                         E PASSYUNK AVE                S 13TH ST
MOORE ST                         S CAMAC ST                    E PASSYUNK AVE
MOORE ST                         S 12TH ST                     S CAMAC ST
MOORE ST                         S SARTAIN ST                  S 12TH ST
MOORE ST                         S 11TH ST                     S SARTAIN ST
S 13TH ST                        MORRIS ST                     CASTLE AVE
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S 13TH ST                         CASTLE AVE                    PIERCE ST
S 13TH ST                         PIERCE ST                     MOORE ST
S 13TH ST                         MOORE ST                      MC CLELLAN ST
S 13TH ST                         MC CLELLAN ST                 E PASSYUNK AVE
S ISEMINGER ST                    MORRIS ST                     PIERCE ST
CASTLE AVE                        S 13TH ST                     S WATTS ST
CASTLE AVE                        S WATTS ST                    S BROAD ST
S WATTS ST                        DEAD END NORTH                MIFFLIN ST
MIFFLIN ST                        S WATTS ST                    S BROAD ST
MIFFLIN ST                        S JUNIPER ST                  S WATTS ST
MIFFLIN ST                        S JUNIPER ST                  S JUNIPER ST
MIFFLIN ST                        E PASSYUNK AVE                S JUNIPER ST
MIFFLIN ST                        S 13TH ST                     E PASSYUNK AVE
MIFFLIN ST                        S ISEMINGER ST                S 13TH ST
MIFFLIN ST                        S CAMAC ST                    S ISEMINGER ST
MIFFLIN ST                        S 12TH ST                     S CAMAC ST
MIFFLIN ST                        S SARTAIN ST                  S 12TH ST
MIFFLIN ST                        S JESSUP ST                   S SARTAIN ST
S 13TH ST                         E PASSYUNK AVE                MIFFLIN ST
S 13TH ST                         MIFFLIN ST                    MC KEAN ST
S JUNIPER ST                      MOORE ST                      MC CLELLAN ST
S JUNIPER ST                      MC CLELLAN ST                 SIGEL ST
S JUNIPER ST                      SIGEL ST                      MIFFLIN ST
SIGEL ST                          E PASSYUNK AVE                S JUNIPER ST
MC CLELLAN ST                     S 13TH ST                     S JUNIPER ST
S CAMAC ST                        MOORE ST                      S ISEMINGER ST
S CAMAC ST                        S ISEMINGER ST                MIFFLIN ST
SIGEL ST                          S 11TH ST                     DEAD END WEST
MC CLELLAN ST                     S 11TH ST                     S SARTAIN ST
S 11TH ST                         MC CLELLAN ST                 SIGEL ST
S 11TH ST                         SIGEL ST                      MIFFLIN ST
S 11TH ST                         MIFFLIN ST                    MC KEAN ST
S SARTAIN ST                      MOORE ST                      MC CLELLAN ST
S SARTAIN ST                      MIFFLIN ST                    MC KEAN ST
MIFFLIN ST                        S 11TH ST                     S JESSUP ST
MIFFLIN ST                        S WARNOCK ST                  S 11TH ST
MIFFLIN ST                        S ALDER ST                    S WARNOCK ST
MIFFLIN ST                        S ALDER ST                    S ALDER ST
MIFFLIN ST                        S 10TH ST                     S ALDER ST
MIFFLIN ST                        S 9TH ST                      S 10TH ST
MIFFLIN ST                        S 8TH ST                      S 9TH ST
MIFFLIN ST                        S 7TH ST                      S 8TH ST
MIFFLIN ST                        S 6TH ST                      S 7TH ST
MIFFLIN ST                        S 5TH ST                      S 6TH ST
MIFFLIN ST                        E MOYAMENSING AVE             S 4TH ST
S 2ND ST                          SIGEL ST                      MIFFLIN ST
MIFFLIN ST                        S GALLOWAY ST                 E MOYAMENSING AVE
MIFFLIN ST                        S 2ND ST                      S GALLOWAY ST
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MIFFLIN ST                    S 2ND ST                      S 2ND ST
MIFFLIN ST                    S FRONT ST                    S 2ND ST
MC CLELLAN ST                 S FRONT ST                    S 2ND ST
SIGEL ST                      S FRONT ST                    S 2ND ST
S 2ND ST                      MIFFLIN ST                    HOFFMAN ST
S 2ND ST                      HOFFMAN ST                    DUDLEY ST
S 2ND ST                      DUDLEY ST                     MC KEAN ST
HOFFMAN ST                    S FRONT ST                    S 2ND ST
DUDLEY ST                     S FRONT ST                    S 2ND ST
MC KEAN ST                    S GALLOWAY ST                 E MOYAMENSING AVE
MC KEAN ST                    S 3RD ST                      S GALLOWAY ST
MC KEAN ST                    S PHILIP ST                   S 3RD ST
MC KEAN ST                    S 2ND ST                      S PHILIP ST
MC KEAN ST                    S FRONT ST                    S 2ND ST
S 3RD ST                      S 2ND ST                      MC KEAN ST
S 3RD ST                      MC KEAN ST                    EMILY ST
S 3RD ST                      EMILY ST                      MERCY ST
S 3RD ST                      MERCY ST                      SNYDER AVE
S 3RD ST                      SNYDER AVE                    CANTRELL ST
S 2ND ST                      MC KEAN ST                    EMILY ST
S 2ND ST                      EMILY ST                      MERCY ST
S 2ND ST                      MERCY ST                      SNYDER AVE
S 2ND ST                      SNYDER AVE                    JACKSON ST
S PHILIP ST                   MC KEAN ST                    SNYDER AVE
S PHILIP ST                   SNYDER AVE                    JACKSON ST
EMILY ST                      S FRONT ST                    S 2ND ST
MERCY ST                      S FRONT ST                    S 2ND ST
S GALLOWAY ST                 MIFFLIN ST                    MC KEAN ST
E MOYAMENSING AVE             MC KEAN ST                    EMILY ST
E MOYAMENSING AVE             EMILY ST                      MERCY ST
E MOYAMENSING AVE             MERCY ST                      SNYDER AVE
S 4TH ST                      HOFFMAN ST                    DUDLEY ST
S 4TH ST                      DUDLEY ST                     MC KEAN ST
S 4TH ST                      MC KEAN ST                    EMILY ST
S 4TH ST                      EMILY ST                      MERCY ST
S 4TH ST                      MERCY ST                      SNYDER AVE
S 4TH ST                      SNYDER AVE                    CANTRELL ST
S 4TH ST                      CANTRELL ST                   WINTON ST
EMILY ST                      S 3RD ST                      E MOYAMENSING AVE
MERCY ST                      S 3RD ST                      E MOYAMENSING AVE
MC KEAN ST                    S 4TH ST                      S 5TH ST
MC KEAN ST                    E MOYAMENSING AVE             S 4TH ST
HOFFMAN ST                    S 4TH ST                      S 5TH ST
DUDLEY ST                     S 4TH ST                      S 5TH ST
HOFFMAN ST                    S 5TH ST                      S 6TH ST
DUDLEY ST                     S 5TH ST                      S 6TH ST
MC KEAN ST                    S 6TH ST                      S 7TH ST
MC KEAN ST                    S 5TH ST                      S 6TH ST
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EMILY ST                       S 4TH ST                      S 5TH ST
MERCY ST                       S 4TH ST                      S 5TH ST
EMILY ST                       S 6TH ST                      S 7TH ST
EMILY ST                       S 5TH ST                      S 6TH ST
MERCY ST                       S 5TH ST                      S 6TH ST
S 7TH ST                       MIFFLIN ST                    HOFFMAN ST
S 7TH ST                       HOFFMAN ST                    DUDLEY ST
S 7TH ST                       DUDLEY ST                     MC KEAN ST
S 7TH ST                       MC KEAN ST                    EMILY ST
S 7TH ST                       EMILY ST                      MERCY ST
DUDLEY ST                      S 6TH ST                      S 7TH ST
HOFFMAN ST                     S 6TH ST                      S 7TH ST
HOFFMAN ST                     S 9TH ST                      S 10TH ST
DUDLEY ST                      S 9TH ST                      S 10TH ST
DUDLEY ST                      S 8TH ST                      S 9TH ST
HOFFMAN ST                     S 7TH ST                      S 8TH ST
DUDLEY ST                      S 7TH ST                      S 8TH ST
S 8TH ST                       MIFFLIN ST                    HOFFMAN ST
S 8TH ST                       HOFFMAN ST                    DUDLEY ST
S 8TH ST                       DUDLEY ST                     MC KEAN ST
S 8TH ST                       MC KEAN ST                    EMILY ST
S 8TH ST                       EMILY ST                      MERCY ST
S 9TH ST                       HOFFMAN ST                    DUDLEY ST
S 9TH ST                       DUDLEY ST                     MC KEAN ST
S 9TH ST                       MC KEAN ST                    EMILY ST
S 9TH ST                       EMILY ST                      SNYDER AVE
EMILY ST                       S 7TH ST                      S 8TH ST
S DARIEN ST                    MC KEAN ST                    SNYDER AVE
S MILDRED ST                   MC KEAN ST                    SNYDER AVE
S 8TH ST                       MERCY ST                      SNYDER AVE
S 7TH ST                       MERCY ST                      SNYDER AVE
MERCY ST                       S 7TH ST                      S 8TH ST
MERCY ST                       S 6TH ST                      S 7TH ST
EMILY ST                       S 9TH ST                      S PERCY ST
S PERCY ST                     EMILY ST                      SNYDER AVE
S HUTCHINSON ST                MC KEAN ST                    SNYDER AVE
S 10TH ST                      MIFFLIN ST                    HOFFMAN ST
S 10TH ST                      HOFFMAN ST                    DUDLEY ST
S 10TH ST                      DUDLEY ST                     MC KEAN ST
S 10TH ST                      MC KEAN ST                    EMILY ST
S 10TH ST                      EMILY ST                      MERCY ST
S 10TH ST                      MERCY ST                      SNYDER AVE
S 10TH ST                      SNYDER AVE                    CANTRELL ST
MC KEAN ST                     S 10TH ST                     S ALDER ST
MC KEAN ST                     S HUTCHINSON ST               S 10TH ST
MC KEAN ST                     S 9TH ST                      S HUTCHINSON ST
MC KEAN ST                     S DARIEN ST                   S 9TH ST
MC KEAN ST                     S MILDRED ST                  S DARIEN ST
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MC KEAN ST                        S 8TH ST                      S MILDRED ST
MC KEAN ST                        S 7TH ST                      S 8TH ST
MC KEAN ST                        S SARTAIN ST                  S 12TH ST
MC KEAN ST                        S JESSUP ST                   S SARTAIN ST
MC KEAN ST                        S 11TH ST                     S JESSUP ST
MC KEAN ST                        S WARNOCK ST                  S 11TH ST
MC KEAN ST                        S ALDER ST                    S WARNOCK ST
S 11TH ST                         MC KEAN ST                    EMILY ST
S 11TH ST                         EMILY ST                      MERCY ST
S 11TH ST                         MERCY ST                      SNYDER AVE
S 11TH ST                         SNYDER AVE                    CANTRELL ST
S WARNOCK ST                      MIFFLIN ST                    MC KEAN ST
S ALDER ST                        MIFFLIN ST                    MC KEAN ST
S 12TH ST                         MIFFLIN ST                    MC KEAN ST
S 12TH ST                         MC KEAN ST                    EMILY ST
S 12TH ST                         EMILY ST                      MERCY ST
S 12TH ST                         MERCY ST                      SNYDER AVE
S 12TH ST                         SNYDER AVE                    CANTRELL ST
S JESSUP ST                       MIFFLIN ST                    MC KEAN ST
S ISEMINGER ST                    MIFFLIN ST                    MC KEAN ST
S CAMAC ST                        MIFFLIN ST                    MC KEAN ST
EMILY ST                          S 10TH ST                     S 11TH ST
MERCY ST                          S 10TH ST                     S 11TH ST
EMILY ST                          S 12TH ST                     S 13TH ST
EMILY ST                          S 11TH ST                     S 12TH ST
MERCY ST                          S 12TH ST                     S 13TH ST
MERCY ST                          S 11TH ST                     S 12TH ST
MC KEAN ST                        S WATTS ST                    E PASSYUNK AVE
MC KEAN ST                        S JUNIPER ST                  S WATTS ST
MC KEAN ST                        S 13TH ST                     S JUNIPER ST
MC KEAN ST                        S ISEMINGER ST                S 13TH ST
MC KEAN ST                        S CAMAC ST                    S ISEMINGER ST
MC KEAN ST                        S 12TH ST                     S CAMAC ST
S 13TH ST                         MC KEAN ST                    EMILY ST
S 13TH ST                         EMILY ST                      MERCY ST
S 13TH ST                         MERCY ST                      SNYDER AVE
S 13TH ST                         SNYDER AVE                    JACKSON ST
S JUNIPER ST                      MIFFLIN ST                    E PASSYUNK AVE
S WATTS ST                        MC KEAN ST                    SNYDER AVE
S JUNIPER ST                      E PASSYUNK AVE                MC KEAN ST
S JUNIPER ST                      MC KEAN ST                    SNYDER AVE
S ISEMINGER ST                    SNYDER AVE                    JACKSON ST
S 12TH ST                         CANTRELL ST                   WINTON ST
S 12TH ST                         WINTON ST                     JACKSON ST
S 12TH ST                         JACKSON ST                    TREE ST
S 12TH ST                         TREE ST                       DALY ST
S 12TH ST                         DALY ST                       WOLF ST
JACKSON ST                        S WATTS ST                    S BROAD ST
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JACKSON ST                   S JUNIPER ST                  S WATTS ST
JACKSON ST                   S CLARION ST                  S JUNIPER ST
JACKSON ST                   S 13TH ST                     S CLARION ST
JACKSON ST                   S ISEMINGER ST                S 13TH ST
JACKSON ST                   S 12TH ST                     S ISEMINGER ST
JACKSON ST                   S 11TH ST                     S 12TH ST
S 13TH ST                    JACKSON ST                    TREE ST
S 13TH ST                    TREE ST                       DALY ST
S 13TH ST                    WOLF ST                       DURFOR ST
WOLF ST                      S WATTS ST                    S BROAD ST
WOLF ST                      S JUNIPER ST                  S WATTS ST
WOLF ST                      S CLARION ST                  S JUNIPER ST
WOLF ST                      S 13TH ST                     S CLARION ST
WOLF ST                      S 12TH ST                     S 13TH ST
S 13TH ST                    DALY ST                       WOLF ST
TREE ST                      S 12TH ST                     S 13TH ST
DALY ST                      S 12TH ST                     S 13TH ST
S JUNIPER ST                 JACKSON ST                    WOLF ST
S CLARION ST                 JACKSON ST                    WOLF ST
S WATTS ST                   JACKSON ST                    WOLF ST
JACKSON ST                   S 10TH ST                     S 11TH ST
JACKSON ST                   S 9TH ST                      S 10TH ST
CANTRELL ST                  S 11TH ST                     S 12TH ST
WINTON ST                    S 11TH ST                     S 12TH ST
CANTRELL ST                  S 10TH ST                     S 11TH ST
S 11TH ST                    CANTRELL ST                   WINTON ST
S 11TH ST                    WINTON ST                     JACKSON ST
S 11TH ST                    JACKSON ST                    TREE ST
S 11TH ST                    TREE ST                       DALY ST
S 11TH ST                    DALY ST                       WOLF ST
S 11TH ST                    WOLF ST                       DURFOR ST
WINTON ST                    S 10TH ST                     S 11TH ST
TREE ST                      S 10TH ST                     S 11TH ST
TREE ST                      S 11TH ST                     S 12TH ST
DALY ST                      S 10TH ST                     S 11TH ST
DALY ST                      S 11TH ST                     S 12TH ST
WOLF ST                      S 11TH ST                     S 12TH ST
WOLF ST                      S WARNOCK ST                  S 11TH ST
WOLF ST                      S ALDER ST                    S WARNOCK ST
WOLF ST                      S 10TH ST                     S ALDER ST
W MOYAMENSING AVE            S ALDER ST                    S WARNOCK ST
W MOYAMENSING AVE            S WARNOCK ST                  S 11TH ST
W MOYAMENSING AVE            S 11TH ST                     S JESSUP ST
W MOYAMENSING AVE            S JESSUP ST                   S SARTAIN ST
W MOYAMENSING AVE            S SARTAIN ST                  PORTER ST
S 11TH ST                    RITNER ST                     W MOYAMENSING AVE
S 11TH ST                    W MOYAMENSING AVE             PORTER ST
S SARTAIN ST                 RITNER ST                     W MOYAMENSING AVE
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S JESSUP ST                  RITNER ST                     W MOYAMENSING AVE
S WARNOCK ST                 W MOYAMENSING AVE             PORTER ST
S ALDER ST                   W MOYAMENSING AVE             PORTER ST
S PERCY ST                   WOLF ST                       W MOYAMENSING AVE
S 9TH ST                     WOLF ST                       W MOYAMENSING AVE
S 9TH ST                     W MOYAMENSING AVE             RITNER ST
W MOYAMENSING AVE            S MILDRED ST                  S DARIEN ST
W MOYAMENSING AVE            S DARIEN ST                   S 9TH ST
W MOYAMENSING AVE            S 9TH ST                      S PERCY ST
S 8TH ST                     SNYDER AVE                    CANTRELL ST
S 8TH ST                     CANTRELL ST                   WINTON ST
S 8TH ST                     WINTON ST                     JACKSON ST
S 8TH ST                     JACKSON ST                    TREE ST
S 8TH ST                     TREE ST                       DALY ST
S 8TH ST                     DALY ST                       WOLF ST
S 8TH ST                     WOLF ST                       W MOYAMENSING AVE
S 8TH ST                     W MOYAMENSING AVE             RITNER ST
S 7TH ST                     SNYDER AVE                    CANTRELL ST
S 7TH ST                     CANTRELL ST                   WINTON ST
S 7TH ST                     WINTON ST                     JACKSON ST
S 7TH ST                     JACKSON ST                    TREE ST
S 7TH ST                     TREE ST                       DALY ST
S 7TH ST                     DALY ST                       W MOYAMENSING AVE
S 7TH ST                     W MOYAMENSING AVE             WOLF ST
S 7TH ST                     WOLF ST                       DURFOR ST
CANTRELL ST                  S 8TH ST                      S 9TH ST
CANTRELL ST                  S 7TH ST                      S 8TH ST
WINTON ST                    S 7TH ST                      S 8TH ST
JACKSON ST                   S DARIEN ST                   S 9TH ST
JACKSON ST                   S MILDRED ST                  S DARIEN ST
JACKSON ST                   S 8TH ST                      S MILDRED ST
JACKSON ST                   S 7TH ST                      S 8TH ST
JACKSON ST                   S 6TH ST                      S 7TH ST
DALY ST                      S 7TH ST                      S 8TH ST
TREE ST                      S 7TH ST                      S 8TH ST
S DARIEN ST                  JACKSON ST                    WOLF ST
S MILDRED ST                 JACKSON ST                    WOLF ST
WOLF ST                      S MILDRED ST                  S MILDRED ST
WOLF ST                      S 8TH ST                      S MILDRED ST
WOLF ST                      S FRANKLIN ST                 S 8TH ST
WOLF ST                      S BEULAH ST                   W MOYAMENSING AVE
WOLF ST                      S 7TH ST                      S BEULAH ST
WOLF ST                      S MARSHALL ST                 S 7TH ST
WOLF ST                      S 6TH ST                      S MARSHALL ST
CANTRELL ST                  S 6TH ST                      S 7TH ST
CANTRELL ST                  S 5TH ST                      S 6TH ST
CANTRELL ST                  S 4TH ST                      S 5TH ST
WINTON ST                    S 6TH ST                      S 7TH ST
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WINTON ST                    S 5TH ST                      S 6TH ST
WINTON ST                    S 4TH ST                      S 5TH ST
W MOYAMENSING AVE            JACKSON ST                    S 6TH ST
W MOYAMENSING AVE            S 6TH ST                      TREE ST
W MOYAMENSING AVE            TREE ST                       S 7TH ST
TREE ST                      S 5TH ST                      S REESE ST
TREE ST                      S REESE ST                    S FAIRHILL ST
TREE ST                      S FAIRHILL ST                 S 6TH ST
S FAIRHILL ST                TREE ST                       WOLF ST
WOLF ST                      S FAIRHILL ST                 S 6TH ST
WOLF ST                      S REESE ST                    S FAIRHILL ST
WOLF ST                      S 5TH ST                      S REESE ST
WOLF ST                      S 4TH ST                      S 5TH ST
WOLF ST                      S 3RD ST                      S 4TH ST
W MOYAMENSING AVE            S 7TH ST                      WOLF ST
S 4TH ST                     WINTON ST                     JACKSON ST
S 4TH ST                     JACKSON ST                    TREE ST
S 4TH ST                     TREE ST                       DALY ST
S 4TH ST                     DALY ST                       WOLF ST
S 4TH ST                     WOLF ST                       DURFOR ST
S 4TH ST                     DURFOR ST                     FITZGERALD ST
S 3RD ST                     CANTRELL ST                   WINTON ST
S 3RD ST                     WINTON ST                     JACKSON ST
S 3RD ST                     JACKSON ST                    TREE ST
S 3RD ST                     TREE ST                       DALY ST
S 3RD ST                     DALY ST                       WOLF ST
S 3RD ST                     WOLF ST                       DURFOR ST
JACKSON ST                   S 3RD ST                      S 4TH ST
JACKSON ST                   W MOYAMENSING AVE             S 6TH ST
JACKSON ST                   S 5TH ST                      W MOYAMENSING AVE
JACKSON ST                   S 4TH ST                      S 5TH ST
CANTRELL ST                  S 3RD ST                      S 4TH ST
WINTON ST                    S 3RD ST                      S 4TH ST
TREE ST                      S 4TH ST                      S 5TH ST
TREE ST                      S 3RD ST                      S 4TH ST
DALY ST                      S 4TH ST                      S 5TH ST
DALY ST                      S 3RD ST                      S 4TH ST
JACKSON ST                   S PHILIP ST                   S 3RD ST
JACKSON ST                   S 2ND ST                      S PHILIP ST
JACKSON ST                   S HANCOCK ST                  S 2ND ST
JACKSON ST                   S HOWARD ST                   S HANCOCK ST
JACKSON ST                   S FRONT ST                    S HOWARD ST
S HOWARD ST                  SNYDER AVE                    JACKSON ST
S HANCOCK ST                 SNYDER AVE                    JACKSON ST
S 2ND ST                     JACKSON ST                    TREE ST
S 2ND ST                     TREE ST                       DALY ST
S 2ND ST                     DALY ST                       WOLF ST
S 2ND ST                     WOLF ST                       DURFOR ST
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S 2ND ST                         DURFOR ST                     FITZGERALD ST
TREE ST                          S FRONT ST                    S 2ND ST
TREE ST                          S 2ND ST                      S 3RD ST
DALY ST                          S 2ND ST                      S 3RD ST
DALY ST                          S FRONT ST                    S 2ND ST
WOLF ST                          S AMERICAN ST                 S 3RD ST
WOLF ST                          S 2ND ST                      S AMERICAN ST
WOLF ST                          S FRONT ST                    S 2ND ST
S 2ND ST                         FITZGERALD ST                 RITNER ST
S 2ND ST                         RITNER ST                     GLADSTONE ST
S 2ND ST                         GLADSTONE ST                  ROSEBERRY ST
RITNER ST                        S 3RD ST                      S 4TH ST
RITNER ST                        S AMERICAN ST                 S 3RD ST
RITNER ST                        S PHILIP ST                   S AMERICAN ST
RITNER ST                        S 2ND ST                      S PHILIP ST
RITNER ST                        S FRONT ST                    S 2ND ST
S AMERICAN ST                    WOLF ST                       RITNER ST
DURFOR ST                        S FRONT ST                    S 2ND ST
FITZGERALD ST                    S FRONT ST                    S 2ND ST
RITNER ST                        S ORKNEY ST                   S 5TH ST
RITNER ST                        S LAWRENCE ST                 S ORKNEY ST
RITNER ST                        S 4TH ST                      S LAWRENCE ST
S 4TH ST                         FITZGERALD ST                 RITNER ST
S 4TH ST                         RITNER ST                     GLADSTONE ST
S 4TH ST                         GLADSTONE ST                  ROSEBERRY ST
S 4TH ST                         ROSEBERRY ST                  PORTER ST
S 3RD ST                         DURFOR ST                     FITZGERALD ST
S 3RD ST                         FITZGERALD ST                 RITNER ST
S 3RD ST                         RITNER ST                     GLADSTONE ST
S 3RD ST                         GLADSTONE ST                  ROSEBERRY ST
S 3RD ST                         ROSEBERRY ST                  PORTER ST
S AMERICAN ST                    RITNER ST                     PORTER ST
S PHILIP ST                      RITNER ST                     PORTER ST
ROSEBERRY ST                     S 3RD ST                      S 4TH ST
GLADSTONE ST                     S 3RD ST                      S 4TH ST
FITZGERALD ST                    S 4TH ST                      S 5TH ST
FITZGERALD ST                    S 3RD ST                      S 4TH ST
DURFOR ST                        S 4TH ST                      S 5TH ST
DURFOR ST                        S 3RD ST                      S 4TH ST
S REESE ST                       RITNER ST                     PORTER ST
S ORKNEY ST                      RITNER ST                     PORTER ST
S LAWRENCE ST                    RITNER ST                     PORTER ST
RITNER ST                        S SHERIDAN ST                 S 7TH ST
RITNER ST                        S MARSHALL ST                 S SHERIDAN ST
RITNER ST                        S 6TH ST                      S MARSHALL ST
RITNER ST                        S FAIRHILL ST                 S 6TH ST
RITNER ST                        S REESE ST                    S FAIRHILL ST
RITNER ST                        S 5TH ST                      S REESE ST
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S FAIRHILL ST                RITNER ST                     PORTER ST
W MOYAMENSING AVE            WOLF ST                       S FRANKLIN ST
W MOYAMENSING AVE            WOLF ST                       S 8TH ST
W MOYAMENSING AVE            S 8TH ST                      S MILDRED ST
RITNER ST                    S 9TH ST                      S PERCY ST
RITNER ST                    S DARIEN ST                   S 9TH ST
RITNER ST                    S MILDRED ST                  S DARIEN ST
RITNER ST                    S 8TH ST                      S MILDRED ST
RITNER ST                    S FRANKLIN ST                 S 8TH ST
RITNER ST                    S BEULAH ST                   S FRANKLIN ST
RITNER ST                    S 7TH ST                      S BEULAH ST
S 7TH ST                     DURFOR ST                     FITZGERALD ST
S 7TH ST                     FITZGERALD ST                 RITNER ST
S 7TH ST                     RITNER ST                     PORTER ST
S MARSHALL ST                RITNER ST                     PORTER ST
S MARSHALL ST                WOLF ST                       DURFOR ST
DURFOR ST                    S MARSHALL ST                 S 7TH ST
S MARSHALL ST                DURFOR ST                     FITZGERALD ST
FITZGERALD ST                S MARSHALL ST                 S 7TH ST
S MARSHALL ST                FITZGERALD ST                 RITNER ST
S BEULAH ST                  RITNER ST                     PORTER ST
S SHERIDAN ST                RITNER ST                     PORTER ST
S BEULAH ST                  WOLF ST                       RITNER ST
S FRANKLIN ST                W MOYAMENSING AVE             RITNER ST
S FRANKLIN ST                RITNER ST                     PORTER ST
S 9TH ST                     RITNER ST                     PORTER ST
S PERCY ST                   RITNER ST                     PORTER ST
S DARIEN ST                  WOLF ST                       W MOYAMENSING AVE
S MILDRED ST                 WOLF ST                       W MOYAMENSING AVE
S MILDRED ST                 W MOYAMENSING AVE             RITNER ST
S MILDRED ST                 RITNER ST                     PORTER ST
S DARIEN ST                  RITNER ST                     PORTER ST
S 8TH ST                     RITNER ST                     PORTER ST
S HUTCHINSON ST              RITNER ST                     PORTER ST
RITNER ST                    S PERCY ST                    S HUTCHINSON ST
S 10TH ST                    WOLF ST                       W MOYAMENSING AVE
RITNER ST                    W MOYAMENSING AVE             S ALDER ST
W MOYAMENSING AVE            RITNER ST                     S ALDER ST
S 10TH ST                    RITNER ST                     PORTER ST
S HUTCHINSON ST              WOLF ST                       W MOYAMENSING AVE
W MOYAMENSING AVE            S PERCY ST                    S HUTCHINSON ST
W MOYAMENSING AVE            S HUTCHINSON ST               RITNER ST
S HUTCHINSON ST              W MOYAMENSING AVE             RITNER ST
GLADSTONE ST                 S FRONT ST                    S 2ND ST
ROSEBERRY ST                 S FRONT ST                    S 2ND ST
S 2ND ST                     ROSEBERRY ST                  PORTER ST
RITNER ST                    S LEE ST                      S FRONT ST
S LEE ST                     RITNER ST                     PORTER ST
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S LEE ST                      WOLF ST                       RITNER ST
S WATER ST                    RITNER ST                     PORTER ST
RITNER ST                     S WATER ST                    S LEE ST
WOLF ST                       S LEE ST                      S FRONT ST
DICKINSON ST                  S CHRISTOPHER COLUMBUS BLVD   S WATER ST
S WATTS ST                    TITAN ST                      WHARTON ST
ELLSWORTH ST                  S FRONT ST                    S 2ND ST
DICKINSON ST                  S BEULAH ST                   S FRANKLIN ST
S PHILIP ST                   PIERCE ST                     MOORE ST
FITZWATER ST                  S FRONT ST                    S 2ND ST
WAVERLY ST                    S ALDER ST                    S 11TH ST
PANAMA ST                     S FAWN ST                     S CAMAC ST
RODMAN ST                     S 12TH ST                     S 13TH ST
KATER ST                      S ALDER ST                    S CLIFTON ST
PEMBERTON ST                  S 7TH ST                      S PERTH ST
PEMBERTON ST                  S MARSHALL ST                 S 7TH ST
MONROE ST                     S LEITHGOW ST                 E PASSYUNK AVE
MONROE ST                     S AMERICAN ST                 S 3RD ST
E PASSYUNK AVE                FITZWATER ST                  CATHARINE ST
FITZWATER ST                  S 2ND ST                      S 3RD ST
CHRISTIAN ST                  S FRONT ST                    S HOWARD ST
CHRISTIAN ST                  S 5TH ST                      S 6TH ST
MONTROSE ST                   S 9TH ST                      S DELHI ST
CARPENTER ST                  S BEULAH ST                   S 8TH ST
MONTROSE ST                   S 5TH ST                      S FAIRHILL ST
WASHINGTON AVE                S 3RD ST                      S 4TH ST
MONTROSE ST                   S 3RD ST                      S ORIANNA ST
CARPENTER ST                  E MOYAMENSING AVE             S AMERICAN ST
WASHINGTON AVE                S FRONT ST                    S 2ND ST
ELLSWORTH ST                  S 5TH ST                      S RANDOLPH ST
ELLSWORTH ST                  S 7TH ST                      S 8TH ST
S 13TH ST                     ANNIN ST                      FEDERAL ST
ANNIN ST                      S 13TH ST                     S WATTS ST
LATONA ST                     S 12TH ST                     S 13TH ST
LATONA ST                     S ALDER ST                    S 11TH ST
S 4TH ST                      GERRITT ST                    WILDER SQ
S PERCY ST                    S 9TH ST                      REED ST
S MILDRED ST                  REED ST                       DEAD END SOUTH
WILDER ST                     S 8TH ST                      S 9TH ST
REED ST                       S 11TH ST                     S 12TH ST
DICKINSON ST                  S 12TH ST                     S ISEMINGER ST
DICKINSON ST                  S FRANKLIN ST                 S 8TH ST
S BEULAH ST                   REED ST                       DICKINSON ST
WILDER ST                     S 2ND ST                      E MOYAMENSING AVE
WILDER ST                     S HOWARD ST                   S 2ND ST
E MOYAMENSING AVE             REED ST                       GERRITT ST
DICKINSON ST                  S HOWARD ST                   S 2ND ST
WATKINS ST                    S 2ND ST                      E MOYAMENSING AVE
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SIGEL ST                          E MOYAMENSING AVE             S 4TH ST
S ISEMINGER ST                    S CAMAC ST                    MIFFLIN ST
S SARTAIN ST                      MC CLELLAN ST                 MIFFLIN ST
MIFFLIN ST                        S 4TH ST                      S 5TH ST
TREE ST                           W MOYAMENSING AVE             S 7TH ST
S REESE ST                        TREE ST                       WOLF ST
RITNER ST                         S HUTCHINSON ST               W MOYAMENSING AVE
RITNER ST                         S SWANSON ST                  S WATER ST
WOLF ST                           S SWANSON ST                  S LEE ST
WECCACOE AVE                      WOLF ST                       OREGON AVE
S FAWN ST                         KENILWORTH ST                 FITZWATER ST
BAINBRIDGE ST                     S 4TH ST                      S LEITHGOW ST
BAINBRIDGE ST                     S 3RD ST                      S 4TH ST
CHRISTIAN ST                      E MOYAMENSING AVE             S AMERICAN ST
CHRISTIAN ST                      S AMERICAN ST                 S BODINE ST
S CLARION ST                      FEDERAL ST                    LATONA ST
S CLARION ST                      LATONA ST                     WHARTON ST
S DARIEN ST                       DEAD END NORTH                SOUTH ST
S BODINE ST                       CHRISTIAN ST                  MONTROSE ST
S WATTS ST                        KENILWORTH ST                 FITZWATER ST
CYPRESS ST                        S 9TH ST                      S 10TH ST
WAVERLY ST                        QUINCE ST                     S 12TH ST
WHARTON ST                        S 12TH ST                     S ISEMINGER ST
S 3RD ST                          BAINBRIDGE ST                 BAINBRIDGE ST
S 3RD ST                          BAINBRIDGE ST                 MONROE ST
S 3RD ST                          CATHARINE ST                  QUEEN ST
QUEEN ST                          S HANCOCK ST                  S 2ND ST
QUEEN ST                          S HOWARD ST                   S HANCOCK ST
QUEEN ST                          S FRONT ST                    S HOWARD ST
QUEEN ST                          S 3RD ST                      S ORIANNA ST
S FRANKLIN ST                     REED ST                       DEAD END SOUTH
S FRANKLIN ST                     DEAD END NORTH                DICKINSON ST
CATHARINE ST                      S CHRISTOPHER COLUMBUS BLVD   S SWANSON ST
S SWANSON ST                      CATHARINE ST                  QUEEN ST
S 13TH ST                         KENILWORTH ST                 FITZWATER ST
S CLARION ST                      DEAD END NORTH                FEDERAL ST
S ISEMINGER ST                    DEAD END NORTH                TITAN ST
S ISEMINGER ST                    TITAN ST                      WHARTON ST
S PHILIP ST                       GERRITT ST                    DEAD END SOUTH
EARP ST                           S 2ND ST                      S PHILIP ST
ANNIN ST                          S MARSHALL ST                 S SHERIDAN ST
S 2ND ST                          CATHARINE ST                  QUEEN ST
CATHARINE ST                      S HANCOCK ST                  S 2ND ST
CATHARINE ST                      S 2ND ST                      S AMERICAN ST
CATHARINE ST                      S 4TH ST                      S LEITHGOW ST
S LEITHGOW ST                     BAINBRIDGE ST                 MONROE ST
S FRANKLIN ST                     ALTER ST                      DEAD END SOUTH
RANDOLPH CT                       RODMAN ST                     S RANDOLPH ST
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KENILWORTH ST                    S MARSHALL ST                 DEAD END WEST
S 8TH ST                         MONTROSE ST                   HALL ST
FULTON ST                        S 2ND ST                      S AMERICAN ST
QUEEN ST                         S 2ND ST                      S 3RD ST
KATER ST                         S 11TH ST                     S 12TH ST
S SHERIDAN ST                    FITZWATER ST                  DEAD END SOUTH
S 8TH ST                         HALL ST                       CARPENTER ST
CARPENTER ST                     S FRONT ST                    S 2ND ST
ANNIN ST                         S SHERIDAN ST                 S 7TH ST
MOORE ST                         S JUNIPER ST                  S BROAD ST
DILWORTH ST                      S CHRISTOPHER COLUMBUS BLVD   SNYDER AVE
MC KEAN ST                       S WATER ST                    S FRONT ST
S REESE ST                       LOMBARD ST                    RODMAN ST
WHARTON ST                       S ISEMINGER ST                S 13TH ST
CATHARINE ST                     S AMERICAN ST                 S 3RD ST
ALTER ST                         S 12TH ST                     DEAD END WEST
FERNON ST                        S 2ND ST                      E MOYAMENSING AVE
FERNON ST                        S FRONT ST                    S HANCOCK ST
MOUNTAIN ST                      S FRONT ST                    S HANCOCK ST
FEDERAL ST                       S FRONT ST                    S 2ND ST
FEDERAL ST                       S 3RD ST                      S 4TH ST
FEDERAL ST                       S 4TH ST                      S 5TH ST
S 4TH ST                         WASHINGTON AVE                FEDERAL ST
RODMAN ST                        RANDOLPH CT                   S 6TH ST
S 3RD ST                         QUEEN ST                      CHRISTIAN ST
LEAGUE ST                        S FRONT ST                    S 2ND ST
ALTER ST                         S FRONT ST                    S 2ND ST
S AMERICAN ST                    DEAD END NORTH                CHRISTIAN ST
S WATTS ST                       ANNIN ST                      DEAD END SOUTH
S SHERIDAN ST                    DEAD END NORTH                ANNIN ST
ADDISON ST                       DEAD END EAST                 S 5TH ST
HALL ST                          DEAD END EAST                 S 8TH ST
ADDISON ST                       S ALDER ST                    DEAD END WEST
FITZWATER ST                     S CLIFTON ST                  S 11TH ST
FITZWATER ST                     S WARNOCK ST                  S CLIFTON ST
S 4TH ST                         BAINBRIDGE ST                 BAINBRIDGE ST
S 4TH ST                         BAINBRIDGE ST                 MONROE ST
S 4TH ST                         CATHARINE ST                  KAUFFMAN ST
BAINBRIDGE ST                    S LEITHGOW ST                 E PASSYUNK AVE
S SHERIDAN ST                    CATHARINE ST                  QUEEN ST
S MARSHALL ST                    CLYMER ST                     DEAD END SOUTH
MANTON ST                        S FRONT ST                    S HOWARD ST
TITAN ST                         S FRONT ST                    S HOWARD ST
EARP ST                          E MOYAMENSING AVE             S 3RD ST
STAMPERS ST                      BLACKWELL PL                  S 3RD ST
PIERCE ST                        S ISEMINGER ST                S 13TH ST
PIERCE ST                        E PASSYUNK AVE                S ISEMINGER ST
DELANCEY ST                      S 5TH ST                      S REESE ST
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QUEEN ST                         S CHRISTOPHER COLUMBUS BLVD   S SWANSON ST
WILDER ST                        S ORIANNA ST                  S 4TH ST
GREENWICH ST                     S MARSHALL ST                 S 7TH ST
TITAN ST                         S WATTS ST                    DEAD END WEST
S PHILIP ST                      DEAD END NORTH                PIERCE ST
WHARTON ST                       S JUNIPER ST                  S BROAD ST
REED ST                          S WATTS ST                    S BROAD ST
S JUNIPER ST                     WAVERLY ST                    ADDISON ST
S JUNIPER ST                     ADDISON ST                    LOMBARD ST
WAVERLY WALK                     S 12TH ST                     WAVERLY ST
RODMAN ST                        S 11TH ST                     S SARTAIN ST
FITZWATER ST                     S ALDER ST                    S WARNOCK ST
KENILWORTH ST                    S 12TH ST                     S FAWN ST
PETERS ST                        S 12TH ST                     DEAD END WEST
ELLSWORTH ST                     S 11TH ST                     S 12TH ST
DARIEN WAY                       CHRISTIAN ST                  MONTROSE ST
FULTON ST                        S AMERICAN ST                 S 3RD ST
WHARTON ST                       S FRONT ST                    S HOWARD ST
TASKER ST                        DEAD END EAST                 S CHRISTOPHER COLUMBUS BLVD
WOLF ST                          VANDALIA ST                   S SWANSON ST
WOLF ST                          WECCACOE AVE                  VANDALIA ST
SNYDER AVE                       DEAD END EAST                 S CHRISTOPHER COLUMBUS BLVD
TASKER ST                        S CHRISTOPHER COLUMBUS BLVD   S WATER ST
CHRISTIAN ST                     S CHRISTOPHER COLUMBUS BLVD   S SWANSON ST
CHRISTIAN ST                     S WATER ST                    S FRONT ST
MIFFLIN ST                       DEAD END EAST                 S SWANSON ST
MIFFLIN ST                       S WATER ST                    S FRONT ST
MOORE ST                         S SWANSON ST                  S WATER ST
TASKER ST                        S WATER ST                    S FRONT ST
DICKINSON ST                     S WATER ST                    S FRONT ST
REED ST                          S FRONT ST                    S HOWARD ST
S 4TH ST                         WILDER SQ                     DICKINSON ST
S WATER ST                       SNYDER AVE                    JACKSON ST
JACKSON ST                       S SWANSON ST                  S WATER ST
JACKSON ST                       S WATER ST                    S FRONT ST
RANDOLPH CT                      LOMBARD ST                    RODMAN ST
TITAN ST                         S 12TH ST                     S ISEMINGER ST
ANNIN ST                         S 12TH ST                     DEAD END WEST
S ALDER ST                       DEAD END NORTH                MIFFLIN ST
S MILDRED ST                     DEAD END NORTH                LATONA ST
MANTON ST                        DEAD END EAST                 S SHERIDAN ST
QUEEN ST                         S SWANSON ST                  S FRONT ST
PIERCE ST                        S FRONT ST                    S HOWARD ST
PIERCE ST                        S HOWARD ST                   S 2ND ST
S HOWARD ST                      PIERCE ST                     MOORE ST
GREENWICH ST                     S FRONT ST                    S 2ND ST
DELANCEY ST                      S AMERICAN ST                 S 3RD ST
DELANCEY ST                      S PHILIP ST                   S AMERICAN ST
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S AMERICAN ST                 SPRUCE ST                     DELANCEY ST
S PHILIP ST                   SPRUCE ST                     DELANCEY ST
S 2ND ST                      FERNON ST                     FERNON ST
S 9TH ST                      FITZWATER ST                  CATHARINE ST
S ALDER ST                    BAINBRIDGE ST                 FITZWATER ST
FITZWATER ST                  S 10TH ST                     S ALDER ST
WASHINGTON AVE                S WATER ST                    S FRONT ST
S 8TH ST                      MONTROSE ST                   MONTROSE ST
WHARTON ST                    S CLARION ST                  S CLARION ST
REED ST                       E MOYAMENSING AVE             S 3RD ST
S 8TH ST                      PIERCE ST                     PIERCE ST
S 7TH ST                      PIERCE ST                     PIERCE ST
S 2ND ST                      MC CLELLAN ST                 MC CLELLAN ST
JACKSON ST                    S SWANSON ST                  S SWANSON ST
STAMPERS ST                   S 2ND ST                      BLACKWELL PL
KENILWORTH ST                 S FAWN ST                     S 13TH ST
FITZWATER ST                  S FAWN ST                     S 13TH ST
ADDISON CT                    S 5TH ST                      ADDISON ST
ADDISON ST                    ADDISON CT                    S 6TH ST
MASCHER ST                    CHRISTIAN ST                  DEAD END SOUTH
CHRISTIAN ST                  S HOWARD ST                   MASCHER ST
CHRISTIAN ST                  MASCHER ST                    S HANCOCK ST
S 2ND ST                      SALTER ST                     CARPENTER ST
S 2ND ST                      CHRISTIAN ST                  SALTER ST
LAWRENCE COURT WALK           LAWRENCE CT                   S 5TH ST
LAWRENCE COURT WALK           S 4TH ST                      LAWRENCE CT
LAWRENCE CT                   CYPRESS ST                    LAWRENCE COURT WALK
LAWRENCE CT                   LAWRENCE COURT WALK           PINE ST
SAINT PETERS WAY              DELANCEY ST                   PINE ST
DELANCEY ST                   S 3RD ST                      SAINT PETERS WAY
DELANCEY ST                   SAINT PETERS WAY              S 4TH ST
CYPRESS ST                    S 3RD ST                      SAINT PETERS WAY
CYPRESS ST                    SAINT PETERS WAY              S 4TH ST
S PHILIP ST                   LOMBARD ST                    GASKILL ST
GASKILL ST                    S PHILIP ST                   S 3RD ST
QUEEN ST                      S 6TH ST                      E PASSYUNK AVE
QUEEN ST                      E PASSYUNK AVE                S SHERIDAN ST
MONTROSE ST                   E PASSYUNK AVE                S SHERIDAN ST
MONTROSE ST                   S SHERIDAN ST                 S 7TH ST
MOUNTAIN ST                   DEAD END EAST                 S BEULAH ST
S 3RD ST                      REED ST                       E MOYAMENSING AVE
MONTROSE ST                   DARIEN WAY                    S SCHELL ST
MONTROSE ST                   S SCHELL ST                   S 9TH ST
WALKWAY CONNECTOR             LOMBARD ST                    ALDER CT
WECCACOE AVE                  SNYDER AVE                    WOLF ST
S AMERICAN ST                 BAINBRIDGE ST                 S PHILIP ST
S AMERICAN ST                 S PHILIP ST                   MONROE ST
CATHARINE ST                  S 13TH ST                     S JUNIPER ST
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CATHARINE ST                  S JUNIPER ST                  S BROAD ST
CATHARINE ST                  S 12TH ST                     S FAWN ST
CATHARINE ST                  S FAWN ST                     S 13TH ST
CLYMER ST                     S 12TH ST                     S FAWN ST
S FAWN ST                     CLYMER ST                     CATHARINE ST
S JUNIPER ST                  BAINBRIDGE ST                 FITZWATER ST
S JUNIPER ST                  FITZWATER ST                  CATHARINE ST
FITZWATER ST                  S 13TH ST                     S JUNIPER ST
FITZWATER ST                  S JUNIPER ST                  S WATTS ST
CARPENTER ST                  S 13TH ST                     S BROAD ST
S SCHELL ST                   BAINBRIDGE ST                 KENILWORTH ST
S SCHELL ST                   KENILWORTH ST                 PEMBERTON ST
S SCHELL ST                   PEMBERTON ST                  FITZWATER ST
S MILDRED ST                  BAINBRIDGE ST                 PEMBERTON ST
S MILDRED ST                  PEMBERTON ST                  FITZWATER ST
S WATER ST                    CHRISTIAN ST                  WASHINGTON AVE
S WATER ST                    WASHINGTON AVE                WASHINGTON AVE
S 2ND ST                      LEAGUE ST                     WASHINGTON AVE
S 2ND ST                      WASHINGTON AVE                WASHINGTON AVE
E MOYAMENSING AVE             CARPENTER ST                  WASHINGTON AVE
E MOYAMENSING AVE             WASHINGTON AVE                WASHINGTON AVE
S 3RD ST                      WASHINGTON AVE                WASHINGTON AVE
S 4TH ST                      CHRISTIAN ST                  WASHINGTON AVE
S 3RD ST                      CARPENTER ST                  WASHINGTON AVE
CHRISTIAN ST                  S ORIANNA ST                  S 4TH ST
MIFFLIN ST                    S CHRISTOPHER COLUMBUS BLVD   DEAD END WEST
TITAN ST                      S 4TH ST                      S 5TH ST
WHARTON ST                    S 4TH ST                      S 5TH ST
LAWRENCE CT                   CYPRESS ST                    SPRUCE ST
S AMERICAN ST                 SOUTH ST                      HEAD HOUSE CT
S AMERICAN ST                 HEAD HOUSE CT                 BAINBRIDGE ST
FULTON ST                     HANSON SQ                     S 4TH ST
S 2ND ST                      BAINBRIDGE ST                 QUEEN CT
S 2ND ST                      QUEEN CT                      KENILWORTH ST
S 3RD ST                      FITZWATER ST                  FULTON ST
S 3RD ST                      FULTON ST                     FULTON ST
S 9TH ST                      CHRISTIAN ST                  SALTER ST
S 9TH ST                      SALTER ST                     MONTROSE ST
NAUDAIN ST                    S FRONT ST                    S HANCOCK ST
NAUDAIN ST                    S HANCOCK ST                  S 2ND ST
S ORIANNA ST                  CHRISTIAN ST                  MONTROSE ST
S MARSHALL ST                 FEDERAL ST                    WHARTON ST
S DARIEN ST                   FITZWATER ST                  LINCOLN AVE
S DARIEN ST                   LINCOLN AVE                   CATHARINE ST
S FAIRHILL ST                 KENILWORTH ST                 ABBOTTS CT
S SWANSON ST                  QUEEN ST                      OLD SWEDES CT
S SWANSON ST                  BECK ST                       OLD SWEDES CT
S SWANSON ST                  OLD SWEDES CT                 BECK ST
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S SWANSON ST                  OLD SWEDES CT                 CHRISTIAN ST
QUEEN ST                      S ORIANNA ST                  QUEENS AVE
QUEEN ST                      QUEENS AVE                    S 4TH ST
CHRISTIAN ST                  S SWANSON ST                  S WATER ST
CHRISTIAN ST                  S SWANSON ST                  S SWANSON ST
S REESE ST                    DEAD END NORTH                CATHARINE ST
FULTON ST                     S 6TH ST                      CUL DE SAC WEST
FEDERAL ST                    CUNNINGHAMS CT                S 12TH ST
FEDERAL ST                    S 11TH ST                     CUNNINGHAMS CT
S 3RD ST                      CHRISTIAN ST                  SALTER ST
S 3RD ST                      SALTER ST                     MONTROSE ST
SALTER ST                     S 3RD ST                      CUL DE SAC WEST
WASHINGTON AVE                S CHRISTOPHER COLUMBUS BLVD   S WATER ST
DELANCEY ST                   DELANCEY CT                   S PHILIP ST
DELANCEY ST                   S 2ND ST                      DELANCEY CT
N 64TH ST                     SHERWOOD RD                   OVERBROOK AVE
N 62ND ST                     LANCASTER AVE                 WOODBINE AVE
N 64TH ST                     DREXEL RD                     SHERWOOD RD
N 66TH ST                     SHERWOOD RD                   OVERBROOK AVE
N 64TH ST                     WOODBINE AVE                  DREXEL RD
N 61ST ST                     LEBANON AVE                   LANCASTER AVE
N 61ST ST                     LEBANON AVE                   LANCASTER AVE
N 66TH ST                     DREXEL RD                     SHERWOOD RD
N 69TH ST                     SHERWOOD RD                   CITY AVE
N 61ST ST                     HAZELHURST ST                 LEBANON AVE
PARKSIDE AVE                  ABERDEEN ST                   N 53RD ST
N 52ND ST                     PARKSIDE AVE                  AVENUE OF THE REPUBLIC
PARKSIDE AVE                  N 52ND ST                     W COLUMBIA AVE
WOODBINE AVE                  N 64TH ST                     N 66TH ST
N 66TH ST                     WOODBINE AVE                  DREXEL RD
N 61ST ST                     CLIFFORD TER                  HAZELHURST ST
N 70TH ST                     SHERWOOD RD                   GREENHILL RD
W COLUMBIA AVE                N 59TH ST                     N 60TH ST
N 71ST ST                     GREENHILL RD                  CITY AVE
WOODCREST AVE                 N 64TH ST                     N 66TH ST
WOODCREST AVE                 N 66TH ST                     DEAD END WEST
N WILTON ST                   HESTON ST                     W COLUMBIA AVE
TURNER ST                     N 59TH ST                     N 60TH ST
N 51ST ST                     VIOLA ST                      PARKSIDE AVE
W OXFORD ST                   N 57TH ST                     N 59TH ST
N 64TH ST                     W MONTGOMERY AVE              MALVERN AVE
N 71ST ST                     SHERWOOD RD                   GREENHILL RD
W OXFORD ST                   N 59TH ST                     N 60TH ST
N 60TH ST                     W OXFORD ST                   TURNER ST
N 64TH ST                     DIAMOND ST                    W MONTGOMERY AVE
MORRIS PARK RD                N 66TH ST                     DEAD END WEST
W OXFORD ST                   N 60TH ST                     N 61ST ST
W OXFORD ST                   LANCASTER AVE                 N ALLISON ST
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W OXFORD ST                      N ALLISON ST                  N 56TH ST
N 72ND ST                        SHERWOOD RD                   CITY AVE
N 71ST ST                        BRENTWOOD RD                  SHERWOOD RD
W OXFORD ST                      N 61ST ST                     N 63RD ST
NASSAU RD                        N 60TH ST                     N 61ST ST
N 55TH ST                        JEFFERSON ST                  LANCASTER AVE
JEFFERSON ST                     N 59TH ST                     N REDFIELD ST
JEFFERSON ST                     N 55TH ST                     N ALLISON ST
JEFFERSON ST                     N REDFIELD ST                 N 60TH ST
NASSAU RD                        N 61ST ST                     N 63RD ST
JEFFERSON ST                     N 60TH ST                     N EDGEWOOD ST
N 54TH ST                        STEWART ST                    LANCASTER AVE
N 61ST ST                        JEFFERSON ST                  NASSAU RD
JEFFERSON ST                     N 61ST ST                     N ROBINSON ST
N 55TH ST                        STEWART ST                    JEFFERSON ST
JEFFERSON ST                     N ROBINSON ST                 N 62ND ST
MALVERN AVE                      EDGEMORE RD                   N 67TH ST
JEFFERSON ST                     N 62ND ST                     N FELTON ST
N 54TH ST                        HUNTER ST                     STEWART ST
JEFFERSON ST                     N FELTON ST                   N 63RD ST
MALVERN AVE                      N 67TH ST                     FLANDERS RD
JEFFERSON ST                     N 63RD ST                     WYNNEWOOD RD
HUNTER ST                        N CONESTOGA ST                N 55TH ST
N 55TH ST                        HUNTER ST                     STEWART ST
JEFFERSON ST                     WYNNEWOOD RD                  N 64TH ST
N 64TH ST                        JEFFERSON ST                  LEBANON AVE
STEWART ST                       N 56TH ST                     N 57TH ST
N 65TH ST                        JEFFERSON ST                  LEBANON AVE
N 54TH ST                        LANSDOWNE AVE                 HUNTER ST
HUNTER ST                        N 56TH ST                     N 57TH ST
N 61ST ST                        HADDINGTON LN                 JEFFERSON ST
LEBANON AVE                      ATWOOD RD                     KENMORE RD
N ROBINSON ST                    HADDINGTON LN                 JEFFERSON ST
N 53RD ST                        WARREN ST                     LANSDOWNE AVE
BIBLE WAY                        WARREN ST                     LANCASTER AVE
N 64TH ST                        HADDINGTON ST                 JEFFERSON ST
MERION AVE                       N 50TH ST                     N 51ST ST
N 65TH ST                        HADDINGTON ST                 JEFFERSON ST
WOODBINE AVE                     WEST END DR                   HAVERFORD AVE
N WILTON ST                      MEDIA ST                      WARREN ST
N 60TH ST                        LANSDOWNE AVE                 HADDINGTON LN
MEDIA ST                         N WILTON ST                   N 53RD ST
N 53RD ST                        MEDIA ST                      WARREN ST
MEDIA ST                         N 53RD ST                     N PEACH ST
MEDIA ST                         N PEACH ST                    N 54TH ST
N 61ST ST                        LANSDOWNE AVE                 HADDINGTON LN
WOODCREST AVE                    WEST END DR                   HAVERFORD AVE
LEBANON AVE                      EDGEMORE RD                   N 67TH ST
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N PAXON ST                       WARREN ST                     LANCASTER AVE
MEDIA ST                         N 54TH ST                     N CONESTOGA ST
LEBANON AVE                      N 67TH ST                     N 67TH ST
MEDIA ST                         N CONESTOGA ST                N CONESTOGA ST
MEDIA ST                         N 55TH ST                     N VOGDES ST
WARREN ST                        HARLAN ST                     N PAXON ST
LEBANON AVE                      N 67TH ST                     FLANDERS RD
MEDIA ST                         N VOGDES ST                   N ALLISON ST
N 51ST ST                        WARREN ST                     LANCASTER AVE
WARREN ST                        N 51ST ST                     HARLAN ST
HADDINGTON ST                    N 66TH ST                     N 67TH ST
MEDIA ST                         N ALLISON ST                  N 56TH ST
LEBANON AVE                      FLANDERS RD                   N 68TH ST
N 77TH ST                        SHERWOOD RD                   OVERBROOK AVE
MEDIA ST                         N FRAZIER ST                  N FRAZIER ST
MASTER ST                        LANCASTER AVE                 N 50TH ST
N 64TH ST                        LANSDOWNE AVE                 HADDINGTON ST
LEEDS ST                         N 66TH ST                     N 67TH ST
MASTER ST                        WARREN ST                     N 51ST ST
N 51ST ST                        MASTER ST                     WARREN ST
MEDIA ST                         N WANAMAKER ST                N WANAMAKER ST
LEEDS ST                         N 67TH ST                     N 68TH ST
MASTER ST                        N 51ST ST                     N 52ND ST
MASTER ST                        N 53RD ST                     N PEACH ST
MEDIA ST                         N EDGEWOOD ST                 N 61ST ST
MASTER ST                        N PEACH ST                    N 54TH ST
N 54TH ST                        MASTER ST                     HARLAN ST
WOODBINE AVE                     N 75TH ST                     N 76TH ST
N 76TH ST                        WOODBINE AVE                  BROOKHAVEN RD
N 68TH ST                        LANSDOWNE AVE                 LEEDS ST
MASTER ST                        N CONESTOGA ST                N 55TH ST
MASTER ST                        N 55TH ST                     N VOGDES ST
MEDIA ST                         N FELTON ST                   N FELTON ST
MASTER ST                        N VOGDES ST                   N ALLISON ST
W THOMPSON ST                    N SAINT BERNARD ST            N 50TH ST
FARSON ST                        W THOMPSON ST                 KERSHAW ST
MASTER ST                        N ALLISON ST                  N 56TH ST
N 51ST ST                        W THOMPSON ST                 KERSHAW ST
N 54TH ST                        KERSHAW ST                    MASTER ST
MASTER ST                        N 56TH ST                     N ITHAN ST
MASTER ST                        N ITHAN ST                    N FRAZIER ST
MASTER ST                        N FRAZIER ST                  N FRAZIER ST
N 64TH ST                        MEDIA ST                      LANSDOWNE AVE
MASTER ST                        N FRAZIER ST                  N 57TH ST
N 76TH ST                        WOODCREST AVE                 WOODCREST AVE
N 67TH ST                        MEDIA ST                      LANSDOWNE AVE
RHOADS ST                        HAVERFORD AVE                 N 75TH ST
MASTER ST                        N 58TH ST                     N WANAMAKER ST
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N 65TH ST                        HARLAN ST                     MEDIA ST
N 53RD ST                        W THOMPSON ST                 KERSHAW ST
MASTER ST                        N WANAMAKER ST                N HOBART ST
N 77TH ST                        WOODBINE AVE                  BROOKHAVEN RD
MASTER ST                        N HOBART ST                   N 59TH ST
MEDIA ST                         FLANDERS RD                   N 68TH ST
N 68TH ST                        MEDIA ST                      LANSDOWNE AVE
N 54TH ST                        W THOMPSON ST                 KERSHAW ST
N REDFIELD ST                    MASTER ST                     MEDIA ST
W THOMPSON ST                    N 54TH ST                     N CONESTOGA ST
N 66TH ST                        HARLAN ST                     MEDIA ST
N 60TH ST                        MASTER ST                     MEDIA ST
MASTER ST                        N EDGEWOOD ST                 N 61ST ST
W GIRARD AVE                     N SAINT BERNARD ST            N 50TH ST
W THOMPSON ST                    N 55TH ST                     N ALLISON ST
MASTER ST                        N 61ST ST                     N ROBINSON ST
W THOMPSON ST                    N ALLISON ST                  N 56TH ST
N 68TH ST                        HAVERFORD AVE                 MEDIA ST
N 53RD ST                        W STILES ST                   W THOMPSON ST
MASTER ST                        N ROBINSON ST                 N 62ND ST
W GIRARD AVE                     N 50TH ST                     N 51ST ST
N FRAZIER ST                     W THOMPSON ST                 MASTER ST
N HIRST ST                       MASTER ST                     MEDIA ST
WOODCREST AVE                    N 76TH ST                     N 77TH ST
N FELTON ST                      MASTER ST                     MEDIA ST
N 54TH ST                        W STILES ST                   W THOMPSON ST
N 65TH ST                        HAVERFORD AVE                 HARLAN ST
N ALDEN ST                       W THOMPSON ST                 MASTER ST
N 64TH ST                        HAVERFORD AVE                 MEDIA ST
W THOMPSON ST                    N 58TH ST                     N WANAMAKER ST
W THOMPSON ST                    N WANAMAKER ST                N HOBART ST
W GIRARD AVE                     N CREIGHTON ST                N 52ND ST
W THOMPSON ST                    N HOBART ST                   N 59TH ST
W THOMPSON ST                    N 59TH ST                     N REDFIELD ST
W GIRARD AVE                     N WILTON ST                   N 53RD ST
W THOMPSON ST                    N REDFIELD ST                 N 60TH ST
W GIRARD AVE                     N 53RD ST                     N PEACH ST
W GIRARD AVE                     N PEACH ST                    N 54TH ST
N 66TH ST                        W STILES ST                   HAVERFORD AVE
W GIRARD AVE                     N 54TH ST                     N YEWDALL ST
W GIRARD AVE                     N YEWDALL ST                  N CONESTOGA ST
W GIRARD AVE                     N CONESTOGA ST                N SICKELS ST
W GIRARD AVE                     N SICKELS ST                  N 55TH ST
N 67TH ST                        W GIRARD AVE                  HAVERFORD AVE
N 76TH ST                        BROCKTON RD                   MALVERN AVE
W GIRARD AVE                     N 55TH ST                     N ALLISON ST
N 61ST ST                        HAVERFORD AVE                 W THOMPSON ST
N 66TH ST                        W GIRARD AVE                  W STILES ST
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W GIRARD AVE                     N ALLISON ST                  N 56TH ST
W GIRARD AVE                     ATWOOD RD                     N 66TH ST
W GIRARD AVE                     N 56TH ST                     N FRAZIER ST
N FRAZIER ST                     W GIRARD AVE                  W THOMPSON ST
N 53RD ST                        POPLAR ST                     W GIRARD AVE
W GIRARD AVE                     N FRAZIER ST                  N 57TH ST
W GIRARD AVE                     N 57TH ST                     N ALDEN ST
N 58TH ST                        W GIRARD AVE                  W THOMPSON ST
W GIRARD AVE                     N WANAMAKER ST                N HOBART ST
W GIRARD AVE                     N 63RD ST                     N GROSS ST
W GIRARD AVE                     N HOBART ST                   N 59TH ST
N 59TH ST                        W GIRARD AVE                  W THOMPSON ST
N 55TH ST                        POPLAR ST                     CAMBRIDGE ST
W GIRARD AVE                     N FELTON ST                   N 63RD ST
W GIRARD AVE                     N 59TH ST                     N REDFIELD ST
N REDFIELD ST                    W GIRARD AVE                  W THOMPSON ST
W GIRARD AVE                     N REDFIELD ST                 HAVERFORD AVE
WYALUSING AVE                    N CREIGHTON ST                N CREIGHTON ST
N 56TH ST                        POPLAR ST                     CAMBRIDGE ST
N 58TH ST                        CAMBRIDGE ST                  W GIRARD AVE
W GIRARD AVE                     HAVERFORD AVE                 N EDGEWOOD ST
N 61ST ST                        W GIRARD AVE                  HAVERFORD AVE
N 55TH ST                        HARMER ST                     POPLAR ST
WYALUSING AVE                    N WILTON ST                   N 53RD ST
N 58TH ST                        POPLAR ST                     CAMBRIDGE ST
WYALUSING AVE                    N 53RD ST                     N 54TH ST
N 56TH ST                        HARMER ST                     POPLAR ST
CALLOWHILL ST                    N 66TH ST                     EDGEMORE RD
N 62ND ST                        NOBLE ST                      W GIRARD AVE
NOBLE ST                         HORTON ST                     N 62ND ST
N 55TH ST                        WYALUSING AVE                 HARMER ST
N 61ST ST                        NOBLE ST                      W GIRARD AVE
N 58TH ST                        HARMER ST                     POPLAR ST
N 64TH ST                        CALLOWHILL ST                 W GIRARD AVE
N GROSS ST                       CALLOWHILL ST                 W GIRARD AVE
WYALUSING AVE                    N FRAZIER ST                  N 57TH ST
N 51ST ST                        WESTMINSTER AVE               WYALUSING AVE
PENNSGROVE ST                    N 52ND ST                     N 53RD ST
N 53RD ST                        PENNSGROVE ST                 WYALUSING AVE
CALLOWHILL ST                    N 63RD ST                     N GROSS ST
N 54TH ST                        PENNSGROVE ST                 WYALUSING AVE
CALLOWHILL ST                    N FELTON ST                   N 63RD ST
CALLOWHILL ST                    N 62ND ST                     N FELTON ST
CALLOWHILL ST                    HORTON ST                     N 62ND ST
PENNSGROVE ST                    N CONESTOGA ST                N 55TH ST
CARLTON ST                       N 64TH ST                     N SIMPSON ST
CALLOWHILL ST                    N ROBINSON ST                 HORTON ST
CALLOWHILL ST                    N 61ST ST                     N ROBINSON ST
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CALLOWHILL ST                 N EDGEWOOD ST                 N 61ST ST
N 51ST ST                     HOOPES ST                     WESTMINSTER AVE
N 54TH ST                     WESTMINSTER AVE               PENNSGROVE ST
CALLOWHILL ST                 N 60TH ST                     N EDGEWOOD ST
CALLOWHILL ST                 GRAHAM ST                     N SALFORD ST
N REDFIELD ST                 CALLOWHILL ST                 HAVERFORD AVE
CALLOWHILL ST                 N REDFIELD ST                 GRAHAM ST
N 55TH ST                     WESTMINSTER AVE               PENNSGROVE ST
WESTMINSTER AVE               N ALLISON ST                  HAVERFORD AVE
VINE ST                       N 65TH ST                     PARK RD
VINE ST                       N 64TH ST                     N AVONDALE ST
N 53RD ST                     OGDEN ST                      WESTMINSTER AVE
VINE ST                       N GROSS ST                    N 64TH ST
VINE ST                       N 63RD ST                     N GROSS ST
N 54TH ST                     OGDEN ST                      WESTMINSTER AVE
VINE ST                       N FELTON ST                   N 63RD ST
VINE ST                       N 62ND ST                     N FELTON ST
VINE ST                       HORTON ST                     N 62ND ST
N 53RD ST                     PARRISH ST                    OGDEN ST
VINE ST                       N ROBINSON ST                 N ROBINSON ST
VINE ST                       N 61ST ST                     N ROBINSON ST
VINE ST                       N EDGEWOOD ST                 N 61ST ST
N 54TH ST                     PARRISH ST                    OGDEN ST
VINE ST                       N 60TH ST                     N EDGEWOOD ST
VINE ST                       GRAHAM ST                     N SALFORD ST
N 54TH ST                     HAVERFORD AVE                 PARRISH ST
VINE ST                       N REDFIELD ST                 GRAHAM ST
VINE ST                       N 59TH ST                     N REDFIELD ST
VINE ST                       N HOBART ST                   N 59TH ST
VINE ST                       N WANAMAKER ST                N HOBART ST
VINE ST                       N 58TH ST                     N WANAMAKER ST
N 54TH ST                     PEARL ST                      HAVERFORD AVE
N 65TH ST                     RACE ST                       VINE ST
N SIMPSON ST                  RACE ST                       VINE ST
VINE ST                       N 57TH ST                     N ALDEN ST
RACE ST                       N 64TH ST                     N AVONDALE ST
N 59TH ST                     SUMMER ST                     VINE ST
RACE ST                       N GROSS ST                    N 64TH ST
N 56TH ST                     VINE ST                       PEARL ST
VINE ST                       N 56TH ST                     N 57TH ST
RACE ST                       WILKINSON ST                  N 63RD ST
N WILTON ST                   HAVERFORD AVE                 PARRISH ST
N 55TH ST                     VINE ST                       PEARL ST
RACE ST                       N FELTON ST                   WILKINSON ST
N 60TH ST                     SPRING ST                     SUMMER ST
RACE ST                       N 62ND ST                     N FELTON ST
N 58TH ST                     SUMMER ST                     VINE ST
N 59TH ST                     SPRING ST                     SUMMER ST
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RACE ST                           N DEWEY ST                    N ROBINSON ST
SUMMER ST                         N ALDEN ST                    N ALDEN ST
VINE ST                           N RUBY ST                     N 54TH ST
VINE ST                           N PEACH ST                    N RUBY ST
VINE ST                           N WILTON ST                   N 53RD ST
N 53RD ST                         VINE ST                       HAVERFORD AVE
VINE ST                           N 53RD ST                     N PEACH ST
RACE ST                           N EDGEWOOD ST                 N MILLICK ST
N 60TH ST                         RACE ST                       SPRING ST
RACE ST                           N REDFIELD ST                 N SALFORD ST
N 59TH ST                         RACE ST                       SPRING ST
RACE ST                           N 59TH ST                     N REDFIELD ST
RACE ST                           N HOBART ST                   N 59TH ST
RACE ST                           N WANAMAKER ST                N HOBART ST
N 58TH ST                         RACE ST                       SUMMER ST
RACE ST                           N 58TH ST                     N WANAMAKER ST
N 54TH ST                         SUMMER ST                     VINE ST
RACE ST                           N ALDEN ST                    N CECIL ST
RACE ST                           N ALDEN ST                    N ALDEN ST
N 54TH ST                         SPRING ST                     SUMMER ST
RACE ST                           N VOGDES ST                   N 56TH ST
ARCH ST                           N FELTON ST                   WILKINSON ST
N FELTON ST                       ARCH ST                       RACE ST
ARCH ST                           N FELTON ST                   N FELTON ST
N 62ND ST                         ARCH ST                       RACE ST
N 54TH ST                         RACE ST                       SPRING ST
N DEWEY ST                        ARCH ST                       RACE ST
RACE ST                           N RUBY ST                     N 54TH ST
N 61ST ST                         ARCH ST                       RACE ST
RACE ST                           N PEACH ST                    N RUBY ST
N ALDEN ST                        CHERRY ST                     RACE ST
CHERRY ST                         N 57TH ST                     N ALDEN ST
RACE ST                           N 53RD ST                     N PEACH ST
N MILLICK ST                      ARCH ST                       RACE ST
N EDGEWOOD ST                     ARCH ST                       RACE ST
RACE ST                           N LINDENWOOD ST               N 53RD ST
RACE ST                           N WILTON ST                   N LINDENWOOD ST
N 60TH ST                         ARCH ST                       RACE ST
RACE ST                           N CREIGHTON ST                N 52ND ST
N 55TH ST                         CHERRY ST                     RACE ST
ARCH ST                           N REDFIELD ST                 N SALFORD ST
RACE ST                           N PAXON ST                    N CREIGHTON ST
ARCH ST                           N 59TH ST                     N REDFIELD ST
N CONESTOGA ST                    CHERRY ST                     RACE ST
ARCH ST                           N WANAMAKER ST                N HOBART ST
N 56TH ST                         APPLETREE ST                  CHERRY ST
N 58TH ST                         ARCH ST                       CHERRY ST
ARCH ST                           N 57TH ST                     N ALDEN ST
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ARCH ST                           N ITHAN ST                    N FRAZIER ST
ARCH ST                           N VOGDES ST                   N 56TH ST
N 59TH ST                         FILBERT ST                    ARCH ST
N 55TH ST                         ARCH ST                       CHERRY ST
N SICKELS ST                      ARCH ST                       CHERRY ST
N CONESTOGA ST                    ARCH ST                       CHERRY ST
N 58TH ST                         FILBERT ST                    FILBERT ST
N 58TH ST                         COMMERCE ST                   FILBERT ST
S 58TH ST                         MARKET ST                     LUDLOW ST
N 53RD ST                         S 53RD ST                     ARCH ST
S 61ST ST                         CHESTNUT ST                   SANSOM ST
S 55TH ST                         LUDLOW ST                     CHESTNUT ST
S 60TH ST                         SANSOM ST                     WALNUT ST
S 56TH ST                         CHESTNUT ST                   SANSOM ST
S 59TH ST                         SANSOM ST                     WALNUT ST
S 55TH ST                         CHESTNUT ST                   SANSOM ST
S 60TH ST                         WALNUT ST                     CHANCELLOR ST
S 62ND ST                         CHANCELLOR ST                 LOCUST ST
S 56TH ST                         SANSOM ST                     WALNUT ST
LOCUST ST                         S MILLICK ST                  S 61ST ST
S 55TH ST                         SANSOM ST                     WALNUT ST
LOCUST ST                         S EDGEWOOD ST                 S MILLICK ST
S 60TH ST                         CHANCELLOR ST                 LOCUST ST
S 62ND ST                         LOCUST ST                     IRVING ST
S 59TH ST                         CHANCELLOR ST                 LOCUST ST
CHANCELLOR ST                     S 55TH ST                     S 56TH ST
S 59TH ST                         LOCUST ST                     IRVING ST
S 60TH ST                         IRVING ST                     MANNING ST
S 53RD ST                         WALNUT ST                     CHANCELLOR ST
S 59TH ST                         IRVING ST                     MANNING ST
MANNING ST                        S 59TH ST                     S 60TH ST
S 60TH ST                         MANNING ST                    SPRUCE ST
S 56TH ST                         LOCUST ST                     IRVING ST
S 53RD ST                         CHANCELLOR ST                 LOCUST ST
S 59TH ST                         MANNING ST                    SPRUCE ST
S 60TH ST                         SPRUCE ST                     DELANCEY ST
S 55TH ST                         LOCUST ST                     IRVING ST
S 54TH ST                         LOCUST ST                     IRVING ST
S 53RD ST                         LOCUST ST                     IRVING ST
S 53RD ST                         IRVING ST                     SPRUCE ST
LEBANON AVE                       MARLYN RD                     MARLYN RD
N 56TH ST                         HUNTER ST                     HUNTER ST
MASTER ST                         N CONESTOGA ST                N CONESTOGA ST
W GIRARD AVE                      N 65TH ST                     N DAGGETT ST
W GIRARD AVE                      N DAGGETT ST                  ATWOOD RD
N DAGGETT ST                      CALLOWHILL ST                 W GIRARD AVE
VINE ST                           N SIMPSON ST                  N SIMPSON ST
VINE ST                           N ROBINSON ST                 HORTON ST
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VINE ST                       HORTON ST                     HORTON ST
RACE ST                       N ROBINSON ST                 HORTON ST
N ROBINSON ST                 ARCH ST                       RACE ST
CALLOWHILL ST                 N 59TH ST                     N REDFIELD ST
CALLOWHILL ST                 N REDFIELD ST                 N REDFIELD ST
N VOGDES ST                   SPRING ST                     SUMMER ST
WESTMINSTER AVE               N 56TH ST                     N 57TH ST
N 56TH ST                     PEARL ST                      HAVERFORD AVE
S FRAZIER ST                  SPRUCE ST                     PINE ST
S 60TH ST                     LOCUST ST                     IRVING ST
S 60TH ST                     IRVING ST                     IRVING ST
W THOMPSON ST                 N 61ST ST                     HAVERFORD AVE
N 66TH ST                     WOODCREST AVE                 WOODBINE AVE
N 64TH ST                     WOODCREST AVE                 WOODBINE AVE
N 64TH ST                     MORRIS PARK RD                WOODCREST AVE
N 66TH ST                     MORRIS PARK RD                WOODCREST AVE
N 64TH ST                     MALVERN AVE                   MORRIS PARK RD
MALVERN AVE                   N 65TH ST                     ATWOOD RD
DIAMOND ST                    N 65TH ST                     ATWOOD RD
MALVERN AVE                   MARLYN RD                     N 65TH ST
DIAMOND ST                    MARLYN RD                     N 65TH ST
MALVERN AVE                   N 64TH ST                     MARLYN RD
N 66TH ST                     LOTUS RD                      MORRIS PARK RD
DIAMOND ST                    N 64TH ST                     MARLYN RD
MALVERN AVE                   ATWOOD RD                     N 66TH ST
MALVERN AVE                   N 66TH ST                     EDGEMORE RD
N 67TH ST                     LEBANON AVE                   W OXFORD ST
W OXFORD ST                   EDGEMORE RD                   N 67TH ST
W OXFORD ST                   FLANDERS RD                   N 68TH ST
N 68TH ST                     LEBANON AVE                   W OXFORD ST
LEBANON AVE                   KENMORE RD                    N 66TH ST
HADDINGTON ST                 ATWOOD RD                     KENMORE RD
OVERBROOK AVE                 HAVERFORD AVE                 N 76TH ST
N 75TH ST                     BROOKHAVEN RD                 BRENTWOOD RD
N 67TH ST                     CALLOWHILL ST                 W GIRARD AVE
W GIRARD AVE                  EDGEMORE RD                   N 67TH ST
W GIRARD AVE                  N 66TH ST                     EDGEMORE RD
W COLUMBIA AVE                WYNNEWOOD RD                  N 64TH ST
N 64TH ST                     LEBANON AVE                   W COLUMBIA AVE
JEFFERSON ST                  MARLYN RD                     N 65TH ST
LEBANON AVE                   MARLYN RD                     N 65TH ST
JEFFERSON ST                  N 65TH ST                     ATWOOD RD
N 65TH ST                     MEDIA ST                      LANSDOWNE AVE
HARLAN ST                     ATWOOD RD                     KENMORE RD
MEDIA ST                      ATWOOD RD                     KENMORE RD
MEDIA ST                      N 65TH ST                     ATWOOD RD
HARLAN ST                     N 65TH ST                     ATWOOD RD
ATWOOD RD                     HAVERFORD AVE                 HARLAN ST
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N REDFIELD ST                 HADDINGTON LN                 JEFFERSON ST
N 60TH ST                     HADDINGTON LN                 JEFFERSON ST
HADDINGTON ST                 N 65TH ST                     ATWOOD RD
HADDINGTON ST                 MARLYN RD                     N 65TH ST
HADDINGTON ST                 N 64TH ST                     MARLYN RD
HAZELHURST ST                 N 60TH ST                     N 61ST ST
CLIFFORD TER                  N 60TH ST                     N 61ST ST
N 60TH ST                     TURNER ST                     W COLUMBIA AVE
N 61ST ST                     W OXFORD ST                   W COLUMBIA AVE
N 60TH ST                     NASSAU RD                     W OXFORD ST
N 61ST ST                     NASSAU RD                     W OXFORD ST
N 60TH ST                     JEFFERSON ST                  NASSAU RD
CALLOWHILL ST                 N DAGGETT ST                  N 66TH ST
CALLOWHILL ST                 N 65TH ST                     N DAGGETT ST
WESTMINSTER AVE               N 51ST ST                     N PAXON ST
WESTMINSTER AVE               N PAXON ST                    N PAXON ST
N 77TH ST                     OVERBROOK AVE                 CITY AVE
OVERBROOK AVE                 MERIBROOK RD                  ASHURST RD
OVERBROOK AVE                 N 77TH ST                     MERIBROOK RD
OVERBROOK AVE                 FARRINGTON RD                 N 77TH ST
OVERBROOK AVE                 PENNINGTON RD                 FARRINGTON RD
OVERBROOK AVE                 N 76TH ST                     PENNINGTON RD
N 76TH ST                     SHERWOOD RD                   GREENHILL RD
N 76TH ST                     BROOKHAVEN RD                 BRENTWOOD RD
N 76TH ST                     BRENTWOOD RD                  SHERWOOD RD
N 77TH ST                     BRENTWOOD RD                  SHERWOOD RD
N 77TH ST                     BROOKHAVEN RD                 BRENTWOOD RD
N 76TH ST                     GREENHILL RD                  OVERBROOK AVE
WEST END DR                   BRENTWOOD RD                  SHERWOOD RD
WOODBINE AVE                  N 76TH ST                     PENNINGTON RD
WEST END DR                   BROOKHAVEN RD                 BRENTWOOD RD
WEST END DR                   DREXEL RD                     BROOKHAVEN RD
WEST END DR                   WOODBINE AVE                  DREXEL RD
WEST END DR                   WOODCREST AVE                 WOODBINE AVE
WEST END DR                   MALVERN AVE                   WOODCREST AVE
N 75TH ST                     DREXEL RD                     BROOKHAVEN RD
N 75TH ST                     WOODBINE AVE                  DREXEL RD
WOODBINE AVE                  HAVERFORD AVE                 N 75TH ST
MALVERN AVE                   HAVERFORD AVE                 N 75TH ST
N 75TH ST                     RUSKIN RD                     MALVERN AVE
N 76TH ST                     OVERBROOK AVE                 CITY AVE
WOODCREST AVE                 N 75TH ST                     N 76TH ST
N 76TH ST                     WYNDALE AVE                   WOODCREST AVE
N 75TH ST                     RHOADS ST                     RUSKIN RD
N 75TH ST                     LANSDOWNE AVE                 BROCKTON RD
WOODBINE AVE                  FARRINGTON RD                 N 77TH ST
WOODBINE AVE                  PENNINGTON RD                 FARRINGTON RD
N 77TH ST                     WOODCREST AVE                 WOODBINE AVE
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N 77TH ST                     WYNDALE AVE                   WOODCREST AVE
MALVERN AVE                   PENNINGTON RD                 FARRINGTON RD
MALVERN AVE                   N 76TH ST                     PENNINGTON RD
MALVERN AVE                   KIMBERLY DR                   N 76TH ST
MALVERN AVE                   WESTBURY DR                   KIMBERLY DR
MALVERN AVE                   N 75TH ST                     WESTBURY DR
LEBANON AVE                   N 64TH ST                     MARLYN RD
JEFFERSON ST                  N 64TH ST                     MARLYN RD
N 66TH ST                     OVERBROOK AVE                 CITY AVE
N ALDEN ST                    ARCH ST                       CHERRY ST
VINE ST                       N 55TH ST                     N VOGDES ST
N 55TH ST                     SUMMER ST                     NEW PL
N 59TH ST                     LANCASTER AVE                 N WANAMAKER ST
MEDIA ST                      N 52ND ST                     N WILTON ST
WESTMINSTER AVE               N 53RD ST                     N 54TH ST
N 58TH ST                     VINE ST                       CALLOWHILL ST
N 56TH ST                     RACE ST                       SUMMER ST
N 53RD ST                     RACE ST                       VINE ST
PARK RD                       N DAGGETT ST                  DEAD END WEST
WESTBURY DR                   BROCKTON RD                   MALVERN AVE
ATWOOD RD                     W STILES ST                   HAVERFORD AVE
W STILES ST                   ATWOOD RD                     N 66TH ST
ATWOOD RD                     W GIRARD AVE                  W STILES ST
N 50TH ST                     JEFFERSON ST                  PARKSIDE AVE
WOODCREST AVE                 DEAD END NORTH                WEST END DR
SHERWOOD RD                   N 64TH ST                     N 66TH ST
DREXEL RD                     N 64TH ST                     N 66TH ST
GREENHILL RD                  CITY AVE                      N 70TH ST
WYNNEWOOD RD                  W MONTGOMERY AVE              MALVERN AVE
GREENHILL RD                  N 70TH ST                     N 71ST ST
MORRIS PARK RD                N 64TH ST                     N 66TH ST
SHERWOOD RD                   N 70TH ST                     N 71ST ST
WYNNEWOOD RD                  LEBANON AVE                   W COLUMBIA AVE
MARLYN RD                     DIAMOND ST                    MALVERN AVE
SHERWOOD RD                   N 71ST ST                     N 72ND ST
BRENTWOOD RD                  WOODBINE AVE                  N 71ST ST
BRENTWOOD RD                  N 71ST ST                     N 72ND ST
ATWOOD RD                     DIAMOND ST                    MALVERN AVE
SHERWOOD RD                   GREENHILL RD                  HAVERFORD AVE
MARLYN RD                     JEFFERSON ST                  LEBANON AVE
BRENTWOOD RD                  WEST END DR                   HAVERFORD AVE
SHERWOOD RD                   HAVERFORD AVE                 N 75TH ST
BROOKHAVEN RD                 WEST END DR                   HAVERFORD AVE
DREXEL RD                     WEST END DR                   HAVERFORD AVE
MARLYN RD                     HADDINGTON ST                 JEFFERSON ST
SHERWOOD RD                   N 75TH ST                     N 76TH ST
BROOKHAVEN RD                 HAVERFORD AVE                 N 75TH ST
ATWOOD RD                     HADDINGTON ST                 JEFFERSON ST
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PENNINGTON RD                SHERWOOD RD                   OVERBROOK AVE
BRENTWOOD RD                 N 75TH ST                     N 76TH ST
DREXEL RD                    HAVERFORD AVE                 N 75TH ST
FARRINGTON RD                SHERWOOD RD                   OVERBROOK AVE
RUSKIN RD                    CUL DE SAC NORTH              PENNWOOD RD
BROOKHAVEN RD                N 75TH ST                     N 76TH ST
WYNNEWOOD RD                 LANSDOWNE AVE                 JEFFERSON ST
MERIBROOK RD                 SHERWOOD RD                   OVERBROOK AVE
ATWOOD RD                    LANSDOWNE AVE                 HADDINGTON ST
BRENTWOOD RD                 N 76TH ST                     N 77TH ST
KENMORE RD                   LANSDOWNE AVE                 HADDINGTON ST
PENNINGTON RD                WOODBINE AVE                  BROOKHAVEN RD
MARLYN RD                    MEDIA ST                      LANSDOWNE AVE
RUSKIN RD                    HAVERFORD AVE                 N 75TH ST
WYNNEWOOD RD                 MEDIA ST                      LANSDOWNE AVE
FARRINGTON RD                WOODBINE AVE                  BROOKHAVEN RD
ATWOOD RD                    HARLAN ST                     MEDIA ST
KENMORE RD                   HARLAN ST                     MEDIA ST
MERIBROOK RD                 WOODBINE AVE                  BROOKHAVEN RD
BROCKTON RD                  HAVERFORD AVE                 N 75TH ST
EDGEMORE RD                  HAVERFORD AVE                 MEDIA ST
MARLYN RD                    HAVERFORD AVE                 MEDIA ST
KIMBERLY DR                  BROCKTON RD                   MALVERN AVE
PENNINGTON RD                BROCKTON RD                   MALVERN AVE
WYNNEWOOD RD                 MASTER ST                     MEDIA ST
EDGEMORE RD                  W OXFORD ST                   MALVERN AVE
EDGEMORE RD                  LEBANON AVE                   W OXFORD ST
FLANDERS RD                  LEBANON AVE                   W OXFORD ST
KENMORE RD                   HADDINGTON ST                 LEBANON AVE
GREENHILL RD                 HAVERFORD AVE                 N 76TH ST
EDGEMORE RD                  CALLOWHILL ST                 W GIRARD AVE
MARLYN RD                    LEBANON AVE                   DIAMOND ST
ATWOOD RD                    MEDIA ST                      LANSDOWNE AVE
SHERWOOD RD                  MERIBROOK RD                  ASHURST RD
SHERWOOD RD                  N 77TH ST                     MERIBROOK RD
SHERWOOD RD                  FARRINGTON RD                 N 77TH ST
SHERWOOD RD                  PENNINGTON RD                 FARRINGTON RD
SHERWOOD RD                  N 76TH ST                     PENNINGTON RD
BROOKHAVEN RD                N 76TH ST                     PENNINGTON RD
RUSKIN RD                    PENNWOOD RD                   HAVERFORD AVE
GREENHILL RD                 SHERWOOD RD                   HAVERFORD AVE
BROOKHAVEN RD                FARRINGTON RD                 N 77TH ST
BROOKHAVEN RD                PENNINGTON RD                 FARRINGTON RD
BROCKTON RD                  N 76TH ST                     PENNINGTON RD
BROCKTON RD                  KIMBERLY DR                   N 76TH ST
BROCKTON RD                  WESTBURY DR                   KIMBERLY DR
BROCKTON RD                  N 75TH ST                     WESTBURY DR
N 75TH ST                    LANSDOWNE AVE                 BROCKTON RD
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SHERWOOD RD                   N 69TH ST                     N 70TH ST
SHERWOOD RD                   N 66TH ST                     N 69TH ST
WYNNEWOOD RD                  MALVERN AVE                   WOODBINE AVE
N 76TH ST                     MALVERN AVE                   WYNDALE AVE
LOTUS RD                      N 66TH ST                     DEAD END WEST
N 67TH ST                     W OXFORD ST                   MALVERN AVE
FLANDERS RD                   W OXFORD ST                   MALVERN AVE
N 68TH ST                     W OXFORD ST                   MALVERN AVE
N 67TH ST                     W OXFORD ST                   W OXFORD ST
N 62ND ST                     LEBANON AVE                   LANCASTER AVE
WYNNEWOOD RD                  W COLUMBIA AVE                W MONTGOMERY AVE
N 75TH ST                     BRENTWOOD RD                  SHERWOOD RD
BROCKTON RD                   HAVERFORD AVE                 PENNWOOD RD
BROOKHAVEN RD                 N 77TH ST                     MERIBROOK RD
WOODBINE AVE                  N 77TH ST                     MERIBROOK RD
BROOKHAVEN RD                 MERIBROOK RD                  ASHURST RD
HARLAN ST                     KENMORE RD                    N 66TH ST
WYNDALE AVE                   N 76TH ST                     N 77TH ST
N 66TH ST                     CALLOWHILL ST                 W GIRARD AVE
UPLAND WAY                    N 54TH ST                     W MONTGOMERY AVE
ATWOOD RD                     JEFFERSON ST                  LEBANON AVE
N 65TH ST                     CALLOWHILL ST                 W GIRARD AVE
BROCKTON RD                   PENNINGTON RD                 FARRINGTON RD
LEBANON AVE                   N 65TH ST                     ATWOOD RD
W OXFORD ST                   W COLUMBIA AVE                N 54TH ST
BRENTWOOD RD                  N 72ND ST                     N 72ND ST
WOODBINE AVE                  BRENTWOOD RD                  N 72ND ST
WEST END DR                   WOODCREST AVE                 WOODCREST AVE
WARREN ST                     MASTER ST                     N 51ST ST
N WANAMAKER ST                HAVERFORD AVE                 W GIRARD AVE
N HOBART ST                   CALLOWHILL ST                 HAVERFORD AVE
RACE ST                       N 65TH ST                     N DAGGETT ST
SUMMER ST                     N 57TH ST                     N ALDEN ST
N 55TH ST                     SPRING ST                     SUMMER PL
ARCH ST                       N 63RD ST                     N GROSS ST
N 65TH ST                     DIAMOND ST                    MALVERN AVE
N 65TH ST                     LEBANON AVE                   DIAMOND ST
N 64TH ST                     W COLUMBIA AVE                DIAMOND ST
N 66TH ST                     MALVERN AVE                   LOTUS RD
LEBANON AVE                   N 66TH ST                     EDGEMORE RD
N 66TH ST                     LEBANON AVE                   MALVERN AVE
W OXFORD ST                   N 67TH ST                     FLANDERS RD
MALVERN AVE                   FLANDERS RD                   N 68TH ST
N 68TH ST                     LEEDS ST                      LEBANON AVE
N 67TH ST                     LEEDS ST                      HADDINGTON ST
N 66TH ST                     LEEDS ST                      HADDINGTON ST
N 66TH ST                     HADDINGTON ST                 LEBANON AVE
N 67TH ST                     HADDINGTON ST                 LEBANON AVE
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N 67TH ST                    LANSDOWNE AVE                 LEEDS ST
N 66TH ST                    LANSDOWNE AVE                 LEEDS ST
MEDIA ST                     EDGEMORE RD                   N 67TH ST
N 66TH ST                    MEDIA ST                      LANSDOWNE AVE
MEDIA ST                     N 66TH ST                     EDGEMORE RD
MEDIA ST                     KENMORE RD                    N 66TH ST
N 66TH ST                    HAVERFORD AVE                 HARLAN ST
N 67TH ST                    HAVERFORD AVE                 MEDIA ST
MEDIA ST                     N 67TH ST                     FLANDERS RD
MALVERN AVE                  N 63RD ST                     WYNNEWOOD RD
W MONTGOMERY AVE             WYNNEWOOD RD                  N 64TH ST
W COLUMBIA AVE               N 61ST ST                     N 63RD ST
LEBANON AVE                  WYNNEWOOD RD                  N 64TH ST
MEDIA ST                     MARLYN RD                     N 65TH ST
N FELTON ST                  MEDIA ST                      LANSDOWNE AVE
N 62ND ST                    MEDIA ST                      LANSDOWNE AVE
N ROBINSON ST                MEDIA ST                      LANSDOWNE AVE
MEDIA ST                     N 64TH ST                     MARLYN RD
MEDIA ST                     WYNNEWOOD RD                  N 64TH ST
MEDIA ST                     N 63RD ST                     WYNNEWOOD RD
MEDIA ST                     N FELTON ST                   N 63RD ST
MEDIA ST                     N 62ND ST                     N HIRST ST
MEDIA ST                     N ROBINSON ST                 N 62ND ST
N 61ST ST                    MEDIA ST                      LANSDOWNE AVE
MEDIA ST                     N 61ST ST                     N ROBINSON ST
N 60TH ST                    MEDIA ST                      LANSDOWNE AVE
N REDFIELD ST                MEDIA ST                      LANSDOWNE AVE
MEDIA ST                     N HIRST ST                    N FELTON ST
MASTER ST                    N HIRST ST                    N FELTON ST
N 62ND ST                    MASTER ST                     MEDIA ST
N ROBINSON ST                MASTER ST                     MEDIA ST
MASTER ST                    N 62ND ST                     N HIRST ST
MASTER ST                    N 63RD ST                     HAVERFORD AVE
MASTER ST                    N FELTON ST                   N 63RD ST
N 61ST ST                    MASTER ST                     MEDIA ST
N EDGEWOOD ST                MASTER ST                     MEDIA ST
MASTER ST                    N 60TH ST                     N EDGEWOOD ST
MEDIA ST                     N 60TH ST                     N EDGEWOOD ST
MEDIA ST                     N REDFIELD ST                 N 60TH ST
MASTER ST                    N REDFIELD ST                 N 60TH ST
MEDIA ST                     N 59TH ST                     N REDFIELD ST
MASTER ST                    N 59TH ST                     N REDFIELD ST
N 59TH ST                    MASTER ST                     MEDIA ST
N HOBART ST                  MASTER ST                     MEDIA ST
MEDIA ST                     N HOBART ST                   N 59TH ST
N WANAMAKER ST               MASTER ST                     MEDIA ST
MEDIA ST                     N WANAMAKER ST                N HOBART ST
MEDIA ST                     N 58TH ST                     N WANAMAKER ST
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N 58TH ST                         MASTER ST                     MEDIA ST
N ALDEN ST                        MASTER ST                     MEDIA ST
MEDIA ST                          N ITHAN ST                    N FRAZIER ST
N ITHAN ST                        MASTER ST                     MEDIA ST
N FRAZIER ST                      MASTER ST                     MEDIA ST
N 56TH ST                         MASTER ST                     MEDIA ST
N ALLISON ST                      MASTER ST                     MEDIA ST
MEDIA ST                          N FRAZIER ST                  N 57TH ST
N 55TH ST                         MASTER ST                     MEDIA ST
N CONESTOGA ST                    MASTER ST                     HARLAN ST
N CONESTOGA ST                    SHARSWOOD ST                  MEDIA ST
SHARSWOOD ST                      N 54TH ST                     N CONESTOGA ST
N CONESTOGA ST                    HARLAN ST                     SHARSWOOD ST
N 54TH ST                         HARLAN ST                     SHARSWOOD ST
MASTER ST                         N 54TH ST                     N CONESTOGA ST
N PEACH ST                        MASTER ST                     MEDIA ST
N 54TH ST                         SHARSWOOD ST                  MEDIA ST
N 53RD ST                         HARLAN ST                     MEDIA ST
HARLAN ST                         N 52ND ST                     N 53RD ST
N 53RD ST                         MASTER ST                     HARLAN ST
MASTER ST                         N 52ND ST                     N 53RD ST
HARLAN ST                         WARREN ST                     N 52ND ST
N 59TH ST                         MEDIA ST                      LANSDOWNE AVE
N EDGEWOOD ST                     LANSDOWNE AVE                 HADDINGTON LN
N ROBINSON ST                     LANSDOWNE AVE                 HADDINGTON LN
N REDFIELD ST                     LANSDOWNE AVE                 HADDINGTON LN
HADDINGTON LN                     N 61ST ST                     N ROBINSON ST
HADDINGTON LN                     N EDGEWOOD ST                 N 61ST ST
HADDINGTON LN                     N 60TH ST                     N EDGEWOOD ST
HADDINGTON LN                     N REDFIELD ST                 N 60TH ST
HADDINGTON LN                     N 59TH ST                     N REDFIELD ST
JEFFERSON ST                      N EDGEWOOD ST                 N 61ST ST
N EDGEWOOD ST                     HADDINGTON LN                 JEFFERSON ST
N 62ND ST                         HADDINGTON LN                 JEFFERSON ST
HADDINGTON LN                     N ROBINSON ST                 N 62ND ST
HADDINGTON LN                     N 62ND ST                     N FELTON ST
N FELTON ST                       LANSDOWNE AVE                 HADDINGTON LN
N 62ND ST                         LANSDOWNE AVE                 HADDINGTON LN
N 62ND ST                         HAVERFORD AVE                 MASTER ST
N 61ST ST                         KERSHAW ST                    MASTER ST
N 61ST ST                         W THOMPSON ST                 KERSHAW ST
N ROBINSON ST                     HAVERFORD AVE                 MASTER ST
N 60TH ST                         KERSHAW ST                    MASTER ST
W THOMPSON ST                     N 60TH ST                     N 61ST ST
KERSHAW ST                        N 60TH ST                     N 61ST ST
N 60TH ST                         W GIRARD AVE                  W THOMPSON ST
N 60TH ST                         W THOMPSON ST                 KERSHAW ST
N 59TH ST                         W THOMPSON ST                 MASTER ST
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N HOBART ST                   W THOMPSON ST                 MASTER ST
N WANAMAKER ST                W THOMPSON ST                 MASTER ST
N 58TH ST                     W THOMPSON ST                 MASTER ST
MASTER ST                     N ALDEN ST                    N 58TH ST
W THOMPSON ST                 N ALDEN ST                    N 58TH ST
MASTER ST                     N 57TH ST                     N ALDEN ST
W THOMPSON ST                 N 57TH ST                     N ALDEN ST
N ALDEN ST                    W GIRARD AVE                  W THOMPSON ST
W GIRARD AVE                  N ALDEN ST                    N 58TH ST
W THOMPSON ST                 N FRAZIER ST                  N 57TH ST
N 56TH ST                     W GIRARD AVE                  W THOMPSON ST
W THOMPSON ST                 N 56TH ST                     N FRAZIER ST
N ALLISON ST                  W GIRARD AVE                  W THOMPSON ST
N 55TH ST                     W GIRARD AVE                  W THOMPSON ST
N CONESTOGA ST                W GIRARD AVE                  W THOMPSON ST
N 54TH ST                     W GIRARD AVE                  W STILES ST
CAMBRIDGE ST                  N 55TH ST                     N 56TH ST
POPLAR ST                     N 55TH ST                     N 56TH ST
N 56TH ST                     CAMBRIDGE ST                  W GIRARD AVE
N FRAZIER ST                  WYALUSING AVE                 W GIRARD AVE
N SICKELS ST                  POPLAR ST                     W GIRARD AVE
N 55TH ST                     CAMBRIDGE ST                  W GIRARD AVE
POPLAR ST                     N SICKELS ST                  N 55TH ST
N CONESTOGA ST                POPLAR ST                     W GIRARD AVE
POPLAR ST                     N CONESTOGA ST                N SICKELS ST
N YEWDALL ST                  POPLAR ST                     W GIRARD AVE
POPLAR ST                     N YEWDALL ST                  N CONESTOGA ST
N 54TH ST                     POPLAR ST                     W GIRARD AVE
POPLAR ST                     N 54TH ST                     N YEWDALL ST
POPLAR ST                     N 53RD ST                     N PEACH ST
POPLAR ST                     N PEACH ST                    N 54TH ST
N 54TH ST                     WYALUSING AVE                 POPLAR ST
N PEACH ST                    POPLAR ST                     W GIRARD AVE
WYALUSING AVE                 N 52ND ST                     N WILTON ST
N CREIGHTON ST                CUL DE SAC SOUTH              WYALUSING AVE
WYALUSING AVE                 N CREIGHTON ST                N 52ND ST
WYALUSING AVE                 N PAXON ST                    N CREIGHTON ST
WYALUSING AVE                 N 51ST ST                     N PAXON ST
W STILES ST                   N WILTON ST                   N 53RD ST
N WILTON ST                   W GIRARD AVE                  W STILES ST
N 53RD ST                     W GIRARD AVE                  W STILES ST
W STILES ST                   N 52ND ST                     N WILTON ST
W GIRARD AVE                  N 52ND ST                     N WILTON ST
W STILES ST                   N 53RD ST                     N 54TH ST
N ALLISON ST                  W THOMPSON ST                 MASTER ST
N 56TH ST                     W THOMPSON ST                 MASTER ST
N 55TH ST                     W THOMPSON ST                 MASTER ST
W THOMPSON ST                 N CONESTOGA ST                N 55TH ST
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N CONESTOGA ST                    W THOMPSON ST                 MASTER ST
N 53RD ST                         KERSHAW ST                    MASTER ST
KERSHAW ST                        N 52ND ST                     N 53RD ST
W THOMPSON ST                     N 52ND ST                     N 53RD ST
W THOMPSON ST                     N 53RD ST                     N 54TH ST
KERSHAW ST                        N 53RD ST                     N 54TH ST
N 51ST ST                         W STILES ST                   W THOMPSON ST
W THOMPSON ST                     N 50TH ST                     FARSON ST
N 50TH ST                         W GIRARD AVE                  W STILES ST
N 51ST ST                         W GIRARD AVE                  W STILES ST
W STILES ST                       N 50TH ST                     N 51ST ST
W GIRARD AVE                      N 51ST ST                     N CREIGHTON ST
W STILES ST                       N 51ST ST                     N 52ND ST
KERSHAW ST                        N 51ST ST                     N 52ND ST
W THOMPSON ST                     N 51ST ST                     N 52ND ST
KERSHAW ST                        FARSON ST                     N 51ST ST
W THOMPSON ST                     FARSON ST                     N 51ST ST
N 50TH ST                         KERSHAW ST                    MASTER ST
N 51ST ST                         KERSHAW ST                    MASTER ST
KERSHAW ST                        N 50TH ST                     FARSON ST
N 50TH ST                         W STILES ST                   W THOMPSON ST
KERSHAW ST                        LANCASTER AVE                 N 50TH ST
N 50TH ST                         W THOMPSON ST                 KERSHAW ST
MERION AVE                        N 51ST ST                     N 52ND ST
N 51ST ST                         LANCASTER AVE                 MERION AVE
WARREN ST                         N WILTON ST                   N 53RD ST
WARREN ST                         N 52ND ST                     N WILTON ST
WARREN ST                         N 53RD ST                     LANSDOWNE AVE
N PEACH ST                        MEDIA ST                      LANSDOWNE AVE
N 54TH ST                         MEDIA ST                      LANSDOWNE AVE
N CONESTOGA ST                    MEDIA ST                      LANSDOWNE AVE
MEDIA ST                          N CONESTOGA ST                N 55TH ST
N ALLISON ST                      MEDIA ST                      LANSDOWNE AVE
N 55TH ST                         MEDIA ST                      LANSDOWNE AVE
N 56TH ST                         MEDIA ST                      LANSDOWNE AVE
N ALDEN ST                        MEDIA ST                      LANSDOWNE AVE
N 58TH ST                         MEDIA ST                      LANSDOWNE AVE
MEDIA ST                          N ALDEN ST                    N 58TH ST
MEDIA ST                          N 57TH ST                     N ALDEN ST
N FRAZIER ST                      MEDIA ST                      LANSDOWNE AVE
MEDIA ST                          N 56TH ST                     N ITHAN ST
N 56TH ST                         HUNTER ST                     STEWART ST
N 56TH ST                         LANSDOWNE AVE                 HUNTER ST
N ALLISON ST                      LANSDOWNE AVE                 HUNTER ST
STEWART ST                        N 57TH ST                     N 59TH ST
HUNTER ST                         N 57TH ST                     N 59TH ST
HADDINGTON LN                     N 57TH ST                     N 59TH ST
N 56TH ST                         HADDINGTON LN                 JEFFERSON ST
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HADDINGTON LN                 N 56TH ST                     N 57TH ST
N 56TH ST                     STEWART ST                    HADDINGTON LN
JEFFERSON ST                  N ALLISON ST                  N 56TH ST
N ALLISON ST                  HUNTER ST                     JEFFERSON ST
HUNTER ST                     N ALLISON ST                  N 56TH ST
HUNTER ST                     N 55TH ST                     N ALLISON ST
N 55TH ST                     LANSDOWNE AVE                 HUNTER ST
N 65TH ST                     LANSDOWNE AVE                 HADDINGTON ST
LEBANON AVE                   N 62ND ST                     N 63RD ST
LEBANON AVE                   N 61ST ST                     N 62ND ST
N 61ST ST                     W COLUMBIA AVE                CLIFFORD TER
NASSAU RD                     N 57TH ST                     N 59TH ST
JEFFERSON ST                  N 57TH ST                     N 59TH ST
ABERDEEN ST                   JEFFERSON ST                  PARKSIDE AVE
PARKSIDE AVE                  W COLUMBIA AVE                ABERDEEN ST
N WILTON ST                   JEFFERSON ST                  HESTON ST
N 53RD ST                     JEFFERSON ST                  PARKSIDE AVE
VIOLA ST                      N CREIGHTON ST                N 52ND ST
N CREIGHTON ST                VIOLA ST                      PARKSIDE AVE
VIOLA ST                      N 51ST ST                     N PAXON ST
VIOLA ST                      N PAXON ST                    N CREIGHTON ST
HUNTER ST                     N 54TH ST                     N CONESTOGA ST
N CONESTOGA ST                LANSDOWNE AVE                 HUNTER ST
JEFFERSON ST                  LANCASTER AVE                 N 55TH ST
N ALLISON ST                  JEFFERSON ST                  W OXFORD ST
N 56TH ST                     JEFFERSON ST                  W OXFORD ST
N 56TH ST                     W OXFORD ST                   LANCASTER AVE
NASSAU RD                     N 59TH ST                     N 60TH ST
N WANAMAKER ST                MEDIA ST                      LANSDOWNE AVE
N 65TH ST                     W GIRARD AVE                  HAVERFORD AVE
N SIMPSON ST                  W GIRARD AVE                  HAVERFORD AVE
W GIRARD AVE                  N 64TH ST                     N SIMPSON ST
W GIRARD AVE                  N SIMPSON ST                  N 65TH ST
N SIMPSON ST                  CALLOWHILL ST                 W GIRARD AVE
CALLOWHILL ST                 N 64TH ST                     N SIMPSON ST
W GIRARD AVE                  N GROSS ST                    N 64TH ST
N 64TH ST                     W GIRARD AVE                  HAVERFORD AVE
N GROSS ST                    W GIRARD AVE                  WYNNEWOOD RD
N FELTON ST                   W STILES ST                   HAVERFORD AVE
N FELTON ST                   W GIRARD AVE                  W STILES ST
N 62ND ST                     W STILES ST                   HAVERFORD AVE
W STILES ST                   N 62ND ST                     N FELTON ST
N 62ND ST                     W GIRARD AVE                  W STILES ST
N ROBINSON ST                 W GIRARD AVE                  HAVERFORD AVE
N FELTON ST                   CALLOWHILL ST                 W GIRARD AVE
W GIRARD AVE                  N 62ND ST                     N FELTON ST
N 62ND ST                     CALLOWHILL ST                 NOBLE ST
HORTON ST                     CALLOWHILL ST                 NOBLE ST
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W GIRARD AVE                     N ROBINSON ST                 N 62ND ST
W GIRARD AVE                     N 61ST ST                     N ROBINSON ST
N ROBINSON ST                    CALLOWHILL ST                 NOBLE ST
NOBLE ST                         N ROBINSON ST                 HORTON ST
CALLOWHILL ST                    N GROSS ST                    N 64TH ST
N GROSS ST                       VINE ST                       CALLOWHILL ST
N 64TH ST                        VINE ST                       PEARL ST
N SIMPSON ST                     CARLTON ST                    CALLOWHILL ST
N 64TH ST                        CARLTON ST                    CALLOWHILL ST
N 64TH ST                        PEARL ST                      CARLTON ST
N SIMPSON ST                     PEARL ST                      CARLTON ST
PEARL ST                         N 64TH ST                     N SIMPSON ST
N SIMPSON ST                     VINE ST                       PEARL ST
CALLOWHILL ST                    N SIMPSON ST                  N 65TH ST
N DAGGETT ST                     VINE ST                       CALLOWHILL ST
N 65TH ST                        VINE ST                       CALLOWHILL ST
VINE ST                          N SIMPSON ST                  N 65TH ST
RACE ST                          N SIMPSON ST                  N 65TH ST
VINE ST                          N AVONDALE ST                 N SIMPSON ST
RACE ST                          N AVONDALE ST                 N SIMPSON ST
N AVONDALE ST                    RACE ST                       VINE ST
N 64TH ST                        SUMMER ST                     VINE ST
SUMMER ST                        N GROSS ST                    N 64TH ST
N 64TH ST                        RACE ST                       SUMMER ST
N GROSS ST                       SUMMER ST                     VINE ST
N GROSS ST                       RACE ST                       SUMMER ST
N FELTON ST                      RACE ST                       VINE ST
N FELTON ST                      VINE ST                       CALLOWHILL ST
N 62ND ST                        VINE ST                       CALLOWHILL ST
HORTON ST                        VINE ST                       CALLOWHILL ST
W GIRARD AVE                     N EDGEWOOD ST                 N 61ST ST
N 61ST ST                        CALLOWHILL ST                 NOBLE ST
N EDGEWOOD ST                    CALLOWHILL ST                 W GIRARD AVE
N 60TH ST                        CALLOWHILL ST                 W GIRARD AVE
CALLOWHILL ST                    N SALFORD ST                  N 60TH ST
N SALFORD ST                     CALLOWHILL ST                 HAVERFORD AVE
NOBLE ST                         N 61ST ST                     N ROBINSON ST
N ROBINSON ST                    VINE ST                       CALLOWHILL ST
N 61ST ST                        VINE ST                       CALLOWHILL ST
N EDGEWOOD ST                    VINE ST                       CALLOWHILL ST
N 62ND ST                        RACE ST                       VINE ST
HORTON ST                        RACE ST                       VINE ST
RACE ST                          HORTON ST                     N 62ND ST
RACE ST                          N ROBINSON ST                 N ROBINSON ST
N 61ST ST                        RACE ST                       VINE ST
N ROBINSON ST                    RACE ST                       VINE ST
RACE ST                          N 61ST ST                     N DEWEY ST
N EDGEWOOD ST                    SUMMER ST                     VINE ST
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N EDGEWOOD ST                    RACE ST                       SPRING ST
RACE ST                          N MILLICK ST                  N 61ST ST
ARCH ST                          N 62ND ST                     N HIRST ST
ARCH ST                          N ROBINSON ST                 N 62ND ST
ARCH ST                          N DEWEY ST                    N ROBINSON ST
RACE ST                          N 63RD ST                     N GROSS ST
ARCH ST                          WILKINSON ST                  N 63RD ST
ARCH ST                          N HIRST ST                    N FELTON ST
N HIRST ST                       MARKET ST                     ARCH ST
N FELTON ST                      MARKET ST                     ARCH ST
N 62ND ST                        MARKET ST                     ARCH ST
N DEWEY ST                       MARKET ST                     ARCH ST
N ROBINSON ST                    MARKET ST                     ARCH ST
ARCH ST                          N 61ST ST                     N DEWEY ST
ARCH ST                          N MILLICK ST                  N 61ST ST
ARCH ST                          N EDGEWOOD ST                 N MILLICK ST
N MILLICK ST                     MARKET ST                     ARCH ST
N 61ST ST                        MARKET ST                     ARCH ST
N EDGEWOOD ST                    MARKET ST                     ARCH ST
RACE ST                          N 60TH ST                     N EDGEWOOD ST
ARCH ST                          N 60TH ST                     N EDGEWOOD ST
RACE ST                          N EDGEWOOD ST                 N EDGEWOOD ST
SUMMER ST                        N 60TH ST                     N EDGEWOOD ST
SPRING ST                        N 60TH ST                     N EDGEWOOD ST
N EDGEWOOD ST                    SPRING ST                     SUMMER ST
RACE ST                          N SALFORD ST                  N 60TH ST
N 60TH ST                        SUMMER ST                     VINE ST
N SALFORD ST                     SUMMER ST                     VINE ST
SUMMER ST                        N 59TH ST                     N SALFORD ST
SPRING ST                        N 59TH ST                     N SALFORD ST
N SALFORD ST                     RACE ST                       SPRING ST
N SALFORD ST                     SPRING ST                     SUMMER ST
VINE ST                          N SALFORD ST                  N 60TH ST
N 60TH ST                        VINE ST                       CALLOWHILL ST
N SALFORD ST                     VINE ST                       CALLOWHILL ST
GRAHAM ST                        VINE ST                       CALLOWHILL ST
N REDFIELD ST                    VINE ST                       CALLOWHILL ST
N 59TH ST                        CALLOWHILL ST                 HAVERFORD AVE
CALLOWHILL ST                    N HOBART ST                   N 59TH ST
N HOBART ST                      HAVERFORD AVE                 W GIRARD AVE
W GIRARD AVE                     N 58TH ST                     N WANAMAKER ST
N 58TH ST                        HAVERFORD AVE                 HARMER ST
CAMBRIDGE ST                     N 57TH ST                     N 58TH ST
POPLAR ST                        N 57TH ST                     N 58TH ST
N 56TH ST                        WYALUSING AVE                 HARMER ST
WYALUSING AVE                    N ALLISON ST                  N 56TH ST
WYALUSING AVE                    N 55TH ST                     N VOGDES ST
WYALUSING AVE                    N 56TH ST                     N FRAZIER ST
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N 56TH ST                     WESTMINSTER AVE               WYALUSING AVE
WYALUSING AVE                 N VOGDES ST                   N ALLISON ST
WESTMINSTER AVE               N VOGDES ST                   N ALLISON ST
N ALLISON ST                  WESTMINSTER AVE               WYALUSING AVE
N 55TH ST                     PENNSGROVE ST                 WYALUSING AVE
N VOGDES ST                   WESTMINSTER AVE               WYALUSING AVE
WESTMINSTER AVE               N 55TH ST                     N VOGDES ST
PENNSGROVE ST                 N 54TH ST                     N CONESTOGA ST
WESTMINSTER AVE               N SICKELS ST                  N 55TH ST
N SICKELS ST                  HAVERFORD AVE                 WESTMINSTER AVE
N 55TH ST                     HAVERFORD AVE                 WESTMINSTER AVE
WESTMINSTER AVE               N 54TH ST                     N SICKELS ST
N 55TH ST                     PEARL ST                      HAVERFORD AVE
PEARL ST                      N 55TH ST                     N 56TH ST
N HOBART ST                   RACE ST                       VINE ST
N WANAMAKER ST                RACE ST                       VINE ST
SUMMER ST                     N CECIL ST                    N 58TH ST
RACE ST                       N CECIL ST                    N 58TH ST
N CECIL ST                    RACE ST                       SUMMER ST
VINE ST                       N ALDEN ST                    N 58TH ST
N ALDEN ST                    SUMMER ST                     VINE ST
SUMMER ST                     N ALDEN ST                    N CECIL ST
N ALDEN ST                    RACE ST                       SUMMER ST
N WANAMAKER ST                CALLOWHILL ST                 HAVERFORD AVE
N 58TH ST                     CALLOWHILL ST                 WYALUSING AVE
CALLOWHILL ST                 N 58TH ST                     N WANAMAKER ST
CALLOWHILL ST                 N WANAMAKER ST                N HOBART ST
WYALUSING AVE                 N 57TH ST                     HAVERFORD AVE
HARMER ST                     N 57TH ST                     N 58TH ST
WYALUSING AVE                 N CONESTOGA ST                N 55TH ST
WYALUSING AVE                 N 54TH ST                     N CONESTOGA ST
N 53RD ST                     WESTMINSTER AVE               PENNSGROVE ST
N PAXON ST                    HOOPES ST                     WESTMINSTER AVE
WESTMINSTER AVE               N PAXON ST                    N 52ND ST
HOOPES ST                     N PAXON ST                    N 52ND ST
WESTMINSTER AVE               N WILTON ST                   N 53RD ST
PARRISH ST                    N WILTON ST                   N 53RD ST
N WILTON ST                   PARRISH ST                    WESTMINSTER AVE
WESTMINSTER AVE               N 52ND ST                     N WILTON ST
PARRISH ST                    N 52ND ST                     N WILTON ST
OGDEN ST                      N 53RD ST                     N 54TH ST
PARRISH ST                    N 53RD ST                     N 54TH ST
N 54TH ST                     VINE ST                       PEARL ST
N 53RD ST                     HAVERFORD AVE                 PARRISH ST
SPRING ST                     N 55TH ST                     N VOGDES ST
N 55TH ST                     RACE ST                       SPRING ST
RACE ST                       N 55TH ST                     N VOGDES ST
N VOGDES ST                   RACE ST                       SPRING ST
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N 56TH ST                     CHERRY ST                     RACE ST
RACE ST                       N 56TH ST                     N FRAZIER ST
ARCH ST                       N SALFORD ST                  N 60TH ST
N REDFIELD ST                 ARCH ST                       RACE ST
N SALFORD ST                  ARCH ST                       RACE ST
N 59TH ST                     ARCH ST                       RACE ST
N WANAMAKER ST                ARCH ST                       RACE ST
N HOBART ST                   ARCH ST                       RACE ST
N 58TH ST                     CHERRY ST                     RACE ST
ARCH ST                       N 58TH ST                     N WANAMAKER ST
CHERRY ST                     N ALDEN ST                    N 58TH ST
N PAXON ST                    OGDEN ST                      HOOPES ST
N 51ST ST                     FUNSTON ST                    RENO ST
FUNSTON ST                    N 51ST ST                     N 52ND ST
RENO ST                       N 51ST ST                     N 52ND ST
N 51ST ST                     BROWN ST                      FUNSTON ST
N CREIGHTON ST                RACE ST                       HAVERFORD AVE
N PAXON ST                    RACE ST                       HAVERFORD AVE
RACE ST                       N 52ND ST                     N WILTON ST
N WILTON ST                   RACE ST                       VINE ST
N PEACH ST                    RACE ST                       VINE ST
N RUBY ST                     RACE ST                       VINE ST
SPRING ST                     N 54TH ST                     N 55TH ST
RACE ST                       N 54TH ST                     N YEWDALL ST
ARCH ST                       N 55TH ST                     N VOGDES ST
CHERRY ST                     N SICKELS ST                  N 55TH ST
CHERRY ST                     N CONESTOGA ST                N SICKELS ST
ARCH ST                       N SICKELS ST                  N 55TH ST
ARCH ST                       N CONESTOGA ST                N SICKELS ST
RACE ST                       N CONESTOGA ST                N 55TH ST
ARCH ST                       N 54TH ST                     N YEWDALL ST
N 54TH ST                     ARCH ST                       RACE ST
N RUBY ST                     ARCH ST                       RACE ST
N 53RD ST                     ARCH ST                       RACE ST
N PEACH ST                    ARCH ST                       RACE ST
ARCH ST                       N 53RD ST                     N PEACH ST
N YEWDALL ST                  ARCH ST                       RACE ST
ARCH ST                       N YEWDALL ST                  N CONESTOGA ST
ARCH ST                       N PEACH ST                    N RUBY ST
RACE ST                       N YEWDALL ST                  N CONESTOGA ST
N LINDENWOOD ST               ARCH ST                       RACE ST
ARCH ST                       N LINDENWOOD ST               N 53RD ST
N WILTON ST                   ARCH ST                       RACE ST
N PAXON ST                    ARCH ST                       RACE ST
ARCH ST                       N WILTON ST                   N LINDENWOOD ST
FILBERT ST                    N 52ND ST                     DEAD END WEST
ARCH ST                       N 52ND ST                     N WILTON ST
N LINDENWOOD ST               MARKET ST                     ARCH ST
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ARCH ST                           N PAXON ST                    N 52ND ST
N PAXON ST                        MARKET ST                     ARCH ST
ARCH ST                           N RUBY ST                     N 54TH ST
N PEACH ST                        MARKET ST                     ARCH ST
N RUBY ST                         S RUBY ST                     ARCH ST
N 54TH ST                         MARKET ST                     ARCH ST
N YEWDALL ST                      MARKET ST                     ARCH ST
N CONESTOGA ST                    MARKET ST                     ARCH ST
CHERRY ST                         N 56TH ST                     N FRAZIER ST
APPLETREE ST                      N 56TH ST                     N 57TH ST
ARCH ST                           N FRAZIER ST                  N 57TH ST
N 56TH ST                         ARCH ST                       APPLETREE ST
RACE ST                           N 57TH ST                     N ALDEN ST
N FRAZIER ST                      MARKET ST                     ARCH ST
N ITHAN ST                        MARKET ST                     ARCH ST
ARCH ST                           N 56TH ST                     N ITHAN ST
N 56TH ST                         MARKET ST                     ARCH ST
ARCH ST                           N ALDEN ST                    N 58TH ST
N 58TH ST                         FILBERT ST                    ARCH ST
N 58TH ST                         MARKET ST                     COMMERCE ST
ARCH ST                           N HOBART ST                   N 59TH ST
FILBERT ST                        N HOBART ST                   N 59TH ST
N HOBART ST                       FILBERT ST                    ARCH ST
FILBERT ST                        N 58TH ST                     N HOBART ST
N 59TH ST                         MARKET ST                     FILBERT ST
FILBERT ST                        N 59TH ST                     N REDFIELD ST
FILBERT ST                        N REDFIELD ST                 N SALFORD ST
N 60TH ST                         S 60TH ST                     ARCH ST
LUDLOW ST                         S 62ND ST                     COBBS CREEK PKWY
S 62ND ST                         N 62ND ST                     LUDLOW ST
S ROBINSON ST                     MARKET ST                     LUDLOW ST
LUDLOW ST                         S ROBINSON ST                 S 62ND ST
S DEWEY ST                        N DEWEY ST                    LUDLOW ST
LUDLOW ST                         S DEWEY ST                    S ROBINSON ST
LUDLOW ST                         S 61ST ST                     S DEWEY ST
S 62ND ST                         LUDLOW ST                     CHESTNUT ST
S 61ST ST                         MARKET ST                     LUDLOW ST
S 60TH ST                         N 60TH ST                     LUDLOW ST
LUDLOW ST                         S MILLICK ST                  S 61ST ST
LUDLOW ST                         S 60TH ST                     S MILLICK ST
S 61ST ST                         LUDLOW ST                     CHESTNUT ST
S SALFORD ST                      N SALFORD ST                  LUDLOW ST
LUDLOW ST                         S SALFORD ST                  S 60TH ST
S REDFIELD ST                     MARKET ST                     LUDLOW ST
LUDLOW ST                         S REDFIELD ST                 S SALFORD ST
S SALFORD ST                      LUDLOW ST                     CHESTNUT ST
S REDFIELD ST                     LUDLOW ST                     CHESTNUT ST
S 60TH ST                         LUDLOW ST                     CHESTNUT ST
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S 59TH ST                         N 59TH ST                     LUDLOW ST
LUDLOW ST                         S 59TH ST                     S REDFIELD ST
S 59TH ST                         LUDLOW ST                     CHESTNUT ST
LUDLOW ST                         S 58TH ST                     S 59TH ST
S 58TH ST                         LUDLOW ST                     CHESTNUT ST
S CECIL ST                        LUDLOW ST                     CHESTNUT ST
LUDLOW ST                         S CECIL ST                    S 58TH ST
LUDLOW ST                         S 57TH ST                     S CECIL ST
S 56TH ST                         MARKET ST                     LUDLOW ST
LUDLOW ST                         S 55TH ST                     S 56TH ST
S 56TH ST                         LUDLOW ST                     CHESTNUT ST
S 55TH ST                         MARKET ST                     LUDLOW ST
S SICKELS ST                      MARKET ST                     LUDLOW ST
LUDLOW ST                         S SICKELS ST                  S 55TH ST
S CONESTOGA ST                    N CONESTOGA ST                LUDLOW ST
LUDLOW ST                         S CONESTOGA ST                S SICKELS ST
S YEWDALL ST                      MARKET ST                     LUDLOW ST
LUDLOW ST                         S YEWDALL ST                  S CONESTOGA ST
S YEWDALL ST                      LUDLOW ST                     CHESTNUT ST
LUDLOW ST                         S 54TH ST                     S YEWDALL ST
S 54TH ST                         MARKET ST                     LUDLOW ST
S RUBY ST                         MARKET ST                     LUDLOW ST
LUDLOW ST                         S RUBY ST                     S 54TH ST
LUDLOW ST                         S 53RD ST                     S RUBY ST
S RUBY ST                         LUDLOW ST                     CHESTNUT ST
S 53RD ST                         MARKET ST                     LUDLOW ST
S 54TH ST                         LUDLOW ST                     CHESTNUT ST
S 53RD ST                         LUDLOW ST                     CHESTNUT ST
LUDLOW ST                         S 52ND ST                     S 53RD ST
SANSOM ST                         S 52ND ST                     S 53RD ST
S 53RD ST                         SANSOM ST                     WALNUT ST
S 54TH ST                         CHESTNUT ST                   SANSOM ST
SANSOM ST                         S 54TH ST                     S 55TH ST
S 54TH ST                         SANSOM ST                     WALNUT ST
S RUBY ST                         CHESTNUT ST                   SANSOM ST
SANSOM ST                         S RUBY ST                     S 54TH ST
S PEACH ST                        CHESTNUT ST                   SANSOM ST
SANSOM ST                         S PEACH ST                    S RUBY ST
S 53RD ST                         CHESTNUT ST                   SANSOM ST
SANSOM ST                         S 53RD ST                     S PEACH ST
S PEACH ST                        SANSOM ST                     WALNUT ST
S RUBY ST                         SANSOM ST                     WALNUT ST
SANSOM ST                         S 55TH ST                     S 56TH ST
CHANCELLOR ST                     S 54TH ST                     S 55TH ST
S 55TH ST                         CHANCELLOR ST                 LOCUST ST
S 56TH ST                         CHANCELLOR ST                 LOCUST ST
S 56TH ST                         WALNUT ST                     CHANCELLOR ST
S 55TH ST                         WALNUT ST                     CHANCELLOR ST
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SANSOM ST                        S 56TH ST                     S 57TH ST
S ITHAN ST                       WALNUT ST                     LOCUST ST
S FRAZIER ST                     WALNUT ST                     LOCUST ST
LOCUST ST                        S ITHAN ST                    S FRAZIER ST
LOCUST ST                        S FRAZIER ST                  S 57TH ST
S CECIL ST                       WALNUT ST                     LOCUST ST
S ALDEN ST                       WALNUT ST                     LOCUST ST
LOCUST ST                        S ALDEN ST                    S CECIL ST
LOCUST ST                        S 57TH ST                     S ALDEN ST
S 58TH ST                        WALNUT ST                     LOCUST ST
LOCUST ST                        S CECIL ST                    S 58TH ST
SANSOM ST                        S CECIL ST                    S 58TH ST
SANSOM ST                        S 57TH ST                     S ALDEN ST
S 58TH ST                        CHESTNUT ST                   SANSOM ST
S CECIL ST                       CHESTNUT ST                   SANSOM ST
S ALDEN ST                       CHESTNUT ST                   SANSOM ST
SANSOM ST                        S ALDEN ST                    S CECIL ST
SANSOM ST                        S 58TH ST                     S 59TH ST
S 58TH ST                        SANSOM ST                     WALNUT ST
S SALFORD ST                     CHESTNUT ST                   SANSOM ST
S REDFIELD ST                    CHESTNUT ST                   SANSOM ST
SANSOM ST                        S REDFIELD ST                 S SALFORD ST
S 59TH ST                        CHESTNUT ST                   SANSOM ST
SANSOM ST                        S 59TH ST                     S REDFIELD ST
SANSOM ST                        S SALFORD ST                  S 60TH ST
S 60TH ST                        CHESTNUT ST                   SANSOM ST
SANSOM ST                        S 60TH ST                     S 61ST ST
S 62ND ST                        CHESTNUT ST                   SANSOM ST
S 61ST ST                        SANSOM ST                     WALNUT ST
SANSOM ST                        S 61ST ST                     S 62ND ST
SANSOM ST                        S 62ND ST                     COBBS CREEK PKWY
S 62ND ST                        SANSOM ST                     WALNUT ST
S 62ND ST                        WALNUT ST                     CHANCELLOR ST
S 61ST ST                        WALNUT ST                     CHANCELLOR ST
CHANCELLOR ST                    S 61ST ST                     S 62ND ST
LOCUST ST                        S 61ST ST                     S 62ND ST
S 61ST ST                        CHANCELLOR ST                 LOCUST ST
LOCUST ST                        S FELTON ST                   COBBS CREEK PKWY
LOCUST ST                        S HIRST ST                    S FELTON ST
LOCUST ST                        S 62ND ST                     S HIRST ST
S 62ND ST                        IRVING ST                     SPRUCE ST
S 61ST ST                        LOCUST ST                     IRVING ST
IRVING ST                        S 61ST ST                     S 62ND ST
S MILLICK ST                     WALNUT ST                     LOCUST ST
S EDGEWOOD ST                    WALNUT ST                     LOCUST ST
CHANCELLOR ST                    S 59TH ST                     S 60TH ST
LOCUST ST                        S 59TH ST                     S 60TH ST
S 59TH ST                        WALNUT ST                     CHANCELLOR ST
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LOCUST ST                        S 54TH ST                     S 55TH ST
S 54TH ST                        WALNUT ST                     CHANCELLOR ST
CHANCELLOR ST                    S 53RD ST                     S 54TH ST
LOCUST ST                        S 53RD ST                     S 54TH ST
S 54TH ST                        CHANCELLOR ST                 LOCUST ST
CHANCELLOR ST                    S 52ND ST                     S 53RD ST
LOCUST ST                        S 52ND ST                     S 53RD ST
IRVING ST                        S 52ND ST                     S 53RD ST
IRVING ST                        S 53RD ST                     S 54TH ST
IRVING ST                        S 54TH ST                     S 55TH ST
S 54TH ST                        IRVING ST                     SPRUCE ST
LOCUST ST                        S 55TH ST                     S ALLISON ST
IRVING ST                        S 55TH ST                     S ALLISON ST
S ALLISON ST                     LOCUST ST                     IRVING ST
S 55TH ST                        IRVING ST                     SPRUCE ST
S ALLISON ST                     IRVING ST                     SPRUCE ST
S 56TH ST                        IRVING ST                     SPRUCE ST
IRVING ST                        S ALLISON ST                  S 56TH ST
LOCUST ST                        S ALLISON ST                  S 56TH ST
LOCUST ST                        S 56TH ST                     S ITHAN ST
S ITHAN ST                       LOCUST ST                     SPRUCE ST
S FRAZIER ST                     LOCUST ST                     SPRUCE ST
S ALDEN ST                       LOCUST ST                     SPRUCE ST
S CECIL ST                       LOCUST ST                     SPRUCE ST
S 58TH ST                        LOCUST ST                     SPRUCE ST
IRVING ST                        S 59TH ST                     S 60TH ST
S 61ST ST                        IRVING ST                     SPRUCE ST
IRVING ST                        S 60TH ST                     S 61ST ST
LOCUST ST                        S 60TH ST                     S EDGEWOOD ST
N 59TH ST                        VINE ST                       CALLOWHILL ST
S 61ST ST                        SPRUCE ST                     DELANCEY ST
S 62ND ST                        SPRUCE ST                     DELANCEY ST
S HIRST ST                       LOCUST ST                     SPRUCE ST
S 59TH ST                        SPRUCE ST                     DELANCEY ST
S 58TH ST                        SPRUCE ST                     DELANCEY ST
S ALLISON ST                     SPRUCE ST                     DELANCEY ST
S 55TH ST                        SPRUCE ST                     DELANCEY ST
S 56TH ST                        SPRUCE ST                     DELANCEY ST
S 54TH ST                        SPRUCE ST                     DELANCEY ST
S 53RD ST                        SPRUCE ST                     DELANCEY ST
WYALUSING AVE                    FARSON ST                     N 51ST ST
N 75TH ST                        WOODCREST AVE                 WOODBINE AVE
N 76TH ST                        WOODCREST AVE                 WOODBINE AVE
N 75TH ST                        MALVERN AVE                   WOODCREST AVE
N 75TH ST                        BROCKTON RD                   RHOADS ST
WOODBINE AVE                     MERIBROOK RD                  ASHURST RD
FARRINGTON RD                    BROCKTON RD                   MALVERN AVE
MALVERN AVE                      LANCASTER AVE                 N 63RD ST
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W COLUMBIA AVE                  N WILTON ST                   PARKSIDE AVE
W COLUMBIA AVE                  N 52ND ST                     N WILTON ST
N WILTON ST                     WYALUSING AVE                 CUL DE SAC NORTH
ATWOOD RD                       LEBANON AVE                   DIAMOND ST
EDGEMORE RD                     MEDIA ST                      LANSDOWNE AVE
KENMORE RD                      MEDIA ST                      LANSDOWNE AVE
FLANDERS RD                     HAVERFORD AVE                 MEDIA ST
WYNNEWOOD RD                    JEFFERSON ST                  LEBANON AVE
MARLYN RD                       LANSDOWNE AVE                 HADDINGTON ST
PENNWOOD RD                     BROCKTON RD                   RUSKIN RD
N REDFIELD ST                   W THOMPSON ST                 MASTER ST
N VOGDES ST                     MASTER ST                     MEDIA ST
HARLAN ST                       N 54TH ST                     N CONESTOGA ST
N 50TH ST                       LANCASTER AVE                 MERION AVE
N 50TH ST                       MASTER ST                     LANCASTER AVE
N SAINT BERNARD ST              W STILES ST                   W THOMPSON ST
N SAINT BERNARD ST              W GIRARD AVE                  W STILES ST
HARMER ST                       N 55TH ST                     N 56TH ST
N FELTON ST                     HADDINGTON LN                 JEFFERSON ST
DUNLAP ST                       N 57TH ST                     N 59TH ST
N PAXON ST                      VIOLA ST                      PARKSIDE AVE
HESTON ST                       N 52ND ST                     N WILTON ST
N LINDENWOOD ST                 JEFFERSON ST                  PARKSIDE AVE
N LINDENWOOD ST                 MONTICELLO ST                 JEFFERSON ST
BROWN ST                        N 51ST ST                     BROWN ST
N EDGEWOOD ST                   MEDIA ST                      LANSDOWNE AVE
N CONESTOGA ST                  PENNSGROVE ST                 WYALUSING AVE
PEARL ST                        N 54TH ST                     N CONESTOGA ST
N CREIGHTON ST                  WYALUSING AVE                 W GIRARD AVE
N PAXON ST                      WESTMINSTER AVE               WYALUSING AVE
OGDEN ST                        N PAXON ST                    N 52ND ST
N SALFORD ST                    S SALFORD ST                  FILBERT ST
N SALFORD ST                    FILBERT ST                    ARCH ST
N REDFIELD ST                   FILBERT ST                    ARCH ST
FILBERT ST                      N 57TH ST                     N 58TH ST
COMMERCE ST                     N 57TH ST                     N 58TH ST
S MILLICK ST                    LUDLOW ST                     CHESTNUT ST
S FELTON ST                     LOCUST ST                     SPRUCE ST
PARRISH ST                      RAMSEY ST                     N 52ND ST
MONTICELLO ST                   N LINDENWOOD ST               N 53RD ST
MONTICELLO ST                   N WILTON ST                   N LINDENWOOD ST
CALLOWHILL ST                   EDGEMORE RD                   N 67TH ST
CALLOWHILL ST                   N 67TH ST                     DEAD END WEST
VINE ST                         N 54TH ST                     N CONESTOGA ST
VINE ST                         SICKELS WAY                   N 55TH ST
N CONESTOGA ST                  VINE ST                       PEARL ST
N GROSS ST                      ARCH ST                       RACE ST
N DAGGETT ST                    RACE ST                       VINE ST
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N 72ND ST                      WOODBINE AVE                  BRENTWOOD RD
N 72ND ST                      BRENTWOOD RD                  SHERWOOD RD
N 53RD ST                      MONTICELLO ST                 JEFFERSON ST
N WILTON ST                    MONTICELLO ST                 JEFFERSON ST
STEWART ST                     N 54TH ST                     N 55TH ST
ASHURST RD                     SHERWOOD RD                   OVERBROOK AVE
ASHURST RD                     WOODBINE AVE                  BROOKHAVEN RD
N 51ST ST                      W COLUMBIA AVE                VIOLA ST
OGDEN ST                       RAMSEY ST                     N PAXON ST
RAMSEY ST                      PARRISH ST                    OGDEN ST
N 51ST ST                      OGDEN ST                      HOOPES ST
BROWN ST                       BROWN ST                      FOLSOM ST
FOLSOM ST                      BROWN ST                      BROWN ST
BROWN ST                       BROWN ST                      FOLSOM ST
SUMMER ST                      N VOGDES ST                   N 56TH ST
N 56TH ST                      SUMMER ST                     N VOGDES ST
N VOGDES ST                    SUMMER ST                     VINE ST
N 55TH ST                      SUMMER PL                     SUMMER ST
N 55TH ST                      NEW PL                        NEW PL
N 55TH ST                      NEW PL                        WINTER PL
N 55TH ST                      WINTER PL                     VINE ST
VINE ST                        N CONESTOGA ST                SICKELS WAY
N 56TH ST                      CHERRY ST                     CHERRY ST
N VOGDES ST                    ARCH ST                       CHERRY ST
HUNTER ST                      N 55TH ST                     N 55TH ST
N 53RD ST                      PARRISH ST                    PARRISH ST
ARCH ST                        N RUBY ST                     N RUBY ST
N FRAZIER ST                   CHERRY ST                     RACE ST
RACE ST                        N FRAZIER ST                  N 57TH ST
CHERRY ST                      N FRAZIER ST                  N 57TH ST
N 59TH ST                      HAVERFORD AVE                 POPLAR CT
N 59TH ST                      POPLAR CT                     W GIRARD AVE
W COLUMBIA AVE                 N 60TH ST                     N 61ST ST
N 60TH ST                      W COLUMBIA AVE                CLIFFORD TER
N 60TH ST                      CLIFFORD TER                  HAZELHURST ST
N 60TH ST                      HAZELHURST ST                 LANCASTER AVE
VINE ST                        N 53RD ST                     N WILTON ST
MALVERN AVE                    WEST END DR                   HAVERFORD AVE
MEETING HOUSE LN               N 53RD ST                     POPLAR ST
POPLAR ST                      N 52ND ST                     MEETING HOUSE LN
POPLAR ST                      MEETING HOUSE LN              N 53RD ST
N 53RD ST                      WYALUSING AVE                 MEETING HOUSE LN
N 53RD ST                      MEETING HOUSE LN              POPLAR ST
MALVERN AVE                    WYNNEWOOD RD                  OVERBROOK
MALVERN AVE                    OVERBROOK                     N 64TH ST
OVERBROOK                      MALVERN AVE                   DEAD END
LEBANON AVE                    N 63RD ST                     LEBANON AVE
LEBANON AVE                    N 63RD ST                     LEBANON AVE
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LEBANON AVE                   LEBANON AVE                   WYNNEWOOD RD
LANSDOWNE AVE                 N 52ND ST                     LANCASTER AVE
MARSHALL RD                   COBBS CREEK PKWY              CITY BOUNDARY
N VOGDES ST                   CHERRY ST                     QUARRY ST
N VOGDES ST                   QUARRY ST                     RACE ST
WARREN ST                     N PAXON ST                    BOWMAN CT
WARREN ST                     BOWMAN CT                     N 52ND ST
MASTER ST                     N 50TH ST                     CRESCENT PL
MASTER ST                     CRESCENT PL                   WARREN ST
W COLUMBIA AVE                N 51ST ST                     N 52ND ST
SUMMER ST                     CONESTOGA WAY                 N 55TH ST
SUMMER ST                     N 54TH ST                     CONESTOGA WAY
BELMONT AVE                   AVENUE OF THE REPUBLIC        LANSDOWNE DR
BELMONT AVE                   S CONCOURSE DR                AVENUE OF THE REPUBLIC
LANSDOWNE DR                  SWEETBRIAR LN                 BLACK RD
BELMONT AVE                   PARKSIDE AVE                  S CONCOURSE DR
N 32ND ST                     W THOMPSON ST                 MASTER ST
N 28TH ST                     W THOMPSON ST                 MASTER ST
N 27TH ST                     W THOMPSON ST                 KERSHAW ST
N 23RD ST                     SEYBERT ST                    INGERSOLL ST
SEYBERT ST                    N 23RD ST                     N 24TH ST
W THOMPSON ST                 W COLLEGE AVE                 N 26TH ST
W THOMPSON ST                 N STILLMAN ST                 W COLLEGE AVE
N 27TH ST                     CABOT PL                      W THOMPSON ST
N 25TH ST                     W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                 N 25TH ST                     N STILLMAN ST
N 22ND ST                     SEYBERT ST                    INGERSOLL ST
SEYBERT ST                    N 22ND ST                     N 23RD ST
W THOMPSON ST                 N TAYLOR ST                   N 25TH ST
W THOMPSON ST                 N RINGGOLD ST                 N TAYLOR ST
N 28TH ST                     W CABOT ST                    W THOMPSON ST
N 24TH ST                     W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                 N 24TH ST                     N RINGGOLD ST
41ST ST DR                    S CONCOURSE DR                AVENUE OF THE REPUBLIC
N 21ST ST                     N COLLEGE AVE                 SEYBERT ST
N 27TH ST                     W STILES ST                   W CABOT ST
N 23RD ST                     W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                 N 23RD ST                     N 24TH ST
N 28TH ST                     W STILES ST                   W CABOT ST
N COLLEGE AVE                 N 21ST ST                     W THOMPSON ST
N 22ND ST                     N COLLEGE AVE                 SEYBERT ST
W THOMPSON ST                 N COLLEGE AVE                 N 23RD ST
N 28TH ST                     W STILES ST                   W STILES ST
N 19TH ST                     SEYBERT ST                    INGERSOLL ST
N COLLEGE AVE                 N 22ND ST                     N 23RD ST
N 23RD ST                     N COLLEGE AVE                 W THOMPSON ST
41ST ST DR                    PARKSIDE AVE                  S CONCOURSE DR
N 18TH ST                     SEYBERT ST                    INGERSOLL ST
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SEYBERT ST                       N 18TH ST                     N 19TH ST
41ST ST DR                       PARKSIDE AVE                  S CONCOURSE DR
MEMORIAL AVE                     VIOLA ST                      PARKSIDE AVE
N 28TH ST                        W FLORA ST                    W STILES ST
N COLLEGE AVE                    N 23RD ST                     N 24TH ST
N 24TH ST                        N COLLEGE AVE                 W THOMPSON ST
N 17TH ST                        SEYBERT ST                    INGERSOLL ST
SEYBERT ST                       N 17TH ST                     N 18TH ST
SEYBERT ST                       N SMEDLEY ST                  N 17TH ST
N COLLEGE AVE                    N 24TH ST                     N RINGGOLD ST
N RINGGOLD ST                    N COLLEGE AVE                 W THOMPSON ST
N 19TH ST                        W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                    N 19TH ST                     RIDGE AVE
N 27TH ST                        W FLORA ST                    W STILES ST
N COLLEGE AVE                    N RINGGOLD ST                 N TAYLOR ST
N 16TH ST                        SEYBERT ST                    INGERSOLL ST
SEYBERT ST                       N 16TH ST                     N SMEDLEY ST
N 42ND ST                        LEIDY AVE                     VIOLA ST
MARLTON AVE                      VIOLA ST                      PARKSIDE AVE
N COLLEGE AVE                    N TAYLOR ST                   N 25TH ST
N 25TH ST                        N COLLEGE AVE                 W THOMPSON ST
N 18TH ST                        W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                    N 18TH ST                     N 19TH ST
N 28TH ST                        W GIRARD AVE                  W FLORA ST
N 15TH ST                        SEYBERT ST                    INGERSOLL ST
SEYBERT ST                       N 15TH ST                     N 16TH ST
N COLLEGE AVE                    N 25TH ST                     W COLLEGE AVE
N 17TH ST                        W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                    N 17TH ST                     N 18TH ST
N 27TH ST                        W GIRARD AVE                  W FLORA ST
N 19TH ST                        W CABOT ST                    W THOMPSON ST
N 41ST ST                        VIOLA ST                      PARKSIDE AVE
N 16TH ST                        W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                    N 16TH ST                     N 17TH ST
N 18TH ST                        W CABOT ST                    W THOMPSON ST
W CABOT ST                       N 18TH ST                     N 19TH ST
N 28TH ST                        W HARPER ST                   W GIRARD AVE
W THOMPSON ST                    BELMONT AVE                   LEX ST
W COLLEGE AVE                    W GIRARD AVE                  N COLLEGE AVE
N 15TH ST                        W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                    N 15TH ST                     N 16TH ST
W THOMPSON ST                    BURNS ST                      N 15TH ST
MERION AVE                       N 49TH ST                     N 50TH ST
N CARLISLE ST                    W THOMPSON ST                 MASTER ST
W THOMPSON ST                    N CARLISLE ST                 BURNS ST
W THOMPSON ST                    N CARLISLE ST                 N CARLISLE ST
N 17TH ST                        W CABOT ST                    W THOMPSON ST
N 27TH ST                        W HARPER ST                   W GIRARD AVE
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N 19TH ST                         RIDGE AVE                     W CABOT ST
N 28TH ST                         CAMBRIDGE ST                  W HARPER ST
N 16TH ST                         W CABOT ST                    W THOMPSON ST
W CABOT ST                        N 16TH ST                     N 17TH ST
W STILES ST                       N CLEVELAND ST                RIDGE AVE
N 18TH ST                         W STILES ST                   W CABOT ST
W STILES ST                       N 18TH ST                     N CLEVELAND ST
POPLAR DR                         POPLAR ST                     W GIRARD AVE
N 27TH ST                         CAMBRIDGE ST                  W HARPER ST
CAMBRIDGE ST                      N 27TH ST                     N 28TH ST
N 17TH ST                         W STILES ST                   W CABOT ST
N 28TH ST                         W GEORGE ST                   CAMBRIDGE ST
N 16TH ST                         W STILES ST                   W CABOT ST
W STILES ST                       N 16TH ST                     N 17TH ST
CAMBRIDGE ST                      N 38TH ST                     N 39TH ST
N 27TH ST                         W GEORGE ST                   CAMBRIDGE ST
W GEORGE ST                       N 27TH ST                     N 28TH ST
W STILES ST                       N 15TH ST                     N 16TH ST
N 17TH ST                         W FLORA ST                    W STILES ST
UNION ST                          CAMBRIDGE ST                  W GIRARD AVE
BURNS ST                          W STILES ST                   W THOMPSON ST
W STILES ST                       BURNS ST                      N 15TH ST
N CARLISLE ST                     W STILES ST                   W THOMPSON ST
W STILES ST                       N CARLISLE ST                 BURNS ST
N 42ND ST                         W GIRARD AVE                  W STILES ST
N 16TH ST                         W FLORA ST                    W STILES ST
W FLORA ST                        N 16TH ST                     N 17TH ST
N 27TH ST                         POPLAR ST                     W GEORGE ST
CHANG ST                          POPLAR ST                     DEAD END NORTH
N TANEY ST                        POPLAR ST                     W GIRARD AVE
W THOMPSON ST                     N 49TH ST                     N SAINT BERNARD ST
W FLORA ST                        N 15TH ST                     N 16TH ST
N CLEVELAND ST                    W GIRARD AVE                  W STILES ST
N 18TH ST                         W GIRARD AVE                  W STILES ST
N BAMBREY ST                      POPLAR ST                     W GIRARD AVE
N 41ST ST                         CAMBRIDGE ST                  W GIRARD AVE
POPLAR ST                         N 38TH ST                     N 39TH ST
N CARLISLE ST                     W FLORA ST                    W STILES ST
W FLORA ST                        N CARLISLE ST                 N 15TH ST
N 17TH ST                         W GIRARD AVE                  W FLORA ST
STATE ST                          POPLAR ST                     CAMBRIDGE ST
UNION ST                          POPLAR ST                     CAMBRIDGE ST
N 16TH ST                         W GIRARD AVE                  W FLORA ST
CAMBRIDGE ST                      POPLAR ST                     N 42ND ST
N 42ND ST                         CAMBRIDGE ST                  W GIRARD AVE
SLOAN ST                          POPLAR ST                     CAMBRIDGE ST
N CARLISLE ST                     W GIRARD AVE                  W FLORA ST
W GIRARD AVE                      LANCASTER AVE                 N 49TH ST
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N 17TH ST                     W HARPER ST                   W GIRARD AVE
N 41ST ST                     POPLAR ST                     CAMBRIDGE ST
N 17TH ST                     CAMBRIDGE ST                  W HARPER ST
N 23RD ST                     OGDEN ST                      POPLAR ST
W GIRARD AVE                  N 49TH ST                     N SAINT BERNARD ST
N 22ND ST                     OGDEN ST                      POPLAR ST
OGDEN ST                      N 22ND ST                     N 23RD ST
N 16TH ST                     CAMBRIDGE ST                  W GIRARD AVE
CAMBRIDGE ST                  N 16TH ST                     N 17TH ST
N 27TH ST                     PARRISH ST                    POPLAR ST
CAMBRIDGE ST                  N 15TH ST                     N 16TH ST
N 23RD ST                     MYRTLE ST                     OGDEN ST
N CARLISLE ST                 CAMBRIDGE ST                  W GIRARD AVE
CAMBRIDGE ST                  N CARLISLE ST                 N 15TH ST
N 46TH ST                     POPLAR ST                     W GIRARD AVE
N 22ND ST                     MYRTLE ST                     OGDEN ST
MYRTLE ST                     N 22ND ST                     N 23RD ST
N 23RD ST                     PARRISH ST                    MYRTLE ST
MANTUA AVE                    N 42ND ST                     WYALUSING AVE
N 22ND ST                     PARRISH ST                    MYRTLE ST
N CARLISLE ST                 POPLAR ST                     CAMBRIDGE ST
N 45TH ST                     WYALUSING AVE                 POPLAR ST
N BEECHWOOD ST                PARRISH ST                    POPLAR ST
PERKIOMEN ST                  VINEYARD ST                   N 19TH ST
N 21ST ST                     PARRISH ST                    POPLAR ST
N 46TH ST                     WYALUSING AVE                 POPLAR ST
N WOODSTOCK ST                PARRISH ST                    POPLAR ST
WYALUSING AVE                 N 46TH ST                     MERION AVE
N 27TH ST                     BROWN ST                      PARRISH ST
N 42ND ST                     OTTER ST                      MANTUA AVE
MANTUA AVE                    PENNSGROVE ST                 N HOLLY ST
MANTUA AVE                    N 41ST ST                     PENNSGROVE ST
PENNSGROVE ST                 MANTUA AVE                    N HOLLY ST
BROWN ST                      N TAYLOR ST                   N 25TH ST
BROWN ST                      N 24TH ST                     N RINGGOLD ST
BROWN ST                      N BUCKNELL ST                 N 24TH ST
BROWN ST                      JUDSON ST                     N BUCKNELL ST
WYALUSING AVE                 LANCASTER AVE                 N 47TH ST
N 47TH ST                     WYALUSING AVE                 LANCASTER AVE
WESTMINSTER AVE               MANTUA AVE                    N PRESTON ST
N 23RD ST                     BROWN ST                      PARRISH ST
BROWN ST                      N 23RD ST                     JUDSON ST
BROWN ST                      N CROSKEY ST                  N 23RD ST
WESTMINSTER AVE               N PRESTON ST                  BUDD ST
MANTUA AVE                    N 40TH ST                     WIOTA ST
BROWN ST                      N 22ND ST                     N CROSKEY ST
WESTMINSTER AVE               BUDD ST                       N 41ST ST
N 41ST ST                     WESTMINSTER AVE               MANTUA AVE
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WYALUSING AVE                 N 47TH ST                     MOSS ST
N BEECHWOOD ST                BROWN ST                      PARRISH ST
BROWN ST                      N BEECHWOOD ST                N 22ND ST
N 21ST ST                     BROWN ST                      PARRISH ST
BROWN ST                      N 21ST ST                     N BEECHWOOD ST
WESTMINSTER AVE               N 41ST ST                     PALM ST
N WOODSTOCK ST                BROWN ST                      PARRISH ST
WESTMINSTER AVE               PALM ST                       N HOLLY ST
WYALUSING AVE                 MOSS ST                       N 48TH ST
BROWN ST                      CORINTHIAN AVE                N WOODSTOCK ST
N 42ND ST                     WESTMINSTER AVE               PENNSGROVE ST
N CAPITOL ST                  BROWN ST                      PARRISH ST
BROWN ST                      N CAPITOL ST                  CORINTHIAN AVE
N 20TH ST                     BROWN ST                      PARRISH ST
BROWN ST                      N 20TH ST                     N CAPITOL ST
N UBER ST                     BROWN ST                      PARRISH ST
BROWN ST                      N UBER ST                     N 20TH ST
BROWN ST                      N 19TH ST                     N UBER ST
OGDEN ST                      UNION ST                      SLOAN ST
WYALUSING AVE                 N 50TH ST                     FARSON ST
OGDEN ST                      N 40TH ST                     WIOTA ST
N 45TH ST                     LANCASTER AVE                 MERION AVE
OGDEN ST                      WIOTA ST                      N PRESTON ST
OGDEN ST                      N PRESTON ST                  BUDD ST
WESTMINSTER AVE               LANCASTER AVE                 N 45TH ST
N 41ST ST                     OGDEN ST                      WESTMINSTER AVE
OGDEN ST                      N 41ST ST                     PALM ST
WESTMINSTER AVE               N 45TH ST                     N 46TH ST
OGDEN ST                      PALM ST                       N HOLLY ST
WESTMINSTER AVE               N MARKOE ST                   N MAY ST
N 42ND ST                     OGDEN ST                      WESTMINSTER AVE
WESTMINSTER AVE               N MAY ST                      N 47TH ST
WESTMINSTER AVE               N 47TH ST                     MOSS ST
MOSS ST                       WESTMINSTER AVE               WYALUSING AVE
BROOKLYN ST                   OGDEN ST                      WESTMINSTER AVE
WESTMINSTER AVE               MOSS ST                       N 48TH ST
PARRISH ST                    N 39TH ST                     UNION ST
UNION ST                      PARRISH ST                    OGDEN ST
OGDEN ST                      HUTTON ST                     N 43RD ST
N 43RD ST                     OGDEN ST                      WESTMINSTER AVE
PARRISH ST                    UNION ST                      SLOAN ST
N 38TH ST                     RENO ST                       MANTUA AVE
PARRISH ST                    SLOAN ST                      N 40TH ST
PARRISH ST                    N 40TH ST                     WIOTA ST
WIOTA ST                      PARRISH ST                    OGDEN ST
MANTUA AVE                    BROWN ST                      N 37TH ST
N 45TH ST                     HOOPES ST                     LAIRD ST
PARRISH ST                    WIOTA ST                      N PRESTON ST
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N PRESTON ST                  PARRISH ST                    OGDEN ST
N 50TH ST                     WESTMINSTER AVE               WYALUSING AVE
BROWN ST                      MANTUA AVE                    N 37TH ST
MANTUA AVE                    N 36TH ST                     BROWN ST
WESTMINSTER AVE               N 50TH ST                     FARSON ST
BROWN ST                      N 37TH ST                     N DEKALB ST
N 41ST ST                     PARRISH ST                    OGDEN ST
WESTMINSTER AVE               FARSON ST                     FARSON ST
WESTMINSTER AVE               FARSON ST                     N 51ST ST
BROWN ST                      N DEKALB ST                   N 38TH ST
N 20TH ST                     FAIRMOUNT AVE                 BROWN ST
N CAPITOL ST                  FAIRMOUNT AVE                 BROWN ST
N 45TH ST                     OGDEN ST                      HOOPES ST
PARRISH ST                    PALM ST                       N HOLLY ST
N 46TH ST                     OGDEN ST                      HOOPES ST
PARRISH ST                    N HOLLY ST                    N 42ND ST
RENO ST                       N 40TH ST                     N PRESTON ST
N PRESTON ST                  RENO ST                       PARRISH ST
N 47TH ST                     OGDEN ST                      HOOPES ST
N BOUVIER ST                  MELON ST                      FAIRMOUNT AVE
N 44TH ST                     PARRISH ST                    OGDEN ST
MANTUA AVE                    N 35TH ST                     N 36TH ST
PARRISH ST                    BROOKLYN ST                   BROOKLYN ST
N 50TH ST                     HOOPES ST                     WESTMINSTER AVE
N 41ST ST                     RENO ST                       PARRISH ST
PARRISH ST                    HUTTON ST                     LANCASTER AVE
N 43RD ST                     LANCASTER AVE                 OGDEN ST
PARRISH ST                    LEX ST                        N 45TH ST
NORTH ST                      N 19TH ST                     N 20TH ST
N 38TH ST                     FOLSOM ST                     BROWN ST
BROWN ST                      UNION ST                      SLOAN ST
N 35TH ST                     ASPEN ST                      MANTUA AVE
PARRISH ST                    N 45TH ST                     N 46TH ST
N 49TH ST                     OGDEN ST                      HOOPES ST
NORTH ST                      N 20TH ST                     N 21ST ST
N MARKOE ST                   PARRISH ST                    OGDEN ST
N BOUVIER ST                  NORTH ST                      MELON ST
NORTH ST                      N BOUVIER ST                  N 18TH ST
WALLACE ST                    N 22ND ST                     N 23RD ST
N 43RD ST                     RENO ST                       PARRISH ST
WALLACE ST                    N 21ST ST                     N 22ND ST
N 47TH ST                     PARRISH ST                    OGDEN ST
BROWN ST                      N 40TH ST                     N PRESTON ST
N PRESTON ST                  BROWN ST                      RENO ST
NORTH ST                      N 17TH ST                     N BOUVIER ST
N 50TH ST                     OGDEN ST                      HOOPES ST
PARRISH ST                    N 47TH ST                     MOSS ST
MOSS ST                       PARRISH ST                    HOOPES ST
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N 39TH ST                     FOLSOM ST                     BROWN ST
MANTUA AVE                    N 34TH ST                     N SHEDWICK ST
N 41ST ST                     BROWN ST                      RENO ST
WALLACE ST                    N 20TH ST                     N 21ST ST
N HOLLY ST                    BROWN ST                      RENO ST
OGDEN ST                      FARSON ST                     N 51ST ST
PARRISH ST                    N 48TH ST                     N FALLON ST
UNION ST                      FOLSOM ST                     BROWN ST
WALLACE ST                    N 19TH ST                     N 20TH ST
N 42ND ST                     BROWN ST                      RENO ST
PARRISH ST                    N FALLON ST                   N 49TH ST
N 38TH ST                     ASPEN ST                      FOLSOM ST
BROWN ST                      BROOKLYN ST                   LANCASTER AVE
MOUNT VERNON ST               N 22ND ST                     N 23RD ST
N 36TH ST                     OLIVE ST                      ASPEN ST
WALLACE ST                    N 18TH ST                     N 19TH ST
N 50TH ST                     PARRISH ST                    OGDEN ST
MOUNT VERNON ST               N 21ST ST                     N 22ND ST
WALLACE ST                    N 17TH ST                     N 18TH ST
BROWN ST                      PALLAS ST                     N 44TH ST
OLIVE ST                      N 36TH ST                     N 37TH ST
N 37TH ST                     OLIVE ST                      ASPEN ST
BROWN ST                      N 44TH ST                     LEX ST
WALLACE ST                    N 16TH ST                     N 17TH ST
MOUNT VERNON ST               N 20TH ST                     N 21ST ST
ASPEN ST                      N 39TH ST                     UNION ST
FAIRMOUNT AVE                 N SHEDWICK ST                 N 35TH ST
N 38TH ST                     OLIVE ST                      ASPEN ST
CLAY ST                       N 21ST ST                     N 22ND ST
JUNE ST                       BROWN ST                      PARRISH ST
WALLACE ST                    N 15TH ST                     N 16TH ST
MOUNT VERNON ST               N 19TH ST                     N 20TH ST
FAIRMOUNT AVE                 N 35TH ST                     N 36TH ST
N 36TH ST                     FAIRMOUNT AVE                 OLIVE ST
ASPEN ST                      N 40TH ST                     WIOTA ST
N 42ND ST                     LANCASTER AVE                 BROWN ST
N 50TH ST                     RENO ST                       RENO ST
RENO ST                       N 50TH ST                     FARSON ST
ASPEN ST                      WIOTA ST                      N PRESTON ST
RENO ST                       FARSON ST                     DEARBORN ST
N 39TH ST                     OLIVE ST                      ASPEN ST
GREEN ST                      N 22ND ST                     N 23RD ST
N 37TH ST                     FAIRMOUNT AVE                 OLIVE ST
BROWN ST                      N 47TH ST                     N 48TH ST
ASPEN ST                      N PRESTON ST                  N 41ST ST
N 17TH ST                     MOUNT VERNON ST               WALLACE ST
MOUNT VERNON ST               N 17TH ST                     N 18TH ST
GREEN ST                      N 21ST ST                     N 22ND ST
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ASPEN ST                      N HOLLY ST                    LANCASTER AVE
FAIRMOUNT AVE                 N DEKALB ST                   N 38TH ST
ASPEN ST                      LANCASTER AVE                 N 42ND ST
BROWN ST                      N 48TH ST                     N 49TH ST
N 16TH ST                     MOUNT VERNON ST               WALLACE ST
MOUNT VERNON ST               N 16TH ST                     N 17TH ST
FUNSTON ST                    N 50TH ST                     FARSON ST
N 22ND ST                     WILCOX ST                     GREEN ST
ASPEN ST                      N 42ND ST                     BROOKLYN ST
GREEN ST                      N 20TH ST                     N 21ST ST
N 36TH ST                     MELON ST                      FAIRMOUNT AVE
N HOLLY ST                    LANCASTER AVE                 ASPEN ST
MOUNT VERNON ST               N 15TH ST                     N 16TH ST
WILCOX ST                     N 21ST ST                     N 22ND ST
N 50TH ST                     BROWN ST                      FUNSTON ST
N 19TH ST                     GREEN ST                      MOUNT VERNON ST
GREEN ST                      N 19TH ST                     N 20TH ST
N 39TH ST                     FAIRMOUNT AVE                 OLIVE ST
BROWN ST                      N 50TH ST                     FARSON ST
N 44TH ST                     ASPEN ST                      BROWN ST
N 22ND ST                     BRANDYWINE ST                 WILCOX ST
BRANDYWINE ST                 N 22ND ST                     N 23RD ST
N 37TH ST                     MELON ST                      FAIRMOUNT AVE
N 18TH ST                     GREEN ST                      MOUNT VERNON ST
GREEN ST                      N 18TH ST                     N 19TH ST
BROWN ST                      FARSON ST                     DEARBORN ST
WALLACE ST                    N 34TH ST                     N SHEDWICK ST
N 20TH ST                     WILCOX ST                     GREEN ST
BROWN ST                      DEARBORN ST                   N 51ST ST
BRANDYWINE ST                 N 21ST ST                     N 22ND ST
FOLSOM ST                     N 48TH ST                     N 49TH ST
N 49TH ST                     FOLSOM ST                     BROWN ST
N 35TH ST                     WALLACE ST                    FAIRMOUNT AVE
N 17TH ST                     GREEN ST                      MOUNT VERNON ST
GREEN ST                      N 17TH ST                     N 18TH ST
N 19TH ST                     WILCOX ST                     GREEN ST
WILCOX ST                     N 19TH ST                     N 20TH ST
FAIRMOUNT AVE                 SLOAN ST                      N 40TH ST
N 36TH ST                     WALLACE ST                    MELON ST
FAIRMOUNT AVE                 N 40TH ST                     WIOTA ST
N 20TH ST                     BRANDYWINE ST                 WILCOX ST
BRANDYWINE ST                 N 20TH ST                     N 21ST ST
N 16TH ST                     GREEN ST                      MOUNT VERNON ST
GREEN ST                      N 16TH ST                     N 17TH ST
FAIRMOUNT AVE                 WIOTA ST                      N PRESTON ST
N 50TH ST                     FOLSOM ST                     BROWN ST
FAIRMOUNT AVE                 N PRESTON ST                  OLIVE ST
N 39TH ST                     MELON ST                      FAIRMOUNT AVE
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N 19TH ST                        BRANDYWINE ST                 WILCOX ST
BRANDYWINE ST                    N 19TH ST                     N 20TH ST
GREEN ST                         N 15TH ST                     N 16TH ST
WALLACE ST                       N 36TH ST                     N 37TH ST
N 37TH ST                        WALLACE ST                    MELON ST
N 51ST ST                        FOLSOM ST                     BROWN ST
N 20TH ST                        MONTEREY ST                   BRANDYWINE ST
FOLSOM ST                        N 51ST ST                     BROWN ST
N 18TH ST                        BRANDYWINE ST                 GREEN ST
BRANDYWINE ST                    N 18TH ST                     N 19TH ST
UNION ST                         MELON ST                      FAIRMOUNT AVE
N 35TH ST                        MOUNT VERNON ST               WALLACE ST
ASPEN ST                         N 48TH ST                     N 49TH ST
N 49TH ST                        ASPEN ST                      FOLSOM ST
FAIRMOUNT AVE                    HOLLY MALL                    N 42ND ST
N 42ND ST                        FAIRMOUNT AVE                 WARREN ST
N 19TH ST                        MONTEREY ST                   BRANDYWINE ST
MONTEREY ST                      N 19TH ST                     N 20TH ST
N 17TH ST                        BRANDYWINE ST                 GREEN ST
BRANDYWINE ST                    N 17TH ST                     N 18TH ST
N 21ST ST                        SPRING GARDEN ST              BRANDYWINE ST
FAIRMOUNT AVE                    BROOKLYN ST                   HUTTON ST
N 36TH ST                        MOUNT VERNON ST               WALLACE ST
N 41ST ST                        WARREN ST                     LANCASTER AVE
N 43RD ST                        FAIRMOUNT AVE                 ASPEN ST
N 50TH ST                        ASPEN ST                      FOLSOM ST
FAIRMOUNT AVE                    OLIVE ST                      LANCASTER AVE
N 16TH ST                        BRANDYWINE ST                 GREEN ST
BRANDYWINE ST                    N 16TH ST                     N 17TH ST
N 39TH ST                        WALLACE ST                    MELON ST
N 20TH ST                        SPRING GARDEN ST              MONTEREY ST
ASPEN ST                         N 50TH ST                     FARSON ST
FAIRMOUNT AVE                    N 43RD ST                     N 44TH ST
ASPEN ST                         FARSON ST                     DEARBORN ST
N 37TH ST                        MOUNT VERNON ST               WALLACE ST
BRANDYWINE ST                    N 15TH ST                     N 16TH ST
N 51ST ST                        ASPEN ST                      FOLSOM ST
N 19TH ST                        SPRING GARDEN ST              MONTEREY ST
ASPEN ST                         N 51ST ST                     HAVERFORD AVE
OLIVE ST                         N 48TH ST                     N 49TH ST
N 35TH ST                        HAVERFORD AVE                 MOUNT VERNON ST
N 18TH ST                        SPRING GARDEN ST              BRANDYWINE ST
N 50TH ST                        OLIVE ST                      ASPEN ST
WIOTA ST                         WALLACE ST                    FAIRMOUNT AVE
N 17TH ST                        SPRING GARDEN ST              BRANDYWINE ST
FAIRMOUNT AVE                    MAY PL                        N 47TH ST
N 36TH ST                        HAVERFORD AVE                 MOUNT VERNON ST
WALLACE ST                       WIOTA ST                      N PRESTON ST
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N 51ST ST                      HAVERFORD AVE                 ASPEN ST
MOUNT VERNON ST                LOWBER ST                     N 39TH ST
N 39TH ST                      MOUNT VERNON ST               WALLACE ST
FAIRMOUNT AVE                  N 47TH ST                     N 48TH ST
N 16TH ST                      SPRING GARDEN ST              BRANDYWINE ST
WALLACE ST                     N PRESTON ST                  LANCASTER AVE
NECTARINE ST                   N 19TH ST                     N 20TH ST
FAIRMOUNT AVE                  N 48TH ST                     N 49TH ST
WALLACE ST                     LUDWICK ST                    N PRESTON ST
PENNSYLVANIA AVE               N 22ND ST                     SPRING GARDEN TUNL
N 47TH ST                      MELON ST                      FAIRMOUNT AVE
WALLACE ST                     LUDWICK ST                    BUDD ST
N 35TH ST                      BRANDYWINE ST                 HAVERFORD AVE
N 50TH ST                      HAVERFORD AVE                 OLIVE ST
MAY PL                         CUL DE SAC SOUTH              FAIRMOUNT AVE
N 36TH ST                      BRANDYWINE ST                 HAVERFORD AVE
N 43RD ST                      WALLACE ST                    FAIRMOUNT AVE
PENNSYLVANIA AVE               HAMILTON ST                   N 22ND ST
N 39TH ST                      HAVERFORD AVE                 MOUNT VERNON ST
SUMMER ST                      FARSON ST                     N 51ST ST
WALLACE ST                     N 48TH ST                     N 49TH ST
HAMILTON ST                    N 20TH ST                     N 21ST ST
N 35TH ST                      SPRING GARDEN ST              BRANDYWINE ST
N 49TH ST                      HAVERFORD AVE                 WALLACE ST
N 41ST ST                      HAVERFORD AVE                 WALLACE ST
RACE ST                        RAMSEY ST                     N PAXON ST
RACE ST                        N 51ST ST                     RAMSEY ST
HAMILTON ST                    N 33RD ST                     N 34TH ST
N 50TH ST                      RACE ST                       N 49TH ST
HAMILTON ST                    N 34TH ST                     N 35TH ST
N 35TH ST                      HAMILTON ST                   SPRING GARDEN ST
HAMILTON ST                    N 15TH ST                     N 16TH ST
CRISTINA PL                    HAVERFORD AVE                 CUL DE SAC NORTH
N 43RD ST                      HAVERFORD AVE                 WALLACE ST
N 49TH ST                      RACE ST                       HAVERFORD AVE
RACE ST                        N 49TH ST                     N 50TH ST
MOSS ST                        HAVERFORD AVE                 WALLACE PL
N 39TH ST                      SPRING GARDEN ST              BRANDYWINE ST
HAMILTON ST                    N 35TH ST                     N 36TH ST
N 36TH ST                      HAMILTON ST                   SPRING GARDEN ST
N 41ST ST                      BRANDYWINE ST                 HAVERFORD AVE
HAMILTON ST                    N 36TH ST                     N 37TH ST
N 42ND ST                      BRANDYWINE ST                 HAVERFORD AVE
SPRING GARDEN ST               LANCASTER AVE                 SLOAN ST
N 39TH ST                      LANCASTER AVE                 SPRING GARDEN ST
HAMILTON ST                    N 37TH ST                     N 38TH ST
SHAMOKIN ST                    DEAD END EAST                 N 19TH ST
SPRING GARDEN ST               N 40TH ST                     WIOTA ST
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SPRING GARDEN ST               WIOTA ST                      N PRESTON ST
BARING ST                      N 34TH ST                     N 35TH ST
N 35TH ST                      BARING ST                     HAMILTON ST
SPRING GARDEN ST               N PRESTON ST                  BUDD ST
SLOAN ST                       NECTARINE ST                  SPRING GARDEN ST
BARING ST                      N 35TH ST                     N 36TH ST
N 36TH ST                      BARING ST                     HAMILTON ST
N 41ST ST                      SPRING GARDEN ST              BRANDYWINE ST
SPRING GARDEN ST               N 41ST ST                     N HOLLY ST
N 42ND ST                      SPRING GARDEN ST              BRANDYWINE ST
PARK TOWNE PL                  N 22ND ST                     N 24TH ST
BARING ST                      N 36TH ST                     N 37TH ST
N 37TH ST                      BARING ST                     HAMILTON ST
SLOAN ST                       UNION ST                      NECTARINE ST
BARING ST                      N 37TH ST                     N 38TH ST
ARCH ST                        N 51ST ST                     N PAXON ST
PEARL ST                       N 34TH ST                     N 35TH ST
N 35TH ST                      PEARL ST                      BARING ST
PEARL ST                       N 35TH ST                     N 36TH ST
N 36TH ST                      PEARL ST                      BARING ST
N 50TH ST                      ARCH ST                       RACE ST
ARCH ST                        N 50TH ST                     FARSON ST
CARLTON ST                     N 18TH ST                     N 19TH ST
BARING ST                      SAUNDERS AVE                  WARREN ST
BARING ST                      WARREN ST                     N 39TH ST
ARCH ST                        N SAINT BERNARD ST            N 50TH ST
N 17TH ST                      CARLTON ST                    CALLOWHILL ST
ARCH ST                        N 49TH ST                     N SAINT BERNARD ST
BARING ST                      N 39TH ST                     STATE ST
PEARL ST                       N 36TH ST                     N 37TH ST
N 37TH ST                      PEARL ST                      BARING ST
BARING ST                      STATE ST                      SLOAN ST
SLOAN ST                       BARING ST                     UNION ST
CARLTON ST                     N 16TH ST                     N 17TH ST
BARING ST                      SLOAN ST                      N 40TH ST
WOOD ST                        N 18TH ST                     N 19TH ST
BARING ST                      N 40TH ST                     WIOTA ST
N 35TH ST                      POWELTON AVE                  PEARL ST
N 17TH ST                      WOOD ST                       CARLTON ST
BARING ST                      WIOTA ST                      N PRESTON ST
N PRESTON ST                   BARING ST                     SPRING GARDEN ST
BARING ST                      N PRESTON ST                  BUDD ST
N 36TH ST                      POWELTON AVE                  PEARL ST
SAUNDERS AVE                   PEARL ST                      BARING ST
BARING ST                      BUDD ST                       N 41ST ST
N 41ST ST                      BARING ST                     SPRING GARDEN ST
N 37TH ST                      POWELTON AVE                  PEARL ST
BARING ST                      N HOLLY ST                    N 42ND ST
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N 37TH ST                        LANCASTER AVE                 POWELTON AVE
SAUNDERS AVE                     POWELTON AVE                  PEARL ST
STATE ST                         POWELTON AVE                  BARING ST
N 50TH ST                        S 50TH ST                     ARCH ST
N VAN PELT ST                    SPRING ST                     WINTER ST
SPRING ST                        N VAN PELT ST                 N 22ND ST
SPRING ST                        N VAN PELT ST                 N VAN PELT ST
SPRING ST                        N 21ST ST                     N VAN PELT ST
N 37TH ST                        WARREN ST                     LANCASTER AVE
N 48TH ST                        S 48TH ST                     HAVERFORD AVE
BUSTI ST                         HOLDEN ST                     CUL DE SAC NORTH
HOLDEN ST                        BUSTI ST                      CUL DE SAC WEST
N 46TH ST                        MARKET ST                     NEHEMIAH WAY
S 50TH ST                        MARKET ST                     LUDLOW ST
S 51ST ST                        LUDLOW ST                     RANSTEAD ST
HOLDEN ST                        POWELTON AVE                  BUSTI ST
S 49TH ST                        MARKET ST                     LUDLOW ST
FILBERT ST                       N PRESTON ST                  N 41ST ST
N 36TH ST                        WARREN ST                     RACE ST
WARREN ST                        N 36TH ST                     N 37TH ST
FILBERT ST                       WIOTA ST                      N PRESTON ST
FILBERT ST                       N 40TH ST                     WIOTA ST
FILBERT ST                       SLOAN ST                      N 40TH ST
S 51ST ST                        RANSTEAD ST                   CHESTNUT ST
S 50TH ST                        LUDLOW ST                     CHESTNUT ST
N 42ND ST                        MARKET ST                     FILBERT ST
S 46TH ST                        MARKET ST                     LUDLOW ST
N 41ST ST                        MARKET ST                     FILBERT ST
CHERRY ST                        N 21ST ST                     N VAN PELT ST
S 49TH ST                        LUDLOW ST                     CHESTNUT ST
CHERRY ST                        N LAMBERT ST                  N 21ST ST
S 45TH ST                        MARKET ST                     LUDLOW ST
N PRESTON ST                     MARKET ST                     FILBERT ST
CHERRY ST                        N WOODSTOCK ST                N LAMBERT ST
CHERRY ST                        N 20TH ST                     N WOODSTOCK ST
S 51ST ST                        CHESTNUT ST                   SANSOM ST
N 39TH ST                        MARKET ST                     FILBERT ST
WARREN ST                        FILBERT ST                    N 36TH ST
FILBERT ST                       WARREN ST                     N 36TH ST
S 50TH ST                        CHESTNUT ST                   SANSOM ST
S 46TH ST                        LUDLOW ST                     CHESTNUT ST
LUDLOW ST                        S 41ST ST                     S 42ND ST
N 36TH ST                        S 36TH ST                     FILBERT ST
CHERRY ST                        N 15TH ST                     N MOLE ST
N CARLISLE ST                    CHERRY ST                     RACE ST
CHERRY ST                        N CARLISLE ST                 BURNS ST
S 51ST ST                        SANSOM ST                     WALNUT ST
S 39TH ST                        MARKET ST                     LUDLOW ST
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LUDLOW ST                         S 39TH ST                     S 40TH ST
FARRAGUT ST                       CHESTNUT ST                   SANSOM ST
SANSOM ST                         FARRAGUT ST                   S 47TH ST
S 46TH ST                         CHESTNUT ST                   SANSOM ST
LUDLOW ST                         S 38TH ST                     S 39TH ST
S 41ST ST                         LUDLOW ST                     CHESTNUT ST
LUDLOW ST                         S 37TH ST                     S 38TH ST
SANSOM ST                         S 44TH ST                     S 45TH ST
S 36TH ST                         MARKET ST                     LUDLOW ST
LUDLOW ST                         S 36TH ST                     S 37TH ST
S 39TH ST                         LUDLOW ST                     CHESTNUT ST
LUDLOW ST                         S 34TH ST                     S 36TH ST
S 41ST ST                         CHESTNUT ST                   SANSOM ST
SANSOM ST                         S 41ST ST                     S 42ND ST
S 51ST ST                         CHANCELLOR ST                 LOCUST ST
LOCUST ST                         S 51ST ST                     S 52ND ST
S 50TH ST                         CHANCELLOR ST                 LOCUST ST
LOCUST ST                         S 50TH ST                     S 51ST ST
S 36TH ST                         LUDLOW ST                     CHESTNUT ST
S 49TH ST                         CHANCELLOR ST                 LOCUST ST
LOCUST ST                         S 49TH ST                     S SAINT BERNARD ST
S 39TH ST                         CHESTNUT ST                   SANSOM ST
S 51ST ST                         LOCUST ST                     IRVING ST
S 41ST ST                         SANSOM ST                     WALNUT ST
S 37TH ST                         CHESTNUT ST                   SANSOM ST
SANSOM ST                         S 37TH ST                     S 38TH ST
S 36TH ST                         CHESTNUT ST                   SANSOM ST
S 39TH ST                         SANSOM ST                     WALNUT ST
S 45TH ST                         WALNUT ST                     LOCUST ST
S 51ST ST                         IRVING ST                     SPRUCE ST
BUCKINGHAM PL                     WALNUT ST                     LOCUST ST
S 51ST ST                         SPRUCE ST                     DELANCEY ST
S 37TH ST                         SANSOM ST                     WALNUT ST
SAINT MARKS SQ                    WALNUT ST                     LOCUST ST
S 49TH ST                         LOCUST ST                     SPRUCE ST
S 48TH ST                         LOCUST ST                     SPRUCE ST
LOCUST ST                         S 41ST ST                     S 42ND ST
S 47TH ST                         LOCUST ST                     SPRUCE ST
HANSON ST                         SPRUCE ST                     PINE ST
LOCUST ST                         S 40TH ST                     S PRESTON ST
S 48TH ST                         SPRUCE ST                     PINE ST
S 47TH ST                         SPRUCE ST                     PINE ST
S 41ST ST                         LOCUST ST                     IRVING ST
S 46TH ST                         SPRUCE ST                     PINE ST
S PRESTON ST                      LOCUST ST                     IRVING ST
SAINT MARKS ST                    SPRUCE ST                     DELANCEY ST
S 41ST ST                         SPRUCE ST                     DELANCEY ST
N 49TH ST                         MARKET ST                     ARCH ST
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LOCUST ST                     S 47TH ST                     S 48TH ST
LOCUST ST                     FARRAGUT ST                   S 47TH ST
LOCUST ST                     S 46TH ST                     FARRAGUT ST
LOCUST ST                     S MELVILLE ST                 S 46TH ST
LOCUST ST                     S 45TH ST                     S MELVILLE ST
LOCUST ST                     S 44TH ST                     BUCKINGHAM PL
SANSOM ST                     MORAVIAN ST                   S 36TH ST
SLOAN ST                      FILBERT ST                    POWELTON AVE
WARREN ST                     UNION ST                      SPRING GARDEN ST
WARREN ST                     BARING ST                     N 39TH ST
N 39TH ST                     WARREN ST                     LANCASTER AVE
N 39TH ST                     BARING ST                     WARREN ST
N 39TH ST                     POWELTON AVE                  BARING ST
WALLACE ST                    N 43RD ST                     PALLAS ST
ASPEN ST                      PALLAS ST                     N 44TH ST
N 42ND ST                     PENNSGROVE ST                 PENNSGROVE ST
N 42ND ST                     PENNSGROVE ST                 OTTER ST
LANSDOWNE DR                  SWEETBRIAR DR                 S CONCOURSE DR
N 31ST ST                     W THOMPSON ST                 MASTER ST
N 31ST ST                     BALTZ ST                      W THOMPSON ST
N 31ST ST                     W STILES ST                   BALTZ ST
N 31ST ST                     W GIRARD AVE                  W STILES ST
BALTZ ST                      N 30TH ST                     N 31ST ST
W THOMPSON ST                 N 30TH ST                     N 31ST ST
W FLORA ST                    N 29TH ST                     N 30TH ST
N 30TH ST                     W THOMPSON ST                 MASTER ST
N 30TH ST                     W STILES ST                   BALTZ ST
N 30TH ST                     W FLORA ST                    W STILES ST
N 30TH ST                     W GIRARD AVE                  W FLORA ST
W STILES ST                   N 30TH ST                     N 31ST ST
N 30TH ST                     W HARPER ST                   W GIRARD AVE
N 30TH ST                     W HARPER ST                   W HARPER ST
N 30TH ST                     CAMBRIDGE ST                  W HARPER ST
N 30TH ST                     CAMBRIDGE ST                  CAMBRIDGE ST
N 30TH ST                     POPLAR ST                     CAMBRIDGE ST
N 30TH ST                     PENNSYLVANIA AVE              POPLAR ST
N 30TH ST                     W STILES ST                   W STILES ST
CAMBRIDGE ST                  N 29TH ST                     N 30TH ST
W HARPER ST                   N 29TH ST                     N 30TH ST
N MYRTLEWOOD ST               OGDEN ST                      POPLAR ST
OGDEN ST                      N MYRTLEWOOD ST               PENNSYLVANIA AVE
OGDEN ST                      N 29TH ST                     N MYRTLEWOOD ST
W STILES ST                   N MYRTLEWOOD ST               N 30TH ST
W STILES ST                   N HOLLYWOOD ST                N MYRTLEWOOD ST
W STILES ST                   N 29TH ST                     N HOLLYWOOD ST
W STILES ST                   N DOVER ST                    N 29TH ST
W STILES ST                   N NEWKIRK ST                  N DOVER ST
W STILES ST                   N 28TH ST                     N NEWKIRK ST
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N MYRTLEWOOD ST               W STILES ST                   W THOMPSON ST
N HOLLYWOOD ST                W STILES ST                   W THOMPSON ST
W THOMPSON ST                 N MYRTLEWOOD ST               N 30TH ST
W THOMPSON ST                 N HOLLYWOOD ST                N MYRTLEWOOD ST
W THOMPSON ST                 N 29TH ST                     N HOLLYWOOD ST
N MYRTLEWOOD ST               W THOMPSON ST                 MASTER ST
N HOLLYWOOD ST                W THOMPSON ST                 MASTER ST
POPLAR DR                     SEDGELEY DR                   POPLAR ST
ASPEN ST                      UNION ST                      SLOAN ST
SLOAN ST                      ASPEN ST                      BROWN ST
N 38TH ST                     FAIRMOUNT AVE                 OLIVE ST
WALLACE ST                    N 32ND ST                     N 33RD ST
MANTUA AVE                    WALLACE ST                    N 32ND ST
MANTUA AVE                    MOUNT VERNON ST               WALLACE ST
MANTUA AVE                    N 31ST ST                     MOUNT VERNON ST
N 32ND ST                     MOUNT VERNON ST               WALLACE ST
N 32ND ST                     HAVERFORD AVE                 MOUNT VERNON ST
N 32ND ST                     BRANDYWINE ST                 HAVERFORD AVE
MOUNT VERNON ST               MANTUA AVE                    N 32ND ST
MOUNT VERNON ST               N 32ND ST                     N 33RD ST
FILBERT ST                    N 34TH ST                     WARREN ST
SANSOM ST                     S 16TH ST                     S 17TH ST
SANSOM ST                     S 15TH ST                     S 16TH ST
SANSOM ST                     S BROAD ST                    S 15TH ST
MORAVIAN ST                   S 15TH ST                     S 16TH ST
MORAVIAN ST                   S BROAD ST                    S 15TH ST
S SYDENHAM ST                 WALNUT ST                     LOCUST ST
SAINT JAMES ST                S 16TH ST                     S 17TH ST
BACH PL                       S BROAD ST                    S 15TH ST
LATIMER ST                    S 16TH ST                     S 17TH ST
LATIMER ST                    S 15TH ST                     S 16TH ST
CHANCELLOR ST                 S 17TH ST                     S 18TH ST
CHANCELLOR ST                 S 16TH ST                     S 17TH ST
MORAVIAN ST                   S 17TH ST                     S 18TH ST
MORAVIAN ST                   S 16TH ST                     S 17TH ST
SCHUBERT ALY                  S 17TH ST                     MOZART PL
RITTENHOUSE SQ                W RITTENHOUSE SQ              S 20TH ST
LOCUST ST                     S WOODSTOCK ST                S 21ST ST
LOCUST ST                     S 20TH ST                     S WOODSTOCK ST
S VAN PELT ST                 DEAD END NORTH                LOCUST ST
CHANCELLOR ST                 S WOODSTOCK ST                S 21ST ST
CHANCELLOR ST                 S 20TH ST                     S WOODSTOCK ST
LOCUST ST                     S 22ND ST                     S 23RD ST
LOCUST ST                     S VAN PELT ST                 S 22ND ST
LOCUST ST                     S 21ST ST                     S VAN PELT ST
MORAVIAN ST                   S 20TH ST                     S 21ST ST
LATIMER ST                    S 22ND ST                     S 23RD ST
RITTENHOUSE SQ                S 22ND ST                     S 23RD ST
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CHANCELLOR ST                    S BONSALL ST                  FITLERS WALK
S BONSALL ST                     CHANCELLOR ST                 LOCUST ST
LOCUST ST                        S BONSALL ST                  S 24TH ST
LOCUST ST                        S 23RD ST                     S BONSALL ST
S 24TH ST                        FITLERS WALK                  LOCUST ST
S 24TH ST                        LOCUST ST                     MANNING ST
LOCUST ST                        S 24TH ST                     S 25TH ST
S 25TH ST                        LOCUST ST                     MANNING ST
IONIC ST                         S BONSALL ST                  S 24TH ST
IONIC ST                         S 23RD ST                     S BONSALL ST
S BONSALL ST                     IONIC ST                      SANSOM ST
SANSOM ST                        S BONSALL ST                  S 24TH ST
SANSOM ST                        S 23RD ST                     S BONSALL ST
S VAN PELT ST                    CHESTNUT ST                   SANSOM ST
SANSOM ST                        S 22ND ST                     S 23RD ST
SANSOM ST                        S 21ST ST                     S VAN PELT ST
SANSOM ST                        S 20TH ST                     S 21ST ST
LUDLOW ST                        S 22ND ST                     S 23RD ST
LUDLOW ST                        S 23RD ST                     S 24TH ST
S VAN PELT ST                    LUDLOW ST                     CHESTNUT ST
LUDLOW ST                        S VAN PELT ST                 S 22ND ST
LUDLOW ST                        S 21ST ST                     S VAN PELT ST
S 24TH ST                        LUDLOW ST                     RANSTEAD ST
S 24TH ST                        RANSTEAD ST                   ARMORY ST
S 24TH ST                        IONIC ST                      SANSOM ST
RANSTEAD ST                      S 23RD ST                     S 24TH ST
ARMORY ST                        RANSTEAD ST                   S 24TH ST
LUDLOW ST                        S 20TH ST                     S 21ST ST
MORAVIAN ST                      S 19TH ST                     S 20TH ST
SANSOM ST                        S 19TH ST                     S 20TH ST
SANSOM ST                        S 18TH ST                     S 19TH ST
SANSOM ST                        S 17TH ST                     S 18TH ST
RANSTEAD ST                      DEAD END EAST                 S 20TH ST
RANSTEAD ST                      S 19TH ST                     DEAD END WEST
RANSTEAD ST                      S 18TH ST                     DEAD END WEST
RANSTEAD ST                      S 17TH ST                     S 18TH ST
LUDLOW ST                        S 19TH ST                     S 20TH ST
LUDLOW ST                        S 18TH ST                     S 19TH ST
LUDLOW ST                        S 17TH ST                     S 18TH ST
RANSTEAD ST                      S 15TH ST                     S 16TH ST
COMMERCE ST                      COMMERCE ST TUNL              N 20TH ST
APPLETREE ST                     DEAD END EAST                 N 16TH ST
BURNS ST                         APPLETREE ST                  CHERRY ST
CUTHBERT ST                      N 18TH ST                     N 19TH ST
CUTHBERT ST                      N 16TH ST                     N 17TH ST
CUTHBERT ST                      N 19TH ST                     N 20TH ST
APPLETREE ST                     N 20TH ST                     N 21ST ST
CHERRY ST                        N 19TH ST                     N 20TH ST
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CHERRY ST                     N 18TH ST                     N 19TH ST
CHERRY ST                     BENJAMIN FRANKLIN PKWY        N 18TH ST
CHERRY ST                     N 16TH ST                     BENJAMIN FRANKLIN PKWY
CHERRY ST                     N MOLE ST                     N 16TH ST
N MOLE ST                     CHERRY ST                     RACE ST
N CROSKEY ST                  ARCH ST                       CHERRY ST
CHERRY ST                     N CROSKEY ST                  N 23RD ST
CHERRY ST                     N 22ND ST                     N CROSKEY ST
APPLETREE ST                  N 21ST ST                     N BEECHWOOD ST
WALDEN ST                     N 21ST ST                     N 22ND ST
CUTHBERT ST                   N 20TH ST                     N 21ST ST
RACE ST                       N 23RD ST                     N BONSALL ST
N VAN PELT ST                 RACE ST                       SPRING ST
N VAN PELT ST                 CHERRY ST                     RACE ST
N WOODSTOCK ST                CHERRY ST                     RACE ST
N LAMBERT ST                  CHERRY ST                     RACE ST
NORTH ST                      N 16TH ST                     N 17TH ST
NORTH ST                      N SYDENHAM ST                 N 16TH ST
NORTH ST                      N 15TH ST                     N SYDENHAM ST
MELON ST                      N 16TH ST                     N 17TH ST
N SYDENHAM ST                 NORTH ST                      MELON ST
N 16TH ST                     MELON ST                      FAIRMOUNT AVE
N 16TH ST                     NORTH ST                      MELON ST
N 16TH ST                     WALLACE ST                    NORTH ST
N 17TH ST                     MELON ST                      FAIRMOUNT AVE
N 17TH ST                     NORTH ST                      MELON ST
N 17TH ST                     WALLACE ST                    NORTH ST
N 18TH ST                     NORTH ST                      FAIRMOUNT AVE
N 18TH ST                     WALLACE ST                    NORTH ST
N 18TH ST                     MOUNT VERNON ST               WALLACE ST
N 19TH ST                     WALLACE ST                    NORTH ST
N 19TH ST                     MOUNT VERNON ST               WALLACE ST
BURNS ST                      BROWN ST                      PARRISH ST
N CARLISLE ST                 BROWN ST                      PARRISH ST
BROWN ST                      RIDGE AVE                     N 16TH ST
FOLSOM ST                     N 17TH ST                     N 18TH ST
SWAIN ST                      N 15TH ST                     N 16TH ST
BROWN ST                      N 17TH ST                     FRANCIS ST
BROWN ST                      N 16TH ST                     N 17TH ST
SWAIN ST                      N CHADWICK ST                 N 17TH ST
SWAIN ST                      N 16TH ST                     N CHADWICK ST
OLIVE ST                      N 16TH ST                     N CHADWICK ST
N CHADWICK ST                 OLIVE ST                      SWAIN ST
OLIVE ST                      N CHADWICK ST                 N 17TH ST
OLIVE ST                      N 17TH ST                     N 18TH ST
N 17TH ST                     SWAIN ST                      BROWN ST
N 17TH ST                     FOLSOM ST                     SWAIN ST
N 16TH ST                     OLIVE ST                      SWAIN ST
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N 17TH ST                        OLIVE ST                      FOLSOM ST
N 16TH ST                        FAIRMOUNT AVE                 OLIVE ST
N 17TH ST                        FAIRMOUNT AVE                 OLIVE ST
N 16TH ST                        SWAIN ST                      BROWN ST
N 16TH ST                        PARRISH ST                    RIDGE AVE
N 16TH ST                        RENO ST                       PARRISH ST
N 16TH ST                        BROWN ST                      RENO ST
RENO ST                          N 16TH ST                     N 17TH ST
PARRISH ST                       N 16TH ST                     FRANCIS ST
N 17TH ST                        RENO ST                       FRANCIS ST
N 17TH ST                        BROWN ST                      RENO ST
N 18TH ST                        FOLSOM ST                     FRANCIS ST
N 18TH ST                        OLIVE ST                      FOLSOM ST
N 18TH ST                        FAIRMOUNT AVE                 OLIVE ST
OLIVE ST                         FRANCIS ST                    N 19TH ST
SHIRLEY ST                       FAIRMOUNT AVE                 OLIVE ST
N 19TH ST                        SHIRLEY ST                    BROWN ST
N 19TH ST                        OLIVE ST                      SHIRLEY ST
N 19TH ST                        FAIRMOUNT AVE                 OLIVE ST
FRANCIS ST                       PERKIOMEN ST                  BROWN ST
FRANCIS ST                       BROWN ST                      CAMERON ST
FRANCIS ST                       CAMERON ST                    N 18TH ST
FRANCIS ST                       N 18TH ST                     OLIVE ST
CAMERON ST                       FRANCIS ST                    WYLIE ST
WYLIE ST                         PERKIOMEN ST                  CAMERON ST
WYLIE ST                         CAMERON ST                    SHIRLEY ST
N UBER ST                        FAIRMOUNT AVE                 BROWN ST
CAMERON ST                       WYLIE ST                      VINEYARD ST
VINEYARD ST                      RIDGE AVE                     POPLAR ST
VINEYARD ST                      POPLAR ST                     LELAND ST
VINEYARD ST                      LELAND ST                     PERKIOMEN ST
VINEYARD ST                      PERKIOMEN ST                  CAMERON ST
VINEYARD ST                      CAMERON ST                    PARRISH ST
N 19TH ST                        NORTH ST                      FAIRMOUNT AVE
NORTH ST                         N 18TH ST                     N 19TH ST
HARMER ST                        N 15TH ST                     N 16TH ST
OGDEN ST                         N 15TH ST                     N 16TH ST
N CARLISLE ST                    PARRISH ST                    OGDEN ST
PARRISH ST                       N 15TH ST                     N 16TH ST
PARRISH ST                       N CARLISLE ST                 BURNS ST
N 16TH ST                        POPLAR ST                     CAMBRIDGE ST
N 16TH ST                        LEX ST                        POPLAR ST
N 16TH ST                        OGDEN ST                      HARMER ST
N 16TH ST                        PARRISH ST                    OGDEN ST
N 16TH ST                        RIDGE AVE                     PARRISH ST
PARRISH ST                       N 16TH ST                     RIDGE AVE
FIELD ST                         FRANCIS ST                    DEAD END NORTH
WYLIE ST                         RIDGE AVE                     LELAND ST
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LELAND ST                         FRANCIS ST                    WYLIE ST
PERKIOMEN ST                      ERDMAN ST                     WYLIE ST
PERKIOMEN ST                      BOWERS ST                     ERDMAN ST
PERKIOMEN ST                      FRANCIS ST                    BOWERS ST
BOWERS ST                         DEAD END EAST                 PERKIOMEN ST
FRANCIS ST                        RIDGE AVE                     FIELD ST
FRANCIS ST                        FIELD ST                      LELAND ST
FRANCIS ST                        LELAND ST                     N 17TH ST
FRANCIS ST                        N 17TH ST                     PERKIOMEN ST
N 17TH ST                         RIDGE AVE                     POPLAR ST
N 17TH ST                         POPLAR ST                     CAMBRIDGE ST
W HARPER ST                       N 19TH ST                     N 20TH ST
CAMBRIDGE ST                      N 20TH ST                     CORINTHIAN AVE
W GEORGE ST                       N 20TH ST                     CORINTHIAN AVE
W GEORGE ST                       N 19TH ST                     N 20TH ST
CAMBRIDGE ST                      N 19TH ST                     N 20TH ST
GINNODO ST                        RIDGE AVE                     LELAND ST
GINNODO ST                        LELAND ST                     POPLAR ST
LELAND ST                         POPLAR ST                     GINNODO ST
LELAND ST                         VINEYARD ST                   POPLAR ST
W HARPER ST                       N 17TH ST                     N 18TH ST
N 18TH ST                         W HARPER ST                   W GIRARD AVE
N 18TH ST                         RIDGE AVE                     W HARPER ST
CAMBRIDGE ST                      N 17TH ST                     RIDGE AVE
N 19TH ST                         W GIRARD AVE                  RIDGE AVE
N 19TH ST                         W HARPER ST                   W GIRARD AVE
N 19TH ST                         CAMBRIDGE ST                  W HARPER ST
N 19TH ST                         W GEORGE ST                   CAMBRIDGE ST
N 19TH ST                         POPLAR ST                     W GEORGE ST
N 19TH ST                         PERKIOMEN ST                  POPLAR ST
N 19TH ST                         PARRISH ST                    PERKIOMEN ST
N 19TH ST                         BROWN ST                      PARRISH ST
OGDEN ST                          N 20TH ST                     CORINTHIAN AVE
N UBER ST                         PARRISH ST                    POPLAR ST
N OPAL ST                         PARRISH ST                    POPLAR ST
N 20TH ST                         W GIRARD AVE                  S COLLEGE AVE
N 20TH ST                         W HARPER ST                   W GIRARD AVE
N 20TH ST                         OGDEN ST                      POPLAR ST
N 20TH ST                         PARRISH ST                    OGDEN ST
N 20TH ST                         CAMBRIDGE ST                  W HARPER ST
N 20TH ST                         W GEORGE ST                   CAMBRIDGE ST
N 20TH ST                         POPLAR ST                     W GEORGE ST
CORINTHIAN AVE                    CAMBRIDGE ST                  W GIRARD AVE
CORINTHIAN AVE                    W GEORGE ST                   CAMBRIDGE ST
CORINTHIAN AVE                    POPLAR ST                     W GEORGE ST
CORINTHIAN AVE                    OGDEN ST                      POPLAR ST
CORINTHIAN AVE                    BROWN ST                      PARRISH ST
CORINTHIAN AVE                    FAIRMOUNT AVE                 BROWN ST
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S COLLEGE AVE                 N 19TH ST                     N 20TH ST
PARRISH ST                    N 22ND ST                     N 23RD ST
PARRISH ST                    N 21ST ST                     N BEECHWOOD ST
PARRISH ST                    CORINTHIAN AVE                N WOODSTOCK ST
PARRISH ST                    N 20TH ST                     N CAPITOL ST
PARRISH ST                    N OPAL ST                     N 20TH ST
PARRISH ST                    N UBER ST                     N OPAL ST
PARRISH ST                    N 19TH ST                     N UBER ST
CORINTHIAN AVE                PARRISH ST                    OGDEN ST
PARRISH ST                    N CAPITOL ST                  CORINTHIAN AVE
MELON ST                      N 47TH ST                     N 48TH ST
WYALUSING AVE                 N 45TH ST                     N 45TH ST
N 45TH ST                     MERION AVE                    WYALUSING AVE
WYALUSING AVE                 MERION AVE                    LANCASTER AVE
WESTMINSTER AVE               N FALLON ST                   N FALLON ST
W CABOT ST                    N 27TH ST                     N 28TH ST
PENNOCK ST                    W FLORA ST                    W STILES ST
W FLORA ST                    PENNOCK ST                    N 28TH ST
N ETTING ST                   W FLORA ST                    W STILES ST
W FLORA ST                    N ETTING ST                   PENNOCK ST
W FLORA ST                    N 27TH ST                     N ETTING ST
W STILES ST                   N 27TH ST                     N ETTING ST
W STILES ST                   N ETTING ST                   PENNOCK ST
W STILES ST                   PENNOCK ST                    N 28TH ST
W STILES ST                   TANEY CT                      N 27TH ST
N TANEY ST                    W GIRARD AVE                  W STILES ST
N MARSTON ST                  MARSTON CT                    KERSHAW ST
N STILLMAN ST                 SEYBERT ST                    SEYBERT ST
N STILLMAN ST                 W THOMPSON ST                 SEYBERT ST
W COLLEGE AVE                 N COLLEGE AVE                 W THOMPSON ST
N 26TH ST                     W GIRARD AVE                  W THOMPSON ST
N 26TH ST                     SEYBERT ST                    INGERSOLL ST
N 26TH ST                     W THOMPSON ST                 SEYBERT ST
W THOMPSON ST                 N 26TH ST                     N TANEY ST
W THOMPSON ST                 N TANEY ST                    N 27TH ST
W THOMPSON ST                 N TANEY ST                    N TANEY ST
N TANEY ST                    SEYBERT ST                    INGERSOLL ST
N TANEY ST                    W THOMPSON ST                 SEYBERT ST
N TANEY ST                    W STILES ST                   CABOT PL
SEYBERT ST                    N 26TH ST                     N TANEY ST
SEYBERT ST                    N STILLMAN ST                 N 26TH ST
N NEWKIRK ST                  W THOMPSON ST                 MASTER ST
N DOVER ST                    W STILES ST                   W THOMPSON ST
N DOVER ST                    W THOMPSON ST                 MASTER ST
W THOMPSON ST                 N DOVER ST                    N 29TH ST
W THOMPSON ST                 N 28TH ST                     N NEWKIRK ST
W THOMPSON ST                 N 27TH ST                     N MARSTON ST
W THOMPSON ST                 N NEWKIRK ST                  N DOVER ST
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N NEWKIRK ST                     W STILES ST                   W THOMPSON ST
N NEWKIRK ST                     BROWN ST                      PARRISH ST
RENO ST                          PENNOCK ST                    N 28TH ST
PARRISH ST                       N NEWKIRK ST                  N 29TH ST
PARRISH ST                       N 28TH ST                     N NEWKIRK ST
PARRISH ST                       PENNOCK ST                    N 28TH ST
PARRISH ST                       N 27TH ST                     PENNOCK ST
PARRISH ST                       N TANEY ST                    N 27TH ST
PARRISH ST                       N BAILEY ST                   N TANEY ST
PARRISH ST                       N 26TH ST                     N BAILEY ST
PARRISH ST                       N BAMBREY ST                  N 26TH ST
PARRISH ST                       N STILLMAN ST                 N BAMBREY ST
N 28TH ST                        PARRISH ST                    POPLAR ST
N 28TH ST                        RENO ST                       PARRISH ST
N 28TH ST                        BROWN ST                      RENO ST
N 28TH ST                        PENNSYLVANIA AVE              BROWN ST
PENNOCK ST                       PARRISH ST                    POPLAR ST
PENNOCK ST                       SWAIN ST                      BROWN ST
PENNOCK ST                       FOLSOM ST                     SWAIN ST
PENNOCK ST                       PENNSYLVANIA AVE              FOLSOM ST
PENNOCK ST                       RENO ST                       PARRISH ST
PENNOCK ST                       BROWN ST                      RENO ST
BROWN ST                         N 28TH ST                     N NEWKIRK ST
BROWN ST                         PENNOCK ST                    N 28TH ST
BROWN ST                         N 27TH ST                     PENNOCK ST
BROWN ST                         N TANEY ST                    N 27TH ST
BROWN ST                         N 26TH ST                     N TANEY ST
BROWN ST                         N STILLMAN ST                 N 26TH ST
N TANEY ST                       BROWN ST                      PARRISH ST
N TANEY ST                       PARRISH ST                    POPLAR ST
N BAILEY ST                      PARRISH ST                    POPLAR ST
N BAMBREY ST                     RENO ST                       PARRISH ST
RENO ST                          N BAMBREY ST                  N 26TH ST
N STILLMAN ST                    PARRISH ST                    POPLAR ST
N STILLMAN ST                    BROWN ST                      PARRISH ST
N BAMBREY ST                     PARRISH ST                    POPLAR ST
SWAIN ST                         N 25TH ST                     N 26TH ST
N TANEY ST                       SWAIN ST                      BROWN ST
N TANEY ST                       FOLSOM ST                     SWAIN ST
N TANEY ST                       ASPEN ST                      FOLSOM ST
SWAIN ST                         N 26TH ST                     N TANEY ST
FOLSOM ST                        N 26TH ST                     N TANEY ST
BROWN ST                         N 25TH ST                     N STILLMAN ST
SWAIN ST                         N 27TH ST                     PENNOCK ST
N 27TH ST                        SWAIN ST                      BROWN ST
N 27TH ST                        FOLSOM ST                     SWAIN ST
ASPEN ST                         N 26TH ST                     N TANEY ST
ASPEN ST                         N 25TH ST                     N 26TH ST
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ASPEN ST                         N TAYLOR ST                   N 25TH ST
ASPEN ST                         N RINGGOLD ST                 N TAYLOR ST
ASPEN ST                         N 24TH ST                     N RINGGOLD ST
N 27TH ST                        PENNSYLVANIA AVE              ASPEN ST
N 27TH ST                        ASPEN ST                      FOLSOM ST
ASPEN ST                         N TANEY ST                    N 27TH ST
MEREDITH ST                      N 25TH ST                     N 26TH ST
MEREDITH ST                      N 24TH ST                     N 25TH ST
N TAYLOR ST                      ASPEN ST                      BROWN ST
BROWN ST                         N RINGGOLD ST                 N TAYLOR ST
N RINGGOLD ST                    ASPEN ST                      BROWN ST
N TAYLOR ST                      PARRISH ST                    POPLAR ST
N TAYLOR ST                      BROWN ST                      PARRISH ST
PARRISH ST                       N 25TH ST                     N STILLMAN ST
PARRISH ST                       N TAYLOR ST                   N 25TH ST
PARRISH ST                       N RINGGOLD ST                 N TAYLOR ST
PARRISH ST                       N 24TH ST                     N RINGGOLD ST
PARRISH ST                       N BUCKNELL ST                 N 24TH ST
PARRISH ST                       JUDSON ST                     N BUCKNELL ST
N RINGGOLD ST                    PARRISH ST                    POPLAR ST
N RINGGOLD ST                    BROWN ST                      PARRISH ST
N BUCKNELL ST                    PARRISH ST                    POPLAR ST
N BUCKNELL ST                    BROWN ST                      PARRISH ST
N BUCKNELL ST                    ASPEN ST                      BROWN ST
N 24TH ST                        PARRISH ST                    POPLAR ST
N 24TH ST                        BROWN ST                      PARRISH ST
N 24TH ST                        ASPEN ST                      BROWN ST
JUDSON ST                        PARRISH ST                    POPLAR ST
JUDSON ST                        BROWN ST                      PARRISH ST
JUDSON ST                        ASPEN ST                      BROWN ST
PARRISH ST                       N 23RD ST                     JUDSON ST
N 22ND ST                        ASPEN ST                      BROWN ST
N 22ND ST                        BROWN ST                      PARRISH ST
PARRISH ST                       N BEECHWOOD ST                N 22ND ST
N 23RD ST                        ASPEN ST                      BROWN ST
N CROSKEY ST                     ASPEN ST                      BROWN ST
ASPEN ST                         N BUCKNELL ST                 N 24TH ST
ASPEN ST                         JUDSON ST                     N BUCKNELL ST
ASPEN ST                         N 23RD ST                     JUDSON ST
ASPEN ST                         N CROSKEY ST                  N 23RD ST
ASPEN ST                         N 22ND ST                     N CROSKEY ST
N 24TH ST                        MEREDITH ST                   ASPEN ST
N 24TH ST                        FAIRMOUNT AVE                 OLIVE ST
N 24TH ST                        WALLACE ST                    FAIRMOUNT AVE
N 24TH ST                        PEROT ST                      MEREDITH ST
N 23RD ST                        FAIRMOUNT AVE                 OLIVE ST
N 23RD ST                        MOUNT VERNON ST               WALLACE ST
N 23RD ST                        GREEN ST                      MOUNT VERNON ST
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N 23RD ST                        BRANDYWINE ST                 GREEN ST
N 22ND ST                        WALLACE ST                    FAIRMOUNT AVE
N 21ST ST                        CLAY ST                       MOUNT VERNON ST
N 21ST ST                        GREEN ST                      CLAY ST
N 21ST ST                        NORTH ST                      FAIRMOUNT AVE
N 21ST ST                        WALLACE ST                    NORTH ST
N 21ST ST                        WILCOX ST                     GREEN ST
N 21ST ST                        BRANDYWINE ST                 WILCOX ST
N 21ST ST                        MOUNT VERNON ST               WALLACE ST
N 20TH ST                        NORTH ST                      FAIRMOUNT AVE
N 20TH ST                        NORTH ST                      NORTH ST
N 20TH ST                        WALLACE ST                    NORTH ST
N 20TH ST                        MOUNT VERNON ST               WALLACE ST
N 20TH ST                        GREEN ST                      MOUNT VERNON ST
N 23RD ST                        WALLACE ST                    FAIRMOUNT AVE
N 23RD ST                        WALLACE ST                    WALLACE ST
N 22ND ST                        MOUNT VERNON ST               WALLACE ST
N 22ND ST                        CLAY ST                       MOUNT VERNON ST
N 22ND ST                        GREEN ST                      CLAY ST
N 22ND ST                        WALLACE ST                    WALLACE ST
N 24TH ST                        GREEN ST                      WALLACE ST
N 24TH ST                        PENNSYLVANIA AVE              GREEN ST
GREEN ST                         N 24TH ST                     PENNSYLVANIA AVE
GREEN ST                         N 23RD ST                     N 24TH ST
JUDSON ST                        PENNSYLVANIA AVE              BRANDYWINE ST
BRANDYWINE ST                    N 23RD ST                     JUDSON ST
N 23RD ST                        BRANDYWINE ST                 BRANDYWINE ST
N 23RD ST                        SPRING GARDEN TUNL            BRANDYWINE ST
N 22ND ST                        SPRING GARDEN ST              BRANDYWINE ST
N NATRONA ST                     BRANDYWINE ST                 HAVERFORD AVE
N DOUGLAS ST                     BRANDYWINE ST                 HAVERFORD AVE
N NAPA ST                        CARRIAGE LN                   SPRING GARDEN ST
BRANDYWINE ST                    N 33RD ST                     N 34TH ST
BRANDYWINE ST                    N 31ST ST                     N 32ND ST
BRANDYWINE ST                    N 32ND ST                     N NATRONA ST
BRANDYWINE ST                    N NATRONA ST                  N DOUGLAS ST
BRANDYWINE ST                    N DOUGLAS ST                  N 33RD ST
HAVERFORD AVE                    N 31ST ST                     N 32ND ST
HAVERFORD AVE                    N 32ND ST                     N NATRONA ST
HAVERFORD AVE                    N NATRONA ST                  N DOUGLAS ST
HAVERFORD AVE                    N DOUGLAS ST                  N 33RD ST
HAMILTON ST                      N 31ST ST                     CARRIAGE LN
HAMILTON ST                      N NAPA ST                     N 32ND ST
HAMILTON ST                      N 32ND ST                     N 33RD ST
N 31ST ST                        HAVERFORD AVE                 MANTUA AVE
N 31ST ST                        BRANDYWINE ST                 HAVERFORD AVE
N 31ST ST                        SPRING GARDEN ST              BRANDYWINE ST
BARING ST                        N 31ST ST                     N 32ND ST
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BARING ST                     N 32ND ST                     N 33RD ST
BARING ST                     N 33RD ST                     N 34TH ST
N 32ND ST                     SPRING GARDEN ST              BRANDYWINE ST
WINTER ST                     N 32ND ST                     N NATRONA ST
N NATRONA ST                  WINTER ST                     POWELTON AVE
SUMMER ST                     N 32ND ST                     N NATRONA ST
N NATRONA ST                  SUMMER ST                     WINTER ST
N NATRONA ST                  RACE ST                       SUMMER ST
PEARL ST                      N 33RD ST                     N 34TH ST
PEARL ST                      N 32ND ST                     N 33RD ST
N 32ND ST                     WINTER ST                     POWELTON AVE
N 32ND ST                     SUMMER ST                     WINTER ST
N 32ND ST                     RACE ST                       SUMMER ST
N 32ND ST                     CHERRY ST                     RACE ST
N 32ND ST                     ARCH ST                       CHERRY ST
RACE ST                       N 32ND ST                     N NATRONA ST
RACE ST                       N NATRONA ST                  N 33RD ST
ARCH ST                       N 33RD ST                     N 34TH ST
ARCH ST                       N 32ND ST                     N 33RD ST
CHERRY ST                     N 33RD ST                     N 34TH ST
CHERRY ST                     N 32ND ST                     N 33RD ST
N 32ND ST                     CUTHBERT ST                   ARCH ST
CUTHBERT ST                   N 32ND ST                     N 33RD ST
LUDLOW ST                     S 33RD ST                     S 34TH ST
SANSOM ST                     S 34TH ST                     MORAVIAN ST
SAINT JAMES PL                S 22ND ST                     S 23RD ST
MANNING ST                    S 23RD ST                     S 24TH ST
MANNING ST                    S 24TH ST                     S 25TH ST
MANNING ST                    S 22ND ST                     S 23RD ST
S 24TH ST                     MANNING ST                    SPRUCE ST
S 24TH ST                     SPRUCE ST                     CYPRESS ST
S 25TH ST                     MANNING ST                    SPRUCE ST
S 25TH ST                     SPRUCE ST                     CYPRESS ST
MANNING ST                    S 19TH ST                     S 20TH ST
MANNING ST                    S 18TH ST                     S 19TH ST
MANNING ST                    S 17TH ST                     S 18TH ST
S SMEDLEY ST                  SPRUCE ST                     PINE ST
S HICKS ST                    SPRUCE ST                     PINE ST
N 39TH ST                     WYALUSING AVE                 WYALUSING AVE
WYALUSING AVE                 N 38TH ST                     N 39TH ST
S 30TH ST                     CHESTNUT ST                   WALNUT ST
SPRUCE ST                     S 24TH ST                     S 25TH ST
SPRUCE ST                     S 23RD ST                     S 24TH ST
IONIC ST                      S 15TH ST                     DEAD END WEST
RANSTEAD ST                   S 20TH ST                     S 21ST ST
BUTTONWOOD ST                 N BROAD ST                    N 15TH ST
MELON ST                      N 15TH ST                     N SYDENHAM ST
CARLTON ST                    DEAD END EAST                 N 15TH ST
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N 17TH ST                      FRANKLIN TOWN BLVD            WOOD ST
FAIRMOUNT AVE                  PENNSYLVANIA AVE              KELLY DR
PENNSYLVANIA AVE               N 29TH ST                     N 30TH ST
N 28TH ST                      POPLAR ST                     W GEORGE ST
W HARPER ST                    N 30TH ST                     DEAD END WEST
CAMBRIDGE ST                   N 30TH ST                     DEAD END WEST
BROWN ST                       BURNS ST                      N 15TH ST
BROWN ST                       N CARLISLE ST                 BURNS ST
WALLACE ST                     MANTUA AVE                    N 32ND ST
S 51ST ST                      N 51ST ST                     LUDLOW ST
S 51ST ST                      LUDLOW ST                     LUDLOW ST
LUDLOW ST                      S 51ST ST                     S 52ND ST
S 24TH ST                      ARMORY ST                     IONIC ST
N 15TH ST                      W FLORA ST                    W STILES ST
N 15TH ST                      W FLORA ST                    W FLORA ST
N 15TH ST                      W GIRARD AVE                  W FLORA ST
SPRING GARDEN ST               PENNSYLVANIA AVE              BENJAMIN FRANKLIN PKWY
N 25TH ST                      ANNE DHARNONCOURT WAY         PENNSYLVANIA AVE
41ST ST DR                     S CONCOURSE DR                LANSDOWNE DR
N CROSKEY ST                   CHERRY ST                     DEAD END NORTH
CHERRY ST                      N VAN PELT ST                 N 22ND ST
RACE ST                        N 35TH ST                     N 36TH ST
N 36TH ST                      LANCASTER AVE                 POWELTON AVE
LUDLOW ST                      S 42ND ST                     S 43RD ST
HAMILTON ST                    N 21ST ST                     PENNSYLVANIA AVE
SHAMOKIN ST                    N 19TH ST                     N 20TH ST
WOOD ST                        N BROAD ST                    N 15TH ST
RITTENHOUSE SQ                 S 20TH ST                     S 21ST ST
S VAN PELT ST                  LOCUST ST                     SPRUCE ST
S VAN PELT ST                  SANSOM ST                     WALNUT ST
OGDEN ST                       N CARLISLE ST                 N 15TH ST
OGDEN ST                       N 16TH ST                     RIDGE AVE
N CARLISLE ST                  OGDEN ST                      POPLAR ST
N TAYLOR ST                    N COLLEGE AVE                 W THOMPSON ST
CAMBRIDGE ST                   N 28TH ST                     N 29TH ST
W THOMPSON ST                  N MARSTON ST                  N 28TH ST
N 22ND ST                      FAIRMOUNT AVE                 ASPEN ST
PEROT ST                       N 24TH ST                     N 25TH ST
OLIVE ST                       N 24TH ST                     N 25TH ST
N 23RD ST                      OLIVE ST                      PEROT ST
N 41ST ST                      MANTUA AVE                    POPLAR ST
N 44TH ST                      FAIRMOUNT AVE                 ASPEN ST
N 46TH ST                      HAVERFORD AVE                 FAIRMOUNT AVE
PEARL ST                       N 38TH ST                     SAUNDERS AVE
RACE ST                        N 34TH ST                     N 35TH ST
FILBERT ST                     N 39TH ST                     SLOAN ST
S 36TH ST                      SANSOM ST                     WALNUT ST
N 34TH ST                      MANTUA AVE                    ZOOLOGICAL ST
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MANTUA AVE                     N 32ND ST                     N 33RD ST
BREWERY HILL DR                SEDGELEY DR                   KELLY DR
JEFFERSON ST                   N 49TH ST                     N 50TH ST
WALLACE PL                     N 48TH ST                     MOSS ST
SAINT JAMES ST                 S WOODSTOCK ST                S 21ST ST
AVENUE OF THE REPUBLIC         BELMONT AVE                   AVENUE OF THE REPUBLIC
AVENUE OF THE REPUBLIC         W MEMORIAL HALL DR            BELMONT AVE
S CONCOURSE DR                 BELMONT AVE                   AVENUE OF THE REPUBLIC
AVENUE OF THE REPUBLIC         E MEMORIAL HALL DR            W MEMORIAL HALL DR
S CONCOURSE DR                 W MEMORIAL HALL DR            BELMONT AVE
S CONCOURSE DR                 E MEMORIAL HALL DR            W MEMORIAL HALL DR
AVENUE OF THE REPUBLIC         41ST ST DR                    E MEMORIAL HALL DR
S CONCOURSE DR                 41ST ST DR                    E MEMORIAL HALL DR
S CONCOURSE DR                 41ST ST DR                    41ST ST DR
S CONCOURSE DR                 LANSDOWNE DR                  41ST ST DR
LANSDOWNE DR                   W GIRARD AVE                  SWEETBRIAR DR
LANSDOWNE DR                   41ST ST DR                    41ST ST DR
W HARPER ST                    N 27TH ST                     N 28TH ST
FOLSOM ST                      N 27TH ST                     PENNOCK ST
WARREN ST                      DEAD END EAST                 N 41ST ST
OLIVE ST                       N 23RD ST                     N 24TH ST
CHERRY ST                      N 23RD ST                     DEAD END WEST
PEARL ST                       DEAD END EAST                 N 15TH ST
W CABOT ST                     N 15TH ST                     N 16TH ST
N 32ND ST                      DEAD END SOUTH                W THOMPSON ST
S 24TH ST                      SANSOM ST                     CHANCELLOR ST
N 23RD ST                      PEROT ST                      ASPEN ST
SPRING GARDEN ST               PENNSYLVANIA AVE              BENJAMIN FRANKLIN PKWY
S 31ST ST                      MARKET ST                     LUDLOW ST
31ST LOWER LEVEL ST            CHESTNUT ST                   WALNUT LOWER LEVEL ST
WALNUT LOWER LEVEL ST          30TH LOWER LEVEL ST           31ST LOWER LEVEL ST
LANSDOWNE DR                   LANSDOWNE DR                  SWEETBRIAR LN
LANSDOWNE DR                   SWEETBRIAR LN                 41ST ST DR
LANSDOWNE DR                   S CONCOURSE DR                SWEETBRIAR LN
CHERRY ST                      BURNS ST                      N 15TH ST
APPLETREE ST                   DEAD END EAST                 BURNS ST
RITTENHOUSE SQ                 MOZART PL                     S 18TH ST
RITTENHOUSE SQ                 S 17TH ST                     MOZART PL
CHANCELLOR ST                  DEAD END EAST                 S 15TH ST
STOCK EXCHANGE PL              S 16TH ST                     S 17TH ST
STOCK EXCHANGE PL              S 17TH ST                     S 18TH ST
CARLTON ST                     DEAD END EAST                 N 20TH ST
S WOODSTOCK ST                 CHANCELLOR ST                 SAINT JAMES ST
S WOODSTOCK ST                 SAINT JAMES ST                LOCUST ST
SHIRLEY ST                     OLIVE ST                      N 19TH ST
OGDEN ST                       DEAD END EAST                 N 29TH ST
SEDGELEY DR                    N LEMON HILL DR               BREWERY HILL DR
SEDGELEY DR                    POPLAR DR                     N LEMON HILL DR
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LEX ST                         HARMER ST                     DEAD END WEST
ERDMAN ST                      DEAD END EAST                 PERKIOMEN ST
W HARPER ST                    N 28TH ST                     DEAD END WEST
N BEECHWOOD ST                 ARCH ST                       APPLETREE ST
LUDLOW ST                      S 31ST ST                     30TH LOWER LEVEL ST
N SHEDWICK ST                  LANCASTER AVE                 DEAD END NORTH
BROWN ST                       N NEWKIRK ST                  PENNSYLVANIA AVE
SPRING GARDEN TUNL             SPRING GARDEN ST              SPRING GARDEN ST
N CROSKEY ST                   DEAD END SOUTH                RACE ST
SUMMER ST                      N 22ND ST                     N 23RD ST
SPRING GARDEN ST               BENJAMIN FRANKLIN PKWY        BENJAMIN FRANKLIN PKWY
N 32ND ST                      WALLACE ST                    MANTUA AVE
SPRING ST                      N 15TH ST                     N HICKS ST
N HICKS ST                     RACE ST                       SPRING ST
N 15TH ST                      W CABOT ST                    W THOMPSON ST
N 15TH ST                      W STILES ST                   W CABOT ST
N 24TH ST                      OLIVE ST                      PEROT ST
N 24TH ST                      OLIVE ST                      OLIVE ST
SPRING GARDEN ST               SPRING GARDEN TUNL            ANNE DHARNONCOURT WAY
N 24TH ST                      PEROT ST                      PEROT ST
BROWN ST                       N WOODSTOCK ST                N 21ST ST
N 34TH ST                      ZOOLOGICAL ST                 SCHUYLKILL EXPY RAMP 4
PARRISH ST                     N WOODSTOCK ST                N 21ST ST
SPRING ST                      N HICKS ST                    N 16TH ST
HOOPES ST                      DEAD END EAST                 N 47TH ST
N 48TH ST                      DEAD END SOUTH                PARKSIDE AVE
LEX ST                         DEAD END SOUTH                W THOMPSON ST
ZOOLOGICAL ST                  N 34TH ST                     W GIRARD AVE
SPRING GARDEN ST               KELLY DR                      BENJAMIN FRANKLIN PKWY
SPRING GARDEN ST               BENJAMIN FRANKLIN PKWY        KELLY DR
KELLY DR                       SPRING GARDEN ST              N 25TH ST
KELLY DR                       SPRING GARDEN ST              ANNE DHARNONCOURT WAY
KELLY DR                       BREWERY HILL DR               FOUNTAIN GREEN DR
BENJAMIN FRANKLIN PKWY         SPRING GARDEN ST              SPRING GARDEN ST
MARTIN LUTHER KING DR          BENJAMIN FRANKLIN PKWY        BENJAMIN FRANKLIN PKWY
MARTIN LUTHER KING DR          BENJAMIN FRANKLIN PKWY        MARTIN LUTHER KING DR
N LEMON HILL DR                LEMON HILL DR                 SEDGELEY DR
LEMON HILL DR                  N LEMON HILL DR               POPLAR DR
SWEETBRIAR DR                  LANSDOWNE DR                  MARTIN LUTHER KING DR
W MEMORIAL HALL DR             S CONCOURSE DR                AVENUE OF THE REPUBLIC
E MEMORIAL HALL DR             S CONCOURSE DR                AVENUE OF THE REPUBLIC
W MEMORIAL HALL DR             PARKSIDE AVE                  S CONCOURSE DR
E MEMORIAL HALL DR             PARKSIDE AVE                  S CONCOURSE DR
MOZART PL                      LOCUST ST                     SCHUBERT ALY
MOZART PL                      SCHUBERT ALY                  RITTENHOUSE SQ
CEDAR GROVE DR                 SWEETBRIAR LN                 CUL DE SAC NORTH
SWEETBRIAR LN                  CEDAR GROVE DR                LANSDOWNE DR
BENJAMIN FRANKLIN PKWY         MARTIN LUTHER KING DR         MARTIN LUTHER KING DR
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N 43RD ST                       WYALUSING AVE                 MANTUA AVE
N 43RD ST                       OTTER ST                      WYALUSING AVE
N 43RD ST                       PENNSGROVE ST                 OTTER ST
N FALLON ST                     WESTMINSTER AVE               WYALUSING AVE
N SAINT BERNARD ST              WESTMINSTER AVE               WYALUSING AVE
FARSON ST                       HOOPES ST                     WESTMINSTER AVE
WALLACE ST                      N 42ND ST                     BROOKLYN ST
WALLACE ST                      HUTTON ST                     N 43RD ST
UNION ST                        WALLACE ST                    MELON ST
UNION ST                        WILLOW ST                     WARREN ST
UNION ST                        SLOAN ST                      WILLOW ST
N MARKOE ST                     BROWN ST                      PARRISH ST
N 49TH ST                       W GIRARD AVE                  W STILES ST
POPLAR ST                       N 45TH ST                     N 46TH ST
N 44TH ST                       RENO ST                       PARRISH ST
PARRISH ST                      LANCASTER AVE                 N 44TH ST
BROOKLYN ST                     PARRISH ST                    OGDEN ST
PARRISH ST                      BROOKLYN ST                   HUTTON ST
HUTTON ST                       PARRISH ST                    OGDEN ST
LEX ST                          BROWN ST                      PARRISH ST
N HOLLY ST                      RENO ST                       PARRISH ST
N 42ND ST                       RENO ST                       PARRISH ST
PARRISH ST                      N 42ND ST                     BROOKLYN ST
PALM ST                         PARRISH ST                    OGDEN ST
PARRISH ST                      N 41ST ST                     PALM ST
N 42ND ST                       PARRISH ST                    OGDEN ST
N 42ND ST                       VIOLA ST                      PARKSIDE AVE
LEIDY AVE                       N 42ND ST                     BELMONT AVE
LEIDY AVE                       W STILES ST                   N 42ND ST
W THOMPSON ST                   N 42ND ST                     BELMONT AVE
W STILES ST                     N 42ND ST                     BELMONT AVE
N 42ND ST                       W STILES ST                   LEIDY AVE
LEIDY AVE                       W GIRARD AVE                  W STILES ST
W STILES ST                     LEIDY AVE                     N 42ND ST
N 41ST ST                       W GIRARD AVE                  VIOLA ST
CAMBRIDGE ST                    N 40TH ST                     N 41ST ST
POPLAR ST                       N 40TH ST                     N 41ST ST
CAMBRIDGE ST                    N 41ST ST                     POPLAR ST
PENNSGROVE ST                   N 42ND ST                     N 43RD ST
PALM ST                         OGDEN ST                      WESTMINSTER AVE
OGDEN ST                        BUDD ST                       N 41ST ST
WIOTA ST                        OGDEN ST                      WESTMINSTER AVE
N PRESTON ST                    OGDEN ST                      WESTMINSTER AVE
PARRISH ST                      N PRESTON ST                  N 41ST ST
RENO ST                         N PRESTON ST                  N 41ST ST
N PRESTON ST                    ASPEN ST                      BROWN ST
BROWN ST                        N 39TH ST                     UNION ST
N 39TH ST                       BROWN ST                      RENO ST
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RENO ST                         UNION ST                      N 40TH ST
RENO ST                         N 39TH ST                     UNION ST
UNION ST                        BROWN ST                      RENO ST
BROWN ST                        SLOAN ST                      N 40TH ST
N 39TH ST                       RENO ST                       PARRISH ST
UNION ST                        RENO ST                       PARRISH ST
FOLSOM ST                       N 39TH ST                     UNION ST
FOLSOM ST                       N 38TH ST                     N 39TH ST
BROWN ST                        N 38TH ST                     N 39TH ST
N 39TH ST                       ASPEN ST                      FOLSOM ST
UNION ST                        ASPEN ST                      FOLSOM ST
ASPEN ST                        N 38TH ST                     N 39TH ST
OLIVE ST                        N 38TH ST                     N 39TH ST
RENO ST                         N 38TH ST                     N 39TH ST
MANTUA AVE                      N 37TH ST                     PARRISH ST
N 37TH ST                       BROWN ST                      MANTUA AVE
PARRISH ST                      MANTUA AVE                    N 39TH ST
N 38TH ST                       BROWN ST                      RENO ST
N 37TH ST                       ASPEN ST                      BROWN ST
N DEKALB ST                     ASPEN ST                      BROWN ST
ASPEN ST                        N 36TH ST                     N 37TH ST
ASPEN ST                        N DEKALB ST                   N 38TH ST
ASPEN ST                        N 37TH ST                     N DEKALB ST
ASPEN ST                        N 35TH ST                     N 36TH ST
FAIRMOUNT AVE                   MANTUA AVE                    N 34TH ST
CAMBRIDGE ST                    UNION ST                      SLOAN ST
CAMBRIDGE ST                    STATE ST                      UNION ST
POPLAR ST                       N 39TH ST                     STATE ST
CAMBRIDGE ST                    N 39TH ST                     STATE ST
N 39TH ST                       POPLAR ST                     CAMBRIDGE ST
CAMBRIDGE ST                    SLOAN ST                      N 40TH ST
POPLAR ST                       SLOAN ST                      N 40TH ST
POPLAR ST                       UNION ST                      SLOAN ST
POPLAR ST                       STATE ST                      UNION ST
WYALUSING AVE                   N 40TH ST                     DEAD END WEST
PENNSGROVE ST                   N 39TH ST                     N 40TH ST
WYALUSING AVE                   N 39TH ST                     N 40TH ST
N 39TH ST                       WYALUSING AVE                 POPLAR ST
N 38TH ST                       POPLAR ST                     CAMBRIDGE ST
N 38TH ST                       WYALUSING AVE                 POPLAR ST
N 39TH ST                       PENNSGROVE ST                 WYALUSING AVE
N 39TH ST                       CAMBRIDGE ST                  W GIRARD AVE
N 38TH ST                       CAMBRIDGE ST                  W GIRARD AVE
RENO ST                         N 49TH ST                     N 50TH ST
OLIVE ST                        N 49TH ST                     N 50TH ST
DEARBORN ST                     MARKET ST                     ARCH ST
N SAINT BERNARD ST              MARKET ST                     ARCH ST
LUDLOW ST                       S 50TH ST                     S 51ST ST
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SANSOM ST                       S 49TH ST                     S 50TH ST
CHANCELLOR ST                   S 50TH ST                     S 51ST ST
IRVING ST                       S 50TH ST                     S 51ST ST
S FALLON ST                     LUDLOW ST                     CHESTNUT ST
N HOLLY ST                      SPRING GARDEN ST              BRANDYWINE ST
FAIRMOUNT AVE                   N 38TH ST                     N 39TH ST
N 39TH ST                       BRANDYWINE ST                 HAVERFORD AVE
WILLOW ST                       STATE ST                      UNION ST
LUDLOW ST                       S 46TH ST                     FARRAGUT ST
SANSOM ST                       S 46TH ST                     FARRAGUT ST
LUDLOW ST                       S 44TH ST                     S 45TH ST
LUDLOW ST                       S 43RD ST                     S 44TH ST
LOCUST ST                       S PRESTON ST                  S 41ST ST
S 50TH ST                       SANSOM ST                     WALNUT ST
S 50TH ST                       LOCUST ST                     IRVING ST
S 50TH ST                       WALNUT ST                     CHANCELLOR ST
S 50TH ST                       IRVING ST                     SPRUCE ST
LOCUST ST                       S SAINT BERNARD ST            S 50TH ST
LOCUST ST                       HANSON ST                     S 49TH ST
S SAINT BERNARD ST              LOCUST ST                     SPRUCE ST
IRVING ST                       S 51ST ST                     S 52ND ST
SANSOM ST                       S 50TH ST                     S 51ST ST
SANSOM ST                       S 51ST ST                     S 52ND ST
SANSOM ST                       S 48TH ST                     S 49TH ST
SANSOM ST                       S 47TH ST                     S 48TH ST
RANSTEAD ST                     S 51ST ST                     S 52ND ST
CHANCELLOR ST                   S 51ST ST                     S 52ND ST
CHANCELLOR ST                   S 49TH ST                     S 50TH ST
S 49TH ST                       CHESTNUT ST                   SANSOM ST
S 49TH ST                       WALNUT ST                     CHANCELLOR ST
S 49TH ST                       SANSOM ST                     WALNUT ST
HANSON ST                       WALNUT ST                     LOCUST ST
S 48TH ST                       WALNUT ST                     LOCUST ST
S 48TH ST                       CHESTNUT ST                   SANSOM ST
S 48TH ST                       LUDLOW ST                     CHESTNUT ST
S 48TH ST                       MARKET ST                     LUDLOW ST
LUDLOW ST                       S 48TH ST                     S FALLON ST
LUDLOW ST                       S FALLON ST                   S 49TH ST
LUDLOW ST                       FARRAGUT ST                   S 48TH ST
FARRAGUT ST                     LUDLOW ST                     CHESTNUT ST
FARRAGUT ST                     N 46TH ST                     LUDLOW ST
SANSOM ST                       S 45TH ST                     S 46TH ST
LUDLOW ST                       S 45TH ST                     S 46TH ST
S 45TH ST                       LUDLOW ST                     CHESTNUT ST
N 51ST ST                       MARKET ST                     ARCH ST
S 51ST ST                       WALNUT ST                     CHANCELLOR ST
FARSON ST                       MARKET ST                     ARCH ST
S 47TH ST                       CHESTNUT ST                   SANSOM ST
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S 47TH ST                      WALNUT ST                     LOCUST ST
FARRAGUT ST                    WALNUT ST                     LOCUST ST
FARRAGUT ST                    LOCUST ST                     SPRUCE ST
S 46TH ST                      SANSOM ST                     WALNUT ST
S 46TH ST                      WALNUT ST                     LOCUST ST
S 46TH ST                      LOCUST ST                     SPRUCE ST
S MELVILLE ST                  WALNUT ST                     LOCUST ST
S MELVILLE ST                  LOCUST ST                     SPRUCE ST
S 45TH ST                      LOCUST ST                     SPRUCE ST
LOCUST ST                      BUCKINGHAM PL                 S 45TH ST
LOCUST ST                      S 43RD ST                     S 44TH ST
LOCUST ST                      SAINT MARKS SQ                S 43RD ST
LOCUST ST                      S 48TH ST                     HANSON ST
SANSOM ST                      S 43RD ST                     S 44TH ST
SANSOM ST                      S 42ND ST                     S 43RD ST
SANSOM ST                      S 40TH ST                     S 41ST ST
SANSOM ST                      S 39TH ST                     S 40TH ST
SANSOM ST                      S 38TH ST                     S 39TH ST
N 43RD ST                      MARKET ST                     POWELTON AVE
LUDLOW ST                      S 40TH ST                     S 41ST ST
S 41ST ST                      MARKET ST                     LUDLOW ST
N 42ND ST                      BARING ST                     SPRING GARDEN ST
N 42ND ST                      POWELTON AVE                  BARING ST
N 42ND ST                      FILBERT ST                    POWELTON AVE
N 41ST ST                      FILBERT ST                    POWELTON AVE
N HOLLY ST                     BARING ST                     SPRING GARDEN ST
N 41ST ST                      POWELTON AVE                  BARING ST
BARING ST                      N 41ST ST                     N HOLLY ST
N HOLLY ST                     POWELTON AVE                  BARING ST
SPRING GARDEN ST               BUDD ST                       N 41ST ST
SPRING GARDEN ST               N HOLLY ST                    N 42ND ST
SPRING GARDEN ST               SLOAN ST                      N 40TH ST
BUDD ST                        SPRING GARDEN ST              HAVERFORD AVE
BUDD ST                        BARING ST                     SPRING GARDEN ST
BUDD ST                        POWELTON AVE                  BARING ST
WIOTA ST                       BARING ST                     SPRING GARDEN ST
WIOTA ST                       POWELTON AVE                  BARING ST
WIOTA ST                       FILBERT ST                    POWELTON AVE
N PRESTON ST                   SPRING GARDEN ST              GREEN ST
N PRESTON ST                   GREEN ST                      HAVERFORD AVE
N PRESTON ST                   POWELTON AVE                  BARING ST
N PRESTON ST                   FILBERT ST                    POWELTON AVE
BRANDYWINE ST                  N HOLLY ST                    N 42ND ST
BRANDYWINE ST                  N 41ST ST                     N HOLLY ST
GREEN ST                       N 40TH ST                     N PRESTON ST
WARREN ST                      SPRING GARDEN ST              N 40TH ST
WARREN ST                      STATE ST                      UNION ST
STATE ST                       WILLOW ST                     WARREN ST
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SLOAN ST                         POWELTON AVE                  BARING ST
SLOAN ST                         SPRING GARDEN ST              LANCASTER AVE
HAMILTON ST                      N 38TH ST                     LANCASTER AVE
BARING ST                        N 38TH ST                     LANCASTER AVE
SAUNDERS AVE                     BARING ST                     LANCASTER AVE
BARING ST                        LANCASTER AVE                 SAUNDERS AVE
N 38TH ST                        MOUNT VERNON ST               WALLACE ST
N 38TH ST                        HAVERFORD AVE                 MOUNT VERNON ST
BRANDYWINE ST                    N 38TH ST                     N 39TH ST
S 41ST ST                        IRVING ST                     SPRUCE ST
LOCUST ST                        S 42ND ST                     SAINT MARKS SQ
IRVING ST                        S PRESTON ST                  S 41ST ST
FILBERT ST                       N 42ND ST                     DEAD END WEST
N 44TH ST                        HAVERFORD AVE                 WALLACE ST
PALLAS ST                        HAVERFORD AVE                 WALLACE ST
WALLACE ST                       PALLAS ST                     N 44TH ST
FAIRMOUNT AVE                    HUTTON ST                     N 43RD ST
FAIRMOUNT AVE                    N 42ND ST                     BROOKLYN ST
HUTTON ST                        WALLACE ST                    FAIRMOUNT AVE
BROOKLYN ST                      WALLACE ST                    FAIRMOUNT AVE
BROOKLYN ST                      HAVERFORD AVE                 WALLACE ST
N 42ND ST                        WALLACE ST                    FAIRMOUNT AVE
N 42ND ST                        HAVERFORD AVE                 WALLACE ST
N 41ST ST                        LANCASTER AVE                 OLIVE ST
N 41ST ST                        WALLACE ST                    WARREN ST
WARREN ST                        HOLLY MALL                    N 42ND ST
WARREN ST                        N 41ST ST                     FAIRMOUNT AVE
WALLACE ST                       BUDD ST                       N 41ST ST
ASPEN ST                         BROOKLYN ST                   N 43RD ST
ASPEN ST                         N 41ST ST                     N HOLLY ST
PALLAS ST                        ASPEN ST                      BROWN ST
ASPEN ST                         N 43RD ST                     PALLAS ST
N 43RD ST                        BROWN ST                      RENO ST
N 43RD ST                        ASPEN ST                      BROWN ST
BROWN ST                         N 43RD ST                     PALLAS ST
BROWN ST                         BROOKLYN ST                   N 43RD ST
BROWN ST                         N 42ND ST                     BROOKLYN ST
BROWN ST                         N HOLLY ST                    N 42ND ST
BROWN ST                         N 41ST ST                     N HOLLY ST
BROWN ST                         N PRESTON ST                  N 41ST ST
BROOKLYN ST                      ASPEN ST                      LANCASTER AVE
N HOLLY ST                       ASPEN ST                      BROWN ST
N 41ST ST                        ASPEN ST                      BROWN ST
RENO ST                          N 43RD ST                     N 44TH ST
N 44TH ST                        BROWN ST                      RENO ST
BROOKLYN ST                      BROWN ST                      PARRISH ST
RENO ST                          N HOLLY ST                    N 42ND ST
N 42ND ST                        ASPEN ST                      LANCASTER AVE
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N 42ND ST                     WARREN ST                     ASPEN ST
OLIVE ST                      FAIRMOUNT AVE                 N 41ST ST
DEARBORN ST                   ARCH ST                       RACE ST
N 51ST ST                     SUMMER ST                     HAVERFORD AVE
N 51ST ST                     RACE ST                       SUMMER ST
N 51ST ST                     ARCH ST                       RACE ST
RAMSEY ST                     RACE ST                       HAVERFORD AVE
FARSON ST                     SUMMER ST                     HAVERFORD AVE
FARSON ST                     RACE ST                       SUMMER ST
FARSON ST                     ARCH ST                       RACE ST
N 49TH ST                     ARCH ST                       RACE ST
ARCH ST                       FARSON ST                     DEARBORN ST
ARCH ST                       DEARBORN ST                   N 51ST ST
RACE ST                       N 50TH ST                     FARSON ST
RACE ST                       DEARBORN ST                   N 51ST ST
RACE ST                       FARSON ST                     DEARBORN ST
ASPEN ST                      DEARBORN ST                   N 51ST ST
ASPEN ST                      N 49TH ST                     N 50TH ST
FARSON ST                     ASPEN ST                      BROWN ST
DEARBORN ST                   ASPEN ST                      BROWN ST
FOLSOM ST                     N 49TH ST                     N 50TH ST
BROWN ST                      N 49TH ST                     N 50TH ST
FARSON ST                     FUNSTON ST                    RENO ST
RENO ST                       DEAD END EAST                 N 49TH ST
PARRISH ST                    N 50TH ST                     DEARBORN ST
PARRISH ST                    N 49TH ST                     N 50TH ST
PARRISH ST                    MOSS ST                       N 48TH ST
N 49TH ST                     RENO ST                       PARRISH ST
N 49TH ST                     BROWN ST                      RENO ST
N 49TH ST                     PARRISH ST                    OGDEN ST
N 49TH ST                     OLIVE ST                      ASPEN ST
N 49TH ST                     WALLACE ST                    FAIRMOUNT AVE
N 49TH ST                     FAIRMOUNT AVE                 OLIVE ST
N 50TH ST                     RENO ST                       PARRISH ST
N 50TH ST                     FUNSTON ST                    RENO ST
OGDEN ST                      N 49TH ST                     N 50TH ST
OGDEN ST                      N 50TH ST                     FARSON ST
OGDEN ST                      N FALLON ST                   N 49TH ST
N 49TH ST                     HOOPES ST                     WESTMINSTER AVE
HOOPES ST                     N 49TH ST                     N 50TH ST
HOOPES ST                     N FALLON ST                   N 49TH ST
N FALLON ST                   PARRISH ST                    OGDEN ST
N FALLON ST                   OGDEN ST                      HOOPES ST
HOOPES ST                     FARSON ST                     N 51ST ST
WESTMINSTER AVE               N FALLON ST                   N 49TH ST
N FALLON ST                   HOOPES ST                     WESTMINSTER AVE
WESTMINSTER AVE               N 48TH ST                     N FALLON ST
WESTMINSTER AVE               N SAINT BERNARD ST            N 50TH ST
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WESTMINSTER AVE               N 49TH ST                     N SAINT BERNARD ST
WYALUSING AVE                 N FALLON ST                   N SAINT BERNARD ST
WYALUSING AVE                 N 48TH ST                     N FALLON ST
WYALUSING AVE                 N SAINT BERNARD ST            N 50TH ST
N 47TH ST                     WESTMINSTER AVE               WYALUSING AVE
N 47TH ST                     HOOPES ST                     WESTMINSTER AVE
HOOPES ST                     MOSS ST                       N 48TH ST
HOOPES ST                     N 47TH ST                     MOSS ST
OGDEN ST                      N MARKOE ST                   N 47TH ST
PARRISH ST                    N MARKOE ST                   N 47TH ST
PARRISH ST                    JUNE ST                       N MARKOE ST
PARRISH ST                    N 46TH ST                     JUNE ST
N MARKOE ST                   OGDEN ST                      WESTMINSTER AVE
N 47TH ST                     BROWN ST                      PARRISH ST
BROWN ST                      JUNE ST                       N MARKOE ST
BROWN ST                      N 46TH ST                     JUNE ST
BROWN ST                      LEX ST                        N 45TH ST
FAIRMOUNT AVE                 N 49TH ST                     HAVERFORD AVE
N 46TH ST                     WESTMINSTER AVE               LANCASTER AVE
N 46TH ST                     LAIRD ST                      WESTMINSTER AVE
N 46TH ST                     HOOPES ST                     LAIRD ST
N 46TH ST                     PARRISH ST                    OGDEN ST
N 46TH ST                     BROWN ST                      PARRISH ST
N 45TH ST                     LAIRD ST                      WESTMINSTER AVE
N 45TH ST                     PARRISH ST                    OGDEN ST
N 45TH ST                     BROWN ST                      PARRISH ST
LAIRD ST                      N 45TH ST                     N 46TH ST
HOOPES ST                     N 45TH ST                     N 46TH ST
OGDEN ST                      N 45TH ST                     N 46TH ST
N MAY ST                      WESTMINSTER AVE               LANCASTER AVE
N MARKOE ST                   WESTMINSTER AVE               LANCASTER AVE
WESTMINSTER AVE               N 43RD ST                     BELMONT AVE
WESTMINSTER AVE               BELMONT AVE                   LANCASTER AVE
WYALUSING AVE                 N 45TH ST                     N 46TH ST
WYALUSING AVE                 BELMONT AVE                   N 45TH ST
WYALUSING AVE                 N 43RD ST                     PALLAS ST
WYALUSING AVE                 PALLAS ST                     BELMONT AVE
N 49TH ST                     LANCASTER AVE                 MERION AVE
N 49TH ST                     W STILES ST                   W THOMPSON ST
W STILES ST                   N 49TH ST                     N SAINT BERNARD ST
VIOLA ST                      N 42ND ST                     BELMONT AVE
VIOLA ST                      MEMORIAL AVE                  N 42ND ST
VIOLA ST                      MARLTON AVE                   MEMORIAL AVE
VIOLA ST                      N 41ST ST                     MARLTON AVE
OGDEN ST                      N 43RD ST                     N 44TH ST
OGDEN ST                      BROOKLYN ST                   HUTTON ST
OGDEN ST                      N 42ND ST                     BROOKLYN ST
N 43RD ST                     WESTMINSTER AVE               PENNSGROVE ST
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OTTER ST                      N 42ND ST                     N 43RD ST
OTTER ST                      N 43RD ST                     BELMONT AVE
PENNSGROVE ST                 N 43RD ST                     BELMONT AVE
WESTMINSTER AVE               N 42ND ST                     BROOKLYN ST
WESTMINSTER AVE               BROOKLYN ST                   N 43RD ST
WESTMINSTER AVE               N HOLLY ST                    N 42ND ST
PENNSGROVE ST                 N HOLLY ST                    N 42ND ST
N HOLLY ST                    PARRISH ST                    OGDEN ST
OGDEN ST                      N HOLLY ST                    N 42ND ST
N HOLLY ST                    OGDEN ST                      WESTMINSTER AVE
N HOLLY ST                    PENNSGROVE ST                 MANTUA AVE
N HOLLY ST                    WESTMINSTER AVE               PENNSGROVE ST
MANTUA AVE                    N 43RD ST                     PALLAS ST
MANTUA AVE                    WYALUSING AVE                 N 43RD ST
MANTUA AVE                    N HOLLY ST                    N 42ND ST
MANTUA AVE                    PALLAS ST                     BELMONT AVE
N 42ND ST                     MANTUA AVE                    CAMBRIDGE ST
WYALUSING AVE                 MANTUA AVE                    N 43RD ST
POPLAR ST                     N 41ST ST                     CAMBRIDGE ST
OGDEN ST                      SLOAN ST                      N 40TH ST
BUDD ST                       OGDEN ST                      WESTMINSTER AVE
WIOTA ST                      FAIRMOUNT AVE                 ASPEN ST
N PRESTON ST                  FAIRMOUNT AVE                 ASPEN ST
SLOAN ST                      FAIRMOUNT AVE                 ASPEN ST
FAIRMOUNT AVE                 UNION ST                      SLOAN ST
UNION ST                      FAIRMOUNT AVE                 ASPEN ST
N 38TH ST                     MELON ST                      FAIRMOUNT AVE
N 38TH ST                     WALLACE ST                    MELON ST
FAIRMOUNT AVE                 N 39TH ST                     UNION ST
N 36TH ST                     ASPEN ST                      MANTUA AVE
N 35TH ST                     FAIRMOUNT AVE                 ASPEN ST
MELON ST                      N 33RD ST                     N 34TH ST
FAIRMOUNT AVE                 N 34TH ST                     N SHEDWICK ST
N 34TH ST                     FAIRMOUNT AVE                 MANTUA AVE
WALLACE ST                    N 35TH ST                     N 36TH ST
WALLACE ST                    N SHEDWICK ST                 N 35TH ST
WALLACE ST                    N 33RD ST                     N 34TH ST
MOUNT VERNON ST               N 35TH ST                     N 36TH ST
MOUNT VERNON ST               N 34TH ST                     N 35TH ST
MOUNT VERNON ST               N 33RD ST                     N 34TH ST
BRANDYWINE ST                 N 34TH ST                     N 35TH ST
BRANDYWINE ST                 N 35TH ST                     N 36TH ST
N 36TH ST                     SPRING GARDEN ST              BRANDYWINE ST
BRANDYWINE ST                 N 36TH ST                     N 37TH ST
BRANDYWINE ST                 N 37TH ST                     N 38TH ST
MOUNT VERNON ST               N 36TH ST                     N 37TH ST
N 37TH ST                     HAVERFORD AVE                 MOUNT VERNON ST
N 37TH ST                     SPRING GARDEN ST              BRANDYWINE ST
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N 37TH ST                     BRANDYWINE ST                 HAVERFORD AVE
N 37TH ST                     HAMILTON ST                   SPRING GARDEN ST
MOUNT VERNON ST               N 38TH ST                     LOWBER ST
MOUNT VERNON ST               N 37TH ST                     N 38TH ST
WALLACE ST                    N 38TH ST                     LOWBER ST
WALLACE ST                    N 37TH ST                     N 38TH ST
MELON ST                      N 36TH ST                     N 37TH ST
MELON ST                      N 37TH ST                     N 38TH ST
MELON ST                      N 38TH ST                     N 39TH ST
FAIRMOUNT AVE                 N 36TH ST                     N 37TH ST
FAIRMOUNT AVE                 N 37TH ST                     N DEKALB ST
MELON ST                      N 39TH ST                     UNION ST
MELON ST                      UNION ST                      N 40TH ST
N PRESTON ST                  WALLACE ST                    FAIRMOUNT AVE
LOWBER ST                     MOUNT VERNON ST               WALLACE ST
WALLACE ST                    LOWBER ST                     N 39TH ST
WALLACE ST                    UNION ST                      N 40TH ST
WALLACE ST                    N 39TH ST                     UNION ST
WALLACE ST                    N 40TH ST                     WIOTA ST
MOUNT VERNON ST               UNION ST                      N 40TH ST
MOUNT VERNON ST               N 39TH ST                     UNION ST
N PRESTON ST                  HAVERFORD AVE                 WALLACE ST
LUDWICK ST                    HAVERFORD AVE                 WALLACE ST
BUDD ST                       HAVERFORD AVE                 WALLACE ST
N 35TH ST                     RACE ST                       POWELTON AVE
N 35TH ST                     LANCASTER AVE                 RACE ST
PARRISH ST                    BURNS ST                      N 15TH ST
PALLAS ST                     WYALUSING AVE                 MANTUA AVE
MERION AVE                    N 45TH ST                     WYALUSING AVE
MERION AVE                    N 45TH ST                     N 45TH ST
MERION AVE                    BELMONT AVE                   N 45TH ST
MERION AVE                    WYALUSING AVE                 W GIRARD AVE
MERION AVE                    W GIRARD AVE                  N 49TH ST
FARSON ST                     WESTMINSTER AVE               WYALUSING AVE
FARSON ST                     OGDEN ST                      HOOPES ST
WALLACE ST                    BROOKLYN ST                   HUTTON ST
N DEKALB ST                   FAIRMOUNT AVE                 ASPEN ST
N SHEDWICK ST                 FAIRMOUNT AVE                 MANTUA AVE
N SHEDWICK ST                 WALLACE ST                    FAIRMOUNT AVE
UNION ST                      HAVERFORD AVE                 MOUNT VERNON ST
UNION ST                      MOUNT VERNON ST               WALLACE ST
CUTHBERT ST                   N 22ND ST                     N 23RD ST
N 30TH ST                     BALTZ ST                      W CABOT ST
N 30TH ST                     W CABOT ST                    W THOMPSON ST
W CABOT ST                    N 30TH ST                     DEAD END WEST
N 49TH ST                     JEFFERSON ST                  PARKSIDE AVE
LATIMER ST                    DEAD END EAST                 S 21ST ST
CHANCELLOR ST                 DEAD END EAST                 S 22ND ST
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S 48TH ST                     SANSOM ST                     WALNUT ST
S 47TH ST                     SANSOM ST                     WALNUT ST
FARRAGUT ST                   SANSOM ST                     WALNUT ST
S 45TH ST                     CHESTNUT ST                   IONIC ST
S 45TH ST                     SANSOM ST                     MORAVIAN ST
JEFFERSON ST                  CUL DE SAC EAST               N 49TH ST
WOOD ST                       N 19TH ST                     N 20TH ST
MANDELA WAY                   RUDY ROBINSON WAY             N 46TH ST
RUDY ROBINSON WAY             SAINT MALACHYS WAY            MANDELA WAY
RUDY ROBINSON WAY             NEHEMIAH WAY                  SAINT MALACHYS WAY
NEHEMIAH WAY                  RUDY ROBINSON WAY             N 46TH ST
SAINT MALACHYS WAY            RUDY ROBINSON WAY             N 46TH ST
N 46TH ST                     NEHEMIAH WAY                  SAINT MALACHYS WAY
N 46TH ST                     SAINT MALACHYS WAY            MANDELA WAY
N 46TH ST                     MANDELA WAY                   HAVERFORD AVE
IONIC ST                      S 44TH ST                     S 45TH ST
MORAVIAN ST                   S 44TH ST                     S 45TH ST
S 45TH ST                     IONIC ST                      SANSOM ST
S 45TH ST                     MORAVIAN ST                   WALNUT ST
W THOMPSON ST                 N NEWKIRK ST                  N NEWKIRK ST
N 21ST ST                     MOUNT VERNON ST               MOUNT VERNON ST
IONIC ST                      S 20TH ST                     DEAD END WEST
HAMILTON ST                   PENNSYLVANIA AVE              N 22ND ST
SANSOM ST                     S BROAD ST                    S BROAD ST
WOOD ST                       N BROAD ST                    N BROAD ST
W STILES ST                   N TANEY ST                    TANEY CT
N TANEY ST                    CABOT PL                      W THOMPSON ST
N 41ST ST                     OLIVE ST                      ASPEN ST
WARREN ST                     N 39TH ST                     STATE ST
W THOMPSON ST                 LANCASTER AVE                 N 49TH ST
SPRING GARDEN ST              SLOAN ST                      SLOAN ST
DEARBORN ST                   RENO ST                       PARRISH ST
S 41ST ST                     WALNUT ST                     CHANCELLOR ST
S 41ST ST                     CHANCELLOR ST                 LOCUST ST
HAMILTON ST                   N 19TH ST                     HAMILTON CIR
SEDGELEY DR                   KELLY DR                      POPLAR DR
KELLY DR                      FAIRMOUNT AVE                 SEDGELEY DR
KELLY DR                      SEDGELEY DR                   LEMON HILL DR
N 44TH ST                     WALLACE ST                    FAIRMOUNT AVE
LOCUST ST                     W RITTENHOUSE SQ              S OPAL ST
S OPAL ST                     LOCUST ST                     DEAD END SOUTH
LOCUST ST                     S OPAL ST                     S 20TH ST
OLIVE ST                      N 25TH ST                     CUL DE SAC WEST
LANCASTER AVE                 MARKET ST                     LANCASTER WALK
N 32ND ST                     MARKET ST                     LANCASTER AVE
N 32ND ST                     LANCASTER AVE                 CUTHBERT ST
S 45TH ST                     SPRUCE ST                     UNIVERSITY MEWS
S 45TH ST                     UNIVERSITY MEWS               UNIVERSITY MEWS
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S 45TH ST                      UNIVERSITY MEWS               PINE ST
S COLLEGE AVE                  N 20TH ST                     W GIRARD AVE
COMMERCE ST TUNL               DEAD END EAST                 N 19TH ST
MARTIN LUTHER KING DR          SWEETBRIAR DR                 BLACK RD
KELLY DR                       N 25TH ST                     FAIRMOUNT AVE
LEMON HILL DR                  KELLY DR                      N LEMON HILL DR
KELLY DR                       LEMON HILL DR                 BREWERY HILL DR
LANSDOWNE DR                   BLACK RD                      HORTICULTURAL DR
SPRING GARDEN ST               BENJAMIN FRANKLIN PKWY        ANNE DHARNONCOURT WAY
SPRING GARDEN ST               N 24TH ST                     ANNE DHARNONCOURT WAY
N 34TH ST                      SCHUYLKILL EXPY RAMP 4        LANSDOWNE DR
SANSOM ST                      S VAN PELT ST                 S BEECHWOOD ST
SANSOM ST                      S BEECHWOOD ST                S 22ND ST
S BONSALL ST                   SANSOM ST                     DEAD END SOUTH
S 30TH ST                      MARKET ST                     CHESTNUT ST
N 48TH ST                      LANCASTER AVE                 W GIRARD AVE
MICA ST                        PARRISH ST                    LEX ST
PARRISH ST                     N 44TH ST                     MICA ST
PARRISH ST                     MICA ST                       LEX ST
LEX ST                         MICA ST                       LANCASTER AVE
FAIRMOUNT AVE                  N MARKOE ST                   MAY PL
N 47TH ST                      FAIRMOUNT AVE                 ASPEN ST
N 47TH ST                      ASPEN ST                      BROWN ST
N MARKOE ST                    FAIRMOUNT AVE                 ASPEN ST
N MARKOE ST                    ASPEN ST                      BROWN ST
N 46TH ST                      FAIRMOUNT AVE                 ASPEN ST
N 46TH ST                      ASPEN ST                      BROWN ST
N 45TH ST                      FAIRMOUNT AVE                 ASPEN ST
N 45TH ST                      ASPEN ST                      BROWN ST
ASPEN ST                       N 45TH ST                     N 45TH ST
ASPEN ST                       N MARKOE ST                   N 47TH ST
HAMILTON ST                    HAMILTON CIR                  N 20TH ST
PEARL ST                       N BROAD ST                    N BROAD ST
W THOMPSON ST                  N 31ST ST                     BREWERYTOWN CT
W THOMPSON ST                  BREWERYTOWN CT                N 32ND ST
PERKIOMEN ST                   WYLIE ST                      EDWIN WALK
PERKIOMEN ST                   EDWIN WALK                    VINEYARD ST
WESTMINSTER AVE                N 46TH ST                     N MARKOE ST
BROWN ST                       N MARKOE ST                   N 47TH ST
N 45TH ST                      WESTMINSTER AVE               LANCASTER AVE
FAIRMOUNT AVE                  N 44TH ST                     N 45TH ST
ASPEN ST                       N 44TH ST                     N 45TH ST
FAIRMOUNT AVE                  N 45TH ST                     N 46TH ST
ASPEN ST                       N 45TH ST                     N 46TH ST
BROWN ST                       N 45TH ST                     N 46TH ST
FAIRMOUNT AVE                  N 46TH ST                     N MARKOE ST
ASPEN ST                       N 46TH ST                     N MARKOE ST
ASPEN ST                       SLOAN ST                      N 40TH ST
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BRANDYWINE ST                 N 39TH ST                     LANCASTER AVE
ANNE DHARNONCOURT WAY         N 25TH ST                     SPRING GARDEN ST
LANSDOWNE DR                  41ST ST DR                    LANSDOWNE DR
LANSDOWNE DR                  41ST ST DR                    LANSDOWNE DR
30TH LOWER LEVEL ST           DEAD END NORTH                LUDLOW ST
30TH LOWER LEVEL ST           LUDLOW ST                     WALNUT LOWER LEVEL ST
N SCHUYLKILL RIVER TRL        WATER WORKS DR                N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL        WATER WORKS DR
N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL        MARTIN LUTHER KING DR
S SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL        DEAD END SOUTH
MARTIN LUTHER KING DR         N SCHUYLKILL RIVER TRL        MARTIN LUTHER KING DR
MARTIN LUTHER KING DR         BENJAMIN FRANKLIN PKWY        N SCHUYLKILL RIVER TRL
WATER WORKS DR                N SCHUYLKILL RIVER TRL        KELLY DR
WATER WORKS DR                DEAD END SOUTH                N SCHUYLKILL RIVER TRL
MARTIN LUTHER KING DR         MARTIN LUTHER KING DR         MARTIN LUTHER KING DR
MARTIN LUTHER KING DR         MARTIN LUTHER KING DR         SWEETBRIAR DR
SPRING GARDEN ST              ANNE DHARNONCOURT WAY         SPRING GARDEN ST
SPRING GARDEN ST              SPRING GARDEN ST              SCHUYLKILL EXPY RAMP 6
WALLACE ST                    N 23RD ST                     WALLACE PL
WALLACE ST                    WALLACE PL                    N 24TH ST
MANTUA AVE                    N SHEDWICK ST                 N 35TH ST
PENNSGROVE ST                 N 38TH ST                     N 39TH ST
N 38TH ST                     PENNSGROVE ST                 WYALUSING AVE
PEROT ST                      N 23RD ST                     PIGS ALY
PEROT ST                      PIGS ALY                      N 24TH ST
FILBERT ST                    PENN PRESBYTERIAN DWY         N 39TH ST
FILBERT ST                    N 38TH ST                     PENN PRESBYTERIAN DWY
SWEETBRIAR LN                 DEAD END EAST                 SWEETBRIAR LN
SWEETBRIAR LN                 SWEETBRIAR LN                 CEDAR GROVE DR
SWEETBRIAR LN                 LANSDOWNE DR                  SWEETBRIAR LN
LOCUST ST                     S 25TH ST                     DEAD END SOUTH
N SCHUYLKILL RIVER TRL        RACE ST                       N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL        RACE ST
RACE ST                       N BONSALL ST                  N SCHUYLKILL RIVER TRL
WARREN ST                     LUDWICK ST                    DEAD END NORTH
WYLIE ST                      LELAND ST                     LELAND ST
WYLIE ST                      LELAND ST                     PERKIOMEN ST
BROOKLYN ST                   OLIVE ST                      ASPEN ST
BROOKLYN ST                   FAIRMOUNT AVE                 OLIVE ST
OLIVE ST                      BROOKLYN ST                   CUL DE SAC WEST
LETITIA WALK                  W GIRARD AVE                  CUL DE SAC EAST
S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL
S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL        CUL DE SAC NORTH
S SCHUYLKILL RIVER TRL        JOHN BARTRAM DR               CUL DE SAC SOUTH
S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL        DEAD END EAST
S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL
S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL
S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL        S SCHUYLKILL RIVER TRL
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S SCHUYLKILL RIVER TRL           S SCHUYLKILL RIVER TRL        BOTANIC AVE
S SCHUYLKILL RIVER TRL           BOTANIC AVE                   CUL DE SAC NORTH
S SCHUYLKILL RIVER TRL           S SCHUYLKILL RIVER TRL        CUL DE SAC SOUTH
N SMEDLEY ST                     SEYBERT ST                    WILLINGTON ST
WOOD ST                          ALEXANDER CT                  N 17TH ST
WOOD ST                          N 16TH ST                     ALEXANDER CT
CUTHBERT ST                      N 38TH ST                     N 37TH ST
N 36TH ST                        WARREN ST                     FILBERT ST
FILBERT ST                       N 36TH ST                     N 37TH ST
FILBERT ST                       N 37TH ST                     N 38TH ST
N 37TH ST                        WARREN ST                     CUTHBERT ST
N 37TH ST                        CUTHBERT ST                   FILBERT ST
N 37TH ST                        FILBERT ST                    MARKET ST
W THOMPSON ST                    N BROAD ST                    N CARLISLE ST
W THOMPSON ST                    N WATTS ST                    N BROAD ST
N 13TH ST                        W THOMPSON ST                 MASTER ST
W THOMPSON ST                    PATRICK HENRY PL              N 13TH ST
W THOMPSON ST                    LAFAYETTE PL                  PATRICK HENRY PL
W THOMPSON ST                    N JESSUP ST                   LAFAYETTE PL
W THOMPSON ST                    N 11TH ST                     N JESSUP ST
N 10TH ST                        W THOMPSON ST                 SEYBERT MALL
W THOMPSON ST                    N 10TH ST                     N 11TH ST
W THOMPSON ST                    N HUTCHINSON ST               N 10TH ST
W THOMPSON ST                    N PERCY ST                    N HUTCHINSON ST
W STILES ST                      N BROAD ST                    N CARLISLE ST
CUSTIS PL                        CUL DE SAC EAST               N 12TH ST
N 8TH ST                         W THOMPSON ST                 MASTER ST
N PERTH ST                       W THOMPSON ST                 MASTER ST
W THOMPSON ST                    N PERTH ST                    N 8TH ST
N FRANKLIN ST                    W THOMPSON ST                 MASTER ST
W THOMPSON ST                    N FRANKLIN ST                 N PERTH ST
N 7TH ST                         W THOMPSON ST                 MASTER ST
W THOMPSON ST                    N 7TH ST                      N FRANKLIN ST
N MARSHALL ST                    W THOMPSON ST                 MASTER ST
W THOMPSON ST                    N MARSHALL ST                 N 7TH ST
W THOMPSON ST                    N 6TH ST                      N MARSHALL ST
W STILES ST                      N JESSUP ST                   N 12TH ST
W THOMPSON ST                    N RANDOLPH ST                 N 6TH ST
W STILES ST                      N 11TH ST                     N JESSUP ST
W THOMPSON ST                    N 5TH ST                      N RANDOLPH ST
VALLEY FORGE PL                  W FLORA ST                    CUL DE SAC NORTH
W FLORA ST                       VALLEY FORGE PL               N 13TH ST
W THOMPSON ST                    N ORKNEY ST                   N 5TH ST
W THOMPSON ST                    N LAWRENCE ST                 N ORKNEY ST
W FLORA ST                       N 12TH ST                     VALLEY FORGE PL
W THOMPSON ST                    N LEITHGOW ST                 N LAWRENCE ST
N 4TH ST                         W THOMPSON ST                 MASTER ST
W THOMPSON ST                    N 4TH ST                      N LEITHGOW ST
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W THOMPSON ST                N ORIANNA ST                  N 4TH ST
W THOMPSON ST                N 2ND ST                      N AMERICAN ST
W THOMPSON ST                N 3RD ST                      N ORIANNA ST
W THOMPSON ST                N AMERICAN ST                 GERMANTOWN AVE
PALETHORP ST                 W THOMPSON ST                 MASTER ST
W THOMPSON ST                PALETHORP ST                  N 2ND ST
N 13TH ST                    W GIRARD AVE                  W FLORA ST
W THOMPSON ST                N HANCOCK ST                  PALETHORP ST
MASCHER ST                   W THOMPSON ST                 MASTER ST
W THOMPSON ST                MASCHER ST                    N HANCOCK ST
E THOMPSON ST                DAY ST                        CREASE ST
N HOWARD ST                  W THOMPSON ST                 MASTER ST
W THOMPSON ST                N HOWARD ST                   MASCHER ST
HOPE ST                      W THOMPSON ST                 MASTER ST
W THOMPSON ST                HOPE ST                       N HOWARD ST
E THOMPSON ST                SHACKAMAXON ST                DAY ST
N ORKNEY ST                  N LAWRENCE ST                 W THOMPSON ST
W THOMPSON ST                N FRONT ST                    HOPE ST
E COLUMBIA AVE               E GIRARD AVE                  E FLORA ST
N LEE ST                     W THOMPSON ST                 MASTER ST
N 13TH ST                    W HARPER ST                   W GIRARD AVE
N FRANKLIN ST                W GIRARD AVE                  W THOMPSON ST
N 7TH ST                     W GIRARD AVE                  W THOMPSON ST
N MARSHALL ST                W GIRARD AVE                  W THOMPSON ST
N WATTS ST                   CAMBRIDGE ST                  W GIRARD AVE
W HARPER ST                  N 12TH ST                     N 13TH ST
N 13TH ST                    CAMBRIDGE ST                  W HARPER ST
N 13TH ST                    CAMBRIDGE CT                  CAMBRIDGE ST
N 4TH ST                     W GIRARD AVE                  W THOMPSON ST
W STILES ST                  N AMERICAN ST                 GERMANTOWN AVE
GERMANTOWN AVE               W STILES ST                   W THOMPSON ST
N ORIANNA ST                 W GIRARD AVE                  W THOMPSON ST
N 10TH ST                    W HARPER ST                   W GIRARD AVE
W HARPER ST                  N HUTCHINSON ST               N 10TH ST
CREASE ST                    E GIRARD AVE                  E THOMPSON ST
N LAWRENCE ST                CAMBRIDGE ST                  W GIRARD AVE
CAMBRIDGE CT                 DEAD END EAST                 N 13TH ST
W HARPER ST                  N PERCY ST                    N HUTCHINSON ST
N LEE ST                     E STILES ST                   W THOMPSON ST
N WATTS ST                   POPLAR ST                     CAMBRIDGE ST
CAMBRIDGE ST                 N LEITHGOW ST                 N LAWRENCE ST
DAY ST                       E GIRARD AVE                  E THOMPSON ST
PALETHORP ST                 W GIRARD AVE                  W THOMPSON ST
SHACKAMAXON ST               E GIRARD AVE                  FRANKFORD AVE
MASCHER ST                   W GIRARD AVE                  W THOMPSON ST
N 4TH ST                     CAMBRIDGE ST                  W GIRARD AVE
CAMBRIDGE ST                 N 4TH ST                      N LEITHGOW ST
CAMBRIDGE ST                 N RANDOLPH ST                 N 6TH ST
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N ORIANNA ST                 CAMBRIDGE ST                  W GIRARD AVE
CAMBRIDGE ST                 N ORIANNA ST                  N 4TH ST
CAMBRIDGE ST                 N ORIANNA ST                  N ORIANNA ST
CAMBRIDGE ST                 N 5TH ST                      N RANDOLPH ST
CAMBRIDGE ST                 N GALLOWAY ST                 N ORIANNA ST
CAMBRIDGE ST                 N 3RD ST                      N GALLOWAY ST
CAMBRIDGE ST                 N BODINE ST                   N 3RD ST
MARLBOROUGH ST               E WILDEY ST                   E GIRARD AVE
N 13TH ST                    OGDEN CT                      POPLAR ST
OGDEN CT                     N 13TH ST                     DEAD END WEST
PARRISH ST                   N BROAD ST                    N CARLISLE ST
N HOWARD ST                  O NEIL ST                     W GIRARD AVE
O NEIL ST                    N HOWARD ST                   W GIRARD AVE
CREASE ST                    E WILDEY ST                   E GIRARD AVE
PARRISH ST                   N WATTS ST                    N BROAD ST
DAY ST                       E WILDEY ST                   E GIRARD AVE
CREASE ST                    DEAD END SOUTH                E WILDEY ST
DAY ST                       DEAD END SOUTH                E WILDEY ST
N ORKNEY ST                  W GEORGE ST                   DEAD END NORTH
SHACKAMAXON ST               E WILDEY ST                   E GIRARD AVE
GERMANTOWN AVE               N 2ND ST                      N AMERICAN ST
PARRISH ST                   N CAMAC ST                    N 13TH ST
N 4TH ST                     W GEORGE ST                   CAMBRIDGE ST
N DARIEN ST                  POPLAR ST                     W GIRARD AVE
N GALLOWAY ST                W GEORGE ST                   CAMBRIDGE ST
N 8TH ST                     POPLAR ST                     W GIRARD AVE
N BODINE ST                  W GEORGE ST                   CAMBRIDGE ST
N AMERICAN ST                W GEORGE ST                   GERMANTOWN AVE
N FRANKLIN ST                POPLAR ST                     W GIRARD AVE
BROWN ST                     N BROAD ST                    N CARLISLE ST
N 7TH ST                     POPLAR ST                     W GIRARD AVE
N LEE ST                     W WILDEY ST                   W GIRARD AVE
MARLBOROUGH ST               E ALLEN ST                    RICHMOND ST
DUNTON ST                    W WILDEY ST                   W GIRARD AVE
N CAMAC ST                   BROWN ST                      PARRISH ST
BROWN ST                     N CAMAC ST                    N 13TH ST
MARLBOROUGH ST               N DELAWARE AVE                E ALLEN ST
BROWN ST                     N 12TH ST                     N CAMAC ST
N RANDOLPH ST                POPLAR ST                     CAMBRIDGE ST
W WILDEY ST                  N ORIANNA ST                  N 4TH ST
W WILDEY ST                  N 3RD ST                      N ORIANNA ST
GERMANTOWN AVE               N HANCOCK ST                  W WILDEY ST
SHACKAMAXON ST               E ALLEN ST                    RICHMOND ST
W WILDEY ST                  N BODINE ST                   N 3RD ST
N BODINE ST                  W WILDEY ST                   W GEORGE ST
N AMERICAN ST                W WILDEY ST                   W GEORGE ST
W WILDEY ST                  N AMERICAN ST                 N BODINE ST
W ALLEN ST                   E ALLEN ST                    HOPE ST
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GERMANTOWN AVE                NEW MARKET ST                 N HANCOCK ST
E ALLEN ST                    BRADY ST                      SHACKAMAXON ST
N 13TH ST                     FAIRMOUNT AVE                 BROWN ST
FAIRMOUNT AVE                 N 13TH ST                     N BROAD ST
SHACKAMAXON ST                N DELAWARE AVE                E ALLEN ST
N LAWRENCE ST                 POPLAR ST                     SAINT JOHN NEUMANN WAY
E ALLEN ST                    SARAH ST                      BRADY ST
FAIRMOUNT AVE                 N 12TH ST                     N 13TH ST
PARRISH ST                    N 5TH ST                      N 6TH ST
NEW MARKET ST                 POLLARD ST                    GERMANTOWN AVE
N BODINE ST                   N AMERICAN ST                 W WILDEY ST
N 8TH ST                      BROWN ST                      POPLAR ST
PARRISH ST                    N LEITHGOW ST                 N LAWRENCE ST
LAUREL ST                     N 2ND ST                      N AMERICAN ST
LAUREL ST                     N HANCOCK ST                  N 2ND ST
LAUREL ST                     N HANCOCK ST                  N HANCOCK ST
NEW MARKET ST                 LAUREL ST                     POLLARD ST
LAUREL ST                     NEW MARKET ST                 N HANCOCK ST
N FRANKLIN ST                 BROWN ST                      POPLAR ST
RENO ST                       N ORKNEY ST                   N 5TH ST
RENO ST                       N LAWRENCE ST                 N ORKNEY ST
FAIRMOUNT AVE                 N PERCY ST                    N 10TH ST
RENO ST                       N LEITHGOW ST                 N LAWRENCE ST
MELON ST                      N WARNOCK ST                  N 11TH ST
N AMERICAN ST                 POPLAR ST                     N BODINE ST
N PARK AVE                    WALLACE ST                    MELON ST
N 13TH ST                     WALLACE ST                    MELON ST
FAIRMOUNT AVE                 N FRANKLIN ST                 N 8TH ST
N WARNOCK ST                  WALLACE ST                    MELON ST
N 7TH ST                      FAIRMOUNT AVE                 BROWN ST
FAIRMOUNT AVE                 N 7TH ST                      N FRANKLIN ST
LEMON ST                      RIDGE AVE                     N WATTS ST
N 13TH ST                     MOUNT VERNON ST               WALLACE ST
LEMON ST                      N 11TH ST                     N 12TH ST
MOUNT VERNON ST               N WATTS ST                    N BROAD ST
MOUNT VERNON ST               N 13TH ST                     N WATTS ST
MOUNT VERNON ST               N CAMAC ST                    RIDGE AVE
MOUNT VERNON ST               N 12TH ST                     N CAMAC ST
MOUNT VERNON ST               N 11TH ST                     N 12TH ST
MOUNT VERNON ST               N 10TH ST                     N 11TH ST
N 13TH ST                     GREEN ST                      RIDGE AVE
N 13TH ST                     BRANDYWINE ST                 GREEN ST
BRANDYWINE ST                 N 13TH ST                     N BROAD ST
N 7TH ST                      WALKWAY CONNECTOR             WALLACE ST
BRANDYWINE ST                 N 11TH ST                     N 12TH ST
BRANDYWINE ST                 N 10TH ST                     N 11TH ST
NECTARINE ST                  N 10TH ST                     N 11TH ST
BUTTONWOOD ST                 N 13TH ST                     N BROAD ST
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BUTTONWOOD ST                  N 12TH ST                     N 13TH ST
BUTTONWOOD ST                  N 11TH ST                     RIDGE AVE
BUTTONWOOD ST                  RIDGE AVE                     N 12TH ST
BUTTONWOOD ST                  N 10TH ST                     N 11TH ST
BUTTONWOOD ST                  N 9TH ST                      N PERCY ST
HAMILTON ST                    N 10TH ST                     RIDGE AVE
HAMILTON ST                    RIDGE AVE                     N 12TH ST
WILLOW ST                      N 7TH ST                      N 8TH ST
WILLOW ST                      N 6TH ST                      N 7TH ST
N CLARION ST                   SPRING ST                     FLORIST ST
N CLARION ST                   RACE ST                       SPRING ST
APPLETREE ST                   N 7TH ST                      N 8TH ST
CUTHBERT ST                    N 12TH ST                     N 13TH ST
FILBERT ST                     N 13TH ST                     JOHN F KENNEDY BLVD
FILBERT ST                     N 12TH ST                     N 13TH ST
COMMERCE ST                    N 13TH ST                     N JUNIPER ST
FILBERT ST                     N 8TH ST                      N 9TH ST
MASCHER ST                     CUTHBERT ST                   ARCH ST
CUTHBERT ST                    MASCHER ST                    N 2ND ST
FILBERT ST                     N AMERICAN ST                 N 3RD ST
FILBERT ST                     N AMERICAN ST                 N AMERICAN ST
FILBERT ST                     N 2ND ST                      N AMERICAN ST
N AMERICAN ST                  CHURCH ST                     FILBERT ST
CHURCH ST                      N AMERICAN ST                 N 3RD ST
CHURCH ST                      N FRONT ST                    N 2ND ST
S JUNIPER ST                   S PENN SQ                     CHESTNUT ST
S JUNIPER ST                   CHESTNUT ST                   DRURY ST
LUDLOW ST                      S 4TH ST                      S INDEPENDENCE MALL E
DRURY ST                       S 13TH ST                     S JUNIPER ST
RANSTEAD ST                    S 7TH ST                      S 8TH ST
RANSTEAD ST                    S INDEPENDENCE MALL W         S 7TH ST
S JUNIPER ST                   DRURY ST                      SANSOM ST
SANSOM ST                      S JUNIPER ST                  S BROAD ST
SANSOM ST                      S 13TH ST                     S JUNIPER ST
SANSOM ST                      S 12TH ST                     S 13TH ST
SANSOM ST                      S JESSUP ST                   S 12TH ST
STRAWBERRY ST                  MARKET ST                     TROTTERS ALY
BLACK HORSE ALY                LETITIA ST                    S 2ND ST
SANSOM ST                      S 11TH ST                     S JESSUP ST
TROTTERS ALY                   S 2ND ST                      STRAWBERRY ST
BLACK HORSE ALY                S FRONT ST                    LETITIA ST
SANSOM ST                      S 10TH ST                     S 11TH ST
S JESSUP ST                    SANSOM ST                     MORAVIAN ST
MORAVIAN ST                    S JESSUP ST                   S 12TH ST
SANSOM ST                      S 9TH ST                      S 10TH ST
S JUNIPER ST                   SANSOM ST                     WALNUT ST
IONIC ST                       S 7TH ST                      S 8TH ST
SANSOM ST                      S 8TH ST                      S 9TH ST
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STRAWBERRY ST                  TROTTERS ALY                  CHESTNUT ST
SANSOM ST                      S 7TH ST                      S 8TH ST
S JUNIPER ST                   WALNUT ST                     CHANCELLOR ST
LETITIA ST                     BLACK HORSE ALY               CHESTNUT ST
SANSOM ST                      S INDEPENDENCE MALL W         S 7TH ST
S CAMAC ST                     WALNUT ST                     CHANCELLOR ST
CHANCELLOR ST                  S CAMAC ST                    S 13TH ST
CHANCELLOR ST                  S 12TH ST                     S CAMAC ST
S CAMAC ST                     CHANCELLOR ST                 SAINT JAMES ST
SAINT JAMES ST                 S CAMAC ST                    S 13TH ST
IONIC ST                       S FRONT ST                    S 2ND ST
SAINT JAMES ST                 S 12TH ST                     S CAMAC ST
SAINT JAMES ST                 S 11TH ST                     QUINCE ST
S JUNIPER ST                   CHANCELLOR ST                 LOCUST ST
S CAMAC ST                     SAINT JAMES ST                LOCUST ST
SANSOM ST                      S FRONT ST                    S HANCOCK ST
QUINCE ST                      SAINT JAMES ST                LOCUST ST
S JUNIPER ST                   LOCUST ST                     LATIMER ST
S CAMAC ST                     LOCUST ST                     LATIMER ST
LATIMER ST                     S FAWN ST                     S CAMAC ST
LATIMER ST                     S 12TH ST                     S FAWN ST
S JUNIPER ST                   LATIMER ST                    IRVING ST
QUINCE ST                      LOCUST ST                     LATIMER ST
S JESSUP ST                    LOCUST ST                     LATIMER ST
LATIMER ST                     S JESSUP ST                   QUINCE ST
IRVING ST                      S 13TH ST                     S JUNIPER ST
S JUNIPER ST                   IRVING ST                     MANNING ST
MANNING ST                     S JUNIPER ST                  S WATTS ST
SAINT JAMES ST                 S RANDOLPH ST                 S 6TH ST
SAINT JAMES ST                 S 5TH ST                      SAINT JAMES CT
QUINCE ST                      LATIMER ST                    IRVING ST
S CAMAC ST                     LATIMER ST                    MANNING ST
S JESSUP ST                    LATIMER ST                    IRVING ST
S FAWN ST                      LATIMER ST                    MANNING ST
MANNING ST                     S FAWN ST                     S CAMAC ST
S HUTCHINSON ST                LOCUST ST                     LATIMER ST
LATIMER ST                     S HUTCHINSON ST               S DELHI ST
MANNING ST                     S 12TH ST                     S FAWN ST
MANNING ST                     S SARTAIN ST                  S 12TH ST
LATIMER ST                     S 9TH ST                      S HUTCHINSON ST
QUINCE ST                      IRVING ST                     MANNING ST
MANNING ST                     QUINCE ST                     S SARTAIN ST
IRVING ST                      S ALDER ST                    S WARNOCK ST
IRVING ST                      S 10TH ST                     S ALDER ST
S WATTS ST                     MANNING ST                    SPRUCE ST
S JESSUP ST                    IRVING ST                     DEAD END SOUTH
S JUNIPER ST                   MANNING ST                    SPRUCE ST
S HUTCHINSON ST                LATIMER ST                    IRVING ST
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IRVING ST                     S HUTCHINSON ST               S DELHI ST
S RANDOLPH ST                 SAINT JAMES ST                DEAD END SOUTH
S ALDER ST                    IRVING ST                     DEAD END SOUTH
S CAMAC ST                    MANNING ST                    SPRUCE ST
S JUNIPER ST                  SPRUCE ST                     CYPRESS ST
MANNING ST                    BONAPARTE CT                  S 10TH ST
QUINCE ST                     MANNING ST                    SPRUCE ST
S WASHINGTON SQ               S 6TH ST                      S 7TH ST
LOCUST ST                     S 4TH ST                      S LEITHGOW ST
SAINT JAMES PL                PHILIP PL                     S 3RD ST
S PERTH ST                    LOCUST ST                     MANNING ST
S CAMAC ST                    SPRUCE ST                     CYPRESS ST
S WARNOCK ST                  IRVING ST                     SPRUCE ST
QUINCE ST                     SPRUCE ST                     CYPRESS ST
S HUTCHINSON ST               BONAPARTE CT                  SPRUCE ST
MARSHALLS CT                  S 4TH ST                      S 5TH ST
LOCUST ST                     S 2ND ST                      PHILIP PL
E WILDEY ST                   E OXFORD ST                   HYDE ST
E OXFORD ST                   E WILDEY ST                   E GIRARD AVE
E ALLEN ST                    FRANKFORD AVE                 SARAH ST
E ALLEN ST                    SARAH ST                      SARAH ST
LAUREL ST                     N DELAWARE AVE                CANAL ST
GERMANTOWN AVE                N AMERICAN ST                 W GIRARD AVE
GERMANTOWN AVE                W GIRARD AVE                  W STILES ST
N 13TH ST                     SPRING GARDEN ST              BRANDYWINE ST
N 13TH ST                     BRANDYWINE ST                 BRANDYWINE ST
HAMILTON ST                   N 12TH ST                     N 13TH ST
LEMON ST                      N 10TH ST                     N 11TH ST
N HANCOCK ST                  BROWN ST                      POPLAR ST
N HANCOCK ST                  OLIVE ST                      BROWN ST
N ORIANNA ST                  POTTS ST                      FAIRMOUNT AVE
N BODINE ST                   GREEN ST                      FAIRMOUNT AVE
N PHILIP ST                   GREEN ST                      DEAD END NORTH
N LAWRENCE ST                 SPRING GARDEN ST              GREEN ST
N ORIANNA ST                  SPRING GARDEN ST              GREEN ST
N BODINE ST                   SPRING GARDEN ST              GREEN ST
BEACH ST                      SPRING GARDEN ST              FAIRMOUNT AVE
WILLOW ST                     N 4TH ST                      N 5TH ST
WILLOW ST                     N 3RD ST                      N 4TH ST
POTTS ST                      N ORIANNA ST                  N 4TH ST
N HANCOCK ST                  FAIRMOUNT AVE                 OLIVE ST
FAIRMOUNT AVE                 N 6TH ST                      N MARSHALL ST
FAIRMOUNT AVE                 N 5TH ST                      N 6TH ST
FAIRMOUNT AVE                 N ORKNEY ST                   N 5TH ST
FAIRMOUNT AVE                 N ORIANNA ST                  N 4TH ST
FAIRMOUNT AVE                 N 3RD ST                      N GALLOWAY ST
FAIRMOUNT AVE                 N BODINE ST                   N 3RD ST
FAIRMOUNT AVE                 N AMERICAN ST                 N BODINE ST
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FAIRMOUNT AVE                    N 2ND ST                      N AMERICAN ST
FAIRMOUNT AVE                    N FRONT ST                    HOPE ST
FAIRMOUNT AVE                    N MARSHALL ST                 N 7TH ST
FAIRMOUNT AVE                    N HANCOCK ST                  N HANCOCK ST
FAIRMOUNT AVE                    N HANCOCK ST                  N 2ND ST
N 4TH ST                         BROWN ST                      RENO ST
N 4TH ST                         OLIVE ST                      BROWN ST
N 4TH ST                         FAIRMOUNT AVE                 OLIVE ST
GREEN ST                         N LAWRENCE ST                 N 5TH ST
N 4TH ST                         GREEN ST                      WALLACE ST
GREEN ST                         N 4TH ST                      N LAWRENCE ST
GREEN ST                         N GALLOWAY ST                 N ORIANNA ST
GREEN ST                         N 3RD ST                      N GALLOWAY ST
GREEN ST                         N BODINE ST                   N 3RD ST
GREEN ST                         N AMERICAN ST                 N BODINE ST
GREEN ST                         N PHILIP ST                   N AMERICAN ST
GREEN ST                         N 2ND ST                      N PHILIP ST
N 4TH ST                         SPRING GARDEN ST              GREEN ST
NOBLE ST                         N 2ND ST                      N AMERICAN ST
N 4TH ST                         WALLACE ST                    POTTS ST
N 4TH ST                         POTTS ST                      FAIRMOUNT AVE
GREEN ST                         N HANCOCK ST                  N 2ND ST
OLIVE ST                         N 4TH ST                      N ORKNEY ST
N ORKNEY ST                      FAIRMOUNT AVE                 OLIVE ST
N 3RD ST                         POPLAR ST                     W WILDEY ST
N 3RD ST                         BROWN ST                      POPLAR ST
N 3RD ST                         GREEN ST                      FAIRMOUNT AVE
N 3RD ST                         SPRING GARDEN ST              GREEN ST
BROWN ST                         N 7TH ST                      N FRANKLIN ST
BROWN ST                         HOFFMAN PL                    N 7TH ST
BROWN ST                         N 6TH ST                      HOFFMAN PL
BROWN ST                         N 5TH ST                      N 6TH ST
POPLAR ST                        N HANCOCK ST                  N 2ND ST
POPLAR ST                        N HANCOCK ST                  N HANCOCK ST
POPLAR ST                        NEW MARKET ST                 N HANCOCK ST
BROWN ST                         N 2ND ST                      N AMERICAN ST
BROWN ST                         N HANCOCK ST                  N 2ND ST
BROWN ST                         N HANCOCK ST                  N HANCOCK ST
NEW MARKET ST                    POPLAR ST                     ELLEN ST
RENO ST                          N ORIANNA ST                  N 4TH ST
N AMERICAN ST                    SPRING GARDEN ST              GREEN ST
N AMERICAN ST                    FAIRMOUNT AVE                 BROWN ST
N HANCOCK ST                     W THOMPSON ST                 MASTER ST
N 3RD ST                         W THOMPSON ST                 GERMANTOWN AVE
N 3RD ST                         W GIRARD AVE                  W THOMPSON ST
N 3RD ST                         CAMBRIDGE ST                  W GIRARD AVE
N 3RD ST                         W GEORGE ST                   CAMBRIDGE ST
N 3RD ST                         SAINT JOHN NEUMANN WAY        W GEORGE ST
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N 3RD ST                      W WILDEY ST                   SAINT JOHN NEUMANN WAY
W WILDEY ST                   N 2ND ST                      N AMERICAN ST
N PERCY ST                    MOUNT VERNON ST               WALLACE ST
N PERCY ST                    GREEN ST                      MOUNT VERNON ST
N PERCY ST                    SPRING GARDEN ST              GREEN ST
GREEN ST                      N 11TH ST                     N 12TH ST
GREEN ST                      N 10TH ST                     N 11TH ST
GREEN ST                      N PERCY ST                    N 10TH ST
N PERCY ST                    HAMILTON ST                   BUTTONWOOD ST
NOBLE ST                      N 9TH ST                      N PERCY ST
N PERCY ST                    NOBLE ST                      HAMILTON ST
BROWN ST                      N FRANKLIN ST                 N 8TH ST
N 8TH ST                      FAIRMOUNT AVE                 BROWN ST
N FRANKLIN ST                 FAIRMOUNT AVE                 BROWN ST
N 8TH ST                      GREEN ST                      WALLACE ST
GREEN ST                      N 13TH ST                     N BROAD ST
GREEN ST                      RIDGE AVE                     N 13TH ST
GREEN ST                      N 12TH ST                     RIDGE AVE
NECTARINE ST                  N 13TH ST                     N BROAD ST
NECTARINE ST                  N 12TH ST                     N 13TH ST
MELON ST                      N BROAD ST                    N 15TH ST
GREEN ST                      N BROAD ST                    N 15TH ST
NORTH ST                      N BROAD ST                    N 15TH ST
MOUNT VERNON ST               N BROAD ST                    N 15TH ST
BRANDYWINE ST                 N BROAD ST                    N 15TH ST
CLAY ST                       N 11TH ST                     N 12TH ST
MELON ST                      N PARK AVE                    RIDGE AVE
MELON ST                      N 13TH ST                     N PARK AVE
WOOD ST                       N 13TH ST                     N BROAD ST
WOOD ST                       N 12TH ST                     N 13TH ST
WOOD ST                       N 10TH ST                     N 11TH ST
CARLTON ST                    N 10TH ST                     N 11TH ST
CARLTON ST                    N 9TH ST                      RIDGE AVE
PEARL ST                      N 12TH ST                     N 13TH ST
WOOD ST                       RIDGE AVE                     N 10TH ST
PEARL ST                      N 10TH ST                     N 11TH ST
FLORIST ST                    N CLARION ST                  N JUNIPER ST
FLORIST ST                    N 13TH ST                     N CLARION ST
SPRING ST                     N CLARION ST                  N JUNIPER ST
SPRING ST                     N SARTAIN ST                  N 12TH ST
SPRING ST                     N MARVINE ST                  N SARTAIN ST
N CAMAC ST                    SPRING ST                     SUMMER ST
SPRING ST                     N CAMAC ST                    N 13TH ST
SPRING ST                     N 12TH ST                     N CAMAC ST
N CAMAC ST                    RACE ST                       SPRING ST
N MARVINE ST                  RACE ST                       SPRING ST
WOOD ST                       N 5TH ST                      N RANDOLPH ST
WOOD ST                       N LAWRENCE ST                 N 5TH ST
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WOOD ST                      N ORIANNA ST                  N 4TH ST
WOOD ST                      N 2ND ST                      N AMERICAN ST
WOOD ST                      YORK AVE                      N LAWRENCE ST
N RANDOLPH ST                VINE ST                       WOOD ST
VINE ST                      N 5TH ST                      N RANDOLPH ST
VINE ST                      N 5TH ST                      N 5TH ST
VINE ST                      N ORIANNA ST                  YORK AVE
QUARRY ST                    BREAD ST                      N 3RD ST
CHERRY ST                    N 3RD ST                      LOXLEY CT
N LAWRENCE ST                VINE ST                       WOOD ST
N LAWRENCE ST                N MARGINAL RD                 VINE ST
NEW ST                       N 3RD ST                      N 4TH ST
QUARRY ST                    N 2ND ST                      BREAD ST
N ORIANNA ST                 CHERRY ST                     RACE ST
BREAD ST                     CHERRY ST                     QUARRY ST
CHERRY ST                    BREAD ST                      N 3RD ST
BREAD ST                     ARCH ST                       CHERRY ST
BREAD ST                     QUARRY ST                     RACE ST
SUMMER ST                    N CAMAC ST                    N 13TH ST
SUMMER ST                    N 12TH ST                     N CAMAC ST
WINTER ST                    N CLIFTON ST                  N 11TH ST
N JUNIPER ST                 SPRING ST                     FLORIST ST
SPRING ST                    N CLIFTON ST                  N 11TH ST
SPRING ST                    N 10TH ST                     N CLIFTON ST
N JUNIPER ST                 RACE ST                       SPRING ST
N CLIFTON ST                 CHERRY ST                     QUARRY ST
N ALDER ST                   CHERRY ST                     QUARRY ST
CHERRY ST                    N CLIFTON ST                  N 11TH ST
CHERRY ST                    N ALDER ST                    N CLIFTON ST
CHERRY ST                    N 10TH ST                     N ALDER ST
CHERRY ST                    N HUTCHINSON ST               N 10TH ST
CHERRY ST                    N 9TH ST                      N HUTCHINSON ST
APPLETREE ST                 N 10TH ST                     N 11TH ST
HOPE ST                      W ALLEN ST                    W WILDEY ST
W WILDEY ST                  N FRONT ST                    N HANCOCK ST
HOPE ST                      N HANCOCK ST                  W GIRARD AVE
W THOMPSON ST                GERMANTOWN AVE                N 3RD ST
N PERCY ST                   W HARPER ST                   W GIRARD AVE
RICHMOND ST                  SHACKAMAXON ST                MARLBOROUGH ST
SHACKAMAXON ST               RICHMOND ST                   E WILDEY ST
MARLBOROUGH ST               RICHMOND ST                   E WILDEY ST
MYRTLE ST                    N ORKNEY ST                   N 5TH ST
MYRTLE ST                    N LAWRENCE ST                 N ORKNEY ST
ELLEN ST                     N FRONT ST                    NEW MARKET ST
GERMANTOWN AVE               LAUREL ST                     POLLARD ST
ELLEN ST                     N PENN ST                     N DELAWARE AVE
POPLAR ST                    N PENN ST                     N DELAWARE AVE
BROWN ST                     N FRONT ST                    N HANCOCK ST
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FAIRMOUNT AVE                   HOPE ST                       N HANCOCK ST
WILLOW ST                       N 5TH ST                      N 6TH ST
N JUNIPER ST                    FLORIST ST                    VINE ST
S JUNIPER ST                    CHANCELLOR ST                 CHANCELLOR ST
S WATTS ST                      WALNUT ST                     CHANCELLOR ST
S HUTCHINSON ST                 IRVING ST                     BONAPARTE CT
BONAPARTE CT                    S 9TH ST                      S HUTCHINSON ST
S 2ND ST                        LOCUST ST                     SPRUCE ST
WILLOW ST                       N AMERICAN ST                 N 3RD ST
WILLOW ST                       N 2ND ST                      N AMERICAN ST
NEW ST                          LETITIA ST                    N 2ND ST
WOOD ST                         N RANDOLPH ST                 N 6TH ST
PATRICK HENRY PL                W THOMPSON ST                 CUL DE SAC NORTH
PATRICK HENRY PL                CUL DE SAC SOUTH              W THOMPSON ST
W GEORGE ST                     N ORKNEY ST                   N 5TH ST
W GEORGE ST                     N LAWRENCE ST                 N ORKNEY ST
W GEORGE ST                     N LEITHGOW ST                 N LAWRENCE ST
W GEORGE ST                     N 4TH ST                      N LEITHGOW ST
W GEORGE ST                     N ORIANNA ST                  N 4TH ST
W GEORGE ST                     N GALLOWAY ST                 N ORIANNA ST
W GEORGE ST                     N 3RD ST                      N GALLOWAY ST
W GEORGE ST                     N BODINE ST                   N 3RD ST
W GEORGE ST                     N AMERICAN ST                 N BODINE ST
W GEORGE ST                     N 2ND ST                      N AMERICAN ST
WALLACE ST                      N WATTS ST                    N BROAD ST
WALLACE ST                      RIDGE AVE                     N WATTS ST
WALLACE ST                      N PARK AVE                    RIDGE AVE
WALLACE ST                      N 13TH ST                     N PARK AVE
WALLACE ST                      N CAMAC ST                    N 13TH ST
WALLACE ST                      N 12TH ST                     N CAMAC ST
WALLACE ST                      N 11TH ST                     N 12TH ST
WALLACE ST                      N WARNOCK ST                  N 11TH ST
WALLACE ST                      N BROAD ST                    N 15TH ST
HYDE ST                         DEAD END SOUTH                E WILDEY ST
SARAH ST                        DEAD END SOUTH                E WILDEY ST
SARAH ST                        RICHMOND ST                   DEAD END NORTH
N LEITHGOW ST                   W GIRARD AVE                  W THOMPSON ST
N LEITHGOW ST                   SAINT JOHN NEUMANN WAY        W GEORGE ST
N LEITHGOW ST                   POPLAR ST                     SAINT JOHN NEUMANN WAY
N LEITHGOW ST                   RENO ST                       PARRISH ST
N LEITHGOW ST                   W GEORGE ST                   CAMBRIDGE ST
N LEITHGOW ST                   CAMBRIDGE ST                  W GIRARD AVE
N LAWRENCE ST                   W THOMPSON ST                 MASTER ST
N LAWRENCE ST                   N ORKNEY ST                   W THOMPSON ST
N LAWRENCE ST                   W GIRARD AVE                  N ORKNEY ST
N RANDOLPH ST                   W GIRARD AVE                  W THOMPSON ST
N RANDOLPH ST                   CAMBRIDGE ST                  W GIRARD AVE
PATRICK HENRY PL                W THOMPSON ST                 W THOMPSON ST
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N RANDOLPH ST                    W THOMPSON ST                 MASTER ST
N HANCOCK ST                     W GIRARD AVE                  W THOMPSON ST
N ORIANNA ST                     W GEORGE ST                   CAMBRIDGE ST
N ORIANNA ST                     RENO ST                       POPLAR ST
N ORIANNA ST                     BROWN ST                      RENO ST
N ORIANNA ST                     W WILDEY ST                   SAINT JOHN NEUMANN WAY
N LAWRENCE ST                    MYRTLE ST                     POPLAR ST
N LAWRENCE ST                    PARRISH ST                    MYRTLE ST
BROWN ST                         N 4TH ST                      N LAWRENCE ST
BROWN ST                         N ORIANNA ST                  N 4TH ST
BROWN ST                         MINTZER ST                    N ORIANNA ST
BROWN ST                         N BODINE ST                   N 3RD ST
BROWN ST                         N AMERICAN ST                 N BODINE ST
BROWN ST                         N 3RD ST                      ODDFELLOWS AVE
BROWN ST                         ODDFELLOWS AVE                MINTZER ST
OLIVE ST                         N ORKNEY ST                   N 5TH ST
CARLTON ST                       N 13TH ST                     N BROAD ST
CARLTON ST                       N 12TH ST                     N 13TH ST
HAMILTON ST                      N 13TH ST                     N BROAD ST
N WATTS ST                       LEMON ST                      WALLACE ST
N WATTS ST                       MOUNT VERNON ST               LEMON ST
NORTH ST                         N 11TH ST                     N 12TH ST
N AMERICAN ST                    VINE ST                       WOOD ST
BREAD ST                         DEAD END SOUTH                NEW ST
N AMERICAN ST                    FILBERT ST                    CUTHBERT ST
IRVING ST                        S JESSUP ST                   QUINCE ST
CHANCELLOR ST                    S 13TH ST                     S JUNIPER ST
RANSTEAD ST                      S 4TH ST                      S INDEPENDENCE MALL E
BANK ST                          MARKET ST                     ELBOW LN
BANK ST                          ELBOW LN                      CHESTNUT ST
N WATER ST                       CALLOWHILL ST                 N FRONT ST
N FRANKLIN ST                    RACE ST                       N 7TH ST
N PERCY ST                       W THOMPSON ST                 MASTER ST
N 10TH ST                        W FLORA ST                    W THOMPSON ST
N HOWARD ST                      W GIRARD AVE                  W THOMPSON ST
HOPE ST                          W GIRARD AVE                  W THOMPSON ST
CAMBRIDGE ST                     N 13TH ST                     N WATTS ST
W HARPER ST                      N 10TH ST                     N 11TH ST
N HANCOCK ST                     N HOWARD ST                   W GIRARD AVE
N LAWRENCE ST                    W GEORGE ST                   CAMBRIDGE ST
N HOWARD ST                      N HANCOCK ST                  O NEIL ST
PARRISH ST                       N 12TH ST                     N CAMAC ST
N 4TH ST                         SAINT JOHN NEUMANN WAY        W GEORGE ST
N LAWRENCE ST                    SAINT JOHN NEUMANN WAY        W GEORGE ST
E ALLEN ST                       SHACKAMAXON ST                MARLBOROUGH ST
N 4TH ST                         W WILDEY ST                   SAINT JOHN NEUMANN WAY
W WILDEY ST                      HOPE ST                       GERMANTOWN AVE
RICHMOND ST                      SARAH ST                      SHACKAMAXON ST
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W ALLEN ST                   HOPE ST                       GERMANTOWN AVE
N 4TH ST                     POPLAR ST                     W WILDEY ST
N AMERICAN ST                N BODINE ST                   W WILDEY ST
GERMANTOWN AVE               POLLARD ST                    POLLARD ST
N 13TH ST                    MELON ST                      FAIRMOUNT AVE
N 4TH ST                     RENO ST                       POPLAR ST
N ORKNEY ST                  RENO ST                       MYRTLE ST
MELON ST                     N 10TH ST                     N WARNOCK ST
N ORKNEY ST                  DEAD END SOUTH                RENO ST
GREEN ST                     N 9TH ST                      N PERCY ST
N 7TH ST                     SPRING GARDEN ST              GREEN ST
BUTTONWOOD ST                N PERCY ST                    N 10TH ST
HAMILTON ST                  N PERCY ST                    N 10TH ST
FILBERT ST                   N 11TH ST                     N 12TH ST
FILBERT ST                   N 10TH ST                     N 11TH ST
RANSTEAD ST                  S 8TH ST                      S 9TH ST
IRVING ST                    S WARNOCK ST                  S 11TH ST
LOCUST ST                    S LEITHGOW ST                 S 5TH ST
SAINT JAMES PL               SAINT JOSEPHS WAY             S 4TH ST
N 13TH ST                    W FLORA ST                    W THOMPSON ST
CANAL ST                     POPLAR ST                     LAUREL ST
N HANCOCK ST                 POPLAR ST                     LAUREL ST
N BODINE ST                  FAIRMOUNT AVE                 BROWN ST
N HANCOCK ST                 GREEN ST                      FAIRMOUNT AVE
FAIRMOUNT AVE                N 4TH ST                      N ORKNEY ST
FAIRMOUNT AVE                N GALLOWAY ST                 N ORIANNA ST
GREEN ST                     N ORIANNA ST                  N 4TH ST
N 3RD ST                     FAIRMOUNT AVE                 BROWN ST
NEW MARKET ST                ELLEN ST                      LAUREL ST
N AMERICAN ST                BROWN ST                      POPLAR ST
N AMERICAN ST                WILLOW ST                     NOBLE ST
N AMERICAN ST                GREEN ST                      FAIRMOUNT AVE
N ORIANNA ST                 SAINT JOHN NEUMANN WAY        W GEORGE ST
GREEN ST                     WALKWAY CONNECTOR             N PERTH ST
GREEN ST                     WALKWAY CONNECTOR             N 7TH ST
N PERTH ST                   SPRING GARDEN ST              GREEN ST
NOBLE ST                     N PERCY ST                    N 10TH ST
N 8TH ST                     WALLACE ST                    FAIRMOUNT AVE
N 8TH ST                     SPRING GARDEN ST              GREEN ST
CLAY ST                      N 12TH ST                     RIDGE AVE
N WATTS ST                   RACE ST                       VINE ST
CHERRY ST                    N ORIANNA ST                  N 4TH ST
VINE ST                      N 2ND ST                      N AMERICAN ST
NEW ST                       N 2ND ST                      BREAD ST
WINTER ST                    N 10TH ST                     N CLIFTON ST
SPRING ST                    N 9TH ST                      N 10TH ST
CHERRY ST                    N 8TH ST                      N 9TH ST
N WATTS ST                   W GIRARD AVE                  W THOMPSON ST
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WALLACE ST                    N 7TH ST                      N 8TH ST
WALLACE ST                    N 4TH ST                      N 5TH ST
WALLACE ST                    N 10TH ST                     N WARNOCK ST
SARAH ST                      N DELAWARE AVE                E ALLEN ST
N LEITHGOW ST                 DEAD END SOUTH                RENO ST
N ORIANNA ST                  POPLAR ST                     W WILDEY ST
N LAWRENCE ST                 RENO ST                       PARRISH ST
N LAWRENCE ST                 BROWN ST                      RENO ST
BROWN ST                      N LAWRENCE ST                 N 5TH ST
N WATER ST                    N FRONT ST                    CALLOWHILL ST
N ORIANNA ST                  W THOMPSON ST                 MASTER ST
MINTZER ST                    DEAD END SOUTH                BROWN ST
FILBERT ST                    N 9TH ST                      N 10TH ST
QUARRY ST                     N FRONT ST                    N 2ND ST
PEARL ST                      N 11TH ST                     N 12TH ST
WOOD ST                       N 11TH ST                     N 12TH ST
CARLTON ST                    N 11TH ST                     N 12TH ST
NOBLE ST                      N 11TH ST                     N 12TH ST
NOBLE ST                      RIDGE AVE                     N 11TH ST
NOBLE ST                      N 10TH ST                     RIDGE AVE
WILLOW ST                     N 8TH ST                      N DARIEN ST
N CLARION ST                  FLORIST ST                    VINE ST
N SARTAIN ST                  SPRING ST                     VINE ST
N MARVINE ST                  SPRING ST                     VINE ST
N CLIFTON ST                  SPRING ST                     WINTER ST
N CLIFTON ST                  DEAD END SOUTH                SPRING ST
FLORIST ST                    N 3RD ST                      N 4TH ST
FLORIST ST                    N 2ND ST                      N 3RD ST
CUTHBERT ST                   N HUTCHINSON ST               N 10TH ST
CUTHBERT ST                   N 9TH ST                      N HUTCHINSON ST
LETITIA ST                    MARKET ST                     BLACK HORSE ALY
LUDLOW ST                     DEAD END EAST                 S 10TH ST
S SCHELL ST                   LATIMER ST                    SPRUCE ST
S DARIEN ST                   LATIMER ST                    SPRUCE ST
WINTER ST                     N 9TH ST                      N 10TH ST
CUTHBERT ST                   DEAD END EAST                 N 11TH ST
CUTHBERT ST                   N JUNIPER ST                  N BROAD ST
LUDLOW ST                     DEAD END EAST                 S 8TH ST
S SARTAIN ST                  LOCUST ST                     MANNING ST
PHILIP PL                     SAINT JAMES PL                LOCUST ST
FAIRMOUNT AVE                 N 8TH ST                      N PERCY ST
EARL ST                       E WILDEY ST                   E GIRARD AVE
SAINT JOHN NEUMANN WAY        N ORIANNA ST                  N 4TH ST
SAINT JOHN NEUMANN WAY        N 4TH ST                      N LEITHGOW ST
SAINT JOHN NEUMANN WAY        N LEITHGOW ST                 N LAWRENCE ST
SAINT JOHN NEUMANN WAY        N LAWRENCE ST                 SAINT JOHN NEUMANN PL
SAINT JOHN NEUMANN WAY        SAINT JOHN NEUMANN PL         POPLAR ST
DOCK ST                       S 2ND ST                      THOMAS PAINE PL
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THOMAS PAINE PL               DOCK ST                       S 3RD ST
DE GRAY ST                    S DELHI ST                    S 10TH ST
BEACH ST                      E BERKS ST                    E SUSQUEHANNA AVE
BEACH ST                      N DELAWARE AVE                E COLUMBIA AVE
E PALMER ST                   E WILDEY ST                   E GIRARD AVE
E PALMER ST                   SALMON ST                     E WILDEY ST
E PALMER ST                   N DELAWARE AVE                SALMON ST
E PALMER ST                   E ALLEN ST                    N DELAWARE AVE
E ALLEN ST                    N DELAWARE AVE                E PALMER ST
E PALMER ST                   BEACH ST                      E ALLEN ST
E COLUMBIA AVE                BEACH ST                      N DELAWARE AVE
E ALLEN ST                    MARLBOROUGH ST                N DELAWARE AVE
LEOPARD ST                    E STILES ST                   W THOMPSON ST
LEOPARD ST                    W GIRARD AVE                  E STILES ST
LEOPARD ST                    W WILDEY ST                   W GIRARD AVE
LEOPARD ST                    RICHMOND ST                   W WILDEY ST
RICHMOND ST                   LEOPARD ST                    FRANKFORD AVE
N PENN ST                     POPLAR ST                     ELLEN ST
N PENN ST                     N DELAWARE AVE                POPLAR ST
OLIVE ST                      N FRONT ST                    DEAD END WEST
NOBLE ST                      N FRONT ST                    N CHRISTOPHER COLUMBUS BLVD
CUTHBERT ST                   N FRONT ST                    MASCHER ST
LETITIA ST                    NEW ST                        VINE ST
VINE ST                       LETITIA ST                    N 2ND ST
OLIVE ST                      DEAD END EAST                 N HANCOCK ST
ODDFELLOWS AVE                BROWN ST                      DEAD END NORTH
SAINT JOHN NEUMANN PL         SAINT JOHN NEUMANN WAY        DEAD END NORTH
N MARSHALL ST                 FAIRMOUNT AVE                 HOFFMAN PL
N MARSHALL ST                 POPLAR ST                     W GIRARD AVE
SAINT JOHN NEUMANN WAY        N 3RD ST                      N ORIANNA ST
BEACH ST                      E PALMER ST                   E BERKS ST
BEACH ST                      E COLUMBIA AVE                E PALMER ST
MARSHALL PL                   CUL DE SAC SOUTH              POPLAR ST
E WILDEY ST                   E PALMER ST                   E EYRE ST
E WILDEY ST                   EARL ST                       E PALMER ST
E WILDEY ST                   EARL ST                       EARL ST
E WILDEY ST                   E COLUMBIA AVE                EARL ST
SALMON ST                     E PALMER ST                   E EYRE ST
EARL ST                       SALMON ST                     E WILDEY ST
E EYRE ST                     SALMON ST                     E WILDEY ST
E COLUMBIA AVE                N DELAWARE AVE                RICHMOND ST
E COLUMBIA AVE                N DELAWARE AVE                N DELAWARE AVE
RICHMOND ST                   MARLBOROUGH ST                E COLUMBIA AVE
MELVALE ST                    SARAH ST                      BRADY ST
SALMON ST                     E COLUMBIA AVE                EARL ST
W THOMPSON ST                 N LEE ST                      N FRONT ST
W THOMPSON ST                 LEOPARD ST                    N LEE ST
W THOMPSON ST                 FRANKFORD AVE                 LEOPARD ST
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W WILDEY ST                    N LEE ST                      N FRONT ST
W WILDEY ST                    LEOPARD ST                    N LEE ST
W WILDEY ST                    DUNTON ST                     LEOPARD ST
W WILDEY ST                    FRANKFORD AVE                 DUNTON ST
E WILDEY ST                    FRANKFORD AVE                 SARAH ST
E WILDEY ST                    SARAH ST                      SHACKAMAXON ST
E WILDEY ST                    SHACKAMAXON ST                DAY ST
E WILDEY ST                    DAY ST                        CREASE ST
E WILDEY ST                    CREASE ST                     MARLBOROUGH ST
E WILDEY ST                    MARLBOROUGH ST                E OXFORD ST
E WILDEY ST                    HYDE ST                       E COLUMBIA AVE
E STILES ST                    N LEE ST                      LEOPARD ST
RICHMOND ST                    N FRONT ST                    LEOPARD ST
FAIRMOUNT AVE                  BEACH ST                      N FRONT ST
FAIRMOUNT AVE                  N DELAWARE AVE                BEACH ST
S LEITHGOW ST                  DEAD END NORTH                LOCUST ST
N PERCY ST                     CALLOWHILL ST                 DEAD END NORTH
RICHMOND ST                    FRANKFORD AVE                 SARAH ST
RICHMOND ST                    SARAH ST                      SARAH ST
SARAH ST                       E ALLEN ST                    MELVALE ST
SARAH ST                       MELVALE ST                    RICHMOND ST
N 7TH ST                       BROWN ST                      POPLAR ST
GREEN ST                       N PERTH ST                    N 8TH ST
GREEN ST                       N 8TH ST                      DEAD END WEST
NOBLE ST                       N 12TH ST                     N BROAD ST
CUTHBERT ST                    DEAD END EAST                 N JUNIPER ST
N JUNIPER ST                   CUTHBERT ST                   ARCH ST
N JUNIPER ST                   JOHN F KENNEDY BLVD           CUTHBERT ST
QUARRY ST                      DEAD END EAST                 N CLIFTON ST
QUARRY ST                      N ALDER ST                    DEAD END WEST
S DELHI ST                     LOCUST ST                     LATIMER ST
S DELHI ST                     LATIMER ST                    IRVING ST
S DELHI ST                     DE GRAY ST                    DEAD END SOUTH
SAINT JOSEPHS WAY              DEAD END                      SAINT JAMES PL
ELBOW LN                       BANK ST                       S BODINE ST
ELBOW LN                       S BODINE ST                   S 3RD ST
DOCK ST                        THOMAS PAINE PL               WALNUT ST
MANNING ST                     S 7TH ST                      S PERTH ST
MANNING ST                     S PERTH ST                    S 8TH ST
BROWN ST                       N 8TH ST                      N 9TH ST
BROWN ST                       N 9TH ST                      N PERCY ST
W THOMPSON ST                  N 8TH ST                      N 9TH ST
W THOMPSON ST                  N 9TH ST                      N PERCY ST
N 9TH ST                       SPRING GARDEN ST              GREEN ST
N 9TH ST                       POPLAR ST                     W GIRARD AVE
N 9TH ST                       BROWN ST                      N PERCY ST
N 9TH ST                       N PERCY ST                    PARRISH ST
N PERCY ST                     FAIRMOUNT AVE                 BROWN ST
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N HUTCHINSON ST               W HARPER ST                   W GIRARD AVE
N HUTCHINSON ST               CHERRY ST                     RACE ST
N HUTCHINSON ST               W FLORA ST                    W THOMPSON ST
N HUTCHINSON ST               CUTHBERT ST                   ARCH ST
N ORIANNA ST                  VINE ST                       WOOD ST
LOCUST ST                     PHILIP PL                     S 3RD ST
CHERRY ST                     LOXLEY CT                     N ORIANNA ST
N PERTH ST                    SPRING GARDEN ST              SPRING GARDEN ST
N AMERICAN ST                 SPRING GARDEN ST              SPRING GARDEN ST
BEACH ST                      SPRING GARDEN ST              SPRING GARDEN ST
N 10TH ST                     SEYBERT MALL                  MASTER ST
N 10TH ST                     W GIRARD AVE                  W FLORA ST
N HUTCHINSON ST               W GIRARD AVE                  W FLORA ST
W WILDEY ST                   N HANCOCK ST                  HOPE ST
N HANCOCK ST                  W WILDEY ST                   HOPE ST
HOFFMAN PL                    BROWN ST                      CUL DE SAC NORTH
PARRISH ST                    N 10TH ST                     N 11TH ST
PARRISH ST                    N 9TH ST                      N 10TH ST
N 9TH ST                      PARRISH ST                    POPLAR ST
CAMBRIDGE ST                  N 10TH ST                     N 11TH ST
CAMBRIDGE ST                  N PERCY ST                    N 10TH ST
N 10TH ST                     CAMBRIDGE ST                  W HARPER ST
BRADY ST                      E ALLEN ST                    MELVALE ST
MELVALE ST                    SARAH ST                      SARAH ST
LATIMER ST                    S DARIEN ST                   S SCHELL ST
S DARIEN ST                   LOCUST ST                     LATIMER ST
POLLARD ST                    N FRONT ST                    GERMANTOWN AVE
GERMANTOWN AVE                POLLARD ST                    NEW MARKET ST
WOOD ST                       N 5TH ST                      N 5TH ST
POPLAR ST                     N FRONT ST                    DEAD END WEST
SAINT JAMES ST                SAINT JAMES CT                S RANDOLPH ST
NOBLE ST                      N DARIEN ST                   N 9TH ST
N DARIEN ST                   WILLOW ST                     NOBLE ST
WILLOW ST                     N DARIEN ST                   N 9TH ST
N CAMAC ST                    OGDEN ST                      POPLAR ST
OGDEN ST                      N 12TH ST                     N CAMAC ST
OGDEN ST                      N CAMAC ST                    OGDEN CT
YORK AVE                      N 4TH ST                      WOOD ST
WOOD ST                       N 4TH ST                      YORK AVE
VINE ST                       N BODINE ST                   N 3RD ST
VINE ST                       N AMERICAN ST                 N BODINE ST
WOOD ST                       N BODINE ST                   N 3RD ST
WOOD ST                       N AMERICAN ST                 N BODINE ST
N 13TH ST                     PARRISH ST                    OGDEN CT
N WATTS ST                    PARRISH ST                    POPLAR ST
N 13TH ST                     BROWN ST                      PARRISH ST
N PARK AVE                    BROWN ST                      PARRISH ST
BROWN ST                      N 13TH ST                     N PARK AVE
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BROWN ST                       N PARK AVE                    N BROAD ST
PARRISH ST                     N 13TH ST                     N PARK AVE
PARRISH ST                     N PARK AVE                    N WATTS ST
SAINT PETERS WAY               SPRUCE ST                     CYPRESS ST
LUDLOW ST                      S CAMAC ST                    S 13TH ST
S CAMAC ST                     LUDLOW ST                     CLOVER ST
CLOVER ST                      S CAMAC ST                    S 13TH ST
CLOVER ST                      S 12TH ST                     S CAMAC ST
LAUREL ST                      IRON PL                       N FRONT ST
LAUREL ST                      CANAL ST                      IRON PL
BROWN ST                       N PERCY ST                    N HUTCHINSON ST
BROWN ST                       N HUTCHINSON ST               N 10TH ST
E BERKS ST                     N DELAWARE AVE                E WILDEY ST
E BERKS ST                     BEACH ST                      N DELAWARE AVE
MANDERSON ST                   N DELAWARE AVE                FRANKFORD AVE
N JESSUP ST                    W STILES ST                   W THOMPSON ST
CANAL ST                       LAUREL ST                     E ALLEN ST
E ALLEN ST                     W ALLEN ST                    CANAL ST
N 13TH ST                      POPLAR ST                     CAMBRIDGE CT
N PERCY ST                     SPRING GARDEN ST              SPRING GARDEN ST
QUINCE ST                      WALNUT ST                     SAINT JAMES ST
NEW ST                         BREAD ST                      N BODINE ST
NEW ST                         N BODINE ST                   N 3RD ST
OGDEN PL                       CUL DE SAC EAST               N 10TH ST
OGDEN ST                       OGDEN PL                      N 11TH ST
RENO PL                        N PERCY ST                    RENO PL
N PERCY ST                     BROWN ST                      RENO PL
N WARNOCK ST                   FAIRMOUNT AVE                 BROWN ST
N PERCY ST                     RENO PL                       N 9TH ST
N WARNOCK ST                   BROWN ST                      CUL DE SAC NORTH
FAIRMOUNT AVE                  N 10TH ST                     N WARNOCK ST
FAIRMOUNT AVE                  N WARNOCK ST                  N 11TH ST
BROWN ST                       N 10TH ST                     N WARNOCK ST
BROWN ST                       N WARNOCK ST                  N 11TH ST
N MARVINE ST                   FAIRMOUNT AVE                 BROWN ST
N MARVINE ST                   BROWN ST                      PARRISH ST
FAIRMOUNT AVE                  N MARVINE ST                  N 12TH ST
FAIRMOUNT AVE                  N 11TH ST                     N MARVINE ST
BROWN ST                       N 11TH ST                     N MARVINE ST
BROWN ST                       N MARVINE ST                  N 12TH ST
PARRISH ST                     N 11TH ST                     N MARVINE ST
PARRISH ST                     N MARVINE ST                  N 12TH ST
N CAMAC ST                     MOUNT VERNON ST               WALLACE ST
HOPE ST                        LAUREL ST                     POLLARD ST
LAUREL ST                      N FRONT ST                    HOPE ST
LAUREL ST                      HOPE ST                       NEW MARKET ST
POLLARD ST                     GERMANTOWN AVE                HOPE ST
POLLARD ST                     HOPE ST                       NEW MARKET ST
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N MARVINE ST                 POPLAR ST                     W HARPER ST
W HARPER ST                  N 11TH ST                     N MARVINE ST
W HARPER ST                  N MARVINE ST                  N 12TH ST
N PERCY ST                   W GEORGE ST                   CAMBRIDGE ST
N PERCY ST                   POPLAR ST                     W GEORGE ST
N PERCY ST                   CAMBRIDGE ST                  W HARPER ST
N 10TH ST                    POPLAR ST                     W GEORGE ST
N 10TH ST                    W GEORGE ST                   CAMBRIDGE ST
W GEORGE ST                  N PERCY ST                    N 10TH ST
S HANCOCK ST                 SANSOM ST                     WALNUT ST
WALKWAY CONNECTOR            GREEN ST                      WENDLE CT
WALKWAY CONNECTOR            N 7TH ST                      MARSHALL CT
WALKWAY CONNECTOR            N 7TH ST                      FRANKLIN PL
WALKWAY CONNECTOR            WALLACE ST                    PERTH PL
GREEN ST                     DEAD END EAST                 N 9TH ST
E COLUMBIA AVE               RICHMOND ST                   SALMON ST
E COLUMBIA AVE               SALMON ST                     E WILDEY ST
RENO PL                      CUL DE SAC WEST               RENO PL
NECTARINE ST                 N 9TH ST                      DEAD END
E COLUMBIA AVE               E WILDEY ST                   E GEORGE ST
E COLUMBIA AVE               E GEORGE ST                   E GIRARD AVE
N HANCOCK ST                 LAUREL ST                     POLLARD ST
WALKWAY CONNECTOR            PERTH PL                      GREEN ST
WALKWAY CONNECTOR            N 7TH ST                      FRANKLIN PL
WILLINGS ALY                 S 3RD ST                      WILLINGS ALLEY MEWS
WILLINGS ALY                 WILLINGS ALLEY MEWS           S 4TH ST
HOPE ST                      SPRING GARDEN ST              BRISTOW PL
HOPE ST                      BRISTOW PL                    FAIRMOUNT AVE
SAINT JAMES ST               S 7TH ST                      S PERTH ST
SAINT JAMES ST               S PERTH ST                    S 8TH ST
S PERTH ST                   SAINT JAMES ST                DEAD END SOUTH
N WATER ST                   SUMMER ST                     N FRONT ST
SHAMOKIN ST                  RIDGE AVE                     N 11TH ST
N 7TH ST                     WALLACE ST                    MELON PL
N 7TH ST                     MELON PL                      FAIRMOUNT AVE
E OXFORD ST                  E GIRARD AVE                  E CABOT ST
E OXFORD ST                  E CABOT ST                    E THOMPSON ST
MARLBOROUGH ST               E GIRARD AVE                  E CABOT ST
MARLBOROUGH ST               E CABOT ST                    E THOMPSON ST
NEW MARKET ST                DEAD END SOUTH                POPLAR ST
POLLARD ST                   NEW MARKET ST                 N HANCOCK ST
ELFRETHS ALY                 N FRONT ST                    BLADENS CT
ELFRETHS ALY                 BLADENS CT                    N 2ND ST
N HANCOCK ST                 HOPE ST                       CHENANGO ST
N HANCOCK ST                 CHENANGO ST                   N HOWARD ST
SAINT JOSEPHS WAY            SAINT JAMES PL                BELLS CT
SAINT JOSEPHS WAY            BELLS CT                      SAINT PETERS WAY
MOUNT VERNON ST              N PERCY ST                    N 10TH ST
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WALLACE ST                    N PERCY ST                    N 10TH ST
CUTHBERT ST                   N 2ND ST                      LITTLE BOYS CT
CUTHBERT ST                   LITTLE BOYS CT                N AMERICAN ST
WOOD ST                       SAINT CHARLES PL              N ORIANNA ST
WOOD ST                       N 3RD ST                      SAINT CHARLES PL
VINE ST                       SAINT CHARLES PL              N ORIANNA ST
VINE ST                       N 3RD ST                      SAINT CHARLES PL
N GALLOWAY ST                 POTTS PL                      FAIRMOUNT AVE
N GALLOWAY ST                 GREEN ST                      POTTS PL
LUDLOW ST                     S 10TH ST                     S CLIFTON ST
LUDLOW ST                     S CLIFTON ST                  S 11TH ST
LUDLOW ST                     S 11TH ST                     S 12TH ST
E WYOMING AVE                 E WYOMING AVE                 CASTOR AVE
BRYN MAWR AVE                 LEBANON AVE                   GAINOR RD
GEORGES LN                    DIAMOND ST                    GAINOR RD
UPLAND WAY                    N 56TH ST                     N 57TH ST
W COLUMBIA AVE                N PEACH ST                    GEORGES LN
N 59TH ST                     LEBANON AVE                   MALVERN AVE
LEBANON AVE                   N HOBART ST                   MELVIN ST
LEBANON AVE                   MELVIN ST                     UPLAND WAY
MELVIN ST                     MALVERN AVE                   WOODCREST AVE
N WANAMAKER ST                MALVERN AVE                   WOODCREST AVE
N 58TH ST                     WYNDALE AVE                   WOODCREST AVE
N 50TH ST                     WOODCREST AVE                 WYNNEFIELD AVE
N 56TH ST                     WYNNEFIELD AVE                OVERBROOK AVE
WOODBINE AVE                  UPLAND WAY                    N 62ND ST
N 50TH ST                     N SAINT BERNARD ST            CITY AVE
BRYN MAWR AVE                 PARKSIDE AVE                  LEBANON AVE
N 58TH ST                     LEBANON AVE                   MALVERN AVE
N 56TH ST                     GAINOR RD                     WYNDALE AVE
PARKSIDE DR                   N GEORGES HILL DR             PARKSIDE AVE
N GEORGES HILL DR             BELMONT AVE                   PARKSIDE DR
BELMONT AVE                   BELMONT MANSION DR            PARKSIDE AVE
GAINOR RD                     N 54TH ST                     N 56TH ST
GAINOR RD                     N 56TH ST                     N 57TH ST
N 50TH ST                     OVERBROOK AVE                 N SAINT BERNARD ST
STOUT RD                      MONUMENT RD                   CITY AVE
BELMONT MANSION DR            BELMONT AVE                   BELMONT DR
GOLF RD                       OVERBROOK AVE                 CITY AVE
DREXEL RD                     N 52ND ST                     N 53RD ST
GAINOR RD                     BRYN MAWR AVE                 N 51ST ST
GAINOR RD                     N 51ST ST                     N 52ND ST
GAINOR RD                     N 53RD ST                     GEORGES LN
GAINOR RD                     GEORGES LN                    N 54TH ST
DREXEL RD                     N 58TH ST                     N 59TH ST
DREXEL RD                     N 59TH ST                     UPLAND WAY
CHURCH RD                     LANCASTER AVE                 N 64TH ST
SHERWOOD RD                   N 63RD ST                     LANCASTER AVE
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CHURCH RD                       N 64TH ST                     CITY AVE
SHERWOOD RD                     LANCASTER AVE                 N 64TH ST
DREXEL RD                       LANCASTER AVE                 N 64TH ST
REXFORD RD                      N 52ND ST                     REXFORD RD
PARMA RD                        LENAPE RD                     CONSHOHOCKEN AVE
SORENTO RD                      LENAPE RD                     CONSHOHOCKEN AVE
SHERWOOD RD                     N 46TH ST                     N 47TH ST
SHERWOOD RD                     N 45TH ST                     N 46TH ST
SHERWOOD RD                     BELMONT AVE                   N 45TH ST
PARKWYN RD                      WOODCREST AVE                 WYNNEFIELD AVE
PARKWYN RD                      WYNDALE AVE                   WOODCREST AVE
DREXEL RD                       UPLAND WAY                    CITY AVE
DREXEL RD                       N 57TH ST                     N 58TH ST
LENAPE RD                       PARMA RD                      CONSHOHOCKEN AVE
N 47TH ST                       SHERWOOD RD                   CITY AVE
N 52ND ST                       CHURCH RD                     CITY AVE
N 50TH ST                       WOODBINE AVE                  OVERBROOK AVE
N 52ND ST                       REXFORD RD                    CHURCH RD
N 51ST ST                       OVERBROOK AVE                 CITY AVE
N 52ND ST                       OVERBROOK AVE                 REXFORD RD
N 52ND ST                       DREXEL RD                     OVERBROOK AVE
N 51ST ST                       WOODBINE AVE                  OVERBROOK AVE
N 53RD ST                       DREXEL RD                     OVERBROOK AVE
N 52ND ST                       WOODBINE AVE                  DREXEL RD
N 53RD ST                       WOODBINE AVE                  DREXEL RD
W DAKOTA ST                     N 51ST ST                     W DAUPHIN ST
N 51ST ST                       W NEVADA ST                   W DAKOTA ST
W NEVADA ST                     N 51ST ST                     W DAKOTA ST
W DAUPHIN ST                    W DAKOTA ST                   N 52ND ST
N 52ND ST                       W DAUPHIN ST                  WOODBINE AVE
N 49TH ST                       MONUMENT RD                   DEAD END NORTH
N 52ND ST                       WYNNEFIELD AVE                W DAUPHIN ST
N 51ST ST                       WYNNEFIELD AVE                W NEVADA ST
N 57TH ST                       WOODBINE AVE                  DREXEL RD
N 51ST ST                       GAINOR RD                     WYNNEFIELD AVE
N 59TH ST                       OVERBROOK AVE                 RAYNHAM RD
N 52ND ST                       GAINOR RD                     WYNNEFIELD AVE
N 53RD ST                       GAINOR RD                     WYNNEFIELD AVE
DIAMOND ST                      LEBANON AVE                   N 52ND ST
N 52ND ST                       DIAMOND ST                    DIAMOND ST
N 59TH ST                       DREXEL RD                     OVERBROOK AVE
DIAMOND ST                      N 52ND ST                     N 53RD ST
DIAMOND ST                      N 53RD ST                     GEORGES LN
N 58TH ST                       WOODCREST AVE                 WOODCREST AVE
DIAMOND ST                      GEORGES LN                    N 54TH ST
N 59TH ST                       WOODBINE AVE                  DREXEL RD
DIAMOND ST                      N 54TH ST                     N 56TH ST
DIAMOND ST                      N 56TH ST                     N 57TH ST
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W BERKS ST                     N 52ND ST                     N 53RD ST
N 64TH ST                      CHURCH RD                     CITY AVE
W BERKS ST                     N 53RD ST                     GEORGES LN
N 52ND ST                      EUCLID ST                     W BERKS ST
ARLINGTON ST                   N 54TH ST                     N 56TH ST
N 64TH ST                      OVERBROOK AVE                 CHURCH RD
GRAHAM ST                      MALVERN AVE                   WOODCREST AVE
ARLINGTON ST                   N 56TH ST                     N 57TH ST
N 58TH ST                      N 57TH ST                     LEBANON AVE
MELVIN ST                      LEBANON AVE                   MALVERN AVE
N SALFORD ST                   UPLAND WAY                    WOODCREST AVE
W BERKS ST                     N 54TH ST                     N 56TH ST
GEORGES LN                     MORSE ST                      MORSE ST
N 53RD ST                      W MONTGOMERY AVE              MORSE ST
W BERKS ST                     N 56TH ST                     N WANAMAKER ST
MORSE ST                       N 54TH ST                     N 56TH ST
AVENUE OF THE REPUBLIC         AVENUE OF THE REPUBLIC        STATES DR
AVENUE OF THE REPUBLIC         AVENUE OF THE REPUBLIC        AVENUE OF THE REPUBLIC
AVENUE OF THE REPUBLIC         S CONCOURSE DR                AVENUE OF THE REPUBLIC
N 53RD ST                      WYNNEFIELD AVE                WOODBINE AVE
TURNER ST                      W COLUMBIA AVE                N 54TH ST
N 59TH ST                      WOODCREST AVE                 WOODBINE AVE
N 57TH ST                      DIAMOND ST                    GAINOR RD
N 57TH ST                      MALVERN AVE                   WYNDALE AVE
N 58TH ST                      MALVERN AVE                   WYNDALE AVE
N 56TH ST                      DIAMOND ST                    GAINOR RD
N 56TH ST                      LEBANON AVE                   DIAMOND ST
N 57TH ST                      LEBANON AVE                   DIAMOND ST
N 56TH ST                      ARLINGTON ST                  LEBANON AVE
N 57TH ST                      N 58TH ST                     LEBANON AVE
N 56TH ST                      W BERKS ST                    ARLINGTON ST
N 56TH ST                      EUCLID ST                     W BERKS ST
N 56TH ST                      MORSE ST                      EUCLID ST
N 53RD ST                      W BERKS ST                    ARLINGTON ST
N 53RD ST                      ARLINGTON ST                  LEBANON AVE
N 52ND ST                      W BERKS ST                    ARLINGTON ST
N 52ND ST                      ARLINGTON ST                  LEBANON AVE
N 53RD ST                      DIAMOND ST                    GAINOR RD
N 52ND ST                      DIAMOND ST                    GAINOR RD
N 52ND ST                      LEBANON AVE                   DIAMOND ST
N 53RD ST                      LEBANON AVE                   DIAMOND ST
N 57TH ST                      WYNNEFIELD AVE                OVERBROOK AVE
N 56TH ST                      WOODBINE AVE                  WYNNEFIELD AVE
N 57TH ST                      DREXEL RD                     N 57TH ST
N 56TH ST                      WOODCREST AVE                 WOODBINE AVE
N 57TH ST                      WYNDALE AVE                   WOODCREST AVE
N 56TH ST                      WYNDALE AVE                   WOODCREST AVE
N 58TH ST                      WOODBINE AVE                  DREXEL RD
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N 45TH ST                       CONSHOHOCKEN AVE              SHERWOOD RD
N 46TH ST                       CONSHOHOCKEN AVE              SHERWOOD RD
N 47TH ST                       CONSHOHOCKEN AVE              SHERWOOD RD
N 46TH ST                       SHERWOOD RD                   OVERBROOK AVE
N 56TH ST                       UPLAND WAY                    MORSE ST
N RUBY ST                       W COLUMBIA AVE                HAZELHURST ST
HAZELHURST ST                   GEORGES LN                    N RUBY ST
N PEACH ST                      W COLUMBIA AVE                W MONTGOMERY AVE
N REDFIELD ST                   UPLAND WAY                    MALVERN AVE
N 57TH ST                       N 59TH ST                     N 58TH ST
N 59TH ST                       MALVERN AVE                   WOODCREST AVE
N HOBART ST                     MALVERN AVE                   WOODCREST AVE
N 50TH ST                       WYNDALE AVE                   WOODCREST AVE
N HOBART ST                     LEBANON AVE                   MALVERN AVE
N WANAMAKER ST                  LEBANON AVE                   MALVERN AVE
N 57TH ST                       N 57TH ST                     WOODBINE AVE
N 50TH ST                       WYNNEFIELD AVE                DEAD END NORTH
GEORGES LN                      GAINOR RD                     WYNNEFIELD AVE
GEORGES LN                      ARLINGTON ST                  LEBANON AVE
GEORGES LN                      W BERKS ST                    ARLINGTON ST
GEORGES LN                      EUCLID ST                     W BERKS ST
GEORGES LN                      LEBANON AVE                   DIAMOND ST
BELMONT DR                      BELMONT MANSION DR            PARKSIDE AVE
N GEORGES HILL DR               PARKSIDE DR                   WYNNEFIELD AVE
N GEORGES HILL DR               WYNNEFIELD AVE                S GEORGES HILL DR
OVERBROOK AVE                   N 50TH ST                     BRYN MAWR AVE
BRYN MAWR AVE                   OVERBROOK AVE                 CITY AVE
OVERBROOK AVE                   BRYN MAWR AVE                 N 51ST ST
OVERBROOK AVE                   N 51ST ST                     N 52ND ST
WOODBINE AVE                    N 50TH ST                     BRYN MAWR AVE
BRYN MAWR AVE                   WOODBINE AVE                  OVERBROOK AVE
OVERBROOK AVE                   N 52ND ST                     N 53RD ST
OVERBROOK AVE                   N 53RD ST                     N 54TH ST
WOODBINE AVE                    BRYN MAWR AVE                 N 51ST ST
OVERBROOK AVE                   N 54TH ST                     N 56TH ST
WOODBINE AVE                    N 51ST ST                     N 52ND ST
WOODBINE AVE                    N 52ND ST                     N 53RD ST
PARKSIDE AVE                    EDGLEY AVE                    N 49TH ST
WOODBINE AVE                    N 53RD ST                     N 54TH ST
CARDINAL AVE                    OVERBROOK AVE                 CITY AVE
WYNNEFIELD AVE                  N 57TH ST                     OVERBROOK AVE
WYNNEFIELD AVE                  N 56TH ST                     N 57TH ST
WOODBINE AVE                    N 54TH ST                     WYNNEFIELD AVE
WYNNEFIELD AVE                  WOODBINE AVE                  N 56TH ST
PARKSIDE AVE                    N 49TH ST                     BELMONT DR
WYNNEFIELD AVE                  N 54TH ST                     WOODBINE AVE
OVERBROOK AVE                   WYNNEFIELD AVE                N 58TH ST
MONUMENT RD                     N 49TH ST                     WYNNEFIELD AVE
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WOODBINE AVE                 WYNNEFIELD AVE                N 56TH ST
WOODCREST AVE                PARKWYN RD                    N 50TH ST
WOODBINE AVE                 N 56TH ST                     N 57TH ST
PARKSIDE AVE                 BELMONT DR                    WYNNEFIELD AVE
WOODCREST AVE                N 54TH ST                     N 56TH ST
OVERBROOK AVE                N 58TH ST                     N 59TH ST
BRYN MAWR AVE                GAINOR RD                     WYNNEFIELD AVE
WOODCREST AVE                N 56TH ST                     N 57TH ST
LEBANON AVE                  BRYN MAWR AVE                 DIAMOND ST
WYNDALE AVE                  N 54TH ST                     N 56TH ST
OVERBROOK AVE                N 59TH ST                     UPLAND WAY
OVERBROOK AVE                UPLAND WAY                    CITY AVE
WYNDALE AVE                  N 56TH ST                     N 57TH ST
WOODCREST AVE                N 57TH ST                     N 58TH ST
WOODCREST AVE                N 58TH ST                     N WANAMAKER ST
WYNDALE AVE                  N 57TH ST                     N 58TH ST
LEBANON AVE                  N 52ND ST                     N 53RD ST
WOODBINE AVE                 N 58TH ST                     N 59TH ST
WOODCREST AVE                N WANAMAKER ST                N HOBART ST
MALVERN AVE                  GAINOR RD                     N 58TH ST
WOODCREST AVE                N HOBART ST                   MELVIN ST
LEBANON AVE                  GEORGES LN                    N 54TH ST
WOODCREST AVE                MELVIN ST                     N 59TH ST
OVERBROOK AVE                N 63RD ST                     LANCASTER AVE
LEBANON AVE                  N 54TH ST                     N 56TH ST
WOODBINE AVE                 N 59TH ST                     UPLAND WAY
LEBANON AVE                  N 56TH ST                     N 57TH ST
LEBANON AVE                  N 57TH ST                     N 58TH ST
EUCLID ST                    N 52ND ST                     N 53RD ST
MALVERN AVE                  N 59TH ST                     N REDFIELD ST
EUCLID ST                    N 53RD ST                     GEORGES LN
OVERBROOK AVE                LANCASTER AVE                 N 64TH ST
WOODBINE AVE                 N 62ND ST                     N 63RD ST
OVERBROOK AVE                N 64TH ST                     N 66TH ST
WOODBINE AVE                 N 63RD ST                     LANCASTER AVE
WOODBINE AVE                 LANCASTER AVE                 WYNNEWOOD RD
EUCLID ST                    N 54TH ST                     N 56TH ST
WOODBINE AVE                 WYNNEWOOD RD                  N 64TH ST
W MONTGOMERY AVE             N 54TH ST                     UPLAND WAY
PARKSIDE AVE                 N 53RD ST                     BRYN MAWR AVE
W COLUMBIA AVE               N RUBY ST                     N 54TH ST
PARKSIDE AVE                 WYNNEFIELD AVE                MONUMENT RD
PARKSIDE AVE                 MONUMENT RD                   PARKSIDE DR
PARKSIDE AVE                 PARKSIDE DR                   BRYN MAWR AVE
WYNNEFIELD AVE               N GEORGES HILL DR             PARKSIDE AVE
W COLUMBIA AVE               W OXFORD ST                   TURNER ST
W COLUMBIA AVE               TURNER ST                     N RUBY ST
WOODCREST AVE                GRAHAM ST                     N SALFORD ST
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MALVERN AVE                   GRAHAM ST                     UPLAND WAY
WOODCREST AVE                 N SALFORD ST                  UPLAND WAY
MALVERN AVE                   N REDFIELD ST                 GRAHAM ST
LEBANON AVE                   N WANAMAKER ST                N HOBART ST
LEBANON AVE                   N 58TH ST                     N WANAMAKER ST
W MONTGOMERY AVE              N PEACH ST                    GEORGES LN
W MONTGOMERY AVE              N 53RD ST                     N PEACH ST
LEBANON AVE                   DIAMOND ST                    N 52ND ST
OVERBROOK AVE                 N 56TH ST                     N 57TH ST
MALVERN AVE                   MELVIN ST                     N 59TH ST
WOODCREST AVE                 N 59TH ST                     GRAHAM ST
BRYN MAWR AVE                 W NEVADA ST                   WOODBINE AVE
UPLAND WAY                    DREXEL RD                     OVERBROOK AVE
UPLAND WAY                    WOODBINE AVE                  DREXEL RD
UPLAND WAY                    WOODCREST AVE                 WOODBINE AVE
UPLAND WAY                    MALVERN AVE                   N SALFORD ST
UPLAND WAY                    N REDFIELD ST                 MALVERN AVE
UPLAND WAY                    LEBANON AVE                   N REDFIELD ST
UPLAND WAY                    N 59TH ST                     N HOBART ST
UPLAND WAY                    W MONTGOMERY AVE              N 56TH ST
UPLAND WAY                    N SALFORD ST                  WOODCREST AVE
PRESIDENTIAL BLVD             DEAD END NORTH                NEILL DR
N 57TH ST                     N 57TH ST                     WOODBINE AVE
N 58TH ST                     DREXEL RD                     OVERBROOK AVE
N 57TH ST                     N 57TH ST                     N 57TH ST
N 57TH ST                     N 57TH ST                     WYNNEFIELD AVE
GEORGES LN                    HAZELHURST ST                 W MONTGOMERY AVE
GEORGES LN                    W COLUMBIA AVE                HAZELHURST ST
HAZELHURST ST                 N RUBY ST                     N 54TH ST
MORSE ST                      GEORGES LN                    N 54TH ST
W MONTGOMERY AVE              GEORGES LN                    N 54TH ST
GEORGES LN                    W MONTGOMERY AVE              MORSE ST
GEORGES LN                    MORSE ST                      EUCLID ST
N 53RD ST                     MORSE ST                      EUCLID ST
N 58TH ST                     WOODCREST AVE                 WOODBINE AVE
N 57TH ST                     WOODCREST AVE                 N 57TH ST
N 57TH ST                     N 57TH ST                     N 57TH ST
N HOBART ST                   UPLAND WAY                    LEBANON AVE
N WANAMAKER ST                N 57TH ST                     LEBANON AVE
LEBANON AVE                   N 53RD ST                     GEORGES LN
MALVERN AVE                   N WANAMAKER ST                N HOBART ST
MALVERN AVE                   N 58TH ST                     N WANAMAKER ST
MALVERN AVE                   N HOBART ST                   MELVIN ST
WOODBINE AVE                  N 57TH ST                     N 57TH ST
WOODBINE AVE                  N 57TH ST                     N 58TH ST
OVERBROOK AVE                 BELMONT AVE                   N 46TH ST
CHURCH RD                     N 52ND ST                     N 53RD ST
W MONTGOMERY AVE              N 52ND ST                     N 53RD ST
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AVENUE OF THE REPUBLIC         AVENUE OF THE REPUBLIC        STATES DR
ARLINGTON ST                   GEORGES LN                    N 54TH ST
W BERKS ST                     GEORGES LN                    N 54TH ST
ARLINGTON ST                   N 53RD ST                     GEORGES LN
N 53RD ST                      EUCLID ST                     W BERKS ST
ARLINGTON ST                   N 52ND ST                     N 53RD ST
N 51ST ST                      W DAKOTA ST                   WOODBINE AVE
N 49TH ST                      PARKSIDE AVE                  MONUMENT RD
MONUMENT RD                    WYNNEFIELD AVE                PARKSIDE AVE
UPLAND WAY                     N HOBART ST                   LEBANON AVE
MORSE ST                       N 53RD ST                     GEORGES LN
REXFORD RD                     REXFORD RD                    REXFORD RD
WYNDALE AVE                    PARKWYN RD                    N 50TH ST
N 52ND ST                      W MONTGOMERY AVE              EUCLID ST
AVENUE OF THE REPUBLIC         S CONCOURSE DR                N 52ND ST
N 53RD ST                      CHURCH RD                     CITY AVE
REXFORD RD                     REXFORD RD                    REXFORD RD
GAINOR RD                      N 52ND ST                     N 53RD ST
N 59TH ST                      WOODCREST AVE                 WOODCREST AVE
N 31ST ST                      W ARIZONA ST                  W ARIZONA ST
W SEDGLEY AVE                  N MARSTON ST                  N 28TH ST
W SOMERSET ST                  N NEWKIRK ST                  N NEWKIRK ST
W CLEARFIELD ST                JUDSON ST                     JUDSON ST
W NEVADA ST                    DEAD END EAST                 BRYN MAWR AVE
BRYN MAWR AVE                  WYNNEFIELD AVE                W NEVADA ST
HAYES MANOR                    BELMONT AVE                   DEAD END
WOODBINE AVE                   N 50TH ST                     N SAINT BERNARD ST
N STATES DR                    S GEORGES HILL DR             STATES DR
STATES DR                      BELMONT AVE                   N STATES DR
STATES DR                      N STATES DR                   AVENUE OF THE REPUBLIC
S GEORGES HILL DR              BELMONT AVE                   N STATES DR
S GEORGES HILL DR              N STATES DR                   N GEORGES HILL DR
N GEORGES HILL DR              S GEORGES HILL DR             AVENUE OF THE REPUBLIC
CHAMOUNIX DR                   S CHAMOUNIX DR                CHAMOUNIX DR
CHAMOUNIX DR                   CHAMOUNIX DR                  BELMONT MANSION DR
N 35TH ST                      W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST                N 35TH ST                     RIDGE AVE
N SHEDWICK ST                  W CLEARFIELD ST               W LIPPINCOTT ST
W CLEARFIELD ST                N 34TH ST                     N SHEDWICK ST
N SPANGLER ST                  W CLEARFIELD ST               W ALLEGHENY AVE
N 35TH ST                      W COMMISSIONER ST             W CLEARFIELD ST
N 33RD ST                      W CLEARFIELD ST               W LIPPINCOTT ST
N SHEDWICK ST                  W COMMISSIONER ST             W CLEARFIELD ST
N 34TH ST                      W COMMISSIONER ST             W CLEARFIELD ST
W COMMISSIONER ST              N 34TH ST                     N SHEDWICK ST
W CLEARFIELD ST                N 32ND ST                     N 33RD ST
N SHEDWICK ST                  W INDIANA AVE                 W COMMISSIONER ST
N 21ST ST                      W LIPPINCOTT ST               W ALLEGHENY AVE
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N 34TH ST                     W INDIANA AVE                 W COMMISSIONER ST
W INDIANA AVE                 N 34TH ST                     N SHEDWICK ST
W INDIANA AVE                 W HUNTING PARK AVE            N 34TH ST
N 33RD ST                     W HAROLD ST                   W LEHIGH AVE
N 33RD ST                     W HUNTINGDON ST               W HAROLD ST
W HUNTINGDON ST               N DOUGLAS ST                  N 33RD ST
N 34TH ST                     W SERGEANT ST                 W HUNTINGDON ST
N 33RD ST                     W SERGEANT ST                 W HUNTINGDON ST
W SERGEANT ST                 N DOUGLAS ST                  N 33RD ST
N SPANGLER ST                 W FIRTH ST                    W SERGEANT ST
W HUNTINGDON DR               RIDGE AVE                     STRAWBERRY MANSION DR
N 33RD ST                     W CUMBERLAND ST               W SERGEANT ST
N DOUGLAS ST                  W CUMBERLAND ST               W SERGEANT ST
W OAKDALE ST                  N 15TH ST                     N 16TH ST
N 33RD ST                     W HAGERT ST                   W CUMBERLAND ST
W TUCKER ST                   N 15TH ST                     N 16TH ST
W HUNTINGDON ST               N MOLE ST                     N 16TH ST
N DOUGLAS ST                  W YORK ST                     W CUMBERLAND ST
N 15TH ST                     W HUNTINGDON ST               W TUCKER ST
W HUNTINGDON ST               N 15TH ST                     N SYDENHAM ST
W YORK ST                     N NATRONA ST                  N DOUGLAS ST
N NATRONA ST                  W YORK ST                     W CUMBERLAND ST
W YORK ST                     N NATRONA ST                  N NATRONA ST
W HUNTINGDON ST               N CARLISLE ST                 N 15TH ST
N 15TH ST                     W HAZZARD ST                  W HUNTINGDON ST
N 16TH ST                     W SERGEANT ST                 W HUNTINGDON ST
W ARIZONA ST                  N 32ND ST                     N NATRONA ST
N 33RD ST                     RIDGE AVE                     W YORK ST
BELMONT MANSION DR            S CHAMOUNIX DR                BELMONT AVE
N NATRONA ST                  W DAKOTA ST                   W GORDON ST
W FIRTH ST                    N 15TH ST                     N SYDENHAM ST
N NATRONA ST                  RIDGE AVE                     W DAKOTA ST
W CUMBERLAND ST               N BANCROFT ST                 N CHADWICK ST
W DAUPHIN DR                  GREENLAND DR                  RESERVOIR DR
N 16TH ST                     W CUMBERLAND ST               W SERGEANT ST
W CUMBERLAND ST               N SYDENHAM ST                 N 16TH ST
N 26TH ST                     W ARIZONA ST                  W YORK ST
N CARLISLE ST                 W CUMBERLAND ST               W HUNTINGDON ST
N 32ND ST                     W DAUPHIN ST                  W DAKOTA ST
N 26TH ST                     W GORDON ST                   W ARIZONA ST
N 15TH ST                     W HAGERT ST                   W LETTERLY ST
N 26TH ST                     W DAKOTA ST                   W GORDON ST
N 25TH ST                     W DAKOTA ST                   W GORDON ST
W DAKOTA ST                   N 25TH ST                     N 26TH ST
N 15TH ST                     W BOSTON ST                   W HAGERT ST
N 26TH ST                     W DAUPHIN ST                  W DAKOTA ST
W YORK ST                     N SMEDLEY ST                  N CHADWICK ST
N 25TH ST                     W DAUPHIN ST                  W DAKOTA ST
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W YORK ST                     N BANCROFT ST                 N SMEDLEY ST
W YORK ST                     N 16TH ST                     N BANCROFT ST
W YORK ST                     N SYDENHAM ST                 N MOLE ST
N 15TH ST                     W YORK ST                     W BOSTON ST
N 25TH ST                     W SEDGLEY AVE                 W DAUPHIN ST
W GLENWOOD AVE                N CROSKEY ST                  W DAUPHIN ST
W SUSQUEHANNA AVE             N NATRONA ST                  N NATRONA ST
N CROSKEY ST                  W DAUPHIN ST                  W GLENWOOD AVE
N 32ND ST                     W SUSQUEHANNA AVE             RIDGE AVE
W FLETCHER ST                 N 26TH ST                     N 27TH ST
W FLETCHER ST                 W SEDGLEY AVE                 N 26TH ST
N 32ND ST                     FRENCH ST                     W SUSQUEHANNA AVE
RESERVOIR DR                  DIAMOND ST                    W DAUPHIN DR
N 26TH ST                     W SEDGLEY AVE                 W FLETCHER ST
RESERVOIR DR                  EDGLEY DR                     DIAMOND ST
N 32ND ST                     WESTMONT ST                   FRENCH ST
W SUSQUEHANNA AVE             W SEDGLEY AVE                 N 27TH ST
FONTAIN ST                    N 31ST ST                     N 32ND ST
N 32ND ST                     PAGE ST                       FONTAIN ST
EDGLEY ST                     N 22ND ST                     N 23RD ST
PAGE ST                       N 31ST ST                     N 32ND ST
BELMONT AVE                   WYNNEFIELD AVE                N GEORGES HILL DR
WYNNEFIELD AVE                BELMONT AVE                   N GEORGES HILL DR
N 32ND ST                     W NORRIS ST                   PAGE ST
W NORRIS ST                   N PATTON ST                   N 32ND ST
N 32ND ST                     ARLINGTON ST                  W NORRIS ST
N 23RD ST                     FONTAIN ST                    DIAMOND ST
N CROSKEY ST                  FONTAIN ST                    DIAMOND ST
RESERVOIR DR                  FOUNTAIN GREEN DR             MOUNT PLEASANT DR
N 32ND ST                     MONUMENT ST                   ARLINGTON ST
N 23RD ST                     PAGE ST                       FONTAIN ST
N CROSKEY ST                  PAGE ST                       FONTAIN ST
N 20TH ST                     FONTAIN ST                    DIAMOND ST
W NORRIS ST                   N RINGGOLD ST                 N 25TH ST
N 19TH ST                     FONTAIN ST                    DIAMOND ST
W NORRIS ST                   N 24TH ST                     N RINGGOLD ST
W NORRIS ST                   JUDSON ST                     N 24TH ST
N 18TH ST                     FONTAIN ST                    DIAMOND ST
N 32ND ST                     W BERKS ST                    MONUMENT ST
W BERKS ST                    N 32ND ST                     N NATRONA ST
N 23RD ST                     W NORRIS ST                   PAGE ST
W NORRIS ST                   N 23RD ST                     JUDSON ST
W BERKS ST                    N PATTON ST                   N 32ND ST
W NORRIS ST                   N HEMBERGER ST                N 23RD ST
N CROSKEY ST                  W NORRIS ST                   PAGE ST
W NORRIS ST                   N CROSKEY ST                  N HEMBERGER ST
N 20TH ST                     PAGE ST                       FONTAIN ST
N 17TH ST                     FONTAIN ST                    DIAMOND ST
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W NORRIS ST                   N 22ND ST                     N CROSKEY ST
N VAN PELT ST                 W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N VAN PELT ST                 N 22ND ST
N 19TH ST                     PAGE ST                       FONTAIN ST
PAGE ST                       N 19TH ST                     N 20TH ST
BELMONT AVE                   MONTGOMERY DR                 WYNNEFIELD AVE
N 16TH ST                     FONTAIN ST                    DIAMOND ST
N 21ST ST                     W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N 21ST ST                     N VAN PELT ST
N 24TH ST                     N TAYLOR ST                   W NORRIS ST
N LAMBERT ST                  W NORRIS ST                   DIAMOND ST
N 18TH ST                     PAGE ST                       FONTAIN ST
W NORRIS ST                   N WOODSTOCK ST                N LAMBERT ST
N WOODSTOCK ST                W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N WOODSTOCK ST                N WOODSTOCK ST
N 15TH ST                     FONTAIN ST                    DIAMOND ST
N 32ND ST                     EUCLID AVE                    W BERKS ST
N 20TH ST                     W NORRIS ST                   PAGE ST
W NORRIS ST                   N 20TH ST                     N WOODSTOCK ST
N 17TH ST                     PAGE ST                       FONTAIN ST
PAGE ST                       N 17TH ST                     N 18TH ST
W NORRIS ST                   N UBER ST                     N 20TH ST
EUCLID AVE                    N 31ST ST                     N 32ND ST
N 19TH ST                     W NORRIS ST                   PAGE ST
W NORRIS ST                   N 19TH ST                     N UBER ST
N 16TH ST                     PAGE ST                       FONTAIN ST
N GRATZ ST                    W NORRIS ST                   FONTAIN ST
W NORRIS ST                   N GRATZ ST                    N 19TH ST
N 32ND ST                     W WILT ST                     EUCLID AVE
W NORRIS ST                   N GRATZ ST                    N GRATZ ST
W NORRIS ST                   N CLEVELAND ST                N GRATZ ST
N 18TH ST                     W NORRIS ST                   PAGE ST
W NORRIS ST                   N 18TH ST                     N CLEVELAND ST
N 15TH ST                     PAGE ST                       FONTAIN ST
PAGE ST                       N 15TH ST                     N 16TH ST
N 17TH ST                     W NORRIS ST                   PAGE ST
W NORRIS ST                   N 17TH ST                     N 18TH ST
N 32ND ST                     MORSE ST                      W WILT ST
MORSE ST                      N 32ND ST                     N NATRONA ST
BELMONT AVE                   STATES DR                     MONTGOMERY DR
W BERKS ST                    N TAYLOR ST                   N 25TH ST
N 16TH ST                     W NORRIS ST                   PAGE ST
W NORRIS ST                   N 16TH ST                     N 17TH ST
W BERKS ST                    N RINGGOLD ST                 N TAYLOR ST
MORSE ST                      N 31ST ST                     N 32ND ST
N 24TH ST                     W BERKS ST                    N TAYLOR ST
W BERKS ST                    N 24TH ST                     N RINGGOLD ST
W BERKS ST                    N BUCKNELL ST                 N 24TH ST
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N 15TH ST                    W NORRIS ST                   PAGE ST
W NORRIS ST                  N 15TH ST                     N 16TH ST
N 18TH ST                    ARLINGTON ST                  W NORRIS ST
JUDSON ST                    W BERKS ST                    W NORRIS ST
W BERKS ST                   JUDSON ST                     N BUCKNELL ST
W BERKS ST                   JUDSON ST                     JUDSON ST
N CARLISLE ST                W NORRIS ST                   DIAMOND ST
W NORRIS ST                  N CARLISLE ST                 N 15TH ST
N 23RD ST                    W BERKS ST                    W NORRIS ST
W BERKS ST                   N 23RD ST                     JUDSON ST
N 32ND ST                    W MONTGOMERY AVE              MORSE ST
W MONTGOMERY AVE             N 32ND ST                     N NATRONA ST
N 17TH ST                    ARLINGTON ST                  W NORRIS ST
ARLINGTON ST                 N 17TH ST                     N 18TH ST
N HEMBERGER ST               W BERKS ST                    W NORRIS ST
W BERKS ST                   N HEMBERGER ST                N 23RD ST
N CROSKEY ST                 W BERKS ST                    W NORRIS ST
W BERKS ST                   N CROSKEY ST                  N HEMBERGER ST
W BERKS ST                   N 22ND ST                     N CROSKEY ST
W MONTGOMERY AVE             N 31ST ST                     N 32ND ST
N UBER ST                    MONUMENT ST                   W NORRIS ST
N VAN PELT ST                W BERKS ST                    W NORRIS ST
W BERKS ST                   N VAN PELT ST                 N 22ND ST
N 19TH ST                    MONUMENT ST                   W NORRIS ST
MONUMENT ST                  N 19TH ST                     N UBER ST
N 21ST ST                    W BERKS ST                    W NORRIS ST
W BERKS ST                   N 21ST ST                     N VAN PELT ST
N 18TH ST                    MONUMENT ST                   ARLINGTON ST
W BERKS ST                   N LAMBERT ST                  N 21ST ST
N 32ND ST                    W EYRE ST                     W MONTGOMERY AVE
W EYRE ST                    N 32ND ST                     N NATRONA ST
N WOODSTOCK ST               W BERKS ST                    W NORRIS ST
W BERKS ST                   N WOODSTOCK ST                N LAMBERT ST
N 17TH ST                    MONUMENT ST                   ARLINGTON ST
MONUMENT ST                  N 17TH ST                     N 18TH ST
N 20TH ST                    W BERKS ST                    W NORRIS ST
W BERKS ST                   N 20TH ST                     N WOODSTOCK ST
N 31ST ST                    W EYRE ST                     W MONTGOMERY AVE
W EYRE ST                    N 31ST ST                     N 32ND ST
N UBER ST                    W BERKS ST                    MONUMENT ST
W BERKS ST                   N UBER ST                     N 20TH ST
N 19TH ST                    W BERKS ST                    MONUMENT ST
W BERKS ST                   N 19TH ST                     N UBER ST
N GRATZ ST                   W BERKS ST                    W NORRIS ST
W BERKS ST                   N GRATZ ST                    N 19TH ST
N 32ND ST                    CLIFFORD ST                   W EYRE ST
CLIFFORD ST                  N 32ND ST                     N NATRONA ST
N 18TH ST                    W BERKS ST                    MONUMENT ST
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W BERKS ST                    N 18TH ST                     N GRATZ ST
N 31ST ST                     CLIFFORD ST                   W EYRE ST
CLIFFORD ST                   N 31ST ST                     N 32ND ST
W BERKS ST                    N BOUVIER ST                  N 18TH ST
N 17TH ST                     W BERKS ST                    MONUMENT ST
W BERKS ST                    N 17TH ST                     N BOUVIER ST
N NATRONA ST                  W HOLLINGSWORTH ST            CLIFFORD ST
N 28TH ST                     W EYRE ST                     W MONTGOMERY AVE
W BERKS ST                    WILLINGTON ST                 N 17TH ST
N 32ND ST                     W HOLLINGSWORTH ST            CLIFFORD ST
W HOLLINGSWORTH ST            N 32ND ST                     N NATRONA ST
W MONTGOMERY AVE              RIDGE AVE                     N 25TH ST
N 16TH ST                     W BERKS ST                    W NORRIS ST
W BERKS ST                    N 16TH ST                     WILLINGTON ST
W MONTGOMERY AVE              N TAYLOR ST                   RIDGE AVE
N 27TH ST                     W EYRE ST                     W MONTGOMERY AVE
N RINGGOLD ST                 W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N RINGGOLD ST                 N TAYLOR ST
N 31ST ST                     W HOLLINGSWORTH ST            CLIFFORD ST
W HOLLINGSWORTH ST            N 31ST ST                     N 32ND ST
N 24TH ST                     W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N 24TH ST                     N RINGGOLD ST
N NATRONA ST                  CECIL B MOORE AVE             W HOLLINGSWORTH ST
W MONTGOMERY AVE              N BUCKNELL ST                 N 24TH ST
N UBER ST                     W WILT ST                     W BERKS ST
JUDSON ST                     W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              JUDSON ST                     N BUCKNELL ST
N 32ND ST                     CECIL B MOORE AVE             W HOLLINGSWORTH ST
N 19TH ST                     W WILT ST                     W BERKS ST
W WILT ST                     N 19TH ST                     N UBER ST
N 23RD ST                     W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N 23RD ST                     JUDSON ST
N 19TH ST                     W WILT ST                     W WILT ST
N CROSKEY ST                  W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N CROSKEY ST                  N 23RD ST
N 31ST ST                     CECIL B MOORE AVE             W HOLLINGSWORTH ST
N GRATZ ST                    W WILT ST                     W BERKS ST
W WILT ST                     N GRATZ ST                    N 19TH ST
W MONTGOMERY AVE              N 22ND ST                     N CROSKEY ST
N UBER ST                     MORSE ST                      W WILT ST
W GLENWOOD AVE                N HOLLYWOOD ST                CECIL B MOORE AVE
N VAN PELT ST                 W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N VAN PELT ST                 N 22ND ST
N NATRONA ST                  NICHOLAS ST                   CECIL B MOORE AVE
N 19TH ST                     MORSE ST                      W WILT ST
MORSE ST                      N 19TH ST                     N UBER ST
N 32ND ST                     NICHOLAS ST                   CECIL B MOORE AVE
NICHOLAS ST                   N 32ND ST                     N NATRONA ST
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N 21ST ST                    W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N 21ST ST                     N VAN PELT ST
N 23RD ST                    N BONSALL ST                  W MONTGOMERY AVE
N LAMBERT ST                 W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N LAMBERT ST                  N 21ST ST
N HOLLYWOOD ST               CECIL B MOORE AVE             W GLENWOOD AVE
W MONTGOMERY AVE             N LAMBERT ST                  N LAMBERT ST
N 24TH ST                    RIDGE AVE                     W MONTGOMERY AVE
W MONTGOMERY AVE             N WOODSTOCK ST                N LAMBERT ST
W MONTGOMERY AVE             N WOODSTOCK ST                N WOODSTOCK ST
N 20TH ST                    W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N 20TH ST                     N WOODSTOCK ST
N 25TH ST                    CLIFFORD ST                   W MONTGOMERY AVE
N NEWKIRK ST                 CECIL B MOORE AVE             W MONTGOMERY AVE
N UBER ST                    W MONTGOMERY AVE              MORSE ST
W MONTGOMERY AVE             N UBER ST                     N 20TH ST
N 28TH ST                    CECIL B MOORE AVE             W EYRE ST
W GLENWOOD AVE               CECIL B MOORE AVE             N CORLIES ST
JUDSON ST                    RIDGE AVE                     W MONTGOMERY AVE
N 19TH ST                    W MONTGOMERY AVE              MORSE ST
W MONTGOMERY AVE             N 19TH ST                     N UBER ST
N 32ND ST                    TURNER ST                     NICHOLAS ST
TURNER ST                    N 32ND ST                     N NATRONA ST
N 24TH ST                    CLIFFORD ST                   RIDGE AVE
CLIFFORD ST                  N 24TH ST                     N 25TH ST
N GRATZ ST                   W MONTGOMERY AVE              W WILT ST
W MONTGOMERY AVE             N GRATZ ST                    N 19TH ST
N 30TH ST                    NICHOLAS ST                   CECIL B MOORE AVE
N 27TH ST                    CECIL B MOORE AVE             W EYRE ST
N 18TH ST                    W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N 18TH ST                     N GRATZ ST
N BONSALL ST                 RIDGE AVE                     N 23RD ST
N BOUVIER ST                 W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N BOUVIER ST                  N 18TH ST
N 26TH ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
NICHOLAS ST                  N 29TH ST                     N 30TH ST
N 17TH ST                    W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N 17TH ST                     N BOUVIER ST
N 32ND ST                    GUEST ST                      TURNER ST
GUEST ST                     N 32ND ST                     N NATRONA ST
N STILLMAN ST                CECIL B MOORE AVE             W MONTGOMERY AVE
WILLINGTON ST                W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             WILLINGTON ST                 N 17TH ST
N 25TH ST                    CECIL B MOORE AVE             CLIFFORD ST
W MONTGOMERY AVE             N 16TH ST                     WILLINGTON ST
N 30TH ST                    TURNER ST                     NICHOLAS ST
W MONTGOMERY AVE             N SYDENHAM ST                 N 16TH ST
N 24TH ST                    CECIL B MOORE AVE             CLIFFORD ST
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W MONTGOMERY AVE             N 15TH ST                     N SYDENHAM ST
TURNER ST                    N 29TH ST                     N 30TH ST
N 32ND ST                    W OXFORD ST                   GUEST ST
N 26TH ST                    NICHOLAS ST                   CECIL B MOORE AVE
N 23RD ST                    CECIL B MOORE AVE             N BONSALL ST
LANSDOWNE DR                 HORTICULTURAL DR              BELMONT AVE
N CROSKEY ST                 CECIL B MOORE AVE             W MONTGOMERY AVE
W GLENWOOD AVE               N CORLIES ST                  N 31ST ST
N 25TH ST                    NICHOLAS ST                   CECIL B MOORE AVE
NICHOLAS ST                  N 25TH ST                     N 26TH ST
N 30TH ST                    W OXFORD ST                   TURNER ST
N 24TH ST                    NICHOLAS ST                   CECIL B MOORE AVE
N 21ST ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N 26TH ST                    TURNER ST                     NICHOLAS ST
N LAMBERT ST                 CECIL B MOORE AVE             W MONTGOMERY AVE
N WOODSTOCK ST               CECIL B MOORE AVE             W MONTGOMERY AVE
N 23RD ST                    NICHOLAS ST                   CECIL B MOORE AVE
NICHOLAS ST                  N 23RD ST                     N 24TH ST
N 20TH ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N 28TH ST                    W OXFORD ST                   CECIL B MOORE AVE
N 31ST ST                    REDNER ST                     W GLENWOOD AVE
N 25TH ST                    TURNER ST                     NICHOLAS ST
N UBER ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N MARSTON ST                 W OXFORD ST                   CECIL B MOORE AVE
N NATRONA ST                 DEAD END SOUTH                W OXFORD ST
N 19TH ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N 27TH ST                    W OXFORD ST                   CECIL B MOORE AVE
N 30TH ST                    REDNER ST                     W OXFORD ST
REDNER ST                    N 30TH ST                     N 31ST ST
N 24TH ST                    TURNER ST                     NICHOLAS ST
N BAILEY ST                  W OXFORD ST                   CECIL B MOORE AVE
N 18TH ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N 21ST ST                    NICHOLAS ST                   CECIL B MOORE AVE
NICHOLAS ST                  N 21ST ST                     N 22ND ST
N 26TH ST                    W OXFORD ST                   TURNER ST
N BOUVIER ST                 CECIL B MOORE AVE             W MONTGOMERY AVE
N 23RD ST                    TURNER ST                     NICHOLAS ST
TURNER ST                    N 23RD ST                     N 24TH ST
N 17TH ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N 20TH ST                    NICHOLAS ST                   CECIL B MOORE AVE
NICHOLAS ST                  N 20TH ST                     N 21ST ST
N 25TH ST                    W OXFORD ST                   TURNER ST
WILLINGTON ST                CECIL B MOORE AVE             W MONTGOMERY AVE
N 22ND ST                    TURNER ST                     RIDGE AVE
TURNER ST                    N 22ND ST                     N 23RD ST
N 16TH ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N 19TH ST                    NICHOLAS ST                   CECIL B MOORE AVE
NICHOLAS ST                  N 19TH ST                     N 20TH ST
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N 24TH ST                    W OXFORD ST                   TURNER ST
N SYDENHAM ST                CECIL B MOORE AVE             W MONTGOMERY AVE
N 21ST ST                    TURNER ST                     NICHOLAS ST
W GLENWOOD AVE               N 31ST ST                     JEFFERSON ST
N 15TH ST                    CECIL B MOORE AVE             W MONTGOMERY AVE
N 23RD ST                    W OXFORD ST                   TURNER ST
N 25TH ST                    REDNER ST                     W OXFORD ST
N 20TH ST                    TURNER ST                     NICHOLAS ST
TURNER ST                    N 20TH ST                     N 21ST ST
N 31ST ST                    JEFFERSON ST                  REDNER ST
N 22ND ST                    W OXFORD ST                   TURNER ST
JEFFERSON ST                 N CORLIES ST                  N 31ST ST
N 24TH ST                    REDNER ST                     W OXFORD ST
REDNER ST                    N 24TH ST                     N 25TH ST
N 19TH ST                    TURNER ST                     NICHOLAS ST
TURNER ST                    N 19TH ST                     N 20TH ST
N 30TH ST                    JEFFERSON ST                  REDNER ST
JEFFERSON ST                 N 30TH ST                     N CORLIES ST
JEFFERSON ST                 N MYRTLEWOOD ST               N 30TH ST
N 21ST ST                    W OXFORD ST                   TURNER ST
W OXFORD ST                  N 21ST ST                     RIDGE AVE
N HOLLYWOOD ST               JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                 N HOLLYWOOD ST                N MYRTLEWOOD ST
N 25TH ST                    BOLTON ST                     REDNER ST
JEFFERSON ST                 N 29TH ST                     N HOLLYWOOD ST
JEFFERSON ST                 N DOVER ST                    N 29TH ST
N 23RD ST                    CUL DE SAC SOUTH              W OXFORD ST
JEFFERSON ST                 N NEWKIRK ST                  N DOVER ST
N 20TH ST                    W OXFORD ST                   TURNER ST
W OXFORD ST                  N 20TH ST                     N 21ST ST
BOLTON ST                    N 24TH ST                     N 25TH ST
N 28TH ST                    JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                 N 28TH ST                     N NEWKIRK ST
JEFFERSON ST                 N MARSTON ST                  N 28TH ST
N MARSTON ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                 N MARSTON ST                  N MARSTON ST
N 21ST ST                    REDNER ST                     W OXFORD ST
N 19TH ST                    W OXFORD ST                   TURNER ST
JEFFERSON ST                 N ETTING ST                   N MARSTON ST
N 25TH ST                    NASSAU ST                     BOLTON ST
N 27TH ST                    JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                 N 27TH ST                     N ETTING ST
W OXFORD ST                  N GRATZ ST                    N 19TH ST
N BAILEY ST                  JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                 N BAILEY ST                   N 27TH ST
N 18TH ST                    W OXFORD ST                   CECIL B MOORE AVE
W OXFORD ST                  N 18TH ST                     N GRATZ ST
N 20TH ST                    REDNER ST                     W OXFORD ST
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REDNER ST                     N 20TH ST                     N WOODSTOCK ST
N 24TH ST                     NASSAU ST                     BOLTON ST
NASSAU ST                     N 24TH ST                     N 25TH ST
N 26TH ST                     JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 26TH ST                     N BAILEY ST
N BOUVIER ST                  W OXFORD ST                   CECIL B MOORE AVE
W OXFORD ST                   N BOUVIER ST                  N 18TH ST
BOLTON ST                     RIDGE AVE                     N BEECHWOOD ST
BOLTON ST                     N BEECHWOOD ST                N 22ND ST
N STILLMAN ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N STILLMAN ST                 N 26TH ST
N 17TH ST                     W OXFORD ST                   CECIL B MOORE AVE
W OXFORD ST                   N 17TH ST                     N BOUVIER ST
N 25TH ST                     JEFFERSON ST                  NASSAU ST
JEFFERSON ST                  N 25TH ST                     N STILLMAN ST
N 21ST ST                     RIDGE AVE                     REDNER ST
WILLINGTON ST                 W OXFORD ST                   CECIL B MOORE AVE
W OXFORD ST                   WILLINGTON ST                 N 17TH ST
N 16TH ST                     W OXFORD ST                   CECIL B MOORE AVE
W OXFORD ST                   N 16TH ST                     WILLINGTON ST
N 22ND ST                     NASSAU ST                     BOLTON ST
N 24TH ST                     JEFFERSON ST                  NASSAU ST
JEFFERSON ST                  N 24TH ST                     N 25TH ST
N SYDENHAM ST                 W OXFORD ST                   CECIL B MOORE AVE
W OXFORD ST                   N SYDENHAM ST                 N 16TH ST
N 15TH ST                     W OXFORD ST                   CECIL B MOORE AVE
W OXFORD ST                   N 15TH ST                     N SYDENHAM ST
N 21ST ST                     NASSAU ST                     RIDGE AVE
NASSAU ST                     N 21ST ST                     N 22ND ST
W OXFORD ST                   N CARLISLE ST                 N 15TH ST
N 22ND ST                     JEFFERSON ST                  NASSAU ST
N 21ST ST                     JEFFERSON ST                  NASSAU ST
JEFFERSON ST                  N 21ST ST                     N 22ND ST
JEFFERSON ST                  RIDGE AVE                     N 21ST ST
N WOODSTOCK ST                JEFFERSON ST                  REDNER ST
N 20TH ST                     JEFFERSON ST                  REDNER ST
JEFFERSON ST                  N 20TH ST                     N WOODSTOCK ST
N 19TH ST                     JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N GRATZ ST                    N 19TH ST
N 18TH ST                     JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 18TH ST                     N GRATZ ST
N BOUVIER ST                  JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N BOUVIER ST                  N 18TH ST
N 17TH ST                     JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 17TH ST                     N BOUVIER ST
WILLINGTON ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  WILLINGTON ST                 N 17TH ST
N 16TH ST                     JEFFERSON ST                  W OXFORD ST
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JEFFERSON ST                  N 16TH ST                     WILLINGTON ST
N SYDENHAM ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N SYDENHAM ST                 N 16TH ST
N 15TH ST                     JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 15TH ST                     N SYDENHAM ST
N CARLISLE ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N CARLISLE ST                 N 15TH ST
N NAPA ST                     W HUNTING PARK AVE            W ALLEGHENY AVE
N 30TH ST                     W CLEMENTINE ST               W WISHART ST
N 30TH ST                     W CLEARFIELD ST               W CLEMENTINE ST
W CLEARFIELD ST               N MARSTON ST                  PENNOCK ST
W CLEARFIELD ST               N 26TH ST                     N 27TH ST
N 25TH ST                     W CLEARFIELD ST               W ALLEGHENY AVE
N 25TH ST                     W TORONTO ST                  W CLEARFIELD ST
N 25TH ST                     W INDIANA AVE                 W ELKHART ST
N 25TH ST                     W CAMBRIA ST                  W INDIANA AVE
N 28TH ST                     W CLEMENTINE ST               W WISHART ST
N 28TH ST                     W CLEARFIELD ST               W CLEMENTINE ST
N 26TH ST                     W CLEARFIELD ST               W ALLEGHENY AVE
PENNOCK ST                    W CLEARFIELD ST               N MARSTON ST
N STILLMAN ST                 W CLEARFIELD ST               W ALLEGHENY AVE
N 27TH ST                     W TORONTO ST                  W CLEARFIELD ST
N 27TH ST                     CHALMERS AVE                  W TORONTO ST
CHALMERS AVE                  W CAMBRIA ST                  N MARSTON ST
CHALMERS AVE                  N NEWKIRK ST                  W CAMBRIA ST
CHALMERS AVE                  N 29TH ST                     N NEWKIRK ST
W SOMERSET ST                 N MARSTON ST                  N 28TH ST
W SOMERSET ST                 N 27TH ST                     N MARSTON ST
W SOMERSET ST                 N TANEY ST                    N 27TH ST
W SOMERSET ST                 N BAILEY ST                   N TANEY ST
W SOMERSET ST                 N 26TH ST                     N BAILEY ST
W SOMERSET ST                 N 25TH ST                     N STILLMAN ST
W CAMBRIA ST                  CHALMERS AVE                  N 29TH ST
N 26TH ST                     W TORONTO ST                  W CLEARFIELD ST
N TANEY ST                    W INDIANA AVE                 W TORONTO ST
N 26TH ST                     W INDIANA AVE                 W TORONTO ST
N TANEY ST                    W CAMBRIA ST                  W INDIANA AVE
N 26TH ST                     W CAMBRIA ST                  W INDIANA AVE
N BAILEY ST                   W INDIANA AVE                 W TORONTO ST
N BAILEY ST                   W CAMBRIA ST                  W INDIANA AVE
N 27TH ST                     W CAMBRIA ST                  CHALMERS AVE
W YORK ST                     N STANLEY ST                  N 31ST ST
W YORK ST                     N CORLIES ST                  N STANLEY ST
W HUNTINGDON ST               N 34TH ST                     RIDGE AVE
N 32ND ST                     W YORK ST                     W CUMBERLAND ST
N PATTON ST                   W YORK ST                     W CUMBERLAND ST
N NAPA ST                     W YORK ST                     W CUMBERLAND ST
N 31ST ST                     W HUNTINGDON ST               W OAKDALE ST
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N 31ST ST                     W CUMBERLAND ST               W HUNTINGDON ST
N STANLEY ST                  W HUNTINGDON ST               W OAKDALE ST
N 30TH ST                     W HUNTINGDON ST               W OAKDALE ST
N STANLEY ST                  W CUMBERLAND ST               W HUNTINGDON ST
N 30TH ST                     W CUMBERLAND ST               W HUNTINGDON ST
N MYRTLEWOOD ST               W CUMBERLAND ST               W HUNTINGDON ST
N MYRTLEWOOD ST               W YORK ST                     W CUMBERLAND ST
N CORLIES ST                  W HUNTINGDON ST               W OAKDALE ST
N CORLIES ST                  W CUMBERLAND ST               W HUNTINGDON ST
N HOLLYWOOD ST                W YORK ST                     W CUMBERLAND ST
N MYRTLEWOOD ST               W HUNTINGDON ST               W OAKDALE ST
N HOLLYWOOD ST                W HUNTINGDON ST               W OAKDALE ST
N HOLLYWOOD ST                W CUMBERLAND ST               W HUNTINGDON ST
W SOMERSET ST                 N 21ST ST                     N VAN PELT ST
W SOMERSET ST                 N LAMBERT ST                  N 21ST ST
W SOMERSET ST                 N WOODSTOCK ST                N LAMBERT ST
W SOMERSET ST                 N OPAL ST                     N 20TH ST
W SOMERSET ST                 N GARNET ST                   N OPAL ST
W SOMERSET ST                 N 19TH ST                     N GARNET ST
W INDIANA AVE                 N GARNET ST                   N 20TH ST
W INDIANA AVE                 N 19TH ST                     N GARNET ST
N 19TH ST                     W SOMERSET ST                 W CAMBRIA ST
W CAMBRIA ST                  N CROSKEY ST                  N 23RD ST
W CAMBRIA ST                  N 22ND ST                     N CROSKEY ST
W CAMBRIA ST                  N VAN PELT ST                 N 22ND ST
W CAMBRIA ST                  N 21ST ST                     N VAN PELT ST
W CAMBRIA ST                  N LAMBERT ST                  N 21ST ST
W CAMBRIA ST                  N WOODSTOCK ST                N LAMBERT ST
W CAMBRIA ST                  N 20TH ST                     N WOODSTOCK ST
W INDIANA AVE                 N HEMBERGER ST                N 23RD ST
W INDIANA AVE                 N CROSKEY ST                  N HEMBERGER ST
W INDIANA AVE                 N CROSKEY ST                  N CROSKEY ST
W INDIANA AVE                 N LAMBERT ST                  N 21ST ST
W INDIANA AVE                 N WOODSTOCK ST                N LAMBERT ST
W INDIANA AVE                 N 20TH ST                     N WOODSTOCK ST
W INDIANA AVE                 N RINGGOLD ST                 N TAYLOR ST
W CLEARFIELD ST               FOX ST                        N 23RD ST
W CLEARFIELD ST               N HEMBERGER ST                FOX ST
W CLEARFIELD ST               N CROSKEY ST                  N HEMBERGER ST
W CLEARFIELD ST               N 22ND ST                     N CROSKEY ST
W CLEARFIELD ST               N 20TH ST                     N 21ST ST
W TORONTO ST                  N 22ND ST                     FOX ST
W LIPPINCOTT ST               N CROSKEY ST                  N HEMBERGER ST
W LIPPINCOTT ST               N 22ND ST                     N CROSKEY ST
W LIPPINCOTT ST               N 21ST ST                     N 22ND ST
W LIPPINCOTT ST               N 20TH ST                     N 21ST ST
N 20TH ST                     W CLEARFIELD ST               W LIPPINCOTT ST
N 20TH ST                     W TORONTO ST                  W CLEARFIELD ST
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W TORONTO ST                   N 24TH ST                     N 25TH ST
N RINGGOLD ST                  W MAYFIELD ST                 W ELKHART ST
N TAYLOR ST                    W CAMBRIA ST                  W INDIANA AVE
N TAYLOR ST                    W CLEARFIELD ST               W ALLEGHENY AVE
N 24TH ST                      W CLEARFIELD ST               W ALLEGHENY AVE
N 24TH ST                      W TORONTO ST                  W CLEARFIELD ST
N 24TH ST                      W MAYFIELD ST                 W ELKHART ST
N 24TH ST                      W INDIANA AVE                 W MAYFIELD ST
N 24TH ST                      W CAMBRIA ST                  W INDIANA AVE
N RINGGOLD ST                  W SOMERSET ST                 W CAMBRIA ST
N BONSALL ST                   W INDIANA AVE                 W CLEARFIELD ST
N BONSALL ST                   W CAMBRIA ST                  W INDIANA AVE
N 23RD ST                      FOX ST                        W LIPPINCOTT ST
N 21ST ST                      W CLEARFIELD ST               W LIPPINCOTT ST
N 21ST ST                      W TORONTO ST                  W CLEARFIELD ST
N HEMBERGER ST                 W CLEARFIELD ST               W LIPPINCOTT ST
N CROSKEY ST                   W CLEARFIELD ST               W LIPPINCOTT ST
N WOODSTOCK ST                 W SOMERSET ST                 W CAMBRIA ST
N LAMBERT ST                   W SOMERSET ST                 W CAMBRIA ST
N 20TH ST                      W SOMERSET ST                 W CAMBRIA ST
W INDIANA AVE                  N 18TH ST                     N 19TH ST
W INDIANA AVE                  N 17TH ST                     N 18TH ST
N 18TH ST                      W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                   N 17TH ST                     N 18TH ST
N 17TH ST                      W LEHIGH AVE                  W GLENWOOD AVE
N 16TH ST                      DEAD END SOUTH                W INDIANA AVE
W INDIANA AVE                  N SYDENHAM ST                 N SYDENHAM ST
W INDIANA AVE                  N 16TH ST                     N 17TH ST
N 16TH ST                      W LIPPINCOTT ST               W ALLEGHENY AVE
N 16TH ST                      W CLEARFIELD ST               W LIPPINCOTT ST
N 16TH ST                      W TORONTO ST                  W CLEARFIELD ST
N 16TH ST                      W INDIANA AVE                 W TORONTO ST
N 15TH ST                      W TORONTO ST                  W CLEARFIELD ST
W TORONTO ST                   N CARLISLE ST                 N 15TH ST
N 15TH ST                      W MAYFIELD ST                 W TORONTO ST
N BANCROFT ST                  W CLEARFIELD ST               W LIPPINCOTT ST
W CLEARFIELD ST                N ROSEWOOD ST                 N CARLISLE ST
N 23RD ST                      W OAKDALE ST                  W LEHIGH AVE
N 23RD ST                      W HAROLD ST                   W OAKDALE ST
N 23RD ST                      W HUNTINGDON ST               W HAROLD ST
N 23RD ST                      W SEDGLEY AVE                 W HAGERT ST
N 28TH ST                      W HAROLD ST                   W ALBERT ST
N 28TH ST                      W HUNTINGDON ST               W HAROLD ST
N 28TH ST                      W CUMBERLAND ST               W HUNTINGDON ST
N 27TH ST                      W OAKDALE ST                  W LEHIGH AVE
W HAROLD ST                    N 26TH ST                     N 27TH ST
N 27TH ST                      W HUNTINGDON ST               W HAROLD ST
N 27TH ST                      W SERGEANT ST                 W HUNTINGDON ST
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N 27TH ST                     W HAGERT ST                   W CUMBERLAND ST
N 27TH ST                     W HAROLD ST                   W ALBERT ST
N 26TH ST                     W SERGEANT ST                 W HUNTINGDON ST
N 26TH ST                     W YORK ST                     W HAGERT ST
N 25TH ST                     W YORK ST                     W HAGERT ST
N 25TH ST                     W FIRTH ST                    W FIRTH ST
N 25TH ST                     W SERGEANT ST                 W SERGEANT ST
N 25TH ST                     W SERGEANT ST                 W HUNTINGDON ST
N 24TH ST                     W HUNTINGDON ST               W HAROLD ST
W OAKDALE ST                  N 28TH ST                     N 29TH ST
N 27TH ST                     W ALBERT ST                   W OAKDALE ST
W OAKDALE ST                  N 25TH ST                     N 26TH ST
W OAKDALE ST                  N 24TH ST                     N 25TH ST
W SOMERSET ST                 N CROSKEY ST                  N HEMBERGER ST
W HAROLD ST                   N 24TH ST                     N 25TH ST
N 26TH ST                     W HUNTINGDON ST               W HAROLD ST
N 26TH ST                     W HAROLD ST                   W HAROLD ST
W HAROLD ST                   N 25TH ST                     N 26TH ST
W HUNTINGDON ST               N MARSTON ST                  N 28TH ST
W HUNTINGDON ST               N 27TH ST                     N MARSTON ST
W HUNTINGDON ST               N 25TH ST                     N 26TH ST
W CUMBERLAND ST               N 25TH ST                     N 26TH ST
W CUMBERLAND ST               N 24TH ST                     N 25TH ST
W CUMBERLAND ST               N 23RD ST                     N 24TH ST
N NEWKIRK ST                  W CUMBERLAND ST               W HUNTINGDON ST
N NEWKIRK ST                  W YORK ST                     W CUMBERLAND ST
W CUMBERLAND ST               N MARSTON ST                  N MARSTON ST
W SERGEANT ST                 N 26TH ST                     N 27TH ST
W FIRTH ST                    N 24TH ST                     N 25TH ST
N 20TH ST                     MARGIE ST                     W LEHIGH AVE
N 18TH ST                     W GLENWOOD AVE                W LEHIGH AVE
N 17TH ST                     W CUMBERLAND ST               W HUNTINGDON ST
N 17TH ST                     W YORK ST                     W CUMBERLAND ST
W HUNTINGDON ST               N CLEVELAND ST                N GRATZ ST
W HUNTINGDON ST               N COLORADO ST                 N BOUVIER ST
W YORK ST                     N DOVER ST                    N 29TH ST
W YORK ST                     N MARSTON ST                  N 28TH ST
W YORK ST                     N 27TH ST                     N MARSTON ST
W CUMBERLAND ST               N 20TH ST                     N 20TH ST
W CUMBERLAND ST               N 22ND ST                     N 23RD ST
N 21ST ST                     W BOSTON ST                   W GLENWOOD AVE
N 20TH ST                     W HAGERT ST                   W CUMBERLAND ST
N 20TH ST                     W CUMBERLAND ST               W GLENWOOD AVE
N GARNET ST                   W YORK ST                     W CUMBERLAND ST
N 19TH ST                     MARGIE ST                     W HUNTINGDON ST
N 19TH ST                     W CUMBERLAND ST               MARGIE ST
N 19TH ST                     W YORK ST                     W CUMBERLAND ST
N GRATZ ST                    W YORK ST                     W CUMBERLAND ST
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N 18TH ST                     W HUNTINGDON ST               W GLENWOOD AVE
N 18TH ST                     W CUMBERLAND ST               W HUNTINGDON ST
N 18TH ST                     W YORK ST                     W CUMBERLAND ST
N BOUVIER ST                  W YORK ST                     W CUMBERLAND ST
N 27TH ST                     W GORDON ST                   W ARIZONA ST
N 27TH ST                     W DAUPHIN ST                  W GORDON ST
N 27TH ST                     W FLETCHER ST                 W DAUPHIN ST
N 27TH ST                     W SUSQUEHANNA AVE             W FLETCHER ST
N 27TH ST                     FRENCH ST                     W SUSQUEHANNA AVE
N 27TH ST                     W SEDGLEY AVE                 FRENCH ST
N 27TH ST                     DIAMOND ST                    W SEDGLEY AVE
N 27TH ST                     W ARIZONA ST                  W ARIZONA ST
N 27TH ST                     W ARIZONA ST                  W YORK ST
W SUSQUEHANNA AVE             N 31ST ST                     RIDGE AVE
W SUSQUEHANNA AVE             N STANLEY ST                  N 31ST ST
W SUSQUEHANNA AVE             N CORLIES ST                  N STANLEY ST
W SUSQUEHANNA AVE             N 30TH ST                     N CORLIES ST
W SUSQUEHANNA AVE             N 29TH ST                     N 30TH ST
W SUSQUEHANNA AVE             N DOVER ST                    N 29TH ST
W SUSQUEHANNA AVE             N NEWKIRK ST                  N DOVER ST
W SUSQUEHANNA AVE             N 28TH ST                     N NEWKIRK ST
W SUSQUEHANNA AVE             N MARSTON ST                  N 28TH ST
W SUSQUEHANNA AVE             N 27TH ST                     N MARSTON ST
N 31ST ST                     W DAKOTA ST                   W GORDON ST
N 31ST ST                     W DAUPHIN ST                  W DAKOTA ST
N 31ST ST                     W NEVADA ST                   W DAUPHIN ST
N 31ST ST                     W FLETCHER ST                 W NEVADA ST
N 31ST ST                     W COLONA ST                   W FLETCHER ST
N 31ST ST                     W SUSQUEHANNA AVE             W COLONA ST
N 31ST ST                     RIDGE AVE                     W SUSQUEHANNA AVE
N 31ST ST                     WESTMONT ST                   RIDGE AVE
N 31ST ST                     DIAMOND ST                    WESTMONT ST
N 30TH ST                     W ARIZONA ST                  W YORK ST
N 30TH ST                     W GORDON ST                   W ARIZONA ST
N 30TH ST                     W DAKOTA ST                   W GORDON ST
N 30TH ST                     W DAUPHIN ST                  W DAKOTA ST
N 30TH ST                     W NEVADA ST                   W DAUPHIN ST
N 30TH ST                     W FLETCHER ST                 W NEVADA ST
N 30TH ST                     W COLONA ST                   W FLETCHER ST
N 30TH ST                     W SUSQUEHANNA AVE             W COLONA ST
N 30TH ST                     FRENCH ST                     W SUSQUEHANNA AVE
N 30TH ST                     WESTMONT ST                   FRENCH ST
N 30TH ST                     EDGLEY ST                     WESTMONT ST
N 30TH ST                     DIAMOND ST                    EDGLEY ST
N 31ST ST                     W GORDON ST                   W ARIZONA ST
N 31ST ST                     W ARIZONA ST                  W YORK ST
N 28TH ST                     W FLETCHER ST                 W DAUPHIN ST
N 28TH ST                     W SUSQUEHANNA AVE             W FLETCHER ST
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N 28TH ST                     DIAMOND ST                    W SUSQUEHANNA AVE
W FLETCHER ST                 N 30TH ST                     N 31ST ST
W FLETCHER ST                 N 29TH ST                     N 30TH ST
W FLETCHER ST                 N 28TH ST                     N 29TH ST
W SUSQUEHANNA AVE             N NATRONA ST                  N DOUGLAS ST
W SUSQUEHANNA AVE             N DOUGLAS ST                  N 33RD ST
W COLONA ST                   N 30TH ST                     N 31ST ST
N STANLEY ST                  RIDGE AVE                     W SUSQUEHANNA AVE
W NEVADA ST                   N 30TH ST                     N 31ST ST
N CORLIES ST                  RIDGE AVE                     W SUSQUEHANNA AVE
WESTMONT ST                   N 29TH ST                     N 30TH ST
N MARSTON ST                  FRENCH ST                     W SUSQUEHANNA AVE
N NEWKIRK ST                  DIAMOND ST                    W SUSQUEHANNA AVE
N MARSTON ST                  DIAMOND ST                    FRENCH ST
N 18TH ST                     W DAUPHIN ST                  W YORK ST
N 18TH ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
N 18TH ST                     FRENCH ST                     W SUSQUEHANNA AVE
N 18TH ST                     EDGLEY ST                     FRENCH ST
N 18TH ST                     WESTMONT ST                   EDGLEY ST
N 18TH ST                     DIAMOND ST                    WESTMONT ST
W SUSQUEHANNA AVE             N VAN PELT ST                 N 22ND ST
W SUSQUEHANNA AVE             N 21ST ST                     N VAN PELT ST
W SUSQUEHANNA AVE             N LAMBERT ST                  N 21ST ST
W SUSQUEHANNA AVE             N WOODSTOCK ST                N LAMBERT ST
W SUSQUEHANNA AVE             N 20TH ST                     N WOODSTOCK ST
W SUSQUEHANNA AVE             N UBER ST                     N 20TH ST
W SUSQUEHANNA AVE             N 19TH ST                     N UBER ST
W SUSQUEHANNA AVE             N GRATZ ST                    N 19TH ST
W SUSQUEHANNA AVE             N GRATZ ST                    N GRATZ ST
W SUSQUEHANNA AVE             N CLEVELAND ST                N GRATZ ST
W SUSQUEHANNA AVE             N 18TH ST                     N CLEVELAND ST
N VAN PELT ST                 W SUSQUEHANNA AVE             W DAUPHIN ST
N VAN PELT ST                 DIAMOND ST                    W SUSQUEHANNA AVE
N 21ST ST                     W DAUPHIN ST                  W YORK ST
N 21ST ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
N 21ST ST                     DIAMOND ST                    W SUSQUEHANNA AVE
N LAMBERT ST                  W DAUPHIN ST                  W YORK ST
N LAMBERT ST                  W SUSQUEHANNA AVE             W DAUPHIN ST
N LAMBERT ST                  DIAMOND ST                    W SUSQUEHANNA AVE
N WOODSTOCK ST                W SUSQUEHANNA AVE             W DAUPHIN ST
N WOODSTOCK ST                DIAMOND ST                    W SUSQUEHANNA AVE
N 20TH ST                     W DAUPHIN ST                  W YORK ST
N 20TH ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
N 20TH ST                     DIAMOND ST                    W SUSQUEHANNA AVE
N UBER ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
N UBER ST                     DIAMOND ST                    W SUSQUEHANNA AVE
N 19TH ST                     W DAUPHIN ST                  W YORK ST
N 19TH ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
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N 19TH ST                     DIAMOND ST                    W SUSQUEHANNA AVE
N GRATZ ST                    W DAUPHIN ST                  W YORK ST
N BEECHWOOD ST                W DAUPHIN ST                  W YORK ST
W SUSQUEHANNA AVE             N BOUVIER ST                  N 18TH ST
W SUSQUEHANNA AVE             N COLORADO ST                 N BOUVIER ST
W SUSQUEHANNA AVE             N 17TH ST                     N COLORADO ST
W SUSQUEHANNA AVE             N CHADWICK ST                 N 17TH ST
W SUSQUEHANNA AVE             N BANCROFT ST                 N CHADWICK ST
W SUSQUEHANNA AVE             N 16TH ST                     N BANCROFT ST
W SUSQUEHANNA AVE             N MOLE ST                     N 16TH ST
W SUSQUEHANNA AVE             N SYDENHAM ST                 N MOLE ST
W SUSQUEHANNA AVE             N 15TH ST                     N SYDENHAM ST
W SUSQUEHANNA AVE             N CARLISLE ST                 N 15TH ST
N 17TH ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
N 17TH ST                     FRENCH ST                     W SUSQUEHANNA AVE
N 17TH ST                     EDGLEY ST                     FRENCH ST
N 17TH ST                     WESTMONT ST                   EDGLEY ST
N 17TH ST                     DIAMOND ST                    WESTMONT ST
N 16TH ST                     FRENCH ST                     W SUSQUEHANNA AVE
N 16TH ST                     EDGLEY ST                     FRENCH ST
N 16TH ST                     WESTMONT ST                   EDGLEY ST
N 16TH ST                     DIAMOND ST                    WESTMONT ST
FRENCH ST                     N 17TH ST                     N 18TH ST
FRENCH ST                     N 16TH ST                     N 17TH ST
EDGLEY ST                     N 17TH ST                     N 18TH ST
EDGLEY ST                     N 16TH ST                     N 17TH ST
WESTMONT ST                   N 17TH ST                     N 18TH ST
WESTMONT ST                   N 16TH ST                     N 17TH ST
N COLORADO ST                 W DAUPHIN ST                  W YORK ST
N COLORADO ST                 W SUSQUEHANNA AVE             W DAUPHIN ST
N BOUVIER ST                  W DAUPHIN ST                  W YORK ST
N BANCROFT ST                 W SUSQUEHANNA AVE             W DAUPHIN ST
N 15TH ST                     W DAUPHIN ST                  W YORK ST
N 15TH ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
N 15TH ST                     DIAMOND ST                    W SUSQUEHANNA AVE
N CARLISLE ST                 W DAUPHIN ST                  W YORK ST
N CARLISLE ST                 W SUSQUEHANNA AVE             W DAUPHIN ST
N CARLISLE ST                 DIAMOND ST                    W SUSQUEHANNA AVE
W MONTGOMERY AVE              W SEDGLEY AVE                 N 31ST ST
W MONTGOMERY AVE              CLIFFORD ST                   W SEDGLEY AVE
W NORRIS ST                   N NAPA ST                     N PATTON ST
W NORRIS ST                   N 31ST ST                     N NAPA ST
W NORRIS ST                   N STANLEY ST                  N 31ST ST
W NORRIS ST                   N 30TH ST                     N STANLEY ST
W NORRIS ST                   N MYRTLEWOOD ST               N 30TH ST
W NORRIS ST                   N HOLLYWOOD ST                N MYRTLEWOOD ST
W NORRIS ST                   N 29TH ST                     N HOLLYWOOD ST
W BERKS ST                    N NAPA ST                     N PATTON ST
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W BERKS ST                   N 31ST ST                     N NAPA ST
W BERKS ST                   N STANLEY ST                  N 31ST ST
W BERKS ST                   N 30TH ST                     N STANLEY ST
EUCLID AVE                   W SEDGLEY AVE                 N 31ST ST
N 31ST ST                    FONTAIN ST                    DIAMOND ST
N 31ST ST                    PAGE ST                       FONTAIN ST
N 31ST ST                    W NORRIS ST                   PAGE ST
N 31ST ST                    W BERKS ST                    W NORRIS ST
N 31ST ST                    EUCLID AVE                    W BERKS ST
N 31ST ST                    W WILT ST                     EUCLID AVE
N 31ST ST                    MORSE ST                      W WILT ST
N 31ST ST                    W MONTGOMERY AVE              MORSE ST
N 30TH ST                    FONTAIN ST                    DIAMOND ST
N 30TH ST                    W NORRIS ST                   PAGE ST
N 30TH ST                    W BERKS ST                    W NORRIS ST
N 30TH ST                    W SEDGLEY AVE                 W BERKS ST
N 30TH ST                    PAGE ST                       FONTAIN ST
N 30TH ST                    PAGE ST                       PAGE ST
FONTAIN ST                   N 30TH ST                     N 31ST ST
PAGE ST                      RIDGE AVE                     N 30TH ST
N PATTON ST                  W BERKS ST                    W NORRIS ST
N NAPA ST                    W BERKS ST                    W NORRIS ST
N HOLLYWOOD ST               W SEDGLEY AVE                 W NORRIS ST
N STANLEY ST                 W BERKS ST                    W NORRIS ST
N MYRTLEWOOD ST              W SEDGLEY AVE                 W NORRIS ST
W MONTGOMERY AVE             N NEWKIRK ST                  N DOVER ST
W MONTGOMERY AVE             N 28TH ST                     N NEWKIRK ST
W MONTGOMERY AVE             N MARSTON ST                  N 28TH ST
W MONTGOMERY AVE             N ETTING ST                   N MARSTON ST
W MONTGOMERY AVE             N 27TH ST                     N ETTING ST
W MONTGOMERY AVE             N TANEY ST                    N 27TH ST
W MONTGOMERY AVE             N BAILEY ST                   N TANEY ST
W MONTGOMERY AVE             N 26TH ST                     N BAILEY ST
W MONTGOMERY AVE             N BAMBREY ST                  N 26TH ST
W MONTGOMERY AVE             N STILLMAN ST                 N BAMBREY ST
W MONTGOMERY AVE             N 25TH ST                     N STILLMAN ST
W MONTGOMERY AVE             N DOVER ST                    N 29TH ST
N 25TH ST                    W NORRIS ST                   DIAMOND ST
N 25TH ST                    ARLINGTON ST                  W NORRIS ST
N 25TH ST                    W BERKS ST                    ARLINGTON ST
N 25TH ST                    RIDGE AVE                     W BERKS ST
N 25TH ST                    W MONTGOMERY AVE              RIDGE AVE
W GLENWOOD AVE               N BAMBREY ST                  PAGE ST
W GLENWOOD AVE               RIDGE AVE                     N ETTING ST
W GLENWOOD AVE               N ETTING ST                   N 28TH ST
W GLENWOOD AVE               W BERKS ST                    N NEWKIRK ST
W GLENWOOD AVE               N NEWKIRK ST                  N 29TH ST
N BAMBREY ST                 PAGE ST                       DIAMOND ST
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PAGE ST                       N BAMBREY ST                  W GLENWOOD AVE
N STILLMAN ST                 PAGE ST                       DIAMOND ST
PAGE ST                       N STILLMAN ST                 N BAMBREY ST
N 27TH ST                     W BERKS ST                    RIDGE AVE
N NEWKIRK ST                  W MONTGOMERY AVE              W GLENWOOD AVE
N 27TH ST                     W MONTGOMERY AVE              W BERKS ST
N TANEY ST                    W MONTGOMERY AVE              RIDGE AVE
N 28TH ST                     W BERKS ST                    W GLENWOOD AVE
W BERKS ST                    N MARSTON ST                  N 28TH ST
N ETTING ST                   W BERKS ST                    W GLENWOOD AVE
W BERKS ST                    N ETTING ST                   N MARSTON ST
W BERKS ST                    N 27TH ST                     N ETTING ST
N 26TH ST                     W WILT ST                     RIDGE AVE
N 28TH ST                     W MONTGOMERY AVE              W BERKS ST
N 26TH ST                     W MONTGOMERY AVE              W WILT ST
W BERKS ST                    RIDGE AVE                     N 27TH ST
N 28TH ST                     W SEDGLEY AVE                 DIAMOND ST
N 32ND ST                     MASTER ST                     JEFFERSON ST
MASTER ST                     N CORLIES ST                  N 31ST ST
MASTER ST                     N 30TH ST                     N CORLIES ST
MASTER ST                     N MYRTLEWOOD ST               N 30TH ST
MASTER ST                     N HOLLYWOOD ST                N MYRTLEWOOD ST
MASTER ST                     N 29TH ST                     N HOLLYWOOD ST
MASTER ST                     N DOVER ST                    N 29TH ST
MASTER ST                     N NEWKIRK ST                  N DOVER ST
MASTER ST                     N 28TH ST                     N NEWKIRK ST
MASTER ST                     N MARSTON ST                  N 28TH ST
MASTER ST                     N ETTING ST                   N MARSTON ST
MASTER ST                     N 27TH ST                     N ETTING ST
N 27TH ST                     MASTER ST                     JEFFERSON ST
N 27TH ST                     KERSHAW ST                    MASTER ST
N 28TH ST                     MASTER ST                     JEFFERSON ST
N 30TH ST                     MASTER ST                     JEFFERSON ST
N HOLLYWOOD ST                MASTER ST                     JEFFERSON ST
N CORLIES ST                  MASTER ST                     JEFFERSON ST
N 22ND ST                     STEWART ST                    JEFFERSON ST
N 22ND ST                     SHARSWOOD ST                  STEWART ST
N 22ND ST                     MASTER ST                     HARLAN ST
N 22ND ST                     INGERSOLL ST                  MASTER ST
N 22ND ST                     HARLAN ST                     SHARSWOOD ST
MASTER ST                     N TANEY ST                    N 27TH ST
MASTER ST                     N 26TH ST                     N TANEY ST
MASTER ST                     N 25TH ST                     N STILLMAN ST
MASTER ST                     N 24TH ST                     N 25TH ST
MASTER ST                     N 23RD ST                     N 24TH ST
MASTER ST                     N 22ND ST                     N 23RD ST
N 26TH ST                     STEWART ST                    JEFFERSON ST
N 26TH ST                     MASTER ST                     STEWART ST
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N 26TH ST                        INGERSOLL ST                  MASTER ST
N 25TH ST                        STEWART ST                    JEFFERSON ST
N 25TH ST                        SHARSWOOD ST                  STEWART ST
N 25TH ST                        HARLAN ST                     SHARSWOOD ST
N 25TH ST                        MASTER ST                     HARLAN ST
N 25TH ST                        INGERSOLL ST                  MASTER ST
N 25TH ST                        SEYBERT ST                    INGERSOLL ST
N 24TH ST                        STEWART ST                    JEFFERSON ST
N 24TH ST                        SHARSWOOD ST                  STEWART ST
N 24TH ST                        HARLAN ST                     SHARSWOOD ST
N 24TH ST                        MASTER ST                     HARLAN ST
N 24TH ST                        INGERSOLL ST                  MASTER ST
N 24TH ST                        SEYBERT ST                    INGERSOLL ST
N 23RD ST                        STEWART ST                    JEFFERSON ST
N 23RD ST                        SHARSWOOD ST                  STEWART ST
N 23RD ST                        HARLAN ST                     SHARSWOOD ST
N 23RD ST                        MASTER ST                     HARLAN ST
N 23RD ST                        INGERSOLL ST                  MASTER ST
STEWART ST                       N 24TH ST                     N 25TH ST
STEWART ST                       N 23RD ST                     N 24TH ST
STEWART ST                       N 22ND ST                     N 23RD ST
SHARSWOOD ST                     N 24TH ST                     N 25TH ST
SHARSWOOD ST                     N 23RD ST                     N 24TH ST
HARLAN ST                        N 24TH ST                     N 25TH ST
HARLAN ST                        N 23RD ST                     N 24TH ST
INGERSOLL ST                     N 22ND ST                     N 23RD ST
SEYBERT ST                       N 25TH ST                     N STILLMAN ST
SEYBERT ST                       N 24TH ST                     N 25TH ST
INGERSOLL ST                     N 25TH ST                     N STILLMAN ST
INGERSOLL ST                     N 24TH ST                     N 25TH ST
INGERSOLL ST                     N 26TH ST                     N TANEY ST
INGERSOLL ST                     N STILLMAN ST                 N 26TH ST
N STILLMAN ST                    INGERSOLL ST                  MASTER ST
N STILLMAN ST                    SEYBERT ST                    INGERSOLL ST
N 17TH ST                        MASTER ST                     JEFFERSON ST
N 17TH ST                        INGERSOLL ST                  MASTER ST
N 21ST ST                        STEWART ST                    JEFFERSON ST
N 21ST ST                        SHARSWOOD ST                  STEWART ST
N 21ST ST                        HARLAN ST                     SHARSWOOD ST
N 21ST ST                        MASTER ST                     HARLAN ST
N 21ST ST                        SEYBERT ST                    MASTER ST
N 20TH ST                        MASTER ST                     HARLAN ST
MASTER ST                        N 21ST ST                     N 22ND ST
MASTER ST                        N LAMBERT ST                  N 21ST ST
MASTER ST                        RIDGE AVE                     N LAMBERT ST
MASTER ST                        N 20TH ST                     RIDGE AVE
MASTER ST                        N 19TH ST                     N 20TH ST
MASTER ST                        N 18TH ST                     N 19TH ST
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MASTER ST                     N BOUVIER ST                  N 18TH ST
MASTER ST                     N 17TH ST                     N BOUVIER ST
N 19TH ST                     HARLAN ST                     HARLAN ST
N 19TH ST                     MASTER ST                     HARLAN ST
N 19TH ST                     KERSHAW ST                    MASTER ST
N 19TH ST                     INGERSOLL ST                  KERSHAW ST
N 18TH ST                     MASTER ST                     HARLAN ST
N 18TH ST                     KERSHAW ST                    MASTER ST
N 18TH ST                     INGERSOLL ST                  KERSHAW ST
N 18TH ST                     INGERSOLL ST                  INGERSOLL ST
SHARSWOOD ST                  N 21ST ST                     N 22ND ST
HARLAN ST                     N 21ST ST                     N 22ND ST
SHARSWOOD ST                  RIDGE AVE                     N LAMBERT ST
SHARSWOOD ST                  N LAMBERT ST                  N 21ST ST
N LAMBERT ST                  MASTER ST                     SHARSWOOD ST
N COLLEGE AVE                 RIDGE AVE                     SEYBERT ST
N COLLEGE AVE                 SEYBERT ST                    N 21ST ST
SEYBERT ST                    N 21ST ST                     N 22ND ST
HARLAN ST                     N 19TH ST                     N 20TH ST
INGERSOLL ST                  N 19TH ST                     RIDGE AVE
INGERSOLL ST                  N 18TH ST                     N 19TH ST
KERSHAW ST                    N 18TH ST                     N 19TH ST
N BOUVIER ST                  MASTER ST                     JEFFERSON ST
INGERSOLL ST                  N 17TH ST                     N 18TH ST
MASTER ST                     N SMEDLEY ST                  N 17TH ST
MASTER ST                     N 16TH ST                     N SMEDLEY ST
MASTER ST                     N SYDENHAM ST                 N 16TH ST
MASTER ST                     N 15TH ST                     N SYDENHAM ST
MASTER ST                     N CARLISLE ST                 N 15TH ST
N 16TH ST                     MASTER ST                     JEFFERSON ST
N 16TH ST                     INGERSOLL ST                  MASTER ST
N 15TH ST                     MASTER ST                     JEFFERSON ST
N 15TH ST                     INGERSOLL ST                  MASTER ST
INGERSOLL ST                  N 15TH ST                     N 16TH ST
N SYDENHAM ST                 MASTER ST                     JEFFERSON ST
WILLINGTON ST                 N SMEDLEY ST                  JEFFERSON ST
N CARLISLE ST                 MASTER ST                     JEFFERSON ST
W CLEARFIELD ST               N 30TH ST                     N NAPA ST
W CLEARFIELD ST               N NAPA ST                     W HUNTING PARK AVE
W CLEARFIELD ST               W HUNTING PARK AVE            N PATTON ST
N PATTON ST                   W CLEARFIELD ST               W ALLEGHENY AVE
N NAPA ST                     W CLEARFIELD ST               W HUNTING PARK AVE
N MOLE ST                     W YORK ST                     DEAD END NORTH
SHARSWOOD ST                  N 25TH ST                     DEAD END WEST
HARLAN ST                     N 25TH ST                     DEAD END WEST
W GLENWOOD AVE                N 29TH ST                     N HOLLYWOOD ST
N WOODSTOCK ST                W MONTGOMERY AVE              W BERKS ST
N MARSTON ST                  W CLEARFIELD ST               W ALLEGHENY AVE
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N STILLMAN ST                 W INDIANA AVE                  W CLEARFIELD ST
N STILLMAN ST                 W CAMBRIA ST                   W INDIANA AVE
N BAMBREY ST                  W CAMBRIA ST                   W INDIANA AVE
N BAMBREY ST                  W SOMERSET ST                  W CAMBRIA ST
N 32ND ST                     W SERGEANT ST                  W HUNTINGDON ST
N 21ST ST                     W LEHIGH AVE                   W SOMERSET ST
N 25TH ST                     W ARIZONA ST                   W YORK ST
N GRATZ ST                    CECIL B MOORE AVE              W MONTGOMERY AVE
N GRATZ ST                    W OXFORD ST                    CECIL B MOORE AVE
N GRATZ ST                    JEFFERSON ST                   W OXFORD ST
N BEECHWOOD ST                BOLTON ST                      W OXFORD ST
JEFFERSON ST                  N 22ND ST                      N 23RD ST
MASTER ST                     N STILLMAN ST                  N 26TH ST
STEWART ST                    N 25TH ST                      N 26TH ST
N 16TH ST                     W MONTGOMERY AVE               W BERKS ST
N 15TH ST                     W MONTGOMERY AVE               W BERKS ST
N 17TH ST                     W GLENWOOD AVE                 W SEDGLEY AVE
MARGIE ST                     W GLENWOOD AVE                 W SEDGLEY AVE
W MONTGOMERY AVE              N 29TH ST                      CLIFFORD ST
N 31ST ST                     MASTER ST                      JEFFERSON ST
EDGLEY AVE                    DEAD END EAST                  BELMONT AVE
RESERVOIR DR                  MOUNT PLEASANT DR              EDGLEY DR
FOUNTAIN GREEN DR             KELLY DR                       MOUNT PLEASANT DR
BELMONT AVE                   LANSDOWNE DR                   STATES DR
GREENLAND DR                  MARTIN LUTHER KING DR RAMP N   FORD RD
W CUMBERLAND DR               RIDGE AVE                      STRAWBERRY MANSION DR
GREENLAND DR                  W DAUPHIN DR                   WOODFORD DR
W DAUPHIN DR                  N 33RD ST                      GREENLAND DR
STRAWBERRY MANSION DR         W HUNTINGDON DR                STRAWBERRY MANSION BRG
FOUNTAIN GREEN DR             MOUNT PLEASANT DR              RESERVOIR DR
N 19TH ST                     W CAMBRIA ST                   W INDIANA AVE
W CAMBRIA ST                  N 18TH ST                      N 19TH ST
JUDSON ST                     W CLEARFIELD ST                FOX ST
N 16TH ST                     W SUSQUEHANNA AVE              W DAUPHIN ST
W GLENWOOD AVE                PAGE ST                        RIDGE AVE
N 25TH ST                     DIAMOND ST                     W SEDGLEY AVE
DIAMOND ST                    N 33RD ST                      RESERVOIR DR
RESERVOIR DR                  KELLY DR                       W DAUPHIN DR
STRAWBERRY MANSION DR         W CUMBERLAND DR                GREENLAND DR
GREENLAND DR                  WOODFORD DR                    STRAWBERRY MANSION DR
N GARNET ST                   DEAD END SOUTH                 W INDIANA AVE
W NORRIS ST                   N LAMBERT ST                   N 21ST ST
CHAMOUNIX DR                  DEAD END NORTH                 GREENLAND DR
CHAMOUNIX DR                  GREENLAND DR                   GREENLAND DR
GREENLAND DR                  GREENLAND DR                   CHAMOUNIX DR
GREENLAND DR                  GREENLAND DR                   CHAMOUNIX DR
CHAMOUNIX DR                  GREENLAND DR                   FORD RD
GREENLAND DR                  FORD RD                        GREENLAND DR
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S CHAMOUNIX DR                 CHAMOUNIX DR                   BELMONT MANSION DR
KERSHAW ST                     N 27TH ST                      N MARSTON ST
JEFFERSON ST                   N 31ST ST                      W GLENWOOD AVE
N 26TH ST                      W FLETCHER ST                  W NEVADA ST
N 26TH ST                      W NEVADA ST                    W DAUPHIN ST
W NEVADA ST                    N 29TH ST                      DEAD END WEST
W NEVADA ST                    DEAD END EAST                  N 26TH ST
W SUSQUEHANNA AVE              N 22ND ST                      N 23RD ST
N 23RD ST                      EDGLEY ST                      W SUSQUEHANNA AVE
MARTIN LUTHER KING DR RAMP S   MARTIN LUTHER KING DR          MARTIN LUTHER KING DR RAMP N
STRAWBERRY MANSION DR          W CUMBERLAND DR                W HUNTINGDON DR
KELLY DR                       RESERVOIR DR                   W HUNTING PARK AVE
KELLY DR                       W HUNTING PARK AVE             S FERRY RD
MARTIN LUTHER KING DR RAMP N   GREENLAND DR                   MARTIN LUTHER KING DR
MARTIN LUTHER KING DR          MARTIN LUTHER KING DR RAMP N   FALLS RD
MARTIN LUTHER KING DR          BLACK RD                       MONTGOMERY DR
MARTIN LUTHER KING DR          MARTIN LUTHER KING DR RAMP S   MARTIN LUTHER KING DR RAMP N
STRAWBERRY MANSION DR          WOODFORD DR                    STRAWBERRY MANSION BRG
WOODFORD DR                    GREENLAND DR                   STRAWBERRY MANSION DR
STRAWBERRY MANSION DR          GREENLAND DR                   WOODFORD DR
EDGLEY ST                      N 29TH ST                      N 30TH ST
W SEDGLEY AVE                  N 29TH ST                      N HOLLYWOOD ST
W SEDGLEY AVE                  N HOLLYWOOD ST                 N MYRTLEWOOD ST
W SEDGLEY AVE                  N MYRTLEWOOD ST                N 30TH ST
W SEDGLEY AVE                  N 30TH ST                      EUCLID AVE
W SEDGLEY AVE                  EUCLID AVE                     W MONTGOMERY AVE
W SEDGLEY AVE                  RIDGE AVE                      N 29TH ST
W SEDGLEY AVE                  N ETTING ST                    N MARSTON ST
W SEDGLEY AVE                  DIAMOND ST                     N ETTING ST
W SEDGLEY AVE                  N 28TH ST                      RIDGE AVE
TURNER ST                      N 25TH ST                      N 26TH ST
TURNER ST                      N 24TH ST                      N 25TH ST
NICHOLAS ST                    N 24TH ST                      N 25TH ST
N BAMBREY ST                   CECIL B MOORE AVE              W MONTGOMERY AVE
N BAILEY ST                    CECIL B MOORE AVE              W MONTGOMERY AVE
N TANEY ST                     CECIL B MOORE AVE              W MONTGOMERY AVE
N ETTING ST                    W MONTGOMERY AVE               W BERKS ST
N MARSTON ST                   W MONTGOMERY AVE               W BERKS ST
W EYRE ST                      N 28TH ST                      N MARSTON ST
W EYRE ST                      N MARSTON ST                   N 27TH ST
N MARSTON ST                   CECIL B MOORE AVE              W EYRE ST
N DOVER ST                     CECIL B MOORE AVE              W MONTGOMERY AVE
N DOVER ST                     W OXFORD ST                    CECIL B MOORE AVE
N DOVER ST                     JEFFERSON ST                   W OXFORD ST
N DOVER ST                     W CUMBERLAND ST                W HUNTINGDON ST
N DOVER ST                     MASTER ST                      JEFFERSON ST
N NEWKIRK ST                   W OXFORD ST                    CECIL B MOORE AVE
N NEWKIRK ST                   JEFFERSON ST                   W OXFORD ST
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N NEWKIRK ST                  MASTER ST                     JEFFERSON ST
N MARSTON ST                  KERSHAW ST                    MASTER ST
N MARSTON ST                  MASTER ST                     JEFFERSON ST
N ETTING ST                   MASTER ST                     JEFFERSON ST
N TANEY ST                    INGERSOLL ST                  MASTER ST
N MYRTLEWOOD ST               JEFFERSON ST                  W OXFORD ST
N MYRTLEWOOD ST               MASTER ST                     JEFFERSON ST
N CORLIES ST                  W OXFORD ST                   W GLENWOOD AVE
CLIFFORD ST                   W MONTGOMERY AVE              N 31ST ST
W WILT ST                     N 31ST ST                     N 32ND ST
PAGE ST                       N 30TH ST                     N 31ST ST
W GORDON ST                   N 32ND ST                     N NATRONA ST
W DAKOTA ST                   N 32ND ST                     N NATRONA ST
W DAKOTA ST                   N 31ST ST                     N 32ND ST
W DAKOTA ST                   N 30TH ST                     N 31ST ST
N MYRTLEWOOD ST               W DAUPHIN ST                  W GORDON ST
FRENCH ST                     N 29TH ST                     N 30TH ST
N DOVER ST                    DIAMOND ST                    W SUSQUEHANNA AVE
FRENCH ST                     N 27TH ST                     N MARSTON ST
N VAN PELT ST                 W DAUPHIN ST                  W YORK ST
N WOODSTOCK ST                W DAUPHIN ST                  W YORK ST
N OPAL ST                     W CUMBERLAND ST               W GLENWOOD AVE
N OPAL ST                     W YORK ST                     W CUMBERLAND ST
N GARNET ST                   W CUMBERLAND ST               W GLENWOOD AVE
N GRATZ ST                    W SUSQUEHANNA AVE             W DAUPHIN ST
N CLEVELAND ST                W YORK ST                     W CUMBERLAND ST
N CLEVELAND ST                W DAUPHIN ST                  W YORK ST
N CLEVELAND ST                W SUSQUEHANNA AVE             W DAUPHIN ST
N BOUVIER ST                  W SUSQUEHANNA AVE             W DAUPHIN ST
N COLORADO ST                 W YORK ST                     W CUMBERLAND ST
N CHADWICK ST                 W SUSQUEHANNA AVE             W DAUPHIN ST
W SERGEANT ST                 N 15TH ST                     N SYDENHAM ST
N SYDENHAM ST                 W HAZZARD ST                  W HUNTINGDON ST
N SYDENHAM ST                 W DAUPHIN ST                  W YORK ST
N SYDENHAM ST                 W SUSQUEHANNA AVE             W DAUPHIN ST
W SELTZER ST                  N 27TH ST                     N 28TH ST
W SELTZER ST                  N 26TH ST                     N 27TH ST
W SELTZER ST                  N 25TH ST                     N 26TH ST
W BOSTON ST                   N 20TH ST                     N 21ST ST
PAGE ST                       N 16TH ST                     N 17TH ST
FONTAIN ST                    N 19TH ST                     N 20TH ST
FONTAIN ST                    N GRATZ ST                    N 19TH ST
FONTAIN ST                    N GRATZ ST                    N GRATZ ST
FONTAIN ST                    N CLEVELAND ST                N GRATZ ST
FONTAIN ST                    N 17TH ST                     N 18TH ST
FONTAIN ST                    N 16TH ST                     N 17TH ST
FONTAIN ST                    N 15TH ST                     N 16TH ST
FONTAIN ST                    N 18TH ST                     N CLEVELAND ST
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N CLEVELAND ST                 W NORRIS ST                   FONTAIN ST
N GRATZ ST                     FONTAIN ST                    DIAMOND ST
N GRATZ ST                     DIAMOND ST                    W SUSQUEHANNA AVE
FONTAIN ST                     N CROSKEY ST                  N 23RD ST
PAGE ST                        N CROSKEY ST                  N 23RD ST
N TAYLOR ST                    W BERKS ST                    N RINGGOLD ST
N TAYLOR ST                    W MONTGOMERY AVE              W BERKS ST
N RINGGOLD ST                  W BERKS ST                    N TAYLOR ST
N BUCKNELL ST                  W MONTGOMERY AVE              W BERKS ST
N 32ND ST                      W CLEARFIELD ST               W LIPPINCOTT ST
N 27TH ST                      W CLEARFIELD ST               W ALLEGHENY AVE
N BAMBREY ST                   W CLEARFIELD ST               W ALLEGHENY AVE
W ELKHART ST                   N RINGGOLD ST                 N RINGGOLD ST
N RINGGOLD ST                  N RINGGOLD ST                 W MAYFIELD ST
N RINGGOLD ST                  W INDIANA AVE                 N RINGGOLD ST
N RINGGOLD ST                  W CAMBRIA ST                  W INDIANA AVE
JUDSON ST                      W CAMBRIA ST                  W INDIANA AVE
JUDSON ST                      W INDIANA AVE                 W CLEARFIELD ST
W STELLA ST                    N 21ST ST                     N VAN PELT ST
W STELLA ST                    N LAMBERT ST                  N 21ST ST
W STELLA ST                    N WOODSTOCK ST                N LAMBERT ST
W STELLA ST                    N 20TH ST                     N WOODSTOCK ST
N WOODSTOCK ST                 W MAYFIELD ST                 W TORONTO ST
W CLEARFIELD ST                N CARLISLE ST                 N CARLISLE ST
N CHADWICK ST                  W CLEARFIELD ST               W LIPPINCOTT ST
W LIPPINCOTT ST                N CHADWICK ST                 N 17TH ST
W LIPPINCOTT ST                N BANCROFT ST                 N CHADWICK ST
W LIPPINCOTT ST                N 16TH ST                     BANCROFT CT
N GRATZ ST                     W SEDGLEY AVE                 W SOMERSET ST
N 19TH ST                      W LEHIGH AVE                  W SEDGLEY AVE
N TAYLOR ST                    W SOMERSET ST                 W CAMBRIA ST
W STERNER ST                   N 27TH ST                     N 28TH ST
W STERNER ST                   N 25TH ST                     N 26TH ST
W SILVER ST                    N 27TH ST                     N 28TH ST
W SILVER ST                    N 26TH ST                     N 27TH ST
W SILVER ST                    N 25TH ST                     N 26TH ST
W CUMBERLAND ST                N SPANGLER ST                 N 34TH ST
N MOLE ST                      W HUNTINGDON ST               W SERGEANT ST
MARTIN LUTHER KING DR          MONTGOMERY DR                 MARTIN LUTHER KING DR RAMP S
MONTGOMERY DR                  SCHUYLKILL EXPY RAMP A        BELMONT MANSION DR
ARLINGTON ST                   N RINGGOLD ST                 N 25TH ST
TURNER ST                      N PATTON ST                   N 32ND ST
BOLTON ST                      N 22ND ST                     N CROSKEY ST
W HAROLD ST                    N 33RD ST                     N 34TH ST
W FIRTH ST                     N SPANGLER ST                 N 34TH ST
W SERGEANT ST                  N 33RD ST                     N SPANGLER ST
W HAGERT ST                    N 33RD ST                     RIDGE AVE
W CUMBERLAND ST                N 33RD ST                     N SPANGLER ST
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CLIFFORD ST                   N NATRONA ST                  N 33RD ST
N NATRONA ST                  CLIFFORD ST                   W EYRE ST
N NATRONA ST                  W EYRE ST                     W MONTGOMERY AVE
TURNER ST                     N NATRONA ST                  N 33RD ST
N NATRONA ST                  TURNER ST                     NICHOLAS ST
N NATRONA ST                  DIAMOND ST                    W SUSQUEHANNA AVE
FRENCH ST                     RIDGE AVE                     N 32ND ST
N 32ND ST                     DIAMOND ST                    WESTMONT ST
W CLEARFIELD ST               N SHEDWICK ST                 N 35TH ST
W CLEARFIELD ST               N SPANGLER ST                 N 34TH ST
W CLEARFIELD ST               N 33RD ST                     N SPANGLER ST
W CLEARFIELD ST               N PATTON ST                   N 32ND ST
N 35TH ST                     W INDIANA AVE                 W COMMISSIONER ST
W COMMISSIONER ST             N SHEDWICK ST                 N 35TH ST
N 34TH ST                     W CLEARFIELD ST               W LIPPINCOTT ST
W YORK ST                     N DOUGLAS ST                  N 33RD ST
W YORK ST                     N PATTON ST                   N 32ND ST
N 33RD ST                     W YORK ST                     W HAGERT ST
W HUNTINGDON ST               N 33RD ST                     N 34TH ST
W HUNTINGDON ST               N PATTON ST                   N 32ND ST
W HUNTINGDON ST               N 32ND ST                     N DOUGLAS ST
N 34TH ST                     W HUNTINGDON ST               W HAROLD ST
N 34TH ST                     W HAROLD ST                   W LEHIGH AVE
N 34TH ST                     W FIRTH ST                    W SERGEANT ST
W CUMBERLAND ST               N DOUGLAS ST                  N 33RD ST
W CUMBERLAND ST               N NATRONA ST                  N DOUGLAS ST
W CUMBERLAND ST               N PATTON ST                   N 32ND ST
W SERGEANT ST                 N SPANGLER ST                 N 34TH ST
N SPANGLER ST                 W CUMBERLAND ST               W FIRTH ST
N DOUGLAS ST                  W HUNTINGDON ST               W LEHIGH AVE
N NATRONA ST                  W CUMBERLAND ST               W SERGEANT ST
N 32ND ST                     W CUMBERLAND ST               W SERGEANT ST
W SERGEANT ST                 N NATRONA ST                  N DOUGLAS ST
W SERGEANT ST                 N 32ND ST                     N NATRONA ST
N NATRONA ST                  W ARIZONA ST                  W YORK ST
N NATRONA ST                  W GORDON ST                   W ARIZONA ST
N 32ND ST                     W ARIZONA ST                  W YORK ST
N 32ND ST                     W GORDON ST                   W ARIZONA ST
N 32ND ST                     W DAKOTA ST                   W GORDON ST
N 32ND ST                     RIDGE AVE                     W DAUPHIN ST
W SUSQUEHANNA AVE             RIDGE AVE                     N 32ND ST
W SUSQUEHANNA AVE             N 32ND ST                     N NATRONA ST
W ARIZONA ST                  N 27TH ST                     N 28TH ST
N DOUGLAS ST                  DIAMOND ST                    W SUSQUEHANNA AVE
N NATRONA ST                  W SUSQUEHANNA AVE             RIDGE AVE
W ARIZONA ST                  N 31ST ST                     N 32ND ST
W MONTGOMERY AVE              N NATRONA ST                  N 33RD ST
W NORRIS ST                   N 32ND ST                     N 33RD ST
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W BERKS ST                    N NATRONA ST                  N 33RD ST
MORSE ST                      N NATRONA ST                  N 33RD ST
FONTAIN ST                    N 32ND ST                     N 33RD ST
PAGE ST                       N 32ND ST                     N 33RD ST
N 32ND ST                     FONTAIN ST                    DIAMOND ST
ARLINGTON ST                  N 32ND ST                     N 33RD ST
MONUMENT ST                   N 32ND ST                     N 33RD ST
W NORRIS ST                   N 25TH ST                     N STILLMAN ST
SEYBERT ST                    N COLLEGE AVE                 N 21ST ST
N RINGGOLD ST                 N RINGGOLD ST                 W ELKHART ST
N MOLE ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
W CLEMENTINE ST               N 29TH ST                     N 30TH ST
W CLEARFIELD ST               N 29TH ST                     N 30TH ST
W CLEMENTINE ST               N 28TH ST                     N 29TH ST
W CLEARFIELD ST               N 28TH ST                     N 29TH ST
W CLEARFIELD ST               PENNOCK ST                    N 28TH ST
W CLEARFIELD ST               N 27TH ST                     N MARSTON ST
N NAPA ST                     W HUNTINGDON ST               W LEHIGH AVE
N 31ST ST                     W OAKDALE ST                  W LEHIGH AVE
W HUNTINGDON ST               N 31ST ST                     N NAPA ST
W OAKDALE ST                  N STANLEY ST                  N 31ST ST
W HUNTINGDON ST               N STANLEY ST                  N 31ST ST
W HUNTINGDON ST               N CORLIES ST                  N STANLEY ST
W OAKDALE ST                  N CORLIES ST                  N STANLEY ST
N 30TH ST                     W OAKDALE ST                  CHALMERS AVE
W OAKDALE ST                  N 30TH ST                     N CORLIES ST
W HUNTINGDON ST               N 30TH ST                     N CORLIES ST
W HUNTINGDON ST               N MYRTLEWOOD ST               N 30TH ST
W OAKDALE ST                  N MYRTLEWOOD ST               N 30TH ST
W OAKDALE ST                  N HOLLYWOOD ST                N MYRTLEWOOD ST
W HUNTINGDON ST               N HOLLYWOOD ST                N MYRTLEWOOD ST
W HUNTINGDON ST               N 29TH ST                     N HOLLYWOOD ST
W OAKDALE ST                  N 29TH ST                     N HOLLYWOOD ST
W CLEARFIELD ST               N BAMBREY ST                  N 26TH ST
W CLEARFIELD ST               N STILLMAN ST                 N BAMBREY ST
W CLEARFIELD ST               N 25TH ST                     N STILLMAN ST
W CLEARFIELD ST               N TAYLOR ST                   N 25TH ST
W CLEARFIELD ST               N 24TH ST                     N TAYLOR ST
W CLEARFIELD ST               JUDSON ST                     N 24TH ST
N 23RD ST                     W CLEARFIELD ST               FOX ST
W CLEARFIELD ST               N CHADWICK ST                 N 17TH ST
W CLEARFIELD ST               N BANCROFT ST                 N CHADWICK ST
W CLEARFIELD ST               N 16TH ST                     N BANCROFT ST
W CLEARFIELD ST               N SYDENHAM ST                 N 16TH ST
W CLEARFIELD ST               N 15TH ST                     N SYDENHAM ST
N 15TH ST                     W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST               N CARLISLE ST                 N 15TH ST
N CARLISLE ST                 W CLEARFIELD ST               W ALLEGHENY AVE
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N SYDENHAM ST                  W INDIANA AVE                 W CLEARFIELD ST
N 15TH ST                      SEPTA DWY                     W MAYFIELD ST
W INDIANA AVE                  N SYDENHAM ST                 N 16TH ST
W TORONTO ST                   N 16TH ST                     N 17TH ST
W TORONTO ST                   N LAMBERT ST                  N 21ST ST
N LAMBERT ST                   W INDIANA AVE                 W TORONTO ST
W TORONTO ST                   N WOODSTOCK ST                N LAMBERT ST
W TORONTO ST                   N 20TH ST                     N WOODSTOCK ST
N 20TH ST                      W MAYFIELD ST                 W TORONTO ST
N WOODSTOCK ST                 W INDIANA AVE                 W MAYFIELD ST
N 20TH ST                      W INDIANA AVE                 W MAYFIELD ST
N 21ST ST                      W INDIANA AVE                 W TORONTO ST
W CLEARFIELD ST                N 21ST ST                     N 22ND ST
W TORONTO ST                   N 21ST ST                     N 22ND ST
W INDIANA AVE                  N VAN PELT ST                 N 22ND ST
W INDIANA AVE                  N 21ST ST                     N VAN PELT ST
N 23RD ST                      W INDIANA AVE                 W CLEARFIELD ST
N HEMBERGER ST                 W INDIANA AVE                 FOX ST
N CROSKEY ST                   W INDIANA AVE                 FOX ST
W INDIANA AVE                  N 22ND ST                     N CROSKEY ST
W INDIANA AVE                  N 23RD ST                     N BONSALL ST
W INDIANA AVE                  JUDSON ST                     N 24TH ST
W INDIANA AVE                  N BONSALL ST                  JUDSON ST
W CLEARFIELD ST                N BONSALL ST                  JUDSON ST
W CLEARFIELD ST                N 23RD ST                     N BONSALL ST
N 25TH ST                      W ELKHART ST                  W TORONTO ST
N 24TH ST                      W ELKHART ST                  W TORONTO ST
W INDIANA AVE                  N TAYLOR ST                   N 25TH ST
W INDIANA AVE                  N RINGGOLD ST                 N RINGGOLD ST
W INDIANA AVE                  N 24TH ST                     N RINGGOLD ST
W INDIANA AVE                  N BAMBREY ST                  N 26TH ST
W INDIANA AVE                  N STILLMAN ST                 N BAMBREY ST
W INDIANA AVE                  N 25TH ST                     N STILLMAN ST
N BAMBREY ST                   W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                  N TANEY ST                    CHALMERS AVE
W INDIANA AVE                  N BAILEY ST                   N TANEY ST
W INDIANA AVE                  N 26TH ST                     N BAILEY ST
W CAMBRIA ST                   N MARSTON ST                  N 28TH ST
N MARSTON ST                   W CAMBRIA ST                  CHALMERS AVE
W CAMBRIA ST                   N 27TH ST                     N MARSTON ST
CHALMERS AVE                   N MARSTON ST                  W INDIANA AVE
W CAMBRIA ST                   N TANEY ST                    N 27TH ST
W CAMBRIA ST                   N BAILEY ST                   N TANEY ST
W CAMBRIA ST                   N 26TH ST                     N BAILEY ST
W CAMBRIA ST                   N BAMBREY ST                  N 26TH ST
W CAMBRIA ST                   N STILLMAN ST                 N BAMBREY ST
W CAMBRIA ST                   N 25TH ST                     N STILLMAN ST
W CAMBRIA ST                   N TAYLOR ST                   N 25TH ST
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W CAMBRIA ST                  N RINGGOLD ST                 N TAYLOR ST
W CAMBRIA ST                  N 24TH ST                     N RINGGOLD ST
W CAMBRIA ST                  JUDSON ST                     N 24TH ST
W CAMBRIA ST                  N BONSALL ST                  JUDSON ST
W CAMBRIA ST                  N 23RD ST                     N BONSALL ST
N 23RD ST                     W CAMBRIA ST                  W INDIANA AVE
N CROSKEY ST                  W CAMBRIA ST                  W INDIANA AVE
N VAN PELT ST                 W STELLA ST                   W INDIANA AVE
N 21ST ST                     W STELLA ST                   W INDIANA AVE
N VAN PELT ST                 W CAMBRIA ST                  W STELLA ST
N 21ST ST                     W CAMBRIA ST                  W STELLA ST
N LAMBERT ST                  W CAMBRIA ST                  W STELLA ST
N WOODSTOCK ST                W CAMBRIA ST                  W STELLA ST
N 20TH ST                     W CAMBRIA ST                  W STELLA ST
N 20TH ST                     W STELLA ST                   W INDIANA AVE
W INDIANA AVE                 N HICKS ST                    N SYDENHAM ST
W INDIANA AVE                 N 15TH ST                     N HICKS ST
W SOMERSET ST                 N 20TH ST                     N WOODSTOCK ST
N OPAL ST                     W SOMERSET ST                 W CAMBRIA ST
W CAMBRIA ST                  N OPAL ST                     N 20TH ST
N GARNET ST                   W SOMERSET ST                 W CAMBRIA ST
W CAMBRIA ST                  N GARNET ST                   N OPAL ST
W CAMBRIA ST                  N 19TH ST                     N GARNET ST
W SOMERSET ST                 N VAN PELT ST                 N 22ND ST
N VAN PELT ST                 W SOMERSET ST                 W CAMBRIA ST
N 21ST ST                     W SOMERSET ST                 W CAMBRIA ST
N CROSKEY ST                  W SOMERSET ST                 W CAMBRIA ST
N 23RD ST                     W SOMERSET ST                 W CAMBRIA ST
N BONSALL ST                  W SOMERSET ST                 W CAMBRIA ST
N 24TH ST                     W SOMERSET ST                 W CAMBRIA ST
JUDSON ST                     W SOMERSET ST                 W CAMBRIA ST
W SOMERSET ST                 N RINGGOLD ST                 N TAYLOR ST
W SOMERSET ST                 N 24TH ST                     N RINGGOLD ST
W SOMERSET ST                 N BAMBREY ST                  N 26TH ST
W SOMERSET ST                 N STILLMAN ST                 N BAMBREY ST
N STILLMAN ST                 W SOMERSET ST                 W CAMBRIA ST
N 25TH ST                     W SOMERSET ST                 W CAMBRIA ST
W SOMERSET ST                 N TAYLOR ST                   N 25TH ST
N BAILEY ST                   W SOMERSET ST                 W CAMBRIA ST
N 26TH ST                     W SOMERSET ST                 W CAMBRIA ST
N 28TH ST                     W SOMERSET ST                 W CAMBRIA ST
N MARSTON ST                  W SOMERSET ST                 W CAMBRIA ST
N 27TH ST                     W SOMERSET ST                 W CAMBRIA ST
N TANEY ST                    W SOMERSET ST                 W CAMBRIA ST
N HOLLYWOOD ST                W LEHIGH AVE                  CHALMERS AVE
CHALMERS AVE                  W LEHIGH AVE                  N HOLLYWOOD ST
CHALMERS AVE                  N HOLLYWOOD ST                N 29TH ST
N NEWKIRK ST                  W LEHIGH AVE                  W SOMERSET ST
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W SOMERSET ST                 N NEWKIRK ST                  N DOVER ST
N 28TH ST                     W LEHIGH AVE                  W STERNER ST
W SOMERSET ST                 N 28TH ST                     N NEWKIRK ST
N 28TH ST                     W SELTZER ST                  W SOMERSET ST
N 27TH ST                     W SELTZER ST                  W SOMERSET ST
N 28TH ST                     W SILVER ST                   W SELTZER ST
N 27TH ST                     W SILVER ST                   W SELTZER ST
N 28TH ST                     W STERNER ST                  W SILVER ST
N 27TH ST                     W STERNER ST                  W SILVER ST
N 27TH ST                     W LEHIGH AVE                  W STERNER ST
N 26TH ST                     W SELTZER ST                  W SOMERSET ST
N 26TH ST                     W SILVER ST                   W SELTZER ST
N 26TH ST                     W STERNER ST                  W SILVER ST
N 26TH ST                     W LEHIGH AVE                  W STERNER ST
N 25TH ST                     W SELTZER ST                  W SOMERSET ST
N 25TH ST                     W SILVER ST                   W SELTZER ST
N 25TH ST                     W STERNER ST                  W SILVER ST
N 25TH ST                     W LEHIGH AVE                  W STERNER ST
N TAYLOR ST                   W LEHIGH AVE                  W SOMERSET ST
N RINGGOLD ST                 W LEHIGH AVE                  W SOMERSET ST
N 24TH ST                     W LEHIGH AVE                  W SOMERSET ST
JUDSON ST                     W LEHIGH AVE                  W SOMERSET ST
W SOMERSET ST                 JUDSON ST                     N 24TH ST
N BONSALL ST                  W LEHIGH AVE                  W SOMERSET ST
W SOMERSET ST                 N BONSALL ST                  JUDSON ST
N 23RD ST                     W LEHIGH AVE                  W SOMERSET ST
W SOMERSET ST                 N 23RD ST                     N BONSALL ST
N HEMBERGER ST                W LEHIGH AVE                  W SOMERSET ST
W SOMERSET ST                 N HEMBERGER ST                N 23RD ST
N CROSKEY ST                  W LEHIGH AVE                  W SOMERSET ST
W SOMERSET ST                 N CROSKEY ST                  N CROSKEY ST
W SOMERSET ST                 N 22ND ST                     N CROSKEY ST
N 20TH ST                     W LEHIGH AVE                  W SOMERSET ST
N OPAL ST                     W LEHIGH AVE                  W SOMERSET ST
N GARNET ST                   W SEDGLEY AVE                 W SOMERSET ST
N 19TH ST                     W SEDGLEY AVE                 W SOMERSET ST
W SOMERSET ST                 N GRATZ ST                    N 19TH ST
W SOMERSET ST                 W SEDGLEY AVE                 N GRATZ ST
N 16TH ST                     W LEHIGH AVE                  W SELTZER ST
N SYDENHAM ST                 W LEHIGH AVE                  W SELTZER ST
N 16TH ST                     W SELTZER ST                  W GLENWOOD AVE
N HICKS ST                    W LEHIGH AVE                  W SELTZER ST
N 16TH ST                     W OAKDALE ST                  W LEHIGH AVE
N 15TH ST                     W OAKDALE ST                  W LEHIGH AVE
N 16TH ST                     W TUCKER ST                   W OAKDALE ST
N 15TH ST                     W TUCKER ST                   W OAKDALE ST
N CHADWICK ST                 W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N 17TH ST                     N COLORADO ST
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N BANCROFT ST                 W HUNTINGDON ST               W LEHIGH AVE
N 16TH ST                     W HUNTINGDON ST               W TUCKER ST
N 17TH ST                     W HUNTINGDON ST               W LEHIGH AVE
N COLORADO ST                 W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N BOUVIER ST                  N 18TH ST
N BOUVIER ST                  W HUNTINGDON ST               W GLENWOOD AVE
W HUNTINGDON ST               N 18TH ST                     N CLEVELAND ST
W OAKDALE ST                  N 22ND ST                     N 23RD ST
W HAROLD ST                   N 22ND ST                     N 23RD ST
W HUNTINGDON ST               N 22ND ST                     N 23RD ST
W OAKDALE ST                  N 23RD ST                     N 24TH ST
W HAROLD ST                   N 23RD ST                     N 24TH ST
W HUNTINGDON ST               N 23RD ST                     N 24TH ST
N 25TH ST                     W OAKDALE ST                  W LEHIGH AVE
N 24TH ST                     W OAKDALE ST                  W LEHIGH AVE
N 25TH ST                     W HAROLD ST                   W OAKDALE ST
N 24TH ST                     W HAROLD ST                   W OAKDALE ST
N 26TH ST                     W OAKDALE ST                  W LEHIGH AVE
N 26TH ST                     W HAROLD ST                   W OAKDALE ST
N 26TH ST                     W OAKDALE ST                  W OAKDALE ST
N 25TH ST                     W HUNTINGDON ST               W HAROLD ST
W HUNTINGDON ST               N 26TH ST                     N 27TH ST
W ALBERT ST                   N 27TH ST                     N 28TH ST
W OAKDALE ST                  N 27TH ST                     N 28TH ST
N 28TH ST                     W OAKDALE ST                  W LEHIGH AVE
N 28TH ST                     W ALBERT ST                   W OAKDALE ST
W ALBERT ST                   N 28TH ST                     N 29TH ST
W HUNTINGDON ST               N DOVER ST                    N 29TH ST
W HAROLD ST                   N 28TH ST                     N 29TH ST
W HUNTINGDON ST               N 28TH ST                     N NEWKIRK ST
N PATTON ST                   W CUMBERLAND ST               W HUNTINGDON ST
N NAPA ST                     W CUMBERLAND ST               W HUNTINGDON ST
W HUNTINGDON ST               N NAPA ST                     N PATTON ST
W CUMBERLAND ST               N 31ST ST                     N NAPA ST
W CUMBERLAND ST               N STANLEY ST                  N 31ST ST
W CUMBERLAND ST               N CORLIES ST                  N STANLEY ST
W CUMBERLAND ST               N 30TH ST                     N CORLIES ST
W CUMBERLAND ST               N MYRTLEWOOD ST               N 30TH ST
W CUMBERLAND ST               N HOLLYWOOD ST                N MYRTLEWOOD ST
W CUMBERLAND ST               N 29TH ST                     N HOLLYWOOD ST
W CUMBERLAND ST               N DOVER ST                    N 29TH ST
W HUNTINGDON ST               N NEWKIRK ST                  N DOVER ST
W CUMBERLAND ST               N NEWKIRK ST                  N DOVER ST
W CUMBERLAND ST               N 28TH ST                     N NEWKIRK ST
N MARSTON ST                  W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N MARSTON ST                  N 28TH ST
W CUMBERLAND ST               N 27TH ST                     N MARSTON ST
N 27TH ST                     W CUMBERLAND ST               W SERGEANT ST
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N 26TH ST                     W FIRTH ST                    W SERGEANT ST
W SERGEANT ST                 N 25TH ST                     N 26TH ST
W FIRTH ST                    N 25TH ST                     N 26TH ST
N 26TH ST                     W CUMBERLAND ST               W FIRTH ST
N 25TH ST                     W CUMBERLAND ST               W FIRTH ST
N 25TH ST                     W FIRTH ST                    W SERGEANT ST
N 24TH ST                     W FIRTH ST                    W SERGEANT ST
N 24TH ST                     W CUMBERLAND ST               W FIRTH ST
W HUNTINGDON ST               N 24TH ST                     N 25TH ST
W SERGEANT ST                 N 24TH ST                     N 25TH ST
N 24TH ST                     W SERGEANT ST                 W HUNTINGDON ST
N 23RD ST                     W SERGEANT ST                 W HUNTINGDON ST
W SERGEANT ST                 N 23RD ST                     N 24TH ST
W FIRTH ST                    N 23RD ST                     N 24TH ST
N 23RD ST                     W FIRTH ST                    W SERGEANT ST
N 23RD ST                     W CUMBERLAND ST               W FIRTH ST
W SERGEANT ST                 N 22ND ST                     N 23RD ST
W FIRTH ST                    N 22ND ST                     N 23RD ST
W CUMBERLAND ST               N OPAL ST                     N 20TH ST
W CUMBERLAND ST               N GARNET ST                   N OPAL ST
MARGIE ST                     N 19TH ST                     W GLENWOOD AVE
W CUMBERLAND ST               N 19TH ST                     N GARNET ST
W CUMBERLAND ST               N GRATZ ST                    N 19TH ST
W HUNTINGDON ST               N GRATZ ST                    W GLENWOOD AVE
N GRATZ ST                    W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N BOUVIER ST                  N 18TH ST
N BOUVIER ST                  W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N COLORADO ST                 N BOUVIER ST
W CUMBERLAND ST               N 18TH ST                     N CLEVELAND ST
N COLORADO ST                 W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N 17TH ST                     N COLORADO ST
W HUNTINGDON ST               N CHADWICK ST                 N 17TH ST
W CUMBERLAND ST               N CHADWICK ST                 N 17TH ST
N CHADWICK ST                 W CUMBERLAND ST               W HUNTINGDON ST
N BANCROFT ST                 W CUMBERLAND ST               W HUNTINGDON ST
W HUNTINGDON ST               N BANCROFT ST                 N CHADWICK ST
W HUNTINGDON ST               N SYDENHAM ST                 N MOLE ST
N 15TH ST                     W SERGEANT ST                 W HAZZARD ST
N 15TH ST                     W FIRTH ST                    W SERGEANT ST
N 15TH ST                     W CUMBERLAND ST               W FIRTH ST
W CUMBERLAND ST               N 15TH ST                     N SYDENHAM ST
W HUNTINGDON ST               N 16TH ST                     N BANCROFT ST
W CUMBERLAND ST               N 16TH ST                     N BANCROFT ST
N CARLISLE ST                 W YORK ST                     W HAGERT ST
W CUMBERLAND ST               N CARLISLE ST                 N 15TH ST
N CARLISLE ST                 W LETTERLY ST                 W CUMBERLAND ST
N 15TH ST                     W LETTERLY ST                 W CUMBERLAND ST
N CARLISLE ST                 W HAGERT ST                   W LETTERLY ST
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W BOSTON ST                   N 15TH ST                     N SYDENHAM ST
W YORK ST                     N MOLE ST                     N 16TH ST
N 16TH ST                     W YORK ST                     W CUMBERLAND ST
W YORK ST                     N CARLISLE ST                 N 15TH ST
N BANCROFT ST                 W YORK ST                     W CUMBERLAND ST
W YORK ST                     N CHADWICK ST                 N 17TH ST
W YORK ST                     N 17TH ST                     N COLORADO ST
W YORK ST                     N COLORADO ST                 N BOUVIER ST
W YORK ST                     N BOUVIER ST                  N 18TH ST
N CHADWICK ST                 W YORK ST                     W CUMBERLAND ST
W YORK ST                     N 18TH ST                     N CLEVELAND ST
W YORK ST                     N CLEVELAND ST                N GRATZ ST
W CUMBERLAND ST               N CLEVELAND ST                N GRATZ ST
W YORK ST                     N GRATZ ST                    N 19TH ST
W YORK ST                     N 19TH ST                     N GARNET ST
W YORK ST                     N GARNET ST                   N OPAL ST
W CUMBERLAND ST               N 20TH ST                     W GLENWOOD AVE
N 20TH ST                     W BOSTON ST                   W HAGERT ST
N 21ST ST                     W YORK ST                     W BOSTON ST
N 20TH ST                     W YORK ST                     W BOSTON ST
W YORK ST                     N OPAL ST                     N 20TH ST
N 24TH ST                     W HAGERT ST                   W CUMBERLAND ST
N 23RD ST                     W HAGERT ST                   W CUMBERLAND ST
N 24TH ST                     W YORK ST                     W HAGERT ST
W HAGERT ST                   N 23RD ST                     N 24TH ST
W YORK ST                     W SEDGLEY AVE                 N 24TH ST
N 25TH ST                     W HAGERT ST                   W CUMBERLAND ST
W HAGERT ST                   N 24TH ST                     N 25TH ST
N 26TH ST                     W HAGERT ST                   W CUMBERLAND ST
W HAGERT ST                   N 25TH ST                     N 26TH ST
W YORK ST                     N 25TH ST                     N 26TH ST
W HAGERT ST                   N 26TH ST                     N 27TH ST
W CUMBERLAND ST               N 26TH ST                     N 27TH ST
W YORK ST                     N 26TH ST                     N 27TH ST
N 27TH ST                     W YORK ST                     W HAGERT ST
N MARSTON ST                  W YORK ST                     W CUMBERLAND ST
N 28TH ST                     W YORK ST                     W CUMBERLAND ST
W YORK ST                     N NEWKIRK ST                  N DOVER ST
W YORK ST                     N 28TH ST                     N NEWKIRK ST
W YORK ST                     N 29TH ST                     N HOLLYWOOD ST
W YORK ST                     N HOLLYWOOD ST                N MYRTLEWOOD ST
W YORK ST                     N MYRTLEWOOD ST               N 30TH ST
N 30TH ST                     W YORK ST                     W CUMBERLAND ST
N CORLIES ST                  W YORK ST                     W CUMBERLAND ST
N STANLEY ST                  W YORK ST                     W CUMBERLAND ST
W CUMBERLAND ST               N 32ND ST                     N NATRONA ST
W YORK ST                     N 32ND ST                     N NATRONA ST
W CUMBERLAND ST               N NAPA ST                     N PATTON ST
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W YORK ST                     N NAPA ST                     N PATTON ST
W YORK ST                     N 31ST ST                     N NAPA ST
N 31ST ST                     W YORK ST                     W CUMBERLAND ST
W ARIZONA ST                  N 30TH ST                     N 31ST ST
W GORDON ST                   N 30TH ST                     N 31ST ST
W YORK ST                     N 30TH ST                     N CORLIES ST
W ARIZONA ST                  N 29TH ST                     N 30TH ST
W GORDON ST                   N MYRTLEWOOD ST               N 30TH ST
W GORDON ST                   N 29TH ST                     N MYRTLEWOOD ST
W ARIZONA ST                  N 26TH ST                     N 27TH ST
W GORDON ST                   N 25TH ST                     N 26TH ST
W ARIZONA ST                  N 25TH ST                     N 26TH ST
W YORK ST                     N 24TH ST                     N 25TH ST
N 25TH ST                     W GORDON ST                   W ARIZONA ST
W GORDON ST                   W SEDGLEY AVE                 N 25TH ST
N 24TH ST                     W GORDON ST                   W YORK ST
W GLENWOOD AVE                N 22ND ST                     N CROSKEY ST
W GLENWOOD AVE                W YORK ST                     N 22ND ST
W YORK ST                     N VAN PELT ST                 W GLENWOOD AVE
W YORK ST                     N LAMBERT ST                  N 21ST ST
W YORK ST                     N WOODSTOCK ST                N LAMBERT ST
W YORK ST                     N 21ST ST                     N VAN PELT ST
W YORK ST                     N 20TH ST                     N WOODSTOCK ST
N GARNET ST                   W DAUPHIN ST                  W YORK ST
N 17TH ST                     W DAUPHIN ST                  W YORK ST
N 16TH ST                     W DAUPHIN ST                  W YORK ST
N SMEDLEY ST                  W DAUPHIN ST                  W YORK ST
W YORK ST                     N 15TH ST                     N SYDENHAM ST
W SOMERSET ST                 N DOVER ST                    N 29TH ST
N 15TH ST                     W LEHIGH AVE                  W SELTZER ST
N 15TH ST                     W SELTZER ST                  W GLENWOOD AVE
N 19TH ST                     W INDIANA AVE                 DEAD END NORTH
N 23RD ST                     W SUSQUEHANNA AVE             W GLENWOOD AVE
MOUNT PLEASANT DR             FOUNTAIN GREEN DR             RESERVOIR DR
N DOVER ST                    W LEHIGH AVE                  W SOMERSET ST
N DOVER ST                    W YORK ST                     W CUMBERLAND ST
N NATRONA ST                  GUEST ST                      TURNER ST
N NATRONA ST                  W OXFORD ST                   GUEST ST
N NATRONA ST                  MORSE ST                      W BERKS ST
WESTMONT ST                   N 31ST ST                     N 32ND ST
W GORDON ST                   N 31ST ST                     N 32ND ST
N ETTING ST                   PAGE ST                       W SEDGLEY AVE
W GORDON ST                   N 26TH ST                     N 27TH ST
N OPAL ST                     W DAUPHIN ST                  W YORK ST
N CLEVELAND ST                W CUMBERLAND ST               W HUNTINGDON ST
W HAGERT ST                   N CARLISLE ST                 N 15TH ST
W LETTERLY ST                 N CARLISLE ST                 N 15TH ST
W HAZZARD ST                  N 15TH ST                     N SYDENHAM ST
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N SYDENHAM ST                 W SERGEANT ST                 W HAZZARD ST
N SYDENHAM ST                 W FIRTH ST                    W SERGEANT ST
N SYDENHAM ST                 W CUMBERLAND ST               W FIRTH ST
N SYDENHAM ST                 W BOSTON ST                   W CUMBERLAND ST
N SYDENHAM ST                 W YORK ST                     W BOSTON ST
W SELTZER ST                  N SYDENHAM ST                 N 16TH ST
W SELTZER ST                  N HICKS ST                    N SYDENHAM ST
W SELTZER ST                  N 15TH ST                     N HICKS ST
W HAGERT ST                   N 20TH ST                     W GLENWOOD AVE
N TAYLOR ST                   N RINGGOLD ST                 N 24TH ST
W BERKS ST                    W GLENWOOD AVE                N NEWKIRK ST
W TORONTO ST                  N TANEY ST                    N 27TH ST
W TORONTO ST                  N BAILEY ST                   N TANEY ST
W TORONTO ST                  N 26TH ST                     N BAILEY ST
W ELKHART ST                  N RINGGOLD ST                 N 25TH ST
W ELKHART ST                  N 24TH ST                     N RINGGOLD ST
W MAYFIELD ST                 N 24TH ST                     N RINGGOLD ST
W MAYFIELD ST                 N 20TH ST                     N WOODSTOCK ST
N SYDENHAM ST                 W STELLA ST                   W INDIANA AVE
N ROSEWOOD ST                 W CLEARFIELD ST               W ALLEGHENY AVE
N CARLISLE ST                 W TORONTO ST                  W CLEARFIELD ST
N NEWKIRK ST                  W SOMERSET ST                 CHALMERS AVE
W STERNER ST                  N 26TH ST                     N 27TH ST
W OAKDALE ST                  N 26TH ST                     N 27TH ST
CONSHOHOCKEN AVE              E COUNTRY CLUB RD             W COUNTRY CLUB RD
E COUNTRY CLUB RD             COUNTRY CLUB RD               LANKENAU RD
COUNTRY CLUB RD               E COUNTRY CLUB RD             W MIMI CIR
CONSHOHOCKEN AVE              W COUNTRY CLUB RD             CRANSTON RD
W COUNTRY CLUB RD             LANKENAU RD                   CONSHOHOCKEN AVE
W MIMI CIR                    MIMI CIR                      COUNTRY CLUB RD
E MIMI CIR                    MIMI CIR                      COUNTRY CLUB RD
MIMI CIR                      E MIMI CIR                    W MIMI CIR
LANKENAU AVE                  WENTWORTH RD                  DAPHNE RD
ELLINGTON RD                  DAPHNE RD                     WENTWORTH RD
CRANSTON RD                   LANKENAU AVE                  CONSHOHOCKEN AVE
DAPHNE RD                     ELLINGTON RD                  LANKENAU AVE
BALWYNNE PARK RD              CRANSTON RD                   FORD RD
CRANSTON RD                   BALWYNNE PARK RD              FORD RD
E COUNTRY CLUB RD             LANKENAU RD                   CONSHOHOCKEN AVE
COUNTRY CLUB RD               W MIMI CIR                    W COUNTRY CLUB RD
W COUNTRY CLUB RD             COUNTRY CLUB RD               LANKENAU RD
LANKENAU AVE                  DAPHNE RD                     CRANSTON RD
LANKENAU RD                   E COUNTRY CLUB RD             W COUNTRY CLUB RD
CHAMOUNIX DR                  FORD RD                       RIDGELAND DWY
CHAMOUNIX DR                  RIDGELAND DWY                 S CHAMOUNIX DR
RIDGELAND DWY                 CHAMOUNIX DR                  DEAD END SOUTH
FORD RD                       GREENLAND DR                  RECYCLING CENTER DWY
FORD RD                       RECYCLING CENTER DWY          CHAMOUNIX DR
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RECYCLING CENTER DWY           FORD RD                       DEAD END SOUTH
RESERVOIR DR                   MOUNT PLEASANT DR             FOUNTAIN GREEN DR
MOUNT PLEASANT DR              RESERVOIR DR                  FOUNTAIN GREEN DR
N 28TH ST                      W ARIZONA ST                  W YORK ST
N 27TH ST                      RIDGE AVE                     GLENWOOD DR
N 27TH ST                      GLENWOOD DR                   W BERKS ST
W BERKS ST                     PHA DRIVEWAY                  N 27TH ST
W BERKS ST                     RIDGE DR                      PHA DRIVEWAY
W BERKS ST                     N 25TH ST                     RIDGE DR
N STILLMAN ST                  W NORRIS ST                   PAGE ST
N 15TH ST                      W BERKS ST                    W NORRIS ST
N NEWKIRK ST                   W BERKS ST                    RIDGE AVE
N MARSTON ST                   PAGE ST                       W SEDGLEY AVE
PAGE ST                        N ETTING ST                   N MARSTON ST
EDGLEY ST                      N 23RD ST                     JUDSON ST
W GLENWOOD AVE                 N 23RD ST                     EDGLEY ST
N 22ND ST                      BOLTON ST                     W OXFORD ST
JEFFERSON ST                   N 23RD ST                     N 24TH ST
N 24TH ST                      BOLTON ST                     REDNER ST
N CROSKEY ST                   BOLTON ST                     NASSAU ST
NASSAU ST                      N 22ND ST                     N CROSKEY ST
JUDSON ST                      W NORRIS ST                   DIAMOND ST
JUDSON ST                      DIAMOND ST                    EDGLEY ST
EDGLEY ST                      N 24TH ST                     W GLENWOOD AVE
N 34TH ST                      W CUMBERLAND ST               W FIRTH ST
W CLEARFIELD ST                DEAD END EAST                 N 20TH ST
W BERKS ST                     N ETTING ST                   N ETTING ST
W BERKS ST                     N 28TH ST                     W GLENWOOD AVE
W GLENWOOD AVE                 N 28TH ST                     W BERKS ST
W YORK ST                      N 33RD ST                     RIDGE AVE
N 23RD ST                      W GLENWOOD AVE                W DAUPHIN ST
N HICKS ST                     W STELLA ST                   W INDIANA AVE
W STELLA ST                    N HICKS ST                    N SYDENHAM ST
N RINGGOLD ST                  W NORRIS ST                   ARLINGTON ST
W GORDON ST                    N 27TH ST                     DEAD END WEST
N 23RD ST                      DIAMOND ST                    EDGLEY ST
N 24TH ST                      W NORRIS ST                   DIAMOND ST
N 24TH ST                      DIAMOND ST                    EDGLEY ST
EDGLEY ST                      JUDSON ST                     N 24TH ST
EDGLEY ST                      N 23RD ST                     N 23RD ST
W SERGEANT ST                  N MOLE ST                     N 16TH ST
N GRATZ ST                     HARLAN ST                     JEFFERSON ST
HARLAN ST                      N GRATZ ST                    N 19TH ST
HARLAN ST                      N 18TH ST                     N GRATZ ST
WENTWORTH RD                   ELLINGTON RD                  LANKENAU AVE
DAPHNE RD                      FORD RD                       ELLINGTON RD
CRANSTON RD                    FORD RD                       LANKENAU AVE
N 18TH ST                      HARLAN ST                     JEFFERSON ST
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EDGLEY DR                     RESERVOIR DR                   W DAUPHIN DR
BLACK RD                      MARTIN LUTHER KING DR          LANSDOWNE DR
HORTICULTURAL DR              BELMONT MANSION DR             BELMONT AVE
BELMONT MANSION DR            HORTICULTURAL DR               MONTGOMERY DR
HORTICULTURAL DR              LANSDOWNE DR                   BELMONT MANSION DR
MONTGOMERY DR                 SCHUYLKILL EXPY RAMP C         SCHUYLKILL EXPY RAMP A
MONTGOMERY DR                 MARTIN LUTHER KING DR          SCHUYLKILL EXPY RAMP C
MONTGOMERY DR                 BELMONT MANSION DR             BELMONT AVE
MASTER ST                     N 31ST ST                      BREWERYTOWN CT
MASTER ST                     BREWERYTOWN CT                 N 32ND ST
W OXFORD ST                   N 19TH ST                      N UBER ST
W OXFORD ST                   N UBER ST                      N 20TH ST
JEFFERSON ST                  N 19TH ST                      N UBER ST
JEFFERSON ST                  N UBER ST                      N 20TH ST
N UBER ST                     JEFFERSON ST                   W OXFORD ST
SMITH MEMORIAL DR             RESERVOIR DR                   RESERVOIR DR
RESERVOIR DR                  N 33RD ST                      SMITH MEMORIAL DR
RESERVOIR DR                  SMITH MEMORIAL DR              SMITH MEMORIAL DR
RESERVOIR DR                  SMITH MEMORIAL DR              MOUNT PLEASANT DR
N 19TH ST                     HARLAN ST                      JEFFERSON ST
N 20TH ST                     HARLAN ST                      JEFFERSON ST
FALLS RD                      KELLY DR                       N SCHUYLKILL RIVER TRL
FALLS RD                      N SCHUYLKILL RIVER TRL         FALLS RD
FALLS RD                      FALLS RD                       MARTIN LUTHER KING DR
STRAWBERRY MANSION BRG        MARTIN LUTHER KING DR RAMP N   STRAWBERRY MANSION BRG
STRAWBERRY MANSION BRG        STRAWBERRY MANSION BRG         STRAWBERRY MANSION DR
BELMONT MANSION DR            MONTGOMERY DR                  S CHAMOUNIX DR
CONSHOHOCKEN AVE              CONSHOHOCKEN AVE               E COUNTRY CLUB RD
CONSHOHOCKEN AVE              FALLS RD                       CONSHOHOCKEN AVE
CONSHOHOCKEN AVE              BROWNS WAY                     MONUMENT RD
CONSHOHOCKEN AVE              CRANSTON RD                    BROWNS WAY
W LIPPINCOTT ST               N 17TH ST                      W ALLEGHENY AVE
N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL         N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL         N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL         FALLS RD
N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL         N SCHUYLKILL RIVER TRL
MIMI CIR                      W MIMI CIR                     E MIMI CIR
KELLY DR                      KELLY DR                       RESERVOIR DR
KELLY DR                      FOUNTAIN GREEN DR              KELLY DR
JEFFERSON ST                  N WOODSTOCK ST                 RIDGE AVE
REDNER ST                     N WOODSTOCK ST                 N 21ST ST
N PARK AVE                    W LIPPINCOTT ST                W WISHART ST
N 13TH ST                     W LIPPINCOTT ST                W WISHART ST
W LIPPINCOTT ST               N 13TH ST                      N PARK AVE
N 12TH ST                     W SEDGLEY AVE                  W ALLEGHENY AVE
N PARK AVE                    W CLEMENTINE ST                W LIPPINCOTT ST
N 13TH ST                     W CLEMENTINE ST                W LIPPINCOTT ST
W CLEMENTINE ST               N 13TH ST                      N PARK AVE
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W CLEARFIELD ST                N BROAD ST                    N ROSEWOOD ST
W SEDGLEY AVE                  N 12TH ST                     N CAMAC ST
N CAMAC ST                     W SEDGLEY AVE                 W ALLEGHENY AVE
N PARK AVE                     W CLEARFIELD ST               W CLEMENTINE ST
W CLEARFIELD ST                N PARK AVE                    N BROAD ST
W SEDGLEY AVE                  N 12TH ST                     W CLEARFIELD ST
W CLEARFIELD ST                W SEDGLEY AVE                 N 13TH ST
N 13TH ST                      W CLEARFIELD ST               W CLEMENTINE ST
W CLEARFIELD ST                N 13TH ST                     N PARK AVE
N 12TH ST                      W CLEARFIELD ST               N CAMAC ST
W CLEARFIELD ST                N 12TH ST                     W SEDGLEY AVE
N PARK AVE                     W TORONTO ST                  W CLEARFIELD ST
W TORONTO ST                   N PARK AVE                    N BROAD ST
W TORONTO ST                   N BROAD ST                    N CARLISLE ST
N PARK AVE                     W SEDGLEY AVE                 W TORONTO ST
N 10TH ST                      W CLEARFIELD ST               W GLENWOOD AVE
W CLEARFIELD ST                N 10TH ST                     W GLENWOOD AVE
N HUTCHINSON ST                W CLEARFIELD ST               W GLENWOOD AVE
W CLEARFIELD ST                N HUTCHINSON ST               N 10TH ST
N PERCY ST                     W CLEARFIELD ST               W GLENWOOD AVE
W CLEARFIELD ST                N PERCY ST                    N HUTCHINSON ST
N 9TH ST                       W CLEARFIELD ST               W GLENWOOD AVE
W CLEARFIELD ST                N 9TH ST                      N PERCY ST
N DARIEN ST                    W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST                N DARIEN ST                   N 9TH ST
N 8TH ST                       W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST                N 8TH ST                      N DARIEN ST
W MAYFIELD ST                  N BROAD ST                    N 15TH ST
N FRANKLIN ST                  W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST                N FRANKLIN ST                 N 8TH ST
N 7TH ST                       W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST                N 7TH ST                      N FRANKLIN ST
N SHERIDAN ST                  W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST                N SHERIDAN ST                 N 7TH ST
W CLEARFIELD ST                N MARSHALL ST                 N SHERIDAN ST
N AMERICAN ST                  W LIPPINCOTT ST               W WISHART ST
N WENDLE ST                    W CLEARFIELD ST               W ALLEGHENY AVE
W CLEARFIELD ST                N WENDLE ST                   N MARSHALL ST
W SEDGLEY AVE                  N PARK AVE                    N BROAD ST
W CLEARFIELD ST                N 6TH ST                      N WENDLE ST
W LIPPINCOTT ST                N 2ND ST                      N AMERICAN ST
W CLEARFIELD ST                N REESE ST                    N 6TH ST
W LIPPINCOTT ST                PALETHORP ST                  N 2ND ST
W CLEARFIELD ST                N 5TH ST                      N REESE ST
W INDIANA AVE                  N BROAD ST                    N 15TH ST
N HANCOCK ST                   W LIPPINCOTT ST               W WISHART ST
W LIPPINCOTT ST                N HANCOCK ST                  PALETHORP ST
N 7TH ST                       W MAYFIELD ST                 W CLEARFIELD ST
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W CLEARFIELD ST                N ORKNEY ST                   N 5TH ST
W CLEARFIELD ST                N LAWRENCE ST                 N ORKNEY ST
MASCHER ST                     W LIPPINCOTT ST               W WISHART ST
W LIPPINCOTT ST                MASCHER ST                    N HANCOCK ST
N MARSHALL ST                  W MAYFIELD ST                 W CLEARFIELD ST
W MAYFIELD ST                  N MARSHALL ST                 N 7TH ST
W CLEARFIELD ST                N LEITHGOW ST                 N LAWRENCE ST
N 12TH ST                      W GLENWOOD AVE                W CLEARFIELD ST
W MAYFIELD ST                  N 6TH ST                      N MARSHALL ST
N HOWARD ST                    W LIPPINCOTT ST               W WISHART ST
W LIPPINCOTT ST                N HOWARD ST                   MASCHER ST
W LIPPINCOTT ST                HOPE ST                       N HOWARD ST
W LIPPINCOTT ST                N FRONT ST                    HOPE ST
E LIPPINCOTT ST                N FRONT ST                    N LEE ST
N 12TH ST                      W INDIANA AVE                 W GLENWOOD AVE
E LIPPINCOTT ST                N LEE ST                      N WATER ST
W GURNEY ST                    N ORIANNA ST                  W CLEARFIELD ST
N MARVINE ST                   W INDIANA AVE                 W GLENWOOD AVE
W INDIANA AVE                  N MARVINE ST                  N 12TH ST
A ST                           E LIPPINCOTT ST               E WISHART ST
E LIPPINCOTT ST                N WATER ST                    A ST
N 11TH ST                      W INDIANA AVE                 W GLENWOOD AVE
W INDIANA AVE                  N 11TH ST                     N MARVINE ST
ELLA ST                        E LIPPINCOTT ST               E WISHART ST
E LIPPINCOTT ST                A ST                          ELLA ST
N WARNOCK ST                   W INDIANA AVE                 GERMANTOWN AVE
W INDIANA AVE                  N WARNOCK ST                  N 11TH ST
PALETHORP ST                   W CLEARFIELD ST               W LIPPINCOTT ST
W CLEARFIELD ST                PALETHORP ST                  N 2ND ST
N HANCOCK ST                   W CLEARFIELD ST               W LIPPINCOTT ST
W CLEARFIELD ST                N HANCOCK ST                  PALETHORP ST
W GURNEY ST                    N 3RD ST                      N ORIANNA ST
B ST                           E LIPPINCOTT ST               E WISHART ST
E LIPPINCOTT ST                ELLA ST                       B ST
W CLEARFIELD ST                MUTTER ST                     N HANCOCK ST
N 10TH ST                      GERMANTOWN AVE                W CLEARFIELD ST
W INDIANA AVE                  GERMANTOWN AVE                N WARNOCK ST
N HUTCHINSON ST                W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                  N HUTCHINSON ST               GERMANTOWN AVE
MASCHER ST                     W CLEARFIELD ST               W LIPPINCOTT ST
W CLEARFIELD ST                MASCHER ST                    MUTTER ST
N PERCY ST                     W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                  N PERCY ST                    N HUTCHINSON ST
W CLEARFIELD ST                WATERLOO ST                   MASCHER ST
N HOWARD ST                    W CLEARFIELD ST               W LIPPINCOTT ST
W CLEARFIELD ST                N HOWARD ST                   WATERLOO ST
N 9TH ST                       W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                  N 9TH ST                      N PERCY ST
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HOPE ST                            W CLEARFIELD ST               W LIPPINCOTT ST
W CLEARFIELD ST                    HOPE ST                       N HOWARD ST
N DARIEN ST                        W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                      N DARIEN ST                   N 9TH ST
N 11TH ST                          W STELLA ST                   W INDIANA AVE
N 8TH ST                           W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                      N 8TH ST                      N DARIEN ST
W CLEARFIELD ST                    E CLEARFIELD ST               HOPE ST
N 3RD ST                           W ELKHART ST                  W GURNEY ST
N LEE ST                           E CLEARFIELD ST               E LIPPINCOTT ST
E CLEARFIELD ST                    N FRONT ST                    N LEE ST
N FRANKLIN ST                      W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                      N FRANKLIN ST                 N 8TH ST
W ELKHART ST                       DEAD END EAST                 N 3RD ST
N WATER ST                         E CLEARFIELD ST               E LIPPINCOTT ST
E CLEARFIELD ST                    N LEE ST                      N WATER ST
W STELLA ST                        GERMANTOWN AVE                N 11TH ST
N 7TH ST                           W INDIANA AVE                 W MAYFIELD ST
W INDIANA AVE                      N 7TH ST                      N FRANKLIN ST
E CLEARFIELD ST                    N WATER ST                    N SWANSON ST
A ST                               E CLEARFIELD ST               E LIPPINCOTT ST
E CLEARFIELD ST                    N SWANSON ST                  A ST
N MARSHALL ST                      W INDIANA AVE                 W MAYFIELD ST
W INDIANA AVE                      N MARSHALL ST                 N 7TH ST
E CLEARFIELD ST                    A ST                          ELLA ST
E ST                               E LIPPINCOTT ST               E WISHART ST
W INDIANA AVE                      N 6TH ST                      N MARSHALL ST
N 11TH ST                          W ORLEANS ST                  W STELLA ST
W INDIANA AVE                      N FAIRHILL ST                 N 6TH ST
B ST                               E CLEARFIELD ST               E LIPPINCOTT ST
E CLEARFIELD ST                    ELLA ST                       B ST
N 3RD ST                           W MAYFIELD ST                 W ELKHART ST
N REESE ST                         W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                      N REESE ST                    N FAIRHILL ST
F ST                               E LIPPINCOTT ST               E WISHART ST
E LIPPINCOTT ST                    E ST                          F ST
W ORLEANS ST                       GERMANTOWN AVE                N 11TH ST
E CLEARFIELD ST                    B ST                          ORMES ST
W MAYFIELD ST                      DEAD END EAST                 N 3RD ST
W INDIANA AVE                      N 5TH ST                      N REESE ST
W GURNEY ST                        N 2ND ST                      N PHILIP ST
MUTTER ST                          W TUSCULUM ST                 W CLEARFIELD ST
N 9TH ST                           W STELLA ST                   W INDIANA AVE
N ORKNEY ST                        W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                      N ORKNEY ST                   N 5TH ST
ROSEHILL ST                        E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                    ORMES ST                      ROSEHILL ST
W CAMBRIA ST                       N WATTS ST                    W GLENWOOD AVE
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N LAWRENCE ST                  W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                  N LAWRENCE ST                 N ORKNEY ST
E ST                           E CLEMENTINE ST               E LIPPINCOTT ST
W CAMBRIA ST                   N PARK AVE                    N WATTS ST
C ST                           E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                ROSEHILL ST                   C ST
N 11TH ST                      W MONMOUTH ST                 W ORLEANS ST
ARBOR ST                       E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                C ST                          ARBOR ST
ELLA ST                        E ELKHART ST                  E CLEARFIELD ST
N LEITHGOW ST                  W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                  N LEITHGOW ST                 N LAWRENCE ST
N 8TH ST                       W STELLA ST                   W INDIANA AVE
W STELLA ST                    N 8TH ST                      N 9TH ST
N PARK AVE                     W CAMBRIA ST                  W GLENWOOD AVE
W CAMBRIA ST                   N PARK AVE                    N PARK AVE
MASCHER ST                     W TUSCULUM ST                 W CLEARFIELD ST
W TUSCULUM ST                  MASCHER ST                    MUTTER ST
N 4TH ST                       W INDIANA AVE                 W CLEARFIELD ST
W INDIANA AVE                  N 4TH ST                      N LEITHGOW ST
BOUDINOT ST                    E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                ARBOR ST                      BOUDINOT ST
N 13TH ST                      W CAMBRIA ST                  W GLENWOOD AVE
W CAMBRIA ST                   N 13TH ST                     N PARK AVE
HURLEY ST                      E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                BOUDINOT ST                   HURLEY ST
POTTER ST                      G ST                          E ALLEGHENY AVE
N ORIANNA ST                   W INDIANA AVE                 W GURNEY ST
W INDIANA AVE                  N ORIANNA ST                  N 4TH ST
B ST                           E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   ELLA ST                       B ST
F ST                           E CLEMENTINE ST               E LIPPINCOTT ST
E CLEMENTINE ST                E ST                          F ST
D ST                           E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                HURLEY ST                     D ST
W MONMOUTH ST                  GERMANTOWN AVE                N 11TH ST
N 3RD ST                       W INDIANA AVE                 W MAYFIELD ST
W INDIANA AVE                  N 3RD ST                      N ORIANNA ST
N CAMAC ST                     W CAMBRIA ST                  W GLENWOOD AVE
W CAMBRIA ST                   N CAMAC ST                    N 13TH ST
E CLEARFIELD ST                D ST                          GRANSBACK ST
N 12TH ST                      W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                   N 12TH ST                     N CAMAC ST
RORER ST                       E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                GRANSBACK ST                  RORER ST
N 9TH ST                       W BIRCH ST                    W STELLA ST
WATERLOO ST                    W TUSCULUM ST                 W CLEARFIELD ST
W TUSCULUM ST                  WATERLOO ST                   MASCHER ST
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HARTVILLE ST                       E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                    RORER ST                      HARTVILLE ST
N AMERICAN ST                      W INDIANA AVE                 W GURNEY ST
JASPER ST                          E HILTON ST                   E MADISON ST
W CAMBRIA ST                       N MARVINE ST                  N 12TH ST
ELLA ST                            E STELLA ST                   E ELKHART ST
N PHILIP ST                        W INDIANA AVE                 W GURNEY ST
E ST                               E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                    HARTVILLE ST                  E ST
N 8TH ST                           W BIRCH ST                    W STELLA ST
W BIRCH ST                         N 8TH ST                      N 9TH ST
N 11TH ST                          W CAMBRIA ST                  W MONMOUTH ST
W CAMBRIA ST                       N 11TH ST                     N MARVINE ST
BOUDINOT ST                        E ELKHART ST                  E CLEARFIELD ST
N PARK AVE                         W WILLIAM ST                  W CAMBRIA ST
W INDIANA AVE                      PALETHORP ST                  N 2ND ST
B ST                               E STELLA ST                   E ELKHART ST
E STELLA ST                        ELLA ST                       B ST
W CAMBRIA ST                       N WARNOCK ST                  N 11TH ST
N HOWARD ST                        W TUSCULUM ST                 W CLEARFIELD ST
W TUSCULUM ST                      N HOWARD ST                   WATERLOO ST
W INDIANA AVE                      N HANCOCK ST                  PALETHORP ST
D ST                               E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                       BOUDINOT ST                   D ST
N 13TH ST                          W WILLIAM ST                  W CAMBRIA ST
W WILLIAM ST                       N 13TH ST                     N PARK AVE
W CAMBRIA ST                       GERMANTOWN AVE                N WARNOCK ST
W INDIANA AVE                      MUTTER ST                     N HANCOCK ST
F ST                               E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                    E ST                          F ST
WEYMOUTH ST                        E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                    F ST                          WEYMOUTH ST
W CAMBRIA ST                       N HUTCHINSON ST               GERMANTOWN AVE
E CLEMENTINE ST                    KENSINGTON AVE                RUTH ST
N 13TH ST                          W WILLIAM ST                  W WILLIAM ST
W STELLA ST                        N AMERICAN ST                 N 3RD ST
CUSTER ST                          E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                    WEYMOUTH ST                   CUSTER ST
EMERALD ST                         E WILLARD ST                  E WESTMORELAND ST
E CLEARFIELD ST                    CUSTER ST                     POTTER ST
ELLA ST                            E MAYFIELD ST                 E STELLA ST
N PARK AVE                         W AUBURN ST                   W WILLIAM ST
N 9TH ST                           W CAMBRIA ST                  W BIRCH ST
W CAMBRIA ST                       N 9TH ST                      N HUTCHINSON ST
REACH ST                           E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST                    POTTER ST                     REACH ST
JASPER ST                          E ALLEGHENY AVE               E HILTON ST
MASCHER ST                         W GURNEY ST                   W TUSCULUM ST
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W INDIANA AVE                      W GURNEY ST                   MUTTER ST
E CLEARFIELD ST                    REACH ST                      G ST
W CAMBRIA ST                       N DARIEN ST                   N 9TH ST
BRADDOCK ST                        E WESTMORELAND ST             E CORNWALL ST
HOPE ST                            W TUSCULUM ST                 W CLEARFIELD ST
W TUSCULUM ST                      W INDIANA AVE                 N HOWARD ST
EMERALD ST                         E WILLARD ST                  E WILLARD ST
N 12TH ST                          W WILLIAM ST                  W CAMBRIA ST
W WILLIAM ST                       N 12TH ST                     N 13TH ST
B ST                               E MAYFIELD ST                 E STELLA ST
E MAYFIELD ST                      ELLA ST                       B ST
PALETHORP ST                       W STELLA ST                   W INDIANA AVE
W INDIANA AVE                      N FRONT ST                    W TUSCULUM ST
N 8TH ST                           W CAMBRIA ST                  W BIRCH ST
W CAMBRIA ST                       N 8TH ST                      N DARIEN ST
N 13TH ST                          W AUBURN ST                   W WILLIAM ST
W AUBURN ST                        N 13TH ST                     N PARK AVE
W RUSH ST                          N BROAD ST                    W GLENWOOD AVE
N LEE ST                           E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                      N FRONT ST                    N LEE ST
N HANCOCK ST                       W STELLA ST                   W INDIANA AVE
W STELLA ST                        N HANCOCK ST                  PALETHORP ST
N WATTS ST                         W RUSH ST                     W CAMBRIA ST
W RUSH ST                          N WATTS ST                    N BROAD ST
N FRANKLIN ST                      W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                       N FRANKLIN ST                 N 8TH ST
AMBER ST                           E ONTARIO ST                  E TIOGA ST
N WATER ST                         E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                      N LEE ST                      N WATER ST
E CLEMENTINE ST                    RUTH ST                       STOUTON ST
N PARK AVE                         W RUSH ST                     W AUBURN ST
W RUSH ST                          N PARK AVE                    N WATTS ST
N 7TH ST                           W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                       N 7TH ST                      N FRANKLIN ST
N SWANSON ST                       E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                      N WATER ST                    N SWANSON ST
W GURNEY ST                        WATERLOO ST                   MASCHER ST
JASPER ST                          E WISHART ST                  E ALLEGHENY AVE
A ST                               E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                      N SWANSON ST                  A ST
N PARK AVE                         W RUSH ST                     W RUSH ST
N MARSHALL ST                      W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                       N MARSHALL ST                 N 7TH ST
N 13TH ST                          W RUSH ST                     W AUBURN ST
EMERALD ST                         E MADISON ST                  E WILLARD ST
JASPER ST                          E WISHART ST                  E WISHART ST
ELLA ST                            E INDIANA AVE                 E MAYFIELD ST
E INDIANA AVE                      A ST                          ELLA ST
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W BIRCH ST                    N AMERICAN ST                 N 3RD ST
W TUSCULUM ST                 E TUSCULUM ST                 W INDIANA AVE
N 13TH ST                     W RUSH ST                     W RUSH ST
W RUSH ST                     N 13TH ST                     N PARK AVE
RUTH ST                       E CLEARFIELD ST               E CLEMENTINE ST
W CAMBRIA ST                  N 6TH ST                      N MARSHALL ST
PALETHORP ST                  W BIRCH ST                    W STELLA ST
E INDIANA AVE                 ELLA ST                       KIP ST
E WESTMORELAND ST             BRADDOCK ST                   JOYCE ST
N HANCOCK ST                  W BIRCH ST                    W STELLA ST
W BIRCH ST                    N HANCOCK ST                  PALETHORP ST
N FAIRHILL ST                 W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  N FAIRHILL ST                 N 6TH ST
N 12TH ST                     W RUSH ST                     W WILLIAM ST
W RUSH ST                     N 12TH ST                     N 13TH ST
B ST                          E INDIANA AVE                 E MAYFIELD ST
E INDIANA AVE                 KIP ST                        B ST
W GURNEY ST                   N HOWARD ST                   WATERLOO ST
N REESE ST                    W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  N REESE ST                    N FAIRHILL ST
JASPER ST                     E LIPPINCOTT ST               E WISHART ST
E LIPPINCOTT ST               KENSINGTON AVE                JASPER ST
ORMES ST                      E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 B ST                          ORMES ST
COLLINS ST                    E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  AMBER ST                      COLLINS ST
W SOMERSET ST                 N BROAD ST                    W GLENWOOD AVE
ROSEHILL ST                   E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 ORMES ST                      ROSEHILL ST
W CAMBRIA ST                  N 5TH ST                      N REESE ST
POTTER ST                     F ST                          E CLEARFIELD ST
F ST                          POTTER ST                     E CLEARFIELD ST
E INDIANA AVE                 ROSEHILL ST                   RUTLEDGE ST
C ST                          E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 RUTLEDGE ST                   C ST
JASPER ST                     E LIPPINCOTT ST               E LIPPINCOTT ST
N ORKNEY ST                   W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  N ORKNEY ST                   N 5TH ST
STOUTON ST                    E CLEARFIELD ST               E CLEMENTINE ST
N LAWRENCE ST                 W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  N LAWRENCE ST                 N ORKNEY ST
N HUTCHINSON ST               W AUBURN ST                   W CAMBRIA ST
PALETHORP ST                  W MONMOUTH ST                 W BIRCH ST
ARBOR ST                      E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 C ST                          ARBOR ST
N PARK AVE                    W SOMERSET ST                 W RUSH ST
W SOMERSET ST                 N PARK AVE                    N BROAD ST
N LEITHGOW ST                 W CAMBRIA ST                  W INDIANA AVE
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W CAMBRIA ST                  N LEITHGOW ST                 N LAWRENCE ST
N HANCOCK ST                  W MONMOUTH ST                 W BIRCH ST
W MONMOUTH ST                 N HANCOCK ST                  PALETHORP ST
JASPER ST                     E CLEMENTINE ST               E LIPPINCOTT ST
E CLEMENTINE ST               STOUTON ST                    JASPER ST
BOUDINOT ST                   E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                 ARBOR ST                      BOUDINOT ST
JANNEY ST                     E TIOGA ST                    E VENANGO ST
N 4TH ST                      W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  N 4TH ST                      N LEITHGOW ST
N 9TH ST                      W AUBURN ST                   W CAMBRIA ST
W AUBURN ST                   N 9TH ST                      N HUTCHINSON ST
N 13TH ST                     W SOMERSET ST                 W RUSH ST
W SOMERSET ST                 N 13TH ST                     N PARK AVE
W GURNEY ST                   HOPE ST                       N HOWARD ST
E INDIANA AVE                 BOUDINOT ST                   HURLEY ST
E WESTMORELAND ST             JOYCE ST                      FRANKFORD AVE
N ORIANNA ST                  W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  N ORIANNA ST                  N 4TH ST
EMERALD ST                    E ALLEGHENY AVE               E MADISON ST
JOYCE ST                      E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  EMERALD ST                    JOYCE ST
D ST                          E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                 HURLEY ST                     D ST
W CAMBRIA ST                  N 3RD ST                      N ORIANNA ST
GRANSBACK ST                  E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 D ST                          GRANSBACK ST
JASPER ST                     E CLEMENTINE ST               E CLEMENTINE ST
N 12TH ST                     W SOMERSET ST                 W RUSH ST
W SOMERSET ST                 N 12TH ST                     N 13TH ST
RORER ST                      E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 GRANSBACK ST                  RORER ST
N PARK AVE                    W SELTZER ST                  W SOMERSET ST
W SELTZER ST                  N PARK AVE                    N BROAD ST
HARTVILLE ST                  E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 RORER ST                      HARTVILLE ST
W CAMBRIA ST                  N AMERICAN ST                 N 3RD ST
N MARVINE ST                  W SOMERSET ST                 W CAMBRIA ST
W SOMERSET ST                 N MARVINE ST                  N 12TH ST
E ST                          E INDIANA AVE                 E CLEARFIELD ST
E INDIANA AVE                 HARTVILLE ST                  E ST
N PHILIP ST                   W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  N PHILIP ST                   N AMERICAN ST
WEIKEL ST                     E TIOGA ST                    E VENANGO ST
E TIOGA ST                    JANNEY ST                     WEIKEL ST
N PARK AVE                    W SELTZER ST                  W SELTZER ST
CORAL ST                      E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             FRANKFORD AVE                 CORAL ST
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N 11TH ST                     W SOMERSET ST                 W CAMBRIA ST
W SOMERSET ST                 N 11TH ST                     N MARVINE ST
W GURNEY ST                   E GURNEY ST                   HOPE ST
W CAMBRIA ST                  N 2ND ST                      N PHILIP ST
N 13TH ST                     W SELTZER ST                  W SOMERSET ST
W SELTZER ST                  N 13TH ST                     N PARK AVE
N WARNOCK ST                  W SOMERSET ST                 W CAMBRIA ST
W SOMERSET ST                 N WARNOCK ST                  N 11TH ST
PALETHORP ST                  W CAMBRIA ST                  W MONMOUTH ST
W CAMBRIA ST                  PALETHORP ST                  N 2ND ST
JASPER ST                     E CLEARFIELD ST               E CLEMENTINE ST
N HANCOCK ST                  W CAMBRIA ST                  W MONMOUTH ST
W CAMBRIA ST                  N HANCOCK ST                  PALETHORP ST
N 7TH ST                      W RUSH ST                     W CAMBRIA ST
F ST                          E INDIANA AVE                 POTTER ST
E INDIANA AVE                 E ST                          KENSINGTON AVE
W SOMERSET ST                 GERMANTOWN AVE                N WARNOCK ST
N 13TH ST                     W SELTZER ST                  W SELTZER ST
E WILLARD ST                  JOYCE ST                      FRANKFORD AVE
EMERALD ST                    E WISHART ST                  E ALLEGHENY AVE
E WISHART ST                  JASPER ST                     EMERALD ST
MUTTER ST                     W CAMBRIA ST                  W INDIANA AVE
W CAMBRIA ST                  MUTTER ST                     N HANCOCK ST
N MARSHALL ST                 W RUSH ST                     W CAMBRIA ST
W RUSH ST                     N MARSHALL ST                 N 7TH ST
BOUDINOT ST                   HART LN                       E INDIANA AVE
MASCHER ST                    W CAMBRIA ST                  W GURNEY ST
W CAMBRIA ST                  MASCHER ST                    MUTTER ST
N PARK AVE                    W SILVER ST                   W SELTZER ST
W SILVER ST                   N PARK AVE                    N BROAD ST
N HUTCHINSON ST               W SOMERSET ST                 W AUBURN ST
W SOMERSET ST                 N HUTCHINSON ST               GERMANTOWN AVE
AMBER ST                      E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             CORAL ST                      AMBER ST
WATERLOO ST                   W CAMBRIA ST                  W GURNEY ST
W CAMBRIA ST                  WATERLOO ST                   MASCHER ST
N HOWARD ST                   W CAMBRIA ST                  W GURNEY ST
W CAMBRIA ST                  N HOWARD ST                   WATERLOO ST
N 12TH ST                     W SELTZER ST                  W SOMERSET ST
W SELTZER ST                  N 12TH ST                     N 13TH ST
N 9TH ST                      W SOMERSET ST                 W AUBURN ST
W SOMERSET ST                 N 9TH ST                      N HUTCHINSON ST
N PARK AVE                    W SILVER ST                   W SILVER ST
TULIP ST                      E TIOGA ST                    E VENANGO ST
E TIOGA ST                    WEIKEL ST                     TULIP ST
HOPE ST                       W CAMBRIA ST                  W GURNEY ST
W CAMBRIA ST                  HOPE ST                       N HOWARD ST
N DARIEN ST                   W SOMERSET ST                 W CAMBRIA ST
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W SOMERSET ST                 N DARIEN ST                   N 9TH ST
W CAMBRIA ST                  N FRONT ST                    HOPE ST
N 8TH ST                      W SOMERSET ST                 W CAMBRIA ST
W SOMERSET ST                 N 8TH ST                      N DARIEN ST
N 13TH ST                     W SILVER ST                   W SELTZER ST
W SILVER ST                   N 13TH ST                     N PARK AVE
EMERALD ST                    E LIPPINCOTT ST               E WISHART ST
E LIPPINCOTT ST               JASPER ST                     EMERALD ST
E CAMBRIA ST                  N FRONT ST                    N LEE ST
E GURNEY ST                   N FRONT ST                    E CAMBRIA ST
E CAMBRIA ST                  N LEE ST                      E GURNEY ST
N FRANKLIN ST                 W SOMERSET ST                 W CAMBRIA ST
W SOMERSET ST                 N FRANKLIN ST                 N 8TH ST
E MADISON ST                  EMERALD ST                    FRANKFORD AVE
N 7TH ST                      W SOMERSET ST                 W RUSH ST
W SOMERSET ST                 N 7TH ST                      N FRANKLIN ST
JASPER ST                     DEAD END WEST                 E CLEARFIELD ST
A ST                          E CAMBRIA ST                  E INDIANA AVE
E TUSCULUM ST                 N FRONT ST                    A ST
N HUTCHINSON ST               W SELTZER ST                  W SOMERSET ST
E GURNEY ST                   E CAMBRIA ST                  N WATER ST
N 13TH ST                     W SILVER ST                   W SILVER ST
COLLINS ST                    E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             AMBER ST                      COLLINS ST
ELLA ST                       E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                  E TUSCULUM ST                 ELLA ST
RUTH ST                       E ORLEANS ST                  E CLEARFIELD ST
E ORLEANS ST                  KENSINGTON AVE                RUTH ST
HURLEY ST                     HART LN                       E INDIANA AVE
HART LN                       BOUDINOT ST                   HURLEY ST
E VENANGO ST                  ARAMINGO AVE                  CEDAR ST
N 9TH ST                      W SELTZER ST                  W SOMERSET ST
W SELTZER ST                  N 9TH ST                      N HUTCHINSON ST
N 12TH ST                     W SILVER ST                   W SELTZER ST
AMBER ST                      E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  FRANKFORD AVE                 AMBER ST
EMERALD ST                    E CLEMENTINE ST               E LIPPINCOTT ST
E CLEMENTINE ST               JASPER ST                     EMERALD ST
W SOMERSET ST                 N 6TH ST                      N 7TH ST
KIP ST                        E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                  ELLA ST                       KIP ST
E CAMBRIA ST                  KIP ST                        KIP ST
N MARVINE ST                  W SILVER ST                   W SOMERSET ST
W SILVER ST                   N MARVINE ST                  N 12TH ST
N FAIRHILL ST                 W SOMERSET ST                 W CAMBRIA ST
N 12TH ST                     W SILVER ST                   W SILVER ST
W SILVER ST                   N 12TH ST                     N 13TH ST
N HUTCHINSON ST               W SILVER ST                   W SELTZER ST
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W SILVER ST                    N HUTCHINSON ST               GERMANTOWN AVE
GAUL ST                        PICKWICK ST                   CASTOR AVE
B ST                           E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                   KIP ST                        B ST
JANNEY ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                   COLLINS ST                    JANNEY ST
N 11TH ST                      W SILVER ST                   W SOMERSET ST
W SILVER ST                    N 11TH ST                     N MARVINE ST
N REESE ST                     W SOMERSET ST                 W CAMBRIA ST
E CAMBRIA ST                   B ST                          ORMES ST
N WARNOCK ST                   W SILVER ST                   W SOMERSET ST
W SILVER ST                    N WARNOCK ST                  N 11TH ST
A ST                           E GURNEY ST                   E TUSCULUM ST
E GURNEY ST                    N WATER ST                    A ST
N HUTCHINSON ST                W SILVER ST                   W SILVER ST
ROSEHILL ST                    E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                   ORMES ST                      ROSEHILL ST
N ORKNEY ST                    W SOMERSET ST                 W CAMBRIA ST
W SILVER ST                    GERMANTOWN AVE                N WARNOCK ST
RUTLEDGE ST                    E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                   ROSEHILL ST                   RUTLEDGE ST
C ST                           E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                   RUTLEDGE ST                   C ST
N 9TH ST                       W SILVER ST                   W SELTZER ST
W SILVER ST                    N 9TH ST                      N HUTCHINSON ST
N LAWRENCE ST                  W SOMERSET ST                 W CAMBRIA ST
EMERALD ST                     E CLEARFIELD ST               E CLEMENTINE ST
N LEITHGOW ST                  W SOMERSET ST                 W CAMBRIA ST
N 4TH ST                       W SOMERSET ST                 W CAMBRIA ST
HELEN ST                       E ELKHART ST                  E CLEARFIELD ST
BOUDINOT ST                    E CAMBRIA ST                  HART LN
E CAMBRIA ST                   C ST                          BOUDINOT ST
N PARK AVE                     W LEHIGH AVE                  W SILVER ST
COLLINS ST                     E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                   AMBER ST                      COLLINS ST
WEIKEL ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                   JANNEY ST                     WEIKEL ST
B ST                           E WILLIAM ST                  E CAMBRIA ST
N ORIANNA ST                   W SOMERSET ST                 W CAMBRIA ST
D ST                           E CAMBRIA ST                  E INDIANA AVE
HART LN                        HURLEY ST                     E CAMBRIA ST
E CAMBRIA ST                   BOUDINOT ST                   D ST
N 13TH ST                      W LEHIGH AVE                  W SILVER ST
PICKWICK ST                    GAUL ST                       MILLER ST
GRANSBACK ST                   E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                   D ST                          GRANSBACK ST
ORMES ST                       E WILLIAM ST                  E CAMBRIA ST
E WILLIAM ST                   B ST                          ORMES ST
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N HUTCHINSON ST                W STERNER ST                  W SILVER ST
RORER ST                       E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                   GRANSBACK ST                  RORER ST
HARTVILLE ST                   E CAMBRIA ST                  E INDIANA AVE
E CAMBRIA ST                   RORER ST                      HARTVILLE ST
E WISHART ST                   EMERALD ST                    FRANKFORD AVE
N 9TH ST                       W STERNER ST                  W SILVER ST
W STERNER ST                   N 9TH ST                      N HUTCHINSON ST
N 12TH ST                      W LEHIGH AVE                  W SILVER ST
E GURNEY ST                    A ST                          A ST
PICKWICK ST                    MILLER ST                     BELGRADE ST
E ST                           KENSINGTON AVE                E INDIANA AVE
E CAMBRIA ST                   HARTVILLE ST                  E ST
RUTH ST                        E MONMOUTH ST                 E ORLEANS ST
E MONMOUTH ST                  KENSINGTON AVE                RUTH ST
E TIOGA ST                     TULIP ST                      ARAMINGO AVE
AMBER ST                       E ALLEGHENY AVE               E WILLARD ST
N 11TH ST                      W LEHIGH AVE                  W SILVER ST
PALETHORP ST                   W SOMERSET ST                 W CAMBRIA ST
E ORLEANS ST                   RUTH ST                       JASPER ST
N HANCOCK ST                   W SOMERSET ST                 W CAMBRIA ST
KIP ST                         E TUSCULUM ST                 E CAMBRIA ST
E TUSCULUM ST                  A ST                          KIP ST
TULIP ST                       E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                   WEIKEL ST                     TULIP ST
MUTTER ST                      W SOMERSET ST                 W CAMBRIA ST
GAUL ST                        E VENANGO ST                  PICKWICK ST
E VENANGO ST                   CEDAR ST                      GAUL ST
EMERALD ST                     E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   HELEN ST                      EMERALD ST
N 13TH ST                      W OAKDALE ST                  W LEHIGH AVE
MASCHER ST                     W SOMERSET ST                 W CAMBRIA ST
WATERLOO ST                    W SOMERSET ST                 W CAMBRIA ST
N HUTCHINSON ST                W LEHIGH AVE                  W STERNER ST
N HOWARD ST                    W SOMERSET ST                 W CAMBRIA ST
RUTH ST                        E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                   KENSINGTON AVE                RUTH ST
HOPE ST                        W SOMERSET ST                 W CAMBRIA ST
JOYCE ST                       E COMMISSIONER ST             E CLEARFIELD ST
E CLEMENTINE ST                EMERALD ST                    FRANKFORD AVE
N 9TH ST                       W LEHIGH AVE                  W STERNER ST
W OAKDALE ST                   N 12TH ST                     N 13TH ST
BOUDINOT ST                    E AUBURN ST                   E CAMBRIA ST
JASPER ST                      E BIRCH ST                    E ORLEANS ST
E ONTARIO ST                   TULIP ST                      AGATE ST
CEDAR ST                       E TIOGA ST                    E VENANGO ST
E TIOGA ST                     ARAMINGO AVE                  CEDAR ST
W OAKDALE ST                   N SARTAIN ST                  N 12TH ST
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N DARIEN ST                    W LEHIGH AVE                  W SOMERSET ST
COLLINS ST                     E ALLEGHENY AVE               E WILLARD ST
N LEE ST                       E SOMERSET ST                 E CAMBRIA ST
W OAKDALE ST                   N JESSUP ST                   N SARTAIN ST
D ST                           E AUBURN ST                   HART LN
E AUBURN ST                    BOUDINOT ST                   D ST
N 8TH ST                       W LEHIGH AVE                  W SOMERSET ST
B ST                           E TUSCULUM ST                 E WILLIAM ST
E TUSCULUM ST                  KIP ST                        B ST
N WATER ST                     E SOMERSET ST                 E GURNEY ST
MILLER ST                      E VENANGO ST                  PICKWICK ST
E VENANGO ST                   GAUL ST                       MILLER ST
W OAKDALE ST                   N 11TH ST                     N JESSUP ST
E COMMISSIONER ST              JOYCE ST                      BRADDOCK ST
N 13TH ST                      W TUCKER ST                   W OAKDALE ST
N SWANSON ST                   E SOMERSET ST                 E GURNEY ST
AMBER ST                       E WISHART ST                  E ALLEGHENY AVE
A ST                           E SOMERSET ST                 E GURNEY ST
N 7TH ST                       W LEHIGH AVE                  W SOMERSET ST
HART LN                        E CAMBRIA ST                  KENSINGTON AVE
E STELLA ST                    DEAD END NORTH                EMERALD ST
BRADDOCK ST                    E COMMISSIONER ST             E CLEARFIELD ST
E COMMISSIONER ST              BRADDOCK ST                   BRADDOCK ST
W TUCKER ST                    N 12TH ST                     N 13TH ST
E GURNEY ST                    A ST                          E SOMERSET ST
JASPER ST                      E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                  RUTH ST                       JASPER ST
B ST                           E SOMERSET ST                 E TUSCULUM ST
E ONTARIO ST                   AGATE ST                      MEMPHIS ST
E CAMBRIA ST                   RUTH ST                       STOUTON ST
BRADDOCK ST                    E ELKHART ST                  E COMMISSIONER ST
E ELKHART ST                   EMERALD ST                    BRADDOCK ST
W OAKDALE ST                   N WARNOCK ST                  N 11TH ST
GAUL ST                        E ATLANTIC ST                 E VENANGO ST
E TUSCULUM ST                  B ST                          E SOMERSET ST
AMBER ST                       E LIPPINCOTT ST               E WISHART ST
N FAIRHILL ST                  W LEHIGH AVE                  W SOMERSET ST
ORMES ST                       E SOMERSET ST                 E WILLIAM ST
W OAKDALE ST                   GERMANTOWN AVE                N WARNOCK ST
BELGRADE ST                    E VENANGO ST                  PICKWICK ST
E VENANGO ST                   MILLER ST                     BELGRADE ST
N 13TH ST                      W HAROLD ST                   W TUCKER ST
N REESE ST                     W LEHIGH AVE                  W SOMERSET ST
ROSEHILL ST                    E SOMERSET ST                 E CAMBRIA ST
AMBER ST                       E LIPPINCOTT ST               E LIPPINCOTT ST
E LIPPINCOTT ST                FRANKFORD AVE                 AMBER ST
N ORKNEY ST                    W LEHIGH AVE                  W SOMERSET ST
C ST                           E SOMERSET ST                 E CAMBRIA ST
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A ST                          E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  N FRONT ST                    A ST
RUTH ST                       HART LN                       E CAMBRIA ST
HART LN                       KENSINGTON AVE                RUTH ST
N LAWRENCE ST                 W LEHIGH AVE                  W SOMERSET ST
W HAROLD ST                   N 12TH ST                     N 13TH ST
BOUDINOT ST                   E SOMERSET ST                 E AUBURN ST
JASPER ST                     E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  STOUTON ST                    JASPER ST
EMERALD ST                    E ORLEANS ST                  E STELLA ST
E ORLEANS ST                  JASPER ST                     EMERALD ST
W HUNTINGDON ST               N BROAD ST                    N CARLISLE ST
E CLEARFIELD ST               FRANKFORD AVE                 CORAL ST
N 4TH ST                      W LEHIGH AVE                  W SOMERSET ST
AMBER ST                      E CLEMENTINE ST               E LIPPINCOTT ST
E CLEMENTINE ST               FRANKFORD AVE                 AMBER ST
N MARSHALL ST                 W OAKDALE ST                  W LEHIGH AVE
N ORIANNA ST                  W LEHIGH AVE                  W SOMERSET ST
MILLER ST                     E ATLANTIC ST                 E VENANGO ST
E ATLANTIC ST                 GAUL ST                       MILLER ST
D ST                          E SOMERSET ST                 E AUBURN ST
W OAKDALE ST                  N WENDLE ST                   N MARSHALL ST
HART LN                       RUTH ST                       RUTH ST
E ONTARIO ST                  MEMPHIS ST                    ARAMINGO AVE
LIVINGSTON ST                 E VENANGO ST                  PICKWICK ST
E VENANGO ST                  BELGRADE ST                   LIVINGSTON ST
N 13TH ST                     W HUNTINGDON ST               W HAROLD ST
E ELKHART ST                  BRADDOCK ST                   FRANKFORD AVE
TULIP ST                      E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             COLLINS ST                    TULIP ST
E WISHART ST                  AMBER ST                      DEAD END SOUTH
GAUL ST                       E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    CEDAR ST                      GAUL ST
E GURNEY ST                   B ST                          B ST
A ST                          E SILVER ST                   E SELTZER ST
E SILVER ST                   N FRONT ST                    A ST
EMERALD ST                    E BIRCH ST                    E ORLEANS ST
E BIRCH ST                    JASPER ST                     EMERALD ST
N PHILIP ST                   W LEHIGH AVE                  W SOMERSET ST
W HUNTINGDON ST               N 12TH ST                     N 13TH ST
AMBER ST                      E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               CORAL ST                      AMBER ST
STOUTON ST                    HART LN                       E CAMBRIA ST
HART LN                       RUTH ST                       STOUTON ST
N SARTAIN ST                  W HUNTINGDON ST               W OAKDALE ST
W HUNTINGDON ST               N SARTAIN ST                  N 12TH ST
W HUNTINGDON ST               N JESSUP ST                   N SARTAIN ST
PALETHORP ST                  W LEHIGH AVE                  W SOMERSET ST
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N JESSUP ST                   W HUNTINGDON ST               W OAKDALE ST
BELGRADE ST                   E ATLANTIC ST                 E VENANGO ST
E ATLANTIC ST                 MILLER ST                     BELGRADE ST
ALMOND ST                     E VENANGO ST                  PICKWICK ST
E VENANGO ST                  LIVINGSTON ST                 ALMOND ST
N HANCOCK ST                  W LEHIGH AVE                  W SOMERSET ST
W HUNTINGDON ST               N 11TH ST                     N JESSUP ST
E LIPPINCOTT ST               AMBER ST                      MARTHA ST
A ST                          E STERNER ST                  E SILVER ST
E STERNER ST                  N FRONT ST                    A ST
MUTTER ST                     W LEHIGH AVE                  W SOMERSET ST
EMERALD ST                    E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                 JASPER ST                     EMERALD ST
AGATE ST                      E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             TULIP ST                      AGATE ST
E CLEARFIELD ST               AMBER ST                      COLLINS ST
W HUNTINGDON ST               N WARNOCK ST                  N 11TH ST
N REESE ST                    CUL DE SAC SOUTH              W LEHIGH AVE
N WARNOCK ST                  W HUNTINGDON ST               W OAKDALE ST
W HUNTINGDON ST               N WARNOCK ST                  N WARNOCK ST
MASCHER ST                    W LEHIGH AVE                  W SOMERSET ST
RUTH ST                       E SOMERSET ST                 HART LN
E SOMERSET ST                 KENSINGTON AVE                RUTH ST
W HUNTINGDON ST               GERMANTOWN AVE                N WARNOCK ST
WATERLOO ST                   W LEHIGH AVE                  W SOMERSET ST
CORAL ST                      E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                  FRANKFORD AVE                 CORAL ST
JASPER ST                     HART LN                       E CAMBRIA ST
HART LN                       STOUTON ST                    JASPER ST
N HOWARD ST                   W LEHIGH AVE                  W SOMERSET ST
CADWALLADER ST                W HUNTINGDON ST               DEAD END NORTH
W HUNTINGDON ST               CADWALLADER ST                GERMANTOWN AVE
BOUDINOT ST                   KENSINGTON AVE                E SOMERSET ST
E VENANGO ST                  ALMOND ST                     MERCER ST
W HAZZARD ST                  N 12TH ST                     N 13TH ST
B ST                          E STERNER ST                  E GURNEY ST
HOPE ST                       W LEHIGH AVE                  W SOMERSET ST
N HUTCHINSON ST               W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N HUTCHINSON ST               CADWALLADER ST
COLLINS ST                    E COMMISSIONER ST             E CLEARFIELD ST
GAUL ST                       E SCHILLER ST                 E TIOGA ST
W HUNTINGDON ST               N HUTCHINSON ST               N HUTCHINSON ST
E GURNEY ST                   B ST                          E STERNER ST
E STERNER ST                  B ST                          E GURNEY ST
N MARSHALL ST                 W HAROLD ST                   W OAKDALE ST
N 9TH ST                      W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N 9TH ST                      N HUTCHINSON ST
MEMPHIS ST                    E WESTMORELAND ST             E ONTARIO ST
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E WESTMORELAND ST             AGATE ST                      MEMPHIS ST
MARTHA ST                     E CLEMENTINE ST               E LIPPINCOTT ST
E CLEMENTINE ST               AMBER ST                      MARTHA ST
N WENDLE ST                   W HAROLD ST                   W OAKDALE ST
W HAROLD ST                   N WENDLE ST                   N MARSHALL ST
N DARIEN ST                   W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N DARIEN ST                   N 9TH ST
EMERALD ST                    E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  JASPER ST                     EMERALD ST
E ORLEANS ST                  EMERALD ST                    FRANKFORD AVE
N 8TH ST                      W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N 8TH ST                      N DARIEN ST
A ST                          E LEHIGH AVE                  E STERNER ST
N FRANKLIN ST                 W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N FRANKLIN ST                 N 8TH ST
E CLEARFIELD ST               COLLINS ST                    MARTHA ST
BELGRADE ST                   E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    GAUL ST                       BELGRADE ST
C ST                          E TUSCULUM ST                 E SOMERSET ST
E TUSCULUM ST                 E SOMERSET ST                 C ST
AMBER ST                      E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                  CORAL ST                      AMBER ST
W SERGEANT ST                 N 12TH ST                     N 13TH ST
N 7TH ST                      W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N 7TH ST                      N FRANKLIN ST
N MARSHALL ST                 W HUNTINGDON ST               W HAROLD ST
W HUNTINGDON ST               N MARSHALL ST                 N 7TH ST
JASPER ST                     E SOMERSET ST                 HART LN
E SOMERSET ST                 RUTH ST                       JASPER ST
HART LN                       JASPER ST                     HELEN ST
MARTHA ST                     E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               MARTHA ST                     MARTHA ST
MARTHA ST                     E COMMISSIONER ST             E CLEARFIELD ST
E COMMISSIONER ST             COLLINS ST                    MARTHA ST
E SCHILLER ST                 GAUL ST                       MILLER ST
B ST                          E LEHIGH AVE                  E STERNER ST
E BIRCH ST                    EMERALD ST                    FRANKFORD AVE
E TUSCULUM ST                 C ST                          KENSINGTON AVE
W HUNTINGDON ST               N 6TH ST                      N MARSHALL ST
E GURNEY ST                   E STERNER ST                  E LEHIGH AVE
N FAIRHILL ST                 W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N FAIRHILL ST                 N 6TH ST
AMBER ST                      E ANN ST                      E ELKHART ST
E ANN ST                      FRANKFORD AVE                 AMBER ST
E WESTMORELAND ST             MEMPHIS ST                    ARAMINGO AVE
MEMPHIS ST                    E WILLARD ST                  E WESTMORELAND ST
E TIOGA ST                    BELGRADE ST                   LIVINGSTON ST
W HUNTINGDON ST               N REESE ST                    N FAIRHILL ST
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E ANN ST                      AMBER ST                      AMBER ST
COLLINS ST                    E ELKHART ST                  E COMMISSIONER ST
E ELKHART ST                  AMBER ST                      COLLINS ST
W FIRTH ST                    N 12TH ST                     N 13TH ST
E MONMOUTH ST                 EMERALD ST                    FRANKFORD AVE
W HUNTINGDON ST               N 5TH ST                      N REESE ST
W CUMBERLAND ST               N BROAD ST                    N CARLISLE ST
N ORKNEY ST                   W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N ORKNEY ST                   N 5TH ST
GAUL ST                       E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  ARAMINGO AVE                  GAUL ST
TULIP ST                      E ALLEGHENY AVE               E WESTMORELAND ST
N LAWRENCE ST                 W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N LAWRENCE ST                 N ORKNEY ST
W CUMBERLAND ST               N PARK AVE                    N BROAD ST
W HUNTINGDON ST               N LEITHGOW ST                 N LAWRENCE ST
E BIRCH ST                    FRANKFORD AVE                 CORAL ST
AMBER ST                      E STELLA ST                   E ANN ST
E STELLA ST                   FRANKFORD AVE                 AMBER ST
BELGRADE ST                   E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 MILLER ST                     BELGRADE ST
N HUTCHINSON ST               CADWALLADER ST                W HUNTINGDON ST
CADWALLADER ST                N HUTCHINSON ST               W HUNTINGDON ST
RUTH ST                       E TUSCULUM ST                 E SOMERSET ST
E TUSCULUM ST                 KENSINGTON AVE                RUTH ST
N 4TH ST                      W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N 4TH ST                      N LEITHGOW ST
HELEN ST                      E SOMERSET ST                 HART LN
E SOMERSET ST                 JASPER ST                     HELEN ST
EMERALD ST                    HART LN                       E CAMBRIA ST
HART LN                       HELEN ST                      EMERALD ST
JASPER ST                     E SELTZER ST                  E SOMERSET ST
E CAMBRIA ST                  EMERALD ST                    FRANKFORD AVE
N 13TH ST                     W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N 13TH ST                     N PARK AVE
N ORIANNA ST                  W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N ORIANNA ST                  N 4TH ST
W HUNTINGDON ST               N 3RD ST                      N ORIANNA ST
E WESTMORELAND ST             ARAMINGO AVE                  CEDAR ST
ALMOND ST                     E TIOGA ST                    E VENANGO ST
E TIOGA ST                    LIVINGSTON ST                 ALMOND ST
WITTE ST                      E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST               MARTHA ST                     WITTE ST
E WILLARD ST                  MEMPHIS ST                    ARAMINGO AVE
JASPER ST                     E SILVER ST                   E SELTZER ST
CORAL ST                      E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                 FRANKFORD AVE                 CORAL ST
AMBER ST                      BELLMORE ST                   E STELLA ST
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BELLMORE ST                   FRANKFORD AVE                 AMBER ST
W CUMBERLAND ST               N 12TH ST                     N 13TH ST
N 9TH ST                      W FIRTH ST                    W HUNTINGDON ST
MILLER ST                     E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  GAUL ST                       MILLER ST
MARTHA ST                     E ELKHART ST                  E COMMISSIONER ST
E ELKHART ST                  COLLINS ST                    MARTHA ST
W HUNTINGDON ST               N AMERICAN ST                 N 3RD ST
N SARTAIN ST                  W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N SARTAIN ST                  N 12TH ST
W HUNTINGDON ST               N PHILIP ST                   N AMERICAN ST
N 8TH ST                      W FIRTH ST                    W HUNTINGDON ST
W FIRTH ST                    N 8TH ST                      N 9TH ST
N JESSUP ST                   W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N JESSUP ST                   N SARTAIN ST
JASPER ST                     E STERNER ST                  E SILVER ST
LIVINGSTON ST                 E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 BELGRADE ST                   LIVINGSTON ST
W HUNTINGDON ST               N 2ND ST                      N PHILIP ST
W CUMBERLAND ST               N 11TH ST                     N JESSUP ST
N 9TH ST                      CADWALLADER ST                W FIRTH ST
CADWALLADER ST                N 9TH ST                      N HUTCHINSON ST
E CAMBRIA ST                  FRANKFORD AVE                 CORAL ST
PALETHORP ST                  W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               PALETHORP ST                  N 2ND ST
AMBER ST                      E ORLEANS ST                  BELLMORE ST
E ORLEANS ST                  FRANKFORD AVE                 AMBER ST
N WARNOCK ST                  W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N WARNOCK ST                  N 11TH ST
JANNEY ST                     E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST               WITTE ST                      JANNEY ST
EMERALD ST                    E SOMERSET ST                 HART LN
E SOMERSET ST                 HELEN ST                      EMERALD ST
N ALDER ST                    W CUMBERLAND ST               GERMANTOWN AVE
W CUMBERLAND ST               N ALDER ST                    N WARNOCK ST
N HANCOCK ST                  W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N HANCOCK ST                  PALETHORP ST
MERCER ST                     E TIOGA ST                    E VENANGO ST
E TIOGA ST                    ALMOND ST                     MERCER ST
N 13TH ST                     W LETTERLY ST                 W CUMBERLAND ST
W LETTERLY ST                 N 13TH ST                     N CLARION ST
HELEN ST                      E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  JASPER ST                     HELEN ST
MUTTER ST                     W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               MUTTER ST                     N HANCOCK ST
MEMPHIS ST                    E ALLEGHENY AVE               E WILLARD ST
N 10TH ST                     W CUMBERLAND ST               GERMANTOWN AVE
W CUMBERLAND ST               N 10TH ST                     N ALDER ST
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MARTHA ST                     E ANN ST                      E ELKHART ST
E ANN ST                      AMBER ST                      MARTHA ST
MASCHER ST                    W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               MASCHER ST                    MUTTER ST
AMBER ST                      E BIRCH ST                    E ORLEANS ST
E BIRCH ST                    CORAL ST                      AMBER ST
POTTER ST                     B ST                          E LEHIGH AVE
B ST                          POTTER ST                     E LEHIGH AVE
W CUMBERLAND ST               N DELHI ST                    N 10TH ST
E WESTMORELAND ST             CEDAR ST                      CHATHAM ST
W CUMBERLAND ST               GERMANTOWN AVE                N DELHI ST
BELGRADE ST                   E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  MILLER ST                     BELGRADE ST
WATERLOO ST                   W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               WATERLOO ST                   MASCHER ST
N PHILIP ST                   W HAZZARD ST                  W HUNTINGDON ST
W HAZZARD ST                  N PHILIP ST                   N AMERICAN ST
HELEN ST                      E SILVER ST                   E SELTZER ST
E SILVER ST                   JASPER ST                     HELEN ST
N HOWARD ST                   W HUNTINGDON ST               W LEHIGH AVE
W HUNTINGDON ST               N HOWARD ST                   WATERLOO ST
ALMOND ST                     E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 LIVINGSTON ST                 ALMOND ST
CORAL ST                      E WILLIAM ST                  E CAMBRIA ST
E WILLIAM ST                  FRANKFORD AVE                 CORAL ST
N 9TH ST                      W CUMBERLAND ST               CADWALLADER ST
W CUMBERLAND ST               N 9TH ST                      GERMANTOWN AVE
W HUNTINGDON ST               HOPE ST                       N HOWARD ST
CEDAR ST                      E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  ARAMINGO AVE                  CEDAR ST
W HUNTINGDON ST               N FRONT ST                    HOPE ST
WEIKEL ST                     E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST               JANNEY ST                     WEIKEL ST
HELEN ST                      E STERNER ST                  E SILVER ST
E STERNER ST                  JASPER ST                     HELEN ST
N 8TH ST                      W CUMBERLAND ST               W FIRTH ST
W CUMBERLAND ST               N 8TH ST                      N 9TH ST
AMBER ST                      E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                 CORAL ST                      AMBER ST
E HUNTINGDON ST               N FRONT ST                    N LEE ST
N FRANKLIN ST                 W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N FRANKLIN ST                 N 8TH ST
E THOMPSON ST                 E TIOGA ST                    E VENANGO ST
E TIOGA ST                    MERCER ST                     E THOMPSON ST
E ANN ST                      MARTHA ST                     MARTHA ST
N 7TH ST                      W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N 7TH ST                      N FRANKLIN ST
N PHILIP ST                   W SERGEANT ST                 W HAZZARD ST
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W SERGEANT ST                 N PHILIP ST                   N AMERICAN ST
E HUNTINGDON ST               N LEE ST                      N WATER ST
LIVINGSTON ST                 E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  BELGRADE ST                   LIVINGSTON ST
W CUMBERLAND ST               N SHERIDAN ST                 N 7TH ST
E HUNTINGDON ST               N WATER ST                    A ST
EMERALD ST                    E SILVER ST                   E SOMERSET ST
N MARSHALL ST                 W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N MARSHALL ST                 N SHERIDAN ST
N PARK AVE                    W BOSTON ST                   W CUMBERLAND ST
W BOSTON ST                   N PARK AVE                    N BROAD ST
CORAL ST                      E AUBURN ST                   E WILLIAM ST
E AUBURN ST                   FRANKFORD AVE                 CORAL ST
W CUMBERLAND ST               N WENDLE ST                   N MARSHALL ST
E SOMERSET ST                 EMERALD ST                    FRANKFORD AVE
E HUNTINGDON ST               A ST                          POTTER ST
AMBER ST                      E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  CORAL ST                      AMBER ST
GAUL ST                       E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             CHATHAM ST                    GAUL ST
E SCHILLER ST                 ALMOND ST                     MERCER ST
W CUMBERLAND ST               N 6TH ST                      N WENDLE ST
MARTHA ST                     E STELLA ST                   E ANN ST
E STELLA ST                   AMBER ST                      MARTHA ST
N FAIRHILL ST                 W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N FAIRHILL ST                 N 6TH ST
B ST                          E HUNTINGDON ST               POTTER ST
E HUNTINGDON ST               POTTER ST                     B ST
EMERALD ST                    E STERNER ST                  E SILVER ST
TULIP ST                      E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST               WEIKEL ST                     TULIP ST
N REESE ST                    W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N REESE ST                    N FAIRHILL ST
CHATHAM ST                    E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  CEDAR ST                      CHATHAM ST
W YORK ST                     N BROAD ST                    N CARLISLE ST
CORAL ST                      E RUSH ST                     E AUBURN ST
E RUSH ST                     FRANKFORD AVE                 CORAL ST
W CUMBERLAND ST               N 5TH ST                      N REESE ST
MARTHA ST                     BELLMORE ST                   E STELLA ST
BELLMORE ST                   AMBER ST                      MARTHA ST
ALMOND ST                     E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  LIVINGSTON ST                 ALMOND ST
N ORKNEY ST                   W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N ORKNEY ST                   N 5TH ST
N 9TH ST                      GERMANTOWN AVE                W CUMBERLAND ST
W YORK ST                     N WATTS ST                    N BROAD ST
N LAWRENCE ST                 W CUMBERLAND ST               W HUNTINGDON ST
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W CUMBERLAND ST               N LAWRENCE ST                 N ORKNEY ST
EDGEMONT ST                   E TIOGA ST                    E VENANGO ST
E TIOGA ST                    E THOMPSON ST                 EDGEMONT ST
AMBER ST                      E WILLIAM ST                  E CAMBRIA ST
E WILLIAM ST                  CORAL ST                      AMBER ST
EMERALD ST                    E LEHIGH AVE                  E STERNER ST
N PARK AVE                    W YORK ST                     W BOSTON ST
W YORK ST                     N PARK AVE                    N WATTS ST
CEDAR ST                      E ALLEGHENY AVE               E MADISON ST
WITTE ST                      E ANN ST                      E CLEARFIELD ST
E ANN ST                      MARTHA ST                     WITTE ST
JASPER ST                     E OAKDALE ST                  E LEHIGH AVE
E OAKDALE ST                  KENSINGTON AVE                JASPER ST
N LEITHGOW ST                 W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N LEITHGOW ST                 N LAWRENCE ST
N CLARION ST                  W YORK ST                     W LETTERLY ST
W YORK ST                     N CLARION ST                  N PARK AVE
MILLER ST                     E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             GAUL ST                       MILLER ST
N 10TH ST                     WALKWAY CONNECTOR             W CUMBERLAND ST
N 4TH ST                      W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N 4TH ST                      N LEITHGOW ST
E THOMPSON ST                 E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 MERCER ST                     E THOMPSON ST
N 13TH ST                     W YORK ST                     W LETTERLY ST
W YORK ST                     N 13TH ST                     N CLARION ST
E SOMERSET ST                 FRANKFORD AVE                 CORAL ST
N ORIANNA ST                  W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N ORIANNA ST                  N 4TH ST
N DELHI ST                    W BOSTON ST                   W CUMBERLAND ST
W BOSTON ST                   N DELHI ST                    N 10TH ST
AGATE ST                      E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST               TULIP ST                      AGATE ST
MARTHA ST                     E ORLEANS ST                  BELLMORE ST
E ORLEANS ST                  AMBER ST                      MARTHA ST
W YORK ST                     N CAMAC ST                    N 13TH ST
E SILVER ST                   EMERALD ST                    FRANKFORD AVE
CORAL ST                      E SOMERSET ST                 E RUSH ST
E SOMERSET ST                 CORAL ST                      CORAL ST
W CUMBERLAND ST               N 3RD ST                      N ORIANNA ST
W YORK ST                     N FAWN ST                     N CAMAC ST
W BOSTON ST                   N 9TH ST                      N DELHI ST
W CUMBERLAND ST               N BODINE ST                   N 3RD ST
W YORK ST                     N 12TH ST                     N FAWN ST
W CUMBERLAND ST               N AMERICAN ST                 N BODINE ST
AMBER ST                      E AUBURN ST                   E WILLIAM ST
E AUBURN ST                   CORAL ST                      AMBER ST
GAUL ST                       E MADISON ST                  E WESTMORELAND ST
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E MADISON ST                  CHATHAM ST                    GAUL ST
JASPER ST                     E ALBERT ST                   E OAKDALE ST
E ALBERT ST                   KENSINGTON AVE                JASPER ST
MERCER ST                     E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  ALMOND ST                     MERCER ST
E SCHILLER ST                 E THOMPSON ST                 WEBB ST
MARTHA ST                     E BIRCH ST                    E ORLEANS ST
E BIRCH ST                    AMBER ST                      MARTHA ST
N 8TH ST                      W BOSTON ST                   W CUMBERLAND ST
POTTER ST                     A ST                          E HUNTINGDON ST
A ST                          POTTER ST                     E HUNTINGDON ST
N PHILIP ST                   W CUMBERLAND ST               W SERGEANT ST
W CUMBERLAND ST               N PHILIP ST                   N AMERICAN ST
CORAL ST                      E SELTZER ST                  E SOMERSET ST
JANNEY ST                     E ANN ST                      E CLEARFIELD ST
E ANN ST                      WITTE ST                      JANNEY ST
W CUMBERLAND ST               N 2ND ST                      N PHILIP ST
MEMPHIS ST                    E CLEARFIELD ST               E ALLEGHENY AVE
E CLEARFIELD ST               AGATE ST                      MEMPHIS ST
W YORK ST                     N 11TH ST                     N 12TH ST
E STERNER ST                  EMERALD ST                    FRANKFORD AVE
BELGRADE ST                   E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             MILLER ST                     BELGRADE ST
N 7TH ST                      W BOSTON ST                   W CUMBERLAND ST
W BOSTON ST                   N 7TH ST                      N 8TH ST
PALETHORP ST                  W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               PALETHORP ST                  N 2ND ST
CHATHAM ST                    E ALLEGHENY AVE               E MADISON ST
N HANCOCK ST                  W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N HANCOCK ST                  PALETHORP ST
JASPER ST                     E HAROLD ST                   E ALBERT ST
E HAROLD ST                   KENSINGTON AVE                JASPER ST
MARTHA ST                     E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                 AMBER ST                      MARTHA ST
EDGEMONT ST                   E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 WEBB ST                       EDGEMONT ST
MUTTER ST                     W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               MUTTER ST                     N HANCOCK ST
N 10TH ST                     W YORK ST                     W BOSTON ST
W YORK ST                     N 10TH ST                     N 11TH ST
AMBER ST                      E RUSH ST                     E AUBURN ST
E RUSH ST                     CORAL ST                      AMBER ST
SALMON ST                     E TIOGA ST                    E VENANGO ST
E TIOGA ST                    EDGEMONT ST                   SALMON ST
MASCHER ST                    W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               MASCHER ST                    MUTTER ST
W CUMBERLAND ST               WATERLOO ST                   MASCHER ST
MILLER ST                     E MADISON ST                  E WESTMORELAND ST
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E MADISON ST                  GAUL ST                       MILLER ST
E THOMPSON ST                 E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  MERCER ST                     E THOMPSON ST
CORAL ST                      E SILVER ST                   E SELTZER ST
N HOWARD ST                   W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               N HOWARD ST                   WATERLOO ST
E TIOGA ST                    SALMON ST                     RICHMOND ST
W YORK ST                     N 9TH ST                      N 10TH ST
MARTHA ST                     E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  AMBER ST                      MARTHA ST
WEIKEL ST                     E ANN ST                      E CLEARFIELD ST
E ANN ST                      JANNEY ST                     WEIKEL ST
HOPE ST                       W CUMBERLAND ST               W HUNTINGDON ST
W CUMBERLAND ST               HOPE ST                       N HOWARD ST
LIVINGSTON ST                 E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             BELGRADE ST                   LIVINGSTON ST
JASPER ST                     E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST               B ST                          JASPER ST
W CUMBERLAND ST               N FRONT ST                    HOPE ST
CORAL ST                      E TUSCULUM ST                 E SILVER ST
E TUSCULUM ST                 FRANKFORD AVE                 CORAL ST
E CAMBRIA ST                  MARTHA ST                     TRENTON AVE
N 8TH ST                      W YORK ST                     W BOSTON ST
W YORK ST                     GERMANTOWN AVE                N 9TH ST
E CLEARFIELD ST               MEMPHIS ST                    ARAMINGO AVE
CEDAR ST                      E CLEMENTINE ST               E ALLEGHENY AVE
E SCHILLER ST                 EDGEMONT ST                   TILTON ST
N LEE ST                      E CUMBERLAND ST               E HUNTINGDON ST
E CUMBERLAND ST               N FRONT ST                    N LEE ST
AMBER ST                      E SOMERSET ST                 E RUSH ST
E SOMERSET ST                 CORAL ST                      AMBER ST
EMERALD ST                    E OAKDALE ST                  E LEHIGH AVE
E OAKDALE ST                  JASPER ST                     EMERALD ST
WEBB ST                       E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  E THOMPSON ST                 WEBB ST
N WATER ST                    E CUMBERLAND ST               E HUNTINGDON ST
E CUMBERLAND ST               N LEE ST                      N WATER ST
GAUL ST                       E ALLEGHENY AVE               E MADISON ST
N 7TH ST                      W YORK ST                     W BOSTON ST
W YORK ST                     N 7TH ST                      N 8TH ST
N SHERIDAN ST                 W YORK ST                     W CUMBERLAND ST
W YORK ST                     N SHERIDAN ST                 N 7TH ST
A ST                          KENSINGTON AVE                POTTER ST
E CUMBERLAND ST               N WATER ST                    KENSINGTON AVE
BELGRADE ST                   E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  MILLER ST                     BELGRADE ST
N MARSHALL ST                 W YORK ST                     W CUMBERLAND ST
W YORK ST                     N MARSHALL ST                 N SHERIDAN ST
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N 10TH ST                     W ARIZONA ST                  W YORK ST
W ARIZONA ST                  N 10TH ST                     N 11TH ST
JASPER ST                     E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  KENSINGTON AVE                JASPER ST
N WENDLE ST                   W YORK ST                     W CUMBERLAND ST
W YORK ST                     N WENDLE ST                   N MARSHALL ST
ALMOND ST                     E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             LIVINGSTON ST                 ALMOND ST
TRENTON AVE                   E WILLIAM ST                  E CAMBRIA ST
W YORK ST                     N 6TH ST                      N WENDLE ST
TULIP ST                      E ANN ST                      E CLEARFIELD ST
E ANN ST                      WEIKEL ST                     TULIP ST
AMBER ST                      E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  CORAL ST                      AMBER ST
SALMON ST                     E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 TILTON ST                     SALMON ST
EDGEMONT ST                   E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  WEBB ST                       EDGEMONT ST
TRENTON AVE                   E WILLIAM ST                  E WILLIAM ST
E WILLIAM ST                  AMBER ST                      TRENTON AVE
N FAIRHILL ST                 W YORK ST                     W CUMBERLAND ST
W YORK ST                     N FAIRHILL ST                 N 6TH ST
EMERALD ST                    E ALBERT ST                   E OAKDALE ST
E ALBERT ST                   JASPER ST                     EMERALD ST
JANNEY ST                     E MONMOUTH ST                 E ANN ST
N 9TH ST                      W ARIZONA ST                  W YORK ST
W ARIZONA ST                  N 9TH ST                      N 10TH ST
N REESE ST                    W YORK ST                     W CUMBERLAND ST
W YORK ST                     N REESE ST                    N FAIRHILL ST
CEDAR ST                      E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               ARAMINGO AVE                  CEDAR ST
SALMON ST                     E SCHILLER ST                 E SCHILLER ST
W YORK ST                     N 5TH ST                      N REESE ST
CHATHAM ST                    E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               CEDAR ST                      CHATHAM ST
MILLER ST                     E ALLEGHENY AVE               E MADISON ST
N ORKNEY ST                   W YORK ST                     W CUMBERLAND ST
W YORK ST                     N ORKNEY ST                   N 5TH ST
LIVINGSTON ST                 E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  BELGRADE ST                   LIVINGSTON ST
N WATTS ST                    W DAUPHIN ST                  W YORK ST
JASPER ST                     E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                 KENSINGTON AVE                JASPER ST
N LAWRENCE ST                 W YORK ST                     W CUMBERLAND ST
W YORK ST                     N LAWRENCE ST                 N ORKNEY ST
N LEE ST                      N FRONT ST                    E CUMBERLAND ST
EMERALD ST                    E HAROLD ST                   E ALBERT ST
E HAROLD ST                   JASPER ST                     EMERALD ST
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AMBER ST                      E SILVER ST                   E SELTZER ST
E SILVER ST                   CORAL ST                      AMBER ST
N PARK AVE                    W DAUPHIN ST                  W YORK ST
N LEITHGOW ST                 W YORK ST                     W CUMBERLAND ST
W YORK ST                     N LEITHGOW ST                 N LAWRENCE ST
AGATE ST                      E ANN ST                      E CLEARFIELD ST
E ANN ST                      TULIP ST                      AGATE ST
TILTON ST                     E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  EDGEMONT ST                   TILTON ST
JANNEY ST                     E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  TRENTON AVE                   JANNEY ST
MERCER ST                     E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             ALMOND ST                     MERCER ST
TRENTON AVE                   E AUBURN ST                   E WILLIAM ST
E AUBURN ST                   AMBER ST                      TRENTON AVE
N 13TH ST                     W DAUPHIN ST                  W YORK ST
N 10TH ST                     W DAKOTA ST                   W ARIZONA ST
W DAKOTA ST                   N 10TH ST                     N 11TH ST
N 4TH ST                      W YORK ST                     W CUMBERLAND ST
W YORK ST                     N 4TH ST                      N LEITHGOW ST
WEIKEL ST                     E MONMOUTH ST                 E ANN ST
E MONMOUTH ST                 JANNEY ST                     WEIKEL ST
N ORIANNA ST                  W YORK ST                     W CUMBERLAND ST
W YORK ST                     N ORIANNA ST                  N 4TH ST
E ONTARIO ST                  TILTON ST                     TILTON ST
N CAMAC ST                    W DAUPHIN ST                  W YORK ST
W YORK ST                     N 3RD ST                      N ORIANNA ST
N FAWN ST                     W DAUPHIN ST                  W YORK ST
E SOMERSET ST                 AMBER ST                      MARTHA ST
N BODINE ST                   W YORK ST                     W CUMBERLAND ST
W YORK ST                     N BODINE ST                   N 3RD ST
JASPER ST                     E FIRTH ST                    E SERGEANT ST
N 9TH ST                      W DAKOTA ST                   W ARIZONA ST
W DAKOTA ST                   N 9TH ST                      N 10TH ST
BELGRADE ST                   E ALLEGHENY AVE               E MADISON ST
EMERALD ST                    E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST               JASPER ST                     EMERALD ST
ALMOND ST                     E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  LIVINGSTON ST                 ALMOND ST
TRENTON AVE                   E RUSH ST                     E AUBURN ST
W YORK ST                     N AMERICAN ST                 N BODINE ST
CHATHAM ST                    E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               CEDAR ST                      CHATHAM ST
SALMON ST                     E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  TILTON ST                     SALMON ST
GAUL ST                       E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               CHATHAM ST                    GAUL ST
N PHILIP ST                   W YORK ST                     W CUMBERLAND ST
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W YORK ST                     N PHILIP ST                   N AMERICAN ST
MEMPHIS ST                    E ANN ST                      E CLEARFIELD ST
E ANN ST                      AGATE ST                      MEMPHIS ST
E SCHILLER ST                 SALMON ST                     RICHMOND ST
E WILLIAM ST                  TRENTON AVE                   JANNEY ST
TRENTON AVE                   E RUSH ST                     E RUSH ST
E RUSH ST                     AMBER ST                      TRENTON AVE
W YORK ST                     N 2ND ST                      N PHILIP ST
E THOMPSON ST                 E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             MERCER ST                     E THOMPSON ST
PALETHORP ST                  W YORK ST                     W CUMBERLAND ST
W YORK ST                     PALETHORP ST                  N 2ND ST
TULIP ST                      E MONMOUTH ST                 E ANN ST
E MONMOUTH ST                 WEIKEL ST                     TULIP ST
E SCHILLER ST                 RICHMOND ST                   MELVALE ST
N HANCOCK ST                  W YORK ST                     W CUMBERLAND ST
W YORK ST                     N HANCOCK ST                  PALETHORP ST
MARTHA ST                     E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  AMBER ST                      MARTHA ST
EMERALD ST                    E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  JASPER ST                     EMERALD ST
N 10TH ST                     W DAUPHIN ST                  W DAKOTA ST
JASPER ST                     E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST               A ST                          JASPER ST
MUTTER ST                     W YORK ST                     W CUMBERLAND ST
W YORK ST                     MUTTER ST                     N HANCOCK ST
MASCHER ST                    W YORK ST                     W CUMBERLAND ST
W YORK ST                     MASCHER ST                    MUTTER ST
WATERLOO ST                   W YORK ST                     W CUMBERLAND ST
W YORK ST                     WATERLOO ST                   MASCHER ST
MERCER ST                     E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  ALMOND ST                     MERCER ST
WEBB ST                       E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             E THOMPSON ST                 WEBB ST
E WILLIAM ST                  JANNEY ST                     WEIKEL ST
TRENTON AVE                   E SOMERSET ST                 E RUSH ST
E SOMERSET ST                 MARTHA ST                     TRENTON AVE
BRADDOCK ST                   E HUNTINGDON ST               E LEHIGH AVE
E HUNTINGDON ST               EMERALD ST                    BRADDOCK ST
N HOWARD ST                   W YORK ST                     W CUMBERLAND ST
W YORK ST                     N HOWARD ST                   WATERLOO ST
N 9TH ST                      W DAUPHIN ST                  W DAKOTA ST
E WESTMORELAND ST             WEBB ST                       WEBB ST
JANNEY ST                     E AUBURN ST                   E WILLIAM ST
E AUBURN ST                   TRENTON AVE                   JANNEY ST
MILLER ST                     E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               GAUL ST                       MILLER ST
TULIP ST                      E CAMBRIA ST                  E MONMOUTH ST
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E CAMBRIA ST                  JANNEY ST                     TULIP ST
W YORK ST                     HOPE ST                       N HOWARD ST
GAUL ST                       E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               CHATHAM ST                    GAUL ST
N 8TH ST                      W DAUPHIN ST                  GERMANTOWN AVE
W YORK ST                     N FRONT ST                    HOPE ST
JASPER ST                     E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 KENSINGTON AVE                JASPER ST
E ANN ST                      MEMPHIS ST                    ARAMINGO AVE
EMERALD ST                    E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                 JASPER ST                     EMERALD ST
E ONTARIO ST                  SALMON ST                     RICHMOND ST
N 7TH ST                      W DAUPHIN ST                  W YORK ST
W NEVADA ST                   N 11TH ST                     N 12TH ST
ALMOND ST                     E ALLEGHENY AVE               E MADISON ST
EDGEMONT ST                   E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             WEBB ST                       EDGEMONT ST
TULIP ST                      E WILLIAM ST                  E CAMBRIA ST
E WILLIAM ST                  WEIKEL ST                     TULIP ST
N MARSHALL ST                 CADWALLADER ST                W YORK ST
WEIKEL ST                     E AUBURN ST                   E WILLIAM ST
E AUBURN ST                   JANNEY ST                     WEIKEL ST
E THOMPSON ST                 E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  MERCER ST                     E THOMPSON ST
N 10TH ST                     W NEVADA ST                   W DAUPHIN ST
W NEVADA ST                   N 10TH ST                     N 11TH ST
GAUL ST                       E COMMISSIONER ST             E CLEARFIELD ST
BELGRADE ST                   E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               MILLER ST                     BELGRADE ST
CORAL ST                      E HUNTINGDON ST               FRANKFORD AVE
E HUNTINGDON ST               BRADDOCK ST                   CORAL ST
EMERALD ST                    E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    JASPER ST                     EMERALD ST
JASPER ST                     E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   KENSINGTON AVE                JASPER ST
N FAIRHILL ST                 W DAUPHIN ST                  W YORK ST
MILLER ST                     E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               GAUL ST                       MILLER ST
N REESE ST                    W DAUPHIN ST                  W YORK ST
E WESTMORELAND ST             EDGEMONT ST                   TILTON ST
W COLONA ST                   N 11TH ST                     N 12TH ST
MELVALE ST                    E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  RICHMOND ST                   MELVALE ST
TILTON ST                     E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             TILTON ST                     TILTON ST
MERCER ST                     E ALLEGHENY AVE               E MADISON ST
W SUSQUEHANNA AVE             N BROAD ST                    N CARLISLE ST
CEDAR ST                      E ANN ST                      E CLEARFIELD ST
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E ANN ST                      ARAMINGO AVE                  CEDAR ST
TULIP ST                      E AUBURN ST                   E WILLIAM ST
E AUBURN ST                   WEIKEL ST                     TULIP ST
WEBB ST                       E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  E THOMPSON ST                 WEBB ST
MEMPHIS ST                    E CAMBRIA ST                  E ANN ST
E CAMBRIA ST                  TULIP ST                      MEMPHIS ST
N ORKNEY ST                   W DAUPHIN ST                  W YORK ST
N LAWRENCE ST                 W DAUPHIN ST                  W YORK ST
CHATHAM ST                    E INDIANA AVE                 E CLEARFIELD ST
CORAL ST                      E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  EMERALD ST                    CORAL ST
JASPER ST                     E BOSTON ST                   E HAGERT ST
E BOSTON ST                   KENSINGTON AVE                JASPER ST
N WATTS ST                    W SUSQUEHANNA AVE             W DAUPHIN ST
EMERALD ST                    E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST               JASPER ST                     EMERALD ST
LIVINGSTON ST                 E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               BELGRADE ST                   LIVINGSTON ST
N 10TH ST                     W COLONA ST                   W NEVADA ST
W COLONA ST                   N 10TH ST                     N 11TH ST
MILLER ST                     E COMMISSIONER ST             E CLEARFIELD ST
E COMMISSIONER ST             GAUL ST                       MILLER ST
N PARK AVE                    W SUSQUEHANNA AVE             W DAUPHIN ST
BELGRADE ST                   E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               MILLER ST                     BELGRADE ST
E HUNTINGDON ST               CORAL ST                      KERN ST
SALMON ST                     E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             TILTON ST                     SALMON ST
N ORIANNA ST                  W DAUPHIN ST                  W YORK ST
EDGEMONT ST                   E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  WEBB ST                       EDGEMONT ST
N 13TH ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
GAUL ST                       E ELKHART ST                  E COMMISSIONER ST
TULIP ST                      E RUSH ST                     E AUBURN ST
E RUSH ST                     TRENTON AVE                   TULIP ST
N CAMAC ST                    W SUSQUEHANNA AVE             W DAUPHIN ST
N BODINE ST                   W DAUPHIN ST                  W YORK ST
E AUBURN ST                   TULIP ST                      AGATE ST
E ALLEN ST                    E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  MELVALE ST                    E ALLEN ST
E THOMPSON ST                 E ALLEGHENY AVE               E MADISON ST
JASPER ST                     E YORK ST                     E BOSTON ST
E YORK ST                     W YORK ST                     JASPER ST
EMERALD ST                    E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 JASPER ST                     EMERALD ST
CORAL ST                      E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                 EMERALD ST                    CORAL ST
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E HUNTINGDON ST               KERN ST                       FRANKFORD AVE
E ONTARIO ST                  E ALLEN ST                    BATH ST
CADWALLADER ST                N 6TH ST                      W DAUPHIN ST
E WESTMORELAND ST             SALMON ST                     EMERY ST
ALMOND ST                     E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               LIVINGSTON ST                 ALMOND ST
N PHILIP ST                   W DAUPHIN ST                  W YORK ST
E CAMBRIA ST                  MEMPHIS ST                    ARAMINGO AVE
BELGRADE ST                   E COMMISSIONER ST             E CLEARFIELD ST
E COMMISSIONER ST             MILLER ST                     BELGRADE ST
CHATHAM ST                    E ANN ST                      E INDIANA AVE
E ANN ST                      CEDAR ST                      CHATHAM ST
TILTON ST                     E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  EDGEMONT ST                   TILTON ST
LIVINGSTON ST                 E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               BELGRADE ST                   LIVINGSTON ST
GAUL ST                       E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                 CHATHAM ST                    GAUL ST
PALETHORP ST                  W DAUPHIN ST                  W YORK ST
MILLER ST                     E ELKHART ST                  E COMMISSIONER ST
E ELKHART ST                  GAUL ST                       MILLER ST
N HANCOCK ST                  W DAUPHIN ST                  W YORK ST
TULIP ST                      E SOMERSET ST                 E RUSH ST
E SOMERSET ST                 TRENTON AVE                   TULIP ST
MARTHA ST                     E TUCKER ST                   E LEHIGH AVE
MEMPHIS ST                    E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                   AGATE ST                      MEMPHIS ST
MUTTER ST                     W DAUPHIN ST                  W YORK ST
AMBER ST                      E HUNTINGDON ST               E LEHIGH AVE
E HUNTINGDON ST               FRANKFORD AVE                 AMBER ST
CORAL ST                      E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    EMERALD ST                    CORAL ST
JASPER ST                     E ARIZONA ST                  E YORK ST
EMERALD ST                    E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   JASPER ST                     EMERALD ST
MASCHER ST                    W DAUPHIN ST                  W YORK ST
N 10TH ST                     W SUSQUEHANNA AVE             W COLONA ST
WATERLOO ST                   W DAUPHIN ST                  W YORK ST
KERN ST                       E SERGEANT ST                 E HUNTINGDON ST
E SERGEANT ST                 CORAL ST                      KERN ST
E WESTMORELAND ST             EMERY ST                      RICHMOND ST
SALMON ST                     E MADISON ST                  E WESTMORELAND ST
E MADISON ST                  TILTON ST                     SALMON ST
N DELHI ST                    W SUSQUEHANNA AVE             W DAUPHIN ST
N HOWARD ST                   W DAUPHIN ST                  W YORK ST
MERCER ST                     E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               ALMOND ST                     MERCER ST
MARTHA ST                     E ALBERT ST                   E TUCKER ST
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HOPE ST                        W DAUPHIN ST                  W YORK ST
ALMOND ST                      E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                LIVINGSTON ST                 ALMOND ST
EDGEMONT ST                    E ALLEGHENY AVE               E MADISON ST
N 9TH ST                       W SUSQUEHANNA AVE             W DAUPHIN ST
E INDIANA AVE                  GAUL ST                       MILLER ST
AGATE ST                       E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                  TULIP ST                      AGATE ST
CEDAR ST                       E CAMBRIA ST                  E ANN ST
E CAMBRIA ST                   ARAMINGO AVE                  CEDAR ST
COLLINS ST                     E HUNTINGDON ST               E LEHIGH AVE
E HUNTINGDON ST                AMBER ST                      COLLINS ST
JASPER ST                      E DAUPHIN ST                  E ARIZONA ST
BELGRADE ST                    E ELKHART ST                  E COMMISSIONER ST
E ELKHART ST                   MILLER ST                     BELGRADE ST
AMBER ST                       FRANKFORD AVE                 E HUNTINGDON ST
N 8TH ST                       W SUSQUEHANNA AVE             W DAUPHIN ST
CORAL ST                       E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST                EMERALD ST                    CORAL ST
GAUL ST                        E ANN ST                      E INDIANA AVE
E ANN ST                       CHATHAM ST                    GAUL ST
EMERALD ST                     E BOSTON ST                   E HAGERT ST
E BOSTON ST                    JASPER ST                     EMERALD ST
MARTHA ST                      E HAROLD ST                   E ALBERT ST
EMERY ST                       E MADISON ST                  E WESTMORELAND ST
E MADISON ST                   SALMON ST                     EMERY ST
N FRANKLIN ST                  W SUSQUEHANNA AVE             W DAUPHIN ST
E AUBURN ST                    MEMPHIS ST                    ARAMINGO AVE
TRENTON AVE                    E OAKDALE ST                  E LEHIGH AVE
N 7TH ST                       W SUSQUEHANNA AVE             W DAUPHIN ST
N 10TH ST                      FRENCH ST                     W SUSQUEHANNA AVE
AMBER ST                       E SERGEANT ST                 FRANKFORD AVE
E SERGEANT ST                  KERN ST                       ARCADIA ST
TILTON ST                      E ALLEGHENY AVE               E MADISON ST
CEDAR ST                       E CAMBRIA ST                  E CAMBRIA ST
E THOMPSON ST                  E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST                MERCER ST                     E THOMPSON ST
N MARSHALL ST                  W SUSQUEHANNA AVE             GERMANTOWN AVE
MEMPHIS ST                     E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                  AGATE ST                      MEMPHIS ST
MERCER ST                      E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                ALMOND ST                     MERCER ST
N DELHI ST                     FRENCH ST                     W SUSQUEHANNA AVE
FRENCH ST                      N DELHI ST                    N 10TH ST
MARTHA ST                      E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST                COLLINS ST                    MARTHA ST
BELGRADE ST                    E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                  MILLER ST                     BELGRADE ST
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E SERGEANT ST                  AMBER ST                      FRANKFORD AVE
EMERALD ST                     E YORK ST                     E BOSTON ST
E YORK ST                      JASPER ST                     EMERALD ST
CORAL ST                       E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                  EMERALD ST                    CORAL ST
COLLINS ST                     E HAZZARD ST                  E HUNTINGDON ST
LIVINGSTON ST                  E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   BELGRADE ST                   LIVINGSTON ST
N FAIRHILL ST                  W SUSQUEHANNA AVE             W DAUPHIN ST
TRENTON AVE                    E TUCKER ST                   E OAKDALE ST
E TUCKER ST                    MARTHA ST                     TRENTON AVE
MILLER ST                      E ANN ST                      E INDIANA AVE
E ANN ST                       GAUL ST                       MILLER ST
N REESE ST                     W SUSQUEHANNA AVE             W DAUPHIN ST
GAUL ST                        E BIRCH ST                    E ANN ST
SALMON ST                      E ALLEGHENY AVE               E MADISON ST
N 10TH ST                      EDGLEY ST                     FRENCH ST
N ORKNEY ST                    W SUSQUEHANNA AVE             W DAUPHIN ST
CEDAR ST                       E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                    ARAMINGO AVE                  CEDAR ST
TRENTON AVE                    E ALBERT ST                   E TUCKER ST
E ALBERT ST                    MARTHA ST                     TRENTON AVE
N DELHI ST                     EDGLEY ST                     FRENCH ST
EDGLEY ST                      N DELHI ST                    N 10TH ST
N LAWRENCE ST                  W SUSQUEHANNA AVE             W DAUPHIN ST
CORAL ST                       E HAGERT ST                   E LETTERLY ST
E HAGERT ST                    EMERALD ST                    CORAL ST
SEPVIVA ST                     E OAKDALE ST                  E LEHIGH AVE
CHATHAM ST                     E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                   CEDAR ST                      CHATHAM ST
E THOMPSON ST                  E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                MERCER ST                     E THOMPSON ST
EMERALD ST                     E ARIZONA ST                  E YORK ST
E ARIZONA ST                   JASPER ST                     EMERALD ST
N LEITHGOW ST                  W SUSQUEHANNA AVE             W DAUPHIN ST
LIVINGSTON ST                  E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                  BELGRADE ST                   LIVINGSTON ST
ALMOND ST                      E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   LIVINGSTON ST                 ALMOND ST
GAUL ST                        E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                  CHATHAM ST                    GAUL ST
EMERY ST                       E ALLEGHENY AVE               E MADISON ST
SEPVIVA ST                     E OAKDALE ST                  E OAKDALE ST
E OAKDALE ST                   TRENTON AVE                   SEPVIVA ST
COLLINS ST                     E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                  FRANKFORD AVE                 COLLINS ST
N HANCOCK ST                   W COLONA ST                   W DAUPHIN ST
EDGEMONT ST                    E CLEMENTINE ST               E ALLEGHENY AVE
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E CLEMENTINE ST                E THOMPSON ST                 EDGEMONT ST
TRENTON AVE                    E HAROLD ST                   E ALBERT ST
E HAROLD ST                    MARTHA ST                     TRENTON AVE
E SOMERSET ST                  MEMPHIS ST                    ARAMINGO AVE
MUTTER ST                      W COLONA ST                   W DAUPHIN ST
W COLONA ST                    MUTTER ST                     N HANCOCK ST
MASCHER ST                     W COLONA ST                   W DAUPHIN ST
W COLONA ST                    MASCHER ST                    MUTTER ST
AMBER ST                       E CUMBERLAND ST               E SERGEANT ST
E CUMBERLAND ST                CORAL ST                      AMBER ST
N 13TH ST                      DIAMOND ST                    W SUSQUEHANNA AVE
BELGRADE ST                    E ANN ST                      E INDIANA AVE
E ANN ST                       MILLER ST                     BELGRADE ST
WATERLOO ST                    W COLONA ST                   W DAUPHIN ST
W COLONA ST                    WATERLOO ST                   MASCHER ST
N HOWARD ST                    W COLONA ST                   W DAUPHIN ST
W COLONA ST                    N HOWARD ST                   WATERLOO ST
TULIP ST                       E LEHIGH AVE                  E SOMERSET ST
N CAMAC ST                     DIAMOND ST                    W SUSQUEHANNA AVE
CORAL ST                       E BOSTON ST                   E HAGERT ST
E BOSTON ST                    EMERALD ST                    CORAL ST
E OAKDALE ST                   SEPVIVA ST                    JANNEY ST
EMERALD ST                     E DAUPHIN ST                  E ARIZONA ST
ALMOND ST                      E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                  LIVINGSTON ST                 ALMOND ST
N PHILIP ST                    W SUSQUEHANNA AVE             W DAUPHIN ST
TRENTON AVE                    E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST                MARTHA ST                     TRENTON AVE
SEPVIVA ST                     E TUCKER ST                   E OAKDALE ST
E TUCKER ST                    TRENTON AVE                   SEPVIVA ST
TILTON ST                      E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST                EDGEMONT ST                   TILTON ST
MERCER ST                      E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   ALMOND ST                     MERCER ST
N MARVINE ST                   DIAMOND ST                    W SUSQUEHANNA AVE
PALETHORP ST                   W SUSQUEHANNA AVE             W DAUPHIN ST
E CUMBERLAND ST                AMBER ST                      MARTHA ST
GAUL ST                        E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                   CHATHAM ST                    GAUL ST
N HANCOCK ST                   W SUSQUEHANNA AVE             W COLONA ST
AMBER ST                       E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                  CORAL ST                      AMBER ST
EDGEMONT ST                    E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                E THOMPSON ST                 EDGEMONT ST
SEPVIVA ST                     E ALBERT ST                   E TUCKER ST
COLLINS ST                     E FIRTH ST                    E SERGEANT ST
CEDAR ST                       ARAMINGO AVE                  E AUBURN ST
E SOMERSET ST                  ARAMINGO AVE                  ARAMINGO AVE
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TULIP ST                       E OAKDALE ST                  E LEHIGH AVE
E OAKDALE ST                   JANNEY ST                     TULIP ST
LIVINGSTON ST                  E ANN ST                      E INDIANA AVE
E ANN ST                       BELGRADE ST                   LIVINGSTON ST
CORAL ST                       E YORK ST                     E BOSTON ST
E YORK ST                      EMERALD ST                    CORAL ST
MASCHER ST                     W SUSQUEHANNA AVE             W COLONA ST
EMERALD ST                     E FLETCHER ST                 E DAUPHIN ST
BELGRADE ST                    E BIRCH ST                    E ANN ST
E BIRCH ST                     GAUL ST                       BELGRADE ST
TRENTON AVE                    E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                   COLLINS ST                    TRENTON AVE
E CUMBERLAND ST                MARTHA ST                     FRANKFORD AVE
TULIP ST                       E OAKDALE ST                  E OAKDALE ST
JANNEY ST                      E TUCKER ST                   E OAKDALE ST
E TUCKER ST                    SEPVIVA ST                    JANNEY ST
N 10TH ST                      DIAMOND ST                    EDGLEY ST
N HOWARD ST                    W SUSQUEHANNA AVE             W COLONA ST
GAUL ST                        E AUBURN ST                   E CAMBRIA ST
HOPE ST                        W SUSQUEHANNA AVE             W DAUPHIN ST
MERCER ST                      E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                  ALMOND ST                     MERCER ST
SALMON ST                      E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST                TILTON ST                     SALMON ST
SEPVIVA ST                     E HAROLD ST                   E ALBERT ST
ARAMINGO AVE                   CEDAR ST                      ARAMINGO AVE
N DELHI ST                     DIAMOND ST                    EDGLEY ST
N PERCY ST                     DIAMOND ST                    W SUSQUEHANNA AVE
E THOMPSON ST                  E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   MERCER ST                     E THOMPSON ST
N 9TH ST                       DIAMOND ST                    W SUSQUEHANNA AVE
BELGRADE ST                    E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                  GAUL ST                       BELGRADE ST
TILTON ST                      E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                EDGEMONT ST                   TILTON ST
E CAMBRIA ST                   GAUL ST                       MILLER ST
N FAIRHILL ST                  EDGLEY ST                     W SUSQUEHANNA AVE
N RANDOLPH ST                  EDGLEY ST                     W SUSQUEHANNA AVE
EDGLEY ST                      N RANDOLPH ST                 N FAIRHILL ST
AMBER ST                       E HAGERT ST                   E LETTERLY ST
E HAGERT ST                    CORAL ST                      AMBER ST
N DARIEN ST                    DIAMOND ST                    W SUSQUEHANNA AVE
TRENTON AVE                    E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                  COLLINS ST                    TRENTON AVE
EMERALD ST                     W SUSQUEHANNA AVE             E FLETCHER ST
N REESE ST                     EDGLEY ST                     W SUSQUEHANNA AVE
EDGLEY ST                      N REESE ST                    N RANDOLPH ST
CORAL ST                       E ARIZONA ST                  E YORK ST
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E ARIZONA ST                  EMERALD ST                    CORAL ST
N 8TH ST                      DIAMOND ST                    W SUSQUEHANNA AVE
E OAKDALE ST                  TULIP ST                      AGATE ST
EMERY ST                      E CLEMENTINE ST               E ALLEGHENY AVE
E CLEMENTINE ST               SALMON ST                     EMERY ST
CHATHAM ST                    E SOMERSET ST                 E CAMBRIA ST
E SOMERSET ST                 ARAMINGO AVE                  CHATHAM ST
ALMOND ST                     E ANN ST                      E INDIANA AVE
E ANN ST                      LIVINGSTON ST                 ALMOND ST
SEPVIVA ST                    E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST               TRENTON AVE                   SEPVIVA ST
N FRANKLIN ST                 DIAMOND ST                    W SUSQUEHANNA AVE
TULIP ST                      E TUCKER ST                   E OAKDALE ST
E TUCKER ST                   JANNEY ST                     TULIP ST
COLLINS ST                    E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST               FRANKFORD AVE                 COLLINS ST
N 7TH ST                      DIAMOND ST                    W SUSQUEHANNA AVE
MILLER ST                     E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                   GAUL ST                       MILLER ST
MARTHA ST                     E HAGERT ST                   E CUMBERLAND ST
E HAGERT ST                   AMBER ST                      MARTHA ST
E THOMPSON ST                 E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                 MERCER ST                     E THOMPSON ST
SALMON ST                     E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST               TILTON ST                     SALMON ST
E WISHART ST                  RICHMOND ST                   MELVALE ST
TRENTON AVE                   E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    COLLINS ST                    TRENTON AVE
TULIP ST                      E ALBERT ST                   E TUCKER ST
E ALBERT ST                   SEPVIVA ST                    TULIP ST
AMBER ST                      E BOSTON ST                   E HAGERT ST
E BOSTON ST                   CORAL ST                      AMBER ST
N MARSHALL ST                 DIAMOND ST                    WESTMONT ST
CORAL ST                      E DAUPHIN ST                  E ARIZONA ST
BELGRADE ST                   E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  MILLER ST                     BELGRADE ST
E HAGERT ST                   MARTHA ST                     MARTHA ST
GERMANTOWN AVE                DIAMOND ST                    N 6TH ST
E CLEMENTINE ST               EMERY ST                      RICHMOND ST
MEMPHIS ST                    E OAKDALE ST                  E LEHIGH AVE
E OAKDALE ST                  AGATE ST                      MEMPHIS ST
SEPVIVA ST                    E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  TRENTON AVE                   SEPVIVA ST
N FAIRHILL ST                 DIAMOND ST                    EDGLEY ST
AGATE ST                      E TUCKER ST                   E OAKDALE ST
E TUCKER ST                   TULIP ST                      AGATE ST
ALMOND ST                     E BIRCH ST                    E ANN ST
E BIRCH ST                    BELGRADE ST                   ALMOND ST
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EDGEMONT ST                    E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   E THOMPSON ST                 EDGEMONT ST
N REESE ST                     DIAMOND ST                    EDGLEY ST
EMERY ST                       E CLEARFIELD ST               E CLEMENTINE ST
E CLEARFIELD ST                SALMON ST                     EMERY ST
TULIP ST                       E HAROLD ST                   E ALBERT ST
E HAROLD ST                    SEPVIVA ST                    TULIP ST
E THOMPSON ST                  E TORONTO ST                  E INDIANA AVE
MERCER ST                      E ANN ST                      E INDIANA AVE
E ANN ST                       ALMOND ST                     MERCER ST
W NORRIS ST                    N BROAD ST                    N CARLISLE ST
GAUL ST                        E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                  CHATHAM ST                    GAUL ST
N ORKNEY ST                    DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                     N ORKNEY ST                   N 5TH ST
AMBER ST                       E YORK ST                     E BOSTON ST
E YORK ST                      CORAL ST                      AMBER ST
BELGRADE ST                    E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                    MILLER ST                     BELGRADE ST
TRENTON AVE                    E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST                COLLINS ST                    TRENTON AVE
DIAMOND ST                     N LAWRENCE ST                 N ORKNEY ST
MEMPHIS ST                     E TUCKER ST                   E OAKDALE ST
CORAL ST                       E FLETCHER ST                 E DAUPHIN ST
E FLETCHER ST                  EMERALD ST                    CORAL ST
N LEITHGOW ST                  DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                     N LEITHGOW ST                 N LAWRENCE ST
E HAGERT ST                    MARTHA ST                     FRANKFORD AVE
ALMOND ST                      E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                  BELGRADE ST                   ALMOND ST
SEPVIVA ST                     E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                  TRENTON AVE                   SEPVIVA ST
N 4TH ST                       DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                     N 4TH ST                      N LEITHGOW ST
E THOMPSON ST                  E MAYFIELD ST                 E TORONTO ST
TULIP ST                       E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST                SEPVIVA ST                    TULIP ST
MEMPHIS ST                     E TUCKER ST                   E TUCKER ST
E TUCKER ST                    AGATE ST                      MEMPHIS ST
GAUL ST                        DEAD END WEST                 E SOMERSET ST
EDGEMONT ST                    E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                  E THOMPSON ST                 EDGEMONT ST
N ORIANNA ST                   DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                     N ORIANNA ST                  N 4TH ST
TILTON ST                      E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                   EDGEMONT ST                   TILTON ST
N 13TH ST                      W NORRIS ST                   DIAMOND ST
W NORRIS ST                    N 13TH ST                     LIACOURAS WALK
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DIAMOND ST                    N 3RD ST                      N ORIANNA ST
E CLEARFIELD ST               EMERY ST                      RICHMOND ST
AMBER ST                      E ARIZONA ST                  E YORK ST
AMBER ST                      E ARIZONA ST                  E ARIZONA ST
E ARIZONA ST                  CORAL ST                      AMBER ST
MEMPHIS ST                    E ALBERT ST                   E TUCKER ST
E ALBERT ST                   TULIP ST                      MEMPHIS ST
TRENTON AVE                   E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 FRANKFORD AVE                 TRENTON AVE
W NORRIS ST                   N 12TH ST                     N 13TH ST
E AUBURN ST                   BELGRADE ST                   LIVINGSTON ST
MILLER ST                     E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                 GAUL ST                       MILLER ST
DIAMOND ST                    N AMERICAN ST                 N BODINE ST
E THOMPSON ST                 E ANN ST                      E MAYFIELD ST
E ANN ST                      MERCER ST                     E THOMPSON ST
SEPVIVA ST                    E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    TRENTON AVE                   SEPVIVA ST
MARTHA ST                     E YORK ST                     E HAGERT ST
E YORK ST                     AMBER ST                      MARTHA ST
N MARVINE ST                  W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N MARVINE ST                  N 12TH ST
EDGEMONT ST                   E TORONTO ST                  E INDIANA AVE
E TORONTO ST                  E THOMPSON ST                 EDGEMONT ST
CORAL ST                      E SUSQUEHANNA AVE             E FLETCHER ST
E SUSQUEHANNA AVE             N FRONT ST                    CORAL ST
AMBER ST                      E DAKOTA ST                   E ARIZONA ST
TULIP ST                      E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  SEPVIVA ST                    TULIP ST
N PHILIP ST                   DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                    N PHILIP ST                   N AMERICAN ST
SALMON ST                     E ELKHART ST                  E CLEARFIELD ST
E ELKHART ST                  TILTON ST                     SALMON ST
DIAMOND ST                    N 2ND ST                      N PHILIP ST
W NORRIS ST                   N 11TH ST                     N MARVINE ST
ALMOND ST                     E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  BELGRADE ST                   ALMOND ST
TILTON ST                     E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                 EDGEMONT ST                   TILTON ST
MEMPHIS ST                    E HAROLD ST                   E ALBERT ST
E HAROLD ST                   TULIP ST                      MEMPHIS ST
PALETHORP ST                  DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                    PALETHORP ST                  N 2ND ST
TRENTON AVE                   E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   FRANKFORD AVE                 TRENTON AVE
W NORRIS ST                   N WARNOCK ST                  N 11TH ST
N ALDER ST                    W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N ALDER ST                    N WARNOCK ST
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N HANCOCK ST                   DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                     N HANCOCK ST                  PALETHORP ST
CEDAR ST                       MOYER ST                      E LEHIGH AVE
AMBER ST                       E DAUPHIN ST                  E DAKOTA ST
E THOMPSON ST                  E BIRCH ST                    E ANN ST
E BIRCH ST                     ALMOND ST                     E THOMPSON ST
MELVALE ST                     E CLEARFIELD ST               E WISHART ST
E CLEARFIELD ST                RICHMOND ST                   MELVALE ST
N 10TH ST                      W NORRIS ST                   DIAMOND ST
W NORRIS ST                    N 10TH ST                     N ALDER ST
EDGEMONT ST                    E MAYFIELD ST                 E TORONTO ST
E MAYFIELD ST                  E THOMPSON ST                 EDGEMONT ST
CORAL ST                       ABIGAIL ST                    E SUSQUEHANNA AVE
TULIP ST                       E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                  SEPVIVA ST                    TULIP ST
ALMOND ST                      E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                    LIVINGSTON ST                 ALMOND ST
DIAMOND ST                     MASCHER ST                    N HANCOCK ST
SEPVIVA ST                     E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST                TRENTON AVE                   SEPVIVA ST
MEMPHIS ST                     E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST                TULIP ST                      MEMPHIS ST
BELGRADE ST                    E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                  MILLER ST                     BELGRADE ST
SALMON ST                      E INDIANA AVE                 E ELKHART ST
E INDIANA AVE                  TILTON ST                     SALMON ST
N HOWARD ST                    DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                     N HOWARD ST                   MASCHER ST
N 9TH ST                       W NORRIS ST                   DIAMOND ST
W NORRIS ST                    N 9TH ST                      N 10TH ST
E THOMPSON ST                  E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                  ALMOND ST                     E THOMPSON ST
HOPE ST                        DIAMOND ST                    W SUSQUEHANNA AVE
DIAMOND ST                     HOPE ST                       N HOWARD ST
N DARIEN ST                    W NORRIS ST                   DIAMOND ST
W NORRIS ST                    N DARIEN ST                   N 9TH ST
EDGEMONT ST                    E ANN ST                      E MAYFIELD ST
E ANN ST                       E THOMPSON ST                 EDGEMONT ST
CORAL ST                       DREER ST                      ABIGAIL ST
AMBER ST                       E FLETCHER ST                 E DAUPHIN ST
E FLETCHER ST                  CORAL ST                      AMBER ST
DIAMOND ST                     N FRONT ST                    HOPE ST
N 8TH ST                       W NORRIS ST                   DIAMOND ST
W NORRIS ST                    N 8TH ST                      N DARIEN ST
CORAL ST                       DIAMOND ST                    DREER ST
CEDAR ST                       E TUCKER ST                   MOYER ST
E TUCKER ST                    MEMPHIS ST                    CEDAR ST
BELGRADE ST                    E SELTZER ST                  E SOMERSET ST
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TULIP ST                      E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    SEPVIVA ST                    TULIP ST
TRENTON AVE                   FRANKFORD AVE                 E HAGERT ST
E YORK ST                     MARTHA ST                     TRENTON AVE
N FRANKLIN ST                 W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N FRANKLIN ST                 N 8TH ST
E AUBURN ST                   ALMOND ST                     MERCER ST
SEPVIVA ST                    E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 TRENTON AVE                   SEPVIVA ST
MEMPHIS ST                    E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  TULIP ST                      MEMPHIS ST
N 7TH ST                      W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N 7TH ST                      N FRANKLIN ST
LIVINGSTON ST                 E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                 BELGRADE ST                   LIVINGSTON ST
MOYER ST                      RITTER ST                     CEDAR ST
EDGEMONT ST                   E BIRCH ST                    E ANN ST
E BIRCH ST                    E THOMPSON ST                 EDGEMONT ST
N MARSHALL ST                 W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N MARSHALL ST                 N 7TH ST
MASCHER ST                    FONTAIN ST                    DIAMOND ST
TRENTON AVE                   E ARIZONA ST                  FRANKFORD AVE
E ARIZONA ST                  AMBER ST                      TRENTON AVE
E ELKHART ST                  RICHMOND ST                   DEAD END SOUTH
CEDAR ST                      E ALBERT ST                   E TUCKER ST
E ALBERT ST                   MEMPHIS ST                    CEDAR ST
FONTAIN ST                    WATERLOO ST                   MASCHER ST
TILTON ST                     E ANN ST                      E INDIANA AVE
E ANN ST                      EDGEMONT ST                   TILTON ST
W NORRIS ST                   N 6TH ST                      N MARSHALL ST
AMBER ST                      E SUSQUEHANNA AVE             E FLETCHER ST
E SUSQUEHANNA AVE             CORAL ST                      AMBER ST
E THOMPSON ST                 E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  ALMOND ST                     E THOMPSON ST
N HOWARD ST                   FONTAIN ST                    DIAMOND ST
FONTAIN ST                    N HOWARD ST                   WATERLOO ST
GAUL ST                       E LEHIGH AVE                  DEAD END EAST
GERMANTOWN AVE                W NORRIS ST                   DIAMOND ST
W NORRIS ST                   GERMANTOWN AVE                N 6TH ST
E INDIANA AVE                 SALMON ST                     RICHMOND ST
N RANDOLPH ST                 W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N RANDOLPH ST                 GERMANTOWN AVE
TULIP ST                      E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST               SEPVIVA ST                    TULIP ST
MEMPHIS ST                    E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                 TULIP ST                      MEMPHIS ST
SEPVIVA ST                    E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   TRENTON AVE                   SEPVIVA ST
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EDGEMONT ST                   E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                 E THOMPSON ST                 EDGEMONT ST
TRENTON AVE                   E DAKOTA ST                   E ARIZONA ST
E DAKOTA ST                   AMBER ST                      TRENTON AVE
N REESE ST                    W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N REESE ST                    N RANDOLPH ST
ALMOND ST                     E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                 LIVINGSTON ST                 ALMOND ST
CEDAR ST                      E HAROLD ST                   E ALBERT ST
E HAROLD ST                   MEMPHIS ST                    CEDAR ST
W NORRIS ST                   N 5TH ST                      N REESE ST
E YORK ST                     FRANKFORD AVE                 COLLINS ST
E THOMPSON ST                 E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                   MERCER ST                     E THOMPSON ST
N ORKNEY ST                   W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N ORKNEY ST                   N 5TH ST
AMBER ST                      ABIGAIL ST                    E SUSQUEHANNA AVE
ABIGAIL ST                    CORAL ST                      AMBER ST
N LAWRENCE ST                 W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N LAWRENCE ST                 N ORKNEY ST
SALMON ST                     E ANN ST                      E INDIANA AVE
E ANN ST                      TILTON ST                     SALMON ST
WATERLOO ST                   DEAD END SOUTH                FONTAIN ST
TRENTON AVE                   E DAUPHIN ST                  E DAKOTA ST
N LEITHGOW ST                 W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N LEITHGOW ST                 N LAWRENCE ST
E INDIANA AVE                 RICHMOND ST                   DEAD END SOUTH
N 4TH ST                      W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N 4TH ST                      N LEITHGOW ST
MEMPHIS ST                    E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    TULIP ST                      MEMPHIS ST
CEDAR ST                      E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST               MEMPHIS ST                    CEDAR ST
ALMOND ST                     E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  BELGRADE ST                   ALMOND ST
MARTHA ST                     E SUSQUEHANNA AVE             E DAUPHIN ST
E SUSQUEHANNA AVE             AMBER ST                      MARTHA ST
SEPVIVA ST                    E BOSTON ST                   E HAGERT ST
TULIP ST                      E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 SEPVIVA ST                    TULIP ST
RITTER ST                     E HAROLD ST                   MOYER ST
E HAROLD ST                   CEDAR ST                      RITTER ST
MILLER ST                     E LEHIGH AVE                  DEAD END EAST
N ORIANNA ST                  W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N ORIANNA ST                  N 4TH ST
W NORRIS ST                   N 3RD ST                      N ORIANNA ST
SALMON ST                     E BIRCH ST                    E ANN ST
E BIRCH ST                    EDGEMONT ST                   SALMON ST
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AMBER ST                      DREER ST                      ABIGAIL ST
DREER ST                      CORAL ST                      AMBER ST
EDGEMONT ST                   E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  E THOMPSON ST                 EDGEMONT ST
MERCER ST                     E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                 ALMOND ST                     MERCER ST
N BODINE ST                   W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N BODINE ST                   N 3RD ST
COLLINS ST                    E GORDON ST                   E YORK ST
W NORRIS ST                   N AMERICAN ST                 N BODINE ST
MARTHA ST                     ABIGAIL ST                    E SUSQUEHANNA AVE
ABIGAIL ST                    AMBER ST                      MARTHA ST
N LAWRENCE ST                 ARLINGTON ST                  W NORRIS ST
ARLINGTON ST                  N LAWRENCE ST                 DEAD END WEST
SEPVIVA ST                    E YORK ST                     E BOSTON ST
E YORK ST                     COLLINS ST                    SEPVIVA ST
N PHILIP ST                   W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N PHILIP ST                   N AMERICAN ST
TULIP ST                      E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   SEPVIVA ST                    TULIP ST
CEDAR ST                      E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  MEMPHIS ST                    CEDAR ST
SALMON ST                     E MONMOUTH ST                 E BIRCH ST
E MONMOUTH ST                 EDGEMONT ST                   SALMON ST
MEMPHIS ST                    E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST               TULIP ST                      MEMPHIS ST
W NORRIS ST                   N 2ND ST                      N PHILIP ST
MILLER ST                     E OAKDALE ST                  E LEHIGH AVE
E OAKDALE ST                  ARAMINGO AVE                  MILLER ST
EDGEMONT ST                   E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                   E THOMPSON ST                 EDGEMONT ST
PALETHORP ST                  W NORRIS ST                   DIAMOND ST
W NORRIS ST                   PALETHORP ST                  N 2ND ST
BELGRADE ST                   E LEHIGH AVE                  E SELTZER ST
N WARNOCK ST                  W BERKS ST                    W NORRIS ST
W BERKS ST                    N WARNOCK ST                  N WARNOCK ST
N HANCOCK ST                  W NORRIS ST                   DIAMOND ST
W NORRIS ST                   N HANCOCK ST                  PALETHORP ST
TRENTON AVE                   E SUSQUEHANNA AVE             BLAIR ST
E SUSQUEHANNA AVE             MARTHA ST                     TRENTON AVE
E ANN ST                      SALMON ST                     RICHMOND ST
W NORRIS ST                   MUTTER ST                     N HANCOCK ST
N 10TH ST                     W BERKS ST                    W NORRIS ST
W BERKS ST                    N 10TH ST                     N WARNOCK ST
AMBER ST                      BERGES ST                     DREER ST
MASCHER ST                    W NORRIS ST                   FONTAIN ST
W NORRIS ST                   MASCHER ST                    MUTTER ST
N 4TH ST                      W HEWSON ST                   W NORRIS ST
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E THOMPSON ST                 E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                 MERCER ST                     E THOMPSON ST
CEDAR ST                      E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                 MEMPHIS ST                    CEDAR ST
TRENTON AVE                   ABIGAIL ST                    E SUSQUEHANNA AVE
ABIGAIL ST                    MARTHA ST                     TRENTON AVE
E HAROLD ST                   RITTER ST                     MOYER ST
E ANN ST                      RICHMOND ST                   MELVALE ST
TULIP ST                      E BOSTON ST                   E HAGERT ST
E BOSTON ST                   SEPVIVA ST                    TULIP ST
W HEWSON ST                   N 4TH ST                      N LEITHGOW ST
N LEITHGOW ST                 W HEWSON ST                   W NORRIS ST
W NORRIS ST                   N HOWARD ST                   MASCHER ST
SEPVIVA ST                    E GORDON ST                   E YORK ST
E GORDON ST                   COLLINS ST                    SEPVIVA ST
W HEWSON ST                   N LEITHGOW ST                 N LEITHGOW ST
N 9TH ST                      W BERKS ST                    W NORRIS ST
W BERKS ST                    N 9TH ST                      N 10TH ST
MEMPHIS ST                    E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 TULIP ST                      MEMPHIS ST
COLLINS ST                    E DAUPHIN ST                  E GORDON ST
N REESE ST                    DEAD END SOUTH                W NORRIS ST
HOPE ST                       W NORRIS ST                   DIAMOND ST
W NORRIS ST                   HOPE ST                       N HOWARD ST
N DARIEN ST                   W BERKS ST                    W NORRIS ST
W BERKS ST                    N DARIEN ST                   N 9TH ST
SALMON ST                     E CAMBRIA ST                  E MONMOUTH ST
E CAMBRIA ST                  EDGEMONT ST                   SALMON ST
LIVINGSTON ST                 E LEHIGH AVE                  DEAD END EAST
N 8TH ST                      W BERKS ST                    W NORRIS ST
W BERKS ST                    N 8TH ST                      N DARIEN ST
AMBER ST                      N FRONT ST                    BERGES ST
W NORRIS ST                   E NORRIS ST                   HOPE ST
W HEWSON ST                   N LEITHGOW ST                 N LAWRENCE ST
N LAWRENCE ST                 W HEWSON ST                   ARLINGTON ST
E THOMPSON ST                 E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  ALMOND ST                     E THOMPSON ST
MARTHA ST                     BERGES ST                     ABIGAIL ST
BERGES ST                     AMBER ST                      MARTHA ST
N FRANKLIN ST                 W BERKS ST                    W NORRIS ST
W BERKS ST                    N FRANKLIN ST                 N 8TH ST
W BERKS ST                    N FRANKLIN ST                 N FRANKLIN ST
BLAIR ST                      E SUSQUEHANNA AVE             E DAUPHIN ST
E SUSQUEHANNA AVE             TRENTON AVE                   BLAIR ST
CEDAR ST                      E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    MEMPHIS ST                    CEDAR ST
N 7TH ST                      W BERKS ST                    W NORRIS ST
W BERKS ST                    N 7TH ST                      N FRANKLIN ST
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W HEWSON ST                   N LAWRENCE ST                 N 5TH ST
W BERKS ST                    N SHERIDAN ST                 N 7TH ST
SEPVIVA ST                    E DAUPHIN ST                  E GORDON ST
MEMPHIS ST                    E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   TULIP ST                      MEMPHIS ST
E HUNTINGDON ST               CEDAR ST                      GAUL ST
SALMON ST                     E AUBURN ST                   E CAMBRIA ST
E AUBURN ST                   EDGEMONT ST                   SALMON ST
TRENTON AVE                   DREER ST                      ABIGAIL ST
TULIP ST                      E YORK ST                     E BOSTON ST
E YORK ST                     SEPVIVA ST                    TULIP ST
MILLER ST                     ARAMINGO AVE                  E OAKDALE ST
N MARSHALL ST                 W BERKS ST                    W NORRIS ST
W BERKS ST                    N MARSHALL ST                 N SHERIDAN ST
MASCHER ST                    W HEWSON ST                   W NORRIS ST
CEDAR ST                      FREEDLY ST                    E FIRTH ST
MOYER ST                      E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST               GAUL ST                       MOYER ST
W BERKS ST                    N 6TH ST                      N MARSHALL ST
W HEWSON ST                   WATERLOO ST                   MASCHER ST
ALMOND ST                     E LEHIGH AVE                  DEAD END EAST
EDGEMONT ST                   E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                 E THOMPSON ST                 EDGEMONT ST
TRENTON AVE                   BERGES ST                     DREER ST
BERGES ST                     MARTHA ST                     TRENTON AVE
E CAMBRIA ST                  SALMON ST                     RICHMOND ST
E SUSQUEHANNA AVE             BLAIR ST                      FRANKFORD AVE
W BERKS ST                    GERMANTOWN AVE                N 6TH ST
CEDAR ST                      E CUMBERLAND ST               FREEDLY ST
E CUMBERLAND ST               MEMPHIS ST                    CEDAR ST
GAUL ST                       E HAZZARD ST                  E HUNTINGDON ST
E HAZZARD ST                  CEDAR ST                      GAUL ST
TULIP ST                      E GORDON ST                   E YORK ST
E GORDON ST                   SEPVIVA ST                    TULIP ST
W MONTGOMERY AVE              N BROAD ST                    N 15TH ST
SEPVIVA ST                    E FLETCHER ST                 E DAUPHIN ST
W BERKS ST                    N 5TH ST                      GERMANTOWN AVE
MEMPHIS ST                    E BOSTON ST                   E HAGERT ST
E BOSTON ST                   TULIP ST                      MEMPHIS ST
E CAMBRIA ST                  RICHMOND ST                   MELVALE ST
BELGRADE ST                   E ALBERT ST                   E LEHIGH AVE
W BERKS ST                    CADWALLADER ST                N 5TH ST
EDGEMONT ST                   E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  E THOMPSON ST                 EDGEMONT ST
N LAWRENCE ST                 W BERKS ST                    W HEWSON ST
W BERKS ST                    N LAWRENCE ST                 CADWALLADER ST
N LEITHGOW ST                 W BERKS ST                    W HEWSON ST
W BERKS ST                    N LEITHGOW ST                 N LAWRENCE ST
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TILTON ST                     E SOMERSET ST                 DEAD END EAST
E SOMERSET ST                 EDGEMONT ST                   TILTON ST
BLAIR ST                      DREER ST                      E SUSQUEHANNA AVE
DREER ST                      TRENTON AVE                   BLAIR ST
N 4TH ST                      W BERKS ST                    W HEWSON ST
W BERKS ST                    N 4TH ST                      N LEITHGOW ST
N 13TH ST                     W MONTGOMERY AVE              POLETT WALK
W MONTGOMERY AVE              N 13TH ST                     N PARK AVE
TRENTON AVE                   E NORRIS ST                   BERGES ST
MERCER ST                     E LEHIGH AVE                  DEAD END EAST
N ORIANNA ST                  W BERKS ST                    W NORRIS ST
W BERKS ST                    N ORIANNA ST                  N 4TH ST
GAUL ST                       E SERGEANT ST                 E HAZZARD ST
E SERGEANT ST                 CEDAR ST                      GAUL ST
W BERKS ST                    N 3RD ST                      N ORIANNA ST
CEDAR ST                      E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 MEMPHIS ST                    CEDAR ST
SEPVIVA ST                    E SUSQUEHANNA AVE             E FLETCHER ST
E SUSQUEHANNA AVE             FRANKFORD AVE                 SEPVIVA ST
W MONTGOMERY AVE              N 12TH ST                     N 13TH ST
MEMPHIS ST                    E YORK ST                     E BOSTON ST
E YORK ST                     TULIP ST                      MEMPHIS ST
BELGRADE ST                   ARAMINGO AVE                  E ALBERT ST
E HUNTINGDON ST               MOYER ST                      ARAMINGO AVE
LIVINGSTON ST                 E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                   BELGRADE ST                   LIVINGSTON ST
W BERKS ST                    N AMERICAN ST                 N 3RD ST
SALMON ST                     E SOMERSET ST                 E AUBURN ST
E SOMERSET ST                 TILTON ST                     SALMON ST
N PHILIP ST                   W BERKS ST                    W NORRIS ST
W BERKS ST                    N PHILIP ST                   N AMERICAN ST
W MONTGOMERY AVE              N 11TH ST                     N 12TH ST
W BERKS ST                    N 2ND ST                      N PHILIP ST
MELVALE ST                    E CAMBRIA ST                  E ANN ST
GAUL ST                       E FIRTH ST                    E SERGEANT ST
E FIRTH ST                    CEDAR ST                      GAUL ST
N WARNOCK ST                  W MONTGOMERY AVE              W BERKS ST
TULIP ST                      E FLETCHER ST                 E DAUPHIN ST
E FLETCHER ST                 SEPVIVA ST                    TULIP ST
TRENTON AVE                   E HEWSON ST                   E NORRIS ST
CEDAR ST                      E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   MEMPHIS ST                    CEDAR ST
PALETHORP ST                  W BERKS ST                    W NORRIS ST
W BERKS ST                    PALETHORP ST                  N 2ND ST
N MARSHALL ST                 W WILT ST                     W BERKS ST
E THOMPSON ST                 E LEHIGH AVE                  E SELTZER ST
MEMPHIS ST                    E GORDON ST                   E YORK ST
E GORDON ST                   TULIP ST                      MEMPHIS ST
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N HANCOCK ST                  W BERKS ST                    W NORRIS ST
W BERKS ST                    N HANCOCK ST                  PALETHORP ST
SEPVIVA ST                    DREER ST                      E SUSQUEHANNA AVE
N 10TH ST                     W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N 10TH ST                     N WARNOCK ST
BLAIR ST                      E NORRIS ST                   DREER ST
W WILT ST                     N 6TH ST                      N MARSHALL ST
SALMON ST                     E SELTZER ST                  E SOMERSET ST
E SELTZER ST                  EDGEMONT ST                   SALMON ST
MUTTER ST                     W BERKS ST                    W NORRIS ST
W BERKS ST                    MUTTER ST                     N HANCOCK ST
W MONTGOMERY AVE              N DELHI ST                    N 10TH ST
GAUL ST                       FREEDLY ST                    E FIRTH ST
FREEDLY ST                    CEDAR ST                      GAUL ST
MOYER ST                      ALMOND ST                     E HUNTINGDON ST
ALMOND ST                     E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                   LIVINGSTON ST                 ALMOND ST
MASCHER ST                    W BERKS ST                    W HEWSON ST
W BERKS ST                    MASCHER ST                    MUTTER ST
E SOMERSET ST                 SALMON ST                     RICHMOND ST
LIVINGSTON ST                 E HUNTINGDON ST               E ALBERT ST
E HUNTINGDON ST               ARAMINGO AVE                  LIVINGSTON ST
WATERLOO ST                   W BERKS ST                    W HEWSON ST
W BERKS ST                    WATERLOO ST                   MASCHER ST
ALMOND ST                     E SERGEANT ST                 MOYER ST
E SERGEANT ST                 GAUL ST                       ALMOND ST
N 9TH ST                      W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N 9TH ST                      N DELHI ST
N HOWARD ST                   W BERKS ST                    W NORRIS ST
W BERKS ST                    N HOWARD ST                   WATERLOO ST
WEBB ST                       E LEHIGH AVE                  DEAD END EAST
GERMANTOWN AVE                MORSE ST                      W BERKS ST
HOPE ST                       W BERKS ST                    W NORRIS ST
W BERKS ST                    HOPE ST                       N HOWARD ST
CEDAR ST                      E BOSTON ST                   E HAGERT ST
E BOSTON ST                   MEMPHIS ST                    CEDAR ST
GAUL ST                       E CUMBERLAND ST               FREEDLY ST
E CUMBERLAND ST               CEDAR ST                      GAUL ST
TULIP ST                      E SUSQUEHANNA AVE             E FLETCHER ST
E SUSQUEHANNA AVE             SEPVIVA ST                    TULIP ST
ALMOND ST                     E HAROLD ST                   E ALBERT ST
N 8TH ST                      W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N 8TH ST                      N 9TH ST
W BERKS ST                    N FRONT ST                    HOPE ST
MEMPHIS ST                    E DAUPHIN ST                  E GORDON ST
MORSE ST                      GERMANTOWN AVE                N REESE ST
N FRANKLIN ST                 W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N FRANKLIN ST                 N 8TH ST
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BLAIR ST                     E HEWSON ST                   E NORRIS ST
E HEWSON ST                  BLAIR ST                      TRENTON AVE
N 7TH ST                     W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N 7TH ST                      N FRANKLIN ST
ALMOND ST                    E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST              LIVINGSTON ST                 ALMOND ST
N LEITHGOW ST                CADWALLADER ST                W BERKS ST
CADWALLADER ST               N LEITHGOW ST                 W BERKS ST
EDGEMONT ST                  E LEHIGH AVE                  DEAD END EAST
MERCER ST                    E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                  ALMOND ST                     MERCER ST
N SHERIDAN ST                W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE             N SHERIDAN ST                 N 7TH ST
ALMOND ST                    E FIRTH ST                    E SERGEANT ST
E FIRTH ST                   GAUL ST                       ALMOND ST
TULIP ST                     DREER ST                      E SUSQUEHANNA AVE
DREER ST                     SEPVIVA ST                    TULIP ST
N MARSHALL ST                W MONTGOMERY AVE              W WILT ST
W MONTGOMERY AVE             N MARSHALL ST                 N SHERIDAN ST
SEPVIVA ST                   E NORRIS ST                   DREER ST
GAUL ST                      E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                CEDAR ST                      GAUL ST
MEMPHIS ST                   E FLETCHER ST                 E DAUPHIN ST
E FLETCHER ST                TULIP ST                      MEMPHIS ST
CEDAR ST                     E YORK ST                     E BOSTON ST
E YORK ST                    MEMPHIS ST                    CEDAR ST
W MONTGOMERY AVE             N 6TH ST                      N MARSHALL ST
N HANCOCK ST                 W WILT ST                     W BERKS ST
MORSE ST                     N REESE ST                    W MONTGOMERY AVE
W MONTGOMERY AVE             MORSE ST                      N 6TH ST
W WILT ST                    MUTTER ST                     N HANCOCK ST
W MONTGOMERY AVE             N RANDOLPH ST                 MORSE ST
MASCHER ST                   W WILT ST                     W BERKS ST
W WILT ST                    MASCHER ST                    MUTTER ST
N REESE ST                   W MONTGOMERY AVE              MORSE ST
W MONTGOMERY AVE             N REESE ST                    N RANDOLPH ST
TULIP ST                     E NORRIS ST                   DREER ST
TILTON ST                    E LEHIGH AVE                  DEAD END EAST
W MONTGOMERY AVE             GERMANTOWN AVE                N REESE ST
GERMANTOWN AVE               W MONTGOMERY AVE              MORSE ST
CEDAR ST                     E GORDON ST                   E YORK ST
E GORDON ST                  MEMPHIS ST                    CEDAR ST
ALMOND ST                    E CUMBERLAND ST               E FIRTH ST
E CUMBERLAND ST              GAUL ST                       ALMOND ST
E THOMPSON ST                E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                  MERCER ST                     E THOMPSON ST
GAUL ST                      E HAGERT ST                   E LETTERLY ST
E HAGERT ST                  CEDAR ST                      GAUL ST
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MEMPHIS ST                    E SUSQUEHANNA AVE             E FLETCHER ST
E SUSQUEHANNA AVE             TULIP ST                      MEMPHIS ST
CADWALLADER ST                W MONTGOMERY AVE              N LEITHGOW ST
N 10TH ST                     N DELHI ST                    W MONTGOMERY AVE
N 4TH ST                      W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              N 4TH ST                      CADWALLADER ST
MASCHER ST                    W WILT ST                     W WILT ST
N 13TH ST                     CECIL B MOORE AVE             W MONTGOMERY AVE
BLAIR ST                      E BERKS ST                    E HEWSON ST
E THOMPSON ST                 E HAROLD ST                   E ALBERT ST
E HAROLD ST                   ALMOND ST                     E THOMPSON ST
N HANCOCK ST                  TILGHMAN ST                   W WILT ST
W WILT ST                     WATERLOO ST                   MASCHER ST
N HOWARD ST                   W WILT ST                     W BERKS ST
W WILT ST                     N HOWARD ST                   WATERLOO ST
SALMON ST                     E LEHIGH AVE                  DEAD END EAST
SEPVIVA ST                    E HEWSON ST                   E NORRIS ST
WEBB ST                       E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                   E THOMPSON ST                 WEBB ST
GAUL ST                       E BOSTON ST                   E HAGERT ST
E BOSTON ST                   CEDAR ST                      GAUL ST
ALMOND ST                     E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 GAUL ST                       ALMOND ST
CEDAR ST                      E DAUPHIN ST                  E GORDON ST
MEMPHIS ST                    E NORRIS ST                   E SUSQUEHANNA AVE
N ORIANNA ST                  CECIL B MOORE AVE             N 3RD ST
E THOMPSON ST                 E HUNTINGDON ST               E HAROLD ST
E HUNTINGDON ST               ALMOND ST                     E THOMPSON ST
E BERKS ST                    FRANKFORD AVE                 BLAIR ST
TULIP ST                      E HEWSON ST                   E NORRIS ST
E HEWSON ST                   TULIP ST                      SEPVIVA ST
EMERY ST                      E LEHIGH AVE                  DEAD END EAST
ALMOND ST                     E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   GAUL ST                       ALMOND ST
TILGHMAN ST                   PALETHORP ST                  N HANCOCK ST
PALETHORP ST                  W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              PALETHORP ST                  N 2ND ST
EDGEMONT ST                   E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                   WEBB ST                       EDGEMONT ST
N HANCOCK ST                  W MONTGOMERY AVE              TILGHMAN ST
W MONTGOMERY AVE              N HANCOCK ST                  PALETHORP ST
MUTTER ST                     W MONTGOMERY AVE              W WILT ST
W MONTGOMERY AVE              MUTTER ST                     N HANCOCK ST
SEPVIVA ST                    E BERKS ST                    E HEWSON ST
E BERKS ST                    SEPVIVA ST                    FRANKFORD AVE
N 10TH ST                     CECIL B MOORE AVE             N DELHI ST
MASCHER ST                    W MONTGOMERY AVE              W WILT ST
W MONTGOMERY AVE              MASCHER ST                    MUTTER ST
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GAUL ST                       E YORK ST                     E BOSTON ST
E YORK ST                     CEDAR ST                      GAUL ST
WATERLOO ST                   W MONTGOMERY AVE              W WILT ST
W MONTGOMERY AVE              WATERLOO ST                   MASCHER ST
CEDAR ST                      E FLETCHER ST                 E DAUPHIN ST
E FLETCHER ST                 MEMPHIS ST                    CEDAR ST
E CUMBERLAND ST               ALMOND ST                     MOYER ST
N HOWARD ST                   W MONTGOMERY AVE              W WILT ST
W MONTGOMERY AVE              N HOWARD ST                   WATERLOO ST
MEMPHIS ST                    E HEWSON ST                   E NORRIS ST
E HEWSON ST                   MEMPHIS ST                    TULIP ST
TILTON ST                     E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                   EDGEMONT ST                   TILTON ST
N 9TH ST                      CECIL B MOORE AVE             W MONTGOMERY AVE
HOPE ST                       W MONTGOMERY AVE              W BERKS ST
W MONTGOMERY AVE              HOPE ST                       N HOWARD ST
TULIP ST                      E BERKS ST                    E HEWSON ST
E BERKS ST                    TULIP ST                      SEPVIVA ST
W MONTGOMERY AVE              N FRONT ST                    HOPE ST
E YORK ST                     GAUL ST                       BELGRADE ST
ALMOND ST                     E BOSTON ST                   E HAGERT ST
E BOSTON ST                   GAUL ST                       ALMOND ST
EDGEMONT ST                   E HUNTINGDON ST               E ALBERT ST
E HUNTINGDON ST               E THOMPSON ST                 EDGEMONT ST
N 8TH ST                      CECIL B MOORE AVE             W MONTGOMERY AVE
GAUL ST                       E GORDON ST                   E YORK ST
E GORDON ST                   CEDAR ST                      GAUL ST
MOYER ST                      E LETTERLY ST                 E CUMBERLAND ST
E LETTERLY ST                 ALMOND ST                     MOYER ST
E THOMPSON ST                 E SERGEANT ST                 E HUNTINGDON ST
N FRANKLIN ST                 CECIL B MOORE AVE             W MONTGOMERY AVE
BLAIR ST                      E MONTGOMERY AVE              E BERKS ST
N 7TH ST                      CECIL B MOORE AVE             W MONTGOMERY AVE
CEDAR ST                      E NORRIS ST                   E FLETCHER ST
E SUSQUEHANNA AVE             MEMPHIS ST                    E NORRIS ST
SALMON ST                     E ALBERT ST                   E LEHIGH AVE
E ALBERT ST                   TILTON ST                     SALMON ST
N MARSHALL ST                 CECIL B MOORE AVE             W MONTGOMERY AVE
TILGHMAN ST                   N 2ND ST                      PALETHORP ST
E MONTGOMERY AVE              FRANKFORD AVE                 BLAIR ST
E HUNTINGDON ST               EDGEMONT ST                   TILTON ST
MEMPHIS ST                    E BERKS ST                    E HEWSON ST
E BERKS ST                    MEMPHIS ST                    TULIP ST
BELGRADE ST                   E GORDON ST                   E YORK ST
TULIP ST                      E WILT ST                     E BERKS ST
GAUL ST                       E DAUPHIN ST                  E GORDON ST
CEDAR ST                      E HEWSON ST                   E SUSQUEHANNA AVE
E HEWSON ST                   CEDAR ST                      MEMPHIS ST
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WEBB ST                       E SERGEANT ST                 DEAD END EAST
E SERGEANT ST                 E THOMPSON ST                 WEBB ST
N 10TH ST                     TURNER ST                     CECIL B MOORE AVE
W OXFORD ST                   N BROAD ST                    N CARLISLE ST
MOYER ST                      E HAGERT ST                   E LETTERLY ST
E HAGERT ST                   ALMOND ST                     MOYER ST
N RANDOLPH ST                 CECIL B MOORE AVE             W MONTGOMERY AVE
NEWPORT PL                    CUL DE SAC SOUTH              CECIL B MOORE AVE
BELGRADE ST                   E GORDON ST                   E GORDON ST
E GORDON ST                   GAUL ST                       BELGRADE ST
RITTER ST                     E NORRIS ST                   E DAUPHIN ST
TURNER ST                     DEAD END EAST                 N 10TH ST
N HANCOCK ST                  W PALMER ST                   W MONTGOMERY AVE
E CUMBERLAND ST               MOYER ST                      ARAMINGO AVE
ALMOND ST                     E YORK ST                     E BOSTON ST
E YORK ST                     BELGRADE ST                   ALMOND ST
N PARK AVE                    W OXFORD ST                   CECIL B MOORE AVE
CEDAR ST                      E BERKS ST                    E HEWSON ST
E BERKS ST                    CEDAR ST                      MEMPHIS ST
MASCHER ST                    W PALMER ST                   W MONTGOMERY AVE
W PALMER ST                   MASCHER ST                    N HANCOCK ST
GERMANTOWN AVE                CECIL B MOORE AVE             W MONTGOMERY AVE
BELGRADE ST                   E DAKOTA ST                   E GORDON ST
E BOSTON ST                   ALMOND ST                     E THOMPSON ST
SALMON ST                     E HUNTINGDON ST               E ALBERT ST
E HUNTINGDON ST               TILTON ST                     SALMON ST
N 13TH ST                     W OXFORD ST                   CECIL B MOORE AVE
TAGGERT ST                    E NORRIS ST                   E DAUPHIN ST
GAUL ST                       TOWNSEND ST                   E DAUPHIN ST
EDGEMONT ST                   E SERGEANT ST                 E HUNTINGDON ST
E SERGEANT ST                 WEBB ST                       EDGEMONT ST
N HOWARD ST                   W PALMER ST                   W MONTGOMERY AVE
MEMPHIS ST                    E WILT ST                     E BERKS ST
E WILT ST                     MEMPHIS ST                    TULIP ST
N 4TH ST                      CECIL B MOORE AVE             W MONTGOMERY AVE
HOPE ST                       W PALMER ST                   W MONTGOMERY AVE
W PALMER ST                   HOPE ST                       N HOWARD ST
E THOMPSON ST                 E CUMBERLAND ST               E SERGEANT ST
E CUMBERLAND ST               ARAMINGO AVE                  E THOMPSON ST
TULIP ST                      E MONTGOMERY AVE              E WILT ST
E MONTGOMERY AVE              TULIP ST                      FRANKFORD AVE
E YORK ST                     ALMOND ST                     MERCER ST
W PALMER ST                   N FRONT ST                    HOPE ST
BELGRADE ST                   E DAUPHIN ST                  E DAKOTA ST
N BODINE ST                   CECIL B MOORE AVE             W MONTGOMERY AVE
N 4TH ST                      CADWALLADER ST                CECIL B MOORE AVE
EMERY ST                      E HUNTINGDON ST               E LEHIGH AVE
E HUNTINGDON ST               SALMON ST                     EMERY ST
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ALMOND ST                     E GORDON ST                   E YORK ST
E GORDON ST                   BELGRADE ST                   ALMOND ST
E THOMPSON ST                 ARAMINGO AVE                  E CUMBERLAND ST
GAUL ST                       E NORRIS ST                   TOWNSEND ST
E HUNTINGDON ST               EMERY ST                      RICHMOND ST
TILTON ST                     E SERGEANT ST                 E HUNTINGDON ST
E SERGEANT ST                 EDGEMONT ST                   TILTON ST
WEBB ST                       E CUMBERLAND ST               E SERGEANT ST
E CUMBERLAND ST               E THOMPSON ST                 WEBB ST
GAUL ST                       E FLETCHER ST                 E NORRIS ST
BELGRADE ST                   TOWNSEND ST                   E DAUPHIN ST
TOWNSEND ST                   GAUL ST                       BELGRADE ST
E THOMPSON ST                 E YORK ST                     E BOSTON ST
E YORK ST                     MERCER ST                     E THOMPSON ST
MEMPHIS ST                    E MONTGOMERY AVE              E WILT ST
E MONTGOMERY AVE              MEMPHIS ST                    TULIP ST
CHESAPEAKE PL                 N JEFFERSON LN                CUL DE SAC NORTH
PALETHORP ST                  CECIL B MOORE AVE             DEAD END NORTH
ALMOND ST                     E DAKOTA ST                   E GORDON ST
E DAKOTA ST                   BELGRADE ST                   ALMOND ST
N HANCOCK ST                  CECIL B MOORE AVE             W PALMER ST
N 10TH ST                     W OXFORD ST                   TURNER ST
GAUL ST                       E SUSQUEHANNA AVE             E FLETCHER ST
E SUSQUEHANNA AVE             GAUL ST                       CEDAR ST
SALMON ST                     E SERGEANT ST                 E HUNTINGDON ST
E EYRE ST                     SEPVIVA ST                    FRANKFORD AVE
SALMON ST                     E SERGEANT ST                 E SERGEANT ST
E SERGEANT ST                 TILTON ST                     SALMON ST
MEMPHIS ST                    E MONTGOMERY AVE              E MONTGOMERY AVE
EDGEMONT ST                   E CUMBERLAND ST               E SERGEANT ST
E CUMBERLAND ST               WEBB ST                       EDGEMONT ST
N RANDOLPH ST                 TURNER ST                     CECIL B MOORE AVE
TURNER ST                     N RANDOLPH ST                 N 6TH ST
W PALMER ST                   BLAIR ST                      N FRONT ST
MOYER ST                      ARAMINGO AVE                  E HAGERT ST
E YORK ST                     E THOMPSON ST                 E CABOT ST
N 9TH ST                      W OXFORD ST                   CECIL B MOORE AVE
GAUL ST                       E HEWSON ST                   E SUSQUEHANNA AVE
E HEWSON ST                   GAUL ST                       CEDAR ST
MASCHER ST                    CECIL B MOORE AVE             W PALMER ST
ALMOND ST                     E DAUPHIN ST                  E DAKOTA ST
EMERY ST                      E SERGEANT ST                 E HUNTINGDON ST
E SERGEANT ST                 SALMON ST                     EMERY ST
TULIP ST                      E EYRE ST                     E MONTGOMERY AVE
E EYRE ST                     TULIP ST                      SEPVIVA ST
BELGRADE ST                   E NORRIS ST                   TOWNSEND ST
N 8TH ST                      W OXFORD ST                   CECIL B MOORE AVE
SARATOGA PL                   CUL DE SAC SOUTH              W OXFORD ST
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GERMANTOWN AVE                TURNER ST                     CECIL B MOORE AVE
N FRANKLIN ST                 W OXFORD ST                   CECIL B MOORE AVE
E YORK ST                     E CABOT ST                    ARAMINGO AVE
WATERLOO ST                   CECIL B MOORE AVE             W MONTGOMERY AVE
TILTON ST                     E CUMBERLAND ST               E SERGEANT ST
E CUMBERLAND ST               EDGEMONT ST                   TILTON ST
QUEENS PL                     DEAD END SOUTH                W OXFORD ST
TURNER ST                     GERMANTOWN AVE                N LAWRENCE ST
GAUL ST                       E BERKS ST                    E HEWSON ST
E BERKS ST                    GAUL ST                       CEDAR ST
N 7TH ST                      W OXFORD ST                   CECIL B MOORE AVE
W PALMER ST                   FRANKFORD AVE                 BLAIR ST
N MARSHALL ST                 W OXFORD ST                   CECIL B MOORE AVE
BELGRADE ST                   E FLETCHER ST                 E NORRIS ST
E FLETCHER ST                 BELGRADE ST                   GAUL ST
MERCER ST                     E DAUPHIN ST                  E YORK ST
E SERGEANT ST                 EMERY ST                      RICHMOND ST
N HOWARD ST                   CECIL B MOORE AVE             W PALMER ST
PALETHORP ST                  TURNER ST                     CECIL B MOORE AVE
TURNER ST                     PALETHORP ST                  N 2ND ST
GAUL ST                       E WILT ST                     E BERKS ST
E WILT ST                     GAUL ST                       MEMPHIS ST
MEMPHIS ST                    E EYRE ST                     E MONTGOMERY AVE
E EYRE ST                     MEMPHIS ST                    TULIP ST
N HANCOCK ST                  TURNER ST                     CECIL B MOORE AVE
TURNER ST                     N HANCOCK ST                  PALETHORP ST
JEFFERSON ST                  N BROAD ST                    N CARLISLE ST
N RANDOLPH ST                 W OXFORD ST                   TURNER ST
SALMON ST                     E CUMBERLAND ST               E SERGEANT ST
E CUMBERLAND ST               TILTON ST                     SALMON ST
MASCHER ST                    TURNER ST                     CECIL B MOORE AVE
TURNER ST                     MASCHER ST                    N HANCOCK ST
E BERKS ST                    MILLER ST                     GAUL ST
BELGRADE ST                   E SUSQUEHANNA AVE             E FLETCHER ST
E SUSQUEHANNA AVE             BELGRADE ST                   GAUL ST
ALMOND ST                     E NORRIS ST                   E DAUPHIN ST
E THOMPSON ST                 E DAUPHIN ST                  E YORK ST
HOPE ST                       CECIL B MOORE AVE             W PALMER ST
GAUL ST                       E MONTGOMERY AVE              E WILT ST
E MONTGOMERY AVE              GAUL ST                       MEMPHIS ST
N HOWARD ST                   TURNER ST                     CECIL B MOORE AVE
N LAWRENCE ST                 W OXFORD ST                   TURNER ST
SEPVIVA ST                    E PALMER ST                   E EYRE ST
E PALMER ST                   SEPVIVA ST                    FRANKFORD AVE
HOPE ST                       TURNER ST                     CECIL B MOORE AVE
TURNER ST                     HOPE ST                       N HOWARD ST
N 13TH ST                     JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 13TH ST                     N BROAD ST
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GERMANTOWN AVE                W OXFORD ST                   TURNER ST
BELGRADE ST                   E HEWSON ST                   E SUSQUEHANNA AVE
N 4TH ST                      W OXFORD ST                   CADWALLADER ST
EMERY ST                      E CUMBERLAND ST               E SERGEANT ST
E CUMBERLAND ST               SALMON ST                     EMERY ST
DONDILL PL                    JEFFERSON ST                  CUL DE SAC NORTH
JEFFERSON ST                  DONDILL PL                    N 13TH ST
E CABOT ST                    E DAUPHIN ST                  E YORK ST
CADWALLADER ST                W OXFORD ST                   N 4TH ST
E CUMBERLAND ST               EMERY ST                      RICHMOND ST
TULIP ST                      E PALMER ST                   E EYRE ST
E PALMER ST                   TULIP ST                      SEPVIVA ST
JEFFERSON ST                  N 12TH ST                     DONDILL PL
LIVINGSTON ST                 E SUSQUEHANNA AVE             E NORRIS ST
E SUSQUEHANNA AVE             LIVINGSTON ST                 BELGRADE ST
N BODINE ST                   W OXFORD ST                   CECIL B MOORE AVE
BLAIR ST                      E COLUMBIA AVE                W PALMER ST
BELGRADE ST                   E BERKS ST                    E HEWSON ST
E BERKS ST                    BELGRADE ST                   MILLER ST
N 4TH ST                      REDNER ST                     W OXFORD ST
GERMANTOWN AVE                N 4TH ST                      W OXFORD ST
MILLER ST                     E MONTGOMERY AVE              E BERKS ST
E MONTGOMERY AVE              MILLER ST                     GAUL ST
N HOWARD ST                   GUEST ST                      TURNER ST
GUILFORD PL                   JEFFERSON ST                  DEAD END NORTH
JEFFERSON ST                  GUILFORD PL                   N 12TH ST
JEFFERSON ST                  N 11TH ST                     GUILFORD PL
N PHILIP ST                   W OXFORD ST                   CECIL B MOORE AVE
HOPE ST                       GUEST ST                      TURNER ST
GUEST ST                      HOPE ST                       N HOWARD ST
E PALMER ST                   MEMPHIS ST                    TULIP ST
SEPVIVA ST                    EARL ST                       E PALMER ST
BELGRADE ST                   E WILT ST                     E BERKS ST
E THOMPSON ST                 E NORRIS ST                   E DAUPHIN ST
MEMPHIS ST                    E PALMER ST                   E EYRE ST
E PALMER ST                   MEMPHIS ST                    MEMPHIS ST
N HANCOCK ST                  W OXFORD ST                   TURNER ST
N 10TH ST                     JEFFERSON ST                  W OXFORD ST
ALMOND ST                     E SUSQUEHANNA AVE             E NORRIS ST
E SUSQUEHANNA AVE             ALMOND ST                     LIVINGSTON ST
SEPVIVA ST                    E COLUMBIA AVE                EARL ST
E COLUMBIA AVE                SEPVIVA ST                    FRANKFORD AVE
REDNER ST                     N LEITHGOW ST                 GERMANTOWN AVE
MASCHER ST                    W OXFORD ST                   TURNER ST
JEFFERSON ST                  N HUTCHINSON ST               N 10TH ST
MEMPHIS ST                    EARL ST                       E PALMER ST
EARL ST                       MEMPHIS ST                    E HOLLINGSWORTH ST
BELGRADE ST                   E MONTGOMERY AVE              E WILT ST
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E MONTGOMERY AVE              BELGRADE ST                   MILLER ST
N 9TH ST                      JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 9TH ST                      N HUTCHINSON ST
N HOWARD ST                   W OXFORD ST                   GUEST ST
DONDILL PL                    CUL DE SAC SOUTH              JEFFERSON ST
N DARIEN ST                   JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N DARIEN ST                   N 9TH ST
HOPE ST                       W OXFORD ST                   GUEST ST
MERCER ST                     W COLONA ST                   E NORRIS ST
E THOMPSON ST                 E NEVADA ST                   E NORRIS ST
N 8TH ST                      JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 8TH ST                      N DARIEN ST
MEMPHIS ST                    E HOLLINGSWORTH ST            EARL ST
N PERTH ST                    JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N PERTH ST                    N 8TH ST
BLAIR ST                      E OXFORD ST                   E COLUMBIA AVE
GUILFORD PL                   CUL DE SAC SOUTH              JEFFERSON ST
EMERICK ST                    MILLER ST                     DEAD END NORTH
N FRANKLIN ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N FRANKLIN ST                 N PERTH ST
BELGRADE ST                   E EYRE ST                     E MONTGOMERY AVE
E THOMPSON ST                 E FLETCHER ST                 E NEVADA ST
N 7TH ST                      JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N 7TH ST                      N FRANKLIN ST
MEMPHIS ST                    E COLUMBIA AVE                E HOLLINGSWORTH ST
E COLUMBIA AVE                MEMPHIS ST                    SEPVIVA ST
N MARSHALL ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N MARSHALL ST                 N 7TH ST
JEFFERSON ST                  N 6TH ST                      N MARSHALL ST
E THOMPSON ST                 E COLONA ST                   E FLETCHER ST
W COLONA ST                   E THOMPSON ST                 MERCER ST
BELGRADE ST                   E PALMER ST                   E EYRE ST
E PALMER ST                   BELGRADE ST                   MEMPHIS ST
MASTER ST                     N BROAD ST                    N CARLISLE ST
MILLER ST                     ORANGE ST                     EMERICK ST
N RANDOLPH ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N RANDOLPH ST                 N 6TH ST
E CUMBERLAND ST               RICHMOND ST                   E CUMBERLAND LN
E THOMPSON ST                 E SUSQUEHANNA AVE             E COLONA ST
E SUSQUEHANNA AVE             E THOMPSON ST                 ALMOND ST
JEFFERSON ST                  N 5TH ST                      N RANDOLPH ST
N BODINE ST                   JEFFERSON ST                  W OXFORD ST
BELGRADE ST                   EMERICK ST                    E PALMER ST
EMERICK ST                    BELGRADE ST                   MILLER ST
N ORKNEY ST                   JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N ORKNEY ST                   N 5TH ST
N 13TH ST                     MASTER ST                     JEFFERSON ST
MASTER ST                     N 13TH ST                     N BROAD ST
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MOYER ST                      E NEVADA ST                   E NORRIS ST
E NEVADA ST                   MOYER ST                      E THOMPSON ST
JEFFERSON ST                  N AMERICAN ST                 N BODINE ST
JEFFERSON ST                  N BODINE ST                   CADWALLADER ST
N LAWRENCE ST                 JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N LAWRENCE ST                 N ORKNEY ST
N PHILIP ST                   JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N PHILIP ST                   N AMERICAN ST
N LEITHGOW ST                 JEFFERSON ST                  REDNER ST
JEFFERSON ST                  N LEITHGOW ST                 N LAWRENCE ST
BETSY ROSS PL                 MASTER ST                     CUL DE SAC NORTH
MASTER ST                     BETSY ROSS PL                 N 13TH ST
E THOMPSON ST                 E HEWSON ST                   E SUSQUEHANNA AVE
E HEWSON ST                   E THOMPSON ST                 BELGRADE ST
N 4TH ST                      JEFFERSON ST                  REDNER ST
JEFFERSON ST                  N 4TH ST                      N LEITHGOW ST
JEFFERSON ST                  N 2ND ST                      N PHILIP ST
MOYER ST                      E FLETCHER ST                 E NEVADA ST
E FLETCHER ST                 MOYER ST                      E THOMPSON ST
BELGRADE ST                   EARL ST                       EMERICK ST
JEFFERSON ST                  N ORIANNA ST                  N 4TH ST
JEFFERSON ST                  CADWALLADER ST                GERMANTOWN AVE
GERMANTOWN AVE                JEFFERSON ST                  N 4TH ST
JEFFERSON ST                  GERMANTOWN AVE                N ORIANNA ST
MASTER ST                     N 12TH ST                     BETSY ROSS PL
PALETHORP ST                  JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  PALETHORP ST                  N 2ND ST
KINGS PL                      MASTER ST                     CUL DE SAC NORTH
MASTER ST                     KINGS PL                      N 12TH ST
N HANCOCK ST                  JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N HANCOCK ST                  PALETHORP ST
E THOMPSON ST                 E BERKS ST                    E HEWSON ST
E BERKS ST                    E THOMPSON ST                 BELGRADE ST
MASCHER ST                    JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  MASCHER ST                    N HANCOCK ST
MOYER ST                      E COLONA ST                   E FLETCHER ST
E COLONA ST                   MOYER ST                      E THOMPSON ST
MASTER ST                     N 11TH ST                     KINGS PL
BELGRADE ST                   ORANGE ST                     EARL ST
E PALMER ST                   WILLIG AVE                    BELGRADE ST
N WARNOCK ST                  MASTER ST                     DEAD END NORTH
MASTER ST                     N WARNOCK ST                  N 11TH ST
N HOWARD ST                   JEFFERSON ST                  W OXFORD ST
JEFFERSON ST                  N HOWARD ST                   MASCHER ST
MOYER ST                      E SUSQUEHANNA AVE             E COLONA ST
E SUSQUEHANNA AVE             MOYER ST                      E THOMPSON ST
N 10TH ST                     MASTER ST                     JEFFERSON ST
MASTER ST                     N 10TH ST                     N WARNOCK ST
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BELGRADE ST                   E COLUMBIA AVE                ORANGE ST
E COLUMBIA AVE                BELGRADE ST                   MEMPHIS ST
JEFFERSON ST                  HOPE ST                       N HOWARD ST
WILLIG AVE                    DEAD END WEST                 E PALMER ST
N HUTCHINSON ST               MASTER ST                     JEFFERSON ST
MASTER ST                     N HUTCHINSON ST               N 10TH ST
EARL ST                       EARL CT                       BELGRADE ST
JEFFERSON ST                  N FRONT ST                    HOPE ST
MASTER ST                     N PERCY ST                    N HUTCHINSON ST
JEFFERSON ST                  N LEE ST                      N FRONT ST
N 9TH ST                      MASTER ST                     JEFFERSON ST
MASTER ST                     N 9TH ST                      N PERCY ST
BETSY ROSS PL                 CUL DE SAC SOUTH              MASTER ST
BELGRADE ST                   E OXFORD ST                   E COLUMBIA AVE
E OXFORD ST                   BELGRADE ST                   FRANKFORD AVE
JEFFERSON ST                  FRANKFORD AVE                 N LEE ST
E THOMPSON ST                 E MONTGOMERY AVE              E BERKS ST
E MONTGOMERY AVE              E THOMPSON ST                 BELGRADE ST
N 8TH ST                      MASTER ST                     JEFFERSON ST
MASTER ST                     N 8TH ST                      N 9TH ST
N PERTH ST                    MASTER ST                     JEFFERSON ST
MASTER ST                     N PERTH ST                    N 8TH ST
MOYER ST                      E BERKS ST                    E SUSQUEHANNA AVE
E BERKS ST                    MOYER ST                      E THOMPSON ST
N FRANKLIN ST                 MASTER ST                     JEFFERSON ST
MASTER ST                     N FRANKLIN ST                 N PERTH ST
KINGS PL                      CUL DE SAC SOUTH              MASTER ST
N LAWRENCE ST                 HARLAN ST                     JEFFERSON ST
E FLETCHER ST                 ARAMINGO AVE                  MOYER ST
N LEITHGOW ST                 HARLAN ST                     DEAD END NORTH
HARLAN ST                     N LEITHGOW ST                 N LAWRENCE ST
N 7TH ST                      MASTER ST                     JEFFERSON ST
MASTER ST                     N 7TH ST                      N FRANKLIN ST
LIVINGSTON ST                 E COLUMBIA AVE                EARL ST
E COLUMBIA AVE                LIVINGSTON ST                 BELGRADE ST
BELGRADE ST                   MARLBOROUGH ST                E OXFORD ST
MARLBOROUGH ST                BELGRADE ST                   FRANKFORD AVE
E THOMPSON ST                 E EYRE ST                     E MONTGOMERY AVE
E EYRE ST                     E THOMPSON ST                 BELGRADE ST
N 4TH ST                      HARLAN ST                     JEFFERSON ST
HARLAN ST                     N 4TH ST                      N LEITHGOW ST
N MARSHALL ST                 MASTER ST                     JEFFERSON ST
MASTER ST                     N MARSHALL ST                 N 7TH ST
E MONTGOMERY AVE              E CABOT ST                    E THOMPSON ST
MASTER ST                     N 6TH ST                      N MARSHALL ST
MASTER ST                     N RANDOLPH ST                 N 6TH ST
E THOMPSON ST                 E PALMER ST                   E EYRE ST
E PALMER ST                   E THOMPSON ST                 WILLIG AVE
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MASTER ST                     N 5TH ST                      N RANDOLPH ST
N PHILIP ST                   MASTER ST                     JEFFERSON ST
E SUSQUEHANNA AVE             E GIRARD AVE                  MOYER ST
MOYER ST                      E MONTGOMERY AVE              E BERKS ST
E MONTGOMERY AVE              MOYER ST                      E CABOT ST
E BERKS ST                    E FLORA ST                    MOYER ST
MASTER ST                     N 2ND ST                      N PHILIP ST
N ORKNEY ST                   MASTER ST                     JEFFERSON ST
MASTER ST                     N ORKNEY ST                   N 5TH ST
MASTER ST                     N AMERICAN ST                 GERMANTOWN AVE
GERMANTOWN AVE                MASTER ST                     JEFFERSON ST
N LAWRENCE ST                 MASTER ST                     HARLAN ST
MASTER ST                     N LAWRENCE ST                 N ORKNEY ST
MASTER ST                     PALETHORP ST                  N 2ND ST
N HANCOCK ST                  MASTER ST                     JEFFERSON ST
MASTER ST                     N HANCOCK ST                  PALETHORP ST
MASTER ST                     GERMANTOWN AVE                N ORIANNA ST
N ORIANNA ST                  MASTER ST                     JEFFERSON ST
MASTER ST                     N ORIANNA ST                  N 4TH ST
N 4TH ST                      MASTER ST                     HARLAN ST
MASTER ST                     N 4TH ST                      N LAWRENCE ST
MASCHER ST                    MASTER ST                     JEFFERSON ST
MASTER ST                     MASCHER ST                    N HANCOCK ST
E CABOT ST                    E PALMER ST                   E MONTGOMERY AVE
E PALMER ST                   E CABOT ST                    E THOMPSON ST
E THOMPSON ST                 EARL ST                       E PALMER ST
EARL ST                       E THOMPSON ST                 LIVINGSTON ST
N HOWARD ST                   MASTER ST                     JEFFERSON ST
MASTER ST                     N HOWARD ST                   MASCHER ST
E BERKS ST                    E GIRARD AVE                  E FLORA ST
E FLORA ST                    E MONTGOMERY AVE              E BERKS ST
E MONTGOMERY AVE              E FLORA ST                    MOYER ST
HOPE ST                       MASTER ST                     JEFFERSON ST
MASTER ST                     HOPE ST                       N HOWARD ST
E PALMER ST                   MOYER ST                      E CABOT ST
MASTER ST                     N FRONT ST                    HOPE ST
MASTER ST                     N LEE ST                      N FRONT ST
E THOMPSON ST                 E COLUMBIA AVE                EARL ST
E COLUMBIA AVE                E THOMPSON ST                 LIVINGSTON ST
MASTER ST                     FRANKFORD AVE                 N LEE ST
E MONTGOMERY AVE              E GIRARD AVE                  E FLORA ST
E THOMPSON ST                 E OXFORD ST                   E COLUMBIA AVE
E OXFORD ST                   E THOMPSON ST                 BELGRADE ST
E PALMER ST                   E FLORA ST                    MOYER ST
GERMANTOWN AVE                N 3RD ST                      MASTER ST
GERMANTOWN AVE                W THOMPSON ST                 N 3RD ST
E THOMPSON ST                 MARLBOROUGH ST                E OXFORD ST
MARLBOROUGH ST                E THOMPSON ST                 BELGRADE ST
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E WILDEY ST                   E HEWSON ST                   E SUSQUEHANNA AVE
E HEWSON ST                   E WILDEY ST                   E GIRARD AVE
E COLUMBIA AVE                MOYER ST                      E THOMPSON ST
MARLBOROUGH ST                E THOMPSON ST                 E THOMPSON ST
CREASE ST                     MERCER ST                     BELGRADE ST
E PALMER ST                   E GIRARD AVE                  E FLORA ST
E WILDEY ST                   E BERKS ST                    E HEWSON ST
E BERKS ST                    E WILDEY ST                   E GIRARD AVE
SCHIRRA DR                    BEACH ST                      RICHMOND ST
MERCER ST                     FRANKFORD AVE                 CREASE ST
E THOMPSON ST                 CREASE ST                     MARLBOROUGH ST
CREASE ST                     E THOMPSON ST                 MERCER ST
E FLORA ST                    E COLUMBIA AVE                E PALMER ST
E COLUMBIA AVE                E FLORA ST                    MOYER ST
E WILDEY ST                   E WILT ST                     E BERKS ST
E WILT ST                     E WILDEY ST                   E GIRARD AVE
DYOTT ST                      BEACH ST                      N DELAWARE AVE
E WILDEY ST                   E MONTGOMERY AVE              E WILT ST
E MONTGOMERY AVE              E WILDEY ST                   E GIRARD AVE
E WILDEY ST                   E EYRE ST                     E MONTGOMERY AVE
E EYRE ST                     E WILDEY ST                   E GIRARD AVE
E MONTGOMERY AVE              N DELAWARE AVE                E WILDEY ST
BEACH ST                      E SUSQUEHANNA AVE             DYOTT ST
E SUSQUEHANNA AVE             BEACH ST                      N DELAWARE AVE
ARCADIA ST                    E SERGEANT ST                 DEAD END EAST
E SERGEANT ST                 ARCADIA ST                    AMBER ST
W MONTGOMERY AVE              N BODINE ST                   N 3RD ST
N 13TH ST                     POLETT WALK                   W NORRIS ST
W MONTGOMERY AVE              LIACOURAS WALK                N BROAD ST
W NORRIS ST                   LIACOURAS WALK                N BROAD ST
ELLA ST                       E WISHART ST                  E WISHART ST
E CUMBERLAND ST               N LEE ST                      N LEE ST
E AUBURN ST                   CORAL ST                      CORAL ST
AMBER ST                      E BIRCH ST                    E BIRCH ST
E ANN ST                      WEIKEL ST                     WEIKEL ST
E CLEARFIELD ST               MILLER ST                     MILLER ST
W HUNTINGDON ST               N SARTAIN ST                  N SARTAIN ST
MASTER ST                     N ORIANNA ST                  N ORIANNA ST
EARL ST                       E HOLLINGSWORTH ST            SEPVIVA ST
N 13TH ST                     W FIRTH ST                    W SERGEANT ST
N 13TH ST                     W SERGEANT ST                 W HAZZARD ST
N 13TH ST                     W HAZZARD ST                  W HUNTINGDON ST
W HUNTINGDON ST               N 13TH ST                     N 13TH ST
E NORRIS ST                   DEAD END WEST                 RICHMOND ST
BLAIR ST                      DEAD END SOUTH                E MONTGOMERY AVE
N MARSHALL ST                 WESTMONT ST                   W SUSQUEHANNA AVE
N 4TH ST                      DEAD END SOUTH                W DAKOTA ST
N 4TH ST                      W DAKOTA ST                   W YORK ST
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W DAKOTA ST                   N 4TH ST                      N LEITHGOW ST
N LEITHGOW ST                 W DAUPHIN ST                  W DAKOTA ST
N LEITHGOW ST                 W DAKOTA ST                   W YORK ST
W NEVADA ST                   N ORIANNA ST                  N 4TH ST
N 4TH ST                      W SUSQUEHANNA AVE             W NEVADA ST
N ORIANNA ST                  W SUSQUEHANNA AVE             W NEVADA ST
N ORIANNA ST                  W NEVADA ST                   W DAUPHIN ST
E HOLLINGSWORTH ST            MEMPHIS ST                    EARL ST
ORANGE ST                     MILLER ST                     DEAD END NORTH
ORANGE ST                     BELGRADE ST                   MILLER ST
MASTER ST                     N PHILIP ST                   N AMERICAN ST
SALMON ST                     E YORK ST                     E CUMBERLAND ST
E YORK ST                     SALMON ST                     RICHMOND ST
DIAMOND ST                    N BODINE ST                   N 3RD ST
W MONTGOMERY AVE              N WARNOCK ST                  N 11TH ST
W BERKS ST                    N WARNOCK ST                  POLETT WALK
WALKWAY CONNECTOR             W BOSTON ST                   BOSTON PL
MOYER ST                      E COLUMBIA AVE                ORANGE ST
MOYER ST                      ORANGE ST                     E PALMER ST
JASPER ST                     E ORLEANS ST                  DEAD END EAST
E MONTGOMERY AVE              N DELAWARE AVE                N DELAWARE AVE
E ARIZONA ST                  TRENTON AVE                   FRANKFORD AVE
E WENSLEY ST                  RICHMOND ST                   DEAD END SOUTH
W CLEARFIELD ST               W GURNEY ST                   N LEITHGOW ST
N 9TH ST                      W YORK ST                     W BOSTON ST
N 9TH ST                      W BOSTON ST                   GERMANTOWN AVE
EMERALD ST                    E STELLA ST                   E TORONTO ST
EMERALD ST                    E TORONTO ST                  E ELKHART ST
E STELLA ST                   EMERALD ST                    BRADDOCK ST
E STELLA ST                   BRADDOCK ST                   FRANKFORD AVE
E ELKHART ST                  BRADDOCK ST                   BRADDOCK ST
E HARPER ST                   E SUSQUEHANNA AVE             DEAD END EAST
E SUSQUEHANNA AVE             E WILDEY ST                   E HARPER ST
E SUSQUEHANNA AVE             E HARPER ST                   E GIRARD AVE
TULIP ST                      E DAUPHIN ST                  E DAKOTA ST
TULIP ST                      E DAKOTA ST                   E GORDON ST
N PHILIP ST                   N PHILIP ST                   DEAD END
N PHILIP ST                   CECIL B MOORE AVE             N PHILIP ST
WATERLOO ST                   W CUMBERLAND ST               DEAD END NORTH
WATERLOO ST                   DEAD END SOUTH                W HUNTINGDON ST
HART LN                       EMERALD ST                    BRADDOCK ST
HART LN                       BRADDOCK ST                   FRANKFORD AVE
JEFFERSON ST                  N 10TH ST                     N JEFFERSON LN
JEFFERSON ST                  N JEFFERSON LN                N 11TH ST
N HOWARD ST                   W NORRIS ST                   ALLAIRE PL
N HOWARD ST                   ALLAIRE PL                    FONTAIN ST
MORSE ST                      N 5TH ST                      GERMANTOWN AVE
W GURNEY ST                   N AMERICAN ST                 N PHILIP ST
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N 5TH CT                         N 5TH ST                      DEAD END NORTH
MELVALE ST                       E ANN ST                      E ALLEGHENY AVE
BEACH ST                         SCHIRRA DR                    RISEVIEW LN
BEACH ST                         RISEVIEW LN                   SEDGEVIEW WALK
BEACH ST                         SEDGEVIEW WALK                CITYVIEW WALK
BEACH ST                         BEACHVIEW LN                  E CUMBERLAND LN
BEACH ST                         CITYVIEW WALK                 BEACHVIEW LN
BELGRADE ST                      FRANKFORD AVE                 CREASE ST
BELGRADE ST                      CREASE ST                     MARLBOROUGH ST
BALFOUR ST                       KINGSTON ST                   E VENANGO ST
E VENANGO ST                     BALFOUR ST                    N DELAWARE AVE
E TIOGA ST                       BRABANT ST                    N DELAWARE AVE
E THOMPSON ST                    E BUTLER ST                   WHEATSHEAF LN
BELGRADE ST                      PICKWICK ST                   CASTOR AVE
PICKWICK ST                      BELGRADE ST                   LIVINGSTON ST
PICKWICK ST                      LIVINGSTON ST                 ALMOND ST
SALMON ST                        E BUTLER ST                   DEAD END EAST
E THOMPSON ST                    CASTOR AVE                    E BUTLER ST
PICKWICK ST                      ALMOND ST                     MERCER ST
E THOMPSON ST                    PICKWICK ST                   CASTOR AVE
PICKWICK ST                      MERCER ST                     E THOMPSON ST
MERCER ST                        E VENANGO ST                  PICKWICK ST
EDGEMONT ST                      PICKWICK ST                   CASTOR AVE
PICKWICK ST                      E THOMPSON ST                 EDGEMONT ST
E THOMPSON ST                    E VENANGO ST                  PICKWICK ST
E VENANGO ST                     MERCER ST                     E THOMPSON ST
SALMON ST                        PICKWICK ST                   CASTOR AVE
PICKWICK ST                      EDGEMONT ST                   SALMON ST
EDGEMONT ST                      E VENANGO ST                  PICKWICK ST
E VENANGO ST                     E THOMPSON ST                 EDGEMONT ST
SALMON ST                        E PACIFIC ST                  PICKWICK ST
PICKWICK ST                      SALMON ST                     RICHMOND ST
SALMON ST                        E VENANGO ST                  E PACIFIC ST
E VENANGO ST                     EDGEMONT ST                   SALMON ST
E PACIFIC ST                     SALMON ST                     RICHMOND ST
E VENANGO ST                     SALMON ST                     RICHMOND ST
E PACIFIC ST                     RICHMOND ST                   E ALLEN ST
E ALLEN ST                       E VICTORIA ST                 E PACIFIC ST
E VICTORIA ST                    RICHMOND ST                   E ALLEN ST
E ALLEN ST                       E VENANGO ST                  E VICTORIA ST
E VENANGO ST                     RICHMOND ST                   E ALLEN ST
E ALLEN ST                       KINGSTON ST                   E VENANGO ST
KINGSTON ST                      RICHMOND ST                   E ALLEN ST
BATH ST                          E VENANGO ST                  E VICTORIA ST
E VENANGO ST                     E ALLEN ST                    BATH ST
E TIOGA ST                       RICHMOND ST                   MELVALE ST
BATH ST                          KINGSTON ST                   E VENANGO ST
E TIOGA ST                       MELVALE ST                    E ALLEN ST
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MELVALE ST                         E SCHILLER ST                 E TIOGA ST
BALFOUR ST                         E VICTORIA ST                 CASTOR AVE
E VICTORIA ST                      BATH ST                       BALFOUR ST
KINGSTON ST                        BATH ST                       BRABANT ST
E ALLEN ST                         E SCHILLER ST                 E TIOGA ST
BALFOUR ST                         E VENANGO ST                  E VICTORIA ST
E VENANGO ST                       BATH ST                       BALFOUR ST
KINGSTON ST                        BRABANT ST                    BALFOUR ST
BRABANT ST                         E TIOGA ST                    KINGSTON ST
E TIOGA ST                         E ALLEN ST                    BRABANT ST
BATH ST                            E ONTARIO ST                  E SCHILLER ST
E BUTLER ST                        SALMON ST                     RICHMOND ST
E SCHILLER ST                      MELVALE ST                    E ALLEN ST
E SCHILLER ST                      E ALLEN ST                    BATH ST
SALMON ST                          CASTOR AVE                    DEAD END EAST
CASPER ST                          E ONTARIO ST                  DEAD END
E ONTARIO ST                       CASPER ST                     DEAD END SOUTH
E ONTARIO ST                       BATH ST                       CASPER ST
E BUTLER ST                        E THOMPSON ST                 EDGEMONT ST
E BUTLER ST                        EDGEMONT ST                   SALMON ST
LIVEZEY ST                         CLIFF RD                      LEROY ST
CLIFF RD                           LIVEZEY ST                    PAOLI AVE
LEROY ST                           LODGE RD                      LIVEZEY ST
LODGE RD                           CLIFF RD                      LEROY ST
CLIFF RD                           LODGE RD                      LIVEZEY ST
LODGE RD                           CUL DE SAC WEST               CLIFF RD
PAOLI AVE                          UMBRIA ST                     CLIFF RD
WRIGHT ST                          DEAD END WEST                 CANTON ST
FOUNTAIN ST                        N SCHUYLKILL RIVER TRL        DEAD END NORTH
FLAT ROCK RD                       LEVERINGTON AVE               FOUNTAIN ST
SMICK ST                           WRIGHT ST                     FOUNTAIN ST
SMICK ST                           HERMITAGE ST                  WRIGHT ST
SMICK ST                           HERMITAGE ST                  HERMITAGE ST
HERMITAGE ST                       UMBRIA ST                     SMICK ST
GATES ST                           MANSION ST                    DEAD END EAST
FOUNTAIN ST                        OGLE ST                       SMICK ST
HERMITAGE ST                       WILDE ST                      FOWLER ST
FOUNTAIN ST                        UMBRIA ST                     OGLE ST
HERMITAGE ST                       MANSION ST                    WILDE ST
HERMITAGE ST                       MANSION ST                    MANSION ST
HERMITAGE ST                       SMICK ST                      SAINT DAVIDS ST
HERMITAGE ST                       SAINT DAVIDS ST               MANSION ST
RIPKA ST                           SMICK ST                      SAINT DAVIDS ST
RIPKA ST                           SAINT DAVIDS ST               MANSION ST
SAINT DAVIDS ST                    RIPKA ST                      HERMITAGE ST
HERMITAGE ST                       MITCHELL ST                   RIDGE AVE
HERMITAGE ST                       PECHIN ST                     MITCHELL ST
RIPKA ST                           WILDE ST                      DEAD END EAST
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MANSION ST                       RIPKA ST                      HERMITAGE ST
MITCHELL ST                      RIPKA ST                      HERMITAGE ST
MITCHELL ST                      LEVERINGTON AVE               RIPKA ST
MITCHELL ST                      KRAMS AVE                     LEVERINGTON AVE
MITCHELL ST                      DUPONT ST                     KRAMS AVE
RIPKA ST                         MITCHELL ST                   RIDGE AVE
RIPKA ST                         PECHIN ST                     MITCHELL ST
RIPKA ST                         SILVERWOOD ST                 PECHIN ST
PECHIN ST                        RIPKA ST                      HERMITAGE ST
PECHIN ST                        LEVERINGTON AVE               RIPKA ST
PECHIN ST                        KRAMS AVE                     LEVERINGTON AVE
PECHIN ST                        FAIRWAY TER                   FOUNTAIN ST
PECHIN ST                        HERMITAGE ST                  GATES ST
PECHIN ST                        GATES ST                      FAIRWAY TER
FOUNTAIN ST                      PECHIN ST                     RIDGE AVE
FOUNTAIN ST                      PECHIN ST                     PECHIN ST
FOUNTAIN ST                      TIBBEN ST                     MANAYUNK AVE
FOUNTAIN ST                      SILVERWOOD ST                 TIBBEN ST
MANAYUNK AVE                     GATES ST                      FOUNTAIN ST
MANAYUNK AVE                     GATES ST                      GATES ST
PECHIN ST                        FOUNTAIN ST                   DELMAR ST
FAIRWAY TER                      PECHIN ST                     CUL DE SAC WEST
GATES ST                         SILVERWOOD ST                 MANAYUNK AVE
GATES ST                         DEAD END WEST                 SILVERWOOD ST
LEMONTE ST                       TIBBEN ST                     PECHIN ST
LEMONTE ST                       SILVERWOOD ST                 TIBBEN ST
SILVERWOOD ST                    LEMONTE ST                    OVERLOOK RD
OVERLOOK RD                      CUL DE SAC WEST               SILVERWOOD ST
TIBBEN ST                        DELMAR ST                     LEMONTE ST
DELMAR ST                        SILVERWOOD ST                 TIBBEN ST
TIBBEN ST                        FOUNTAIN ST                   DELMAR ST
SILVERWOOD ST                    FOUNTAIN ST                   DELMAR ST
FOUNTAIN ST                      SHELDON ST                    SILVERWOOD ST
SILVERWOOD ST                    GATES ST                      FOUNTAIN ST
FOUNTAIN ST                      FOWLER ST                     SHELDON ST
SILVERWOOD ST                    WRIGHT ST                     GATES ST
FOWLER ST                        HERMITAGE ST                  FOUNTAIN ST
MANSION ST                       DELMAR ST                     LEMONTE ST
HERMITAGE ST                     FOWLER ST                     SHELDON ST
HERMITAGE ST                     SHELDON ST                    SHELDON ST
SHELDON ST                       HERMITAGE ST                  FOUNTAIN ST
SILVERWOOD ST                    HERMITAGE ST                  WRIGHT ST
SILVERWOOD ST                    RIPKA ST                      HERMITAGE ST
WRIGHT ST                        SILVERWOOD ST                 DEAD END EAST
DUPONT ST                        RITCHIE ST                    WILDE ST
DUPONT ST                        SAINT DAVIDS ST               RITCHIE ST
DUPONT ST                        SMICK ST                      SAINT DAVIDS ST
DUPONT ST                        BAKER ST                      SMICK ST
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DUPONT ST                          BAKER ST                      BAKER ST
BAKER ST                           MALLORY ST                    LEVERINGTON AVE
BAKER ST                           KRAMS AVE                     MALLORY ST
BAKER ST                           DUPONT ST                     KRAMS AVE
MALLORY ST                         BAKER ST                      WILDE ST
MALLORY ST                         HIGH ST                       BAKER ST
KRAMS AVE                          BAKER ST                      WILDE ST
BAKER ST                           GREEN LN                      DUPONT ST
SAINT DAVIDS ST                    GREEN LN                      DUPONT ST
RITCHIE ST                         GREEN LN                      DUPONT ST
SMICK ST                           GREEN LN                      DUPONT ST
BALDWIN ST                         WILDE ST                      SILVERWOOD ST
WILDE ST                           DUPONT ST                     KRAMS AVE
WILDE ST                           BALDWIN ST                    DUPONT ST
RIPKA ST                           MANSION ST                    WILDE ST
RIPKA ST                           BAKER ST                      SMICK ST
RIPKA ST                           UMBRIA ST                     BAKER ST
WILDE ST                           RIPKA ST                      HERMITAGE ST
WILDE ST                           RIPKA ST                      RIPKA ST
WILDE ST                           GREENOUGH ST                  RIPKA ST
WILDE ST                           LEVERINGTON AVE               GREENOUGH ST
GREENOUGH ST                       MANSION ST                    WILDE ST
MANSION ST                         GREENOUGH ST                  RIPKA ST
MANSION ST                         LEVERINGTON AVE               GREENOUGH ST
WILDE ST                           MALLORY ST                    LEVERINGTON AVE
WILDE ST                           KRAMS AVE                     MALLORY ST
SMICK ST                           LEVERINGTON AVE               RIPKA ST
BAKER ST                           LEVERINGTON AVE               RIPKA ST
SILVERWOOD ST                      BALDWIN ST                    DUPONT ST
SILVERWOOD ST                      GREEN LN                      BALDWIN ST
SILVERWOOD ST                      CARSON ST                     GREEN LN
DUPONT ST                          WILDE ST                      SILVERWOOD ST
KRAMS AVE                          BOONE ST                      FLEMING ST
DUPONT ST                          BOONE ST                      FLEMING ST
BOONE ST                           DUPONT ST                     KRAMS AVE
MANAYUNK AVE                       KRAMS AVE                     LEVERINGTON AVE
MANAYUNK AVE                       DUPONT ST                     KRAMS AVE
MANAYUNK AVE                       GREEN LN                      DUPONT ST
MANAYUNK AVE                       CONARROE ST                   GREEN LN
DUPONT ST                          MANAYUNK AVE                  PECHIN ST
DUPONT ST                          FLEMING ST                    MANAYUNK AVE
FLEMING ST                         KRAMS AVE                     LEVERINGTON AVE
FLEMING ST                         KRAMS AVE                     KRAMS AVE
FLEMING ST                         DUPONT ST                     KRAMS AVE
KRAMS AVE                          FLEMING ST                    MANAYUNK AVE
KRAMS AVE                          MITCHELL ST                   RIDGE AVE
KRAMS AVE                          PECHIN ST                     MITCHELL ST
MITCHELL ST                        GREEN LN                      DUPONT ST
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MITCHELL ST                  CONARROE ST                   GREEN LN
MITCHELL ST                  LYCEUM AVE                    CONARROE ST
MITCHELL ST                  MARTIN ST                     LYCEUM AVE
MITCHELL ST                  MONASTERY AVE                 MARTIN ST
PECHIN ST                    GREEN LN                      DUPONT ST
PECHIN ST                    CONARROE ST                   GREEN LN
PECHIN ST                    LYCEUM AVE                    CONARROE ST
PECHIN ST                    MARTIN ST                     LYCEUM AVE
PECHIN ST                    MONASTERY AVE                 MARTIN ST
PECHIN ST                    ROXBOROUGH AVE                MONASTERY AVE
DUPONT ST                    PECHIN ST                     MITCHELL ST
CONARROE ST                  MITCHELL ST                   RIDGE AVE
CONARROE ST                  PECHIN ST                     MITCHELL ST
CONARROE ST                  MANAYUNK AVE                  PECHIN ST
LYCEUM AVE                   MITCHELL ST                   RIDGE AVE
LYCEUM AVE                   PECHIN ST                     MITCHELL ST
LYCEUM AVE                   DEXTER ST                     MANAYUNK AVE
LYCEUM AVE                   DEXTER ST                     DEXTER ST
LYCEUM AVE                   FLEMING ST                    DEXTER ST
LYCEUM AVE                   TOWER ST                      FLEMING ST
LYCEUM AVE                   FLEMING ST                    FLEMING ST
FLEMING ST                   LYCEUM AVE                    GAY ST
DUPONT ST                    LAWNTON ST                    HENRY AVE
DUPONT ST                    RIDGE AVE                     LAWNTON ST
LAWNTON ST                   DUPONT ST                     LEVERINGTON AVE
LAWNTON ST                   GREEN LN                      DUPONT ST
LAWNTON ST                   CONARROE ST                   GREEN LN
CONARROE ST                  RIDGE AVE                     LAWNTON ST
MONASTERY AVE                JANNETTE ST                   HENRY AVE
MARTIN ST                    MITCHELL ST                   RIDGE AVE
MARTIN ST                    PECHIN ST                     MITCHELL ST
MONASTERY AVE                RIDGE AVE                     HOUGHTON ST
MONASTERY AVE                MITCHELL ST                   RIDGE AVE
MONASTERY AVE                FREELAND AVE                  MITCHELL ST
MONASTERY AVE                PECHIN ST                     FREELAND AVE
MONASTERY AVE                JANNETTE ST                   JANNETTE ST
MONASTERY AVE                HOUGHTON ST                   JANNETTE ST
HOUGHTON ST                  ROXBOROUGH AVE                GERHARD ST
ROXBOROUGH AVE               RIDGE AVE                     HOUGHTON ST
ROXBOROUGH AVE               DEXTER ST                     MANAYUNK AVE
ROXBOROUGH AVE               FLEMING ST                    DEXTER ST
MITCHELL ST                  GERHARD ST                    MONASTERY AVE
MITCHELL ST                  ROXBOROUGH AVE                GERHARD ST
FREELAND AVE                 ROXBOROUGH AVE                MONASTERY AVE
LAURISTON ST                 ROXBOROUGH AVE                MONASTERY AVE
FLEMING ST                   GRAPE ST                      MONASTERY AVE
FLEMING ST                   COTTON ST                     GRAPE ST
FLEMING ST                   ROXBOROUGH AVE                COTTON ST
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MONASTERY AVE                FLEMING ST                    DEXTER ST
COTTON ST                    DEXTER ST                     MANAYUNK AVE
TERRACE ST                   GRAPE ST                      MONASTERY AVE
COTTON ST                    FLEMING ST                    DEXTER ST
COTTON ST                    TERRACE ST                    FLEMING ST
TERRACE ST                   COTTON ST                     GRAPE ST
TERRACE ST                   ROXBOROUGH AVE                COTTON ST
MANAYUNK AVE                 LYCEUM AVE                    CONARROE ST
MANAYUNK AVE                 MARTIN ST                     LYCEUM AVE
MANAYUNK AVE                 MONASTERY AVE                 MARTIN ST
MANAYUNK AVE                 GRAPE ST                      MONASTERY AVE
MANAYUNK AVE                 COTTON ST                     GRAPE ST
MANAYUNK AVE                 ROXBOROUGH AVE                COTTON ST
MONASTERY AVE                TERRACE ST                    FLEMING ST
MONASTERY AVE                FLEMING ST                    FLEMING ST
FLEMING ST                   MONASTERY AVE                 LYCEUM AVE
MONASTERY AVE                DEXTER ST                     DEXTER ST
MONASTERY AVE                DEXTER ST                     MANAYUNK AVE
DEXTER ST                    MONASTERY AVE                 LYCEUM AVE
GRAPE ST                     DEXTER ST                     MANAYUNK AVE
GRAPE ST                     FLEMING ST                    DEXTER ST
GRAPE ST                     TERRACE ST                    FLEMING ST
DEXTER ST                    GRAPE ST                      MONASTERY AVE
DEXTER ST                    COTTON ST                     GRAPE ST
DEXTER ST                    ROXBOROUGH AVE                COTTON ST
MITCHELL ST                  PENSDALE ST                   RECTOR ST
RECTOR ST                    PECHIN ST                     MITCHELL ST
PENSDALE ST                  FREELAND AVE                  MITCHELL ST
PENSDALE ST                  PECHIN ST                     FREELAND AVE
RECTOR ST                    MANAYUNK AVE                  PECHIN ST
PENSDALE ST                  LAURISTON ST                  PECHIN ST
ROXBOROUGH AVE               TERRACE ST                    FLEMING ST
TERRACE ST                   LOFTY ST                      ROXBOROUGH AVE
MITCHELL ST                  SHURS LN                      PENSDALE ST
PENSDALE ST                  MANAYUNK AVE                  LAURISTON ST
TERRACE ST                   RECTOR ST                     LOFTY ST
FREELAND AVE                 SHURS LN                      PENSDALE ST
LAURISTON ST                 BURNSIDE ST                   PENSDALE ST
PECHIN ST                    PENSDALE ST                   RECTOR ST
PECHIN ST                    SHURS LN                      PENSDALE ST
PECHIN ST                    KINGSLEY ST                   SHURS LN
GERHARD ST                   MITCHELL ST                   RIDGE AVE
MONASTERY AVE                LAURISTON ST                  PECHIN ST
MONASTERY AVE                MANAYUNK AVE                  LAURISTON ST
OGLE ST                      FOUNTAIN ST                   LEMONTE ST
LEMONTE ST                   UMBRIA ST                     OGLE ST
GATES ST                     UMBRIA ST                     DEAD END WEST
SILVERWOOD ST                CARSON ST                     CARSON ST
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SILVERWOOD ST                CONARROE ST                   CARSON ST
SILVERWOOD ST                GAY ST                        CONARROE ST
SILVERWOOD ST                MAIDEN ST                     GAY ST
SILVERWOOD ST                LEVERING ST                   MAIDEN ST
SILVERWOOD ST                GRAPE ST                      LEVERING ST
SILVERWOOD ST                COTTON ST                     GRAPE ST
COTTON ST                    SILVERWOOD ST                 TOWER ST
COTTON ST                    CRESSON ST                    SILVERWOOD ST
COTTON ST                    MAIN ST                       STATION ST
COTTON ST                    DEAD END SOUTH                MAIN ST
STATION ST                   ROXBOROUGH AVE                COTTON ST
CRESSON ST                   CARSON ST                     GREEN LN
CRESSON ST                   CONARROE ST                   CARSON ST
CRESSON ST                   GAY ST                        CONARROE ST
CRESSON ST                   GAY ST                        GAY ST
ROXBOROUGH AVE               SILVERWOOD ST                 TOWER ST
SILVERWOOD ST                ROXBOROUGH AVE                COTTON ST
RECTOR ST                    SILVERWOOD ST                 TOWER ST
SILVERWOOD ST                RECTOR ST                     ROXBOROUGH AVE
RECTOR ST                    CRESSON ST                    SILVERWOOD ST
TOWER ST                     PENSDALE ST                   CHURCHVIEW ST
PENSDALE ST                  APPLE ST                      TOWER ST
TOWER ST                     JAMESTOWN AVE                 PENSDALE ST
CRESSON ST                   PENSDALE ST                   RECTOR ST
GRAPE ST                     BOONE ST                      TERRACE ST
GRAPE ST                     SILVERWOOD ST                 DEAD END EAST
TOWER ST                     ROXBOROUGH AVE                COTTON ST
LOFTY ST                     BOONE ST                      TERRACE ST
BOONE ST                     LOFTY ST                      DEAD END NORTH
GRAPE ST                     CRESSON ST                    SILVERWOOD ST
RECTOR ST                    BOONE ST                      TERRACE ST
BOONE ST                     RECTOR ST                     LOFTY ST
TOWER ST                     CHURCHVIEW ST                 ROXBOROUGH AVE
GRAPE ST                     MAIN ST                       CRESSON ST
BOONE ST                     DEAD END SOUTH                RECTOR ST
CONARROE ST                  MANSION ST                    SILVERWOOD ST
GAY ST                       MANSION ST                    SILVERWOOD ST
CONARROE ST                  SAINT DAVIDS ST               MANSION ST
GAY ST                       MANSION ST                    MANSION ST
CONARROE ST                  BAKER ST                      SAINT DAVIDS ST
GAY ST                       SAINT DAVIDS ST               MANSION ST
LEVERING ST                  MANSION ST                    SILVERWOOD ST
GAY ST                       BAKER ST                      SAINT DAVIDS ST
GAY ST                       CRESSON ST                    BAKER ST
LEVERING ST                  CRESSON ST                    MANSION ST
BAKER ST                     CARSON ST                     GREEN LN
BAKER ST                     CARSON ST                     CARSON ST
BAKER ST                     GAY ST                        CONARROE ST
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SAINT DAVIDS ST                CARSON ST                     GREEN LN
CARSON ST                      BAKER ST                      SAINT DAVIDS ST
LEVERING ST                    MAIN ST                       STATION ST
CARSON ST                      CRESSON ST                    BAKER ST
GAY ST                         MAIN ST                       STATION ST
CRESSON ST                     JAMESTOWN AVE                 PENSDALE ST
CRESSON ST                     SHURS LN                      JAMESTOWN AVE
CRESSON ST                     KINGSLEY ST                   SHURS LN
CRESSON ST                     DAVIS ST                      KINGSLEY ST
CRESSON ST                     MARKLE ST                     DAVIS ST
CRESSON ST                     EAST ST                       MARKLE ST
CRESSON ST                     SEVILLE ST                    EAST ST
CRESSON ST                     HERMIT ST                     SEVILLE ST
STATION ST                     PENSDALE ST                   RECTOR ST
PENSDALE ST                    MAIN ST                       STATION ST
PENSDALE ST                    CRESSON ST                    APPLE ST
RECTOR ST                      DEAD END WEST                 MAIN ST
JAMESTOWN AVE                  APPLE ST                      TOWER ST
APPLE ST                       JAMESTOWN AVE                 PENSDALE ST
WENDOVER ST                    APPLE ST                      DEAD END NORTH
APPLE ST                       WENDOVER ST                   JAMESTOWN AVE
JAMESTOWN AVE                  CRESSON ST                    APPLE ST
TOWER ST                       SHURS LN                      BURNSIDE ST
BURNSIDE ST                    APPLE ST                      TOWER ST
APPLE ST                       BURNSIDE ST                   WENDOVER ST
JAMESTOWN AVE                  MAIN ST                       STATION ST
STATION ST                     SHURS LN                      JAMESTOWN AVE
TERRACE ST                     CHURCHVIEW ST                 PENSDALE ST
TERRACE ST                     SHURS LN                      CHURCHVIEW ST
TERRACE ST                     MARKLE ST                     SHURS LN
TERRACE ST                     EAST ST                       MARKLE ST
TERRACE ST                     SEVILLE ST                    EAST ST
TERRACE ST                     HERMIT ST                     SEVILLE ST
MARKLE ST                      BOONE ST                      TERRACE ST
KINGSLEY ST                    CRESSON ST                    BOONE ST
MARKLE ST                      CRESSON ST                    BOONE ST
BOONE ST                       KINGSLEY ST                   SHURS LN
BOONE ST                       DAVIS ST                      KINGSLEY ST
BOONE ST                       MARKLE ST                     DAVIS ST
DAVIS ST                       CRESSON ST                    BOONE ST
JAMESTOWN AVE                  TERRACE ST                    MANAYUNK AVE
PECHIN ST                      NAOMI ST                      KINGSLEY ST
PECHIN ST                      MARKLE ST                     NAOMI ST
PECHIN ST                      SEVILLE ST                    MARKLE ST
PECHIN ST                      HERMIT ST                     SEVILLE ST
HERMIT ST                      PECHIN ST                     MITCHELL ST
HERMIT ST                      DEAD END WEST                 PECHIN ST
HERMIT ST                      TERRACE ST                    MANOR ST
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HERMIT ST                        SHARP ST                      TERRACE ST
DEXTER ST                        MARKLE ST                     SHURS LN
EAST ST                          CRESSON ST                    TERRACE ST
EAST ST                          TERRACE ST                    MANOR ST
MANOR ST                         HERMIT ST                     EAST ST
KINGSLEY ST                      PECHIN ST                     MITCHELL ST
NAOMI ST                         PECHIN ST                     MITCHELL ST
KINGSLEY ST                      LAURISTON ST                  PECHIN ST
MARKLE ST                        PECHIN ST                     MITCHELL ST
KINGSLEY ST                      MANAYUNK AVE                  LAURISTON ST
MARKLE ST                        LAURISTON ST                  PECHIN ST
MARKLE ST                        TERRACE ST                    DEXTER ST
LAURISTON ST                     SHURS LN                      BURNSIDE ST
BURNSIDE ST                      MANAYUNK AVE                  LAURISTON ST
PENSDALE ST                      MERRICK ST                    RIDGE AVE
PENSDALE ST                      MITCHELL ST                   MERRICK ST
MERRICK ST                       SHURS LN                      PENSDALE ST
MITCHELL ST                      KINGSLEY ST                   SHURS LN
MITCHELL ST                      NAOMI ST                      KINGSLEY ST
MITCHELL ST                      MARKLE ST                     NAOMI ST
KINGSLEY ST                      MITCHELL ST                   RIDGE AVE
MARKLE ST                        MITCHELL ST                   RIDGE AVE
SEVILLE ST                       PECHIN ST                     MITCHELL ST
CRESSON ST                       HAINES ST                     SALAIGNAC ST
CRESSON ST                       DAWSON ST                     HAINES ST
DAWSON ST                        TERRACE ST                    RIDGE AVE
DAWSON ST                        SHARP ST                      TERRACE ST
DAWSON ST                        CRESSON ST                    SHARP ST
TERRACE ST                       SALAIGNAC ST                  HERMIT ST
TERRACE ST                       DAWSON ST                     SALAIGNAC ST
SHARP ST                         SALAIGNAC ST                  HERMIT ST
SHARP ST                         HAINES ST                     SALAIGNAC ST
HAINES ST                        CRESSON ST                    SHARP ST
SHARP ST                         DAWSON ST                     HAINES ST
SALAIGNAC ST                     MANAYUNK AVE                  LAURISTON ST
SALAIGNAC ST                     MANOR ST                      MANAYUNK AVE
SALAIGNAC ST                     SHARP ST                      TERRACE ST
SALAIGNAC ST                     CRESSON ST                    SHARP ST
HERMIT ST                        CRESSON ST                    SHARP ST
SEVILLE ST                       CRESSON ST                    TERRACE ST
SALAIGNAC ST                     LAURISTON ST                  RIDGE AVE
OSBORN ST                        RIDGE AVE                     RIDGE AVE
OSBORN ST                        DEAD END WEST                 RIDGE AVE
LOCK ST                          N SCHUYLKILL RIVER TRL        DEAD END SOUTH
APPLE ST                         SHURS LN                      BURNSIDE ST
LEVERING ST                      SILVERWOOD ST                 LYCEUM AVE
SILVERWOOD ST                    GREENOUGH ST                  RIPKA ST
SILVERWOOD ST                    LEVERINGTON AVE               GREENOUGH ST
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FLAT ROCK RD                 FOUNTAIN ST                   CUL DE SAC NORTH
RECTOR ST                    RIDGE AVE                     HOUGHTON ST
JAMESTOWN AVE                RIDGE AVE                     HOUGHTON ST
HERMITAGE ST                 RIDGE AVE                     LAWNTON ST
SHELDON ST                   RIPKA ST                      HERMITAGE ST
WRIGHT ST                    UMBRIA ST                     SMICK ST
WRIGHT ST                    LINNEY ST                     UMBRIA ST
GREEN LN                     RIDGE AVE                     LAWNTON ST
MARTIN ST                    PARK TER                      JANNETTE ST
PARK TER                     CUL DE SAC WEST               MARTIN ST
CRESSON ST                   COTTON ST                     GRAPE ST
COTTON ST                    STATION ST                    CRESSON ST
CRESSON ST                   LEVERING ST                   GAY ST
CRESSON ST                   LEVERING ST                   LEVERING ST
LEVERING ST                  STATION ST                    CRESSON ST
LEMONTE ST                   OGLE ST                       DEAD END EAST
FOWLER ST                    GREENOUGH ST                  DEAD END NORTH
DUPONT ST                    DEAD END WEST                 BOONE ST
BOONE ST                     DEAD END SOUTH                DUPONT ST
KRAMS AVE                    DEAD END WEST                 BOONE ST
BOONE ST                     GRAPE ST                      DEAD END NORTH
JAMESTOWN AVE                TOWER ST                      CHURCHVIEW ST
CRESSON ST                   VASSAR ST                     DAWSON ST
TERRACE ST                   RIDGE AVE                     DAWSON ST
MANOR ST                     SALAIGNAC ST                  HERMIT ST
CANTON ST                    LEVERINGTON AVE               WRIGHT ST
WILDE ST                     GREEN LN                      BALDWIN ST
HIGH ST                      MALLORY ST                    LEVERINGTON AVE
HIGH ST                      DUPONT ST                     MALLORY ST
MANSION ST                   HERMITAGE ST                  GATES ST
DELMAR ST                    TIBBEN ST                     PECHIN ST
PARKER AVE                   DEAD END SOUTH                UMBRIA ST
FOUNTAIN ST                  SMICK ST                      FOWLER ST
HERMITAGE ST                 SILVERWOOD ST                 PECHIN ST
LEMONTE ST                   MANSION ST                    SILVERWOOD ST
FLEMING ST                   GREEN LN                      DUPONT ST
PECHIN ST                    DUPONT ST                     KRAMS AVE
LYCEUM AVE                   MANAYUNK AVE                  PECHIN ST
GREEN LN                     LAWNTON ST                    JANNETTE ST
JANNETTE ST                  MONASTERY AVE                 GREEN LN
MARTIN ST                    RIDGE AVE                     PARK TER
ROXBOROUGH AVE               HOUGHTON ST                   HENRY AVE
MARTIN ST                    MANAYUNK AVE                  PECHIN ST
BOONE ST                     ROXBOROUGH AVE                GRAPE ST
CRESSON ST                   GRAPE ST                      LEVERING ST
CHURCHVIEW ST                TERRACE ST                    RECTOR ST
CARSON ST                    SAINT DAVIDS ST               SILVERWOOD ST
GAY ST                       STATION ST                    CRESSON ST
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CRESSON ST                    SALAIGNAC ST                  HERMIT ST
JAMESTOWN AVE                 STATION ST                    CRESSON ST
HERMIT ST                     MANOR ST                      MANAYUNK AVE
PENSDALE ST                   STATION ST                    CRESSON ST
BOONE ST                      KRAMS AVE                     DEAD END NORTH
WENDOVER ST                   DEAD END WEST                 MANAYUNK AVE
GAY ST                        FLEMING ST                    DEAD END WEST
FLEMING ST                    GAY ST                        GREEN LN
VASSAR ST                     RIDGE AVE                     CRESSON ST
RECTOR ST                     MAIN ST                       STATION ST
KRAMS AVE                     MANAYUNK AVE                  PECHIN ST
ROXBOROUGH AVE                TOWER ST                      BOONE ST
DELMAR ST                     MANSION ST                    SILVERWOOD ST
CARSON ST                     MAIN ST                       CRESSON ST
CONARROE ST                   N SCHUYLKILL RIVER TRL        CRESSON ST
LAURISTON ST                  KINGSLEY ST                   MARKLE ST
DUPONT ST                     HIGH ST                       BAKER ST
CRESSON ST                    RECTOR ST                     ROXBOROUGH AVE
CRESSON ST                    ROXBOROUGH AVE                COTTON ST
ROXBOROUGH AVE                MAIN ST                       STATION ST
ROXBOROUGH AVE                STATION ST                    CRESSON ST
KRAMS AVE                     WILDE ST                      DEAD END EAST
SILVERWOOD ST                 DUPONT ST                     LEVERINGTON AVE
SMICK ST                      FOUNTAIN ST                   DEAD END NORTH
PARKER AVE                    UMBRIA ST                     CINNAMINSON ST
PARKER AVE                    CINNAMINSON ST                SILVERWOOD ST
JACOB ST                      DEAD END WEST                 PECHIN ST
FOUNTAIN ST                   MANAYUNK AVE                  PECHIN ST
GATES ST                      MANAYUNK AVE                  PECHIN ST
GREENOUGH ST                  FOWLER ST                     SILVERWOOD ST
BOONE ST                      CARSON ST                     GREEN LN
CARSON ST                     SILVERWOOD ST                 BOONE ST
MANSION ST                    CONARROE ST                   GAY ST
MAIDEN ST                     MANSION ST                    SILVERWOOD ST
MANSION ST                    MAIDEN ST                     GAY ST
SAINT DAVIDS ST               GAY ST                        CONARROE ST
MANSION ST                    LEVERING ST                   MAIDEN ST
STATION ST                    LEVERING ST                   GAY ST
TERRACE ST                    PENSDALE ST                   RECTOR ST
GERHARD ST                    RIDGE AVE                     HOUGHTON ST
HOUGHTON ST                   GERHARD ST                    MONASTERY AVE
MARIS ST                      JANNETTE ST                   HENRY AVE
GERHARD ST                    JANNETTE ST                   HENRY AVE
RECTOR ST                     TERRACE ST                    MANAYUNK AVE
PENSDALE ST                   TERRACE ST                    MANAYUNK AVE
JANNETTE ST                   MARIS ST                      MONASTERY AVE
GERHARD ST                    HOUGHTON ST                   JANNETTE ST
JANNETTE ST                   GERHARD ST                    MARIS ST
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RIPKA ST                         CUL DE SAC WEST               SHELDON ST
RIPKA ST                         SHELDON ST                    DEAD END EAST
SEVILLE ST                       DEXTER ST                     MANAYUNK AVE
SALAIGNAC ST                     SHARP ST                      SHARP ST
WRIGHT ST                        CANTON ST                     LINNEY ST
RING ST                          MAIN ST                       DEAD END NORTH
SILVERWOOD ST                    OVERLOOK RD                   DEAD END NORTH
DEXTER ST                        LYCEUM AVE                    GREEN LN
MITCHELL ST                      RECTOR ST                     ROXBOROUGH AVE
PECHIN ST                        RECTOR ST                     ROXBOROUGH AVE
DEXTER ST                        SEVILLE ST                    MARKLE ST
TOWER ST                         BURNSIDE ST                   JAMESTOWN AVE
BAKER ST                         CONARROE ST                   BREWERY ALY
BAKER ST                         BREWERY ALY                   CARSON ST
LEROY ST                         LIVEZEY ST                    DEAD END NORTH
HERMITAGE ST                     SHELDON ST                    CROSS ST
HERMITAGE ST                     CROSS ST                      SILVERWOOD ST
CROSS ST                         HERMITAGE ST                  DEAD END NORTH
CROSS ST                         DEAD END SOUTH                DEAD END WEST
N SCHUYLKILL RIVER TRL           MAIN ST                       N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        DEAD END WEST
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        CONARROE ST
N SCHUYLKILL RIVER TRL           MAIN ST                       N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           MAIN ST                       N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL
FOUNTAIN ST                      FLAT ROCK RD                  N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           FOUNTAIN ST                   N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           MAIN ST                       N SCHUYLKILL RIVER TRL
CINNAMINSON ST                   CINNAMINSON CT                PECHIN ST
SALAIGNAC ST                     TERRACE ST                    MANOR ST
RIDGE AVE                        OSBORN ST                     RIDGE AVE
TOWER ST                         COTTON ST                     LEVERING ST
LEVERINGTON AVE                  FLAT ROCK RD                  RIVERSIDE WAY
LEVERINGTON AVE                  RIVERSIDE WAY                 MAIN ST
W LYCOMING ST                    ELSER ST                      BOTT ST
W LYCOMING ST                    BOTT ST                       NICE ST
W LYCOMING ST                    NICE ST                       GERMANTOWN AVE
W LUZERNE ST                     N SMEDLEY ST                  N 17TH ST
W LUZERNE ST                     W LYCOMING ST                 N 16TH ST
W LUZERNE ST                     N 16TH ST                     N SMEDLEY ST
ALFRED ST                        W HUNTING PARK AVE            RUFFNER ST
BOTT ST                          KERBAUGH ST                   W LYCOMING ST
PRISCILLA ST                     W HUNTING PARK AVE            RUFFNER ST
KERBAUGH ST                      BOTT ST                       NICE ST
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NICE ST                          KERBAUGH ST                   W LYCOMING ST
KERBAUGH ST                      GERMANTOWN AVE                N 16TH ST
DONATH ST                        W HUNTING PARK AVE            RUFFNER ST
N SMEDLEY ST                     W PIKE ST                     W LUZERNE ST
ARCHER ST                        W HUNTING PARK AVE            RUFFNER ST
BLAINE ST                        W HUNTING PARK AVE            RUFFNER ST
NICE ST                          W PIKE ST                     KERBAUGH ST
BLABON ST                        RUFFNER ST                    DEAD END NORTH
BLABON ST                        YELLAND ST                    RUFFNER ST
N BOUVIER ST                     PULASKI AVE                   W PIKE ST
ARCHER ST                        W BUTLER ST                   W HUNTING PARK AVE
N GRATZ ST                       W BUTLER ST                   W PIKE ST
YELLAND ST                       BLABON ST                     SCHUYLER ST
SCHUYLER ST                      YELLAND ST                    YELLAND ST
BLABON ST                        N 21ST ST                     YELLAND ST
N SMEDLEY ST                     W BUTLER ST                   W PIKE ST
W CAREY ST                       N 19TH ST                     N 20TH ST
N SYDENHAM ST                    W BUTLER ST                   W PIKE ST
SCHUYLER ST                      W HUNTING PARK AVE            YELLAND ST
W AIRDRIE ST                     N 19TH ST                     N 20TH ST
RUFFNER ST                       SCHUYLER ST                   WISSAHICKON AVE
N 21ST ST                        W ERIE AVE                    W HUNTING PARK AVE
YELLAND ST                       SCHUYLER ST                   WISSAHICKON AVE
N GRATZ ST                       W ERIE AVE                    W BUTLER ST
N BOUVIER ST                     W ERIE AVE                    W BUTLER ST
N SYDENHAM ST                    W ERIE AVE                    W BUTLER ST
N CARLISLE ST                    W ERIE AVE                    W BUTLER ST
NICE ST                          W LYCOMING ST                 DEAD END NORTH
SCHUYLER ST                      YELLAND ST                    RUFFNER ST
SCHUYLER ST                      RUFFNER ST                    RUFFNER ST
RUFFNER ST                       BLABON ST                     SCHUYLER ST
SCHUYLER ST                      RUFFNER ST                    DEAD END NORTH
N 21ST ST                        W PACIFIC ST                  W ERIE AVE
N 21ST ST                        W VENANGO ST                  W PACIFIC ST
N 21ST ST                        W ATLANTIC ST                 W VENANGO ST
N 21ST ST                        W TIOGA ST                    W ATLANTIC ST
N 21ST ST                        W ESTAUGH ST                  W TIOGA ST
N 21ST ST                        W ONTARIO ST                  W ESTAUGH ST
N 21ST ST                        BELLEVUE ST                   W ONTARIO ST
N 21ST ST                        W WESTMORELAND ST             BELLEVUE ST
N 21ST ST                        W MADISON ST                  W WESTMORELAND ST
N 20TH ST                        W ESTAUGH ST                  W TIOGA ST
N 20TH ST                        W ONTARIO ST                  W ESTAUGH ST
N 20TH ST                        BELLEVUE ST                   W ONTARIO ST
N 20TH ST                        W WESTMORELAND ST             BELLEVUE ST
N 20TH ST                        W WILLARD ST                  W WESTMORELAND ST
N 20TH ST                        W MADISON ST                  W WILLARD ST
N 20TH ST                        W HILTON ST                   W MADISON ST
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N 20TH ST                     W ALLEGHENY AVE               W HILTON ST
N 20TH ST                     W PACIFIC ST                  W ERIE AVE
N 20TH ST                     W VENANGO ST                  W PACIFIC ST
N 20TH ST                     W ATLANTIC ST                 W VENANGO ST
N 19TH ST                     W PACIFIC ST                  W ERIE AVE
N 19TH ST                     W VENANGO ST                  W PACIFIC ST
N 19TH ST                     W ATLANTIC ST                 W VENANGO ST
N 19TH ST                     W TIOGA ST                    W ATLANTIC ST
N 19TH ST                     W ONTARIO ST                  W TIOGA ST
N 19TH ST                     W WILLARD ST                  W WESTMORELAND ST
N 19TH ST                     W HILTON ST                   W WILLARD ST
N 19TH ST                     W ALLEGHENY AVE               W HILTON ST
N 18TH ST                     W PACIFIC ST                  W ERIE AVE
N 18TH ST                     W VENANGO ST                  W PACIFIC ST
N 18TH ST                     W ATLANTIC ST                 W VENANGO ST
N 18TH ST                     W TIOGA ST                    W ATLANTIC ST
N 18TH ST                     W ONTARIO ST                  W TIOGA ST
N 18TH ST                     W WESTMORELAND ST             W ONTARIO ST
N 16TH ST                     W VENANGO ST                  W ERIE AVE
N 16TH ST                     W TIOGA ST                    W VENANGO ST
N 16TH ST                     W ONTARIO ST                  W TIOGA ST
N 16TH ST                     W WESTMORELAND ST             W ONTARIO ST
N 15TH ST                     W PACIFIC ST                  W ERIE AVE
N 15TH ST                     LENOX AVE                     W PACIFIC ST
N 15TH ST                     W VENANGO ST                  LENOX AVE
N 15TH ST                     W TIOGA ST                    W VENANGO ST
N 15TH ST                     W ONTARIO ST                  W TIOGA ST
N 15TH ST                     W WESTMORELAND ST             W ONTARIO ST
N 15TH ST                     W HILTON ST                   W WESTMORELAND ST
W WESTMORELAND ST             N 21ST ST                     N 22ND ST
W WESTMORELAND ST             N WOODSTOCK ST                N 21ST ST
W WESTMORELAND ST             N 20TH ST                     N WOODSTOCK ST
W WESTMORELAND ST             N UBER ST                     N 20TH ST
W WESTMORELAND ST             N 19TH ST                     N UBER ST
W WESTMORELAND ST             N 18TH ST                     N GRATZ ST
W WESTMORELAND ST             N BOUVIER ST                  N 18TH ST
W WESTMORELAND ST             N 17TH ST                     N BOUVIER ST
W WESTMORELAND ST             N SMEDLEY ST                  N 17TH ST
W WESTMORELAND ST             N 16TH ST                     N SMEDLEY ST
W WESTMORELAND ST             N SYDENHAM ST                 N 16TH ST
W WESTMORELAND ST             N 15TH ST                     N SYDENHAM ST
W WESTMORELAND ST             N CARLISLE ST                 N 15TH ST
W ONTARIO ST                  N 21ST ST                     N 22ND ST
W ONTARIO ST                  N 20TH ST                     N 21ST ST
W ONTARIO ST                  N UBER ST                     N 20TH ST
W ONTARIO ST                  N GRATZ ST                    N 19TH ST
W ONTARIO ST                  N 18TH ST                     N GRATZ ST
W ONTARIO ST                  N BOUVIER ST                  N 18TH ST
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W ONTARIO ST                     N 17TH ST                     N BOUVIER ST
W ONTARIO ST                     N SMEDLEY ST                  N 17TH ST
W ONTARIO ST                     N 16TH ST                     N SMEDLEY ST
W ONTARIO ST                     N SYDENHAM ST                 N 16TH ST
W ONTARIO ST                     N 15TH ST                     N SYDENHAM ST
W ONTARIO ST                     N CARLISLE ST                 N 15TH ST
W TIOGA ST                       N 21ST ST                     N 22ND ST
W TIOGA ST                       N 20TH ST                     N 21ST ST
W TIOGA ST                       N 18TH ST                     N 19TH ST
W TIOGA ST                       N 17TH ST                     N 18TH ST
W TIOGA ST                       N SMEDLEY ST                  N 17TH ST
W TIOGA ST                       N 16TH ST                     N SMEDLEY ST
W TIOGA ST                       N SYDENHAM ST                 N 16TH ST
W TIOGA ST                       N 15TH ST                     N SYDENHAM ST
W TIOGA ST                       N CARLISLE ST                 N 15TH ST
W VENANGO ST                     N 21ST ST                     N 22ND ST
W VENANGO ST                     N 19TH ST                     N 20TH ST
W VENANGO ST                     N GRATZ ST                    N 19TH ST
W VENANGO ST                     N 18TH ST                     N GRATZ ST
W VENANGO ST                     N BOUVIER ST                  N 18TH ST
W VENANGO ST                     N 17TH ST                     N BOUVIER ST
W VENANGO ST                     N SMEDLEY ST                  N 17TH ST
W VENANGO ST                     N 16TH ST                     N SMEDLEY ST
W VENANGO ST                     N SYDENHAM ST                 N 16TH ST
W VENANGO ST                     N 15TH ST                     N SYDENHAM ST
W VENANGO ST                     N CARLISLE ST                 N 15TH ST
W PACIFIC ST                     N 19TH ST                     N 20TH ST
W PACIFIC ST                     N GRATZ ST                    N 19TH ST
W PACIFIC ST                     N 18TH ST                     N GRATZ ST
W PACIFIC ST                     N BOUVIER ST                  N 18TH ST
W PACIFIC ST                     N 17TH ST                     N BOUVIER ST
W VICTORIA ST                    N SMEDLEY ST                  N 17TH ST
W PACIFIC ST                     N 21ST ST                     N 22ND ST
W ATLANTIC ST                    N 21ST ST                     N 22ND ST
W ATLANTIC ST                    N 19TH ST                     N 20TH ST
W ATLANTIC ST                    N GRATZ ST                    N 19TH ST
W ATLANTIC ST                    N 18TH ST                     N GRATZ ST
W ATLANTIC ST                    N 17TH ST                     N 18TH ST
N SMEDLEY ST                     W TIOGA ST                    W VENANGO ST
N SMEDLEY ST                     W ONTARIO ST                  W TIOGA ST
N SMEDLEY ST                     W WESTMORELAND ST             W ONTARIO ST
N SMEDLEY ST                     W VICTORIA ST                 W ERIE AVE
N SMEDLEY ST                     W VENANGO ST                  W VICTORIA ST
N SYDENHAM ST                    W VENANGO ST                  W ERIE AVE
N SYDENHAM ST                    W TIOGA ST                    W VENANGO ST
N SYDENHAM ST                    W ONTARIO ST                  W TIOGA ST
N SYDENHAM ST                    W WESTMORELAND ST             W ONTARIO ST
N SYDENHAM ST                    W HILTON ST                   W WESTMORELAND ST
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W HILTON ST                   N 15TH ST                     N SYDENHAM ST
N CARLISLE ST                 W TIOGA ST                    W VENANGO ST
N CARLISLE ST                 W ONTARIO ST                  W TIOGA ST
N BOUVIER ST                  W VENANGO ST                  W PACIFIC ST
N BOUVIER ST                  W ONTARIO ST                  DEAD END NORTH
BELLEVUE ST                   N 20TH ST                     N 21ST ST
W MADISON ST                  N WOODSTOCK ST                N 21ST ST
W MADISON ST                  N 20TH ST                     N WOODSTOCK ST
N GRATZ ST                    W VENANGO ST                  W PACIFIC ST
N GRATZ ST                    W ATLANTIC ST                 W VENANGO ST
N GRATZ ST                    W WESTMORELAND ST             W ONTARIO ST
W WILLARD ST                  N 19TH ST                     N 20TH ST
W ESTAUGH ST                  N 21ST ST                     N 22ND ST
W ESTAUGH ST                  N 20TH ST                     N 21ST ST
N BOUVIER ST                  W WESTMORELAND ST             W ONTARIO ST
N WOODSTOCK ST                W MADISON ST                  W WESTMORELAND ST
W HILTON ST                   N 19TH ST                     N 20TH ST
BELLEVUE ST                   N 21ST ST                     N 22ND ST
W WESTMORELAND ST             N MARSTON ST                  W HUNTING PARK AVE
W WESTMORELAND ST             N BAILEY ST                   N MARSTON ST
W WESTMORELAND ST             FOX ST                        N BAILEY ST
W WESTMORELAND ST             N 25TH ST                     FOX ST
W WESTMORELAND ST             STOKLEY ST                    N 25TH ST
W WESTMORELAND ST             N 22ND ST                     STOKLEY ST
STOKLEY ST                    N 25TH ST                     W HUNTING PARK AVE
STOKLEY ST                    W WESTMORELAND ST             N 25TH ST
CROWELL ST                    W TIOGA ST                    W HUNTING PARK AVE
CROWELL ST                    N 24TH ST                     W TIOGA ST
CROWELL ST                    JUDSON ST                     N 24TH ST
CROWELL ST                    W ONTARIO ST                  JUDSON ST
W ONTARIO ST                  N 22ND ST                     CROWELL ST
N 23RD ST                     W ATLANTIC ST                 W VENANGO ST
N 23RD ST                     W TIOGA ST                    W ATLANTIC ST
N 23RD ST                     W ESTAUGH ST                  W TIOGA ST
N 23RD ST                     W ONTARIO ST                  W ESTAUGH ST
N 24TH ST                     W ATLANTIC ST                 W HUNTING PARK AVE
N 24TH ST                     W TIOGA ST                    W ATLANTIC ST
JUDSON ST                     W TIOGA ST                    W ATLANTIC ST
N 24TH ST                     CROWELL ST                    W TIOGA ST
JUDSON ST                     CROWELL ST                    W TIOGA ST
W VENANGO ST                  N 22ND ST                     N 23RD ST
W ATLANTIC ST                 JUDSON ST                     N 24TH ST
W ATLANTIC ST                 N 23RD ST                     JUDSON ST
W ATLANTIC ST                 N 22ND ST                     N 23RD ST
W ESTAUGH ST                  N 22ND ST                     N 23RD ST
W PACIFIC ST                  N 22ND ST                     W HUNTING PARK AVE
W VENANGO ST                  WISSAHICKON AVE               W HUNTING PARK AVE
W TIOGA ST                    N 22ND ST                     N 23RD ST
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WISSAHICKON AVE               W VENANGO ST                  W HUNTING PARK AVE
W VENANGO ST                  N 23RD ST                     WISSAHICKON AVE
W TIOGA ST                    N 24TH ST                     CROWELL ST
W TIOGA ST                    JUDSON ST                     N 24TH ST
W TIOGA ST                    N 23RD ST                     JUDSON ST
N MARSTON ST                  W WESTMORELAND ST             FOX ST
N BAILEY ST                   W WESTMORELAND ST             FOX ST
W WILLARD ST                  N ETTING ST                   N MARSTON ST
W WILLARD ST                  N 27TH ST                     N ETTING ST
W WILLARD ST                  N BAILEY ST                   N 27TH ST
W WILLARD ST                  N 26TH ST                     N BAILEY ST
W WILLARD ST                  N BAMBREY ST                  N 26TH ST
W WILLARD ST                  N STILLMAN ST                 N BAMBREY ST
W WILLARD ST                  N 25TH ST                     N STILLMAN ST
N MARSTON ST                  W MADISON ST                  W WILLARD ST
W WILLARD ST                  N NEWKIRK ST                  N DOVER ST
N 25TH ST                     W HILTON ST                   W WILLARD ST
N 25TH ST                     W ALLEGHENY AVE               W HILTON ST
N ETTING ST                   W MADISON ST                  W WILLARD ST
N 25TH ST                     W WILLARD ST                  DEAD END NORTH
W HILTON ST                   FOX ST                        N 25TH ST
W WISHART ST                  N 29TH ST                     N 30TH ST
N 28TH ST                     W WISHART ST                  W ALLEGHENY AVE
W WISHART ST                  N 28TH ST                     N 29TH ST
N 30TH ST                     W WISHART ST                  W HUNTING PARK AVE
N 23RD ST                     W LIPPINCOTT ST               W ALLEGHENY AVE
N HEMBERGER ST                W LIPPINCOTT ST               W ALLEGHENY AVE
W LIPPINCOTT ST               N 23RD ST                     FOX ST
W LIPPINCOTT ST               N HEMBERGER ST                N 23RD ST
KERBAUGH ST                   NICE ST                       GERMANTOWN AVE
RUFFNER ST                    PULASKI AVE                   ALFRED ST
RUFFNER ST                    ALFRED ST                     PRISCILLA ST
RUFFNER ST                    PRISCILLA ST                  DONATH ST
PULASKI AVE                   W HUNTING PARK AVE            RUFFNER ST
RUFFNER ST                    DONATH ST                     ARCHER ST
RUFFNER ST                    ARCHER ST                     BLAINE ST
PULASKI AVE                   N 18TH ST                     W PIKE ST
PULASKI AVE                   W ERIE AVE                    N 17TH ST
PULASKI AVE                   W PIKE ST                     W HUNTING PARK AVE
N 17TH ST                     W PIKE ST                     W LUZERNE ST
N 17TH ST                     W BUTLER ST                   W PIKE ST
N 17TH ST                     PULASKI AVE                   W BUTLER ST
W BUTLER ST                   ARCHER ST                     N 20TH ST
W BUTLER ST                   N 19TH ST                     ARCHER ST
W BUTLER ST                   N GRATZ ST                    N 19TH ST
W BUTLER ST                   N 18TH ST                     N GRATZ ST
W BUTLER ST                   N BOUVIER ST                  N 18TH ST
W BUTLER ST                   PULASKI AVE                   N BOUVIER ST
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W BUTLER ST                    N 17TH ST                     PULASKI AVE
W BUTLER ST                    N SMEDLEY ST                  N 17TH ST
W BUTLER ST                    N 16TH ST                     N SMEDLEY ST
W BUTLER ST                    N SYDENHAM ST                 N 16TH ST
N 15TH ST                      W BUTLER ST                   GERMANTOWN AVE
W BUTLER ST                    N 15TH ST                     N SYDENHAM ST
W BUTLER ST                    N CARLISLE ST                 N 15TH ST
W BUTLER ST                    GERMANTOWN AVE                N CARLISLE ST
W PIKE ST                      N GRATZ ST                    N 19TH ST
W PIKE ST                      PULASKI AVE                   N GRATZ ST
W PIKE ST                      N 18TH ST                     PULASKI AVE
W PIKE ST                      N BOUVIER ST                  N 18TH ST
W PIKE ST                      N 17TH ST                     N BOUVIER ST
W PIKE ST                      N SMEDLEY ST                  N 17TH ST
W PIKE ST                      N 16TH ST                     N SMEDLEY ST
W PIKE ST                      N SYDENHAM ST                 N 16TH ST
W PIKE ST                      GERMANTOWN AVE                N SYDENHAM ST
W PIKE ST                      NICE ST                       GERMANTOWN AVE
N 19TH ST                      W PIKE ST                     W HUNTING PARK AVE
N 19TH ST                      W BUTLER ST                   W PIKE ST
N 19TH ST                      W CAREY ST                    W BUTLER ST
N 19TH ST                      W AIRDRIE ST                  W CAREY ST
N 19TH ST                      W ERIE AVE                    W AIRDRIE ST
N 18TH ST                      W BUTLER ST                   PULASKI AVE
N 18TH ST                      W ERIE AVE                    W BUTLER ST
N 15TH ST                      W ERIE AVE                    W BUTLER ST
N 16TH ST                      KERBAUGH ST                   W LUZERNE ST
N 16TH ST                      W PIKE ST                     KERBAUGH ST
N 16TH ST                      W BUTLER ST                   W PIKE ST
N 16TH ST                      W ERIE AVE                    W BUTLER ST
N 20TH ST                      W BUTLER ST                   W HUNTING PARK AVE
N 20TH ST                      W CAREY ST                    W BUTLER ST
N 20TH ST                      W AIRDRIE ST                  W CAREY ST
WAYNE AVE                      DENNIE ST                     NEWCOMB ST
WAYNE AVE                      ROWAN ST                      DENNIE ST
WAYNE AVE                      DALKEITH ST                   ROWAN ST
WAYNE AVE                      W BRISTOL ST                  DALKEITH ST
WAYNE AVE                      BONITZ ST                     W BRISTOL ST
WAYNE AVE                      W JUNIATA ST                  BRUNNER ST
WAYNE AVE                      NEWCOMB ST                    ROBERTS AVE
WAYNE AVE                      BRUNNER ST                    BRUNNER ST
WAYNE AVE                      BRUNNER ST                    BONITZ ST
DOUNTON ST                     GERMANTOWN AVE                GREENE ST
DOUNTON ST                     GREENE ST                     WAYNE AVE
STAUB ST                       GERMANTOWN AVE                GREENE ST
GREENE ST                      STAUB ST                      DOUNTON ST
STAUB ST                       TACOMA ST                     NEWHALL ST
NEWHALL ST                     STAUB ST                      W JUNIATA ST
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N 16TH ST                        SAINT PAUL ST                 ROWAN ST
NEWCOMB ST                       WAYNE AVE                     CLARISSA ST
ROWAN ST                         GERMANTOWN AVE                WAYNE AVE
W BRISTOL ST                     W JUNIATA ST                  N 17TH ST
N 16TH ST                        W BRISTOL ST                  SAINT PAUL ST
W BRISTOL ST                     N 16TH ST                     W JUNIATA ST
W BRISTOL ST                     N SYDENHAM ST                 N 16TH ST
W BRISTOL ST                     N HICKS ST                    N SYDENHAM ST
W BRISTOL ST                     N 15TH ST                     N HICKS ST
W BRISTOL ST                     N CARLISLE ST                 N 15TH ST
W BRISTOL ST                     N 17TH ST                     GERMANTOWN AVE
N 16TH ST                        DOUNTON ST                    W BRISTOL ST
W JUNIATA ST                     W BRISTOL ST                  N 17TH ST
ROWAN ST                         WAYNE AVE                     CLARISSA ST
N 16TH ST                        STAUB ST                      DOUNTON ST
W JUNIATA ST                     N 17TH ST                     GERMANTOWN AVE
N 16TH ST                        N SYDENHAM ST                 STAUB ST
N 16TH ST                        RUFFNER ST                    N SYDENHAM ST
W BRISTOL ST                     WAYNE AVE                     CLARISSA ST
W JUNIATA ST                     GERMANTOWN AVE                WAYNE AVE
STAUB ST                         N 16TH ST                     GERMANTOWN AVE
N 16TH ST                        W HUNTING PARK AVE            RUFFNER ST
W JUNIATA ST                     WAYNE AVE                     NEWHALL ST
N 16TH ST                        W JEROME ST                   W HUNTING PARK AVE
W JUNIATA ST                     NEWHALL ST                    CLARISSA ST
N 16TH ST                        W LYCOMING ST                 W JEROME ST
N 17TH ST                        SAINT PAUL ST                 ROWAN ST
N 17TH ST                        SAINT PAUL ST                 SAINT PAUL ST
DENNIE ST                        GERMANTOWN AVE                WAYNE AVE
N 17TH ST                        W BRISTOL ST                  SAINT PAUL ST
DENNIE ST                        WAYNE AVE                     CLARISSA ST
N 17TH ST                        W JUNIATA ST                  W BRISTOL ST
DALKEITH ST                      WAYNE AVE                     CLARISSA ST
DOUNTON ST                       N 16TH ST                     GERMANTOWN AVE
BONITZ ST                        WAYNE AVE                     CLARISSA ST
BRUNNER ST                       WAYNE AVE                     CLARISSA ST
BRUNNER ST                       GERMANTOWN AVE                WAYNE AVE
ROWAN ST                         N 16TH ST                     N 17TH ST
SAINT PAUL ST                    N 17TH ST                     GERMANTOWN AVE
ROWAN ST                         N HICKS ST                    N 16TH ST
ROWAN ST                         N 15TH ST                     N HICKS ST
N HICKS ST                       RUFFNER ST                    W BRISTOL ST
N CARLISLE ST                    W BRISTOL ST                  SAINT LUKES ST
N CARLISLE ST                    W ROOSEVELT BLVD              W BRISTOL ST
N CARLISLE ST                    W HUNTING PARK AVE            W ROOSEVELT BLVD
N HICKS ST                       W BRISTOL ST                  ROWAN ST
N 15TH ST                        ROWAN ST                      SAINT LUKES ST
N 15TH ST                        W BRISTOL ST                  ROWAN ST
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N 15TH ST                     RUFFNER ST                    W BRISTOL ST
N 15TH ST                     W ROOSEVELT BLVD              RUFFNER ST
N SYDENHAM ST                 N 16TH ST                     W BRISTOL ST
N 15TH ST                     W ROCKLAND ST                 WINDRIM AVE
W LOUDON ST                   BELFIELD AVE                  WINDRIM AVE
W LOUDON ST                   N SYDENHAM ST                 BELFIELD AVE
N 15TH ST                     W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                   N 15TH ST                     N SYDENHAM ST
W LOUDON ST                   N CARLISLE ST                 N 15TH ST
W LOUDON ST                   N BROAD ST                    N CARLISLE ST
N 15TH ST                     BELFIELD AVE                  W LOUDON ST
W WINGOHOCKING ST             N UBER ST                     N 20TH ST
W WINGOHOCKING ST             N 19TH ST                     N UBER ST
W WINGOHOCKING ST             N GRATZ ST                    N 19TH ST
W WINGOHOCKING ST             N 18TH ST                     N CLEVELAND ST
W WINGOHOCKING ST             N BOUVIER ST                  N 18TH ST
W WINGOHOCKING ST             N COLORADO ST                 N BOUVIER ST
W WINGOHOCKING ST             N 17TH ST                     N COLORADO ST
W WINGOHOCKING ST             N CHADWICK ST                 N 17TH ST
W WINGOHOCKING ST             N SMEDLEY ST                  N CHADWICK ST
W WINGOHOCKING ST             N BANCROFT ST                 N SMEDLEY ST
W WINGOHOCKING ST             N 16TH ST                     N BANCROFT ST
W WINGOHOCKING ST             N MOLE ST                     N 16TH ST
W WINGOHOCKING ST             N HICKS ST                    N MOLE ST
W WINGOHOCKING ST             N 15TH ST                     N HICKS ST
W WINGOHOCKING ST             N CARLISLE ST                 N 15TH ST
W WINGOHOCKING ST             N 20TH ST                     WINDRIM AVE
W WINGOHOCKING ST             N CLEVELAND ST                N GRATZ ST
W WINGOHOCKING ST             N GRATZ ST                    N GRATZ ST
W COURTLAND ST                N GRATZ ST                    N 19TH ST
W COURTLAND ST                N 18TH ST                     N GRATZ ST
W COURTLAND ST                N BOUVIER ST                  N 18TH ST
W COURTLAND ST                N COLORADO ST                 N BOUVIER ST
W COURTLAND ST                N 17TH ST                     N COLORADO ST
W COURTLAND ST                N SMEDLEY ST                  N 17TH ST
W COURTLAND ST                N 16TH ST                     N SMEDLEY ST
W COURTLAND ST                N MOLE ST                     N 16TH ST
W COURTLAND ST                N SYDENHAM ST                 N MOLE ST
W COURTLAND ST                N HICKS ST                    N SYDENHAM ST
W COURTLAND ST                N 15TH ST                     N HICKS ST
W COURTLAND ST                N CARLISLE ST                 N 15TH ST
W COURTLAND ST                N 19TH ST                     N UBER ST
W COURTLAND ST                N UBER ST                     WINDRIM AVE
N 15TH ST                     W COURTLAND ST                BELFIELD AVE
N 15TH ST                     W WINGOHOCKING ST             W COURTLAND ST
N 15TH ST                     BLAVIS ST                     W WINGOHOCKING ST
N 15TH ST                     W CAYUGA ST                   BLAVIS ST
N 16TH ST                     W MENTOR ST                   BELFIELD AVE
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N 16TH ST                     W WYOMING AVE                 W MENTOR ST
N 16TH ST                     W COURTLAND ST                W WYOMING AVE
N 16TH ST                     W WINGOHOCKING ST             W COURTLAND ST
N 16TH ST                     BLAVIS ST                     W WINGOHOCKING ST
N 16TH ST                     W CAYUGA ST                   BLAVIS ST
W MENTOR ST                   N 16TH ST                     WINDRIM AVE
W WYOMING AVE                 BELFIELD AVE                  N SYDENHAM ST
W WYOMING AVE                 N SYDENHAM ST                 N 16TH ST
W WYOMING AVE                 N CARLISLE ST                 BELFIELD AVE
N CARLISLE ST                 W ROCKLAND ST                 WINDRIM AVE
N CARLISLE ST                 W LOUDON ST                   W ROCKLAND ST
N CARLISLE ST                 W WYOMING AVE                 W LOUDON ST
N SYDENHAM ST                 W LOUDON ST                   WINDRIM AVE
W ROCKLAND ST                 N 15TH ST                     N SYDENHAM ST
W ROCKLAND ST                 N CARLISLE ST                 N 15TH ST
W WYOMING AVE                 N 16TH ST                     WINDRIM AVE
W WYOMING AVE                 WINDRIM AVE                   N 18TH ST
N 18TH ST                     GLENIFER ST                   W ROCKLAND ST
N 18TH ST                     W ELEANOR ST                  GLENIFER ST
N 18TH ST                     WAGNER AVE                    W ELEANOR ST
N 18TH ST                     W COURTLAND ST                WINDRIM AVE
N 18TH ST                     WINDRIM AVE                   W WYOMING AVE
N 18TH ST                     W WYOMING AVE                 WAGNER AVE
N 19TH ST                     W COURTLAND ST                WINDRIM AVE
N 19TH ST                     W WINGOHOCKING ST             W COURTLAND ST
N 18TH ST                     W WINGOHOCKING ST             W COURTLAND ST
N BOUVIER ST                  W WINGOHOCKING ST             W COURTLAND ST
N 17TH ST                     W WINGOHOCKING ST             W COURTLAND ST
N SMEDLEY ST                  W WINGOHOCKING ST             W COURTLAND ST
N HICKS ST                    W WINGOHOCKING ST             W COURTLAND ST
N 18TH ST                     BLAVIS ST                     W WINGOHOCKING ST
N 17TH ST                     BLAVIS ST                     W WINGOHOCKING ST
N BANCROFT ST                 BLAVIS ST                     W WINGOHOCKING ST
N UBER ST                     GERMANTOWN AVE                W WINGOHOCKING ST
N CLEVELAND ST                W CAYUGA ST                   W WINGOHOCKING ST
N 18TH ST                     W CAYUGA ST                   BLAVIS ST
N 17TH ST                     W CAYUGA ST                   BLAVIS ST
N UBER ST                     W WINGOHOCKING ST             W COURTLAND ST
N 20TH ST                     W WINGOHOCKING ST             WINDRIM AVE
N 20TH ST                     GERMANTOWN AVE                W WINGOHOCKING ST
ROBERTS AVE                   GERMANTOWN AVE                GREENE ST
ROBERTS AVE                   GREENE ST                     WAYNE AVE
WAYNE AVE                     ROBERTS AVE                   CLARISSA ST
N 19TH ST                     W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N 19TH ST                     GERMANTOWN AVE
W CAYUGA ST                   N CLEVELAND ST                N GRATZ ST
W CAYUGA ST                   N 18TH ST                     N CLEVELAND ST
N COLORADO ST                 W WINGOHOCKING ST             W COURTLAND ST
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N MOLE ST                      W WINGOHOCKING ST             W COURTLAND ST
N CARLISLE ST                  W WINGOHOCKING ST             W COURTLAND ST
N COLORADO ST                  BLAVIS ST                     W WINGOHOCKING ST
BLAVIS ST                      N COLORADO ST                 N 18TH ST
BLAVIS ST                      N 17TH ST                     N COLORADO ST
N CHADWICK ST                  BLAVIS ST                     W WINGOHOCKING ST
BLAVIS ST                      N CHADWICK ST                 N 17TH ST
BLAVIS ST                      N BANCROFT ST                 N CHADWICK ST
BLAVIS ST                      N 16TH ST                     N BANCROFT ST
BLAVIS ST                      N 15TH ST                     N 16TH ST
N GRATZ ST                     W CAYUGA ST                   W WINGOHOCKING ST
N GRATZ ST                     W WINGOHOCKING ST             W COURTLAND ST
N SYDENHAM ST                  W COURTLAND ST                W WYOMING AVE
GREENE ST                      ROBERTS AVE                   WINDRIM AVE
N BOUVIER ST                   WAGNER AVE                    W ROCKLAND ST
W ELEANOR ST                   N 18TH ST                     N 19TH ST
W ROCKLAND ST                  N 18TH ST                     N 19TH ST
W ROCKLAND ST                  N BOUVIER ST                  N 18TH ST
N 17TH ST                      W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  BELFIELD AVE                  N BOUVIER ST
N SMEDLEY ST                   W ROCKLAND ST                 W RUSCOMB ST
GLENIFER ST                    N 18TH ST                     N 19TH ST
N 20TH ST                      W ROCKLAND ST                 W RUSCOMB ST
N UBER ST                      W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N UBER ST                     N 20TH ST
N 19TH ST                      W ROCKLAND ST                 SULIS ST
W ROCKLAND ST                  N 19TH ST                     N UBER ST
W ROCKLAND ST                  N SMEDLEY ST                  N 17TH ST
N 19TH ST                      GLENIFER ST                   W ROCKLAND ST
N 19TH ST                      W ELEANOR ST                  GLENIFER ST
W LOUDON ST                    N BOUVIER ST                  N 18TH ST
N 18TH ST                      W ROCKLAND ST                 SULIS ST
STENTON AVE                    WYNEVA ST                     E LOGAN ST
WYNEVA ST                      STENTON AVE                   DEAD END WEST
STENTON AVE                    E ABBOTTSFORD AVE             WYNEVA ST
E ABBOTTSFORD AVE              STENTON AVE                   GERMANTOWN AVE
STENTON AVE                    E SYLVANIA ST                 E ABBOTTSFORD AVE
E SYLVANIA ST                  STENTON AVE                   GERMANTOWN AVE
STENTON AVE                    GERMANTOWN AVE                E SYLVANIA ST
W SEYMOUR ST                   GERMANTOWN AVE                PORTICO ST
W SEYMOUR ST                   PORTICO ST                    PORTICO ST
PORTICO ST                     W SEYMOUR ST                  REGER ST
REGER ST                       PORTICO ST                    WADE ST
WADE ST                        REGER ST                      MANHEIM ST
W SEYMOUR ST                   PORTICO ST                    ROYAL ST
ROYAL ST                       W SEYMOUR ST                  W GARFIELD ST
REGER ST                       WADE ST                       GREENE ST
W GARFIELD ST                  ROYAL ST                      GREENE ST
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W SEYMOUR ST                  ROYAL ST                      GREENE ST
ROYAL ST                      W LOGAN ST                    W SEYMOUR ST
W LOGAN ST                    ROYAL ST                      GREENE ST
W SEYMOUR ST                  GREENE ST                     KNOX ST
KNOX ST                       W SEYMOUR ST                  MANHEIM ST
W SEYMOUR ST                  KNOX ST                       KEYSER ST
W LOGAN ST                    GREENE ST                     KNOX ST
KNOX ST                       W LOGAN ST                    W SEYMOUR ST
W SEYMOUR ST                  KEYSER ST                     WAYNE AVE
W LOGAN ST                    KNOX ST                       KEYSER ST
KEYSER ST                     W LOGAN ST                    W SEYMOUR ST
WYNEVA ST                     GREENE ST                     KNOX ST
KNOX ST                       WYNEVA ST                     W LOGAN ST
WYNEVA ST                     KNOX ST                       KEYSER ST
KEYSER ST                     WYNEVA ST                     W LOGAN ST
W LOGAN ST                    KEYSER ST                     WAYNE AVE
APSLEY ST                     GERMANTOWN AVE                GREENE ST
WYNEVA ST                     KEYSER ST                     WAYNE AVE
W ABBOTTSFORD AVE             GREENE ST                     WAYNE AVE
W SYLVANIA ST                 GREENE ST                     WAYNE AVE
W LOGAN ST                    GERMANTOWN AVE                ROYAL ST
PORTICO ST                    W WISTER ST                   MANHEIM ST
PORTICO ST                    REGER ST                      W WISTER ST
W ROCKLAND ST                 GERMANTOWN AVE                GREENE ST
KEYSER ST                     W SEYMOUR ST                  MANHEIM ST
APSLEY ST                     GREENE ST                     WAYNE AVE
WYNEVA ST                     GERMANTOWN AVE                GREENE ST
W COULTER ST                  KNOX ST                       WAYNE AVE
W PENN ST                     GREENE ST                     KNOX ST
W PENN ST                     KNOX ST                       WAYNE AVE
W QUEEN LN                    GREENE ST                     MARION ST
W QUEEN LN                    KNOX ST                       WAYNE AVE
KNOX ST                       W PENN ST                     W COULTER ST
KNOX ST                       W PENN ST                     W PENN ST
KNOX ST                       W QUEEN LN                    W PENN ST
HANSBERRY ST                  GREENE ST                     MARION ST
MARION ST                     HANSBERRY ST                  W QUEEN LN
HANSBERRY ST                  MARION ST                     KNOX ST
MARION ST                     W ASHMEAD ST                  HANSBERRY ST
W ASHMEAD ST                  MARION ST                     KNOX ST
KNOX ST                       W ASHMEAD ST                  HANSBERRY ST
HANSBERRY ST                  KNOX ST                       KEYSER ST
HANSBERRY ST                  KEYSER ST                     HENLEY ST
KNOX ST                       MANHEIM ST                    W ASHMEAD ST
HANSBERRY ST                  HENLEY ST                     WAYNE AVE
KEYSER ST                     MANHEIM ST                    HANSBERRY ST
W ASHMEAD ST                  GREENE ST                     MARION ST
W ASHMEAD ST                  MARION ST                     MARION ST
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MARION ST                     MANHEIM ST                    W ASHMEAD ST
HANSBERRY ST                  NEWHALL ST                    PULASKI AVE
HANSBERRY ST                  PULASKI AVE                   MORRIS ST
HANSBERRY ST                  MORRIS ST                     MC KEAN AVE
HANSBERRY ST                  MC KEAN AVE                   LAURENS ST
HANSBERRY ST                  LAURENS ST                    SCHUYLER ST
HANSBERRY ST                  SCHUYLER ST                   WISSAHICKON AVE
BERKLEY ST                    ROBERTS AVE                   PULASKI AVE
BERKLEY ST                    PULASKI AVE                   MILNE ST
BERKLEY ST                    MILNE ST                      FERNHILL RD
FERNHILL RD                   BERKLEY ST                    APSLEY ST
BERKLEY ST                    FERNHILL RD                   MORRIS ST
MORRIS ST                     MILNE ST                      BERKLEY ST
ZERALDA ST                    PULASKI AVE                   APSLEY ST
W ABBOTTSFORD AVE             LAURENS ST                    W ROOSEVELT BLVD RAMP L
W ABBOTTSFORD AVE             W ROOSEVELT BLVD RAMP L       SCHUYLER ST
W ABBOTTSFORD AVE             SCHUYLER ST                   WISSAHICKON AVE
W SEYMOUR ST                  WAYNE AVE                     TACOMA ST
PULASKI AVE                   MANHEIM ST                    HANSBERRY ST
W SEYMOUR ST                  TACOMA ST                     NEWHALL ST
W SEYMOUR ST                  NEWHALL ST                    PULASKI AVE
PULASKI AVE                   W SEYMOUR ST                  MANHEIM ST
PULASKI AVE                   W CLAPIER ST                  W SEYMOUR ST
MORRIS ST                     MANHEIM ST                    HANSBERRY ST
PULASKI AVE                   W LOGAN ST                    W CLAPIER ST
W SEYMOUR ST                  PULASKI AVE                   MORRIS ST
MORRIS ST                     W SEYMOUR ST                  MANHEIM ST
PULASKI AVE                   W ABBOTTSFORD AVE             W LOGAN ST
MORRIS ST                     W CLAPIER ST                  W SEYMOUR ST
PULASKI AVE                   W ABBOTTSFORD AVE             W ABBOTTSFORD AVE
NEWHALL ST                    APSLEY ST                     W ABBOTTSFORD AVE
W LOGAN ST                    PULASKI AVE                   W ABBOTTSFORD AVE
MORRIS ST                     W ABBOTTSFORD AVE             W CLAPIER ST
W CLAPIER ST                  MORRIS ST                     MC KEAN AVE
PULASKI AVE                   APSLEY ST                     W ABBOTTSFORD AVE
PULASKI AVE                   BERKLEY ST                    ZERALDA ST
PULASKI AVE                   ROBERTS AVE                   BERKLEY ST
W CLAPIER ST                  LAURENS ST                    SCHUYLER ST
SCHUYLER ST                   W CLAPIER ST                  MANHEIM ST
MORRIS ST                     BERKLEY ST                    APSLEY ST
PULASKI AVE                   ZERALDA ST                    ZERALDA ST
PULASKI AVE                   ZERALDA ST                    APSLEY ST
NEWHALL ST                    W SEYMOUR ST                  MANHEIM ST
APSLEY ST                     WAYNE AVE                     NEWHALL ST
MC KEAN AVE                   W CLAPIER ST                  MANHEIM ST
APSLEY ST                     NEWHALL ST                    PULASKI AVE
ZERALDA ST                    WAYNE AVE                     PULASKI AVE
APSLEY ST                     PULASKI AVE                   ZERALDA ST
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MC KEAN AVE                   W ABBOTTSFORD AVE             W CLAPIER ST
APSLEY ST                     ZERALDA ST                    FERNHILL RD
APSLEY ST                     FERNHILL RD                   MORRIS ST
W CLAPIER ST                  SCHUYLER ST                   SCHUYLER ST
W CLAPIER ST                  SCHUYLER ST                   COPLEY RD
MORRIS ST                     APSLEY ST                     W ABBOTTSFORD AVE
TACOMA ST                     W SEYMOUR ST                  MANHEIM ST
W CLAPIER ST                  WAYNE AVE                     PULASKI AVE
W ABBOTTSFORD AVE             NEWHALL ST                    PULASKI AVE
W ABBOTTSFORD AVE             PULASKI AVE                   FERNHILL RD
FERNHILL RD                   APSLEY ST                     W ABBOTTSFORD AVE
NEWHALL ST                    MANHEIM ST                    HANSBERRY ST
W ABBOTTSFORD AVE             FERNHILL RD                   MORRIS ST
W ABBOTTSFORD AVE             WAYNE AVE                     NEWHALL ST
HANSBERRY ST                  WAYNE AVE                     NEWHALL ST
PULASKI AVE                   W CHELTEN AVE                 W RITTENHOUSE ST
PULASKI AVE                   W WOODLAWN ST                 W CHELTEN AVE
MORRIS ST                     W PRICE ST                    W RITTENHOUSE ST
MORRIS ST                     W STAFFORD ST                 W PRICE ST
MORRIS ST                     W CHELTEN AVE                 W STAFFORD ST
PULASKI AVE                   W SCHOOL HOUSE LN             W WOODLAWN ST
MORRIS ST                     W WOODLAWN ST                 W CHELTEN AVE
PULASKI AVE                   WINONA ST                     W SCHOOL HOUSE LN
PULASKI AVE                   EARLHAM TER                   WINONA ST
MORRIS ST                     W SCHOOL HOUSE LN             W WOODLAWN ST
PULASKI AVE                   W COULTER ST                  EARLHAM TER
PULASKI AVE                   W PENN ST                     W COULTER ST
MORRIS ST                     WINONA ST                     W SCHOOL HOUSE LN
MORRIS ST                     EARLHAM TER                   WINONA ST
MORRIS ST                     W COULTER ST                  EARLHAM TER
PULASKI AVE                   W QUEEN LN                    W PENN ST
MORRIS ST                     W PENN ST                     W COULTER ST
PULASKI AVE                   HANSBERRY ST                  W QUEEN LN
MORRIS ST                     W QUEEN LN                    W PENN ST
MORRIS ST                     HANSBERRY ST                  W QUEEN LN
W PENN ST                     WAYNE AVE                     NEWHALL ST
W STAFFORD ST                 MORRIS ST                     WISSAHICKON AVE
W WOODLAWN ST                 MORRIS ST                     LAURENS ST
W PENN ST                     PRISCILLA ST                  MORRIS ST
W PENN ST                     MORRIS ST                     KING ST
KING ST                       W PENN ST                     LAURENS ST
KING ST                       LAURENS ST                    W QUEEN LN
W PENN ST                     NEWHALL ST                    NEWHALL ST
W PENN ST                     NEWHALL ST                    PULASKI AVE
WINONA ST                     WAYNE AVE                     TACOMA ST
TACOMA ST                     EARLHAM TER                   WINONA ST
W COULTER ST                  WAYNE AVE                     TACOMA ST
TACOMA ST                     W COULTER ST                  EARLHAM TER
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WINONA ST                     TACOMA ST                     PULASKI AVE
W COULTER ST                  TACOMA ST                     NEWHALL ST
EARLHAM TER                   TACOMA ST                     PULASKI AVE
W COULTER ST                  NEWHALL ST                    PULASKI AVE
NEWHALL ST                    W PENN ST                     W COULTER ST
LAURENS ST                    W WOODLAWN ST                 W CHELTEN AVE
W COULTER ST                  PULASKI AVE                   ALFRED ST
W COULTER ST                  ALFRED ST                     PRISCILLA ST
EARLHAM TER                   PULASKI AVE                   MORRIS ST
W PENN ST                     PULASKI AVE                   ALFRED ST
ALFRED ST                     W PENN ST                     W COULTER ST
W COULTER ST                  PRISCILLA ST                  MORRIS ST
W PENN ST                     ALFRED ST                     PRISCILLA ST
PRISCILLA ST                  W QUEEN LN                    W PENN ST
WINONA ST                     MORRIS ST                     LAURENS ST
LAURENS ST                    EARLHAM TER                   WINONA ST
LAURENS ST                    W COULTER ST                  EARLHAM TER
MC KEAN AVE                   W BRINGHURST ST               W QUEEN LN
MC KEAN AVE                   HANSBERRY ST                  W BRINGHURST ST
W COULTER ST                  MIDVALE AVE                   WISSAHICKON AVE
LAURENS ST                    W QUEEN LN                    KING ST
W BRINGHURST ST               MC KEAN AVE                   LAURENS ST
LAURENS ST                    W BRINGHURST ST               W QUEEN LN
MIDVALE AVE                   W COULTER ST                  MIDVALE AVE
LAURENS ST                    HANSBERRY ST                  W BRINGHURST ST
SCHUYLER ST                   HANSBERRY ST                  W QUEEN LN
WINONA ST                     PULASKI AVE                   DEAD END SOUTH
W WOODLAWN ST                 DEAD END NORTH                MORRIS ST
NEWHALL ST                    W QUEEN LN                    W PENN ST
W QUEEN LN                    WAYNE AVE                     NEWHALL ST
W QUEEN LN                    NEWHALL ST                    PULASKI AVE
W QUEEN LN                    PULASKI AVE                   PRISCILLA ST
W QUEEN LN                    PRISCILLA ST                  MORRIS ST
W QUEEN LN                    MORRIS ST                     MC KEAN AVE
W QUEEN LN                    MC KEAN AVE                   LAURENS ST
W QUEEN LN                    LAURENS ST                    KING ST
W QUEEN LN                    KING ST                       SCHUYLER ST
PRISCILLA ST                  W PENN ST                     W COULTER ST
W QUEEN LN                    SCHUYLER ST                   WISSAHICKON AVE
W ABBOTTSFORD AVE             STOKLEY ST                    FOX ST
KING ST                       ROBERTS AVE                   DEACON ST
W QUEEN LN                    STOKLEY ST                    FOX ST
W QUEEN LN                    FOX ST                        MC MICHAEL ST
W QUEEN LN                    MC MICHAEL ST                 HENRY AVE
STOKLEY ST                    MIDVALE AVE                   W COULTER ST
W COULTER ST                  STOKLEY ST                    FOX ST
W NETHERFIELD RD              E NETHERFIELD RD              W SCHOOL HOUSE LN
FOX ST                        MIDVALE AVE                   W COULTER ST
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W COULTER ST                   FOX ST                        MC MICHAEL ST
W COULTER ST                   MC MICHAEL ST                 W NETHERFIELD RD
W NETHERFIELD RD               W COULTER ST                  E NETHERFIELD RD
W PENN ST                      MC MICHAEL ST                 HENRY AVE
W PENN ST                      FOX ST                        MC MICHAEL ST
MC MICHAEL ST                  MIDVALE AVE                   W COULTER ST
MC MICHAEL ST                  W PENN ST                     MIDVALE AVE
MC MICHAEL ST                  W QUEEN LN                    W PENN ST
LINCOLN DR                     W RITTENHOUSE ST              WISSAHICKON AVE
W KINGSLEY ST                  DANIEL ST                     W WALNUT LN
HERMIT ST                      WISSAHICKON AVE               BRIDGET ST
BRIDGET ST                     HERMIT ST                     W WALNUT LN
NAOMI ST                       WISSAHICKON AVE               DANIEL ST
MAGDALENA ST                   RECTOR ST                     ROXBOROUGH AVE
MAGDALENA ST                   WALNUT LN                     WENDOVER ST
HOUGHTON ST                    RECTOR ST                     ROXBOROUGH AVE
HOUGHTON ST                    WALNUT LN                     JAMESTOWN AVE
HOUGHTON ST                    KINGSLEY ST                   WALNUT LN
MARKLE ST                      HOUGHTON ST                   HENRY AVE
HOUGHTON ST                    MARKLE ST                     KINGSLEY ST
SEVILLE ST                     HOUGHTON ST                   HENRY AVE
HOUGHTON ST                    SEVILLE ST                    MARKLE ST
HOUGHTON ST                    HERMIT ST                     SEVILLE ST
MITCHELL ST                    SEVILLE ST                    MARKLE ST
HERMIT ST                      MITCHELL ST                   RIGHTER ST
MITCHELL ST                    RIDGE AVE                     HERMIT ST
SEVILLE ST                     RIDGE AVE                     HOUGHTON ST
RIGHTER ST                     ROCK ST                       SALAIGNAC ST
LAURISTON ST                   RIGHTER ST                    VICARIS ST
RIGHTER ST                     LAURISTON ST                  ROCK ST
RIGHTER ST                     LAURISTON ST                  LAURISTON ST
LAURISTON ST                   RIDGE AVE                     RIGHTER ST
RIGHTER ST                     DAWSON ST                     LAURISTON ST
KALOS ST                       RIGHTER ST                    DEAD END EAST
RIGHTER ST                     KALOS ST                      OSBORN ST
MANAYUNK AVE                   OSBORN ST                     OSBORN ST
KALOS ST                       MANAYUNK AVE                  RIGHTER ST
RIGHTER ST                     SUMAC ST                      KALOS ST
MANAYUNK AVE                   SUMAC ST                      KALOS ST
MANAYUNK AVE                   ROCHELLE AVE                  SUMAC ST
DAWSON ST                      RIDGE AVE                     RIGHTER ST
BARNES ST                      HERMIT LN                     HENRY AVE
HERMIT TER                     CUL DE SAC SOUTH              BARNES ST
QUENTIN ST                     SALAIGNAC ST                  BARNES ST
VICARIS ST                     SALAIGNAC ST                  CUL DE SAC NORTH
VICARIS ST                     ROCK ST                       SALAIGNAC ST
VICARIS ST                     LAURISTON ST                  ROCK ST
VICARIS ST                     OSBORN ST                     LAURISTON ST
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VICARIS ST                      SUMAC ST                      OSBORN ST
VICARIS ST                      ROCHELLE AVE                  SUMAC ST
ROCHELLE AVE                    RETTA ST                      VICARIS ST
SUMAC ST                        RIGHTER ST                    FREELAND AVE
ROCHELLE AVE                    FREELAND AVE                  RETTA ST
SUMAC ST                        MANAYUNK AVE                  RIGHTER ST
KALOS ST                        ROCHELLE AVE                  MANAYUNK AVE
SUMAC ST                        ROCHELLE AVE                  MANAYUNK AVE
ROCHELLE AVE                    MANAYUNK AVE                  FREELAND AVE
HERMIT LN                       BARNES ST                     HERMIT ST
MIDVALE AVE                     EAST RIVER RD                 KELLY DR
KELLY DR                        S FERRY RD                    N FERRY RD
VAUX ST                         WARDEN DR                     W SCHOOL HOUSE LN
VAUX ST                         W COULTER ST                  WARDEN DR
WEIGHTMAN ST                    GYPSY LN                      CRESSON ST
WINONA ST                       GYPSY LN                      CRESSON ST
W EARLHAM ST                    GYPSY LN                      CRESSON ST
CRESSON ST                      MERRICK RD                    GYPSY LN
FISK AVE                        DOBSON ST                     CRESSON ST
CRESSON ST                      FISK AVE                      MERRICK RD
W COULTER ST                    HENRY AVE                     VAUX ST
W COULTER ST                    VAUX ST                       WARDEN DR
DOBSON ST                       FISK AVE                      MERRICK RD
DOBSON ST                       CALUMET ST                    FISK AVE
CALUMET ST                      DOBSON ST                     CRESSON ST
CONRAD ST                       W PENN ST                     MIDVALE AVE
CONRAD ST                       NEW QUEEN ST                  W QUEEN LN
CONRAD ST                       TILDEN ST                     NEW QUEEN ST
CONRAD ST                       AINSLIE ST                    TILDEN ST
CONRAD ST                       SUNNYSIDE AVE                 AINSLIE ST
CONRAD ST                       DIVISION ST                   SUNNYSIDE AVE
CONRAD ST                       BOWMAN ST                     DIVISION ST
CONRAD ST                       INDIAN QUEEN LN               BOWMAN ST
CRAWFORD ST                     SCOTTS LN                     CONRAD ST
CONRAD ST                       CRAWFORD ST                   INDIAN QUEEN LN
AINSLIE ST                      CONRAD ST                     CRESSON ST
STANTON ST                      FREDERICK ST                  RIDGE AVE
EVELINE ST                      FREDERICK ST                  RIDGE AVE
CRESSON ST                      AINSLIE ST                    LAFAYETTE ST
CRESSON ST                      SUNNYSIDE AVE                 AINSLIE ST
CRESSON ST                      BOWMAN ST                     SUNNYSIDE AVE
CRESSON ST                      INDIAN QUEEN LN               BOWMAN ST
VAUX ST                         W PENN ST                     MIDVALE AVE
W QUEEN LN                      HENRY AVE                     VAUX ST
AINSLIE ST                      HENRY AVE                     OSMOND ST
VAUX ST                         TILDEN ST                     W QUEEN LN
TILDEN ST                       HENRY AVE                     VAUX ST
VAUX ST                         TILDEN ST                     TILDEN ST
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AINSLIE ST                    OSMOND ST                     BARCLAY ST
VAUX ST                       AINSLIE ST                    TILDEN ST
AINSLIE ST                    BARCLAY ST                    VAUX ST
VAUX ST                       AINSLIE ST                    AINSLIE ST
BOWMAN ST                     HENRY AVE                     OSMOND ST
VAUX ST                       SUNNYSIDE AVE                 AINSLIE ST
W QUEEN LN                    VAUX ST                       CONRAD ST
BOWMAN ST                     OSMOND ST                     BARCLAY ST
BARCLAY ST                    BOWMAN ST                     AINSLIE ST
BOWMAN ST                     BARCLAY ST                    VAUX ST
DIVISION ST                   DEAD END EAST                 CONRAD ST
NEW QUEEN ST                  CONRAD ST                     CRESSON ST
SCOTTS LN                     CRAWFORD ST                   INDIAN QUEEN LN
BOWMAN ST                     CONRAD ST                     CRESSON ST
WIEHLE ST                     INDIAN QUEEN LN               CUL DE SAC WEST
FREDERICK ST                  EVELINE ST                    STANTON ST
CRESWELL ST                   DEAD END EAST                 MIDVALE AVE
FREDERICK ST                  MIDVALE AVE                   EVELINE ST
KRAIL ST                      HAYWOOD ST                    INDIAN QUEEN LN
W PENN ST                     HENRY AVE                     VAUX ST
VAUX ST                       W PENN ST                     W PENN ST
W PENN ST                     VAUX ST                       CONRAD ST
TILDEN ST                     VAUX ST                       CONRAD ST
SUNNYSIDE AVE                 CONRAD ST                     CRESSON ST
AINSLIE ST                    VAUX ST                       CONRAD ST
W WESTMORELAND ST             W WILLARD ST                  N SPANGLER ST
N 35TH ST                     W ALLEGHENY AVE               SUGDENS ROW
N 33RD ST                     W ALLEGHENY AVE               W HILTON ST
W HILTON ST                   N 32ND ST                     N 33RD ST
N 32ND ST                     W ALLEGHENY AVE               W HILTON ST
N 32ND ST                     W HILTON ST                   W WILLARD ST
W WILLARD ST                  N 32ND ST                     W WESTMORELAND ST
N 34TH ST                     W LIPPINCOTT ST               W ALLEGHENY AVE
N SHEDWICK ST                 W LIPPINCOTT ST               W ALLEGHENY AVE
W LIPPINCOTT ST               N 34TH ST                     N SHEDWICK ST
N 33RD ST                     W LIPPINCOTT ST               W ALLEGHENY AVE
N NATRONA ST                  W LIPPINCOTT ST               W ALLEGHENY AVE
W LIPPINCOTT ST               N NATRONA ST                  N 33RD ST
N 32ND ST                     W LIPPINCOTT ST               W ALLEGHENY AVE
W LIPPINCOTT ST               N 32ND ST                     N NATRONA ST
N 21ST ST                     W ALLEGHENY AVE               W MADISON ST
N 20TH ST                     W TIOGA ST                    W ATLANTIC ST
N 19TH ST                     W WESTMORELAND ST             W ONTARIO ST
N 16TH ST                     W ALLEGHENY AVE               W WESTMORELAND ST
N 15TH ST                     W ALLEGHENY AVE               W HILTON ST
W WESTMORELAND ST             N GRATZ ST                    N 19TH ST
W ONTARIO ST                  N 19TH ST                     N UBER ST
W TIOGA ST                    N 19TH ST                     N 20TH ST
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W VENANGO ST                   N 20TH ST                     N 21ST ST
W ATLANTIC ST                  N 20TH ST                     N 21ST ST
N CARLISLE ST                  W ALLEGHENY AVE               W WESTMORELAND ST
N MARSTON ST                   PENNOCK ST                    W MADISON ST
N BAILEY ST                    W ALLEGHENY AVE               W WILLARD ST
N 26TH ST                      W ALLEGHENY AVE               W WILLARD ST
N 27TH ST                      W ALLEGHENY AVE               W WILLARD ST
N BAMBREY ST                   W ALLEGHENY AVE               W WILLARD ST
N ETTING ST                    W ALLEGHENY AVE               W MADISON ST
N STILLMAN ST                  W ALLEGHENY AVE               W WILLARD ST
N 17TH ST                      W LUZERNE ST                  W HUNTING PARK AVE
W CAYUGA ST                    N GRATZ ST                    N 19TH ST
MILNE ST                       BERKLEY ST                    MORRIS ST
W PRICE ST                     LEHMAN LN                     WISSAHICKON AVE
THE OAK RD                     MIDVALE AVE                   W SCHOOL HOUSE LN
E NETHERFIELD RD               W NETHERFIELD RD              W NETHERFIELD RD
W NETHERFIELD RD               E NETHERFIELD RD              E NETHERFIELD RD
W COULTER ST                   W NETHERFIELD RD              HENRY AVE
LINCOLN DR                     WISSAHICKON AVE               HARVEY ST
W RITTENHOUSE ST               WISSAHICKON AVE               LINCOLN DR
HOUGHTON ST                    JAMESTOWN AVE                 RECTOR ST
RIGHTER ST                     SALAIGNAC ST                  HERMIT ST
SUMAC ST                       FREELAND AVE                  VICARIS ST
GYPSY LN                       W SCHOOL HOUSE LN             LINCOLN DR
WARDEN DR                      HENRY AVE                     VAUX ST
WARDEN DR                      VAUX ST                       W COULTER ST
HAYWOOD ST                     KRAIL ST                      INDIAN QUEEN LN
N 35TH ST                      SUGDENS ROW                   W WESTMORELAND ST
N SPANGLER ST                  W ALLEGHENY AVE               W WESTMORELAND ST
N 33RD ST                      W HILTON ST                   W WILLARD ST
MITCHELL ST                    HERMIT ST                     SEVILLE ST
PECHIN ST                      SALAIGNAC ST                  HERMIT ST
OSBORN ST                      RIDGE AVE                     MANAYUNK AVE
SEVILLE ST                     MITCHELL ST                   RIDGE AVE
KINGSLEY ST                    HOUGHTON ST                   HENRY AVE
CRESSON ST                     CALUMET ST                    FISK AVE
CRESSON ST                     LAFAYETTE ST                  NEW QUEEN ST
FREELAND AVE                   ROCHELLE AVE                  SUMAC ST
KNOX ST                        HANSBERRY ST                  W QUEEN LN
W QUEEN LN                     MARION ST                     KNOX ST
W CAYUGA ST                    N 16TH ST                     N 17TH ST
W CAYUGA ST                    N 15TH ST                     N 16TH ST
W CAYUGA ST                    N 17TH ST                     N 18TH ST
HERMIT ST                      BRIDGET ST                    DANIEL ST
DANIEL ST                      HERMIT ST                     W WALNUT LN
ARCHER ST                      EARLHAM TER                   W COULTER ST
W COULTER ST                   MORRIS ST                     ARCHER ST
W COULTER ST                   ARCHER ST                     MIDVALE AVE
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W ABBOTTSFORD AVE              MC MICHAEL ST                 HENRY AVE
KELLY DR                       N FERRY RD                    MIDVALE AVE
ARNOLD ST                      DEAD END EAST                 MIDVALE AVE
EARLHAM TER                    ARCHER ST                     LAURENS ST
KINGSLEY ST                    DEAD END WEST                 HOUGHTON ST
LAURISTON ST                   RIDGE AVE                     SALAIGNAC ST
ROCHELLE AVE                   SUMAC ST                      KALOS ST
ROCHELLE AVE                   KALOS ST                      RIDGE AVE
RETTA ST                       DEAD END SOUTH                ROCHELLE AVE
FREELAND AVE                   DEAD END SOUTH                ROCHELLE AVE
W MADISON ST                   N ETTING ST                   N MARSTON ST
KELLY DR                       LINCOLN DR                    LINCOLN DRIVE RAMP E
LINCOLN DRIVE RAMP E           KELLY DR                      KELLY DRIVE RAMP H
HERMIT LN                      HERMIT LN                     BARNES ST
KELLY DR                       CALUMET ST                    KELLY DR
KELLY DR                       MIDVALE AVE                   FALLS RD
EAST RIVER RD                  MIDVALE AVE                   CALUMET ST
EAST RIVER RD                  N FERRY RD                    MIDVALE AVE
DANIEL ST                      NAOMI ST                      W KINGSLEY ST
RUFFNER ST                     N HICKS ST                    N 16TH ST
RUFFNER ST                     N 15TH ST                     N HICKS ST
N UBER ST                      W WESTMORELAND ST             W ONTARIO ST
SAINT PAUL ST                  N 16TH ST                     N 17TH ST
N 19TH ST                      DEAD END SOUTH                W ELEANOR ST
WAGNER AVE                     BELFIELD AVE                  N BOUVIER ST
DEACON ST                      WISSAHICKON AVE               KING ST
W LYCOMING ST                  N 16TH ST                     ELSER ST
STOKLEY ST                     ROBERTS AVE                   W ABBOTTSFORD AVE
LINCOLN DR                     GYPSY LN                      LINCOLN DRIVE RAMP A
LINCOLN DR                     RITTENHOUSETOWN LN            FORBIDDEN DR
LINCOLN DR                     W RITTENHOUSE ST              RITTENHOUSETOWN LN
KELLY DRIVE RAMP B             RIDGE AVE                     KELLY DR
RIDGE AVE RAMP J               KELLY DR                      CITY AVE RAMP F
CITY AVE RAMP C                CITY AVE RAMP N               KELLY DR
KELLY DRIVE RAMP H             LINCOLN DRIVE RAMP E          KELLY DR
CITY AVE RAMP M                KELLY DR                      CITY AVE RAMP N
LINCOLN DR                     LINCOLN DRIVE RAMP A          KELLY DR
KELLY DR                       LINCOLN DR                    CITY AVE RAMP C
LINCOLN DRIVE RAMP A           LINCOLN DR                    KELLY DRIVE RAMP B
KELLY DR                       CITY AVE RAMP C               KELLY DRIVE RAMP B
KELLY DR                       KELLY DRIVE RAMP H            KELLY DRIVE RAMP B
KELLY DR                       RIDGE AVE RAMP G              KELLY DRIVE RAMP H
KELLY DR                       LINCOLN DRIVE RAMP E          RIDGE AVE RAMP J
LINCOLN DRIVE RAMP E           KELLY DRIVE RAMP H            CITY AVE RAMP F
KELLY DR                       KELLY DR                      RIDGE AVE RAMP G
KELLY DR                       KELLY DR                      CITY AVE RAMP M
KELLY DR                       KELLY DRIVE RAMP K            RIDGE AVE RAMP J
KELLY DR                       CITY AVE RAMP M               KELLY DRIVE RAMP K
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KRAIL ST                      DEAD END SOUTH                HAYWOOD ST
S FERRY RD                    W ROOSEVELT BLVD RAMP F       KELLY DR
W ABBOTTSFORD AVE             W ROOSEVELT BLVD RAMP J       W ROOSEVELT BLVD RAMP G
W ABBOTTSFORD AVE             WISSAHICKON AVE               W ROOSEVELT BLVD RAMP K
N 15TH ST                     SAINT LUKES ST                W CAYUGA ST
N 16TH ST                     SAINT LUKES ST                W CAYUGA ST
SAINT LUKES ST                N 15TH ST                     N 16TH ST
SAINT LUKES ST                N CARLISLE ST                 N 15TH ST
MERRICK RD                    PALISADES DR                  RIDGE AVE
INDIAN QUEEN LN               HENRY AVE                     VAUX ST
INDIAN QUEEN LN               VAUX ST                       SCOTTS LN
INDIAN QUEEN LN               SCOTTS LN                     CONRAD ST
INDIAN QUEEN LN               CONRAD ST                     CRESSON ST
INDIAN QUEEN LN               HAYWOOD ST                    RIDGE AVE
INDIAN QUEEN LN               CRESSON ST                    WIEHLE ST
INDIAN QUEEN LN               WIEHLE ST                     KRAIL ST
INDIAN QUEEN LN               KRAIL ST                      HAYWOOD ST
CALUMET ST                    CRESSON ST                    SKIDOO ST
SKIDOO ST                     STANTON ST                    CALUMET ST
STANTON ST                    SKIDOO ST                     FREDERICK ST
W QUEEN LN                    KNOX ST                       KNOX ST
E GARFIELD ST                 GERMANTOWN AVE                WAKEFIELD ST
E SEYMOUR ST                  GERMANTOWN AVE                WAKEFIELD ST
E CLAPIER ST                  GERMANTOWN AVE                WAKEFIELD ST
LINCOLN DR                    FORBIDDEN DR                  HERMIT LN
PORTICO ST                    DEAD END EAST                 W SEYMOUR ST
N DOVER ST                    W ALLEGHENY AVE               W WILLARD ST
N NEWKIRK ST                  W ALLEGHENY AVE               W WILLARD ST
N BOUVIER ST                  W LOUDON ST                   WAGNER AVE
ROCHELLE AVE                  SUMAC ST                      MANAYUNK AVE
N GRATZ ST                    DALKEITH ST                   W CAYUGA ST
MC MICHAEL ST                 BERKELEY DR                   W ABBOTTSFORD AVE
E LOGAN ST                    GERMANTOWN AVE                WAKEFIELD ST
HENLEY ST                     HANSBERRY ST                  MANHEIM ST
W WESTMORELAND ST             N SPANGLER ST                 N 34TH ST
W WESTMORELAND ST             N 34TH ST                     N 35TH ST
N 34TH ST                     W ALLEGHENY AVE               W WESTMORELAND ST
RECTOR ST                     HOUGHTON ST                   HENRY AVE
MAGDALENA ST                  WENDOVER ST                   JAMESTOWN AVE
RECTOR ST                     HENRY AVE                     MAGDALENA ST
JAMESTOWN AVE                 HENRY AVE                     MAGDALENA ST
WENDOVER ST                   HENRY AVE                     MAGDALENA ST
ROXBOROUGH AVE                HENRY AVE                     MAGDALENA ST
MAGDALENA ST                  JAMESTOWN AVE                 RECTOR ST
BARNES ST                     HERMIT TER                    HERMIT LN
HOUGHTON PL                   CUL DE SAC SOUTH              BARNES ST
BARNES ST                     QUENTIN ST                    HOUGHTON PL
BARNES ST                     HOUGHTON PL                   HERMIT TER
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SALAIGNAC ST                  RIGHTER ST                    VICARIS ST
ROCK ST                       RIGHTER ST                    QUENTIN ST
QUENTIN ST                    VICARIS ST                    SALAIGNAC ST
MANAYUNK AVE                  OSBORN ST                     RIDGE AVE
RIGHTER ST                    OSBORN ST                     DAWSON ST
MERRICK RD                    DOBSON ST                     CRESSON ST
GYPSY LN                      WEIGHTMAN ST                  W SCHOOL HOUSE LN
CRESSON ST                    WEIGHTMAN ST                  DEAD END WEST
GYPSY LN                      WINONA ST                     WEIGHTMAN ST
CRESSON ST                    WINONA ST                     WEIGHTMAN ST
GYPSY LN                      W EARLHAM ST                  WINONA ST
CRESSON ST                    W EARLHAM ST                  WINONA ST
CRESSON ST                    GYPSY LN                      W EARLHAM ST
GYPSY LN                      W EARLHAM ST                  CRESSON ST
WARDEN DR                     W COULTER ST                  MIDVALE AVE
CONRAD ST                     W QUEEN LN                    W PENN ST
VAUX ST                       W QUEEN LN                    W PENN ST
SUNNYSIDE AVE                 VAUX ST                       CONRAD ST
BOWMAN ST                     VAUX ST                       CONRAD ST
VAUX ST                       BOWMAN ST                     SUNNYSIDE AVE
OSMOND ST                     BOWMAN ST                     AINSLIE ST
VAUX ST                       INDIAN QUEEN LN               BOWMAN ST
SCHUYLER ST                   W ABBOTTSFORD AVE             W CLAPIER ST
W CLAPIER ST                  ERRINGER PL                   LAURENS ST
MANAYUNK AVE                  KALOS ST                      OSBORN ST
VAUX ST                       MIDVALE AVE                   W COULTER ST
N 20TH ST                     W ERIE AVE                    W AIRDRIE ST
W CLAPIER ST                  MC KEAN AVE                   ERRINGER PL
W ABBOTTSFORD AVE             MC KEAN AVE                   LAURENS ST
LAURENS ST                    W ABBOTTSFORD AVE             W CLAPIER ST
ERRINGER PL                   W CLAPIER ST                  MANHEIM ST
COPLEY RD                     W CLAPIER ST                  MANHEIM ST
W CLAPIER ST                  COPLEY RD                     WISSAHICKON AVE
JAMESTOWN AVE                 HOUGHTON ST                   HENRY AVE
OSBORN ST                     MANAYUNK AVE                  RIGHTER ST
SALAIGNAC ST                  VICARIS ST                    QUENTIN ST
PARK LN                       WISSAHICKON AVE               W WALNUT LN
W PRICE ST                    MORRIS ST                     LEHMAN LN
MIDVALE AVE                   MIDVALE AVE                   WISSAHICKON AVE
MIDVALE AVE                   MIDVALE AVE                   MIDVALE AVE
MC MICHAEL ST                 DEFENSE TER                   BERKELEY DR
MC MICHAEL ST                 AUTHORITY TER                 DEFENSE TER
MC MICHAEL ST                 ROBERTS AVE                   BERKELEY DR
N 18TH ST                     W ALBANUS ST                  W RUSCOMB ST
W RUSCOMB ST                  N 17TH ST                     N 18TH ST
W SEYMOUR ST                  ROYAL ST                      ROYAL ST
W WINGOHOCKING ST             N UBER ST                     N UBER ST
W WINGOHOCKING ST             N COLORADO ST                 N COLORADO ST
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W BRISTOL ST                   N HICKS ST                    N HICKS ST
N GRATZ ST                     DEAD END EAST                 DALKEITH ST
DALKEITH ST                    N GRATZ ST                    GERMANTOWN AVE
W WOODLAWN ST                  PULASKI AVE                   DEAD END SOUTH
N 26TH ST                      W WILLARD ST                  DEAD END NORTH
HERMIT LN                      HENRY AVE                     HERMIT LN
LINCOLN DR                     HERMIT LN                     GYPSY LN
MC MICHAEL ST                  BERKELEY DR                   MC MICHAEL ST
MC MICHAEL ST                  MC MICHAEL ST                 AUTHORITY TER
W ABBOTTSFORD AVE              FOX ST                        MC MICHAEL ST
W ABBOTTSFORD AVE              MC MICHAEL ST                 MC MICHAEL ST
SCOTTS LN                      SCOTTS LN                     CRAWFORD ST
SCOTTS LN                      RIDGE AVE                     SCOTTS LN
MERRICK RD                     EAST FALLS LN                 PALISADES DR
HERITAGE DR                    PALISADES DR                  RIDGE AVE
PALISADES DR                   HERITAGE DR                   MERRICK RD
PALISADES DR                   EAST FALLS LN                 HERITAGE DR
EAST FALLS LN                  PALISADES DR                  MERRICK RD
PALISADES DR                   CAPITAL VIEW DR               EAST FALLS LN
MERRICK RD                     CAPITAL VIEW DR               EAST FALLS LN
FOUNDERS PL                    DRIFTWOOD DR                  W SCHOOL HOUSE LN
CALUMET ST                     SKIDOO ST                     RIDGE AVE
CRESSON ST                     NEW QUEEN ST                  CALUMET ST
N 17TH ST                      ROWAN ST                      SAINT LUKES ST
SAINT LUKES ST                 N 16TH ST                     N 17TH ST
N 16TH ST                      SAINT LUKES ST                SAINT LUKES ST
W ABBOTTSFORD AVE              WISSAHICKON AVE               W ROOSEVELT BLVD RAMP J
W ABBOTTSFORD AVE              W ROOSEVELT BLVD RAMP K       W ROOSEVELT BLVD RAMP H
W ABBOTTSFORD AVE              W ROOSEVELT BLVD RAMP H       STOKLEY ST
N 16TH ST                      BELFIELD AVE                  WINDRIM AVE
WISSAHICKON TRANSFER STATION   RIDGE AVE                     DEAD END
KELLY DRIVE RAMP K             KELLY DR                      RIDGE AVE
OSBORN ST                      DAWSON ST                     VICARIS ST
W QUEEN LN                     WISSAHICKON AVE               WOODPIPE LN
W QUEEN LN                     WOODPIPE LN                   STOKLEY ST
STOKLEY ST                     W QUEEN LN                    WOODPIPE LN
STOKLEY ST                     WOODPIPE LN                   MIDVALE AVE
N FERRY RD                     W ROOSEVELT BLVD RAMP E       EAST RIVER RD
N FERRY RD                     EAST RIVER RD                 KELLY DR
HERMIT LN                      HERMIT LN                     HERMIT LN
NICE ST                        MC FERRAN ST                  W PIKE ST
FALLS CIR                      DRIFTWOOD DR                  RIVERVIEW LN
RIVERVIEW LN                   FALLS CIR                     DRIFTWOOD DR
DRIFTWOOD DR                   FALLS CIR                     FOUNDERS PL
DOUNTON ST                     WAYNE AVE                     TACOMA ST
TACOMA ST                      STAUB ST                      DOUNTON ST
CALUMET ST                     W COULTER ST                  POWERS ST
CALUMET ST                     POWERS ST                     DOBSON ST
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TACOMA ST                        DOUNTON ST                    WAYNE AVE
WAYNE AVE                        DOUNTON ST                    TACOMA ST
WAYNE AVE                        TACOMA ST                     W JUNIATA ST
RITTENHOUSETOWN LN               WISSAHICKON AVE               RITTENHOUSETOWN LN
RITTENHOUSETOWN LN               RITTENHOUSETOWN LN            LINCOLN DR
RITTENHOUSETOWN LN               RITTENHOUSETOWN LN            LINCOLN DRIVE TRL
LINCOLN DRIVE TRL                RITTENHOUSETOWN LN            HERMIT LN
LINCOLN DRIVE TRL                HERMIT LN                     RIDGE AVE
FORBIDDEN DR                     LINCOLN DR                    LINCOLN DRIVE TRL
N SCHUYLKILL RIVER TRL           FALLS RD                      DEAD END WEST
HERMIT LN                        LINCOLN DR                    HERMIT LN
HERMIT LN                        HERMIT LN                     LINCOLN DRIVE TRL
FORBIDDEN DR                     LINCOLN DRIVE TRL             FORBIDDEN DR
FORBIDDEN DR                     FORBIDDEN DR                  W MOUNT AIRY AVE
MORRIS ST                        W ABBOTTSFORD AVE             W ABBOTTSFORD AVE
SCHUYLER ST                      W ERIE AVE                    W HUNTING PARK AVE
W ABBOTTSFORD AVE                MORRIS ST                     W ABBOTTSFORD AVE
W ABBOTTSFORD AVE                W ABBOTTSFORD AVE             MC KEAN AVE
W ABBOTTSFORD AVE                MORRIS ST                     W ABBOTTSFORD AVE
FALLS RD                         NEILL DR                      CONSHOHOCKEN AVE
MERRICK RD                       DRIFTWOOD DR                  SCHUYLKILL FALLS LN
MERRICK RD                       SCHUYLKILL FALLS LN           CAPITAL VIEW DR
CAPITAL VIEW DR                  SCHUYLKILL FALLS LN           MERRICK RD
CAPITAL VIEW DR                  PALISADES DR                  SCHUYLKILL FALLS LN
HERMIT LN                        LINCOLN DRIVE TRL             YELLOW TRL
HERMIT LN                        YELLOW TRL                    HERMIT LN
N 16TH ST                        ROWAN ST                      SAINT LUKES ST
N 16TH ST                        ROWAN ST                      ROWAN ST
LINCOLN DR                       HARVEY ST                     MORRIS ST
W ROCKLAND ST                    N BROAD ST                    N CARLISLE ST
OLD YORK RD                      W ROCKLAND ST                 W ALBANUS ST
W ROCKLAND ST                    OLD YORK RD                   N BROAD ST
N 13TH ST                        W ROCKLAND ST                 W ALBANUS ST
W ROCKLAND ST                    N 13TH ST                     OLD YORK RD
N CAMAC ST                       W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                    N CAMAC ST                    N 13TH ST
N 12TH ST                        W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                    N 12TH ST                     N CAMAC ST
N MARVINE ST                     W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                    N MARVINE ST                  N 12TH ST
N 11TH ST                        W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                    N 11TH ST                     N MARVINE ST
N WARNOCK ST                     W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                    N WARNOCK ST                  N 11TH ST
N 10TH ST                        W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                    N 10TH ST                     N WARNOCK ST
N HUTCHINSON ST                  W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                    N HUTCHINSON ST               N 10TH ST
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N 9TH ST                       W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N 9TH ST                      N HUTCHINSON ST
OLD YORK RD                    W ELEANOR ST                  W ROCKLAND ST
N 8TH ST                       W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N 8TH ST                      N 9TH ST
N FRANKLIN ST                  W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N FRANKLIN ST                 N 8TH ST
N 13TH ST                      W ELEANOR ST                  W ROCKLAND ST
W ELEANOR ST                   N 13TH ST                     OLD YORK RD
N 7TH ST                       W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N 7TH ST                      N FRANKLIN ST
W ROCKLAND ST                  N MARSHALL ST                 N 7TH ST
N 6TH ST                       W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N 6TH ST                      N MARSHALL ST
N FAIRHILL ST                  W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N FAIRHILL ST                 N 6TH ST
W ROCKLAND ST                  N 5TH ST                      N FAIRHILL ST
OLD YORK RD                    W LOUDON ST                   W ELEANOR ST
W LOUDON ST                    OLD YORK RD                   N BROAD ST
W ROCKLAND ST                  N LAWRENCE ST                 N 5TH ST
N LAWRENCE ST                  W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                  N LAWRENCE ST                 N LAWRENCE ST
W ROCKLAND ST                  N LEITHGOW ST                 N LAWRENCE ST
N 4TH ST                       W ROCKLAND ST                 W ALBANUS ST
W ROCKLAND ST                  N 4TH ST                      N LEITHGOW ST
N 13TH ST                      W LOUDON ST                   W ELEANOR ST
W LOUDON ST                    N 13TH ST                     OLD YORK RD
N 3RD ST                       W ROCKLAND ST                 SULIS ST
W ROCKLAND ST                  N 3RD ST                      N 4TH ST
N CAMAC ST                     W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    N CAMAC ST                    N 13TH ST
W ROCKLAND ST                  W ROCKLAND ST                 N 3RD ST
N 12TH ST                      W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    N 12TH ST                     N CAMAC ST
N 2ND ST                       W ROCKLAND ST                 SULIS ST
W ROCKLAND ST                  W ROOSEVELT BLVD              W ROCKLAND ST
N MARVINE ST                   W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    N MARVINE ST                  N 12TH ST
N 11TH ST                      W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    N 11TH ST                     N MARVINE ST
W ROCKLAND ST                  W ROOSEVELT BLVD              W ROCKLAND ST
N WARNOCK ST                   W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    N WARNOCK ST                  N 11TH ST
N FAIRHILL ST                  W ELEANOR ST                  W ROCKLAND ST
N 10TH ST                      W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    N 10TH ST                     N WARNOCK ST
W ELEANOR ST                   N 5TH ST                      N FAIRHILL ST
N HUTCHINSON ST                W LOUDON ST                   W ROCKLAND ST
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W LOUDON ST                   N HUTCHINSON ST               N 10TH ST
W ROCKLAND ST                 MASCHER ST                    W ROOSEVELT BLVD
W ROCKLAND ST                 N HOWARD ST                   MASCHER ST
N 9TH ST                      W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                   N 9TH ST                      N HUTCHINSON ST
W ROCKLAND ST                 HOPE ST                       N HOWARD ST
OLD YORK RD                   W MENTOR ST                   W LOUDON ST
W ROCKLAND ST                 N FRONT ST                    HOPE ST
N 8TH ST                      W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                   N 8TH ST                      N 9TH ST
N 4TH ST                      W ROOSEVELT BLVD              W ROCKLAND ST
E ROCKLAND ST                 N FRONT ST                    RISING SUN AVE
N FRANKLIN ST                 W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                   N FRANKLIN ST                 N 8TH ST
N 13TH ST                     W MENTOR ST                   W LOUDON ST
W MENTOR ST                   N 13TH ST                     OLD YORK RD
N 7TH ST                      W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                   N 7TH ST                      N FRANKLIN ST
N 4TH ST                      W ROOSEVELT BLVD              W ROOSEVELT BLVD
A ST                          E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                 RISING SUN AVE                A ST
N MARSHALL ST                 W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                   N MARSHALL ST                 N 7TH ST
N LEITHGOW ST                 W ROCKLAND ST                 W ROOSEVELT BLVD
N 6TH ST                      W LOUDON ST                   W ROCKLAND ST
ELLA ST                       E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                 A ST                          ELLA ST
N 2ND ST                      W ROOSEVELT BLVD RAMP         BANKS WAY
W ROOSEVELT BLVD RAMP         W ROOSEVELT BLVD              N 2ND ST
N FAIRHILL ST                 W LOUDON ST                   W ELEANOR ST
W LOUDON ST                   N FAIRHILL ST                 N 6TH ST
B ST                          E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                 ELLA ST                       B ST
N LAWRENCE ST                 W ROOSEVELT BLVD              W ROCKLAND ST
ORMES ST                      E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                 B ST                          ORMES ST
W LOUDON ST                   N 5TH ST                      N FAIRHILL ST
N 4TH ST                      W ROOSEVELT BLVD              W ROOSEVELT BLVD
ROSEHILL ST                   E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                 ORMES ST                      ROSEHILL ST
C ST                          E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                 ROSEHILL ST                   C ST
W WYOMING AVE                 N BROAD ST                    N CARLISLE ST
N 4TH ST                      W ROOSEVELT BLVD              W ROOSEVELT BLVD
BOUDINOT ST                   E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                 C ST                          BOUDINOT ST
OLD YORK RD                   W WYOMING AVE                 W MENTOR ST
D ST                          E ROCKLAND ST                 E RUSCOMB ST
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E ROCKLAND ST                  BOUDINOT ST                   D ST
E ROCKLAND ST                  D ST                          GRANSBACK ST
N 13TH ST                      W WYOMING AVE                 W MENTOR ST
N 3RD ST                       W LOUDON ST                   N 4TH ST
GRANSBACK ST                   E ROCKLAND ST                 E RUSCOMB ST
E ROCKLAND ST                  GRANSBACK ST                  RORER ST
N CAMAC ST                     W WYOMING AVE                 W LOUDON ST
A ST                           E ELEANOR ST                  E ROCKLAND ST
E ELEANOR ST                   RISING SUN AVE                A ST
RORER ST                       E ROCKLAND ST                 E RUSCOMB ST
N 12TH ST                      W WYOMING AVE                 W LOUDON ST
N 3RD ST                       W LOUDON ST                   W LOUDON ST
E ROCKLAND ST                  RORER ST                      BINGHAM ST
N 2ND ST                       W LOUDON ST                   W ROOSEVELT BLVD RAMP
W LOUDON ST                    N 2ND ST                      N 3RD ST
BINGHAM ST                     E ROCKLAND ST                 E RUSCOMB ST
N MARVINE ST                   W WYOMING AVE                 W LOUDON ST
N 6TH ST                       W ROOSEVELT BLVD              W LOUDON ST
PALETHORP ST                   W LOUDON ST                   W ROOSEVELT BLVD
B ST                           E ELEANOR ST                  E ROCKLAND ST
E ELEANOR ST                   A ST                          B ST
N 11TH ST                      W WYOMING AVE                 W LOUDON ST
N 4TH ST                       W LOUDON ST                   W ROOSEVELT BLVD
N WARNOCK ST                   W WYOMING AVE                 W LOUDON ST
N 10TH ST                      W WYOMING AVE                 W LOUDON ST
W LOUDON ST                    MASCHER ST                    PALETHORP ST
C ST                           E ELEANOR ST                  E ROCKLAND ST
E ELEANOR ST                   B ST                          C ST
N HUTCHINSON ST                W WYOMING AVE                 W LOUDON ST
W LOUDON ST                    N 3RD ST                      N 4TH ST
N HOWARD ST                    W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    N HOWARD ST                   MASCHER ST
HOPE ST                        W LOUDON ST                   W ROCKLAND ST
W LOUDON ST                    HOPE ST                       N HOWARD ST
W LOUDON ST                    RISING SUN AVE                HOPE ST
N MARSHALL ST                  W ROOSEVELT BLVD              W LOUDON ST
N 9TH ST                       W WYOMING AVE                 W LOUDON ST
W LOUDON ST                    N FRONT ST                    RISING SUN AVE
N 3RD ST                       W MENTOR ST                   W LOUDON ST
D ST                           E ELEANOR ST                  E ROCKLAND ST
E ELEANOR ST                   C ST                          D ST
BINGHAM ST                     RORER ST                      E ROCKLAND ST
N FRANKLIN ST                  W WYOMING AVE                 W LOUDON ST
A ST                           E LOUDON ST                   E ELEANOR ST
E LOUDON ST                    N FRONT ST                    A ST
N 4TH ST                       W MENTOR ST                   W LOUDON ST
W MENTOR ST                    N 4TH ST                      N LAWRENCE ST
E LOUDON ST                    A ST                          ELLA ST
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N 2ND ST                      W MENTOR ST                   W LOUDON ST
W MENTOR ST                   N 2ND ST                      N 3RD ST
N 3RD ST                      W MENTOR ST                   W MENTOR ST
W MENTOR ST                   N 3RD ST                      N 4TH ST
B ST                          E LOUDON ST                   E ELEANOR ST
E LOUDON ST                   ELLA ST                       B ST
E LOUDON ST                   B ST                          ROSEHILL ST
RORER ST                      BINGHAM ST                    E ROCKLAND ST
N FAIRHILL ST                 W WYOMING AVE                 W ROOSEVELT BLVD
C ST                          E LOUDON ST                   E ELEANOR ST
E LOUDON ST                   ROSEHILL ST                   C ST
W COURTLAND ST                BELFIELD AVE                  N CARLISLE ST
N LAWRENCE ST                 W WYOMING AVE                 W MENTOR ST
OLD YORK RD                   W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                OLD YORK RD                   BELFIELD AVE
D ST                          E LOUDON ST                   E ELEANOR ST
E LOUDON ST                   C ST                          D ST
N 4TH ST                      W WYOMING AVE                 W MENTOR ST
E LOUDON ST                   D ST                          GRANSBACK ST
GRANSBACK ST                  E LOUDON ST                   E ROCKLAND ST
N 13TH ST                     W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N 13TH ST                     OLD YORK RD
E LOUDON ST                   GRANSBACK ST                  BINGHAM ST
N 3RD ST                      W WYOMING AVE                 W MENTOR ST
BINGHAM ST                    E LOUDON ST                   RORER ST
A ST                          E MENTOR ST                   E LOUDON ST
E MENTOR ST                   N FRONT ST                    A ST
N CAMAC ST                    W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N CAMAC ST                    N 13TH ST
E LOUDON ST                   BINGHAM ST                    RORER ST
N 8TH ST                      W ROOSEVELT BLVD              W WYOMING AVE
N 12TH ST                     W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N 12TH ST                     N CAMAC ST
ELLA ST                       E MENTOR ST                   E LOUDON ST
E MENTOR ST                   A ST                          ELLA ST
N MARVINE ST                  W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N MARVINE ST                  N 12TH ST
E LOUDON ST                   RORER ST                      WHITAKER AVE
N 2ND ST                      W WYOMING AVE                 W MENTOR ST
N FAIRHILL ST                 W LURAY ST                    W WYOMING AVE
E LOUDON ST                   WHITAKER AVE                  TAMPA ST
N 11TH ST                     W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N 11TH ST                     N MARVINE ST
C ST                          E MENTOR ST                   E LOUDON ST
N WARNOCK ST                  W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N WARNOCK ST                  N 11TH ST
N 10TH ST                     W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N 10TH ST                     N WARNOCK ST
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RORER ST                      E WYOMING AVE                 E LOUDON ST
W LURAY ST                    N 5TH ST                      N FAIRHILL ST
D ST                          E MENTOR ST                   E LOUDON ST
E MENTOR ST                   C ST                          D ST
N HUTCHINSON ST               W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N HUTCHINSON ST               N 10TH ST
W COURTLAND ST                W ROOSEVELT BLVD              N HUTCHINSON ST
N 4TH ST                      W LURAY ST                    W WYOMING AVE
W LURAY ST                    N 4TH ST                      N 5TH ST
N 7TH ST                      W LURAY ST                    W ROOSEVELT BLVD
PALETHORP ST                  TIBER ST                      W WYOMING AVE
N 6TH ST                      W LURAY ST                    W ROOSEVELT BLVD
W LURAY ST                    N 6TH ST                      N 7TH ST
LARGE ST                      RUTLAND ST                    ARROTT ST
HORROCKS ST                   HERBERT ST                    FOULKROD ST
N 7TH ST                      W COURTLAND ST                W LURAY ST
W COURTLAND ST                N 7TH ST                      W ROOSEVELT BLVD
A ST                          E WYOMING AVE                 E MENTOR ST
ELLA ST                       E WYOMING AVE                 E MENTOR ST
TIBER ST                      RISING SUN AVE                PALETHORP ST
B ST                          E WYOMING AVE                 E LOUDON ST
N FAIRHILL ST                 W COURTLAND ST                W LURAY ST
BINGHAM ST                    D ST                          E LOUDON ST
ROSEHILL ST                   E WYOMING AVE                 E LOUDON ST
PALETHORP ST                  W LURAY ST                    TIBER ST
N 8TH ST                      W RAYMOND ST                  W ROOSEVELT BLVD
W COURTLAND ST                N 5TH ST                      N FAIRHILL ST
C ST                          E WYOMING AVE                 E MENTOR ST
W WINGOHOCKING ST             N BROAD ST                    N CARLISLE ST
RUTLAND ST                    OVERINGTON ST                 LARGE ST
W LURAY ST                    RISING SUN AVE                PALETHORP ST
N 7TH ST                      W RAYMOND ST                  W COURTLAND ST
W RAYMOND ST                  N 7TH ST                      N 8TH ST
TAMPA ST                      E WYOMING AVE                 E LOUDON ST
W LURAY ST                    N FRONT ST                    RISING SUN AVE
N 4TH ST                      W COURTLAND ST                W LURAY ST
W COURTLAND ST                N 4TH ST                      N 5TH ST
D ST                          E WYOMING AVE                 E MENTOR ST
OLD YORK RD                   BELFIELD AVE                  W COURTLAND ST
W WINGOHOCKING ST             BELFIELD AVE                  N BROAD ST
N 13TH ST                     W WINGOHOCKING ST             W COURTLAND ST
W WINGOHOCKING ST             N 13TH ST                     BELFIELD AVE
N 3RD ST                      W COURTLAND ST                W WYOMING AVE
W COURTLAND ST                N 3RD ST                      N 4TH ST
OAKLAND ST                    HERBERT ST                    FOULKROD ST
HERBERT ST                    HORROCKS ST                   OAKLAND ST
HORROCKS ST                   ARROTT ST                     HERBERT ST
N CAMAC ST                    W WINGOHOCKING ST             W COURTLAND ST
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W WINGOHOCKING ST             N CAMAC ST                    N 13TH ST
PALETHORP ST                  W THELMA ST                   W LURAY ST
A ST                          E LURAY ST                    E WYOMING AVE
E LURAY ST                    N FRONT ST                    A ST
N 12TH ST                     W WINGOHOCKING ST             W COURTLAND ST
W WINGOHOCKING ST             N 12TH ST                     N CAMAC ST
N 10TH ST                     W ROOSEVELT BLVD              W COURTLAND ST
N 6TH ST                      W ANNSBURY ST                 W LURAY ST
W COURTLAND ST                N 6TH ST                      N 7TH ST
N 8TH ST                      W ANNSBURY ST                 W RAYMOND ST
N MARVINE ST                  W WINGOHOCKING ST             W COURTLAND ST
W WINGOHOCKING ST             N MARVINE ST                  N 12TH ST
W THELMA ST                   RISING SUN AVE                PALETHORP ST
D ST                          E LURAY ST                    E WYOMING AVE
N 11TH ST                     W WINGOHOCKING ST             W COURTLAND ST
W WINGOHOCKING ST             N 11TH ST                     N MARVINE ST
N 4TH ST                      W RAYMOND ST                  W COURTLAND ST
W RAYMOND ST                  N 4TH ST                      N 5TH ST
W ANNSBURY ST                 N FAIRHILL ST                 N 6TH ST
N 7TH ST                      W ANNSBURY ST                 W RAYMOND ST
W ANNSBURY ST                 N 7TH ST                      N 8TH ST
OVERINGTON ST                 RUTLAND ST                    NAPLES ST
N WARNOCK ST                  W WINGOHOCKING ST             W COURTLAND ST
W WINGOHOCKING ST             N WARNOCK ST                  N 11TH ST
W ANNSBURY ST                 N REESE ST                    N FAIRHILL ST
W WINGOHOCKING ST             W ROOSEVELT BLVD              N WARNOCK ST
BLAVIS ST                     OLD YORK RD                   N BROAD ST
N 3RD ST                      W RAYMOND ST                  W COURTLAND ST
W RAYMOND ST                  N 3RD ST                      N 4TH ST
BLAVIS ST                     N BROAD ST                    N 15TH ST
N 6TH ST                      W ANNSBURY ST                 W ANNSBURY ST
W ANNSBURY ST                 N 6TH ST                      N 7TH ST
W ANNSBURY ST                 N 5TH ST                      N REESE ST
ADAMS AVE                     ORTHODOX ST                   CASTOR AVE
PALETHORP ST                  W RAYMOND ST                  W THELMA ST
W ANNSBURY ST                 N LAWRENCE ST                 N 5TH ST
W COURTLAND ST                N HOWARD ST                   RISING SUN AVE
TAMPA ST                      E THELMA ST                   E WYOMING AVE
W WINGOHOCKING ST             N 9TH ST                      W ROOSEVELT BLVD
N 4TH ST                      W ANNSBURY ST                 W RAYMOND ST
W ANNSBURY ST                 N 4TH ST                      N LAWRENCE ST
W COURTLAND ST                E COURTLAND ST                N HOWARD ST
W RAYMOND ST                  RISING SUN AVE                PALETHORP ST
OAKLAND ST                    ARROTT ST                     HERBERT ST
N 8TH ST                      W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N 8TH ST                      N 9TH ST
W ANNSBURY ST                 N ORIANNA ST                  N 4TH ST
E COURTLAND ST                N FRONT ST                    N LEE ST
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E LURAY ST                    D ST                          WHITAKER AVE
HORROCKS ST                   OVERINGTON ST                 ARROTT ST
OVERINGTON ST                 NAPLES ST                     HORROCKS ST
N 3RD ST                      W ANNSBURY ST                 W RAYMOND ST
W ANNSBURY ST                 N 3RD ST                      N ORIANNA ST
W WINGOHOCKING ST             N FRANKLIN ST                 N 8TH ST
W ANNSBURY ST                 N BODINE ST                   N 3RD ST
N 7TH ST                      W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N 7TH ST                      N FRANKLIN ST
A ST                          E COURTLAND ST                E LURAY ST
E COURTLAND ST                N LEE ST                      A ST
W WINGOHOCKING ST             N MARSHALL ST                 N 7TH ST
N 6TH ST                      W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N 6TH ST                      N MARSHALL ST
ELLA ST                       E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                A ST                          ELLA ST
PALETHORP ST                  SABER ST                      W RAYMOND ST
LARGE ST                      ORTHODOX ST                   RUTLAND ST
E COURTLAND ST                ELLA ST                       DEAD END EAST
D ST                          E THELMA ST                   E LURAY ST
SABER ST                      RISING SUN AVE                PALETHORP ST
N REESE ST                    W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N REESE ST                    N FAIRHILL ST
W ROOSEVELT BLVD              OLD YORK RD                   N BROAD ST
E THELMA ST                   D ST                          WHITAKER AVE
W WINGOHOCKING ST             N 5TH ST                      N REESE ST
ROSEHILL ST                   E COURTLAND ST                E WYOMING AVE
W CAYUGA ST                   N BROAD ST                    N 15TH ST
C ST                          E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                ROSEHILL ST                   C ST
N LAWRENCE ST                 W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N LAWRENCE ST                 N 5TH ST
A ST                          DEAD END SOUTH                E COURTLAND ST
E THELMA ST                   WHITAKER AVE                  TAMPA ST
OAKLAND ST                    OVERINGTON ST                 ARROTT ST
OVERINGTON ST                 HORROCKS ST                   OAKLAND ST
BOUDINOT ST                   E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                C ST                          BOUDINOT ST
PALETHORP ST                  W ANNSBURY ST                 SABER ST
N 4TH ST                      W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N 4TH ST                      N LAWRENCE ST
N ORIANNA ST                  W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N ORIANNA ST                  N 4TH ST
HURLEY ST                     E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                BOUDINOT ST                   HURLEY ST
N 3RD ST                      W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N 3RD ST                      N ORIANNA ST
W ANNSBURY ST                 RISING SUN AVE                PALETHORP ST
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D ST                          E COURTLAND ST                E THELMA ST
E COURTLAND ST                HURLEY ST                     D ST
N BODINE ST                   W WINGOHOCKING ST             W ANNSBURY ST
W WINGOHOCKING ST             N BODINE ST                   N 3RD ST
E COURTLAND ST                D ST                          WHITAKER AVE
SAINT LUKES ST                N BROAD ST                    N CARLISLE ST
W WINGOHOCKING ST             N AMERICAN ST                 N BODINE ST
NAPLES ST                     ORTHODOX ST                   OVERINGTON ST
E COURTLAND ST                WHITAKER AVE                  TAMPA ST
N LAWRENCE ST                 CASKEY ST                     W WINGOHOCKING ST
CASKEY ST                     N LAWRENCE ST                 N 5TH ST
LARGE ST                      ADAMS AVE                     ORTHODOX ST
ADAMS AVE                     LARGE ST                      ORTHODOX ST
TAMPA ST                      E COURTLAND ST                E THELMA ST
N FAIRHILL ST                 BLAVIS ST                     W WINGOHOCKING ST
PALETHORP ST                  W WINGOHOCKING ST             W ANNSBURY ST
N REESE ST                    BLAVIS ST                     W WINGOHOCKING ST
BLAVIS ST                     N REESE ST                    N FAIRHILL ST
WEYMOUTH ST                   E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                DEAD END WEST                 WEYMOUTH ST
BLAVIS ST                     N 5TH ST                      N REESE ST
W WINGOHOCKING ST             RISING SUN AVE                PALETHORP ST
REACH ST                      E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                WEYMOUTH ST                   REACH ST
HORROCKS ST                   ORTHODOX ST                   OVERINGTON ST
W CAYUGA ST                   N 10TH ST                     N 10TH ST
N LAWRENCE ST                 BLAVIS ST                     CASKEY ST
BLAVIS ST                     N LAWRENCE ST                 N 5TH ST
W CAYUGA ST                   N 9TH ST                      N 10TH ST
N HOWARD ST                   W WINGOHOCKING ST             W COURTLAND ST
W WINGOHOCKING ST             N HOWARD ST                   RISING SUN AVE
E COURTLAND ST                REACH ST                      G ST
W CAYUGA ST                   N DARIEN ST                   N 9TH ST
N 8TH ST                      W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N 8TH ST                      N DARIEN ST
W WINGOHOCKING ST             E WINGOHOCKING ST             N HOWARD ST
PENHURST ST                   E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                G ST                          PENHURST ST
N LEE ST                      E WINGOHOCKING ST             E COURTLAND ST
E WINGOHOCKING ST             N FRONT ST                    N LEE ST
N FRANKLIN ST                 W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N FRANKLIN ST                 N 8TH ST
N 10TH ST                     N 10TH ST                     W CAYUGA ST
N 10TH ST                     N 10TH ST                     W CAYUGA ST
E WINGOHOCKING ST             N LEE ST                      DEAD END EAST
SHELBOURNE ST                 E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                PENHURST ST                   SHELBOURNE ST
N 7TH ST                      W CAYUGA ST                   W WINGOHOCKING ST
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W CAYUGA ST                   N 7TH ST                      N FRANKLIN ST
H ST                          E COURTLAND ST                E WYOMING AVE
E COURTLAND ST                SHELBOURNE ST                 H ST
N MARSHALL ST                 W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N MARSHALL ST                 N 7TH ST
WEYMOUTH ST                   E RAYMOND ST                  E COURTLAND ST
W CAYUGA ST                   N MARSHALL ST                 N MARSHALL ST
N LAWRENCE ST                 PURDY ST                      BLAVIS ST
PURDY ST                      N LAWRENCE ST                 N 5TH ST
N 6TH ST                      W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N 6TH ST                      N MARSHALL ST
OAKLAND ST                    ORTHODOX ST                   OVERINGTON ST
E RAYMOND ST                  WEYMOUTH ST                   G ST
D ST                          E COURTLAND ST                E WINGOHOCKING ST
W BRISTOL ST                  N BROAD ST                    N CARLISLE ST
W CAYUGA ST                   N 5TH ST                      N 6TH ST
W BRISTOL ST                  W ROOSEVELT BLVD              N BROAD ST
W BRISTOL ST                  N PARK AVE                    W ROOSEVELT BLVD
N LAWRENCE ST                 W CAYUGA ST                   PURDY ST
W CAYUGA ST                   N LAWRENCE ST                 N 5TH ST
WEYMOUTH ST                   E ANNSBURY ST                 E RAYMOND ST
OAKLAND ST                    GILLINGHAM ST                 ORTHODOX ST
OLD YORK RD                   W BRISTOL ST                  W ROOSEVELT BLVD
W BRISTOL ST                  OLD YORK RD                   N PARK AVE
N 4TH ST                      W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N 4TH ST                      N LAWRENCE ST
N 6TH ST                      N FAIRHILL ST                 W CAYUGA ST
N ORIANNA ST                  W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N ORIANNA ST                  N 4TH ST
PILLING ST                    ORTHODOX ST                   ARROTT ST
N 3RD ST                      W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N 3RD ST                      N ORIANNA ST
HURLEY ST                     E WINGOHOCKING ST             E COURTLAND ST
E WINGOHOCKING ST             DEAD END WEST                 HURLEY ST
N BODINE ST                   W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N BODINE ST                   N 3RD ST
E WINGOHOCKING ST             HURLEY ST                     D ST
E ANNSBURY ST                 WEYMOUTH ST                   G ST
N AMERICAN ST                 W CAYUGA ST                   W WINGOHOCKING ST
W CAYUGA ST                   N AMERICAN ST                 N BODINE ST
E WINGOHOCKING ST             WHITAKER AVE                  TAMPA ST
PENHURST ST                   E ANNSBURY ST                 E COURTLAND ST
E ANNSBURY ST                 G ST                          PENHURST ST
SHELBOURNE ST                 E ANNSBURY ST                 E COURTLAND ST
E ANNSBURY ST                 PENHURST ST                   SHELBOURNE ST
N LAWRENCE ST                 SAINT LUKES ST                W CAYUGA ST
SAINT LUKES ST                N LAWRENCE ST                 N 5TH ST
H ST                          E ANNSBURY ST                 E COURTLAND ST
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E ANNSBURY ST                    SHELBOURNE ST                 H ST
TAMPA ST                         E WINGOHOCKING ST             E COURTLAND ST
OAKLAND ST                       SELLERS ST                    GILLINGHAM ST
GILLINGHAM ST                    OAKLAND ST                    ELIZABETH ST
N DARIEN ST                      W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N DARIEN ST                   N 9TH ST
N 8TH ST                         W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N 8TH ST                      N DARIEN ST
N LAWRENCE ST                    SAINT PAUL ST                 SAINT LUKES ST
SAINT PAUL ST                    N LAWRENCE ST                 N 5TH ST
N FRANKLIN ST                    W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N FRANKLIN ST                 N 8TH ST
N 7TH ST                         W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N 7TH ST                      N FRANKLIN ST
GILLINGHAM ST                    ELIZABETH ST                  LEIPER ST
ADAMS AVE                        LARGE ST                      UNITY ST
N MARSHALL ST                    W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N MARSHALL ST                 N 7TH ST
RAMONA AVE                       H ST                          I ST
H ST                             RAMONA AVE                    E ANNSBURY ST
ELIZABETH ST                     SELLERS ST                    GILLINGHAM ST
SELLERS ST                       OAKLAND ST                    ELIZABETH ST
N 6TH ST                         W BRISTOL ST                  N FAIRHILL ST
W BRISTOL ST                     N 6TH ST                      N MARSHALL ST
SELLERS ST                       ELIZABETH ST                  E WINGOHOCKING ST
W BRISTOL ST                     N FAIRHILL ST                 N 6TH ST
N FAIRHILL ST                    W BRISTOL ST                  N 6TH ST
W BRISTOL ST                     N FAIRHILL ST                 N FAIRHILL ST
W BRISTOL ST                     N REESE ST                    N FAIRHILL ST
UNITY ST                         ADAMS AVE                     HORROCKS ST
SELLERS ST                       E WINGOHOCKING ST             ELIZABETH ST
N LAWRENCE ST                    W BRISTOL ST                  SAINT PAUL ST
W BRISTOL ST                     N LAWRENCE ST                 N 5TH ST
N PARK AVE                       W HUNTING PARK AVE            W BRISTOL ST
N 4TH ST                         W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N 4TH ST                      N LAWRENCE ST
I ST                             MALTA ST                      RAMONA AVE
N ORIANNA ST                     W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N ORIANNA ST                  N 4TH ST
RAMONA AVE                       G ST                          H ST
N 3RD ST                         W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N 3RD ST                      N ORIANNA ST
HURLEY ST                        MACALESTER ST                 E WINGOHOCKING ST
W CAYUGA ST                      W HUNTING PARK AVE            N 10TH ST
OLD YORK RD                      W HUNTING PARK AVE            W BRISTOL ST
N BODINE ST                      W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                     N BODINE ST                   N 3RD ST
LEIPER ST                        SELLERS ST                    GILLINGHAM ST
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SELLERS ST                    ELIZABETH ST                  LEIPER ST
SELLERS ST                    LEIPER ST                     N PENN ST
E WINGOHOCKING ST             OAKLAND ST                    SELLERS ST
OAKLAND ST                    E WINGOHOCKING ST             SELLERS ST
UNITY ST                      HORROCKS ST                   E WINGOHOCKING ST
N AMERICAN ST                 W BRISTOL ST                  W CAYUGA ST
W BRISTOL ST                  N AMERICAN ST                 N BODINE ST
W BRISTOL ST                  RISING SUN AVE                N AMERICAN ST
HORROCKS ST                   ADAMS AVE                     UNITY ST
ADAMS AVE                     UNITY ST                      HORROCKS ST
N 10TH ST                     W HUNTING PARK AVE            N 10TH ST
E WINGOHOCKING ST             ADAMS AVE                     OAKLAND ST
ADAMS AVE                     HORROCKS ST                   E WINGOHOCKING ST
UNITY ST                      OAKLAND ST                    PILLING ST
RAMONA AVE                    CUL DE SAC WEST               G ST
W JEROME ST                   N BROAD ST                    N 16TH ST
N DARIEN ST                   W HUNTING PARK AVE            W BRISTOL ST
OLD YORK RD                   W JEROME ST                   W HUNTING PARK AVE
W JEROME ST                   OLD YORK RD                   N BROAD ST
N 8TH ST                      W HUNTING PARK AVE            W BRISTOL ST
N FRANKLIN ST                 W HUNTING PARK AVE            W BRISTOL ST
H ST                          E CAYUGA ST                   RAMONA AVE
E CAYUGA ST                   G ST                          H ST
N 7TH ST                      W HUNTING PARK AVE            W BRISTOL ST
E CAYUGA ST                   H ST                          MALTA ST
ELIZABETH ST                  UNITY ST                      SELLERS ST
UNITY ST                      PILLING ST                    ELIZABETH ST
N MARSHALL ST                 W HUNTING PARK AVE            W BRISTOL ST
MALTA ST                      E CAYUGA ST                   I ST
E CAYUGA ST                   MALTA ST                      I ST
N 6TH ST                      W HUNTING PARK AVE            W BRISTOL ST
PILLING ST                    ADAMS AVE                     UNITY ST
ADAMS AVE                     E WINGOHOCKING ST             PILLING ST
I ST                          E CAYUGA ST                   MALTA ST
N FAIRHILL ST                 W HUNTING PARK AVE            W BRISTOL ST
E CAYUGA ST                   I ST                          PALMETTO ST
N REESE ST                    W HUNTING PARK AVE            W BRISTOL ST
E CAYUGA ST                   PALMETTO ST                   ELSINORE ST
OLD YORK RD                   COLWYN ST                     W JEROME ST
COLWYN ST                     OLD YORK RD                   N BROAD ST
E CAYUGA ST                   ELSINORE ST                   J ST
LEIPER ST                     UNITY ST                      SELLERS ST
UNITY ST                      ELIZABETH ST                  LEIPER ST
E CAYUGA ST                   J ST                          LAWNDALE ST
W LYCOMING ST                 N BROAD ST                    N 16TH ST
N AMERICAN ST                 W HUNTING PARK AVE            W BRISTOL ST
E CAYUGA ST                   LAWNDALE ST                   BENNINGTON ST
OLD YORK RD                   W LYCOMING ST                 COLWYN ST
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E CAYUGA ST                   BENNINGTON ST                 K ST
E CAYUGA ST                   K ST                          CLARIDGE ST
N 3RD ST                      W HUNTING PARK AVE            W BRISTOL ST
E CAYUGA ST                   CLARIDGE ST                   HOWLAND ST
N BODINE ST                   W HUNTING PARK AVE            W BRISTOL ST
E CAYUGA ST                   HOWLAND ST                    L ST
E CAYUGA ST                   L ST                          DUNGAN ST
FACTORY ST                    ADAMS AVE                     DEAD END NORTH
ADAMS AVE                     PILLING ST                    FACTORY ST
N PENN ST                     UNITY ST                      FARINA ST
UNITY ST                      LEIPER ST                     N PENN ST
E CAYUGA ST                   DUNGAN ST                     GLENDALE ST
UNITY ST                      N PENN ST                     GRISCOM ST
E CAYUGA ST                   GLENDALE ST                   M ST
W BRISTOL ST                  W HUNTING PARK AVE            N 2ND ST
E WINGOHOCKING ST             E CAYUGA ST                   CASTOR AVE
E CAYUGA ST                   M ST                          E WINGOHOCKING ST
ADAMS AVE                     FACTORY ST                    CHURCH ST
N 13TH ST                     KERBAUGH ST                   W LYCOMING ST
KERBAUGH ST                   N 13TH ST                     N BROAD ST
E CAYUGA ST                   E WINGOHOCKING ST             CASTOR AVE
N DARIEN ST                   W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                 N DARIEN ST                   N 9TH ST
E CAYUGA ST                   CASTOR AVE                    O ST
E CAYUGA ST                   O ST                          POTTER ST
E CAYUGA ST                   POTTER ST                     DEAD END EAST
N 8TH ST                      W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                 N 8TH ST                      N DARIEN ST
H ST                          E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                  G ST                          H ST
ELIZABETH ST                  CHURCH ST                     UNITY ST
CHURCH ST                     ADAMS AVE                     ELIZABETH ST
LEIPER ST                     IMOGENE ST                    UNITY ST
N FRANKLIN ST                 W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                 N FRANKLIN ST                 N 8TH ST
N 10TH ST                     W CAYUGA ST                   W HUNTING PARK AVE
MALTA ST                      E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                  H ST                          MALTA ST
W CAYUGA ST                   N 10TH ST                     W HUNTING PARK AVE
N 7TH ST                      W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                 N 7TH ST                      N FRANKLIN ST
OLD YORK RD                   W LUZERNE ST                  W LYCOMING ST
N MARSHALL ST                 W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                 N MARSHALL ST                 N 7TH ST
MACALESTER ST                 E HUNTING PARK AVE            WHITAKER AVE
I ST                          E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                  MALTA ST                      I ST
E BRISTOL ST                  I ST                          PALMETTO ST
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PALMETTO ST                      E BRISTOL ST                  E CAYUGA ST
N 6TH ST                         W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                    N 6TH ST                      N MARSHALL ST
W LUZERNE ST                     OLD YORK RD                   N 13TH ST
N 13TH ST                        W LUZERNE ST                  KERBAUGH ST
ELSINORE ST                      E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     PALMETTO ST                   ELSINORE ST
N FAIRHILL ST                    W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                    N FAIRHILL ST                 N 6TH ST
LEIPER ST                        CHURCH ST                     IMOGENE ST
CHURCH ST                        ELIZABETH ST                  LEIPER ST
J ST                             E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     ELSINORE ST                   J ST
N REESE ST                       W LYCOMING ST                 W HUNTING PARK AVE
W LYCOMING ST                    N REESE ST                    N FAIRHILL ST
W LYCOMING ST                    N 5TH ST                      N REESE ST
LAWNDALE ST                      E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     J ST                          LAWNDALE ST
N PENN ST                        IMOGENE ST                    UNITY ST
IMOGENE ST                       LEIPER ST                     N PENN ST
BENNINGTON ST                    E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     LAWNDALE ST                   BENNINGTON ST
N 10TH ST                        W LYCOMING ST                 W CAYUGA ST
E BRISTOL ST                     BENNINGTON ST                 K ST
LEIPER ST                        DEAD END SOUTH                CHURCH ST
K ST                             E BRISTOL ST                  E CAYUGA ST
KERBAUGH ST                      N BROAD ST                    ELSER ST
ELSER ST                         KERBAUGH ST                   W LYCOMING ST
KERBAUGH ST                      ELSER ST                      BOTT ST
E BRISTOL ST                     K ST                          CLARIDGE ST
CLARIDGE ST                      E BRISTOL ST                  E CAYUGA ST
ADAMS AVE                        RUAN ST                       CHURCH ST
E BRISTOL ST                     CLARIDGE ST                   CLARIDGE ST
HOWLAND ST                       E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     CLARIDGE ST                   HOWLAND ST
DELL ST                          W LUZERNE ST                  N BROAD ST
OLD YORK RD                      W LUZERNE ST                  W LUZERNE ST
L ST                             E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     HOWLAND ST                    L ST
N 12TH ST                        W LUZERNE ST                  W LYCOMING ST
W LUZERNE ST                     N 12TH ST                     OLD YORK RD
DUNGAN ST                        E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     L ST                          DUNGAN ST
N PENN ST                        CHURCH ST                     IMOGENE ST
CHURCH ST                        LEIPER ST                     N PENN ST
GLENDALE ST                      E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     DUNGAN ST                     GLENDALE ST
M ST                             E BRISTOL ST                  E CAYUGA ST
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E BRISTOL ST                     GLENDALE ST                   M ST
ELSER ST                         N BROAD ST                    KERBAUGH ST
E BRISTOL ST                     M ST                          MAYWOOD ST
RUAN ST                          ADAMS AVE                     LEIPER ST
N 10TH ST                        W LUZERNE ST                  W LYCOMING ST
W LUZERNE ST                     N 10TH ST                     N 12TH ST
E BRISTOL ST                     MAYWOOD ST                    MARKLAND ST
W LUZERNE ST                     N DELHI ST                    N 10TH ST
W LUZERNE ST                     N PERCY ST                    N DELHI ST
E BRISTOL ST                     MARKLAND ST                   CASTOR AVE
N 9TH ST                         W LUZERNE ST                  W LYCOMING ST
W LUZERNE ST                     N 9TH ST                      N PERCY ST
GRISCOM ST                       CHURCH ST                     UNITY ST
CHURCH ST                        N PENN ST                     GRISCOM ST
E BRISTOL ST                     CASTOR AVE                    NEILSON ST
MC FERRAN ST                     DEAD END EAST                 N PARK AVE
N DARIEN ST                      W LUZERNE ST                  W LYCOMING ST
W LUZERNE ST                     N DARIEN ST                   N 9TH ST
CHURCH ST                        GRISCOM ST                    FRANKFORD AVE
E BRISTOL ST                     NEILSON ST                    ORMOND ST
MC FERRAN ST                     N PARK AVE                    DELL ST
DELL ST                          MC FERRAN ST                  W LUZERNE ST
N 8TH ST                         W LUZERNE ST                  W LYCOMING ST
O ST                             E BRISTOL ST                  E CAYUGA ST
E BRISTOL ST                     ORMOND ST                     O ST
N FRANKLIN ST                    W LUZERNE ST                  W LYCOMING ST
E BRISTOL ST                     O ST                          POTTER ST
H ST                             E HUNTING PARK AVE            E BRISTOL ST
POTTER ST                        E BRISTOL ST                  E CAYUGA ST
N 7TH ST                         W LUZERNE ST                  W LYCOMING ST
MALTA ST                         E HUNTING PARK AVE            E BRISTOL ST
N MARSHALL ST                    W LUZERNE ST                  W LYCOMING ST
N PENN ST                        RUAN ST                       CHURCH ST
RUAN ST                          LEIPER ST                     N PENN ST
N 6TH ST                         W LUZERNE ST                  W LYCOMING ST
I ST                             E HUNTING PARK AVE            E BRISTOL ST
N FAIRHILL ST                    W LUZERNE ST                  W LYCOMING ST
PALMETTO ST                      E HUNTING PARK AVE            E BRISTOL ST
MC FERRAN ST                     DELL ST                       N BROAD ST
BOTT ST                          DEAD END SOUTH                KERBAUGH ST
N REESE ST                       W LUZERNE ST                  W LYCOMING ST
ELSINORE ST                      E HUNTING PARK AVE            E BRISTOL ST
W PIKE ST                        N BROAD ST                    NICE ST
J ST                             E HUNTING PARK AVE            E BRISTOL ST
LAWNDALE ST                      E HUNTING PARK AVE            E BRISTOL ST
RUAN ST                          N PENN ST                     GRISCOM ST
BENNINGTON ST                    E HUNTING PARK AVE            E BRISTOL ST
N PARK AVE                       W PIKE ST                     MC FERRAN ST
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W PIKE ST                        N PARK AVE                    N BROAD ST
GRISCOM ST                       RUAN ST                       CHURCH ST
RUAN ST                          GRISCOM ST                    GRISCOM ST
K ST                             E HUNTING PARK AVE            E BRISTOL ST
N 13TH ST                        W PIKE ST                     DEAD END NORTH
W PIKE ST                        N 13TH ST                     N PARK AVE
W PIKE ST                        N CAMAC ST                    N 13TH ST
OLD YORK RD                      W PIKE ST                     W LUZERNE ST
W PIKE ST                        OLD YORK RD                   N CAMAC ST
CLARIDGE ST                      E HUNTING PARK AVE            E BRISTOL ST
RUAN ST                          GRISCOM ST                    ROMAIN ST
L ST                             E HUNTING PARK AVE            E BRISTOL ST
RUAN ST                          ROMAIN ST                     FRANKFORD AVE
LEIPER ST                        ADAMS AVE                     RUAN ST
ADAMS AVE                        RUAN ST                       LEIPER ST
GLENDALE ST                      E HUNTING PARK AVE            E BRISTOL ST
M ST                             E HUNTING PARK AVE            E BRISTOL ST
N 10TH ST                        W PIKE ST                     W LUZERNE ST
N PENN ST                        WOMRATH ST                    RUAN ST
MAYWOOD ST                       E HUNTING PARK AVE            E BRISTOL ST
N DELHI ST                       W PIKE ST                     W LUZERNE ST
W PIKE ST                        N DELHI ST                    N 10TH ST
MARKLAND ST                      E HUNTING PARK AVE            E BRISTOL ST
N PERCY ST                       W PIKE ST                     W LUZERNE ST
W PIKE ST                        N PERCY ST                    N DELHI ST
N 9TH ST                         W PIKE ST                     W LUZERNE ST
W PIKE ST                        N 9TH ST                      N PERCY ST
N DARIEN ST                      W PIKE ST                     W LYCOMING ST
W PIKE ST                        N DARIEN ST                   N 9TH ST
NEILSON ST                       E HUNTING PARK AVE            E BRISTOL ST
N 8TH ST                         W PIKE ST                     W LUZERNE ST
W PIKE ST                        N 8TH ST                      N DARIEN ST
GRISCOM ST                       WOMRATH ST                    RUAN ST
WOMRATH ST                       N PENN ST                     GRISCOM ST
ORMOND ST                        E HUNTING PARK AVE            E BRISTOL ST
N FRANKLIN ST                    W PIKE ST                     W LUZERNE ST
W PIKE ST                        N FRANKLIN ST                 N 8TH ST
O ST                             LEIPER ST                     E BRISTOL ST
N 7TH ST                         W PIKE ST                     W LUZERNE ST
W PIKE ST                        N 7TH ST                      N FRANKLIN ST
LEIPER ST                        E HUNTING PARK AVE            DEAD END EAST
N MARSHALL ST                    W PIKE ST                     W LUZERNE ST
W PIKE ST                        N MARSHALL ST                 N 7TH ST
H ST                             E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    G ST                          H ST
N PENN ST                        ADAMS AVE                     WOMRATH ST
ADAMS AVE                        LEIPER ST                     N PENN ST
ROMAIN ST                        WOMRATH ST                    RUAN ST
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WOMRATH ST                       GRISCOM ST                    ROMAIN ST
N 6TH ST                         W PIKE ST                     W LUZERNE ST
W PIKE ST                        N 6TH ST                      N MARSHALL ST
N FAIRHILL ST                    W PIKE ST                     W LUZERNE ST
W PIKE ST                        N FAIRHILL ST                 N 6TH ST
I ST                             E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    H ST                          I ST
N REESE ST                       W PIKE ST                     W LUZERNE ST
W PIKE ST                        N REESE ST                    N FAIRHILL ST
E LUZERNE ST                     W LUZERNE ST                  WHITAKER AVE
E LYCOMING ST                    I ST                          PALMETTO ST
W PIKE ST                        N 5TH ST                      N REESE ST
W BUTLER ST                      N BROAD ST                    GERMANTOWN AVE
W PIKE ST                        RISING SUN AVE                N 5TH ST
W BUTLER ST                      N WATTS ST                    N BROAD ST
W PIKE ST                        N LAWRENCE ST                 RISING SUN AVE
J ST                             E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    PALMETTO ST                   J ST
N PARK AVE                       W BUTLER ST                   W PIKE ST
W BUTLER ST                      N PARK AVE                    N WATTS ST
WOMRATH ST                       ROMAIN ST                     KENSINGTON AVE
LAWNDALE ST                      E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    J ST                          LAWNDALE ST
GRISCOM ST                       ADAMS AVE                     WOMRATH ST
ADAMS AVE                        N PENN ST                     GRISCOM ST
N 13TH ST                        W BUTLER ST                   W PIKE ST
W BUTLER ST                      N 13TH ST                     N PARK AVE
BENNINGTON ST                    E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    LAWNDALE ST                   BENNINGTON ST
N CAMAC ST                       W BUTLER ST                   W PIKE ST
W BUTLER ST                      N CAMAC ST                    N 13TH ST
K ST                             E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    BENNINGTON ST                 K ST
E LUZERNE ST                     WHITAKER AVE                  D ST
OLD YORK RD                      W BUTLER ST                   W PIKE ST
W BUTLER ST                      OLD YORK RD                   N CAMAC ST
CLARIDGE ST                      E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    K ST                          CLARIDGE ST
ADAMS AVE                        GRISCOM ST                    ROMAIN ST
E LYCOMING ST                    CLARIDGE ST                   HOWLAND ST
L ST                             E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    HOWLAND ST                    L ST
DUNGAN ST                        E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    L ST                          DUNGAN ST
ROMAIN ST                        ADAMS AVE                     WOMRATH ST
ADAMS AVE                        ROMAIN ST                     ROMAIN ST
GLENDALE ST                      E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    DUNGAN ST                     GLENDALE ST
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N 10TH ST                        W BUTLER ST                   W PIKE ST
W BUTLER ST                      N 10TH ST                     DEAD END WEST
ROMAIN ST                        DEAL ST                       ADAMS AVE
DEAL ST                          DEAD END NORTH                ROMAIN ST
M ST                             E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    GLENDALE ST                   M ST
N DELHI ST                       W BUTLER ST                   W PIKE ST
W BUTLER ST                      N DELHI ST                    N 10TH ST
MAYWOOD ST                       E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    M ST                          MAYWOOD ST
N PERCY ST                       W BUTLER ST                   W PIKE ST
W BUTLER ST                      N PERCY ST                    N DELHI ST
MARKLAND ST                      E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    MAYWOOD ST                    MARKLAND ST
N 9TH ST                         W BUTLER ST                   W PIKE ST
W BUTLER ST                      N 9TH ST                      N PERCY ST
E LUZERNE ST                     D ST                          G ST
N DARIEN ST                      W BUTLER ST                   W PIKE ST
W BUTLER ST                      N DARIEN ST                   N 9TH ST
E LYCOMING ST                    MARKLAND ST                   CASTOR AVE
N 13TH ST                        W AIRDRIE ST                  W BUTLER ST
N 8TH ST                         W BUTLER ST                   W PIKE ST
W BUTLER ST                      N 8TH ST                      N DARIEN ST
ADAMS AVE                        ROMAIN ST                     KENSINGTON AVE
N REESE ST                       RISING SUN AVE                W PIKE ST
E LYCOMING ST                    CASTOR AVE                    NEILSON ST
N WATTS ST                       W AIRDRIE ST                  W BUTLER ST
W AIRDRIE ST                     N WATTS ST                    N BROAD ST
N FRANKLIN ST                    W BUTLER ST                   W PIKE ST
W BUTLER ST                      N FRANKLIN ST                 N 8TH ST
E LYCOMING ST                    NEILSON ST                    ORMOND ST
N PARK AVE                       W AIRDRIE ST                  W BUTLER ST
W AIRDRIE ST                     N PARK AVE                    N WATTS ST
OLD YORK RD                      W AIRDRIE ST                  W BUTLER ST
W AIRDRIE ST                     OLD YORK RD                   N 13TH ST
N 7TH ST                         W BUTLER ST                   W PIKE ST
W BUTLER ST                      N 7TH ST                      N FRANKLIN ST
H ST                             E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     G ST                          H ST
O ST                             E LYCOMING ST                 E HUNTING PARK AVE
E LYCOMING ST                    ORMOND ST                     O ST
DEAL ST                          ROMAIN ST                     KENSINGTON AVE
N MARSHALL ST                    W BUTLER ST                   W PIKE ST
W BUTLER ST                      N MARSHALL ST                 N 7TH ST
N 6TH ST                         W BUTLER ST                   W PIKE ST
W BUTLER ST                      N 6TH ST                      N MARSHALL ST
E LYCOMING ST                    O ST                          E HUNTING PARK AVE
N 13TH ST                        W ERIE AVE                    W AIRDRIE ST
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I ST                             E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     H ST                          I ST
N FAIRHILL ST                    W BUTLER ST                   W PIKE ST
W BUTLER ST                      RISING SUN AVE                N 6TH ST
E LUZERNE ST                     I ST                          PALMETTO ST
OLD YORK RD                      W ERIE AVE                    W AIRDRIE ST
E LUZERNE ST                     PALMETTO ST                   ELSINORE ST
W BUTLER ST                      N 5TH ST                      N RANDOLPH ST
E LUZERNE ST                     ELSINORE ST                   J ST
N LAWRENCE ST                    W BUTLER ST                   W PIKE ST
W BUTLER ST                      N LAWRENCE ST                 N 5TH ST
N PARK AVE                       W ERIE AVE                    W AIRDRIE ST
LAWNDALE ST                      E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     J ST                          LAWNDALE ST
BENNINGTON ST                    E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     LAWNDALE ST                   BENNINGTON ST
N 6TH ST                         RISING SUN AVE                W BUTLER ST
K ST                             E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     BENNINGTON ST                 K ST
O ST                             WORRELL ST                    E LYCOMING ST
ADAMS AVE                        KENSINGTON AVE                FRANKFORD AVE
CLARIDGE ST                      E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     K ST                          CLARIDGE ST
HOWLAND ST                       E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     CLARIDGE ST                   HOWLAND ST
L ST                             E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     HOWLAND ST                    L ST
WORRELL ST                       O ST                          POTTER ST
WORRELL ST                       POTTER ST                     E HUNTING PARK AVE
DUNGAN ST                        E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     L ST                          DUNGAN ST
N LAWRENCE ST                    W CAREY ST                    W BUTLER ST
W CAREY ST                       N LAWRENCE ST                 N 5TH ST
WORRELL ST                       E HUNTING PARK AVE            KENSINGTON AVE
W PACIFIC ST                     N BROAD ST                    N 15TH ST
N MARSHALL ST                    RISING SUN AVE                W BUTLER ST
GLENDALE ST                      E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     DUNGAN ST                     GLENDALE ST
N 10TH ST                        W ERIE AVE                    W BUTLER ST
M ST                             E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     GLENDALE ST                   M ST
O ST                             LEWIS ST                      WORRELL ST
N DELHI ST                       W ERIE AVE                    W BUTLER ST
MAYWOOD ST                       E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     M ST                          MAYWOOD ST
N PERCY ST                       W ERIE AVE                    W BUTLER ST
MARKLAND ST                      E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     MAYWOOD ST                    MARKLAND ST
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N 9TH ST                         W ERIE AVE                    W BUTLER ST
WORRELL ST                       DEAD END WEST                 FRANKFORD AVE
E LUZERNE ST                     MARKLAND ST                   CASTOR AVE
POTTER ST                        LEWIS ST                      WORRELL ST
LEWIS ST                         O ST                          POTTER ST
N DARIEN ST                      W ERIE AVE                    W BUTLER ST
NEILSON ST                       E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     CASTOR AVE                    NEILSON ST
N 8TH ST                         W ERIE AVE                    W BUTLER ST
ORMOND ST                        E LUZERNE ST                  E LYCOMING ST
E LUZERNE ST                     NEILSON ST                    ORMOND ST
LENOX AVE                        N BROAD ST                    N 15TH ST
N FRANKLIN ST                    W ERIE AVE                    W BUTLER ST
N LAWRENCE ST                    W AIRDRIE ST                  W CAREY ST
W AIRDRIE ST                     N LAWRENCE ST                 N 5TH ST
ELDER ST                         W VICTORIA ST                 W ERIE AVE
O ST                             E LUZERNE ST                  LEWIS ST
E LUZERNE ST                     ORMOND ST                     O ST
N 7TH ST                         W ERIE AVE                    W BUTLER ST
N MARSHALL ST                    W ERIE AVE                    RISING SUN AVE
POTTER ST                        E LUZERNE ST                  LEWIS ST
E LUZERNE ST                     O ST                          POTTER ST
W VICTORIA ST                    ELDER ST                      GERMANTOWN AVE
N 11TH ST                        W PACIFIC ST                  W ERIE AVE
E LUZERNE ST                     POTTER ST                     KENSINGTON AVE
W PACIFIC ST                     N WARNOCK ST                  N 11TH ST
I ST                             E PIKE ST                     E LUZERNE ST
N RANDOLPH ST                    W ERIE AVE                    RISING SUN AVE
PALMETTO ST                      E PIKE ST                     E LUZERNE ST
E PIKE ST                        I ST                          PALMETTO ST
N 10TH ST                        DEAD END SOUTH                W ERIE AVE
WORRELL ST                       TORRESDALE AVE                FRANKFORD AVE
ELSINORE ST                      E PIKE ST                     E LUZERNE ST
E PIKE ST                        PALMETTO ST                   ELSINORE ST
J ST                             E PIKE ST                     E LUZERNE ST
E PIKE ST                        ELSINORE ST                   J ST
N LAWRENCE ST                    W ERIE AVE                    W AIRDRIE ST
LAWNDALE ST                      E PIKE ST                     E LUZERNE ST
E PIKE ST                        J ST                          LAWNDALE ST
W VENANGO ST                     N BROAD ST                    N CARLISLE ST
BENNINGTON ST                    E PIKE ST                     E LUZERNE ST
E PIKE ST                        LAWNDALE ST                   BENNINGTON ST
N 13TH ST                        ELDER ST                      W ERIE AVE
ELDER ST                         N 13TH ST                     W VICTORIA ST
W VENANGO ST                     N WATTS ST                    N BROAD ST
K ST                             E PIKE ST                     E LUZERNE ST
E PIKE ST                        BENNINGTON ST                 K ST
W VENANGO ST                     GERMANTOWN AVE                N WATTS ST
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N 8TH ST                       RISING SUN AVE                W ERIE AVE
D ST                           E ERIE AVE                    E LUZERNE ST
CLARIDGE ST                    E PIKE ST                     E LUZERNE ST
E PIKE ST                      K ST                          CLARIDGE ST
N 13TH ST                      W VENANGO ST                  ELDER ST
W VENANGO ST                   N 13TH ST                     GERMANTOWN AVE
HOWLAND ST                     E PIKE ST                     E LUZERNE ST
E PIKE ST                      CLARIDGE ST                   HOWLAND ST
N CAMAC ST                     W VENANGO ST                  W ERIE AVE
W VENANGO ST                   N CAMAC ST                    N 13TH ST
L ST                           E PIKE ST                     E LUZERNE ST
E PIKE ST                      HOWLAND ST                    L ST
N DARIEN ST                    RISING SUN AVE                W ERIE AVE
OLD YORK RD                    W VENANGO ST                  W ERIE AVE
W VENANGO ST                   OLD YORK RD                   N CAMAC ST
N MARVINE ST                   W VENANGO ST                  W ERIE AVE
W VENANGO ST                   N MARVINE ST                  OLD YORK RD
O ST                           E ERIE AVE                    E LUZERNE ST
N 11TH ST                      W VENANGO ST                  W PACIFIC ST
W VENANGO ST                   N 11TH ST                     N MARVINE ST
N WARNOCK ST                   W VENANGO ST                  W PACIFIC ST
W VENANGO ST                   N WARNOCK ST                  N 11TH ST
N 9TH ST                       RISING SUN AVE                W ERIE AVE
M ST                           E ERIE AVE                    E LUZERNE ST
O ST                           KENSINGTON AVE                E ERIE AVE
W VENANGO ST                   N HUTCHINSON ST               N WARNOCK ST
GLENDALE ST                    E ERIE AVE                    E LUZERNE ST
N PERCY ST                     W VENANGO ST                  W ERIE AVE
W VENANGO ST                   N PERCY ST                    N HUTCHINSON ST
W VENANGO ST                   RISING SUN AVE                N PERCY ST
DUNGAN ST                      E ERIE AVE                    E LUZERNE ST
N 9TH ST                       W VENANGO ST                  RISING SUN AVE
W VENANGO ST                   N 9TH ST                      RISING SUN AVE
L ST                           E ERIE AVE                    E PIKE ST
N 8TH ST                       W VENANGO ST                  RISING SUN AVE
W VENANGO ST                   N 8TH ST                      N 9TH ST
K ST                           E ERIE AVE                    E PIKE ST
BENNINGTON ST                  E ERIE AVE                    E PIKE ST
LAWNDALE ST                    E ERIE AVE                    E PIKE ST
J ST                           E ERIE AVE                    E PIKE ST
N 7TH ST                       W VENANGO ST                  W ERIE AVE
W VENANGO ST                   N 7TH ST                      N 8TH ST
N HUTCHINSON ST                RISING SUN AVE                W VENANGO ST
ELSINORE ST                    E ERIE AVE                    E PIKE ST
PALMETTO ST                    E ERIE AVE                    E PIKE ST
I ST                           E ERIE AVE                    E PIKE ST
N MARSHALL ST                  W VENANGO ST                  W ERIE AVE
W VENANGO ST                   N MARSHALL ST                 N 7TH ST
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N CAMAC ST                     W ATLANTIC ST                 W VENANGO ST
W VENANGO ST                   N 6TH ST                      N MARSHALL ST
N 3RD ST                       W SEDGLEY AVE                 W ERIE AVE
N RANDOLPH ST                  W VENANGO ST                  W ERIE AVE
W VENANGO ST                   N RANDOLPH ST                 N 6TH ST
OLD YORK RD                    W ATLANTIC ST                 W VENANGO ST
W ATLANTIC ST                  OLD YORK RD                   N CAMAC ST
W ATLANTIC ST                  N CAMAC ST                    N 13TH ST
N 13TH ST                      W ATLANTIC ST                 W VENANGO ST
W TIOGA ST                     N BROAD ST                    N CARLISLE ST
W VENANGO ST                   N 5TH ST                      N RANDOLPH ST
N WATTS ST                     CUL DE SAC SOUTH              W VENANGO ST
N LAWRENCE ST                  W VENANGO ST                  W ERIE AVE
W VENANGO ST                   N LAWRENCE ST                 N 5TH ST
JASPER ST                      E PIKE ST                     E HUNTING PARK AVE
E PIKE ST                      KENSINGTON AVE                JASPER ST
N 13TH ST                      W TIOGA ST                    W ATLANTIC ST
OLD YORK RD                    W TIOGA ST                    W ATLANTIC ST
W TIOGA ST                     OLD YORK RD                   GERMANTOWN AVE
N 7TH ST                       W ATLANTIC ST                 W VENANGO ST
W ATLANTIC ST                  N 7TH ST                      DEAD END WEST
N MARVINE ST                   W TIOGA ST                    W VENANGO ST
W TIOGA ST                     N MARVINE ST                  OLD YORK RD
W VENANGO ST                   W SEDGLEY AVE                 N LAWRENCE ST
N 11TH ST                      W TIOGA ST                    W VENANGO ST
W TIOGA ST                     N 11TH ST                     N MARVINE ST
W TIOGA ST                     N WARNOCK ST                  N 11TH ST
N WARNOCK ST                   W TIOGA ST                    W VENANGO ST
L ST                           E CAREY ST                    E ERIE AVE
VICI ST                        FRANKFORD AVE                 ARCADIA ST
E CAREY ST                     L ST                          DUNGAN ST
N 10TH ST                      W TIOGA ST                    DEAD END NORTH
W TIOGA ST                     N 10TH ST                     RISING SUN AVE
JASPER ST                      BUCKIUS ST                    E PIKE ST
BUCKIUS ST                     KENSINGTON AVE                JASPER ST
N LAWRENCE ST                  W SEDGLEY AVE                 W VENANGO ST
E CAREY ST                     DUNGAN ST                     GLENDALE ST
VICI ST                        ARCADIA ST                    CORAL ST
M ST                           E CAREY ST                    E ERIE AVE
E CAREY ST                     GLENDALE ST                   M ST
N 11TH ST                      RISING SUN AVE                W TIOGA ST
N 9TH ST                       W TIOGA ST                    W VENANGO ST
N HUTCHINSON ST                W TIOGA ST                    RISING SUN AVE
W TIOGA ST                     N 9TH ST                      N 10TH ST
OLD YORK RD                    W RUSSELL ST                  W TIOGA ST
W RUSSELL ST                   OLD YORK RD                   GERMANTOWN AVE
L ST                           STEINBER ST                   E CAREY ST
N 8TH ST                       W TIOGA ST                    W VENANGO ST
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W TIOGA ST                     N 8TH ST                      N 9TH ST
DUNGAN ST                      STEINBER ST                   E CAREY ST
STEINBER ST                    L ST                          DUNGAN ST
N 11TH ST                      W SCHILLER ST                 RISING SUN AVE
STEINBER ST                    DUNGAN ST                     FLOYD ST
N 7TH ST                       W TIOGA ST                    W ATLANTIC ST
W TIOGA ST                     N 7TH ST                      N 8TH ST
E PIKE ST                      JASPER ST                     FRANKFORD AVE
GLENDALE ST                    STEINBER ST                   E CAREY ST
STEINBER ST                    FLOYD ST                      GLENDALE ST
M ST                           STEINBER ST                   E CAREY ST
STEINBER ST                    GLENDALE ST                   M ST
N MARSHALL ST                  W TIOGA ST                    W VENANGO ST
W TIOGA ST                     N MARSHALL ST                 N 7TH ST
N 10TH ST                      W SCHILLER ST                 W TIOGA ST
W SCHILLER ST                  N 10TH ST                     N 11TH ST
N HUTCHINSON ST                W SCHILLER ST                 W TIOGA ST
W TIOGA ST                     N 6TH ST                      N MARSHALL ST
W SCHILLER ST                  DEAD END EAST                 N 10TH ST
N RANDOLPH ST                  W TIOGA ST                    W VENANGO ST
W TIOGA ST                     N RANDOLPH ST                 N 6TH ST
N 8TH ST                       W SCHILLER ST                 W TIOGA ST
W SCHILLER ST                  N 8TH ST                      N HUTCHINSON ST
ARCADIA ST                     WHEATSHEAF LN                 VICI ST
WHEATSHEAF LN                  FRANKFORD AVE                 ARCADIA ST
L ST                           E AIRDRIE ST                  STEINBER ST
PALETHORP ST                   W ATLANTIC ST                 W GLENWOOD AVE
W ONTARIO ST                   N BROAD ST                    N CARLISLE ST
W TIOGA ST                     W SEDGLEY AVE                 N RANDOLPH ST
W TIOGA ST                     N 5TH ST                      W SEDGLEY AVE
N 11TH ST                      W RUSSELL ST                  W SCHILLER ST
FLOYD ST                       E AIRDRIE ST                  STEINBER ST
E AIRDRIE ST                   L ST                          FLOYD ST
N 7TH ST                       W SCHILLER ST                 W TIOGA ST
W SCHILLER ST                  N 7TH ST                      N 8TH ST
MASCHER ST                     W ATLANTIC ST                 W GLENWOOD AVE
W ATLANTIC ST                  MASCHER ST                    PALETHORP ST
W ONTARIO ST                   N WATTS ST                    N BROAD ST
N RANDOLPH ST                  W SEDGLEY AVE                 W TIOGA ST
DILLMAN ST                     W ATLANTIC ST                 W GLENWOOD AVE
W ATLANTIC ST                  DILLMAN ST                    N AMERICAN ST
M ST                           E AIRDRIE ST                  STEINBER ST
E AIRDRIE ST                   FLOYD ST                      M ST
W ONTARIO ST                   N PARK AVE                    N WATTS ST
N 7TH ST                       W SCHILLER ST                 W SCHILLER ST
K ST                           E SEDGLEY AVE                 E ERIE AVE
E SEDGLEY AVE                  DEAD END WEST                 K ST
N 10TH ST                      W RUSSELL ST                  W SCHILLER ST
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W RUSSELL ST                     N 10TH ST                     N 11TH ST
W ONTARIO ST                     N 13TH ST                     N PARK AVE
CORAL ST                         WHEATSHEAF LN                 VICI ST
WHEATSHEAF LN                    ARCADIA ST                    CORAL ST
N MARSHALL ST                    W SCHILLER ST                 W TIOGA ST
W SCHILLER ST                    N MARSHALL ST                 N 7TH ST
BUCKIUS ST                       JASPER ST                     FRANKFORD AVE
W ONTARIO ST                     GERMANTOWN AVE                N 13TH ST
W RUSSELL ST                     DEAD END EAST                 N 10TH ST
OLD YORK RD                      W ONTARIO ST                  W RUSSELL ST
W ONTARIO ST                     OLD YORK RD                   GERMANTOWN AVE
W TIOGA ST                       N BODINE ST                   N 3RD ST
N AMERICAN ST                    W TIOGA ST                    W GLENWOOD AVE
W TIOGA ST                       N AMERICAN ST                 N BODINE ST
L ST                             E SEDGLEY AVE                 E AIRDRIE ST
E SEDGLEY AVE                    K ST                          L ST
WHEATSHEAF LN                    CORAL ST                      CORAL ST
DILLMAN ST                       W TIOGA ST                    W ATLANTIC ST
W TIOGA ST                       DILLMAN ST                    N AMERICAN ST
GOODMAN ST                       W ONTARIO ST                  RISING SUN AVE
W ONTARIO ST                     GOODMAN ST                    RISING SUN AVE
N PHILIP ST                      W TIOGA ST                    W GLENWOOD AVE
W TIOGA ST                       N PHILIP ST                   DILLMAN ST
N 11TH ST                        W ONTARIO ST                  W RUSSELL ST
W ONTARIO ST                     N 11TH ST                     GOODMAN ST
N 7TH ST                         W RUSSELL ST                  W SCHILLER ST
W TIOGA ST                       N 2ND ST                      N PHILIP ST
N 8TH ST                         W RUSSELL ST                  W SCHILLER ST
M ST                             KENSINGTON AVE                E AIRDRIE ST
E SEDGLEY AVE                    L ST                          M ST
N MARSHALL ST                    W RUSSELL ST                  W SCHILLER ST
W RUSSELL ST                     N MARSHALL ST                 N 7TH ST
PALETHORP ST                     W TIOGA ST                    W ATLANTIC ST
W TIOGA ST                       PALETHORP ST                  N 2ND ST
N 10TH ST                        W ONTARIO ST                  W RUSSELL ST
W ONTARIO ST                     N 10TH ST                     N 11TH ST
N 7TH ST                         W RUSSELL ST                  W RUSSELL ST
W RUSSELL ST                     N 7TH ST                      N 8TH ST
N 11TH ST                        GOODMAN ST                    W ONTARIO ST
GOODMAN ST                       N 11TH ST                     W ONTARIO ST
MASCHER ST                       W TIOGA ST                    W ATLANTIC ST
W TIOGA ST                       MASCHER ST                    PALETHORP ST
JASPER ST                        CASTOR AVE                    BUCKIUS ST
E AIRDRIE ST                     KENSINGTON AVE                E SEDGLEY AVE
E SEDGLEY AVE                    KENSINGTON AVE                E AIRDRIE ST
N MARSHALL ST                    W SEDGLEY AVE                 W RUSSELL ST
CORAL ST                         BUCKIUS ST                    WHEATSHEAF LN
BUCKIUS ST                       FRANKFORD AVE                 CORAL ST
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N 13TH ST                     RISING SUN AVE                W ONTARIO ST
N HOWARD ST                   W TIOGA ST                    W VENANGO ST
W TIOGA ST                    N HOWARD ST                   MASCHER ST
W ONTARIO ST                  N 9TH ST                      N 10TH ST
HOPE ST                       W TIOGA ST                    W VENANGO ST
W TIOGA ST                    HOPE ST                       N HOWARD ST
N HUTCHINSON ST               W ONTARIO ST                  W SCHILLER ST
W ONTARIO ST                  N HUTCHINSON ST               N 9TH ST
N 8TH ST                      W ONTARIO ST                  W RUSSELL ST
W ONTARIO ST                  N 8TH ST                      N HUTCHINSON ST
W TIOGA ST                    N FRONT ST                    HOPE ST
E VENANGO ST                  F ST                          G ST
N LEE ST                      E TIOGA ST                    E VENANGO ST
E TIOGA ST                    N FRONT ST                    N LEE ST
GOODMAN ST                    W THAYER ST                   N 11TH ST
N WATER ST                    E TIOGA ST                    E VENANGO ST
E TIOGA ST                    N LEE ST                      N WATER ST
N 7TH ST                      W SEDGLEY AVE                 W RUSSELL ST
W ONTARIO ST                  W SEDGLEY AVE                 N 8TH ST
N PARK AVE                    RISING SUN AVE                W ONTARIO ST
A ST                          E TIOGA ST                    E VENANGO ST
E TIOGA ST                    N WATER ST                    A ST
WHEATSHEAF LN                 CORAL ST                      DEAD END SOUTH
E SEDGLEY AVE                 CASTOR AVE                    FRANKFORD AVE
ELLA ST                       E TIOGA ST                    E VENANGO ST
E TIOGA ST                    A ST                          ELLA ST
F ST                          KINGSTON ST                   E VENANGO ST
N WATTS ST                    RISING SUN AVE                W ONTARIO ST
N 10TH ST                     W THAYER ST                   W ONTARIO ST
W THAYER ST                   N 10TH ST                     GOODMAN ST
KIP ST                        E TIOGA ST                    E VENANGO ST
E TIOGA ST                    ELLA ST                       KIP ST
E TIOGA ST                    KIP ST                        B ST
I ST                          E VENANGO ST                  E ERIE AVE
PALETHORP ST                  W ESTAUGH ST                  W TIOGA ST
E TIOGA ST                    B ST                          ORMES ST
W WESTMORELAND ST             N BROAD ST                    N CARLISLE ST
E TIOGA ST                    ORMES ST                      ROSEHILL ST
KINGSTON ST                   F ST                          G ST
CORAL ST                      VALETTA ST                    BUCKIUS ST
VALETTA ST                    FRANKFORD AVE                 CORAL ST
MASCHER ST                    W ESTAUGH ST                  W TIOGA ST
W ESTAUGH ST                  MASCHER ST                    PALETHORP ST
W ONTARIO ST                  N ORKNEY ST                   W GLENWOOD AVE
E TIOGA ST                    ROSEHILL ST                   C ST
W ONTARIO ST                  N LAWRENCE ST                 N ORKNEY ST
N PARK AVE                    W WESTMORELAND ST             RISING SUN AVE
W WESTMORELAND ST             N PARK AVE                    N BROAD ST
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E TIOGA ST                    C ST                          ARBOR ST
N REESE ST                    W GLENWOOD AVE                DEAD END NORTH
N 13TH ST                     W WESTMORELAND ST             RISING SUN AVE
W WESTMORELAND ST             N 13TH ST                     N PARK AVE
E TIOGA ST                    ARBOR ST                      HURLEY ST
GOODMAN ST                    ROY ST                        W THAYER ST
F ST                          E ATLANTIC ST                 KINGSTON ST
N ORIANNA ST                  W ONTARIO ST                  W GLENWOOD AVE
E TIOGA ST                    HURLEY ST                     D ST
E ATLANTIC ST                 G ST                          PENHURST ST
N RANDOLPH ST                 W GLENWOOD AVE                DEAD END NORTH
K ST                          E VENANGO ST                  E SEDGLEY AVE
E VENANGO ST                  I ST                          E ATLANTIC ST
E ATLANTIC ST                 PENHURST ST                   SHELBOURNE ST
N 3RD ST                      W ONTARIO ST                  W TIOGA ST
W ONTARIO ST                  N 3RD ST                      N ORIANNA ST
E TIOGA ST                    D ST                          RORER ST
OLD YORK RD                   W WESTMORELAND ST             RISING SUN AVE
W WESTMORELAND ST             GERMANTOWN AVE                N 13TH ST
N BODINE ST                   W ONTARIO ST                  W TIOGA ST
W ONTARIO ST                  N BODINE ST                   N 3RD ST
E ATLANTIC ST                 SHELBOURNE ST                 DEAD END EAST
E TIOGA ST                    RORER ST                      HARTVILLE ST
N AMERICAN ST                 W ONTARIO ST                  W TIOGA ST
W ONTARIO ST                  N AMERICAN ST                 N BODINE ST
E ATLANTIC ST                 F ST                          G ST
E TIOGA ST                    HARTVILLE ST                  E ST
DILLMAN ST                    W ONTARIO ST                  W TIOGA ST
W ONTARIO ST                  DILLMAN ST                    N AMERICAN ST
N FAIRHILL ST                 W GLENWOOD AVE                DEAD END NORTH
N PHILIP ST                   W ONTARIO ST                  W TIOGA ST
W ONTARIO ST                  N PHILIP ST                   DILLMAN ST
E TIOGA ST                    E ST                          CRYSTAL ST
L ST                          KENSINGTON AVE                DEAD END NORTH
E VENANGO ST                  K ST                          KENSINGTON AVE
ROY ST                        GOODMAN ST                    W WESTMORELAND ST
N 11TH ST                     W WESTMORELAND ST             GOODMAN ST
W WESTMORELAND ST             N 11TH ST                     GERMANTOWN AVE
E TIOGA ST                    CRYSTAL ST                    TAMPA ST
W ONTARIO ST                  N 2ND ST                      N PHILIP ST
I ST                          E ATLANTIC ST                 E VENANGO ST
E TIOGA ST                    TAMPA ST                      KEIM ST
W ONTARIO ST                  PALETHORP ST                  N 2ND ST
PALETHORP ST                  W ONTARIO ST                  W ESTAUGH ST
W ONTARIO ST                  PALETHORP ST                  PALETHORP ST
F ST                          E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    KEIM ST                       F ST
W ONTARIO ST                  N HANCOCK ST                  PALETHORP ST
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E PACIFIC ST                  KENSINGTON AVE                E GLENWOOD AVE
E GLENWOOD AVE                E VENANGO ST                  E PACIFIC ST
GOODMAN ST                    W WESTMORELAND ST             ROY ST
W WESTMORELAND ST             GOODMAN ST                    N 11TH ST
E ATLANTIC ST                 I ST                          PALMETTO ST
E TIOGA ST                    F ST                          WEYMOUTH ST
N 10TH ST                     W WESTMORELAND ST             W THAYER ST
W WESTMORELAND ST             N 10TH ST                     GOODMAN ST
N 3RD ST                      W THAYER ST                   W ONTARIO ST
N 9TH ST                      W ALLEGHENY AVE               W ONTARIO ST
E ATLANTIC ST                 PALMETTO ST                   DEAD END EAST
MASCHER ST                    W ONTARIO ST                  W ESTAUGH ST
W ONTARIO ST                  MASCHER ST                    N HANCOCK ST
E TIOGA ST                    WEYMOUTH ST                   REACH ST
W ONTARIO ST                  WATERLOO ST                   MASCHER ST
W WESTMORELAND ST             N 9TH ST                      N 10TH ST
E GLENWOOD AVE                E PACIFIC ST                  JASPER ST
E TIOGA ST                    REACH ST                      G ST
N FAIRHILL ST                 W CORNWALL ST                 W GLENWOOD AVE
N AMERICAN ST                 W THAYER ST                   W ONTARIO ST
W THAYER ST                   N AMERICAN ST                 N 3RD ST
N HOWARD ST                   W ONTARIO ST                  W TIOGA ST
W ONTARIO ST                  N HOWARD ST                   WATERLOO ST
PENHURST ST                   E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    G ST                          PENHURST ST
HOPE ST                       W ONTARIO ST                  W TIOGA ST
W ONTARIO ST                  HOPE ST                       N HOWARD ST
E GLENWOOD AVE                JASPER ST                     CASTOR AVE
N REESE ST                    W CORNWALL ST                 W GLENWOOD AVE
W CORNWALL ST                 N REESE ST                    N FAIRHILL ST
E VENANGO ST                  KENSINGTON AVE                RUTH ST
W ONTARIO ST                  N FRONT ST                    HOPE ST
SHELBOURNE ST                 E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    PENHURST ST                   SHELBOURNE ST
JASPER ST                     E PACIFIC ST                  E GLENWOOD AVE
W CORNWALL ST                 N 5TH ST                      N REESE ST
N LEE ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  N FRONT ST                    N LEE ST
N 3RD ST                      W WENSLEY ST                  W THAYER ST
N 13TH ST                     W HILTON ST                   W WESTMORELAND ST
WHEATSHEAF LN                 DEAD END NORTH                SEPVIVA ST
N 10TH ST                     GOODMAN ST                    W WESTMORELAND ST
GOODMAN ST                    N 10TH ST                     W WESTMORELAND ST
N HANCOCK ST                  W THAYER ST                   W ONTARIO ST
N WATER ST                    E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  N LEE ST                      N WATER ST
E TIOGA ST                    SHELBOURNE ST                 H ST
ROY ST                        W WESTMORELAND ST             GERMANTOWN AVE
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W THAYER ST                   MUTTER ST                     N HANCOCK ST
RAND ST                       E TIOGA ST                    DEAD END NORTH
E TIOGA ST                    H ST                          RAND ST
A ST                          E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  N WATER ST                    A ST
K ST                          E ATLANTIC ST                 E ATLANTIC ST
E ATLANTIC ST                 DEAD END WEST                 K ST
N AMERICAN ST                 W WENSLEY ST                  W THAYER ST
W WENSLEY ST                  N AMERICAN ST                 N 3RD ST
E GLENWOOD AVE                CASTOR AVE                    FRANKFORD AVE
MASCHER ST                    W THAYER ST                   W ONTARIO ST
W THAYER ST                   MASCHER ST                    MUTTER ST
E ATLANTIC ST                 K ST                          KENSINGTON AVE
MALTA ST                      E TIOGA ST                    DEAD END NORTH
E TIOGA ST                    RAND ST                       MALTA ST
ELLA ST                       E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  A ST                          ELLA ST
W WESTMORELAND ST             N 6TH ST                      W GLENWOOD AVE
W HILTON ST                   GERMANTOWN AVE                N 13TH ST
E BUTLER ST                   FRANKFORD AVE                 E GLENWOOD AVE
E GLENWOOD AVE                FRANKFORD AVE                 E BUTLER ST
KIP ST                        E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  ELLA ST                       KIP ST
I ST                          E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    MALTA ST                      I ST
N FAIRHILL ST                 W WESTMORELAND ST             W CORNWALL ST
W WESTMORELAND ST             N FAIRHILL ST                 N 6TH ST
JASPER ST                     E PACIFIC ST                  E PACIFIC ST
E PACIFIC ST                  E GLENWOOD AVE                JASPER ST
GOODMAN ST                    W SEDGLEY AVE                 N 10TH ST
PALMETTO ST                   E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    I ST                          PALMETTO ST
E ONTARIO ST                  KIP ST                        B ST
N 3RD ST                      W CORNWALL ST                 W WENSLEY ST
N 10TH ST                     W SEDGLEY AVE                 GOODMAN ST
ORMES ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  B ST                          ORMES ST
W WESTMORELAND ST             N 5TH ST                      N FAIRHILL ST
ROSEHILL ST                   E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  ORMES ST                      ROSEHILL ST
E TIOGA ST                    PALMETTO ST                   J ST
N ORKNEY ST                   W WESTMORELAND ST             W ONTARIO ST
W WESTMORELAND ST             N ORKNEY ST                   N 5TH ST
N AMERICAN ST                 W CORNWALL ST                 W WENSLEY ST
W CORNWALL ST                 N AMERICAN ST                 N 3RD ST
N LAWRENCE ST                 W WESTMORELAND ST             W ONTARIO ST
W WESTMORELAND ST             N LAWRENCE ST                 N ORKNEY ST
RUTH ST                       E ATLANTIC ST                 E VENANGO ST
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E ATLANTIC ST                 KENSINGTON AVE                RUTH ST
C ST                          E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  ROSEHILL ST                   C ST
E BUTLER ST                   E GLENWOOD AVE                CORAL ST
E VENANGO ST                  RUTH ST                       STOUTON ST
N PARK AVE                    W ALLEGHENY AVE               W WESTMORELAND ST
ARBOR ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  C ST                          ARBOR ST
W WILLARD ST                  N FAIRHILL ST                 N 6TH ST
H ST                          E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 G ST                          H ST
N 13TH ST                     W ALLEGHENY AVE               W HILTON ST
HURLEY ST                     E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  ARBOR ST                      HURLEY ST
W WILLARD ST                  N RANDOLPH ST                 N FAIRHILL ST
K ST                          E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    J ST                          KENSINGTON AVE
W WILLARD ST                  N REESE ST                    N RANDOLPH ST
N 3RD ST                      W WESTMORELAND ST             W CORNWALL ST
W WESTMORELAND ST             N 3RD ST                      DEAD END WEST
D ST                          E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  HURLEY ST                     D ST
W WILLARD ST                  N 5TH ST                      N REESE ST
I ST                          E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 H ST                          I ST
ROSEHILL ST                   E THAYER ST                   E ONTARIO ST
E THAYER ST                   B ST                          ROSEHILL ST
N AMERICAN ST                 W WESTMORELAND ST             W CORNWALL ST
W WESTMORELAND ST             N AMERICAN ST                 N 3RD ST
RORER ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  D ST                          RORER ST
N MARSHALL ST                 W TUSCULUM ST                 W GLENWOOD AVE
W TUSCULUM ST                 N MARSHALL ST                 W GLENWOOD AVE
JASPER ST                     E VENANGO ST                  E PACIFIC ST
E VENANGO ST                  STOUTON ST                    JASPER ST
EMERALD ST                    E PACIFIC ST                  CASTOR AVE
E PACIFIC ST                  JASPER ST                     EMERALD ST
HARTVILLE ST                  E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  RORER ST                      HARTVILLE ST
N PHILIP ST                   W WESTMORELAND ST             W ONTARIO ST
W WESTMORELAND ST             N PHILIP ST                   N AMERICAN ST
N 11TH ST                     W ALLEGHENY AVE               W WESTMORELAND ST
E ST                          E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  HARTVILLE ST                  E ST
W WESTMORELAND ST             N 2ND ST                      N PHILIP ST
E ATLANTIC ST                 RUTH ST                       STOUTON ST
CRYSTAL ST                    E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  E ST                          CRYSTAL ST
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I ST                          E ESTAUGH ST                  E SCHILLER ST
PALETHORP ST                  W WESTMORELAND ST             W ONTARIO ST
W WESTMORELAND ST             PALETHORP ST                  N 2ND ST
TAMPA ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  CRYSTAL ST                    TAMPA ST
H ST                          E RUSSELL ST                  E SCHILLER ST
E RUSSELL ST                  G ST                          H ST
KEIM ST                       E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  TAMPA ST                      KEIM ST
N HANCOCK ST                  W WESTMORELAND ST             W THAYER ST
W WESTMORELAND ST             N HANCOCK ST                  PALETHORP ST
PALMETTO ST                   E ESTAUGH ST                  E TIOGA ST
E ESTAUGH ST                  I ST                          PALMETTO ST
MUTTER ST                     W WESTMORELAND ST             W THAYER ST
W WESTMORELAND ST             MUTTER ST                     N HANCOCK ST
F ST                          E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  KEIM ST                       F ST
STOUTON ST                    E ATLANTIC ST                 E VENANGO ST
E ATLANTIC ST                 STOUTON ST                    STOUTON ST
MASCHER ST                    W WESTMORELAND ST             W THAYER ST
W WESTMORELAND ST             MASCHER ST                    MUTTER ST
I ST                          E RUSSELL ST                  E ESTAUGH ST
E RUSSELL ST                  H ST                          I ST
N PARK AVE                    W WISHART ST                  W ALLEGHENY AVE
WEYMOUTH ST                   E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  F ST                          WEYMOUTH ST
JASPER ST                     KINGSTON ST                   E VENANGO ST
WATERLOO ST                   W WESTMORELAND ST             W ONTARIO ST
W WESTMORELAND ST             WATERLOO ST                   MASCHER ST
STOUTON ST                    CLARENCE ST                   E ATLANTIC ST
J ST                          E ESTAUGH ST                  E TIOGA ST
E ESTAUGH ST                  PALMETTO ST                   J ST
REACH ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  WEYMOUTH ST                   REACH ST
N HOWARD ST                   W WESTMORELAND ST             W ONTARIO ST
W WESTMORELAND ST             N HOWARD ST                   WATERLOO ST
W SEDGLEY AVE                 W ALLEGHENY AVE               GERMANTOWN AVE
N 13TH ST                     W WISHART ST                  W ALLEGHENY AVE
W WISHART ST                  N 13TH ST                     N PARK AVE
W TUSCULUM ST                 N 6TH ST                      N MARSHALL ST
HELEN ST                      E VENANGO ST                  DEAD END EAST
E VENANGO ST                  JASPER ST                     HELEN ST
HOPE ST                       W WESTMORELAND ST             W ONTARIO ST
W WESTMORELAND ST             HOPE ST                       N HOWARD ST
E ST                          E THAYER ST                   E ONTARIO ST
E ONTARIO ST                  REACH ST                      G ST
W WESTMORELAND ST             N FRONT ST                    HOPE ST
ROSEHILL ST                   E CORNWALL ST                 E THAYER ST
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E CORNWALL ST                 B ST                          ROSEHILL ST
N LEE ST                      E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             N FRONT ST                    N LEE ST
W ALLEGHENY AVE               N DARIEN ST                   W GLENWOOD AVE
N WATER ST                    E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             N LEE ST                      N WATER ST
JASPER ST                     E ATLANTIC ST                 KINGSTON ST
E ATLANTIC ST                 STOUTON ST                    JASPER ST
F ST                          E THAYER ST                   E ONTARIO ST
E THAYER ST                   E ST                          F ST
W ALLEGHENY AVE               N 8TH ST                      N DARIEN ST
H ST                          E ONTARIO ST                  E RUSSELL ST
E ONTARIO ST                  G ST                          H ST
W ALLEGHENY AVE               W ALLEGHENY AVE               N 8TH ST
E PACIFIC ST                  EMERALD ST                    FRANKFORD AVE
A ST                          E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             N WATER ST                    A ST
E ONTARIO ST                  H ST                          RAND ST
D ST                          E CORNWALL ST                 E ONTARIO ST
E ST                          E WENSLEY ST                  E THAYER ST
N 7TH ST                      W ALLEGHENY AVE               W GLENWOOD AVE
ELLA ST                       E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             A ST                          ELLA ST
E ONTARIO ST                  RAND ST                       ARGYLE ST
W SEDGLEY AVE                 GERMANTOWN AVE                N 12TH ST
E CORNWALL ST                 D ST                          GRANSBACK ST
E ONTARIO ST                  ARGYLE ST                     MALTA ST
RORER ST                      E CORNWALL ST                 E ONTARIO ST
E CORNWALL ST                 GRANSBACK ST                  RORER ST
KIP ST                        E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             ELLA ST                       KIP ST
I ST                          E ONTARIO ST                  E RUSSELL ST
E ONTARIO ST                  MALTA ST                      I ST
CORAL ST                      CASTOR AVE                    E BUTLER ST
JASPER ST                     CLARENCE ST                   E ATLANTIC ST
CLARENCE ST                   STOUTON ST                    JASPER ST
E WESTMORELAND ST             KIP ST                        B ST
EMERALD ST                    E VENANGO ST                  E PACIFIC ST
E VENANGO ST                  HELEN ST                      EMERALD ST
F ST                          E WENSLEY ST                  E THAYER ST
E WENSLEY ST                  E ST                          F ST
N FAIRHILL ST                 W ALLEGHENY AVE               W WILLARD ST
E ONTARIO ST                  I ST                          POTTER ST
ROSEHILL ST                   E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             B ST                          ROSEHILL ST
N RANDOLPH ST                 W ALLEGHENY AVE               W WILLARD ST
N REESE ST                    W ALLEGHENY AVE               W WILLARD ST
J ST                          KENSINGTON AVE                E ESTAUGH ST
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E ONTARIO ST                  POTTER ST                     KENSINGTON AVE
N LEE ST                      E WILLARD ST                  E WESTMORELAND ST
C ST                          E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             ROSEHILL ST                   C ST
SEPVIVA ST                    E BUTLER ST                   WHEATSHEAF LN
E BUTLER ST                   CORAL ST                      SEPVIVA ST
E ST                          E CORNWALL ST                 E WENSLEY ST
F ST                          E CORNWALL ST                 E WENSLEY ST
JASPER ST                     E TIOGA ST                    CLARENCE ST
E TIOGA ST                    K ST                          JASPER ST
A ST                          E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  N LEE ST                      A ST
E WESTMORELAND ST             C ST                          BOUDINOT ST
H ST                          E THAYER ST                   E ONTARIO ST
E THAYER ST                   G ST                          H ST
E WESTMORELAND ST             BOUDINOT ST                   HURLEY ST
EMERALD ST                    KINGSTON ST                   E VENANGO ST
KINGSTON ST                   JASPER ST                     EMERALD ST
E CORNWALL ST                 F ST                          G ST
D ST                          E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             HURLEY ST                     D ST
F ST                          E CORNWALL ST                 E CORNWALL ST
E CORNWALL ST                 E ST                          F ST
N 3RD ST                      W ALLEGHENY AVE               W WESTMORELAND ST
KIP ST                        E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  A ST                          KIP ST
E VENANGO ST                  EMERALD ST                    JOYCE ST
GRANSBACK ST                  E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             D ST                          GRANSBACK ST
RORER ST                      E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             GRANSBACK ST                  RORER ST
N AMERICAN ST                 W ALLEGHENY AVE               W WESTMORELAND ST
HARTVILLE ST                  E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             RORER ST                      HARTVILLE ST
E ST                          E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             HARTVILLE ST                  E ST
N PHILIP ST                   W ALLEGHENY AVE               W WESTMORELAND ST
EMERALD ST                    E ATLANTIC ST                 KINGSTON ST
E ATLANTIC ST                 JASPER ST                     EMERALD ST
E WESTMORELAND ST             E ST                          TAMPA ST
PALETHORP ST                  W ALLEGHENY AVE               W WESTMORELAND ST
E TIOGA ST                    JASPER ST                     HELEN ST
E WESTMORELAND ST             TAMPA ST                      KEIM ST
N HANCOCK ST                  W ALLEGHENY AVE               W WESTMORELAND ST
POTTER ST                     I ST                          E ONTARIO ST
I ST                          POTTER ST                     E ONTARIO ST
H ST                          E CORNWALL ST                 E THAYER ST
E CORNWALL ST                 G ST                          H ST
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F ST                          E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             KEIM ST                       F ST
AMBER ST                      ALBRIGHT ST                   CASTOR AVE
ALBRIGHT ST                   E PACIFIC ST                  AMBER ST
E VENANGO ST                  JOYCE ST                      FRANKFORD AVE
JASPER ST                     E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 KENSINGTON AVE                JASPER ST
MASCHER ST                    W ALLEGHENY AVE               W WESTMORELAND ST
EMERALD ST                    CLARENCE ST                   E ATLANTIC ST
CLARENCE ST                   JASPER ST                     EMERALD ST
E WESTMORELAND ST             F ST                          G ST
E ATLANTIC ST                 EMERALD ST                    BRADDOCK ST
N HOWARD ST                   W ALLEGHENY AVE               W WESTMORELAND ST
D ST                          E WILLARD ST                  E WESTMORELAND ST
HOPE ST                       W ALLEGHENY AVE               W WESTMORELAND ST
E ST                          E WILLARD ST                  E WESTMORELAND ST
AMBER ST                      PICKWICK ST                   ALBRIGHT ST
PICKWICK ST                   FRANKFORD AVE                 AMBER ST
GRANSBACK ST                  E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  D ST                          GRANSBACK ST
N AMERICAN ST                 W WISHART ST                  W ALLEGHENY AVE
JOYCE ST                      E ATLANTIC ST                 E VENANGO ST
E ATLANTIC ST                 BRADDOCK ST                   JOYCE ST
RORER ST                      E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  GRANSBACK ST                  RORER ST
TAMPA ST                      E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  E ST                          TAMPA ST
E WESTMORELAND ST             G ST                          SHELBOURNE ST
JASPER ST                     E RUSSELL ST                  E SCHILLER ST
E RUSSELL ST                  KENSINGTON AVE                JASPER ST
H ST                          E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             SHELBOURNE ST                 H ST
F ST                          E WILLARD ST                  E WESTMORELAND ST
EMERALD ST                    E TIOGA ST                    CLARENCE ST
E TIOGA ST                    HELEN ST                      EMERALD ST
W WISHART ST                  N 2ND ST                      N AMERICAN ST
RAND ST                       E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             H ST                          RAND ST
AMBER ST                      E PACIFIC ST                  PICKWICK ST
E PACIFIC ST                  FRANKFORD AVE                 AMBER ST
E ATLANTIC ST                 JOYCE ST                      JOYCE ST
ARGYLE ST                     E WESTMORELAND ST             E ONTARIO ST
E WESTMORELAND ST             RAND ST                       ARGYLE ST
A ST                          E ALLEGHENY AVE               E WILLARD ST
E WESTMORELAND ST             ARGYLE ST                     POTTER ST
N HANCOCK ST                  W WISHART ST                  W ALLEGHENY AVE
W WISHART ST                  N HANCOCK ST                  N 2ND ST
MALTA ST                      E WESTMORELAND ST             E ONTARIO ST
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E WESTMORELAND ST             POTTER ST                     MALTA ST
D ST                          E HILTON ST                   E WILLARD ST
I ST                          KENSINGTON AVE                POTTER ST
E WESTMORELAND ST             MALTA ST                      I ST
E WILLARD ST                  F ST                          G ST
KIP ST                        E ALLEGHENY AVE               E WILLARD ST
SEPVIVA ST                    CASTOR AVE                    E BUTLER ST
MASCHER ST                    W WISHART ST                  W ALLEGHENY AVE
RORER ST                      E HILTON ST                   E WILLARD ST
E HILTON ST                   D ST                          RORER ST
E ST                          E HILTON ST                   E WILLARD ST
JASPER ST                     E ONTARIO ST                  E RUSSELL ST
E ONTARIO ST                  J ST                          JASPER ST
E TIOGA ST                    EMERALD ST                    BRADDOCK ST
AMBER ST                      E VICTORIA ST                 E PACIFIC ST
E VICTORIA ST                 FRANKFORD AVE                 AMBER ST
E HILTON ST                   E ST                          TAMPA ST
BRADDOCK ST                   E TIOGA ST                    E ATLANTIC ST
F ST                          E MADISON ST                  E WILLARD ST
N HOWARD ST                   W WISHART ST                  W ALLEGHENY AVE
W WISHART ST                  N HOWARD ST                   MASCHER ST
SHELBOURNE ST                 E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  G ST                          SHELBOURNE ST
ROSEHILL ST                   E ALLEGHENY AVE               E WESTMORELAND ST
E ATLANTIC ST                 JOYCE ST                      FRANKFORD AVE
TAMPA ST                      E HILTON ST                   E HILTON ST
W WISHART ST                  N FRONT ST                    N HOWARD ST
KEIM ST                       E HILTON ST                   E WESTMORELAND ST
E HILTON ST                   TAMPA ST                      KEIM ST
E MADISON ST                  F ST                          G ST
C ST                          E ALLEGHENY AVE               E WESTMORELAND ST
F ST                          E HILTON ST                   E MADISON ST
E HILTON ST                   KEIM ST                       F ST
AMBER ST                      E VENANGO ST                  E VICTORIA ST
E VENANGO ST                  FRANKFORD AVE                 AMBER ST
JASPER ST                     E THAYER ST                   E ONTARIO ST
E THAYER ST                   KENSINGTON AVE                JASPER ST
JOYCE ST                      E TIOGA ST                    E ATLANTIC ST
E TIOGA ST                    BRADDOCK ST                   JOYCE ST
BOUDINOT ST                   E ALLEGHENY AVE               E WESTMORELAND ST
A ST                          E WISHART ST                  E ALLEGHENY AVE
E WISHART ST                  N FRONT ST                    A ST
HURLEY ST                     E ALLEGHENY AVE               E WESTMORELAND ST
F ST                          E HILTON ST                   E HILTON ST
SHELBOURNE ST                 E MADISON ST                  E WILLARD ST
E MADISON ST                  G ST                          SHELBOURNE ST
D ST                          E ALLEGHENY AVE               E HILTON ST
ELLA ST                       E WISHART ST                  E ALLEGHENY AVE
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E WISHART ST                  A ST                          ELLA ST
HELEN ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  JASPER ST                     HELEN ST
B ST                          E WISHART ST                  E ALLEGHENY AVE
E WISHART ST                  ELLA ST                       B ST
POTTER ST                     H ST                          E WESTMORELAND ST
H ST                          POTTER ST                     E WESTMORELAND ST
RORER ST                      E ALLEGHENY AVE               E HILTON ST
HARTVILLE ST                  E ALLEGHENY AVE               E WESTMORELAND ST
E HILTON ST                   F ST                          G ST
AMBER ST                      KINGSTON ST                   E VENANGO ST
KINGSTON ST                   FRANKFORD AVE                 AMBER ST
BRADDOCK ST                   E SCHILLER ST                 E TIOGA ST
E BUTLER ST                   SEPVIVA ST                    ARAMINGO AVE
JASPER ST                     E WENSLEY ST                  E THAYER ST
E WENSLEY ST                  KENSINGTON AVE                JASPER ST
E ST                          E ALLEGHENY AVE               E HILTON ST
TAMPA ST                      E ALLEGHENY AVE               E HILTON ST
E TIOGA ST                    JOYCE ST                      FRANKFORD AVE
SHELBOURNE ST                 E HILTON ST                   E MADISON ST
E HILTON ST                   G ST                          SHELBOURNE ST
F ST                          E ALLEGHENY AVE               E HILTON ST
JOYCE ST                      E SCHILLER ST                 E TIOGA ST
E SCHILLER ST                 BRADDOCK ST                   JOYCE ST
JASPER ST                     E CORNWALL ST                 E WENSLEY ST
E CORNWALL ST                 KENSINGTON AVE                JASPER ST
AMBER ST                      E ATLANTIC ST                 KINGSTON ST
E ATLANTIC ST                 FRANKFORD AVE                 AMBER ST
EMERALD ST                    E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  HELEN ST                      EMERALD ST
E TIOGA ST                    FRANKFORD AVE                 CORAL ST
E ST                          E WISHART ST                  E ALLEGHENY AVE
H ST                          E ALLEGHENY AVE               POTTER ST
AMBER ST                      CLARENCE ST                   E ATLANTIC ST
CLARENCE ST                   FRANKFORD AVE                 AMBER ST
SHELBOURNE ST                 E ALLEGHENY AVE               E HILTON ST
EMERALD ST                    E THAYER ST                   E ONTARIO ST
E THAYER ST                   JASPER ST                     EMERALD ST
E PACIFIC ST                  SEPVIVA ST                    WITTE ST
JASPER ST                     E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             KENSINGTON AVE                JASPER ST
E SCHILLER ST                 JOYCE ST                      FRANKFORD AVE
F ST                          E WISHART ST                  E ALLEGHENY AVE
E WISHART ST                  E ST                          F ST
BRADDOCK ST                   E ONTARIO ST                  E SCHILLER ST
E ONTARIO ST                  EMERALD ST                    BRADDOCK ST
AMBER ST                      E TIOGA ST                    CLARENCE ST
E TIOGA ST                    CORAL ST                      AMBER ST
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SEPVIVA ST                    E VENANGO ST                  E PACIFIC ST
E VENANGO ST                  AMBER ST                      SEPVIVA ST
JASPER ST                     E WILLARD ST                  E WESTMORELAND ST
E WILLARD ST                  KENSINGTON AVE                JASPER ST
EMERALD ST                    E WENSLEY ST                  E THAYER ST
E WENSLEY ST                  JASPER ST                     EMERALD ST
E PACIFIC ST                  WITTE ST                      JANNEY ST
JASPER ST                     E WILLARD ST                  E WILLARD ST
TULIP ST                      CASTOR AVE                    DEAD END EAST
JASPER ST                     E MADISON ST                  E WILLARD ST
E MADISON ST                  KENSINGTON AVE                JASPER ST
E WISHART ST                  KENSINGTON AVE                JASPER ST
WITTE ST                      E VENANGO ST                  E PACIFIC ST
E VENANGO ST                  SEPVIVA ST                    WITTE ST
EMERALD ST                    E CORNWALL ST                 E WENSLEY ST
E CORNWALL ST                 JASPER ST                     EMERALD ST
EMERALD ST                    E CORNWALL ST                 E CORNWALL ST
E PACIFIC ST                  JANNEY ST                     WEIKEL ST
E TIOGA ST                    AMBER ST                      COLLINS ST
JASPER ST                     E MADISON ST                  E MADISON ST
E HILTON ST                   KENSINGTON AVE                JASPER ST
E MADISON ST                  JASPER ST                     EMERALD ST
E ONTARIO ST                  BRADDOCK ST                   FRANKFORD AVE
EMERALD ST                    E WESTMORELAND ST             E CORNWALL ST
E WESTMORELAND ST             JASPER ST                     EMERALD ST
JANNEY ST                     E VENANGO ST                  E PACIFIC ST
E VENANGO ST                  WITTE ST                      JANNEY ST
E WILLARD ST                  JASPER ST                     EMERALD ST
E WESTMORELAND ST             EMERALD ST                    BRADDOCK ST
TULIP ST                      E PACIFIC ST                  CASTOR AVE
E PACIFIC ST                  WEIKEL ST                     TULIP ST
BRADDOCK ST                   E CORNWALL ST                 E ONTARIO ST
E CORNWALL ST                 EMERALD ST                    BRADDOCK ST
WEIKEL ST                     E VENANGO ST                  E PACIFIC ST
E VENANGO ST                  JANNEY ST                     WEIKEL ST
CORAL ST                      E ONTARIO ST                  E TIOGA ST
E ONTARIO ST                  FRANKFORD AVE                 CORAL ST
E ONTARIO ST                  CORAL ST                      AMBER ST
SEPVIVA ST                    E TIOGA ST                    E VENANGO ST
E TIOGA ST                    COLLINS ST                    SEPVIVA ST
TULIP ST                      E VENANGO ST                  E PACIFIC ST
E VENANGO ST                  WEIKEL ST                     TULIP ST
WITTE ST                      E TIOGA ST                    E VENANGO ST
E TIOGA ST                    SEPVIVA ST                    WITTE ST
E TIOGA ST                    WITTE ST                      JANNEY ST
E VENANGO ST                  TULIP ST                      ARAMINGO AVE
N LAWRENCE ST                 W MENTOR ST                   W ROOSEVELT BLVD
E BRISTOL ST                  POTTER ST                     DEAD END EAST
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E TIOGA ST                    PALMETTO ST                   PALMETTO ST
E LUZERNE ST                  DUNGAN ST                     DUNGAN ST
E LUZERNE ST                  GLENDALE ST                   GLENDALE ST
E LYCOMING ST                 DUNGAN ST                     DUNGAN ST
E LYCOMING ST                 GLENDALE ST                   GLENDALE ST
N 8TH ST                      W SCHILLER ST                 W SCHILLER ST
D ST                          DEAD END SOUTH                E ERIE AVE
J ST                          E TIOGA ST                    DEAD END NORTH
MAPLE LN                      E WYOMING AVE                 SUNSHINE LN
MAPLE LN                      SUNSHINE LN                   DEAD END WEST
WORRELL ST                    KENSINGTON AVE                DEAD END EAST
E THAYER ST                   F ST                          G ST
TAMPA ST                      E HILTON ST                   E WILLARD ST
E COURTLAND ST                TAMPA ST                      TAMPA ST
E COURTLAND ST                TAMPA ST                      DEAD END EAST
E WINGOHOCKING ST             D ST                          WHITAKER AVE
D ST                          E WINGOHOCKING ST             WHITAKER AVE
ROBERTO CLEMENTE WALK         W ERIE AVE                    DEAD END
WOMRATH ST                    KENSINGTON AVE                FRANKFORD AVE
PALMETTO ST                   E LUZERNE ST                  NICETOWN LN
PALMETTO ST                   NICETOWN LN                   E LYCOMING ST
J ST                          E LUZERNE ST                  NICETOWN LN
J ST                          NICETOWN LN                   E LYCOMING ST
W ATLANTIC ST                 N 13TH ST                     GERMANTOWN AVE
MC FERRAN ST                  N BROAD ST                    NICE ST
MC FERRAN ST                  NICE ST                       GERMANTOWN AVE
N LEE ST                      E ALLEGHENY AVE               N WATER ST
N LEE ST                      N WATER ST                    E WILLARD ST
W WINGOHOCKING ST             PALETHORP ST                  N PHILIP ST
W WINGOHOCKING ST             N PHILIP ST                   N AMERICAN ST
VANDIKE ST                    FRANKFORD AVE                 PAUL ST
O ST                          E CAYUGA ST                   E WINGOHOCKING ST
E WINGOHOCKING ST             CASTOR AVE                    O ST
W WESTMORELAND ST             N LAWRENCE ST                 N 4TH ST
N 4TH ST                      W WESTMORELAND ST             W ONTARIO ST
W ONTARIO ST                  N 4TH ST                      N LAWRENCE ST
W ONTARIO ST                  N ORIANNA ST                  N 4TH ST
E FISHERS LN                  RAMONA AVE                    E FISHERS LN
E WINGOHOCKING ST             E WINGOHOCKING ST             ADAMS AVE
PALMETTO ST                   E LYCOMING ST                 E HUNTING PARK AVE
N 8TH ST                      W WYOMING AVE                 N 8TH ST
N 8TH ST                      N 8TH ST                      W LOUDON ST
N 7TH ST                      W WYOMING AVE                 N 7TH ST
N 7TH ST                      N 7TH ST                      W LOUDON ST
BANKS WAY                     N 2ND ST                      W ROOSEVELT BLVD
BANKS WAY                     W ROOSEVELT BLVD              W ROOSEVELT BLVD
BANKS WAY                     W ROOSEVELT BLVD              W ROOSEVELT BLVD
W TIOGA ST                    GERMANTOWN AVE                N BROAD ST
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E WINGOHOCKING ST             O ST                          E WINGOHOCKING ST
E FISHERS LN                  E FISHERS LN                  TACONY CREEK TRL
E FISHERS LN                  TACONY CREEK TRL              DEAD END WEST
TACONY MINOR TRL              RORER ST                      TACONY CREEK TRL
TACONY CREEK TRL              TACONY MINOR TRL              TACONY MINOR TRL
TACONY CREEK TRL              TACONY MINOR TRL              E FISHERS LN
TACONY MINOR TRL              TACONY CREEK TRL              E LOUDON ST
TACONY CREEK TRL              DEAD END WEST                 RAMONA AVE
MILNOR ST                     ROBBINS ST                    BARNETT ST
MILNOR ST                     DEVEREAUX AVE                 ROBBINS ST
DEVEREAUX AVE                 TACONY ST                     MILNOR ST
ROBBINS ST                    MILNOR ST                     DEAD END SOUTH
DEVEREAUX AVE                 MILNOR ST                     DEAD END SOUTH
HOMESTEAD ST                  TACONY ST                     MILNOR ST
COMLY ST                      MILNOR ST                     DEAD END SOUTH
JAMES ST                      SIMON ST                      FRALEY ST
JAMES ST                      LARUE ST                      SIMON ST
FRALEY ST                     JAMES ST                      TACONY ST
JAMES ST                      KENNEDY ST                    LARUE ST
JAMES ST                      BRILL ST                      KENNEDY ST
JAMES ST                      GRANITE ST                    BRIDGE ST
JAMES ST                      PRATT ST                      GRANITE ST
JAMES ST                      HAWORTH ST                    PRATT ST
JAMES ST                      WAKELING ST                   HAWORTH ST
PRATT ST                      JAMES ST                      TACONY ST
BUCKIUS ST                    TACONY ST                     MELROSE ST
BUCKIUS ST                    MELROSE ST                    DELAWARE EXPY RAMP D
VANDIKE ST                    PAUL ST                       ORCHARD ST
PEARCE ST                     LEFEVRE ST                    ORTHODOX ST
WHEATSHEAF LN                 SEPVIVA ST                    ARAMINGO AVE
ALMOND ST                     WHEATSHEAF LN                 E LUZERNE ST
WHEATSHEAF LN                 ALMOND ST                     E THOMPSON ST
ALMOND ST                     ASH ST                        PRATT ST
BRIDGE ST                     RICHMOND ST                   GARDEN ST
BRIDGE ST                     GARDEN ST                     DEAD END EAST
BRILL ST                      SALMON ST                     RICHMOND ST
BRILL ST                      RICHMOND ST                   GARDEN ST
E THOMPSON ST                 PRATT ST                      BRIDGE ST
E THOMPSON ST                 HAWORTH ST                    PRATT ST
E THOMPSON ST                 FILLMORE ST                   ASH ST
E THOMPSON ST                 BUCKIUS ST                    FILLMORE ST
E THOMPSON ST                 LEFEVRE ST                    BUCKIUS ST
SALMON ST                     ASH ST                        KIRKBRIDE ST
KIRKBRIDE ST                  EDGEMONT ST                   SALMON ST
KIRKBRIDE ST                  SALMON ST                     SALMON ST
KIRKBRIDE ST                  SALMON ST                     RICHMOND ST
SALMON ST                     PRATT ST                      BRIDGE ST
SALMON ST                     HAWORTH ST                    PRATT ST
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SALMON ST                       KIRKBRIDE ST                  HAWORTH ST
SALMON ST                       BRIDGE ST                     BRILL ST
BELGRADE ST                     ASH ST                        PRATT ST
ASH ST                          BELGRADE ST                   ALMOND ST
ASH ST                          ALMOND ST                     ALMOND ST
ASH ST                          ALMOND ST                     MERCER ST
ASH ST                          MERCER ST                     KIRKBRIDE ST
PRATT ST                        ALMOND ST                     MERCER ST
PRATT ST                        MERCER ST                     E THOMPSON ST
PRATT ST                        E THOMPSON ST                 EDGEMONT ST
PRATT ST                        EDGEMONT ST                   SALMON ST
PRATT ST                        SALMON ST                     RICHMOND ST
PRATT ST                        RICHMOND ST                   GARDEN ST
EDGEMONT ST                     HAWORTH ST                    PRATT ST
HAWORTH ST                      E THOMPSON ST                 EDGEMONT ST
HAWORTH ST                      EDGEMONT ST                   SALMON ST
HAWORTH ST                      SALMON ST                     DEAD END EAST
EDGEMONT ST                     KIRKBRIDE ST                  HAWORTH ST
PRATT ST                        BELGRADE ST                   ALMOND ST
PRATT ST                        ALMOND ST                     ALMOND ST
ALMOND ST                       PRATT ST                      BRIDGE ST
KIRKBRIDE ST                    ASH ST                        EDGEMONT ST
FILLMORE ST                     ALMOND ST                     E THOMPSON ST
RICHMOND ST                     BRIDGE ST                     BRILL ST
ASH ST                          E THOMPSON ST                 EDGEMONT ST
ASH ST                          EDGEMONT ST                   TILTON ST
ASH ST                          TILTON ST                     SALMON ST
ASH ST                          SALMON ST                     SALMON ST
ASH ST                          SALMON ST                     EMERY ST
ASH ST                          EMERY ST                      RICHMOND ST
GARDEN ST                       BRIDGE ST                     BRILL ST
GARDEN ST                       PRATT ST                      BRIDGE ST
GARDEN ST                       REYNOLDS ST                   PRATT ST
GARDEN ST                       KIRKBRIDE ST                  REYNOLDS ST
KIRKBRIDE ST                    RICHMOND ST                   MELVALE ST
REYNOLDS ST                     GARDEN ST                     BATH ST
KIRKBRIDE ST                    MELVALE ST                    GARDEN ST
KIRKBRIDE ST                    GARDEN ST                     COOPER ST
GARDEN ST                       JENKS ST                      KIRKBRIDE ST
BATH ST                         KIRKBRIDE ST                  REYNOLDS ST
KIRKBRIDE ST                    COOPER ST                     BATH ST
REYNOLDS ST                     RICHMOND ST                   GARDEN ST
COOPER ST                       JENKS ST                      KIRKBRIDE ST
JENKS ST                        RICHMOND ST                   MELVALE ST
JENKS ST                        MELVALE ST                    GARDEN ST
JENKS ST                        COOPER ST                     BATH ST
BATH ST                         BUCKIUS ST                    JENKS ST
BUCKIUS ST                      RICHMOND ST                   BATH ST
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JENKS ST                         GARDEN ST                     COOPER ST
BUCKIUS ST                       E THOMPSON ST                 EDGEMONT ST
BUCKIUS ST                       EDGEMONT ST                   TILTON ST
BUCKIUS ST                       TILTON ST                     SALMON ST
BUCKIUS ST                       SALMON ST                     EMERY ST
BUCKIUS ST                       EMERY ST                      RICHMOND ST
EDGEMONT ST                      BUCKIUS ST                    ASH ST
EDGEMONT ST                      LEFEVRE ST                    BUCKIUS ST
EDGEMONT ST                      ORTHODOX ST                   LEFEVRE ST
TILTON ST                        BUCKIUS ST                    ASH ST
SALMON ST                        BUCKIUS ST                    ASH ST
SALMON ST                        CASIMIR ST                    BUCKIUS ST
SALMON ST                        LEFEVRE ST                    CASIMIR ST
CASIMIR ST                       SALMON ST                     RICHMOND ST
EMERY ST                         BUCKIUS ST                    ASH ST
MERCER ST                        LEFEVRE ST                    BUCKIUS ST
ALMOND ST                        FILLMORE ST                   ASH ST
ALMOND ST                        BUCKIUS ST                    FILLMORE ST
ALMOND ST                        LEFEVRE ST                    BUCKIUS ST
ALMOND ST                        WILMOT ST                     LEFEVRE ST
ALMOND ST                        ORTHODOX ST                   WILMOT ST
GAUL ST                          LEFEVRE ST                    CASIMIR ST
CASIMIR ST                       GAUL ST                       MILLER ST
CASIMIR ST                       MILLER ST                     BELGRADE ST
BELGRADE ST                      CASIMIR ST                    BUCKIUS ST
BELGRADE ST                      LEFEVRE ST                    CASIMIR ST
BUCKIUS ST                       ALMOND ST                     MERCER ST
BUCKIUS ST                       MERCER ST                     E THOMPSON ST
BELGRADE ST                      WILMOT ST                     LEFEVRE ST
BELGRADE ST                      WILMOT ST                     WILMOT ST
BELGRADE ST                      ORTHODOX ST                   WILMOT ST
WILMOT ST                        BELGRADE ST                   LIVINGSTON ST
WILMOT ST                        LIVINGSTON ST                 ALMOND ST
LIVINGSTON ST                    WILMOT ST                     LEFEVRE ST
WILMOT ST                        BELGRADE ST                   DEAD END NORTH
MILLER ST                        GILLINGHAM ST                 ORTHODOX ST
BELGRADE ST                      GILLINGHAM ST                 ORTHODOX ST
GILLINGHAM ST                    MILLER ST                     BELGRADE ST
E THOMPSON ST                    ORTHODOX ST                   LEFEVRE ST
E THOMPSON ST                    EDDINGTON ST                  CROYDON ST
E THOMPSON ST                    ALRESFORD ST                  EDDINGTON ST
SALMON ST                        PLUM ST                       LEFEVRE ST
SALMON ST                        ORTHODOX ST                   PLUM ST
EDGEMONT ST                      ALRESFORD ST                  EDDINGTON ST
GARDEN ST                        ORTHODOX ST                   LEFEVRE ST
PLUM ST                          SALMON ST                     RICHMOND ST
PLUM ST                          RICHMOND ST                   E ALLEN ST
WILMOT ST                        RICHMOND ST                   E ALLEN ST
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OVERINGTON ST                    RICHMOND ST                   E ALLEN ST
E ALLEN ST                       ORTHODOX ST                   PLUM ST
ORTHODOX ST                      RICHMOND ST                   E ALLEN ST
ORTHODOX ST                      E ALLEN ST                    GARDEN ST
ORTHODOX ST                      GARDEN ST                     BATH ST
GILLINGHAM ST                    RICHMOND ST                   BATH ST
SELLERS ST                       RICHMOND ST                   BATH ST
BATH ST                          GILLINGHAM ST                 ORTHODOX ST
BATH ST                          SELLERS ST                    GILLINGHAM ST
BATH ST                          E BRISTOL ST                  SELLERS ST
BATH ST                          HEDLEY ST                     E BRISTOL ST
EDGEMONT ST                      EDDINGTON ST                  CROYDON ST
SALMON ST                        EDDINGTON ST                  CROYDON ST
SALMON ST                        ALRESFORD ST                  EDDINGTON ST
SALMON ST                        E JUNIATA ST                  ALRESFORD ST
E JUNIATA ST                     ALMOND ST                     E THOMPSON ST
E JUNIATA ST                     SALMON ST                     RICHMOND ST
ALRESFORD ST                     ALMOND ST                     E THOMPSON ST
ALRESFORD ST                     E THOMPSON ST                 EDGEMONT ST
ALRESFORD ST                     EDGEMONT ST                   SALMON ST
ALRESFORD ST                     SALMON ST                     RICHMOND ST
EDDINGTON ST                     ALMOND ST                     E THOMPSON ST
EDDINGTON ST                     E THOMPSON ST                 EDGEMONT ST
EDDINGTON ST                     EDGEMONT ST                   SALMON ST
EDDINGTON ST                     SALMON ST                     RICHMOND ST
CROYDON ST                       ALMOND ST                     E THOMPSON ST
CROYDON ST                       E THOMPSON ST                 EDGEMONT ST
CROYDON ST                       EDGEMONT ST                   SALMON ST
CROYDON ST                       SALMON ST                     RICHMOND ST
ALMOND ST                        EDDINGTON ST                  CROYDON ST
ALMOND ST                        ALRESFORD ST                  EDDINGTON ST
ALMOND ST                        E JUNIATA ST                  ALRESFORD ST
LEFEVRE ST                       RICHMOND ST                   E ALLEN ST
LEFEVRE ST                       E ALLEN ST                    GARDEN ST
BALFOUR ST                       HEDLEY ST                     DEAD END WEST
LEWIS ST                         RICHMOND ST                   N DELAWARE AVE
DUNCAN ST                        TACONY ST                     MELROSE ST
DUNCAN ST                        MELROSE ST                    STILES ST
DUNCAN ST                        STILES ST                     MILNOR ST
DUNCAN ST                        MILNOR ST                     BERMUDA ST
DUNCAN ST                        BERMUDA ST                    PEARCE ST
CHURCH ST                        TACONY ST                     MELROSE ST
CHURCH ST                        MELROSE ST                    STILES ST
CHURCH ST                        STILES ST                     MILNOR ST
CHURCH ST                        MILNOR ST                     BERMUDA ST
CHURCH ST                        BERMUDA ST                    PEARCE ST
MELROSE ST                       ORTHODOX ST                   MARGARET ST
MELROSE ST                       CHURCH ST                     DUNCAN ST
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STILES ST                      ORTHODOX ST                   MARGARET ST
STILES ST                      DUNCAN ST                     ORTHODOX ST
STILES ST                      CHURCH ST                     DUNCAN ST
PEARCE ST                      DUNCAN ST                     ARAMINGO AVE
PEARCE ST                      CHURCH ST                     DUNCAN ST
BERMUDA ST                     ORTHODOX ST                   ARAMINGO AVE
BERMUDA ST                     DUNCAN ST                     ORTHODOX ST
BERMUDA ST                     CHURCH ST                     DUNCAN ST
MILNOR ST                      DUNCAN ST                     ORTHODOX ST
MILNOR ST                      CHURCH ST                     DUNCAN ST
MILNOR ST                      ORTHODOX ST                   ARAMINGO AVE
JAMES ST                       MARGARET ST                   BUCKIUS ST
JAMES ST                       ORTHODOX ST                   MARGARET ST
BUCKIUS ST                     JAMES ST                      TACONY ST
LEIPER ST                      OXFORD AVE                    HARRISON ST
FOULKROD ST                    LEIPER ST                     N PENN ST
FOULKROD ST                    OXFORD AVE                    GRISCOM ST
FOULKROD ST                    GRISCOM ST                    FRANKFORD AVE
FOULKROD ST                    FRANKFORD AVE                 SALEM ST
FOULKROD ST                    SALEM ST                      DARRAH ST
FOULKROD ST                    DARRAH ST                     DUFFIELD ST
FOULKROD ST                    DUFFIELD ST                   HAWTHORNE ST
LEIPER ST                      FILLMORE ST                   OXFORD AVE
LEIPER ST                      FOULKROD ST                   FILLMORE ST
LEIPER ST                      ARROTT ST                     FOULKROD ST
LEIPER ST                      OVERINGTON ST                 ARROTT ST
LEIPER ST                      ORTHODOX ST                   OVERINGTON ST
N PENN ST                      OXFORD AVE                    HARRISON ST
N PENN ST                      FOULKROD ST                   OXFORD AVE
N PENN ST                      ARROTT ST                     FOULKROD ST
N PENN ST                      OVERINGTON ST                 ARROTT ST
N PENN ST                      ORTHODOX ST                   OVERINGTON ST
GRISCOM ST                     HARRISON ST                   WAKELING ST
GRISCOM ST                     FOULKROD ST                   HARRISON ST
GRISCOM ST                     OXFORD AVE                    FOULKROD ST
GRISCOM ST                     ARROTT ST                     OXFORD AVE
GRISCOM ST                     OVERINGTON ST                 ARROTT ST
GRISCOM ST                     ORTHODOX ST                   OVERINGTON ST
HARRISON ST                    FRANKFORD AVE                 DARRAH ST
HARRISON ST                    DARRAH ST                     DUFFIELD ST
SALEM ST                       HERBERT ST                    FOULKROD ST
HERBERT ST                     SALEM ST                      DARRAH ST
DARRAH ST                      ALLENGROVE ST                 WAKELING ST
DARRAH ST                      HARRISON ST                   ALLENGROVE ST
DARRAH ST                      FILLMORE ST                   HARRISON ST
DARRAH ST                      FOULKROD ST                   FILLMORE ST
DARRAH ST                      HERBERT ST                    FOULKROD ST
DARRAH ST                      MARGARET ST                   HERBERT ST
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DARRAH ST                    MEADOW ST                     MARGARET ST
ALLENGROVE ST                DARRAH ST                     DEAD END EAST
FILLMORE ST                  FRANKFORD AVE                 DARRAH ST
FILLMORE ST                  DARRAH ST                     DUFFIELD ST
OVERINGTON ST                LEIPER ST                     N PENN ST
OVERINGTON ST                N PENN ST                     GRISCOM ST
OVERINGTON ST                GRISCOM ST                    FRANKFORD AVE
MEADOW ST                    FRANKFORD AVE                 PAUL ST
MEADOW ST                    PAUL ST                       DARRAH ST
MEADOW ST                    DARRAH ST                     LESHER ST
MEADOW ST                    LESHER ST                     HEDGE ST
MEADOW ST                    HEDGE ST                      DUFFIELD ST
MEADOW ST                    DUFFIELD ST                   HAWTHORNE ST
MEADOW ST                    HAWTHORNE ST                  HAWTHORNE ST
MEADOW ST                    HAWTHORNE ST                  MULBERRY ST
MEADOW ST                    MULBERRY ST                   CLOUD ST
PAUL ST                      MEADOW ST                     ARROTT ST
PAUL ST                      KINSEY ST                     ORTHODOX ST
LESHER ST                    ORTHODOX ST                   MEADOW ST
N PENN ST                    GILLINGHAM ST                 ORTHODOX ST
N PENN ST                    SELLERS ST                    GILLINGHAM ST
SELLERS ST                   N PENN ST                     GRISCOM ST
SELLERS ST                   GRISCOM ST                    FRANKFORD AVE
KINSEY ST                    FRANKFORD AVE                 PAUL ST
GILLINGHAM ST                N PENN ST                     GRISCOM ST
GRISCOM ST                   SELLERS ST                    GILLINGHAM ST
GRISCOM ST                   GILLINGHAM ST                 ORTHODOX ST
GRISCOM ST                   GILLINGHAM ST                 GILLINGHAM ST
LEIPER ST                    GILLINGHAM ST                 GILLINGHAM ST
DUFFIELD ST                  FILLMORE ST                   HARRISON ST
DUFFIELD ST                  FOULKROD ST                   FILLMORE ST
DUFFIELD ST                  MARGARET ST                   FOULKROD ST
DUFFIELD ST                  MEADOW ST                     MARGARET ST
HARRISON ST                  DUFFIELD ST                   HAWTHORNE ST
HARRISON ST                  HAWTHORNE ST                  MULBERRY ST
HARRISON ST                  MULBERRY ST                   CHARLES ST
HARRISON ST                  CHARLES ST                    TACKAWANNA ST
HARRISON ST                  TACKAWANNA ST                 VALLEY ST
TACKAWANNA ST                FILLMORE PL                   HARRISON ST
TACKAWANNA ST                WILMOT ST                     MARGARET ST
TACKAWANNA ST                MEADOW ST                     WILMOT ST
FOULKROD ST                  HAWTHORNE ST                  MULBERRY ST
FILLMORE ST                  HAWTHORNE ST                  MULBERRY ST
FILLMORE ST                  MULBERRY ST                   TACKAWANNA ST
HAWTHORNE ST                 HARRISON ST                   WAKELING ST
HAWTHORNE ST                 FILLMORE ST                   HARRISON ST
HAWTHORNE ST                 FOULKROD ST                   FILLMORE ST
HAWTHORNE ST                 MARGARET ST                   FOULKROD ST
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HAWTHORNE ST                    MEADOW ST                     MARGARET ST
MULBERRY ST                     HARRISON ST                   WAKELING ST
MULBERRY ST                     FILLMORE ST                   HARRISON ST
MULBERRY ST                     FOULKROD ST                   FILLMORE ST
MULBERRY ST                     WILMOT ST                     MARGARET ST
MULBERRY ST                     MEADOW ST                     WILMOT ST
DUFFIELD ST                     WAKELING ST                   HAWORTH ST
MULBERRY ST                     WAKELING ST                   DYRE ST
DUFFIELD ST                     HARRISON ST                   WAKELING ST
CHARLES ST                      PRATT ST                      BRIDGE ST
CHARLES ST                      WAKELING ST                   PRATT ST
CHARLES ST                      HARRISON ST                   WAKELING ST
WAKELING ST                     DUFFIELD ST                   HAWTHORNE ST
WAKELING ST                     HAWTHORNE ST                  MULBERRY ST
WAKELING ST                     MULBERRY ST                   CHARLES ST
WAKELING ST                     CHARLES ST                    VALLEY ST
HAWTHORNE ST                    WAKELING ST                   DYRE ST
COTTAGE ST                      KENNEDY ST                    SANGER ST
COTTAGE ST                      BRIDGE ST                     KENNEDY ST
COTTAGE ST                      GRANITE ST                    BRIDGE ST
COTTAGE ST                      PRATT ST                      GRANITE ST
COTTAGE ST                      HAWORTH ST                    PRATT ST
COTTAGE ST                      WAKELING ST                   HAWORTH ST
COTTAGE ST                      HARRISON ST                   WAKELING ST
VALLEY ST                       HARRISON ST                   WAKELING ST
HARRISON ST                     COTTAGE ST                    JACKSON ST
WAKELING ST                     VALLEY ST                     COTTAGE ST
PRATT ST                        CHARLES ST                    VALLEY ST
PRATT ST                        VALLEY ST                     ERDRICK ST
PRATT ST                        WALKER ST                     COTTAGE ST
VALLEY ST                       PRATT ST                      BRIDGE ST
VALLEY ST                       HAWORTH ST                    PRATT ST
VALLEY ST                       WALKER ST                     HAWORTH ST
VALLEY ST                       WAKELING ST                   WALKER ST
WALKER ST                       VALLEY ST                     HAWORTH ST
ERDRICK ST                      PRATT ST                      BRIDGE ST
HAWORTH ST                      VALLEY ST                     WALKER ST
HAWORTH ST                      WALKER ST                     COTTAGE ST
GRANITE ST                      DEAD END NORTH                COTTAGE ST
PRATT ST                        ERDRICK ST                    WALKER ST
PRATT ST                        WALKER ST                     WALKER ST
WALKER ST                       HAWORTH ST                    PRATT ST
JACKSON ST                      DEAD END WEST                 HARRISON ST
WAKELING ST                     COTTAGE ST                    JACKSON ST
JACKSON ST                      BRIDGE ST                     BRILL ST
JACKSON ST                      GRANITE ST                    BRIDGE ST
JACKSON ST                      PRATT ST                      GRANITE ST
JACKSON ST                      HAWORTH ST                    PRATT ST
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JACKSON ST                     WAKELING ST                   HAWORTH ST
GRANITE ST                     COTTAGE ST                    JACKSON ST
PRATT ST                       COTTAGE ST                    JACKSON ST
PRATT ST                       JACKSON ST                    GLENLOCH ST
PRATT ST                       GLENLOCH ST                   DITMAN ST
HAWORTH ST                     COTTAGE ST                    JACKSON ST
GILLESPIE ST                   KENNEDY ST                    SANGER ST
GILLESPIE ST                   BRILL ST                      KENNEDY ST
GILLESPIE ST                   BRIDGE ST                     BRILL ST
BRILL ST                       GILLESPIE ST                  JACKSON ST
BRILL ST                       JACKSON ST                    GLENLOCH ST
BRILL ST                       GLENLOCH ST                   BURTON ST
BRILL ST                       BURTON ST                     DITMAN ST
WAKELING ST                    HARRISON ST                   GLENLOCH ST
WAKELING ST                    GLENLOCH ST                   DITMAN ST
GRANITE ST                     GLENLOCH ST                   DITMAN ST
HAWORTH ST                     GLENLOCH ST                   DITMAN ST
GLENLOCH ST                    PRATT ST                      GRANITE ST
GLENLOCH ST                    HAWORTH ST                    PRATT ST
GLENLOCH ST                    WAKELING ST                   HAWORTH ST
GLENLOCH ST                    BRILL ST                      KENNEDY ST
GLENLOCH ST                    BRIDGE ST                     BRILL ST
GLENLOCH ST                    GRANITE ST                    BRIDGE ST
KENNEDY ST                     COTTAGE ST                    GILLESPIE ST
KENNEDY ST                     GILLESPIE ST                  JACKSON ST
KENNEDY ST                     GLENLOCH ST                   BURTON ST
KENNEDY ST                     BURTON ST                     BURTON ST
KENNEDY ST                     BURTON ST                     DITMAN ST
BURTON ST                      BRILL ST                      KENNEDY ST
KENNEDY ST                     JACKSON ST                    GLENLOCH ST
KENNEDY ST                     GLENLOCH ST                   GLENLOCH ST
JACKSON ST                     SANGER ST                     HARBISON AVE
JACKSON ST                     KENNEDY ST                    SANGER ST
JACKSON ST                     BRILL ST                      KENNEDY ST
COTTAGE ST                     SANGER ST                     E CHELTENHAM AVE
SANGER ST                      COTTAGE ST                    GILLESPIE ST
SANGER ST                      GILLESPIE ST                  JACKSON ST
E CHELTENHAM AVE               HARBISON AVE                  DITMAN ST
E CHELTENHAM AVE               DITMAN ST                     TORRESDALE AVE
ANCHOR ST                      HARBISON AVE                  DITMAN ST
ANCHOR ST                      DITMAN ST                     TORRESDALE AVE
DITMAN ST                      ROSALIE ST                    VAN KIRK ST
DITMAN ST                      E CHELTENHAM AVE              ROSALIE ST
DITMAN ST                      ANCHOR ST                     E CHELTENHAM AVE
DITMAN ST                      CARVER ST                     ANCHOR ST
DITMAN ST                      SANGER ST                     CARVER ST
DITMAN ST                      FRALEY ST                     SANGER ST
DITMAN ST                      SIMON ST                      FRALEY ST
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DITMAN ST                    LARUE ST                      SIMON ST
TACKAWANNA ST                KINSEY ST                     GILLINGHAM ST
TACKAWANNA ST                JOHN ST                       KINSEY ST
TACKAWANNA ST                CHURCH ST                     JOHN ST
TACKAWANNA ST                BERKSHIRE ST                  CHURCH ST
TACKAWANNA ST                RUAN ST                       BERKSHIRE ST
TACKAWANNA ST                BRIGGS ST                     RUAN ST
TACKAWANNA ST                AUTH ST                       BRIGGS ST
TACKAWANNA ST                PLUM ST                       MEADOW ST
TACKAWANNA ST                ORTHODOX ST                   PLUM ST
TACKAWANNA ST                PEAR ST                       ORTHODOX ST
TACKAWANNA ST                GILLINGHAM ST                 PEAR ST
DITMAN ST                    HARBISON AVE                  LARUE ST
DITMAN ST                    KENNEDY ST                    HARBISON AVE
DITMAN ST                    BRILL ST                      KENNEDY ST
DITMAN ST                    SCATTERGOOD ST                BRILL ST
DITMAN ST                    BRIDGE ST                     SCATTERGOOD ST
DITMAN ST                    GRANITE ST                    BRIDGE ST
DITMAN ST                    PRATT ST                      GRANITE ST
DITMAN ST                    HAWORTH ST                    PRATT ST
DITMAN ST                    WAKELING ST                   HAWORTH ST
DITMAN ST                    MARGARET ST                   WAKELING ST
DITMAN ST                    WILMOT ST                     MARGARET ST
DITMAN ST                    PLUM ST                       WILMOT ST
DITMAN ST                    ORTHODOX ST                   PLUM ST
DITMAN ST                    KINSEY ST                     GILLINGHAM ST
WORTH ST                     ORTHODOX ST                   MARGARET ST
WORTH ST                     GILLINGHAM ST                 ORTHODOX ST
WORTH ST                     KINSEY ST                     GILLINGHAM ST
WORTH ST                     CHURCH ST                     KINSEY ST
WORTH ST                     HERBERT ST                    WAKELING ST
WORTH ST                     MARGARET ST                   HERBERT ST
WORTH ST                     PRATT ST                      GRANITE ST
WORTH ST                     HAWORTH ST                    PRATT ST
WORTH ST                     WAKELING ST                   HAWORTH ST
TULIP ST                     BRIDGE ST                     HARBISON AVE
TULIP ST                     GRANITE ST                    BRIDGE ST
TULIP ST                     PRATT ST                      GRANITE ST
TULIP ST                     HAWORTH ST                    PRATT ST
TULIP ST                     WAKELING ST                   HAWORTH ST
TULIP ST                     KENNEDY ST                    LARUE ST
TULIP ST                     BETTS ST                      KENNEDY ST
TULIP ST                     SHALLCROSS ST                 HEGERMAN ST
TULIP ST                     FRALEY ST                     SHALLCROSS ST
TULIP ST                     SIMON ST                      FRALEY ST
TULIP ST                     LARUE ST                      SIMON ST
HEGERMAN ST                  COMLY ST                      BENNER ST
HEGERMAN ST                  HOWELL ST                     COMLY ST
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HEGERMAN ST                    VAN KIRK ST                   HOWELL ST
HEGERMAN ST                    ALCOTT ST                     VAN KIRK ST
HEGERMAN ST                    ROSALIE ST                    ALCOTT ST
HEGERMAN ST                    E CHELTENHAM AVE              ROSALIE ST
HEGERMAN ST                    ANCHOR ST                     E CHELTENHAM AVE
HEGERMAN ST                    CARVER ST                     ANCHOR ST
HEGERMAN ST                    TULIP ST                      CARVER ST
TULIP ST                       BENNER ST                     DEVEREAUX AVE
TULIP ST                       COMLY ST                      BENNER ST
TULIP ST                       HOWELL ST                     COMLY ST
TULIP ST                       VAN KIRK ST                   HOWELL ST
TULIP ST                       E CHELTENHAM AVE              VAN KIRK ST
TULIP ST                       SANGER ST                     E CHELTENHAM AVE
KEYSTONE ST                    HOWELL ST                     COMLY ST
KEYSTONE ST                    VAN KIRK ST                   HOWELL ST
KEYSTONE ST                    E CHELTENHAM AVE              VAN KIRK ST
KEYSTONE ST                    BENNER ST                     DEVEREAUX AVE
KEYSTONE ST                    COMLY ST                      BENNER ST
BENNER ST                      TULIP ST                      KEYSTONE ST
BENNER ST                      KEYSTONE ST                   DEAD END SOUTH
COMLY ST                       TACONY ST                     MILNOR ST
HOWELL ST                      TORRESDALE AVE                HEGERMAN ST
HOWELL ST                      HEGERMAN ST                   TULIP ST
HOWELL ST                      TULIP ST                      KEYSTONE ST
VAN KIRK ST                    HEGERMAN ST                   EDMUND ST
VAN KIRK ST                    EDMUND ST                     TULIP ST
VAN KIRK ST                    TULIP ST                      KEYSTONE ST
VAN KIRK ST                    TORRESDALE AVE                VANDIKE ST
VAN KIRK ST                    VANDIKE ST                    HEGERMAN ST
E CHELTENHAM AVE               TORRESDALE AVE                VANDIKE ST
E CHELTENHAM AVE               VANDIKE ST                    HEGERMAN ST
E CHELTENHAM AVE               HEGERMAN ST                   EDMUND ST
E CHELTENHAM AVE               EDMUND ST                     TULIP ST
EDMUND ST                      ALCOTT ST                     VAN KIRK ST
EDMUND ST                      ROSALIE ST                    ALCOTT ST
EDMUND ST                      E CHELTENHAM AVE              ROSALIE ST
ALCOTT ST                      HEGERMAN ST                   EDMUND ST
ROSALIE ST                     HEGERMAN ST                   EDMUND ST
VANDIKE ST                     E CHELTENHAM AVE              VAN KIRK ST
ANCHOR ST                      TORRESDALE AVE                HEGERMAN ST
CARVER ST                      HARBISON AVE                  DITMAN ST
CARVER ST                      DITMAN ST                     TORRESDALE AVE
CARVER ST                      TORRESDALE AVE                HEGERMAN ST
SANGER ST                      HARBISON AVE                  DITMAN ST
SANGER ST                      DITMAN ST                     MARSDEN ST
SANGER ST                      MARSDEN ST                    TORRESDALE AVE
SANGER ST                      TORRESDALE AVE                HEGERMAN ST
SANGER ST                      HEGERMAN ST                   TULIP ST
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MARSDEN ST                    FRALEY ST                     SANGER ST
FRALEY ST                     DITMAN ST                     MARSDEN ST
FRALEY ST                     MARSDEN ST                    TORRESDALE AVE
SIMON ST                      DITMAN ST                     TORRESDALE AVE
FRALEY ST                     TORRESDALE AVE                TULIP ST
SIMON ST                      TORRESDALE AVE                TULIP ST
SHALLCROSS ST                 TORRESDALE AVE                TULIP ST
KENNEDY ST                    TORRESDALE AVE                TULIP ST
KENNEDY ST                    DITMAN ST                     HARBISON AVE
KENNEDY ST                    HARBISON AVE                  TORRESDALE AVE
WAKELING ST                   ARAMINGO AVE                  TACONY ST
WAKELING ST                   DITMAN ST                     TORRESDALE AVE
WAKELING ST                   TORRESDALE AVE                TULIP ST
WAKELING ST                   TULIP ST                      WORTH ST
HAWORTH ST                    DITMAN ST                     TORRESDALE AVE
HAWORTH ST                    TORRESDALE AVE                TULIP ST
HAWORTH ST                    TULIP ST                      WORTH ST
PRATT ST                      TORRESDALE AVE                TULIP ST
PRATT ST                      TULIP ST                      WORTH ST
GRANITE ST                    TULIP ST                      WORTH ST
GRANITE ST                    TORRESDALE AVE                TULIP ST
GRANITE ST                    DITMAN ST                     TORRESDALE AVE
PRATT ST                      DITMAN ST                     TORRESDALE AVE
BURTON ST                     BRIDGE ST                     BRILL ST
EADOM ST                      BRILL ST                      KENNEDY ST
EADOM ST                      SCATTERGOOD ST                BRILL ST
EADOM ST                      BRIDGE ST                     SCATTERGOOD ST
EADOM ST                      GRANITE ST                    BRIDGE ST
EADOM ST                      HAWORTH ST                    PRATT ST
GRANITE ST                    EADOM ST                      JAMES ST
PRATT ST                      EADOM ST                      JAMES ST
BRILL ST                      EADOM ST                      AUGUST ST
AUGUST ST                     SCATTERGOOD ST                BRILL ST
SCATTERGOOD ST                EADOM ST                      AUGUST ST
KENNEDY ST                    EADOM ST                      JAMES ST
BRILL ST                      AUGUST ST                     JAMES ST
SCATTERGOOD ST                AUGUST ST                     JAMES ST
GRANITE ST                    DEAD END NORTH                EADOM ST
EADOM ST                      SIMON ST                      FRALEY ST
EADOM ST                      LARUE ST                      SIMON ST
EADOM ST                      KENNEDY ST                    LARUE ST
FRALEY ST                     EADOM ST                      JAMES ST
SIMON ST                      EADOM ST                      JAMES ST
LARUE ST                      EADOM ST                      JAMES ST
SCATTERGOOD ST                DITMAN ST                     TORRESDALE AVE
SCATTERGOOD ST                TORRESDALE AVE                TULIP ST
BETTS ST                      HARBISON AVE                  TULIP ST
BRILL ST                      TORRESDALE AVE                HARBISON AVE
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BRILL ST                         DITMAN ST                     MARSDEN ST
BRILL ST                         MARSDEN ST                    TORRESDALE AVE
HERBERT ST                       EDMUND ST                     WORTH ST
EDMUND ST                        MARGARET ST                   HERBERT ST
EDMUND ST                        ORTHODOX ST                   MARGARET ST
WILMOT ST                        MULBERRY ST                   TACKAWANNA ST
WILMOT ST                        TACKAWANNA ST                 DITMAN ST
WILMOT ST                        DITMAN ST                     TORRESDALE AVE
MEADOW ST                        CLOUD ST                      TACKAWANNA ST
CLOUD ST                         PLUM ST                       MEADOW ST
PLUM ST                          HEDGE ST                      WORRELL CT
PLUM ST                          WORRELL CT                    HAWTHORNE ST
PLUM ST                          HAWTHORNE ST                  MULBERRY ST
PLUM ST                          MULBERRY ST                   CLOUD ST
PLUM ST                          CLOUD ST                      TACKAWANNA ST
PLUM ST                          TACKAWANNA ST                 DITMAN ST
PLUM ST                          DITMAN ST                     JOSEPHINE ST
PLUM ST                          JOSEPHINE ST                  TORRESDALE AVE
JOSEPHINE ST                     ORTHODOX ST                   PLUM ST
GILLINGHAM ST                    HEDGE ST                      WORRELL CT
GILLINGHAM ST                    WORRELL CT                    MULBERRY ST
WORRELL CT                       ORTHODOX ST                   PLUM ST
WORRELL CT                       GILLINGHAM ST                 ORTHODOX ST
HAWTHORNE ST                     PLUM ST                       MEADOW ST
HAWTHORNE ST                     ORTHODOX ST                   PLUM ST
HAWTHORNE ST                     DEAD END SOUTH                ORTHODOX ST
MULBERRY ST                      PEAR ST                       ORTHODOX ST
MULBERRY ST                      GILLINGHAM ST                 PEAR ST
MULBERRY ST                      GILLINGHAM ST                 GILLINGHAM ST
MULBERRY ST                      KINSEY ST                     GILLINGHAM ST
MULBERRY ST                      PLUM ST                       MEADOW ST
MULBERRY ST                      ORTHODOX ST                   PLUM ST
PEAR ST                          MULBERRY ST                   TACKAWANNA ST
GILLINGHAM ST                    MULBERRY ST                   TACKAWANNA ST
HEDGE ST                         UNITY ST                      KINSEY ST
HEDGE ST                         PLUM ST                       MEADOW ST
HEDGE ST                         ORTHODOX ST                   PLUM ST
HEDGE ST                         GILLINGHAM ST                 ORTHODOX ST
HEDGE ST                         KINSEY ST                     GILLINGHAM ST
PAUL ST                          SELLERS ST                    KINSEY ST
PAUL ST                          UNITY ST                      SELLERS ST
PAUL ST                          CHURCH ST                     UNITY ST
UNITY ST                         FRANKFORD AVE                 PAUL ST
UNITY ST                         PAUL ST                       ORCHARD ST
UNITY ST                         ORCHARD ST                    HEDGE ST
UNITY ST                         HEDGE ST                      WALN ST
WALN ST                          UNITY ST                      KINSEY ST
UNITY ST                         GRISCOM ST                    FRANKFORD AVE
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WALN ST                        CLOUD ST                      UNITY ST
WALN ST                        CHURCH ST                     CLOUD ST
CLOUD ST                       CHURCH ST                     WALN ST
KINSEY ST                      HEDGE ST                      WALN ST
KINSEY ST                      WALN ST                       MULBERRY ST
KINSEY ST                      MULBERRY ST                   TACKAWANNA ST
KINSEY ST                      TACKAWANNA ST                 DITMAN ST
KINSEY ST                      DITMAN ST                     JOSEPHINE ST
KINSEY ST                      JOSEPHINE ST                  TORRESDALE AVE
GILLINGHAM ST                  TACKAWANNA ST                 DITMAN ST
GILLINGHAM ST                  TORRESDALE AVE                WORTH ST
JOSEPHINE ST                   JOHN ST                       KINSEY ST
JOHN ST                        TACKAWANNA ST                 JOSEPHINE ST
JOSEPHINE ST                   CHURCH ST                     JOHN ST
KINSEY ST                      TORRESDALE AVE                WORTH ST
KINSEY ST                      WORTH ST                      DEAD END SOUTH
CHURCH ST                      FRANKFORD AVE                 PAUL ST
CHURCH ST                      PAUL ST                       ORCHARD ST
CHURCH ST                      ORCHARD ST                    CLOUD ST
CHURCH ST                      CLOUD ST                      TACKAWANNA ST
CHURCH ST                      TACKAWANNA ST                 JOSEPHINE ST
CHURCH ST                      JOSEPHINE ST                  TORRESDALE AVE
ORCHARD ST                     CHURCH ST                     UNITY ST
ORCHARD ST                     RUAN ST                       CHURCH ST
PAUL ST                        RUAN ST                       CHURCH ST
PAUL ST                        WOMRATH ST                    RUAN ST
SALEM ST                       WOMRATH ST                    RUAN ST
RUAN ST                        FRANKFORD AVE                 SALEM ST
RUAN ST                        SALEM ST                      PAUL ST
RUAN ST                        PAUL ST                       ORCHARD ST
WOMRATH ST                     ORCHARD ST                    TACKAWANNA ST
BERKSHIRE ST                   TACKAWANNA ST                 TORRESDALE AVE
RUAN ST                        TACKAWANNA ST                 TORRESDALE AVE
WOMRATH ST                     TACKAWANNA ST                 TORRESDALE AVE
ADAMS AVE                      TACONY ST                     ASHLAND ST
WOMRATH ST                     SALEM ST                      SALEM ST
WOMRATH ST                     SALEM ST                      PAUL ST
AUTH ST                        TACKAWANNA ST                 TORRESDALE AVE
BRIGGS ST                      TACKAWANNA ST                 TORRESDALE AVE
LARUE ST                       DITMAN ST                     TORRESDALE AVE
LARUE ST                       TORRESDALE AVE                TULIP ST
ORCHARD ST                     TORRESDALE AVE                WOMRATH ST
HARRISON ST                    GRISCOM ST                    FRANKFORD AVE
E CHELTENHAM AVE               TULIP ST                      KEYSTONE ST
EDMUND ST                      COMLY ST                      BENNER ST
DARKRUN LN                     TACONY ST                     DEAD END SOUTH
CARVER ST                      TACONY ST                     JAMES ST
JAMES ST                       BUCKIUS ST                    WAKELING ST
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TRENTON AVE                  ORTHODOX ST                   MARGARET ST
E ALLEN ST                   WILMOT ST                     LEFEVRE ST
E ALLEN ST                   OVERINGTON ST                 WILMOT ST
E ALLEN ST                   PLUM ST                       OVERINGTON ST
MELVALE ST                   JENKS ST                      KIRKBRIDE ST
BUCKIUS ST                   BELGRADE ST                   ALMOND ST
MELROSE ST                   MARGARET ST                   BUCKIUS ST
WHEATSHEAF LN                ARAMINGO AVE                  ALMOND ST
E BUTLER ST                  ARAMINGO AVE                  E THOMPSON ST
ORTHODOX ST                  BATH ST                       N DELAWARE AVE
HEDLEY ST                    BATH ST                       BALFOUR ST
MELROSE ST                   DUNCAN ST                     ORTHODOX ST
PAUL ST                      ORTHODOX ST                   MEADOW ST
SELLERS ST                   FRANKFORD AVE                 PAUL ST
GILLINGHAM ST                LEIPER ST                     N PENN ST
LEIPER ST                    GILLINGHAM ST                 ORTHODOX ST
TACKAWANNA ST                MARGARET PL                   FOULKROD ST
FOULKROD ST                  MULBERRY ST                   CLOUD CT
MULBERRY ST                  MARGARET ST                   FOULKROD ST
WALKER ST                    PRATT ST                      BRIDGE ST
BURTON ST                    KENNEDY ST                    HARBISON AVE
GLENLOCH ST                  KENNEDY ST                    HARBISON AVE
TACKAWANNA ST                WOMRATH ST                    AUTH ST
TULIP ST                     HARBISON AVE                  BETTS ST
VAN KIRK ST                  KEYSTONE ST                   TACONY ST
MARSDEN ST                   BRILL ST                      HARBISON AVE
WAKELING ST                  WORTH ST                      ARAMINGO AVE
CHURCH ST                    TORRESDALE AVE                WORTH ST
CHURCH ST                    WORTH ST                      TACONY ST
WOMRATH ST                   FRANKFORD AVE                 SALEM ST
WOMRATH ST                   PAUL ST                       ORCHARD ST
ORCHARD ST                   WOMRATH ST                    RUAN ST
SALEM ST                     TORRESDALE AVE                WOMRATH ST
PAUL ST                      TORRESDALE AVE                WOMRATH ST
HAWORTH ST                   JAMES ST                      EADOM ST
JAMES ST                     DELAWARE EXPY RAMP C          BRILL ST
TACKAWANNA ST                FOULKROD ST                   FILLMORE ST
FOULKROD ST                  N PENN ST                     OXFORD AVE
E LUZERNE ST                 CUL DE SAC NORTH              RICHMOND ST
WHEATSHEAF LN                E THOMPSON ST                 RICHMOND ST
JOHN ST                      DEAD END NORTH                TACKAWANNA ST
N PENN ST                    FARINA ST                     SELLERS ST
GRISCOM ST                   UNITY ST                      FARINA ST
GRISCOM ST                   FARINA ST                     SELLERS ST
MILNOR ST                    HOMESTEAD ST                  COMLY ST
E THOMPSON ST                E JUNIATA ST                  ALRESFORD ST
HEDLEY ST                    RICHMOND ST                   E ALLEN ST
HEDLEY ST                    E ALLEN ST                    BATH ST
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E BRISTOL ST                 RICHMOND ST                   E ALLEN ST
E BRISTOL ST                 E ALLEN ST                    BATH ST
E ALLEN ST                   HEDLEY ST                     E BRISTOL ST
MERCER ST                    ASH ST                        HERBERT ST
MERCER ST                    HERBERT ST                    PRATT ST
E THOMPSON ST                KIRKBRIDE ST                  HERBERT ST
E THOMPSON ST                HERBERT ST                    HAWORTH ST
HERBERT ST                   MERCER ST                     E THOMPSON ST
MILLER ST                    LEFEVRE ST                    CASIMIR ST
MILLER ST                    CASIMIR ST                    DEAD END EAST
BELGRADE ST                  DEAD END WEST                 GILLINGHAM ST
CHURCH ST                    PEARCE ST                     SEPVIVA ST
DUNCAN ST                    PEARCE ST                     SEPVIVA ST
SEPVIVA ST                   CHURCH ST                     DUNCAN ST
ASHLAND ST                   ARAMINGO AVE                  LEWIS ST
CHURCH ST                    SEPVIVA ST                    ARAMINGO AVE
SEPVIVA ST                   DUNCAN ST                     ARAMINGO AVE
DUNCAN ST                    SEPVIVA ST                    ARAMINGO AVE
HARRISON ST                  VALLEY ST                     COTTAGE ST
TACKAWANNA ST                FILLMORE ST                   FILLMORE PL
FOULKROD ST                  CLOUD CT                      TACKAWANNA ST
TACKAWANNA ST                MARGARET ST                   MARGARET PL
SALMON ST                    CROYDON ST                    ORTHODOX ST
EDGEMONT ST                  CROYDON ST                    ORTHODOX ST
E THOMPSON ST                CROYDON ST                    ORTHODOX ST
ALMOND ST                    CROYDON ST                    ORTHODOX ST
ORCHARD ST                   VANDIKE ST                    ORCHARD ST
ORCHARD ST                   ORCHARD ST                    TORRESDALE AVE
JAMES ST                     CUL DE SAC WEST               CARVER ST
JAMES ST                     CARVER ST                     CUL DE SAC NORTH
SANGER ST                    JACKSON ST                    HARBISON AVE
SELLERS ST                   PAUL ST                       KINSEY ST
KINSEY ST                    PAUL ST                       SELLERS ST
KINSEY ST                    SELLERS ST                    HEDGE ST
SALMON ST                    BERKSHIRE ST                  E JUNIATA ST
BERKSHIRE ST                 DEAD END NORTH                SALMON ST
BERKSHIRE ST                 SALMON ST                     RICHMOND ST
HERBERT ST                   TORRESDALE AVE                RAUCH ST
HERBERT ST                   RAUCH ST                      EDMUND ST
GILLINGHAM ST                DITMAN ST                     JOSEPHINE ST
GILLINGHAM ST                JOSEPHINE ST                  TORRESDALE AVE
DITMAN ST                    GILLINGHAM ST                 PEAR ST
DITMAN ST                    PEAR ST                       ORTHODOX ST
PAUL ST                      VANDIKE ST                    TORRESDALE AVE
EDGEMONT ST                  DEAD END NORTH                E JUNIATA ST
E JUNIATA ST                 E THOMPSON ST                 EDGEMONT ST
E JUNIATA ST                 EDGEMONT ST                   SALMON ST
E THOMPSON ST                E JUNIATA ST                  DEAD END WEST
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BUCKIUS ST                    DEAD END EAST                 BELGRADE ST
E LUZERNE ST                  ALMOND ST                     DEAD END EAST
RUAN ST                       ORCHARD ST                    CLOUD ST
RUAN ST                       CLOUD ST                      TACKAWANNA ST
WAKELING ST                   TACONY ST                     DEAD END SOUTH
ORTHODOX ST                   N DELAWARE AVE                CUL DE SAC SOUTH
LEWIS ST                      ADAMS AVE                     DEAD END EAST
MANATAWNA AVE                 HAGYS MILL RD                 RIDGE AVE
GLENGARRY RD                  CHEROKEE ST                   SAINT ANDREW RD
STEEPLE DR                    CATHEDRAL RD                  PRELATE CIR
SAINT ANDREW RD               CHEROKEE ST                   GLENGARRY RD
CHEROKEE ST                   DRUIM MOIR LN                 W HARTWELL LN
W TELNER ST                   HURON ST                      CHEROKEE ST
MORELAND CIR                  CHEROKEE ST                   CHEROKEE ST
WOLCOTT DR                    CORNELIA PL                   VALLEY GREEN RD
MC CALLUM ST                  DAVIDSON RD                   WOLCOTT DR
WOLCOTT DR                    MC CALLUM ST                  CORNELIA PL
HIOLA RD                      HAGNER ST                     HAGNER ST
HAGNER ST                     HILL RD                       HIOLA RD
SHALKOP ST                    DOMINO LN                     VALLEY AVE
HILL RD                       VALLEY AVE                    HAGNER ST
KEIFFER ST                    VALLEY AVE                    HILL RD
CLAIRE RD                     HILL RD                       CREASE LN
CARDIN RD                     HILL RD                       VOIGT RD
WARTMAN ST                    MATTHIAS ST                   LAWNTON ST
GORGAS LN                     LAWNTON ST                    DEAD END NORTH
LAWNTON ST                    PEDLEY RD                     FOUNTAIN ST
GATES ST                      HENRY AVE                     HENRY AVE
FAIRWAY TER                   FOUNTAIN ST                   SHALKOP ST
LOTHIAN PL                    GRAKYN LN                     GRAKYN LN
TIONA ST                      CATHEDRAL RD                  GRAKYN LN
CATHEDRAL RD                  HENRY AVE                     BRIERDALE RD
CHIPPEWA RD                   GLEN CAMPBELL RD              LOMOND LN
SEFFERT ST                    LAWNTON ST                    CRESTVIEW RD
EVA ST                        SUMMIT AVE                    PORT ROYAL AVE
AURANIA ST                    GRANVILLE RD                  RIDGE AVE
FLAMINGO ST                   SHAWMONT AVE                  ORIOLE ST
ORIOLE ST                     SHAWMONT AVE                  FLAMINGO ST
VALLEY AVE                    WIGARD AVE                    SHAWMONT AVE
DEARNLEY ST                   SILVERWOOD ST                 EVA ST
FLAMINGO ST                   FOWLER ST                     SILVERWOOD ST
DEARNLEY ST                   NEWLAND ST                    GREEN TREE RUN
LAWN ST                       EDSALL ST                     FLAMINGO ST
WIGARD AVE                    CULP ST                       MANTI ST
EVA ST                        DEARNLEY ST                   MINERVA ST
LAWN ST                       WIGARD AVE                    EDSALL ST
NEWLAND ST                    FLAMINGO ST                   DEAD END SOUTH
FORBIDDEN DR                  W MOUNT AIRY AVE              VALLEY GREEN RD
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HENDREN ST                     SPRING LN                     RIDGE AVE
STEEPLE DR                     VESTRY CIR                    BELFRY DR
TOWANDA AVE                    W MORELAND AVE                W SPRINGFIELD AVE
CHEROKEE ST                    SAINT ANDREW RD               GLENGARRY RD
STEEPLE DR                     PRELATE CIR                   VESTRY CIR
BELFRY DR                      CLOISTER CIR                  STEEPLE DR
CATHEDRAL CIR                  CATHEDRAL RD                  CUL DE SAC NORTH
W MORELAND AVE                 TOWANDA AVE                   HURON ST
HURON ST                       W MORELAND AVE                W SPRINGFIELD AVE
SUNSET AVE                     PEMBROOK RD                   RIDGE AVE
W SPRINGFIELD AVE              HURON ST                      VALLEY GREEN RD
SUNSET AVE                     HARNER ST                     PEMBROOK RD
BASILICA CIR                   BELFRY DR                     CUL DE SAC NORTH
CATHEDRAL RD                   BELFRY DR                     STEEPLE DR
HURON ST                       W TELNER ST                   W MERMAID LN
SAINT MARTINS LN               HURON ST                      W MERMAID LN
HURON ST                       SAINT MARTINS LN              W TELNER ST
IVINS RD                       PEMBROOK RD                   RIDGE AVE
PEMBROOK RD                    IVINS RD                      SUNSET AVE
GLENGARRY RD                   SAINT ANDREW RD               DEAD END SOUTH
W SPRINGFIELD AVE              VALLEY GREEN RD               CHEROKEE ST
IVINS RD                       HARNER ST                     PEMBROOK RD
HARNER ST                      IVINS RD                      SUNSET AVE
CHEROKEE ST                    MORELAND CIR                  W SPRINGFIELD AVE
W MORELAND AVE                 HURON ST                      CHEROKEE ST
CHEROKEE ST                    W MORELAND AVE                MORELAND CIR
CHEROKEE ST                    MORELAND CIR                  W MORELAND AVE
HARNER ST                      PORT ROYAL AVE                IVINS RD
CHEROKEE ST                    W MERMAID LN                  MORELAND CIR
WOLCOTT DR                     CHEROKEE ST                   MC CALLUM ST
CHEROKEE ST                    W TELNER ST                   W MERMAID LN
MC CALLUM ST                   W MERMAID LN                  DAVIDSON RD
DAVIDSON RD                    MC CALLUM ST                  CUL DE SAC SOUTH
PORT ROYAL AVE                 EVA ST                        HAGYS MILL RD
KEIFFER ST                     RENZ ST                       WIGARD AVE
HAGNER ST                      HIOLA RD                      HIOLA RD
KEIFFER ST                     HILL RD                       RENZ ST
RENZ ST                        HILL RD                       KEIFFER ST
KEIFFER ST                     HILL RD                       HILL RD
HILL RD                        KEIFFER ST                    RENZ ST
CINNAMINSON ST                 CREASE LN                     HENRY AVE
RENZ ST                        VALLEY AVE                    HILL RD
HAGNER ST                      HILL RD                       HILL RD
HILL RD                        HAGNER ST                     KEIFFER ST
CREASE LN                      CLAIRE RD                     CINNAMINSON ST
HAGNER ST                      VALLEY AVE                    HILL RD
CREASE LN                      HENRY AVE                     HILL RD
CINNAMINSON ST                 HILL RD                       CREASE LN
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PAOLI AVE                      SHALKOP ST                    LAWNTON ST
CINNAMINSON ST                 VALLEY AVE                    HILL RD
MATTHIAS ST                    WARTMAN ST                    DOMINO LN
SHALKOP ST                     MATTHIAS ST                   PAOLI AVE
PAOLI AVE                      MATTHIAS ST                   SHALKOP ST
MATTHIAS ST                    PAOLI AVE                     WARTMAN ST
DOMINO LN                      RIDGE AVE                     MATTHIAS ST
MATTHIAS ST                    SHALKOP ST                    PAOLI AVE
LIVEZEY ST                     LAWNTON ST                    VALLEY AVE
LAWNTON ST                     LIVEZEY ST                    PAOLI AVE
LIVEZEY ST                     LAWNTON ST                    LAWNTON ST
LIVEZEY ST                     SHALKOP ST                    LAWNTON ST
SHALKOP ST                     LIVEZEY ST                    MATTHIAS ST
LAWNTON ST                     PARKER AVE                    LIVEZEY ST
PARKER AVE                     MATTHIAS ST                   LAWNTON ST
FAIRTHORNE ST                  MATTHIAS ST                   DEAD END EAST
MATTHIAS ST                    FAIRTHORNE ST                 PARKER AVE
FAIRTHORNE ST                  RIDGE AVE                     MATTHIAS ST
FOUNTAIN ST                    LAWNTON ST                    HENRY AVE
FOUNTAIN ST                    SHALKOP ST                    LAWNTON ST
ACORN ST                       LAWNTON ST                    HENRY AVE
ACORN ST                       LAWNTON ST                    LAWNTON ST
GATES ST                       LAWNTON ST                    HENRY AVE
FOUNTAIN ST                    HAZELWOOD LN                  FAIRWAY TER
FOUNTAIN ST                    MATTHIAS ST                   HAZELWOOD LN
ACORN ST                       HAZELWOOD LN                  SHALKOP ST
FOUNTAIN ST                    RIDGE AVE                     MATTHIAS ST
GATES ST                       RIDGE AVE                     LAWNTON ST
GRAKYN LN                      TIONA ST                      OLD LINE RD
GRAKYN LN                      LOTHIAN PL                    LOTHIAN PL
INVERNESS LN                   WISSAHICKON AVE               SCOTIA RD
GRAKYN LN                      BRIERDALE RD                  LOTHIAN PL
BRIERDALE RD                   GRAKYN LN                     GRAKYN LN
CATHEDRAL RD                   OLD LINE RD                   SAGAMORE RD
OLD LINE RD                    CATHEDRAL RD                  GRAKYN LN
LOMOND LN                      CHIPPEWA RD                   GLENROY RD
SCOTIA RD                      LYKENS LN                     WISSAHICKON AVE
BRIERDALE RD                   CATHEDRAL RD                  GRAKYN LN
GRAKYN LN                      RIDGE AVE                     BRIERDALE RD
INVERNESS LN                   LYKENS LN                     GLEN CAMPBELL RD
CATHEDRAL RD                   BRIERDALE RD                  TIONA ST
LOMOND LN                      GLEN CAMPBELL RD              CHIPPEWA RD
GLEN CAMPBELL RD               LOMOND LN                     WISSAHICKON AVE
CATHEDRAL RD                   TIONA ST                      OLD LINE RD
SCOTIA RD                      OLD LINE RD                   LYKENS LN
OLD LINE RD                    SCOTIA RD                     CATHEDRAL RD
OLD LINE RD                    PORT ROYAL AVE                SCOTIA RD
GLEN CAMPBELL RD               CHIPPEWA RD                   LOMOND LN
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CHIPPEWA RD                    GLEN CAMPBELL RD              CUL DE SAC WEST
GLEN CAMPBELL RD               CHIPPEWA RD                   CHIPPEWA RD
GLEN CAMPBELL RD               OLD LINE RD                   CHIPPEWA RD
OLD LINE RD                    GLEN CAMPBELL RD              PORT ROYAL AVE
OLD LINE RD                    SUMMIT AVE                    GLEN CAMPBELL RD
PORT ROYAL AVE                 HENRY AVE                     OLD LINE RD
SUMMIT AVE                     SUMMIT PL                     OLD LINE RD
SUMMIT PL                      CUL DE SAC EAST               SUMMIT AVE
SEFFERT ST                     HENRY AVE                     LAWNTON ST
PORT ROYAL AVE                 RIDGE AVE                     HENRY AVE
CRESTVIEW RD                   LAWNTON ST                    KEELY PL
KEELY ST                       KEELY CT                      LAWNTON ST
CRESTVIEW RD                   HENRY AVE                     LAWNTON ST
SUMMIT AVE                     HENRY AVE                     CADILLAC LN
CRESTVIEW RD                   RIDGE AVE                     HENRY AVE
SUMMIT AVE                     LARE ST                       RIDGE AVE
LARE ST                        SUMMIT AVE                    PORT ROYAL AVE
CHESWICK RD                    RIDGE AVE                     HENRY AVE
SUMMIT AVE                     LARE ST                       LARE ST
EVERGREEN AVE                  LARE ST                       RIDGE AVE
LARE ST                        EVERGREEN AVE                 SUMMIT AVE
SUMMIT AVE                     GRANVILLE RD                  LARE ST
PALAIRET RD                    KEIFFER ST                    HENRY AVE
EVERGREEN AVE                  GRANVILLE RD                  LARE ST
GRANVILLE RD                   EVERGREEN AVE                 SUMMIT AVE
PALAIRET RD                    LAWNTON ST                    KEIFFER ST
SUMMIT AVE                     EVA ST                        GRANVILLE RD
GRANVILLE RD                   AURANIA ST                    EVERGREEN AVE
PALAIRET RD                    MATTHIAS ST                   LAWNTON ST
EVERGREEN AVE                  GETTYSBURG AVE                GRANVILLE RD
EVA ST                         EVERGREEN AVE                 SUMMIT AVE
WISES MILL RD                  KEIFFER ST                    HENRY AVE
KEIFFER ST                     WISES MILL RD                 PALAIRET RD
WISES MILL RD                  LAWNTON ST                    KEIFFER ST
LAWNTON ST                     WISES MILL RD                 PALAIRET RD
AURANIA ST                     EVA ST                        GRANVILLE RD
EVA ST                         AURANIA ST                    EVERGREEN AVE
GRANVILLE RD                   SHAWMONT AVE                  AURANIA ST
WISES MILL RD                  MATTHIAS ST                   LAWNTON ST
MATTHIAS ST                    WISES MILL RD                 PALAIRET RD
WISES MILL RD                  SHAWMONT AVE                  MATTHIAS ST
EVA ST                         SHAWMONT AVE                  AURANIA ST
BEAN ST                        MINERVA ST                    SHAWMONT AVE
WIGARD AVE                     KEIFFER ST                    HENRY AVE
WIGARD AVE                     SHAWMONT AVE                  KEIFFER ST
DEARNLEY ST                    EVA ST                        RIDGE AVE
FLAMINGO ST                    SILVERWOOD ST                 RIDGE AVE
SILVERWOOD ST                  FLAMINGO ST                   DEARNLEY ST
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WIGARD AVE                    RIDGE AVE                     VALLEY AVE
DEARNLEY ST                   FOWLER ST                     SILVERWOOD ST
SILVERWOOD ST                 ORIOLE ST                     FLAMINGO ST
ORIOLE ST                     SILVERWOOD ST                 RIDGE AVE
ORIOLE ST                     DEAD END WEST                 SILVERWOOD ST
DEARNLEY ST                   GREEN TREE RUN                FOWLER ST
WIGARD AVE                    SILVERWOOD ST                 RIDGE AVE
SILVERWOOD ST                 WIGARD AVE                    ORIOLE ST
FLAMINGO ST                   PAWLING ST                    FOWLER ST
FLAMINGO ST                   MANTI ST                      PAWLING ST
MANTI ST                      FLAMINGO ST                   GREEN TREE RUN
FLAMINGO ST                   CULP ST                       MANTI ST
PAWLING ST                    WIGARD AVE                    FLAMINGO ST
FLAMINGO ST                   HILLSIDE AVE                  LAWN ST
FLAMINGO ST                   DEARNLEY ST                   CULP ST
FLAMINGO ST                   LAWN ST                       DEARNLEY ST
HILLSIDE AVE                  SHAW ST                       FLAMINGO ST
WIGARD AVE                    MANTI ST                      PAWLING ST
MANTI ST                      WIGARD AVE                    FLAMINGO ST
CULP ST                       FLAMINGO ST                   WIGARD AVE
MINERVA ST                    BEAN ST                       RIDGE AVE
MINERVA ST                    EVA ST                        BEAN ST
EVA ST                        MINERVA ST                    SHAWMONT AVE
DEARNLEY ST                   SILVERWOOD ST                 SILVERWOOD ST
SILVERWOOD ST                 DEARNLEY ST                   DEAD END NORTH
SUMMIT AVE                    RIDGE AVE                     HENRY AVE
HARMON RD                     FOWLER ST                     RIDGE AVE
FOWLER ST                     DOMINO LN                     HARMON RD
PAOLI AVE                     PECHIN ST                     RIDGE AVE
PAOLI AVE                     SILVERWOOD ST                 PECHIN ST
ULMER ST                      MITCHELL ST                   PECHIN ST
PECHIN ST                     ULMER ST                      PAOLI AVE
SILVERWOOD ST                 LEROY ST                      PAOLI AVE
PARKER AVE                    MITCHELL ST                   RIDGE AVE
MITCHELL ST                   PARKER AVE                    ULMER ST
LEROY ST                      FOWLER ST                     SILVERWOOD ST
LEROY ST                      PAWLING ST                    FOWLER ST
PARKER AVE                    PECHIN ST                     MITCHELL ST
PECHIN ST                     PARKER AVE                    ULMER ST
LEROY ST                      MANTI ST                      PAWLING ST
LIVEZEY ST                    SILVERWOOD ST                 CUL DE SAC NORTH
SILVERWOOD ST                 LIVEZEY ST                    LEROY ST
LIVEZEY ST                    FOWLER ST                     SILVERWOOD ST
FOWLER ST                     LIVEZEY ST                    LEROY ST
CINNAMINSON ST                MITCHELL ST                   RIDGE AVE
MITCHELL ST                   CINNAMINSON ST                PARKER AVE
LIVEZEY ST                    PAWLING ST                    FOWLER ST
PAWLING ST                    LIVEZEY ST                    LEROY ST
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PARKER AVE                    SILVERWOOD ST                 GINGER LN
SILVERWOOD ST                 PARKER AVE                    LIVEZEY ST
PAOLI AVE                     CLIFF RD                      SILVERWOOD ST
LIVEZEY ST                    MANTI ST                      PAWLING ST
MANTI ST                      LIVEZEY ST                    LEROY ST
CINNAMINSON ST                PECHIN ST                     MITCHELL ST
PECHIN ST                     CINNAMINSON ST                PARKER AVE
LIVEZEY ST                    LEROY ST                      MANTI ST
HILL RD                       VOIGT RD                      CREASE LN
HILL RD                       CINNAMINSON ST                CLAIRE RD
HILL RD                       CARDIN RD                     VOIGT RD
HILL RD                       CLAIRE RD                     CARDIN RD
LEMONTE ST                    PECHIN ST                     RIDGE AVE
DELMAR ST                     PECHIN ST                     RIDGE AVE
PECHIN ST                     DELMAR ST                     LEMONTE ST
LAWNTON ST                    HERMITAGE ST                  GATES ST
LAWNTON ST                    LEVERINGTON AVE               HERMITAGE ST
HERMITAGE ST                  LAWNTON ST                    HENRY AVE
W ALLENS LN                   WISSAHICKON AVE               ALLENS PL
ALLENS PL                     W ALLENS LN                   CUL DE SAC SOUTH
W ALLENS LN                   ALLENS PL                     ORWELL RD
W MOUNT AIRY AVE              WISSAHICKON AVE               MOUNT AIRY PL
MOUNT AIRY PL                 W MOUNT AIRY AVE              CUL DE SAC EAST
W MOUNT AIRY AVE              MOUNT AIRY PL                 ORWELL RD
ORWELL RD                     W MOUNT AIRY AVE              W ALLENS LN
MOUNT PLEASANT PL             N MOUNT PLEASANT AVE          CUL DE SAC WEST
W MOUNT AIRY AVE              ORWELL RD                     MOUNT AIRY TER
MOUNT AIRY TER                CUL DE SAC EAST               W MOUNT AIRY AVE
CAMPANILE RD                  BELFRY DR                     HAGYS MILL RD
BELFRY DR                     CATHEDRAL RD                  BASILICA CIR
CLOISTER CIR                  BELFRY DR                     CUL DE SAC WEST
PEMBROOK RD                   SUNSET AVE                    DEAD END NORTH
FOWLER ST                     FLAMINGO ST                   DEARNLEY ST
FOWLER ST                     FLAMINGO ST                   FLAMINGO ST
FOWLER ST                     DEAD END SOUTH                FLAMINGO ST
WIGARD AVE                    DEAD END WEST                 SILVERWOOD ST
LAWNTON ST                    KEELY ST                      SEFFERT ST
LAWNTON ST                    CRESTVIEW RD                  KEELY ST
KEELY CT                      CUL DE SAC WEST               HENRY AVE
CADILLAC LN                   SUMMIT AVE                    CUL DE SAC EAST
LEROY ST                      DEAD END SOUTH                MANTI ST
PARKER AVE                    DEAD END WEST                 MATTHIAS ST
HENRY AVE                     GATES ST                      ACORN ST
W ALLENS LN                   ORWELL RD                     CUL DE SAC WEST
LAWNTON ST                    DEAD END SOUTH                PARKER AVE
RIVER RD                      NIXON ST                      RIVER RD
WISSAHICKON AVE               GLEN CAMPBELL RD              SCOTIA RD
FORBIDDEN DR                  WISES MILL RD                 REX AVE
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SPRING LN                     CUL DE SAC WEST               HAGYS MILL RD
CATHEDRAL RD                  STEEPLE DR                    CATHEDRAL CIR
VESTRY CIR                    CUL DE SAC SOUTH              STEEPLE DR
PRELATE CIR                   CUL DE SAC SOUTH              STEEPLE DR
CORNELIA PL                   CUL DE SAC SOUTH              WOLCOTT DR
KEELY PL                      CUL DE SAC SOUTH              SEFFERT ST
CATHEDRAL RD                  CATHEDRAL CIR                 HENRY AVE
VOIGT RD                      CARDIN RD                     HILL RD
SHALKOP ST                    OVERLOOK RD                   FOUNTAIN ST
LYKENS LN                     SCOTIA RD                     INVERNESS LN
EDSALL ST                     SHAW ST                       LAWN ST
SHAW ST                       EDSALL ST                     HILLSIDE AVE
WIGARD AVE                    DEAD END WEST                 LAWN ST
BELFRY DR                     CAMPANILE RD                  CLOISTER CIR
BELFRY DR                     BASILICA CIR                  CAMPANILE RD
RENZ ST                       KEIFFER ST                    HAGNER ST
SILVERWOOD ST                 PAOLI AVE                     DEAD END NORTH
NIXON ST                      N SCHUYLKILL RIVER TRL        PORT ROYAL AVE
NIXON ST                      DEAD END EAST                 SHAWMONT AVE
SHAWMONT AVE                  NIXON ST                      MINERVA ST
LAWNTON ST                    FOUNTAIN ST                   GORGAS LN
MATTHIAS ST                   FOUNTAIN ST                   OVERLOOK RD
OVERLOOK RD                   MATTHIAS ST                   SHALKOP ST
LAWNTON ST                    ACORN ST                      FAIRWAY TER
SHALKOP ST                    ACORN ST                      FAIRWAY TER
HAZELWOOD LN                  ACORN ST                      FOUNTAIN ST
HENRY AVE                     ACORN ST                      FOUNTAIN ST
FOUNTAIN ST                   FAIRWAY TER                   SHALKOP ST
FAIRWAY TER                   PEDLEY RD                     LAWNTON ST
LAWNTON ST                    FAIRWAY TER                   PEDLEY RD
LAWNTON ST                    GATES ST                      ACORN ST
ACORN ST                      SHALKOP ST                    LAWNTON ST
ACORN ST                      RIDGE AVE                     HAZELWOOD LN
LIVEZEY LN                    VALLEY AVE                    HENRY AVE
GORGAS LN                     RIDGE AVE                     LAWNTON ST
CREASE LN                     HILL RD                       CLAIRE RD
GRAKYN LN                     LOTHIAN PL                    TIONA ST
WIGARD AVE                    PAWLING ST                    DEAD END EAST
W MOUNT AIRY AVE              MOUNT AIRY TER                W MOUNT AIRY AVE
PARKER AVE                    GINGER LN                     CINNAMON DR
PARKER AVE                    CINNAMON DR                   PECHIN ST
WIGARD AVE                    HENRY AVE                     DEAD END EAST
IVINS RD                      RIDGE AVE                     HENRY AVE RAMP
FORBIDDEN DR                  VALLEY GREEN RD               WISES MILL RD
SYCAMORE LN                   SPRING LN                     LANTERN LN
SYCAMORE LN                   LANTERN LN                    CUL DE SAC NORTH
LANTERN LN                    SYCAMORE LN                   BUTTONWOOD PL
BUTTONWOOD PL                 CUL DE SAC EAST               LANTERN LN
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BUTTONWOOD PL                    LANTERN LN                    GREENHILL LN
BUTTONWOOD PL                    GREENHILL LN                  CUL DE SAC WEST
GREENHILL LN                     LANTERN LN                    BUTTONWOOD PL
GREENHILL LN                     DEAD END SOUTH                LANTERN LN
LANTERN LN                       GREENHILL LN                  SYCAMORE LN
SUMMIT AVE                       PARKWOOD LN                   SUMMIT PL
CHEROKEE ST                      W SPRINGFIELD AVE             DRUIM MOIR LN
VALLEY GREEN RD                  W SPRINGFIELD AVE             WOLCOTT DR
BRIERDALE RD                     CUL DE SAC SOUTH              DEAD END EAST
VALLEY GREEN CT                  CUL DE SAC WEST               HENRY AVE
HARNER ST                        SUNSET AVE                    DEAD END NORTH
EPIPHANY PL                      LIVEZEY ST                    CUL DE SAC NORTH
LIVEZEY ST                       RIDGE AVE                     EPIPHANY PL
LIVEZEY ST                       EPIPHANY PL                   SHALKOP ST
PORT ROYAL AVE                   RIVER RD                      N SCHUYLKILL RIVER TRL
PORT ROYAL AVE                   N SCHUYLKILL RIVER TRL        EVA ST
N SCHUYLKILL RIVER TRL           PORT ROYAL AVE                SCHUYLKILL RIVER TRL
W MOUNT AIRY AVE                 W MOUNT AIRY AVE              FORBIDDEN DR
VALLEY GREEN RD                  WOLCOTT DR                    VALLEY GREEN RD
VALLEY GREEN RD                  VALLEY GREEN RD               FORBIDDEN DR
SHAWMONT AVE                     N SCHUYLKILL RIVER TRL        NIXON ST
SHAWMONT AVE                     N SCHUYLKILL RIVER TRL        N SCHUYLKILL RIVER TRL
N SCHUYLKILL RIVER TRL           SHAWMONT AVE                  SHAWMONT AVE
N SCHUYLKILL RIVER TRL           N SCHUYLKILL RIVER TRL        SHAWMONT AVE
SUMMIT AVE                       YELLOW TRL                    PARKWOOD LN
SUMMIT AVE                       CADILLAC LN                   YELLOW TRL
WISES MILL RD                    YELLOW TRL                    FORBIDDEN DR
WISES MILL RD                    HENRY AVE                     YELLOW TRL
W MOUNT AIRY AVE                 W MOUNT AIRY AVE              ORANGE TRL
W MOUNT AIRY AVE                 ORANGE TRL                    W MOUNT AIRY AVE
LIVEZEY LN                       W ALLENS LN                   WHITE TRL
LIVEZEY LN                       WHITE TRL                     ORANGE TRL
PEDLEY RD                        SHALKOP ST                    LAWNTON ST
N SCHUYLKILL RIVER TRL           PORT ROYAL AVE                SHAWMONT AVE
CRESHEIM RD                      W ALLENS LN                   EMLEN ST
W DURHAM ST                      BRYAN ST                      CRESHEIM RD
N MOUNT PLEASANT RD              S MOUNT PLEASANT RD           GREENE ST
SHERMAN ST                       W MOUNT AIRY AVE              W ALLENS LN
GLEN ECHO RD                     MC CALLUM ST                  S MOUNT PLEASANT RD
WAYNE AVE                        N MOUNT PLEASANT RD           W MOUNT AIRY AVE
WAYNE AVE                        W MOUNT AIRY AVE              W ALLENS LN
W MOUNT AIRY AVE                 WAYNE AVE                     WISSAHICKON AVE
W ELLET ST                       GREENE ST                     S MOUNT PLEASANT RD
W PHIL ELLENA ST                 GREENE ST                     SHERMAN ST
ARBUTUS ST                       WAYNE AVE                     BURNHAM RD
WAYNE AVE                        W HORTTER ST                  W SPRINGER ST
WAYNE AVE                        W UPSAL ST                    W HORTTER ST
SPRINGBANK ST                    WESTVIEW AVE                  DEAD END SOUTH
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PARK LINE DR                    W CLIVEDEN ST                 W UPSAL ST
ROSEMARY LN                     EMLEN ST                      LINCOLN DR
CARPENTER LN                    EMLEN ST                      EMLEN ST
PELHAM RD                       CRESHEIM RD                   QUINCY ST
CHEROKEE ST                     PELHAM RD                     LINCOLN DR
W HORTTER ST                    PELHAM RD                     MC CALLUM ST
W HORTTER ST                    GREENE ST                     LINCOLN DR
W UPSAL ST                      GREENE ST                     LINCOLN DR
W CLIVEDEN ST                   GREENE ST                     DEAD END SOUTH
W JOHNSON ST                    SHERMAN ST                    WAYNE AVE
W WALNUT LN                     GERMANTOWN AVE                MC CALLUM ST
HARVEY ST                       PULASKI AVE                   LINCOLN DR
HARVEY ST                       CONCORD ST                    MC CALLUM ST
HIGH ST                         BELFIELD AVE                  CHEW AVE
LENA ST                         E RITTENHOUSE ST              NARRAGANSETT ST
E HAINES ST                     GERMANTOWN AVE                BAYNTON ST
MUSGRAVE ST                     E PRICE ST                    E HAINES ST
MORTON ST                       E RITTENHOUSE ST              E HAINES ST
MAGNOLIA ST                     E CHELTEN AVE                 DEAD END WEST
MORTON ST                       E PRICE ST                    E RITTENHOUSE ST
MORTON ST                       E CHELTEN AVE                 E PRICE ST
E HAINES ST                     OSCEOLA ST                    MORTON ST
E RITTENHOUSE ST                OSCEOLA ST                    MORTON ST
E HAINES ST                     MUSGRAVE ST                   MC MAHON AVE
CROWSON ST                      LOCUST AVE                    GRAY ST
E ARMAT ST                      LENA ST                       BAYNTON ST
CHURCH LN                       BAYNTON ST                    BAYNTON ST
E PENN ST                       RUFE ST                       BELFIELD AVE
E COULTER ST                    W COULTER ST                  LENA ST
E ASHMEAD ST                    RUBICAM ST                    DEAD END NORTH
RUBICAM ST                      COLLOM ST                     ARMSTRONG ST
E LOGAN ST                      ELWOOD ST                     N 20TH ST
WAKEFIELD ST                    SHEDAKER ST                   E CLAPIER ST
SHELDON ST                      SHEDAKER ST                   E WISTER ST
E WISTER ST                     W CLARKSON AVE                ELKINS AVE
E PENN ST                       WINGOHOCKING TER              MAGNOLIA ST
LINDLEY AVE                     OGONTZ AVE                    E LOGAN ST
W FISHER AVE                    N 16TH ST                     OGONTZ AVE
N 16TH ST                       W FISHER AVE                  W SOMERVILLE AVE
ARDLEIGH ST                     E UPSAL ST                    E PHIL ELLENA ST
ARDLEIGH ST                     E DUVAL ST                    E JOHNSON ST
E JOHNSON ST                    BOYER ST                      SPRAGUE ST
E CLIVEDEN ST                   BOYER ST                      SPRAGUE ST
E HAINES ST                     AVONHOE RD                    BOYER ST
GERRY ST                        66TH AVE                      EASTBURN AVE
N 20TH ST                       W LAVEER ST                   LIMEKILN PIKE
N LAMBERT ST                    W CHAMPLOST AVE               CHURCH LN
W NEDRO AVE                     OGONTZ AVE                    N 19TH ST
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N 16TH ST                     W OLNEY AVE                   W CHEW AVE
S MOUNT PLEASANT RD           MARION LN                     SHERMAN ST
SCOTFORTH RD                  KITCHENS LN                   DEAD END WEST
GRAY ST                       DEAD END SOUTH                CHEW AVE
N 18TH ST                     66TH AVE                      67TH AVE
N 20TH ST                     RIDLEY ST                     66TH AVE
W 65TH AVE                    OGONTZ AVE                    N UBER ST
W 65TH AVE                    N UBER ST                     N 20TH ST
N 20TH ST                     W 65TH AVE                    RIDLEY ST
W 65TH AVE                    N GRATZ ST                    OGONTZ AVE
W 65TH AVE                    N 20TH ST                     LIMEKILN PIKE
N 18TH ST                     W 65TH AVE                    66TH AVE
W 65TH AVE                    N 18TH ST                     N GRATZ ST
W 65TH AVE                    N BOUVIER ST                  N 18TH ST
W 65TH AVE                    N 17TH ST                     N BOUVIER ST
N 20TH ST                     COLONIAL ST                   W 65TH AVE
N 18TH ST                     COLONIAL ST                   W 65TH AVE
N 20TH ST                     STENTON AVE                   COLONIAL ST
N 18TH ST                     CHELTEN AVE                   COLONIAL ST
RURAL LN                      W ALLENS LN                   DEAD END NORTH
CRESHEIM RD                   W MOUNT AIRY AVE              NIPPON ST
CRESHEIM RD                   W DURHAM ST                   W MOUNT AIRY AVE
CRESHEIM RD                   W MOUNT PLEASANT AVE          W DURHAM ST
CRESHEIM RD                   NIPPON ST                     W ALLENS LN
BRYAN ST                      NIPPON ST                     W ALLENS LN
BRYAN ST                      W DURHAM ST                   W MOUNT AIRY AVE
BRYAN ST                      W MOUNT PLEASANT AVE          W DURHAM ST
NIPPON ST                     CHARLTON ST                   LINCOLN DR
BRYAN ST                      W MOUNT AIRY AVE              NIPPON ST
BRYAN ST                      NIPPON ST                     NIPPON ST
W MOUNT AIRY AVE              BRYAN ST                      CRESHEIM RD
W MOUNT AIRY AVE              CRESHEIM RD                   DEAD END SOUTH
W MOUNT AIRY AVE              LINCOLN DR                    EMLEN ST
WELLESLEY RD                  LINCOLN DR                    EMLEN ST
W MOUNT PLEASANT AVE          LINCOLN DR                    EMLEN ST
W MOUNT AIRY AVE              EMLEN ST                      CHEROKEE ST
WELLESLEY RD                  EMLEN ST                      CHEROKEE ST
CHEROKEE ST                   WELLESLEY RD                  W MOUNT AIRY AVE
W DURHAM ST                   EMLEN ST                      CHEROKEE ST
W MOUNT PLEASANT AVE          EMLEN ST                      CHEROKEE ST
NIPPON ST                     BRYAN ST                      CRESHEIM RD
W DURHAM ST                   LINCOLN DR                    EMLEN ST
NIPPON ST                     GERMANTOWN AVE                BRYAN ST
W MOUNT AIRY AVE              GERMANTOWN AVE                BRYAN ST
BRYAN ST                      W ALLENS LN                   W GOWEN AVE
GREENE ST                     W MOUNT AIRY AVE              W ALLENS LN
S MOUNT PLEASANT RD           MC CALLUM ST                  S MOUNT PLEASANT RD
GREENE ST                     N MOUNT PLEASANT RD           W MOUNT AIRY AVE
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GREENE ST                     S MOUNT PLEASANT RD           N MOUNT PLEASANT RD
N MOUNT PLEASANT RD           GREENE ST                     SHERMAN ST
SHERMAN ST                    SHERMAN ST                    W MOUNT AIRY AVE
SHERMAN ST                    N MOUNT PLEASANT RD           SHERMAN ST
GREENE ST                     W ELLET ST                    S MOUNT PLEASANT RD
N MOUNT PLEASANT RD           SHERMAN ST                    SHERMAN ST
SHERMAN ST                    N MOUNT PLEASANT RD           SHERMAN ST
MARION LN                     S MOUNT PLEASANT RD           CUL DE SAC EAST
N MOUNT PLEASANT RD           SHERMAN ST                    WAYNE AVE
GREENE ST                     W SEDGWICK ST                 W ELLET ST
GREENE ST                     CARPENTER LN                  W SEDGWICK ST
SHERMAN ST                    W SEDGWICK ST                 W ELLET ST
GREENE ST                     WESTVIEW AVE                  CARPENTER LN
GREENE ST                     W PHIL ELLENA ST              WESTVIEW AVE
SHERMAN ST                    CARPENTER LN                  W SEDGWICK ST
GREENE ST                     LINCOLN DR                    W PHIL ELLENA ST
SHERMAN ST                    WESTVIEW AVE                  CARPENTER LN
N MOUNT PLEASANT RD           WAYNE AVE                     WISSAHICKON AVE
SHERMAN ST                    W PHIL ELLENA ST              WESTVIEW AVE
CHEROKEE ST                   W MOUNT PLEASANT AVE          W DURHAM ST
W MOUNT AIRY AVE              CHEROKEE ST                   MC CALLUM ST
GLEN ECHO RD                  EMLEN ST                      CHEROKEE ST
CHEROKEE ST                   GLEN ECHO RD                  W MOUNT PLEASANT AVE
CHEROKEE ST                   W ELLET ST                    GLEN ECHO RD
W MOUNT PLEASANT AVE          CHEROKEE ST                   MC CALLUM ST
W MOUNT AIRY AVE              MC CALLUM ST                  GREENE ST
GLEN ECHO RD                  CHEROKEE ST                   MC CALLUM ST
W SEDGWICK ST                 LINCOLN DR                    CHEROKEE ST
W ELLET ST                    CHEROKEE ST                   MC CALLUM ST
CARPENTER LN                  LINCOLN DR                    CHEROKEE ST
CHEROKEE ST                   CARPENTER LN                  W SEDGWICK ST
W SEDGWICK ST                 CHEROKEE ST                   MC CALLUM ST
W MOUNT AIRY AVE              GREENE ST                     SHERMAN ST
CARPENTER LN                  CHEROKEE ST                   MC CALLUM ST
W ELLET ST                    MC CALLUM ST                  GREENE ST
W MOUNT AIRY AVE              SHERMAN ST                    WAYNE AVE
WESTVIEW AVE                  CHEROKEE ST                   MC CALLUM ST
W SEDGWICK ST                 GREENE ST                     SHERMAN ST
WESTVIEW AVE                  MC CALLUM ST                  GREENE ST
W SEDGWICK ST                 SHERMAN ST                    HEYWARD ST
CARPENTER LN                  GREENE ST                     SHERMAN ST
W SEDGWICK ST                 HEYWARD ST                    HENLEY ST
CARPENTER LN                  SHERMAN ST                    HEYWARD ST
HEYWARD ST                    CARPENTER LN                  W SEDGWICK ST
WESTVIEW AVE                  GREENE ST                     SHERMAN ST
W SEDGWICK ST                 HENLEY ST                     WAYNE AVE
CARPENTER LN                  HEYWARD ST                    HENLEY ST
HENLEY ST                     CARPENTER LN                  W SEDGWICK ST
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CARPENTER LN                  HENLEY ST                     WAYNE AVE
WAYNE AVE                     CARPENTER LN                  W SEDGWICK ST
WESTVIEW AVE                  SHERMAN ST                    WAYNE AVE
WAYNE AVE                     WESTVIEW AVE                  CARPENTER LN
CARPENTER LN                  WAYNE AVE                     WISSAHICKON AVE
W ELLET ST                    EMLEN ST                      CHEROKEE ST
N MOUNT PLEASANT RD           MC CALLUM ST                  S MOUNT PLEASANT RD
WELLESLEY RD                  CHEROKEE ST                   MC CALLUM ST
GLEN ECHO RD                  LINCOLN DR                    EMLEN ST
W SEDGWICK ST                 WAYNE AVE                     WISSAHICKON AVE
ARBUTUS ST                    LINCOLN DR                    W PHIL ELLENA ST
W PHIL ELLENA ST              SHERMAN ST                    ARBUTUS ST
ARBUTUS ST                    W PHIL ELLENA ST              WAYNE AVE
WAYNE AVE                     ARBUTUS ST                    WESTVIEW AVE
WAYNE AVE                     BURNHAM RD                    ARBUTUS ST
W SPRINGER ST                 LINCOLN DR                    WAYNE AVE
BURNHAM RD                    WAYNE AVE                     ARBUTUS ST
W HORTTER ST                  LINCOLN DR                    WAYNE AVE
WAYNE AVE                     LINCOLN DR                    W UPSAL ST
W HORTTER ST                  WAYNE AVE                     WISSAHICKON AVE
WAYNE AVE                     W SPRINGER ST                 BURNHAM RD
WAYNE AVE                     BURNHAM RD                    BURNHAM RD
BURNHAM RD                    LINCOLN DR                    WAYNE AVE
WESTVIEW AVE                  WAYNE AVE                     WISSAHICKON AVE
WESTVIEW AVE                  WISSAHICKON AVE               SPRINGBANK ST
KITCHENS LN                   WISSAHICKON AVE               SCOTFORTH RD
WESTVIEW AVE                  SPRINGBANK ST                 DEAD END SOUTH
W CLIVEDEN ST                 WAYNE AVE                     LINCOLN DR
W UPSAL ST                    WAYNE AVE                     WISSAHICKON AVE
W HORTTER ST                  WISSAHICKON AVE               PARK LINE DR
W UPSAL ST                    WISSAHICKON AVE               PARK LINE DR
PARK LINE DR                  W UPSAL ST                    W HORTTER ST
W JOHNSON ST                  LINCOLN DR                    WISSAHICKON AVE
W KINGSLEY ST                 WISSAHICKON AVE               DANIEL ST
W JOHNSON ST                  WISSAHICKON AVE               W WALNUT LN
W SEDGWICK ST                 GERMANTOWN AVE                MOWER ST
MOWER ST                      W SEDGWICK ST                 W MOUNT PLEASANT AVE
W SEDGWICK ST                 MOWER ST                      CRESHEIM RD
CRESHEIM RD                   W SEDGWICK ST                 W MOUNT PLEASANT AVE
CRESHEIM RD                   IDELL ST                      W SEDGWICK ST
CARPENTER LN                  GERMANTOWN AVE                MOWER ST
MOWER ST                      CARPENTER LN                  W GORGAS LN
CRESHEIM RD                   DURAND ST                     IDELL ST
W SEDGWICK ST                 CRESHEIM RD                   WEATHAM ST
CARPENTER LN                  MOWER ST                      MOWER ST
CRESHEIM RD                   W GORGAS LN                   DURAND ST
IDELL ST                      CRESHEIM RD                   WEATHAM ST
WEATHAM ST                    IDELL ST                      W SEDGWICK ST
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CRESHEIM RD                     W GORGAS LN                   W GORGAS LN
DURAND ST                       CRESHEIM RD                   WEATHAM ST
WEATHAM ST                      DURAND ST                     IDELL ST
CARPENTER LN                    MOWER ST                      CRESHEIM RD
CRESHEIM RD                     CARPENTER LN                  W GORGAS LN
MOWER ST                        PELHAM RD                     CARPENTER LN
W GORGAS LN                     CRESHEIM RD                   WEATHAM ST
WEATHAM ST                      W GORGAS LN                   DURAND ST
CRESHEIM RD                     PELHAM RD                     CARPENTER LN
CRESHEIM RD                     WESTVIEW AVE                  PELHAM RD
CARPENTER LN                    CRESHEIM RD                   QUINCY ST
CARPENTER LN                    QUINCY ST                     EMLEN ST
QUINCY ST                       PELHAM RD                     CARPENTER LN
EMLEN ST                        W SEDGWICK ST                 ROSEMARY LN
EMLEN ST                        CARPENTER LN                  W SEDGWICK ST
PELHAM RD                       GERMANTOWN AVE                MOWER ST
PELHAM RD                       MOWER ST                      CRESHEIM RD
WESTVIEW AVE                    GERMANTOWN AVE                CRESHEIM RD
WESTVIEW AVE                    CRESHEIM RD                   QUINCY ST
QUINCY ST                       WESTVIEW AVE                  PELHAM RD
W PHIL ELLENA ST                GERMANTOWN AVE                QUINCY ST
QUINCY ST                       W PHIL ELLENA ST              WESTVIEW AVE
QUINCY ST                       W HORTTER ST                  W PHIL ELLENA ST
CARPENTER LN                    EMLEN ST                      LINCOLN DR
W PHIL ELLENA ST                QUINCY ST                     PELHAM RD
PELHAM RD                       QUINCY ST                     W PHIL ELLENA ST
W SEDGWICK ST                   EMLEN ST                      LINCOLN DR
W HORTTER ST                    GERMANTOWN AVE                QUINCY ST
W GORGAS LN                     MOWER ST                      CRESHEIM RD
EMLEN ST                        PELHAM RD                     CARPENTER LN
W JOHNSON ST                    GERMANTOWN AVE                EMLEN ST
W JOHNSON ST                    EMLEN ST                      CHEROKEE ST
W JOHNSON ST                    CHEROKEE ST                   MC CALLUM ST
W JOHNSON ST                    MC CALLUM ST                  GREENE ST
PELHAM RD                       W PHIL ELLENA ST              EMLEN ST
W HORTTER ST                    QUINCY ST                     EMLEN ST
EMLEN ST                        W HORTTER ST                  PELHAM RD
PELHAM RD                       EMLEN ST                      CHEROKEE ST
W SHARPNACK ST                  BERDAN ST                     EMLEN ST
EMLEN ST                        W SHARPNACK ST                W HORTTER ST
EMLEN ST                        W WEAVER ST                   W SHARPNACK ST
W UPSAL ST                      GERMANTOWN AVE                EMLEN ST
EMLEN ST                        W UPSAL ST                    W WEAVER ST
W HORTTER ST                    EMLEN ST                      CHEROKEE ST
CHEROKEE ST                     W SHARPNACK ST                W HORTTER ST
CHEROKEE ST                     W WEAVER ST                   W SHARPNACK ST
W HORTTER ST                    CHEROKEE ST                   PELHAM RD
PELHAM RD                       CHEROKEE ST                   W HORTTER ST
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W UPSAL ST                     EMLEN ST                      CHEROKEE ST
CHEROKEE ST                    W UPSAL ST                    W WEAVER ST
W CLIVEDEN ST                  EMLEN ST                      CHEROKEE ST
CHEROKEE ST                    W CLIVEDEN ST                 W UPSAL ST
MC CALLUM ST                   W HORTTER ST                  LINCOLN DR
CHEROKEE ST                    W JOHNSON ST                  W CLIVEDEN ST
W HORTTER ST                   MC CALLUM ST                  GREENE ST
W UPSAL ST                     CHEROKEE ST                   PELHAM RD
PELHAM RD                      W HORTTER ST                  W UPSAL ST
W UPSAL ST                     PELHAM RD                     GREENE ST
GOOD ST                        GERMANTOWN AVE                BERDAN ST
W WEAVER ST                    BERDAN ST                     EMLEN ST
W WEAVER ST                    EMLEN ST                      CHEROKEE ST
W SHARPNACK ST                 GERMANTOWN AVE                BERDAN ST
W WEAVER ST                    GERMANTOWN AVE                BERDAN ST
EMLEN ST                       W CLIVEDEN ST                 W UPSAL ST
EMLEN ST                       W JOHNSON ST                  W CLIVEDEN ST
BERDAN ST                      W SHARPNACK ST                W SHARPNACK ST
BERDAN ST                      W WEAVER ST                   W SHARPNACK ST
W JOHNSON ST                   GREENE ST                     SHERMAN ST
W DUVAL ST                     GREENE ST                     SHERMAN ST
SHERMAN ST                     W DUVAL ST                    W JOHNSON ST
MOYLAN ST                      W WASHINGTON LN               W POMONA ST
W POMONA ST                    MOYLAN ST                     SHERMAN ST
SHERMAN ST                     W POMONA ST                   W DUVAL ST
W JOHNSON ST                   WAYNE AVE                     LINCOLN DR
W TULPEHOCKEN ST               GREENE ST                     WAYNE AVE
W PASTORIUS ST                 GREENE ST                     WAYNE AVE
W WALNUT LN                    GREENE ST                     WAYNE AVE
MORRIS ST                      LINCOLN DR                    W WALNUT LN
W POMONA ST                    SHERMAN ST                    DEAD END SOUTH
SHERMAN ST                     W WASHINGTON LN               W POMONA ST
CHEROKEE ST                    W DUVAL ST                    W JOHNSON ST
CHEROKEE ST                    W POMONA ST                   W DUVAL ST
CHEROKEE ST                    W POMONA ST                   W POMONA ST
CHEROKEE ST                    W WASHINGTON LN               W POMONA ST
MC CALLUM ST                   W DUVAL ST                    W JOHNSON ST
MC CALLUM ST                   W POMONA ST                   W DUVAL ST
W DUVAL ST                     MC CALLUM ST                  AMBROSE ST
MC CALLUM ST                   W WASHINGTON LN               W POMONA ST
W POMONA ST                    MC CALLUM ST                  AMBROSE ST
AMBROSE ST                     W POMONA ST                   W DUVAL ST
W DUVAL ST                     AMBROSE ST                    BURBRIDGE ST
W TULPEHOCKEN ST               GERMANTOWN AVE                MC CALLUM ST
MC CALLUM ST                   W TULPEHOCKEN ST              W WASHINGTON LN
W DUVAL ST                     BURBRIDGE ST                  GREENE ST
MC CALLUM ST                   W WALNUT LN                   W TULPEHOCKEN ST
W TULPEHOCKEN ST               MC CALLUM ST                  GREENE ST
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W WALNUT LN                  MC CALLUM ST                  GREENE ST
W DUVAL ST                   GERMANTOWN AVE                CHEROKEE ST
W DUVAL ST                   CHEROKEE ST                   MC CALLUM ST
BURBRIDGE ST                 W WASHINGTON LN               W DUVAL ST
W POMONA ST                  GERMANTOWN AVE                CHEROKEE ST
W POMONA ST                  CHEROKEE ST                   MC CALLUM ST
HARVEY ST                    WAYNE AVE                     PULASKI AVE
KNOX ST                      W PRICE ST                    W RITTENHOUSE ST
W PRICE ST                   KNOX ST                       WAYNE AVE
W PRICE ST                   MARION ST                     KNOX ST
HARVEY ST                    GREENE ST                     WAYNE AVE
PULASKI AVE                  W RITTENHOUSE ST              HARVEY ST
MAPLEWOOD AVE                GREENE ST                     WAYNE AVE
MC CALLUM ST                 HARVEY ST                     W WALNUT LN
E PRICE ST                   GERMANTOWN AVE                LENA ST
W HAINES ST                  MC CALLUM ST                  DEAD END SOUTH
HARVEY ST                    MC CALLUM ST                  MC CALLUM ST
HARVEY ST                    MC CALLUM ST                  GREENE ST
MAPLEWOOD MALL               W ARMAT ST                    W ARMAT ST
MC CALLUM ST                 W HAINES ST                   HARVEY ST
MC CALLUM ST                 W RITTENHOUSE ST              W HAINES ST
W QUEEN LN                   GERMANTOWN AVE                GREENE ST
W COULTER ST                 GREENE ST                     KNOX ST
S ASHMEAD PL                 N ASHMEAD PL                  GREENE ST
S ASHMEAD PL                 GERMANTOWN AVE                N ASHMEAD PL
N ASHMEAD PL                 S ASHMEAD PL                  GREENE ST
E SEDGWICK ST                BOYER ST                      SPRAGUE ST
BOYER ST                     E SEDGWICK ST                 E ELLET ST
BOYER ST                     DURARD RD                     E SEDGWICK ST
E SEDGWICK ST                CLEARVIEW ST                  BOYER ST
CLEARVIEW ST                 E SEDGWICK ST                 E MOUNT PLEASANT AVE
E GORGAS LN                  BOYER ST                      SPRAGUE ST
BOYER ST                     E GORGAS LN                   DURARD RD
MEEHAN AVE                   BOYER ST                      SPRAGUE ST
BOYER ST                     MEEHAN AVE                    E GORGAS LN
E SEDGWICK ST                CHEW AVE                      CLEARVIEW ST
E GORGAS LN                  CLEARVIEW ST                  BOYER ST
CLEARVIEW ST                 E GORGAS LN                   E SEDGWICK ST
BOYER ST                     PLEASANT ST                   MEEHAN AVE
BOYER ST                     SLOCUM ST                     PLEASANT ST
MEEHAN AVE                   CLEARVIEW ST                  BOYER ST
E GORGAS LN                  CHEW AVE                      CLEARVIEW ST
BOYER ST                     VERNON RD                     SLOCUM ST
PLEASANT ST                  CLEARVIEW ST                  BOYER ST
CLEARVIEW ST                 PLEASANT ST                   MEEHAN AVE
PLEASANT ST                  CHEW AVE                      CLEARVIEW ST
E SEDGWICK ST                GERMANTOWN AVE                CHEW AVE
E GORGAS LN                  MUSGRAVE ST                   CHEW AVE
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E GORGAS LN                         GERMANTOWN AVE                MUSGRAVE ST
MEEHAN AVE                          CHEW AVE                      CLEARVIEW ST
DURARD RD                           BOYER ST                      SPRAGUE ST
MEEHAN AVE                          MUSGRAVE ST                   CHEW AVE
SLOCUM ST                           MUSGRAVE ST                   CHEW AVE
E HORTTER ST                        CROWSON ST                    CHEW AVE
MEEHAN AVE                          GERMANTOWN AVE                MUSGRAVE ST
E HORTTER ST                        MUSGRAVE ST                   CROWSON ST
SLOCUM ST                           GERMANTOWN AVE                MUSGRAVE ST
CROWSON ST                          GARRETT ST                    DORSET ST
PLEASANT ST                         MUSGRAVE ST                   CHEW AVE
E PHIL ELLENA ST                    CROWSON ST                    CHEW AVE
CROWSON ST                          E PHIL ELLENA ST              GARRETT ST
CROWSON ST                          E SPRINGER ST                 E PHIL ELLENA ST
CROWSON ST                          E HORTTER ST                  E SPRINGER ST
E PHIL ELLENA ST                    BASS ST                       CROWSON ST
E PHIL ELLENA ST                    MUSGRAVE ST                   BASS ST
PLEASANT ST                         GERMANTOWN AVE                MUSGRAVE ST
MONTANA ST                          MUSGRAVE ST                   CHEW AVE
E SHARPNACK ST                      MUSGRAVE ST                   CHEW AVE
MUSGRAVE ST                         MEEHAN AVE                    E GORGAS LN
MUSGRAVE ST                         PLEASANT ST                   MEEHAN AVE
DORSET ST                           CROWSON ST                    BASS ST
MUSGRAVE ST                         SLOCUM ST                     PLEASANT ST
GARRETT ST                          CROWSON ST                    BASS ST
BASS ST                             GARRETT ST                    DORSET ST
BASS ST                             E PHIL ELLENA ST              GARRETT ST
E SPRINGER ST                       DEAD END SOUTH                CROWSON ST
MUSGRAVE ST                         E PHIL ELLENA ST              SLOCUM ST
MUSGRAVE ST                         E SPRINGER ST                 E PHIL ELLENA ST
VERNON RD                           BOYER ST                      SPRAGUE ST
VERNON RD                           CHEW AVE                      BOYER ST
SPRAGUE ST                          SLOCUM ST                     N PLEASANT PL
SPRAGUE ST                          E PHIL ELLENA ST              VERNON RD
SPRAGUE ST                          E HORTTER ST                  E PHIL ELLENA ST
SPRAGUE ST                          BELFIELD AVE                  E HORTTER ST
SPRAGUE ST                          BLAKEMORE ST                  BELFIELD AVE
MONTANA ST                          BELFIELD AVE                  BLAKEMORE ST
BELFIELD AVE                        MONTANA ST                    SPRAGUE ST
SPRAGUE ST                          E SHARPNACK ST                BLAKEMORE ST
E SHARPNACK ST                      BELFIELD AVE                  SPRAGUE ST
BELFIELD AVE                        E SHARPNACK ST                MONTANA ST
MONTANA ST                          BOYER ST                      BELFIELD AVE
BELFIELD AVE                        E UPSAL ST                    E SHARPNACK ST
E SHARPNACK ST                      BOYER ST                      BELFIELD AVE
MONTANA ST                          CHEW AVE                      BOYER ST
E SHARPNACK ST                      CHEW AVE                      BOYER ST
E CLIVEDEN ST                       CHEW AVE                      CLEARVIEW ST
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CLEARVIEW ST                        E JOHNSON ST                  E CLIVEDEN ST
CLEARVIEW ST                        BRINTON ST                    E JOHNSON ST
SPRAGUE ST                          VERNON RD                     S PLEASANT PL
SPRAGUE ST                          S PLEASANT PL                 SLOCUM ST
BRINTON ST                          CHEW AVE                      CLEARVIEW ST
BOYER ST                            E PHIL ELLENA ST              VERNON RD
BOYER ST                            E HORTTER ST                  E PHIL ELLENA ST
BOYER ST                            MONTANA ST                    E HORTTER ST
BOYER ST                            E SHARPNACK ST                MONTANA ST
E PHIL ELLENA ST                    GERMANTOWN AVE                ROSS ST
E PHIL ELLENA ST                    ROSS ST                       MUSGRAVE ST
E SPRINGER ST                       ROSS ST                       MUSGRAVE ST
E HORTTER ST                        ROSS ST                       MUSGRAVE ST
E SPRINGER ST                       GERMANTOWN AVE                ROSS ST
E HORTTER ST                        GERMANTOWN AVE                ROSS ST
E PHIL ELLENA ST                    BOYER ST                      SPRAGUE ST
E HORTTER ST                        BOYER ST                      SPRAGUE ST
E PHIL ELLENA ST                    CHEW AVE                      BOYER ST
E HORTTER ST                        CHEW AVE                      BOYER ST
VERNON RD                           SPRAGUE ST                    BLAKEMORE ST
BLAKEMORE ST                        E HORTTER ST                  VERNON RD
E HORTTER ST                        SPRAGUE ST                    BLAKEMORE ST
S PLEASANT PL                       SPRAGUE ST                    E PLEASANT PL
LENSEN ST                           E CLIVEDEN ST                 E UPSAL ST
MONTANA ST                          GERMANTOWN AVE                ROSS ST
MUSGRAVE ST                         E HORTTER ST                  E SPRINGER ST
MUSGRAVE ST                         MONTANA ST                    E HORTTER ST
ROSS ST                             E SPRINGER ST                 E PHIL ELLENA ST
MUSGRAVE ST                         E SHARPNACK ST                MONTANA ST
ROSS ST                             E HORTTER ST                  E SPRINGER ST
ROSS ST                             MONTANA ST                    E HORTTER ST
MUSGRAVE ST                         E UPSAL ST                    E SHARPNACK ST
E JOHNSON ST                        MUSGRAVE ST                   CHEW AVE
MUSGRAVE ST                         E JOHNSON ST                  E CLIVEDEN ST
MUSGRAVE ST                         BRINTON ST                    E JOHNSON ST
MAGNOLIA ST                         E UPSAL ST                    E SHARPNACK ST
MUSGRAVE ST                         E DUVAL ST                    BRINTON ST
E JOHNSON ST                        ROSS ST                       MUSGRAVE ST
MAGNOLIA ST                         E CLIVEDEN ST                 E UPSAL ST
E DUVAL ST                          ROSS ST                       MUSGRAVE ST
MUSGRAVE ST                         E WASHINGTON LN               E DUVAL ST
E JOHNSON ST                        MAGNOLIA ST                   ROSS ST
MAGNOLIA ST                         E JOHNSON ST                  E CLIVEDEN ST
E DUVAL ST                          MAGNOLIA ST                   HOMER ST
MAGNOLIA ST                         E DUVAL ST                    E JOHNSON ST
ROSS ST                             E SHARPNACK ST                MONTANA ST
E DUVAL ST                          HOMER ST                      ROSS ST
E DUVAL ST                          ROSS ST                       ROSS ST
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ROSS ST                        E DUVAL ST                    E JOHNSON ST
ROSS ST                        E UPSAL ST                    E SHARPNACK ST
ROSS ST                        E CLIVEDEN ST                 E UPSAL ST
E DUVAL ST                     MUSGRAVE ST                   CHEW AVE
ROSS ST                        E WASHINGTON LN               E DUVAL ST
E SHARPNACK ST                 GERMANTOWN AVE                MAGNOLIA ST
MORTON ST                      E CLIVEDEN ST                 E UPSAL ST
MORTON ST                      E JOHNSON ST                  E CLIVEDEN ST
MORTON ST                      E DUVAL ST                    E JOHNSON ST
MORTON ST                      E POMONA ST                   E DUVAL ST
MORTON ST                      E WASHINGTON LN               E POMONA ST
E JOHNSON ST                   MORTON ST                     MAGNOLIA ST
CARNATION ST                   E WASHINGTON LN               E DUVAL ST
GARDENIA ST                    E WASHINGTON LN               E DUVAL ST
E JOHNSON ST                   GERMANTOWN AVE                MORTON ST
E DUVAL ST                     BAYNTON ST                    MORTON ST
E POMONA ST                    BAYNTON ST                    MORTON ST
BAYNTON ST                     E POMONA ST                   E DUVAL ST
E DUVAL ST                     W DUVAL ST                    BAYNTON ST
BAYNTON ST                     E WASHINGTON LN               E POMONA ST
MAGNOLIA ST                    E WASHINGTON LN               E DUVAL ST
MAGNOLIA ST                    E WALNUT LN                   E TULPEHOCKEN ST
GARDENIA ST                    E TULPEHOCKEN ST              E WASHINGTON LN
MAGNOLIA ST                    E TULPEHOCKEN ST              E WASHINGTON LN
HOMER ST                       E WASHINGTON LN               E DUVAL ST
MC MAHON AVE                   E WALNUT LN                   E TULPEHOCKEN ST
HOMER ST                       E TULPEHOCKEN ST              E WASHINGTON LN
ROSS ST                        E WALNUT LN                   E TULPEHOCKEN ST
GARDENIA ST                    E WALNUT LN                   E TULPEHOCKEN ST
E TULPEHOCKEN ST               BELFIELD AVE                  CHEW AVE
MUSGRAVE ST                    MAYLAND ST                    E WASHINGTON LN
E TULPEHOCKEN ST               MC MAHON AVE                  BELFIELD AVE
E TULPEHOCKEN ST               MUSGRAVE ST                   MC MAHON AVE
MUSGRAVE ST                    E TULPEHOCKEN ST              MAYLAND ST
E WALNUT LN                    MC MAHON AVE                  BELFIELD AVE
E TULPEHOCKEN ST               LENSEN ST                     MUSGRAVE ST
E WALNUT LN                    MUSGRAVE ST                   MC MAHON AVE
MUSGRAVE ST                    E WALNUT LN                   E TULPEHOCKEN ST
E TULPEHOCKEN ST               ROSS ST                       LENSEN ST
BELFIELD AVE                   COSGROVE ST                   E WALNUT LN
E WALNUT LN                    LENSEN ST                     MUSGRAVE ST
LENSEN ST                      E WALNUT LN                   E TULPEHOCKEN ST
E TULPEHOCKEN ST               HOMER ST                      ROSS ST
E WALNUT LN                    ROSS ST                       LENSEN ST
E TULPEHOCKEN ST               MAGNOLIA ST                   HOMER ST
BELFIELD AVE                   HIGH ST                       COSGROVE ST
E TULPEHOCKEN ST               MAGNOLIA ST                   MAGNOLIA ST
E WALNUT LN                    MAGNOLIA ST                   ROSS ST
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E WALNUT LN                    MAGNOLIA ST                   MAGNOLIA ST
E TULPEHOCKEN ST               GARDENIA ST                   GARDENIA ST
MORTON ST                      MAYLAND ST                    E WASHINGTON LN
E WALNUT LN                    GARDENIA ST                   MAGNOLIA ST
E TULPEHOCKEN ST               MORTON ST                     GARDENIA ST
MORTON ST                      E TULPEHOCKEN ST              MAYLAND ST
MAGNOLIA ST                    HIGH ST                       E WALNUT LN
BELFIELD AVE                   E HAINES ST                   HIGH ST
MORTON ST                      HERMAN ST                     E TULPEHOCKEN ST
E WALNUT LN                    MORTON ST                     GARDENIA ST
MORTON ST                      E WALNUT LN                   HERMAN ST
MORTON ST                      E WALNUT LN                   E WALNUT LN
BAYNTON ST                     MAYLAND ST                    E WASHINGTON LN
MORTON ST                      HIGH ST                       E WALNUT LN
BAYNTON ST                     E TULPEHOCKEN ST              MAYLAND ST
MAYLAND ST                     BAYNTON ST                    MORTON ST
HIGH ST                        BAYNTON ST                    MORTON ST
HIGH ST                        GERMANTOWN AVE                BAYNTON ST
HERMAN ST                      OSCEOLA ST                    MORTON ST
E PASTORIUS ST                 BAYNTON ST                    OSCEOLA ST
HERMAN ST                      BAYNTON ST                    OSCEOLA ST
HERMAN ST                      BAYNTON ST                    BAYNTON ST
E PASTORIUS ST                 GERMANTOWN AVE                BAYNTON ST
HERMAN ST                      GERMANTOWN AVE                BAYNTON ST
E TULPEHOCKEN ST               OSCEOLA ST                    MORTON ST
OSCEOLA ST                     HERMAN ST                     E PASTORIUS ST
E TULPEHOCKEN ST               BAYNTON ST                    OSCEOLA ST
BAYNTON ST                     HERMAN ST                     E PASTORIUS ST
E TULPEHOCKEN ST               W TULPEHOCKEN ST              BAYNTON ST
E WALNUT LN                    BAYNTON ST                    MORTON ST
BAYNTON ST                     E WALNUT LN                   HERMAN ST
BAYNTON ST                     COSGROVE ST                   E WALNUT LN
BAYNTON ST                     HIGH ST                       COSGROVE ST
COSGROVE ST                    DEAD END SOUTH                BAYNTON ST
HIGH ST                        ROSS ST                       BELFIELD AVE
HIGH ST                        MAGNOLIA ST                   ROSS ST
HIGH ST                        MORTON ST                     MAGNOLIA ST
BELFIELD AVE                   MAYLAND ST                    CHEW AVE
BELFIELD AVE                   E TULPEHOCKEN ST              MAYLAND ST
HERMAN ST                      BELFIELD AVE                  CHEW AVE
BELFIELD AVE                   HERMAN ST                     E TULPEHOCKEN ST
BELFIELD AVE                   E WALNUT LN                   HERMAN ST
MAYLAND ST                     BELFIELD AVE                  CHEW AVE
MAYLAND ST                     MUSGRAVE ST                   BELFIELD AVE
MECHANIC ST                    MC MAHON AVE                  DEAD END NORTH
MC MAHON AVE                   E HAINES ST                   MECHANIC ST
E WALNUT LN                    BELFIELD AVE                  CHEW AVE
BAYNTON ST                     E HAINES ST                   HIGH ST
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BAYNTON ST                     E RITTENHOUSE ST              E HAINES ST
WAKEFIELD ST                   E RITTENHOUSE ST              DEAD END WEST
LENA ST                        E PRICE ST                    E RITTENHOUSE ST
LENA ST                        NARRAGANSETT ST               DEAD END WEST
NARRAGANSETT ST                DEAD END SOUTH                LENA ST
WAKEFIELD ST                   E PRICE ST                    E RITTENHOUSE ST
LENA ST                        E STAFFORD ST                 E PRICE ST
E STAFFORD ST                  LENA ST                       BAYNTON ST
E STAFFORD ST                  LENA ST                       LENA ST
E PRICE ST                     WAKEFIELD ST                  BAYNTON ST
E PRICE ST                     LENA ST                       WAKEFIELD ST
E STAFFORD ST                  DEAD END SOUTH                LENA ST
MUSGRAVE ST                    E STAFFORD ST                 E PRICE ST
MORTON ST                      MECHANIC ST                   HIGH ST
MUSGRAVE ST                    E CHELTEN AVE                 E STAFFORD ST
MORTON ST                      E HAINES ST                   MECHANIC ST
MAGNOLIA ST                    E RITTENHOUSE ST              E HAINES ST
MAGNOLIA ST                    E PRICE ST                    E RITTENHOUSE ST
MECHANIC ST                    CARSWELL TER                  MORTON ST
E PRICE ST                     OSCEOLA ST                    MORTON ST
E PRICE ST                     BAYNTON ST                    OSCEOLA ST
E PRICE ST                     MAGNOLIA ST                   DEAD END SOUTH
E HAINES ST                    MAGNOLIA ST                   MUSGRAVE ST
E HAINES ST                    MAGNOLIA ST                   MAGNOLIA ST
E HAINES ST                    MORTON ST                     MAGNOLIA ST
CARSWELL TER                   E HAINES ST                   MECHANIC ST
E HAINES ST                    BAYNTON ST                    CARSWELL TER
MECHANIC ST                    MORTON ST                     MAGNOLIA ST
E RITTENHOUSE ST               MORTON ST                     MAGNOLIA ST
MAGNOLIA ST                    MECHANIC ST                   HIGH ST
MAGNOLIA ST                    E HAINES ST                   MECHANIC ST
E HAINES ST                    MC MAHON AVE                  CHEW AVE
E HAINES ST                    MC MAHON AVE                  MC MAHON AVE
E PRICE ST                     MC MAHON AVE                  CHEW AVE
MC MAHON AVE                   E RITTENHOUSE ST              E HAINES ST
MC MAHON AVE                   E PRICE ST                    E RITTENHOUSE ST
E PRICE ST                     STOKES ST                     MC MAHON AVE
MC MAHON AVE                   E CHELTEN AVE                 E PRICE ST
E PRICE ST                     MUSGRAVE ST                   STOKES ST
CHURCH LN                      CROWSON ST                    CHEW AVE
CHURCH LN                      MUSGRAVE ST                   CROWSON ST
CHURCH LN                      MAGNOLIA ST                   MUSGRAVE ST
CHURCH LN                      MAGNOLIA ST                   MAGNOLIA ST
MC MAHON AVE                   E WOODLAWN ST                 E CHELTEN AVE
CROWSON ST                     CHURCH LN                     LOCUST AVE
MC MAHON AVE                   LOCUST AVE                    E WOODLAWN ST
MUSGRAVE ST                    E WOODLAWN ST                 E CHELTEN AVE
MUSGRAVE ST                    E WOODLAWN ST                 E WOODLAWN ST
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MUSGRAVE ST                      LOCUST AVE                    E WOODLAWN ST
E PENN ST                        CHEW AVE                      E WISTER ST
MAGNOLIA ST                      E WOODLAWN ST                 E CHELTEN AVE
MUSGRAVE ST                      CHURCH LN                     LOCUST AVE
MAGNOLIA ST                      E WOODLAWN ST                 E WOODLAWN ST
MAGNOLIA ST                      LOCUST AVE                    E WOODLAWN ST
MAGNOLIA ST                      CHURCH LN                     LOCUST AVE
LOCUST AVE                       CROWSON ST                    CHEW AVE
LOCUST AVE                       CROWSON ST                    CROWSON ST
LOCUST AVE                       MC MAHON AVE                  CROWSON ST
LOCUST AVE                       STOKES ST                     MC MAHON AVE
LOCUST AVE                       MUSGRAVE ST                   STOKES ST
LOCUST AVE                       MAGNOLIA ST                   MUSGRAVE ST
E WOODLAWN ST                    CROWSON ST                    CHEW AVE
E WOODLAWN ST                    MC MAHON AVE                  CROWSON ST
E WOODLAWN ST                    STOKES ST                     MC MAHON AVE
E WOODLAWN ST                    MUSGRAVE ST                   STOKES ST
E WOODLAWN ST                    MAGNOLIA ST                   MUSGRAVE ST
CHURCH LN                        WINGOHOCKING TER              MAGNOLIA ST
CHURCH LN                        WINGOHOCKING HTS              WINGOHOCKING TER
CHURCH LN                        NASH LN                       WINGOHOCKING HTS
CHURCH LN                        CHURCH LN                     NASH LN
MORTON ST                        E WOODLAWN ST                 HEISKELL ST
HEISKELL ST                      UTAH ST                       MORTON ST
LOCUST AVE                       OSCEOLA ST                    MAGNOLIA ST
HEISKELL ST                      E ARMAT ST                    UTAH ST
UTAH ST                          E ARMAT ST                    HEISKELL ST
MORTON ST                        BAYNTON ST                    LOCUST AVE
HEISKELL ST                      BAYNTON ST                    E ARMAT ST
E ARMAT ST                       UTAH ST                       HEISKELL ST
E ARMAT ST                       BAYNTON ST                    UTAH ST
LOCUST AVE                       MORTON ST                     E ARMAT ST
LOCUST AVE                       E ARMAT ST                    OSCEOLA ST
E ARMAT ST                       HEISKELL ST                   MORTON ST
E ARMAT ST                       MORTON ST                     LOCUST AVE
MORTON ST                        LOCUST AVE                    E ARMAT ST
MORTON ST                        E ARMAT ST                    E WOODLAWN ST
E WOODLAWN ST                    MORTON ST                     MAGNOLIA ST
CHURCH LN                        WAKEFIELD ST                  BAYNTON ST
BAYNTON ST                       E COULTER ST                  CHURCH LN
KENYON ST                        E WOODLAWN ST                 E CHELTEN AVE
E ARMAT ST                       KENYON ST                     LENA ST
KENYON ST                        E ARMAT ST                    E WOODLAWN ST
WAKEFIELD ST                     DEAD END EAST                 CHURCH LN
CHURCH LN                        LENA ST                       WAKEFIELD ST
LENA ST                          CHURCH LN                     E ARMAT ST
E PENN ST                        BAYNTON ST                    RUFE ST
BAYNTON ST                       E PENN ST                     E COULTER ST
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E COULTER ST                       WAKEFIELD ST                  BAYNTON ST
LENA ST                            E EARLHAM ST                  CHURCH LN
E WOODLAWN ST                      GERMANTOWN AVE                KENYON ST
E ARMAT ST                         GERMANTOWN AVE                KENYON ST
E COULTER ST                       LENA ST                       WAKEFIELD ST
LENA ST                            E COULTER ST                  E EARLHAM ST
E EARLHAM ST                       LENA ST                       DEAD END SOUTH
LENA ST                            E PENN ST                     E COULTER ST
CHURCH LN                          MARKET SQ                     LENA ST
CHURCH LN                          GERMANTOWN AVE                MARKET SQ
E PENN ST                          WAKEFIELD ST                  BAYNTON ST
WAKEFIELD ST                       E PENN ST                     E COULTER ST
MARKET SQ                          CHURCH LN                     E SCHOOL HOUSE LN
E PENN ST                          LENA ST                       WAKEFIELD ST
E PENN ST                          GERMANTOWN AVE                LENA ST
WAKEFIELD ST                       E QUEEN LN                    E PENN ST
WAKEFIELD ST                       E BRINGHURST ST               E QUEEN LN
WAKEFIELD ST                       E ASHMEAD ST                  E BRINGHURST ST
WAKEFIELD ST                       E ASHMEAD ST                  E ASHMEAD ST
WAKEFIELD ST                       COLLOM ST                     E ASHMEAD ST
WAKEFIELD ST                       COLLOM ST                     COLLOM ST
WAKEFIELD ST                       E WISTER ST                   COLLOM ST
RUFE ST                            E BRINGHURST ST               E QUEEN LN
RUFE ST                            E WISTER ST                   COLLOM ST
COLLOM ST                          RUBICAM ST                    RUFE ST
RUBICAM ST                         ARMSTRONG ST                  E ASHMEAD ST
COLLOM ST                          RUBICAM ST                    RUBICAM ST
COLLOM ST                          SHELDON ST                    RUBICAM ST
ARMSTRONG ST                       BAYNTON ST                    RUBICAM ST
COLLOM ST                          BAYNTON ST                    SHELDON ST
BAYNTON ST                         COLLOM ST                     ARMSTRONG ST
COLLOM ST                          WAKEFIELD ST                  BAYNTON ST
LENA ST                            E WISTER ST                   COLLOM ST
E BRINGHURST ST                    RUBICAM ST                    RUFE ST
E QUEEN LN                         BAYNTON ST                    RUFE ST
E QUEEN LN                         WAKEFIELD ST                  BAYNTON ST
E BRINGHURST ST                    WAKEFIELD ST                  RUBICAM ST
E ASHMEAD ST                       WAKEFIELD ST                  RUBICAM ST
E BRINGHURST ST                    GERMANTOWN AVE                WAKEFIELD ST
E ASHMEAD ST                       GERMANTOWN AVE                WAKEFIELD ST
SHELDON ST                         E WISTER ST                   COLLOM ST
COLLOM ST                          LENA ST                       WAKEFIELD ST
COLLOM ST                          GERMANTOWN AVE                LENA ST
RUBICAM ST                         E ASHMEAD ST                  E BRINGHURST ST
RUBICAM ST                         E WISTER ST                   COLLOM ST
WAKEFIELD ST                       E GARFIELD ST                 E WISTER ST
E CLAPIER ST                       DEAD END SOUTH                BAYNTON ST
WAKEFIELD ST                       E SEYMOUR ST                  E GARFIELD ST
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E LOGAN ST                    LINDLEY AVE                   N 20TH ST
WAKEFIELD ST                  E CLAPIER ST                  E SEYMOUR ST
E LOGAN ST                    STENTON AVE                   STENTON AVE
WAKEFIELD ST                  E LOGAN ST                    SHEDAKER ST
SHEDAKER ST                   SHELDON ST                    RUBICAM ST
SHELDON ST                    ELWOOD ST                     SHEDAKER ST
SHEDAKER ST                   BAYNTON ST                    SHELDON ST
ELWOOD ST                     E LOGAN ST                    SHELDON ST
SHEDAKER ST                   WAKEFIELD ST                  BAYNTON ST
RUBICAM ST                    SHEDAKER ST                   E WISTER ST
E LOGAN ST                    WAKEFIELD ST                  STENTON AVE
SHEDAKER ST                   RUBICAM ST                    STENTON AVE
PARNELL PL                    MAGNOLIA ST                   CUL DE SAC NORTH
W CLARKSON AVE                E QUEEN LN                    E PENN ST
W CLARKSON AVE                E BRINGHURST ST               E QUEEN LN
W CLARKSON AVE                E WISTER ST                   E ASHMEAD ST
W CLARKSON AVE                E ASHMEAD ST                  E BRINGHURST ST
E PENN ST                     MAGNOLIA ST                   W CLARKSON AVE
MAGNOLIA ST                   E PENN ST                     POTTERTON HTS
E QUEEN LN                    MAGNOLIA ST                   W CLARKSON AVE
MAGNOLIA ST                   E QUEEN LN                    E PENN ST
POTTERTON HTS                 MAGNOLIA ST                   DEAD END SOUTH
MAGNOLIA ST                   E BRINGHURST ST               E QUEEN LN
E WISTER ST                   ARMSTRONG ST                  W CLARKSON AVE
E ASHMEAD ST                  MAGNOLIA ST                   W CLARKSON AVE
MAGNOLIA ST                   E ASHMEAD ST                  E BRINGHURST ST
MAGNOLIA ST                   ARMSTRONG ST                  E ASHMEAD ST
ARMSTRONG ST                  BELFIELD AVE                  MAGNOLIA ST
E PENN ST                     BELFIELD AVE                  WINGOHOCKING TER
E WISTER ST                   BELFIELD AVE                  ARMSTRONG ST
E PENN ST                     W CLARKSON AVE                CUL DE SAC NORTH
WINGOHOCKING TER              CHURCH LN                     E PENN ST
E BRINGHURST ST               MAGNOLIA ST                   W CLARKSON AVE
N 20TH ST                     W RUSCOMB ST                  E LOGAN ST
W RUSCOMB ST                  N UBER ST                     N 20TH ST
N 19TH ST                     W RUSCOMB ST                  DEAD END NORTH
W RUSCOMB ST                  N 19TH ST                     N UBER ST
N GRATZ ST                    W RUSCOMB ST                  BELFIELD AVE
N 19TH ST                     W ALBANUS ST                  W RUSCOMB ST
N 19TH ST                     SULIS ST                      W ALBANUS ST
N 18TH ST                     SULIS ST                      W ALBANUS ST
W ASHDALE ST                  OGONTZ AVE                    BELFIELD AVE
W ALBANUS ST                  N 18TH ST                     N 19TH ST
W RUSCOMB ST                  N GRATZ ST                    N 19TH ST
W RUSCOMB ST                  N 18TH ST                     N GRATZ ST
SULIS ST                      N 18TH ST                     N 19TH ST
LINDLEY AVE                   N 17TH ST                     OGONTZ AVE
LINDLEY AVE                   N SMEDLEY ST                  N 17TH ST
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LINDLEY AVE                   N 16TH ST                     N SMEDLEY ST
LINDLEY AVE                   N SYDENHAM ST                 N 16TH ST
LINDLEY AVE                   N 15TH ST                     N SYDENHAM ST
LINDLEY AVE                   N CARLISLE ST                 N 15TH ST
N 17TH ST                     W FISHERS LN                  LINDLEY AVE
N 16TH ST                     W FISHERS LN                  LINDLEY AVE
N 15TH ST                     W FISHERS LN                  LINDLEY AVE
N 17TH ST                     W RUSCOMB ST                  W FISHERS LN
N 16TH ST                     W RUSCOMB ST                  W FISHERS LN
N 15TH ST                     W RUSCOMB ST                  W FISHERS LN
N 16TH ST                     W ROCKLAND ST                 W RUSCOMB ST
W ROCKLAND ST                 N 16TH ST                     N SMEDLEY ST
W RUSCOMB ST                  N SMEDLEY ST                  N 17TH ST
W RUSCOMB ST                  N 16TH ST                     N SMEDLEY ST
W RUSCOMB ST                  N SYDENHAM ST                 N 16TH ST
W RUSCOMB ST                  N 15TH ST                     N SYDENHAM ST
N SMEDLEY ST                  W FISHERS LN                  LINDLEY AVE
N SMEDLEY ST                  W RUSCOMB ST                  W FISHERS LN
N SYDENHAM ST                 W FISHERS LN                  LINDLEY AVE
N SYDENHAM ST                 W RUSCOMB ST                  W FISHERS LN
W FISHER AVE                  N CARLISLE ST                 N 15TH ST
W FISHER AVE                  N 15TH ST                     N SYDENHAM ST
W FISHER AVE                  N SYDENHAM ST                 N SYDENHAM ST
W SOMERVILLE AVE              N 16TH ST                     OGONTZ AVE
W SOMERVILLE AVE              N 15TH ST                     N SYDENHAM ST
W SOMERVILLE AVE              N CARLISLE ST                 N 15TH ST
N 16TH ST                     W DUNCANNON AVE               W FISHER AVE
N 15TH ST                     W DUNCANNON AVE               W FISHER AVE
W DUNCANNON AVE               N CARLISLE ST                 N 15TH ST
N 16TH ST                     LINDLEY AVE                   W DUNCANNON AVE
N 15TH ST                     LINDLEY AVE                   W DUNCANNON AVE
N CARLISLE ST                 LINDLEY AVE                   W DUNCANNON AVE
N SYDENHAM ST                 LINDLEY AVE                   W DUNCANNON AVE
N SYDENHAM ST                 W DUNCANNON AVE               W FISHER AVE
N SYDENHAM ST                 W FISHER AVE                  W SOMERVILLE AVE
E JOHNSON ST                  SPRAGUE ST                    ARDLEIGH ST
ARDLEIGH ST                   E WASHINGTON LN               E DUVAL ST
SPRAGUE ST                    DEAD END EAST                 E JOHNSON ST
BOYER ST                      E JOHNSON ST                  E CLIVEDEN ST
E CLIVEDEN ST                 ANDERSON ST                   CRITTENDEN ST
ANDERSON ST                   E CLIVEDEN ST                 CARDEZA ST
BARRINGER ST                  ANDERSON ST                   CRITTENDEN ST
ANDERSON ST                   BARRINGER ST                  E CLIVEDEN ST
MILTON ST                     E CLIVEDEN ST                 E UPSAL ST
E JOHNSON ST                  ANDERSON ST                   CRITTENDEN ST
ANDERSON ST                   E JOHNSON ST                  BARRINGER ST
ANDERSON ST                   E DUVAL ST                    E JOHNSON ST
BARRINGER ST                  ARDLEIGH ST                   ANDERSON ST
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MILTON ST                      E DUVAL ST                    E JOHNSON ST
E CLIVEDEN ST                  MATTHEWS ST                   ARDLEIGH ST
E CLIVEDEN ST                  SPRAGUE ST                    MATTHEWS ST
SPRAGUE ST                     E JOHNSON ST                  E CLIVEDEN ST
CRITTENDEN ST                  E WASHINGTON LN               E DUVAL ST
E DUVAL ST                     ANDERSON ST                   CRITTENDEN ST
CRITTENDEN ST                  E TULPEHOCKEN ST              E WASHINGTON LN
ANDERSON ST                    E WASHINGTON LN               E DUVAL ST
MILTON ST                      E WASHINGTON LN               E DUVAL ST
DEVON PL                       E HAINES ST                   DEVON PL
E TULPEHOCKEN ST               CHEW AVE                      CLEARVIEW ST
E HAINES ST                    CRITTENDEN ST                 STENTON AVE
E HAINES ST                    BRUSH RD                      CRITTENDEN ST
E HAINES ST                    ANDERSON ST                   STOCKTON RD
E HAINES ST                    ARDLEIGH ST                   ANDERSON ST
E HAINES ST                    SPRAGUE ST                    ARDLEIGH ST
E HAINES ST                    BOYER ST                      DEVON PL
E HAINES ST                    CHEW AVE                      AVONHOE RD
E HAINES ST                    DEVON PL                      SPRAGUE ST
E WALNUT LN                    STENTON AVE                   CORNELIUS ST
E WISTER ST                    HAINES ST                     MIDDLETON ST
HAINES ST                      E WISTER ST                   HOMER ST
HOMER ST                       CORNELIUS ST                  HAINES ST
HAINES ST                      HOMER ST                      STENTON AVE
CORNELIUS ST                   HOMER ST                      E WALNUT LN
E RITTENHOUSE ST               BOYER ST                      SPRAGUE ST
E PRICE ST                     BOYER ST                      SPRAGUE ST
E RITTENHOUSE ST               CHEW AVE                      BOYER ST
SPRAGUE ST                     E RITTENHOUSE ST              E HAINES ST
SPRAGUE ST                     E PRICE ST                    E RITTENHOUSE ST
SPRAGUE ST                     E STAFFORD ST                 E PRICE ST
SPRAGUE ST                     E CHELTEN AVE                 E STAFFORD ST
SPRAGUE ST                     E WOODLAWN ST                 E CHELTEN AVE
E PRICE ST                     CHEW AVE                      BOYER ST
BOYER ST                       E RITTENHOUSE ST              E HAINES ST
BOYER ST                       E PRICE ST                    E RITTENHOUSE ST
E STAFFORD ST                  BOYER ST                      SPRAGUE ST
BOYER ST                       E STAFFORD ST                 E PRICE ST
E WOODLAWN ST                  DEVON ST                      SPRAGUE ST
BOYER ST                       E CHELTEN AVE                 E STAFFORD ST
E WOODLAWN ST                  NELSON ST                     DEVON ST
E WOODLAWN ST                  BOYER ST                      NELSON ST
BOYER ST                       E WOODLAWN ST                 E CHELTEN AVE
E STAFFORD ST                  CHEW AVE                      BOYER ST
E WOODLAWN ST                  BLOYD ST                      BOYER ST
E WOODLAWN ST                  CHEW AVE                      BLOYD ST
BLOYD ST                       E WOODLAWN ST                 E CHELTEN AVE
E PRICE ST                     ANDERSON ST                   STOCKTON RD
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E RITTENHOUSE ST                ARDLEIGH ST                   ANDERSON ST
ANDERSON ST                     E WISTER ST                   E CHELTEN AVE
E PRICE ST                      ARDLEIGH ST                   ANDERSON ST
E RITTENHOUSE ST                SPRAGUE ST                    ARDLEIGH ST
E PRICE ST                      SPRAGUE ST                    ARDLEIGH ST
E PRICE ST                      E STAFFORD ST                 BRUSH RD
E PRICE ST                      BRUSH RD                      W 65TH AVE
E STAFFORD ST                   ANDERSON ST                   E PRICE ST
ARDLEIGH ST                     E RITTENHOUSE ST              E HAINES ST
ARDLEIGH ST                     E PRICE ST                    E RITTENHOUSE ST
E STAFFORD ST                   ARDLEIGH ST                   ANDERSON ST
ARDLEIGH ST                     E WOODLAWN ST                 E CHELTEN AVE
STOCKTON RD                     E PRICE ST                    E HAINES ST
ANDERSON ST                     E RITTENHOUSE ST              E HAINES ST
ANDERSON ST                     E PRICE ST                    E RITTENHOUSE ST
ANDERSON ST                     E STAFFORD ST                 E PRICE ST
ANDERSON ST                     E CHELTEN AVE                 E STAFFORD ST
MATTHEWS ST                     E WOODLAWN ST                 E CHELTEN AVE
ARDLEIGH ST                     E STAFFORD ST                 E PRICE ST
ARDLEIGH ST                     E CHELTEN AVE                 E STAFFORD ST
E WOODLAWN ST                   MATTHEWS ST                   ARDLEIGH ST
E WOODLAWN ST                   BLAKEMORE ST                  MATTHEWS ST
E WOODLAWN ST                   SPRAGUE ST                    BLAKEMORE ST
E WOODLAWN ST                   BLAKEMORE ST                  BLAKEMORE ST
E WOODLAWN ST                   W GODFREY AVE                 ANDERSON ST
E WOODLAWN ST                   JANE ST                       W GODFREY AVE
E WOODLAWN ST                   ARDLEIGH ST                   JANE ST
CHURCH LN                       BOYER ST                      E WISTER ST
CHURCH LN                       BLOYD ST                      BOYER ST
CHURCH LN                       CHEW AVE                      BLOYD ST
LOCUST AVE                      DEVON ST                      SPRAGUE ST
DEVON ST                        LOCUST AVE                    E WOODLAWN ST
LOCUST AVE                      NELSON ST                     DEVON ST
DEVON ST                        E WISTER ST                   LOCUST AVE
LOCUST AVE                      BOYER ST                      NELSON ST
LOCUST AVE                      BLOYD ST                      BOYER ST
BLOYD ST                        LOCUST AVE                    E WOODLAWN ST
LOCUST AVE                      CHEW AVE                      BLOYD ST
BLOYD ST                        CHURCH LN                     LOCUST AVE
BOYER ST                        LOCUST AVE                    E WOODLAWN ST
BOYER ST                        CHURCH LN                     LOCUST AVE
E WISTER ST                     MATTHEWS ST                   ARDLEIGH ST
E WISTER ST                     SPRAGUE ST                    BLAKEMORE ST
E WISTER ST                     DEVON ST                      SPRAGUE ST
E WISTER ST                     CHURCH LN                     DEVON ST
E WISTER ST                     BLAKEMORE ST                  W SPENCER AVE
E WISTER ST                     W SPENCER AVE                 MATTHEWS ST
JANE ST                         E WISTER ST                   E WOODLAWN ST
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SPRAGUE ST                     LOCUST AVE                    E WOODLAWN ST
BLAKEMORE ST                   E WISTER ST                   E WOODLAWN ST
SPRAGUE ST                     E WISTER ST                   LOCUST AVE
ARDLEIGH ST                    E WISTER ST                   E WOODLAWN ST
MATTHEWS ST                    E WISTER ST                   E WOODLAWN ST
E WISTER ST                    MEDARY AVE                    CHELTEN AVE
E WISTER ST                    E WOODLAWN ST                 MEDARY AVE
E WISTER ST                    W LAVEER ST                   ANDERSON ST
E WISTER ST                    W GODFREY AVE                 W LAVEER ST
E WISTER ST                    W GODFREY AVE                 W GODFREY AVE
E WISTER ST                    JANE ST                       W GODFREY AVE
E WISTER ST                    ARDLEIGH ST                   JANE ST
E WISTER ST                    CHELTEN AVE                   E CHELTEN AVE
E WISTER ST                    WYNCOTE AVE                   CRITTENDEN ST
E WISTER ST                    CRITTENDEN ST                 W 65TH AVE
CRITTENDEN ST                  NARRAGANSETT ST               E HAINES ST
E RITTENHOUSE ST               CRITTENDEN ST                 STENTON AVE
CRITTENDEN ST                  E RITTENHOUSE ST              NARRAGANSETT ST
CRITTENDEN ST                  W 65TH AVE                    E RITTENHOUSE ST
CRITTENDEN ST                  E WISTER ST                   W 65TH AVE
N BEECHWOOD ST                 WYNCOTE AVE                   STENTON AVE
NARRAGANSETT ST                STENTON AVE                   CRITTENDEN ST
E WISTER ST                    W 65TH AVE                    E PRICE ST
W 65TH AVE                     WYNCOTE AVE                   E WISTER ST
E WISTER ST                    E PRICE ST                    E RITTENHOUSE ST
EASTBURN AVE                   RODNEY ST                     GERRY ST
INDEPENDENCE ST                WOOLSTON AVE                  N 21ST ST
EASTBURN AVE                   GERRY ST                      STENTON AVE
WOOLSTON AVE                   INDEPENDENCE ST               EASTBURN AVE
RODNEY ST                      EASTBURN AVE                  HAINES ST
N WOODSTOCK ST                 WYNCOTE AVE                   EASTBURN AVE
WOOLSTON AVE                   WYNCOTE AVE                   INDEPENDENCE ST
N 21ST ST                      INDEPENDENCE ST               EASTBURN AVE
N 21ST ST                      66TH AVE                      INDEPENDENCE ST
LIMEKILN PIKE                  66TH AVE                      WYNCOTE AVE
N 21ST ST                      WYNCOTE AVE                   66TH AVE
LIMEKILN PIKE                  RIDLEY ST                     66TH AVE
N 21ST ST                      STENTON AVE                   WYNCOTE AVE
W 65TH AVE                     N NORWOOD ST                  WYNCOTE AVE
N 21ST ST                      W 65TH AVE                    STENTON AVE
W 65TH AVE                     N 21ST ST                     N NORWOOD ST
LIMEKILN PIKE                  W 65TH AVE                    RIDLEY ST
W 65TH AVE                     LIMEKILN PIKE                 STENTON AVE
W 65TH AVE                     N LAMBERT ST                  N 21ST ST
W 65TH AVE                     STENTON AVE                   N WOODSTOCK ST
W 65TH AVE                     N WOODSTOCK ST                N LAMBERT ST
N LAMBERT ST                   STENTON AVE                   66TH AVE
N WOODSTOCK ST                 STENTON AVE                   66TH AVE
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N WOODSTOCK ST                W 65TH AVE                    STENTON AVE
LIMEKILN PIKE                 STENTON AVE                   W 65TH AVE
CHELTEN AVE                   N BEECHWOOD ST                E WISTER ST
N LAMBERT ST                  CHELTEN AVE                   W 65TH AVE
CHELTEN AVE                   N LAMBERT ST                  N 21ST ST
N 21ST ST                     CHELTEN AVE                   W 65TH AVE
CHELTEN AVE                   N 21ST ST                     N NORWOOD ST
CHELTEN AVE                   N WOODSTOCK ST                N LAMBERT ST
LIMEKILN PIKE                 CHELTEN AVE                   STENTON AVE
CHELTEN AVE                   LIMEKILN PIKE                 N WOODSTOCK ST
MEDARY AVE                    N NORWOOD ST                  N BEECHWOOD ST
MEDARY AVE                    N BEECHWOOD ST                E WISTER ST
N 21ST ST                     MEDARY AVE                    CHELTEN AVE
MEDARY AVE                    N 21ST ST                     N NORWOOD ST
N LAMBERT ST                  MEDARY AVE                    CHELTEN AVE
MEDARY AVE                    N LAMBERT ST                  N 21ST ST
MEDARY AVE                    N WOODSTOCK ST                N LAMBERT ST
LIMEKILN PIKE                 MEDARY AVE                    CHELTEN AVE
MEDARY AVE                    LIMEKILN PIKE                 N WOODSTOCK ST
LIMEKILN PIKE                 N 20TH ST                     MEDARY AVE
W LAVEER ST                   N BEECHWOOD ST                E WISTER ST
W LAVEER ST                   N NORWOOD ST                  N BEECHWOOD ST
N 21ST ST                     W LAVEER ST                   MEDARY AVE
W LAVEER ST                   N 21ST ST                     N NORWOOD ST
N LAMBERT ST                  W LAVEER ST                   MEDARY AVE
W LAVEER ST                   N LAMBERT ST                  N 21ST ST
N WOODSTOCK ST                W LAVEER ST                   MEDARY AVE
W LAVEER ST                   N WOODSTOCK ST                N LAMBERT ST
W LAVEER ST                   N 20TH ST                     N WOODSTOCK ST
CHELTEN AVE                   N NORWOOD ST                  N NORWOOD ST
CHELTEN AVE                   N NORWOOD ST                  N BEECHWOOD ST
N BEECHWOOD ST                CHELTEN AVE                   WYNCOTE AVE
N WOODSTOCK ST                CHELTEN AVE                   W 65TH AVE
N BEECHWOOD ST                MEDARY AVE                    CHELTEN AVE
N WOODSTOCK ST                MEDARY AVE                    CHELTEN AVE
N BEECHWOOD ST                W LAVEER ST                   MEDARY AVE
N NORWOOD ST                  MEDARY AVE                    CHELTEN AVE
N NORWOOD ST                  W LAVEER ST                   MEDARY AVE
N NORWOOD ST                  CHELTEN AVE                   W 65TH AVE
W GODFREY AVE                 N NORWOOD ST                  N BEECHWOOD ST
W GODFREY AVE                 N BEECHWOOD ST                E WISTER ST
N 21ST ST                     W GODFREY AVE                 W LAVEER ST
W GODFREY AVE                 N 21ST ST                     N NORWOOD ST
W GODFREY AVE                 N LAMBERT ST                  N 21ST ST
W GODFREY AVE                 N WOODSTOCK ST                N LAMBERT ST
W GODFREY AVE                 N 20TH ST                     N WOODSTOCK ST
W SPENCER AVE                 N NORWOOD ST                  N BEECHWOOD ST
N 21ST ST                     W SPENCER AVE                 W GODFREY AVE
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W SPENCER AVE                 N 21ST ST                     N NORWOOD ST
W SPENCER AVE                 N LAMBERT ST                  N 21ST ST
W SPENCER AVE                 N 20TH ST                     N WOODSTOCK ST
N WOODSTOCK ST                W SPENCER AVE                 W GODFREY AVE
W SPENCER AVE                 N WOODSTOCK ST                N LAMBERT ST
N WOODSTOCK ST                CHURCH LN                     W SPENCER AVE
N 21ST ST                     CHURCH LN                     W SPENCER AVE
W SPENCER AVE                 N BEECHWOOD ST                E WISTER ST
N BEECHWOOD ST                W SPENCER AVE                 W GODFREY AVE
N LAMBERT ST                  CHURCH LN                     W SPENCER AVE
N BEECHWOOD ST                CHURCH LN                     W SPENCER AVE
N NORWOOD ST                  W SPENCER AVE                 W GODFREY AVE
N LAMBERT ST                  W SPENCER AVE                 W GODFREY AVE
CHURCH LN                     N 20TH ST                     N WOODSTOCK ST
CHURCH LN                     N WOODSTOCK ST                N LAMBERT ST
CHURCH LN                     N LAMBERT ST                  N LAMBERT ST
CHURCH LN                     N LAMBERT ST                  N 21ST ST
N NORWOOD ST                  CHURCH LN                     W SPENCER AVE
CHURCH LN                     N NORWOOD ST                  N BEECHWOOD ST
N 20TH ST                     CHURCH LN                     W SPENCER AVE
N 20TH ST                     W CHAMPLOST AVE               CHURCH LN
W CHAMPLOST AVE               N 20TH ST                     W CHAMPLOST AVE
N 21ST ST                     KEMBLE AVE                    CHURCH LN
N 20TH ST                     WIDENER PL                    W CHAMPLOST AVE
N 20TH ST                     W NEDRO AVE                   WIDENER PL
E WISTER ST                   W NEDRO AVE                   CHURCH LN
N 21ST ST                     W NEDRO AVE                   KEMBLE AVE
CHURCH LN                     N BEECHWOOD ST                E WISTER ST
WIDENER PL                    N 20TH ST                     KEMBLE AVE
N NORWOOD ST                  W NEDRO AVE                   CHURCH LN
N BEECHWOOD ST                W NEDRO AVE                   CHURCH LN
KEMBLE AVE                    WIDENER PL                    N 21ST ST
KEMBLE AVE                    W NEDRO AVE                   WIDENER PL
W NEDRO AVE                   N 20TH ST                     KEMBLE AVE
W NEDRO AVE                   N BEECHWOOD ST                E WISTER ST
W NEDRO AVE                   N BEECHWOOD ST                N BEECHWOOD ST
W NEDRO AVE                   N NORWOOD ST                  N BEECHWOOD ST
W NEDRO AVE                   N 21ST ST                     N NORWOOD ST
W NEDRO AVE                   N LAMBERT ST                  N 21ST ST
W NEDRO AVE                   KEMBLE AVE                    N WOODSTOCK ST
W NEDRO AVE                   N WOODSTOCK ST                N LAMBERT ST
N 20TH ST                     KEMBLE AVE                    W NEDRO AVE
KEMBLE AVE                    N 20TH ST                     W NEDRO AVE
CONLYN ST                     N WOODSTOCK ST                N LAMBERT ST
CONLYN ST                     N LAMBERT ST                  N 21ST ST
N 21ST ST                     CONLYN ST                     W NEDRO AVE
CONLYN ST                     N BEECHWOOD ST                E WISTER ST
CONLYN ST                     N 21ST ST                     N BEECHWOOD ST
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CONLYN ST                     N BEECHWOOD ST                N BEECHWOOD ST
N 20TH ST                     CONLYN ST                     KEMBLE AVE
CONLYN ST                     N 20TH ST                     N WOODSTOCK ST
W CHEW AVE                    N LAMBERT ST                  N 21ST ST
N 21ST ST                     W CHEW AVE                    CONLYN ST
W CHEW AVE                    N 21ST ST                     N BEECHWOOD ST
W CHEW AVE                    N WOODSTOCK ST                N LAMBERT ST
W CHEW AVE                    N 20TH ST                     N WOODSTOCK ST
N 20TH ST                     W OLNEY AVE                   W CHEW AVE
W CHEW AVE                    N BEECHWOOD ST                W OLNEY AVE
E WISTER ST                   ELKINS AVE                    W OLNEY AVE
N WOODSTOCK ST                CONLYN ST                     W NEDRO AVE
N BEECHWOOD ST                FURLEY ST                     CONLYN ST
N BEECHWOOD ST                W CHEW AVE                    FURLEY ST
N WOODSTOCK ST                W CHEW AVE                    CONLYN ST
ELKINS AVE                    W OLNEY AVE                   E WISTER ST
E WISTER ST                   W GRANGE AVE                  W NEDRO AVE
N BEECHWOOD ST                W GRANGE AVE                  W NEDRO AVE
N BEECHWOOD ST                CONLYN ST                     W GRANGE AVE
E WISTER ST                   CONLYN ST                     W GRANGE AVE
E WISTER ST                   FURLEY ST                     CONLYN ST
E WISTER ST                   E PENN ST                     FURLEY ST
E WISTER ST                   W OLNEY AVE                   E PENN ST
W GRANGE AVE                  N BEECHWOOD ST                E WISTER ST
N LAMBERT ST                  CONLYN ST                     W NEDRO AVE
FURLEY ST                     N BEECHWOOD ST                E WISTER ST
N LAMBERT ST                  W CHEW AVE                    CONLYN ST
N OPAL ST                     66TH AVE                      67TH AVE
N GRATZ ST                    66TH AVE                      67TH AVE
RIDLEY ST                     N 20TH ST                     LIMEKILN PIKE
N GRATZ ST                    W 65TH AVE                    66TH AVE
COLONIAL ST                   N 17TH ST                     N 18TH ST
N UBER ST                     66TH AVE                      67TH AVE
N BOUVIER ST                  66TH AVE                      67TH AVE
N UBER ST                     W 65TH AVE                    66TH AVE
N BOUVIER ST                  W 65TH AVE                    66TH AVE
COLONIAL ST                   OGONTZ AVE                    N 20TH ST
N 17TH ST                     66TH AVE                      67TH AVE
N 17TH ST                     W 65TH AVE                    66TH AVE
N 17TH ST                     COLONIAL ST                   W 65TH AVE
CHELTEN AVE                   N OPAL ST                     LIMEKILN PIKE
CHELTEN AVE                   STENTON AVE                   N GARNET ST
CHELTEN AVE                   N 18TH ST                     STENTON AVE
N 17TH ST                     CHELTEN AVE                   COLONIAL ST
CHELTEN AVE                   N 17TH ST                     N 18TH ST
N 20TH ST                     66TH AVE                      67TH AVE
CHELTEN AVE                   N GARNET ST                   N 20TH ST
CHELTEN AVE                   N 20TH ST                     N OPAL ST
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N 20TH ST                     CHELTEN AVE                   STENTON AVE
N 18TH ST                     STENTON AVE                   CHELTEN AVE
N 18TH ST                     MEDARY AVE                    STENTON AVE
LIMEKILN PIKE                 W LAVEER ST                   N 20TH ST
N 20TH ST                     W GODFREY AVE                 W LAVEER ST
LIMEKILN PIKE                 W GODFREY AVE                 W LAVEER ST
W GODFREY AVE                 LIMEKILN PIKE                 N 20TH ST
W GODFREY AVE                 OGONTZ AVE                    LIMEKILN PIKE
W GODFREY AVE                 N GRATZ ST                    OGONTZ AVE
N 18TH ST                     W GODFREY AVE                 MEDARY AVE
W GODFREY AVE                 N 18TH ST                     N GRATZ ST
W GODFREY AVE                 N BOUVIER ST                  N 18TH ST
N 17TH ST                     W GODFREY AVE                 MEDARY AVE
W GODFREY AVE                 N 17TH ST                     N BOUVIER ST
N 17TH ST                     SPARKS ST                     W GODFREY AVE
LIMEKILN PIKE                 N GRATZ ST                    OGONTZ AVE
W SPENCER AVE                 OGONTZ AVE                    N 20TH ST
LIMEKILN PIKE                 CHURCH LN                     N GRATZ ST
N 17TH ST                     CHURCH LN                     SPARKS ST
N 17TH ST                     MEDARY AVE                    STENTON AVE
MEDARY AVE                    N OPAL ST                     LIMEKILN PIKE
MEDARY AVE                    N GARNET ST                   N OPAL ST
MEDARY AVE                    OGONTZ AVE                    N GARNET ST
MEDARY AVE                    N GRATZ ST                    OGONTZ AVE
MEDARY AVE                    N 18TH ST                     N GRATZ ST
MEDARY AVE                    N BOUVIER ST                  N 18TH ST
MEDARY AVE                    N 17TH ST                     N BOUVIER ST
N GARNET ST                   MEDARY AVE                    CHELTEN AVE
W LAVEER ST                   OGONTZ AVE                    LIMEKILN PIKE
N BOUVIER ST                  W GODFREY AVE                 MEDARY AVE
SPARKS ST                     OGONTZ AVE                    N 20TH ST
N OPAL ST                     MEDARY AVE                    CHELTEN AVE
N GRATZ ST                    MEDARY AVE                    STENTON AVE
N GRATZ ST                    W GODFREY AVE                 MEDARY AVE
N GRATZ ST                    LIMEKILN PIKE                 W GODFREY AVE
CHURCH LN                     N OPAL ST                     N 20TH ST
CHURCH LN                     LIMEKILN PIKE                 OGONTZ AVE
CHURCH LN                     OGONTZ AVE                    N 19TH ST
CHURCH LN                     N 19TH ST                     N OPAL ST
CHURCH LN                     N 17TH ST                     LIMEKILN PIKE
N 17TH ST                     LIMEKILN PIKE                 CHURCH LN
W CHAMPLOST AVE               OGONTZ AVE                    N 19TH ST
W CHAMPLOST AVE               N 17TH ST                     OGONTZ AVE
WIDENER PL                    N 17TH ST                     OGONTZ AVE
N OPAL ST                     W NEDRO AVE                   CHURCH LN
W NEDRO AVE                   N OPAL ST                     N 20TH ST
W NEDRO AVE                   N 19TH ST                     N OPAL ST
W NEDRO AVE                   N 17TH ST                     OGONTZ AVE
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KEMBLE AVE                       CONLYN ST                     N 20TH ST
CONLYN ST                        KEMBLE AVE                    N 20TH ST
KEMBLE AVE                       N 19TH ST                     CONLYN ST
ROSELYN ST                       OGONTZ AVE                    N 19TH ST
ROSELYN ST                       N 17TH ST                     OGONTZ AVE
WIDENER PL                       OGONTZ AVE                    N 19TH ST
N 17TH ST                        ROSELYN ST                    LIMEKILN PIKE
CONLYN ST                        OGONTZ AVE                    W GRANGE AVE
CONLYN ST                        N 17TH ST                     OGONTZ AVE
CONLYN ST                        W GRANGE AVE                  KEMBLE AVE
KEMBLE AVE                       OGONTZ AVE                    N 19TH ST
W CHEW AVE                       N UBER ST                     N 20TH ST
W CHEW AVE                       OGONTZ AVE                    N 18TH ST
W CHEW AVE                       N 18TH ST                     N 19TH ST
W CHEW AVE                       N 19TH ST                     N UBER ST
N 19TH ST                        W OLNEY AVE                   W CHEW AVE
VIRGINIAN RD                     W CHEW AVE                    W GRANGE AVE
N UBER ST                        W OLNEY AVE                   W CHEW AVE
N 17TH ST                        W CHEW AVE                    W GRANGE AVE
N 18TH ST                        W OLNEY AVE                   W CHEW AVE
N 16TH ST                        KINSDALE ST                   67TH AVE
N 15TH ST                        KINSDALE ST                   67TH AVE
N 16TH ST                        ORLAND ST                     KINSDALE ST
N 15TH ST                        ORLAND ST                     KINSDALE ST
N 16TH ST                        66TH AVE                      ORLAND ST
N 15TH ST                        66TH AVE                      ORLAND ST
N 16TH ST                        CUTLER ST                     66TH AVE
W 65TH AVE                       N SMEDLEY ST                  N 17TH ST
N 16TH ST                        W 65TH AVE                    CUTLER ST
CUTLER ST                        N 15TH ST                     N 16TH ST
OLD YORK RD                      W 65TH AVE                    66TH AVE
CHELTEN AVE                      N SMEDLEY ST                  N 17TH ST
CHELTEN AVE                      N SYDENHAM ST                 N 16TH ST
CHELTEN AVE                      N 15TH ST                     N SYDENHAM ST
CHELTEN AVE                      N BROAD ST                    OLD YORK RD
KINSDALE ST                      N 15TH ST                     N 16TH ST
N SMEDLEY ST                     W 65TH AVE                    66TH AVE
N SMEDLEY ST                     CHELTEN AVE                   W 65TH AVE
ORLAND ST                        N 15TH ST                     N 16TH ST
N SMEDLEY ST                     66TH AVE                      67TH AVE
OLD YORK RD                      STENTON AVE                   MEDARY AVE
W GODFREY AVE                    N SMEDLEY ST                  N 17TH ST
W GODFREY AVE                    N 16TH ST                     N SMEDLEY ST
N 16TH ST                        SPARKS ST                     W GODFREY AVE
N 16TH ST                        DEAD END SOUTH                SPARKS ST
OLD YORK RD                      CHURCH LN                     SPARKS ST
MEDARY AVE                       STENTON AVE                   N 17TH ST
N 15TH ST                        STENTON AVE                   MEDARY AVE
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SPARKS ST                      N 16TH ST                     N 17TH ST
CHURCH LN                      OLD YORK RD                   N 16TH ST
OLD YORK RD                    GREEN LN                      CHURCH LN
LIMEKILN PIKE                  ROSELYN ST                    N 17TH ST
OLD YORK RD                    ROSELYN ST                    GREEN LN
ROSELYN ST                     OLD YORK RD                   N 16TH ST
W CHAMPLOST AVE                LIMEKILN PIKE                 N 17TH ST
W CHAMPLOST AVE                N 15TH ST                     N 16TH ST
W CHAMPLOST AVE                OLD YORK RD                   N 15TH ST
OLD YORK RD                    WIDENER PL                    W CHAMPLOST AVE
W NEDRO AVE                    N 16TH ST                     N 17TH ST
W NEDRO AVE                    N 15TH ST                     N 16TH ST
W NEDRO AVE                    N 15TH ST                     N 15TH ST
ROSELYN ST                     LIMEKILN PIKE                 N 17TH ST
N 16TH ST                      ROSELYN ST                    CHURCH LN
WIDENER PL                     N 16TH ST                     N 17TH ST
WIDENER PL                     N 15TH ST                     N 16TH ST
WIDENER PL                     OLD YORK RD                   N 15TH ST
N 15TH ST                      W NEDRO AVE                   WIDENER PL
N 15TH ST                      WIDENER PL                    W CHAMPLOST AVE
N 16TH ST                      W GRANGE AVE                  CONLYN ST
N 16TH ST                      CLEARVIEW ST                  W GRANGE AVE
N 16TH ST                      W CHEW AVE                    CLEARVIEW ST
N 15TH ST                      W GRANGE AVE                  CONLYN ST
N 15TH ST                      W CHEW AVE                    CLEARVIEW ST
N 15TH ST                      W OLNEY AVE                   W CHEW AVE
W CHEW AVE                     N SYDENHAM ST                 N 16TH ST
W CHEW AVE                     N 15TH ST                     N SYDENHAM ST
CLEARVIEW ST                   N 15TH ST                     N 16TH ST
N SYDENHAM ST                  W OLNEY AVE                   W CHEW AVE
N CARLISLE ST                  W DUNCANNON AVE               W FISHER AVE
BAYNTON ST                     E CLAPIER ST                  E WISTER ST
BAYNTON ST                     SHEDAKER ST                   E CLAPIER ST
LENA ST                        E CHELTEN AVE                 E STAFFORD ST
E WALNUT LN                    GERMANTOWN AVE                BAYNTON ST
ROSS ST                        COSGROVE ST                   E WALNUT LN
ROSS ST                        HIGH ST                       COSGROVE ST
OSCEOLA ST                     E PRICE ST                    E RITTENHOUSE ST
OSCEOLA ST                     LOCUST AVE                    DEAD END EAST
W GODFREY AVE                  E WISTER ST                   E WOODLAWN ST
E STAFFORD ST                  MUSGRAVE ST                   STOKES ST
STOKES ST                      E STAFFORD ST                 E PRICE ST
E RITTENHOUSE ST               MC MAHON AVE                  CHEW AVE
STOKES ST                      LOCUST AVE                    E WOODLAWN ST
NELSON ST                      LOCUST AVE                    E WOODLAWN ST
BLAKEMORE ST                   E WOODLAWN ST                 E CHELTEN AVE
BOYER ST                       E HAINES ST                   AVONHOE RD
CLEARVIEW ST                   E TULPEHOCKEN ST              E WASHINGTON LN
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SLOCUM ST                     CHEW AVE                      DEAD END NORTH
E SHARPNACK ST                MAGNOLIA ST                   ROSS ST
E SHARPNACK ST                ROSS ST                       MUSGRAVE ST
W ARMAT ST                    E ARMAT ST                    MAPLEWOOD MALL
W ARMAT ST                    MAPLEWOOD MALL                MAPLEWOOD MALL
W ARMAT ST                    MAPLEWOOD MALL                GREENE ST
MARION ST                     W PRICE ST                    W RITTENHOUSE ST
KITCHENS LN                   SCOTFORTH RD                  WHITE TRL
N MOUNT PLEASANT AVE          WISSAHICKON AVE               MOUNT PLEASANT PL
S MOUNT PLEASANT RD           S MOUNT PLEASANT RD           N MOUNT PLEASANT RD
S MOUNT PLEASANT RD           S MOUNT PLEASANT RD           GLEN ECHO RD
S MOUNT PLEASANT RD           GLEN ECHO RD                  GREENE ST
S MOUNT PLEASANT RD           GREENE ST                     MARION LN
CARPENTER LN                  MC CALLUM ST                  GREENE ST
W SEDGWICK ST                 MC CALLUM ST                  GREENE ST
W MOUNT AIRY AVE              CHARLTON ST                   LINCOLN DR
KNOX ST                       W CHELTEN AVE                 W PRICE ST
E SHARPNACK ST                ROSS ST                       ROSS ST
COSGROVE ST                   ROSS ST                       BELFIELD AVE
ARMSTRONG ST                  MAGNOLIA ST                   E WISTER ST
W HAINES ST                   GREENE ST                     WAYNE AVE
KENYON ST                     E SCHOOL HOUSE LN             E ARMAT ST
W DURHAM ST                   GERMANTOWN AVE                BRYAN ST
SHELDON ST                    STENTON AVE                   ELWOOD ST
STENTON AVE                   ELWOOD ST                     SHELDON ST
STENTON AVE                   SHELDON ST                    RUBICAM ST
W GOWEN AVE                   GOWEN CIR                     BRYAN ST
EMLEN ST                      ROSEMARY LN                   LINCOLN DR
W SHARPNACK ST                EMLEN ST                      CHEROKEE ST
CHARLTON ST                   NIPPON ST                     W ALLENS LN
CHARLTON ST                   W MOUNT AIRY AVE              NIPPON ST
E DURHAM ST                   CHEW AVE                      BOYER ST
E DURHAM ST                   GERMANTOWN AVE                CHEW AVE
W HAINES ST                   GERMANTOWN AVE                MC CALLUM ST
E SCHOOL HOUSE LN             MARKET SQ                     KENYON ST
E SCHOOL HOUSE LN             W SCHOOL HOUSE LN             MARKET SQ
GREEN LN                      OLD YORK RD                   N BROAD ST
BRUSH RD                      E PRICE ST                    E HAINES ST
BERDAN ST                     W SHARPNACK ST                GOOD ST
BRINTON ST                    MUSGRAVE ST                   CHEW AVE
DEVON PL                      DEVON PL                      CUL DE SAC NORTH
DEVON PL                      CUL DE SAC SOUTH              DEVON PL
W PRICE ST                    KNOX ST                       KNOX ST
CAMPBELL PL                   GREENE ST                     CUL DE SAC NORTH
PLEASANT ST                   BOYER ST                      SPRAGUE ST
SLOCUM ST                     BOYER ST                      SPRAGUE ST
E CLIVEDEN ST                 CLEARVIEW ST                  BELFIELD AVE
BOYER ST                      BELFIELD AVE                  E UPSAL ST
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BOYER ST                         E UPSAL ST                    E SHARPNACK ST
MUSGRAVE ST                      E CLIVEDEN ST                 E UPSAL ST
E DUVAL ST                       CARNATION ST                  MAGNOLIA ST
E DUVAL ST                       GARDENIA ST                   CARNATION ST
E DUVAL ST                       MORTON ST                     GARDENIA ST
BAYNTON ST                       E PASTORIUS ST                E TULPEHOCKEN ST
OSCEOLA ST                       E PASTORIUS ST                E TULPEHOCKEN ST
MATTHEWS ST                      E CLIVEDEN ST                 E UPSAL ST
ARDLEIGH ST                      E CLIVEDEN ST                 E UPSAL ST
E CLIVEDEN ST                    ARDLEIGH ST                   MILTON ST
E CLIVEDEN ST                    MILTON ST                     ANDERSON ST
ARDLEIGH ST                      BARRINGER ST                  E CLIVEDEN ST
ARDLEIGH ST                      E JOHNSON ST                  BARRINGER ST
E DUVAL ST                       ARDLEIGH ST                   MILTON ST
E JOHNSON ST                     ARDLEIGH ST                   MILTON ST
E JOHNSON ST                     MILTON ST                     ANDERSON ST
E DUVAL ST                       MILTON ST                     ANDERSON ST
E HAINES ST                      STOCKTON RD                   BRUSH RD
E PRICE ST                       STOCKTON RD                   E STAFFORD ST
E PRICE ST                       W 65TH AVE                    E WISTER ST
W 65TH AVE                       E WISTER ST                   CRITTENDEN ST
W 65TH AVE                       OLD YORK RD                   N 15TH ST
OLD YORK RD                      CHELTEN AVE                   W 65TH AVE
N SYDENHAM ST                    CHELTEN AVE                   W 65TH AVE
N 15TH ST                        CHELTEN AVE                   W 65TH AVE
W 65TH AVE                       N 15TH ST                     N SYDENHAM ST
N 16TH ST                        CHELTEN AVE                   W 65TH AVE
W 65TH AVE                       N SYDENHAM ST                 N 16TH ST
W 65TH AVE                       N 16TH ST                     N SMEDLEY ST
CHELTEN AVE                      N 16TH ST                     N SMEDLEY ST
MEDARY AVE                       N 15TH ST                     OLD YORK RD
W GODFREY AVE                    OLD YORK RD                   N 16TH ST
N SMEDLEY ST                     W GODFREY AVE                 MEDARY AVE
N 16TH ST                        W GODFREY AVE                 STENTON AVE
OLD YORK RD                      W GODFREY AVE                 STENTON AVE
OLD YORK RD                      SPARKS ST                     W GODFREY AVE
N 20TH ST                        SPARKS ST                     W GODFREY AVE
LIMEKILN PIKE                    OGONTZ AVE                    W GODFREY AVE
N 20TH ST                        W SPENCER AVE                 SPARKS ST
N 20TH ST                        W CHEW AVE                    CONLYN ST
N 19TH ST                        W CHEW AVE                    KEMBLE AVE
W CHEW AVE                       N 17TH ST                     OGONTZ AVE
W GRANGE AVE                     N 17TH ST                     OGONTZ AVE
W CHEW AVE                       VIRGINIAN RD                  N 17TH ST
W GRANGE AVE                     VIRGINIAN RD                  N 17TH ST
W CHEW AVE                       N 16TH ST                     VIRGINIAN RD
W GRANGE AVE                     N 16TH ST                     VIRGINIAN RD
N 15TH ST                        CLEARVIEW ST                  W GRANGE AVE
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W GRANGE AVE                  CONLYN ST                     CONLYN ST
N 17TH ST                     W GRANGE AVE                  CONLYN ST
W GRANGE AVE                  N 15TH ST                     N 16TH ST
CONLYN ST                     N 15TH ST                     N 16TH ST
W GRANGE AVE                  OLD YORK RD                   N 15TH ST
CONLYN ST                     N 16TH ST                     N 17TH ST
CONLYN ST                     OLD YORK RD                   N 15TH ST
CONLYN ST                     W GRANGE AVE                  W GRANGE AVE
N 17TH ST                     CONLYN ST                     W NEDRO AVE
N 16TH ST                     CONLYN ST                     W NEDRO AVE
N 15TH ST                     CONLYN ST                     W NEDRO AVE
N 19TH ST                     W NEDRO AVE                   WIDENER PL
N 17TH ST                     W NEDRO AVE                   WIDENER PL
N 16TH ST                     W NEDRO AVE                   WIDENER PL
N 19TH ST                     WIDENER PL                    W CHAMPLOST AVE
N 17TH ST                     WIDENER PL                    W CHAMPLOST AVE
N 16TH ST                     WIDENER PL                    W CHAMPLOST AVE
N 17TH ST                     W CHAMPLOST AVE               ROSELYN ST
N 19TH ST                     W CHAMPLOST AVE               ROSELYN ST
N 19TH ST                     ROSELYN ST                    CHURCH LN
LIMEKILN PIKE                 N 17TH ST                     CHURCH LN
CHURCH LN                     N 16TH ST                     N 17TH ST
LIMEKILN PIKE                 W CHAMPLOST AVE               ROSELYN ST
N 16TH ST                     W CHAMPLOST AVE               ROSELYN ST
OLD YORK RD                   W CHAMPLOST AVE               ROSELYN ST
MAGNOLIA ST                   PARNELL PL                    CHURCH LN
MAGNOLIA ST                   POTTERTON HTS                 PARNELL PL
BAYNTON ST                    E QUEEN LN                    E PENN ST
RUFE ST                       E QUEEN LN                    E PENN ST
W SOMERVILLE AVE              N SYDENHAM ST                 N 16TH ST
W FISHER AVE                  N SYDENHAM ST                 N 16TH ST
W DUNCANNON AVE               N SYDENHAM ST                 N 16TH ST
W DUNCANNON AVE               N 15TH ST                     N SYDENHAM ST
N CARLISLE ST                 W FISHER AVE                  W SOMERVILLE AVE
N 15TH ST                     W FISHER AVE                  W SOMERVILLE AVE
CONCORD ST                    HARVEY ST                     DEAD END WEST
HARVEY ST                     GERMANTOWN AVE                CONCORD ST
RUBICAM ST                    STENTON AVE                   SHEDAKER ST
STENTON AVE                   RUBICAM ST                    SHEDAKER ST
W CHAMPLOST AVE               W CHAMPLOST AVE               W CHAMPLOST AVE
W CHAMPLOST AVE               W CHAMPLOST AVE               N LAMBERT ST
MC CALLUM ST                  W DUVAL ST                    W DUVAL ST
E TULPEHOCKEN ST              GARDENIA ST                   MAGNOLIA ST
E DUVAL ST                    MAGNOLIA ST                   MAGNOLIA ST
SPRAGUE ST                    N PLEASANT PL                 PLEASANT ST
67TH AVE                      OGONTZ AVE                    N UBER ST
ARDLEIGH ST                   E HAINES ST                   E TULPEHOCKEN ST
CHELTEN AVE                   OLD YORK RD                   N 15TH ST
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E ARMAT ST                    HEISKELL ST                   HEISKELL ST
CROWSON ST                    GRAY ST                       E WOODLAWN ST
W PENN ST                     LINDEN TER                    LINDEN PL
W PENN ST                     LINDEN PL                     GREENE ST
GRAY ST                       CROWSON ST                    DEAD END NORTH
E RITTENHOUSE ST              OSCEOLA ST                    OSCEOLA ST
E HAINES ST                   CARSWELL TER                  OSCEOLA ST
W MOUNT AIRY AVE              DEAD END NORTH                CHARLTON ST
W PENN ST                     GERMANTOWN AVE                PENN CT
W PENN ST                     PENN CT                       LINDEN TER
W CHAMPLOST AVE               N 19TH ST                     DEAD END WEST
N 15TH ST                     OLD YORK RD                   CHELTEN AVE
OLD YORK RD                   MEDARY AVE                    N 15TH ST
OLD YORK RD                   N 15TH ST                     CHELTEN AVE
FOUR FREEDOMS HOME            W WALNUT LN                   DEAD END
GERMANTOWN FRIENDS SCHOOL     W COULTER ST                  DEAD END
W COULTER ST                  GERMANTOWN AVE                GERMANTOWN FRIENDS SCHOOL
W COULTER ST                  GERMANTOWN FRIENDS SCHOOL     GREENE ST
E RITTENHOUSE ST              MAGNOLIA ST                   CUL DE SAC NORTH
BLAKEMORE ST                  MONTANA ST                    E HORTTER ST
CHEROKEE ST                   W DURHAM ST                   WELLESLEY RD
CHELTEN AVE                   E WISTER ST                   E CHELTEN AVE
KEMBLE AVE                    N 21ST ST                     CHURCH LN
CHURCH LN                     N 21ST ST                     KEMBLE AVE
CHURCH LN                     KEMBLE AVE                    N NORWOOD ST
EMLEN ST                      CRESHEIM RD                   CRESHEIM VALLEY DR
CRESHEIM VALLEY DR            EMLEN ST                      LINCOLN DR
E TULPEHOCKEN ST              CUL DE SAC WEST               CRITTENDEN ST
ARDLEIGH ST                   E TULPEHOCKEN ST              E WASHINGTON LN
E RITTENHOUSE ST              CARSWELL TER                  OSCEOLA ST
E RITTENHOUSE ST              BAYNTON ST                    CARSWELL TER
SAINT GEORGES RD              MC CALLUM ST                  SHERMAN ST
SAINT GEORGES RD              SHERMAN ST                    DEAD END SOUTH
SHERMAN ST                    SAINT GEORGES RD              DEAD END WEST
CHURCH LN                     BELFIELD AVE                  CHURCH LN
CHURCH LN                     MORTON ST                     CHURCH LN
N AMERICAN ST                 66TH AVE                      DEAD END NORTH
W 65TH AVE                    N PARK AVE                    N BROAD ST
ACKER ST                      N 4TH ST                      N 5TH ST
CHELTEN AVE                   N PARK AVE                    N BROAD ST
N 10TH ST                     CHELTEN AVE                   W 65TH AVE
CHELTEN AVE                   N 8TH ST                      N 10TH ST
N 10TH ST                     MEDARY AVE                    CHELTEN AVE
HOWELL ST                     WEYMOUTH ST                   COMLY ST
N 8TH ST                      KENILWORTH AVE                CHELTEN AVE
N 10TH ST                     W GODFREY AVE                 MEDARY AVE
KENILWORTH AVE                N 7TH ST                      N 8TH ST
NEWTOWN AVE                   E CHELTENHAM AVE              ALCOTT ST
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W SPENCER AVE                 N PARK AVE                    N BROAD ST
W CHAMPLOST AVE               DEAD END EAST                 N HUTCHINSON ST
NEWTOWN AVE                   ADAMS AVE                     E GODFREY AVE
ALGON AVE                     STEVENS TER                   OXFORD AVE
ALLENGROVE ST                 E GODFREY AVE                 BINGHAM ST
W GRANGE AVE                  N PARK AVE                    N BROAD ST
N MARVINE ST                  W GRANGE AVE                  N 11TH ST
W CHEW AVE                    N PARK AVE                    N BROAD ST
E GODFREY AVE                 TABOR AVE                     NSAPHL FOUR ST
W TABOR RD                    N 7TH ST                      WAGNER AVE
HARRISON ST                   HOWLAND ST                    WHITAKER AVE
WHITAKER AVE                  HARRISON ST                   NSAPHL FOUR ST
FOULKROD ST                   HOWLAND ST                    WHITAKER AVE
W TABOR RD                    N HOWARD ST                   MASCHER ST
MARWOOD RD                    WESTFORD RD                   GENEVA AVE
FILLMORE TER                  SUMMERDALE AVE                E ROOSEVELT BLVD
W CHAMPLOST AVE               N PARK AVE                    N BROAD ST
W SOMERVILLE AVE              OLD YORK RD                   N BROAD ST
N 10TH ST                     W FISHER AVE                  WAGNER AVE
WAGNER AVE                    OLD YORK RD                   N BROAD ST
LINDLEY AVE                   N MARSHALL ST                 N 7TH ST
LINDLEY AVE                   N 2ND ST                      N 3RD ST
OLD YORK RD                   LINDLEY AVE                   WAGNER AVE
W WELLENS ST                  N 3RD ST                      N 5TH ST
N 3RD ST                      DELPHINE ST                   W SOMERVILLE AVE
W DUNCANNON AVE               MASCHER ST                    N 2ND ST
W ASHDALE ST                  PALETHORP ST                  N 2ND ST
LINDLEY AVE                   OLD YORK RD                   N BROAD ST
FOULKROD ST                   NORTHWOOD ST                  RUTLAND ST
W FISHER AVE                  OLD YORK RD                   N BROAD ST
W DUNCANNON AVE               OLD YORK RD                   N BROAD ST
N 13TH ST                     66TH AVE                      OAK LN
N 12TH ST                     66TH AVE                      OAK LN
N 11TH ST                     66TH AVE                      OAK LN
LAWNTON AVE                   66TH AVE                      OAK LN
N 10TH ST                     66TH AVE                      OAK LN
N 8TH ST                      66TH AVE                      OAK LN
N 7TH ST                      66TH AVE                      67TH AVE
N 6TH ST                      66TH AVE                      67TH AVE
N FAIRHILL ST                 66TH AVE                      67TH AVE
N LAWRENCE ST                 66TH AVE                      67TH AVE
N 4TH ST                      66TH AVE                      67TH AVE
N 13TH ST                     W 65TH AVE                    66TH AVE
W 65TH AVE                    N 13TH ST                     N PARK AVE
N 3RD ST                      66TH AVE                      67TH AVE
N CAMAC ST                    W 65TH AVE                    66TH AVE
W 65TH AVE                    N CAMAC ST                    N 13TH ST
N 12TH ST                     W 65TH AVE                    66TH AVE
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W 65TH AVE                       N 12TH ST                     N CAMAC ST
N 11TH ST                        W 65TH AVE                    66TH AVE
W 65TH AVE                       N 11TH ST                     N 12TH ST
RIDLEY ST                        DEAD END EAST                 N 5TH ST
LAWNTON AVE                      W 65TH AVE                    66TH AVE
W 65TH AVE                       LAWNTON AVE                   N 11TH ST
N 8TH ST                         W 65TH AVE                    66TH AVE
N 10TH ST                        W 65TH AVE                    66TH AVE
W 65TH AVE                       N 10TH ST                     LAWNTON AVE
N 4TH ST                         ACKER ST                      66TH AVE
NEWTOWN AVE                      LARDNER ST                    STEVENS ST
N 7TH ST                         W 65TH AVE                    66TH AVE
W 65TH AVE                       N 7TH ST                      N 8TH ST
N 6TH ST                         W 65TH AVE                    66TH AVE
W 65TH AVE                       N 6TH ST                      N 7TH ST
N FAIRHILL ST                    W 65TH AVE                    66TH AVE
W 65TH AVE                       N FAIRHILL ST                 N 6TH ST
W 65TH AVE                       N 5TH ST                      N FAIRHILL ST
NEWTOWN AVE                      STEARLY ST                    LARDNER ST
HASBROOK AVE                     DEVEREAUX AVE                 ROBBINS ST
REACH ST                         STEVENS ST                    DEVEREAUX AVE
N PARK AVE                       CHELTEN AVE                   W 65TH AVE
N 4TH ST                         W 65TH AVE                    ACKER ST
W 65TH AVE                       N 4TH ST                      N 5TH ST
N 13TH ST                        CHELTEN AVE                   W 65TH AVE
CHELTEN AVE                      N 13TH ST                     N PARK AVE
N 3RD ST                         W 65TH AVE                    66TH AVE
W 65TH AVE                       N 3RD ST                      N 4TH ST
N AMERICAN ST                    W 65TH AVE                    66TH AVE
W 65TH AVE                       N AMERICAN ST                 N 3RD ST
NEWTOWN AVE                      BENNER ST                     STEARLY ST
OAKLEY ST                        ROBBINS ST                    LEVICK ST
N CAMAC ST                       CHELTEN AVE                   W 65TH AVE
CHELTEN AVE                      N CAMAC ST                    N 13TH ST
REACH ST                         LARDNER ST                    STEVENS ST
LARDNER ST                       NEWTOWN AVE                   REACH ST
PALMETTO ST                      LEVICK ST                     HELLERMAN ST
W 65TH AVE                       N 2ND ST                      N AMERICAN ST
N 8TH ST                         W 64TH AVE                    W 65TH AVE
N 12TH ST                        CHELTEN AVE                   W 65TH AVE
CHELTEN AVE                      N 12TH ST                     N CAMAC ST
HASBROOK AVE                     STEVENS ST                    DEVEREAUX AVE
NEWTOWN AVE                      HIGBEE ST                     BENNER ST
ARGYLE ST                        ROBBINS ST                    LEVICK ST
ROBBINS ST                       OAKLEY ST                     ARGYLE ST
HASBROOK AVE                     LARDNER ST                    STEVENS ST
LARDNER ST                       REACH ST                      HASBROOK AVE
N 11TH ST                        CHELTEN AVE                   W 65TH AVE
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CHELTEN AVE                    N 11TH ST                     N 12TH ST
REACH ST                       STEARLY ST                    LARDNER ST
STEARLY ST                     NEWTOWN AVE                   REACH ST
SHELBOURNE ST                  DEVEREAUX AVE                 ROBBINS ST
DEVEREAUX AVE                  HASBROOK AVE                  SHELBOURNE ST
N 7TH ST                       W 64TH AVE                    W 65TH AVE
W 64TH AVE                     N 7TH ST                      N 8TH ST
W 65TH AVE                     N FRONT ST                    MASCHER ST
BINGHAM ST                     LEVICK ST                     HELLERMAN ST
N 6TH ST                       W 64TH AVE                    W 65TH AVE
W 64TH AVE                     N 6TH ST                      N 7TH ST
LAWNTON AVE                    CHELTEN AVE                   W 65TH AVE
CHELTEN AVE                    LAWNTON AVE                   N 11TH ST
ROBBINS ST                     ARGYLE ST                     RISING SUN AVE
N FAIRHILL ST                  W 64TH AVE                    W 65TH AVE
W 64TH AVE                     N FAIRHILL ST                 N 6TH ST
W 64TH AVE                     N 5TH ST                      N FAIRHILL ST
MARTINS MILL RD                TABOR AVE                     HELLERMAN ST
NEWTOWN AVE                    COMLY ST                      HIGBEE ST
COMLY ST                       DEAD END WEST                 NEWTOWN AVE
REACH ST                       BENNER ST                     STEARLY ST
BENNER ST                      NEWTOWN AVE                   REACH ST
CHELTEN AVE                    N 10TH ST                     LAWNTON AVE
HASBROOK AVE                   LARDNER ST                    LARDNER ST
WHITAKER AVE                   MAGEE AVE                     FANSHAWE ST
LAWNDALE ST                    LEVICK ST                     MARTINS MILL RD
SHELBOURNE ST                  STEVENS ST                    DEVEREAUX AVE
STEVENS ST                     HASBROOK AVE                  SHELBOURNE ST
MONTOUR ST                     HELLERMAN ST                  MAGEE AVE
HELLERMAN ST                   DEAD END WEST                 MONTOUR ST
N 8TH ST                       CHELTEN AVE                   W 64TH AVE
OAKLEY ST                      DEVEREAUX AVE                 ROBBINS ST
DEVEREAUX AVE                  SHELBOURNE ST                 OAKLEY ST
N PARK AVE                     MEDARY AVE                    CHELTEN AVE
MEDARY AVE                     N PARK AVE                    N BROAD ST
PENNWAY ST                     FANSHAWE ST                   UNRUH AVE
HASBROOK AVE                   BENNER ST                     LARDNER ST
BENNER ST                      REACH ST                      HASBROOK AVE
REACH ST                       HIGBEE ST                     BENNER ST
HIGBEE ST                      NEWTOWN AVE                   REACH ST
PALMETTO ST                    ROBBINS ST                    LEVICK ST
ROBBINS ST                     RISING SUN AVE                PALMETTO ST
N 13TH ST                      MEDARY AVE                    CHELTEN AVE
MEDARY AVE                     N 13TH ST                     N PARK AVE
NEWTOWN AVE                    HOWELL ST                     COMLY ST
N CAMAC ST                     MEDARY AVE                    CHELTEN AVE
MEDARY AVE                     N CAMAC ST                    N 13TH ST
N 12TH ST                      MEDARY AVE                    CHELTEN AVE
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MEDARY AVE                     N 12TH ST                     N CAMAC ST
SHELBOURNE ST                  LARDNER ST                    STEVENS ST
LARDNER ST                     HASBROOK AVE                  SHELBOURNE ST
TABOR AVE                      LEVICK ST                     MARTINS MILL RD
N 11TH ST                      MEDARY AVE                    CHELTEN AVE
MEDARY AVE                     N 11TH ST                     N 12TH ST
ARGYLE ST                      DEVEREAUX AVE                 ROBBINS ST
DEVEREAUX AVE                  OAKLEY ST                     ARGYLE ST
HOWELL ST                      NEWTOWN AVE                   CRYSTAL ST
OAKLEY ST                      STEVENS ST                    DEVEREAUX AVE
STEVENS ST                     SHELBOURNE ST                 OAKLEY ST
N 7TH ST                       CHELTEN AVE                   W 64TH AVE
CHELTEN AVE                    N 7TH ST                      N 8TH ST
MONTOUR ST                     PASSMORE ST                   HELLERMAN ST
HELLERMAN ST                   MONTOUR ST                    OXFORD AVE
BINGHAM ST                     ROBBINS ST                    LEVICK ST
ROBBINS ST                     PALMETTO ST                   BINGHAM ST
PENNWAY ST                     MAGEE AVE                     FANSHAWE ST
MAGEE AVE                      WHITAKER AVE                  PENNWAY ST
W 64TH AVE                     N 2ND ST                      N 3RD ST
COMLY ST                       NEWTOWN AVE                   HOWELL ST
PALMETTO ST                    MC KINLEY ST                  ROBBINS ST
MC KINLEY ST                   RISING SUN AVE                PALMETTO ST
MARTINS MILL RD                LEVICK ST                     TABOR AVE
HOWELL ST                      CRYSTAL ST                    WEYMOUTH ST
DEVEREAUX AVE                  ARGYLE ST                     RISING SUN AVE
OAKLEY ST                      LARDNER ST                    STEVENS ST
LARDNER ST                     SHELBOURNE ST                 OAKLEY ST
LAWNTON AVE                    MEDARY AVE                    CHELTEN AVE
MEDARY AVE                     LAWNTON AVE                   N 11TH ST
LAWNDALE ST                    ROBBINS ST                    LEVICK ST
ROBBINS ST                     BINGHAM ST                    LAWNDALE ST
N 6TH ST                       CHELTEN AVE                   W 64TH AVE
CHELTEN AVE                    N 6TH ST                      N 7TH ST
MEDARY AVE                     N 10TH ST                     LAWNTON AVE
ARGYLE ST                      LARDNER ST                    DEVEREAUX AVE
LARDNER ST                     OAKLEY ST                     ARGYLE ST
CLARIDGE ST                    LEVICK ST                     DEAD END SOUTH
N FAIRHILL ST                  CHELTEN AVE                   W 64TH AVE
CHELTEN AVE                    N FAIRHILL ST                 N 6TH ST
MONTOUR ST                     LEVICK ST                     PASSMORE ST
COLONIAL ST                    N 2ND ST                      N 3RD ST
BINGHAM ST                     MC KINLEY ST                  ROBBINS ST
MC KINLEY ST                   PALMETTO ST                   BINGHAM ST
HASBROOK AVE                   COMLY ST                      BENNER ST
DEVEREAUX AVE                  RISING SUN AVE                PALMETTO ST
PASSMORE ST                    MONTOUR ST                    OXFORD AVE
CHELTEN AVE                    N 5TH ST                      N FAIRHILL ST
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LARDNER ST                     ARGYLE ST                     RISING SUN AVE
CHELTEN AVE                    N LAWRENCE ST                 N 5TH ST
N 7TH ST                       MEDARY AVE                    CHELTEN AVE
MEDARY AVE                     N 7TH ST                      KENILWORTH AVE
MAGEE AVE                      DORCAS ST                     ALGON AVE
MAGEE AVE                      ALGON AVE                     SUMMERDALE AVE
N PARK AVE                     W GODFREY AVE                 MEDARY AVE
CHELTEN AVE                    N 4TH ST                      N LAWRENCE ST
CRYSTAL ST                     VAN KIRK ST                   HOWELL ST
MONTOUR ST                     MARTINS MILL RD               LEVICK ST
MARTINS MILL RD                MONTOUR ST                    LEVICK ST
N 13TH ST                      W GODFREY AVE                 MEDARY AVE
CHELTEN AVE                    N 3RD ST                      N 4TH ST
LAWNDALE ST                    MC KINLEY ST                  ROBBINS ST
MC KINLEY ST                   BINGHAM ST                    LAWNDALE ST
N CAMAC ST                     W GODFREY AVE                 MEDARY AVE
VAN KIRK ST                    CRYSTAL ST                    WEYMOUTH ST
N 12TH ST                      W GODFREY AVE                 MEDARY AVE
DEVEREAUX AVE                  PALMETTO ST                   BINGHAM ST
WEYMOUTH ST                    VAN KIRK ST                   HOWELL ST
VAN KIRK ST                    WEYMOUTH ST                   WEYMOUTH ST
MONTOUR ST                     DEAD END SOUTH                MARTINS MILL RD
CHELTEN AVE                    N 2ND ST                      N 3RD ST
N 6TH ST                       MEDARY AVE                    CHELTEN AVE
MEDARY AVE                     N 6TH ST                      N 7TH ST
N 11TH ST                      W GODFREY AVE                 MEDARY AVE
NEWTOWN AVE                    ALCOTT ST                     VAN KIRK ST
COLGATE ST                     BENNER ST                     RISING SUN AVE
BENNER ST                      RISING SUN AVE                COLGATE ST
VAN KIRK ST                    WEYMOUTH ST                   REACH ST
N 3RD ST                       KENILWORTH AVE                CHELTEN AVE
DEVEREAUX AVE                  BINGHAM ST                    LAWNDALE ST
N LAWRENCE ST                  MEDARY AVE                    CHELTEN AVE
WEYMOUTH ST                    ALCOTT ST                     VAN KIRK ST
GILHAM ST                      ALGON AVE                     SUMMERDALE AVE
PALMETTO ST                    BENNER ST                     DEVEREAUX AVE
BENNER ST                      COLGATE ST                    PALMETTO ST
HASBROOK AVE                   VAN KIRK ST                   HOWELL ST
VAN KIRK ST                    REACH ST                      HASBROOK AVE
N 7TH ST                       W GODFREY AVE                 KENILWORTH AVE
N 6TH ST                       W GODFREY AVE                 MEDARY AVE
E CHELTENHAM AVE               DEAD END WEST                 NEWTOWN AVE
N 3RD ST                       W LAVEER ST                   KENILWORTH AVE
N FAIRHILL ST                  W GODFREY AVE                 CHELTEN AVE
W LAVEER ST                    HOPE ST                       N HOWARD ST
W LAVEER ST                    N FRONT ST                    HOPE ST
COMLY ST                       HASBROOK AVE                  RISING SUN AVE
W LAVEER ST                    N 2ND ST                      N 3RD ST
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N FRANKLIN ST                  SPARKS ST                     W GODFREY AVE
WEYMOUTH ST                    E CHELTENHAM AVE              ALCOTT ST
N 4TH ST                       W GODFREY AVE                 CHELTEN AVE
BINGHAM ST                     BENNER ST                     DEVEREAUX AVE
BENNER ST                      PALMETTO ST                   BINGHAM ST
HELLERMAN ST                   ALGON AVE                     SUMMERDALE AVE
N 3RD ST                       W GODFREY AVE                 W LAVEER ST
HASBROOK AVE                   ALCOTT ST                     VAN KIRK ST
MARTINS MILL RD                OXFORD AVE                    MONTOUR ST
COLGATE ST                     COMLY ST                      BENNER ST
DORCAS ST                      LEVICK ST                     HELLERMAN ST
REACH ST                       E CHELTENHAM AVE              VAN KIRK ST
E CHELTENHAM AVE               WEYMOUTH ST                   REACH ST
PALETHORP ST                   W GODFREY AVE                 DEAD END NORTH
LAWNDALE ST                    BENNER ST                     DEVEREAUX AVE
BENNER ST                      BINGHAM ST                    LAWNDALE ST
N HANCOCK ST                   W GODFREY AVE                 DEAD END NORTH
COMLY ST                       COLGATE ST                    MALTA ST
N 4TH ST                       SPARKS ST                     W GODFREY AVE
N 10TH ST                      W SPENCER AVE                 W GODFREY AVE
MASCHER ST                     W GODFREY AVE                 DEAD END NORTH
W SPENCER AVE                  DEAD END EAST                 N 10TH ST
N HOWARD ST                    W GODFREY AVE                 W LAVEER ST
N 3RD ST                       SPARKS ST                     W GODFREY AVE
SPARKS ST                      N 3RD ST                      N 4TH ST
HOPE ST                        W GODFREY AVE                 W LAVEER ST
PALMETTO ST                    COMLY ST                      BENNER ST
COMLY ST                       MALTA ST                      PALMETTO ST
N FRONT ST                     W GODFREY AVE                 W LAVEER ST
E CHELTENHAM AVE               REACH ST                      HASBROOK AVE
SPARKS ST                      N 2ND ST                      N 3RD ST
N FRANKLIN ST                  W SPENCER AVE                 SPARKS ST
VAN KIRK ST                    HASBROOK AVE                  RISING SUN AVE
N 7TH ST                       W SPENCER AVE                 W GODFREY AVE
W SPENCER AVE                  N 7TH ST                      N FRANKLIN ST
PASSMORE ST                    ALGON AVE                     SUMMERDALE AVE
COMLY ST                       PALMETTO ST                   ELSINORE ST
N 4TH ST                       ROSEMAR ST                    SPARKS ST
N MARSHALL ST                  W SPENCER AVE                 W GODFREY AVE
W SPENCER AVE                  N MARSHALL ST                 N 7TH ST
MASCHER ST                     SPARKS ST                     W GODFREY AVE
SPARKS ST                      MASCHER ST                    N 2ND ST
WEYMOUTH ST                    SANGER ST                     E CHELTENHAM AVE
SANGER ST                      NEWTOWN AVE                   WEYMOUTH ST
N 6TH ST                       W SPENCER AVE                 W GODFREY AVE
W SPENCER AVE                  N 6TH ST                      N MARSHALL ST
N 3RD ST                       ROSEMAR ST                    SPARKS ST
ROSEMAR ST                     N 3RD ST                      N 4TH ST
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N FAIRHILL ST                 W SPENCER AVE                 W GODFREY AVE
W SPENCER AVE                 N FAIRHILL ST                 N 6TH ST
BINGHAM ST                    COMLY ST                      BENNER ST
COMLY ST                      ELSINORE ST                   BINGHAM ST
N FRONT ST                    SPARKS ST                     E GODFREY AVE
SPARKS ST                     N FRONT ST                    MASCHER ST
W SPENCER AVE                 N 5TH ST                      N FAIRHILL ST
ROSEMAR ST                    N 2ND ST                      N 3RD ST
N LAWRENCE ST                 W SPENCER AVE                 W GODFREY AVE
W SPENCER AVE                 N LAWRENCE ST                 N 5TH ST
N PARK AVE                    W CHAMPLOST AVE               W SPENCER AVE
COLGATE ST                    VAN KIRK ST                   COMLY ST
HASBROOK AVE                  SENTNER ST                    E CHELTENHAM AVE
COMLY ST                      BINGHAM ST                    LAWNDALE ST
N 4TH ST                      W SPENCER AVE                 ROSEMAR ST
W SPENCER AVE                 N 4TH ST                      N LAWRENCE ST
REACH ST                      SANGER ST                     E CHELTENHAM AVE
SANGER ST                     WEYMOUTH ST                   REACH ST
MASCHER ST                    ROSEMAR ST                    SPARKS ST
ROSEMAR ST                    MASCHER ST                    N 2ND ST
N 3RD ST                      W SPENCER AVE                 ROSEMAR ST
W SPENCER AVE                 N 3RD ST                      N 4TH ST
LAWNDALE ST                   COMLY ST                      BENNER ST
COMLY ST                      LAWNDALE ST                   LAWNDALE ST
W SPENCER AVE                 N AMERICAN ST                 N 3RD ST
MALTA ST                      VAN KIRK ST                   COMLY ST
VAN KIRK ST                   COLGATE ST                    MALTA ST
W SPENCER AVE                 N PHILIP ST                   N AMERICAN ST
COMLY ST                      LAWNDALE ST                   BENNINGTON ST
N FRONT ST                    ROSEMAR ST                    SPARKS ST
ROSEMAR ST                    N FRONT ST                    MASCHER ST
W SPENCER AVE                 N 2ND ST                      N PHILIP ST
NEWTOWN AVE                   E GODFREY AVE                 SANGER ST
COLGATE ST                    ALCOTT ST                     VAN KIRK ST
ALCOTT ST                     RISING SUN AVE                COLGATE ST
W CHAMPLOST AVE               N WARNOCK ST                  N 11TH ST
PALMETTO ST                   VAN KIRK ST                   COMLY ST
VAN KIRK ST                   MALTA ST                      PALMETTO ST
N 4TH ST                      FERN ST                       W SPENCER AVE
FERN ST                       N 4TH ST                      N 5TH ST
MASCHER ST                    W SPENCER AVE                 ROSEMAR ST
W SPENCER AVE                 MASCHER ST                    N 2ND ST
HASBROOK AVE                  SANGER ST                     SENTNER ST
SANGER ST                     REACH ST                      HASBROOK AVE
W CHAMPLOST AVE               N HUTCHINSON ST               N 10TH ST
N 3RD ST                      FERN ST                       W SPENCER AVE
FERN ST                       N 3RD ST                      N 4TH ST
COMLY ST                      BENNINGTON ST                 TABOR AVE
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ELSINORE ST                    VAN KIRK ST                   COMLY ST
VAN KIRK ST                    PALMETTO ST                   ELSINORE ST
N FRONT ST                     E SPENCER AVE                 ROSEMAR ST
W SPENCER AVE                  N FRONT ST                    MASCHER ST
COLGATE ST                     ROSALIE ST                    ALCOTT ST
ROSALIE ST                     RISING SUN AVE                COLGATE ST
E SPENCER AVE                  N FRONT ST                    N WATER ST
SENTNER ST                     HASBROOK AVE                  RISING SUN AVE
N 4TH ST                       ROSELYN ST                    FERN ST
ROSELYN ST                     N 4TH ST                      N 5TH ST
BINGHAM ST                     VAN KIRK ST                   COMLY ST
VAN KIRK ST                    ELSINORE ST                   BINGHAM ST
E SPENCER AVE                  N WATER ST                    A ST
MASCHER ST                     FERN ST                       W SPENCER AVE
FERN ST                        MASCHER ST                    N 2ND ST
N 3RD ST                       ROSELYN ST                    FERN ST
ROSELYN ST                     N 3RD ST                      N 4TH ST
COLGATE ST                     E CHELTENHAM AVE              ROSALIE ST
E CHELTENHAM AVE               RISING SUN AVE                COLGATE ST
N FRONT ST                     FERN ST                       E SPENCER AVE
FERN ST                        N FRONT ST                    MASCHER ST
LAWNDALE ST                    VAN KIRK ST                   COMLY ST
VAN KIRK ST                    BINGHAM ST                    LAWNDALE ST
HASBROOK AVE                   E GODFREY AVE                 SANGER ST
E GODFREY AVE                  NEWTOWN AVE                   HASBROOK AVE
ROBBINS ST                     LANGDON ST                    LANGDON ST
W CHAMPLOST AVE                N LAWRENCE ST                 N 5TH ST
BINGHAM ST                     ALCOTT ST                     VAN KIRK ST
ALCOTT ST                      COLGATE ST                    BINGHAM ST
W CHAMPLOST AVE                N LEITHGOW ST                 N LAWRENCE ST
ALGON AVE                      DEVEREAUX AVE                 ROBBINS ST
SANGER ST                      HASBROOK AVE                  RISING SUN AVE
BENNINGTON ST                  VAN KIRK ST                   COMLY ST
VAN KIRK ST                    LAWNDALE ST                   BENNINGTON ST
N 4TH ST                       W CHAMPLOST AVE               ROSELYN ST
W CHAMPLOST AVE                N 4TH ST                      N LEITHGOW ST
MASCHER ST                     ROSELYN ST                    FERN ST
ROSELYN ST                     MASCHER ST                    N 2ND ST
N 3RD ST                       W CHAMPLOST AVE               ROSELYN ST
W CHAMPLOST AVE                N 3RD ST                      N 4TH ST
COLGATE ST                     ANCHOR ST                     E CHELTENHAM AVE
W CHAMPLOST AVE                N AMERICAN ST                 N 3RD ST
W CHAMPLOST AVE                N PHILIP ST                   N AMERICAN ST
N FRONT ST                     ROSELYN ST                    FERN ST
ROSELYN ST                     N FRONT ST                    MASCHER ST
BINGHAM ST                     ROSALIE ST                    ALCOTT ST
ROSALIE ST                     COLGATE ST                    BINGHAM ST
VAN KIRK ST                    BENNINGTON ST                 TABOR AVE
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ALGON AVE                      OXFORD AVE                    DEVEREAUX AVE
W CHAMPLOST AVE                N 2ND ST                      N PHILIP ST
SUMMERDALE AVE                 ROBBINS ST                    LEVICK ST
COLGATE ST                     SENTNER ST                    ANCHOR ST
SENTNER ST                     RISING SUN AVE                COLGATE ST
N WARNOCK ST                   W NEDRO AVE                   W CHAMPLOST AVE
E GODFREY AVE                  HASBROOK AVE                  RISING SUN AVE
WIDENER ST                     N 5TH ST                      W CHAMPLOST AVE
N 10TH ST                      W NEDRO AVE                   W CHAMPLOST AVE
MASCHER ST                     W CHAMPLOST AVE               ROSELYN ST
N 3RD ST                       LINTON ST                     W CHAMPLOST AVE
N HUTCHINSON ST                W NEDRO AVE                   W CHAMPLOST AVE
E CHELTENHAM AVE               COLGATE ST                    BINGHAM ST
ALCOTT ST                      BINGHAM ST                    TABOR AVE
N FRONT ST                     E CHAMPLOST AVE               ROSELYN ST
N 6TH ST                       W NEDRO AVE                   W CHAMPLOST AVE
N WATER ST                     E CHAMPLOST AVE               E SPENCER AVE
LINTON ST                      N 2ND ST                      N 3RD ST
A ST                           E SPENCER AVE                 E CHAMPLOST AVE
LANGDON ST                     DEVEREAUX AVE                 ROBBINS ST
DEVEREAUX AVE                  ALGON AVE                     LANGDON ST
SANGER ST                      RISING SUN AVE                COLGATE ST
MASCHER ST                     LINTON ST                     W CHAMPLOST AVE
LINTON ST                      MASCHER ST                    N 2ND ST
W NEDRO AVE                    N FAIRHILL ST                 N 6TH ST
ANCHOR ST                      COLGATE ST                    BINGHAM ST
ROSALIE ST                     BINGHAM ST                    TABOR AVE
N 3RD ST                       WIDENER ST                    LINTON ST
E GODFREY AVE                  RISING SUN AVE                ALLENGROVE ST
N FRONT ST                     LINTON ST                     E CHAMPLOST AVE
LINTON ST                      N FRONT ST                    MASCHER ST
W NEDRO AVE                    N 5TH ST                      N FAIRHILL ST
TROTTER ST                     DEVEREAUX AVE                 ROBBINS ST
WIDENER ST                     N 2ND ST                      N 3RD ST
N LAWRENCE ST                  W NEDRO AVE                   W CHAMPLOST AVE
W NEDRO AVE                    N LAWRENCE ST                 N 5TH ST
N 11TH ST                      N MARVINE ST                  W NEDRO AVE
N MARVINE ST                   N 11TH ST                     W NEDRO AVE
BINGHAM ST                     CARVER ST                     ANCHOR ST
E CHELTENHAM AVE               BINGHAM ST                    TABOR AVE
N PARK AVE                     W GRANGE AVE                  W NEDRO AVE
N LEITHGOW ST                  W NEDRO AVE                   W CHAMPLOST AVE
MC KINLEY ST                   SUMMERDALE AVE                FRONTENAC ST
N 4TH ST                       W NEDRO AVE                   W CHAMPLOST AVE
W NEDRO AVE                    N 4TH ST                      N LEITHGOW ST
MASCHER ST                     WIDENER ST                    LINTON ST
WIDENER ST                     MASCHER ST                    N 2ND ST
N 13TH ST                      W GRANGE AVE                  W NEDRO AVE
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W GRANGE AVE                 N 13TH ST                     N PARK AVE
N 3RD ST                     W NEDRO AVE                   WIDENER ST
W NEDRO AVE                  N 3RD ST                      N 4TH ST
N CAMAC ST                   W GRANGE AVE                  W NEDRO AVE
N 12TH ST                    W GRANGE AVE                  W NEDRO AVE
COLGATE ST                   E GODFREY AVE                 SANGER ST
E GODFREY AVE                ALLENGROVE ST                 COLGATE ST
N FRONT ST                   WIDENER ST                    LINTON ST
WIDENER ST                   N FRONT ST                    MASCHER ST
W NEDRO AVE                  N 2ND ST                      N 3RD ST
BINGHAM ST                   SANGER ST                     CARVER ST
SANGER ST                    COLGATE ST                    BINGHAM ST
ANCHOR ST                    BINGHAM ST                    TABOR AVE
MASCHER ST                   W NEDRO AVE                   WIDENER ST
DEVEREAUX AVE                SUMMERDALE AVE                FRONTENAC ST
BINGHAM ST                   BRILL ST                      SANGER ST
CARVER ST                    BINGHAM ST                    TABOR AVE
N FRONT ST                   E NEDRO AVE                   WIDENER ST
N WATER ST                   E NEDRO AVE                   E CHAMPLOST AVE
N 3RD ST                     W CALVERT ST                  W NEDRO AVE
N 7TH ST                     W GRANGE AVE                  W NEDRO AVE
W GRANGE AVE                 N 7TH ST                      DEAD END WEST
A ST                         E NEDRO AVE                   E CHAMPLOST AVE
N MARSHALL ST                W GRANGE AVE                  W NEDRO AVE
ELLA ST                      E NEDRO AVE                   E CHAMPLOST AVE
E GODFREY AVE                COLGATE ST                    BINGHAM ST
N 6TH ST                     W GRANGE AVE                  W NEDRO AVE
B ST                         E NEDRO AVE                   E CHAMPLOST AVE
COMLY ST                     ALGON AVE                     ANDALE ST
SANGER ST                    BINGHAM ST                    TABOR AVE
N FAIRHILL ST                W GRANGE AVE                  W NEDRO AVE
W GRANGE AVE                 N FAIRHILL ST                 N 6TH ST
W GRANGE AVE                 N 5TH ST                      N FAIRHILL ST
COMLY ST                     ANDALE ST                     ELMHURST ST
W GRANGE AVE                 N LAWRENCE ST                 N 5TH ST
N PARK AVE                   W CHEW AVE                    W GRANGE AVE
N 4TH ST                     W GRANGE AVE                  W NEDRO AVE
W GRANGE AVE                 N 4TH ST                      N LAWRENCE ST
BRILL ST                     BINGHAM ST                    TABOR AVE
SUMMERDALE AVE               BENNER ST                     DEVEREAUX AVE
N 13TH ST                    W CHEW AVE                    W GRANGE AVE
W CHEW AVE                   N 13TH ST                     N PARK AVE
ALGON AVE                    HOWELL ST                     COMLY ST
N 3RD ST                     W GRANGE AVE                  W CALVERT ST
W GRANGE AVE                 N 3RD ST                      N 4TH ST
N CAMAC ST                   W CHEW AVE                    W GRANGE AVE
N 12TH ST                    W CHEW AVE                    W GRANGE AVE
N AMERICAN ST                W GRANGE AVE                  W CALVERT ST
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W GRANGE AVE                 N AMERICAN ST                 N AMERICAN ST
E GODFREY AVE                BINGHAM ST                    TABOR AVE
ANDALE ST                    HOWELL ST                     COMLY ST
HOWELL ST                    ALGON AVE                     ANDALE ST
W GRANGE AVE                 OLD SECOND ST                 N 2ND ST
MASCHER ST                   W GRANGE AVE                  W NEDRO AVE
W GRANGE AVE                 MASCHER ST                    OLD SECOND ST
N HOWARD ST                  W GRANGE AVE                  W NEDRO AVE
W GRANGE AVE                 N HOWARD ST                   MASCHER ST
N AMERICAN ST                FURLEY ST                     W GRANGE AVE
FRONTENAC ST                 BENNER ST                     DEVEREAUX AVE
HOPE ST                      W GRANGE AVE                  W NEDRO AVE
W GRANGE AVE                 HOPE ST                       N HOWARD ST
N FRONT ST                   W GRANGE AVE                  E NEDRO AVE
W GRANGE AVE                 N FRONT ST                    HOPE ST
ELMHURST ST                  HOWELL ST                     COMLY ST
HOWELL ST                    ANDALE ST                     ELMHURST ST
N 2ND ST                     FURLEY ST                     W GRANGE AVE
FURLEY ST                    N 2ND ST                      N AMERICAN ST
BENNER ST                    FRONTENAC ST                  SHISLER ST
N PARK AVE                   W OLNEY AVE                   W CHEW AVE
ALLENGROVE ST                BINGHAM ST                    TABOR AVE
N 7TH ST                     W CHEW AVE                    W GRANGE AVE
N 13TH ST                    W OLNEY AVE                   W CHEW AVE
N MARSHALL ST                W CHEW AVE                    W GRANGE AVE
W CHEW AVE                   N MARSHALL ST                 N 7TH ST
N 6TH ST                     W CHEW AVE                    W GRANGE AVE
W CHEW AVE                   N 6TH ST                      N MARSHALL ST
LANGDON ST                   HOWELL ST                     OXFORD AVE
HOWELL ST                    ELMHURST ST                   LANGDON ST
N CAMAC ST                   W OLNEY AVE                   W CHEW AVE
MASCHER ST                   OLD SECOND ST                 W GRANGE AVE
N FAIRHILL ST                W CHEW AVE                    W GRANGE AVE
W CHEW AVE                   N FAIRHILL ST                 N 6TH ST
SUMMERDALE AVE               COMLY ST                      BENNER ST
W CHEW AVE                   N 5TH ST                      N FAIRHILL ST
N 12TH ST                    W OLNEY AVE                   W CHEW AVE
N LAWRENCE ST                W CHEW AVE                    W GRANGE AVE
W CHEW AVE                   N LAWRENCE ST                 N 5TH ST
N MARVINE ST                 W OLNEY AVE                   W CHEW AVE
N 4TH ST                     W CHEW AVE                    W GRANGE AVE
W CHEW AVE                   N 4TH ST                      N LAWRENCE ST
N PARK AVE                   W TABOR RD                    W OLNEY AVE
W TABOR RD                   N PARK AVE                    OLD YORK RD
AGUSTA ST                    COMLY ST                      BENNER ST
N 3RD ST                     W CHEW AVE                    W GRANGE AVE
W CHEW AVE                   N 3RD ST                      N 4TH ST
N 11TH ST                    W OLNEY AVE                   W CHEW AVE
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N AMERICAN ST                 W CHEW AVE                    FURLEY ST
W CHEW AVE                    N AMERICAN ST                 N 3RD ST
W CHEW AVE                    N AMERICAN ST                 N AMERICAN ST
N 13TH ST                     W TABOR RD                    W OLNEY AVE
W TABOR RD                    N 13TH ST                     N PARK AVE
N WARNOCK ST                  W OLNEY AVE                   W CHEW AVE
HOWELL ST                     LANGDON ST                    OXFORD AVE
N 2ND ST                      W CHEW AVE                    FURLEY ST
W CHEW AVE                    N 2ND ST                      N AMERICAN ST
W CHEW AVE                    PALETHORP ST                  N 2ND ST
FRONTENAC ST                  COMLY ST                      BENNER ST
N 6TH ST                      ELKINS AVE                    W CHEW AVE
ELKINS AVE                    N 6TH ST                      N 7TH ST
N 10TH ST                     W OLNEY AVE                   W CHEW AVE
W CHEW AVE                    MASCHER ST                    PALETHORP ST
N FAIRHILL ST                 ELKINS AVE                    W CHEW AVE
ELKINS AVE                    N FAIRHILL ST                 N 6TH ST
N HOWARD ST                   W CHEW AVE                    W GRANGE AVE
W CHEW AVE                    N HOWARD ST                   MASCHER ST
HOPE ST                       W CHEW AVE                    W GRANGE AVE
W CHEW AVE                    HOPE ST                       N HOWARD ST
SHISLER ST                    COMLY ST                      BENNER ST
N FRONT ST                    W CHEW AVE                    W GRANGE AVE
W CHEW AVE                    N FRONT ST                    HOPE ST
SUMMERDALE AVE                OXFORD AVE                    COMLY ST
W TABOR RD                    N 11TH ST                     N 13TH ST
VAN KIRK ST                   LANGDON ST                    SUMMERDALE AVE
S HILL CREEK DR               E HILL CREEK DR               ADAMS AVE
N 7TH ST                      W OLNEY AVE                   ELKINS AVE
W TABOR RD                    N 10TH ST                     N 11TH ST
VAN KIRK ST                   SUMMERDALE AVE                OXFORD AVE
N 6TH ST                      W OLNEY AVE                   ELKINS AVE
N FAIRHILL ST                 W OLNEY AVE                   ELKINS AVE
AGUSTA ST                     VAN KIRK ST                   COMLY ST
VAN KIRK ST                   OXFORD AVE                    AGUSTA ST
W TABOR RD                    WAGNER AVE                    N 10TH ST
ALCOTT ST                     LANGDON ST                    SUMMERDALE AVE
N LAWRENCE ST                 W OLNEY AVE                   W CHEW AVE
N 4TH ST                      W OLNEY AVE                   W CHEW AVE
N 3RD ST                      W OLNEY AVE                   W CHEW AVE
FRONTENAC ST                  VAN KIRK ST                   COMLY ST
VAN KIRK ST                   AGUSTA ST                     FRONTENAC ST
N FRONT ST                    WENTZ ST                      W CHEW AVE
WENTZ ST                      N FRONT ST                    MASCHER ST
N AMERICAN ST                 W OLNEY AVE                   W CHEW AVE
ROSALIE ST                    LANGDON ST                    SUMMERDALE AVE
N 2ND ST                      W OLNEY AVE                   W CHEW AVE
N 11TH ST                     W CLARKSON AVE                W TABOR RD
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PALETHORP ST                   W OLNEY AVE                   W CHEW AVE
N 7TH ST                       W TABOR RD                    W OLNEY AVE
SHISLER ST                     VAN KIRK ST                   COMLY ST
VAN KIRK ST                    FRONTENAC ST                  SHISLER ST
FRONTENAC ST                   OXFORD AVE                    VAN KIRK ST
WAGNER AVE                     W TABOR RD                    W CLARKSON AVE
N MARSHALL ST                  W TABOR RD                    W OLNEY AVE
E CHELTENHAM AVE               LANGDON ST                    SUMMERDALE AVE
N FRONT ST                     E OLNEY AVE                   WENTZ ST
BELDEN ST                      VAN KIRK ST                   COMLY ST
VAN KIRK ST                    SHISLER ST                    BELDEN ST
N 6TH ST                       W TABOR RD                    W OLNEY AVE
ROSALIE ST                     SUMMERDALE AVE                FRONTENAC ST
SANGER ST                      LANGDON ST                    DEAD END WEST
ANCHOR ST                      LANGDON ST                    SUMMERDALE AVE
VAN KIRK ST                    BELDEN ST                     LORETTO AVE
N FAIRHILL ST                  W TABOR RD                    W OLNEY AVE
ORMES ST                       E OLNEY AVE                   E CHEW AVE
ROSEHILL ST                    E OLNEY AVE                   E CHEW AVE
E CHELTENHAM AVE               SUMMERDALE AVE                FRONTENAC ST
N FRONT ST                     W GALE ST                     W OLNEY AVE
W GALE ST                      N FRONT ST                    MASCHER ST
LANGDON ST                     BRILL ST                      SANGER ST
CARVER ST                      LANGDON ST                    SUMMERDALE AVE
N 3RD ST                       W CLARKSON AVE                W OLNEY AVE
W CLARKSON AVE                 N 3RD ST                      N 4TH ST
LORETTO AVE                    OXFORD AVE                    VAN KIRK ST
N AMERICAN ST                  W CLARKSON AVE                W OLNEY AVE
W CLARKSON AVE                 N AMERICAN ST                 N 3RD ST
N LAWRENCE ST                  W TABOR RD                    W OLNEY AVE
ANCHOR ST                      SUMMERDALE AVE                FRONTENAC ST
W CLARKSON AVE                 N 2ND ST                      N AMERICAN ST
PALETHORP ST                   W CLARKSON AVE                W OLNEY AVE
W CLARKSON AVE                 PALETHORP ST                  N 2ND ST
LANGDON ST                     SCATTERGOOD ST                BRILL ST
B ST                           E GALE ST                     E OLNEY AVE
SANGER ST                      LANGDON ST                    SUMMERDALE AVE
CLARIDGE ST                    FOULKROD ST                   HARRISON ST
W CLARKSON AVE                 MASCHER ST                    PALETHORP ST
ALCOTT ST                      FRONTENAC ST                  LORETTO AVE
E GALE ST                      B ST                          RISING SUN AVE
W CLARKSON AVE                 N FRONT ST                    MASCHER ST
CARVER ST                      SUMMERDALE AVE                FRONTENAC ST
HOWLAND ST                     FOULKROD ST                   HARRISON ST
E CHELTENHAM AVE               FRONTENAC ST                  LORETTO AVE
BRILL ST                       LANGDON ST                    SUMMERDALE AVE
E CLARKSON AVE                 N WATER ST                    ELLA ST
N AMERICAN ST                  W TABOR RD                    W CLARKSON AVE
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ANCHOR ST                      FRONTENAC ST                  LORETTO AVE
SANGER ST                      SUMMERDALE AVE                FRONTENAC ST
B ST                           E CLARKSON AVE                E GALE ST
E CLARKSON AVE                 ELLA ST                       B ST
SCATTERGOOD ST                 LANGDON ST                    SUMMERDALE AVE
E CLARKSON AVE                 B ST                          RISING SUN AVE
E CHELTENHAM AVE               LORETTO AVE                   OXFORD CIR
BRILL ST                       SUMMERDALE AVE                FRONTENAC ST
PALETHORP ST                   W TABOR RD                    W CLARKSON AVE
GRANITE ST                     LANGDON ST                    TROTTER ST
BRIDGE ST                      LANGDON ST                    SUMMERDALE AVE
LIMA ST                        ELLA ST                       SYCAMORE ST
MAYFAIR ST                     BINGHAM ST                    E TABOR RD
SANGER ST                      FRONTENAC ST                  LORETTO AVE
LIMA ST                        SYCAMORE ST                   B ST
WHITAKER AVE                   FOULKROD ST                   HARRISON ST
HOWLAND ST                     ADAMS AVE                     FOULKROD ST
SCATTERGOOD ST                 SUMMERDALE AVE                FRONTENAC ST
GRANITE ST                     TROTTER ST                    SUMMERDALE AVE
WESTFORD RD                    MARWOOD RD                    E CLARKSON AVE
E OLNEY AVE                    E CLARKSON AVE                GENEVA AVE
LIMA ST                        B ST                          RISING SUN AVE
TENNIS AVE                     N HOWARD ST                   N FRONT ST
BRIDGE ST                      SUMMERDALE AVE                FRONTENAC ST
GARLAND ST                     BINGHAM ST                    E TABOR RD
MARCELLA ST                    TROTTER ST                    SUMMERDALE AVE
E SOMERVILLE AVE               ELLA ST                       SYCAMORE ST
N FRONT ST                     E TABOR RD                    TENNIS AVE
W TABOR RD                     N FRONT ST                    N HOWARD ST
B ST                           E SOMERVILLE AVE              LIMA ST
E SOMERVILLE AVE               SYCAMORE ST                   B ST
E SOMERVILLE AVE               B ST                          RISING SUN AVE
BRIDGE ST                      FRONTENAC ST                  LORETTO AVE
HOWLAND ST                     MAYFAIR ST                    ADAMS AVE
GENEVA AVE                     MARWOOD RD                    E OLNEY AVE
N WATER ST                     E TABOR RD                    E CLARKSON AVE
E TABOR RD                     N FRONT ST                    N WATER ST
N HOWARD ST                    DELPHINE ST                   W TABOR RD
DELPHINE ST                    N HOWARD ST                   MASCHER ST
GRANITE ST                     SUMMERDALE AVE                LORETTO AVE
E TABOR RD                     N WATER ST                    A ST
MIRIAM RD                      BRIDGE ST                     SANGER ST
GENEVA AVE                     WESTFORD RD                   MARWOOD RD
WESTFORD RD                    GENEVA AVE                    MARWOOD RD
GENEVA AVE                     RISING SUN AVE                WESTFORD RD
MONTOUR ST                     MAYFAIR ST                    ADAMS AVE
SYCAMORE ST                    E TABOR RD                    E SOMERVILLE AVE
ELLA ST                        E TABOR RD                    E SOMERVILLE AVE
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E TABOR RD                   A ST                          ELLA ST
MARCELLA ST                  SUMMERDALE AVE                LORETTO AVE
E OLNEY AVE                  GENEVA AVE                    E TABOR RD
WHITAKER AVE                 ADAMS AVE                     FOULKROD ST
MARWOOD RD                   GENEVA AVE                    E TABOR RD
MONTOUR ST                   LANDIS ST                     MAYFAIR ST
BRIDGE ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
N HOWARD ST                  W FISHER AVE                  DELPHINE ST
PRATT ST                     SUMMERDALE AVE                LORETTO AVE
N FRONT ST                   E FISHER AVE                  E TABOR RD
BRIDGE ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
E TABOR RD                   ELLA ST                       RISING SUN AVE
WESTFORD RD                  E TABOR RD                    GENEVA AVE
BRIDGE ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
N WATER ST                   E FISHER AVE                  E TABOR RD
A ST                         E FISHER AVE                  E TABOR RD
ELLA ST                      E FISHER AVE                  E TABOR RD
MONTOUR ST                   GARLAND ST                    LANDIS ST
MIRIAM RD                    PRATT ST                      BRIDGE ST
BRIDGE ST                    E ROOSEVELT BLVD              CASTOR AVE
N HOWARD ST                  W WELLENS ST                  W FISHER AVE
W WELLENS ST                 HOPE ST                       N HOWARD ST
W WELLENS ST                 N FRONT ST                    HOPE ST
PRATT ST                     E ROOSEVELT BLVD              E ROOSEVELT BLVD
BRIDGE ST                    CASTOR AVE                    RUTLAND ST
A ST                         E WELLENS ST                  E FISHER AVE
E WELLENS ST                 N FRONT ST                    A ST
PRATT ST                     E ROOSEVELT BLVD              E ROOSEVELT BLVD
PRATT ST                     E ROOSEVELT BLVD              E ROOSEVELT BLVD
E WELLENS ST                 A ST                          RISING SUN AVE
RORER ST                     E ASHDALE ST                  E TABOR RD
MARWOOD RD                   E ASHDALE ST                  E TABOR RD
N HOWARD ST                  W DUNCANNON AVE               W WELLENS ST
W DUNCANNON AVE              N HOWARD ST                   MASCHER ST
A ST                         ROBAT ST                      E WELLENS ST
D ST                         E ASHDALE ST                  E TABOR RD
HOPE ST                      W DUNCANNON AVE               W WELLENS ST
W DUNCANNON AVE              HOPE ST                       N HOWARD ST
W DUNCANNON AVE              N FRONT ST                    HOPE ST
WESTFORD RD                  E ASHDALE ST                  E TABOR RD
PRATT ST                     E ROOSEVELT BLVD              CASTOR AVE
ARBOR ST                     E ASHDALE ST                  E TABOR RD
ROBAT ST                     A ST                          RISING SUN AVE
E DUNCANNON AVE              N FRONT ST                    A ST
LANGDON ST                   E ROOSEVELT BLVD              FOULKROD ST
PRATT ST                     CASTOR AVE                    RUTLAND ST
E DUNCANNON AVE              A ST                          RISING SUN AVE
F ST                         E ROOSEVELT BLVD              E ROOSEVELT BLVD
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FOULKROD ST                    LANGDON ST                    FILLMORE TER
PRATT ST                       RUTLAND ST                    LARGE ST
F ST                           E ROOSEVELT BLVD              E ROOSEVELT BLVD
WESTFORD RD                    E ALBANUS ST                  E ASHDALE ST
F ST                           E ROOSEVELT BLVD              E ROOSEVELT BLVD
ARBOR ST                       E ALBANUS ST                  E ASHDALE ST
E SHELDON ST                   RISING SUN AVE                C ST
W ASHDALE ST                   N FRONT ST                    MASCHER ST
E ALBANUS ST                   RISING SUN AVE                C ST
C ST                           E ROOSEVELT BLVD              E ROOSEVELT BLVD
ADAMS AVE                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
ADAMS AVE                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
E ALBANUS ST                   N FRONT ST                    RISING SUN AVE
C ST                           E ROOSEVELT BLVD              E ROOSEVELT BLVD
ADAMS AVE                      E ROOSEVELT BLVD              ADAMS AVE
PENNWAY ST                     HERKNESS ST                   GARLAND ST
C ST                           E ROOSEVELT BLVD              E ROOSEVELT BLVD
W ALBANUS ST                   N FRONT ST                    MASCHER ST
F ST                           E RUSCOMB ST                  JERICHO RD
PENNWAY ST                     E RUSCOMB ST                  HERKNESS ST
N 7TH ST                       ELKINS AVE                    W CHEW AVE
W CHEW AVE                     N 7TH ST                      DEAD END WEST
N MARVINE ST                   W CHEW AVE                    N 11TH ST
N MARVINE ST                   N 11TH ST                     W GRANGE AVE
N 11TH ST                      W CHEW AVE                    N MARVINE ST
N 2ND ST                       DEAD END SOUTH                W TABOR RD
W NEDRO AVE                    N LEITHGOW ST                 N LAWRENCE ST
W NEDRO AVE                    N LAWRENCE ST                 N LAWRENCE ST
N LAWRENCE ST                  W GRANGE AVE                  W NEDRO AVE
COLGATE ST                     SANGER ST                     CARVER ST
COLGATE ST                     CARVER ST                     SENTNER ST
CARVER ST                      COLGATE ST                    BINGHAM ST
COMLY ST                       HOWELL ST                     HASBROOK AVE
ALCOTT ST                      SUMMERDALE AVE                FRONTENAC ST
E GODFREY AVE                  TROTTER ST                    PRATT ST
E GODFREY AVE                  PRATT ST                      SUMMERDALE AVE
PRATT ST                       E GODFREY AVE                 SUMMERDALE AVE
E GODFREY AVE                  LORETTO AVE                   LORETTO AVE
E GODFREY AVE                  LORETTO AVE                   MIRIAM RD
W CLARKSON AVE                 N MARVINE ST                  N 12TH ST
W CLARKSON AVE                 N 11TH ST                     N MARVINE ST
W CLARKSON AVE                 N WARNOCK ST                  N 11TH ST
W TABOR RD                     N MARSHALL ST                 N 7TH ST
W TABOR RD                     N 6TH ST                      N MARSHALL ST
W TABOR RD                     N FAIRHILL ST                 N 6TH ST
W TABOR RD                     N 5TH ST                      N FAIRHILL ST
WAGNER AVE                     N 10TH ST                     N WARNOCK ST
W SOMERVILLE AVE               N 13TH ST                     OLD YORK RD
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W SOMERVILLE AVE              N CAMAC ST                    N 13TH ST
N 12TH ST                     W SOMERVILLE AVE              W CLARKSON AVE
W SOMERVILLE AVE              N 12TH ST                     N CAMAC ST
W TABOR RD                    N LAWRENCE ST                 N 5TH ST
W SOMERVILLE AVE              N MARVINE ST                  N 12TH ST
N 2ND ST                      W CLARKSON AVE                W OLNEY AVE
N 11TH ST                     W SOMERVILLE AVE              W CLARKSON AVE
W SOMERVILLE AVE              N 10TH ST                     N MARVINE ST
WAGNER AVE                    N WARNOCK ST                  W SOMERVILLE AVE
W SOMERVILLE AVE              WAGNER AVE                    N 11TH ST
W TABOR RD                    N 4TH ST                      N LAWRENCE ST
WAGNER AVE                    W SOMERVILLE AVE              N 10TH ST
N 10TH ST                     WAGNER AVE                    W SOMERVILLE AVE
W TABOR RD                    N 3RD ST                      N 4TH ST
WAGNER AVE                    N 10TH ST                     N 11TH ST
N 11TH ST                     WAGNER AVE                    W SOMERVILLE AVE
N 6TH ST                      W SOMERVILLE AVE              W TABOR RD
W TABOR RD                    N AMERICAN ST                 N 3RD ST
W SOMERVILLE AVE              N FAIRHILL ST                 N 6TH ST
W SOMERVILLE AVE              N 5TH ST                      N FAIRHILL ST
WAGNER AVE                    N 11TH ST                     N MARVINE ST
W SOMERVILLE AVE              N LAWRENCE ST                 N 5TH ST
OLD YORK RD                   W FISHER AVE                  W SOMERVILLE AVE
N 6TH ST                      DEAD END SOUTH                W SOMERVILLE AVE
N 2ND ST                      W TABOR RD                    W CLARKSON AVE
W TABOR RD                    N 2ND ST                      N AMERICAN ST
W SOMERVILLE AVE              N 4TH ST                      N LAWRENCE ST
N 13TH ST                     W FISHER AVE                  W SOMERVILLE AVE
W SOMERVILLE AVE              N 3RD ST                      N 4TH ST
W TABOR RD                    PALETHORP ST                  N 2ND ST
W FISHER AVE                  N CAMAC ST                    N 13TH ST
N 12TH ST                     W FISHER AVE                  W SOMERVILLE AVE
W FISHER AVE                  N 12TH ST                     N CAMAC ST
WAGNER AVE                    N MARVINE ST                  W FISHER AVE
W TABOR RD                    MASCHER ST                    PALETHORP ST
N 8TH ST                      W FISHER AVE                  DEAD END NORTH
WAGNER AVE                    N 12TH ST                     N CAMAC ST
N CAMAC ST                    WAGNER AVE                    W FISHER AVE
WAGNER AVE                    N CAMAC ST                    N 13TH ST
N 13TH ST                     WAGNER AVE                    W FISHER AVE
W WELLENS ST                  N 8TH ST                      N 9TH ST
N 4TH ST                      W FISHER AVE                  DELPHINE ST
N FRANKLIN ST                 W WELLENS ST                  W FISHER AVE
W WELLENS ST                  N FRANKLIN ST                 N 8TH ST
N 2ND ST                      W FISHER AVE                  DEAD END NORTH
W DUNCANNON AVE               N MARVINE ST                  N 12TH ST
W DUNCANNON AVE               N 11TH ST                     N MARVINE ST
W DUNCANNON AVE               N WARNOCK ST                  N 11TH ST
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W DUNCANNON AVE              N 10TH ST                     N WARNOCK ST
W DUNCANNON AVE              N HUTCHINSON ST               N 10TH ST
WAGNER AVE                   N 13TH ST                     OLD YORK RD
W DUNCANNON AVE              N 9TH ST                      N HUTCHINSON ST
N 6TH ST                     W DUNCANNON AVE               W FISHER AVE
N LAWRENCE ST                W DUNCANNON AVE               DEAD END NORTH
N 4TH ST                     W DUNCANNON AVE               DEAD END NORTH
LINDLEY AVE                  N 13TH ST                     WINDRIM AVE
LINDLEY AVE                  N CAMAC ST                    N 13TH ST
LINDLEY AVE                  N 12TH ST                     N CAMAC ST
LINDLEY AVE                  N MARVINE ST                  N 12TH ST
LINDLEY AVE                  N 11TH ST                     N MARVINE ST
N 2ND ST                     W DUNCANNON AVE               W FISHER AVE
LINDLEY AVE                  N WARNOCK ST                  N 11TH ST
LINDLEY AVE                  N 10TH ST                     N WARNOCK ST
LINDLEY AVE                  N HUTCHINSON ST               N 10TH ST
N 2ND ST                     RUBICAM ST                    W DUNCANNON AVE
N 6TH ST                     LINDLEY AVE                   W DUNCANNON AVE
LINDLEY AVE                  N 6TH ST                      N MARSHALL ST
LINDLEY AVE                  N FAIRHILL ST                 N 6TH ST
LINDLEY AVE                  N 5TH ST                      N FAIRHILL ST
N 2ND ST                     W SHELDON ST                  RUBICAM ST
LINDLEY AVE                  N 4TH ST                      N 5TH ST
W RUSCOMB ST                 N 13TH ST                     OLD YORK RD
LINDLEY AVE                  N 3RD ST                      N 4TH ST
W RUSCOMB ST                 N CAMAC ST                    N 13TH ST
W RUSCOMB ST                 N 12TH ST                     N CAMAC ST
W RUSCOMB ST                 N MARVINE ST                  N 12TH ST
W RUSCOMB ST                 N 11TH ST                     N MARVINE ST
W RUSCOMB ST                 N WARNOCK ST                  N 11TH ST
W RUSCOMB ST                 N 10TH ST                     N WARNOCK ST
W ASHDALE ST                 N 5TH ST                      N FAIRHILL ST
W RUSCOMB ST                 N HUTCHINSON ST               N 10TH ST
W RUSCOMB ST                 N 9TH ST                      N HUTCHINSON ST
W ASHDALE ST                 N 4TH ST                      N 5TH ST
N 8TH ST                     W RUSCOMB ST                  LINDLEY AVE
W ASHDALE ST                 N 3RD ST                      N 4TH ST
N 2ND ST                     LINDLEY AVE                   W SHELDON ST
N MARSHALL ST                W RUSCOMB ST                  LINDLEY AVE
W ASHDALE ST                 N 2ND ST                      N 3RD ST
N 6TH ST                     W RUSCOMB ST                  LINDLEY AVE
W RUSCOMB ST                 N 6TH ST                      N MARSHALL ST
W CLARKSON AVE               WAGNER AVE                    N WARNOCK ST
N 10TH ST                    WAGNER AVE                    W TABOR RD
N WARNOCK ST                 WAGNER AVE                    W CLARKSON AVE
N MARVINE ST                 W SOMERVILLE AVE              W CLARKSON AVE
N MARVINE ST                 WAGNER AVE                    W SOMERVILLE AVE
N 11TH ST                    W DUNCANNON AVE               WINDRIM AVE
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N HUTCHINSON ST                W DUNCANNON AVE               W FISHER AVE
N MARSHALL ST                  W DUNCANNON AVE               W FISHER AVE
N FAIRHILL ST                  W DUNCANNON AVE               W FISHER AVE
N CAMAC ST                     LINDLEY AVE                   WINDRIM AVE
N 11TH ST                      LINDLEY AVE                   W DUNCANNON AVE
N FAIRHILL ST                  LINDLEY AVE                   W DUNCANNON AVE
N CAMAC ST                     W RUSCOMB ST                  LINDLEY AVE
N 11TH ST                      W RUSCOMB ST                  LINDLEY AVE
N FAIRHILL ST                  W ASHDALE ST                  LINDLEY AVE
N HUTCHINSON ST                W RUSCOMB ST                  LINDLEY AVE
N FAIRHILL ST                  W RUSCOMB ST                  W ASHDALE ST
OLD YORK RD                    W DUNCANNON AVE               W FISHER AVE
N 10TH ST                      W DUNCANNON AVE               W FISHER AVE
OLD YORK RD                    WAGNER AVE                    W DUNCANNON AVE
LINDLEY AVE                    WINDRIM AVE                   OLD YORK RD
N 13TH ST                      LINDLEY AVE                   WINDRIM AVE
N 12TH ST                      LINDLEY AVE                   W DUNCANNON AVE
OLD YORK RD                    WINDRIM AVE                   LINDLEY AVE
N 10TH ST                      LINDLEY AVE                   W DUNCANNON AVE
OLD YORK RD                    W RUSCOMB ST                  WINDRIM AVE
N 13TH ST                      W RUSCOMB ST                  LINDLEY AVE
N 12TH ST                      W RUSCOMB ST                  LINDLEY AVE
N 10TH ST                      W RUSCOMB ST                  LINDLEY AVE
OLD YORK RD                    W ALBANUS ST                  W RUSCOMB ST
N 9TH ST                       W RUSCOMB ST                  LINDLEY AVE
N 13TH ST                      W ALBANUS ST                  W RUSCOMB ST
W ALBANUS ST                   N 13TH ST                     OLD YORK RD
N AMERICAN ST                  W SOMERVILLE AVE              W TABOR RD
DELPHINE ST                    N 4TH ST                      N 5TH ST
DELPHINE ST                    N 3RD ST                      N 4TH ST
DELPHINE ST                    N AMERICAN ST                 N 3RD ST
N AMERICAN ST                  W FISHER AVE                  DELPHINE ST
N AMERICAN ST                  W WELLENS ST                  W FISHER AVE
W WELLENS ST                   N AMERICAN ST                 N 3RD ST
N AMERICAN ST                  W DUNCANNON AVE               W WELLENS ST
RUBICAM ST                     N 2ND ST                      N 3RD ST
W RUSCOMB ST                   N FAIRHILL ST                 N 6TH ST
W RUSCOMB ST                   N 5TH ST                      N FAIRHILL ST
W RUSCOMB ST                   N LAWRENCE ST                 N 5TH ST
W RUSCOMB ST                   N 4TH ST                      N LAWRENCE ST
N 3RD ST                       W TABOR RD                    W CLARKSON AVE
N LAWRENCE ST                  W SOMERVILLE AVE              W TABOR RD
N 3RD ST                       W SOMERVILLE AVE              W TABOR RD
N CAMAC ST                     W FISHER AVE                  W SOMERVILLE AVE
W SOMERVILLE AVE               N AMERICAN ST                 N 3RD ST
N 3RD ST                       W FISHER AVE                  DELPHINE ST
N MARVINE ST                   W DUNCANNON AVE               WINDRIM AVE
N WARNOCK ST                   W DUNCANNON AVE               WINDRIM AVE
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N 3RD ST                     W WELLENS ST                  W FISHER AVE
N 3RD ST                     W DUNCANNON AVE               W WELLENS ST
N MARVINE ST                 LINDLEY AVE                   W DUNCANNON AVE
N WARNOCK ST                 LINDLEY AVE                   W DUNCANNON AVE
N 3RD ST                     RUBICAM ST                    W DUNCANNON AVE
N 3RD ST                     W SHELDON ST                  RUBICAM ST
W SHELDON ST                 N 2ND ST                      N 3RD ST
N 3RD ST                     LINDLEY AVE                   W SHELDON ST
N MARVINE ST                 W RUSCOMB ST                  LINDLEY AVE
N WARNOCK ST                 W RUSCOMB ST                  LINDLEY AVE
N 3RD ST                     W ASHDALE ST                  LINDLEY AVE
N 7TH ST                     W RUSCOMB ST                  LINDLEY AVE
N 3RD ST                     W RUSCOMB ST                  W ASHDALE ST
N 3RD ST                     W ALBANUS ST                  W RUSCOMB ST
SULIS ST                     N 2ND ST                      N 3RD ST
N 3RD ST                     SULIS ST                      W ALBANUS ST
N 3RD ST                     W ALBANUS ST                  W ALBANUS ST
N 4TH ST                     W CLARKSON AVE                W OLNEY AVE
N 4TH ST                     W TABOR RD                    W CLARKSON AVE
N FAIRHILL ST                W SOMERVILLE AVE              W TABOR RD
N 4TH ST                     W SOMERVILLE AVE              W TABOR RD
N FRANKLIN ST                W RUSCOMB ST                  LINDLEY AVE
W DUNCANNON AVE              N FAIRHILL ST                 N 6TH ST
W DUNCANNON AVE              N 5TH ST                      N FAIRHILL ST
W DUNCANNON AVE              N LAWRENCE ST                 N 5TH ST
W DUNCANNON AVE              N 4TH ST                      N LAWRENCE ST
W DUNCANNON AVE              N 3RD ST                      N 4TH ST
W DUNCANNON AVE              N AMERICAN ST                 N 3RD ST
W DUNCANNON AVE              N 2ND ST                      N AMERICAN ST
N 4TH ST                     LINDLEY AVE                   W DUNCANNON AVE
N 4TH ST                     W ASHDALE ST                  LINDLEY AVE
N 2ND ST                     W ASHDALE ST                  LINDLEY AVE
W ASHDALE ST                 MASCHER ST                    PALETHORP ST
N 4TH ST                     W RUSCOMB ST                  W ASHDALE ST
W RUSCOMB ST                 N 3RD ST                      N 4TH ST
N 2ND ST                     W RUSCOMB ST                  W ASHDALE ST
W RUSCOMB ST                 N 2ND ST                      N 3RD ST
N 4TH ST                     W ALBANUS ST                  W RUSCOMB ST
N 2ND ST                     W ALBANUS ST                  W RUSCOMB ST
N 2ND ST                     SULIS ST                      W ALBANUS ST
W ALBANUS ST                 MASCHER ST                    PALETHORP ST
W ALBANUS ST                 N 2ND ST                      N 3RD ST
W ALBANUS ST                 N 3RD ST                      N 4TH ST
W RUSCOMB ST                 N FRONT ST                    MASCHER ST
W RUSCOMB ST                 MASCHER ST                    PALETHORP ST
PALETHORP ST                 W RUSCOMB ST                  W ASHDALE ST
PALETHORP ST                 W ALBANUS ST                  W RUSCOMB ST
PALETHORP ST                 W ROOSEVELT BLVD              W ALBANUS ST
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WESTFORD RD                      E CLARKSON AVE                E OLNEY AVE
E RUSCOMB ST                     A ST                          ELLA ST
A ST                             E RUSCOMB ST                  E ROOSEVELT BLVD
E RUSCOMB ST                     RISING SUN AVE                A ST
B ST                             E RUSCOMB ST                  E ROOSEVELT BLVD
E RUSCOMB ST                     ELLA ST                       B ST
E RUSCOMB ST                     B ST                          ORMES ST
E RUSCOMB ST                     RORER ST                      RORER ST
RORER ST                         E RUSCOMB ST                  BINGHAM ST
E RUSCOMB ST                     E ROOSEVELT BLVD              RISING SUN AVE
WHITAKER AVE                     E ROOSEVELT BLVD              WHITAKER AVE
LANGDON ST                       E ROOSEVELT BLVD              E ROOSEVELT BLVD
LANGDON ST                       E ROOSEVELT BLVD              E ROOSEVELT BLVD
ADAMS AVE                        E ROOSEVELT BLVD              E ROOSEVELT BLVD
SANGER ST                        CASTOR AVE                    OXFORD AVE
RUTLAND ST                       GRANITE ST                    BRIDGE ST
E GODFREY AVE                    E ROOSEVELT BLVD              DYRE ST
RUTLAND ST                       PRATT ST                      GRANITE ST
RUTLAND ST                       KENWYN ST                     PRATT ST
RUTLAND ST                       DYRE ST                       KENWYN ST
RUTLAND ST                       HAWORTH ST                    DYRE ST
HAWORTH ST                       E GODFREY AVE                 RUTLAND ST
WAKELING ST                      E ROOSEVELT BLVD              CASTOR AVE
RAMONA AVE                       FOULKROD ST                   E ROOSEVELT BLVD
FOULKROD ST                      E ROOSEVELT BLVD              RAMONA AVE
RUTLAND ST                       WAKELING ST                   HAWORTH ST
ALLENGROVE ST                    E ROOSEVELT BLVD              CASTOR AVE
RAMONA AVE                       HERBERT ST                    FOULKROD ST
RUTLAND ST                       ALLENGROVE ST                 WAKELING ST
FILLMORE ST                      E ROOSEVELT BLVD              CASTOR AVE
RAMONA AVE                       ADAMS AVE                     HERBERT ST
RUTLAND ST                       HARRISON ST                   ALLENGROVE ST
FOULKROD ST                      RAMONA AVE                    CASTOR AVE
RUTLAND ST                       FILLMORE ST                   HARRISON ST
RUTLAND ST                       FOULKROD ST                   FILLMORE ST
FILLMORE ST                      RUTLAND ST                    LARGE ST
NORTHWOOD ST                     ARROTT ST                     FOULKROD ST
FILLMORE ST                      LARGE ST                      HORROCKS ST
FILLMORE ST                      HORROCKS ST                   OAKLAND ST
ARROTT ST                        ADAMS AVE                     CASTOR AVE
GRANITE ST                       CASTOR AVE                    RUTLAND ST
GRANITE ST                       RUTLAND ST                    LARGE ST
KENWYN ST                        E ROOSEVELT BLVD              CASTOR AVE
KENWYN ST                        CASTOR AVE                    RUTLAND ST
DYRE ST                          E GODFREY AVE                 CASTOR AVE
DYRE ST                          CASTOR AVE                    RUTLAND ST
DYRE ST                          RUTLAND ST                    LARGE ST
DYRE ST                          LARGE ST                      HORROCKS ST
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HAWORTH ST                    LARGE ST                      HORROCKS ST
HARRISON ST                   CASTOR AVE                    RUTLAND ST
HARRISON ST                   RUTLAND ST                    LARGE ST
HARRISON ST                   LARGE ST                      HORROCKS ST
HARRISON ST                   HORROCKS ST                   OAKLAND ST
HERBERT ST                    RUTLAND ST                    LARGE ST
HERBERT ST                    LARGE ST                      HORROCKS ST
E GODFREY AVE                 DYRE ST                       CASTOR AVE
WAKELING ST                   CASTOR AVE                    RUTLAND ST
WAKELING ST                   RUTLAND ST                    LARGE ST
WAKELING ST                   LARGE ST                      HORROCKS ST
FOULKROD ST                   CASTOR AVE                    NORTHWOOD ST
HERBERT ST                    RAMONA AVE                    CASTOR AVE
FOULKROD ST                   RUTLAND ST                    LARGE ST
FOULKROD ST                   LARGE ST                      HORROCKS ST
FOULKROD ST                   HORROCKS ST                   OAKLAND ST
CARVER ST                     FRONTENAC ST                  LORETTO AVE
LARGE ST                      KENWYN ST                     PRATT ST
LARGE ST                      DYRE ST                       KENWYN ST
LARGE ST                      HAWORTH ST                    DYRE ST
LARGE ST                      WAKELING ST                   HAWORTH ST
ALLENGROVE ST                 CASTOR AVE                    RUTLAND ST
LARGE ST                      ALLENGROVE ST                 WAKELING ST
ALLENGROVE ST                 RUTLAND ST                    LARGE ST
LARGE ST                      HARRISON ST                   ALLENGROVE ST
ALLENGROVE ST                 LARGE ST                      HORROCKS ST
LARGE ST                      FILLMORE ST                   HARRISON ST
LARGE ST                      FOULKROD ST                   FILLMORE ST
LARGE ST                      HERBERT ST                    FOULKROD ST
LARGE ST                      ARROTT ST                     HERBERT ST
HORROCKS ST                   FOULKROD ST                   FILLMORE ST
HORROCKS ST                   HARRISON ST                   ALLENGROVE ST
HORROCKS ST                   FILLMORE ST                   HARRISON ST
KENWYN ST                     LARGE ST                      HORROCKS ST
OAK LN                        N 13TH ST                     OLD YORK RD
OLD YORK RD                   66TH AVE                      N BROAD ST
W 65TH AVE                    N BROAD ST                    OLD YORK RD
SPARKS ST                     N BROAD ST                    OLD YORK RD
W CHAMPLOST AVE               N BROAD ST                    OLD YORK RD
OLD YORK RD                   W NEDRO AVE                   WIDENER PL
W NEDRO AVE                   OLD YORK RD                   N 15TH ST
OLD YORK RD                   CONLYN ST                     W NEDRO AVE
W CHEW AVE                    N BROAD ST                    N 15TH ST
CLEARVIEW ST                  OLD YORK RD                   N 15TH ST
W SOMERVILLE AVE              N BROAD ST                    N CARLISLE ST
W FISHER AVE                  N BROAD ST                    N CARLISLE ST
W DUNCANNON AVE               N BROAD ST                    N CARLISLE ST
LINDLEY AVE                   N BROAD ST                    N CARLISLE ST
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N AMERICAN ST                 W CHAMPLOST AVE               W SPENCER AVE
N PHILIP ST                   W CHAMPLOST AVE               W SPENCER AVE
KENILWORTH AVE                N 2ND ST                      N 3RD ST
W WALNUT PARK DR              SEVEN OAKS DR                 MASCHER ST
ROBBINS ST                    LAWNDALE ST                   TABOR AVE
N HILL CREEK DR               E HILL CREEK DR               ADAMS AVE
CLAREMONT RD                  FOXHILL RD                    FARISTON DR
E RUSCOMB ST                  N FRONT ST                    RISING SUN AVE
RUTLAND ST                    HERBERT ST                    FOULKROD ST
N 7TH ST                      KENILWORTH AVE                MEDARY AVE
MEDARY AVE                    N 5TH ST                      N LAWRENCE ST
BENNER ST                     ELMHURST TER                  OXFORD AVE
LORETTO AVE                   ALLENGROVE ST                 E GODFREY AVE
MIRIAM RD                     E ROOSEVELT BLVD              E GODFREY AVE
E GODFREY AVE                 MIRIAM RD                     E ROOSEVELT BLVD
LORETTO AVE                   E GODFREY AVE                 PRATT ST
PRATT ST                      LORETTO AVE                   MIRIAM RD
BRIDGE ST                     LORETTO AVE                   MIRIAM RD
PRATT ST                      MIRIAM RD                     E ROOSEVELT BLVD
SANGER ST                     LORETTO AVE                   MIRIAM RD
BRIDGE ST                     MIRIAM RD                     E ROOSEVELT BLVD
SANGER ST                     MIRIAM RD                     E ROOSEVELT BLVD
E GODFREY AVE                 SUMMERDALE AVE                LORETTO AVE
LORETTO AVE                   PRATT ST                      MARCELLA ST
LORETTO AVE                   MARCELLA ST                   GRANITE ST
LORETTO AVE                   BRIDGE ST                     SANGER ST
FRONTENAC ST                  BRILL ST                      SANGER ST
LORETTO AVE                   SANGER ST                     CARVER ST
LANGDON ST                    CARVER ST                     ANCHOR ST
FRONTENAC ST                  CARVER ST                     ANCHOR ST
LORETTO AVE                   ANCHOR ST                     E CHELTENHAM AVE
FRONTENAC ST                  ANCHOR ST                     E CHELTENHAM AVE
LORETTO AVE                   E CHELTENHAM AVE              ALCOTT ST
LORETTO AVE                   ALCOTT ST                     OXFORD AVE
FRONTENAC ST                  ALCOTT ST                     ALCOTT ST
COMLY ST                      SUMMERDALE AVE                AGUSTA ST
BENNER ST                     SUMMERDALE AVE                AGUSTA ST
COMLY ST                      AGUSTA ST                     FRONTENAC ST
BENNER ST                     AGUSTA ST                     FRONTENAC ST
COMLY ST                      FRONTENAC ST                  SHISLER ST
COMLY ST                      SHISLER ST                    BELDEN ST
SUMMERDALE AVE                DEVEREAUX AVE                 MC KINLEY ST
SUMMERDALE AVE                MC KINLEY ST                  ROBBINS ST
DEVEREAUX AVE                 TROTTER ST                    SUMMERDALE AVE
ROBBINS ST                    TROTTER ST                    SUMMERDALE AVE
DEVEREAUX AVE                 LANGDON ST                    TROTTER ST
ROBBINS ST                    TROTTER ST                    TROTTER ST
DEVEREAUX AVE                 OXFORD AVE                    ALGON AVE
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ROBBINS ST                      ALGON AVE                     ELMHURST ST
ROBBINS ST                      ELMHURST ST                   LANGDON ST
ROBBINS ST                      LANGDON ST                    TROTTER ST
ALGON AVE                       ROBBINS ST                    LEVICK ST
LANGDON ST                      ROBBINS ST                    LEVICK ST
ELMHURST ST                     ROBBINS ST                    LEVICK ST
TROTTER ST                      ROBBINS ST                    LEVICK ST
HELLERMAN ST                    DORCAS ST                     ALGON AVE
HELLERMAN ST                    DEAD END WEST                 DORCAS ST
MAGEE AVE                       PENNWAY ST                    DORCAS ST
DORCAS ST                       HELLERMAN ST                  MAGEE AVE
FANSHAWE ST                     PENNWAY ST                    ALGON AVE
BINGHAM ST                      DEAD END SOUTH                ALLENGROVE ST
BINGHAM ST                      ALLENGROVE ST                 E GODFREY AVE
BINGHAM ST                      E GODFREY AVE                 BRILL ST
BINGHAM ST                      ANCHOR ST                     E CHELTENHAM AVE
BINGHAM ST                      E CHELTENHAM AVE              ROSALIE ST
HASBROOK AVE                    E CHELTENHAM AVE              ALCOTT ST
SMYLIE RD                       F ST                          E ROOSEVELT BLVD
F ST                            E ROOSEVELT BLVD              SMYLIE RD
LANDIS ST                       E TABOR RD                    MONTOUR ST
MAYFAIR ST                      HOWLAND ST                    MONTOUR ST
MAYFAIR ST                      E TABOR RD                    HOWLAND ST
GARLAND ST                      MONTOUR ST                    E ROOSEVELT BLVD
MAYFAIR ST                      MONTOUR ST                    E ROOSEVELT BLVD
F ST                            SMYLIE RD                     MARLEY RD
F ST                            JERICHO RD                    E ROOSEVELT BLVD
JERICHO RD                      F ST                          WHITAKER AVE
HERKNESS ST                     MEBUS ST                      WHITAKER AVE
HERKNESS ST                     E ROOSEVELT BLVD              MEBUS ST
SMYLIE RD                       E ROOSEVELT BLVD              MEBUS ST
PENNWAY ST                      GARLAND ST                    E ROOSEVELT BLVD
MEBUS ST                        HERKNESS ST                   SMYLIE RD
E RUSCOMB ST                    DEAD END WEST                 F ST
E RUSCOMB ST                    RORER ST                      BINGHAM ST
E RUSCOMB ST                    GRANSBACK ST                  RORER ST
ORMES ST                        E RUSCOMB ST                  E ROOSEVELT BLVD
ROSEHILL ST                     E RUSCOMB ST                  E ROOSEVELT BLVD
C ST                            E RUSCOMB ST                  E ROOSEVELT BLVD
E RUSCOMB ST                    ORMES ST                      ROSEHILL ST
E RUSCOMB ST                    ROSEHILL ST                   C ST
BOUDINOT ST                     E RUSCOMB ST                  E ROOSEVELT BLVD
D ST                            E RUSCOMB ST                  E ROOSEVELT BLVD
GRANSBACK ST                    E RUSCOMB ST                  E ROOSEVELT BLVD
RORER ST                        BINGHAM ST                    TACONY MINOR TRL
E RUSCOMB ST                    C ST                          BOUDINOT ST
E RUSCOMB ST                    BOUDINOT ST                   D ST
E RUSCOMB ST                    D ST                          GRANSBACK ST
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BINGHAM ST                    E RUSCOMB ST                  RORER ST
C ST                          E ROOSEVELT BLVD              E ALBANUS ST
C ST                          E ALBANUS ST                  E SHELDON ST
C ST                          E SHELDON ST                  E ASHDALE ST
E ASHDALE ST                  E DUNCANNON AVE               C ST
C ST                          E ASHDALE ST                  E FISHER AVE
BINGHAM ST                    E ROOSEVELT BLVD              E ASHDALE ST
E ASHDALE ST                  D ST                          RORER ST
E ASHDALE ST                  RORER ST                      MARWOOD RD
BINGHAM ST                    E ASHDALE ST                  TACONY MINOR TRL
E CLARKSON AVE                RISING SUN AVE                WESTFORD RD
E OLNEY AVE                   RISING SUN AVE                WESTFORD RD
E OLNEY AVE                   WESTFORD RD                   E CLARKSON AVE
E CLARKSON AVE                WESTFORD RD                   E OLNEY AVE
WESTFORD RD                   E ROOSEVELT BLVD              E ALBANUS ST
E ASHDALE ST                  MARWOOD RD                    BINGHAM ST
E CHEW AVE                    DEAD END WEST                 ORMES ST
E CHEW AVE                    ORMES ST                      ROSEHILL ST
E CHEW AVE                    ROSEHILL ST                   ARBOR ST
ARBOR ST                      E OLNEY AVE                   E CHEW AVE
B ST                          LIMA ST                       E CLARKSON AVE
ELLA ST                       LIMA ST                       E CLARKSON AVE
SYCAMORE ST                   E SOMERVILLE AVE              LIMA ST
ELLA ST                       E SOMERVILLE AVE              LIMA ST
A ST                          E DUNCANNON AVE               ROBAT ST
W DUNCANNON AVE               N 6TH ST                      N MARSHALL ST
N FRANKLIN ST                 DEAD END SOUTH                W WELLENS ST
N 8TH ST                      LINDLEY AVE                   W DUNCANNON AVE
N 9TH ST                      LINDLEY AVE                   W DUNCANNON AVE
N 9TH ST                      W DUNCANNON AVE               W WELLENS ST
N 8TH ST                      W DUNCANNON AVE               W WELLENS ST
N 8TH ST                      W WELLENS ST                  W FISHER AVE
N 9TH ST                      W WELLENS ST                  W FISHER AVE
N HUTCHINSON ST               LINDLEY AVE                   W DUNCANNON AVE
LINDLEY AVE                   N 8TH ST                      N 9TH ST
N 11TH ST                     W TABOR RD                    W OLNEY AVE
N 10TH ST                     W TABOR RD                    W OLNEY AVE
WAGNER AVE                    W OLNEY AVE                   W TABOR RD
N FRONT ST                    COLONIAL ST                   E 64TH AVE
E 64TH AVE                    COLONIAL ST                   N FRONT ST
N FRONT ST                    W LAVEER ST                   COLONIAL ST
N FRONT ST                    E 64TH AVE                    W 65TH AVE
FARISTON DR                   CLAREMONT RD                  E WALNUT PARK DR
FOXHILL RD                    CUL DE SAC SOUTH              CLAREMONT RD
FARISTON DR                   PINE RIDGE RD                 E WALNUT PARK DR
MASCHER ST                    W 65TH AVE                    W WALNUT PARK DR
MASCHER ST                    COVINGTON RD                  W CHELTENHAM AVE
W WALNUT PARK DR              MASCHER ST                    W CHELTENHAM AVE
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W 65TH AVE                       MASCHER ST                    N 2ND ST
N 3RD ST                         W 64TH AVE                    W 65TH AVE
N 3RD ST                         COLONIAL ST                   W 64TH AVE
N 3RD ST                         CHELTEN AVE                   COLONIAL ST
W CALVERT ST                     N AMERICAN ST                 N 3RD ST
W GRANGE AVE                     N AMERICAN ST                 N 3RD ST
W CALVERT ST                     N PHILIP ST                   N AMERICAN ST
W GRANGE AVE                     N PHILIP ST                   N AMERICAN ST
W CALVERT ST                     OLD SECOND ST                 N PHILIP ST
W NEDRO AVE                      N 6TH ST                      N MARSHALL ST
W GRANGE AVE                     N 6TH ST                      N MARSHALL ST
W GRANGE AVE                     N MARSHALL ST                 N 7TH ST
W NEDRO AVE                      N MARSHALL ST                 N 7TH ST
W CHEW AVE                       DEAD END EAST                 N 10TH ST
W CHEW AVE                       N 10TH ST                     N WARNOCK ST
W CHEW AVE                       N WARNOCK ST                  N 11TH ST
W CHEW AVE                       N 11TH ST                     N MARVINE ST
W CHEW AVE                       N MARVINE ST                  N 12TH ST
W CHEW AVE                       N 12TH ST                     N CAMAC ST
W CHEW AVE                       N CAMAC ST                    N 13TH ST
W GRANGE AVE                     N MARVINE ST                  N 12TH ST
W GRANGE AVE                     N CAMAC ST                    N 13TH ST
W GRANGE AVE                     N 12TH ST                     N CAMAC ST
W SPENCER AVE                    N WARNOCK ST                  N 11TH ST
N MARVINE ST                     W NEDRO AVE                   W CHAMPLOST AVE
N 12TH ST                        W NEDRO AVE                   W CHAMPLOST AVE
N PARK AVE                       W NEDRO AVE                   W CHAMPLOST AVE
N 13TH ST                        W NEDRO AVE                   W CHAMPLOST AVE
N CAMAC ST                       W NEDRO AVE                   W CHAMPLOST AVE
N 13TH ST                        W CHAMPLOST AVE               W SPENCER AVE
N CAMAC ST                       W CHAMPLOST AVE               W SPENCER AVE
W SPENCER AVE                    N CAMAC ST                    N 13TH ST
W SPENCER AVE                    N 12TH ST                     N CAMAC ST
W SPENCER AVE                    N MARVINE ST                  N 12TH ST
W SPENCER AVE                    N 11TH ST                     N MARVINE ST
N WARNOCK ST                     W SPENCER AVE                 W GODFREY AVE
W SPENCER AVE                    N 10TH ST                     N WARNOCK ST
N PARK AVE                       W 65TH AVE                    66TH AVE
ENOLA ST                         GILHAM ST                     WHITAKER AVE
ENOLA ST                         DEAD END SOUTH                GILHAM ST
LANGDON ST                       VAN KIRK ST                   HOWELL ST
LANGDON ST                       SANGER ST                     CARVER ST
LANGDON ST                       ANCHOR ST                     E CHELTENHAM AVE
LANGDON ST                       E CHELTENHAM AVE              ROSALIE ST
LANGDON ST                       ROSALIE ST                    ALCOTT ST
LANGDON ST                       ALCOTT ST                     VAN KIRK ST
LORETTO AVE                      CARVER ST                     ANCHOR ST
TROTTER ST                       E GODFREY AVE                 MARCELLA ST
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LANGDON ST                    BRIDGE ST                     SCATTERGOOD ST
LANGDON ST                    GRANITE ST                    BRIDGE ST
FRONTENAC ST                  SCATTERGOOD ST                BRILL ST
FRONTENAC ST                  BRIDGE ST                     SCATTERGOOD ST
SMYLIE RD                     MEBUS ST                      WHITAKER AVE
PENNWAY ST                    WHITAKER AVE                  E RUSCOMB ST
GARLAND ST                    F ST                          MONTOUR ST
FOULKROD ST                   ADAMS AVE                     TABOR AVE
HARRISON ST                   DEAD END WEST                 TABOR AVE
FOULKROD ST                   CLARIDGE ST                   HOWLAND ST
HARRISON ST                   CLARIDGE ST                   HOWLAND ST
HASBROOK AVE                  HOWELL ST                     COMLY ST
VAN KIRK ST                   RISING SUN AVE                COLGATE ST
COMLY ST                      RISING SUN AVE                COLGATE ST
BENNER ST                     LAWNDALE ST                   TABOR AVE
DEVEREAUX AVE                 LAWNDALE ST                   TABOR AVE
PALMETTO ST                   DEVEREAUX AVE                 MC KINLEY ST
BINGHAM ST                    DEVEREAUX AVE                 MC KINLEY ST
LAWNDALE ST                   DEVEREAUX AVE                 MC KINLEY ST
E CHELTENHAM AVE              NEWTOWN AVE                   WEYMOUTH ST
VAN KIRK ST                   NEWTOWN AVE                   NEWTOWN AVE
NEWTOWN AVE                   VAN KIRK ST                   HOWELL ST
E CHEW AVE                    ARBOR ST                      RISING SUN AVE
E ALBANUS ST                  ARBOR ST                      WESTFORD RD
E ALBANUS ST                  C ST                          ARBOR ST
W RUSCOMB ST                  N 7TH ST                      N FRANKLIN ST
LINDLEY AVE                   N 7TH ST                      N FRANKLIN ST
W RUSCOMB ST                  N FRANKLIN ST                 N 8TH ST
LINDLEY AVE                   N FRANKLIN ST                 N 8TH ST
W DUNCANNON AVE               N 8TH ST                      N 9TH ST
W GRANGE AVE                  N 2ND ST                      N PHILIP ST
W CHAMPLOST AVE               N 13TH ST                     N PARK AVE
W SPENCER AVE                 N 13TH ST                     N PARK AVE
MASCHER ST                    W WALNUT PARK DR              COVINGTON RD
W WALNUT PARK DR              FARISTON DR                   SEVEN OAKS DR
SEVEN OAKS DR                 W WALNUT PARK DR              E CHELTENHAM AVE
E WALNUT PARK DR              CLAREMONT RD                  FARISTON DR
E 65TH AVE                    N FRONT ST                    E WALNUT PARK DR
E WALNUT PARK DR              FARISTON DR                   CLAREMONT RD
HOWELL ST                     HASBROOK AVE                  RISING SUN AVE
ALCOTT ST                     HASBROOK AVE                  RISING SUN AVE
E CHELTENHAM AVE              HASBROOK AVE                  RISING SUN AVE
ALCOTT ST                     NEWTOWN AVE                   WEYMOUTH ST
VAN KIRK ST                   NEWTOWN AVE                   CRYSTAL ST
FRONTENAC ST                  SANGER ST                     CARVER ST
PINE RIDGE RD                 FARISTON DR                   E CHELTENHAM AVE
FARISTON DR                   E WALNUT PARK DR              PINE RIDGE RD
E WALNUT PARK DR              FARISTON DR                   CRESCENTVILLE RD
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COLONIAL ST                  N FRONT ST                    E 64TH AVE
W CHAMPLOST AVE              N 5TH ST                      N 6TH ST
N PHILIP ST                  W GRANGE AVE                  W CALVERT ST
N 2ND ST                     W GRANGE AVE                  OLD SECOND ST
W 65TH AVE                   N 8TH ST                      N 9TH ST
W CHAMPLOST AVE              N CAMAC ST                    N 13TH ST
W CHAMPLOST AVE              N 12TH ST                     N CAMAC ST
W CHAMPLOST AVE              N MARVINE ST                  N 12TH ST
W CHAMPLOST AVE              N 11TH ST                     N MARVINE ST
N MARVINE ST                 W CHAMPLOST AVE               W SPENCER AVE
N WARNOCK ST                 W CHAMPLOST AVE               W SPENCER AVE
W CHAMPLOST AVE              N 10TH ST                     N WARNOCK ST
W SPENCER AVE                N FRANKLIN ST                 N 8TH ST
N 7TH ST                     W NEDRO AVE                   W CHAMPLOST AVE
W NEDRO AVE                  N 7TH ST                      N FRANKLIN ST
N FRANKLIN ST                W NEDRO AVE                   W CHAMPLOST AVE
TROTTER ST                   MARCELLA ST                   GRANITE ST
BINGHAM ST                   GARLAND ST                    MAYFAIR ST
CLARIDGE ST                  ADAMS AVE                     FOULKROD ST
FOULKROD ST                  TABOR AVE                     CLARIDGE ST
F ST                         MARLEY RD                     GARLAND ST
E ASHDALE ST                 C ST                          ARBOR ST
E ASHDALE ST                 ARBOR ST                      WESTFORD RD
E ASHDALE ST                 WESTFORD RD                   D ST
E RUSCOMB ST                 F ST                          PENNWAY ST
HERKNESS ST                  WHITAKER AVE                  PENNWAY ST
GARLAND ST                   WHITAKER AVE                  PENNWAY ST
W RUSCOMB ST                 OLD YORK RD                   N BROAD ST
W RUSCOMB ST                 N 8TH ST                      N 9TH ST
LINDLEY AVE                  N 9TH ST                      N HUTCHINSON ST
CLAREMONT RD                 E WALNUT PARK DR              FOXHILL RD
COVINGTON RD                 W CHELTENHAM AVE              MASCHER ST
FRONTENAC ST                 E CHELTENHAM AVE              ALCOTT ST
BINGHAM ST                   MAYFAIR ST                    ADAMS AVE
D ST                         BINGHAM ST                    E ASHDALE ST
W DUNCANNON AVE              DEAD END EAST                 N 8TH ST
N 12TH ST                    W CHAMPLOST AVE               W SPENCER AVE
LORETTO AVE                  GRANITE ST                    BRIDGE ST
N 9TH ST                     W 65TH AVE                    66TH AVE
N 8TH ST                     W SPENCER AVE                 SPARKS ST
SPARKS ST                    N FRANKLIN ST                 N 8TH ST
W CHAMPLOST AVE              N 7TH ST                      N FRANKLIN ST
N HUTCHINSON ST              W CHAMPLOST AVE               DEAD END NORTH
WHITAKER AVE                 DEAD END SOUTH                MAGEE AVE
N CAMAC ST                   W SOMERVILLE AVE              DEAD END NORTH
BARNETT ST                   LORETTO AVE                   CASTOR AVE
STIRLING ST                  LORETTO AVE                   CASTOR AVE
ALLENGROVE ST                LORETTO AVE                   E ROOSEVELT BLVD
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N FRONT ST                         W CLARKSON AVE                W GALE ST
E RUSCOMB ST                       GRANSBACK ST                  GRANSBACK ST
ALGON AVE                          LARDNER TER                   STEVENS TER
ALGON AVE                          BENNER ST                     LARDNER TER
BENNER ST                          ALGON AVE                     LOVATT TER
BENNER ST                          LOVATT TER                    ELMHURST TER
W GRANGE AVE                       N BROAD ST                    OLD YORK RD
OLD YORK RD                        W GRANGE AVE                  W GRANGE AVE
OLD YORK RD                        N BROAD ST                    CLEARVIEW ST
OLD YORK RD                        CLEARVIEW ST                  W GRANGE AVE
CLEARVIEW ST                       N BROAD ST                    OLD YORK RD
W 65TH AVE                         N FAIRHILL ST                 N FAIRHILL ST
W 65TH AVE                         N 3RD ST                      N 3RD ST
FRONTENAC ST                       ANCHOR ST                     ANCHOR ST
FRONTENAC ST                       ALCOTT ST                     OXFORD AVE
E CLARKSON AVE                     WESTFORD RD                   WESTFORD RD
W NEDRO AVE                        N BROAD ST                    OLD YORK RD
N FRONT ST                         TENNIS AVE                    DEAD END NORTH
GILHAM ST                          ENOLA ST                      CUL DE SAC EAST
REACH ST                           COMLY ST                      HIGBEE ST
REACH ST                           VAN KIRK ST                   COMLY ST
HARRISON ST                        TABOR AVE                     CLARIDGE ST
N 10TH ST                          W CHAMPLOST AVE               W SPENCER AVE
OLD YORK RD                        W SOMERVILLE AVE              ALBERT EINSTEIN DR
OLD YORK RD                        ALBERT EINSTEIN DR            W TABOR RD
N 6TH ST                           W FISHER AVE                  DEAD END NORTH
W RUSCOMB ST                       N BROAD ST                    WINDRIM AVE
E ASHDALE ST                       CUL DE SAC NORTH              WHITAKER AVE
OLD YORK RD                        W GRANGE AVE                  CONLYN ST
OLD YORK RD                        CONLYN ST                     CONLYN ST
CONLYN ST                          N BROAD ST                    OLD YORK RD
MARLEY RD                          F ST                          MONTOUR ST
MONTOUR ST                         MARLEY RD                     GARLAND ST
W WELLENS ST                       MASCHER ST                    DEAD END WEST
N LAWRENCE ST                      DEAD END SOUTH                W DUNCANNON AVE
LANGDON ST                         E GODFREY AVE                 GRANITE ST
E GODFREY AVE                      LANGDON ST                    TROTTER ST
HILL CREEK CIR                     W HILL CREEK DR               PHA DRIVEWAY
HILL CREEK CIR                     PHA DRIVEWAY                  E HILL CREEK DR
W HILL CREEK DR                    N HILL CREEK DR               HILL CREEK MALL
N HILL CREEK DR                    W HILL CREEK DR               E HILL CREEK DR
E HILL CREEK DR                    N HILL CREEK DR               HILL CREEK MALL
WHITAKER AVE                       E ROOSEVELT BLVD              E ROOSEVELT BLVD
LANGDON ST                         E ROOSEVELT BLVD              E ROOSEVELT BLVD
E HILL CREEK DR                    HILL CREEK MALL               HILL CREEK PL
E HILL CREEK DR                    HILL CREEK PL                 S HILL CREEK DR
W HILL CREEK DR                    HILL CREEK MALL               HILL CREEK TER
W HILL CREEK DR                    HILL CREEK TER                HILL CREEK CIR
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TACONY CREEK TRL                E CHELTENHAM AVE                TACONY CRESCENTVILLE LOOP TRL
TACONY CREEK TRL                TACONY CRESCENTVILLE LOOP TRL   CRESCENTVILLE RD
TACONY CREEK TRL                CRESCENTVILLE RD                RISING SUN AVE
TACONY CREEK TRL                RISING SUN AVE                  TACONY MINOR TRL
TACONY MINOR TRL                TACONY CREEK TRL                E ROOSEVELT BLVD
TACONY CREEK TRL                TACONY MINOR TRL                TACONY CREEK TRL
TACONY CREEK TRL                TACONY CREEK TRL                TACONY MINOR TRL
TACONY CREEK TRL                DEAD END                        TACONY MINOR TRL
TACONY MINOR TRL                TACONY MINOR TRL                BINGHAM ST
TACONY MINOR TRL                TACONY CREEK TRL                TACONY MINOR TRL
TACONY MINOR TRL                TACONY MINOR TRL                TACONY CREEK TRL
TACONY CRESCENTVILLE LOOP TRL   TACONY CREEK TRL                TACONY CRESCENTVILLE LOOP TRL
TACONY CRESCENTVILLE LOOP TRL   TACONY CRESCENTVILLE LOOP TRL   TACONY CREEK TRL
TACONY CREEK TRL                TACONY CRESCENTVILLE LOOP TRL   ADAMS AVE
TACONY CREEK TRL                TACONY MINOR TRL                E TABOR RD
TACONY CREEK TRL                E TABOR RD                      TACONY MINOR TRL
VANDIKE ST                      DECATUR ST                      RHAWN ST
DITMAN ST                       TUDOR ST                        BLEIGH AVE
E CHELTENHAM AVE                COTTAGE ST                      HARBISON AVE
HAWTHORNE ST                    SCATTERGOOD ST                  BRILL ST
OAKLAND ST                      FOULKROD ST                     FILLMORE ST
LARGE ST                        PRATT ST                        GRANITE ST
HORROCKS ST                     WAKELING ST                     HAWORTH ST
DEVEREAUX AVE                   FRONTENAC ST                    SHISLER ST
LORETTO AVE                     VAN KIRK ST                     COMLY ST
UNRUH AVE                       DITMAN ST                       JOSEPHINE ST
DISSTON ST                      KEYSTONE ST                     STATE RD
KNORR ST                        DITMAN ST                       JOSEPHINE ST
E CHELTENHAM AVE                FRANKFORD AVE                   HAWTHORNE ST
HAWTHORNE ST                    KENNEDY ST                      ANCHOR ST
WAKELING ST                     SAUL ST                         N PENN ST
WAKELING ST                     HORROCKS ST                     OAKLAND ST
ALLENGROVE ST                   HORROCKS ST                     OAKLAND ST
E CHELTENHAM AVE                N PENN ST                       BUSTLETON AVE
GUILFORD ST                     SACKETT ST                      CRABTREE ST
BRIDGE ST                       OXFORD AVE                      LARGE ST
PRATT ST                        LARGE ST                        OXFORD AVE
SANGER ST                       OXFORD AVE                      RUTLAND ST
HOWELL ST                       VAN KIRK ST                     HORROCKS ST
VAN KIRK ST                     LORETTO AVE                     ALMA ST
SHISLER ST                      BENNER ST                       DEVEREAUX AVE
BELDEN ST                       COMLY ST                        BENNER ST
FANSHAWE ST                     ALGON AVE                       SUMMERDALE AVE
BLEIGH AVE                      MELROSE ST                      WISSINOMING ST
MILNOR ST                       COTTMAN AVE                     BLEIGH AVE
DEVEREAUX AVE                   LARGE ST                        E ROOSEVELT BLVD
STATE RD                        DISSTON ST                      NEW STATE RD
STATE RD                        LONGSHORE AVE                   DISSTON ST
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WISSINOMING ST                UNRUH AVE                     NEW STATE RD
HARRISON ST                   OXFORD AVE                    LEIPER ST
FOULKROD ST                   OAKLAND ST                    LEIPER ST
FILLMORE ST                   OAKLAND ST                    LEIPER ST
HARRISON ST                   LEIPER ST                     N PENN ST
HARRISON ST                   N PENN ST                     GRISCOM ST
ALLENGROVE ST                 FRANKFORD AVE                 DARRAH ST
WAKELING ST                   DARRAH ST                     DUFFIELD ST
ROBBINS ST                    TACONY ST                     MILNOR ST
LEVICK ST                     BARNETT ST                    DEAD END SOUTH
HOLMESBURG AVE                HOLMESBURG AVE                MILL ST
MILL ST                       HOLMESBURG AVE                WELSH RD
HOLMESBURG AVE                MILL ST                       DEAD END SOUTH
WALKER ST                     RHAWN ST                      WELSH RD
MONTAGUE ST                   RHAWN ST                      WELSH RD
ERDRICK ST                    RHAWN ST                      WELSH RD
ERDRICK ST                    FROST ST                      RHAWN ST
ERDRICK ST                    DECATUR ST                    FROST ST
ERDRICK ST                    HARTEL AVE                    DECATUR ST
ERDRICK ST                    LANSING ST                    HARTEL AVE
ERDRICK ST                    MERIDIAN ST                   LANSING ST
VANDIKE ST                    WELLINGTON ST                 COTTMAN AVE
VANDIKE ST                    FRIENDSHIP ST                 WELLINGTON ST
VANDIKE ST                    PRINCETON AVE                 FRIENDSHIP ST
VANDIKE ST                    TYSON AVE                     PRINCETON AVE
VANDIKE ST                    DISSTON ST                    TYSON AVE
VANDIKE ST                    LONGSHORE AVE                 DISSTON ST
VANDIKE ST                    KNORR ST                      LONGSHORE AVE
VANDIKE ST                    RAWLE ST                      KNORR ST
VANDIKE ST                    UNRUH AVE                     RAWLE ST
VANDIKE ST                    MAGEE AVE                     UNRUH AVE
VANDIKE ST                    HELLERMAN ST                  MAGEE AVE
VANDIKE ST                    LEVICK ST                     HELLERMAN ST
VANDIKE ST                    ROBBINS ST                    LEVICK ST
VANDIKE ST                    BENNER ST                     DEVEREAUX AVE
VANDIKE ST                    HIGBEE ST                     BENNER ST
VANDIKE ST                    COMLY ST                      HIGBEE ST
DECATUR ST                    TORRESDALE AVE                VANDIKE ST
DECATUR ST                    VANDIKE ST                    EDMUND ST
EDMUND ST                     ASHVILLE ST                   DECATUR ST
EDMUND ST                     HARTEL AVE                    ASHVILLE ST
TULIP ST                      DECATUR ST                    RHAWN ST
DECATUR ST                    EDMUND ST                     TULIP ST
EDMUND ST                     LANSING ST                    HARTEL AVE
EDMUND ST                     MERIDIAN ST                   LANSING ST
EDMUND ST                     SHEFFIELD AVE                 MERIDIAN ST
EDMUND ST                     MARPLE ST                     SHEFFIELD AVE
EDMUND ST                     OAKMONT ST                    MARPLE ST
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EDMUND ST                      SHELMIRE AVE                  OAKMONT ST
EDMUND ST                      VISTA ST                      SHELMIRE AVE
EDMUND ST                      LORING ST                     VISTA ST
EDMUND ST                      BLEIGH AVE                    LORING ST
EDMUND ST                      COTTMAN AVE                   BLEIGH AVE
EDMUND ST                      WELLINGTON ST                 COTTMAN AVE
EDMUND ST                      FRIENDSHIP ST                 WELLINGTON ST
EDMUND ST                      PRINCETON AVE                 FRIENDSHIP ST
EDMUND ST                      TYSON AVE                     PRINCETON AVE
EDMUND ST                      DISSTON ST                    TYSON AVE
EDMUND ST                      LONGSHORE AVE                 DISSTON ST
EDMUND ST                      KNORR ST                      LONGSHORE AVE
EDMUND ST                      MAGEE AVE                     UNRUH AVE
EDMUND ST                      HELLERMAN ST                  MAGEE AVE
EDMUND ST                      LEVICK ST                     HELLERMAN ST
EDMUND ST                      ROBBINS ST                    LEVICK ST
EDMUND ST                      BENNER ST                     DEVEREAUX AVE
HEGERMAN ST                    BENNER ST                     DEVEREAUX AVE
HEGERMAN ST                    ROBBINS ST                    LEVICK ST
HEGERMAN ST                    LEVICK ST                     HELLERMAN ST
HEGERMAN ST                    WELLINGTON ST                 COTTMAN AVE
HEGERMAN ST                    FRIENDSHIP ST                 WELLINGTON ST
HEGERMAN ST                    PRINCETON AVE                 FRIENDSHIP ST
HEGERMAN ST                    TYSON AVE                     PRINCETON AVE
HEGERMAN ST                    DISSTON ST                    TYSON AVE
HEGERMAN ST                    LONGSHORE AVE                 DISSTON ST
HEGERMAN ST                    KNORR ST                      LONGSHORE AVE
HEGERMAN ST                    RAWLE ST                      KNORR ST
HEGERMAN ST                    UNRUH AVE                     RAWLE ST
HEGERMAN ST                    MAGEE AVE                     UNRUH AVE
HEGERMAN ST                    HELLERMAN ST                  MAGEE AVE
TULIP ST                       ROBBINS ST                    LEVICK ST
TULIP ST                       TYSON AVE                     PRINCETON AVE
TULIP ST                       DISSTON ST                    TYSON AVE
TULIP ST                       LONGSHORE AVE                 DISSTON ST
TULIP ST                       KNORR ST                      LONGSHORE AVE
TULIP ST                       KNORR ST                      KNORR ST
TULIP ST                       RAWLE ST                      KNORR ST
TULIP ST                       RAWLE ST                      RAWLE ST
TULIP ST                       UNRUH AVE                     RAWLE ST
TULIP ST                       MAGEE AVE                     UNRUH AVE
TULIP ST                       HELLERMAN ST                  MAGEE AVE
TULIP ST                       LEVICK ST                     HELLERMAN ST
TULIP ST                       WELLINGTON ST                 COTTMAN AVE
TULIP ST                       FRIENDSHIP ST                 WELLINGTON ST
TULIP ST                       PRINCETON AVE                 FRIENDSHIP ST
KEYSTONE ST                    FRIENDSHIP ST                 WELLINGTON ST
KEYSTONE ST                    PRINCETON AVE                 FRIENDSHIP ST
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MARSDEN ST                    DECATUR ST                    RHAWN ST
DITMAN ST                     DECATUR ST                    RHAWN ST
DITMAN ST                     ASHVILLE ST                   DECATUR ST
DITMAN ST                     HARTEL AVE                    ASHVILLE ST
DITMAN ST                     LANSING ST                    HARTEL AVE
DITMAN ST                     MC MENAMY ST                  LANSING ST
DITMAN ST                     MERIDIAN ST                   MC MENAMY ST
DITMAN ST                     SHEFFIELD AVE                 MERIDIAN ST
DITMAN ST                     MARPLE ST                     SHEFFIELD AVE
DITMAN ST                     RHAWN ST                      DEAD END EAST
DITMAN ST                     OAKMONT ST                    MARPLE ST
DITMAN ST                     SHELMIRE AVE                  OAKMONT ST
DITMAN ST                     VISTA ST                      SHELMIRE AVE
DITMAN ST                     LORING ST                     VISTA ST
DITMAN ST                     BLEIGH AVE                    LORING ST
DITMAN ST                     ALDINE ST                     TUDOR ST
DITMAN ST                     TEESDALE ST                   ALDINE ST
DITMAN ST                     COTTMAN AVE                   TEESDALE ST
MARSDEN ST                    WELLINGTON ST                 COTTMAN AVE
MARSDEN ST                    FRIENDSHIP ST                 WELLINGTON ST
MARSDEN ST                    PRINCETON AVE                 FRIENDSHIP ST
MARSDEN ST                    TYSON AVE                     PRINCETON AVE
MARSDEN ST                    DISSTON ST                    TYSON AVE
MARSDEN ST                    LONGSHORE AVE                 DISSTON ST
MARSDEN ST                    KNORR ST                      LONGSHORE AVE
MARSDEN ST                    UNRUH AVE                     KNORR ST
MARSDEN ST                    MAGEE AVE                     UNRUH AVE
MARSDEN ST                    HELLERMAN ST                  MAGEE AVE
MARSDEN ST                    LEVICK ST                     HELLERMAN ST
MARSDEN ST                    ROBBINS ST                    LEVICK ST
MARSDEN ST                    MC KINLEY ST                  ROBBINS ST
MARSDEN ST                    DEVEREAUX AVE                 MC KINLEY ST
MARSDEN ST                    BENNER ST                     DEVEREAUX AVE
DITMAN ST                     LARDNER ST                    DEVEREAUX AVE
DITMAN ST                     BENNER ST                     LARDNER ST
DITMAN ST                     HIGBEE ST                     BENNER ST
DITMAN ST                     COMLY ST                      HIGBEE ST
DITMAN ST                     HOWELL ST                     COMLY ST
DITMAN ST                     VAN KIRK ST                   HOWELL ST
DITMAN ST                     HALE ST                       ROBBINS ST
DITMAN ST                     MC KINLEY ST                  HALE ST
DITMAN ST                     DEVEREAUX AVE                 MC KINLEY ST
DITMAN ST                     HELLERMAN ST                  MAGEE AVE
DITMAN ST                     LEVICK ST                     HELLERMAN ST
DITMAN ST                     ROBBINS ST                    LEVICK ST
DITMAN ST                     UNRUH AVE                     KNORR ST
DITMAN ST                     MAGEE AVE                     UNRUH AVE
DITMAN ST                     KNORR ST                      LONGSHORE AVE
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DITMAN ST                     DISSTON ST                    TYSON AVE
DITMAN ST                     LONGSHORE AVE                 DISSTON ST
DITMAN ST                     TYSON AVE                     PRINCETON AVE
DITMAN ST                     WELLINGTON ST                 COTTMAN AVE
DITMAN ST                     FRIENDSHIP ST                 WELLINGTON ST
DITMAN ST                     PRINCETON AVE                 FRIENDSHIP ST
JACKSON ST                    RHAWN ST                      DEAD END EAST
JACKSON ST                    DECATUR ST                    RHAWN ST
JACKSON ST                    HARTEL AVE                    DECATUR ST
JACKSON ST                    MC MENAMY ST                  HARTEL AVE
JACKSON ST                    SHEFFIELD AVE                 MC MENAMY ST
JACKSON ST                    MARPLE ST                     SHEFFIELD AVE
JACKSON ST                    OAKMONT ST                    MARPLE ST
JACKSON ST                    SHELMIRE AVE                  OAKMONT ST
JACKSON ST                    VISTA ST                      SHELMIRE AVE
JACKSON ST                    LORING ST                     VISTA ST
JACKSON ST                    BLEIGH AVE                    LORING ST
JACKSON ST                    TUDOR ST                      BLEIGH AVE
JACKSON ST                    ALDINE ST                     TUDOR ST
JACKSON ST                    TEESDALE ST                   ALDINE ST
JACKSON ST                    COTTMAN AVE                   TEESDALE ST
JACKSON ST                    WELLINGTON ST                 COTTMAN AVE
JACKSON ST                    PRINCETON AVE                 WELLINGTON ST
JACKSON ST                    TYSON AVE                     PRINCETON AVE
JACKSON ST                    DISSTON ST                    TYSON AVE
JACKSON ST                    KNORR ST                      LONGSHORE AVE
JACKSON ST                    UNRUH AVE                     KNORR ST
JACKSON ST                    MAGEE AVE                     UNRUH AVE
JACKSON ST                    ROBBINS ST                    LEVICK ST
JACKSON ST                    HALE ST                       ROBBINS ST
JACKSON ST                    MC KINLEY ST                  HALE ST
JACKSON ST                    LARDNER ST                    DEVEREAUX AVE
JACKSON ST                    BENNER ST                     LARDNER ST
JACKSON ST                    DEVEREAUX AVE                 MC KINLEY ST
JACKSON ST                    HIGBEE ST                     BENNER ST
JACKSON ST                    COMLY ST                      HIGBEE ST
JACKSON ST                    HOWELL ST                     COMLY ST
JACKSON ST                    HARBISON AVE                  HOWELL ST
COTTAGE ST                    VISTA ST                      SHELMIRE AVE
COTTAGE ST                    LORING ST                     VISTA ST
COTTAGE ST                    BLEIGH AVE                    LORING ST
COTTAGE ST                    ALDINE ST                     BLEIGH AVE
COTTAGE ST                    TEESDALE ST                   ALDINE ST
COTTAGE ST                    COTTMAN AVE                   TEESDALE ST
COTTAGE ST                    WELLINGTON ST                 COTTMAN AVE
COTTAGE ST                    PRINCETON AVE                 WELLINGTON ST
COTTAGE ST                    DISSTON ST                    TYSON AVE
COTTAGE ST                    LONGSHORE AVE                 DISSTON ST
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COTTAGE ST                    KNORR ST                      LONGSHORE AVE
COTTAGE ST                    UNRUH AVE                     KNORR ST
COTTAGE ST                    MAGEE AVE                     UNRUH AVE
COTTAGE ST                    HELLERMAN ST                  MAGEE AVE
COTTAGE ST                    LEVICK ST                     HELLERMAN ST
COTTAGE ST                    ROBBINS ST                    LEVICK ST
COTTAGE ST                    DEVEREAUX AVE                 ROBBINS ST
COTTAGE ST                    BENNER ST                     DEVEREAUX AVE
COTTAGE ST                    HIGBEE ST                     BENNER ST
COTTAGE ST                    COMLY ST                      HIGBEE ST
COTTAGE ST                    HARBISON AVE                  COMLY ST
COTTAGE ST                    VAN KIRK ST                   HARBISON AVE
COTTAGE ST                    E CHELTENHAM AVE              VAN KIRK ST
COTTAGE ST                    CHIPPENDALE AVE               SHEFFIELD AVE
COTTAGE ST                    MARPLE ST                     CHIPPENDALE AVE
COTTAGE ST                    OAKMONT ST                    MARPLE ST
COTTAGE ST                    SHELMIRE AVE                  OAKMONT ST
COTTAGE ST                    DECATUR ST                    RHAWN ST
COTTAGE ST                    HARTEL AVE                    DECATUR ST
COTTAGE ST                    MC MENAMY ST                  HARTEL AVE
COTTAGE ST                    SHEFFIELD AVE                 MC MENAMY ST
COTTAGE ST                    RHAWN ST                      DEAD END EAST
WALKER ST                     FROST ST                      RHAWN ST
WALKER ST                     DECATUR ST                    FROST ST
WALKER ST                     HARTEL AVE                    DECATUR ST
WALKER ST                     HARTEL AVE                    HARTEL AVE
WALKER ST                     LANSING ST                    HARTEL AVE
WALKER ST                     MC MENAMY ST                  LANSING ST
WALKER ST                     MERIDIAN ST                   MC MENAMY ST
WALKER ST                     SHEFFIELD AVE                 MERIDIAN ST
WALKER ST                     CHIPPENDALE AVE               SHEFFIELD AVE
WALKER ST                     MARPLE ST                     CHIPPENDALE AVE
WALKER ST                     OAKMONT ST                    MARPLE ST
WALKER ST                     SHELMIRE AVE                  OAKMONT ST
WALKER ST                     VISTA ST                      SHELMIRE AVE
WALKER ST                     LORING ST                     VISTA ST
WALKER ST                     BLEIGH AVE                    LORING ST
WALKER ST                     TUDOR ST                      BLEIGH AVE
WALKER ST                     ALDINE ST                     TUDOR ST
WALKER ST                     TEESDALE ST                   ALDINE ST
WALKER ST                     COTTMAN AVE                   TEESDALE ST
WALKER ST                     WELLINGTON ST                 COTTMAN AVE
WALKER ST                     PRINCETON AVE                 WELLINGTON ST
WALKER ST                     TYSON AVE                     PRINCETON AVE
WALKER ST                     DISSTON ST                    TYSON AVE
WALKER ST                     LONGSHORE AVE                 DISSTON ST
WALKER ST                     GLENVIEW ST                   LONGSHORE AVE
WALKER ST                     KNORR ST                      GLENVIEW ST
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WALKER ST                      MAGEE AVE                     UNRUH AVE
WALKER ST                      GREEBY ST                     MAGEE AVE
WALKER ST                      HELLERMAN ST                  GREEBY ST
WALKER ST                      PASSMORE ST                   HELLERMAN ST
WALKER ST                      ELBRIDGE ST                   PASSMORE ST
WALKER ST                      LEVICK ST                     ELBRIDGE ST
WALKER ST                      BARNETT ST                    LEVICK ST
WALKER ST                      STIRLING ST                   BARNETT ST
WALKER ST                      DEVEREAUX AVE                 ROBBINS ST
WALKER ST                      BENNER ST                     DEVEREAUX AVE
WALKER ST                      HIGBEE ST                     BENNER ST
WALKER ST                      COMLY ST                      HIGBEE ST
WALKER ST                      HARBISON AVE                  COMLY ST
WALKER ST                      HOWELL ST                     HARBISON AVE
WALKER ST                      VAN KIRK ST                   HOWELL ST
WALKER ST                      SANGER ST                     E CHELTENHAM AVE
E CHELTENHAM AVE               CHARLES ST                    TACKAWANNA ST
E CHELTENHAM AVE               VALLEY ST                     ERDRICK ST
E CHELTENHAM AVE               ERDRICK ST                    MONTAGUE ST
E CHELTENHAM AVE               MONTAGUE ST                   WALKER ST
E CHELTENHAM AVE               WALKER ST                     WALKER ST
E CHELTENHAM AVE               WALKER ST                     COTTAGE ST
WALKER ST                      E CHELTENHAM AVE              VAN KIRK ST
ERDRICK ST                     CHIPPENDALE AVE               SHEFFIELD AVE
ERDRICK ST                     MARPLE ST                     CHIPPENDALE AVE
ERDRICK ST                     OAKMONT ST                    MARPLE ST
ERDRICK ST                     SHELMIRE AVE                  OAKMONT ST
ERDRICK ST                     VISTA ST                      SHELMIRE AVE
ERDRICK ST                     LORING ST                     VISTA ST
ERDRICK ST                     BLEIGH AVE                    LORING ST
ERDRICK ST                     COTTMAN AVE                   TEESDALE ST
ERDRICK ST                     WELLINGTON ST                 COTTMAN AVE
ERDRICK ST                     PRINCETON AVE                 WELLINGTON ST
ERDRICK ST                     TYSON AVE                     PRINCETON AVE
ERDRICK ST                     DISSTON ST                    TYSON AVE
ERDRICK ST                     LONGSHORE AVE                 DISSTON ST
ERDRICK ST                     GLENVIEW ST                   LONGSHORE AVE
ERDRICK ST                     KNORR ST                      GLENVIEW ST
ERDRICK ST                     MAGEE AVE                     UNRUH AVE
ERDRICK ST                     GILHAM ST                     MAGEE AVE
ERDRICK ST                     GREEBY ST                     GILHAM ST
ERDRICK ST                     GREEBY ST                     GREEBY ST
ERDRICK ST                     HELLERMAN ST                  GREEBY ST
ERDRICK ST                     PASSMORE ST                   HELLERMAN ST
ERDRICK ST                     ELBRIDGE ST                   PASSMORE ST
ERDRICK ST                     LEVICK ST                     ELBRIDGE ST
ERDRICK ST                     BARNETT ST                    LEVICK ST
ERDRICK ST                     DEVEREAUX AVE                 ROBBINS ST
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ERDRICK ST                    BENNER ST                     DEVEREAUX AVE
ERDRICK ST                    HARBISON AVE                  BENNER ST
ERDRICK ST                    COMLY ST                      HARBISON AVE
ERDRICK ST                    HOWELL ST                     COMLY ST
ERDRICK ST                    VAN KIRK ST                   HOWELL ST
ERDRICK ST                    E CHELTENHAM AVE              VAN KIRK ST
ERDRICK ST                    SANGER ST                     E CHELTENHAM AVE
ERDRICK ST                    SHEFFIELD AVE                 MERIDIAN ST
FROST ST                      ERDRICK ST                    WALKER ST
CHARLES ST                    DECATUR ST                    RHAWN ST
DECATUR ST                    FRANKFORD AVE                 CHARLES ST
DECATUR ST                    CHARLES ST                    ERDRICK ST
DECATUR ST                    ERDRICK ST                    WALKER ST
DECATUR ST                    WALKER ST                     COTTAGE ST
DECATUR ST                    COTTAGE ST                    JACKSON ST
DARRAH ST                     BRIDGE ST                     BRILL ST
DARRAH ST                     GRANITE ST                    BRIDGE ST
DARRAH ST                     PRATT ST                      GRANITE ST
DARRAH ST                     CONKLIN ST                    PRATT ST
DARRAH ST                     DYRE ST                       CONKLIN ST
DARRAH ST                     HAWORTH ST                    DYRE ST
DARRAH ST                     WAKELING ST                   HAWORTH ST
BRILL ST                      FRANKFORD AVE                 DARRAH ST
BRILL ST                      DARRAH ST                     LESHER ST
BRILL ST                      LESHER ST                     HEDGE ST
BRILL ST                      HEDGE ST                      DUFFIELD ST
BRILL ST                      DUFFIELD ST                   HAWTHORNE ST
BRILL ST                      HAWTHORNE ST                  CHARLES ST
DUFFIELD ST                   SCATTERGOOD ST                BRILL ST
DUFFIELD ST                   BRIDGE ST                     SCATTERGOOD ST
DUFFIELD ST                   GRANITE ST                    BRIDGE ST
DUFFIELD ST                   PRATT ST                      GRANITE ST
DUFFIELD ST                   CONKLIN ST                    PRATT ST
DUFFIELD ST                   DYRE ST                       CONKLIN ST
DUFFIELD ST                   HAWORTH ST                    DYRE ST
MULBERRY ST                   PRATT ST                      BRIDGE ST
MULBERRY ST                   DYRE ST                       PRATT ST
CHARLES ST                    BRILL ST                      SANGER ST
CHARLES ST                    SCATTERGOOD ST                BRILL ST
CHARLES ST                    BRIDGE ST                     SCATTERGOOD ST
SCATTERGOOD ST                DUFFIELD ST                   HAWTHORNE ST
SCATTERGOOD ST                HAWTHORNE ST                  CHARLES ST
HAWTHORNE ST                  BRIDGE ST                     SCATTERGOOD ST
HAWTHORNE ST                  PRATT ST                      BRIDGE ST
HAWTHORNE ST                  DYRE ST                       PRATT ST
HAWTHORNE ST                  BRILL ST                      DEAD END EAST
MARLOW ST                     PRATT ST                      BRIDGE ST
MARLOW ST                     DYRE ST                       PRATT ST
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DYRE ST                        HORROCKS ST                   OXFORD AVE
DYRE ST                        OXFORD AVE                    OAKLAND ST
DYRE ST                        OAKLAND ST                    AKRON ST
DYRE ST                        AKRON ST                      SAUL ST
DYRE ST                        SAUL ST                       LEIPER ST
DYRE ST                        LEIPER ST                     N PENN ST
DYRE ST                        N PENN ST                     GRISCOM ST
DYRE ST                        GRISCOM ST                    FRANKFORD AVE
DYRE ST                        FRANKFORD AVE                 DARRAH ST
DYRE ST                        DARRAH ST                     DUFFIELD ST
DYRE ST                        DUFFIELD ST                   HAWTHORNE ST
DYRE ST                        HAWTHORNE ST                  MARLOW ST
DYRE ST                        MARLOW ST                     MULBERRY ST
GRISCOM ST                     DYRE ST                       PRATT ST
GRISCOM ST                     WAKELING ST                   DYRE ST
N PENN ST                      DYRE ST                       PRATT ST
N PENN ST                      WAKELING ST                   DYRE ST
N PENN ST                      HARRISON ST                   WAKELING ST
HARRISON ST                    OAKLAND ST                    OXFORD AVE
OAKLAND ST                     VAN KIRK ST                   HOWELL ST
OAKLAND ST                     E CHELTENHAM AVE              VAN KIRK ST
OAKLAND ST                     SANGER ST                     E CHELTENHAM AVE
OAKLAND ST                     BRIDGE ST                     SANGER ST
OAKLAND ST                     PRATT ST                      BRIDGE ST
OAKLAND ST                     KENWYN ST                     PRATT ST
OAKLAND ST                     DYRE ST                       KENWYN ST
OAKLAND ST                     OXFORD AVE                    DYRE ST
OAKLAND ST                     WAKELING ST                   OXFORD AVE
OAKLAND ST                     ALLENGROVE ST                 WAKELING ST
OAKLAND ST                     HARRISON ST                   ALLENGROVE ST
OAKLAND ST                     FILLMORE ST                   HARRISON ST
BENNER ST                      OAKLAND ST                    SAUL ST
BENNER ST                      SAUL ST                       LARDNER ST
BENNER ST                      E ROOSEVELT BLVD              OAKLAND ST
LARGE ST                       TYSON AVE                     PRINCETON AVE
LARGE ST                       UNRUH AVE                     KNORR ST
LARGE ST                       MAGEE AVE                     UNRUH AVE
LARGE ST                       ELBRIDGE ST                   EVERETT AVE
LARGE ST                       LEVICK ST                     ELBRIDGE ST
LARGE ST                       STIRLING ST                   LEVICK ST
LARGE ST                       ROBBINS ST                    STIRLING ST
LARGE ST                       MC KINLEY ST                  ROBBINS ST
LARGE ST                       MC KINLEY ST                  MC KINLEY ST
LARGE ST                       ROSALIE ST                    ALCOTT ST
LARGE ST                       ANCHOR ST                     E CHELTENHAM AVE
LARGE ST                       SANGER ST                     ANCHOR ST
LARGE ST                       BRILL ST                      SANGER ST
LARGE ST                       BRIDGE ST                     BRILL ST
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LARGE ST                        OXFORD AVE                    BRIDGE ST
LARGE ST                        GRANITE ST                    OXFORD AVE
HORROCKS ST                     TYSON AVE                     PRINCETON AVE
HORROCKS ST                     UNRUH AVE                     KNORR ST
HORROCKS ST                     MAGEE AVE                     UNRUH AVE
HORROCKS ST                     HELLERMAN ST                  MAGEE AVE
HORROCKS ST                     EVERETT AVE                   LEVICK ST
HORROCKS ST                     HOWELL ST                     COMLY ST
HORROCKS ST                     VAN KIRK ST                   HOWELL ST
HORROCKS ST                     ALCOTT ST                     VAN KIRK ST
HORROCKS ST                     ROSALIE ST                    ALCOTT ST
HORROCKS ST                     E CHELTENHAM AVE              ROSALIE ST
HORROCKS ST                     ANCHOR ST                     E CHELTENHAM AVE
HORROCKS ST                     SANGER ST                     ANCHOR ST
HORROCKS ST                     BRILL ST                      SANGER ST
HORROCKS ST                     BRIDGE ST                     BRILL ST
HORROCKS ST                     PRATT ST                      BRIDGE ST
HORROCKS ST                     OXFORD AVE                    PRATT ST
HORROCKS ST                     KENWYN ST                     OXFORD AVE
HORROCKS ST                     DYRE ST                       KENWYN ST
HORROCKS ST                     HAWORTH ST                    DYRE ST
HORROCKS ST                     ALLENGROVE ST                 WAKELING ST
LARGE ST                        E ROOSEVELT BLVD              COMLY ST
LARGE ST                        E ROOSEVELT BLVD              E ROOSEVELT BLVD
LARGE ST                        E ROOSEVELT BLVD              E ROOSEVELT BLVD
LARGE ST                        E ROOSEVELT BLVD              E ROOSEVELT BLVD
LARGE ST                        VAN KIRK ST                   E ROOSEVELT BLVD
CHARLES ST                      WELLINGTON ST                 COTTMAN AVE
CHARLES ST                      PRINCETON AVE                 WELLINGTON ST
CHARLES ST                      TYSON AVE                     PRINCETON AVE
ALGARD ST                       WELLINGTON ST                 COTTMAN AVE
MONTAGUE ST                     WELLINGTON ST                 COTTMAN AVE
MONTAGUE ST                     PRINCETON AVE                 WELLINGTON ST
MONTAGUE ST                     TYSON AVE                     PRINCETON AVE
ALGARD ST                       TYSON AVE                     PRINCETON AVE
ALGARD ST                       DISSTON ST                    TYSON AVE
ALGARD ST                       LONGSHORE AVE                 DISSTON ST
ALGARD ST                       GLENVIEW ST                   LONGSHORE AVE
ALGARD ST                       KNORR ST                      GLENVIEW ST
ALGARD ST                       MAGEE AVE                     UNRUH AVE
ALGARD ST                       HELLERMAN ST                  MAGEE AVE
ALGARD ST                       ROBBINS ST                    LEVICK ST
ALGARD ST                       DEVEREAUX AVE                 ROBBINS ST
ALGARD ST                       BENNER ST                     DEVEREAUX AVE
GILLESPIE ST                    MC KINLEY ST                  ROBBINS ST
GILLESPIE ST                    DEVEREAUX AVE                 MC KINLEY ST
GILLESPIE ST                    BENNER ST                     DEVEREAUX AVE
GILLESPIE ST                    ROBBINS ST                    LEVICK ST
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GLENLOCH ST                  ROBBINS ST                    LEVICK ST
MONTAGUE ST                  DEVEREAUX AVE                 ROBBINS ST
MONTAGUE ST                  BENNER ST                     DEVEREAUX AVE
MONTAGUE ST                  HARBISON AVE                  BENNER ST
MC KINLEY ST                 GILLESPIE ST                  JACKSON ST
MC KINLEY ST                 JACKSON ST                    DITMAN ST
MC KINLEY ST                 DITMAN ST                     MARSDEN ST
HALE ST                      JACKSON ST                    DITMAN ST
GLENLOCH ST                  LARDNER ST                    DEVEREAUX AVE
LARDNER ST                   JACKSON ST                    GLENLOCH ST
LARDNER ST                   GLENLOCH ST                   DITMAN ST
CHARLES ST                   GLENVIEW ST                   LONGSHORE AVE
CHARLES ST                   KNORR ST                      GLENVIEW ST
CHARLES ST                   UNRUH AVE                     KNORR ST
CHARLES ST                   WELLS ST                      UNRUH AVE
CHARLES ST                   MAGEE AVE                     WELLS ST
CHARLES ST                   GILHAM ST                     MAGEE AVE
CHARLES ST                   GREEBY ST                     GILHAM ST
CHARLES ST                   HELLERMAN ST                  GREEBY ST
CHARLES ST                   PASSMORE ST                   HELLERMAN ST
CHARLES ST                   ELBRIDGE ST                   PASSMORE ST
CHARLES ST                   LEVICK ST                     ELBRIDGE ST
CHARLES ST                   BARNETT ST                    LEVICK ST
CHARLES ST                   ROBBINS ST                    STIRLING ST
TACKAWANNA ST                PASSMORE ST                   HELLERMAN ST
TACKAWANNA ST                ELBRIDGE ST                   PASSMORE ST
TACKAWANNA ST                LEVICK ST                     ELBRIDGE ST
TACKAWANNA ST                MAGEE AVE                     UNRUH AVE
MONTAGUE ST                  MAGEE AVE                     UNRUH AVE
DEVEREAUX AVE                BATTERSBY ST                  HARBISON AVE
DEVEREAUX AVE                CHARLES ST                    TACKAWANNA ST
DEVEREAUX AVE                TACKAWANNA ST                 ERDRICK ST
DEVEREAUX AVE                WALKER ST                     ALGARD ST
DEVEREAUX AVE                ALGARD ST                     COTTAGE ST
DEVEREAUX AVE                COTTAGE ST                    GILLESPIE ST
DEVEREAUX AVE                GILLESPIE ST                  JACKSON ST
DEVEREAUX AVE                JACKSON ST                    GLENLOCH ST
DEVEREAUX AVE                GLENLOCH ST                   DITMAN ST
DEVEREAUX AVE                DITMAN ST                     MARSDEN ST
DEVEREAUX AVE                MARSDEN ST                    TORRESDALE AVE
DEVEREAUX AVE                TORRESDALE AVE                VANDIKE ST
DEVEREAUX AVE                VANDIKE ST                    HEGERMAN ST
DEVEREAUX AVE                HEGERMAN ST                   EDMUND ST
DEVEREAUX AVE                EDMUND ST                     TULIP ST
DEVEREAUX AVE                TULIP ST                      KEYSTONE ST
DEVEREAUX AVE                HARBISON AVE                  MULBERRY ST
DEVEREAUX AVE                E ROOSEVELT BLVD              BUSTLETON AVE
DEVEREAUX AVE                BUSTLETON AVE                 LEONARD ST
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DEVEREAUX AVE                LEONARD ST                    FARNSWORTH ST
DEVEREAUX AVE                REVERE ST                     REVERE ST
DEVEREAUX AVE                BROUS AVE                     BATTERSBY ST
DEVEREAUX AVE                E ROOSEVELT BLVD              EVERETT AVE
DEVEREAUX AVE                E ROOSEVELT BLVD              E ROOSEVELT BLVD
DEVEREAUX AVE                E ROOSEVELT BLVD              E ROOSEVELT BLVD
DEVEREAUX AVE                SHISLER ST                    BELDEN ST
DEVEREAUX AVE                BELDEN ST                     LORETTO AVE
DEVEREAUX AVE                LORETTO AVE                   ALMA ST
DEVEREAUX AVE                ALMA ST                       CASTOR AVE
FRONTENAC ST                 MC KINLEY ST                  HALE ST
LORETTO AVE                  GLENVIEW ST                   LONGSHORE AVE
LORETTO AVE                  WELLS ST                      FANSHAWE ST
LORETTO AVE                  STIRLING ST                   BARNETT ST
LORETTO AVE                  STIRLING ST                   STIRLING ST
LORETTO AVE                  BENNER ST                     DEVEREAUX AVE
LORETTO AVE                  COMLY ST                      BENNER ST
RUTLAND ST                   UNRUH AVE                     KNORR ST
LYNFORD ST                   UNRUH AVE                     KNORR ST
LYNFORD ST                   MAGEE AVE                     UNRUH AVE
RUTLAND ST                   MAGEE AVE                     UNRUH AVE
LYNFORD ST                   DEAD END SOUTH                MAGEE AVE
KINDRED ST                   TYSON AVE                     PRINCETON AVE
SOUDER ST                    TYSON AVE                     PRINCETON AVE
SOUDER ST                    UNRUH AVE                     KNORR ST
SOUDER ST                    MAGEE AVE                     UNRUH AVE
KINDRED ST                   UNRUH AVE                     KNORR ST
KINDRED ST                   MAGEE AVE                     UNRUH AVE
EVERETT AVE                  ROBBINS ST                    HORROCKS ST
EVERETT AVE                  MC KINLEY ST                  ROBBINS ST
KINDRED ST                   MC KINLEY ST                  ROBBINS ST
SOUDER ST                    MC KINLEY ST                  ROBBINS ST
ROBBINS ST                   SYLVESTER ST                  OAKLAND ST
ROBBINS ST                   EASTWOOD ST                   E ROOSEVELT BLVD
ROBBINS ST                   FRONTENAC ST                  LORETTO AVE
ROBBINS ST                   LORETTO AVE                   CASTOR AVE
HALE ST                      FRONTENAC ST                  LORETTO AVE
HALE ST                      LORETTO AVE                   CASTOR AVE
MC KINLEY ST                 FRONTENAC ST                  LORETTO AVE
MC KINLEY ST                 LORETTO AVE                   CASTOR AVE
STIRLING ST                  FRONTENAC ST                  LORETTO AVE
SUMMERDALE AVE               GILHAM ST                     GILHAM ST
SUMMERDALE AVE               PASSMORE ST                   PASSMORE ST
UNRUH AVE                    ALGON AVE                     SUMMERDALE AVE
UNRUH AVE                    SUMMERDALE AVE                FRONTENAC ST
UNRUH AVE                    FRONTENAC ST                  LORETTO AVE
UNRUH AVE                    OAKLAND ST                    EASTWOOD ST
UNRUH AVE                    BUSTLETON AVE                 HARBISON AVE
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UNRUH AVE                      HARBISON AVE                  CALVERT ST
UNRUH AVE                      CALVERT ST                    E ROOSEVELT BLVD
UNRUH AVE                      E ROOSEVELT BLVD              REVERE ST
UNRUH AVE                      REVERE ST                     BROUS AVE
UNRUH AVE                      BROUS AVE                     BATTERSBY ST
UNRUH AVE                      BATTERSBY ST                  HAWTHORNE ST
UNRUH AVE                      HAWTHORNE ST                  SACKETT ST
UNRUH AVE                      SACKETT ST                    FRANKFORD AVE
UNRUH AVE                      CHARLES ST                    TACKAWANNA ST
UNRUH AVE                      TACKAWANNA ST                 ERDRICK ST
UNRUH AVE                      ERDRICK ST                    MONTAGUE ST
UNRUH AVE                      MONTAGUE ST                   WALKER ST
UNRUH AVE                      WALKER ST                     ALGARD ST
UNRUH AVE                      ALGARD ST                     COTTAGE ST
UNRUH AVE                      COTTAGE ST                    GILLESPIE ST
UNRUH AVE                      GILLESPIE ST                  JACKSON ST
UNRUH AVE                      JACKSON ST                    GLENLOCH ST
UNRUH AVE                      GLENLOCH ST                   DITMAN ST
UNRUH AVE                      MARSDEN ST                    TORRESDALE AVE
UNRUH AVE                      TORRESDALE AVE                VANDIKE ST
UNRUH AVE                      VANDIKE ST                    HEGERMAN ST
UNRUH AVE                      HEGERMAN ST                   EDMUND ST
UNRUH AVE                      EDMUND ST                     TULIP ST
UNRUH AVE                      TULIP ST                      KEYSTONE ST
UNRUH AVE                      FRANKFORD AVE                 CHARLES ST
UNRUH AVE                      WISSINOMING ST                DEAD END SOUTH
UNRUH AVE                      NEW STATE RD                  WISSINOMING ST
RYAN AVE                       LEON ST                       FRANKFORD AVE
TEESDALE ST                    ERDRICK ST                    WALKER ST
TEESDALE ST                    WALKER ST                     COTTAGE ST
TEESDALE ST                    FRANKFORD AVE                 ERDRICK ST
ALDINE ST                      FRANKFORD AVE                 ERDRICK ST
TUDOR ST                       FRANKFORD AVE                 ERDRICK ST
TUDOR ST                       ERDRICK ST                    WALKER ST
ALDINE ST                      ERDRICK ST                    WALKER ST
ALDINE ST                      WALKER ST                     COTTAGE ST
BLEIGH AVE                     LEON ST                       FRANKFORD AVE
BLEIGH AVE                     FRANKFORD AVE                 ERDRICK ST
BLEIGH AVE                     ERDRICK ST                    WALKER ST
BLEIGH AVE                     WALKER ST                     COTTAGE ST
BLEIGH AVE                     COTTAGE ST                    JACKSON ST
BLEIGH AVE                     JACKSON ST                    DITMAN ST
BLEIGH AVE                     DITMAN ST                     TORRESDALE AVE
BLEIGH AVE                     TORRESDALE AVE                EDMUND ST
TUDOR ST                       TORRESDALE AVE                DEAD END NORTH
ALDINE ST                      TORRESDALE AVE                DEAD END NORTH
HARTEL AVE                     FRANKFORD AVE                 ERDRICK ST
HARTEL AVE                     ERDRICK ST                    WALKER ST
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LANSING ST                     FRANKFORD AVE                 ERDRICK ST
LANSING ST                     ERDRICK ST                    WALKER ST
MERIDIAN ST                    ERDRICK ST                    WALKER ST
MERIDIAN ST                    FRANKFORD AVE                 ERDRICK ST
SHEFFIELD AVE                  LEON ST                       FRANKFORD AVE
SHEFFIELD AVE                  FRANKFORD AVE                 ERDRICK ST
SHEFFIELD AVE                  ERDRICK ST                    ERDRICK ST
SHEFFIELD AVE                  ERDRICK ST                    WALKER ST
SHEFFIELD AVE                  WALKER ST                     WALKER ST
SHEFFIELD AVE                  WALKER ST                     COTTAGE ST
SHEFFIELD AVE                  COTTAGE ST                    JACKSON ST
SHEFFIELD AVE                  JACKSON ST                    JACKSON ST
SHEFFIELD AVE                  JACKSON ST                    DITMAN ST
SHEFFIELD AVE                  DITMAN ST                     TORRESDALE AVE
SHEFFIELD AVE                  TORRESDALE AVE                EDMUND ST
MERIDIAN ST                    DITMAN ST                     TORRESDALE AVE
MERIDIAN ST                    TORRESDALE AVE                EDMUND ST
LANSING ST                     DITMAN ST                     TORRESDALE AVE
HARTEL AVE                     DITMAN ST                     TORRESDALE AVE
HARTEL AVE                     TORRESDALE AVE                EDMUND ST
LANSING ST                     TORRESDALE AVE                EDMUND ST
ASHVILLE ST                    DITMAN ST                     TORRESDALE AVE
ASHVILLE ST                    TORRESDALE AVE                EDMUND ST
DECATUR ST                     DITMAN ST                     MARSDEN ST
DECATUR ST                     MARSDEN ST                    TORRESDALE AVE
MC MENAMY ST                   JACKSON ST                    DITMAN ST
MC MENAMY ST                   WALKER ST                     COTTAGE ST
MC MENAMY ST                   COTTAGE ST                    JACKSON ST
HARTEL AVE                     WALKER ST                     COTTAGE ST
HARTEL AVE                     COTTAGE ST                    JACKSON ST
CHIPPENDALE AVE                FRANKFORD AVE                 ERDRICK ST
CHIPPENDALE AVE                ERDRICK ST                    WALKER ST
CHIPPENDALE AVE                WALKER ST                     COTTAGE ST
MARPLE ST                      FRANKFORD AVE                 ERDRICK ST
MARPLE ST                      ERDRICK ST                    WALKER ST
MARPLE ST                      WALKER ST                     COTTAGE ST
MARPLE ST                      COTTAGE ST                    JACKSON ST
MARPLE ST                      JACKSON ST                    DITMAN ST
OAKMONT ST                     FRANKFORD AVE                 ERDRICK ST
OAKMONT ST                     ERDRICK ST                    WALKER ST
OAKMONT ST                     WALKER ST                     COTTAGE ST
OAKMONT ST                     COTTAGE ST                    JACKSON ST
SHELMIRE AVE                   FRANKFORD AVE                 ERDRICK ST
SHELMIRE AVE                   ERDRICK ST                    WALKER ST
SHELMIRE AVE                   WALKER ST                     COTTAGE ST
SHELMIRE AVE                   COTTAGE ST                    JACKSON ST
SHELMIRE AVE                   JACKSON ST                    DITMAN ST
OAKMONT ST                     JACKSON ST                    DITMAN ST
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VISTA ST                         FRANKFORD AVE                 ERDRICK ST
VISTA ST                         ERDRICK ST                    WALKER ST
VISTA ST                         WALKER ST                     COTTAGE ST
VISTA ST                         COTTAGE ST                    JACKSON ST
VISTA ST                         JACKSON ST                    DITMAN ST
LORING ST                        FRANKFORD AVE                 ERDRICK ST
LORING ST                        ERDRICK ST                    WALKER ST
LORING ST                        WALKER ST                     COTTAGE ST
LORING ST                        COTTAGE ST                    JACKSON ST
LORING ST                        JACKSON ST                    DITMAN ST
LORING ST                        DITMAN ST                     TORRESDALE AVE
MARPLE ST                        DITMAN ST                     TORRESDALE AVE
MARPLE ST                        TORRESDALE AVE                EDMUND ST
OAKMONT ST                       DITMAN ST                     TORRESDALE AVE
OAKMONT ST                       TORRESDALE AVE                EDMUND ST
SHELMIRE AVE                     DITMAN ST                     TORRESDALE AVE
SHELMIRE AVE                     TORRESDALE AVE                EDMUND ST
VISTA ST                         DITMAN ST                     TORRESDALE AVE
VISTA ST                         TORRESDALE AVE                EDMUND ST
LORING ST                        TORRESDALE AVE                EDMUND ST
TUDOR ST                         JACKSON ST                    DITMAN ST
ALDINE ST                        COTTAGE ST                    JACKSON ST
ALDINE ST                        JACKSON ST                    DITMAN ST
TEESDALE ST                      COTTAGE ST                    JACKSON ST
TEESDALE ST                      JACKSON ST                    DITMAN ST
BLEIGH AVE                       JAMES ST                      STATE RD
JAMES ST                         COTTMAN AVE                   BLEIGH AVE
WELLINGTON ST                    FRANKFORD AVE                 CHARLES ST
WELLINGTON ST                    CHARLES ST                    ERDRICK ST
WELLINGTON ST                    ERDRICK ST                    MONTAGUE ST
WELLINGTON ST                    MONTAGUE ST                   WALKER ST
WELLINGTON ST                    WALKER ST                     ALGARD ST
WELLINGTON ST                    ALGARD ST                     COTTAGE ST
WELLINGTON ST                    COTTAGE ST                    GILLESPIE ST
WELLINGTON ST                    GILLESPIE ST                  JACKSON ST
WELLINGTON ST                    JACKSON ST                    GLENLOCH ST
WELLINGTON ST                    GLENLOCH ST                   DITMAN ST
WELLINGTON ST                    DITMAN ST                     MARSDEN ST
WELLINGTON ST                    MARSDEN ST                    TORRESDALE AVE
WELLINGTON ST                    TORRESDALE AVE                VANDIKE ST
WELLINGTON ST                    VANDIKE ST                    HEGERMAN ST
WELLINGTON ST                    HEGERMAN ST                   EDMUND ST
WELLINGTON ST                    EDMUND ST                     TULIP ST
WELLINGTON ST                    TULIP ST                      KEYSTONE ST
COTTAGE ST                       TYSON AVE                     PRINCETON AVE
FRIENDSHIP ST                    TORRESDALE AVE                VANDIKE ST
FRIENDSHIP ST                    VANDIKE ST                    HEGERMAN ST
FRIENDSHIP ST                    HEGERMAN ST                   EDMUND ST
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FRIENDSHIP ST                    EDMUND ST                     TULIP ST
FRIENDSHIP ST                    TULIP ST                      KEYSTONE ST
FRIENDSHIP ST                    DITMAN ST                     MARSDEN ST
FRIENDSHIP ST                    MARSDEN ST                    TORRESDALE AVE
JAMES ST                         NATIONAL ST                   WELLINGTON ST
JAMES ST                         FRIENDSHIP ST                 NATIONAL ST
FRIENDSHIP ST                    JAMES ST                      JAMES ST
JAMES ST                         PRINCETON AVE                 FRIENDSHIP ST
FRIENDSHIP ST                    JAMES ST                      STATE RD
WELLINGTON ST                    STATE RD                      WISSINOMING ST
FRIENDSHIP ST                    STATE RD                      WISSINOMING ST
KEYSTONE ST                      TYSON AVE                     PRINCETON AVE
TYSON AVE                        TORRESDALE AVE                VANDIKE ST
TYSON AVE                        VANDIKE ST                    HEGERMAN ST
TYSON AVE                        HEGERMAN ST                   EDMUND ST
TYSON AVE                        EDMUND ST                     TULIP ST
TYSON AVE                        TULIP ST                      KEYSTONE ST
DISSTON ST                       MARSDEN ST                    TORRESDALE AVE
DISSTON ST                       TORRESDALE AVE                VANDIKE ST
DISSTON ST                       VANDIKE ST                    HEGERMAN ST
DISSTON ST                       HEGERMAN ST                   EDMUND ST
DISSTON ST                       EDMUND ST                     TULIP ST
DISSTON ST                       TULIP ST                      KEYSTONE ST
DISSTON ST                       JACKSON ST                    GLENLOCH ST
DISSTON ST                       GLENLOCH ST                   DITMAN ST
DISSTON ST                       DITMAN ST                     MARSDEN ST
DISSTON ST                       FRANKFORD AVE                 ERDRICK ST
DISSTON ST                       ERDRICK ST                    WALKER ST
DISSTON ST                       WALKER ST                     ALGARD ST
DISSTON ST                       ALGARD ST                     COTTAGE ST
DISSTON ST                       COTTAGE ST                    GILLESPIE ST
DISSTON ST                       GILLESPIE ST                  JACKSON ST
LONGSHORE AVE                    FRANKFORD AVE                 CHARLES ST
LONGSHORE AVE                    CHARLES ST                    ERDRICK ST
LONGSHORE AVE                    ERDRICK ST                    WALKER ST
LONGSHORE AVE                    WALKER ST                     ALGARD ST
LONGSHORE AVE                    ALGARD ST                     COTTAGE ST
LONGSHORE AVE                    COTTAGE ST                    GILLESPIE ST
LONGSHORE AVE                    GILLESPIE ST                  JACKSON ST
LONGSHORE AVE                    JACKSON ST                    GLENLOCH ST
LONGSHORE AVE                    GLENLOCH ST                   DITMAN ST
LONGSHORE AVE                    DITMAN ST                     MARSDEN ST
LONGSHORE AVE                    MARSDEN ST                    TORRESDALE AVE
RAWLE ST                         VANDIKE ST                    HEGERMAN ST
RAWLE ST                         HEGERMAN ST                   TULIP ST
KNORR ST                         MARSDEN ST                    TORRESDALE AVE
KNORR ST                         TORRESDALE AVE                VANDIKE ST
KNORR ST                         VANDIKE ST                    HEGERMAN ST
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KNORR ST                        HEGERMAN ST                   EDMUND ST
KNORR ST                        EDMUND ST                     TULIP ST
KNORR ST                        TULIP ST                      KEYSTONE ST
RAWLE ST                        TULIP ST                      KEYSTONE ST
KEYSTONE ST                     RAWLE ST                      KNORR ST
KEYSTONE ST                     UNRUH AVE                     RAWLE ST
KEYSTONE ST                     DISSTON ST                    TYSON AVE
KEYSTONE ST                     LONGSHORE AVE                 DISSTON ST
KEYSTONE ST                     KNORR ST                      LONGSHORE AVE
KNORR ST                        GILLESPIE ST                  JACKSON ST
KNORR ST                        JACKSON ST                    GLENLOCH ST
KNORR ST                        GLENLOCH ST                   DITMAN ST
KNORR ST                        CHARLES ST                    ERDRICK ST
KNORR ST                        ERDRICK ST                    WALKER ST
KNORR ST                        WALKER ST                     ALGARD ST
KNORR ST                        ALGARD ST                     COTTAGE ST
KNORR ST                        COTTAGE ST                    GILLESPIE ST
GLENVIEW ST                     FRANKFORD AVE                 CHARLES ST
KNORR ST                        FRANKFORD AVE                 CHARLES ST
GLENVIEW ST                     CHARLES ST                    ERDRICK ST
GLENVIEW ST                     ERDRICK ST                    WALKER ST
GLENVIEW ST                     WALKER ST                     ALGARD ST
GILLESPIE ST                    WELLINGTON ST                 COTTMAN AVE
GLENLOCH ST                     WELLINGTON ST                 COTTMAN AVE
GILLESPIE ST                    PRINCETON AVE                 WELLINGTON ST
GLENLOCH ST                     PRINCETON AVE                 WELLINGTON ST
GILLESPIE ST                    TYSON AVE                     PRINCETON AVE
GILLESPIE ST                    DISSTON ST                    TYSON AVE
GLENLOCH ST                     TYSON AVE                     PRINCETON AVE
GILLESPIE ST                    LONGSHORE AVE                 DISSTON ST
GLENLOCH ST                     DISSTON ST                    TYSON AVE
GILLESPIE ST                    KNORR ST                      LONGSHORE AVE
GILLESPIE ST                    UNRUH AVE                     KNORR ST
GILLESPIE ST                    MAGEE AVE                     UNRUH AVE
GLENLOCH ST                     LONGSHORE AVE                 DISSTON ST
GLENLOCH ST                     KNORR ST                      LONGSHORE AVE
GLENLOCH ST                     UNRUH AVE                     KNORR ST
GLENLOCH ST                     MAGEE AVE                     UNRUH AVE
MAGEE AVE                       KEYSTONE ST                   NEW STATE RD
MAGEE AVE                       FRANKFORD AVE                 CHARLES ST
MAGEE AVE                       CHARLES ST                    TACKAWANNA ST
MAGEE AVE                       TACKAWANNA ST                 ERDRICK ST
MAGEE AVE                       ERDRICK ST                    MONTAGUE ST
MAGEE AVE                       MONTAGUE ST                   WALKER ST
MAGEE AVE                       WALKER ST                     ALGARD ST
MAGEE AVE                       ALGARD ST                     COTTAGE ST
MAGEE AVE                       COTTAGE ST                    GILLESPIE ST
MAGEE AVE                       GILLESPIE ST                  JACKSON ST
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MAGEE AVE                       JACKSON ST                    GLENLOCH ST
MAGEE AVE                       GLENLOCH ST                   DITMAN ST
MAGEE AVE                       DITMAN ST                     MARSDEN ST
MAGEE AVE                       MARSDEN ST                    TORRESDALE AVE
MAGEE AVE                       TORRESDALE AVE                VANDIKE ST
MAGEE AVE                       VANDIKE ST                    HEGERMAN ST
MAGEE AVE                       HEGERMAN ST                   EDMUND ST
MAGEE AVE                       EDMUND ST                     TULIP ST
MAGEE AVE                       TULIP ST                      KEYSTONE ST
WELLS ST                        FRANKFORD AVE                 CHARLES ST
FANSHAWE ST                     SACKETT ST                    FRANKFORD AVE
GILHAM ST                       FRANKFORD AVE                 CHARLES ST
GILHAM ST                       CHARLES ST                    ERDRICK ST
GREEBY ST                       FRANKFORD AVE                 CHARLES ST
GREEBY ST                       CHARLES ST                    ERDRICK ST
HELLERMAN ST                    FRANKFORD AVE                 CHARLES ST
HELLERMAN ST                    CHARLES ST                    TACKAWANNA ST
HELLERMAN ST                    TACKAWANNA ST                 ERDRICK ST
HELLERMAN ST                    ERDRICK ST                    WALKER ST
GREEBY ST                       ERDRICK ST                    WALKER ST
PASSMORE ST                     FRANKFORD AVE                 CHARLES ST
ELBRIDGE ST                     FRANKFORD AVE                 CHARLES ST
PASSMORE ST                     CHARLES ST                    TACKAWANNA ST
PASSMORE ST                     TACKAWANNA ST                 ERDRICK ST
PASSMORE ST                     ERDRICK ST                    WALKER ST
ELBRIDGE ST                     CHARLES ST                    TACKAWANNA ST
ELBRIDGE ST                     TACKAWANNA ST                 ERDRICK ST
ELBRIDGE ST                     ERDRICK ST                    WALKER ST
HELLERMAN ST                    WALKER ST                     ALGARD ST
HELLERMAN ST                    ALGARD ST                     COTTAGE ST
HELLERMAN ST                    HEGERMAN ST                   EDMUND ST
KEYSTONE ST                     MAGEE AVE                     UNRUH AVE
HELLERMAN ST                    EDMUND ST                     TULIP ST
KEYSTONE ST                     HELLERMAN ST                  MAGEE AVE
HELLERMAN ST                    TULIP ST                      KEYSTONE ST
KEYSTONE ST                     LEVICK ST                     HELLERMAN ST
HELLERMAN ST                    DITMAN ST                     MARSDEN ST
HELLERMAN ST                    MARSDEN ST                    TORRESDALE AVE
HELLERMAN ST                    TORRESDALE AVE                VANDIKE ST
HELLERMAN ST                    VANDIKE ST                    HEGERMAN ST
KEYSTONE ST                     DEVEREAUX AVE                 ROBBINS ST
HIGBEE ST                       DITMAN ST                     TORRESDALE AVE
HIGBEE ST                       TORRESDALE AVE                VANDIKE ST
BENNER ST                       CHARLES ST                    TACKAWANNA ST
COMLY ST                        MULBERRY ST                   CHARLES ST
COMLY ST                        CHARLES ST                    TACKAWANNA ST
COMLY ST                        TACKAWANNA ST                 ERDRICK ST
BENNER ST                       WALKER ST                     ALGARD ST
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BENNER ST                    ALGARD ST                     COTTAGE ST
HIGBEE ST                    WALKER ST                     COTTAGE ST
BENNER ST                    COTTAGE ST                    GILLESPIE ST
BENNER ST                    GILLESPIE ST                  JACKSON ST
HIGBEE ST                    COTTAGE ST                    JACKSON ST
BENNER ST                    JACKSON ST                    DITMAN ST
HIGBEE ST                    JACKSON ST                    DITMAN ST
BENNER ST                    DITMAN ST                     MARSDEN ST
BENNER ST                    MARSDEN ST                    TORRESDALE AVE
BENNER ST                    TORRESDALE AVE                VANDIKE ST
BENNER ST                    VANDIKE ST                    HEGERMAN ST
BENNER ST                    HEGERMAN ST                   EDMUND ST
BENNER ST                    EDMUND ST                     TULIP ST
BENNER ST                    FRANKFORD AVE                 HAWTHORNE ST
BENNER ST                    HAWTHORNE ST                  MULBERRY ST
BENNER ST                    MULBERRY ST                   CHARLES ST
HIGBEE ST                    TACKAWANNA ST                 HARBISON AVE
TACKAWANNA ST                HIGBEE ST                     BENNER ST
TACKAWANNA ST                COMLY ST                      HIGBEE ST
BENNER ST                    HARBISON AVE                  TACKAWANNA ST
BENNER ST                    TACKAWANNA ST                 ERDRICK ST
TACKAWANNA ST                BENNER ST                     DEVEREAUX AVE
COMLY ST                     FRANKFORD AVE                 DUFFIELD ST
COMLY ST                     DUFFIELD ST                   HAWTHORNE ST
COMLY ST                     HAWTHORNE ST                  MULBERRY ST
DUFFIELD ST                  HIGBEE ST                     BENNER ST
DUFFIELD ST                  CRESTON ST                    HIGBEE ST
DUFFIELD ST                  COMLY ST                      CRESTON ST
HAWTHORNE ST                 BENNER ST                     HARBISON AVE
HAWTHORNE ST                 HIGBEE ST                     BENNER ST
HAWTHORNE ST                 CRESTON ST                    HIGBEE ST
HAWTHORNE ST                 COMLY ST                      CRESTON ST
CRESTON ST                   DUFFIELD ST                   HAWTHORNE ST
CRESTON ST                   HAWTHORNE ST                  MULBERRY ST
CRESTON ST                   MULBERRY ST                   CHARLES ST
HIGBEE ST                    DUFFIELD ST                   HAWTHORNE ST
HIGBEE ST                    HAWTHORNE ST                  MULBERRY ST
HIGBEE ST                    MULBERRY ST                   CHARLES ST
MULBERRY ST                  BENNER ST                     HARBISON AVE
MULBERRY ST                  HARBISON AVE                  DEVEREAUX AVE
MULBERRY ST                  HIGBEE ST                     BENNER ST
MULBERRY ST                  CRESTON ST                    HIGBEE ST
MULBERRY ST                  COMLY ST                      CRESTON ST
MULBERRY ST                  DEVEREAUX AVE                 ROBBINS ST
CHARLES ST                   HIGBEE ST                     BENNER ST
CHARLES ST                   CRESTON ST                    HIGBEE ST
CHARLES ST                   COMLY ST                      CRESTON ST
CHARLES ST                   DEVEREAUX AVE                 ROBBINS ST
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CHARLES ST                     HARBISON AVE                  DEVEREAUX AVE
CHARLES ST                     BENNER ST                     HARBISON AVE
TACKAWANNA ST                  DEVEREAUX AVE                 ROBBINS ST
BARNETT ST                     FRANKFORD AVE                 CHARLES ST
STIRLING ST                    FRANKFORD AVE                 CHARLES ST
STIRLING ST                    CHARLES ST                    ERDRICK ST
STIRLING ST                    ERDRICK ST                    WALKER ST
BARNETT ST                     CHARLES ST                    ERDRICK ST
BARNETT ST                     ERDRICK ST                    WALKER ST
CHARLES ST                     HOWELL ST                     COMLY ST
CHARLES ST                     VAN KIRK ST                   HOWELL ST
CHARLES ST                     E CHELTENHAM AVE              VAN KIRK ST
CHARLES ST                     SANGER ST                     E CHELTENHAM AVE
E CHELTENHAM AVE               LEONARD ST                    FRANKFORD AVE
E CHELTENHAM AVE               HAWTHORNE ST                  CHARLES ST
HAWTHORNE ST                   ANCHOR ST                     E CHELTENHAM AVE
ANCHOR ST                      HAWTHORNE ST                  MULBERRY ST
SANGER ST                      MULBERRY ST                   CHARLES ST
SANGER ST                      CHARLES ST                    TACKAWANNA ST
SANGER ST                      TACKAWANNA ST                 VALLEY ST
SANGER ST                      VALLEY ST                     ERDRICK ST
SANGER ST                      ERDRICK ST                    MONTAGUE ST
SANGER ST                      MONTAGUE ST                   WALKER ST
TACKAWANNA ST                  SANGER ST                     E CHELTENHAM AVE
E CHELTENHAM AVE               TACKAWANNA ST                 TACKAWANNA ST
E CHELTENHAM AVE               TACKAWANNA ST                 VALLEY ST
TACKAWANNA ST                  E CHELTENHAM AVE              VAN KIRK ST
VALLEY ST                      SANGER ST                     E CHELTENHAM AVE
MONTAGUE ST                    SANGER ST                     E CHELTENHAM AVE
TACKAWANNA ST                  DEAD END WEST                 HOWELL ST
TACKAWANNA ST                  HOWELL ST                     COMLY ST
VAN KIRK ST                    CHARLES ST                    TACKAWANNA ST
VAN KIRK ST                    TACKAWANNA ST                 ERDRICK ST
VAN KIRK ST                    ERDRICK ST                    WALKER ST
VAN KIRK ST                    WALKER ST                     COTTAGE ST
VAN KIRK ST                    COTTAGE ST                    HARBISON AVE
HOWELL ST                      CHARLES ST                    TACKAWANNA ST
HOWELL ST                      TACKAWANNA ST                 ERDRICK ST
HOWELL ST                      ERDRICK ST                    WALKER ST
HOWELL ST                      WALKER ST                     HARBISON AVE
HOWELL ST                      HARBISON AVE                  JACKSON ST
HOWELL ST                      JACKSON ST                    DITMAN ST
VAN KIRK ST                    HARBISON AVE                  DITMAN ST
VAN KIRK ST                    DITMAN ST                     TORRESDALE AVE
HOWELL ST                      DITMAN ST                     TORRESDALE AVE
ROSALIE ST                     HARBISON AVE                  DITMAN ST
PRATT ST                       SAUL ST                       LEIPER ST
PRATT ST                       LEIPER ST                     N PENN ST
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PRATT ST                       N PENN ST                     GRISCOM ST
PRATT ST                       GRISCOM ST                    FRANKFORD AVE
PRATT ST                       FRANKFORD AVE                 DARRAH ST
PRATT ST                       DARRAH ST                     DUFFIELD ST
PRATT ST                       DUFFIELD ST                   HAWTHORNE ST
PRATT ST                       HAWTHORNE ST                  MARLOW ST
PRATT ST                       MARLOW ST                     MULBERRY ST
PRATT ST                       MULBERRY ST                   CHARLES ST
CONKLIN ST                     DARRAH ST                     DUFFIELD ST
GRANITE ST                     FRANKFORD AVE                 DARRAH ST
GRANITE ST                     DARRAH ST                     DUFFIELD ST
LESHER ST                      BRIDGE ST                     BRILL ST
HEDGE ST                       BRIDGE ST                     BRILL ST
HAWORTH ST                     FRANKFORD AVE                 DARRAH ST
HAWORTH ST                     DARRAH ST                     DUFFIELD ST
WAKELING ST                    N PENN ST                     GRISCOM ST
WAKELING ST                    FRANKFORD AVE                 DARRAH ST
WAKELING ST                    GRISCOM ST                    FRANKFORD AVE
WAKELING ST                    OAKLAND ST                    OXFORD AVE
WAKELING ST                    OXFORD AVE                    AKRON ST
WAKELING ST                    AKRON ST                      SAUL ST
SAUL ST                        DYRE ST                       PRATT ST
SAUL ST                        WAKELING ST                   DYRE ST
SAUL ST                        OXFORD AVE                    WAKELING ST
LEIPER ST                      DYRE ST                       PRATT ST
LEIPER ST                      DEAD END SOUTH                DYRE ST
KENWYN ST                      OXFORD AVE                    OAKLAND ST
HAWORTH ST                     HORROCKS ST                   OAKLAND ST
PRATT ST                       HORROCKS ST                   SYLVESTER ST
PRATT ST                       SYLVESTER ST                  OAKLAND ST
PRATT ST                       OAKLAND ST                    AKRON ST
PRATT ST                       AKRON ST                      SAUL ST
AKRON ST                       SANGER ST                     E CHELTENHAM AVE
AKRON ST                       BRIDGE ST                     SANGER ST
AKRON ST                       PRATT ST                      BRIDGE ST
AKRON ST                       DYRE ST                       PRATT ST
AKRON ST                       WAKELING ST                   DYRE ST
AKRON ST                       E CHELTENHAM AVE              VAN KIRK ST
E CHELTENHAM AVE               RUTLAND ST                    LARGE ST
E CHELTENHAM AVE               LARGE ST                      HORROCKS ST
E CHELTENHAM AVE               HORROCKS ST                   DISCHER ST
E CHELTENHAM AVE               DISCHER ST                    SYLVESTER ST
E CHELTENHAM AVE               SYLVESTER ST                  SYLVESTER ST
E CHELTENHAM AVE               SYLVESTER ST                  OAKLAND ST
E CHELTENHAM AVE               OAKLAND ST                    AKRON ST
E CHELTENHAM AVE               AKRON ST                      SAUL ST
E CHELTENHAM AVE               SAUL ST                       N PENN ST
HARTEL AVE                     CRAIG ST                      FRANKFORD AVE
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MERIDIAN ST                     LEON ST                       CRAIG ST
MERIDIAN ST                     CRAIG ST                      FRANKFORD AVE
CRAIG ST                        LANSING ST                    HARTEL AVE
CRAIG ST                        HARTEL AVE                    ASHVILLE ST
CHIPPENDALE AVE                 LEON ST                       FRANKFORD AVE
OAKMONT ST                      CRISPIN ST                    LEON ST
OAKMONT ST                      LEON ST                       FRANKFORD AVE
LEON ST                         SHELMIRE AVE                  OAKMONT ST
LEON ST                         VISTA ST                      SHELMIRE AVE
LEON ST                         BLEIGH AVE                    VISTA ST
LEON ST                         TUDOR ST                      BLEIGH AVE
LEON ST                         MERIDIAN ST                   LANSING ST
LEON ST                         ALDINE ST                     TUDOR ST
LEON ST                         RYAN AVE                      ALDINE ST
SHELMIRE AVE                    ROWLAND AVE                   CRISPIN ST
SHELMIRE AVE                    CRISPIN ST                    LEON ST
SHELMIRE AVE                    LEON ST                       FRANKFORD AVE
CRISPIN ST                      SHELMIRE AVE                  OAKMONT ST
CRISPIN ST                      VISTA ST                      SHELMIRE AVE
CRISPIN ST                      BLEIGH AVE                    VISTA ST
CRISPIN ST                      TUDOR ST                      BLEIGH AVE
CRISPIN ST                      ALDINE ST                     TUDOR ST
CRISPIN ST                      RYAN AVE                      ALDINE ST
CRISPIN ST                      GUILFORD ST                   RYAN AVE
CRISPIN ST                      COTTMAN AVE                   GUILFORD ST
VISTA ST                        ROWLAND AVE                   CRISPIN ST
VISTA ST                        CRISPIN ST                    LEON ST
VISTA ST                        LEON ST                       FRANKFORD AVE
BLEIGH AVE                      ROWLAND AVE                   CRISPIN ST
BLEIGH AVE                      CRISPIN ST                    LEON ST
TUDOR ST                        ROWLAND AVE                   CRISPIN ST
TUDOR ST                        CRISPIN ST                    LEON ST
TUDOR ST                        LEON ST                       FRANKFORD AVE
RYAN AVE                        CRABTREE ST                   ROWLAND AVE
RYAN AVE                        ROWLAND AVE                   CRISPIN ST
RYAN AVE                        CRISPIN ST                    LEON ST
ALDINE ST                       ROWLAND AVE                   CRISPIN ST
ALDINE ST                       CRISPIN ST                    LEON ST
ALDINE ST                       LEON ST                       FRANKFORD AVE
REVERE ST                       COTTMAN AVE                   GUILFORD ST
REVERE ST                       SAINT VINCENT ST              COTTMAN AVE
BROUS AVE                       COTTMAN AVE                   TEESDALE ST
BROUS AVE                       SAINT VINCENT ST              COTTMAN AVE
BROUS AVE                       PRINCETON AVE                 SAINT VINCENT ST
BATTERSBY ST                    TEESDALE ST                   GUILFORD ST
BATTERSBY ST                    COTTMAN AVE                   TEESDALE ST
SAINT VINCENT ST                E ROOSEVELT BLVD              REVERE ST
SAINT VINCENT ST                REVERE ST                     BROUS AVE
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BATTERSBY ST                    WELLINGTON ST                 COTTMAN AVE
BARNARD AVE                     SAINT VINCENT ST              COTTMAN AVE
SAINT VINCENT ST                BROUS AVE                     BARNARD AVE
BATTERSBY ST                    SAINT VINCENT ST              WELLINGTON ST
SAINT VINCENT ST                BARNARD AVE                   BATTERSBY ST
WELLINGTON ST                   BATTERSBY ST                  HAWTHORNE ST
SAINT VINCENT ST                BATTERSBY ST                  HAWTHORNE ST
WELLINGTON ST                   HAWTHORNE ST                  SACKETT ST
SAINT VINCENT ST                HAWTHORNE ST                  SACKETT ST
WELLINGTON ST                   SACKETT ST                    ROWLAND AVE
SAINT VINCENT ST                SACKETT ST                    ROWLAND AVE
WELLINGTON ST                   ROWLAND AVE                   CRISPIN ST
SAINT VINCENT ST                ROWLAND AVE                   CRISPIN ST
WELLINGTON ST                   CRISPIN ST                    LEON ST
SAINT VINCENT ST                CRISPIN ST                    LEON ST
SAINT VINCENT ST                LEON ST                       FRANKFORD AVE
LEON ST                         ENGLEWOOD ST                  COTTMAN AVE
LEON ST                         WELLINGTON ST                 ENGLEWOOD ST
LEON ST                         SAINT VINCENT ST              WELLINGTON ST
WELLINGTON ST                   LEON ST                       FRANKFORD AVE
ENGLEWOOD ST                    HAWTHORNE ST                  SACKETT ST
ENGLEWOOD ST                    SACKETT ST                    ROWLAND AVE
ENGLEWOOD ST                    ROWLAND AVE                   CRISPIN ST
ENGLEWOOD ST                    CRISPIN ST                    LEON ST
ENGLEWOOD ST                    LEON ST                       FRANKFORD AVE
CRABTREE ST                     GUILFORD ST                   RYAN AVE
CRABTREE ST                     ROWLAND AVE                   GUILFORD ST
CRABTREE ST                     COTTMAN AVE                   ROWLAND AVE
GUILFORD ST                     CRABTREE ST                   ROWLAND AVE
GUILFORD ST                     ROWLAND AVE                   CRISPIN ST
ROWLAND AVE                     ENGLEWOOD ST                  COTTMAN AVE
ROWLAND AVE                     WELLINGTON ST                 ENGLEWOOD ST
ROWLAND AVE                     SAINT VINCENT ST              WELLINGTON ST
ROWLAND AVE                     FRIENDSHIP ST                 SAINT VINCENT ST
ROWLAND AVE                     PRINCETON AVE                 FRIENDSHIP ST
ROWLAND AVE                     BRIGHTON ST                   PRINCETON AVE
TEESDALE ST                     SACKETT ST                    ROWLAND AVE
TEESDALE ST                     BATTERSBY ST                  HAWTHORNE ST
SACKETT ST                      WINDISH ST                    RYAN AVE
SACKETT ST                      GUILFORD ST                   WINDISH ST
GUILFORD ST                     HAWTHORNE ST                  SACKETT ST
SACKETT ST                      COTTMAN AVE                   TEESDALE ST
SACKETT ST                      ENGLEWOOD ST                  COTTMAN AVE
SACKETT ST                      TEESDALE ST                   TEESDALE ST
SACKETT ST                      TEESDALE ST                   GUILFORD ST
TEESDALE ST                     HAWTHORNE ST                  SACKETT ST
HAWTHORNE ST                    GUILFORD ST                   WINDISH ST
HAWTHORNE ST                    TEESDALE ST                   GUILFORD ST
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HAWTHORNE ST                     COTTMAN AVE                   TEESDALE ST
HAWTHORNE ST                     ENGLEWOOD ST                  COTTMAN AVE
HAWTHORNE ST                     WELLINGTON ST                 ENGLEWOOD ST
HAWTHORNE ST                     SAINT VINCENT ST              WELLINGTON ST
SACKETT ST                       WELLINGTON ST                 ENGLEWOOD ST
HAWTHORNE ST                     FRIENDSHIP ST                 SAINT VINCENT ST
SACKETT ST                       SAINT VINCENT ST              WELLINGTON ST
SACKETT ST                       FRIENDSHIP ST                 SAINT VINCENT ST
SACKETT ST                       BRIGHTON ST                   PRINCETON AVE
SACKETT ST                       TYSON AVE                     BRIGHTON ST
SACKETT ST                       DISSTON ST                    TYSON AVE
ROWLAND AVE                      TYSON AVE                     BRIGHTON ST
SACKETT ST                       LONGSHORE AVE                 DISSTON ST
ROWLAND AVE                      DISSTON ST                    TYSON AVE
HAWTHORNE ST                     KNORR ST                      GLENVIEW ST
SACKETT ST                       GLENVIEW ST                   LONGSHORE AVE
ROWLAND AVE                      LONGSHORE AVE                 DISSTON ST
CRISPIN ST                       DISSTON ST                    TYSON AVE
SACKETT ST                       KNORR ST                      GLENVIEW ST
ROWLAND AVE                      GLENVIEW ST                   LONGSHORE AVE
HAWTHORNE ST                     UNRUH AVE                     RAWLE ST
CRISPIN ST                       LONGSHORE AVE                 DISSTON ST
ROWLAND AVE                      KNORR ST                      GLENVIEW ST
CRISPIN ST                       FRANKFORD AVE                 LONGSHORE AVE
CRISPIN ST                       ENGLEWOOD ST                  COTTMAN AVE
CRISPIN ST                       WELLINGTON ST                 ENGLEWOOD ST
CRISPIN ST                       SAINT VINCENT ST              WELLINGTON ST
CRISPIN ST                       FRIENDSHIP ST                 SAINT VINCENT ST
CRISPIN ST                       PRINCETON AVE                 FRIENDSHIP ST
CRISPIN ST                       BRIGHTON ST                   PRINCETON AVE
CRISPIN ST                       TYSON AVE                     BRIGHTON ST
FRIENDSHIP ST                    CRISPIN ST                    FRANKFORD AVE
PRINCETON AVE                    BROUS AVE                     BATTERSBY ST
PRINCETON AVE                    BATTERSBY ST                  HAWTHORNE ST
FRIENDSHIP ST                    HAWTHORNE ST                  SACKETT ST
PRINCETON AVE                    HAWTHORNE ST                  SACKETT ST
FRIENDSHIP ST                    SACKETT ST                    ROWLAND AVE
PRINCETON AVE                    SACKETT ST                    ROWLAND AVE
FRIENDSHIP ST                    ROWLAND AVE                   CRISPIN ST
PRINCETON AVE                    ROWLAND AVE                   CRISPIN ST
PRINCETON AVE                    CRISPIN ST                    FRANKFORD AVE
BRIGHTON PL                      CUL DE SAC WEST               BRIGHTON ST
BROUS AVE                        RAWLE ST                      KNORR ST
BROUS AVE                        PASSMORE ST                   HELLERMAN ST
BROUS AVE                        ELBRIDGE ST                   PASSMORE ST
BROUS AVE                        HARBISON AVE                  ELBRIDGE ST
BROUS AVE                        ROBBINS ST                    HARBISON AVE
BROUS AVE                        HALE ST                       ROBBINS ST
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BROUS AVE                        MC KINLEY ST                  HALE ST
BROUS AVE                        LARDNER ST                    STEVENS ST
BRIGHTON ST                      BROUS AVE                     BATTERSBY ST
BRIGHTON ST                      BATTERSBY ST                  HAWTHORNE ST
BRIGHTON ST                      HAWTHORNE ST                  SACKETT ST
BRIGHTON ST                      SACKETT ST                    ROWLAND AVE
BRIGHTON ST                      ROWLAND AVE                   CRISPIN ST
BRIGHTON ST                      CRISPIN ST                    FRANKFORD AVE
DISSTON ST                       HAWTHORNE ST                  SACKETT ST
DISSTON ST                       SACKETT ST                    ROWLAND AVE
DISSTON ST                       ROWLAND AVE                   CRISPIN ST
DISSTON ST                       CRISPIN ST                    FRANKFORD AVE
DISSTON ST                       BROUS AVE                     BATTERSBY ST
DISSTON ST                       BATTERSBY ST                  HAWTHORNE ST
DISSTON ST                       REVERE ST                     BROUS AVE
BATTERSBY ST                     KNORR ST                      GLENVIEW ST
BATTERSBY ST                     RAWLE ST                      KNORR ST
BATTERSBY ST                     GILHAM ST                     MAGEE AVE
BATTERSBY ST                     HELLERMAN ST                  GILHAM ST
BATTERSBY ST                     PASSMORE ST                   HELLERMAN ST
LONGSHORE AVE                    REVERE ST                     BROUS AVE
LONGSHORE AVE                    BROUS AVE                     BATTERSBY ST
LONGSHORE AVE                    BATTERSBY ST                  HAWTHORNE ST
LONGSHORE AVE                    HAWTHORNE ST                  SACKETT ST
LONGSHORE AVE                    SACKETT ST                    ROWLAND AVE
LONGSHORE AVE                    ROWLAND AVE                   CRISPIN ST
LONGSHORE AVE                    CRISPIN ST                    FRANKFORD AVE
KNORR ST                         REVERE ST                     REVERE ST
GLENVIEW ST                      REVERE ST                     BROUS AVE
KNORR ST                         REVERE ST                     BROUS AVE
GLENVIEW ST                      BROUS AVE                     BATTERSBY ST
KNORR ST                         BROUS AVE                     BATTERSBY ST
GLENVIEW ST                      BATTERSBY ST                  HAWTHORNE ST
KNORR ST                         BATTERSBY ST                  HAWTHORNE ST
GLENVIEW ST                      HAWTHORNE ST                  SACKETT ST
KNORR ST                         HAWTHORNE ST                  SACKETT ST
GLENVIEW ST                      SACKETT ST                    ROWLAND AVE
KNORR ST                         SACKETT ST                    ROWLAND AVE
KNORR ST                         ROWLAND AVE                   FRANKFORD AVE
GLENVIEW ST                      ROWLAND AVE                   FRANKFORD AVE
ROWLAND AVE                      RAWLE ST                      KNORR ST
ROWLAND AVE                      FRANKFORD AVE                 RAWLE ST
RAWLE ST                         REVERE ST                     BROUS AVE
RAWLE ST                         BROUS AVE                     BATTERSBY ST
RAWLE ST                         BATTERSBY ST                  HAWTHORNE ST
RAWLE ST                         HAWTHORNE ST                  SACKETT ST
SACKETT ST                       UNRUH AVE                     RAWLE ST
RAWLE ST                         SACKETT ST                    ROWLAND AVE
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SACKETT ST                       FANSHAWE ST                   UNRUH AVE
SACKETT ST                       MAGEE AVE                     FANSHAWE ST
REVERE ST                        RAWLE ST                      KNORR ST
REVERE ST                        UNRUH AVE                     RAWLE ST
REVERE ST                        FANSHAWE ST                   UNRUH AVE
REVERE ST                        MAGEE AVE                     FANSHAWE ST
FANSHAWE ST                      REVERE ST                     BROUS AVE
FANSHAWE ST                      BROUS AVE                     BATTERSBY ST
FANSHAWE ST                      BATTERSBY ST                  HAWTHORNE ST
FANSHAWE ST                      HAWTHORNE ST                  SACKETT ST
MAGEE AVE                        HARBISON AVE                  REVERE ST
MAGEE AVE                        REVERE ST                     BROUS AVE
MAGEE AVE                        BROUS AVE                     BATTERSBY ST
MAGEE AVE                        BATTERSBY ST                  HAWTHORNE ST
MAGEE AVE                        HAWTHORNE ST                  SACKETT ST
MAGEE AVE                        SACKETT ST                    FRANKFORD AVE
HAWTHORNE ST                     HELLERMAN ST                  GILHAM ST
HAWTHORNE ST                     LEVICK ST                     HELLERMAN ST
HAWTHORNE ST                     BARNETT ST                    LEVICK ST
BATTERSBY ST                     ELBRIDGE ST                   PASSMORE ST
BATTERSBY ST                     LEVICK ST                     ELBRIDGE ST
SACKETT ST                       HELLERMAN ST                  GILHAM ST
BATTERSBY ST                     HARBISON AVE                  LEVICK ST
BATTERSBY ST                     HALE ST                       HARBISON AVE
HAWTHORNE ST                     HALE ST                       ROBBINS ST
HAWTHORNE ST                     FRANKFORD AVE                 HALE ST
HAWTHORNE ST                     STIRLING ST                   BARNETT ST
HAWTHORNE ST                     ROBBINS ST                    STIRLING ST
SACKETT ST                       LEVICK ST                     DEAD END NORTH
SACKETT ST                       BARNETT ST                    LEVICK ST
SACKETT ST                       FRANKFORD AVE                 BARNETT ST
BARNETT ST                       HAWTHORNE ST                  SACKETT ST
STIRLING ST                      HAWTHORNE ST                  FRANKFORD AVE
MC KINLEY ST                     BROUS AVE                     BATTERSBY ST
MC KINLEY ST                     BATTERSBY ST                  HARBISON AVE
HALE ST                          BROUS AVE                     BATTERSBY ST
HALE ST                          HARBISON AVE                  HAWTHORNE ST
BATTERSBY ST                     MC KINLEY ST                  HALE ST
LARDNER ST                       BUSTLETON AVE                 LEONARD ST
MC KINLEY ST                     BUSTLETON AVE                 LEONARD ST
MC KINLEY ST                     LEONARD ST                    FARNSWORTH ST
LEONARD ST                       ROBBINS ST                    LEVICK ST
CALVERT ST                       ROBBINS ST                    LEVICK ST
FARNSWORTH ST                    ELBRIDGE ST                   HELLERMAN ST
FARNSWORTH ST                    LEVICK ST                     ELBRIDGE ST
FARNSWORTH ST                    ROBBINS ST                    LEVICK ST
FARNSWORTH ST                    DEVEREAUX AVE                 MC KINLEY ST
CRAFTON ST                       ROBBINS ST                    LEVICK ST
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CRAFTON ST                      DEVEREAUX AVE                 ROBBINS ST
REVERE ST                       ROBBINS ST                    LEVICK ST
CARDIFF ST                      ROBBINS ST                    LEVICK ST
REVERE ST                       DEVEREAUX AVE                 ROBBINS ST
CARDIFF ST                      DEVEREAUX AVE                 ROBBINS ST
MERSHON ST                      ROBBINS ST                    LEVICK ST
MERSHON ST                      DEVEREAUX AVE                 ROBBINS ST
STEVENS ST                      LEONARD ST                    FARNSWORTH ST
STEVENS ST                      FARNSWORTH ST                 REVERE ST
STEVENS ST                      REVERE ST                     BROUS AVE
LARDNER ST                      FARNSWORTH ST                 REVERE ST
LARDNER ST                      REVERE ST                     BROUS AVE
LARDNER ST                      BROUS AVE                     BATTERSBY ST
BENNER ST                       BROUS AVE                     FRANKFORD AVE
BENNER ST                       REVERE ST                     BROUS AVE
HELLERMAN ST                    FARNSWORTH ST                 HARBISON AVE
REVERE ST                       ELBRIDGE ST                   HARBISON AVE
HELLERMAN ST                    HARBISON AVE                  BROUS AVE
REVERE ST                       LEVICK ST                     ELBRIDGE ST
HELLERMAN ST                    BROUS AVE                     BATTERSBY ST
HELLERMAN ST                    BATTERSBY ST                  HAWTHORNE ST
HELLERMAN ST                    HAWTHORNE ST                  SACKETT ST
ELBRIDGE ST                     E ROOSEVELT BLVD              FARNSWORTH ST
ELBRIDGE ST                     FARNSWORTH ST                 REVERE ST
ELBRIDGE ST                     BROUS AVE                     BATTERSBY ST
PASSMORE ST                     BROUS AVE                     BATTERSBY ST
GILHAM ST                       REVERE ST                     BROUS AVE
GILHAM ST                       BROUS AVE                     BATTERSBY ST
GILHAM ST                       BATTERSBY ST                  HAWTHORNE ST
GILHAM ST                       HAWTHORNE ST                  SACKETT ST
GILHAM ST                       SACKETT ST                    FRANKFORD AVE
HELLERMAN ST                    SACKETT ST                    FRANKFORD AVE
BRIDGE ST                       RUTLAND ST                    OXFORD AVE
BRIDGE ST                       LARGE ST                      HORROCKS ST
BRIDGE ST                       HORROCKS ST                   SYLVESTER ST
BRIDGE ST                       SYLVESTER ST                  OAKLAND ST
BRIDGE ST                       OAKLAND ST                    AKRON ST
PRATT ST                        OXFORD AVE                    HORROCKS ST
BRILL ST                        LARGE ST                      HORROCKS ST
SYLVESTER ST                    BRIDGE ST                     SANGER ST
SYLVESTER ST                    PRATT ST                      BRIDGE ST
RUTLAND ST                      BRIDGE ST                     OXFORD AVE
ANCHOR ST                       LARGE ST                      HORROCKS ST
DISCHER ST                      SANGER ST                     E CHELTENHAM AVE
SYLVESTER ST                    SANGER ST                     E CHELTENHAM AVE
SANGER ST                       RUTLAND ST                    LARGE ST
SANGER ST                       LARGE ST                      HORROCKS ST
SANGER ST                       HORROCKS ST                   DISCHER ST
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SANGER ST                       DISCHER ST                    SYLVESTER ST
SANGER ST                       SYLVESTER ST                  SYLVESTER ST
SANGER ST                       SYLVESTER ST                  OAKLAND ST
SANGER ST                       OAKLAND ST                    AKRON ST
SANGER ST                       AKRON ST                      SAUL ST
SANGER ST                       SAUL ST                       N PENN ST
ANCHOR ST                       SAUL ST                       N PENN ST
ALCOTT ST                       SAUL ST                       N PENN ST
KENNEDY ST                      SAUL ST                       N PENN ST
BRIDGE ST                       AKRON ST                      SAUL ST
BRILL ST                        SAUL ST                       N PENN ST
BRIDGE ST                       SAUL ST                       N PENN ST
N PENN ST                       ALCOTT ST                     VAN KIRK ST
N PENN ST                       E CHELTENHAM AVE              ALCOTT ST
N PENN ST                       ANCHOR ST                     E CHELTENHAM AVE
N PENN ST                       SANGER ST                     ANCHOR ST
N PENN ST                       KENNEDY ST                    SANGER ST
N PENN ST                       BRILL ST                      KENNEDY ST
N PENN ST                       BRIDGE ST                     BRILL ST
N PENN ST                       PRATT ST                      BRIDGE ST
SAUL ST                         ALCOTT ST                     VAN KIRK ST
SAUL ST                         E CHELTENHAM AVE              ALCOTT ST
SAUL ST                         ANCHOR ST                     E CHELTENHAM AVE
SAUL ST                         SANGER ST                     ANCHOR ST
SAUL ST                         KENNEDY ST                    SANGER ST
SAUL ST                         BRILL ST                      KENNEDY ST
SAUL ST                         BRIDGE ST                     BRILL ST
SAUL ST                         PRATT ST                      BRIDGE ST
VAN KIRK ST                     SYLVESTER ST                  OAKLAND ST
VAN KIRK ST                     OAKLAND ST                    AKRON ST
VAN KIRK ST                     AKRON ST                      SAUL ST
VAN KIRK ST                     N PENN ST                     BUSTLETON AVE
VAN KIRK ST                     LEONARD ST                    DEAD END EAST
LEONARD ST                      E CHELTENHAM AVE              VAN KIRK ST
N PENN ST                       COMLY ST                      BUSTLETON AVE
VAN KIRK ST                     HOWELL ST                     HORROCKS ST
HOWELL ST                       SYLVESTER ST                  OAKLAND ST
VAN KIRK ST                     HORROCKS ST                   SYLVESTER ST
VAN KIRK ST                     SYLVESTER ST                  SYLVESTER ST
SAUL ST                         HOWELL ST                     COMLY ST
HOWELL ST                       OAKLAND ST                    SAUL ST
SAUL ST                         VAN KIRK ST                   HOWELL ST
COMLY ST                        SYLVESTER ST                  OAKLAND ST
COMLY ST                        OAKLAND ST                    SAUL ST
SYLVESTER ST                    VAN KIRK ST                   HOWELL ST
COMLY ST                        SAUL ST                       N PENN ST
COMLY ST                        N PENN ST                     BUSTLETON AVE
SYLVESTER ST                    ALCOTT ST                     VAN KIRK ST
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SYLVESTER ST                     ROSALIE ST                    ALCOTT ST
SYLVESTER ST                     E CHELTENHAM AVE              ROSALIE ST
ROSALIE ST                       LARGE ST                      HORROCKS ST
ROSALIE ST                       HORROCKS ST                   SYLVESTER ST
ALCOTT ST                        LARGE ST                      HORROCKS ST
ALCOTT ST                        HORROCKS ST                   SYLVESTER ST
VAN KIRK ST                      LARGE ST                      HOWELL ST
VAN KIRK ST                      E ROOSEVELT BLVD              LARGE ST
COMLY ST                         HORROCKS ST                   E ROOSEVELT BLVD
CRESTON ST                       OAKLAND ST                    SAUL ST
RUTLAND ST                       SANGER ST                     E CHELTENHAM AVE
VAN KIRK ST                      ALMA ST                       CASTOR AVE
ALMA ST                          BENNER ST                     DEVEREAUX AVE
ALMA ST                          COMLY ST                      BENNER ST
ALMA ST                          VAN KIRK ST                   COMLY ST
LARDNER ST                       CASTOR AVE                    LARGE ST
CRESTON ST                       CASTOR AVE                    LARGE ST
STEVENS ST                       CASTOR AVE                    LARGE ST
HIGBEE ST                        CASTOR AVE                    LARGE ST
BENNER ST                        CASTOR AVE                    LARGE ST
STEVENS ST                       LARGE ST                      E ROOSEVELT BLVD
LARDNER ST                       LARGE ST                      E ROOSEVELT BLVD
BELDEN ST                        BENNER ST                     DEVEREAUX AVE
HELLERMAN ST                     LARGE ST                      KINDRED ST
HELLERMAN ST                     KINDRED ST                    SOUDER ST
ELBRIDGE ST                      EVERETT AVE                   HORROCKS ST
HELLERMAN ST                     HORROCKS ST                   EASTWOOD ST
HELLERMAN ST                     BRADFORD TER                  E ROOSEVELT BLVD
EASTWOOD ST                      LEVICK ST                     HELLERMAN ST
OAKLAND ST                       ROBBINS ST                    LEVICK ST
EASTWOOD ST                      ROBBINS ST                    LEVICK ST
EASTWOOD ST                      E ROOSEVELT BLVD              ROBBINS ST
AKRON ST                         LEVICK ST                     HELLERMAN ST
SYLVESTER ST                     ROBBINS ST                    LEVICK ST
FANSHAWE ST                      BUSTLETON AVE                 LEONARD ST
MAGEE AVE                        OAKLAND ST                    EASTWOOD ST
MAGEE AVE                        LEONARD ST                    E ROOSEVELT BLVD
DISSTON ST                       BUSTLETON AVE                 LEONARD ST
LONGSHORE AVE                    BUSTLETON AVE                 LEONARD ST
GLENVIEW ST                      BUSTLETON AVE                 LEONARD ST
KNORR ST                         HARBISON AVE                  BRADFORD ST
KNORR ST                         BRADFORD ST                   LEONARD ST
KNORR ST                         LEONARD ST                    CALVERT ST
GLENVIEW ST                      LEONARD ST                    E ROOSEVELT BLVD
KNORR ST                         CALVERT ST                    E ROOSEVELT BLVD
AKRON ST                         UNRUH AVE                     KNORR ST
AKRON ST                         MAGEE AVE                     UNRUH AVE
KNORR ST                         OAKLAND ST                    EASTWOOD ST
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SYLVESTER ST                    KNORR ST                      LONGSHORE AVE
SYLVESTER ST                    UNRUH AVE                     KNORR ST
SYLVESTER ST                    MAGEE AVE                     UNRUH AVE
OAKLAND ST                      KNORR ST                      LONGSHORE AVE
OAKLAND ST                      UNRUH AVE                     KNORR ST
OAKLAND ST                      MAGEE AVE                     UNRUH AVE
EASTWOOD ST                     UNRUH AVE                     KNORR ST
EASTWOOD ST                     MAGEE AVE                     UNRUH AVE
SYLVESTER ST                    LONGSHORE AVE                 TYSON AVE
OAKLAND ST                      LONGSHORE AVE                 TYSON AVE
KNORR ST                        FRONTENAC ST                  LORETTO AVE
GLENVIEW ST                     LORETTO AVE                   CASTOR AVE
KERPER ST                       SUMMERDALE AVE                FRONTENAC ST
KERPER ST                       FRONTENAC ST                  LORETTO AVE
FANSHAWE ST                     SUMMERDALE AVE                FRONTENAC ST
FANSHAWE ST                     FRONTENAC ST                  LORETTO AVE
MAGEE AVE                       SUMMERDALE AVE                FRONTENAC ST
MAGEE AVE                       FRONTENAC ST                  CRANFORD AVE
WELLS ST                        FRONTENAC ST                  LORETTO AVE
FRIENDSHIP ST                   BUSTLETON AVE                 LEONARD ST
FRIENDSHIP ST                   LEONARD ST                    CALVERT ST
FRIENDSHIP ST                   CALVERT ST                    E ROOSEVELT BLVD
LEONARD ST                      SAINT VINCENT ST              COTTMAN AVE
TYSON AVE                       BUSTLETON AVE                 LEONARD ST
TYSON AVE                       LEONARD ST                    CALVERT ST
BRIGHTON ST                     BUSTLETON AVE                 LEONARD ST
BRIGHTON ST                     LEONARD ST                    CALVERT ST
PRINCETON AVE                   BUSTLETON AVE                 LEONARD ST
PRINCETON AVE                   LEONARD ST                    CALVERT ST
PRINCETON AVE                   CALVERT ST                    CALVERT ST
SAINT VINCENT ST                CALVERT ST                    CALVERT ST
SAINT VINCENT ST                CALVERT ST                    E ROOSEVELT BLVD
RUPERT ST                       SAINT VINCENT ST              COTTMAN AVE
CALVERT ST                      SAINT VINCENT ST              COTTMAN AVE
HANFORD ST                      SAINT VINCENT ST              COTTMAN AVE
PRINCETON AVE                   EASTWOOD ST                   AKRON ST
PRINCETON AVE                   AKRON ST                      SAUL ST
PRINCETON AVE                   SAUL ST                       BUSTLETON AVE
SAUL ST                         PRINCETON AVE                 SAINT VINCENT ST
AKRON ST                        PRINCETON AVE                 SAINT VINCENT ST
EASTWOOD ST                     PRINCETON AVE                 SAINT VINCENT ST
HELLERMAN ST                    SUMMERDALE AVE                FRONTENAC ST
HELLERMAN ST                    FRONTENAC ST                  CRANFORD AVE
HELLERMAN ST                    CRANFORD AVE                  LORETTO AVE
HELLERMAN ST                    LORETTO AVE                   CASTOR AVE
ELBRIDGE ST                     SUMMERDALE AVE                FRONTENAC ST
ELBRIDGE ST                     FRONTENAC ST                  CRANFORD AVE
ELBRIDGE ST                     CRANFORD AVE                  LORETTO AVE
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PASSMORE ST                       LORETTO AVE                   CASTOR AVE
GILHAM ST                         SUMMERDALE AVE                FRONTENAC ST
GILHAM ST                         FRONTENAC ST                  CRANFORD AVE
GILHAM ST                         CRANFORD AVE                  LORETTO AVE
GREEBY ST                         SUMMERDALE AVE                FRONTENAC ST
GREEBY ST                         FRONTENAC ST                  CRANFORD AVE
GREEBY ST                         CRANFORD AVE                  LORETTO AVE
PASSMORE ST                       SUMMERDALE AVE                FRONTENAC ST
PASSMORE ST                       FRONTENAC ST                  CRANFORD AVE
PASSMORE ST                       CRANFORD AVE                  LORETTO AVE
BLEIGH AVE                        STATE RD                      MELROSE ST
BLEIGH AVE                        WISSINOMING ST                MILNOR ST
BLEIGH AVE                        MILNOR ST                     DEAD END SOUTH
MELROSE ST                        COTTMAN AVE                   BLEIGH AVE
WISSINOMING ST                    COTTMAN AVE                   DELAWARE EXPY RAMP D
WISSINOMING ST                    WELLINGTON ST                 COTTMAN AVE
WISSINOMING ST                    FRIENDSHIP ST                 WELLINGTON ST
COTTMAN AVE                       MILNOR ST                     DEAD END SOUTH
PRINCETON AVE                     MILNOR ST                     DEAD END SOUTH
WISSINOMING ST                    PRINCETON AVE                 FRIENDSHIP ST
MULBERRY ST                       SANGER ST                     ANCHOR ST
MULBERRY ST                       KENNEDY ST                    SANGER ST
KENNEDY ST                        MULBERRY ST                   HAWTHORNE ST
UNRUH AVE                         KEYSTONE ST                   NEW STATE RD
KEYSTONE ST                       WELLINGTON ST                 COTTMAN AVE
KEYSTONE ST                       COTTMAN AVE                   DEAD END EAST
KNORR ST                          DEAD END NORTH                NEW STATE RD
NATIONAL ST                       JAMES ST                      STATE RD
NATIONAL ST                       DEAD END NORTH                JAMES ST
WELLINGTON ST                     JAMES ST                      STATE RD
WELLINGTON ST                     DEAD END NORTH                JAMES ST
ERDRICK ST                        TEESDALE ST                   ALDINE ST
ERDRICK ST                        ALDINE ST                     TUDOR ST
ERDRICK ST                        TUDOR ST                      BLEIGH AVE
LEON ST                           COTTMAN AVE                   RYAN AVE
LEON ST                           OAKMONT ST                    CHIPPENDALE AVE
CRISPIN ST                        OAKMONT ST                    CHIPPENDALE AVE
LEON ST                           CHIPPENDALE AVE               SHEFFIELD AVE
LEON ST                           SHEFFIELD AVE                 MERIDIAN ST
CRAIG ST                          MERIDIAN ST                   LANSING ST
SACKETT ST                        PRINCETON AVE                 FRIENDSHIP ST
HAWTHORNE ST                      PRINCETON AVE                 FRIENDSHIP ST
HAWTHORNE ST                      BRIGHTON ST                   PRINCETON AVE
BATTERSBY ST                      BRIGHTON ST                   PRINCETON AVE
WALKER ST                         ROBBINS ST                    STIRLING ST
ERDRICK ST                        ROBBINS ST                    STIRLING ST
CHARLES ST                        STIRLING ST                   BARNETT ST
ERDRICK ST                        STIRLING ST                   BARNETT ST
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DEVEREAUX AVE                  ERDRICK ST                    MONTAGUE ST
DEVEREAUX AVE                  MONTAGUE ST                   WALKER ST
BENNER ST                      ERDRICK ST                    MONTAGUE ST
BENNER ST                      MONTAGUE ST                   WALKER ST
DEVEREAUX AVE                  MULBERRY ST                   CHARLES ST
BATTERSBY ST                   BENNER ST                     LARDNER ST
BROUS AVE                      BENNER ST                     LARDNER ST
REVERE ST                      BENNER ST                     LARDNER ST
BROUS AVE                      LARDNER ST                    LARDNER ST
BATTERSBY ST                   LARDNER ST                    DEVEREAUX AVE
BROUS AVE                      STEVENS ST                    DEVEREAUX AVE
REVERE ST                      STEVENS ST                    DEVEREAUX AVE
BATTERSBY ST                   DEVEREAUX AVE                 MC KINLEY ST
BROUS AVE                      DEVEREAUX AVE                 MC KINLEY ST
FARNSWORTH ST                  STEVENS ST                    DEVEREAUX AVE
REVERE ST                      LARDNER ST                    STEVENS ST
FARNSWORTH ST                  LARDNER ST                    STEVENS ST
LEONARD ST                     LARDNER ST                    LARDNER ST
LEONARD ST                     DEVEREAUX AVE                 MC KINLEY ST
LEONARD ST                     MC KINLEY ST                  ROBBINS ST
FARNSWORTH ST                  MC KINLEY ST                  ROBBINS ST
DEVEREAUX AVE                  FARNSWORTH ST                 CRAFTON ST
DEVEREAUX AVE                  CRAFTON ST                    REVERE ST
DEVEREAUX AVE                  REVERE ST                     CARDIFF ST
DEVEREAUX AVE                  CARDIFF ST                    MERSHON ST
DEVEREAUX AVE                  MERSHON ST                    BROUS AVE
E CHELTENHAM AVE               BUSTLETON AVE                 LEONARD ST
VAN KIRK ST                    BUSTLETON AVE                 LEONARD ST
VAN KIRK ST                    SAUL ST                       N PENN ST
N PENN ST                      VAN KIRK ST                   COMLY ST
SYLVESTER ST                   HOWELL ST                     COMLY ST
OAKLAND ST                     HOWELL ST                     COMLY ST
HORROCKS ST                    COMLY ST                      E ROOSEVELT BLVD
COMLY ST                       HORROCKS ST                   SYLVESTER ST
OAKLAND ST                     COMLY ST                      CRESTON ST
SAUL ST                        COMLY ST                      CRESTON ST
SAUL ST                        CRESTON ST                    BENNER ST
OAKLAND ST                     CRESTON ST                    BENNER ST
OAKLAND ST                     BENNER ST                     E ROOSEVELT BLVD
LARDNER ST                     E ROOSEVELT BLVD              BENNER ST
BENNER ST                      LARDNER ST                    BUSTLETON AVE
LARGE ST                       ALCOTT ST                     VAN KIRK ST
E CHELTENHAM AVE               OXFORD CIR                    RUTLAND ST
LARGE ST                       E CHELTENHAM AVE              ROSALIE ST
SUMMERDALE AVE                 FANSHAWE ST                   UNRUH AVE
SUMMERDALE AVE                 MAGEE AVE                     FANSHAWE ST
SUMMERDALE AVE                 GILHAM ST                     MAGEE AVE
SUMMERDALE AVE                 HELLERMAN ST                  GREEBY ST
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SUMMERDALE AVE               PASSMORE ST                   HELLERMAN ST
SUMMERDALE AVE               LEVICK ST                     ELBRIDGE ST
FRONTENAC ST                 DEVEREAUX AVE                 MC KINLEY ST
FRONTENAC ST                 LEVICK ST                     ELBRIDGE ST
SUMMERDALE AVE               ELBRIDGE ST                   PASSMORE ST
FRONTENAC ST                 ELBRIDGE ST                   PASSMORE ST
FRONTENAC ST                 PASSMORE ST                   HELLERMAN ST
FRONTENAC ST                 HELLERMAN ST                  GREEBY ST
SUMMERDALE AVE               GREEBY ST                     GILHAM ST
FRONTENAC ST                 GILHAM ST                     MAGEE AVE
FRONTENAC ST                 MAGEE AVE                     WELLS ST
FRONTENAC ST                 FANSHAWE ST                   UNRUH AVE
SUMMERDALE AVE               UNRUH AVE                     KERPER ST
FRONTENAC ST                 UNRUH AVE                     KERPER ST
SUMMERDALE AVE               KERPER ST                     KNORR ST
FRONTENAC ST                 KERPER ST                     KNORR ST
LORETTO AVE                  KNORR ST                      GLENVIEW ST
FRONTENAC ST                 KNORR ST                      GLENVIEW ST
LORETTO AVE                  FANSHAWE ST                   UNRUH AVE
LORETTO AVE                  FANSHAWE ST                   FANSHAWE ST
FRONTENAC ST                 WELLS ST                      FANSHAWE ST
FRONTENAC ST                 FANSHAWE ST                   FANSHAWE ST
LORETTO AVE                  MAGEE AVE                     WELLS ST
CRANFORD AVE                 GILHAM ST                     LORETTO AVE
CRANFORD AVE                 GREEBY ST                     GILHAM ST
FRONTENAC ST                 GREEBY ST                     GILHAM ST
LORETTO AVE                  GREEBY ST                     GILHAM ST
LORETTO AVE                  HELLERMAN ST                  GREEBY ST
CRANFORD AVE                 HELLERMAN ST                  GREEBY ST
LORETTO AVE                  PASSMORE ST                   HELLERMAN ST
CRANFORD AVE                 PASSMORE ST                   HELLERMAN ST
LORETTO AVE                  ELBRIDGE ST                   PASSMORE ST
CRANFORD AVE                 ELBRIDGE ST                   PASSMORE ST
LORETTO AVE                  LEVICK ST                     ELBRIDGE ST
CRANFORD AVE                 LEVICK ST                     ELBRIDGE ST
LORETTO AVE                  BARNETT ST                    LEVICK ST
FRONTENAC ST                 STIRLING ST                   CRANFORD AVE
LORETTO AVE                  ROBBINS ST                    STIRLING ST
FRONTENAC ST                 ROBBINS ST                    STIRLING ST
FRONTENAC ST                 HALE ST                       ROBBINS ST
LORETTO AVE                  HALE ST                       ROBBINS ST
LORETTO AVE                  MC KINLEY ST                  HALE ST
LORETTO AVE                  DEVEREAUX AVE                 MC KINLEY ST
BENNER ST                    SHISLER ST                    BELDEN ST
BENNER ST                    BELDEN ST                     LORETTO AVE
COMLY ST                     BELDEN ST                     LORETTO AVE
BENNER ST                    LORETTO AVE                   ALMA ST
COMLY ST                     LORETTO AVE                   ALMA ST
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BENNER ST                        ALMA ST                       CASTOR AVE
COMLY ST                         ALMA ST                       CASTOR AVE
ELBRIDGE ST                      LORETTO AVE                   CASTOR AVE
GREEBY ST                        LORETTO AVE                   CASTOR AVE
GILHAM ST                        LORETTO AVE                   CASTOR AVE
MAGEE AVE                        CRANFORD AVE                  CASTOR AVE
LORETTO AVE                      GILHAM ST                     MAGEE AVE
FANSHAWE ST                      LORETTO AVE                   CASTOR AVE
UNRUH AVE                        LORETTO AVE                   CASTOR AVE
KERPER ST                        LORETTO AVE                   CASTOR AVE
KNORR ST                         LORETTO AVE                   CASTOR AVE
LORETTO AVE                      UNRUH AVE                     KERPER ST
LORETTO AVE                      KERPER ST                     KNORR ST
COMLY ST                         CASTOR AVE                    HOWELL ST
HOWELL ST                        CASTOR AVE                    COMLY ST
VAN KIRK ST                      CASTOR AVE                    E ROOSEVELT BLVD
COMLY ST                         HOWELL ST                     LARGE ST
LARGE ST                         COMLY ST                      CRESTON ST
LARGE ST                         CRESTON ST                    HIGBEE ST
DEVEREAUX AVE                    CASTOR AVE                    LARGE ST
LARGE ST                         DEVEREAUX AVE                 MC KINLEY ST
ROBBINS ST                       CASTOR AVE                    LARGE ST
MC KINLEY ST                     CASTOR AVE                    LARGE ST
STIRLING ST                      CASTOR AVE                    LARGE ST
ELBRIDGE ST                      CASTOR AVE                    LARGE ST
HELLERMAN ST                     CASTOR AVE                    EVERETT AVE
EVERETT AVE                      HELLERMAN ST                  CASTOR AVE
MAGEE AVE                        LARGE ST                      KINDRED ST
LARGE ST                         EVERETT AVE                   MAGEE AVE
KINDRED ST                       HELLERMAN ST                  MAGEE AVE
SOUDER ST                        HELLERMAN ST                  MAGEE AVE
MAGEE AVE                        KINDRED ST                    SOUDER ST
HELLERMAN ST                     SOUDER ST                     HORROCKS ST
MAGEE AVE                        SOUDER ST                     HORROCKS ST
HORROCKS ST                      ELBRIDGE ST                   HELLERMAN ST
EVERETT AVE                      ELBRIDGE ST                   HELLERMAN ST
EVERETT AVE                      LEVICK ST                     ELBRIDGE ST
HORROCKS ST                      LEVICK ST                     ELBRIDGE ST
EVERETT AVE                      HORROCKS ST                   LEVICK ST
ROBBINS ST                       LARGE ST                      KINDRED ST
MC KINLEY ST                     LARGE ST                      KINDRED ST
ROBBINS ST                       KINDRED ST                    SOUDER ST
MC KINLEY ST                     KINDRED ST                    SOUDER ST
ROBBINS ST                       SOUDER ST                     EVERETT AVE
MC KINLEY ST                     SOUDER ST                     EVERETT AVE
EVERETT AVE                      E ROOSEVELT BLVD              MC KINLEY ST
LARGE ST                         STEVENS ST                    DEVEREAUX AVE
LARGE ST                         LARDNER ST                    STEVENS ST
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LARGE ST                        BENNER ST                     LARDNER ST
BENNER ST                       LARGE ST                      E ROOSEVELT BLVD
LARGE ST                        HIGBEE ST                     BENNER ST
ROBBINS ST                      EVERETT AVE                   SYLVESTER ST
ROBBINS ST                      OAKLAND ST                    EASTWOOD ST
HELLERMAN ST                    EASTWOOD ST                   AKRON ST
HELLERMAN ST                    AKRON ST                      BUSTLETON AVE
BRADFORD TER                    HELLERMAN ST                  E ROOSEVELT BLVD
HELLERMAN ST                    BUSTLETON AVE                 BRADFORD TER
MAGEE AVE                       BUSTLETON AVE                 LEONARD ST
LEONARD ST                      MAGEE AVE                     FANSHAWE ST
LEONARD ST                      FANSHAWE ST                   HARBISON AVE
BRADFORD ST                     HARBISON AVE                  KNORR ST
LEONARD ST                      HARBISON AVE                  KNORR ST
CALVERT ST                      UNRUH AVE                     KNORR ST
LEONARD ST                      KNORR ST                      GLENVIEW ST
LEONARD ST                      GLENVIEW ST                   LONGSHORE AVE
LEONARD ST                      LONGSHORE AVE                 DISSTON ST
TYSON AVE                       CALVERT ST                    E ROOSEVELT BLVD
LEONARD ST                      DISSTON ST                    TYSON AVE
CALVERT ST                      TYSON AVE                     BRIGHTON ST
LEONARD ST                      TYSON AVE                     BRIGHTON ST
PRINCETON AVE                   CALVERT ST                    E ROOSEVELT BLVD
LEONARD ST                      BRIGHTON ST                   PRINCETON AVE
CALVERT ST                      BRIGHTON ST                   PRINCETON AVE
LEONARD ST                      PRINCETON AVE                 FRIENDSHIP ST
CALVERT ST                      PRINCETON AVE                 FRIENDSHIP ST
LEONARD ST                      FRIENDSHIP ST                 SAINT VINCENT ST
CALVERT ST                      FRIENDSHIP ST                 SAINT VINCENT ST
SAINT VINCENT ST                HANFORD ST                    LEONARD ST
TYSON AVE                       EASTWOOD ST                   BUSTLETON AVE
DISSTON ST                      EASTWOOD ST                   BUSTLETON AVE
LONGSHORE AVE                   EASTWOOD ST                   BUSTLETON AVE
GLENVIEW ST                     EASTWOOD ST                   BUSTLETON AVE
EASTWOOD ST                     KNORR ST                      GLENVIEW ST
EASTWOOD ST                     GLENVIEW ST                   LONGSHORE AVE
EASTWOOD ST                     LONGSHORE AVE                 DISSTON ST
EASTWOOD ST                     DISSTON ST                    TYSON AVE
LONGSHORE AVE                   OAKLAND ST                    EASTWOOD ST
TYSON AVE                       OAKLAND ST                    EASTWOOD ST
KNORR ST                        SYLVESTER ST                  OAKLAND ST
LONGSHORE AVE                   SYLVESTER ST                  OAKLAND ST
TYSON AVE                       SYLVESTER ST                  OAKLAND ST
LONGSHORE AVE                   HORROCKS ST                   SYLVESTER ST
TYSON AVE                       HORROCKS ST                   SYLVESTER ST
HORROCKS ST                     KNORR ST                      LONGSHORE AVE
HORROCKS ST                     LONGSHORE AVE                 TYSON AVE
TYSON AVE                       SOUDER ST                     HORROCKS ST
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LONGSHORE AVE                    SOUDER ST                     HORROCKS ST
KNORR ST                         SOUDER ST                     HORROCKS ST
SOUDER ST                        LONGSHORE AVE                 TYSON AVE
KINDRED ST                       LONGSHORE AVE                 TYSON AVE
LARGE ST                         LONGSHORE AVE                 TYSON AVE
LYNFORD ST                       LONGSHORE AVE                 TYSON AVE
RUTLAND ST                       LONGSHORE AVE                 TYSON AVE
TYSON AVE                        LARGE ST                      KINDRED ST
TYSON AVE                        KINDRED ST                    SOUDER ST
RUTLAND ST                       KNORR ST                      LONGSHORE AVE
LYNFORD ST                       KNORR ST                      LONGSHORE AVE
LARGE ST                         KNORR ST                      LONGSHORE AVE
KINDRED ST                       KNORR ST                      LONGSHORE AVE
SOUDER ST                        KNORR ST                      LONGSHORE AVE
KNORR ST                         KINDRED ST                    SOUDER ST
LONGSHORE AVE                    KINDRED ST                    SOUDER ST
KNORR ST                         LARGE ST                      KINDRED ST
LONGSHORE AVE                    LARGE ST                      KINDRED ST
KNORR ST                         LYNFORD ST                    LARGE ST
LONGSHORE AVE                    LYNFORD ST                    LARGE ST
KNORR ST                         RUTLAND ST                    LYNFORD ST
LONGSHORE AVE                    RUTLAND ST                    LYNFORD ST
LONGSHORE AVE                    CASTOR AVE                    RUTLAND ST
KNORR ST                         CASTOR AVE                    RUTLAND ST
UNRUH AVE                        CASTOR AVE                    RUTLAND ST
MAGEE AVE                        EVERETT AVE                   RUTLAND ST
MAGEE AVE                        RUTLAND ST                    LYNFORD ST
UNRUH AVE                        RUTLAND ST                    LYNFORD ST
MAGEE AVE                        LYNFORD ST                    LARGE ST
UNRUH AVE                        LYNFORD ST                    LARGE ST
UNRUH AVE                        LARGE ST                      KINDRED ST
UNRUH AVE                        KINDRED ST                    SOUDER ST
UNRUH AVE                        SOUDER ST                     HORROCKS ST
MAGEE AVE                        HORROCKS ST                   SYLVESTER ST
UNRUH AVE                        HORROCKS ST                   SYLVESTER ST
KNORR ST                         HORROCKS ST                   SYLVESTER ST
MAGEE AVE                        SYLVESTER ST                  OAKLAND ST
UNRUH AVE                        SYLVESTER ST                  OAKLAND ST
MAGEE AVE                        EASTWOOD ST                   AKRON ST
UNRUH AVE                        EASTWOOD ST                   AKRON ST
KNORR ST                         EASTWOOD ST                   AKRON ST
MAGEE AVE                        AKRON ST                      BUSTLETON AVE
UNRUH AVE                        AKRON ST                      BUSTLETON AVE
KNORR ST                         AKRON ST                      BUSTLETON AVE
LONGSHORE AVE                    LEONARD ST                    E ROOSEVELT BLVD
DISSTON ST                       LEONARD ST                    E ROOSEVELT BLVD
LONGSHORE AVE                    E ROOSEVELT BLVD              REVERE ST
KNORR ST                         E ROOSEVELT BLVD              REVERE ST
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BROUS AVE                       DISSTON ST                    TYSON AVE
REVERE ST                       LONGSHORE AVE                 DISSTON ST
BROUS AVE                       LONGSHORE AVE                 DISSTON ST
REVERE ST                       GLENVIEW ST                   LONGSHORE AVE
BROUS AVE                       GLENVIEW ST                   LONGSHORE AVE
REVERE ST                       KNORR ST                      GLENVIEW ST
BROUS AVE                       KNORR ST                      GLENVIEW ST
REVERE ST                       HARBISON AVE                  GILHAM ST
BROUS AVE                       HELLERMAN ST                  GILHAM ST
REVERE ST                       GILHAM ST                     MAGEE AVE
BROUS AVE                       GILHAM ST                     MAGEE AVE
BROUS AVE                       MAGEE AVE                     FANSHAWE ST
BATTERSBY ST                    MAGEE AVE                     FANSHAWE ST
BROUS AVE                       FANSHAWE ST                   UNRUH AVE
BATTERSBY ST                    FANSHAWE ST                   UNRUH AVE
BROUS AVE                       UNRUH AVE                     RAWLE ST
BATTERSBY ST                    UNRUH AVE                     RAWLE ST
BATTERSBY ST                    GLENVIEW ST                   LONGSHORE AVE
BATTERSBY ST                    LONGSHORE AVE                 DISSTON ST
BATTERSBY ST                    DISSTON ST                    TYSON AVE
BROUS AVE                       TYSON AVE                     BRIGHTON PL
BATTERSBY ST                    TYSON AVE                     BRIGHTON ST
BROUS AVE                       BRIGHTON ST                   PRINCETON AVE
HAWTHORNE ST                    DISSTON ST                    TYSON AVE
HAWTHORNE ST                    LONGSHORE AVE                 DISSTON ST
HAWTHORNE ST                    GLENVIEW ST                   LONGSHORE AVE
HAWTHORNE ST                    FANSHAWE ST                   UNRUH AVE
HAWTHORNE ST                    MAGEE AVE                     FANSHAWE ST
HAWTHORNE ST                    GILHAM ST                     MAGEE AVE
SACKETT ST                      GILHAM ST                     MAGEE AVE
SAINT VINCENT ST                RUPERT ST                     CALVERT ST
SAINT VINCENT ST                LEONARD ST                    RUPERT ST
LARDNER ST                      LEONARD ST                    FARNSWORTH ST
TULIP ST                        COTTMAN AVE                   DEAD END EAST
JOSEPHINE ST                    UNRUH AVE                     KNORR ST
UNRUH AVE                       JOSEPHINE ST                  MARSDEN ST
KNORR ST                        JOSEPHINE ST                  MARSDEN ST
CITY BOUNDARY                   TACONY PALMYRA BRG            DEAD END
DARRAH ST                       BRILL ST                      DEAD END EAST
DUFFIELD ST                     BRILL ST                      DEAD END EAST
LEONARD ST                      LARDNER ST                    STEVENS ST
MILNOR ST                       NEW STATE RD                  PRINCETON AVE
COMLY ST                        ERDRICK ST                    HARBISON AVE
HAWTHORNE ST                    TYSON AVE                     BRIGHTON ST
BRIDGE ST                       N PENN ST                     BUSWAY DR
BRIDGE ST                       BUSWAY DR                     BUSTLETON AVE
HAWTHORNE ST                    RAWLE ST                      KNORR ST
SACKETT ST                      RAWLE ST                      KNORR ST
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JACKSON ST                    DEAD END SOUTH                MAGEE AVE
MILNOR ST                     DELAWARE EXPY RAMP SPUR C     COTTMAN AVE
MILNOR ST                     DELAWARE EXPY RAMP SPUR C2    DELAWARE EXPY RAMP SPUR C
MILNOR ST                     PRINCETON AVE                 DELAWARE EXPY RAMP SPUR C2
HELLERMAN ST                  COTTAGE ST                    DEAD END SOUTH
DITMAN ST                     KRAYDOR ST                    WILBROCK ST
DITMAN ST                     ENFIELD AVE                   KRAYDOR ST
HEGERMAN ST                   WINGATE ST                    ASHBURNER ST
KRAYDOR ST                    DITMAN ST                     TORRESDALE AVE
ENFIELD AVE                   DITMAN ST                     TORRESDALE AVE
PRINCETON AVE                 SOUDER ST                     HORROCKS ST
SAINT VINCENT ST              SAUL ST                       SAUL ST
SAINT VINCENT ST              SAUL ST                       BUSTLETON AVE
UNRUH AVE                     PENNWAY ST                    ALGON AVE
LYNNEBROOK LN                 BETHLEHEM PIKE                BETHLEHEM PIKE
SUMMIT ST                     E CHESTNUT HILL AVE           PROSPECT AVE
E EVERGREEN AVE               ANDERSON ST                   PROSPECT AVE
SUMMIT ST                     BETHLEHEM PIKE                E CHESTNUT HILL AVE
E GRAVERS LN                  ANDERSON ST                   CRITTENDEN ST
CREFELD ST                    NORMAN LN                     WATERMAN AVE
W EVERGREEN AVE               GERMANTOWN AVE                SHAWNEE ST
ARDLEIGH ST                   E SOUTHAMPTON AVE             E GRAVERS LN
E HARTWELL LN                 ARDLEIGH ST                   WINSTON RD
W EVERGREEN AVE               SHAWNEE ST                    NAVAJO ST
AYRDALE RD                    GREEN VALLEY DR               AYRDALE PL
TOHOPEKA LN                   W HIGHLAND AVE                W HIGHLAND AVE
RONNIE LN                     GREEN VALLEY DR               LYKENS LN
W GRAVERS LN                  SHAWNEE ST                    MILLMAN ST
W GRAVERS LN                  SEMINOLE AVE                  SAINT MARTINS LN
SAGAMORE RD                   LYKENS LN                     CLYDE LN
W GRAVERS LN                  SAINT MARTINS LN              CHEROKEE ST
CATHEDRAL RD                  WISSAHICKON AVE               GLENROY RD
SCOTIA RD                     WISSAHICKON AVE               INVERNESS LN
GLENROY RD                    LOMOND LN                     CATHEDRAL RD
SAINT ANDREW RD               W HARTWELL LN                 CHEROKEE ST
W SPRINGFIELD AVE             CRESHEIM RD                   POCONO ST
W HARTWELL LN                 SAINT ANDREW RD               CHEROKEE ST
WISSAHICKON AVE               CALEDONIA ST                  MANATAWNA AVE
W MEADE ST                    SHAWNEE ST                    NAVAJO ST
FORBIDDEN DR                  REX AVE                       THOMAS MILL DR
ERDENHEIM ST                  WHEEL PUMP LN                 STENTON AVE
WHITEMARSH ST                 STENTON AVE                   WHEEL PUMP LN
WHEEL PUMP LN                 WHITEMARSH ST                 ERDENHEIM ST
ERDENHEIM ST                  MEADOWBROOK AVE               WHEEL PUMP LN
WHITEMARSH ST                 WHEEL PUMP LN                 MEADOWBROOK AVE
MEADOWBROOK AVE               WHITEMARSH ST                 ERDENHEIM ST
MEADOWBROOK AVE               STROUD ST                     WHITEMARSH ST
MEADOWBROOK AVE               STENTON AVE                   STROUD ST
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E SUNSET AVE                   CARYL LN                      NORWOOD AVE
GREEN TREE RD                  E HAMPTON RD                  E BELLS MILL RD
E SUNSET AVE                   GREEN TREE RD                 CARYL LN
GREEN TREE RD                  E SUNSET AVE                  E HAMPTON RD
E HAMPTON RD                   GERMANTOWN AVE                GREEN TREE RD
SUMMIT ST                      PROSPECT AVE                  STENTON AVE
PROSPECT AVE                   SUMMIT ST                     NEWTON ST
E SUNSET AVE                   GERMANTOWN AVE                GREEN TREE RD
E EVERGREEN AVE                PROSPECT AVE                  STENTON AVE
PROSPECT AVE                   E EVERGREEN AVE               SUMMIT ST
W HAMPTON RD                   GERMANTOWN AVE                CREFELD ST
E GRAVERS LN                   PROSPECT AVE                  STENTON AVE
PROSPECT AVE                   E GRAVERS LN                  E EVERGREEN AVE
E GRAVERS LN                   CRITTENDEN ST                 PROSPECT AVE
WATERMAN AVE                   GERMANTOWN AVE                VALLEY VIEW RD
VALLEY VIEW RD                 WATERMAN AVE                  WATERMAN AVE
W SUNSET AVE                   GERMANTOWN AVE                CREFELD ST
CREFELD ST                     W SUNSET AVE                  W HAMPTON RD
WATERMAN AVE                   VALLEY VIEW RD                VALLEY VIEW RD
ANDERSON ST                    E MEADE ST                    E HIGHLAND AVE
WATERMAN AVE                   VALLEY VIEW RD                CREFELD ST
CREFELD ST                     WATERMAN AVE                  W SUNSET AVE
E EVERGREEN AVE                EVERGREEN PL                  ANDERSON ST
EVERGREEN PL                   E EVERGREEN AVE               DEAD END WEST
ANDERSON ST                    E GRAVERS LN                  E MEADE ST
E HIGHLAND AVE                 ARDLEIGH ST                   ANDERSON ST
ANDERSON ST                    E SOUTHAMPTON AVE             E GRAVERS LN
REX AVE                        GERMANTOWN AVE                HILLTOP RD
NORMAN LN                      GERMANTOWN AVE                CREFELD ST
LAUGHLIN LN                    GERMANTOWN AVE                CREFELD ST
CREFELD ST                     LAUGHLIN LN                   NORMAN LN
E EVERGREEN AVE                GERMANTOWN AVE                ARDLEIGH ST
E MEADE ST                     ARDLEIGH ST                   ANDERSON ST
ARDLEIGH ST                    E MEADE ST                    E HIGHLAND AVE
E GRAVERS LN                   ARDLEIGH ST                   ANDERSON ST
ARDLEIGH ST                    E GRAVERS LN                  E MEADE ST
WINSTON RD                     CUL DE SAC SOUTH              CRITTENDEN ST
E HIGHLAND AVE                 GERMANTOWN AVE                ARDLEIGH ST
SHAWNEE ST                     REX AVE                       W CHESTNUT HILL AVE
CREFELD ST                     W CHESTNUT HILL AVE           LAUGHLIN LN
SHAWNEE ST                     HILLTOP RD                    REX AVE
E GRAVERS LN                   GERMANTOWN AVE                ARDLEIGH ST
W HIGHLAND AVE                 GERMANTOWN AVE                SHAWNEE ST
SHAWNEE ST                     W HIGHLAND AVE                W EVERGREEN AVE
ARDLEIGH ST                    E HARTWELL LN                 E SOUTHAMPTON AVE
SHAWNEE ST                     W MEADE ST                    W HIGHLAND AVE
E HARTWELL LN                  DEVON ST                      ARDLEIGH ST
ARDLEIGH ST                    E ABINGTON AVE                E HARTWELL LN
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W GRAVERS LN                   GERMANTOWN AVE                SHAWNEE ST
SHAWNEE ST                     W GRAVERS LN                  W MEADE ST
NAVAJO ST                      DEAD END EAST                 W CHESTNUT HILL AVE
REX AVE                        CREFELD ST                    MILLMAN PL
E HARTWELL LN                  GERMANTOWN AVE                DEVON ST
MILLMAN PL                     CUL DE SAC EAST               REX AVE
E ABINGTON AVE                 DEVON ST                      ARDLEIGH ST
DEVON ST                       E ABINGTON AVE                E HARTWELL LN
AYRDALE PL                     AYRDALE RD                    CUL DE SAC NORTH
W SOUTHAMPTON AVE              GERMANTOWN AVE                SHAWNEE ST
SHAWNEE ST                     W SOUTHAMPTON AVE             W GRAVERS LN
W CHESTNUT HILL AVE            SEMINOLE AVE                  WHITE TRL
W HIGHLAND AVE                 SHAWNEE ST                    TOHOPEKA LN
W HIGHLAND AVE                 TOHOPEKA LN                   TOHOPEKA LN
W HARTWELL LN                  GERMANTOWN AVE                SHAWNEE ST
SHAWNEE ST                     W HARTWELL LN                 W SOUTHAMPTON AVE
E ABINGTON AVE                 GERMANTOWN AVE                DEVON ST
W HIGHLAND AVE                 TOHOPEKA LN                   NAVAJO ST
W HARTWELL LN                  SHAWNEE ST                    ROANOKE ST
LYKENS LN                      W BELLS MILL RD               GREEN VALLEY DR
W ABINGTON AVE                 GERMANTOWN AVE                SHAWNEE ST
SHAWNEE ST                     W ABINGTON AVE                W HARTWELL LN
WOODALE AVE                    GERMANTOWN AVE                WINSTON RD
AYRDALE RD                     RIDGE AVE                     GREEN VALLEY DR
NAVAJO ST                      W MEADE ST                    W HIGHLAND AVE
SUNRISE LN                     MILLMAN ST                    CUL DE SAC NORTH
MILLMAN ST                     SUNRISE LN                    W GRAVERS LN
CALEDONIA ST                   SEQUOIA RD                    MANATAWNA AVE
W ABINGTON AVE                 SHAWNEE ST                    ROANOKE ST
ROANOKE ST                     W ABINGTON AVE                W HARTWELL LN
W GRAVERS LN                   MILLMAN ST                    NAVAJO ST
NAVAJO ST                      W GRAVERS LN                  W MEADE ST
W HIGHLAND AVE                 NAVAJO ST                     SEMINOLE AVE
W CHESTNUT HILL AVE            THOMAS MILL DR                TOWANDA AVE
TOWANDA AVE                    W CHESTNUT HILL AVE           DEAD END WEST
BENEZET ST                     GERMANTOWN AVE                WINSTON RD
SEQUOIA RD                     CALEDONIA ST                  CLYDE LN
MILLMAN ST                     W HARTWELL LN                 SUNRISE LN
ROANOKE ST                     W WILLOW GROVE AVE            W ABINGTON AVE
W ABINGTON AVE                 ROANOKE ST                    CREFELD ST
W GRAVERS LN                   NAVAJO ST                     SEMINOLE AVE
SEMINOLE AVE                   W GRAVERS LN                  SAINT MARTINS LN
W ABINGTON AVE                 CREFELD ST                    LINCOLN DR
WISSAHICKON AVE                CLYDE LN                      CALEDONIA ST
CALEDONIA ST                   SAGAMORE RD                   WISSAHICKON AVE
W HARTWELL LN                  MILLMAN ST                    NAVAJO ST
MANATAWNA AVE                  LYKENS LN                     WISSAHICKON AVE
LYKENS LN                      MANATAWNA AVE                 W BELLS MILL RD
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CREFELD ST                    W WILLOW GROVE AVE            W ABINGTON AVE
MANATAWNA AVE                 OLD LINE RD                   LYKENS LN
MANATAWNA AVE                 OLD LINE RD                   OLD LINE RD
OLD LINE RD                   MANATAWNA AVE                 RIDGE AVE
SAGAMORE RD                   CLYDE LN                      CALEDONIA ST
W HARTWELL LN                 NAVAJO ST                     SEMINOLE AVE
SEMINOLE AVE                  W HARTWELL LN                 W GRAVERS LN
CREFELD ST                    W SPRINGFIELD AVE             W WILLOW GROVE AVE
CALEDONIA ST                  OLD LINE RD                   SAGAMORE RD
OLD LINE RD                   CALEDONIA ST                  MANATAWNA AVE
LINCOLN DR                    W WILLOW GROVE AVE            W ABINGTON AVE
CLYDE LN                      LYKENS LN                     SAGAMORE RD
GRAKYN LN                     WISSAHICKON AVE               SEQUOIA RD
WISSAHICKON AVE               GRAKYN LN                     CLYDE LN
MANATAWNA AVE                 RIDGE AVE                     OLD LINE RD
LINCOLN DR                    NAVAJO ST                     W WILLOW GROVE AVE
LYKENS LN                     SAGAMORE RD                   CLYDE LN
GRAKYN LN                     SAGAMORE RD                   WISSAHICKON AVE
W SPRINGFIELD AVE             CREFELD ST                    NAVAJO ST
NAVAJO ST                     W SPRINGFIELD AVE             LINCOLN DR
GRAKYN LN                     SAGAMORE RD                   SAGAMORE RD
SAGAMORE RD                   GRAKYN LN                     LYKENS LN
SEMINOLE AVE                  W WILLOW GROVE AVE            W HARTWELL LN
GRAKYN LN                     LYKENS LN                     SAGAMORE RD
W SPRINGFIELD AVE             NAVAJO ST                     LINCOLN DR
LINCOLN DR                    W SPRINGFIELD AVE             NAVAJO ST
CALEDONIA ST                  RIDGE AVE                     DEAD END EAST
SAGAMORE RD                   NITTANY LN                    GRAKYN LN
WISSAHICKON AVE               CATHEDRAL RD                  GRAKYN LN
NAVAJO ST                     W MORELAND AVE                W SPRINGFIELD AVE
W SPRINGFIELD AVE             LINCOLN DR                    CRESHEIM RD
GRAKYN LN                     OLD LINE RD                   LYKENS LN
OLD LINE RD                   GRAKYN LN                     CALEDONIA ST
NITTANY LN                    LYKENS LN                     SAGAMORE RD
LYKENS LN                     NITTANY LN                    GRAKYN LN
CATHEDRAL RD                  SAGAMORE RD                   WISSAHICKON AVE
SAGAMORE RD                   CATHEDRAL RD                  NITTANY LN
WISSAHICKON AVE               SCOTIA RD                     CATHEDRAL RD
LINCOLN DR                    CROSS LN                      W SPRINGFIELD AVE
LOMOND LN                     GLENROY RD                    INVERNESS LN
W HARTWELL LN                 SAINT MARTINS LN              SAINT ANDREW RD
POCONO ST                     W MORELAND AVE                W SPRINGFIELD AVE
W SPRINGFIELD AVE             POCONO ST                     SAINT MARTINS LN
W MORELAND AVE                POCONO ST                     SAINT MARTINS LN
W SPRINGFIELD AVE             SAINT MARTINS LN              TOWANDA AVE
W WILLOW GROVE AVE            SAINT MARTINS LN              DRUIM MOIR LN
W SPRINGFIELD AVE             TOWANDA AVE                   HURON ST
W MORELAND AVE                SAINT MARTINS LN              TOWANDA AVE
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NAVAJO ST                     W WILLOW GROVE AVE            W HARTWELL LN
NAVAJO ST                     DEAD END EAST                 W GRAVERS LN
E SOUTHAMPTON AVE             GERMANTOWN AVE                ARDLEIGH ST
GREEN VALLEY DR               RONNIE LN                     LYKENS LN
GREEN VALLEY DR               AYRDALE RD                    RONNIE LN
W HARTWELL LN                 DEAD END NORTH                SAINT MARTINS LN
E HIGHLAND AVE                ANDERSON ST                   DEAD END NORTH
THOMAS MILL DR                CLYDE LN                      THOMAS MILL TER
THOMAS MILL TER               THOMAS MILL DR                CLYDE LN
AYRDALE RD                    AYRDALE PL                    LYKENS LN
LYKENS LN                     AYRDALE RD                    DEAD END NORTH
LYKENS LN                     RONNIE CIR                    AYRDALE RD
LYKENS LN                     GREEN VALLEY DR               RONNIE CIR
MANATAWNA AVE                 WISSAHICKON AVE               SEQUOIA RD
FORBIDDEN DR                  W BELLS MILL RD               W NORTHWESTERN AVE
CLYDE LN                      WISSAHICKON AVE               SEQUOIA RD
SEQUOIA RD                    CLYDE LN                      GRAKYN LN
CLYDE LN                      THOMAS MILL TER               MANATAWNA AVE
CLYDE LN                      THOMAS MILL DR                THOMAS MILL TER
CLYDE LN                      SEQUOIA RD                    THOMAS MILL DR
HILLCREST AVE                 GERMANTOWN AVE                STENTON AVE
CREFELD ST                    HILLTOP RD                    REX AVE
HILLTOP RD                    REX AVE                       SHAWNEE ST
HILLTOP RD                    SHAWNEE ST                    CREFELD ST
NAVAJO ST                     W HIGHLAND AVE                W EVERGREEN AVE
NORTHWESTERN AVE              RIDGE PIKE                    DEAD END NORTH
MANATAWNA AVE                 CALEDONIA ST                  CLYDE LN
SEQUOIA RD                    MANATAWNA AVE                 CALEDONIA ST
MANATAWNA AVE                 SEQUOIA RD                    CALEDONIA ST
NORWOOD AVE                   E CHESTNUT HILL AVE           E SUNSET AVE
CHEROKEE ST                   GLENGARRY RD                  W GRAVERS LN
REX AVE                       SHAWNEE ST                    CREFELD ST
REX AVE                       HILLTOP RD                    SHAWNEE ST
WINSTON RD                    E ABINGTON AVE                E HARTWELL LN
ARDLEIGH ST                   E HIGHLAND AVE                E EVERGREEN AVE
ANDERSON ST                   E HIGHLAND AVE                E EVERGREEN AVE
REX AVE                       SEMINOLE AVE                  REX AVE
E EVERGREEN AVE               ARDLEIGH ST                   EVERGREEN PL
WINSTON RD                    ARDLEIGH ST                   E ABINGTON AVE
E ABINGTON AVE                ARDLEIGH ST                   WINSTON RD
REX AVE                       MILLMAN PL                    NAVAJO ST
REX AVE                       NAVAJO ST                     SEMINOLE AVE
RONNIE CIR                    RONNIE LN                     CUL DE SAC EAST
NAVAJO ST                     W HARTWELL LN                 DEAD END WEST
W NORTHWESTERN AVE            OAK RD                        FORBIDDEN DR
W NORTHWESTERN AVE            GERMANTOWN AVE                OAK RD
REX AVE                       REX AVE                       FORBIDDEN DR
ANDERSON ST                   DEAD END EAST                 N STATION LN
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FORBIDDEN DR                  THOMAS MILL DR                YELLOW TRL
FORBIDDEN DR                  YELLOW TRL                    W BELLS MILL RD
YELLOW TRL                    OLD LINE RD                   FORBIDDEN DR
YELLOW TRL                    WISES MILL RD                 SUMMIT AVE
YELLOW TRL                    YELLOW TRL                    WISES MILL RD
YELLOW TRL                    YELLOW TRL                    YELLOW TRL
YELLOW TRL                    YELLOW TRL                    YELLOW TRL
YELLOW TRL                    YELLOW TRL                    YELLOW TRL
YELLOW TRL                    HERMIT LN                     YELLOW TRL
ORANGE TRL                    DEAD END EAST                 ORANGE TRL
ORANGE TRL                    ORANGE TRL                    W MOUNT AIRY AVE
ORANGE TRL                    W MOUNT AIRY AVE              LIVEZEY LN
ORANGE TRL                    LIVEZEY LN                    WHITE TRL
LAVENDER TRL                  ORANGE TRL                    ORANGE TRL
ORANGE TRL                    LAVENDER TRL                  W BELLS MILL RD
ORANGE TRL                    LAVENDER TRL                  LAVENDER TRL
ORANGE TRL                    THOMAS MILL DR                LAVENDER TRL
THOMAS MILL DR                ORANGE TRL                    FORBIDDEN DR
ORANGE TRL                    THOMAS MILL DR                ORANGE TRL
ORANGE TRL                    WHITE TRL                     ORANGE TRL
ORANGE TRL                    WHITE TRL                     WHITE TRL
WHITE TRL                     LIVEZEY LN                    ORANGE TRL
WHITE TRL                     CUL DE SAC NORTH              KITCHENS LN
WHITE TRL                     KITCHENS LN                   WHITE TRL
WHITE TRL                     WHITE TRL                     LIVEZEY LN
WHITE TRL                     ORANGE TRL                    REX AVE
REX AVE                       WHITE TRL                     REX AVE
REX AVE                       REX AVE                       WHITE TRL
WHITE TRL                     REX AVE                       THOMAS MILL DR
THOMAS MILL DR                WHITE TRL                     WHITE TRL
THOMAS MILL DR                WHITE TRL                     ORANGE TRL
WHITE TRL                     THOMAS MILL DR                W CHESTNUT HILL AVE
ORANGE TRL                    W BELLS MILL RD               GERMANTOWN AVE
FORREST AVE                   E WALNUT LN                   E TULPEHOCKEN ST
BLAKEMORE ST                  VERNON RD                     E GORGAS LN
E MERMAID LN                  CRITTENDEN ST                 MERMAID LN
CRITTENDEN ST                 E MERMAID LN                  E WILLOW GROVE AVE
E MERMAID LN                  ARDLEIGH ST                   SEPTA DWY
E MERMAID LN                  WINSTON RD                    ARDLEIGH ST
WINSTON RD                    BENEZET ST                    E WILLOW GROVE AVE
WINSTON RD                    E MORELAND AVE                E SPRINGFIELD AVE
CROSS LN                      W MERMAID LN                  LINCOLN DR
LINCOLN DR                    CRESHEIM RD                   CROSS LN
CREFELD ST                    W MORELAND AVE                W SPRINGFIELD AVE
W MORELAND AVE                CREFELD ST                    NAVAJO ST
NAVAJO ST                     W MERMAID LN                  W MORELAND AVE
E GOWEN AVE                   DEVON ST                      SPRAGUE ST
DEVON ST                      E MOUNT AIRY AVE              E GOWEN AVE
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CREST PARK RD                   SPRAGUE ST                    ROUMFORT RD
CRITTENDEN ST                   E ABINGTON AVE                WINSTON RD
ARDLEIGH ST                     E WILLOW GROVE AVE            WINSTON RD
ARDLEIGH ST                     DEVON ST                      E SPRINGFIELD AVE
E SPRINGFIELD AVE               GERMANTOWN AVE                WINSTON RD
ROANOKE ST                      W MORELAND AVE                W SPRINGFIELD AVE
GEORGIAN RD                     OGONTZ AVE                    GEORGIAN RD
N 21ST ST                       75TH AVE                      W CHELTENHAM AVE
E TULPEHOCKEN ST                75TH AVE                      W CHELTENHAM AVE
E TULPEHOCKEN ST                BRIAR RD                      75TH AVE
BEVERLY RD                      CORNELIUS ST                  HOLLIS ST
ROUMFORT RD                     BOYER ST                      DEVON ST
PICKERING AVE                   E MOUNT PLEASANT AVE          E DURHAM ST
CEDARBROOK AVE                  GREENWOOD ST                  VERNON RD
CEDARBROOK AVE                  E PHIL ELLENA ST              GREENWOOD ST
E PHIL ELLENA ST                PICKERING AVE                 ARGUS RD
CEDARBROOK AVE                  LIMEKILN PIKE                 E PHIL ELLENA ST
GREENWOOD ST                    MICHENER AVE                  VERNON RD
LIMEKILN PIKE                   CEDARBROOK AVE                CEDARBROOK AVE
GILBERT ST                      E MOUNT AIRY AVE              EASTON RD
MICHENER AVE                    VERNON RD                     GREENWOOD ST
GREENWOOD ST                    TEMPLE RD                     MICHENER AVE
TEMPLE RD                       GREENWOOD ST                  E SEDGWICK ST
ARGUS RD                        LIMEKILN PIKE                 E PHIL ELLENA ST
RUGBY ST                        E MOUNT AIRY AVE              EASTON RD
GREENWOOD ST                    FAYETTE ST                    TEMPLE RD
FAYETTE ST                      GREENWOOD ST                  E SEDGWICK ST
LIMEKILN PIKE                   PICKERING AVE                 ARGUS RD
PROVIDENT ST                    E PHIL ELLENA ST              GREENWOOD ST
CEDARBROOK AVE                  E UPSAL ST                    LIMEKILN PIKE
E SEDGWICK ST                   FORREST AVE                   WILLIAMS AVE
E DURHAM ST                     GILBERT ST                    THOURON AVE
WILLIAMS AVE                    E GORGAS LN                   E SEDGWICK ST
WOOLSTON AVE                    E MOUNT AIRY AVE              EASTON RD
BAYARD ST                       LIMEKILN PIKE                 E PHIL ELLENA ST
PICKERING AVE                   80TH AVE                      LIMEKILN PIKE
MICHENER AVE                    E PHIL ELLENA ST              VERNON RD
GILBERT ST                      E MOUNT PLEASANT AVE          E DURHAM ST
SYDNEY ST                       WOOLSTON AVE                  THOURON AVE
RUGBY ST                        E MOUNT PLEASANT AVE          E DURHAM ST
TEMPLE RD                       E PHIL ELLENA ST              VERNON RD
PROVIDENT ST                    LIMEKILN PIKE                 E PHIL ELLENA ST
MICHENER AVE                    E SHARPNACK ST                E PHIL ELLENA ST
E SEDGWICK ST                   GILBERT ST                    THOURON AVE
GILBERT ST                      E SEDGWICK ST                 E MOUNT PLEASANT AVE
LYNNEWOOD RD                    E GOWEN AVE                   CUL DE SAC WEST
VERNON RD                       FORREST AVE                   WILLIAMS AVE
FAYETTE ST                      E PHIL ELLENA ST              VERNON RD
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WOODBROOK LN                   STENTON AVE                   MANSFIELD AVE
MICHENER AVE                   E UPSAL ST                    E SHARPNACK ST
E SEDGWICK ST                  RUGBY ST                      GILBERT ST
RUGBY ST                       E SEDGWICK ST                 E MOUNT PLEASANT AVE
E MOUNT AIRY AVE               LOWBER AVE                    WOOLSTON AVE
LOWBER AVE                     E MOUNT AIRY AVE              EASTON RD
WILLIAMS AVE                   E PHIL ELLENA ST              VERNON RD
MURDOCH RD                     STENTON AVE                   MANSFIELD AVE
GILBERT ST                     E GORGAS LN                   E SEDGWICK ST
LYNNEWOOD RD                   WADSWORTH AVE                 E GOWEN AVE
SYDNEY ST                      LOWBER AVE                    WOOLSTON AVE
WOOLSTON AVE                   E SEDGWICK ST                 E MOUNT PLEASANT AVE
TEMPLE RD                      E UPSAL ST                    E SHARPNACK ST
FAYETTE ST                     E WEAVER ST                   E SHARPNACK ST
ROUMFORT RD                    STENTON AVE                   MANSFIELD AVE
RODNEY ST                      EASTON RD                     WADSWORTH AVE
E GORGAS LN                    RUGBY ST                      GILBERT ST
RUGBY ST                       E GORGAS LN                   E SEDGWICK ST
FORREST AVE                    E PHIL ELLENA ST              VERNON RD
E DURHAM ST                    LOWBER AVE                    WOOLSTON AVE
GILBERT ST                     VERNON RD                     E GORGAS LN
WILLIAMS AVE                   E SHARPNACK ST                E PHIL ELLENA ST
MC PHERSON ST                  STENTON AVE                   MANSFIELD AVE
FAYETTE ST                     E UPSAL ST                    E WEAVER ST
LYNNEWOOD RD                   E MOUNT AIRY AVE              WADSWORTH AVE
WOODBROOK LN                   CRITTENDEN ST                 STENTON AVE
SYDNEY ST                      RODNEY ST                     LOWBER AVE
RODNEY ST                      SYDNEY ST                     EASTON RD
E GORGAS LN                    WOOLSTON AVE                  RUGBY ST
WOOLSTON AVE                   E GORGAS LN                   E SEDGWICK ST
RUGBY ST                       VERNON RD                     E GORGAS LN
FORREST AVE                    E SHARPNACK ST                E PHIL ELLENA ST
MURDOCH RD                     CRITTENDEN ST                 STENTON AVE
E DURHAM ST                    RODNEY ST                     LOWBER AVE
FAYETTE ST                     E CLIVEDEN ST                 E UPSAL ST
PLAINFIELD ST                  STENTON AVE                   MANSFIELD AVE
E WEAVER ST                    FORREST AVE                   WILLIAMS AVE
E GORGAS LN                    BALDWIN ST                    WOOLSTON AVE
WOODBROOK LN                   ANDERSON ST                   CRITTENDEN ST
WOOLSTON AVE                   VERNON RD                     E GORGAS LN
E SEDGWICK ST                  LOWBER AVE                    WOOLSTON AVE
LOWBER AVE                     E SEDGWICK ST                 E MOUNT PLEASANT AVE
ARDLEIGH ST                    E MERMAID LN                  CUL DE SAC EAST
WADSWORTH AVE                  STENTON AVE                   MANSFIELD AVE
SYDNEY ST                      MANSFIELD AVE                 RODNEY ST
RODNEY ST                      E ELLET ST                    E MOUNT PLEASANT AVE
E CLIVEDEN ST                  WILLIAMS AVE                  LIMEKILN PIKE
WILLIAMS AVE                   E CLIVEDEN ST                 E UPSAL ST
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VERNON RD                       BALDWIN ST                    WOOLSTON AVE
BALDWIN ST                      VERNON RD                     E GORGAS LN
E WEAVER ST                     THOURON AVE                   FORREST AVE
E GOWEN AVE                     CRITTENDEN ST                 STENTON AVE
GILBERT ST                      E SHARPNACK ST                E PHIL ELLENA ST
E DURHAM ST                     MANSFIELD AVE                 RODNEY ST
E SEDGWICK ST                   RODNEY ST                     LOWBER AVE
RODNEY ST                       E SEDGWICK ST                 E ELLET ST
E GORGAS LN                     LOWBER AVE                    BALDWIN ST
LOWBER AVE                      E GORGAS LN                   E SEDGWICK ST
E CLIVEDEN ST                   FORREST AVE                   WILLIAMS AVE
FORREST AVE                     E CLIVEDEN ST                 E UPSAL ST
WILLIAMS AVE                    LIMEKILN PIKE                 E CLIVEDEN ST
ANDERSON ST                     ROUMFORT RD                   WOODBROOK LN
E ELLET ST                      MANSFIELD AVE                 RODNEY ST
GILBERT ST                      E UPSAL ST                    E SHARPNACK ST
LIMEKILN PIKE                   E JOHNSON ST                  WILLIAMS AVE
E GORGAS LN                     RODNEY ST                     LOWBER AVE
RODNEY ST                       E GORGAS LN                   E SEDGWICK ST
E SEDGWICK ST                   MANSFIELD AVE                 RODNEY ST
E CLIVEDEN ST                   THOURON AVE                   FORREST AVE
WOOLSTON AVE                    E SHARPNACK ST                E PHIL ELLENA ST
E DURHAM ST                     STENTON AVE                   MANSFIELD AVE
SLOCUM ST                       LOWBER AVE                    WOOLSTON AVE
LOWBER AVE                      SLOCUM ST                     VERNON RD
E JOHNSON ST                    FORREST AVE                   LIMEKILN PIKE
FORREST AVE                     E JOHNSON ST                  E CLIVEDEN ST
E GORGAS LN                     MANSFIELD AVE                 RODNEY ST
VERNON RD                       RODNEY ST                     LOWBER AVE
RODNEY ST                       VERNON RD                     E GORGAS LN
GILBERT ST                      E CLIVEDEN ST                 E UPSAL ST
LIMEKILN PIKE                   E WASHINGTON LN               E JOHNSON ST
DORSET ST                       LOWBER AVE                    WOOLSTON AVE
WADSWORTH AVE                   ANDERSON ST                   CRITTENDEN ST
E JOHNSON ST                    THOURON AVE                   FORREST AVE
VERNON RD                       MANSFIELD AVE                 RODNEY ST
RUGBY ST                        E CLIVEDEN ST                 E UPSAL ST
FORREST AVE                     E WASHINGTON LN               E JOHNSON ST
E DURHAM ST                     CRITTENDEN ST                 STENTON AVE
E ALLENS LN                     ANDERSON ST                   CRITTENDEN ST
ANDERSON ST                     E ALLENS LN                   WADSWORTH AVE
LIMEKILN PIKE                   MAYLAND ST                    E WASHINGTON LN
E SEDGWICK ST                   STENTON AVE                   MANSFIELD AVE
E PHIL ELLENA ST                LOWBER AVE                    BALDWIN ST
GILBERT ST                      E JOHNSON ST                  E CLIVEDEN ST
SLOCUM ST                       MANSFIELD AVE                 LOWBER AVE
E GORGAS LN                     CORNELIUS ST                  HOLLIS ST
VERNON RD                       HOLLIS ST                     MANSFIELD AVE
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HOLLIS ST                           VERNON RD                     E GORGAS LN
ANDERSON ST                         E MOUNT AIRY AVE              E ALLENS LN
LIMEKILN PIKE                       MOHICAN ST                    MAYLAND ST
RUGBY ST                            E JOHNSON ST                  E CLIVEDEN ST
E HORTTER ST                        LOWBER AVE                    BALDWIN ST
DORSET ST                           MANSFIELD AVE                 LOWBER AVE
VERNON RD                           CORNELIUS ST                  HOLLIS ST
GILBERT ST                          E WASHINGTON LN               E JOHNSON ST
WOOLSTON AVE                        E JOHNSON ST                  E CLIVEDEN ST
E SHARPNACK ST                      LOWBER AVE                    BALDWIN ST
E DURHAM ST                         ANDERSON ST                   CRITTENDEN ST
E SEDGWICK ST                       CRITTENDEN ST                 STENTON AVE
RUGBY ST                            E WASHINGTON LN               E JOHNSON ST
E PHIL ELLENA ST                    MANSFIELD AVE                 LOWBER AVE
VERNON RD                           STENTON AVE                   CORNELIUS ST
WOOLSTON AVE                        E WASHINGTON LN               E JOHNSON ST
LIMEKILN PIKE                       THOURON AVE                   MOHICAN ST
E HORTTER ST                        MANSFIELD AVE                 LOWBER AVE
SLOCUM ST                           STENTON AVE                   MANSFIELD AVE
E GORGAS LN                         CRITTENDEN ST                 STENTON AVE
RUGBY ST                            MOHICAN ST                    E WASHINGTON LN
DORSET ST                           STENTON AVE                   MANSFIELD AVE
LIMEKILN PIKE                       E PASTORIUS ST                THOURON AVE
YERKES ST                           RODNEY ST                     LOWBER AVE
E WALNUT LN                         OGONTZ AVE                    FORREST AVE
E SEDGWICK ST                       ANDERSON ST                   CRITTENDEN ST
E GORGAS LN                         GORSTEN ST                    CRITTENDEN ST
CARDEZA ST                          RODNEY ST                     LOWBER AVE
E PHIL ELLENA ST                    STENTON AVE                   MANSFIELD AVE
VERNON RD                           CRITTENDEN ST                 STENTON AVE
CRITTENDEN ST                       VERNON RD                     E GORGAS LN
E CLIVEDEN ST                       RODNEY ST                     LOWBER AVE
WOOLSTON AVE                        E TULPEHOCKEN ST              NOLAN ST
LIMEKILN PIKE                       BEVERLY RD                    E PASTORIUS ST
FORREST AVE                         HOMER ST                      E WALNUT LN
E WALNUT LN                         FORREST AVE                   CEDAR PARK AVE
E HORTTER ST                        STENTON AVE                   MANSFIELD AVE
BARRINGER ST                        RODNEY ST                     LOWBER AVE
WOOLSTON AVE                        WYNSAM ST                     E TULPEHOCKEN ST
DORSET ST                           CRITTENDEN ST                 STENTON AVE
CRITTENDEN ST                       DORSET ST                     VERNON RD
E GORGAS LN                         ANDERSON ST                   GORSTEN ST
YERKES ST                           MANSFIELD AVE                 RODNEY ST
E SHARPNACK ST                      STENTON AVE                   MANSFIELD AVE
MAYLAND ST                          LOWBER AVE                    WOOLSTON AVE
E JOHNSON ST                        RODNEY ST                     LOWBER AVE
WOOLSTON AVE                        E PASTORIUS ST                WYNSAM ST
VERNON RD                           GORSTEN ST                    CRITTENDEN ST
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GORSTEN ST                     VERNON RD                     E GORGAS LN
E WALNUT LN                    CEDAR PARK AVE                LIMEKILN PIKE
LIMEKILN PIKE                  E WALNUT LN                   BEVERLY RD
CARDEZA ST                     MANSFIELD AVE                 RODNEY ST
E DUVAL ST                     RODNEY ST                     LOWBER AVE
E PHIL ELLENA ST               CRITTENDEN ST                 STENTON AVE
CRITTENDEN ST                  E PHIL ELLENA ST              DORSET ST
E GORGAS LN                    MILTON ST                     ANDERSON ST
E CLIVEDEN ST                  MANSFIELD AVE                 RODNEY ST
WOOLSTON AVE                   BEVERLY RD                    E PASTORIUS ST
FORREST AVE                    MIDDLETON ST                  HOMER ST
E TULPEHOCKEN ST               LOWBER AVE                    WOOLSTON AVE
ARDLEIGH ST                    E SEDGWICK ST                 E MOUNT PLEASANT AVE
E WALNUT LN                    LIMEKILN PIKE                 LOUISE ST
YERKES ST                      STENTON AVE                   MANSFIELD AVE
BARRINGER ST                   MANSFIELD AVE                 RODNEY ST
VERNON RD                      ANDERSON ST                   GORSTEN ST
ANDERSON ST                    VERNON RD                     E GORGAS LN
WYNSAM ST                      LOWBER AVE                    WOOLSTON AVE
CARDEZA ST                     STENTON AVE                   MANSFIELD AVE
CRITTENDEN ST                  E SHARPNACK ST                E HORTTER ST
E JOHNSON ST                   MANSFIELD AVE                 RODNEY ST
SPRAGUE ST                     E ELLET ST                    E MOUNT PLEASANT AVE
E GORGAS LN                    ARDLEIGH ST                   MILTON ST
ARDLEIGH ST                    E GORGAS LN                   E SEDGWICK ST
MAYLAND ST                     RODNEY ST                     LOWBER AVE
DORSET ST                      ANDERSON ST                   CRITTENDEN ST
ANDERSON ST                    DORSET ST                     VERNON RD
E SHARPNACK ST                 CRITTENDEN ST                 STENTON AVE
CRITTENDEN ST                  E SHARPNACK ST                E SHARPNACK ST
LIMEKILN PIKE                  MIDDLETON ST                  E WALNUT LN
E WALNUT LN                    LOUISE ST                     WOOLSTON AVE
WOOLSTON AVE                   E WALNUT LN                   BEVERLY RD
E CLIVEDEN ST                  STENTON AVE                   MANSFIELD AVE
E DUVAL ST                     MANSFIELD AVE                 RODNEY ST
SPRAGUE ST                     E SEDGWICK ST                 E ELLET ST
VERNON RD                      MILTON ST                     ANDERSON ST
MILTON ST                      VERNON RD                     E GORGAS LN
FORREST AVE                    ANDREWS AVE                   MIDDLETON ST
MIDDLETON ST                   LIMEKILN PIKE                 LOUISE ST
LOUISE ST                      MIDDLETON ST                  E WALNUT LN
E PHIL ELLENA ST               ANDERSON ST                   CRITTENDEN ST
ANDERSON ST                    E PHIL ELLENA ST              DORSET ST
BARRINGER ST                   STENTON AVE                   MANSFIELD AVE
E TULPEHOCKEN ST               RODNEY ST                     LOWBER AVE
CEDAR PARK AVE                 ANDREWS AVE                   MIDDLETON ST
SPRAGUE ST                     DURARD RD                     E SEDGWICK ST
MIDDLETON ST                   LOUISE ST                     WOOLSTON AVE
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YERKES ST                      CRITTENDEN ST                 STENTON AVE
ANDERSON ST                    HORTTER PL                    E PHIL ELLENA ST
MAYLAND ST                     MANSFIELD AVE                 RODNEY ST
WYNSAM ST                      RODNEY ST                     LOWBER AVE
E JOHNSON ST                   STENTON AVE                   MANSFIELD AVE
VERNON RD                      E PHIL ELLENA ST              MILTON ST
ARDLEIGH ST                    VERNON RD                     E GORGAS LN
SPRAGUE ST                     E GORGAS LN                   DURARD RD
LIMEKILN PIKE                  ANDREWS AVE                   MIDDLETON ST
CARDEZA ST                     CRITTENDEN ST                 STENTON AVE
E SHARPNACK ST                 ANDERSON ST                   CRITTENDEN ST
69TH AVE                       N 19TH ST                     OGONTZ AVE
E PHIL ELLENA ST               ARDLEIGH ST                   ANDERSON ST
RODNEY ST                      E PASTORIUS ST                WYNSAM ST
ANDREWS AVE                    LIMEKILN PIKE                 LOUISE ST
E ELLET ST                     BOYER ST                      SPRAGUE ST
E TULPEHOCKEN ST               CORNELIUS ST                  RODNEY ST
E DUVAL ST                     STENTON AVE                   MANSFIELD AVE
SPRAGUE ST                     MEEHAN AVE                    E GORGAS LN
E CLIVEDEN ST                  CRITTENDEN ST                 STENTON AVE
RODNEY ST                      BEVERLY RD                    E PASTORIUS ST
69TH AVE                       OGONTZ AVE                    FORREST AVE
FORREST AVE                    69TH AVE                      ANDREWS AVE
BARRINGER ST                   CRITTENDEN ST                 STENTON AVE
N PLEASANT PL                  SPRAGUE ST                    E PLEASANT PL
E TULPEHOCKEN ST               MANSFIELD AVE                 CORNELIUS ST
E WALNUT LN                    RODNEY ST                     WOOLSTON AVE
RODNEY ST                      E WALNUT LN                   BEVERLY RD
E PLEASANT PL                  S PLEASANT PL                 N PLEASANT PL
WYNSAM ST                      CORNELIUS ST                  RODNEY ST
69TH AVE                       FORREST AVE                   CEDAR PARK AVE
CEDAR PARK AVE                 69TH AVE                      ANDREWS AVE
YERKES ST                      ANDERSON ST                   CRITTENDEN ST
E JOHNSON ST                   CRITTENDEN ST                 STENTON AVE
CRITTENDEN ST                  E JOHNSON ST                  BARRINGER ST
LIMEKILN PIKE                  HAINES ST                     ANDREWS AVE
FORREST AVE                    HAINES ST                     69TH AVE
HAINES ST                      N 20TH ST                     CEDAR PARK AVE
HAINES ST                      CEDAR PARK AVE                69TH AVE
CARDEZA ST                     ANDERSON ST                   CRITTENDEN ST
RODNEY ST                      ANDREWS AVE                   HOMER ST
HAINES ST                      OGONTZ AVE                    N 20TH ST
E PASTORIUS ST                 CORNELIUS ST                  RODNEY ST
CORNELIUS ST                   E PASTORIUS ST                WYNSAM ST
CRITTENDEN ST                  E DUVAL ST                    E JOHNSON ST
LIMEKILN PIKE                  E RITTENHOUSE ST              HAINES ST
N 20TH ST                      E RITTENHOUSE ST              HAINES ST
E RITTENHOUSE ST               N 20TH ST                     LIMEKILN PIKE
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E WALNUT LN                    HOLLIS ST                     RODNEY ST
E WASHINGTON LN S              E WASHINGTON LN               STENTON AVE
CORNELIUS ST                   BEVERLY RD                    E PASTORIUS ST
LIMEKILN PIKE                  68TH AVE                      E RITTENHOUSE ST
N 20TH ST                      68TH AVE                      E RITTENHOUSE ST
68TH AVE                       N 20TH ST                     EASTBURN AVE
68TH AVE                       WYNCOTE AVE                   N 20TH ST
68TH AVE                       OGONTZ AVE                    WYNCOTE AVE
N GRATZ ST                     68TH AVE                      HAINES ST
N BOUVIER ST                   68TH AVE                      HAINES ST
N 17TH ST                      68TH AVE                      HAINES ST
68TH AVE                       N SMEDLEY ST                  N 17TH ST
N 16TH ST                      68TH AVE                      HAINES ST
68TH AVE                       N 16TH ST                     N SMEDLEY ST
E WALNUT LN                    CORNELIUS ST                  HOLLIS ST
CORNELIUS ST                   E WALNUT LN                   BEVERLY RD
EASTBURN AVE                   LIMEKILN PIKE                 N WOODSTOCK ST
N 20TH ST                      INDEPENDENCE ST               WYNCOTE AVE
N CARLISLE ST                  68TH AVE                      HAINES ST
68TH AVE                       N CARLISLE ST                 N 15TH ST
EASTBURN AVE                   N WOODSTOCK ST                WOOLSTON AVE
WOOLSTON AVE                   EASTBURN AVE                  HAINES ST
EASTBURN AVE                   WOOLSTON AVE                  RODNEY ST
LIMEKILN PIKE                  WYNCOTE AVE                   68TH AVE
67TH AVE                       N OPAL ST                     LIMEKILN PIKE
N 20TH ST                      67TH AVE                      INDEPENDENCE ST
67TH AVE                       N 20TH ST                     N OPAL ST
67TH AVE                       N UBER ST                     N 20TH ST
N GRATZ ST                     67TH AVE                      68TH AVE
67TH AVE                       N GRATZ ST                    OGONTZ AVE
N 18TH ST                      67TH AVE                      68TH AVE
67TH AVE                       N 18TH ST                     N GRATZ ST
N BOUVIER ST                   67TH AVE                      68TH AVE
67TH AVE                       N BOUVIER ST                  N 18TH ST
N 17TH ST                      67TH AVE                      68TH AVE
67TH AVE                       N 17TH ST                     N BOUVIER ST
N SMEDLEY ST                   67TH AVE                      68TH AVE
67TH AVE                       N SMEDLEY ST                  N 17TH ST
N 16TH ST                      67TH AVE                      68TH AVE
67TH AVE                       N 16TH ST                     N SMEDLEY ST
67TH AVE                       N SYDENHAM ST                 N 16TH ST
67TH AVE                       N 15TH ST                     N SYDENHAM ST
N CARLISLE ST                  67TH AVE                      68TH AVE
67TH AVE                       N CARLISLE ST                 N 15TH ST
GILBERT ST                     E PHIL ELLENA ST              VERNON RD
E PHIL ELLENA ST               TEMPLE RD                     TEMPLE RD
TEMPLE RD                      E SHARPNACK ST                E PHIL ELLENA ST
FAYETTE ST                     E SHARPNACK ST                E PHIL ELLENA ST
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BAYARD ST                    E PHIL ELLENA ST              GREENWOOD ST
WADSWORTH AVE                CRITTENDEN ST                 STENTON AVE
E ALLENS LN                  CRITTENDEN ST                 STENTON AVE
N SYDENHAM ST                68TH AVE                      HAINES ST
N SYDENHAM ST                67TH AVE                      68TH AVE
68TH AVE                     N 15TH ST                     N SYDENHAM ST
68TH AVE                     N SYDENHAM ST                 N 16TH ST
E DUVAL ST                   CRITTENDEN ST                 STENTON AVE
E HORTTER ST                 CRITTENDEN ST                 STENTON AVE
N 15TH ST                    72ND AVE                      W CHELTENHAM AVE
N 15TH ST                    71ST AVE                      72ND AVE
N 15TH ST                    70TH AVE                      71ST AVE
N 15TH ST                    69TH AVE                      70TH AVE
HAINES ST                    N GRATZ ST                    N 19TH ST
HAINES ST                    N 18TH ST                     N GRATZ ST
HAINES ST                    N BOUVIER ST                  N 18TH ST
HAINES ST                    N 17TH ST                     N BOUVIER ST
HAINES ST                    N 16TH ST                     N 17TH ST
HAINES ST                    N SYDENHAM ST                 N 16TH ST
N 15TH ST                    HAINES ST                     69TH AVE
HAINES ST                    N 15TH ST                     N SYDENHAM ST
HAINES ST                    N CARLISLE ST                 N 15TH ST
N 15TH ST                    68TH AVE                      HAINES ST
N 15TH ST                    67TH AVE                      68TH AVE
N 18TH ST                    68TH AVE                      HAINES ST
68TH AVE                     N GRATZ ST                    OGONTZ AVE
68TH AVE                     N 18TH ST                     N GRATZ ST
68TH AVE                     N BOUVIER ST                  N 18TH ST
68TH AVE                     N 17TH ST                     N BOUVIER ST
ROUMFORT RD                  CRITTENDEN ST                 STENTON AVE
MANSFIELD AVE                WOODBROOK LN                  IVY HILL RD
MANSFIELD AVE                PLAINFIELD ST                 E GOWEN AVE
MANSFIELD AVE                SYDNEY ST                     E MOUNT AIRY AVE
MANSFIELD AVE                E MOUNT PLEASANT AVE          E DURHAM ST
MANSFIELD AVE                E GORGAS LN                   DURARD ST
MANSFIELD AVE                VERNON RD                     E GORGAS LN
CRITTENDEN ST                CRESHEIM VALLEY DR            E MERMAID LN
E MERMAID LN                 ARDLEIGH ST                   CRITTENDEN ST
CRITTENDEN ST                E GOWEN AVE                   ROUMFORT RD
CRITTENDEN ST                WADSWORTH AVE                 E GOWEN AVE
CRITTENDEN ST                E ALLENS LN                   WADSWORTH AVE
CRITTENDEN ST                E MOUNT AIRY AVE              E ALLENS LN
E MERMAID LN                 GERMANTOWN AVE                WINSTON RD
CRITTENDEN ST                E DURHAM ST                   E MOUNT AIRY AVE
CRITTENDEN ST                E SEDGWICK ST                 E MOUNT PLEASANT AVE
CRITTENDEN ST                E GORGAS LN                   E SEDGWICK ST
W MERMAID LN                 GERMANTOWN AVE                CREFELD ST
E ALLENS LN                  STENTON AVE                   MANSFIELD AVE
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WINSTON RD                     E WILLOW GROVE AVE            WOODALE AVE
WINSTON RD                     E SPRINGFIELD AVE             BENEZET ST
WINSTON RD                     E MERMAID LN                  E MORELAND AVE
WINSTON RD                     GERMANTOWN AVE                E MERMAID LN
POCONO ST                      W MERMAID LN                  W MORELAND AVE
CRESHEIM VALLEY DR             GERMANTOWN AVE                CRITTENDEN ST
CRESHEIM VALLEY DR             NAVAJO ST                     GERMANTOWN AVE
CRESHEIM VALLEY DR             LINCOLN DR                    NAVAJO ST
NAVAJO ST                      CRESHEIM VALLEY DR            W MERMAID LN
W MORELAND AVE                 ROANOKE ST                    CREFELD ST
CREFELD ST                     W MERMAID LN                  W MORELAND AVE
E GOWEN AVE                    BOYER ST                      DEVON ST
E GOWEN AVE                    GERMANTOWN AVE                BOYER ST
W MERMAID LN                   CREFELD ST                    NAVAJO ST
BOYER ST                       E MOUNT AIRY AVE              E GOWEN AVE
BOYER ST                       SYDNEY ST                     E MOUNT AIRY AVE
BOYER ST                       E DURHAM ST                   SYDNEY ST
BOYER ST                       E MOUNT PLEASANT AVE          E DURHAM ST
BOYER ST                       E DURHAM ST                   E DURHAM ST
HOWARD TER                     E MOUNT AIRY AVE              DEAD END WEST
SPRAGUE ST                     WADSWORTH AVE                 E GOWEN AVE
SPRAGUE ST                     E ALLENS LN                   WADSWORTH AVE
SPRAGUE ST                     E MOUNT PLEASANT AVE          E DURHAM ST
E GOWEN AVE                    ARDLEIGH ST                   CRITTENDEN ST
ARDLEIGH ST                    E GOWEN AVE                   ROUMFORT RD
WADSWORTH AVE                  ARDLEIGH ST                   ANDERSON ST
ARDLEIGH ST                    WADSWORTH AVE                 E GOWEN AVE
E ALLENS LN                    ARDLEIGH ST                   ANDERSON ST
ARDLEIGH ST                    E ALLENS LN                   WADSWORTH AVE
ARDLEIGH ST                    E MOUNT AIRY AVE              E ALLENS LN
E GOWEN AVE                    SPRAGUE ST                    ARDLEIGH ST
SPRAGUE ST                     E GOWEN AVE                   ROUMFORT RD
WADSWORTH AVE                  SPRAGUE ST                    ARDLEIGH ST
ARDLEIGH ST                    E DURHAM ST                   E MOUNT AIRY AVE
E ALLENS LN                    SPRAGUE ST                    ARDLEIGH ST
E DURHAM ST                    SPRAGUE ST                    ARDLEIGH ST
SYDNEY ST                      BOYER ST                      DEVON ST
E DURHAM ST                    BOYER ST                      DEVON ST
DEVON ST                       E DURHAM ST                   SYDNEY ST
DEVON ST                       SPRAGUE ST                    E DURHAM ST
MANSFIELD AVE                  STENTON AVE                   E TULPEHOCKEN ST
N 20TH ST                      STERLING ST                   RENOVO ST
BRIAR RD                       E TULPEHOCKEN ST              75TH AVE
N 20TH ST                      74TH AVE                      STERLING ST
BRIAR RD                       74TH AVE                      E TULPEHOCKEN ST
N 20TH ST                      PENFIELD ST                   74TH AVE
BRIAR RD                       WOOSTER RD                    74TH AVE
N 20TH ST                      ASHLEY RD                     PENFIELD ST
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N 18TH ST                       PENFIELD ST                   W CHELTENHAM AVE
BRIAR RD                        E WALNUT LN                   WOOSTER RD
73RD AVE                        N 21ST ST                     BRIAR RD
N 20TH ST                       73RD AVE                      ASHLEY RD
73RD AVE                        N 20TH ST                     N 21ST ST
N 18TH ST                       ASHLEY RD                     PENFIELD ST
73RD AVE                        ANDREWS AVE                   N 20TH ST
73RD AVE                        N 19TH ST                     ANDREWS AVE
N 20TH ST                       ELSTON ST                     73RD AVE
N 18TH ST                       73RD AVE                      ASHLEY RD
73RD AVE                        N 18TH ST                     N 19TH ST
N 20TH ST                       PLYMOUTH ST                   ELSTON ST
N 18TH ST                       ELSTON ST                     73RD AVE
N 18TH ST                       PLYMOUTH ST                   ELSTON ST
N 20TH ST                       72ND AVE                      PLYMOUTH ST
PLYMOUTH ST                     PITTVILLE AVE                 N 18TH ST
N 18TH ST                       72ND AVE                      PLYMOUTH ST
N 20TH ST                       DALLAS ST                     72ND AVE
N 18TH ST                       DALLAS ST                     72ND AVE
N 18TH ST                       DEAD END SOUTH                DALLAS ST
BRIAR RD                        75TH AVE                      E WASHINGTON LN
LIMEKILN PIKE                   78TH AVE                      E UPSAL ST
PICKERING AVE                   E MOUNT AIRY AVE              WADSWORTH AVE
PICKERING AVE                   E DURHAM ST                   E MOUNT AIRY AVE
PICKERING AVE                   VERNON RD                     E MOUNT PLEASANT AVE
PICKERING AVE                   GREENWOOD ST                  VERNON RD
PICKERING AVE                   E PHIL ELLENA ST              GREENWOOD ST
ROUMFORT RD                     ANDERSON ST                   CRITTENDEN ST
ROUMFORT RD                     CREST PARK RD                 ANDERSON ST
ROUMFORT RD                     ARDLEIGH ST                   CREST PARK RD
ROUMFORT RD                     SPRAGUE ST                    ARDLEIGH ST
CRITTENDEN ST                   WINSTON RD                    E GRAVERS LN
CRITTENDEN ST                   E WILLOW GROVE AVE            E ABINGTON AVE
WYNDMOOR ST                     BENEZET ST                    E WILLOW GROVE AVE
WYNDMOOR ST                     E SPRINGFIELD AVE             BENEZET ST
WINSTON RD                      WOODALE AVE                   ARDLEIGH ST
BENEZET ST                      ARDLEIGH ST                   WYNDMOOR ST
ANDERSON ST                     E WILLOW GROVE AVE            CUL DE SAC WEST
E SPRINGFIELD AVE               ARDLEIGH ST                   WYNDMOOR ST
E ABINGTON AVE                  CRITTENDEN ST                 STENTON AVE
ARDLEIGH ST                     E MORELAND AVE                DEVON ST
ARDLEIGH ST                     E MERMAID LN                  E MORELAND AVE
ARDLEIGH ST                     E SPRINGFIELD AVE             BENEZET ST
ARDLEIGH ST                     BENEZET ST                    E WILLOW GROVE AVE
BENEZET ST                      WINSTON RD                    ARDLEIGH ST
E MORELAND AVE                  DEVON ST                      ARDLEIGH ST
DEVON ST                        E MORELAND AVE                ARDLEIGH ST
E MORELAND AVE                  DEVON ST                      DEVON ST
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E MORELAND AVE                 WINSTON RD                    DEVON ST
W SPRINGFIELD AVE              GERMANTOWN AVE                ROANOKE ST
E MORELAND AVE                 GERMANTOWN AVE                WINSTON RD
W SPRINGFIELD AVE              ROANOKE ST                    CREFELD ST
W MORELAND AVE                 E MORELAND AVE                ROANOKE ST
WOODBROOK LN                   PICKERING AVE                 W CHELTENHAM AVE
MC PHERSON ST                  PICKERING AVE                 W CHELTENHAM AVE
ELAINE ST                      PICKERING AVE                 W CHELTENHAM AVE
PROVIDENT ST                   ROUMFORT RD                   IVY HILL RD
PROVIDENT ST                   E GOWEN AVE                   ROUMFORT RD
MURDOCH RD                     PICKERING AVE                 W CHELTENHAM AVE
BAYARD ST                      ROUMFORT RD                   IVY HILL RD
TEMPLE RD                      WADSWORTH AVE                 E GOWEN AVE
TEMPLE RD                      E MOUNT AIRY AVE              WADSWORTH AVE
E MOUNT AIRY AVE               CEDARBROOK AVE                W CHELTENHAM AVE
E MOUNT AIRY AVE               PICKERING AVE                 CEDARBROOK AVE
E MOUNT AIRY AVE               BAYARD ST                     PICKERING AVE
E MOUNT AIRY AVE               PROVIDENT ST                  BAYARD ST
E MOUNT AIRY AVE               MICHENER AVE                  PROVIDENT ST
FAYETTE ST                     ROUMFORT RD                   IVY HILL RD
FAYETTE ST                     E GOWEN AVE                   ROUMFORT RD
FAYETTE ST                     WADSWORTH AVE                 E GOWEN AVE
FAYETTE ST                     E MOUNT AIRY AVE              WADSWORTH AVE
MICHENER AVE                   ROUMFORT RD                   IVY HILL RD
MICHENER AVE                   E GOWEN AVE                   ROUMFORT RD
MICHENER AVE                   E MOUNT AIRY AVE              WADSWORTH AVE
MICHENER AVE                   GREENWOOD ST                  E SEDGWICK ST
ROUMFORT RD                    PICKERING AVE                 W CHELTENHAM AVE
TEMPLE RD                      ROUMFORT RD                   IVY HILL RD
TEMPLE RD                      E GOWEN AVE                   ROUMFORT RD
WILLIAMS AVE                   ROUMFORT RD                   IVY HILL RD
FORREST AVE                    ROUMFORT RD                   IVY HILL RD
WILLIAMS AVE                   E GOWEN AVE                   ROUMFORT RD
FORREST AVE                    E GOWEN AVE                   ROUMFORT RD
WILLIAMS AVE                   WADSWORTH AVE                 E GOWEN AVE
FORREST AVE                    WADSWORTH AVE                 E GOWEN AVE
WILLIAMS AVE                   E MOUNT AIRY AVE              WADSWORTH AVE
FORREST AVE                    E MOUNT AIRY AVE              WADSWORTH AVE
RUGBY ST                       ROUMFORT RD                   IVY HILL RD
BAYARD ST                      E MOUNT PLEASANT AVE          E MOUNT AIRY AVE
GILBERT ST                     ROUMFORT RD                   IVY HILL RD
PROVIDENT ST                   E MOUNT PLEASANT AVE          E MOUNT AIRY AVE
E DURHAM ST                    CEDARBROOK AVE                W CHELTENHAM AVE
CEDARBROOK AVE                 E DURHAM ST                   E MOUNT AIRY AVE
E DURHAM ST                    PICKERING AVE                 CEDARBROOK AVE
MOHICAN ST                     LOWBER AVE                    WOOLSTON AVE
MOHICAN ST                     RODNEY ST                     LOWBER AVE
MOHICAN ST                     MANSFIELD AVE                 RODNEY ST
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NOLAN ST                       WOOLSTON AVE                  THOURON AVE
E TULPEHOCKEN ST               WOOLSTON AVE                  THOURON AVE
E PASTORIUS ST                 WOOLSTON AVE                  LIMEKILN PIKE
BEVERLY RD                     WOOLSTON AVE                  LIMEKILN PIKE
74TH AVE                       OGONTZ AVE                    E WASHINGTON LN
SOMMERS RD                     74TH AVE                      75TH AVE
ANDREWS AVE                    ASHLEY RD                     PENFIELD ST
N 21ST ST                      73RD AVE                      74TH AVE
SOMMERS RD                     WOOSTER RD                    74TH AVE
ANDREWS AVE                    73RD AVE                      ASHLEY RD
ANDREWS AVE                    ELSTON ST                     73RD AVE
SOMMERS RD                     E WALNUT LN                   WOOSTER RD
ANDREWS AVE                    PLYMOUTH ST                   ELSTON ST
72ND AVE                       N 20TH ST                     N 21ST ST
N 21ST ST                      72ND AVE                      73RD AVE
72ND AVE                       N 21ST ST                     OGONTZ AVE
72ND AVE                       N UBER ST                     N 20TH ST
ANDREWS AVE                    72ND AVE                      PLYMOUTH ST
72ND AVE                       ANDREWS AVE                   N UBER ST
72ND AVE                       GEORGIAN RD                   ANDREWS AVE
N UBER ST                      DALLAS ST                     72ND AVE
ANDREWS AVE                    DALLAS ST                     72ND AVE
ANDREWS AVE                    71ST AVE                      DALLAS ST
HOMER ST                       OGONTZ AVE                    FORREST AVE
CEDAR PARK AVE                 MIDDLETON ST                  E WALNUT LN
71ST AVE                       ANDREWS AVE                   N 20TH ST
DALLAS ST                      N UBER ST                     N 20TH ST
DALLAS ST                      ANDREWS AVE                   N UBER ST
DALLAS ST                      GEORGIAN RD                   ANDREWS AVE
DALLAS ST                      N 19TH ST                     GEORGIAN RD
DALLAS ST                      N 18TH ST                     N 19TH ST
GEORGIAN RD                    DALLAS ST                     72ND AVE
GEORGIAN RD                    71ST AVE                      DALLAS ST
72ND AVE                       N 19TH ST                     GEORGIAN RD
72ND AVE                       N 18TH ST                     N 19TH ST
71ST AVE                       N 19TH ST                     GEORGIAN RD
71ST AVE                       GEORGIAN RD                   ANDREWS AVE
ANDREWS AVE                    LOUISE ST                     WOOLSTON AVE
LOUISE ST                      ANDREWS AVE                   MIDDLETON ST
RODNEY ST                      HAINES ST                     MIDDLETON ST
HOMER ST                       HOLLIS ST                     CORNELIUS ST
HOLLIS ST                      E WALNUT LN                   BEVERLY RD
INDEPENDENCE ST                OGONTZ AVE                    N 20TH ST
N 20TH ST                      WYNCOTE AVE                   68TH AVE
DALLAS ST                      PITTVILLE AVE                 N 18TH ST
ELSTON ST                      ANDREWS AVE                   N 20TH ST
ELSTON ST                      N 19TH ST                     ANDREWS AVE
ELSTON ST                      N 18TH ST                     N 19TH ST
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N BOUVIER ST                    ELSTON ST                     ASHLEY RD
N BOUVIER ST                    ASHLEY RD                     W CHELTENHAM AVE
ELSTON ST                       N BOUVIER ST                  N 18TH ST
ELSTON ST                       PITTVILLE AVE                 N BOUVIER ST
PLYMOUTH ST                     ANDREWS AVE                   N 20TH ST
PLYMOUTH ST                     N 19TH ST                     ANDREWS AVE
PLYMOUTH ST                     N 18TH ST                     N 19TH ST
75TH AVE                        E TULPEHOCKEN ST              MAYLAND RD
75TH AVE                        BEVERLY RD                    E TULPEHOCKEN ST
E WALNUT LN                     75TH AVE                      W CHELTENHAM AVE
75TH AVE                        E WALNUT LN                   BEVERLY RD
75TH AVE                        N 21ST ST                     E WALNUT LN
75TH AVE                        N 20TH ST                     N 21ST ST
ANDREWS AVE                     RENOVO ST                     W CHELTENHAM AVE
ANDREWS AVE                     STERLING ST                   RENOVO ST
E WALNUT LN                     74TH AVE                      75TH AVE
74TH AVE                        E WALNUT LN                   BEVERLY RD
N 21ST ST                       74TH AVE                      75TH AVE
74TH AVE                        N 21ST ST                     E WALNUT LN
74TH AVE                        N 20TH ST                     N 21ST ST
ANDREWS AVE                     74TH AVE                      STERLING ST
74TH AVE                        ANDREWS AVE                   N 20TH ST
74TH AVE                        N 19TH ST                     GEORGIAN RD
74TH AVE                        GEORGIAN RD                   ANDREWS AVE
ANDREWS AVE                     PENFIELD ST                   74TH AVE
PENFIELD ST                     ANDREWS AVE                   N 20TH ST
PENFIELD ST                     N 19TH ST                     ANDREWS AVE
PENFIELD ST                     N 18TH ST                     N 19TH ST
ASHLEY RD                       ANDREWS AVE                   N 20TH ST
ASHLEY RD                       N 19TH ST                     ANDREWS AVE
ASHLEY RD                       N 18TH ST                     N 19TH ST
ASHLEY RD                       N BOUVIER ST                  N 18TH ST
STERLING ST                     ANDREWS AVE                   N 20TH ST
GEORGIAN RD                     74TH AVE                      W CHELTENHAM AVE
RENOVO ST                       ANDREWS AVE                   N 20TH ST
BEVERLY RD                      75TH AVE                      W CHELTENHAM AVE
BEVERLY RD                      74TH AVE                      75TH AVE
N 20TH ST                       75TH AVE                      W CHELTENHAM AVE
N 20TH ST                       RENOVO ST                     75TH AVE
75TH AVE                        E WASHINGTON LN               OGONTZ AVE
75TH AVE                        BRIAR RD                      SOMMERS RD
75TH AVE                        SOMMERS RD                    E WASHINGTON LN
MAYLAND RD                      75TH AVE                      W CHELTENHAM AVE
75TH AVE                        MAYLAND RD                    BRIAR RD
GOWEN CIR                       W GOWEN AVE                   CUL DE SAC SOUTH
W GOWEN AVE                     E GOWEN AVE                   GOWEN CIR
WOOLSTON AVE                    MOHICAN ST                    MOHICAN ST
MAYLAND ST                      THOURON AVE                   LIMEKILN PIKE
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ARDLEIGH ST                    WINSTON RD                    E ABINGTON AVE
LIMEKILN PIKE                  76TH AVE                      E CLIVEDEN ST
LIMEKILN PIKE                  WILLIAMS AVE                  76TH AVE
FAYETTE ST                     76TH AVE                      LIMEKILN PIKE
HAZELWOOD DR                   IVY HILL RD                   IVY HILL RD
CRESHEIM VALLEY DR             CRITTENDEN ST                 STENTON AVE
HORTTER PL                     ANDERSON ST                   CUL DE SAC SOUTH
RUGBY ST                       E PHIL ELLENA ST              VERNON RD
RUGBY ST                       E SHARPNACK ST                E PHIL ELLENA ST
RUGBY ST                       E UPSAL ST                    E SHARPNACK ST
MOHICAN ST                     THOURON AVE                   LIMEKILN PIKE
HAINES ST                      LIMEKILN PIKE                 WOOLSTON AVE
HAINES ST                      WOOLSTON AVE                  RODNEY ST
HAINES ST                      RODNEY ST                     E WISTER ST
BEVERLY RD                     HOLLIS ST                     RODNEY ST
BOYER ST                       E ELLET ST                    E MOUNT PLEASANT AVE
PITTVILLE AVE                  DALLAS ST                     PLYMOUTH ST
PITTVILLE AVE                  PLYMOUTH ST                   ELSTON ST
PITTVILLE AVE                  ELSTON ST                     EUSTON RD
ANDREWS AVE                    OGONTZ AVE                    71ST AVE
W MERMAID LN                   POCONO ST                     SAINT MARTINS LN
DEVON ST                       DEAD END EAST                 E MORELAND AVE
ROUMFORT RD                    GERMANTOWN AVE                BOYER ST
MC PHERSON ST                  GERMANTOWN AVE                BOYER ST
BOYER ST                       MC PHERSON ST                 ROUMFORT RD
BOYER ST                       E GOWEN AVE                   MC PHERSON ST
DEVON ST                       E GOWEN AVE                   DEVON ST
DEVON ST                       DEVON ST                      ROUMFORT RD
CRITTENDEN ST                  MURDOCH RD                    WOODBROOK LN
MANSFIELD AVE                  MURDOCH RD                    WOODBROOK LN
MANSFIELD AVE                  ROUMFORT RD                   MURDOCH RD
MANSFIELD AVE                  MC PHERSON ST                 ROUMFORT RD
E GOWEN AVE                    STENTON AVE                   MANSFIELD AVE
MANSFIELD AVE                  E GOWEN AVE                   MC PHERSON ST
E GOWEN AVE                    MANSFIELD AVE                 LYNNEWOOD RD
WADSWORTH AVE                  RODNEY ST                     LYNNEWOOD RD
PICKERING AVE                  WOODBROOK LN                  IVY HILL RD
PICKERING AVE                  MURDOCH RD                    WOODBROOK LN
PICKERING AVE                  ROUMFORT RD                   MURDOCH RD
PICKERING AVE                  MC PHERSON ST                 ROUMFORT RD
PICKERING AVE                  ELAINE ST                     MC PHERSON ST
PICKERING AVE                  E GOWEN AVE                   ELAINE ST
E GOWEN AVE                    CEDARBROOK AVE                W CHELTENHAM AVE
E GOWEN AVE                    PICKERING AVE                 CEDARBROOK AVE
CEDARBROOK AVE                 WADSWORTH AVE                 E GOWEN AVE
PICKERING AVE                  WADSWORTH AVE                 E GOWEN AVE
ROUMFORT RD                    BAYARD ST                     PICKERING AVE
ROUMFORT RD                    PROVIDENT ST                  BAYARD ST
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BAYARD ST                      WADSWORTH AVE                 E GOWEN AVE
E GOWEN AVE                    BAYARD ST                     PICKERING AVE
E GOWEN AVE                    PROVIDENT ST                  BAYARD ST
PROVIDENT ST                   WADSWORTH AVE                 E GOWEN AVE
ROUMFORT RD                    MICHENER AVE                  PROVIDENT ST
ROUMFORT RD                    WILLIAMS AVE                  FAYETTE ST
ROUMFORT RD                    FORREST AVE                   WILLIAMS AVE
ROUMFORT RD                    GILBERT ST                    THOURON AVE
ROUMFORT RD                    CUL DE SAC SOUTH              RUGBY ST
ROUMFORT RD                    RUGBY ST                      GILBERT ST
E GOWEN AVE                    MICHENER AVE                  PROVIDENT ST
ROUMFORT RD                    TEMPLE RD                     MICHENER AVE
ROUMFORT RD                    FAYETTE ST                    TEMPLE RD
E GOWEN AVE                    FAYETTE ST                    TEMPLE RD
E GOWEN AVE                    WILLIAMS AVE                  FAYETTE ST
MICHENER AVE                   WADSWORTH AVE                 E GOWEN AVE
E GOWEN AVE                    TEMPLE RD                     MICHENER AVE
E MOUNT AIRY AVE               TEMPLE RD                     MICHENER AVE
E MOUNT AIRY AVE               FAYETTE ST                    TEMPLE RD
E MOUNT AIRY AVE               THOURON AVE                   FORREST AVE
E MOUNT AIRY AVE               GILBERT ST                    THOURON AVE
E MOUNT AIRY AVE               RUGBY ST                      GILBERT ST
E MOUNT AIRY AVE               WOOLSTON AVE                  RUGBY ST
TEMPLE RD                      E MOUNT PLEASANT AVE          E MOUNT AIRY AVE
FAYETTE ST                     E MOUNT PLEASANT AVE          E MOUNT AIRY AVE
WILLIAMS AVE                   E MOUNT PLEASANT AVE          E MOUNT AIRY AVE
MICHENER AVE                   E MOUNT PLEASANT AVE          E MOUNT AIRY AVE
FORREST AVE                    E MOUNT PLEASANT AVE          E MOUNT AIRY AVE
E MOUNT AIRY AVE               FORREST AVE                   WILLIAMS AVE
WOOLSTON AVE                   SYDNEY ST                     E MOUNT AIRY AVE
WOOLSTON AVE                   E DURHAM ST                   SYDNEY ST
E DURHAM ST                    WOOLSTON AVE                  RUGBY ST
E DURHAM ST                    RUGBY ST                      GILBERT ST
WOOLSTON AVE                   E MOUNT PLEASANT AVE          E DURHAM ST
LOWBER AVE                     E DURHAM ST                   SYDNEY ST
E SEDGWICK ST                  WOOLSTON AVE                  RUGBY ST
LOWBER AVE                     E MOUNT PLEASANT AVE          E DURHAM ST
RODNEY ST                      E MOUNT PLEASANT AVE          E DURHAM ST
TEMPLE RD                      E SEDGWICK ST                 E MOUNT PLEASANT AVE
FAYETTE ST                     E SEDGWICK ST                 E MOUNT PLEASANT AVE
FORREST AVE                    E SEDGWICK ST                 E MOUNT PLEASANT AVE
WILLIAMS AVE                   E SEDGWICK ST                 E MOUNT PLEASANT AVE
MICHENER AVE                   E SEDGWICK ST                 E MOUNT PLEASANT AVE
E SEDGWICK ST                  TEMPLE RD                     MICHENER AVE
E SEDGWICK ST                  FAYETTE ST                    TEMPLE RD
E SEDGWICK ST                  WILLIAMS AVE                  FAYETTE ST
E SEDGWICK ST                  THOURON AVE                   FORREST AVE
MANSFIELD AVE                  E DURHAM ST                   SYDNEY ST
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RODNEY ST                           E DURHAM ST                   SYDNEY ST
MANSFIELD AVE                       E MOUNT AIRY AVE              E ALLENS LN
SYDNEY ST                           STENTON AVE                   MANSFIELD AVE
MANSFIELD AVE                       WADSWORTH AVE                 PLAINFIELD ST
MANSFIELD AVE                       E ALLENS LN                   WADSWORTH AVE
E ELLET ST                          STENTON AVE                   MANSFIELD AVE
CORNELIUS ST                        VERNON RD                     E GORGAS LN
E GORGAS LN                         STENTON AVE                   CORNELIUS ST
MANSFIELD AVE                       DURARD ST                     E SEDGWICK ST
MANSFIELD AVE                       E SEDGWICK ST                 E ELLET ST
MANSFIELD AVE                       E ELLET ST                    E MOUNT PLEASANT AVE
DURARD ST                           STENTON AVE                   MANSFIELD AVE
E GORGAS LN                         HOLLIS ST                     MANSFIELD AVE
CRITTENDEN ST                       E MOUNT PLEASANT AVE          E DURHAM ST
ANDERSON ST                         E GORGAS LN                   E SEDGWICK ST
E SEDGWICK ST                       ARDLEIGH ST                   ANDERSON ST
ANDERSON ST                         E SEDGWICK ST                 E MOUNT PLEASANT AVE
ANDERSON ST                         E MOUNT PLEASANT AVE          E DURHAM ST
ARDLEIGH ST                         E MOUNT PLEASANT AVE          E DURHAM ST
E DURHAM ST                         ARDLEIGH ST                   ANDERSON ST
ANDERSON ST                         E DURHAM ST                   E MOUNT AIRY AVE
E GORGAS LN                         SPRAGUE ST                    BLAKEMORE ST
SPRAGUE ST                          PLEASANT ST                   MEEHAN AVE
E SEDGWICK ST                       SPRAGUE ST                    ARDLEIGH ST
E GORGAS LN                         BLAKEMORE ST                  ARDLEIGH ST
E GORGAS LN                         THOURON AVE                   FORREST AVE
FORREST AVE                         VERNON RD                     E GORGAS LN
GREENWOOD ST                        E GORGAS LN                   FAYETTE ST
E GORGAS LN                         FORREST AVE                   GREENWOOD ST
WILLIAMS AVE                        VERNON RD                     E GORGAS LN
FAYETTE ST                          VERNON RD                     GREENWOOD ST
GREENWOOD ST                        CEDARBROOK AVE                W CHELTENHAM AVE
GREENWOOD ST                        BAYARD ST                     PICKERING AVE
VERNON RD                           CEDARBROOK AVE                W CHELTENHAM AVE
E PHIL ELLENA ST                    BAYARD ST                     PICKERING AVE
VERNON RD                           GREENWOOD ST                  PICKERING AVE
GREENWOOD ST                        VERNON RD                     BAYARD ST
E PHIL ELLENA ST                    MICHENER AVE                  PROVIDENT ST
VERNON RD                           MICHENER AVE                  GREENWOOD ST
E PHIL ELLENA ST                    FAYETTE ST                    TEMPLE RD
VERNON RD                           FAYETTE ST                    TEMPLE RD
E PHIL ELLENA ST                    WILLIAMS AVE                  FAYETTE ST
VERNON RD                           WILLIAMS AVE                  FAYETTE ST
E PHIL ELLENA ST                    CEDARBROOK AVE                W CHELTENHAM AVE
LIMEKILN PIKE                       CEDARBROOK AVE                W CHELTENHAM AVE
LIMEKILN PIKE                       BAYARD ST                     PICKERING AVE
LIMEKILN PIKE                       E UPSAL ST                    PROVIDENT ST
E SHARPNACK ST                      TEMPLE RD                     MICHENER AVE
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E PHIL ELLENA ST                    TEMPLE RD                     MICHENER AVE
E SHARPNACK ST                      FAYETTE ST                    TEMPLE RD
E SHARPNACK ST                      WILLIAMS AVE                  FAYETTE ST
E WEAVER ST                         WILLIAMS AVE                  FAYETTE ST
VERNON RD                           WOOLSTON AVE                  RUGBY ST
E PHIL ELLENA ST                    THOURON AVE                   FORREST AVE
E SHARPNACK ST                      THOURON AVE                   FORREST AVE
E PHIL ELLENA ST                    FORREST AVE                   WILLIAMS AVE
E SHARPNACK ST                      FORREST AVE                   WILLIAMS AVE
E PHIL ELLENA ST                    GILBERT ST                    THOURON AVE
E PHIL ELLENA ST                    RUGBY ST                      GILBERT ST
E SHARPNACK ST                      RUGBY ST                      GILBERT ST
E PHIL ELLENA ST                    WOOLSTON AVE                  RUGBY ST
E SHARPNACK ST                      WOOLSTON AVE                  RUGBY ST
E PHIL ELLENA ST                    BALDWIN ST                    WOOLSTON AVE
E SHARPNACK ST                      BALDWIN ST                    WOOLSTON AVE
WILLIAMS AVE                        E WEAVER ST                   E SHARPNACK ST
WILLIAMS AVE                        E UPSAL ST                    E WEAVER ST
FORREST AVE                         E UPSAL ST                    E WEAVER ST
FORREST AVE                         E WEAVER ST                   E SHARPNACK ST
VERNON RD                           LOWBER AVE                    BALDWIN ST
WOOLSTON AVE                        SLOCUM ST                     VERNON RD
WOOLSTON AVE                        DORSET ST                     SLOCUM ST
LOWBER AVE                          E HORTTER ST                  E PHIL ELLENA ST
BALDWIN ST                          E HORTTER ST                  E PHIL ELLENA ST
LOWBER AVE                          E SHARPNACK ST                E HORTTER ST
BALDWIN ST                          E SHARPNACK ST                E HORTTER ST
LOWBER AVE                          E UPSAL ST                    E SHARPNACK ST
WOOLSTON AVE                        E UPSAL ST                    E SHARPNACK ST
LOWBER AVE                          YERKES ST                     E UPSAL ST
LOWBER AVE                          E PHIL ELLENA ST              DORSET ST
WOOLSTON AVE                        E PHIL ELLENA ST              DORSET ST
E CLIVEDEN ST                       GILBERT ST                    THOURON AVE
E JOHNSON ST                        GILBERT ST                    THOURON AVE
E CLIVEDEN ST                       RUGBY ST                      GILBERT ST
E JOHNSON ST                        RUGBY ST                      GILBERT ST
E CLIVEDEN ST                       WOOLSTON AVE                  RUGBY ST
E JOHNSON ST                        WOOLSTON AVE                  RUGBY ST
WOOLSTON AVE                        E CLIVEDEN ST                 E UPSAL ST
WOOLSTON AVE                        NOLAN ST                      MOHICAN ST
MANSFIELD AVE                       E HORTTER ST                  E PHIL ELLENA ST
MANSFIELD AVE                       DORSET ST                     SLOCUM ST
LOWBER AVE                          DORSET ST                     SLOCUM ST
MANSFIELD AVE                       E UPSAL ST                    E SHARPNACK ST
MANSFIELD AVE                       E SHARPNACK ST                E HORTTER ST
MANSFIELD AVE                       SLOCUM ST                     VERNON RD
RODNEY ST                           E CLIVEDEN ST                 CARDEZA ST
RODNEY ST                           BARRINGER ST                  E CLIVEDEN ST
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RODNEY ST                      E JOHNSON ST                  BARRINGER ST
RODNEY ST                      E DUVAL ST                    E JOHNSON ST
RODNEY ST                      E WASHINGTON LN               E DUVAL ST
LOWBER AVE                     MAYLAND ST                    E WASHINGTON LN
RODNEY ST                      MAYLAND ST                    E WASHINGTON LN
MANSFIELD AVE                  CARDEZA ST                    YERKES ST
LOWBER AVE                     CARDEZA ST                    YERKES ST
MANSFIELD AVE                  E CLIVEDEN ST                 CARDEZA ST
LOWBER AVE                     E CLIVEDEN ST                 CARDEZA ST
MANSFIELD AVE                  BARRINGER ST                  E CLIVEDEN ST
LOWBER AVE                     BARRINGER ST                  E CLIVEDEN ST
MANSFIELD AVE                  E JOHNSON ST                  BARRINGER ST
LOWBER AVE                     E JOHNSON ST                  BARRINGER ST
LOWBER AVE                     E DUVAL ST                    E JOHNSON ST
MANSFIELD AVE                  E WASHINGTON LN               E DUVAL ST
LOWBER AVE                     E WASHINGTON LN               E DUVAL ST
MANSFIELD AVE                  MAYLAND ST                    E WASHINGTON LN
WOOLSTON AVE                   MAYLAND ST                    E WASHINGTON LN
LOWBER AVE                     WYNSAM ST                     E TULPEHOCKEN ST
RODNEY ST                      WYNSAM ST                     E TULPEHOCKEN ST
LOWBER AVE                     E TULPEHOCKEN ST              MOHICAN ST
RODNEY ST                      E TULPEHOCKEN ST              MOHICAN ST
RODNEY ST                      MOHICAN ST                    MAYLAND ST
LOWBER AVE                     MOHICAN ST                    MAYLAND ST
MANSFIELD AVE                  E TULPEHOCKEN ST              MOHICAN ST
MANSFIELD AVE                  MOHICAN ST                    MAYLAND ST
WOOLSTON AVE                   MOHICAN ST                    MAYLAND ST
WOOLSTON AVE                   E TULPEHOCKEN ST              E TULPEHOCKEN ST
CORNELIUS ST                   WYNSAM ST                     E TULPEHOCKEN ST
CRITTENDEN ST                  E UPSAL ST                    E SHARPNACK ST
ANDERSON ST                    YERKES ST                     E UPSAL ST
ANDERSON ST                    CARDEZA ST                    YERKES ST
CRITTENDEN ST                  E CLIVEDEN ST                 CARDEZA ST
CRITTENDEN ST                  BARRINGER ST                  E CLIVEDEN ST
ANDERSON ST                    E SHARPNACK ST                HORTTER PL
CRITTENDEN ST                  E HORTTER ST                  E PHIL ELLENA ST
E TULPEHOCKEN ST               STENTON AVE                   MANSFIELD AVE
MANSFIELD AVE                  E DUVAL ST                    E JOHNSON ST
E WALNUT LN                    BRIAR RD                      74TH AVE
74TH AVE                       BEVERLY RD                    BRIAR RD
WOOSTER RD                     BRIAR RD                      SOMMERS RD
74TH AVE                       BRIAR RD                      SOMMERS RD
E WALNUT LN                    OGONTZ AVE                    SOMMERS RD
WOOSTER RD                     SOMMERS RD                    OGONTZ AVE
74TH AVE                       SOMMERS RD                    OGONTZ AVE
76TH AVE                       E WASHINGTON LN               OGONTZ AVE
78TH AVE                       W CHELTENHAM AVE              OGONTZ AVE
77TH AVE                       E WASHINGTON LN               OGONTZ AVE
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79TH AVE                       W CHELTENHAM AVE              OGONTZ AVE
75TH AVE                       OGONTZ AVE                    FAYETTE ST
78TH AVE                       OGONTZ AVE                    LIMEKILN PIKE
77TH AVE                       OGONTZ AVE                    LIMEKILN PIKE
79TH AVE                       OGONTZ AVE                    E UPSAL ST
76TH AVE                       OGONTZ AVE                    FAYETTE ST
80TH AVE                       OGONTZ AVE                    PICKERING AVE
FAYETTE ST                     E JOHNSON ST                  76TH AVE
LIMEKILN PIKE                  E CLIVEDEN ST                 77TH AVE
LIMEKILN PIKE                  77TH AVE                      78TH AVE
FAYETTE ST                     E WASHINGTON LN               E JOHNSON ST
76TH AVE                       FAYETTE ST                    LIMEKILN PIKE
BEVERLY RD                     STENTON AVE                   CORNELIUS ST
HOLLIS ST                      HOMER ST                      E WALNUT LN
RODNEY ST                      HOMER ST                      E WALNUT LN
HOMER ST                       RODNEY ST                     HOLLIS ST
WOOLSTON AVE                   MIDDLETON ST                  E WALNUT LN
ANDREWS AVE                    RODNEY ST                     WOOLSTON AVE
WOOLSTON AVE                   ANDREWS AVE                   MIDDLETON ST
MIDDLETON ST                   ANDREWS AVE                   WOOLSTON AVE
ANDREWS AVE                    CEDAR PARK AVE                LIMEKILN PIKE
69TH AVE                       CEDAR PARK AVE                LIMEKILN PIKE
MIDDLETON ST                   CEDAR PARK AVE                LIMEKILN PIKE
ANDREWS AVE                    FORREST AVE                   CEDAR PARK AVE
MIDDLETON ST                   FORREST AVE                   CEDAR PARK AVE
ANDREWS AVE                    OGONTZ AVE                    FORREST AVE
MIDDLETON ST                   OGONTZ AVE                    FORREST AVE
CRITTENDEN ST                  CARDEZA ST                    YERKES ST
CRITTENDEN ST                  YERKES ST                     E UPSAL ST
CRITTENDEN ST                  ROUMFORT RD                   MURDOCH RD
E MOUNT AIRY AVE               WILLIAMS AVE                  FAYETTE ST
E GOWEN AVE                    THOURON AVE                   FORREST AVE
ROUMFORT RD                    THOURON AVE                   FORREST AVE
LOWBER AVE                     SYDNEY ST                     E MOUNT AIRY AVE
ANDERSON ST                    E UPSAL ST                    E SHARPNACK ST
E PHIL ELLENA ST               ARGUS RD                      CEDARBROOK AVE
GREENWOOD ST                   PICKERING AVE                 CEDARBROOK AVE
VERNON RD                      PICKERING AVE                 CEDARBROOK AVE
LIMEKILN PIKE                  ARGUS RD                      CEDARBROOK AVE
LIMEKILN PIKE                  PROVIDENT ST                  BAYARD ST
VERNON RD                      TEMPLE RD                     MICHENER AVE
VERNON RD                      THOURON AVE                   FORREST AVE
VERNON RD                      GILBERT ST                    THOURON AVE
E GORGAS LN                    GILBERT ST                    THOURON AVE
VERNON RD                      RUGBY ST                      GILBERT ST
MANSFIELD AVE                  E PHIL ELLENA ST              DORSET ST
MOHICAN ST                     RUGBY ST                      THOURON AVE
MOHICAN ST                     WOOLSTON AVE                  RUGBY ST
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E SHARPNACK ST                  GILBERT ST                    THOURON AVE
RODNEY ST                       YERKES ST                     E UPSAL ST
MANSFIELD AVE                   YERKES ST                     E UPSAL ST
E WALNUT LN                     SOMMERS RD                    BRIAR RD
E GOWEN AVE                     FORREST AVE                   WILLIAMS AVE
RODNEY ST                       CARDEZA ST                    YERKES ST
E PHIL ELLENA ST                BAYARD ST                     BAYARD ST
E PHIL ELLENA ST                PROVIDENT ST                  BAYARD ST
W INDIANA AVE                   N SHEDWICK ST                 RIDGE AVE
N PATTON ST                     TURNER ST                     CECIL B MOORE AVE
GEORGIAN RD                     GEORGIAN RD                   71ST AVE
67TH AVE                        N SMEDLEY ST                  N SMEDLEY ST
68TH AVE                        N SYDENHAM ST                 N SYDENHAM ST
RODNEY ST                       E TULPEHOCKEN ST              E TULPEHOCKEN ST
E PHIL ELLENA ST                CEDARBROOK AVE                CEDARBROOK AVE
LINCOLN DR                      CRESHEIM VALLEY DR            CRESHEIM RD
E JOHNSON ST                    FAYETTE ST                    DEAD END SOUTH
VERNON RD                       BLAKEMORE ST                  ARDLEIGH ST
SPRAGUE ST                      E DURHAM ST                   E ALLENS LN
N 20TH ST                       71ST AVE                      DALLAS ST
N 20TH ST                       MIDDLETON ST                  71ST AVE
OAK LN                          N 8TH ST                      VERBENA AVE
RISING SUN AVE                  FAUNCE ST                     AFTON ST
HASBROOK AVE                    FAUNCE ST                     CENTRAL AVE
BURHOLME AVE                    NAPFLE AVE                    HARTEL AVE
RIDGEWAY ST                     ROCKWELL AVE                  RHAWN ST
RIPLEY PL                       CUL DE SAC WEST               FERNDALE ST
69TH AVE                        OLD YORK RD                   N BROAD ST
72ND AVE                        OLD YORK RD                   N BROAD ST
71ST AVE                        OLD YORK RD                   N BROAD ST
VERBENA AVE                     OAK LN                        69TH AVE
LAWNTON AVE                     OAK LN                        69TH AVE
N 10TH ST                       OAK LN                        69TH AVE
N 9TH ST                        OAK LN                        69TH AVE
N 11TH ST                       OAK LN                        69TH AVE
N 13TH ST                       68TH AVE                      69TH AVE
ASBURY TER                      VERBENA AVE                   LAWNTON AVE
N FRANKLIN ST                   OAK LN                        DEAD END NORTH
MARTINS MILL RD                 LONGSHORE AVE                 OLD SOLDIERS RD
NAPFLE AVE                      FILLMORE ST                   BURHOLME AVE
69TH AVE                        N BROAD ST                    N 15TH ST
HAINES ST                       N BROAD ST                    N CARLISLE ST
68TH AVE                        N BROAD ST                    N CARLISLE ST
68TH AVE                        OLD YORK RD                   N BROAD ST
68TH AVE                        N 13TH ST                     OLD YORK RD
68TH AVE                        N 12TH ST                     N 13TH ST
N 12TH ST                       OAK LN                        68TH AVE
71ST AVE                        N BROAD ST                    N 15TH ST
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70TH AVE                       N BROAD ST                    N 15TH ST
N 13TH ST                      OAK LN                        68TH AVE
67TH AVE                       N BROAD ST                    N CARLISLE ST
OAK LN                         N 6TH ST                      N 7TH ST
OAK LN                         N FRANKLIN ST                 N 8TH ST
OAK LN                         VERBENA AVE                   N 9TH ST
OAK LN                         N 9TH ST                      N 10TH ST
OAK LN                         N 10TH ST                     LAWNTON AVE
OAK LN                         LAWNTON AVE                   N 11TH ST
OAK LN                         N 11TH ST                     N 12TH ST
OAK LN                         N 12TH ST                     N 13TH ST
N 6TH ST                       INDEPENDENCE ST               OAK LN
N 7TH ST                       67TH AVE                      OAK LN
OAK LN                         N 7TH ST                      N FRANKLIN ST
INDEPENDENCE ST                N 5TH ST                      N 6TH ST
N 4TH ST                       67TH AVE                      W CHELTENHAM AVE
N 3RD ST                       67TH AVE                      W CHELTENHAM AVE
67TH AVE                       N FAIRHILL ST                 N 6TH ST
67TH AVE                       N 5TH ST                      N FAIRHILL ST
67TH AVE                       N 3RD ST                      N 4TH ST
67TH AVE                       DEAD END EAST                 N 3RD ST
N LAWRENCE ST                  67TH AVE                      OAK LANE RD
N 6TH ST                       67TH AVE                      INDEPENDENCE ST
67TH AVE                       N 6TH ST                      N 7TH ST
67TH AVE                       N 6TH ST                      N 6TH ST
LAKESIDE AVE                   70TH AVE                      OLD YORK RD
LAKESIDE AVE                   N 12TH ST                     70TH AVE
LAKESIDE AVE                   W CHELTENHAM AVE              LAWNTON AVE
LAKESIDE AVE                   LAWNTON AVE                   N 12TH ST
70TH AVE                       N 12TH ST                     LAKESIDE AVE
70TH AVE                       W CHELTENHAM AVE              N 12TH ST
N 12TH ST                      70TH AVE                      W CHELTENHAM AVE
N 12TH ST                      69TH AVE                      LAKESIDE AVE
N 12TH ST                      68TH AVE                      69TH AVE
MARTINS MILL RD                KNORR ST                      LONGSHORE AVE
MARTINS MILL RD                KERPER ST                     KNORR ST
MARTINS MILL RD                RISING SUN AVE                KERPER ST
MARTINS MILL RD                FANSHAWE ST                   RISING SUN AVE
MARTINS MILL RD                MAGEE AVE                     FANSHAWE ST
MARTINS MILL RD                BINGHAM ST                    MAGEE AVE
MARTINS MILL RD                LAWNDALE ST                   BINGHAM ST
OAKLEY ST                      LONGSHORE AVE                 TYSON AVE
OAKLEY ST                      MARTINS MILL RD               LONGSHORE AVE
OAKLEY ST                      KERPER ST                     KNORR ST
OAKLEY ST                      UNRUH AVE                     KERPER ST
OAKLEY ST                      FANSHAWE ST                   UNRUH AVE
OAKLEY ST                      MAGEE AVE                     FANSHAWE ST
OAKLEY ST                      GILHAM ST                     MAGEE AVE
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OAKLEY ST                        HELLERMAN ST                  GILHAM ST
OAKLEY ST                        PASSMORE ST                   HELLERMAN ST
SHELBOURNE ST                    LEVICK ST                     PASSMORE ST
NEWTOWN AVE                      ROBBINS ST                    LEVICK ST
OAKLEY ST                        LEVICK ST                     PASSMORE ST
NEWTOWN AVE                      STEVENS ST                    DEVEREAUX AVE
HASBROOK AVE                     ROBBINS ST                    LEVICK ST
ROBBINS ST                       NEWTOWN AVE                   HASBROOK AVE
STEVENS ST                       NEWTOWN AVE                   REACH ST
DEVEREAUX AVE                    NEWTOWN AVE                   REACH ST
DEVEREAUX AVE                    REACH ST                      HASBROOK AVE
SHELBOURNE ST                    ROBBINS ST                    LEVICK ST
ROBBINS ST                       HASBROOK AVE                  SHELBOURNE ST
ROBBINS ST                       SHELBOURNE ST                 OAKLEY ST
GILHAM ST                        NEWTOWN AVE                   HASBROOK AVE
NEWTOWN AVE                      PASSMORE ST                   GILHAM ST
GILHAM ST                        HASBROOK AVE                  OAKLEY ST
MAGEE AVE                        OAKLEY ST                     RISING SUN AVE
ELBRIDGE ST                      NEWTOWN AVE                   HASBROOK AVE
GILHAM ST                        OAKLEY ST                     RISING SUN AVE
MAGEE AVE                        RISING SUN AVE                MARTINS MILL RD
MAGEE AVE                        MARTINS MILL RD               BINGHAM ST
MAGEE AVE                        BINGHAM ST                    TABOR AVE
MAGEE AVE                        TABOR AVE                     MONTOUR ST
HASBROOK AVE                     FANSHAWE ST                   UNRUH AVE
HASBROOK AVE                     MAGEE AVE                     FANSHAWE ST
HASBROOK AVE                     GILHAM ST                     MAGEE AVE
HASBROOK AVE                     HELLERMAN ST                  GILHAM ST
HASBROOK AVE                     PASSMORE ST                   HELLERMAN ST
HASBROOK AVE                     ELBRIDGE ST                   PASSMORE ST
HASBROOK AVE                     LEVICK ST                     ELBRIDGE ST
PASSMORE ST                      OAKLEY ST                     ARGYLE ST
PASSMORE ST                      ARGYLE ST                     RISING SUN AVE
PASSMORE ST                      NEWTOWN AVE                   HASBROOK AVE
PASSMORE ST                      HASBROOK AVE                  SHELBOURNE ST
HELLERMAN ST                     HASBROOK AVE                  OAKLEY ST
PASSMORE ST                      SHELBOURNE ST                 OAKLEY ST
HELLERMAN ST                     OAKLEY ST                     RISING SUN AVE
HELLERMAN ST                     RISING SUN AVE                PALMETTO ST
HELLERMAN ST                     PALMETTO ST                   BINGHAM ST
HELLERMAN ST                     BINGHAM ST                    MARTINS MILL RD
BINGHAM ST                       KNORR ST                      GLENVIEW ST
BINGHAM ST                       KERPER ST                     KNORR ST
BINGHAM ST                       UNRUH AVE                     KERPER ST
BINGHAM ST                       FANSHAWE ST                   UNRUH AVE
BINGHAM ST                       MAGEE AVE                     FANSHAWE ST
BINGHAM ST                       MARTINS MILL RD               MAGEE AVE
BINGHAM ST                       HELLERMAN ST                  MARTINS MILL RD
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FANSHAWE ST                      HASBROOK AVE                  OAKLEY ST
FANSHAWE ST                      OAKLEY ST                     RISING SUN AVE
FANSHAWE ST                      RISING SUN AVE                MARTINS MILL RD
UNRUH AVE                        MARTINS MILL RD               BINGHAM ST
FANSHAWE ST                      MARTINS MILL RD               BINGHAM ST
FANSHAWE ST                      BINGHAM ST                    TABOR AVE
UNRUH AVE                        HASBROOK AVE                  OAKLEY ST
UNRUH AVE                        OAKLEY ST                     RISING SUN AVE
TYSON AVE                        SHELBOURNE ST                 OAKLEY ST
TYSON AVE                        OAKLEY ST                     RISING SUN AVE
LONGSHORE AVE                    MARTINS MILL RD               SHELBOURNE ST
LONGSHORE AVE                    SHELBOURNE ST                 OAKLEY ST
TYSON AVE                        RISING SUN AVE                BINGHAM ST
LONGSHORE AVE                    OAKLEY ST                     RISING SUN AVE
TYSON AVE                        BINGHAM ST                    OXFORD AVE
BINGHAM ST                       DISSTON ST                    TYSON AVE
DISSTON ST                       RISING SUN AVE                BINGHAM ST
TYSON AVE                        OXFORD AVE                    TABOR AVE
KERPER ST                        DEAD END WEST                 OAKLEY ST
LONGSHORE AVE                    RISING SUN AVE                BINGHAM ST
KNORR ST                         OAKLEY ST                     RISING SUN AVE
KERPER ST                        OAKLEY ST                     MARTINS MILL RD
TYSON AVE                        TABOR AVE                     MONTOUR ST
BINGHAM ST                       GLENVIEW ST                   LONGSHORE AVE
GLENVIEW ST                      RISING SUN AVE                BINGHAM ST
LONGSHORE AVE                    BINGHAM ST                    OXFORD AVE
KNORR ST                         RISING SUN AVE                BINGHAM ST
TYSON AVE                        MONTOUR ST                    WHITAKER AVE
LONGSHORE AVE                    OXFORD AVE                    MONTOUR ST
KERPER ST                        RISING SUN AVE                BINGHAM ST
KNORR ST                         BINGHAM ST                    TABOR AVE
KNORR ST                         TABOR AVE                     OXFORD AVE
KERPER ST                        BINGHAM ST                    TABOR AVE
LONGSHORE AVE                    MONTOUR ST                    WHITAKER AVE
KNORR ST                         OXFORD AVE                    MONTOUR ST
LONGSHORE AVE                    WHITAKER AVE                  PENNWAY ST
UNRUH AVE                        BINGHAM ST                    TABOR AVE
KERPER ST                        TABOR AVE                     MONTOUR ST
KNORR ST                         MONTOUR ST                    WHITAKER AVE
ARGYLE ST                        LEVICK ST                     PASSMORE ST
KERPER ST                        OXFORD AVE                    WHITAKER AVE
KNORR ST                         WHITAKER AVE                  PENNWAY ST
KERPER ST                        WHITAKER AVE                  PENNWAY ST
KERPER ST                        PENNWAY ST                    ALGON AVE
GLENVIEW ST                      BINGHAM ST                    OXFORD AVE
WHITAKER AVE                     TYSON AVE                     BRIGHTON ST
GLENVIEW ST                      OXFORD AVE                    MONTOUR ST
TABOR AVE                        UNRUH AVE                     KERPER ST
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TABOR AVE                       UNRUH AVE                     UNRUH AVE
WHITAKER AVE                    GLENVIEW ST                   LONGSHORE AVE
GLENVIEW ST                     MONTOUR ST                    WHITAKER AVE
TABOR AVE                       FANSHAWE ST                   UNRUH AVE
TABOR AVE                       FANSHAWE ST                   FANSHAWE ST
WHITAKER AVE                    KNORR ST                      GLENVIEW ST
GLENVIEW ST                     WHITAKER AVE                  PENNWAY ST
TABOR AVE                       MAGEE AVE                     FANSHAWE ST
CLARIDGE ST                     FANSHAWE ST                   UNRUH AVE
WHITAKER AVE                    KERPER ST                     KNORR ST
WHITAKER AVE                    UNRUH AVE                     KERPER ST
UNRUH AVE                       OXFORD AVE                    WHITAKER AVE
WHITAKER AVE                    FANSHAWE ST                   UNRUH AVE
UNRUH AVE                       WHITAKER AVE                  PENNWAY ST
SAINT VINCENT ST                OXFORD AVE                    BINGHAM ST
PRINCETON AVE                   OAKLEY ST                     RISING SUN AVE
SAINT VINCENT ST                BINGHAM ST                    LAWNDALE ST
TABOR AVE                       SAINT VINCENT ST              COTTMAN AVE
SAINT VINCENT ST                LAWNDALE ST                   TABOR AVE
CLARIDGE ST                     SAINT VINCENT ST              COTTMAN AVE
SAINT VINCENT ST                TABOR AVE                     CLARIDGE ST
MONTOUR ST                      SAINT VINCENT ST              COTTMAN AVE
SAINT VINCENT ST                CLARIDGE ST                   MONTOUR ST
SAINT VINCENT ST                MONTOUR ST                    DUNGAN RD
PRINCETON AVE                   LAWNDALE ST                   TABOR AVE
PRINCETON AVE                   TABOR AVE                     CLARIDGE ST
PRINCETON AVE                   MONTOUR ST                    DUNGAN RD
PRINCETON AVE                   DUNGAN RD                     WHITAKER AVE
MONTOUR ST                      LONGSHORE AVE                 DISSTON ST
MONTOUR ST                      GLENVIEW ST                   LONGSHORE AVE
MONTOUR ST                      KNORR ST                      GLENVIEW ST
MONTOUR ST                      OXFORD AVE                    KNORR ST
DISSTON ST                      BINGHAM ST                    OXFORD AVE
DISSTON ST                      WHITAKER AVE                  PENNWAY ST
BINGHAM ST                      SAINT VINCENT ST              COTTMAN AVE
OAKLEY ST                       WALTER ST                     COTTMAN AVE
LAWNDALE ST                     COTTMAN AVE                   BLEIGH AVE
OAKLEY ST                       SAINT VINCENT ST              WALTER ST
WALTER ST                       OAKLEY ST                     RISING SUN AVE
OAKLEY ST                       FRIENDSHIP ST                 SAINT VINCENT ST
OAKLEY ST                       PRINCETON AVE                 FRIENDSHIP ST
OAKLEY ST                       TYSON AVE                     PRINCETON AVE
LAWNDALE ST                     SAINT VINCENT ST              COTTMAN AVE
SHELBOURNE ST                   FRIENDSHIP ST                 SAINT VINCENT ST
SHELBOURNE ST                   PRINCETON AVE                 FRIENDSHIP ST
SHELBOURNE ST                   TYSON AVE                     PRINCETON AVE
SHELBOURNE ST                   LONGSHORE AVE                 TYSON AVE
SAINT VINCENT ST                SHELBOURNE ST                 OAKLEY ST
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SAINT VINCENT ST                OAKLEY ST                     RISING SUN AVE
SAINT VINCENT ST                RISING SUN AVE                OXFORD AVE
RISING SUN AVE                  OXFORD AVE                    BLEIGH AVE
FRIENDSHIP ST                   SHELBOURNE ST                 OAKLEY ST
CLARIDGE ST                     COTTMAN AVE                   BLEIGH AVE
PRINCETON AVE                   SHELBOURNE ST                 OAKLEY ST
FRIENDSHIP ST                   OAKLEY ST                     RISING SUN AVE
BLEIGH AVE                      RISING SUN AVE                PALMETTO ST
BLEIGH AVE                      PALMETTO ST                   BINGHAM ST
BLEIGH AVE                      BINGHAM ST                    LAWNDALE ST
BLEIGH AVE                      LAWNDALE ST                   TABOR AVE
TABOR AVE                       COTTMAN AVE                   BLEIGH AVE
BINGHAM ST                      BLEIGH AVE                    SHELMIRE AVE
BINGHAM ST                      COTTMAN AVE                   BLEIGH AVE
PALMETTO ST                     BLEIGH AVE                    SHELMIRE AVE
PALMETTO ST                     COTTMAN AVE                   BLEIGH AVE
LAWNDALE ST                     BLEIGH AVE                    SHELMIRE AVE
MAGEE AVE                       MONTOUR ST                    OXFORD AVE
MAGEE AVE                       OXFORD AVE                    WHITAKER AVE
PENNWAY ST                      KERPER ST                     KNORR ST
FANSHAWE ST                     OXFORD AVE                    WHITAKER AVE
PENNWAY ST                      UNRUH AVE                     KERPER ST
FANSHAWE ST                     WHITAKER AVE                  PENNWAY ST
GILHAM ST                       RISING SUN AVE                BINGHAM ST
GILHAM ST                       MARTINS MILL RD               DEAD END EAST
TYSON AVE                       WHITAKER AVE                  PENNWAY ST
RISING SUN AVE                  NAPFLE AVE                    LANSING ST
RISING SUN AVE                  AFTON ST                      NAPFLE AVE
FAUNCE ST                       VERREE RD                     RISING SUN AVE
RISING SUN AVE                  OAKMONT ST                    FAUNCE ST
OAKMONT ST                      VERREE RD                     RISING SUN AVE
RISING SUN AVE                  SHELMIRE AVE                  OAKMONT ST
SHELMIRE AVE                    OXFORD AVE                    RISING SUN AVE
ROCKWELL AVE                    OXFORD AVE                    NAPFLE AVE
SHELMIRE AVE                    RISING SUN AVE                PALMETTO ST
BLEIGH AVE                      ROCKWELL AVE                  OXFORD AVE
SHELMIRE AVE                    PALMETTO ST                   BINGHAM ST
RISING SUN AVE                  BLEIGH AVE                    SHELMIRE AVE
BLEIGH AVE                      OXFORD AVE                    RISING SUN AVE
SHELMIRE AVE                    BINGHAM ST                    LAWNDALE ST
ROCKWELL AVE                    COTTMAN AVE                   BLEIGH AVE
ROCKWELL AVE                    BLEIGH AVE                    OXFORD AVE
WATSON ST                       OXFORD AVE                    NAPFLE AVE
HASBROOK AVE                    SHELMIRE AVE                  FAUNCE ST
SHELMIRE AVE                    RYERS AVE                     HASBROOK AVE
RYERS AVE                       TUDOR ST                      SHELMIRE AVE
RYERS AVE                       COTTMAN AVE                   TUDOR ST
HASBROOK AVE                    COTTMAN AVE                   SHELMIRE AVE
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AFTON ST                          VERREE RD                     RISING SUN AVE
HARTEL AVE                        ROCKWELL AVE                  WATSON ST
HARTEL AVE                        WATSON ST                     FERNDALE ST
HARTEL AVE                        FERNDALE ST                   VERREE RD
HARTEL AVE                        VERREE RD                     RISING SUN AVE
ROCKWELL AVE                      NAPFLE AVE                    HARTEL AVE
NAPFLE AVE                        ROCKWELL AVE                  WATSON ST
FERNDALE ST                       VERREE RD                     HARTEL AVE
NAPFLE AVE                        WATSON ST                     FERNDALE ST
NAPFLE AVE                        FERNDALE ST                   RISING SUN AVE
LANSING ST                        VERREE RD                     RISING SUN AVE
LANSING ST                        RISING SUN AVE                BINGHAM ST
RISING SUN AVE                    LANSING ST                    HARTEL AVE
FERNDALE ST                       RIPLEY PL                     RHAWN ST
FERNDALE ST                       LONEY ST                      RIPLEY PL
BORBECK AVE                       ROCKWELL AVE                  HALSTEAD ST
FERNDALE ST                       GRIFFITH ST                   LONEY ST
FERNDALE ST                       BORBECK AVE                   GRIFFITH ST
BORBECK AVE                       HALSTEAD ST                   FERNDALE ST
FERNDALE ST                       CHANDLER ST                   BORBECK AVE
BORBECK AVE                       FERNDALE ST                   VERREE RD
FERNDALE ST                       HARTEL AVE                    CHANDLER ST
BORBECK AVE                       VERREE RD                     RISING SUN AVE
CHANDLER ST                       FERNDALE ST                   VERREE RD
CHANDLER ST                       VERREE RD                     RISING SUN AVE
HALSTEAD ST                       CHANDLER ST                   BORBECK AVE
HALSTEAD ST                       HARTEL AVE                    CHANDLER ST
CHANDLER ST                       HALSTEAD ST                   FERNDALE ST
WATSON ST                         NAPFLE AVE                    HARTEL AVE
HARTEL AVE                        BARNES ST                     HASBROOK AVE
HARTEL AVE                        HASBROOK AVE                  OXFORD AVE
FAUNCE ST                         CENTRAL AVE                   HASBROOK AVE
SHELMIRE AVE                      CENTRAL AVE                   RYERS AVE
BORBECK AVE                       BARNES ST                     OXFORD AVE
BURHOLME AVE                      BORBECK AVE                   LONEY ST
BURHOLME AVE                      CHANDLER ST                   BORBECK AVE
BARNES ST                         BORBECK AVE                   LONEY ST
BORBECK AVE                       BURHOLME AVE                  BARNES ST
BURHOLME AVE                      HARTEL AVE                    CHANDLER ST
BARNES ST                         CHANDLER ST                   BORBECK AVE
BARNES ST                         HARTEL AVE                    CHANDLER ST
HARTEL AVE                        BURHOLME AVE                  BARNES ST
CHANDLER ST                       BURHOLME AVE                  BARNES ST
CHANDLER ST                       BARNES ST                     HASBROOK AVE
CONARD ST                         ROCKWELL AVE                  RHAWN ST
ROCKWELL AVE                      CONARD ST                     RHAWN ST
ROCKWELL AVE                      RIDGEWAY ST                   CONARD ST
ROCKWELL AVE                      BORBECK AVE                   RIDGEWAY ST
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ROCKWELL AVE                     HARTEL AVE                    BORBECK AVE
FERNDALE ST                      FULLER ST                     STANWOOD ST
RYERS AVE                        RHAWN ST                      STANWOOD ST
FERNDALE ST                      RHAWN ST                      FULLER ST
LONEY ST                         FERNDALE ST                   VERREE RD
LONEY ST                         VERREE RD                     RISING SUN AVE
GRIFFITH ST                      FERNDALE ST                   VERREE RD
GRIFFITH ST                      VERREE RD                     RISING SUN AVE
FULLER ST                        FERNDALE ST                   VERREE RD
RIPLEY ST                        FERNDALE ST                   VERREE RD
PENNWAY ST                       KNORR ST                      GLENVIEW ST
KNORR ST                         PENNWAY ST                    ALGON AVE
72ND AVE                         N BROAD ST                    N 15TH ST
69TH AVE                         N 13TH ST                     OLD YORK RD
69TH AVE                         N 12TH ST                     N 13TH ST
69TH AVE                         N 11TH ST                     N 12TH ST
69TH AVE                         LAWNTON AVE                   N 11TH ST
69TH AVE                         N 10TH ST                     LAWNTON AVE
69TH AVE                         N 9TH ST                      N 10TH ST
VERBENA AVE                      69TH AVE                      ASBURY TER
69TH AVE                         VERBENA AVE                   N 9TH ST
LAWNTON AVE                      ASBURY TER                    LAKESIDE AVE
LAWNTON AVE                      69TH AVE                      ASBURY TER
HAINES ST                        OLD YORK RD                   N BROAD ST
OAK LN                           W CHELTENHAM AVE              N 6TH ST
N 7TH ST                         OAK LN                        W CHELTENHAM AVE
ROBBINS ST                       DEAD END WEST                 NEWTOWN AVE
DEVEREAUX AVE                    DEAD END NORTH                NEWTOWN AVE
NEWTOWN AVE                      LEVICK ST                     ELBRIDGE ST
NEWTOWN AVE                      GILHAM ST                     DEAD END NORTH
HASBROOK AVE                     UNRUH AVE                     DEAD END NORTH
SHELBOURNE ST                    COTTMAN AVE                   CUL DE SAC NORTH
TUDOR ST                         RYERS AVE                     CENTRAL AVE
FILLMORE ST                      NAPFLE AVE                    HARTEL AVE
FILLMORE ST                      SHELMIRE AVE                  NAPFLE AVE
BURHOLME AVE                     NAPFLE AVE                    SHELMIRE AVE
HARTEL AVE                       FILLMORE ST                   BURHOLME AVE
AFTON ST                         RISING SUN AVE                DEAD END EAST
BINGHAM ST                       OAKMONT ST                    FAUNCE ST
BINGHAM ST                       SHELMIRE AVE                  OAKMONT ST
NAPFLE AVE                       RISING SUN AVE                DEAD END EAST
MAGEE AVE                        HASBROOK AVE                  OAKLEY ST
DUNGAN RD                        PRINCETON AVE                 SAINT VINCENT ST
BRIGHTON ST                      TABOR AVE                     MONTOUR ST
BRIGHTON ST                      MONTOUR ST                    WHITAKER AVE
DISSTON ST                       OXFORD AVE                    MONTOUR ST
DISSTON ST                       MONTOUR ST                    WHITAKER AVE
PALMETTO ST                      SHELMIRE AVE                  OAKMONT ST
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OAKMONT ST                        PALMETTO ST                   BINGHAM ST
NAPFLE AVE                        BURHOLME AVE                  BURHOLME AVE
SHELMIRE AVE                      FILLMORE ST                   BURHOLME AVE
SHELMIRE AVE                      BURHOLME AVE                  DEAD END EAST
PASSMORE ST                       CUL DE SAC WEST               NEWTOWN AVE
OAK LANE RD                       W CHELTENHAM AVE              N LAWRENCE ST
67TH AVE                          N 4TH ST                      N LAWRENCE ST
OAK LANE RD                       N LAWRENCE ST                 N 5TH ST
67TH AVE                          N LAWRENCE ST                 N 5TH ST
UNRUH AVE                         TABOR AVE                     CLARIDGE ST
FANSHAWE ST                       TABOR AVE                     CLARIDGE ST
TABOR AVE                         KERPER ST                     KNORR ST
WHITAKER AVE                      LONGSHORE AVE                 DISSTON ST
WHITAKER AVE                      DISSTON ST                    TYSON AVE
MONTOUR ST                        DISSTON ST                    TYSON AVE
TABOR AVE                         DISSTON ST                    TYSON AVE
BRIGHTON ST                       OXFORD AVE                    TABOR AVE
TABOR AVE                         TYSON AVE                     BRIGHTON ST
MONTOUR ST                        TYSON AVE                     BRIGHTON ST
MONTOUR ST                        BRIGHTON ST                   PRINCETON AVE
PRINCETON AVE                     OXFORD AVE                    LAWNDALE ST
TABOR AVE                         BRIGHTON ST                   PRINCETON AVE
CLARIDGE ST                       PRINCETON AVE                 SAINT VINCENT ST
MONTOUR ST                        PRINCETON AVE                 SAINT VINCENT ST
PRINCETON AVE                     CLARIDGE ST                   MONTOUR ST
TABOR AVE                         PRINCETON AVE                 SAINT VINCENT ST
LAWNDALE ST                       PRINCETON AVE                 SAINT VINCENT ST
BINGHAM ST                        OXFORD AVE                    SAINT VINCENT ST
67TH AVE                          OLD YORK RD                   N BROAD ST
HASBROOK AVE                      DEAD END SOUTH                BEECHER AVE
HASBROOK AVE                      BEECHER AVE                   JEFFERSON AVE
HASBROOK AVE                      JEFFERSON AVE                 COTTMAN AVE
RIPLEY ST                         VERREE RD                     RISING SUN AVE
DORCAS ST                         SOLLY AVE                     ALGON AVE
LARGE ST                          BERGEN ST                     TUSTIN AVE
RISING SUN AVE                    BORBECK AVE                   GRIFFITH ST
CASTOR AVE                        BERGEN ST                     LARGE ST
BORBECK AVE                       RISING SUN AVE                BINGHAM ST
RIPLEY ST                         TABOR AVE                     RHAWN ST
CHANDLER ST                       RISING SUN AVE                BINGHAM ST
HARTEL AVE                        RISING SUN AVE                BINGHAM ST
RIPLEY ST                         DORCAS ST                     ALGON AVE
ANITA DR                          WHITAKER AVE                  LORNA DR
NAPFLE AVE                        DEAD END NORTH                GLENCOE AVE
GLENCOE AVE                       BINGHAM ST                    NAPFLE AVE
DUNGAN RD                         LORNA DR                      LORNA DR
FAUNCE ST                         BINGHAM ST                    LAWNDALE ST
LAWNDALE ST                       SHELMIRE AVE                  FAUNCE ST
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LORNA DR                       WHITAKER AVE                  ANITA DR
TABOR AVE                      SHELMIRE AVE                  FAUNCE ST
CLARIDGE ST                    SHELMIRE AVE                  FAUNCE ST
FAUNCE ST                      CLARIDGE ST                   MONTOUR ST
NAPFLE AVE                     TABOR AVE                     DUNGAN RD
DUNGAN RD                      NAPFLE AVE                    LORNA DR
WHITAKER AVE                   NAPFLE AVE                    ANITA DR
SHELMIRE AVE                   LAWNDALE ST                   TABOR AVE
DORCAS ST                      NAPFLE AVE                    HARTEL AVE
HARTEL AVE                     ALGON AVE                     LANGDON ST
TABOR AVE                      BLEIGH AVE                    SHELMIRE AVE
SUMMERDALE AVE                 CHANDLER ST                   BORBECK AVE
BORBECK AVE                    SUMMERDALE AVE                FRONTENAC ST
FRONTENAC ST                   BORBECK AVE                   GRIFFITH ST
GRIFFITH ST                    FRONTENAC ST                  LORETTO AVE
LORETTO AVE                    GRIFFITH ST                   LONEY ST
LONEY ST                       LORETTO AVE                   CASTOR AVE
BLEIGH AVE                     TABOR AVE                     CLARIDGE ST
BRADFORD ST                    ARTHUR ST                     SOLLY AVE
SHELMIRE AVE                   WHITAKER AVE                  DORCAS ST
LANGDON ST                     FAUNCE ST                     AFTON ST
DORCAS ST                      COTTMAN AVE                   BLEIGH AVE
OAKMONT ST                     SUMMERDALE AVE                GLENDALE AVE
DUNGAN RD                      SAINT VINCENT ST              COTTMAN AVE
SAINT VINCENT ST               DUNGAN RD                     WHITAKER AVE
PRINCETON AVE                  WHITAKER AVE                  PENNWAY ST
BRIGHTON ST                    WHITAKER AVE                  PENNWAY ST
PENNWAY ST                     GLENVIEW ST                   LONGSHORE AVE
BLEIGH AVE                     CALVERT ST                    E ROOSEVELT BLVD
RIPLEY ST                      CASTOR AVE                    LARGE ST
LARGE ST                       RIPLEY ST                     RHAWN ST
HORROCKS ST                    GLENDALE AVE                  HARTEL AVE
HORROCKS ST                    SOUDER ST                     SAINT VINCENT ST
STRAHLE ST                     EASTWOOD ST                   E ROOSEVELT BLVD
FULLER ST                      BUSTLETON AVE                 EASTWOOD ST
STANWOOD ST                    EASTWOOD ST                   BRADFORD ST
ARTHUR ST                      EASTWOOD ST                   BRADFORD ST
LEONARD ST                     STANWOOD ST                   SOLLY AVE
BRADFORD ST                    HARTEL AVE                    BORBECK AVE
BRADFORD ST                    WINCHESTER AVE                WOODWARD ST
FAIRFIELD ST                   CALVERT ST                    WOODWARD ST
SHIPLEY RD                     WELSH RD                      CHASE RD
MICHAEL RD                     CHASE RD                      SEBRING RD
TOLBUT ST                      HARGRAVE ST                   WALNUT HILL ST
HARGRAVE ST                    TAUNTON ST                    WALNUT HILL ST
TAUNTON ST                     HARGRAVE ST                   WALNUT HILL ST
AXE FACTORY RD                 WINCHESTER AVE                COLONY DR
WINCHESTER AVE                 AXE FACTORY RD                WALNUT HILL ST
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WOODBRIDGE RD                 ASHTON RD                     ANGUS RD
ANGUS RD                      ANGUS PL                      WOODBRIDGE RD
RYERSON RD                    RYERSON PL                    ASHTON RD
LONGFORD ST                   HOLME AVE                     CUL DE SAC SOUTH
PENNYPACK ST                  HOLME DR                      YALE PL
JOEY DR                       HOLME AVE                     LEWIN PL
LEWIN PL                      HOLME AVE                     JOEY DR
WINTHROP ST                   STAMFORD ST                   WESTON ST
WINCHESTER AVE                WALNUT HILL ST                HOLME AVE
NARVON ST                     CHELFIELD ST                  STAMFORD ST
CHELFIELD ST                  COLFAX ST                     ALBION ST
WINCHESTER AVE                NARVON ST                     ALBION ST
ALBION ST                     WINCHESTER AVE                HARGRAVE ST
LISTER ST                     STANWOOD ST                   SOLLY AVE
BROUS AVE                     FULLER ST                     SOLLY AVE
LISTER ST                     FULLER ST                     STANWOOD ST
LEXINGTON AVE                 RHAWN ST                      STANWOOD ST
REVERE ST                     RYAN AVE                      LONEY ST
LEXINGTON AVE                 RYAN AVE                      BROCKLEHURST ST
CALVERT ST                    RYAN AVE                      LONEY ST
BROCKLEHURST ST               RYAN AVE                      LEXINGTON AVE
LISTER ST                     RYAN AVE                      LONEY ST
WELSH RD                      ROWLAND AVE                   STANWOOD ST
SANDYFORD AVE                 BROUS AVE                     RYAN AVE
VISTA ST                      BATTERSBY ST                  RYAN AVE
RYAN AVE                      LEXINGTON AVE                 SANDYFORD AVE
LANGDON ST                    HARTEL AVE                    ALGON AVE
SOLLY PL                      SOLLY AVE                     SOLLY PL
TABOR AVE                     TABOR PL                      TABOR TER
TABOR PL                      TABOR AVE                     CUL DE SAC WEST
SOLLY AVE                     SOLLY PL                      TABOR AVE
TABOR AVE                     SOLLY AVE                     TABOR PL
STANWOOD ST                   PALMETTO ST                   BINGHAM ST
SUMMERDALE AVE                BERGEN ST                     DANFORTH ST
STANWOOD ST                   BINGHAM ST                    LAWNDALE ST
STANWOOD ST                   LAWNDALE ST                   TABOR AVE
SUMMERDALE AVE                KENDRICK ST                   BERGEN ST
PALMETTO ST                   RHAWN ST                      STANWOOD ST
TABOR AVE                     STANWOOD ST                   STANWOOD ST
LORETTO AVE                   MEGARGEE ST                   TUSTIN AVE
RISING SUN AVE                RIPLEY ST                     RHAWN ST
BERGEN ST                     SUMMERDALE AVE                FRONTENAC ST
BINGHAM ST                    RHAWN ST                      STANWOOD ST
LORETTO AVE                   DANFORTH ST                   MEGARGEE ST
TABOR AVE                     FULLER ST                     STANWOOD ST
LAWNDALE ST                   RHAWN ST                      STANWOOD ST
KENDRICK ST                   SUMMERDALE AVE                FRONTENAC ST
RISING SUN AVE                LONEY ST                      RIPLEY ST
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LORETTO AVE                  BERGEN ST                     DANFORTH ST
BERGEN ST                    FRONTENAC ST                  LORETTO AVE
BINGHAM ST                   RIPLEY ST                     RHAWN ST
RIPLEY ST                    RISING SUN AVE                BINGHAM ST
TABOR AVE                    RHAWN ST                      FULLER ST
ARNOLD ST                    SUMMERDALE AVE                FRONTENAC ST
BERGEN ST                    LORETTO AVE                   BUSTLETON AVE
STRAHLE ST                   ALGON AVE                     SUMMERDALE AVE
RISING SUN AVE               GRIFFITH ST                   LONEY ST
KENDRICK ST                  FRONTENAC ST                  LORETTO AVE
TABOR AVE                    RIPLEY ST                     RHAWN ST
BINGHAM ST                   LONEY ST                      RIPLEY ST
LONEY ST                     RISING SUN AVE                BINGHAM ST
FOX CHASE RD                 SUMMERDALE AVE                FRONTENAC ST
BENSON ST                    ALGON AVE                     SUMMERDALE AVE
BERGEN ST                    BUSTLETON AVE                 CASTOR AVE
ARNOLD ST                    FRONTENAC ST                  LORETTO AVE
BINGHAM ST                   GRIFFITH PL                   LONEY ST
GRIFFITH ST                  RISING SUN AVE                BINGHAM ST
STRAHLE ST                   SUMMERDALE AVE                FRONTENAC ST
HOFFNAGLE ST                 ALGON AVE                     SUMMERDALE AVE
GRIFFITH PL                  BINGHAM ST                    CUL DE SAC EAST
BENSON ST                    SUMMERDALE AVE                FRONTENAC ST
FOX CHASE RD                 FRONTENAC ST                  LORETTO AVE
BERGEN ST                    CASTOR AVE                    LARGE ST
BINGHAM ST                   BORBECK AVE                   GRIFFITH PL
SOLLY AVE                    DORCAS ST                     ALGON AVE
SUMMERDALE AVE               EMERSON ST                    HOFFNAGLE ST
EMERSON ST                   ALGON AVE                     SUMMERDALE AVE
FOX CHASE RD                 LORETTO AVE                   ALMA ST
STRAHLE ST                   FRONTENAC ST                  LORETTO AVE
HOFFNAGLE ST                 SUMMERDALE AVE                FRONTENAC ST
FOX CHASE RD                 ALMA ST                       CASTOR AVE
BENSON ST                    FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                 EMERSON ST                    HOFFNAGLE ST
EMERSON ST                   SUMMERDALE AVE                FRONTENAC ST
CHANDLER ST                  BINGHAM ST                    LAWNDALE ST
DORCAS ST                    RHAWN ST                      SOLLY AVE
SUMMERDALE AVE               ARTHUR ST                     SOLLY AVE
LORETTO AVE                  HOFFNAGLE ST                  BENSON ST
HOFFNAGLE ST                 FRONTENAC ST                  LORETTO AVE
LANGDON ST                   STANWOOD ST                   SOLLY AVE
HARTEL AVE                   BINGHAM ST                    DEAD END EAST
FRONTENAC ST                 SOLLY AVE                     EMERSON ST
SOLLY AVE                    SUMMERDALE AVE                FRONTENAC ST
ALMA ST                      HOFFNAGLE ST                  FOX CHASE RD
HOFFNAGLE ST                 LORETTO AVE                   ALMA ST
BINGHAM ST                   LANSING ST                    HARTEL AVE
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SUMMERDALE AVE               STANWOOD ST                   ARTHUR ST
LORETTO AVE                  EMERSON ST                    HOFFNAGLE ST
EMERSON ST                   FRONTENAC ST                  LORETTO AVE
HOFFNAGLE ST                 ALMA ST                       CASTOR AVE
FRONTENAC ST                 ARTHUR ST                     SOLLY AVE
ARTHUR ST                    SUMMERDALE AVE                FRONTENAC ST
DUNGAN RD                    LORNA DR                      RHAWN ST
LANGDON ST                   RHAWN ST                      STANWOOD ST
SUMMERDALE AVE               FULLER ST                     STANWOOD ST
LORETTO AVE                  SOLLY AVE                     EMERSON ST
SOLLY AVE                    FRONTENAC ST                  LORETTO AVE
LORNA DR                     ANITA DR                      DUNGAN RD
FRONTENAC ST                 STANWOOD ST                   ARTHUR ST
STANWOOD ST                  SUMMERDALE AVE                FRONTENAC ST
EMERSON ST                   LORETTO AVE                   CASTOR AVE
SUMMERDALE AVE               RHAWN ST                      FULLER ST
DORCAS ST                    GRIFFITH ST                   RIPLEY ST
LORETTO AVE                  ARTHUR ST                     SOLLY AVE
ARTHUR ST                    FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                 FULLER ST                     STANWOOD ST
FULLER ST                    SUMMERDALE AVE                FRONTENAC ST
SOLLY AVE                    LORETTO AVE                   CASTOR AVE
SUMMERDALE AVE               RIPLEY ST                     RHAWN ST
LORETTO AVE                  STANWOOD ST                   ARTHUR ST
STANWOOD ST                  FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                 RHAWN ST                      FULLER ST
LANGDON ST                   LONEY ST                      RHAWN ST
LONEY ST                     ALGON AVE                     LANGDON ST
NAPFLE AVE                   GLENCOE AVE                   TABOR AVE
ARTHUR ST                    LORETTO AVE                   CASTOR AVE
LORNA DR                     DUNGAN RD                     WHITAKER AVE
SUMMERDALE AVE               LONEY ST                      RIPLEY ST
LONEY ST                     LANGDON ST                    SUMMERDALE AVE
LORETTO AVE                  FULLER ST                     STANWOOD ST
FULLER ST                    FRONTENAC ST                  LORETTO AVE
TABOR AVE                    FAUNCE ST                     NAPFLE AVE
FAUNCE ST                    LAWNDALE ST                   TABOR AVE
FRONTENAC ST                 RIPLEY ST                     RHAWN ST
RIPLEY ST                    SUMMERDALE AVE                FRONTENAC ST
STANWOOD ST                  LORETTO AVE                   CASTOR AVE
WHITAKER AVE                 ANITA DR                      LORNA DR
GRIFFITH ST                  ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                  RHAWN ST                      FULLER ST
FAUNCE ST                    TABOR AVE                     CLARIDGE ST
FRONTENAC ST                 LONEY ST                      RIPLEY ST
LONEY ST                     SUMMERDALE AVE                FRONTENAC ST
FULLER ST                    LORETTO AVE                   CASTOR AVE
HARTEL AVE                   DEAD END WEST                 DORCAS ST
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BORBECK AVE                  ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                  RIPLEY ST                     RHAWN ST
RIPLEY ST                    FRONTENAC ST                  LORETTO AVE
NAPFLE AVE                   DUNGAN RD                     WHITAKER AVE
FRONTENAC ST                 GRIFFITH ST                   LONEY ST
GRIFFITH ST                  SUMMERDALE AVE                FRONTENAC ST
HARTEL AVE                   DORCAS ST                     ALGON AVE
DUNGAN RD                    FAUNCE ST                     NAPFLE AVE
FAUNCE ST                    MONTOUR ST                    DUNGAN RD
NAPFLE AVE                   WHITAKER AVE                  PENNWAY ST
SHELMIRE AVE                 TABOR AVE                     CLARIDGE ST
LORETTO AVE                  LONEY ST                      RIPLEY ST
LONEY ST                     FRONTENAC ST                  LORETTO AVE
RIPLEY ST                    LORETTO AVE                   CASTOR AVE
DUNGAN RD                    OAKMONT ST                    FAUNCE ST
WHITAKER AVE                 FAUNCE ST                     NAPFLE AVE
FAUNCE ST                    DUNGAN RD                     WHITAKER AVE
MONTOUR ST                   SHELMIRE AVE                  FAUNCE ST
SHELMIRE AVE                 CLARIDGE ST                   MONTOUR ST
NAPFLE AVE                   PENNWAY ST                    DORCAS ST
SUMMERDALE AVE               HARTEL AVE                    CHANDLER ST
DUNGAN RD                    SHELMIRE AVE                  OAKMONT ST
SHELMIRE AVE                 MONTOUR ST                    DUNGAN RD
FRONTENAC ST                 CHANDLER ST                   BORBECK AVE
CHANDLER ST                  SUMMERDALE AVE                FRONTENAC ST
LINDA PL                     FAUNCE ST                     CUL DE SAC NORTH
NAPFLE AVE                   DORCAS ST                     ALGON AVE
WHITAKER AVE                 OAKMONT ST                    FAUNCE ST
OAKMONT ST                   DUNGAN RD                     WHITAKER AVE
SUMMERDALE AVE               LANSING ST                    HARTEL AVE
FAUNCE ST                    LINDA PL                      PENNWAY ST
CLARIDGE ST                  BLEIGH AVE                    SHELMIRE AVE
LORETTO AVE                  BORBECK AVE                   GRIFFITH ST
BORBECK AVE                  FRONTENAC ST                  LORETTO AVE
NAPFLE AVE                   ALGON AVE                     LANGDON ST
DUNGAN RD                    VISTA ST                      SHELMIRE AVE
FRONTENAC ST                 HARTEL AVE                    CHANDLER ST
HARTEL AVE                   SUMMERDALE AVE                FRONTENAC ST
GRIFFITH ST                  LORETTO AVE                   CASTOR AVE
WHITAKER AVE                 SHELMIRE AVE                  OAKMONT ST
SHELMIRE AVE                 DUNGAN RD                     WHITAKER AVE
DORCAS ST                    FAUNCE ST                     NAPFLE AVE
FAUNCE ST                    PENNWAY ST                    DORCAS ST
MONTOUR ST                   BLEIGH AVE                    SHELMIRE AVE
BLEIGH AVE                   CLARIDGE ST                   MONTOUR ST
PENNWAY ST                   OAKMONT ST                    FAUNCE ST
OAKMONT ST                   WHITAKER AVE                  PENNWAY ST
SUMMERDALE AVE               NAPFLE AVE                    LANSING ST
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LORETTO AVE                  CHANDLER ST                   BORBECK AVE
CHANDLER ST                  FRONTENAC ST                  LORETTO AVE
DUNGAN RD                    BLEIGH AVE                    VISTA ST
BLEIGH AVE                   MONTOUR ST                    DUNGAN RD
FRONTENAC ST                 LANSING ST                    HARTEL AVE
LANSING ST                   SUMMERDALE AVE                FRONTENAC ST
FAUNCE ST                    DORCAS ST                     ALGON AVE
BORBECK AVE                  LORETTO AVE                   CASTOR AVE
WHITAKER AVE                 VISTA ST                      SHELMIRE AVE
VISTA ST                     DUNGAN RD                     WHITAKER AVE
LANGDON ST                   AFTON ST                      NAPFLE AVE
AFTON ST                     ALGON AVE                     LANGDON ST
SUMMERDALE AVE               AFTON ST                      NAPFLE AVE
LORETTO AVE                  HARTEL AVE                    CHANDLER ST
HARTEL AVE                   FRONTENAC ST                  LORETTO AVE
DUNGAN RD                    TUDOR ST                      BLEIGH AVE
WHITAKER AVE                 BLEIGH AVE                    VISTA ST
BLEIGH AVE                   DUNGAN RD                     WHITAKER AVE
FRONTENAC ST                 NAPFLE AVE                    LANSING ST
NAPFLE AVE                   SUMMERDALE AVE                FRONTENAC ST
CHANDLER ST                  LORETTO AVE                   CASTOR AVE
DORCAS ST                    SHELMIRE AVE                  FAUNCE ST
VISTA ST                     WHITAKER AVE                  PENNWAY ST
SUMMERDALE AVE               LANGDON ST                    FAUNCE ST
FAUNCE ST                    ALGON AVE                     SUMMERDALE AVE
DUNGAN RD                    ALDINE ST                     TUDOR ST
LORETTO AVE                  LANSING ST                    HARTEL AVE
LANSING ST                   FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                 AFTON ST                      NAPFLE AVE
AFTON ST                     SUMMERDALE AVE                FRONTENAC ST
WHITAKER AVE                 TUDOR ST                      BLEIGH AVE
TUDOR ST                     DUNGAN RD                     WHITAKER AVE
SHELMIRE AVE                 DORCAS ST                     ALGON AVE
MONTOUR ST                   COTTMAN AVE                   BLEIGH AVE
HARTEL AVE                   LORETTO AVE                   CASTOR AVE
PENNWAY ST                   BLEIGH AVE                    VISTA ST
BLEIGH AVE                   WHITAKER AVE                  PENNWAY ST
DUNGAN RD                    COTTMAN AVE                   ALDINE ST
FAUNCE ST                    SUMMERDALE AVE                FRONTENAC ST
LORETTO AVE                  NAPFLE AVE                    LANSING ST
NAPFLE AVE                   FRONTENAC ST                  LORETTO AVE
WHITAKER AVE                 ALDINE ST                     TUDOR ST
ALDINE ST                    DUNGAN RD                     WHITAKER AVE
FRONTENAC ST                 FAUNCE ST                     FAUNCE ST
LANSING ST                   LORETTO AVE                   CASTOR AVE
DORCAS ST                    BLEIGH AVE                    SHELMIRE AVE
BLEIGH AVE                   PENNWAY ST                    DORCAS ST
PENNWAY ST                   TUDOR ST                      BLEIGH AVE
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TUDOR ST                       WHITAKER AVE                  PENNWAY ST
LORETTO AVE                    AFTON ST                      NAPFLE AVE
AFTON ST                       FRONTENAC ST                  LORETTO AVE
WHITAKER AVE                   COTTMAN AVE                   ALDINE ST
BLEIGH AVE                     DORCAS ST                     ALGON AVE
NAPFLE AVE                     LORETTO AVE                   CASTOR AVE
SUMMERDALE AVE                 OAKMONT ST                    SHELMIRE AVE
PENNWAY ST                     ALDINE ST                     TUDOR ST
ALDINE ST                      WHITAKER AVE                  PENNWAY ST
LORETTO AVE                    FAUNCE ST                     AFTON ST
FAUNCE ST                      SHELMIRE AVE                  LORETTO AVE
AFTON ST                       LORETTO AVE                   CASTOR AVE
PENNWAY ST                     COTTMAN AVE                   ALDINE ST
GLENDALE AVE                   SHISLER ST                    SHELMIRE AVE
GLENDALE AVE                   SHELMIRE AVE                  OAKMONT ST
GLENDALE AVE                   SUMMERDALE AVE                SHISLER ST
SUMMERDALE AVE                 GLENDALE AVE                  OAKMONT ST
LORETTO AVE                    GLENDALE AVE                  FAUNCE ST
GLENDALE AVE                   OAKMONT ST                    LORETTO AVE
GLENDALE AVE                   VISTA ST                      SUMMERDALE AVE
GLENDALE AVE                   BLEIGH AVE                    VISTA ST
VISTA ST                       GLENDALE AVE                  SHISLER ST
LORETTO AVE                    SHELMIRE AVE                  GLENDALE AVE
SHELMIRE AVE                   BELDEN ST                     LORETTO AVE
WHITAKER AVE                   SAINT VINCENT ST              COTTMAN AVE
BLEIGH AVE                     GLENDALE AVE                  FRONTENAC ST
GLENDALE AVE                   GUILFORD ST                   BLEIGH AVE
SHELMIRE AVE                   LORETTO AVE                   ALMA ST
SHISLER ST                     BLEIGH AVE                    VISTA ST
BLEIGH AVE                     FRONTENAC ST                  SHISLER ST
GLENDALE AVE                   TEESDALE ST                   GUILFORD ST
FRONTENAC ST                   GUILFORD ST                   BLEIGH AVE
GUILFORD ST                    GLENDALE AVE                  FRONTENAC ST
BELDEN ST                      BLEIGH AVE                    SHELMIRE AVE
SHELMIRE AVE                   ALMA ST                       CASTOR AVE
GLENDALE AVE                   SUMMERDALE AVE                TEESDALE ST
PENNWAY ST                     SAINT VINCENT ST              COTTMAN AVE
SAINT VINCENT ST               WHITAKER AVE                  PENNWAY ST
LORETTO AVE                    BLEIGH AVE                    SHELMIRE AVE
BLEIGH AVE                     BELDEN ST                     LORETTO AVE
FRONTENAC ST                   TEESDALE ST                   GUILFORD ST
TEESDALE ST                    GLENDALE AVE                  FRONTENAC ST
BLEIGH AVE                     LORETTO AVE                   ALMA ST
LORETTO AVE                    ELGIN AVE                     BLEIGH AVE
ELGIN AVE                      LORETTO AVE                   BLEIGH AVE
FRIENDSHIP ST                  WHITAKER AVE                  PENNWAY ST
ENGLEWOOD ST                   ALGON AVE                     SUMMERDALE AVE
FRONTENAC ST                   COTTMAN AVE                   TEESDALE ST
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SAINT VINCENT ST               PENNWAY ST                    ALGON AVE
BLEIGH AVE                     ALMA ST                       CASTOR AVE
SHISLER ST                     COTTMAN AVE                   BLEIGH AVE
WELLINGTON ST                  ALGON AVE                     SUMMERDALE AVE
ALMA ST                        ELGIN AVE                     BLEIGH AVE
ELGIN AVE                      ALMA ST                       LORETTO AVE
BELDEN ST                      COTTMAN AVE                   BLEIGH AVE
FRONTENAC ST                   ENGLEWOOD ST                  COTTMAN AVE
ENGLEWOOD ST                   SUMMERDALE AVE                FRONTENAC ST
FRIENDSHIP ST                  DORCAS ST                     ALGON AVE
SAINT VINCENT ST               ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                    COTTMAN AVE                   ELGIN AVE
FRONTENAC ST                   WELLINGTON ST                 ENGLEWOOD ST
WELLINGTON ST                  SUMMERDALE AVE                FRONTENAC ST
DORCAS ST                      BRIGHTON ST                   FRIENDSHIP ST
FRIENDSHIP ST                  ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                    ENGLEWOOD ST                  COTTMAN AVE
ENGLEWOOD ST                   FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                   SAINT VINCENT ST              WELLINGTON ST
SAINT VINCENT ST               SUMMERDALE AVE                FRONTENAC ST
ELGIN AVE                      COTTMAN AVE                   ALMA ST
PRINCETON AVE                  ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                    WELLINGTON ST                 ENGLEWOOD ST
WELLINGTON ST                  FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                   FRIENDSHIP ST                 SAINT VINCENT ST
FRIENDSHIP ST                  SUMMERDALE AVE                FRONTENAC ST
ENGLEWOOD ST                   LORETTO AVE                   CASTOR AVE
LORETTO AVE                    SAINT VINCENT ST              WELLINGTON ST
SAINT VINCENT ST               FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                   PRINCETON AVE                 FRIENDSHIP ST
PRINCETON AVE                  SUMMERDALE AVE                FRONTENAC ST
WELLINGTON ST                  LORETTO AVE                   CASTOR AVE
TYSON AVE                      ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                    FRIENDSHIP ST                 SAINT VINCENT ST
FRIENDSHIP ST                  FRONTENAC ST                  LORETTO AVE
LONGSHORE AVE                  PENNWAY ST                    ALGON AVE
SAINT VINCENT ST               LORETTO AVE                   CASTOR AVE
FRONTENAC ST                   BRIGHTON ST                   PRINCETON AVE
BRIGHTON ST                    SUMMERDALE AVE                FRONTENAC ST
SUMMERDALE AVE                 DISSTON ST                    TYSON AVE
LORETTO AVE                    PRINCETON AVE                 FRIENDSHIP ST
PRINCETON AVE                  FRONTENAC ST                  LORETTO AVE
FRIENDSHIP ST                  LORETTO AVE                   CASTOR AVE
FRONTENAC ST                   TYSON AVE                     BRIGHTON ST
TYSON AVE                      SUMMERDALE AVE                FRONTENAC ST
SUMMERDALE AVE                 LONGSHORE AVE                 DISSTON ST
LONGSHORE AVE                  ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                    BRIGHTON ST                   PRINCETON AVE
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BRIGHTON ST                  FRONTENAC ST                  LORETTO AVE
PRINCETON AVE                LORETTO AVE                   CASTOR AVE
FRONTENAC ST                 DISSTON ST                    TYSON AVE
DISSTON ST                   SUMMERDALE AVE                FRONTENAC ST
SUMMERDALE AVE               GLENVIEW ST                   LONGSHORE AVE
GLENVIEW ST                  ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                  TYSON AVE                     BRIGHTON ST
TYSON AVE                    FRONTENAC ST                  LORETTO AVE
FRONTENAC ST                 LONGSHORE AVE                 DISSTON ST
LONGSHORE AVE                SUMMERDALE AVE                FRONTENAC ST
BRIGHTON ST                  LORETTO AVE                   CASTOR AVE
SUMMERDALE AVE               KNORR ST                      GLENVIEW ST
KNORR ST                     ALGON AVE                     SUMMERDALE AVE
LORETTO AVE                  DISSTON ST                    TYSON AVE
DISSTON ST                   FRONTENAC ST                  LORETTO AVE
KERPER ST                    ALGON AVE                     SUMMERDALE AVE
FRONTENAC ST                 GLENVIEW ST                   LONGSHORE AVE
GLENVIEW ST                  SUMMERDALE AVE                FRONTENAC ST
KNORR ST                     SUMMERDALE AVE                FRONTENAC ST
TYSON AVE                    LORETTO AVE                   CASTOR AVE
GLENVIEW ST                  FRONTENAC ST                  LORETTO AVE
LORETTO AVE                  LONGSHORE AVE                 DISSTON ST
LONGSHORE AVE                FRONTENAC ST                  LORETTO AVE
LONGSHORE AVE                LORETTO AVE                   CASTOR AVE
DISSTON ST                   LORETTO AVE                   CASTOR AVE
TUSTIN AVE                   BUSTLETON AVE                 LARGE ST
GLENDALE AVE                 LORETTO AVE                   FAUNCE ST
GLENDALE AVE                 FAUNCE ST                     CASTOR AVE
ALMA ST                      SHELMIRE AVE                  GLENDALE AVE
FAUNCE ST                    LORETTO AVE                   GLENDALE AVE
FAUNCE ST                    GLENDALE AVE                  CASTOR AVE
STANWOOD ST                  DEAD END WEST                 PALMETTO ST
TABOR AVE                    TABOR LN                      CUL DE SAC NORTH
TABOR AVE                    NAPFLE AVE                    TABOR LN
TABOR LN                     CUL DE SAC WEST               TABOR AVE
FAUNCE ST                    DEAD END WEST                 GLENCOE AVE
HOFFNAGLE ST                 CASTOR AVE                    BUSTLETON AVE
SOLLY AVE                    CASTOR AVE                    BUSTLETON AVE
STANWOOD ST                  CASTOR AVE                    LARGE ST
STANWOOD ST                  LARGE ST                      BUSTLETON AVE
LARGE ST                     FULLER ST                     STANWOOD ST
LARGE ST                     RHAWN ST                      FULLER ST
ARTHUR ST                    CASTOR AVE                    LARGE ST
FULLER ST                    CASTOR AVE                    LARGE ST
LARGE ST                     ARTHUR ST                     BUSTLETON AVE
LARGE ST                     STANWOOD ST                   ARTHUR ST
FULLER ST                    LARGE ST                      BUSTLETON AVE
HORROCKS ST                  RHAWN ST                      BUSTLETON AVE
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LARGE ST                        LONEY ST                      RIPLEY ST
LONEY ST                        CASTOR AVE                    LARGE ST
HORROCKS ST                     RIPLEY ST                     RHAWN ST
RIPLEY ST                       LARGE ST                      HORROCKS ST
LARGE ST                        GRIFFITH ST                   LONEY ST
GRIFFITH ST                     CASTOR AVE                    LARGE ST
HORROCKS ST                     LONEY ST                      RIPLEY ST
LONEY ST                        LARGE ST                      HORROCKS ST
LARGE ST                        BORBECK AVE                   GRIFFITH ST
LONEY ST                        HORROCKS ST                   BUSTLETON AVE
HORROCKS ST                     GRIFFITH ST                   LONEY ST
GRIFFITH ST                     LARGE ST                      HORROCKS ST
LARGE ST                        CHANDLER ST                   BORBECK AVE
BORBECK AVE                     LARGE ST                      HORROCKS ST
LARGE ST                        HARTEL AVE                    CHANDLER ST
HARTEL AVE                      CASTOR AVE                    LARGE ST
BORBECK AVE                     HORROCKS ST                   BRIER ST
HORROCKS ST                     CHANDLER ST                   BORBECK AVE
CHANDLER ST                     LARGE ST                      HORROCKS ST
BORBECK AVE                     BRIER ST                      BUSTLETON AVE
HORROCKS ST                     HARTEL AVE                    CHANDLER ST
HARTEL AVE                      LARGE ST                      HORROCKS ST
GRIFFITH ST                     HORROCKS ST                   BUSTLETON AVE
LARGE ST                        LANSING ST                    HARTEL AVE
LANSING ST                      CASTOR AVE                    LARGE ST
LARGE ST                        GLENDALE AVE                  LANSING ST
NAPFLE AVE                      CASTOR AVE                    GLENDALE AVE
GLENDALE AVE                    LARGE ST                      LANSING ST
HORROCKS ST                     NAPFLE AVE                    GLENDALE AVE
NAPFLE AVE                      GLENDALE AVE                  HORROCKS ST
FAUNCE ST                       CASTOR AVE                    LARGE ST
AFTON ST                        LARGE ST                      HORROCKS ST
OAKMONT ST                      CASTOR AVE                    LARGE ST
NAPFLE AVE                      HORROCKS ST                   BUSTLETON AVE
FAUNCE ST                       LARGE ST                      HORROCKS ST
LARGE ST                        SHELMIRE AVE                  OAKMONT ST
SHELMIRE AVE                    CASTOR AVE                    LARGE ST
AFTON ST                        HORROCKS ST                   BUSTLETON AVE
OAKMONT ST                      LARGE ST                      HORROCKS ST
LARGE ST                        VISTA ST                      SHELMIRE AVE
VISTA ST                        CASTOR AVE                    LARGE ST
FAUNCE ST                       HORROCKS ST                   BUSTLETON AVE
HORROCKS ST                     SHELMIRE AVE                  OAKMONT ST
BLEIGH AVE                      CASTOR AVE                    LARGE ST
HORROCKS ST                     VISTA ST                      SHELMIRE AVE
VISTA ST                        LARGE ST                      HORROCKS ST
BLEIGH AVE                      LARGE ST                      HORROCKS ST
BLEIGH AVE                      HORROCKS ST                   BUSTLETON AVE
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GLENDALE AVE                    CASTOR AVE                    LARGE ST
GLENDALE AVE                    BRIER ST                      BUSTLETON AVE
BRIER ST                        GLENDALE AVE                  BORBECK AVE
GLENDALE AVE                    LANSING ST                    BRIER ST
LARGE ST                        COTTMAN AVE                   BLEIGH AVE
HORROCKS ST                     SOUDER ST                     COTTMAN AVE
LARGE ST                        SAINT VINCENT ST              COTTMAN AVE
LARGE ST                        PRINCETON AVE                 SAINT VINCENT ST
SAINT VINCENT ST                AKRON ST                      SAUL ST
PRINCETON AVE                   HORROCKS ST                   OAKLAND ST
RUTLAND ST                      SAINT VINCENT ST              COTTMAN AVE
KINDRED ST                      SAINT VINCENT ST              COTTMAN AVE
RUTLAND ST                      PRINCETON AVE                 SAINT VINCENT ST
KINDRED ST                      PRINCETON AVE                 SAINT VINCENT ST
RUTLAND ST                      TYSON AVE                     PRINCETON AVE
SAUL ST                         SAINT VINCENT ST              ENGLEWOOD ST
LYNFORD ST                      SAINT VINCENT ST              COTTMAN AVE
LYNFORD ST                      PRINCETON AVE                 SAINT VINCENT ST
LYNFORD ST                      TYSON AVE                     PRINCETON AVE
OAKLAND ST                      PRINCETON AVE                 SAINT VINCENT ST
HORROCKS ST                     STRAHLE ST                    CUL DE SAC NORTH
STRAHLE ST                      BUSTLETON AVE                 HORROCKS ST
BENSON ST                       BUSTLETON AVE                 HORROCKS ST
STRAHLE ST                      HORROCKS ST                   EASTWOOD ST
HORROCKS ST                     HOFFNAGLE ST                  BENSON ST
HOFFNAGLE ST                    BUSTLETON AVE                 HORROCKS ST
BENSON ST                       HORROCKS ST                   EASTWOOD ST
EMERSON ST                      BUSTLETON AVE                 HORROCKS ST
HOFFNAGLE ST                    HORROCKS ST                   EASTWOOD ST
SOLLY AVE                       BUSTLETON AVE                 HORROCKS ST
EMERSON ST                      HORROCKS ST                   EASTWOOD ST
BENSON ST                       EASTWOOD ST                   E ROOSEVELT BLVD
HOFFNAGLE ST                    EASTWOOD ST                   BRADFORD ST
SOLLY AVE                       HORROCKS ST                   EASTWOOD ST
HOFFNAGLE ST                    BRADFORD ST                   E ROOSEVELT BLVD
EMERSON ST                      EASTWOOD ST                   BRADFORD ST
SOLLY AVE                       EASTWOOD ST                   BRADFORD ST
SOLLY AVE                       BRADFORD ST                   LEONARD ST
EASTWOOD ST                     ARTHUR ST                     SOLLY AVE
EASTWOOD ST                     STANWOOD ST                   ARTHUR ST
STANWOOD ST                     BUSTLETON AVE                 EASTWOOD ST
BRADFORD ST                     STANWOOD ST                   ARTHUR ST
EASTWOOD ST                     RHAWN ST                      FULLER ST
FULLER ST                       EASTWOOD ST                   BRADFORD ST
EASTWOOD ST                     RIPLEY ST                     RHAWN ST
BRADFORD ST                     RHAWN ST                      FULLER ST
EASTWOOD ST                     LONEY ST                      RIPLEY ST
LEONARD ST                      RHAWN ST                      STANWOOD ST
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SOLLY AVE                       LEONARD ST                    E ROOSEVELT BLVD
LONEY ST                        BUSTLETON AVE                 EASTWOOD ST
BRADFORD ST                     RIPLEY ST                     RHAWN ST
RIPLEY ST                       EASTWOOD ST                   BRADFORD ST
EASTWOOD ST                     GRIFFITH ST                   LONEY ST
BRADFORD ST                     LONEY ST                      RIPLEY ST
LONEY ST                        EASTWOOD ST                   BRADFORD ST
BRADFORD ST                     GRIFFITH ST                   LONEY ST
GRIFFITH ST                     EASTWOOD ST                   BRADFORD ST
LEONARD ST                      LONEY ST                      RHAWN ST
RICHARD ST                      NAPFLE AVE                    HARTEL AVE
BRADFORD ST                     NAPFLE AVE                    HARTEL AVE
AFTON ST                        BUSTLETON AVE                 BRADFORD ST
FAUNCE ST                       BUSTLETON AVE                 BRADFORD ST
LEONARD ST                      FAUNCE ST                     NAPFLE AVE
OAKMONT ST                      BUSTLETON AVE                 BRADFORD ST
FAUNCE ST                       CALVERT ST                    E ROOSEVELT BLVD
SHELMIRE AVE                    BUSTLETON AVE                 BRADFORD ST
SHELMIRE AVE                    BRADFORD ST                   LEONARD ST
SHELMIRE AVE                    LEONARD ST                    CALVERT ST
CALVERT ST                      BLEIGH AVE                    VISTA ST
SHELMIRE AVE                    CALVERT ST                    E ROOSEVELT BLVD
VISTA ST                        BUSTLETON AVE                 BRADFORD ST
VISTA ST                        BRADFORD ST                   LEONARD ST
VISTA ST                        LEONARD ST                    CALVERT ST
BRADFORD ST                     SAINT VINCENT ST              COTTMAN AVE
BLEIGH AVE                      BUSTLETON AVE                 BRADFORD ST
BLEIGH AVE                      BRADFORD ST                   LEONARD ST
BLEIGH AVE                      LEONARD ST                    CALVERT ST
SAINT VINCENT ST                BUSTLETON AVE                 BRADFORD ST
SAINT VINCENT ST                BRADFORD ST                   HANFORD ST
WINCHESTER AVE                  E ROOSEVELT BLVD              BRADFORD ST
WOODWARD ST                     BLUE GRASS RD                 REVERE ST
BROCKLEHURST ST                 BROUS AVE                     REVERE ST
BROUS AVE                       LISTER ST                     BROCKLEHURST ST
LISTER ST                       BROUS AVE                     REVERE ST
BROCKLEHURST ST                 MAXWELL ST                    BROUS AVE
WINCHESTER AVE                  AXE FACTORY LN                BLUE GRASS RD
DEWEES ST                       BROUS AVE                     REVERE ST
WINCHESTER AVE                  BLUE GRASS RD                 REVERE ST
DEWEES ST                       MAXWELL ST                    BROUS AVE
BROUS AVE                       WINCHESTER AVE                LISTER ST
WINCHESTER AVE                  REVERE ST                     BROUS AVE
WINCHESTER AVE                  BROUS AVE                     LISTER ST
BROCKLEHURST ST                 WINCHESTER AVE                MAXWELL ST
WINCHESTER AVE                  LISTER ST                     BROCKLEHURST ST
DEWEES ST                       SPERRY ST                     MAXWELL ST
DEWEES ST                       WINCHESTER AVE                SPERRY ST
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WINCHESTER AVE                BROCKLEHURST ST               DEWEES ST
DANBURY ST                    SPERRY ST                     MAXWELL ST
WINCHESTER AVE                E ROOSEVELT BLVD              AXE FACTORY LN
BLUE GRASS RD                 WOODWARD ST                   TREMONT ST
BLUE GRASS RD                 WINCHESTER AVE                WOODWARD ST
BROUS AVE                     BROCKLEHURST ST               DEWEES ST
LISTER ST                     WINCHESTER AVE                BROUS AVE
REVERE ST                     LISTER ST                     TREMONT ST
CALVERT ST                    FAIRFIELD ST                  WOODWARD ST
REVERE ST                     TREMONT ST                    DEWEES ST
MAXWELL ST                    BROCKLEHURST ST               MACON ST
REVERE ST                     WINCHESTER AVE                LISTER ST
MAXWELL ST                    MACON ST                      DEWEES ST
HAVEN PL                      CUL DE SAC WEST               WELSH RD
DEWEES ST                     REVERE ST                     WELSH RD
MAXWELL PL                    CUL DE SAC WEST               MAXWELL PL
NORTHVIEW RD                  WILLITS RD                    NORTHVIEW RD
MAXWELL PL                    CUL DE SAC EAST               MAXWELL PL
NORTHVIEW RD                  NORTHVIEW RD                  NORTHVIEW RD
MAXWELL ST                    DEWEES ST                     DANBURY ST
MAXWELL PL                    MAXWELL ST                    MAXWELL PL
MAXWELL ST                    DANBURY ST                    MAXWELL PL
EASTVIEW RD                   NORTHVIEW RD                  WILLITS RD
NORTHVIEW RD                  NORTHVIEW RD                  EASTVIEW RD
EASTVIEW RD                   CUL DE SAC WEST               NORTHVIEW RD
MANCHESTER ST                 MAXWELL ST                    WELSH RD
SHIPLEY PL                    SHIPLEY RD                    CUL DE SAC NORTH
SHIPLEY RD                    CHASE RD                      SHIPLEY PL
CHASE RD                      SHIPLEY RD                    MICHAEL RD
NORTHVIEW RD                  NORTHVIEW RD                  NORTHVIEW RD
REVERE ST                     DEWEES ST                     WELSH RD
MAXWELL ST                    MAXWELL PL                    MANCHESTER ST
SHIPLEY RD                    SHIPLEY PL                    SEBRING RD
MICHAEL RD                    WELSH RD                      CHASE RD
SEBRING RD                    SHIPLEY RD                    MICHAEL RD
CHASE RD                      MICHAEL RD                    SHELLEY RD
SEBRING RD                    MICHAEL RD                    SHELLEY RD
SHELLEY RD                    CHASE RD                      SEBRING RD
HARGRAVE ST                   TOLBUT ST                     TAUNTON ST
SEBRING RD                    SHELLEY RD                    DEAD END SOUTH
TOLBUT ST                     WALNUT HILL ST                WELSH RD
WALNUT HILL ST                MANCHESTER ST                 HARGRAVE ST
WALNUT HILL ST                HARGRAVE ST                   TAUNTON ST
WALNUT HILL ST                TAUNTON ST                    TOLBUT ST
WINCHESTER AVE                MOWER ST                      AXE FACTORY RD
COLONY DR                     CUL DE SAC WEST               AXE FACTORY RD
AXE FACTORY RD                COLONY DR                     STAMFORD ST
WALNUT HILL ST                GELENA RD                     AXE FACTORY RD
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GELENA RD                     WINCHESTER AVE                WALNUT HILL ST
WALNUT HILL ST                WINCHESTER AVE                GELENA RD
AXE FACTORY RD                WALNUT HILL ST                WELSH RD
MOWER ST                      WINCHESTER AVE                STAMFORD ST
WALNUT HILL ST                CLAYTON ST                    AXE FACTORY RD
CLAYTON ST                    HARGRAVE ST                   STAMFORD ST
CLAYTON ST                    STAMFORD ST                   WALNUT HILL ST
STAMFORD ST                   MOWER ST                      CLAYTON ST
STAMFORD ST                   AXE FACTORY RD                MOWER ST
OLD ASHTON RD                 AXE FACTORY RD                ASHTON RD
WALNUT HILL ST                TOLBUT ST                     CLAYTON ST
ANGUS RD                      ASHTON RD                     ANGUS PL
RYERSON RD                    WILLITS RD                    RYERSON PL
RYERSON PL                    RYERSON RD                    CUL DE SAC WEST
TREMONT ST                    MAXWELL ST                    ASHTON RD
MAXWELL ST                    TREMONT ST                    ASHTON RD
MAXWELL ST                    ASHTON RD                     TOLBUT ST
TREMONT ST                    ASHTON RD                     MAXWELL ST
TOLBUT ST                     ASHTON RD                     TOLBUT ST
TOLBUT ST                     TOLBUT ST                     TREMONT ST
TOLBUT ST                     TOLBUT ST                     TOLBUT ST
CLOVERLY RD                   TREMONT ST                    WILLITS RD
CONVENT AVE                   WILLITS RD                    FORDHAM RD
TREMONT ST                    CLOVERLY RD                   WOODEN BRIDGE RD
CONVENT AVE                   TREMONT ST                    WILLITS RD
TREMONT ST                    WOODEN BRIDGE RD              CONVENT AVE
CLOVERLY RD                   CLOVERLY RD                   TREMONT ST
CLOVERLY RD                   ARLAN AVE                     CLOVERLY RD
WESLEYAN RD                   TREMONT ST                    WILLITS RD
TREMONT ST                    WESLEYAN RD                   FAIRFIELD ST
WOODEN BRIDGE RD              ARLAN AVE                     TREMONT ST
ARLAN AVE                     CLOVERLY RD                   WOODEN BRIDGE RD
CONVENT AVE                   ARLAN AVE                     TREMONT ST
ARLAN AVE                     WOODEN BRIDGE RD              CONVENT AVE
CONVENT AVE                   FAIRFIELD ST                  ARLAN AVE
CLOVERLY RD                   ARLAN AVE                     CLOVERLY RD
FAIRFIELD ST                  CONVENT AVE                   WESLEYAN RD
CONVENT AVE                   PENNYPACK ST                  FAIRFIELD ST
PENNYPACK ST                  HOLME AVE                     HOLME AVE
LONGFORD ST                   HOLME AVE                     HOLME AVE
PENNYPACK ST                  YALE PL                       YALE PL
PENNYPACK ST                  YALE PL                       MARIGOLD PL
PENNYPACK ST                  MARIGOLD PL                   PARK PL
LEWIN PL                      JOEY DR                       CUL DE SAC NORTH
ARTHUR ST                     HOLME AVE                     HOLME AVE
ARTHUR ST                     HOLME AVE                     NARVON ST
NARVON ST                     ARTHUR ST                     CUL DE SAC EAST
COLFAX ST                     WELSH RD                      STANWOOD ST
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COLFAX ST                     WESTON ST                     WELSH RD
JENNY PL                      ASHTON RD                     CUL DE SAC EAST
NARVON ST                     STANWOOD ST                   ARTHUR ST
WILSON ST                     DRAPER ST                     WINTHROP ST
DRAPER ST                     WILSON ST                     WINTHROP ST
WESTON ST                     ALBION ST                     MARTINDALE ST
MARTINDALE ST                 STAMFORD ST                   WESTON ST
WILSON ST                     STANWOOD ST                   DRAPER ST
WILSON ST                     WELSH RD                      STANWOOD ST
WESTON ST                     MARTINDALE ST                 WINTHROP ST
WINTHROP ST                   WESTON ST                     WELSH RD
WINCHESTER AVE                STAMFORD ST                   WELSH RD
STAMFORD ST                   NARVON ST                     COLFAX ST
COLFAX ST                     CHELFIELD ST                  STAMFORD ST
WESTON ST                     COLFAX ST                     ALBION ST
ALBION ST                     STAMFORD ST                   WESTON ST
STAMFORD ST                   COLFAX ST                     ALBION ST
ALBION ST                     STAMFORD ST                   STAMFORD ST
ALBION ST                     CHELFIELD ST                  STAMFORD ST
STAMFORD ST                   ALBION ST                     MARTINDALE ST
STAMFORD ST                   MARTINDALE ST                 WINTHROP ST
STAMFORD ST                   WINTHROP ST                   WINCHESTER AVE
WINCHESTER AVE                HOLMEHURST AVE                STAMFORD ST
COLFAX ST                     STAMFORD ST                   WESTON ST
WINCHESTER AVE                HOLME AVE                     HOLME AVE
STAMFORD ST                   HOLME AVE                     HOLME AVE
STAMFORD ST                   HOLME AVE                     LENOLA ST
WINCHESTER AVE                HOLME AVE                     NARVON ST
LENOLA ST                     HARGRAVE ST                   STAMFORD ST
NARVON ST                     WINCHESTER AVE                HARGRAVE ST
NARVON ST                     HARGRAVE ST                   CHELFIELD ST
STAMFORD ST                   LENOLA ST                     NARVON ST
CHELFIELD ST                  NARVON ST                     COLFAX ST
ALBION ST                     HARGRAVE ST                   CHELFIELD ST
HARGRAVE ST                   LENOLA ST                     ALBION ST
WINCHESTER AVE                ALBION ST                     HOLMEHURST AVE
HOLMEHURST AVE                RHAWN ST                      WINCHESTER AVE
REVERE ST                     HOLME AVE                     HOLME AVE
SOLLY AVE                     LISTER ST                     LEXINGTON AVE
SOLLY AVE                     BROUS AVE                     LISTER ST
SOLLY AVE                     FAIRFIELD ST                  FARNSWORTH ST
SOLLY AVE                     FARNSWORTH ST                 REVERE ST
FAIRFIELD ST                  STANWOOD ST                   SOLLY AVE
FARNSWORTH ST                 STANWOOD ST                   SOLLY AVE
STANWOOD ST                   FAIRFIELD ST                  FARNSWORTH ST
FARNSWORTH ST                 FULLER ST                     STANWOOD ST
LEXINGTON AVE                 STANWOOD ST                   SOLLY AVE
STANWOOD ST                   LISTER ST                     LEXINGTON AVE
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REVERE ST                      FULLER ST                     SOLLY AVE
FULLER ST                      FARNSWORTH ST                 REVERE ST
FULLER ST                      REVERE ST                     REVERE ST
FULLER ST                      REVERE ST                     BROUS AVE
FULLER ST                      BROUS AVE                     LISTER ST
REVERE ST                      RHAWN ST                      FULLER ST
SOLLY AVE                      REVERE ST                     BROUS AVE
LONEY ST                       FAIRFIELD ST                  CALVERT ST
LONEY ST                       CALVERT ST                    FARNSWORTH ST
LONEY ST                       FARNSWORTH ST                 REVERE ST
RYAN AVE                       FAIRFIELD ST                  CALVERT ST
LONEY ST                       REVERE ST                     BROUS AVE
FARNSWORTH ST                  RYAN AVE                      LONEY ST
RYAN AVE                       CALVERT ST                    FARNSWORTH ST
LEXINGTON AVE                  BROCKLEHURST ST               RHAWN ST
RYAN AVE                       FARNSWORTH ST                 REVERE ST
RYAN AVE                       REVERE ST                     BROUS AVE
LONEY ST                       E ROOSEVELT BLVD              FAIRFIELD ST
FAIRFIELD ST                   LONEY ST                      RHAWN ST
FAIRFIELD ST                   RYAN AVE                      LONEY ST
FAIRFIELD ST                   HARTEL AVE                    RYAN AVE
BROUS AVE                      LONEY ST                      RHAWN ST
BROUS AVE                      RYAN AVE                      LONEY ST
HARTEL AVE                     CARNWATH ST                   FARNSWORTH ST
HARTEL AVE                     FAIRFIELD ST                  CARNWATH ST
REVERE ST                      CARNWATH ST                   RYAN AVE
CARNWATH ST                    HARTEL AVE                    REVERE ST
REVERE ST                      FAIRFIELD ST                  CARNWATH ST
FAIRFIELD ST                   REVERE ST                     HARTEL AVE
RYAN AVE                       BROUS AVE                     LISTER ST
BROUS AVE                      CARNWATH ST                   RYAN AVE
CARNWATH ST                    REVERE ST                     BROUS AVE
RYAN AVE                       LISTER ST                     BROCKLEHURST ST
LISTER ST                      CARNWATH ST                   RYAN AVE
CARNWATH ST                    BROUS AVE                     LISTER ST
BROUS AVE                      BROCKLEHURST ST               CARNWATH ST
FAIRFIELD ST                   BROCKLEHURST ST               REVERE ST
BROUS AVE                      LEXINGTON AVE                 BROCKLEHURST ST
BROCKLEHURST ST                CARNWATH ST                   RYAN AVE
CARNWATH ST                    LISTER ST                     BROCKLEHURST ST
RYAN AVE                       BROCKLEHURST ST               LEXINGTON AVE
BROCKLEHURST ST                BROUS AVE                     CARNWATH ST
LEXINGTON AVE                  CARNWATH ST                   RYAN AVE
CARNWATH ST                    BROCKLEHURST ST               LEXINGTON AVE
LEXINGTON AVE                  BROUS AVE                     CARNWATH ST
BROUS AVE                      E ROOSEVELT BLVD              LEXINGTON AVE
LEXINGTON AVE                  E ROOSEVELT BLVD              BROUS AVE
LISTER ST                      LONEY ST                      RHAWN ST
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CRESCO AVE                     FULLER ST                     STANWOOD ST
CRESCO AVE                     STANWOOD ST                   ROWLAND AVE
STANWOOD ST                    CRESCO AVE                    ROWLAND AVE
FULLER ST                      CRESCO AVE                    ROWLAND AVE
CRISPIN ST                     HESS ST                       SOLLY AVE
CRISPIN ST                     ARTHUR ST                     HESS ST
CRISPIN ST                     STANWOOD ST                   ARTHUR ST
STANWOOD ST                    WELSH RD                      CRISPIN ST
FAIRVIEW ST                    FULLER ST                     WELSH RD
FULLER ST                      ROWLAND AVE                   FAIRVIEW ST
CRISPIN ST                     WELSH RD                      STANWOOD ST
WELSH RD                       FAIRVIEW ST                   CRISPIN ST
LEON ST                        HESS ST                       SOLLY AVE
HESS ST                        CRISPIN ST                    LEON ST
LEON ST                        ARTHUR ST                     HESS ST
ARTHUR ST                      CRISPIN ST                    LEON ST
WELSH RD                       CRISPIN ST                    TERRY ST
FULLER ST                      FAIRVIEW ST                   CRISPIN ST
LEON ST                        STANWOOD ST                   ARTHUR ST
STANWOOD ST                    CRISPIN ST                    LEON ST
FAIRVIEW ST                    RHAWN ST                      FULLER ST
LEON ST                        WELSH RD                      STANWOOD ST
WELSH RD                       TERRY ST                      LEON ST
WELSH RD                       LEON ST                       MORO ST
STANWOOD ST                    LEON ST                       CRAIG ST
WELSH RD                       MORO ST                       CRAIG ST
STANWOOD ST                    CRAIG ST                      FRANKFORD AVE
HESS ST                        ROWLAND AVE                   DEAD END SOUTH
CRISPIN ST                     FULLER ST                     WELSH RD
CRISPIN ST                     FULLER ST                     FULLER ST
TERRY ST                       FULLER ST                     WELSH RD
CRAIG ST                       ARTHUR ST                     SOLLY AVE
CRISPIN ST                     RHAWN ST                      FULLER ST
CRAIG ST                       STANWOOD ST                   ARTHUR ST
TERRY ST                       RHAWN ST                      FULLER ST
CRAIG ST                       WELSH RD                      STANWOOD ST
LEON ST                        FULLER ST                     WELSH RD
MORO ST                        FULLER ST                     WELSH RD
LEON ST                        RHAWN ST                      FULLER ST
FULLER ST                      CRISPIN ST                    TERRY ST
FULLER ST                      TERRY ST                      LEON ST
FULLER ST                      LEON ST                       MORO ST
MORO ST                        RHAWN ST                      FULLER ST
CRAIG ST                       RHAWN ST                      WELSH RD
WELSH RD                       CRAIG ST                      FRANKFORD AVE
WELSH RD                       ERDRICK ST                    MILL ST
WELSH RD                       MILL ST                       MONTAGUE ST
ERDRICK ST                     STANWOOD ST                   DEAD END EAST
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CRAIG ST                       DECATUR ST                    RHAWN ST
CRAIG ST                       DECATUR ST                    DECATUR ST
CRAIG ST                       ASHVILLE ST                   DECATUR ST
LEON ST                        DECATUR ST                    RHAWN ST
LEON ST                        ASHVILLE ST                   DECATUR ST
LEON ST                        HARTEL AVE                    ASHVILLE ST
LEON ST                        LANSING ST                    HARTEL AVE
DECATUR ST                     CRAIG ST                      FRANKFORD AVE
CRISPIN ST                     DECATUR ST                    RHAWN ST
CRISPIN ST                     ASHVILLE ST                   DECATUR ST
CRISPIN ST                     HARTEL AVE                    ASHVILLE ST
CRISPIN ST                     LANSING ST                    HARTEL AVE
DECATUR ST                     ROWLAND AVE                   CRISPIN ST
ASHVILLE ST                    ROWLAND AVE                   CRISPIN ST
HARTEL AVE                     ROWLAND AVE                   CRISPIN ST
DECATUR ST                     CRISPIN ST                    LEON ST
ASHVILLE ST                    CRISPIN ST                    LEON ST
HARTEL AVE                     CRISPIN ST                    LEON ST
DECATUR ST                     LEON ST                       CRAIG ST
ASHVILLE ST                    LEON ST                       CRAIG ST
LANSING ST                     LEON ST                       CRAIG ST
HARTEL AVE                     LEON ST                       CRAIG ST
LANSING ST                     ROWLAND AVE                   CRISPIN ST
CHIPPENDALE AVE                ROWLAND AVE                   CRISPIN ST
CHIPPENDALE AVE                CRISPIN ST                    LEON ST
LANSING ST                     CRISPIN ST                    LEON ST
SHEFFIELD AVE                  ROWLAND AVE                   CRISPIN ST
OAKMONT ST                     ROWLAND AVE                   CRISPIN ST
SHEFFIELD AVE                  CRISPIN ST                    LEON ST
CRISPIN ST                     MERIDIAN ST                   LANSING ST
MERIDIAN ST                    ROWLAND AVE                   CRISPIN ST
CRISPIN ST                     CHIPPENDALE AVE               SHEFFIELD AVE
MERIDIAN ST                    CRISPIN ST                    LEON ST
SANDYFORD AVE                  REVERE ST                     BROUS AVE
BATTERSBY ST                   VISTA ST                      RYAN AVE
BROUS AVE                      NESPER ST                     SANDYFORD AVE
BATTERSBY ST                   NESPER ST                     VISTA ST
NESPER ST                      BROUS AVE                     BATTERSBY ST
BROUS AVE                      GUILFORD ST                   NESPER ST
GUILFORD ST                    REVERE ST                     BROUS AVE
BATTERSBY ST                   WINDISH ST                    NESPER ST
NESPER ST                      BATTERSBY ST                  HAWTHORNE ST
BROUS AVE                      TEESDALE ST                   GUILFORD ST
TEESDALE ST                    BROUS AVE                     BATTERSBY ST
BATTERSBY ST                   GUILFORD ST                   WINDISH ST
GUILFORD ST                    BROUS AVE                     BATTERSBY ST
GUILFORD ST                    BATTERSBY ST                  HAWTHORNE ST
WINDISH ST                     BATTERSBY ST                  HAWTHORNE ST
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WINDISH ST                    HAWTHORNE ST                  SACKETT ST
RYAN AVE                      VISTA ST                      NESPER ST
RYAN AVE                      NESPER ST                     CRABTREE ST
HAWTHORNE ST                  WINDISH ST                    NESPER ST
NESPER ST                     HAWTHORNE ST                  RYAN AVE
RYAN AVE                      SANDYFORD AVE                 BATTERSBY ST
RYAN AVE                      BATTERSBY ST                  VISTA ST
RYAN AVE                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
RYAN AVE                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
RYAN AVE                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
STRAHLE ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
STRAHLE ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
WOODBRIDGE RD                 ANGUS RD                      FAIRGREEN LN
LANGDON ST                    NAPFLE AVE                    HARTEL AVE
ALMA ST                       BLEIGH AVE                    SHELMIRE AVE
LANSING ST                    GLENDALE AVE                  BUSTLETON AVE
FARNSWORTH ST                 LONEY ST                      RHAWN ST
REVERE ST                     LONEY ST                      RHAWN ST
ARTHUR ST                     LEON ST                       CRAIG ST
CALVERT ST                    LONEY ST                      RHAWN ST
SHELMIRE AVE                  LARGE ST                      HORROCKS ST
TAUNTON ST                    MANCHESTER ST                 HARGRAVE ST
MACON ST                      SPERRY ST                     DEWEES ST
MACON ST                      DEWEES ST                     MAXWELL ST
BORBECK AVE                   BINGHAM ST                    LAWNDALE ST
GRIFFITH ST                   ALGON AVE                     DORCAS ST
BRIGHTON ST                   DORCAS ST                     ALGON AVE
BENTON AVE                    EVARTS ST                     CASTOR AVE
STANWOOD ST                   NARVON ST                     COLFAX ST
ALBION ST                     DRAPER ST                     STANWOOD ST
WINTHROP ST                   DRAPER ST                     WILSON ST
STANWOOD ST                   WILSON ST                     WINTHROP ST
STANWOOD ST                   COLFAX ST                     ALBION ST
STANWOOD ST                   ALBION ST                     WILSON ST
WINTHROP ST                   STANWOOD ST                   DRAPER ST
TOLBUT ST                     TOLBUT ST                     TOLBUT ST
SPERRY ST                     MACON ST                      DANBURY ST
SPERRY ST                     DANBURY ST                    DEWEES ST
MANCHESTER ST                 TAUNTON ST                    MAXWELL ST
HARGRAVE ST                   CLAYTON ST                    TOLBUT ST
BRIGHTON ST                   ALGON AVE                     SUMMERDALE AVE
FULLER ST                     STANWOOD ST                   TABOR AVE
STANWOOD ST                   TABOR AVE                     FULLER ST
TOLBUT ST                     WINCHESTER AVE                HARGRAVE ST
WINCHESTER AVE                TOLBUT ST                     MOWER ST
COLFAX ST                     STANWOOD ST                   DRAPER ST
DRAPER ST                     ALBION ST                     WILSON ST
DRAPER ST                     COLFAX ST                     ALBION ST
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DISSTON ST                     PENNWAY ST                    ALGON AVE
TYSON AVE                      PENNWAY ST                    ALGON AVE
PENNWAY ST                     LONGSHORE AVE                 DISSTON ST
PENNWAY ST                     DISSTON ST                    TYSON AVE
PENNWAY ST                     TYSON AVE                     BRIGHTON ST
WHITAKER AVE                   BRIGHTON ST                   PRINCETON AVE
PENNWAY ST                     BRIGHTON ST                   PRINCETON AVE
SUMMERDALE AVE                 TYSON AVE                     BRIGHTON ST
SUMMERDALE AVE                 BRIGHTON ST                   PRINCETON AVE
SUMMERDALE AVE                 PRINCETON AVE                 FRIENDSHIP ST
SUMMERDALE AVE                 FRIENDSHIP ST                 SAINT VINCENT ST
SUMMERDALE AVE                 SAINT VINCENT ST              WELLINGTON ST
SUMMERDALE AVE                 WELLINGTON ST                 ENGLEWOOD ST
SUMMERDALE AVE                 ENGLEWOOD ST                  COTTMAN AVE
WHITAKER AVE                   PRINCETON AVE                 FRIENDSHIP ST
PENNWAY ST                     PRINCETON AVE                 FRIENDSHIP ST
WHITAKER AVE                   FRIENDSHIP ST                 SAINT VINCENT ST
PENNWAY ST                     FRIENDSHIP ST                 SAINT VINCENT ST
PRINCETON AVE                  CASTOR AVE                    RUTLAND ST
SAINT VINCENT ST               CASTOR AVE                    RUTLAND ST
PRINCETON AVE                  LYNFORD ST                    LARGE ST
SAINT VINCENT ST               LYNFORD ST                    LARGE ST
PRINCETON AVE                  LARGE ST                      KINDRED ST
SAINT VINCENT ST               LARGE ST                      KINDRED ST
SAINT VINCENT ST               KINDRED ST                    SOUDER ST
SAINT VINCENT ST               RUTLAND ST                    LYNFORD ST
SOUDER ST                      HORROCKS ST                   SAINT VINCENT ST
SAINT VINCENT ST               SOUDER ST                     HORROCKS ST
SOUDER ST                      SAINT VINCENT ST              HORROCKS ST
HORROCKS ST                    SAINT VINCENT ST              SOUDER ST
HORROCKS ST                    PRINCETON AVE                 SOUDER ST
SAINT VINCENT ST               HORROCKS ST                   OAKLAND ST
OAKLAND ST                     SAINT VINCENT ST              COTTMAN AVE
EASTWOOD ST                    SAINT VINCENT ST              ENGLEWOOD ST
PRINCETON AVE                  OAKLAND ST                    EASTWOOD ST
SAINT VINCENT ST               OAKLAND ST                    EASTWOOD ST
SAINT VINCENT ST               EASTWOOD ST                   AKRON ST
ENGLEWOOD ST                   EASTWOOD ST                   SAUL ST
ENGLEWOOD ST                   SAUL ST                       BUSTLETON AVE
TYSON AVE                      LYNFORD ST                    LARGE ST
TYSON AVE                      CASTOR AVE                    RUTLAND ST
LARGE ST                       BLEIGH AVE                    VISTA ST
HORROCKS ST                    BLEIGH AVE                    VISTA ST
LARGE ST                       OAKMONT ST                    FAUNCE ST
HORROCKS ST                    OAKMONT ST                    FAUNCE ST
LARGE ST                       FAUNCE ST                     AFTON ST
HORROCKS ST                    FAUNCE ST                     AFTON ST
LARGE ST                       AFTON ST                      GLENDALE AVE
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HORROCKS ST                  AFTON ST                      NAPFLE AVE
BLEIGH AVE                   SHISLER ST                    ELGIN AVE
SUMMERDALE AVE               SHELMIRE AVE                  LANGDON ST
SUMMERDALE AVE               FAUNCE ST                     AFTON ST
FRONTENAC ST                 FAUNCE ST                     AFTON ST
SHISLER ST                   VISTA ST                      GLENDALE AVE
SHELMIRE AVE                 GLENDALE AVE                  BELDEN ST
WHITAKER AVE                 LORNA DR                      ANITA DR
FAUNCE ST                    WHITAKER AVE                  LINDA PL
PENNWAY ST                   FAUNCE ST                     NAPFLE AVE
NAPFLE AVE                   LANGDON ST                    SUMMERDALE AVE
HARTEL AVE                   LANGDON ST                    SUMMERDALE AVE
SHELMIRE AVE                 SUMMERDALE AVE                FAUNCE ST
LAWNDALE ST                  CHANDLER ST                   BORBECK AVE
BINGHAM ST                   CHANDLER ST                   BORBECK AVE
RISING SUN AVE               CHANDLER ST                   BORBECK AVE
RISING SUN AVE               HARTEL AVE                    CHANDLER ST
BINGHAM ST                   HARTEL AVE                    CHANDLER ST
SUMMERDALE AVE               BORBECK AVE                   GRIFFITH ST
SUMMERDALE AVE               GRIFFITH ST                   LONEY ST
STANWOOD ST                  ALGON AVE                     LANGDON ST
SOLLY AVE                    ALGON AVE                     LANGDON ST
STANWOOD ST                  LANGDON ST                    SUMMERDALE AVE
SOLLY AVE                    LANGDON ST                    SUMMERDALE AVE
SUMMERDALE AVE               SOLLY AVE                     EMERSON ST
SUMMERDALE AVE               HOFFNAGLE ST                  BENSON ST
FRONTENAC ST                 HOFFNAGLE ST                  BENSON ST
SUMMERDALE AVE               BENSON ST                     STRAHLE ST
FRONTENAC ST                 BENSON ST                     STRAHLE ST
LORETTO AVE                  BENSON ST                     STRAHLE ST
SUMMERDALE AVE               STRAHLE ST                    FOX CHASE RD
FRONTENAC ST                 STRAHLE ST                    FOX CHASE RD
LORETTO AVE                  STRAHLE ST                    FOX CHASE RD
SUMMERDALE AVE               FOX CHASE RD                  LANGDON ST
FRONTENAC ST                 FOX CHASE RD                  ARNOLD ST
LORETTO AVE                  FOX CHASE RD                  ARNOLD ST
FOX CHASE RD                 ALGON AVE                     SUMMERDALE AVE
LANGDON ST                   SUMMERDALE AVE                SUMMERDALE AVE
SUMMERDALE AVE               ARNOLD ST                     KENDRICK ST
FRONTENAC ST                 ARNOLD ST                     KENDRICK ST
LORETTO AVE                  ARNOLD ST                     KENDRICK ST
FRONTENAC ST                 KENDRICK ST                   BERGEN ST
LORETTO AVE                  KENDRICK ST                   BERGEN ST
EVARTS ST                    CASTOR AVE                    TOLBUT ST
EVARTS ST                    TOLBUT ST                     BENTON AVE
CALVERT ST                   WINCHESTER AVE                FAIRFIELD ST
HORROCKS ST                  BENSON ST                     STRAHLE ST
EASTWOOD ST                  BENSON ST                     STRAHLE ST
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EASTWOOD ST                       HOFFNAGLE ST                  BENSON ST
HORROCKS ST                       EMERSON ST                    HOFFNAGLE ST
EASTWOOD ST                       EMERSON ST                    HOFFNAGLE ST
BRADFORD ST                       EMERSON ST                    HOFFNAGLE ST
HORROCKS ST                       SOLLY AVE                     EMERSON ST
EASTWOOD ST                       SOLLY AVE                     EMERSON ST
BRADFORD ST                       SOLLY AVE                     EMERSON ST
EASTWOOD ST                       FULLER ST                     STANWOOD ST
BRADFORD ST                       FULLER ST                     STANWOOD ST
STANWOOD ST                       BRADFORD ST                   LEONARD ST
STANWOOD ST                       LEONARD ST                    E ROOSEVELT BLVD
LONEY ST                          BRADFORD ST                   LEONARD ST
LONEY ST                          LEONARD ST                    E ROOSEVELT BLVD
BORBECK AVE                       BRADFORD ST                   RYAN AVE
BRADFORD ST                       BORBECK AVE                   GRIFFITH ST
HARTEL AVE                        GLENDALE AVE                  RICHARD ST
BORBECK AVE                       BUSTLETON AVE                 BRADFORD ST
HARTEL AVE                        RICHARD ST                    BRADFORD ST
NAPFLE AVE                        BUSTLETON AVE                 RICHARD ST
NAPFLE AVE                        RICHARD ST                    BRADFORD ST
NAPFLE AVE                        BRADFORD ST                   LEONARD ST
HARTEL AVE                        BRADFORD ST                   E ROOSEVELT BLVD
BRADFORD ST                       AFTON ST                      NAPFLE AVE
BRADFORD ST                       FAUNCE ST                     AFTON ST
BRADFORD ST                       OAKMONT ST                    FAUNCE ST
BRADFORD ST                       SHELMIRE AVE                  OAKMONT ST
BRADFORD ST                       BLEIGH AVE                    VISTA ST
FAUNCE ST                         BRADFORD ST                   LEONARD ST
FAUNCE ST                         LEONARD ST                    CALVERT ST
NAPFLE AVE                        LEONARD ST                    E ROOSEVELT BLVD
LEONARD ST                        BLEIGH AVE                    VISTA ST
BRADFORD ST                       VISTA ST                      SHELMIRE AVE
LEONARD ST                        VISTA ST                      SHELMIRE AVE
CALVERT ST                        VISTA ST                      SHELMIRE AVE
CALVERT ST                        SHELMIRE AVE                  FAUNCE ST
GUILFORD ST                       E ROOSEVELT BLVD              REVERE ST
SANDYFORD AVE                     E ROOSEVELT BLVD              REVERE ST
REVERE ST                         GUILFORD ST                   SANDYFORD AVE
REVERE ST                         E ROOSEVELT BLVD              FAIRFIELD ST
HARTEL AVE                        E ROOSEVELT BLVD              FAIRFIELD ST
RYAN AVE                          E ROOSEVELT BLVD              FAIRFIELD ST
LONEY ST                          BROUS AVE                     LISTER ST
LONEY ST                          LISTER ST                     LEXINGTON AVE
FAIRFIELD ST                      SOLLY AVE                     HOLME AVE
REVERE ST                         SOLLY AVE                     HOLME AVE
CRISPIN ST                        SHEFFIELD AVE                 MERIDIAN ST
PRINCETON AVE                     RUTLAND ST                    LYNFORD ST
AXE FACTORY RD                    STAMFORD ST                   WALNUT HILL ST
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HORROCKS ST                   BORBECK AVE                   GRIFFITH ST
WELSH RD                      MONTAGUE ST                   WALKER ST
PRINCETON AVE                 KINDRED ST                    SOUDER ST
TYSON AVE                     RUTLAND ST                    LYNFORD ST
PENNYPACK ST                  HOLME AVE                     HOLME DR
ERDRICK ST                    WELSH RD                      WELSH CT
ERDRICK ST                    WELSH CT                      STANWOOD CT
ERDRICK ST                    STANWOOD CT                   STANWOOD ST
PENNYPACK ST                  MARIGOLD PL                   MARIGOLD PL
WELSH RD                      STANWOOD ST                   FAIRVIEW ST
WELSH RD                      CRAIG ST                      CRAIG ST
SOLLY PL                      SOLLY PL                      CUL DE SAC EAST
RIPLEY ST                     BINGHAM ST                    TABOR AVE
TABOR AVE                     RIPLEY ST                     RIPLEY ST
TABOR AVE                     LONEY ST                      RIPLEY ST
TABOR AVE                     CUL DE SAC SOUTH              LONEY ST
LONEY ST                      LAWNDALE AVE                  TABOR AVE
LONEY ST                      TABOR AVE                     FOX RUN LN
FOX RUN LN                    LAWNDALE AVE                  LONEY ST
LAWNDALE AVE                  FOX RUN LN                    LONEY ST
ANGUS PL                      CUL DE SAC SOUTH              ANGUS RD
MEADOWBROOK DR                RHAWN ST                      PEACH TREE LN
PEACH TREE LN                 CHERRY BLOSSOM WAY            MEADOWBROOK DR
PEACH TREE LN                 MEADOWBROOK DR                APPLE BLOSSOM DR
CHERRY BLOSSOM WAY            PEACH TREE LN                 APPLE BLOSSOM DR
APPLE BLOSSOM DR              PEACH TREE LN                 CHERRY BLOSSOM WAY
APPLE BLOSSOM DR              CHERRY BLOSSOM WAY            APPLE BLOSSOM WAY
APPLE BLOSSOM WAY             ROSE PETAL WAY                APPLE BLOSSOM DR
APPLE BLOSSOM WAY             CUL DE SAC WEST               ROSE PETAL WAY
ROSE PETAL WAY                APPLE BLOSSOM WAY             ROSE PETAL DR
ROSE PETAL DR                 ROSE PETAL WAY                CUL DE SAC NORTH
AXE FACTORY DWY               E ROOSEVELT BLVD              AXE FACTORY LN
AXE FACTORY LN                CUL DE SAC SOUTH              AXE FACTORY DWY
AXE FACTORY LN                AXE FACTORY DWY               WINCHESTER AVE
CRESCO AVE                    RHAWN ST                      FULLER ST
APPLEHOUSE RD                 SPRINGHOUSE RD                CUL DE SAC SOUTH
SPRINGHOUSE RD                MEETINGHOUSE DR               APPLEHOUSE RD
SPRINGHOUSE RD                RIVERHOUSE RD                 MEETINGHOUSE DR
MEETINGHOUSE DR               RIVERHOUSE RD                 WILLITS RD
MEETINGHOUSE DR               SPRINGHOUSE RD                RIVERHOUSE RD
RIVERHOUSE RD                 MEETINGHOUSE DR               SPRINGHOUSE RD
RUTH WAY                      ASHTON RD                     MEYER PL
STANWOOD ST                   FRANKFORD AVE                 KREWSONS ALY
STANWOOD ST                   KREWSONS ALY                  ERDRICK ST
MEYER PL                      RUTH WAY                      ASHTON RD
WELSH RD                      FRANKFORD AVE                 CHARLES ST
WELSH RD                      CHARLES ST                    ERDRICK ST
POQUESSING AVE                POQUESSING AVE                DEAD END EAST
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POQUESSING AVE                E ROOSEVELT BLVD              POQUESSING AVE
POQUESSING AVE                POQUESSING AVE                HOLME AVE
CAMPUS LN                     ACADEMY RD                    BROOKDALE RD
CLOVERLY RD                   WOODEN BRIDGE RD              ANNAPOLIS RD
STEVENSON ST                  BROOK LN                      AVNER LN
KIRKWOOD RD                   AUBREY AVE                    OUTLOOK AVE
LYMAN DR                      LACKLAND DR                   CARTERET DR
CONVENT AVE                   LANSFORD ST                   OUTLOOK AVE
CONVENT AVE                   WOODEN BRIDGE RD              EXETER RD
CARTERET DR                   LACKLAND DR                   LYMAN DR
WESLEYAN RD                   FORDHAM RD                    EXETER RD
FORDHAM RD                    WESLEYAN RD                   HORATIO RD
KIRKWOOD RD                   AUBREY AVE                    AUBREY AVE
AUBREY AVE                    CRISPIN ST                    KIRKWOOD RD
EXETER RD                     FORDHAM RD                    PURITAN RD
CRISPIN ST                    ARENDELL AVE                  KAREN ST
JANICE ST                     KAREN ST                      LEON ST
BARRY RD                      JACKSON ST                    DITMAN ST
CONVENT LN                    FRANKFORD AVE                 JACKSON ST
COTTAGE ST                    ARENDELL AVE                  PEARSON AVE
AUBREY AVE                    FRANKFORD AVE                 GLENLOCH ST
AUBREY AVE                    GLENLOCH ST                   TORRESDALE AVE
COTTAGE ST                    LINDEN AVE                    ARENDELL AVE
GILLESPIE ST                  LINDEN AVE                    ARENDELL AVE
JACKSON ST                    LINDEN AVE                    ARENDELL AVE
CONVENT LN                    CONVENT PL                    TULIP ST
ARENDELL AVE                  JACKSON ST                    GLENLOCH ST
GLENLOCH ST                   ARENDELL AVE                  PEARSON AVE
DITMAN ST                     ARENDELL AVE                  PEARSON AVE
MARSDEN ST                    ARENDELL AVE                  PEARSON AVE
AUBREY AVE                    TORRESDALE AVE                TULIP ST
CRISPIN ST                    PENNYPACK ST                  HARVARD PL
CARWITHAN RD                  CUL DE SAC WEST               JACKSON ST
PENNYPACK ST                  CRISPIN ST                    HICKORY DR
GILLESPIE ST                  CUL DE SAC SOUTH              MEGARGEE ST
JACKSON ST                    CUL DE SAC SOUTH              MEGARGEE ST
JACKSON ST                    PENNYPACK ST                  CUL DE SAC EAST
GLENLOCH ST                   CUL DE SAC WEST               MEGARGEE ST
JACKSON ST                    CUL DE SAC SOUTH              PENNYPACK ST
ARENDELL AVE                  MILNOR ST                     GERMANIA ST
GERMANIA ST                   ARENDELL AVE                  DEAD END EAST
ARENDELL AVE                  GERMANIA ST                   N DELAWARE AVE
N DELAWARE AVE                LINDEN AVE                    ARENDELL AVE
JACKSON ST                    STRAHLE ST                    CUL DE SAC EAST
GLENLOCH ST                   STRAHLE ST                    CUL DE SAC NORTH
FAIRFIELD ST                  WESLEYAN RD                   TREMONT ST
KIRKWOOD RD                   EDEN ST                       FITLER ST
EDEN ST                       KIRKWOOD RD                   OUTLOOK AVE
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FAIRGREEN LN                      WOODBRIDGE RD                 NORCROSS LN
EDEN ST                           LANSFORD ST                   KIRKWOOD RD
LANSFORD ST                       EDEN ST                       HOLYOKE RD
EDEN ST                           ACADEMY RD                    LANSFORD ST
OUTLOOK AVE                       FITLER ST                     PRIMROSE RD
OUTLOOK AVE                       HOLYOKE RD                    FITLER ST
FORDHAM RD                        PRIMROSE RD                   GRANT AVE
PRIMROSE RD                       OUTLOOK AVE                   FORDHAM RD
KIRKWOOD RD                       EDEN ST                       AUBREY AVE
ANNAPOLIS RD                      CLOVERLY RD                   TREATY RD
FORDHAM RD                        FITLER ST                     PRIMROSE RD
FITLER ST                         OUTLOOK AVE                   GOLFVIEW LN
OUTLOOK AVE                       EDEN ST                       HOLYOKE RD
LACKLAND DR                       LYMAN DR                      HEGERMAN ST
AVNER LN                          CARTERET DR                   ROWENA DR
LACKLAND DR                       LACKLAND TER                  LYMAN DR
LACKLAND DR                       LACKLAND TER                  LACKLAND TER
CARTERET DR                       AVNER LN                      FRANKFORD AVE
OUTLOOK AVE                       AUBREY AVE                    EDEN ST
AUBREY AVE                        KIRKWOOD RD                   OUTLOOK AVE
ANNAPOLIS RD                      WOODEN BRIDGE RD              CLOVERLY RD
AVNER LN                          CONSTANCE RD                  CARTERET DR
LACKLAND DR                       GARVEY DR                     LACKLAND TER
LANSFORD ST                       CONVENT AVE                   EDEN ST
CONVENT AVE                       ACADEMY RD                    LANSFORD ST
LACKLAND DR                       LACKLAND PL                   GARVEY DR
AVNER LN                          STEVENSON ST                  CONSTANCE RD
CONVENT AVE                       ANDOVER RD                    ACADEMY RD
ANDOVER RD                        CONVENT AVE                   BROOKDALE RD
LACKLAND DR                       LACKLAND PL                   LACKLAND PL
CARTERET DR                       FRANKFORD AVE                 GARVEY DR
OUTLOOK AVE                       KIRKWOOD RD                   AUBREY AVE
CONVENT AVE                       TREATY RD                     ANDOVER RD
TREATY RD                         CONVENT AVE                   ANNAPOLIS RD
CONVENT AVE                       ANNAPOLIS RD                  TREATY RD
ANNAPOLIS RD                      CONVENT AVE                   WOODEN BRIDGE RD
STEVENSON ST                      AVNER LN                      FRANKFORD AVE
CONVENT AVE                       EXETER RD                     ANNAPOLIS RD
HEGERMAN ST                       HEGERMAN TER                  LACKLAND DR
LACKLAND DR                       CARTERET DR                   LACKLAND PL
CARTERET DR                       GARVEY DR                     LACKLAND DR
LEON ST                           FITLER ST                     GRANT AVE
OUTLOOK AVE                       CONVENT AVE                   KIRKWOOD RD
CONVENT AVE                       OUTLOOK AVE                   DEAD END EAST
HEGERMAN ST                       HEGERMAN TER                  HEGERMAN TER
EXETER RD                         WESLEYAN RD                   CONVENT AVE
HEGERMAN ST                       SAINT DENIS DR                HEGERMAN TER
SAINT DENIS DR                    LYMAN DR                      HEGERMAN ST
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LEON ST                           EDEN ST                       FITLER ST
EXETER RD                         HORATIO RD                    WESLEYAN RD
CONVENT AVE                       FORDHAM RD                    WOODEN BRIDGE RD
OUTLOOK AVE                       LANSFORD ST                   CONVENT AVE
LANSFORD ST                       OUTLOOK AVE                   CONVENT AVE
EXETER RD                         PURITAN RD                    HORATIO RD
FORDHAM RD                        CONVENT AVE                   WESLEYAN RD
OUTLOOK AVE                       ACADEMY RD                    LANSFORD ST
PURITAN RD                        PILGRIM LN                    EXETER RD
CRISPIN ST                        PEARSON AVE                   AUBREY AVE
PEARSON AVE                       DEAD END NORTH                CRISPIN ST
FITLER ST                         LEON ST                       FRANKFORD AVE
HORATIO RD                        FORDHAM RD                    EXETER RD
PURITAN RD                        FORDHAM RD                    PILGRIM LN
FORDHAM RD                        HORATIO RD                    PURITAN RD
DITMAN ST                         PRIMROSE RD                   GRANT AVE
PRIMROSE RD                       FRANKFORD AVE                 DITMAN ST
CRISPIN ST                        KAREN ST                      PEARSON AVE
FORDHAM RD                        ANDOVER RD                    ACADEMY RD
ANDOVER RD                        FORDHAM RD                    CONVENT AVE
DITMAN ST                         FITLER ST                     PRIMROSE RD
FITLER ST                         FRANKFORD AVE                 DITMAN ST
PILGRIM LN                        FORDHAM RD                    PURITAN RD
FORDHAM RD                        PURITAN RD                    PILGRIM LN
KAREN ST                          CRISPIN ST                    JANICE ST
EDEN ST                           FRANKFORD AVE                 JACKSON ST
AUBREY AVE                        KIRKWOOD RD                   FRANKFORD AVE
CRISPIN ST                        ETTA ST                       ARENDELL AVE
PEARSON AVE                       CRISPIN ST                    LEON ST
FORDHAM RD                        TREATY RD                     ANDOVER RD
TREATY RD                         FORDHAM RD                    CONVENT AVE
FORDHAM RD                        PILGRIM LN                    EXETER RD
TORRESDALE AVE                    PRIMROSE RD                   GRANT AVE
PRIMROSE RD                       DITMAN ST                     TORRESDALE AVE
FORDHAM RD                        DEAN PLZ                      TREATY RD
LEON ST                           JANICE ST                     PEARSON AVE
FORDHAM RD                        ANNAPOLIS RD                  DEAN PLZ
ANNAPOLIS RD                      FORDHAM RD                    CONVENT AVE
FORDHAM RD                        EXETER RD                     ANNAPOLIS RD
CRISPIN ST                        LINDEN AVE                    ETTA ST
PEARSON AVE                       LEON ST                       FRANKFORD AVE
JACKSON ST                        BARRY RD                      EDEN ST
BARRY RD                          FRANKFORD AVE                 JACKSON ST
TORRESDALE AVE                    FITLER ST                     PRIMROSE RD
FITLER ST                         DITMAN ST                     TORRESDALE AVE
WESLEYAN RD                       FAIRFIELD ST                  TREMONT ST
DITMAN ST                         EDEN ST                       DEAD END EAST
EDEN ST                           JACKSON ST                    DITMAN ST
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KAREN ST                          JANICE ST                     ARENDELL AVE
ARENDELL AVE                      CRISPIN ST                    LEON ST
LEON ST                           ARENDELL AVE                  JANICE ST
PEARSON AVE                       FRANKFORD AVE                 WALKER ST
PEARSON AVE                       WALKER ST                     COTTAGE ST
EDEN ST                           DITMAN ST                     DEAD END SOUTH
PEARSON AVE                       COTTAGE ST                    GILLESPIE ST
CONVENT LN                        GLENLOCH ST                   DITMAN ST
WALKER ST                         ARENDELL AVE                  PEARSON AVE
ARENDELL AVE                      FRANKFORD AVE                 WALKER ST
BARRY RD                          DITMAN ST                     DEAD END SOUTH
GLENLOCH ST                       AUBREY AVE                    CONVENT LN
DITMAN ST                         DEAD END WEST                 CONVENT LN
PEARSON AVE                       GILLESPIE ST                  JACKSON ST
ARENDELL AVE                      WALKER ST                     COTTAGE ST
GLENLOCH ST                       PEARSON AVE                   AUBREY AVE
PEARSON AVE                       JACKSON ST                    GLENLOCH ST
CONVENT LN                        DITMAN ST                     TORRESDALE AVE
CONVENT LN                        TORRESDALE AVE                CONVENT PL
GILLESPIE ST                      ARENDELL AVE                  PEARSON AVE
ARENDELL AVE                      COTTAGE ST                    GILLESPIE ST
WALKER ST                         LINDEN AVE                    ARENDELL AVE
PEARSON AVE                       GLENLOCH ST                   DITMAN ST
CONVENT LN                        CONVENT PL                    CONVENT PL
JACKSON ST                        ARENDELL AVE                  PEARSON AVE
ARENDELL AVE                      GILLESPIE ST                  JACKSON ST
TORRESDALE AVE                    AUBREY AVE                    CONVENT LN
PENNYPACK ST                      PARK PL                       PERCH LN
CRISPIN ST                        OAK DR                        WILLITS RD
PENNYPACK ST                      PERCH LN                      PERCH LN
PEARSON AVE                       DITMAN ST                     MARSDEN ST
PENNYPACK ST                      PERCH LN                      STAR DUST LN
PENNYPACK ST                      STAR DUST LN                  STAR DUST LN
CRISPIN ST                        DARTMOUTH PL                  OAK DR
TORRESDALE AVE                    PEARSON AVE                   AUBREY AVE
PEARSON AVE                       MARSDEN ST                    TORRESDALE AVE
PENNYPACK ST                      STAR DUST LN                  MIDLAND AVE
ARENDELL AVE                      GLENLOCH ST                   DITMAN ST
PENNYPACK ST                      MIDLAND AVE                   MIDLAND AVE
CRISPIN ST                        AMHERST PL                    DARTMOUTH PL
CRISPIN ST                        AMHERST PL                    AMHERST PL
PEARSON AVE                       TORRESDALE AVE                VANDIKE ST
ARENDELL AVE                      DITMAN ST                     MARSDEN ST
GLENLOCH ST                       LINDEN AVE                    ARENDELL AVE
CRISPIN ST                        HARVARD PL                    AMHERST PL
PENNYPACK ST                      MIDLAND AVE                   ROSE LN
PEARSON AVE                       VANDIKE ST                    HEGERMAN ST
TORRESDALE AVE                    ARENDELL AVE                  PEARSON AVE
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ARENDELL AVE                      MARSDEN ST                    TORRESDALE AVE
TULIP ST                          AUBREY AVE                    CONVENT LN
DITMAN ST                         LINDEN AVE                    ARENDELL AVE
PEARSON AVE                       HEGERMAN ST                   EDMUND ST
MARSDEN ST                        LINDEN AVE                    ARENDELL AVE
TULIP ST                          PEARSON AVE                   AUBREY AVE
PEARSON AVE                       EDMUND ST                     TULIP ST
TOLBUT ST                         FRANKFORD AVE                 ABERDALE RD
TORRESDALE AVE                    LINDEN AVE                    ARENDELL AVE
PENNYPACK ST                      ROSE LN                       DEER LN
PENNYPACK ST                      DEER LN                       CRISPIN ST
PLACID ST                         FRANKFORD AVE                 COTTAGE ST
MILNOR ST                         DEAD END WEST                 FITLER ST
CARWITHAN RD                      JACKSON ST                    DITMAN ST
PEARSON AVE                       CUL DE SAC NORTH              JAMES ST
PENNYPACK ST                      HICKORY DR                    TEAL AVE
COTTAGE ST                        EVARTS ST                     PLACID ST
EVARTS ST                         FRANKFORD AVE                 COTTAGE ST
PENNYPACK ST                      TEAL AVE                      SYCAMORE DR
PEARSON AVE                       JAMES ST                      STATE RD
COTTAGE ST                        MEGARGEE ST                   EVARTS ST
MEGARGEE ST                       FRANKFORD AVE                 COTTAGE ST
PENNYPACK ST                      SYCAMORE DR                   FRANKFORD AVE
JAMES ST                          ARENDELL AVE                  PEARSON AVE
MEGARGEE ST                       COTTAGE ST                    GILLESPIE ST
ARENDELL AVE                      JAMES ST                      STATE RD
TOLBUT ST                         DITMAN ST                     TORRESDALE AVE
MEGARGEE ST                       GILLESPIE ST                  JACKSON ST
COTTAGE ST                        PENNYPACK ST                  MEGARGEE ST
PENNYPACK ST                      FRANKFORD AVE                 COTTAGE ST
MELROSE ST                        ARENDELL AVE                  DEAD END EAST
ARENDELL AVE                      STATE RD                      MELROSE ST
MEGARGEE ST                       JACKSON ST                    GLENLOCH ST
WISSINOMING ST                    ARENDELL AVE                  DEAD END EAST
ARENDELL AVE                      MELROSE ST                    WISSINOMING ST
PENNYPACK ST                      COTTAGE ST                    JACKSON ST
CAMBRIDGE ST                      ARENDELL AVE                  DEAD END EAST
ARENDELL AVE                      WISSINOMING ST                CAMBRIDGE ST
PENNYPACK CT                      GILLESPIE ST                  KENDRICK ST
MELROSE ST                        LINDEN AVE                    ARENDELL AVE
LINDEN AVE                        STATE RD                      MELROSE ST
MEGARGEE ST                       DITMAN ST                     MARSDEN ST
PENNYPACK CT                      GILLESPIE ST                  KENDRICK ST
TOLBUT ST                         TORRESDALE AVE                DEAD END SOUTH
MILNOR ST                         ARENDELL AVE                  DEAD END EAST
ARENDELL AVE                      CAMBRIDGE ST                  MILNOR ST
GILLESPIE ST                      STRAHLE ST                    PENNYPACK CT
STRAHLE ST                        FRANKFORD AVE                 GILLESPIE ST
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WISSINOMING ST                LINDEN AVE                    ARENDELL AVE
LINDEN AVE                    MELROSE ST                    WISSINOMING ST
MEGARGEE ST                   MARSDEN ST                    TORRESDALE AVE
DITMAN ST                     PENNYPACK ST                  MEGARGEE ST
PENNYPACK ST                  JACKSON ST                    DITMAN ST
STRAHLE ST                    GILLESPIE ST                  JACKSON ST
CAMBRIDGE ST                  LINDEN AVE                    ARENDELL AVE
LINDEN AVE                    WISSINOMING ST                CAMBRIDGE ST
DITMAN ST                     KENDRICK ST                   PENNYPACK ST
STRAHLE ST                    JACKSON ST                    GLENLOCH ST
N DELAWARE AVE                ARENDELL AVE                  DEAD END EAST
MILNOR ST                     LINDEN AVE                    ARENDELL AVE
LINDEN AVE                    CAMBRIDGE ST                  MILNOR ST
PENNYPACK ST                  DITMAN ST                     TORRESDALE AVE
STRAHLE ST                    GLENLOCH ST                   DITMAN ST
GERMANIA ST                   LINDEN AVE                    ARENDELL AVE
LINDEN AVE                    MILNOR ST                     GERMANIA ST
DITMAN ST                     BENSON ST                     STRAHLE ST
LINDEN AVE                    GERMANIA ST                   N DELAWARE AVE
STRAHLE ST                    DITMAN ST                     TORRESDALE AVE
DITMAN ST                     BLAKISTON ST                  BENSON ST
STRAHLE ST                    TORRESDALE AVE                HEGERMAN ST
FITLER ST                     JAMES ST                      STATE RD
FITLER ST                     STATE RD                      WISSINOMING ST
MILNOR ST                     FITLER ST                     GRANT AVE
FITLER ST                     WISSINOMING ST                MILNOR ST
WISSINOMING ST                FITLER ST                     GRANT AVE
ARENDELL AVE                  TORRESDALE AVE                VANDIKE ST
ARENDELL AVE                  VANDIKE ST                    HEGERMAN ST
ARENDELL AVE                  HEGERMAN ST                   EDMUND ST
ARENDELL AVE                  EDMUND ST                     TULIP ST
TULIP ST                      ARENDELL AVE                  PEARSON AVE
VANDIKE ST                    LINDEN AVE                    ARENDELL AVE
HEGERMAN ST                   LINDEN AVE                    ARENDELL AVE
VANDIKE ST                    ARENDELL AVE                  PEARSON AVE
HEGERMAN ST                   ARENDELL AVE                  PEARSON AVE
EDMUND ST                     ARENDELL AVE                  PEARSON AVE
EDMUND ST                     DEAD END WEST                 ARENDELL AVE
TOLBUT ST                     JACKSON ST                    DITMAN ST
JACKSON ST                    BENSON ST                     STRAHLE ST
BENSON ST                     FRANKFORD AVE                 JACKSON ST
BLAKISTON ST                  WALKER ST                     JACKSON ST
BENSON ST                     JACKSON ST                    DITMAN ST
BLAKISTON ST                  JACKSON ST                    GLENLOCH ST
JACKSON ST                    MILLETT ST                    BLAKISTON ST
WALKER ST                     ASHBURNER ST                  BLAKISTON ST
BLAKISTON ST                  GLENLOCH ST                   DITMAN ST
WALKER ST                     ASHBURNER ST                  DEAD END WEST
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GLENLOCH ST                   MILLETT ST                    BLAKISTON ST
MILLETT ST                    JACKSON ST                    GLENLOCH ST
JACKSON ST                    ASHBURNER ST                  MILLETT ST
BLAKISTON ST                  DITMAN ST                     MARSDEN ST
DITMAN ST                     MILLETT ST                    BLAKISTON ST
MILLETT ST                    GLENLOCH ST                   DITMAN ST
GLENLOCH ST                   ASHBURNER ST                  MILLETT ST
COTTAGE ST                    WINGATE ST                    ASHBURNER ST
BLAKISTON ST                  MARSDEN ST                    TORRESDALE AVE
DITMAN ST                     ASHBURNER ST                  MILLETT ST
DITMAN ST                     WINGATE ST                    ASHBURNER ST
MILLETT ST                    DITMAN ST                     TORRESDALE AVE
ENFIELD AVE                   DEAD END NORTH                SOLLY AVE
HEGERMAN ST                   BLAKISTON ST                  STRAHLE ST
BLAKISTON ST                  TORRESDALE AVE                HEGERMAN ST
DITMAN ST                     WINGATE ST                    WINGATE ST
WINGATE ST                    COTTAGE ST                    DITMAN ST
DITMAN ST                     EMERSON ST                    WINGATE ST
DITMAN ST                     SOLLY AVE                     EMERSON ST
SOLLY AVE                     ENFIELD AVE                   DITMAN ST
WINGATE ST                    DITMAN ST                     TORRESDALE AVE
BLAKISTON ST                  HEGERMAN ST                   DEAD END EAST
ENFIELD AVE                   SOLLY AVE                     DITMAN ST
DITMAN ST                     WILBROCK ST                   SOLLY AVE
HEGERMAN ST                   ASHBURNER ST                  BLAKISTON ST
WINGATE ST                    TORRESDALE AVE                HEGERMAN ST
EMERSON ST                    DITMAN ST                     TORRESDALE AVE
SOLLY AVE                     DITMAN ST                     TORRESDALE AVE
WILBROCK ST                   DITMAN ST                     TORRESDALE AVE
MARSDEN ST                    BERGEN ST                     MEGARGEE ST
KENDRICK ST                   DITMAN ST                     TORRESDALE AVE
BENSON ST                     MARSDEN ST                    TORRESDALE AVE
MARSDEN ST                    BLAKISTON ST                  BENSON ST
HOLYOKE RD                    LEGION ST                     OUTLOOK AVE
WOODEN BRIDGE RD              CLOVERLY RD                   ANNAPOLIS RD
WOODEN BRIDGE RD              CONVENT AVE                   CLOVERLY RD
DITMAN ST                     BARRY RD                      EDEN ST
HOLME AVE                     HOLME DR                      HOLME AVE
DITMAN ST                     CONVENT LN                    BARRY RD
ARENDELL AVE                  DEAD END NORTH                JAMES ST
JAMES ST                      DEAD END WEST                 ARENDELL AVE
COTTAGE ST                    DEAD END WEST                 WINGATE ST
LACKLAND PL                   LACKLAND DR                   LACKLAND DR
LACKLAND TER                  LACKLAND DR                   LACKLAND DR
HEGERMAN TER                  HEGERMAN ST                   HEGERMAN ST
ELLIE DR                      CUL DE SAC NORTH              FRANKFORD AVE
WOODBRIDGE RD                 FAIRGREEN LN                  NORCROSS LN
ABERDALE RD                   JACKSON ST                    DITMAN ST
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LEGION ST                         HOLYOKE RD                    FITLER ST
BERGEN ST                         TORRESDALE AVE                MARSDEN ST
JAMES ST                          GRANT AVE                     FITLER ST
GRANT AVE                         STATE RD                      WISSINOMING ST
GRANT AVE                         WISSINOMING ST                MILNOR ST
KENDRICK ST                       PENNYPACK CT                  FRANKFORD AVE
BROOK LN                          STEVENSON ST                  CONSTANCE RD
EDEN ST                           LEON ST                       FRANKFORD AVE
LEON ST                           ETTA ST                       ARENDELL AVE
ETTA ST                           LEON ST                       CRISPIN ST
JAMES ST                          CONVENT LN                    STATE RD
CONVENT LN                        STATE RD                      JAMES ST
PENNYPACK ST                      TORRESDALE AVE                DEAD END EAST
CONVENT LN                        TULIP ST                      DEAD END SOUTH
HEGERMAN ST                       PEARSON AVE                   DEAD END EAST
BLAKISTON ST                      BLAKISTON LN                  WALKER ST
GARVEY DR                         CARTERET DR                   LACKLAND DR
SAINT DENIS DR                    CARTERET DR                   CUL DE SAC NORTH
FAIRFIELD ST                      TREMONT ST                    WILLITS RD
EXETER RD                         WILLITS RD                    FORDHAM RD
DEAN PLZ                          HOLME AVE                     FORDHAM RD
ABERDALE RD                       TOLBUT ST                     JACKSON ST
JACKSON ST                        ABERDALE RD                   CARWITHAN RD
DITMAN ST                         ABERDALE RD                   CARWITHAN RD
TOLBUT ST                         ABERDALE RD                   JACKSON ST
JACKSON ST                        TOLBUT ST                     ABERDALE RD
DITMAN ST                         TOLBUT ST                     ABERDALE RD
DITMAN ST                         STRAHLE ST                    KENDRICK ST
JACKSON ST                        CONVENT LN                    BARRY RD
CONVENT LN                        JACKSON ST                    GLENLOCH ST
KEYSTONE ST                       LINDEN AVE                    ARENDELL AVE
KEYSTONE ST                       ARENDELL AVE                  DEAD END EAST
ARENDELL AVE                      KEYSTONE ST                   DEAD END SOUTH
MEGARGEE ST                       GLENLOCH ST                   DITMAN ST
ARNOLD ST                         JEANES ST                     ALICIA ST
HOFFNAGLE ST                      ROCKWELL AVE                  PINE RD
ROCKWELL AVE                      PINE RD                       HOFFNAGLE ST
SOLLY AVE                         BURHOLME AVE                  HENNIG ST
BURHOLME AVE                      STANWOOD ST                   SOLLY AVE
HENNIG ST                         STANWOOD ST                   SOLLY AVE
BURHOLME AVE                      FULLER ST                     STANWOOD ST
BURHOLME AVE                      DALTON ST                     FULLER ST
BURHOLME AVE                      OXFORD AVE                    DALTON ST
STANWOOD ST                       ELBERON AVE                   JEANES ST
RIDGEWAY ST                       ARTHUR ST                     SOLLY AVE
BURHOLME AVE                      LONEY ST                      OXFORD AVE
RIDGEWAY ST                       STANWOOD ST                   ARTHUR ST
STANWOOD ST                       JEANES ST                     RIDGEWAY ST
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HALSTEAD ST                  ARTHUR ST                     SOLLY AVE
STANWOOD ST                  RIDGEWAY ST                   BRIDLE RD
LONEY ST                     BURHOLME AVE                  BARNES ST
LONEY ST                     BARNES ST                     OXFORD AVE
HALSTEAD ST                  STANWOOD ST                   ARTHUR ST
STANWOOD ST                  BRIDLE RD                     HALSTEAD ST
RYERS AVE                    STANWOOD ST                   SOLLY AVE
STANWOOD ST                  HALSTEAD ST                   RYERS AVE
BRIDLE RD                    RHAWN ST                      STANWOOD ST
FERNDALE ST                  STANWOOD ST                   SOLLY AVE
STANWOOD ST                  RYERS AVE                     FERNDALE ST
HALSTEAD ST                  RHAWN ST                      STANWOOD ST
STANWOOD ST                  FERNDALE ST                   VERREE RD
BURHOLME AVE                 SOLLY AVE                     CUL DE SAC NORTH
LONEY ST                     FILLMORE ST                   BURHOLME AVE
BORBECK AVE                  FILLMORE ST                   BURHOLME AVE
ELBERON AVE                  SOLLY AVE                     HOFFNAGLE ST
ELBERON AVE                  STANWOOD ST                   SOLLY AVE
DALTON ST                    BURHOLME AVE                  PINE RD
JEANES ST                    BENSON ST                     STRAHLE ST
JEANES ST                    HOFFNAGLE ST                  BENSON ST
JEANES ST                    EMERSON ST                    HOFFNAGLE ST
JEANES ST                    SOLLY AVE                     EMERSON ST
JEANES ST                    ARTHUR ST                     SOLLY AVE
JEANES ST                    STANWOOD ST                   ARTHUR ST
JEANES ST                    RHAWN ST                      STANWOOD ST
SUSQUEHANNA RD               PINE RD                       ALICIA ST
ALICIA ST                    BERGEN ST                     SUSQUEHANNA RD
RIDGEWAY ST                  KENDRICK ST                   SUSQUEHANNA RD
STRAHLE ST                   PINE RD                       JEANES ST
STRAHLE ST                   JEANES ST                     ALICIA ST
BENSON ST                    PINE RD                       JEANES ST
HOFFNAGLE ST                 PINE RD                       ELBERON AVE
STRAHLE ST                   ALICIA ST                     RIDGEWAY ST
HOFFNAGLE ST                 ELBERON AVE                   JEANES ST
STRAHLE ST                   RIDGEWAY ST                   HALSTEAD ST
RIDGEWAY ST                  BENSON ST                     STRAHLE ST
ALICIA ST                    HOFFNAGLE ST                  STRAHLE ST
HOFFNAGLE ST                 JEANES ST                     ALICIA ST
SOLLY AVE                    PINE RD                       ELBERON AVE
RIDGEWAY ST                  HOFFNAGLE ST                  BENSON ST
HOFFNAGLE ST                 ALICIA ST                     RIDGEWAY ST
BENSON ST                    RIDGEWAY ST                   HALSTEAD ST
SOLLY AVE                    ELBERON AVE                   JEANES ST
RIDGEWAY ST                  EMERSON ST                    HOFFNAGLE ST
EMERSON ST                   JEANES ST                     RIDGEWAY ST
HALSTEAD ST                  HOFFNAGLE ST                  BENSON ST
HOFFNAGLE ST                 RIDGEWAY ST                   HALSTEAD ST
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HOFFNAGLE ST                  HALSTEAD ST                   FERNDALE ST
RIDGEWAY ST                   SOLLY AVE                     EMERSON ST
SOLLY AVE                     JEANES ST                     RIDGEWAY ST
HALSTEAD ST                   EMERSON ST                    HOFFNAGLE ST
EMERSON ST                    RIDGEWAY ST                   HALSTEAD ST
EMERSON ST                    HALSTEAD ST                   FERNDALE ST
HALSTEAD ST                   SOLLY AVE                     EMERSON ST
SOLLY AVE                     RIDGEWAY ST                   HALSTEAD ST
SOLLY AVE                     HALSTEAD ST                   RYERS AVE
SOLLY AVE                     RYERS AVE                     FERNDALE ST
STANWOOD ST                   BURHOLME AVE                  HENNIG ST
STANWOOD ST                   HENNIG ST                     PINE RD
FULLER ST                     BURHOLME AVE                  PINE RD
ARTHUR ST                     JEANES ST                     RIDGEWAY ST
ARTHUR ST                     RIDGEWAY ST                   HALSTEAD ST
ALICIA ST                     KENDRICK ST                   BERGEN ST
KENDRICK ST                   ALICIA ST                     RIDGEWAY ST
ELBERON AVE                   RHAWN ST                      STANWOOD ST
FILLMORE ST                   LONEY ST                      HUNTINGDON PIKE
FILLMORE ST                   BORBECK AVE                   LONEY ST
ALICIA ST                     STRAHLE ST                    ARNOLD ST
JEANES ST                     ARNOLD ST                     KENDRICK ST
KENDRICK ST                   JEANES ST                     ALICIA ST
RIDGEWAY ST                   ARNOLD ST                     KENDRICK ST
ARNOLD ST                     ALICIA ST                     RIDGEWAY ST
BERGEN ST                     JEANES ST                     ALICIA ST
JEANES ST                     KENDRICK ST                   BERGEN ST
PARKHOLLOW LN                 RIDGERUN LN                   DEAD END EAST
PARKHOLLOW LN                 PINE RD                       RIDGERUN LN
RIDGERUN LN                   PARKHOLLOW LN                 DEAD END EAST
FILLMORE ST                   HARTEL AVE                    CHANDLER ST
FILLMORE ST                   CHANDLER ST                   BORBECK AVE
BURBANK RD                    ALBURGER AVE                  LARAMIE RD
DARLINGTON RD                 ALEXIS LN                     FLAGSTAFF RD
SHARON LN                     ARTWOOD DR                    CUL DE SAC NORTH
DARLINGTON RD                 DELIA LN                      ALEXIS LN
LARAMIE RD                    THORNDIKE RD                  POCASSET RD
GLENHOPE RD                   LAYTON RD                     BLOOMDALE RD
DARLINGTON RD                 ALBURGER AVE                  DELIA LN
REDD RAMBLER DR               OAKFIELD LN                   BLOOMDALE RD
LAYTON RD                     GLENHOPE RD                   CHAPEL RD
BURBANK RD                    KINGFIELD RD                  ALBURGER AVE
KINGFIELD RD                  PINE RD                       BURBANK RD
WOODFERN RD                   OAKFIELD LN                   BLOOMDALE RD
OAKFIELD LN                   REDD RAMBLER DR               WOODFERN RD
LARAMIE RD                    KINGFIELD RD                  THORNDIKE RD
KINGFIELD RD                  BURBANK RD                    LARAMIE RD
REDD RAMBLER DR               REDD RAMBLER TER              OAKFIELD LN
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DARLINGTON RD                 GREYCOURT RD                  ALBURGER AVE
POCASSET RD                   LARAMIE RD                    DARLINGTON RD
SPRINGVIEW RD                 ALBURGER AVE                  COLEBROOK RD
LAYTON RD                     CHAPEL RD                     BEACON RD
OAKFIELD LN                   WOODFERN RD                   SUSAN RD
WALLEY AVE                    SEROTA PL                     MOREFIELD RD
LAYTON RD                     BEACON RD                     BLOOMDALE RD
KINGFIELD RD                  LARAMIE RD                    GREYCOURT RD
REDD RAMBLER DR               REDD RAMBLER PL               REDD RAMBLER TER
GLENHOPE RD                   OAKFIELD LN                   LAYTON RD
REDD RAMBLER PL               REDD RAMBLER DR               CUL DE SAC EAST
KINGFIELD RD                  THORNDIKE RD                  DARLINGTON RD
KINGFIELD RD                  GREYCOURT RD                  THORNDIKE RD
SPRINGVIEW RD                 CHARETTE RD                   ALBURGER AVE
WALLEY AVE                    LAYTON RD                     SEROTA PL
LAYTON RD                     BLOOMDALE RD                  WALLEY AVE
CHAPEL RD                     OAKFIELD LN                   LAYTON RD
OAKFIELD LN                   GLENHOPE RD                   CHAPEL RD
SPRINGVIEW RD                 SHARON LN                     CHARETTE RD
GLENHOPE RD                   REDD RAMBLER DR               OAKFIELD LN
REDD RAMBLER DR               GLENHOPE RD                   SUSAN RD
SUSAN RD                      REDD RAMBLER DR               OAKFIELD LN
BEACON RD                     LOCHWOOD RD                   LAYTON RD
SPRINGVIEW RD                 ALICIA ST                     SHARON LN
WICK RD                       CRESWOOD RD                   SUSAN RD
WICK RD                       SUSAN RD                      TWIST RD
N KINGS OAK LN                PINE RD                       W KINGS OAK LN
E KINGS OAK LN                N KINGS OAK LN                S KINGS OAK LN
WALLEY AVE                    NORTHEAST AVE RAMP            KREWSTOWN RD
CHARETTE RD                   FERNDALE ST                   VERREE RD
NORTHEAST AVE RAMP            WALLEY AVE                    KREWSTOWN RD
WALLEY AVE                    CHAPEL RD                     NORTHEAST AVE RAMP
CHAPEL RD                     WALLEY AVE                    LOCHWOOD RD
W KINGS OAK LN                N KINGS OAK LN                S KINGS OAK LN
WALLEY AVE                    GLENHOPE RD                   CHAPEL RD
GLENHOPE RD                   WALLEY AVE                    REDD RAMBLER DR
ALICIA ST                     STELWOOD RD                   DUNMORE RD
CRESWOOD RD                   WICK RD                       WALLEY AVE
SUSAN RD                      WALLEY AVE                    WICK RD
WALLEY AVE                    CRESWOOD RD                   SUSAN RD
ALICIA ST                     MARCHMAN RD                   STELWOOD RD
TWIST RD                      WALLEY AVE                    WICK RD
WALLEY AVE                    SUSAN RD                      TWIST RD
ALICIA ST                     MILLWOOD RD                   MARCHMAN RD
WALLEY AVE                    TWIST RD                      GLENHOPE RD
DUNMORE RD                    ALICIA ST                     FERNDALE ST
MOREDUN PL                    MOREDUN AVE                   CUL DE SAC EAST
MOREDUN AVE                   PINE RD                       MOREDUN PL
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MARCHMAN RD                       ALICIA ST                     BRIDLE RD
MILLWOOD RD                       ALICIA ST                     BRIDLE RD
FERNDALE ST                       STELWOOD RD                   DUNMORE RD
STELWOOD RD                       ALICIA ST                     FERNDALE ST
BRIDLE RD                         MILLWOOD RD                   MARCHMAN RD
CARGILL LN                        MOREDUN AVE                   CUL DE SAC NORTH
MOREDUN AVE                       MOREDUN PL                    CARGILL LN
RISING SUN AVE                    CRESWOOD RD                   ALTON ST
FERNDALE ST                       MARCHMAN RD                   STELWOOD RD
MARCHMAN RD                       BRIDLE RD                     FERNDALE ST
RISING SUN AVE                    ALTON ST                      NORTHEAST AVE
RISING SUN AVE                    WELSH RD                      CRESWOOD RD
MILLWOOD RD                       BRIDLE RD                     FERNDALE ST
FERNDALE ST                       MILLWOOD RD                   MARCHMAN RD
MARCHMAN RD                       FERNDALE ST                   VERREE RD
CARGILL LN                        BLOOMFIELD AVE                MOREDUN AVE
RISING SUN AVE                    TROUT RD                      WELSH RD
MILLWOOD RD                       FERNDALE ST                   BLOOMFIELD AVE
ALTON ST                          CRESWOOD RD                   RISING SUN AVE
CRESWOOD RD                       RISING SUN AVE                ALTON ST
RISING SUN AVE                    TROUT RD                      TROUT RD
TROUT RD                          RISING SUN AVE                RISING SUN AVE
NORTHEAST AVE                     CRESWOOD RD                   RISING SUN AVE
SURREY RD                         GRANT AVE                     BINGHAM ST
GRANT AVE                         GREGG ST                      WELSH RD
RISING SUN AVE                    GRANT AVE                     TROUT RD
GRANT AVE                         TROUT RD                      RISING SUN AVE
GRANT AVE                         RISING SUN AVE                GREGG ST
BLOOMFIELD PL                     BLOOMFIELD AVE                CUL DE SAC EAST
SURREY RD                         BINGHAM ST                    BINGHAM ST
TROUT RD                          BINGHAM ST                    GRANT AVE
GREGG ST                          GRANT AVE                     BINGHAM ST
BINGHAM ST                        RISING SUN AVE                GREGG ST
BINGHAM ST                        TROUT RD                      RISING SUN AVE
BINGHAM ST                        ALPENA RD                     SURREY RD
ALTON ST                          GREGG ST                      GRANT AVE
GREGG ST                          BINGHAM ST                    ALTON ST
GREGG ST                          ALTON ST                      ALTON ST
RISING SUN AVE                    PLANE RD                      BINGHAM ST
SURREY RD                         BINGHAM ST                    RISING SUN AVE
GREGG ST                          ALTON ST                      KREWSTOWN RD
RISING SUN AVE                    SURREY RD                     PLANE RD
SURREY RD                         RISING SUN AVE                RISING SUN AVE
ALTON ST                          PLANE RD                      GREGG ST
PLANE RD                          RISING SUN AVE                ALTON ST
RISING SUN AVE                    ALPENA RD                     SURREY RD
ALPENA RD                         BINGHAM ST                    RISING SUN AVE
NORVELT DR                        BLOOMFIELD AVE                HOVEN RD
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SURREY RD                    RISING SUN AVE                ALTON ST
RISING SUN AVE               CAMAS DR                      ALPENA RD
ALTON ST                     SURREY RD                     PLANE RD
SURREY RD                    ALTON ST                      ALTON ST
OLD FARM RD                  HOVEN RD                      BLOOMFIELD AVE
SURREY RD                    ALTON ST                      KREWSTOWN RD
RISING SUN AVE               BLOOMFIELD AVE                CAMAS DR
ALTON ST                     ALTON PL                      SURREY RD
OLD FARM RD                  NORVELT DR                    HOVEN RD
NORVELT DR                   HOVEN RD                      OLD FARM RD
ALTON ST                     SYLVIA LN                     ALTON PL
SYLVIA LN                    BLOOMFIELD AVE                ALTON ST
RISING SUN AVE               HOWER LN                      BLOOMFIELD AVE
ALTON ST                     BLOOMFIELD AVE                SYLVIA LN
HEACOCK LN                   HOWER LN                      HEDGEROW LN
HOWER LN                     RISING SUN AVE                HEACOCK LN
ALTON ST                     HEDGEROW LN                   BLOOMFIELD AVE
HEDGEROW LN                  HEACOCK LN                    ALTON ST
HOWER LN                     HEACOCK LN                    AUTUMN RD
RISING SUN PL                RISING SUN AVE                CUL DE SAC EAST
RISING SUN AVE               RISING SUN PL                 HOWER LN
ALTON ST                     CUL DE SAC SOUTH              HEDGEROW LN
RISING SUN AVE               AUTUMN RD                     RISING SUN PL
KENDRICK ST                  DEAD END WEST                 BRIDLE RD
BERGEN ST                    BERGEN TER                    BERGEN TER
FERNDALE ST                  BERGEN ST                     SUSQUEHANNA RD
BERGEN ST                    BERGEN TER                    FERNDALE ST
KENDRICK ST                  KENDRICK PL                   KENDRICK PL
RISING SUN AVE               KREWSTOWN RD                  AUTUMN RD
BERGEN ST                    FERNDALE ST                   BERGEN PL
KENDRICK ST                  KENDRICK PL                   RYERS AVE
SUSQUEHANNA RD               FERNDALE ST                   TUSTIN AVE
BERGEN ST                    BERGEN PL                     CUL DE SAC EAST
FERNDALE ST                  KENDRICK ST                   BERGEN ST
RYERS AVE                    ARNOLD ST                     KENDRICK ST
KENDRICK ST                  FERNDALE ST                   ARNOLD ST
RYERS AVE                    STRAHLE ST                    ARNOLD ST
HALSTEAD ST                  BENSON ST                     STRAHLE ST
TUSTIN AVE                   VERREE RD                     RISING SUN AVE
BERGEN ST                    VERREE RD                     RISING SUN AVE
KENDRICK ST                  ARNOLD ST                     VERREE RD
STRAHLE ST                   RYERS AVE                     FERNDALE ST
FERNDALE ST                  BENSON ST                     STRAHLE ST
KENDRICK ST                  VERREE RD                     RISING SUN AVE
STRAHLE ST                   FERNDALE ST                   VERREE RD
FERNDALE ST                  HOFFNAGLE ST                  BENSON ST
RISING SUN AVE               ARNOLD ST                     KENDRICK ST
ARNOLD ST                    VERREE RD                     RISING SUN AVE
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BENSON ST                    FERNDALE ST                   VERREE RD
RISING SUN AVE               STRAHLE ST                    ARNOLD ST
STRAHLE ST                   VERREE RD                     RISING SUN AVE
HOFFNAGLE ST                 FERNDALE ST                   VERREE RD
STRAHLE ST                   RISING SUN AVE                STRAHLE PL
RISING SUN AVE               BENSON ST                     STRAHLE ST
BENSON ST                    VERREE RD                     RISING SUN AVE
FERNDALE ST                  SOLLY AVE                     EMERSON ST
STRAHLE ST                   STRAHLE PL                    STRAHLE TER
FRONTENAC ST                 CARWITHAN ST                  BENTON AVE
RISING SUN AVE               HOFFNAGLE ST                  BENSON ST
HOFFNAGLE ST                 VERREE RD                     RISING SUN AVE
PLACID ST                    ALGON AVE                     AGUSTA ST
AGUSTA ST                    PLACID ST                     TOLBUT ST
TABOR AVE                    TABOR PLZ                     STRAHLE ST
HOFFNAGLE PL                 HOFFNAGLE ST                  CUL DE SAC SOUTH
RISING SUN AVE               EMERSON ST                    HOFFNAGLE ST
EMERSON ST                   VERREE RD                     RISING SUN AVE
CARWITHAN ST                 FRONTENAC ST                  BENTON AVE
RISING SUN AVE               SOLLY AVE                     EMERSON ST
SOLLY AVE                    VERREE RD                     RISING SUN AVE
TABOR AVE                    TABOR TER                     TABOR PLZ
TABOR TER                    TABOR AVE                     CUL DE SAC WEST
TOLBUT ST                    FRONTENAC ST                  BUSTLETON AVE
SOLLY AVE                    RISING SUN AVE                SOLLY PL
FRONTENAC ST                 MOWER ST                      PLACID ST
TUSTIN AVE                   ALGON AVE                     SUMMERDALE AVE
PLACID ST                    FRONTENAC ST                  BUSTLETON AVE
SUMMERDALE AVE               MEGARGEE ST                   TUSTIN AVE
AGUSTA ST                    TUSTIN AVE                    SUMMERDALE AVE
TUSTIN AVE                   SUMMERDALE AVE                AGUSTA ST
MOWER ST                     FRONTENAC ST                  BUSTLETON AVE
SUMMERDALE AVE               DANFORTH ST                   LANGDON ST
DANFORTH ST                  SUMMERDALE AVE                LORETTO AVE
EVARTS ST                    FRONTENAC ST                  BUSTLETON AVE
MEGARGEE ST                  LANGDON ST                    LORETTO AVE
TUSTIN AVE                   FRONTENAC ST                  LORETTO AVE
TUSTIN AVE                   LORETTO AVE                   BUSTLETON AVE
CASTOR AVE                   EVARTS ST                     MOWER ST
BERGEN ST                    BRIDLE RD                     BERGEN TER
SUSQUEHANNA RD               ALICIA ST                     RIDGEWAY ST
BRIDLE RD                    KENDRICK ST                   BERGEN ST
BRIDLE RD                    ARNOLD ST                     KENDRICK ST
STRAHLE PL                   STRAHLE ST                    CUL DE SAC SOUTH
FERNDALE ST                  DEAD END WEST                 CHARETTE RD
DEDAKER ST                   HAYDEN ST                     HAYDEN ST
HAYDEN ST                    DEDAKER ST                    DEDAKER ST
DEDAKER ST                   CRESWOOD RD                   HAYDEN ST
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CRESWOOD RD                  NORTHEAST AVE                 DEDAKER ST
BANES ST                     RACHAEL ST                    WELSH RD
BANES ST                     TRACEY ST                     RACHAEL ST
BANES ST                     SCOTCHBROOK DR                TRACEY ST
STONEY LN                    NEIL RD                       JAMISON AVE
MARCY PL                     JAMISON AVE                   CUL DE SAC NORTH
TRACEY ST                    RACHAEL ST                    BANES ST
RACHAEL ST                   BANES ST                      TRACEY ST
DALE RD                      GREGG ST                      BUSTLETON AVE
GREGG ST                     DALE RD                       BUSTLETON AVE
AMBASSADOR ST                OLD BUSTLETON AVE             DIPLOMAT PL
DALE RD                      COLIMA RD                     GREGG ST
GREGG ST                     BUSTLETON AVE                 OLD BUSTLETON AVE
AMBASSADOR PL                AMBASSADOR ST                 CUL DE SAC NORTH
AMBASSADOR ST                DIPLOMAT PL                   AMBASSADOR PL
OLD NEWTOWN RD               AMBASSADOR ST                 WELSH RD
AMBASSADOR ST                AMBASSADOR PL                 OLD NEWTOWN RD
DIPLOMAT PL                  AMBASSADOR ST                 CUL DE SAC SOUTH
GREGG ST                     OLD BUSTLETON AVE             MATHER ST
OLD NEWTOWN RD               BICKLEY ST                    GREGG ST
MATHER ST                    GREGG ST                      WINCHESTER AVE
WINCHESTER AVE               OLD BUSTLETON AVE             MATHER ST
WINCHESTER AVE               MATHER ST                     OLD NEWTOWN RD
OLD NEWTOWN RD               TREMONT ST                    BICKLEY ST
OLD NEWTOWN RD               WINCHESTER AVE                TREMONT ST
OLD NEWTOWN RD               GREGG ST                      GREGG ST
MASLAND ST                   GREGG ST                      WELSH RD
BICKLEY ST                   GREGG ST                      WELSH RD
GREGG ST                     OLD NEWTOWN RD                MASLAND ST
BEYER AVE                    HOFF ST                       CLARK ST
HOFF ST                      NESTER ST                     BEYER AVE
NESTER ST                    HOFF ST                       GOODNAW ST
CLARK ST                     NESTER ST                     BEYER AVE
NESTER ST                    GOODNAW ST                    CLARK ST
NESTER ST                    WELSH RD                      HOFF ST
EVANS ST                     BEYER AVE                     DEAD END EAST
BEYER AVE                    CLARK ST                      EVANS ST
NESTER ST                    CLARK ST                      MASLAND ST
BEYER AVE                    EVANS ST                      MASLAND ST
MASLAND ST                   NESTER ST                     BEYER AVE
MASLAND ST                   BEYER AVE                     CUL DE SAC EAST
NESTER ST                    MASLAND ST                    GOODNAW ST
NESTER ST                    GOODNAW ST                    NESTER PL
NESTER PL                    NESTER ST                     CUL DE SAC WEST
BEYER AVE                    MASLAND ST                    GOODNAW ST
NESTER ST                    NESTER PL                     BEYER AVE
GOODNAW ST                   BEYER AVE                     E ROOSEVELT BLVD
NESTER ST                    BEYER AVE                     WELSH RD
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CLARK ST                          MICHENER ST                   GRANT AVE
EVANS ST                          MICHENER ST                   GRANT AVE
MICHENER ST                       CLARK ST                      EVANS ST
HILSPACH ST                       MICHENER ST                   GRANT AVE
MICHENER ST                       EVANS ST                      HILSPACH ST
MICHENER ST                       HILSPACH ST                   E ROOSEVELT BLVD
LOTT AVE                          BUSTLETON AVE                 WISTARIA ST
LOTT AVE                          WISTARIA ST                   DUNGAN RD
FULMER ST                         BANES ST                      BUSTLETON AVE
BANES ST                          PEARSON AVE                   FULMER ST
LOTT AVE                          DUNGAN RD                     BIRWOOD ST
FULMER ST                         BUSTLETON AVE                 WISTARIA ST
LOTT AVE                          BIRWOOD ST                    HOFF ST
DUNGAN RD                         FULMER ST                     LOTT AVE
FULMER ST                         WISTARIA ST                   DUNGAN RD
MURRAY ST                         DEAD END WEST                 BUSTLETON AVE
BIRWOOD ST                        FULMER ST                     LOTT AVE
FULMER ST                         DUNGAN RD                     BIRWOOD ST
BANES ST                          DEAD END SOUTH                KOHL ST
KOHL ST                           BANES ST                      BUSTLETON AVE
MURRAY ST                         BUSTLETON AVE                 WISTARIA ST
HOFF ST                           FULMER ST                     LOTT AVE
FULMER ST                         BIRWOOD ST                    HOFF ST
DUNGAN RD                         MURRAY ST                     FULMER ST
MURRAY ST                         WISTARIA ST                   DUNGAN RD
BIRWOOD ST                        MURRAY ST                     FULMER ST
MURRAY ST                         DUNGAN RD                     BIRWOOD ST
DUNGAN RD                         KOHL ST                       MURRAY ST
HOFF ST                           MURRAY ST                     FULMER ST
MURRAY ST                         BIRWOOD ST                    HOFF ST
DUNGAN RD                         GRANT AVE                     KOHL ST
HOFF ST                           KOHL ST                       MURRAY ST
KOHL ST                           DUNGAN RD                     HOFF ST
HOFF ST                           GRANT AVE                     KOHL ST
WISTARIA ST                       GRANT AVE                     MURRAY ST
WISTARIA ST                       FULMER ST                     LOTT AVE
LOTT AVE                          HOFF ST                       CHAPELCROFT ST
LOTT AVE                          CHAPELCROFT ST                CLARK ST
LOTT AVE                          CLARK ST                      COWDEN ST
CHAPELCROFT ST                    FULMER ST                     LOTT AVE
FULMER ST                         HOFF ST                       CHAPELCROFT ST
LOTT AVE                          COWDEN ST                     EVANS ST
CLARK ST                          FULMER ST                     LOTT AVE
FULMER ST                         CHAPELCROFT ST                CLARK ST
LOTT AVE                          EVANS ST                      HILSPACH ST
COWDEN ST                         FULMER ST                     LOTT AVE
FULMER ST                         CLARK ST                      COWDEN ST
LOTT AVE                          HILSPACH ST                   E ROOSEVELT BLVD
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CHAPELCROFT ST                    MURRAY ST                     FULMER ST
MURRAY ST                         HOFF ST                       CHAPELCROFT ST
EVANS ST                          FULMER ST                     LOTT AVE
FULMER ST                         COWDEN ST                     EVANS ST
CLARK ST                          MURRAY ST                     FULMER ST
MURRAY ST                         CHAPELCROFT ST                CLARK ST
HILSPACH ST                       FULMER ST                     LOTT AVE
FULMER ST                         EVANS ST                      HILSPACH ST
FULMER ST                         HILSPACH ST                   E ROOSEVELT BLVD
COWDEN ST                         MURRAY ST                     FULMER ST
MURRAY ST                         CLARK ST                      COWDEN ST
EVANS ST                          MURRAY ST                     FULMER ST
MURRAY ST                         COWDEN ST                     EVANS ST
HILSPACH ST                       MURRAY ST                     FULMER ST
MURRAY ST                         EVANS ST                      HILSPACH ST
CLARK ST                          GRANT AVE                     MURRAY ST
MURRAY ST                         HILSPACH ST                   E ROOSEVELT BLVD
COWDEN ST                         GRANT AVE                     MURRAY ST
EVANS ST                          GRANT AVE                     MURRAY ST
HILSPACH ST                       GRANT AVE                     MURRAY ST
PRESIDENT ST                      WISTARIA ST                   MONTOUR ST
PRESIDENT ST                      MONTOUR ST                    DUNGAN RD
WISTARIA ST                       MORRELL ST                    PRESIDENT ST
PRESIDENT ST                      DUNGAN RD                     HARDY RD
PRESIDENT ST                      HARDY RD                      HOFF ST
PRESIDENT ST                      HOFF ST                       CLARK ST
BOWLER ST                         BUSTLETON AVE                 BERWYN ST
MORRELL ST                        WISTARIA ST                   HOFF ST
MORRELL ST                        HOFF ST                       CHAPELCROFT ST
BOWLER ST                         BERWYN ST                     WITLER ST
BOWLER ST                         WITLER ST                     BIRWOOD ST
BOWLER ST                         BIRWOOD ST                    HOFF ST
BIRWOOD ST                        BERWYN ST                     BOWLER ST
BOWLER ST                         HOFF ST                       CHAPELCROFT ST
BIRWOOD ST                        LOTT AVE                      BERWYN ST
BOWLER ST                         CHAPELCROFT ST                CLARK ST
HOFF ST                           LOTT AVE                      BOWLER ST
CLARK ST                          LOTT AVE                      BERWYN ST
HOFF ST                           MORRELL ST                    PRESIDENT ST
HOFF ST                           WITLER ST                     MORRELL ST
HOFF ST                           BOWLER ST                     WITLER ST
CLARK ST                          DUNGAN RD                     HALDEMAN AVE
PRESIDENT ST                      BUSTLETON AVE                 WISTARIA ST
HOFF ST                           HARDY RD                      DUNGAN RD
WISTARIA ST                       PRESIDENT ST                  PRESIDENT ST
MONTOUR ST                        PRESIDENT ST                  HOFF ST
HARDY RD                          PRESIDENT ST                  HOFF ST
PRESIDENT ST                      COWDEN ST                     CONWELL AVE
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HOFF ST                         PRESIDENT ST                  HARDY RD
PRESIDENT ST                    CLARK ST                      COWDEN ST
CLARK ST                        PRESIDENT ST                  DUNGAN RD
DUNGAN RD                       HOFF ST                       CLARK ST
DUNGAN RD                       PRESIDENT ST                  HOFF ST
HOFF ST                         MONTOUR ST                    WISTARIA ST
HOFF ST                         DUNGAN RD                     MONTOUR ST
WISTARIA ST                     CONWELL AVE                   MONTOUR ST
CONWELL AVE                     HALDEMAN AVE                  WISTARIA ST
MONTOUR ST                      CONWELL AVE                   WISTARIA ST
CONWELL AVE                     WISTARIA ST                   MONTOUR ST
DUNGAN RD                       HARDY RD                      WISTARIA ST
DUNGAN RD                       CONWELL AVE                   HARDY RD
CONWELL AVE                     MONTOUR ST                    DUNGAN RD
HILSPACH ST                     SANDY RD                      WINGTIP RD
PRESIDENT ST                    HILSPACH ST                   WHITTEN ST
HILSPACH ST                     WINGTIP RD                    PRESIDENT ST
WINGTIP RD                      SANDY RD                      HILSPACH ST
WINGTIP RD                      CONWELL AVE                   SANDY RD
CONWELL AVE                     DUNGAN RD                     WINGTIP RD
PRESIDENT ST                    CONWELL AVE                   HILSPACH ST
CONWELL AVE                     WINGTIP RD                    PRESIDENT ST
WISTARIA ST                     BONNER ST                     CONWELL AVE
WISTARIA ST                     COWDEN ST                     BONNER ST
COWDEN ST                       BONNER ST                     WISTARIA ST
COWDEN ST                       PRESIDENT ST                  BONNER ST
SANDY RD                        HILSPACH ST                   WISTARIA ST
MORRELL ST                      COWDEN ST                     EVANS ST
BOWLER ST                       CLARK ST                      COWDEN ST
BOWLER ST                       COWDEN ST                     EVANS ST
BOWLER ST                       EVANS ST                      HILSPACH ST
EVANS ST                        BERWYN PL                     BOWLER ST
BOWLER ST                       HILSPACH ST                   E ROOSEVELT BLVD
EVANS ST                        LOTT AVE                      BERWYN PL
COWDEN ST                       MORRELL ST                    PRESIDENT ST
COWDEN ST                       BOWLER ST                     MORRELL ST
EVANS ST                        BOWLER ST                     MORRELL ST
HILSPACH ST                     BOWLER ST                     MORRELL ST
MARSHALL ST                     WELSH RD                      DEAD END NORTH
TREMONT ST                      LEONARD ST                    CALVERT ST
TREMONT ST                      CALVERT ST                    BLUE GRASS RD
WOODWARD ST                     FAIRFIELD ST                  CALVERT ST
WOODWARD ST                     CALVERT ST                    BLUE GRASS RD
TREMONT ST                      BLUE GRASS RD                 REVERE ST
FAIRFIELD ST                    LEONARD ST                    TREMONT ST
FAIRFIELD ST                    WOODWARD ST                   LEONARD ST
CALVERT ST                      WOODWARD ST                   TREMONT ST
LEONARD ST                      TREMONT ST                    WELSH RD
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SAXTON RD                      ASHTON RD                     WOODBRIDGE RD
NORCROSS LN                    ASHTON RD                     FAIRGREEN LN
WOODWARD ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
WOODWARD ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
WOODWARD ST                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
GOODNAW ST                     E ROOSEVELT BLVD              E ROOSEVELT BLVD
GOODNAW ST                     E ROOSEVELT BLVD              E ROOSEVELT BLVD
GOODNAW ST                     E ROOSEVELT BLVD              E ROOSEVELT BLVD
LOTT AVE                       E ROOSEVELT BLVD              E ROOSEVELT BLVD
LOTT AVE                       E ROOSEVELT BLVD              E ROOSEVELT BLVD
CONWELL AVE                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
CONWELL AVE                    E ROOSEVELT BLVD              E ROOSEVELT BLVD
WHITTEN ST                     PRESIDENT ST                  E ROOSEVELT BLVD
LEE LYNN LN                    PINE RD                       LEE LYNN LN
SPRINGVIEW RD                  CUL DE SAC SOUTH              ALICIA ST
NORTHEAST AVE                  FULMER ST                     LOTT AVE
NORTHEAST AVE                  GRANT AVE                     CRESWOOD RD
LOCHWOOD RD                    BEACON RD                     LAYTON RD
LOCHWOOD RD                    CHAPEL RD                     BEACON RD
N KINGS OAK LN                 W KINGS OAK LN                E KINGS OAK LN
S KINGS OAK LN                 W KINGS OAK LN                E KINGS OAK LN
GRACE LN                       DELIA LN                      DARLINGTON RD
ALEXIS LN                      DELIA LN                      DARLINGTON RD
SPRINGVIEW RD                  COLEBROOK RD                  ARTWOOD DR
SUSAN RD                       OAKFIELD LN                   LAYTON RD
ARTWOOD DR                     SHARON LN                     FERNDALE ST
REDD RAMBLER TER               REDD RAMBLER DR               CUL DE SAC WEST
THORNDIKE RD                   LARAMIE RD                    KINGFIELD RD
COLEBROOK RD                   SPRINGVIEW RD                 FERNDALE ST
GREYCOURT RD                   KINGFIELD RD                  DARLINGTON RD
CHARETTE RD                    SPRINGVIEW RD                 FERNDALE ST
SHERRIE RD                     ALBURGER AVE                  ALBURGER AVE
CHAPEL RD                      LOCHWOOD RD                   OAKFIELD LN
REDD RAMBLER DR                SUSAN RD                      REDD RAMBLER PL
WALLEY AVE                     KREWSTOWN RD                  LAYTON RD
FERNDALE ST                    CHARETTE RD                   ALBURGER AVE
WALLEY AVE                     WELSH RD                      CRESWOOD RD
BINGHAM ST                     SURREY RD                     TROUT RD
ALPENA RD                      BLOOMFIELD AVE                BINGHAM ST
CAMAS DR                       BLOOMFIELD AVE                RISING SUN AVE
HOVEN RD                       NORVELT DR                    OLD FARM RD
KENDRICK ST                    BRIDLE RD                     KENDRICK PL
BERGEN TER                     BERGEN ST                     BERGEN ST
KENDRICK PL                    KENDRICK ST                   KENDRICK ST
KENDRICK ST                    RYERS AVE                     FERNDALE ST
ARNOLD ST                      BRIDLE RD                     RYERS AVE
STRAHLE ST                     HALSTEAD ST                   RYERS AVE
ARNOLD ST                      RYERS AVE                     KENDRICK ST
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BENSON ST                    HALSTEAD ST                   FERNDALE ST
RISING SUN AVE               KENDRICK ST                   BERGEN ST
FERNDALE ST                  EMERSON ST                    HOFFNAGLE ST
STRAHLE TER                  STRAHLE ST                    CUL DE SAC NORTH
SOLLY AVE                    FERNDALE ST                   VERREE RD
EMERSON ST                   FERNDALE ST                   VERREE RD
TABOR PLZ                    TABOR AVE                     CUL DE SAC WEST
BENTON AVE                   BUSTLETON AVE                 CASTOR AVE
TOLBUT ST                    EVARTS ST                     CASTOR AVE
NORTHEAST AVE                FULMER ST                     KREWSTOWN RD
FULMER ST                    NORTHEAST AVE                 LOTT AVE
NORTHEAST AVE                RISING SUN AVE                FULMER ST
STONEY LN                    GREGG ST                      NEIL RD
OLD NEWTOWN RD               GREGG ST                      AMBASSADOR ST
GREGG ST                     MATHER ST                     OLD NEWTOWN RD
BICKLEY ST                   OLD NEWTOWN RD                GREGG ST
TREMONT ST                   OLD NEWTOWN RD                E ROOSEVELT BLVD
WINCHESTER AVE               OLD NEWTOWN RD                WOODWARD ST
WINCHESTER AVE               BRADFORD ST                   WOODWARD ST
GOODNAW ST                   NESTER ST                     NESTER ST
BEYER AVE                    GOODNAW ST                    NESTER ST
CLARK ST                     BOWLER ST                     PRESIDENT ST
CLARK ST                     BERWYN ST                     BOWLER ST
WITLER ST                    BOWLER ST                     HOFF ST
HARDY RD                     DUNGAN RD                     WISTARIA ST
BONNER ST                    COWDEN ST                     WISTARIA ST
SANDY RD                     WINGTIP RD                    HILSPACH ST
CONWELL AVE                  PRESIDENT ST                  E ROOSEVELT BLVD
BLUE GRASS RD                GRANT AVE                     E ROOSEVELT BLVD
NORTHEAST AVE                RISING SUN AVE                FULMER ST
MORRELL ST                   EVANS ST                      HILSPACH ST
NEIL RD                      STONEY LN                     JAMISON AVE
JAMISON AVE                  SCOTCHBROOK DR                NEIL RD
SCOTCHBROOK DR               BANES ST                      BUSTLETON AVE
HEDGEROW LN                  BLOOMFIELD AVE                HEACOCK LN
ALTON PL                     CUL DE SAC WEST               ALTON ST
NEIL RD                      JAMISON AVE                   WELSH RD
SCOTCHBROOK DR               JAMISON AVE                   BANES ST
JAMISON AVE                  STONEY LN                     SCOTCHBROOK DR
GREGG ST                     DEAD END NORTH                DALE RD
BERGEN PL                    CUL DE SAC EAST               BERGEN ST
SUMMERDALE AVE               TUSTIN AVE                    AGUSTA ST
AUTUMN RD                    HOWER LN                      RISING SUN AVE
FERNDALE ST                  COLEBROOK RD                  ARTWOOD DR
FERNDALE ST                  ALBURGER AVE                  COLEBROOK RD
WISTARIA ST                  PRESIDENT ST                  HOFF ST
STRAHLE ST                   STRAHLE TER                   TABOR AVE
DELIA LN                     DARLINGTON RD                 ALEXIS LN
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GRANT AVE                     SURREY RD                     TROUT RD
COLIMA RD                     BUSTLETON AVE                 DALE RD
PEARSON AVE                   BUSTLETON AVE                 BANES ST
FULMER ST                     DEAD END WEST                 BANES ST
CHARETTE RD                   SHARON LN                     SPRINGVIEW RD
ALICIA ST                     SHARON LN                     SPRINGVIEW RD
SHARON LN                     SPRINGVIEW RD                 ALICIA ST
JENNIFER TER                  BLOOMFIELD AVE                CUL DE SAC NORTH
KREWSTOWN RD                  NORTHEAST AVE                 COUNTRY LN
KREWSTOWN RD                  COUNTRY LN                    WALLEY AVE
CHAPELCROFT ST                MORRELL ST                    BOWLER ST
BERWYN ST                     CLARK ST                      EVANS ST
BERWYN PL                     EVANS ST                      CUL DE SAC EAST
FULMER ST                     NORTHEAST AVE                 NORTHEAST AVE
TURTON DR                     ALPENA RD                     BLOOMFIELD AVE
GREGG ST                      STONEY LN                     JAMISON AVE
JAMISON AVE                   MARCY PL                      STONEY LN
JAMISON AVE                   GREGG ST                      MARCY PL
WISTARIA ST                   BERWYN ST                     MORRELL ST
DEDAKER ST                    HAYDEN ST                     LOTT AVE
LOTT AVE                      NORTHEAST AVE                 FULMER ST
LOTT AVE                      FULMER ST                     DEDAKER ST
LEONARD ST                    FAIRFIELD ST                  TREMONT ST
TREMONT ST                    FAIRFIELD ST                  LEONARD ST
WOODWARD ST                   E ROOSEVELT BLVD              FAIRFIELD ST
TREMONT ST                    E ROOSEVELT BLVD              FAIRFIELD ST
WOODWARD ST                   BRADFORD ST                   E ROOSEVELT BLVD
WOODWARD ST                   WINCHESTER AVE                BRADFORD ST
AGUSTA ST                     TOLBUT ST                     ALGON AVE
FRONTENAC ST                  TOLBUT ST                     CARWITHAN ST
FRONTENAC ST                  PLACID ST                     TOLBUT ST
FRONTENAC ST                  EVARTS ST                     MOWER ST
FRONTENAC ST                  TUSTIN AVE                    EVARTS ST
TUSTIN AVE                    AGUSTA ST                     FRONTENAC ST
TOLBUT ST                     AGUSTA ST                     FRONTENAC ST
MOWER ST                      BUSTLETON AVE                 CASTOR AVE
CASTOR AVE                    MOWER ST                      TOLBUT ST
CASTOR AVE                    TOLBUT ST                     BENTON AVE
CRESWOOD RD                   NORTHEAST AVE                 NORTHEAST AVE
NORTHEAST AVE                 GRANT AVE                     CRESWOOD RD
RISING SUN AVE                NORTHEAST AVE                 NORTHEAST AVE
NORTHEAST AVE                 CRESWOOD RD                   RISING SUN AVE
RED LION RD                   E ROOSEVELT BLVD              G F CONGDON DR
RED LION RD                   G F CONGDON DR                NORCOM RD
CONWELL AVE                   REILLY RD                     HALDEMAN AVE
REILLY RD                     CONWELL AVE                   HALDEMAN AVE
PENNYPACK PATH                PINE RD                       PENNYPACK PATH
PENNYPACK PATH                PENNYPACK PATH                PENNYPACK PATH
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PENNYPACK PATH               PENNYPACK PATH                PENNYPACK PATH
PENNYPACK PATH               PENNYPACK PATH                FRANKFORD AVE
PENNYPACK PATH               FRANKFORD AVE                 TORRESDALE AVE
PENNYPACK PATH               TORRESDALE AVE                RHAWN ST
SEROTA PL                    WALLEY AVE                    CUL DE SAC SOUTH
SUSQUEHANNA RD               RIDGEWAY ST                   ERNEST WAY
SUSQUEHANNA RD               ERNEST WAY                    FERNDALE ST
BLUE GRASS RD                DONALDSON ST                  GRANT AVE
EVANS ST                     GREGG ST                      DEAD END NORTH
GREGG ST                     MASLAND ST                    EVANS ST
GREGG ST                     EVANS ST                      BICKLEY ST
CATES WAY                    CUL DE SAC WEST               VERREE RD
BERWYN ST                    BOWLER ST                     BIRWOOD ST
WHITMAN PLZ                  E ROOSEVELT BLVD              E ROOSEVELT BLVD
WHITMAN PLZ                  E ROOSEVELT BLVD              E ROOSEVELT BLVD
PENNYPACK PATH               PENNYPACK PATH                PENNYPACK PATH
PENNYPACK PATH               PENNYPACK PATH                PENNYPACK PATH
PENNYPACK PATH               PENNYPACK PATH                PENNYPACK PATH
PENNYPACK PATH               PENNYPACK PATH                PENNYPACK PATH
PENNYPACK PATH               STATE RD                      PENNYPACK PATH
PENNYPACK PATH               PENNYPACK PATH                DEAD END
BLUE GRASS RD                GREGG ST                      DONALDSON ST
BLUE GRASS RD                CARWITHAN ST                  GREGG ST
BLUE GRASS RD                WELSH RD                      CARWITHAN ST
NORCOM RD                    RED LION RD                   CHARTER RD
DECATUR RD                   DRUMMOND RD                   DARNELL RD
DUTTON RD                    DARNELL RD                    COMLY RD
WALDEMIRE DR                 COMLY RD                      NEWBERRY RD
SALINA RD                    TEMPLETON DR                  NEDLA RD
COMLY RD                     TARA RD                       FAIRDALE RD
DRUMMOND RD                  RED LION RD                   DECATUR RD
FARWELL RD                   FAIRDALE RD                   COVERT RD
COVERT RD                    WALDEMIRE DR                  FAIRDALE RD
ALBERTA DR                   FARWELL RD                    FAIRDALE RD
FARMDALE RD                  FAIRDALE RD                   FAIRDALE RD
BROOKVIEW RD                 CALERA RD                     CHALFONT DR
VIOLET DR                    TEMPLETON DR                  PATRICIAN DR
LAWNSIDE RD                  WHITING RD                    WHITING RD
CHALFONT DR                  KESWICK RD                    WALDEMIRE DR
CHALFONT DR                  CAREY RD                      KESWICK RD
MODENA DR                    PEDRICK RD                    AMITY RD
BROOKVIEW RD                 CHALFONT DR                   HAWLEY RD
ANDREA RD                    CHALFONT DR                   KIPLING LN
HELMER DR                    KESWICK RD                    FENN DR
DEERPATH LN                  GREENMOUNT RD                 CHALFONT PLAYGROUND WALK
AMBRIDGE PL                  CUL DE SAC WEST               CROMWELL RD
HEFLIN RD                    PELLE CIR E                   KYLE RD
CHELSEA PL                   N CANTERBURY RD               CUL DE SAC SOUTH
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CHALFONT PL                    CHALFONT DR                   CUL DE SAC SOUTH
PELLE CIR E                    PELLE CIR W                   HEFLIN RD
TELFAIR RD                     CROSLAND RD                   GREENMOUNT RD
ELLISTON CIR                   W KESWICK RD                  W KESWICK RD
S CANTERBURY RD                THORNBROOK PL                 MORRELL AVE
ALBEMARLE LN                   MORRELL AVE                   RED LION RD
WESTBOURNE PL                  CUL DE SAC SOUTH              MORRELL AVE
S CANTERBURY RD                DOWNING PL                    THORNBROOK PL
RED LION RD                    KESWICK RD                    WALDEMIRE DR
S CANTERBURY RD                CHESTERFIELD RD               DOWNING PL
KIRBY DR                       GREENACRES RD                 TEMPLETON DR
GOODFORD RD                    GREENDALE RD                  PARKVIEW RD
KAYFORD CIR                    MORRELL AVE                   MORRELL AVE
S KESWICK RD                   KESWICK PLZ                   KESWICK TER
ELLICOTT RD                    ORCHARD LN                    KNIGHTS RD
WICKLEY RD                     GREENDALE RD                  NAULDO RD
ASHTON RD                      GRANT AVE                     DEAD END NORTH
CHESTERFIELD RD                BEREA ST                      WESSEX LN
ORCHARD LN                     ELLICOTT RD                   CRESTMONT AVE
CHURCHILL LN                   W CROWN AVE                   WESSEX LN
NOTTINGHAM LN                  E CROWN AVE                   E CROWN AVE
MEADOW LN                      ELLICOTT RD                   ORCHARD LN
CHESTERFIELD RD                WESSEX LN                     WHITEHALL LN
N HEREFORD LN                  E CROWN AVE                   PITT PL
GLOUCESTER LN                  E CROWN AVE                   E CROWN AVE
WHITEHALL LN                   W CROWN AVE                   FORDHAM RD
ESSEX LN                       E CROWN AVE                   E CROWN AVE
PRIMROSE RD                    CUL DE SAC WEST               ACADEMY RD
CLARENDON AVE                  N HEREFORD LN                 CRESTMONT AVE
CRESTMONT AVE                  MORRELL AVE                   BARNER PL
ROWENA DR                      BROOK LN                      AVNER LN
DECATUR RD                     DARNELL RD                    COMLY RD
COMLY PL                       COMLY RD                      CUL DE SAC EAST
SALINA PL                      NEWBERRY RD                   CUL DE SAC NORTH
WALDEMIRE DR                   NEWBERRY RD                   LEGION ST
NEWBERRY RD                    SALINA PL                     WALDEMIRE DR
TEMPLETON DR                   NEDLA RD                      COVERT RD
COVERT RD                      TEMPLETON DR                  WOODHAVEN RD
TEMPLETON DR                   COVERT RD                     ELMORE RD
ELMORE RD                      COVERT RD                     COVERT RD
COMLY RD                       ACADEMY RD                    RHETT RD
COVERT RD                      ELMORE RD                     TEMPLETON DR
NEWBERRY RD                    WALDEMIRE DR                  TEMPLETON DR
WOODHAVEN RD                   WOODHAVEN RD                  WOODHAVEN RD
DARNELL RD                     DECATUR RD                    DUTTON RD
ELMORE RD                      ELMORE TER                    COVERT RD
ELMORE TER                     CUL DE SAC SOUTH              ELMORE RD
TEMPLETON DR                   SALINA RD                     NEWBERRY RD
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ELMORE RD                       ALBERTA DR                    ELMORE TER
COVERT RD                       FARWELL RD                    CUL DE SAC NORTH
COMLY RD                        RHETT RD                      TARA RD
WOODHAVEN RD                    COVERT RD                     GLENFIELD ST
ELMORE PL                       ELMORE RD                     CUL DE SAC EAST
TARA RD                         RHETT RD                      COMLY RD
RHETT RD                        COMLY RD                      TARA RD
TEMPLETON DR                    FAIRDALE RD                   SALINA RD
FAIRDALE RD                     COMLY RD                      TEMPLETON DR
WOODHAVEN RD                    WOODHAVEN RD                  KNIGHTS RD
ALBERTA DR                      ALBERTA PL                    ELMORE RD
ALBERTA PL                      CUL DE SAC WEST               ALBERTA DR
ALBERTA PL                      ALBERTA DR                    CUL DE SAC EAST
GLENFIELD ST                    ELMORE RD                     WOODHAVEN RD
COVERT RD                       FAIRDALE RD                   FARWELL RD
FAIRDALE RD                     TEMPLETON DR                  COVERT RD
WALDEMIRE DR                    COVERT RD                     FAIRDALE RD
WOODHAVEN RD                    GLENFIELD ST                  KNIGHTS RD
ALBERTA DR                      ALBERTA TER                   ALBERTA PL
FAIRDALE RD                     COVERT RD                     FARWELL RD
ALBERTA TER                     ALBERTA DR                    CUL DE SAC SOUTH
ALBERTA DR                      FAIRDALE RD                   ALBERTA TER
FAIRDALE RD                     FARWELL RD                    ALBERTA DR
FAIRDALE RD                     ALBERTA DR                    ALBERTA DR
FARWELL RD                      CUL DE SAC NORTH              ALBERTA DR
GLENFIELD ST                    FAIRDALE RD                   ELMORE RD
FAIRDALE RD                     ALBERTA DR                    GLENFIELD ST
WALDEMIRE DR                    RONNALD DR                    COVERT RD
RONNALD DR                      WALDEMIRE DR                  TEMPLETON DR
ELMORE RD                       FAIRDALE RD                   GLENFIELD ST
FAIRDALE RD                     GLENFIELD ST                  ELMORE RD
GLENFIELD ST                    RONNALD DR                    FAIRDALE RD
RONNALD DR                      TEMPLETON DR                  GLENFIELD ST
FAIRDALE RD                     ELMORE RD                     KNIGHTS RD
WOODHAVEN RD                    KNIGHTS RD                    WOODHAVEN RD
WOODHAVEN RD                    KNIGHTS RD                    WOODHAVEN RD
WHITING PL                      WHITING RD                    WHITING RD
WHITING RD                      WHITING PL                    WHITING PL
DECATUR RD                      RED LION RD                   DRUMMOND RD
GLENFIELD ST                    CHARTERIS RD                  RONNALD DR
WHITING RD                      FAIRDALE RD                   WHITING PL
FAIRDALE RD                     KNIGHTS RD                    WHITING RD
RONNALD DR                      GLENFIELD ST                  KIRBY DR
GLENFIELD ST                    PATRICIAN DR                  CHARTERIS RD
TEMPLETON DR                    BYRNE RD                      RONNALD DR
CALERA RD                       CHALFONT DR                   BROOKVIEW RD
CHALFONT DR                     ACADEMY RD                    CALERA RD
WALDEMIRE DR                    BYRNE RD                      RONNALD DR
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BYRNE RD                     WALDEMIRE DR                  TEMPLETON DR
FAIRDALE RD                  WHITING RD                    FARMDALE RD
KIRBY DR                     CHARTERIS RD                  RONNALD DR
CHARTERIS RD                 GLENFIELD ST                  KIRBY DR
WHITING RD                   WHITING PL                    LAWNSIDE RD
CHALFONT DR                  CALERA RD                     CALERA RD
BYBERRY RD                   WOODHAVEN RD                  FRANKLIN MILLS CIR
FAIRDALE RD                  FARMDALE RD                   FARMDALE RD
KIRBY DR                     PATRICIAN DR                  CHARTERIS RD
PATRICIAN DR                 GLENFIELD ST                  KIRBY DR
WHITING RD                   LAWNSIDE RD                   LAWNSIDE RD
CHALFONT DR                  CALERA RD                     BROOKVIEW RD
BYBERRY RD                   MILLBROOK RD                  FRANKLIN MILLS BLVD
CHALFONT DR                  BROOKVIEW RD                  BROOKVIEW RD
WALDEMIRE DR                 CHALFONT DR                   BYRNE RD
BYRNE RD                     CHALFONT DR                   KESWICK RD
CHALFONT DR                  BROOKVIEW RD                  BYRNE RD
CHALFONT DR                  BYRNE RD                      CAREY RD
LANCELOT PL                  KNIGHTS RD                    CUL DE SAC NORTH
WOODHAVEN RD                 MILLBROOK RD                  WOODHAVEN RD
AMITY RD                     ACADEMY RD                    MODENA DR
MODENA DR                    AMITY RD                      HARROW RD
MODENA PL                    MODENA DR                     CUL DE SAC NORTH
MODENA DR                    HARROW RD                     MODENA PL
PATRICIAN DR                 KIRBY DR                      BIGGANS PL
CHALFONT DR                  WALDEMIRE DR                  ANDREA RD
CALERA RD                    MODENA DR                     CHALFONT DR
MODENA DR                    MODENA PL                     CALERA RD
FAIRDALE RD                  FARMDALE RD                   GREENMOUNT RD
MILLBROOK RD                 WHITING RD                    WOODHAVEN RD
WHITING RD                   LAWNSIDE RD                   MILLBROOK RD
CAREY RD                     CHALFONT DR                   CAREY TER
BIGGANS PL                   PATRICIAN DR                  CUL DE SAC SOUTH
WOODHAVEN RD                 BYBERRY RD                    WOODHAVEN RD
KESWICK RD                   FENN DR                       CHALFONT DR
PATRICIAN DR                 BIGGANS PL                    KNIGHTS RD
FENN DR                      KESWICK RD                    HELMER DR
CAREY TER                    CUL DE SAC WEST               CAREY RD
CALERA RD                    PERRIN RD                     MODENA DR
GREENMOUNT RD                FAIRDALE RD                   TELFORD RD
MODENA TER                   DRUMORE DR                    CUL DE SAC WEST
CAREY PLZ                    CAREY RD                      CUL DE SAC NORTH
CAREY RD                     CAREY TER                     CAREY PLZ
FAIRDALE RD                  GREENMOUNT RD                 MILLBROOK RD
HARROW RD                    PEDRICK RD                    MODENA DR
PEDRICK RD                   DRUMORE DR                    HARROW RD
MILLBROOK RD                 FAIRDALE RD                   WHITING RD
KESWICK RD                   CAREY RD                      FENN DR
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CAREY RD                      CAREY PL                      KESWICK RD
CHALFONT DR                   ANDREA RD                     KIPLING LN
RED LION RD                   DECATUR RD                    DRUMMOND RD
PERRIN RD                     DOWS RD                       CALERA RD
GREENMOUNT RD                 TELFORD RD                    DEERPATH LN
CHALFONT DR                   KIPLING LN                    KNIGHTS RD
MILLBROOK RD                  TELFORD RD                    FAIRDALE RD
TELFORD RD                    GREENMOUNT RD                 MILLBROOK RD
KIPLING LN                    ANDREA RD                     CHALFONT DR
CALERA RD                     DOWS RD                       PERRIN RD
HEFLIN RD                     BROOKVIEW RD                  CUL DE SAC EAST
BROOKVIEW RD                  HAWLEY RD                     HEFLIN RD
KESWICK RD                    HELMER DR                     CAREY RD
MILLBROOK RD                  GREENMOUNT RD                 TELFORD RD
GREENMOUNT RD                 DEERPATH LN                   MILLBROOK RD
CROMWELL RD                   ACADEMY RD                    N CANTERBURY RD
WALDEMIRE DR                  MILLBROOK RD                  CHALFONT DR
MILLBROOK RD                  WALDEMIRE DR                  MILLBROOK PL
MILLBROOK PL                  MILLBROOK RD                  MILLBROOK RD
MILLBROOK RD                  MILLBROOK PL                  MILLBROOK PL
CALERA RD                     DRUMORE DR                    DOWS RD
DRUMORE DR                    MODENA DR                     CALERA RD
RED LION RD                   DRUMMOND RD                   ACADEMY RD
HEFLIN RD                     OAKHILL RD                    BROOKVIEW RD
HAWLEY RD                     KYLE RD                       BROOKVIEW RD
CROMWELL RD                   N CANTERBURY RD               AMBRIDGE PL
CHALFONT DR                   KNIGHTS RD                    DORA DR
KESWICK RD                    BROOKVIEW RD                  HELMER DR
BROOKVIEW RD                  HEFLIN RD                     KESWICK RD
DENMAN RD                     GREENMOUNT RD                 DEAD END EAST
GREENMOUNT RD                 MILLBROOK RD                  DENMAN RD
KIPLING LN                    MILLBROOK RD                  ANDREA RD
MILLBROOK RD                  MILLBROOK PL                  KIPLING LN
WALDEMIRE DR                  BROOKVIEW RD                  MILLBROOK RD
HEFLIN RD                     KYLE RD                       OAKHILL RD
KYLE RD                       HAWLEY RD                     HEFLIN RD
CALERA RD                     RED LION RD                   DRUMORE DR
RED LION RD                   ACADEMY RD                    CALERA RD
OAKHILL RD                    HEFLIN RD                     KYLE RD
MILLBROOK RD                  CHALFONT DR                   GREENMOUNT RD
CROMWELL RD                   AMBRIDGE PL                   WOBURN PL
CHALFONT DR                   DORA DR                       DRAKE DR
N CANTERBURY RD               CHELSEA PL                    CROMWELL RD
CHALFONT DR                   CHALFONT PL                   DEERPATH LN
CHALFONT DR                   DRAKE DR                      CHALFONT PL
KESWICK RD                    OAKHILL RD                    BROOKVIEW RD
OAKHILL RD                    RAYLAND RD                    KESWICK RD
RED LION RD                   CALERA RD                     W KESWICK RD
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DIMARCO DR                    GREENMOUNT RD                 CUL DE SAC EAST
GREENMOUNT RD                 DENMAN RD                     DIMARCO DR
KIPLING LN                    BROOKVIEW RD                  MILLBROOK RD
BROOKVIEW RD                  WALDEMIRE DR                  KIPLING LN
WALDEMIRE DR                  OAKHILL RD                    BROOKVIEW RD
WOBURN PL                     CUL DE SAC WEST               CROMWELL RD
DENMAN RD                     DEERPATH LN                   GREENMOUNT RD
DEERPATH LN                   CHALFONT DR                   DENMAN RD
KYLE RD                       HEFLIN RD                     OAKHILL RD
CALERA RD                     CROMWELL RD                   RED LION RD
CROMWELL RD                   WOBURN PL                     CALERA RD
TELFAIR RD                    GREENMOUNT RD                 CUL DE SAC EAST
GREENMOUNT RD                 DIMARCO DR                    TELFAIR RD
DORA DR                       DRAKE DR                      CHALFONT DR
PELLE CIR W                   PELLE CIR E                   HEFLIN RD
W KESWICK RD                  ELLISTON CIR                  RED LION RD
DIMARCO DR                    CROSLAND RD                   GREENMOUNT RD
KIPLING LN                    OAKHILL RD                    BROOKVIEW RD
OAKHILL RD                    WALDEMIRE DR                  KIPLING LN
N CANTERBURY RD               MORRELL AVE                   CHELSEA PL
WALDEMIRE DR                  DORCHESTER RD                 OAKHILL RD
CROMWELL RD                   CALERA RD                     KILBURN RD
PELLE RD                      RED LION RD                   PELLE CIR E
RED LION RD                   W KESWICK RD                  PELLE RD
DIMARCO DR                    DEERPATH LN                   CROSLAND RD
DEERPATH LN                   DENMAN RD                     DIMARCO DR
WOODHAVEN RD                  WOODHAVEN RD                  CITY BOUNDARY
WOODHAVEN RD                  WOODHAVEN RD                  CITY BOUNDARY
CROSLAND RD                   DIMARCO DR                    TELFAIR RD
CALERA RD                     KILBURN RD                    CROMWELL RD
KILBURN RD                    CUL DE SAC WEST               CALERA RD
DIMARCO DR                    GREENDALE RD                  DEERPATH LN
KIPLING LN                    DORCHESTER RD                 OAKHILL RD
DORCHESTER RD                 WALDEMIRE DR                  KIPLING LN
WALDEMIRE DR                  INWOOD LN                     DORCHESTER RD
DOWS RD                       ALBEMARLE LN                  PHILCREST RD
KESWICK RD                    RAYLAND RD                    OAKHILL RD
RAYLAND RD                    KESWICK RD                    OAKHILL RD
W KESWICK RD                  ELLISTON CIR                  ELLISTON CIR
RED LION RD                   PELLE RD                      ALBEMARLE LN
CROSLAND RD                   TELFAIR RD                    CUL DE SAC SOUTH
DEERPATH LN                   DIMARCO DR                    HICKORY HILL RD
INWOOD LN                     WALDEMIRE DR                  TEMPLETON DR
DIMARCO DR                    RIDGEFIELD RD                 GREENDALE RD
KIPLING LN                    INWOOD LN                     DORCHESTER RD
DORCHESTER RD                 KIPLING LN                    KNIGHTS RD
ALBEMARLE LN                  RED LION RD                   DOWS RD
RED LION RD                   ALBEMARLE LN                  ALBEMARLE LN
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INWOOD LN                          TEMPLETON DR                  KIPLING LN
KESWICK RD                         DOWS RD                       RAYLAND RD
DOWS RD                            PHILCREST RD                  KESWICK RD
CALERA RD                          MORRELL AVE                   KILBURN RD
DIMARCO DR                         VILLAGE LN                    RIDGEFIELD RD
VILLAGE LN                         DIMARCO DR                    CUL DE SAC NORTH
HICKORY HILL RD                    GREENDALE RD                  DEERPATH LN
GREENDALE RD                       HICKORY HILL RD               DIMARCO DR
WARFIELD PL                        CUL DE SAC SOUTH              MORRELL AVE
W KESWICK RD                       MORRELL AVE                   ELLISTON CIR
PHILCREST RD                       RED LION RD                   DOWS RD
RED LION RD                        ALBEMARLE LN                  PHILCREST RD
TEMPLETON DR                       KIPLING LN                    INWOOD LN
THORNBROOK PL                      S CANTERBURY RD               CUL DE SAC EAST
DEERPATH LN                        HICKORY HILL RD               PARKDALE RD
KESWICK RD                         DRUMORE DR                    DOWS RD
RIDGEFIELD RD                      HICKORY HILL RD               DIMARCO DR
PARKDALE RD                        GREENDALE RD                  DEERPATH LN
GREENDALE RD                       PARKDALE RD                   HICKORY HILL RD
HICKORY HILL RD                    MEADOW LN                     RIDGEFIELD RD
DRUMORE PL                         DRUMORE DR                    CUL DE SAC NORTH
DRUMORE DR                         KESWICK RD                    DRUMORE PL
KESWICK RD                         E KESWICK RD                  DRUMORE DR
RED LION RD                        PHILCREST RD                  KESWICK RD
TEMPLETON DR                       KIRBY DR                      KIPLING LN
CHESTERFIELD RD                    MORRELL AVE                   SAXON PL
SAXON PL                           CHESTERFIELD RD               CUL DE SAC WEST
HELMER DR                          DRUMORE DR                    RAYLAND RD
DRUMORE DR                         DRUMORE PL                    HELMER DR
DIMARCO DR                         DUNDEE AVE                    VILLAGE LN
DUNDEE AVE                         KNIGHTS RD                    DIMARCO DR
GREENDALE RD                       PARKVIEW RD                   PARKDALE RD
PARKVIEW RD                        GREENDALE RD                  GOODFORD RD
DOWNING PL                         S CANTERBURY RD               CUL DE SAC NORTH
RIDGEFIELD RD                      PARKVIEW RD                   HICKORY HILL RD
GREENDALE RD                       PARKVIEW RD                   PARKVIEW RD
PARKVIEW RD                        RIDGEFIELD RD                 GREENDALE RD
E KESWICK RD                       ASHFIELD LN                   KESWICK RD
ASHFIELD LN                        CUL DE SAC NORTH              E KESWICK RD
CHESTERFIELD RD                    SAXON PL                      S CANTERBURY RD
WALDEMIRE DR                       GREENACRES RD                 INWOOD LN
GREENDALE RD                       GOODFORD RD                   PARKVIEW RD
E KESWICK RD                       MORRELL AVE                   ASHFIELD LN
AVALON ST                          ACADEMY RD                    LEGION ST
TEMPLETON DR                       GREENACRES RD                 KIRBY DR
GREENACRES RD                      WALDEMIRE DR                  TEMPLETON DR
MEADOW LN                          HICKORY HILL RD               HICKORY HILL RD
HICKORY HILL RD                    MEADOW LN                     MEADOW LN
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GREENDALE RD                       WICKLEY RD                    GOODFORD RD
WALDEMIRE DR                       RED LION RD                   GREENACRES RD
S KESWICK RD                       MORRELL AVE                   KESWICK PLZ
S KESWICK RD                       GLENBROOK PL                  MORRELL AVE
KIPLING LN                         KANE RD                       TEMPLETON DR
GREENACRES RD                      TEMPLETON DR                  KIRBY DR
RIDGEFIELD RD                      HICKORY HILL RD               PARKVIEW RD
HICKORY HILL RD                    RIDGEFIELD RD                 MEADOW LN
S KESWICK RD                       KESWICK CIR                   GLENBROOK PL
S KESWICK RD                       KESWICK TER                   KESWICK CIR
KESWICK PLZ                        S KESWICK RD                  CUL DE SAC WEST
KIPLING LN                         GREENACRES RD                 KANE RD
GREENACRES RD                      KIRBY DR                      KIPLING LN
GREENDALE RD                       NAULDO RD                     WICKLEY RD
LEGION ST                          PRESIDENT ST                  AVALON ST
PRESIDENT ST                       ACADEMY RD                    LEGION ST
KANE RD                            KIPLING LN                    KNIGHTS RD
AVALON ST                          LEGION ST                     LAVENDER ST
AVALON PL                          AVALON ST                     CUL DE SAC NORTH
AVALON ST                          LAVENDER ST                   AVALON PL
RIDGEFIELD RD                      DIMARCO DR                    HICKORY HILL RD
DIMARCO DR                         RIDGEFIELD RD                 DUNDEE AVE
KIPLING PL                         GREENACRES RD                 CUL DE SAC SOUTH
KESWICK TER                        CUL DE SAC SOUTH              S KESWICK RD
GREENDALE RD                       LAWNBROOK RD                  NAULDO RD
GLENBROOK PL                       CUL DE SAC SOUTH              S KESWICK RD
ASHFIELD LN                        E KESWICK RD                  MORRELL AVE
NAULDO RD                          GREENDALE RD                  WICKLEY RD
LEGION ST                          GLENN ST                      PRESIDENT ST
GLENN ST                           ACADEMY RD                    LEGION ST
KESWICK CIR                        CUL DE SAC SOUTH              S KESWICK RD
LAVENDER ST                        PRESIDENT ST                  AVALON ST
PRESIDENT ST                       LEGION ST                     LAVENDER ST
LEGION ST                          DEAD END SOUTH                GLENN ST
AVALON ST                          AVALON PL                     OUTLOOK ST
GREENDALE RD                       DIMARCO DR                    LAWNBROOK RD
DIMARCO DR                         GREENDALE RD                  RIDGEFIELD RD
LAWNBROOK RD                       GREENDALE RD                  DIMARCO DR
CHESTERFIELD RD                    S CANTERBURY RD               BEREA ST
LAVENDER ST                        GLENN ST                      PRESIDENT ST
GLENN ST                           LEGION ST                     LAVENDER ST
DIMARCO DR                         LAWNBROOK RD                  GREENDALE RD
ORCHARD LN                         KNIGHTS RD                    MEADOW LN
OUTLOOK ST                         PRESIDENT ST                  AVALON ST
PRESIDENT ST                       LAVENDER ST                   OUTLOOK ST
RED LION RD                        WALDEMIRE DR                  KNIGHTS RD
ORCHARD LN                         MEADOW LN                     ELLICOTT RD
LAVENDER ST                        DEAD END SOUTH                GLENN ST
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BEREA ST                         AVALON ST                     CHESTERFIELD RD
AVALON ST                        OUTLOOK ST                    BEREA ST
W CROWN AVE                      CHURCHILL LN                  WESSEX LN
E CROWN AVE                      MORRELL AVE                   NOTTINGHAM LN
W CROWN AVE                      MORRELL AVE                   CHURCHILL LN
WESSEX LN                        CHURCHILL LN                  CHESTERFIELD RD
OUTLOOK ST                       GLENN ST                      PRESIDENT ST
GLENN ST                         LAVENDER ST                   OUTLOOK ST
PRESIDENT ST                     OUTLOOK ST                    BEREA ST
E CROWN AVE                      NOTTINGHAM LN                 GLOUCESTER LN
W CROWN AVE                      WESSEX LN                     WESSEX LN
WESSEX LN                        W CROWN AVE                   CHURCHILL LN
E CROWN AVE                      GLOUCESTER LN                 NOTTINGHAM LN
WESSEX LN                        W CROWN AVE                   W CROWN AVE
BEREA ST                         GLENN ST                      PRESIDENT ST
GLENN ST                         OUTLOOK ST                    BEREA ST
W CROWN AVE                      WESSEX LN                     SUSSEX LN
E CROWN AVE                      NOTTINGHAM LN                 N HEREFORD LN
ELLICOTT RD                      MEADOW LN                     ORCHARD LN
BEREA ST                         DEAD END SOUTH                GLENN ST
E CROWN AVE                      N HEREFORD LN                 GLOUCESTER LN
PRINCE CIR                       MORRELL AVE                   SUSSEX LN
SUSSEX LN                        PRINCE CIR                    W CROWN AVE
ELLICOTT RD                      RED LION RD                   MEADOW LN
ELLICOTT RD                      KNIGHTS RD                    RED LION RD
W CROWN AVE                      SUSSEX LN                     WHITEHALL LN
MORRELL CIR                      MORRELL AVE                   MORRELL AVE
PRINCE CIR                       SUSSEX LN                     MORRELL CIR
WHITEHALL LN                     SUSSEX LN                     W CROWN AVE
SUSSEX LN                        W CROWN AVE                   WHITEHALL LN
E CROWN AVE                      GLOUCESTER LN                 CLARENDON AVE
PITT PL                          N HEREFORD LN                 CUL DE SAC EAST
WHITEHALL LN                     CHESTERFIELD RD               SUSSEX LN
E CROWN AVE                      CLARENDON AVE                 ESSEX LN
CRESTMONT AVE                    MEADOW LN                     ORCHARD LN
MEADOW LN                        CRESTMONT AVE                 ELLICOTT RD
N HEREFORD LN                    PITT PL                       S HEREFORD LN
CLARENDON AVE                    E CROWN AVE                   S HEREFORD LN
E CROWN AVE                      ESSEX LN                      S HEREFORD LN
W CROWN AVE                      WHITEHALL LN                  FORDHAM RD
E CROWN AVE                      S HEREFORD LN                 ESSEX LN
CRESTMONT AVE                    RED LION RD                   MEADOW LN
RED LION RD                      ELLICOTT RD                   CRESTMONT AVE
E CROWN AVE                      ESSEX LN                      MORRELL AVE
W CROWN AVE                      WHITEHALL LN                  MORRELL AVE
HOLYOKE RD                       ANNAPOLIS RD                  HOLYOKE RD
HOLYOKE RD                       HOLYOKE RD                    HOLYOKE RD
S HEREFORD LN                    CLARENDON AVE                 E CROWN AVE
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HOLYOKE RD                   HOLYOKE RD                    HOLYOKE RD
HOLYOKE RD                   HOLYOKE RD                    BROOKDALE RD
HOLYOKE RD                   BROOKDALE RD                  ACADEMY RD
ANNAPOLIS RD                 BROOKDALE RD                  HOLYOKE RD
HOLYOKE RD                   ACADEMY RD                    LANSFORD ST
CLARENDON AVE                CRESTMONT AVE                 KNIGHTS RD
BROOKDALE RD                 CAMPUS LN                     HOLYOKE RD
BROOKDALE RD                 ANDOVER RD                    CAMPUS LN
BROOKDALE RD                 ANNAPOLIS RD                  ANDOVER RD
ANNAPOLIS RD                 TREATY RD                     BROOKDALE RD
VALE LN                      CRESTMONT AVE                 DANER LN
DANER LN                     VALE LN                       CRESTMONT AVE
CRESTMONT AVE                DANER LN                      CLARENDON AVE
CRESTMONT AVE                BARNER PL                     VALE LN
BARNER PL                    CRESTMONT AVE                 CUL DE SAC NORTH
LEGION ST                    FITLER ST                     PRIMROSE RD
FITLER ST                    KIRKWOOD RD                   LEGION ST
LAVENDER ST                  PRIMROSE RD                   GRANT AVE
PRIMROSE RD                  LEGION ST                     LAVENDER ST
RED LION RD                  CRESTMONT AVE                 FRANKFORD AVE
FITLER ST                    LEGION ST                     OUTLOOK AVE
PRIMROSE RD                  LAVENDER ST                   OUTLOOK AVE
BROOK LN                     CONSTANCE RD                  CARTERET DR
CONSTANCE RD                 BROOK LN                      AVNER LN
CARTERET DR                  BROOK LN                      AVNER LN
LORRY PL                     FRANKFORD AVE                 FRANKFORD AVE
CAREY PL                     CAREY RD                      CUL DE SAC SOUTH
MORRELL AVE                  MORRELL AVE                   WARFIELD PL
CAREY RD                     CAREY PLZ                     CAREY PL
HEGERMAN ST                  LACKLAND DR                   KNIGHTS RD
CRESTMONT AVE                VALE LN                       DANER LN
WOODHAVEN RD                 WOODHAVEN RD                  BYBERRY RD
WOODHAVEN RD                 WOODHAVEN RD                  BYBERRY RD
NORCROSS LN                  FAIRGREEN LN                  WOODBRIDGE RD
WOODBRIDGE RD                NORCROSS LN                   SAXTON RD
BROOK LN                     CARTERET DR                   ROWENA DR
BYBERRY RD                   FRANKLIN MILLS CIR            CITY BOUNDARY
LYMAN DR                     FRANKFORD AVE                 LACKLAND DR
KILBURN RD                   CALERA RD                     CROMWELL RD
DOWS RD                      PERRIN RD                     CALERA RD
RAYLAND RD                   HELMER DR                     KESWICK RD
KESWICK RD                   CHALFONT DR                   BYRNE RD
FARWELL RD                   ALBERTA DR                    FAIRDALE RD
TEMPLETON DR                 NEWBERRY RD                   NEDLA RD
NEDLA RD                     SALINA RD                     TEMPLETON DR
DRAKE DR                     CHALFONT DR                   DORA DR
WHITING RD                   MILLBROOK RD                  FARRELL CT
WHITING RD                   FARRELL CT                    ERNIE DAVIS CIR
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PRIMROSE RD                      LANSFORD ST                   LEGION ST
LANSFORD ST                      HOLYOKE RD                    PRIMROSE RD
ANGELO PL                        MARS PL                       S 82ND ST
LEGION ST                        AVALON ST                     S CANTERBURY RD
DEERPATH LN                      CHALFONT PLAYGROUND WALK      CHALFONT DR
SPICE BUSH LN                    CLIFFWOOD RD                  RADBURN RD
PROCTOR RD                       PIERMONT ST                   DELRAY ST
PROCTOR RD                       TOMLINSON RD                  PIERMONT ST
DELRAY ST                        PROCTOR RD                    LINDSAY ST
DELRAY ST                        LINDSAY ST                    KELVIN AVE
PROCTOR RD                       FOSTER ST                     TOMLINSON RD
LINDSAY ST                       TOMLINSON RD                  PIERMONT ST
PROCTOR RD                       KELVIN AVE                    FOSTER ST
STEVENS RD                       PIERMONT ST                   DELRAY ST
PIERMONT ST                      KELVIN AVE                    STEVENS RD
FOSTER ST                        PROCTOR RD                    KELVIN AVE
PROCTOR RD                       AVON RD                       KELVIN AVE
STEVENS RD                       SANIBEL ST                    PIERMONT ST
SANIBEL ST                       KELVIN AVE                    STEVENS RD
LORRAINE ST                      TOMLINSON RD                  BARLOW ST
STEVENS RD                       LORRAINE ST                   SANIBEL ST
LORRAINE ST                      BARLOW ST                     STEVENS RD
STEVENS RD                       BARLOW ST                     LORRAINE ST
BARLOW ST                        STEVENS RD                    LORRAINE ST
ALMATT DR                        PINE RD                       ALMATT PL
ALMATT TER                       ALMATT DR                     CUL DE SAC EAST
ALMATT DR                        ALMATT PL                     ALMATT TER
ALMATT DR                        ALMATT TER                    SANDANNE RD
LARAMIE RD                       RADBURN RD                    WELSH RD
LARAMIE RD                       MELITE PL                     RADBURN RD
CLIFFWOOD RD                     PINE RD                       SANDANNE RD
MELITE PL                        LARAMIE RD                    CUL DE SAC SOUTH
LARAMIE RD                       CLIFFWOOD RD                  MELITE PL
CLIFFWOOD RD                     SANDANNE RD                   LARAMIE RD
BUCKLEY PL                       BUCKLEY DR                    CUL DE SAC NORTH
BUCKLEY DR                       PINE RD                       BUCKLEY TER
CLIFFWOOD RD                     LARAMIE RD                    SPICE BUSH LN
BUCKLEY TER                      CUL DE SAC SOUTH              BUCKLEY DR
LARAMIE RD                       STRATFORD DR                  CLIFFWOOD RD
STRATFORD DR                     LAURIE LN                     DARLINGTON RD
STRATFORD DR                     BETH DR                       LARAMIE RD
SHELLY LN                        BETH DR                       CUL DE SAC WEST
BETH DR                          LAURIE LN                     STRATFORD DR
FLAGSTAFF RD                     PINE RD                       FLAGSTAFF PL
FLAGSTAFF PL                     FLAGSTAFF RD                  CUL DE SAC WEST
FLAGSTAFF RD                     FLAGSTAFF PL                  DARLINGTON RD
JONATHAN PL                      CUL DE SAC NORTH              KISMET RD
KISMET RD                        JONATHAN PL                   KISMET TER
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KISMET RD                     KISMET TER                    MARK PL
KISMET RD                     WELSH RD                      JONATHAN PL
MARK PL                       KISMET RD                     CUL DE SAC WEST
KISMET RD                     MARK PL                       REMSEN RD
RADBURN RD                    RADBURN RD                    PINE RD
LARAMIE RD                    KISMET RD                     REMSEN RD
KISMET RD                     REMSEN RD                     LARAMIE RD
MYERS CIR                     LARAMIE RD                    CUL DE SAC NORTH
REMSEN RD                     KISMET RD                     LARAMIE RD
LARAMIE RD                    MYERS CIR                     REMSEN RD
LARAMIE RD                    LARAMIE PL                    KISMET RD
LARAMIE RD                    REMSEN RD                     LARAMIE PL
LARAMIE RD                    WELSH RD                      MYERS CIR
OAKFIELD LN                   CUL DE SAC NORTH              KISMET RD
KISMET RD                     WYNMILL RD                    OAKFIELD LN
LARAMIE PL                    LARAMIE RD                    CUL DE SAC SOUTH
WYNMILL RD                    WYNMILL PL                    KISMET RD
WYNMILL PL                    WYNMILL RD                    CUL DE SAC EAST
OAKFIELD LN                   KISMET RD                     MOREFIELD RD
WYNMILL RD                    WYNMILL TER                   WYNMILL PL
WYNMILL TER                   WYNMILL RD                    CUL DE SAC EAST
WYNMILL RD                    WELSH RD                      WYNMILL TER
MOREFIELD PL                  MOREFIELD RD                  CUL DE SAC NORTH
PINE HILL RD                  MOREFIELD RD                  KENT LN
PINE HILL RD                  KENT LN                       JEANES ST
PORTIS RD                     MOREFIELD RD                  KISMET RD
BRIDLE RD                     KENT LN                       MOREFIELD RD
KENT LN                       PINE HILL RD                  BRIDLE RD
JEANES ST                     KENT LN                       PINE HILL RD
KENT LN                       JEANES ST                     PINE HILL RD
JEANES ST                     OAKFIELD LN                   KENT LN
BRIDLE RD                     PINE HILL RD                  KENT LN
PINE HILL RD                  JEANES ST                     BRIDLE RD
BRIDLE RD                     LAYTON RD                     PINE HILL RD
FERNDALE ST                   PINE HILL RD                  MOREFIELD RD
PINE HILL RD                  BRIDLE RD                     FERNDALE ST
OAKFIELD LN                   BRIDLE RD                     LAYTON RD
BRIDLE RD                     WELSH RD                      OAKFIELD LN
PINE HILL RD                  FERNDALE ST                   VERREE RD
FERNDALE ST                   OAKFIELD LN                   PINE HILL RD
OAKFIELD LN                   LAYTON RD                     FERNDALE ST
OAKFIELD LN                   JEANES ST                     BRIDLE RD
OAKFIELD LN                   BRIDLE RD                     BRIDLE RD
BRIDLE RD                     OAKFIELD LN                   LAYTON RD
PECAN DR                      STRATFORD DR                  VERREE RD
WOODFERN RD                   KENT LN                       MOREFIELD RD
KENT LN                       NORWALK RD                    WOODFERN RD
REDD RAMBLER DR               BLOOMDALE RD                  VERREE RD
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NORWALK RD                      KENT LN                       GLENHOPE RD
BLOOMDALE RD                    REDD RAMBLER DR               WOODFERN RD
NORWALK RD                      GLENHOPE RD                   KENT LN
GLENHOPE RD                     BLOOMDALE RD                  NORWALK RD
BLOOMDALE RD                    WOODFERN RD                   GLENHOPE RD
NORWALK RD                      KENT LN                       MOREFIELD RD
BLOOMDALE RD                    GLENHOPE RD                   LAYTON RD
WOODFERN RD                     CHESWORTH RD                  CUL DE SAC EAST
WOODFERN RD                     MEDWAY RD                     GLENN ST
WOODFERN RD                     MOREFIELD RD                  MEDWAY RD
FENWICK PL                      CUL DE SAC NORTH              FENWICK RD
GLENN ST                        VERREE RD                     WOODFERN RD
GLENN ST                        WOODFERN RD                   CHESWORTH RD
BARTLETT ST                     CHESWORTH RD                  BARTLETT PL
BARTLETT ST                     BARTLETT PL                   FENWICK RD
FENWICK RD                      BARTLETT ST                   FENWICK PL
CHESWORTH RD                    VERREE RD                     WOODFERN RD
CHESWORTH RD                    WOODFERN RD                   BARTLETT ST
CHESWORTH RD                    BARTLETT ST                   MEDWAY RD
BROOKMONT RD                    MEDWAY RD                     JEANES ST
BROOKMONT RD                    JEANES ST                     ALICIA ST
BROOKMONT RD                    ALICIA ST                     BRIDLE RD
GLOBAL RD                       GEIGER RD                     RED LION RD
MEDWAY RD                       BARTLETT ST                   BROOKMONT RD
BROOKMONT RD                    BRIDLE RD                     FERNDALE ST
JEANES ST                       BARTLETT ST                   BROOKMONT RD
BARTLETT ST                     MEDWAY RD                     JEANES ST
FERNDALE ST                     CHESWORTH RD                  BROOKMONT RD
ALICIA ST                       BARTLETT ST                   BROOKMONT RD
BARTLETT ST                     JEANES ST                     ALICIA ST
BRIDLE RD                       BARTLETT ST                   BROOKMONT RD
BARTLETT ST                     ALICIA ST                     BRIDLE RD
CHESWORTH RD                    FERNDALE ST                   VERREE RD
FERNDALE ST                     BARTLETT ST                   CHESWORTH RD
BARTLETT ST                     BRIDLE RD                     FERNDALE ST
FERNDALE ST                     GLENN ST                      BARTLETT ST
GLENN ST                        MEDWAY RD                     FERNDALE ST
FERNDALE ST                     MEDWAY RD                     GLENN ST
MEDWAY RD                       GLENN ST                      FERNDALE ST
MEDWAY RD                       FERNDALE ST                   VERREE RD
FERNDALE ST                     BROOKMONT RD                  RED LION RD
GEIGER RD                       CUL DE SAC WEST               GANTRY RD
GEIGER RD                       GANTRY RD                     GLOBAL RD
SELMER PLZ                      SELMER RD                     CUL DE SAC NORTH
SELMER RD                       JEANES ST                     SELMER PLZ
SELMER TER                      SELMER RD                     CUL DE SAC NORTH
SELMER RD                       SELMER PLZ                    SELMER TER
SANFORD ST                      JEANES ST                     KENTWOOD ST
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SELMER RD                        SELMER TER                    SELMER PL
SANFORD ST                       KENTWOOD ST                   BRIDLE RD
SELMER RD                        SELMER PL                     FERNDALE ST
SANFORD ST                       BRIDLE RD                     FERNDALE ST
BRIDLE RD                        KENTWOOD ST                   SANFORD ST
FERNDALE ST                      CRESWOOD RD                   SANFORD ST
FERNDALE ST                      KENTWOOD ST                   CRESWOOD RD
CRESWOOD RD                      FERNDALE ST                   VERREE RD
FERNDALE ST                      GREYMONT ST                   KENTWOOD ST
GREYMONT ST                      FERNDALE ST                   VERREE RD
GORMAN ST                        JEANES ST                     BRIDLE RD
FERNDALE ST                      GORMAN ST                     GREYMONT ST
GORMAN ST                        BRIDLE RD                     FERNDALE ST
KENTWOOD ST                      BRIDLE RD                     FERNDALE ST
GIFFORD AVE                      FOSTER ST                     TOMLINSON RD
LAWLER ST                        HEATHER ST                    LAWLER TER
LAWLER ST                        LAWLER TER                    LAWLER TER
LAWLER TER                       LAWLER ST                     LAWLER ST
GIFFORD AVE                      JEANES ST                     FOSTER ST
LAWLER PL                        LAWLER ST                     LAWLER ST
HEATHER ST                       AVON ST                       FOSTER ST
FOSTER ST                        HEATHER ST                    GIFFORD AVE
HEATHER ST                       PARLIN ST                     LAWLER ST
LAWLER ST                        JEANES ST                     LAWLER PL
LAWLER ST                        LAWLER PL                     LAWLER PL
LAWLER ST                        LAWLER PL                     BUSTLETON AVE
AVON ST                          LAWLER ST                     JEANES ST
AVON ST                          AVON ST                       CUL DE SAC EAST
NANDINA ST                       AVON ST                       HALSTEAD ST
JEANES ST                        PARLIN ST                     AUDUBON AVE
JEANES ST                        NANDINA ST                    AVON PL
AVON ST                          PARLIN ST                     AVON TER
PARLIN ST                        AVON ST                       JEANES ST
AVON ST                          AVON TER                      HEATHER ST
PARLIN PL                        PARLIN ST                     CUL DE SAC NORTH
PARLIN ST                        HALSTEAD ST                   PARLIN PL
PARLIN TER                       PARLIN ST                     CUL DE SAC NORTH
PARLIN ST                        PARLIN PL                     PARLIN TER
AVON ST                          AVON ST                       AVON PL
TOMLINSON CT                     TOMLINSON RD                  CUL DE SAC SOUTH
NANDINA TER                      NANDINA ST                    CUL DE SAC NORTH
TOMLINSON PLZ                    TOMLINSON RD                  CUL DE SAC SOUTH
NANDINA PL                       NANDINA ST                    CUL DE SAC EAST
NANDINA ST                       NANDINA PLZ                   NANDINA PL
TOMLINSON TER                    TOMLINSON RD                  CUL DE SAC SOUTH
HELENE PL                        TOMLINSON RD                  CUL DE SAC NORTH
TOMLINSON PL                     HELENE PL                     CUL DE SAC SOUTH
NANDINA ST                       NANDINA PL                    AVON ST
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NANDINA CT                      NANDINA ST                    CUL DE SAC EAST
NANDINA ST                      NANDINA CT                    NANDINA WAY
LOCKART RD                      NANDINA ST                    TOMLINSON RD
NANDINA ST                      NANDINA WAY                   LOCKART RD
NANDINA LN                      NANDINA ST                    CUL DE SAC NORTH
NANDINA ST                      LOCKART RD                    NANDINA LN
LOCKART RD                      ROBINA ST                     LOCKART CT
LOCKART RD                      LOCKART LN                    ROBINA ST
LOCKART RD                      LOCKART TER                   LOCKART LN
LOCKART RD                      LOCKART PLZ                   LOCKART TER
NANDINA ST                      NANDINA LN                    NANDINA PLZ
LOCKART RD                      ALNUS ST                      LOCKART PLZ
NANDINA LN                      CUL DE SAC SOUTH              NANDINA ST
LOCKART LN                      LOCKART RD                    CUL DE SAC SOUTH
ROBINA TER                      ROBINA ST                     CUL DE SAC NORTH
ROBINA ST                       LOCKART RD                    ROBINA TER
ROBINA PL                       RIDGEWAY ST                   CUL DE SAC NORTH
ROBINA ST                       ROBINA TER                    RIDGEWAY ST
RIDGEWAY ST                     RIDGEWAY PLZ                  RIDGEWAY PLZ
RIDGEWAY PLZ                    RIDGEWAY ST                   RIDGEWAY ST
LOCKART RD                      LOCKART CT                    NANDINA ST
RENNARD ST                      NANDINA ST                    CUL DE SAC WEST
RIDGEWAY ST                     ROBINA ST                     RIDGEWAY TER
RIDGEWAY ST                     RIDGEWAY PL                   NANDINA ST
RIDGEWAY ST                     RIDGEWAY PLZ                  RIDGEWAY PL
LOCKART RD                      ALNUS PL                      ALNUS ST
LOCKART RD                      ERICA TER                     ALNUS PL
ERICA TER                       LOCKART RD                    CUL DE SAC SOUTH
ERICA ST                        LOCKART RD                    ALNUS ST
ALNUS PL                        LOCKART RD                    CUL DE SAC NORTH
LOCKART RD                      CUL DE SAC WEST               ERICA PL
LOCKART RD                      ERICA PL                      ERICA ST
ERICA PL                        LOCKART RD                    CUL DE SAC SOUTH
DUMONT PL                       CUL DE SAC WEST               DUMONT RD
MARITA ST                       HENDRIX ST                    RENNARD ST
GREINER RD                      RENNARD ST                    HENDRIX ST
LARKSPUR ST                     GREINER RD                    LARKSPUR PL
GREINER RD                      LARKSPUR ST                   RENNARD ST
GREINER RD                      GREINER PL                    LARKSPUR ST
GREINER PL                      GREINER RD                    CUL DE SAC WEST
LARKSPUR PL                     CUL DE SAC SOUTH              LARKSPUR ST
RENNARD PL                      RENNARD ST                    CUL DE SAC SOUTH
GREINER RD                      GARDNER ST                    GREINER PL
PHILMONT TER                    TOMLINSON RD                  CUL DE SAC NORTH
GREINER RD                      TOMLINSON RD                  GARDNER ST
AUDUBON AVE                     LARKSPUR ST                   RENNARD ST
AUDUBON AVE                     SELMA ST                      LARKSPUR ST
JEANES PL                       CUL DE SAC EAST               JEANES ST
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AUDUBON PLZ                  AUDUBON AVE                   CUL DE SAC EAST
AUDUBON AVE                  AUDUBON PLZ                   SELMA ST
AUDUBON AVE                  BURGESS ST                    RIDGEWAY ST
JEANES ST                    GARDNER ST                    LARKSPUR ST
GARDNER ST                   AUDUBON AVE                   JEANES ST
AUDUBON AVE                  GARDNER ST                    BURGESS ST
AUDUBON AVE                  AUDUBON TER                   GARDNER ST
AUDUBON TER                  AUDUBON AVE                   CUL DE SAC EAST
AUDUBON AVE                  TOMLINSON RD                  AUDUBON TER
HALSTEAD ST                  BURGESS ST                    SELMA ST
BURGESS ST                   AUDUBON AVE                   HALSTEAD ST
GARDNER ST                   RIDGEWAY ST                   AUDUBON AVE
LARKSPUR ST                  LOCKART RD                    AUDUBON AVE
LOCKART RD                   SELMA ST                      LARKSPUR ST
LOCKART RD                   HENDRIX ST                    DUMONT RD
AUDUBON AVE                  HENDRIX ST                    AUDUBON PL
DUMONT RD                    DUMONT PL                     HENDRIX ST
LOCKART RD                   LOCKART PL                    HENDRIX ST
DUMONT RD                    REGINA ST                     DUMONT PL
AUDUBON AVE                  DENSMORE RD                   HENDRIX ST
LOCKART RD                   REGINA ST                     LOCKART PL
REGINA ST                    DUMONT RD                     LOCKART RD
AUDUBON AVE                  REGINA ST                     DENSMORE RD
LOCKART RD                   RENNARD ST                    REGINA ST
DENSMORE RD                  AUDUBON AVE                   JEANES ST
AUDUBON AVE                  RENNARD ST                    REGINA ST
JEANES ST                    REGINA ST                     DENSMORE RD
REGINA ST                    AUDUBON AVE                   JEANES ST
JEANES ST                    RENNARD ST                    REGINA ST
DUMONT RD                    HENDRIX ST                    LOCKART RD
WOODHAVEN TER                CUL DE SAC SOUTH              WOODHAVEN RD
WOODHAVEN PLZ                WOODHAVEN RD                  CUL DE SAC SOUTH
FERNDALE ST                  WOODHAVEN RD                  PINEWOOD RD
DEPUE PL                     WOODHAVEN RD                  CUL DE SAC SOUTH
GIFFORD AVE                  HENDRIX ST                    DEAD END NORTH
WARING ST                    FERNDALE ST                   DEPUE AVE
WARING ST                    DEPUE AVE                     HEATHER ST
BANES ST                     HENDRIX ST                    DEAD END NORTH
WARING ST                    HEATHER ST                    GIFFORD AVE
BANES ST                     HENDRIX ST                    HENDRIX ST
BANES ST                     WARING ST                     HENDRIX ST
WARING ST                    GIFFORD AVE                   BANES ST
WOODHAVEN RD                 DEPUE PL                      DEAD END EAST
WOODHAVEN RD                 WOODHAVEN PLZ                 FERNDALE ST
WOODHAVEN RD                 FERNDALE ST                   DEPUE AVE
WOODHAVEN RD                 FERNDALE ST                   DEPUE AVE
HEATHER ST                   RENNARD ST                    WARING ST
GIFFORD AVE                  RENNARD ST                    WARING ST
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LARKSPUR ST                  FERNDALE ST                   GIFFORD AVE
GIFFORD AVE                  SELMA ST                      LARKSPUR ST
SELMA ST                     FERNDALE ST                   GIFFORD AVE
LARKSPUR ST                  GIFFORD AVE                   BUSTLETON AVE
GIFFORD AVE                  BURGESS ST                    SELMA ST
BURGESS ST                   FERNDALE ST                   GIFFORD AVE
GIFFORD AVE                  DEAD END SOUTH                BURGESS ST
SELMA ST                     GIFFORD AVE                   BUSTLETON AVE
BURGESS ST                   GIFFORD AVE                   BUSTLETON AVE
GIFFORD AVE                  LARKSPUR ST                   RENNARD ST
PROCTOR RD                   BYBERRY RD                    NAPIER ST
RICHWOOD RD                  LINDENHURST ST                SEWELL RD
KELVIN AVE                   BYBERRY RD                    LINDENHURST ST
STEVENS RD                   WARWICK ST                    NAPIER ST
SEWELL RD                    LINDENHURST ST                RICHWOOD RD
LINDENHURST ST               RICHWOOD RD                   SEWELL RD
WORTHINGTON RD               LINDENHURST ST                ANNA DR
LINDENHURST ST               SEWELL RD                     WORTHINGTON RD
SEWELL RD                    WARWICK ST                    LINDENHURST ST
WARWICK ST                   STEVENS RD                    SEWELL RD
STEVENS RD                   BYBERRY RD                    WARWICK ST
WORTHINGTON RD               BYBERRY RD                    LINDENHURST ST
TRINA DR                     BYBERRY RD                    CUL DE SAC EAST
SEWELL RD                    WELTON ST                     BYBERRY RD
BARLOW PL                    BARLOW ST                     CUL DE SAC EAST
BARLOW ST                    BARLOW PL                     DEAD END NORTH
BARLOW ST                    HENDRIX TER                   BARLOW TER
BARLOW ST                    WELTON ST                     BARLOW PL
WELTON ST                    CENTENNIAL SQ E               BARLOW ST
PROCTOR RD                   PROCTOR PL                    PROCTOR PL
BARLOW ST                    BARLOW TER                    KELVIN AVE
PROCTOR RD                   RENNARD ST                    PROCTOR PL
WELTON ST                    STEVENS RD                    SEWELL RD
WELTON ST                    SEWELL RD                     SEWELL RD
PROCTOR RD                   LARKSPUR ST                   RENNARD ST
SEWELL RD                    STEVENS RD                    WELTON ST
PROCTOR RD                   SELMA ST                      LARKSPUR ST
DENSMORE RD                  KELVIN AVE                    BARLOW ST
PROCTOR RD                   BURGESS ST                    SELMA ST
BARLOW ST                    REGINA ST                     DENSMORE RD
REGINA ST                    BARLOW ST                     STEVENS RD
HENDRIX TER                  BARLOW ST                     HENDRIX ST
WELTON ST                    CUL DE SAC WEST               CENTENNIAL SQ E
BARLOW ST                    HENDRIX ST                    WELTON ST
PROCTOR RD                   LAWLER ST                     AVON RD
PROCTOR RD                   SELMER RD                     LAWLER ST
STEVENS RD                   FOSTER ST                     TOMLINSON RD
STEVENS RD                   LAWLER ST                     FOSTER ST
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LAWLER ST                      AVON RD                       STEVENS RD
FOSTER ST                      MURTY LN                      RUBIN LN
FOSTER ST                      RUBIN LN                      DEDAKER ST
MURTY LN                       SELMER RD                     FOSTER ST
RUBIN LN                       SELMER RD                     FOSTER ST
SELMER RD                      RUBIN LN                      DEDAKER DR
DEDAKER ST                     DEDAKER DR                    FOSTER ST
LAWLER ST                      PROCTOR RD                    AVON RD
STEVENS RD                     TOMLINSON RD                  BARLOW ST
GORMAN ST                      BUSTLETON AVE                 PROCTOR RD
PROCTOR RD                     BUSTLETON AVE                 GORMAN ST
CLARK ST                       TOMLINSON RD                  DEAD END EAST
COWDEN ST                      TOMLINSON RD                  DEAD END EAST
EVANS ST                       TOMLINSON RD                  BARLOW ST
GREYMONT ST                    ALEXANDRA LN                  HALDEMAN AVE
HOFF ST                        FOSTER ST                     TOMLINSON RD
SANFORD ST                     GARTH RD                      GARTH RD
GARTH RD                       JAMISON AVE                   GALAHAD RD
GALAHAD RD                     KENTWOOD ST                   SANFORD ST
GALAHAD RD                     GREYMONT ST                   KENTWOOD ST
GREYMONT ST                    JAMISON AVE                   GALAHAD RD
GARTH RD                       GALAHAD RD                    SANFORD ST
CLARK ST                       FOSTER ST                     TOMLINSON RD
GALAHAD RD                     MERLIN RD                     GREYMONT ST
CLARK ST                       SANFORD ST                    FOSTER ST
CLARK ST                       GARTH RD                      SANFORD ST
GARTH RD                       SANFORD ST                    CLARK ST
MERLIN RD                      GALAHAD RD                    MERLIN PL
KENTWOOD ST                    GALAHAD RD                    CLARK ST
CLARK ST                       JAMISON AVE                   GALAHAD RD
CLARK ST                       GREYMONT ST                   KENTWOOD ST
GREYMONT ST                    GALAHAD RD                    CLARK ST
CLARK ST                       MERLIN RD                     GREYMONT ST
MERLIN RD                      MERLIN PL                     CLARK ST
WILBUR ST                      FOSTER ST                     TOMLINSON RD
FOSTER ST                      CLARK ST                      WILBUR ST
CLARK ST                       CLARK PL                      MERLIN RD
CLARK ST                       GALAHAD RD                    CLARK PL
WILBUR ST                      SANFORD ST                    FOSTER ST
SANFORD ST                     CLARK ST                      WILBUR ST
CLARK PL                       CLARK ST                      CUL DE SAC SOUTH
MERLIN RD                      CLARK ST                      KING ARTHUR RD
WILBUR ST                      KENTWOOD ST                   SANFORD ST
KENTWOOD ST                    DEAD END NORTH                WILBUR ST
WILBUR ST                      GREYMONT ST                   KENTWOOD ST
GREYMONT ST                    CLARK ST                      WILBUR ST
FOSTER ST                      WILBUR ST                     HALDEMAN AVE
GREYMONT ST                    WILBUR ST                     ALEXANDRA LN
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SANFORD ST                      WILBUR ST                     HALDEMAN AVE
WILBUR ST                       RED LION RD                   GREYMONT ST
KENTWOOD ST                     WILBUR ST                     HALDEMAN AVE
GREYMONT ST                     HALDEMAN AVE                  GORMAN ST
GREYMONT ST                     GORMAN ST                     E ROOSEVELT BLVD
WISTARIA ST                     DUNGAN RD                     HARDY RD
WISTARIA ST                     HARDY RD                      SANDY RD
WISTARIA ST                     SANDY RD                      DEAD END EAST
WISTARIA ST                     MONTOUR ST                    DUNGAN RD
MONTOUR ST                      HALDEMAN AVE                  WISTARIA ST
WISTARIA ST                     MONTOUR ST                    MONTOUR ST
MERLIN PL                       MERLIN RD                     CUL DE SAC WEST
FOSTER ST                       JAMISON AVE                   HOFF ST
FOSTER ST                       HOFF ST                       CLARK ST
BARLOW ST                       EVANS ST                      HALDEMAN AVE
GORMAN ST                       HALDEMAN AVE                  GREYMONT ST
EVANS ST                        BARLOW ST                     DEAD END EAST
FENWICK RD                      FENWICK PL                    MOREFIELD RD
GLENN ST                        CHESWORTH RD                  MOREFIELD RD
BRIDLE RD                       JEANES ST                     GORMAN ST
PHILMONT PL                     TOMLINSON RD                  CUL DE SAC NORTH
LOCKART TER                     LOCKART RD                    LOCKART TER
LOCKART TER                     LOCKART TER                   DEAD END SOUTH
LOCKART TER                     LOCKART TER                   CUL DE SAC EAST
PIERMONT ST                     PROCTOR RD                    LINDSAY ST
LINDSAY ST                      PIERMONT ST                   DELRAY ST
LARKSPUR ST                     KELVIN AVE                    RENNARD ST
FOSTER ST                       KELVIN AVE                    STEVENS RD
BETH DR                         PINE RD                       LAURIE LN
LAURIE LN                       BETH DR                       STRATFORD DR
KISMET TER                      KISMET RD                     CUL DE SAC EAST
REMSEN RD                       LARAMIE RD                    KISMET RD
KISMET RD                       LARAMIE RD                    WYNMILL RD
KISMET RD                       OAKFIELD LN                   MOREFIELD RD
JEANES ST                       MOREFIELD RD                  OAKFIELD LN
LAYTON RD                       OAKFIELD LN                   BRIDLE RD
STRATFORD DR                    PECAN DR                      WELSH RD
KENT LN                         WOODFERN RD                   NORWALK RD
WOODFERN RD                     GLENN ST                      CHESWORTH RD
PARLIN ST                       JEANES ST                     BUSTLETON AVE
GREYMONT ST                     JEANES ST                     FERNDALE ST
FERNDALE ST                     JEANES ST                     GORMAN ST
KENTWOOD ST                     SANFORD ST                    BRIDLE RD
AVON ST                         HEATHER ST                    LAWLER ST
AVON ST                         JEANES ST                     BUSTLETON AVE
AVON TER                        AVON ST                       CUL DE SAC NORTH
JEANES ST                       AVON PL                       PARLIN ST
PARLIN ST                       PARLIN TER                    AVON ST
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AVON ST                        NANDINA ST                    AVON ST
RIDGEWAY TER                   RIDGEWAY PLZ                  CUL DE SAC NORTH
RIDGEWAY PL                    RIDGEWAY ST                   CUL DE SAC SOUTH
LARKSPUR ST                    LARKSPUR PL                   RENNARD ST
GARDNER ST                     RENNARD ST                    GREINER RD
BANES ST                       RENNARD ST                    WARING ST
PROCTOR PL                     PROCTOR RD                    PROCTOR RD
DENSMORE RD                    PROCTOR RD                    KELVIN AVE
WELTON ST                      BARLOW ST                     STEVENS RD
REGINA ST                      RENNARD ST                    KELVIN AVE
RENNARD CIR                    RENNARD ST                    RENNARD ST
LARKSPUR ST                    PROCTOR RD                    BURGESS ST
SELMA ST                       PROCTOR RD                    BURGESS ST
BARLOW ST                      RENNARD ST                    REGINA ST
LARKSPUR ST                    BURGESS ST                    KELVIN AVE
GORMAN ST                      PROCTOR RD                    NORTHEAST BLVD
CLARK ST                       KENTWOOD ST                   GARTH RD
BENNETT RD                     CUL DE SAC WEST               E ROOSEVELT BLVD
SOMERTON AVE                   DEPUE AVE                     BUSTLETON AVE
DEPUE AVE                      RENNARD ST                    WARING ST
DEPUE AVE                      SOMERTON AVE                  PINEWOOD RD
DEPUE AVE                      WOODHAVEN RD                  SOMERTON AVE
DEPUE AVE                      WOODHAVEN RD                  WOODHAVEN RD
HALSTEAD ST                    WARING ST                     HENDRIX ST
CENTENNIAL SQ W                HENDRIX ST                    CENTENNIAL SQ N
CENTENNIAL SQ N                CENTENNIAL SQ W               CENTENNIAL SQ E
CENTENNIAL SQ E                CENTENNIAL SQ N               WELTON ST
BARTLETT PL                    DEAD END WEST                 BARTLETT ST
AVON PL                        CUL DE SAC SOUTH              JEANES ST
NANDINA PLZ                    CUL DE SAC SOUTH              NANDINA ST
NANDINA WAY                    CUL DE SAC WEST               NANDINA ST
LOCKART CT                     CUL DE SAC NORTH              LOCKART RD
LOCKART PLZ                    CUL DE SAC NORTH              LOCKART RD
LOCKART PL                     CUL DE SAC WEST               LOCKART RD
ALEXANDRA LN                   RED LION RD                   GREYMONT ST
BARLOW TER                     CUL DE SAC SOUTH              BARLOW ST
HALDEMAN AVE                   TOMLINSON RD                  BARLOW ST
HALDEMAN AVE                   FOSTER ST                     TOMLINSON RD
HALDEMAN AVE                   SANFORD ST                    FOSTER ST
HALDEMAN AVE                   KENTWOOD ST                   SANFORD ST
HALDEMAN AVE                   GREYMONT ST                   GREYMONT ST
HALDEMAN AVE                   RED LION RD                   GORMAN ST
HALDEMAN AVE                   GORMAN ST                     GREYMONT ST
HALDEMAN AVE                   GREYMONT ST                   KENTWOOD ST
HALDEMAN AVE                   BARLOW ST                     HALDEMAN AVE
TOMLINSON RD                   BUSTLETON AVE                 PROCTOR RD
RENNARD ST                     STEVENS RD                    DEAD END EAST
KELVIN AVE                     PIERMONT ST                   DELRAY ST
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TOMLINSON RD                    PROCTOR RD                    LINDSAY ST
KELVIN AVE                      SANIBEL ST                    PIERMONT ST
KELVIN AVE                      BUSTLETON AVE                 PROCTOR RD
KELVIN AVE                      TOMLINSON RD                  SANIBEL ST
TOMLINSON RD                    LINDSAY ST                    KELVIN AVE
KELVIN AVE                      FOSTER ST                     TOMLINSON RD
KELVIN AVE                      PROCTOR RD                    FOSTER ST
TOMLINSON RD                    KELVIN AVE                    LORRAINE ST
TOMLINSON RD                    LORRAINE ST                   STEVENS RD
MOREFIELD RD                    PORTIS RD                     OAKFIELD LN
MOREFIELD RD                    JEANES ST                     PORTIS RD
MOREFIELD RD                    MOREFIELD PL                  KISMET RD
MOREFIELD RD                    OAKFIELD LN                   MOREFIELD PL
MOREFIELD RD                    KISMET RD                     PINE HILL RD
MOREFIELD RD                    WELSH RD                      JEANES ST
MOREFIELD RD                    PINE HILL RD                  BRIDLE RD
MOREFIELD RD                    BRIDLE RD                     FERNDALE ST
MOREFIELD RD                    FERNDALE ST                   VERREE RD
MOREFIELD RD                    VERREE RD                     WOODFERN RD
MOREFIELD RD                    GLENN ST                      FENWICK RD
MOREFIELD RD                    FENWICK RD                    NORWALK RD
JEANES ST                       PARLIN ST                     PARLIN ST
JEANES ST                       SANFORD ST                    SELMER RD
JEANES ST                       GREYMONT ST                   SANFORD ST
JEANES ST                       BRIDLE RD                     GORMAN ST
JEANES ST                       FERNDALE ST                   BRIDLE RD
FERNDALE ST                     RED LION RD                   JEANES ST
JEANES ST                       AVON ST                       GIFFORD AVE
JEANES ST                       LAWLER ST                     AVON ST
JEANES ST                       PARLIN ST                     LAWLER ST
HENDRIX ST                      MARITA ST                     DUMONT RD
RENNARD ST                      GREINER RD                    MARITA ST
RENNARD ST                      MARITA ST                     LARKSPUR ST
RENNARD ST                      HENDRIX ST                    GREINER RD
HENDRIX ST                      RENNARD ST                    GREINER RD
RENNARD ST                      LARKSPUR ST                   LOCKART RD
RENNARD ST                      RENNARD PL                    HENDRIX ST
RENNARD TER                     HENDRIX ST                    CUL DE SAC SOUTH
RENNARD ST                      GARDNER ST                    RENNARD PL
RENNARD ST                      TOMLINSON RD                  GARDNER ST
HENDRIX ST                      GREINER RD                    MARITA ST
HENDRIX ST                      DUMONT RD                     HENDRIX PL
HENDRIX ST                      LOCKART RD                    AUDUBON AVE
HENDRIX ST                      AUDUBON AVE                   HALSTEAD ST
HENDRIX ST                      HALSTEAD ST                   JEANES ST
HENDRIX ST                      JEANES ST                     FERNDALE ST
FERNDALE ST                     WARING ST                     HENDRIX ST
RENNARD ST                      LOCKART RD                    AUDUBON AVE
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RENNARD ST                    AUDUBON AVE                   JEANES ST
FERNDALE ST                   RENNARD ST                    WARING ST
RENNARD ST                    JEANES ST                     FERNDALE ST
FERNDALE ST                   HENDRIX ST                    WOODHAVEN RD
HENDRIX ST                    GIFFORD AVE                   BANES ST
RENNARD ST                    FERNDALE ST                   DEPUE AVE
FERNDALE ST                   LARKSPUR ST                   RENNARD ST
RENNARD ST                    DEPUE AVE                     HEATHER ST
FERNDALE ST                   SELMA ST                      LARKSPUR ST
RENNARD ST                    GIFFORD AVE                   BANES ST
FERNDALE ST                   BURGESS ST                    SELMA ST
RENNARD ST                    BANES ST                      BUSTLETON AVE
FERNDALE ST                   TOMLINSON RD                  BURGESS ST
RENNARD ST                    HEATHER ST                    GIFFORD AVE
RENNARD ST                    GIFFORD AVE                   GIFFORD AVE
STEVENS RD                    WELTON ST                     BYBERRY RD
HENDRIX ST                    HENDRIX TER                   CENTENNIAL SQ W
HENDRIX ST                    CENTENNIAL SQ W               KELVIN AVE
KELVIN AVE                    BARLOW ST                     HENDRIX ST
RENNARD ST                    BUSTLETON AVE                 PROCTOR RD
RENNARD ST                    PROCTOR RD                    REGINA ST
KELVIN AVE                    DENSMORE RD                   BARLOW ST
STEVENS RD                    SEWELL RD                     WELTON ST
RENNARD ST                    REGINA ST                     RENNARD CIR
KELVIN AVE                    REGINA ST                     DENSMORE RD
RENNARD ST                    RENNARD CIR                   RENNARD CIR
STEVENS RD                    REGINA ST                     SEWELL RD
KELVIN AVE                    RENNARD ST                    REGINA ST
RENNARD ST                    RENNARD CIR                   KELVIN AVE
RENNARD ST                    KELVIN AVE                    BARLOW ST
KELVIN AVE                    LARKSPUR ST                   RENNARD ST
RENNARD ST                    BARLOW ST                     LARKSPUR ST
TOMLINSON RD                  STEVENS RD                    NORTHEAST BLVD
NORTHEAST BLVD                SELMER RD                     SELMER RD
NORTHEAST BLVD                SEROTA DR                     SELMER RD
NORTHEAST BLVD                NORTHEAST BLVD                SEROTA DR
NORTHEAST BLVD                NORTHEAST BLVD                TOMLINSON RD
NORTHEAST BLVD                FOSTER ST                     NORTHEAST BLVD
NORTHEAST BLVD                SELMER RD                     FOSTER ST
JAMISON AVE                   DEAD END SOUTH                RED LION RD
NORTHEAST BLVD                RED LION RD                   GORMAN ST
NORTHEAST BLVD                GORMAN ST                     NORTHEAST BLVD
NORTHEAST BLVD                RED LION RD                   NORTHEAST BLVD
JAMISON AVE                   FOSTER ST                     TOMLINSON RD
JAMISON AVE                   NATHANIEL PL                  FOSTER ST
JAMISON AVE                   GREYMONT ST                   GARTH RD
TOMLINSON RD                  HOFF ST                       CLARK ST
TOMLINSON RD                  CLARK ST                      COWDEN ST
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JAMISON AVE                   CLARK ST                      GREYMONT ST
TOMLINSON RD                  COWDEN ST                     EVANS ST
JAMISON AVE                   RED LION RD                   CLARK ST
TOMLINSON RD                  EVANS ST                      HALDEMAN AVE
TOMLINSON RD                  HALDEMAN AVE                  E ROOSEVELT BLVD
KELVIN AVE                    DELRAY ST                     LARKSPUR ST
DARLINGTON RD                 STRATFORD DR                  WELSH RD
DARLINGTON RD                 FLAGSTAFF RD                  STRATFORD DR
MOREFIELD RD                  WOODFERN RD                   GLENN ST
JEANES ST                     SELMER RD                     PARLIN ST
JEANES ST                     GORMAN ST                     GREYMONT ST
GIFFORD AVE                   BUSTLETON AVE                 JEANES ST
HENDRIX ST                    FERNDALE ST                   GIFFORD AVE
HENDRIX ST                    BUSTLETON AVE                 HENDRIX TER
STEVENS RD                    LARKSPUR ST                   REGINA ST
JAMISON AVE                   GARTH RD                      NATHANIEL PL
HENDRIX ST                    BANES ST                      BUSTLETON AVE
NORTHEAST BLVD                NORTHEAST BLVD                DEAD END EAST
LARAMIE RD                    BURBANK RD                    ALBURGER AVE
MEDWAY RD                     CHESWORTH RD                  WOODFERN RD
PARLIN ST                     HEATHER ST                    JEANES ST
AVON RD                       PROCTOR RD                    LAWLER ST
RIDGEWAY ST                   AUDUBON AVE                   GARDNER ST
SELMA ST                      AUDUBON AVE                   HALSTEAD ST
SELMA ST                      LOCKART RD                    AUDUBON AVE
WARING ST                     HALSTEAD ST                   JEANES ST
JEANES ST                     WARING ST                     HENDRIX ST
DELRAY ST                     KELVIN AVE                    STEVENS RD
SELMER RD                     MURTY LN                      RUBIN LN
SELMER RD                     NORTHEAST BLVD                MURTY LN
NANDINA ST                    RENNARD ST                    NANDINA CT
NANDINA ST                    TOMLINSON RD                  RENNARD ST
FOSTER ST                     NORTHEAST BLVD                MURTY LN
RADBURN RD                    LARAMIE RD                    SPICE BUSH LN
SANDANNE RD                   CLIFFWOOD RD                  ALMATT DR
MEDWAY RD                     GLENN ST                      BARTLETT ST
SELMER RD                     PROCTOR RD                    NORTHEAST BLVD
ALNUS ST                      LOCKART RD                    ERICA ST
HALSTEAD ST                   PARLIN ST                     JEANES ST
BURGESS ST                    PROCTOR RD                    SELMA ST
BURGESS ST                    SELMA ST                      LARKSPUR ST
LARKSPUR ST                   AUDUBON AVE                   JEANES PL
FERNDALE ST                   SANFORD ST                    SELMER RD
GANTRY RD                     GEIGER RD                     RED LION RD
LOCKART RD                    ERICA ST                      ERICA TER
SELMER PL                     SELMER RD                     CUL DE SAC NORTH
KEVIN CT                      CUL DE SAC NORTH              TOMLINSON RD
GALAHAD RD                    CLARK ST                      MERLIN RD
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HEATHER ST                     LAWLER ST                     AVON ST
LAWLER ST                      LAWLER TER                    AVON ST
HENDRIX PL                     HENDRIX ST                    CUL DE SAC NORTH
HENDRIX ST                     HENDRIX PL                    LOCKART RD
GARDENIA LN                    CUL DE SAC SOUTH              RED LION RD
WORTHINGTON RD                 ANNA DR                       MICHELLE DR
GINA DR                        DEAD END NORTH                VERREE RD
GALAHAD RD                     CLARK ST                      KING ARTHUR RD
KING ARTHUR RD                 GALAHAD RD                    MERLIN RD
NORWALK RD                     WALLEY AVE                    NORWALK RD
NORWALK RD                     NORWALK RD                    BUSTLETON AVE
SANDMEYER LN                   RED LION RD                   SANDMEYER STEEL DWY
SANDMEYER LN                   SANDMEYER STEEL DWY           CUL DE SAC NORTH
COUNTRY CLUB BLVD              PALMER DR                     PAR DR
NICKLAUS DR                    PALMER DR                     PAR DR
COUNTRY CLUB BLVD              PAR DR                        RED LION RD
PLAYER DR                      PALMER DR                     PAR DR
PALMER DR                      NICKLAUS DR                   COUNTRY CLUB BLVD
PALMER DR                      COUNTRY CLUB BLVD             PLAYER DR
PAR DR                         NICKLAUS DR                   COUNTRY CLUB BLVD
PAR DR                         COUNTRY CLUB BLVD             PLAYER DR
SANDANNE RD                    BUCKLEY TER                   CLIFFWOOD RD
SAINT THOMAS DR                TOMLINSON RD                  CUL DE SAC NORTH
TOMLINSON RD                   JAMISON AVE                   SAINT THOMAS DR
TOMLINSON RD                   SAINT THOMAS DR               HOFF ST
ALMATT PL                      CUL DE SAC WEST               ALMATT DR
BELLAIRE RD                    VADER DR                      BELLAIRE PL
WORTHINGTON RD                 MICHELLE DR                   NAPIER ST
MICHELLE DR                    WORTHINGTON RD                CUL DE SAC EAST
DAMAR DR                       CUL DE SAC WEST               SOUTHAMPTON RD
ENDICOTT ST                    SOUTHAMPTON RD                HEMLOCK ST
CARTER RD                      HEMLOCK ST                    HERSCHEL RD
CARTER RD                      SOUTHAMPTON RD                HEMLOCK ST
HORNIG RD                      KUBACH RD                     E ROOSEVELT BLVD
HORNIG RD                      DEAD END WEST                 KUBACH RD
KUBACH RD                      DEAD END WEST                 HORNIG RD
EVANS ST                       WOODHAVEN RD                  WOODHAVEN RD
EVANS ST                       WOODHAVEN RD                  BYBERRY RD
WOODHAVEN RD                   NORMANDY DR                   NEPTUNE RD
NORMANDY DR                    NARCISSUS RD                  NEPTUNE RD
NEPTUNE RD                     NEPTUNE CT                    WOODHAVEN RD
NEPTUNE CT                     NEPTUNE RD                    CUL DE SAC NORTH
WOODHAVEN RD                   NEPTUNE RD                    NARCISSUS RD
NORMANDY DR                    NESTLING RD                   NARCISSUS RD
WOODHAVEN RD                   NARCISSUS RD                  NESTLING RD
WOODHAVEN RD                   NESTLING RD                   NORCOM RD
NORMANDY DR                    NESTOR RD                     NESTLING RD
NORCOM RD                      NIGHTINGALE RD                WOODHAVEN RD
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NIGHTINGALE RD                    NATURE RD                     NORCOM RD
NIGHTINGALE RD                    NEWBERRY RD                   NATURE RD
NORCOM CT                         NORCOM RD                     CUL DE SAC EAST
NORCOM RD                         NATURE RD                     NORCOM CT
NATURE RD                         NIGHTINGALE RD                NORCOM RD
NORCOM RD                         NEWBERRY RD                   NATURE RD
NORCOM RD                         NAUTILUS RD                   NEWBERRY RD
NORCOM RD                         NORMANDY DR                   NAUTILUS RD
NORCOM RD                         COMLY RD                      NORMANDY DR
NATURE RD                         NORCOM RD                     DEAD END SOUTH
COLMAN RD                         COLMAN TER                    BASILE RD
COLMAN RD                         BASILE RD                     BRANDON RD
BRANDON RD                        BRANDON PL                    COLMAN RD
BRANDON RD                        BRANDON PL                    BRANDON PL
BRANDON RD                        DERRY RD                      BRANDON PL
BRANDON RD                        BASILE RD                     CORRY RD
DERRY RD                          BRANDON RD                    LANETT RD
CORRY RD                          CORRY PL                      BRANDON RD
BRANDON RD                        COMLY RD                      DERRY RD
CORRY RD                          CORRY PL                      LANETT RD
CORRY RD                          DERRY RD                      CORRY PL
CORRY RD                          DERRY RD                      DERRY RD
DERRY RD                          LANETT RD                     CORRY RD
BRANDON RD                        CORRY RD                      ACADEMY RD
COLMAN RD                         COLMAN PL                     COLMAN PL
COLMAN RD                         DERRY RD                      COLMAN PL
DERRY RD                          COLMAN RD                     DERRY TER
DERRY RD                          DERRY TER                     DERRY PL
DERRY RD                          DERRY PL                      DERRY PL
DERRY RD                          DERRY PL                      BRANDON RD
DERRY TER                         COLMAN RD                     DERRY RD
COLMAN PL                         COLMAN RD                     COLMAN RD
BRANDON PL                        BRANDON RD                    BRANDON RD
DERRY PL                          DERRY RD                      DERRY RD
COLMAN TER                        COLMAN RD                     CUL DE SAC WEST
BASILE RD                         BASILE RD                     BASILE RD
BASILE RD                         BASILE RD                     BASILE RD
BASILE RD                         BASILE RD                     BRANDON RD
DERRY RD                          CORRY RD                      CORRY RD
CORRY PL                          CORRY RD                      CORRY RD
ACADEMY PL                        ACADEMY RD                    ACADEMY RD
BLACK LAKE PL                     MC NULTY RD                   CUL DE SAC SOUTH
BLACK LAKE PL                     CUL DE SAC NORTH              MC NULTY RD
MC NULTY RD                       TOWNSEND RD                   CUL DE SAC EAST
TOWNSEND RD                       OLD TOWNSEND RD               MC NULTY RD
TOWNSEND RD                       SOUTHAMPTON RD                OLD TOWNSEND RD
THORNTON RD                       FAIRDALE RD                   BYBERRY RD
SWEET BRIAR RD                    FAIRDALE RD                   MORNING GLORY RD
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FAIRDALE RD                   THORNTON RD                   SWEET BRIAR RD
BARBARY RD                    RAMBLER RD                    BYBERRY RD
BARBARY RD                    MORNING GLORY RD              RAMBLER RD
MORNING GLORY RD              SWEET BRIAR RD                BARBARY RD
THORNTON RD                   TOWNSEND RD                   FAIRDALE RD
BARBARY RD                    FAIRDALE RD                   MORNING GLORY RD
SWEET BRIAR RD                HOLLY RD                      FAIRDALE RD
THORNTON RD                   WOODHAVEN RD                  TOWNSEND RD
TOWNSEND RD                   THORNTON RD                   SOUTHAMPTON RD
SWEET BRIAR RD                BIRCH RD                      HOLLY RD
HOLLY RD                      BARBARY RD                    ASTER RD
HOLLY RD                      SWEET BRIAR RD                BARBARY RD
BARBARY RD                    HOLLY RD                      BIRCH RD
BIRCH RD                      BARBARY RD                    BARBARY RD
FAIRDALE RD                   RAMBLER RD                    MEDFORD RD
BIRCH RD                      BARBARY RD                    ASTER RD
BIRCH RD                      ASTER RD                      RAMBLER RD
ASTER RD                      HOLLY RD                      FAIRDALE RD
ASTER RD                      BIRCH RD                      HOLLY RD
RAMBLER RD                    MORNING GLORY RD              BARBARY RD
RAMBLER RD                    FAIRDALE RD                   MORNING GLORY RD
RAMBLER RD                    BIRCH RD                      FAIRDALE RD
BIRCH RD                      RAMBLER RD                    MEDFORD RD
MEDFORD RD                    WOODHAVEN RD                  BIRCH RD
FAIRDALE RD                   RANIER RD                     TYRONE RD
FAIRDALE RD                   TYRONE RD                     ACADEMY RD
BYBERRY RD                    ACADEMY RD                    WOODHAVEN RD
FAIRDALE RD                   MEDFORD RD                    RANIER RD
MEDFORD RD                    MORNING GLORY RD              BYBERRY RD
MEDFORD RD                    FAIRDALE RD                   MORNING GLORY RD
TYRONE RD                     WOODHAVEN RD                  FAIRDALE RD
MEDFORD RD                    BIRCH RD                      FAIRDALE RD
MEDFORD RD                    FAIRDALE RD                   FAIRDALE RD
MORNING GLORY RD              MEDFORD RD                    ACADEMY RD
RANIER RD                     BIRCH RD                      FAIRDALE RD
BIRCH RD                      MEDFORD RD                    RANIER RD
FEDOR PL                      SWEET BRIAR RD                CUL DE SAC NORTH
SWEET BRIAR PL                SWEET BRIAR RD                CUL DE SAC WEST
SECANE DR                     FEDOR RD                      BELGREEN RD
BELGREEN RD                   SECANE DR                     BELGREEN TER
BELGREEN RD                   BELGREEN TER                  BELGREEN TER
SECANE DR                     SECANE PL                     FEDOR RD
SECANE PL                     SECANE DR                     CUL DE SAC NORTH
BELGREEN RD                   BELGREEN TER                  BELGREEN PL
BELGREEN RD                   BELGREEN PL                   BELGREEN PL
SECANE PL                     SECANE DR                     CUL DE SAC EAST
SECANE DR                     SWEET BRIAR RD                SECANE PL
SWEET BRIAR RD                SECANE DR                     SWEET BRIAR PL
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BELGREEN RD                       BELGREEN PL                   CHILTON RD
BELGREEN RD                       CHILTON RD                    RAMBLER RD
WYNDOM RD                         RAMBLER RD                    BELGREEN RD
SECANE DR                         BARBARY PL                    SWEET BRIAR RD
BELGREEN RD                       RAMBLER RD                    DUNKS FERRY RD
RAMBLER RD                        SECANE DR                     BARBARY RD
SECANE DR                         RAMBLER RD                    BARBARY PL
SECANE DR                         DUNKS FERRY RD                RAMBLER RD
BELGREEN RD                       DUNKS FERRY RD                MEDFORD RD
MEDFORD RD                        MEDFORD PL                    BELGREEN RD
RICHTON RD                        CALPINE RD                    BELGREEN RD
BELGREEN RD                       MEDFORD RD                    RICHTON RD
RICHTON RD                        BELGREEN RD                   CUL DE SAC SOUTH
CALPINE RD                        BELGREEN RD                   RICHTON RD
BELGREEN RD                       RICHTON RD                    CALPINE RD
MEDFORD RD                        ANCONA RD                     MEDFORD PL
ANCONA RD                         BALSTON RD                    MEDFORD RD
CALPINE RD                        RAMER RD                      BELGREEN RD
BELGREEN RD                       CALPINE RD                    RAMER RD
BELGREEN RD                       RAMER RD                      LESTER RD
MEDFORD RD                        BALSTON RD                    ANCONA RD
ANCONA RD                         MEDFORD RD                    TYRONE RD
TYRONE RD                         ANCONA RD                     MEDFORD RD
MEDFORD RD                        TYRONE RD                     BALSTON RD
MEDFORD RD                        ACADEMY RD                    TYRONE RD
MEDFORD PL                        MEDFORD RD                    CUL DE SAC NORTH
TORREY RD                         BELGREEN RD                   ACADEMY RD
LESTER RD                         DUNKS FERRY RD                LESTER PL
LESTER RD                         LESTER PL                     LESTER PL
MEDFORD RD                        ATMORE RD                     MINDEN RD
ATMORE RD                         MINDEN RD                     MEDFORD RD
LESTER RD                         LESTER PL                     MEDFORD RD
MEDFORD RD                        MINDEN RD                     LESTER RD
MEDFORD RD                        DANLEY RD                     ATMORE RD
ATMORE RD                         MEDFORD RD                    DANLEY RD
LESTER RD                         MEDFORD RD                    KENNY RD
MEDFORD RD                        CHILTON RD                    DANLEY RD
MEDFORD RD                        BELGREEN RD                   CHILTON RD
KENNY RD                          ELNORA RD                     LESTER RD
LESTER RD                         KENNY RD                      ELNORA RD
ELNORA RD                         KENNY RD                      LESTER RD
LESTER RD                         ELNORA RD                     CABELL RD
CABELL RD                         RAMER RD                      LESTER RD
LESTER RD                         CABELL RD                     LAMAR PL
RAMER RD                          BELGREEN RD                   CABELL RD
CABELL RD                         LESTER RD                     ELNORA RD
LESTER RD                         LAMAR PL                      BELGREEN RD
DUNKS FERRY PL                    DUNKS FERRY RD                CUL DE SAC SOUTH
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LESTER PL                      LESTER RD                     LESTER RD
MEDFORD RD                     LESTER RD                     GURLEY RD
TETON RD                       CUL DE SAC EAST               HOLLINS RD
HOLLINS RD                     MEDFORD RD                    TETON RD
MEDFORD RD                     GURLEY RD                     HOLLINS RD
HOLLINS RD                     GURLEY RD                     MEDFORD RD
MEDFORD RD                     HOLLINS RD                    ORION RD
VINTON RD                      HOLLINS RD                    TETON RD
MEDFORD RD                     ORION RD                      VINTON RD
VINTON RD                      ORION RD                      MEDFORD RD
GURLEY RD                      CUL DE SAC NORTH              MEDFORD RD
TETON RD                       VINTON RD                     CUL DE SAC EAST
NANTON DR                      FRIAR PL                      FRIAR PL
NANTON DR                      FRIAR RD                      MEDFORD RD
GRAYTON PL                     NANTON DR                     NANTON DR
NANTON DR                      CANBY DR                      GRAYTON PL
MECHANICSVILLE RD              MEDFORD RD                    WESTHAMPTON DR
MECHANICSVILLE RD              WESTHAMPTON DR                GALDI LN
NANTON DR                      ACADEMY RD                    CANBY DR
FRIAR RD                       CANBY DR                      NANTON DR
NANTON DR                      BELLAIRE PL                   ACADEMY RD
NANTON DR                      DEERRUN PL                    BELLAIRE RD
NANTON DR                      VADER DR                      DEERRUN PL
VADER DR                       NANTON DR                     BELLAIRE RD
DEERRUN PL                     DEERRUN RD                    GENESEE DR
BISCAYNE DR                    ACADEMY RD                    BANDON DR
KNIGHTS PL                     KNIGHTS RD                    KNIGHTS RD
NANTON DR                      GENESEE DR                    VADER DR
BISCAYNE DR                    BANDON DR                     ACADEMY RD
NANTON DR                      NANTON PL                     NANTON TER
KNIGHTS TER                    KNIGHTS RD                    KNIGHTS RD
FRIAR PL                       NANTON DR                     NANTON DR
MEDFORD RD                     DUFFY LN                      NANTON DR
MECHANICSVILLE RD              GALDI LN                      MECHANICSVILLE PL
MECHANICSVILLE RD              MECHANICSVILLE PL             MECHANICSVILLE PL
MECHANICSVILLE RD              MECHANICSVILLE PL             MC CARTHY CIR
MECHANICSVILLE RD              MC CARTHY CIR                 VERDA DR
VERDA DR                       MECHANICSVILLE RD             WESTHAMPTON DR
NANTON DR                      KNIGHTS RD                    BISCAYNE DR
NEWBERRY RD                    ACADEMY RD                    LEGION ST
NEWBERRY RD                    LEGION ST                     SALINA RD
NEWBERRY RD                    SALINA RD                     LAVENDER PL
LEGION ST                      CUL DE SAC NORTH              WALDEMIRE PL
SALINA RD                      NEWBERRY RD                   NEWBERRY RD
NEWBERRY RD                    LAVENDER PL                   SALINA PL
WALDEMIRE PL                   WALDEMIRE DR                  CUL DE SAC SOUTH
LEGION PL                      LEGION ST                     LEGION ST
LEGION ST                      LEGION PL                     LEGION PL
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LEGION ST                      LEGION PL                     DEAD END EAST
ABBY RD                        CUL DE SAC SOUTH              WOODHAVEN RD
WALDEMIRE DR                   LEGION ST                     WOODHAVEN RD
LAVENDER PL                    NEWBERRY RD                   NEWBERRY RD
HALDEMAN AVE                   E ROOSEVELT BLVD              HALDEMAN AVE
HALDEMAN AVE                   E ROOSEVELT BLVD              E ROOSEVELT BLVD
HALDEMAN AVE                   E ROOSEVELT BLVD              E ROOSEVELT BLVD
HALDEMAN AVE                   E ROOSEVELT BLVD              E ROOSEVELT BLVD
COMLY RD                       E ROOSEVELT BLVD              E ROOSEVELT BLVD
HORNIG RD                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
HORNIG RD                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
THORNTON RD                    WOODHAVEN RD                  WOODHAVEN RD
BARBARY RD                     WOODHAVEN RD                  BIRCH RD
NEPTUNE RD                     NORMANDY DR                   NEPTUNE CT
NARCISSUS RD                   NORMANDY DR                   WOODHAVEN RD
NESTLING RD                    NORMANDY DR                   WOODHAVEN RD
NIGHTINGALE RD                 NORMANDY DR                   NEWBERRY RD
NORCOM RD                      NORCOM CT                     NIGHTINGALE RD
WOODHAVEN RD                   NORCOM RD                     WOODHAVEN RD
NEWBERRY RD                    NIGHTINGALE RD                NORCOM RD
NAUTILUS RD                    NORMANDY DR                   NORCOM RD
CAROLINE RD                    CHARTER RD                    COMLY RD
NORCOM RD                      CHARTER RD                    COMLY RD
COLMAN RD                      COLMAN PL                     COLMAN TER
BASILE RD                      COLMAN RD                     BASILE RD
BRANDON RD                     COLMAN RD                     BASILE RD
LANETT RD                      DERRY RD                      CORRY PL
MC NULTY RD                    SOUTHAMPTON RD                BLACK LAKE PL
MC NULTY RD                    COMMERCE WAY                  TOWNSEND RD
FAIRDALE RD                    SWEET BRIAR RD                ASTER RD
MORNING GLORY RD               RAMBLER RD                    CUL DE SAC EAST
SWEET BRIAR RD                 SWEET BRIAR PL                FEDOR RD
WYNDOM RD                      BELGREEN RD                   CHILTON RD
CHILTON RD                     WYNDOM RD                     BELGREEN RD
BELGREEN TER                   BELGREEN RD                   BELGREEN RD
BELGREEN PL                    BELGREEN RD                   BELGREEN RD
BARBARY PL                     BARBARY RD                    CUL DE SAC WEST
CALPINE RD                     CUL DE SAC SOUTH              RAMER RD
MINDEN RD                      MEDFORD RD                    ATMORE RD
ELNORA RD                      LESTER RD                     CABELL RD
LAMAR PL                       CUL DE SAC WEST               LESTER RD
MECHANICSVILLE RD              MAUREEN DR                    DUNKS FERRY RD
TETON RD                       HOLLINS RD                    VINTON RD
GURLEY RD                      MEDFORD RD                    HOLLINS RD
ORION RD                       MEDFORD RD                    VINTON RD
VINTON RD                      TETON RD                      MEDFORD RD
MEDFORD RD                     VINTON RD                     DUFFY LN
WESTHAMPTON DR                 VERDA DR                      MECHANICSVILLE RD
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CANBY DR                       NANTON DR                     FRIAR RD
MECHANICSVILLE PL              MECHANICSVILLE RD             MECHANICSVILLE RD
NANTON DR                      DEERRUN PL                    DEERRUN PL
DEERRUN RD                     DEERRUN PL                    DEERRUN PL
DEERRUN PL                     DEERRUN RD                    NANTON DR
GENESEE PL                     DEERRUN PL                    DEERRUN PL
GENESEE PL                     DEERRUN PL                    DEERRUN PL
BANDON DR                      ACADEMY RD                    BISCAYNE DR
GENESEE DR                     NANTON DR                     BISCAYNE DR
GENESEE DR                     DEERRUN PL                    NANTON DR
NANTON TER                     CUL DE SAC WEST               NANTON DR
NANTON PL                      NANTON DR                     CUL DE SAC EAST
NANTON PL                      CUL DE SAC WEST               NANTON DR
NEWBERRY RD                    LAVENDER PL                   LAVENDER PL
NORMANDY DR                    NIGHTINGALE RD                NAUTILUS RD
NORMANDY DR                    NAUTILUS RD                   NORCOM RD
CHARTER RD                     CAROLINE RD                   NORCOM RD
WOODHAVEN RD                   BARBARY RD                    MEDFORD RD
WOODHAVEN RD                   MEDFORD RD                    TYRONE RD
WOODHAVEN RD                   TYRONE RD                     ACADEMY RD
WOODHAVEN RD                   ACADEMY RD                    BYBERRY RD
WOODHAVEN RD                   BYBERRY RD                    WOODHAVEN RD
WOODHAVEN RD                   THORNTON RD                   WOODHAVEN RD
WOODHAVEN RD                   WOODHAVEN RD                  BARBARY RD
WOODHAVEN RD                   WOODHAVEN RD                  THORNTON RD
WOODHAVEN RD                   ABBY RD                       WALDEMIRE DR
WOODHAVEN RD                   WALDEMIRE DR                  WOODHAVEN RD
WOODHAVEN RD                   WOODHAVEN RD                  COVERT RD
MECHANICSVILLE RD              VERDA DR                      KNIGHTS RD
HALDEMAN AVE                   HALDEMAN AVE                  E ROOSEVELT BLVD
NESTOR RD                      COMLY RD                      NORMANDY DR
BISCAYNE DR                    GENESEE DR                    NANTON DR
MC NULTY RD                    BLACK LAKE PL                 COMMERCE WAY
BISCAYNE PL                    CUL DE SAC WEST               NANTON DR
BELLAIRE PL                    CUL DE SAC WEST               BELLAIRE RD
DANLEY RD                      MEDFORD RD                    ATMORE RD
DANLEY RD                      CHILTON RD                    MEDFORD RD
BALSTON RD                     MEDFORD RD                    ANCONA RD
BALSTON RD                     ANCONA RD                     CUL DE SAC EAST
FEDOR RD                       FEDOR PL                      SECANE DR
CHILTON RD                     MEDFORD RD                    DANLEY RD
BANDON DR                      BISCAYNE DR                   ACADEMY RD
BIRCH RD                       SWEET BRIAR RD                BARBARY RD
NORMANDY DR                    NESTOR RD                     NIGHTINGALE RD
RAMBLER RD                     BELGREEN RD                   WYNDOM RD
BARBARY RD                     RAMBLER RD                    BARBARY PL
NORMANDY DR                    NEPTUNE RD                    NEPTUNE RD
NORMANDY DR                    NEPTUNE RD                    WOODHAVEN RD
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NEPTUNE RD                     NORMANDY DR                   DEAD END NORTH
LEGION ST                      NEWBERRY RD                   LEGION PL
WOODHAVEN RD                   ACADEMY RD                    ABBY RD
MAUREEN DR                     MECHANICSVILLE RD             CUL DE SAC EAST
MC NULTY RD                    DEAD END WEST                 SOUTHAMPTON RD
ANNA DR                        WORTHINGTON RD                DEAD END SOUTH
COMMERCE WAY                   CUL DE SAC NORTH              MC NULTY RD
HORNIG RD                      E ROOSEVELT BLVD              E ROOSEVELT BLVD
CENTURY LN                     MECHANICSVILLE RD             CITY BOUNDARY
MECHANICSVILLE RD              DEAD END NORTH                CENTURY LN
MECHANICSVILLE RD              CENTURY LN                    MAUREEN DR
MEETING HOUSE RD               TOWNSEND RD                   CUL DE SAC EAST
TOWNSEND RD                    MC NULTY RD                   MEETING HOUSE RD
THORNTON RD                    COMLY RD                      THORNWOOD PL
THORNTON RD                    THORNWOOD PL                  WOODHAVEN RD
WOODHAVEN RD                   THORNTON RD                   WATERVIEW LN
WOODHAVEN RD                   WATERVIEW LN                  WOODHAVEN RD
WOODHAVEN RD                   WOODHAVEN RD                  STEWARDS WAY
WOODHAVEN RD                   STEWARDS WAY                  RIVERSIDE DR
WOODHAVEN RD                   ASHWOOD AVE                   ACADEMY RD
NANTON DR                      BISCAYNE PL                   NANTON PL
NANTON DR                      NANTON TER                    GENESEE DR
RAMER RD                       CALPINE RD                    BELGREEN RD
ARBOURS WAY                    SOUTHAMPTON RD                MARIGOLD LN
MARIGOLD LN                    ARBOURS WAY                   SUNFLOWER DR
DAHLIA DR                      MARIGOLD LN                   VERONICA LN
SUNFLOWER DR                   MARIGOLD LN                   WILDFLOWER WAY
VERONICA LN                    DAHLIA DR                     WILDFLOWER WAY
DAHLIA DR                      VERONICA LN                   HONEYSUCKLE LN
SUNFLOWER DR                   VERONICA LN                   HONEYSUCKLE LN
BENJAMIN RUSH RD               SOUTHAMPTON RD                BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              CUL DE SAC WEST
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
BENJAMIN RUSH RD               BENJAMIN RUSH RD              BENJAMIN RUSH RD
NANTON DR                      GRAYTON PL                    GRAYTON PL
NANTON DR                      GRAYTON PL                    FRIAR PL
WILDFLOWER WAY                 HONEYSUCKLE LN                SUNFLOWER DR
OVERHILL AVE                   BUXMONT ST                    SMITHFIELD AVE
SIMMS ST                       SMITHFIELD AVE                COUNTY LINE RD
ERWIN ST                       SIMMS ST                      SMITHFIELD AVE
OVERHILL AVE                   SMITHFIELD AVE                SIMMS ST
COUNTY LINE RD                 BUSTLETON AVE                 DEAD END EAST
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BARCALOW ST                    FOREST HILLS AVE              COUNTY LINE RD
ERWIN ST                       FOREST HILLS AVE              SIMMS ST
FOREST HILLS AVE               OVERHILL AVE                  BARCALOW ST
OVERHILL AVE                   SIMMS ST                      FOREST HILLS AVE
SOUTHAMPTON RD                 BARCALOW ST                   BUSTLETON AVE
FOREST HILLS AVE               ERWIN ST                      NAPIER ST
FOREST HILLS AVE               NAPIER ST                     OVERHILL AVE
ERWIN ST                       MAPLE AVE                     FOREST HILLS AVE
BARCALOW ST                    OVERHILL AVE                  FOREST HILLS AVE
MAPLE AVE                      ERWIN ST                      FARADAY ST
NAPIER ST                      MAPLE AVE                     FOREST HILLS AVE
MAPLE AVE                      FARADAY ST                    NAPIER ST
OVERHILL AVE                   BARCALOW ST                   PHILMONT AVE
BARCALOW ST                    MAPLE AVE                     OVERHILL AVE
COUNTY LINE RD                 TREVOSE RD                    PEYTON ST
BARCALOW ST                    PHILMONT AVE                  MAPLE AVE
NAPIER ST                      PHILMONT AVE                  MAPLE AVE
ERWIN ST                       PHILMONT AVE                  MAPLE AVE
EDISON AVE                     TREVOSE RD                    PROCTOR RD
EDISON AVE                     PROCTOR RD                    HERSCHEL RD
BLAKESLEE DR                   CARDELLA PL                   CUL DE SAC EAST
BLAKESLEE DR                   BLAKESLEE CT                  CARDELLA ST
HERSCHEL RD                    SOUTHAMPTON RD                PEYTON ST
CARDELLA PL                    BLAKESLEE DR                  CUL DE SAC SOUTH
BLAKESLEE CT                   BLAKESLEE DR                  CUL DE SAC SOUTH
EDISON AVE                     HERSCHEL RD                   LINDSAY ST
KELVIN AVE                     EDISON AVE                    SOUTHAMPTON RD
EDISON AVE                     LINDSAY ST                    KELVIN AVE
EDISON AVE                     KELVIN AVE                    PRIESTLY ST
NAPIER ST                      PROCTOR RD                    LINDSAY ST
EDISON AVE                     PRIESTLY ST                   STEVENS RD
LINDENHURST ST                 DEPUE AVE                     BUSTLETON AVE
AUDUBON AVE                    WOODHAVEN RD                  BYBERRY RD
KELVIN AVE                     NAPIER ST                     EDISON AVE
NAPIER ST                      DOROTHY DR                    KELVIN AVE
AUDUBON AVE                    DUMONT RD                     WOODHAVEN RD
DUMONT RD                      LOCKART RD                    AUDUBON AVE
PINEWOOD RD                    WOODHAVEN RD                  PINEWOOD PL
NAPIER ST                      KELVIN AVE                    PRIESTLY ST
AUDUBON AVE                    AUDUBON PL                    DUMONT RD
AUDUBON PL                     CUL DE SAC WEST               AUDUBON AVE
WARWICK ST                     BUSTLETON AVE                 LEWIS ST
DEPUE AVE                      PINEWOOD RD                   BYBERRY RD
PINEWOOD RD                    FERNDALE ST                   DEPUE AVE
NAPIER ST                      PRIESTLY ST                   STEVENS RD
PINEWOOD RD                    DEPUE AVE                     CUL DE SAC EAST
STEVENS RD                     NAPIER ST                     EDISON AVE
NAPIER ST                      STEVENS RD                    STEVENS RD
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NAPIER ST                     STEVENS RD                    RICHWOOD RD
NAPIER ST                     RICHWOOD RD                   WORTHINGTON RD
LEWIS ST                      BYBERRY RD                    WARWICK ST
RICHWOOD RD                   SEWELL RD                     NAPIER ST
LINDENHURST ST                LINDSAY ST                    DOROTHY DR
LINDENHURST ST                DOROTHY DR                    KELVIN AVE
NAPIER ST                     LINDSAY ST                    LINDSAY ST
NAPIER ST                     LINDSAY ST                    DOROTHY DR
LINDSAY ST                    NAPIER ST                     EDISON AVE
PANDRAIL PL                   WOODHAVEN RD                  WOODHAVEN RD
OVERHILL AVE                  COUNTY LINE RD                BUXMONT ST
OVERHILL AVE                  FOREST HILLS AVE              BARCALOW ST
BUXMONT ST                    OVERHILL AVE                  COUNTY LINE RD
BUXMONT ST                    DEAD END WEST                 OVERHILL AVE
SMITHFIELD AVE                OVERHILL AVE                  SIMMS ST
SMITHFIELD AVE                ERWIN ST                      OVERHILL AVE
SIMMS ST                      OVERHILL AVE                  SMITHFIELD AVE
SIMMS ST                      ERWIN ST                      OVERHILL AVE
MAPLE AVE                     NAPIER ST                     BARCALOW ST
FARADAY ST                    PHILMONT AVE                  MAPLE AVE
WOODHAVEN RD                  AUDUBON AVE                   PINEWOOD RD
WOODHAVEN RD                  AUDUBON AVE                   WOODHAVEN PL
WOODHAVEN RD                  WOODHAVEN PL                  WOODHAVEN TER
WOODHAVEN RD                  WOODHAVEN TER                 WOODHAVEN PLZ
WOODHAVEN RD                  PINEWOOD RD                   FERNDALE ST
PINEWOOD RD                   PINEWOOD PL                   FERNDALE ST
PINEWOOD PL                   PINEWOOD RD                   CUL DE SAC SOUTH
PETONI PL                     CUL DE SAC WEST               BUSTLETON AVE
BLAKESLEE DR                  BYBERRY RD                    HOFFMAN CT
BLAKESLEE DR                  HOFFMAN CT                    BLAKESLEE CT
POQUESSING AVE                STATION RD                    DEAD END EAST
KELVIN AVE                    SOUTHAMPTON RD                TREVOSE RD
HERSCHEL RD                   EDISON AVE                    SOUTHAMPTON RD
PROCTOR RD                    NAPIER ST                     EDISON AVE
PRIESTLY ST                   NAPIER ST                     EDISON AVE
LINDSAY ST                    LINDENHURST ST                NAPIER ST
DOROTHY DR                    GASTON LN                     NAPIER ST
KELVIN AVE                    LINDENHURST ST                NAPIER ST
WEXFORD PL                    CUL DE SAC SOUTH              COUNTY LINE RD
DANA AVE                      EDISON AVE                    BROOKSHIRE DR
WOODHAVEN RD                  DEAD END NORTH                PANDRAIL PL
WOODHAVEN RD                  PANDRAIL PL                   PANDRAIL PL
WOODHAVEN RD                  PANDRAIL PL                   AUDUBON AVE
WOODHAVEN RD                  DEAD END NORTH                AUDUBON AVE
CARDELLA ST                   PHILMONT AVE                  BLAKESLEE DR
LAURA LN                      LAURA PL                      BUSTLETON AVE
SMITHFIELD AVE                DEAD END WEST                 ERWIN ST
WOODHAVEN PL                  WOODHAVEN RD                  CUL DE SAC WEST
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DENISE DR                      DEPUE AVE                     BUSTLETON AVE
LAURA PL                       CUL DE SAC NORTH              LAURA LN
LAURA LN                       CUL DE SAC WEST               LAURA PL
DEPUE AVE                      LINDENHURST ST                DENISE DR
DENISE DR                      CUL DE SAC WEST               DEPUE AVE
WHITNEY ST                     BROOKSHIRE DR                 TREVOSE RD
MAPLE AVE                      STATION RD                    TREVOSE RD
DEPUE AVE                      BYBERRY RD                    DEAD END NORTH
DEPUE AVE                      DEAD END SOUTH                LINDENHURST ST
PEYTON ST                      LUKENS ST                     COUNTY LINE RD
PEYTON ST                      HERSCHEL RD                   LUKENS ST
BERNITA DR                     STEVENS RD                    WAYSIDE RD
WAYSIDE RD                     STEVENS RD                    BERNITA DR
STEVENS RD                     BERNITA DR                    WAYSIDE RD
STEVENS RD                     DEAD END WEST                 BERNITA DR
STEVENS RD                     WAYSIDE RD                    INA DR
INA DR                         POQUESSING CREEK DR           STEVENS RD
POQUESSING CREEK DR            DEAD END WEST                 LIBERTY LN
POQUESSING CREEK DR            INA DR                        KOVATS DR
POQUESSING CREEK DR            LIBERTY LN                    POQUESSING CREEK LN
POQUESSING CREEK DR            KOVATS DR                     KALLASTE DR
WAYSIDE RD                     HERSCHEL RD                   STEVENS RD
POQUESSING CREEK DR            KALLASTE DR                   BEVERLY DR
POQUESSING CREEK DR            POQUESSING CREEK LN           ENDICOTT ST
EDISON AVE                     STEVENS RD                    SOUTHAMPTON RD
POQUESSING CREEK DR            ENDICOTT ST                   MILFORD ST
INA DR                         HEMLOCK DR                    POQUESSING CREEK DR
WORTHINGTON RD                 SOUTHAMPTON RD                HERSCHEL RD
KOVATS DR                      HEMLOCK DR                    POQUESSING CREEK DR
HEMLOCK DR                     INA DR                        KOVATS DR
POQUESSING CREEK DR            MILFORD ST                    CARTER RD
KALLASTE DR                    HEMLOCK DR                    POQUESSING CREEK DR
HEMLOCK DR                     KOVATS DR                     KALLASTE DR
HERSCHEL PL                    HERSCHEL PL                   HERSCHEL RD
BEVERLY DR                     HEMLOCK DR                    POQUESSING CREEK DR
HEMLOCK DR                     KALLASTE DR                   BEVERLY DR
ENDICOTT ST                    HERSCHEL RD                   POQUESSING CREEK DR
HERSCHEL RD                    HERSCHEL PL                   ENDICOTT ST
LONDON RD                      WALES PL                      HERSCHEL PL
LONDON RD                      WALES PL                      WALES PL
WALES PL                       LONDON RD                     LONDON RD
WORTHINGTON RD                 JENNIFER RD                   SOUTHAMPTON RD
KOVATS DR                      SOUTHAMPTON RD                HEMLOCK DR
MILFORD ST                     HERSCHEL RD                   POQUESSING CREEK DR
HERSCHEL RD                    ENDICOTT ST                   MILFORD ST
LONDON RD                      DOWNS PL                      WALES PL
LONDON RD                      DOWNS PL                      DOWNS PL
JENNIFER RD                    WORTHINGTON RD                CUL DE SAC EAST
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CARTER RD                      HERSCHEL RD                   POQUESSING CREEK DR
HERSCHEL RD                    MILFORD ST                    CARTER RD
LONDON RD                      ASCOT PL                      ASCOT PL
LONDON RD                      HEMLOCK PL                    ASCOT PL
LONDON RD                      HEMLOCK PL                    HEMLOCK PL
HEMLOCK PL                     LONDON RD                     LONDON RD
LONDON RD                      SOUTHAMPTON RD                HEMLOCK PL
ENDICOTT ST                    HEMLOCK ST                    HERSCHEL RD
MILFORD ST                     HEMLOCK ST                    HERSCHEL RD
HEMLOCK ST                     ENDICOTT ST                   MILFORD ST
HEMLOCK ST                     MILFORD ST                    CARTER RD
THERESA DR                     SOUTHAMPTON RD                HEMLOCK DR
THERESA DR                     HEMLOCK DR                    HERSCHEL RD
COUNTY LINE RD                 PEYTON ST                     LUKENS ST
LUKENS ST                      PEYTON ST                     COUNTY LINE RD
HERSCHEL RD                    WORTHINGTON RD                WAYSIDE RD
WORTHINGTON RD                 NAPIER ST                     JENNIFER RD
DOWNS PL                       LONDON RD                     LONDON RD
LONDON RD                      ASCOT PL                      DOWNS PL
ASCOT PL                       LONDON RD                     LONDON RD
HERSCHEL RD                    WAYSIDE RD                    THERESA DR
POQUESSING CREEK LN            LIBERTY LN                    POQUESSING CREEK DR
LIBERTY LN                     POQUESSING CREEK LN           POQUESSING CREEK DR
HEMLOCK DR                     THERESA DR                    INA DR
HERSCHEL PL                    HERSCHEL PL                   HERSCHEL PL
HERSCHEL PL                    HERSCHEL PL                   HERSCHEL PL
MARIGOLD LN                    DAHLIA DR                     ARBOURS WAY
DAHLIA DR                      HONEYSUCKLE LN                FOXGLOVE LN
HONEYSUCKLE LN                 DAHLIA DR                     SUNFLOWER DR
HONEYSUCKLE LN                 SUNFLOWER DR                  WILDFLOWER WAY
WILDFLOWER WAY                 HONEYSUCKLE LN                MIMOSA DR
SUNFLOWER DR                   HONEYSUCKLE LN                FOXGLOVE LN
FOXGLOVE LN                    DAHLIA DR                     SUNFLOWER DR
DAHLIA DR                      FOXGLOVE LN                   IRIS LN
IRIS LN                        DAHLIA DR                     SUNFLOWER DR
SUNFLOWER DR                   FOXGLOVE LN                   IRIS LN
SUNFLOWER DR                   IRIS LN                       MIMOSA DR
MIMOSA DR                      SUNFLOWER DR                  WILDFLOWER WAY
SUNFLOWER DR                   MIMOSA DR                     BLUEBELL CT
BLUEBELL CT                    CUL DE SAC WEST               SUNFLOWER DR
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          Exhibit C
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CS-4401 (6-17)




                                                                                                   See the last tab of this workbook for instructions
*Date of Investigation (yyyy mm dd)
Field Investigators 1
Field Investigators 2
*Engineering District Code
*County Name
*County Code (auto)                                       (Automatically Filled In)
*Municipality Name
*Municipality Code (auto)                                 (Automatically Filled In)
Construction Phase                                        ☐Constructed      ☐Ex-Surveyed ☐Missing
Ramp Crosses                                              ☐State Rte ☐Local Rd             ☐Both
Ramp Surface                                              ☐Brick ☐Concrete ☐Other
Surface Stable, Firm, and Slip Resistant                  ☐No ☐Yes
Elevation Differences > 1/4"                              ☐No ☐Yes                             (X/16")
Grate Openings or Gaps > 1/2"                             ☐No ☐Yes                             (X/16")
Utilities in Path of Travel                               ☐No ☐Yes
Water Ponding in Path of Travel                           ☐No ☐Yes
Detectable Warning Surface (DWS)                          ☐No ☐Yes
DWS type (if applicable)                                  ☐Mat ☐PolConc ☐PolCom ☐Iron ☐Steel ☐Brick ☐Other
Pedestrian Crossing and Type                              ☐No ☐Yes         ☐N/A       ☐1Ramp 1Crossing          ☐1Ramp 2Crossing
Ramp at Stop or Yield Controlled Crosswalk                ☐No ☐Yes
Ramp Leads to Accessible Path                             ☐No ☐Yes
Longitudinal Slope in Front of Ramp                                        %
Cross Slope in Front of Ramp (Road Profile)                                %
Turning Maneuver in Street                                ☐No ☐Yes
Turning Maneuver at Top of Ramp (Smax)                    ☐No ☐Yes
ECMS #                                                    Alg  Grade                          %
Intersection Ramp # of #
*Ramp Location (Use Figure Below)
*Curb Ramp Type
*North Leg                                                   (segment)          (offset)
*North Leg Desc.              ☐SR ☐St ☐Other
*East Leg                                                    (segment)          (offset)
*East Leg Desc.               ☐SR ☐St ☐Other
*South Leg                                                   (segment)          (offset)
*South Leg Desc.              ☐SR ☐St ☐Other
*West Leg                                                    (segment)          (offset)
*West Leg Desc.               ☐SR ☐St ☐Other



                                                          Northbound




Accessible Push Buttons                                   ☐No ☐Yes ☐N/A
Asset # (auto)                ☐--(Automatically Filled In)-(Automatically Filled In)-----
* Status                      ☐Current ☐Archive
Level of Service              ☐Meets RC-67M ☐As Per Contract Documents ☐Ex - Provides Max Access ☐Non-Compliant


Sheet 1 - Inspection Form                                                                                                      ☐--(Automatically Filled In)-(Automatically Filled In)-----
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CS-4401 (6-17)




                                                                See the last tab of this workbook for instructions




                                                                                   "0.00" inches or %
                                                                     *             A                                 (IN)
                                                                     *             B                                 (IN)
                                                                     *             C                                 (%)
                                                                     *             D                                 (%)
                                                                     *             E                                 (%)
                                                                     *             F                                 (%)
                                                                     *             G                                 (%)
                                                                                   H                                 (%)
                                                                     *              I                                (%)
                                                                     *             J                                 (IN)
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                                                                     *             M                                 (IN)
                                                                                   N                                 (IN)
                                                                                   O                                 (IN)
                                                                     *             P                                 (IN)
                                                                     *             Q                                 (%)
                                                                     *             R                                 (%)
                                                                     *             S                                 (%)
                                                                                   T                                 (IN)
                                                                                   U                                 (IN)
                                                                     *             V                                 (%)
                                                                     *             W                                 (%)
                                                                     *             X                                 (IN)
                                                                                   Y                                 (IN)
                                                                                  YY                                 (IN)
                                                                                   Z                                 (IN)
                                                                                  ZZ                                 (IN)
                                                                     *            AA                                 (IN)
                                                                     *            BB                                 (IN)
                                                                     *            CC                                 (IN)
                                      (insert comments below)




Sheet 2 - Inspection Form Continued                                                         ☐--(Automatically Filled In)-(Automatically Filled In)-----
                     Case 2:19-cv-03846-HB Document 142-4 Filed 10/14/22 Page 655 of 690
CS-4401 (6-17)


                                                                       See the last tab of this workbook for instructions




                                   Insert Picture 1                                     Insert Picture 4




                                   Insert Picture 2                                     Insert Picture 5




                                   Insert Picture 3                                     Insert Picture 6




Sheet 3 - Pictures                                              ☐--(Automatically Filled In)-(Automatically Filled In)-----
                    Case 2:19-cv-03846-HB Document 142-4 Filed 10/14/22 Page 656 of 690
CS-4401 (6-17)


                                                                                     See the last tab of this workbook for instructions
Scanned Technically Infeasible Form Sheet 1 (TIFF set resolution to 200 DPI)




Sheet 4 - Tech Infeasible Form Sheet 1                                         ☐--(Automatically Filled In)-(Automatically Filled In)-----
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CS-4401 (6-17)




Scanned Technically Infeasible Form Sheet 2 (TIFF set resolution to 200 DPI)




Sheet 5 - Tech Infeasible Form Sheet 2                                         ☐--(Automatically Filled In)-(Automatically Filled In)-----
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CS-4401 (6-17)


                                                                     See the last tab of this workbook for instructions
Scanned Inspection Form (TIFF set resolution to 200 DPI)




Sheet 6 - Scanned Inspection Form                              ☐--(Automatically Filled In)-(Automatically Filled In)-----
                   Case 2:19-cv-03846-HB Document 142-4 Filed 10/14/22 Page 659 of 690
CS-4401 (6-17)




Scanned Inspection Form Continued (TIFF set resolution to 200 DPI)




Sheet 7 - Scanned Inspection Form (Continued)                        ☐--(Automatically Filled In)-(Automatically Filled In)-----
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CS-4401 (6-17)



                                                                                                                       Instructions
    The Curb Ramp Inspection Form (CS-4401) will be used for the inspection of all altered curb ramps within the project
limits to ensure compliance to PennDOT standards or the contract documents. This includes newly constructed curb
ramps and existing curb ramps not reconstructed. Refer to Publication 13M - Design Manual Part 2, Chapter 6 for additional
information on “alterations.”

   A thorough and rigorous inspection to ensure an ADA compliant curb ramp must be completed. All newly constructed curb
ramps or curb ramps located within the project limits must be inspected/measured in the field for compliance to RC-67M
Standards. The slopes indicated in RC-67M are absolute maximum slopes. Only slopes that are equal to or less than the
indicated slopes are acceptable.

   Where fully meeting the RC-67M standards is “Technically Infeasible”, access must be provided to the maximum extent
possible. When this occurs, curb ramps or other pedestrian facilities must be constructed in accordance with the contract
documents. See Publication 13M - Design Manual Part 2, Chapter 6 for additional information on Technically Infeasible.

    The Curb Ramp Inspection Form (CS-4401) will record all measurements and serve as a record that PennDOT has
constructed the curb ramps to current standards or provided access to the maximum extent feasible. The form will contain the
field measurements, pictures of the constructed curb ramps, and images of the Technically Infeasible Form (if applicable).

   The completed form must be submitted electronically, in EXCEL, to the ADA Coordinator upon completion and acceptance of the
curb ramp construction. The data from the form will be extracted into a database for record keeping purposes.




INSTRUCTIONS
Before you Begin:
When saving the file, use Excel Macro-Enabled Workbook format with a *.xlsm extension. Do not use a different file format.

The following tabs are included in the form:
Tab 1. Inspection Form
Tab 2. Inspection Form Continued
Tab 3. Pictures
Tab 4. Tech. Infeasible Form
Tab 5. Scanned Forms
Tab 6. Instructions

TAB 1 - INSPECTION FORM
All “blue filled” cells require information to be entered. Many cells have a drop down selection with a header.
The header is used for filling out a printed version. The header must be changed to the appropriate selection.
For example: “☐ No ☐ Yes” would be the header. Either “No” or “Yes” must be selected.

Date of Investigation
Enter the year, month, and day of the investigation (format yyyy mm dd).

Field Investigators
Insert the name(s) of the investigator(s).

Engineering District Code
Insert the engineering district code.

County Name
Insert the appropriate county. (The county code will automatically fill in once the appropriate county is selected).

Municipality Name
Insert the appropriate municipality name.
(The municipality code will automatically fill in once the appropriate municipality name is entered).




Sheet 8 - Instructions
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CS-4401 (6-17)



                                                                                                                        Instructions
Construction Phase
Select the appropriate status of the curb ramp being investigated.

☐ Constructed. Select this phase for newly constructed curb ramps for inspection purposes.
☐ Existing-Survey. Select this phase for documenting existing curb ramps.
☐ Missing. Select this phase for documenting missing curb ramps.

Ramp Crosses
Select what type of roadway the ramp crosses or services.

Ramp Surface
Select ramp surface type (Brick, Concrete or Other). If “Other”, enter the surface type in the cell immediately to the right.

Surface Stable, Firm, and Slip Resistant
Indicate if the curb ramp surface is stable, firm, and slip resistant.

Elevation Differences > ¼”
Indicate if any vertical elevation differences between sections of sidewalk found anywhere on the curb
ramp that are greater than 1/4” exist. If vertical elevation differences exist, measure to the nearest
1/16 of an inch. For example, if measured 1/2” enter “8” (8/16) on the form, or if measured 2” enter 32 (32/16) in the form.

Grate Openings or Gaps > ½”
Indicate if any grate openings or gaps greater than 1/2” are located within the immediate pedestrian path.
If horizontal gaps exist, measure to the nearest 1/16 of an inch. For example, if measured 1/2” enter
“8” (8/16) on the form, or if measured 2” enter 32 (32/16) on the form.

Utilities in Path of Travel
Indicate if there are any utilities that obstruct the path of travel.

Water Ponding in Path of Travel
Indicate if any water ponding exists within the travel path of the curb ramp.

Detectable Warning Surface (DWS)
Indicate if a detectable warning surface is present.

DWS Type
If “Yes” is answered in previous question, indicate what type of DWS is present. If “Other”, fill in the cell to
the right to indicate what type of DWS is being used.

Pedestrian Crossings
Indicate if a pedestrian crossing exists. If a pedestrian crossing does not exist, a curb ramp is not needed.
The crossing may be marked or unmarked. If “Yes”, the cell to the right will become highlighted with blue fill,
requiring it to be completed.
☐ Single Ramp with Single Cross Walk
☐ Single Ramp with Double Cross Walk

Ramp at Stop or Yield Controlled Crosswalk
Indicate if the ramp serves a Stop or Yield controlled crosswalk.

Ramp Leads to Accessible Path
Indicate if the ramp leads to an accessible path, such as a sidewalk or a pedestrian pushbutton.




Sheet 9 - Instructions
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CS-4401 (6-17)



                                                                                                                           Instructions
Longitudinal / Cross Slope in Front of Ramp
Enter the longitudinal and cross slope values (as a percentage) in the appropriate cells. The longitudinal
slope is equal to the slope parallel to the direction of the ramp (in the street); the cross slope is equal to the slope
perpendicular to the direction of the ramp (in the street).

Turning Maneuver in Street
Indicate if pedestrians must perform turning maneuvers in the street. If “Yes”, a landing is required in the street.

Turning Maneuver at Top of Ramp (Smax)
Indicate if pedestrians must perform turning maneuvers at the top of the ramp. If “Yes”, Smax is required.

ECMS #
Enter the ECMS # for the project that altered the curb ramp.

Algebraic Δ Grade (Algebraic Change in Grade)
Enter the maximum algebraic change between the ramp slope and roadway slope (as a percentage).

Intersection Ramp # of #
Enter the number for the ramp being investigated followed by the total number of ramps being
investigated at the intersection. For example, if the ramp at the intersection of Ramp “X” of “Y” is being investigated,
 “Y” is the total number of the ramps at the intersection and “X” is the number assigned to the specific ramp
being investigated.

Ramp Location
Using the intersection figure shown, select the appropriate button for which the investigated curb ramp is located.

North Leg/North Leg Description
Include the name of the roadway (if applicable) for the northbound roadway. Then directly below that cell,
indicate the type of roadway (state route, boulevard, road, street, etc.). If the roadway is a state route number
(format: 0000), also include the Segment # (format: 0000) and Offset # (format: 0000) of the intersection. If the
roadway is a local road, include the name of the local road and description.
Complete this for all legs of the intersection.

                          North Leg         Description            Segment               Offset
Example 1:                 00016               SR                   0010                 0020
Example 2:                  Oak                ST                    n/a                 n/a

Curb Ramp Type
Indicate the type of ramp being investigated. Depending on curb ramp type, complete all of the required
dimensions on Tab 2 - Inspection Form Continued. Each cell is color-coded to indicate whether the information
entered meets RC-67M. If data is entered and the cell becomes highlighted with green fill, the data meets
RC-67M. If the cell becomes highlighted with red fill, the data does not meet RC-67M. If the cell becomes
highlighted with yellow fill, the data does not match RC-67M but this may be due to tie-ins with the existing site.
The chart located to the right of the data entry form indicates the minimum measurement requirements (compliance check).

Accessible Pedestrian Push Buttons
Indicate if pedestrian push buttons are accessible.

Asset #
The Asset Number will be automatically completed as information is entered into the data entry form.




Sheet 10 - Instructions
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CS-4401 (6-17)



                                                                                                                  Instructions
Status
Select the status of the curb ramp.
☐ Current. The curb ramp is an active curb ramp.
☐ Archive. The curb ramp has been removed/replaced and is no longer in use.

Level of Service
Once the curb ramp is inspected and reviewed, indicate the level of service:
☐ Meets RC-67M (compliant)
☐ Constructed per contract documents (compliant)
☐ Ex - Provides Maximum Access (compliant)
☐ Non-Compliant

TAB 2 - INSPECTION FORM CONTINUED
Indicate the type of ramp being investigated using the curb ramp diagrams. Depending on curb ramp type,
complete all of the required dimensions “A” through “CC”. Each cell is color-coded to indicate whether the
information entered meets RC-67M. Use “999” or -999” for measurements that are not applicable.

TAB 3 - PICTURES TAB
Click on the “Insert Picture #” button to insert the appropriate picture.

TAB 4 - TECH. INFEASIBLE FORM TAB (IF APPLICABLE)
If used, click on “Insert Tech Infeasible Form Sheet 1” button to insert the Technically Infeasible Form image.
Repeat this process for the second image of the Technically Infeasible Form. Contact the PennDOT project
manager to obtain image files of the Technically Infeasible Form.

TAB 5 - SCANNED FORMS TAB (IF APPLICABLE)
If the Inspection Form is printed and used to collect measurements, the form must be scanned as an image
and inserted into the appropriate location. Click on the “Insert Scanned Inspection Form” button to insert the
first page. Repeat this process for the second page. Scanning: It has been determined that a TIFF
file format at 200 DPI produces a clear image at a reasonable file size.




Sheet 11 - Instructions
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CS-4401 (6-17)



                                                                                Instructions
TAB 6 - INSTRUCTIONS
Use this tab as a quick reference to the instructions.

SUBMISSION
Perform the following for submission.

Reduce Image Size
To keep file size to a minimum, select a picture:
1. Go to the Format tab
2. Select Compress Pictures
3. Uncheck "Apply only to this picture"
4. Select Print (220 ppi)
5. Click OK




Save File
When saving, use Excel Macro-Enabled
Workbook format with a *.xlsm extension. Do not use a
different file format. If all the cells are not completed, a
warning message will appear. The work has been saved,
but the file is not complete. Fill in remaining cells and resave.

Send file to ADA Coordinator
Upon completion of the form, submit files in Excel Macro-Enabled
Workbook format to the ADA Coordinator. Incomplete forms
will be returned.




Sheet 12 - Instructions
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 EXHIBIT D
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    (03-20)
                                                                                 Forward Completed Forms to District ADA Coordinators



                                            ADA Technically Infeasible Form
                                    (Used to document design decisions and to be completed before construction)
    *Facility Type                                                   Complete Section Below to ADD Location to Transition Plan
          Curb Ramp                                                  *Add Location to Transition Plan        Yes         No
          Sidewalk                                                   Suggested Repair
          Ped. Push Button                                           Approx. Repair Costs
          Ped. Signal                                                Actual Repair Costs
          Other                                                      Actual Repair
                                                                     Date Repaired
    Justification for Technically Infeasible                         General Information
    (check all that apply)                                                            *District:
       Limited Right-of-Way                                                           *County:
       Existing Utilities                                                     *Township/Boro:
       Structures, Buildings, Vaults                                           Project ECMS #
       Historic Areas
       Environmental Areas                                           Submitter Information
       Grade Separations                                                         Submitted By:
       Other 1                                                           Submitter Company:
       Other 2                                                                  Street Address
       Other 3                                                                    City State Zip
       Other 4                                                                       Telephone
                                                                             *Date Submitted:
    Project Information                                              Location Identification
    Project Type                                                                                                                   Northbound
      Resurfacing Project
      Signal Project                                                 *SR North - Segment, Offset
      Widening Project
      Reconstruction
      New Construction (Tech Infeasible normally N/A)                *SR South - Segment, Offset
      Other
    Pedestrian Traffic                        Yes         No
    Pedestrian Trip Generators                Yes         No         *SR East - Segment, Offset
    Safety Concerns                           Yes         No
    R9-3A "No Peds" Signs                     Yes         No
    Existing Crosswalk                        Yes         No         *SR West - Segment,Offset
    Existing Sidewalk                         Yes         No
    Existing Push Buttons                     Yes         No
    ADT                                                                       Location #

             Investigated design alternatives          Why alternative was not selected
    1.)
    2.)
    3.)
                                        Alternative selected and description of what requirement is not met




    ADA Review Committee Recommendation                              ADE of Design Approval Status


          Approved                                                       Approved
          Denied            ADA Review Committee Chair - Date            Denied                    District ADE of Design - Date



    TIF #:
                                 (TIF Number automatically assigned. All fields marked with * provide data for TIF #)
    Sheet 1 - Technically Infeasible Form




                                                               (Print with a PCL Driver)
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 (03-20)




                     ADA Technically Infeasible Form
 (Additional Explanation Sheet)

 Investigated Design Alternative #1




 Investigated Design Alternative #2




 Investigated Design Alternative #3




 Summary




 TIF #:
            (TIF Number automatically assigned. All fields marked with * provide data for TIF #)
 Sheet 2 - Technically Infeasible Form
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(6-12)


                                                                                                                    TIF Instructions
ADA Technically Infeasible Form (TIF) Instructions

The Technically Infeasible Form will be used for existing sites where it is technically infeasible to construct pedestrian facilities
to fully meet current PennDOT standards, as determined by using sound engineering judgment. This must be submitted
and approved before construction to document that access has been designed to the maximum extent feasible.

Project scope, not cost, will determine when existing site constraints justify the use of the Technically Infeasible Form. In certain
situations, existing site constraints may justify the use of a design that provides access to the maximum extent feasible if removing
the existing site constraints would require additional work that is not included as part of the project scope. See DM-2 Chapter 6.

General Setup
Before you Begin: The electronic file is delivered in Excel Template *.xlt format. When saving the file, use Excel 2003 format with a
*.xls extension. Do not use a different file format.

Set the macro security to low or medium. (Tools – Options – Security Tab – Macro Security – Low or Medium)

Facility Type
Indicate which facility type is being investigated. If “Other” is selected, please provide a description of the facility.

Justification for Technically Infeasible
Indicate which justifications for technically infeasible apply for the investigated facility (there can be more than one option checked).
If “Other” is selected, please provide a description of the justification. Items checked must not be included in the scope of the
project. NOTE: If using the Technically Infeasible form to document a grievance use “Other 1” and put “Grievance”

Project Information
Indicate project type. If “Other” is selected, please provide a description of the project being performed. Also, be sure to complete
the remaining questions by answering “Yes” or “No” to the appropriate questions then provide the Average Daily Traffic(ADT) for the
roadway the pedestrian facility crosses on the line provided.
Pedestrian Traffic, Pedestrian Trip Generators, Safety Concerns, R9-3A Signs
Existing Crosswalk, Existing Sidewalk, Existing Push Buttons.
Average Daily Traffic(ADT)

Transition Plan Location
The Transition Plan is a list of pedestrian facilities to be repaired at a later date. Complete this section if the identified facility is
going to be placed on the Transition Plan. Marking “YES” in the “Add Location to Transition Plan will automatically assign a
Transition Plan number to the form.

General Information
Select the appropriate PennDOT Engineering District number, County, Township/Borough, and ECMS number.

Submitter Information
Complete the submitter information section by indicating who is submitting the TIF, the submitter’s company, their street address
and city, state, and zip of their location, the company’s telephone number and the date the TIF was submitted.

Location Identification
Using the intersection figure, click the appropriate button for the investigated facility (The location # will automatically be assigned
when the appropriate button is selected). Then, provide the State Route (SR) number, segment and offset for the appropriate
segment of roadway the facility crosses. NOTE: Segment and offsets shall identify the center of the intersection.

Investigated Design Alternatives/Why Alternative Was Not Selected
Provide a description for the investigated design alternatives and why each alternative was not selected to justify why Technically
Infeasible is being applied to the particular pedestrian facility.

Alternative Selected and Description of What Requirement is Not Met
Provide a description of the alternative that was selected and what requirement(s) per PennDOT standards that the project does not
meet.




Sheet 1 - Instructions
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(1-09)


                                                                                                               TIF Instructions
Example Pictures
Click on the first button labeled “Insert Ex Picture Left 3”x3” to navigate to the appropriate folder where example pictures for the
pedestrian facility being investigated are located. Select an appropriate, illustrative photograph to be included with the TIF. Once
selected, the picture will automatically be formatted to the appropriate size (3”x3”). Repeat the steps above by clicking on the button
labeled “Insert Ex Picture Right 3”x3” to insert the second example picture. Macros must be enabled to for these buttons to operate
properly.

TIF #
The TIF number will automatically be assigned as information is entered into the TIF form.

Submisson/ Approval Process
Submit a hard copy and electronic copy to the ADA Review Committee. The ADA Review Committee will review the form. The
committee will either deny the form, providing guidance and recommendations to the submitter, or recommend it to the District ADE
of Design for approval. The ADE of Design will approve or deny the TIF. Once approved, the hard copy with signatures shall be
included in the contract documents.

Upon approval, forward the electronic file and a copy of the signed form to the District ADA Coordinator.

Quarterly, Central Office will request all electronic TIFs be submitted for uploading into a database. Electronic files will not have
signatures. Each District will be responsible for providing signed hard copies upon request.




Sheet 2 - Instructions
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              EXHIBIT E
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        NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION LAWSUIT

 Liberty Resources, Inc. et al. v. City of Philadelphia, Civ. No. 2:19-cv-03846-HB (E.D. Pa.)

ATTENTION: If you meet the following description, then you may be a member of the
proposed settlement class affected by this lawsuit:

       1.     You have a disability or impairment that affects your mobility (including, for
example, people who use wheelchairs or other mobility devices, as well as those who are blind or
have low vision), and

       2.      You use or will use pedestrian rights of way, in the City of Philadelphia.

PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS MAY BE AFFECTED
BY LEGAL PROCEEDINGS IN THIS LAWSUIT.

                          WHY AM I RECEIVING THIS NOTICE?

The purpose of this notice is to inform you of the proposed settlement in a pending class action
lawsuit brought on behalf of persons with disabilities or impairments that affect their mobility
who use or will use pedestrian rights of way in the Philadelphia, PA. The lawsuit, Liberty
Resources, Inc., et al. v. City of Philadelphia, Case No. 2:19-cv-03846-HB, filed in the U.S.
District Court for the Eastern District of Pennsylvania in 2019, was brought by Named Plaintiffs
Liberty Resources, Inc.; Disabled in Action of Pennsylvania, Inc.; Philadelphia ADAPT; Tony
Brooks; Liam Dougherty; Fran Fulton; and Louis Olivo. The lawsuit alleges that the City of
Philadelphia (“the City”) has discriminated against individuals with disabilities that affect their
mobility in violation of federal anti-discrimination laws. The City expressly denies and disputes
Plaintiffs’ allegations that the City has failed to comply with federal anti-discrimination laws and
disputes that it has any liability or has committed any wrongdoing. The Named Plaintiffs and the
City have reached an agreement to settle the lawsuit. That settlement must be approved by the
Court before it can be finalized. The details of the settlement, summarized below, are contained
in the Settlement Agreement.

                       AM I PART OF THE SETTLEMENT CLASS?

If you (1) are a person with a disability or impairment that affects your mobility—including, for
example, people who use wheelchairs or other mobility devices, as well as those who are blind or
have low vision—and (2) use or will use pedestrian rights of way such as public sidewalks, curb
ramps, and crosswalks, in Philadelphia you may be a member of the proposed Settlement Class
affected by this lawsuit and the proposed Settlement Agreement. Please read this notice carefully
because your rights may be affected.

         WHAT WOULD THE PROPOSED SETTLEMENT AGREEMENT DO?

       A.      The City will install or remediate 10,000 curb ramps.

The City will install or remediate at least 10,000 curb ramps over the 15-year Settlement Period.
This is called the “Curb Ramp Obligation” and it includes installation and remediation of curb

                                          Exhibit E, p. 1
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ramps on any road controlled by the City, whether as part of street resurfacing, through the
Request System (described below) or as a result of any other third-party activity for which the
City requires a Compliant Curb Ramp, including, for example, work done by utility companies.

3-year Milestones. During the Settlement Period, the City will meet milestones every three
fiscal years:

       •    2,000 curb ramps by the end of Year three (3)

       •    4,000 curb ramps by the end of Year six (6)

       •    6,000 curb ramps by the end of Year nine (9)

       •    8,000 curb ramps by the end of Year twelve (12)

       •    10,000 curb ramps by the end of Year fifteen (15)

If the City exceeds any given milestone, the excess curb ramps will count towards the following
milestone. For example, if the City completes 2,500 ramps during the first three fiscal years, then
it will only need to complete another 1,500 ramps during the next three fiscal years in order to
meet the Year 6 milestone.

Installation. Whenever the City (or a third-party for the City) newly constructs a road or street
with a pedestrian walkway, it will install accessible curb ramps, as required by ADA regulation,
except where the City can demonstrate that such installation is technically infeasible (defined
below) or where pedestrian crossing is banned for all pedestrians due to safety concerns.

Remediation/Alteration. Whenever the City (or a third-party for the City) alters a road or street
with a pedestrian walkway under its control, it will remediate (fix) existing but non-compliant
curb ramps, and/or install new accessible curb camps, as required by ADA regulation, except
where the City can demonstrate that it is technically infeasible to have an accessible curb ramp at
the location or where pedestrian crossing is banned for all pedestrians due to safety concerns.

       B.      The City will maintain curb ramps

The City will also maintain curb ramps over which it has responsibility in operable working
condition as required by ADA regulation.

       C.      The City may not install curb ramps at all corners and some ramps may not
               meet all of the technical compliance standards.

Banned Pedestrian Crossings. When the City installs something to indicate it has banned
pedestrian crossing for all pedestrians at a particular location, it must be consistent with
standards issued by the Pennsylvania Department of Transportation (PennDOT). The City has
sole discretion to determine that pedestrian crossing is banned.

Technical Infeasibility. There will be instances when it will not be physically possible for a
curb ramp installed or remediated to be constructed in full and strict compliance with ADA

                                          Exhibit E, p. 2
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requirements because of physical or site constraints. This is called “technical infeasibility.” In
such circumstances, the City must provide accessibility to the maximum extent possible. In
doing so, the City will consider the extent to which physical or site constraints can be addressed
by alternative curb ramp designs. These situations will be documented on agreed upon forms.

       D.      The City will establish a Curb Ramp Request System

The Settlement establishes a “Curb Ramp Request System” for City residents to request
installation, remediation, or maintenance of ramps at any crossing on the Local Streets Network
or FAM streets network. The specific streets that make up these two networks are listed in
Exhibits A and B attached to the Settlement Agreement.

Initiation of the System. The request system will be in place by the end of the third fiscal year
that the Settlement is in effect.

Submission of Requests. Requests may be submitted using the City’s existing 311 service
request system, via website, dedicated mobile phone application, telephone, or in person. The
City will make best efforts to investigate requests within 30 days through a process and under
standards detailed in the Settlement.

Fulfillment of Requests. Following investigation and verification, requests for maintenance on
the Local Streets Network must be performed as soon as practicable but no later than within 9
months of the conclusion of the investigation. Requests for installation or remediation must be
completed within 12 months of the conclusion of the investigation. These time periods are
subject to certain exceptions specified in the Settlement Agreement.

Numbers of Ramps Covered. Each fiscal year, the City will only be required to install or
remediate fifty (50) requested curb ramps, and to maintain fifty (50) requested curb ramps. If the
City receives more than that many requests in a fiscal year, the remainder may be completed in a
subsequent fiscal year.

Priorities. Generally, the City will prioritize work performed in response to requests based on
the order in which the requests were received. Should the City receive requests that warrant
Installation, Remediation, or Maintenance in excess of the annual numerical limits, the work
shall be prioritized based on a publicly available Accessibility Score.

Requests on Federally Funded Streets. Where the City has identified installation, remediation,
or maintenance is required in response to a request regarding a curb ramp at any crossing on the
network receiving federal funding, the City will perform such work subject to funding and
contract requirements.

       E.      The City will publicly report information about curb ramp installation and
               remediation.

Public Notice Generally. The number and location of curb ramps for which the City has
finalized notice of work to proceed for installation or remediation will be publicly available for
the duration of the Settlement Period.


                                          Exhibit E, p. 3
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Annual Status Report. On an annual basis, the City will prepare a Status Report containing:

        •    the number and location of curb ramps the City installed or remediated over the prior
             year (including as part of street resurfacing, through the Request System, or as a
             result of any other third-party activity for which the City requires a Compliant Curb
             Ramp);

        •    the number and location of curb ramps for which the City has noticed work to
             proceed for Installation or Remediation within the prior year as part of street
             resurfacing on the Local or FAM Streets Networks or through the Request System;
             and

        •    the number, location, and basis of any banned pedestrian crossings.

Each Status Report will be made available to the public on the City’s website in a format that
complies with the Web Content Accessibility Guidelines (WCAG) published by the Web
Accessibility Initiative (WAI) of the World Wide Web Consortium.

  WHAT ELSE DO I NEED TO KNOW ABOUT THE SETTLEMENT AGREEMENT?

        A.      Resolution & Release of Claims

Except for claims to enforce the Settlement, the Named Plaintiffs release the City from all claims
(including any potential claims for monetary damages) related to the accessibility, installation,
remediation, or maintenance of the City’s pedestrian facilities through the end of the fifteen-year
Settlement Period.

The other members of the Settlement Class will release the City from all claims for injunctive or
declaratory relief arising under the ADA, Section 504, or similar statutes relating to the accessibility,
installation, remediation, or maintenance of the city’s pedestrian facilities, through the end of the
Settlement Period. Members of the Settlement Class who are not named plaintiffs will not release
any potential claims for monetary damages.

Additionally, the Settlement Agreement does not release any claims to enforce the terms of the
Settlement Agreement. Class members cannot bring a claim alleging violation of or non-
compliance with the Settlement unless the Parties have complied with all of the dispute
resolution procedures in the Settlement.

        B.      Monetary Relief

The Settlement Agreement does not provide for any monetary relief to be paid to members of the
Settlement Class or the Named Plaintiffs.

        C.      Attorneys’ Fees & Costs

The Settlement Class is represented by attorneys employed by Disability Rights Advocates and
the David Ferleger Law Office (“Class Counsel”). Class Counsel has not charged Plaintiffs for


                                             Exhibit E, p. 4
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representation in this matter. Instead, the City will pay Class Counsel’s fees and costs through
the Settlement’s effective date in the amount of $1,100,000.

In addition, the City will pay Class Counsel their fees and costs for all work reasonably
necessary to monitor, implement, and administer the Settlement Agreement subject to a tri-
annual cap of $60,000, including payment to a third party to provide technical expertise in
monitoring the Settlement to ensure compliance with the Settlement Agreement.

The parties did not negotiate fees or costs until after all other terms of the Settlement were
finalized.

       D.      Fairness of Agreement

The class representatives and Class Counsel have concluded that the terms and conditions of the
proposed Settlement Agreement are fair, reasonable, and in the best interests of the Settlement
Class. In reaching this conclusion, the class representatives and Class Counsel have considered
the benefits of the settlement, the possible outcomes if they were to continue the lawsuit, and the
expense and length of time associated with bringing the lawsuit to trial and any possible appeals.

       WHAT IF I WANT TO OBJECT TO THE SETTLEMENT AGREEMENT?

The Court has preliminarily approved the Settlement Agreement, and has scheduled a hearing for
[insert DATE/TIME ordered by the Court] to determine whether the proposed Settlement
Agreement is fair and reasonable and should be approved on a final basis. The hearing will be
held in the Courtroom of the Honorable Judge Harvey Bartle III located at:

               James A. Byrne U.S. Courthouse
               Courtroom 16-A
               601 Market Street
               Philadelphia, PA 19106

If you are a member of the Settlement Class, you can ask the Court to deny approval by filing an
objection. You cannot ask the Court to modify the terms of the Settlement Agreement; the Court
can only approve or deny the Settlement Agreement. If the Court denies approval, the actions
outlined in this notice will not occur and the lawsuit will continue. If that is what you want to
happen, you must file an objection.

Although you are not required to attend the final approval hearing, as a Class Member, you may
participate in, and be heard at, the hearing if you have filed a timely written objection. You may
appear on your own or through an attorney. If you appear through an attorney, you are
responsible for paying that attorney. The hearing date may be changed by the Court without
further notice to the entire class. If you wish to receive electronic notice of any changes to the
schedule, please file a notice of appearance with the Court and include a valid e-mail address at
which you can receive notice.

To file an objection, you must send the Court a written statement that you object to the
Settlement in Liberty Resources, Inc., et al. v. City of Philadelphia, Case No. 2:19-cv-03846-HB
(E.D. Pa.). Be sure to include your name, address, telephone number, signature, and a full

                                           Exhibit E, p. 5
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explanation of why you object to the Settlement. Your written objection must be received by the
Court no later than [insert date that is 30 days before Fairness Hearing]. The Court’s address is
Clerk of the Court, United States District Court for the Eastern District of Pennsylvania, James
A. Byrne U.S. Courthouse, 601 Market Street, Philadelphia, PA 19106. Your written objection
also must be mailed to all of the following lawyers, postmarked no later than [insert date that is
33 days before Fairness Hearing]:

Class Counsel:                                 Counsel for the City:

Disability Rights Advocates                    Sean McGrath, Deputy City Solicitor
Attn: Erin Gallagher                           City of Philadelphia Law Department
655 Third Avenue, 14th Floor                   1515 Arch Street, 15th Floor
New York, NY 10017                             Philadelphia, PA 19102

David Ferleger Law Office                      Kymberly K. Evanson
Attn: David Ferleger                           Pacifica Law Group LLP
620 W. Mt. Airy Ave.                           1191 Second Avenue, Suite 2000
Philadelphia, PA 19119                         Seattle, WA 98101

IF YOU DO NOT TIMELY SUBMIT AN OBJECTION AS DESCRIBED HEREIN, YOU
WILL BE DEEMED TO HAVE WAIVED YOUR OBJECTION AND SHALL BE
FORECLOSED FROM MAKING ANY OBJECTION TO THE SETTLEMENT
AGREEMENT.

              WILL I BE BOUND BY THE SETTLEMENT AGREEMENT?

The proposed Settlement Agreement, if given final approval by the Court, will bind all members
of the Settlement Class. This will bar any person who is a member of the Settlement Class from
seeking different or additional relief regarding all issues resolved in the Settlement Agreement
for the term of the Settlement Agreement.

                           HOW DO I GET MORE INFORMATION?

This notice summarizes the proposed Settlement Agreement. You can review the actual
Settlement Agreement and its precise terms and conditions by:

       1.        Visiting [DRA url] or www.ferleger.com/CASEPAGE

       2.        Contacting class counsel at either of the following:

                   Disability Rights Advocates                David Ferleger Law Office
                   Attn: Erin Gallagher                       Attn: David Ferleger
                   655 Third Avenue, 14th Floor               info@phillycurbcutsettlement.com
                   New York, NY 10017
                   PhillySettlement@dralegal.org
                   Telephone: (332) 217-2298



                                            Exhibit E, p. 6
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       3.     Accessing the Court docket in this case through the Court’s Public Access to
Court Electronic Records (PACER) system at https://ecf.paed.uscourts.gov (Civil Action No.
2:19-cv-03846-HB).

PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE
TO INQUIRE ABOUT THE SETTLEMENT AGREEMENT.

To obtain copies of this Notice in alternative accessible formats, please contact Class
Counsel listed above.

This Notice is also available in Spanish. To obtain copies of this Notice or the Settlement
Agreement in Spanish, please see the information provided about the settlement on the
City’s website: www.phila.gov.

Este Aviso también está disponible en español. Para obtener copias de este Aviso o el
Acuerdo resolutorio en español, consulte el sitio web de la Ciudad: www.phila.gov.




                                        Exhibit E, p. 7
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              EXHIBIT F
         Case 2:19-cv-03846-HB Document 142-4 Filed 10/14/22 Page 679 of 690




                            UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF PENNSYLVANIA




    LIBERTY RESOURCES, INC.; DISABLED                          Case No. 2:19-cv-03846-HB
    IN ACTION OF PENNSYLVANIA, INC.;
    PHILADELPHIA ADAPT; TONY BROOKS;
    LIAM DOUGHERTY; FRAN FULTON; and
    LOUIS OLIVO;                                               [PROPOSED] ORDER GRANTING
                                                               MOTION FOR PRELIMINARY
                              Plaintiffs,                      APPROVAL OF CLASS
    -against-                                                  SETTLEMENT; CERTIFYING
                                                               SETTLEMENT CLASS; DIRECTING
    THE CITY OF PHILADELPHIA,                                  ISSUANCE OF SETTLEMENT
                                                               NOTICE; AND SCHEDULING
                              Defendant.                       HEARING ON FINAL APPROVAL

                                                               Judge: Honorable Harvey Bartle III



           Liberty Resources, Inc.; Disabled In Action of Pennsylvania, Inc.; Philadelphia ADAPT;

Tony Brooks; Liam Dougherty; Fran Fulton; and Louis Olivo (collectively “Named Plaintiffs”)

and Defendant the City of Philadelphia have jointly applied to the Court for an order

preliminarily approving the settlement of this action in accord with the settlement agreement (the

“Agreement”), which sets forth the terms and conditions of a proposed settlement and dismissal

of the action with prejudice, with the Court retaining jurisdiction to enforce the Agreement

throughout its term (the “Settlement Period”).

           The Parties request that the Court (a) certify the Settlement Class and appoint Named

Plaintiffs and Class Counsel 1 as representatives; (b) grant preliminary approval of the

Agreement; (c) approve the proposed Notice of Settlement; (d) approve the plan for providing


1
    The certified class is represented by Disability Rights Advocates and David Ferleger Law Office.


                                                   Exhibit F, p. 1
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notice to the Settlement Class; and (e) schedule a Fairness Hearing no earlier than 110 days after

the date that preliminary approval is granted.

       Having read the papers submitted and carefully considered the arguments and relevant

legal authority, and good cause appearing, the Court GRANTS the Parties’ Joint Motion.

I.     FINDINGS

       A.      The Settlement Class meets the requirements of Rule 23(a) and (b)(2) of the
               Federal Rules of Civil Procedure

       On July 7, 2020, this Court granted Plaintiffs’ unopposed Motion for Class Certification,

certifying a class for declaratory and injunctive relief. The “Settlement Class” definition set forth

in the Agreement is identical to the definition of the certified class, and therefore the Court’s

analysis set forth in its Memorandum (ECF No. 51) concluding that the requirements of Federal

Rules of Civil Procedure 23(a) and 23(b)(2) are satisfied remains unchanged.

       The Court finds that the requirements of Rule 23 of the Federal Rules of Civil Procedure

are met by the Settlement Class: (a) joinder of all Settlement Class members in a single

proceeding would be impracticable, if not impossible, because of their numbers; (b) there are

questions of law and fact common to the Settlement Class; (c) Named Plaintiffs’ claims are

typical of the claims of the Settlement Class that they seek to represent for purposes of

settlement; (d) Named Plaintiffs have fairly and adequately represented the interests of the

Settlement Class and will continue to do so; (e) Named Plaintiffs and the Settlement Class are

represented by qualified, reputable counsel who are experienced in preparing and prosecuting

class actions, including those involving the sort of practices alleged in the Complaint; and (f) the

City is alleged to have acted or refused to act on grounds that apply to the Settlement Class, so

that final declaratory and injunctive relief is appropriate to the Settlement Class.




                                           Exhibit F, p. 2
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         B.       The proposed settlement agreement is fair, reasonable, and adequate

         The proposed settlement agreement satisfies the relevant factors outlined in Federal Rule

of Civil Procedure 23(e)(2) 2 and this Circuit’s traditional Girsh factors 3 for approval of a class

settlement. See Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975). For the reasons outlined

below, because it is likely the Court will approve the Agreement under Rule 23(e)(2),

preliminary approval is warranted. Fed. R. Civ. P. 23(e)(1)(B).

         Named Plaintiffs and Class Counsel Disability Rights Advocates and David Ferleger Law

Office have adequately represented the Settlement Class. The Named Plaintiffs are longtime

residents of Philadelphia who are deeply committed to improving access for themselves and

others with disabilities in the City, and Class Counsel have significant experience in class action

and disability-rights litigation and knowledge of those areas of law.

         Class Counsel performed extensive work investigating the claims in this action; and,

together with the Named Plaintiffs, have continued to work diligently to litigate the case,

including through extensive discovery, dispositive motion practice, and trial preparation.




2
  Federal Rule of Civil Procedure 23(e)(2) requires the Court to consider the following factors to determine whether
a proposed class settlement is fair, reasonable, and adequate:
      (A) the class representatives and class counsel have adequately represented the class;
      (B) the proposal was negotiated at arm’s length;
      (C) the relief provided for the class is adequate, taking into account:
           (i) the costs, risks, and delay of trial and appeal;
           (ii) the effectiveness of any proposed method of distributing relief to the class, including the method of
                 processing class-member claims;
           (iii) the terms of any proposed award of attorney’s fees, including timing of payment; and
           (iv) any agreement required to be identified under Rule 23(e)(3); and
      (D) the proposal treats class members equitably relative to each other.
3
  The non-exhaustive Girsh factors traditionally used by courts in the Third Circuit to assess whether to approve a
class action settlement include: (1) the complexity, expense, and likely duration of the litigation; (2) the reaction of
the class to the settlement; (3) the stage of the proceedings and the amount of discovery completed; (4) the risks of
establishing liability; (5) the risks of establishing damages; (6) the risks of maintaining the class action through the
trial; (7) the ability of the defendants to withstand a greater judgment; (8) the range of reasonableness of the
settlement fund in light of the best possible recovery; and (9) the range of reasonableness of the settlement fund to a
possible recovery in light of all the attendant risks of litigation. Halley v. Honeywell Int’l, Inc., 861 F.3d 481, 488
(3d Cir. 2017) (citing Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975)).


                                                   Exhibit F, p. 3
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        The Named Plaintiffs and Class Counsel were able to fully evaluate the strengths and

weaknesses of the claims and defenses before reaching the proposed settlement, and they intend

to monitor the Agreement over the fifteen-year Settlement Period. The Rule 23(e)(2)(A) analysis

thus supports preliminary approval.

        The Agreement was negotiated at arm’s length over the course of more than three years.

The Parties engaged in multiple rounds of settlement negotiations with the assistance of

Magistrate Judge Hey and negotiated this resolution while simultaneously conducting discovery

and preparing for trial. The final round of negotiations occurred after proceedings were stayed

two weeks prior to trial, meaning the Parties were able to negotiate the Agreement with the

benefit of a fully developed record. The City strongly contested any wrongdoing or liability, and

the resulting compromises on heavily contested issues were based on careful deliberation by the

Parties. The arm’s length nature of the negotiations is further evidenced by the fact that the

Parties did not negotiate attorneys’ fees and costs until after reaching an agreement on injunctive

relief. Accordingly, the Rule 23(e)(2)(B) analysis supports preliminary approval and the third

Girsh factor is satisfied.

        The relief provided for the Settlement Class is robust, taking into account the costs, risks,

and delay of trial and appeal and the terms of the proposed award of attorneys’ fees. The relief in

the Agreement is substantial and will be quickly implemented. Principally, the City has agreed to

remediate or install 10,000 curb ramps over the course of the fifteen-year Settlement Period, with

tri-annual 2,000-ramp milestones. This will ensure that Settlement Class members begin

experiencing the benefits of this commitment very soon.

        The Agreement also includes commitments by the City to install accessible curb ramps,

to remediate existing but non-compliant curb ramps, and to maintain curb ramps as required




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under the ADA, which will ensure that curb ramp improvements continue to provide access to

the pedestrian rights of way for years to come. The City will also implement a new request

system to allow Philadelphia residents to submit requests for installation, remediation, or

maintenance of specific curb ramps each year. Further, the City will publicly report information

regarding the location, initiation, and completion of curb ramp work undertaken each year,

making settlement implementation transparent and available for public oversight. These aspects

of the Agreement increase Settlement Class Member involvement and provide an avenue for

case-specific relief. The relief obtained in the Agreement is wide-ranging and substantial.

Furthermore, this Agreement was achieved with the benefit of a fully developed record, with trial

only weeks away.

        The Parties acknowledge the time and risks associated with and inherent in any litigation

and contend that the Agreement will provide substantial benefits to the Settlement Class while

providing finality and avoiding those delays and risks; the Court agrees. The Court also agrees

that the negotiated amount of $1,100,000 for Class Counsel’s attorneys’ fees and costs in this

case, which has entailed more than three years of active litigation and negotiations, is likely to be

reasonable: it was negotiated at arms-length after injunctive relief was agreed-upon, the

negotiated amount was reached with the assistance of Judge Hey, it represents a significant

reduction from Class Counsel’s lodestar, and there is no settlement fund from which it detracts.

Accordingly, the Rule 23(e)(2)(C) analysis supports preliminary approval and the first, fourth,

and fifth Girsh factors are also satisfied.

        The Agreement treats class members equitably relative to each other. The Agreement

provides only for injunctive relief, attorneys’ fees and costs, and future monitoring fees and

costs. It treats Named Plaintiffs and unnamed Settlement Class Members differently only with




                                              Exhibit F, p. 5
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respect to the Settlement Class’s more limited release of claims. The Rule 23(e)(2)(D) analysis

thus also supports preliminary approval.

                1.      The Agreement also meets the majority of the Third Circuit’s Girsh
                        factors

        The Agreement also meets the majority of the Third Circuit’s traditional Girsh factors to

the extent that those factors are relevant. The first, third, fourth, and fifth factors are satisfied

based on the Court’s findings above. The second factor is also likely to be satisfied based on the

declarations submitted by Named Plaintiffs in support of the Parties’ Motion for Preliminary

Approval. The sixth Girsh factor, which takes into account the risk of maintaining a class

through trial, is neutral and the remaining factors are not applicable to this case. Thus, when

considered together, the Court finds that the relevant Girsh and Rule 23(e)(2) factors support

preliminary approval of the Agreement.

II.     ORDER

        NOW THEREFORE, IT IS HEREBY ORDERED:

        1.      Unless otherwise stated, the terms in this Order have the meaning set forth in the

Agreement.

        2.      The Court hereby certifies the proposed Settlement Class pursuant to Federal

Rules of Civil Procedure 23(a) and 23(b)(2) as follows:

                All persons with disabilities or impairments that affect their
                mobility—including, for example, people who use wheelchairs or
                other mobility devices, as well as those who are blind or have low
                vision— and who use or will use pedestrian rights of way in the City
                of Philadelphia

        3.      The Court hereby appoints Named Plaintiffs Liberty Resources, Inc., Disabled in

Action of Pennsylvania, Inc., Philadelphia ADAPT, Tony Brooks, Liam Dougherty, Fran Fulton,

and Louis Olivo as Settlement Class representatives.



                                             Exhibit F, p. 6
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       4.      The Court hereby appoints Disability Rights Advocates and David Ferleger Law

Office, Plaintiffs’ attorneys of record, as Class Counsel.

       5.      The Court hereby grants preliminary approval of the terms and conditions

contained in the Agreement.

       6.      The Agreement is fair and warrants the dissemination of notice to the Settlement

Class members apprising them of the settlement.

       7.      The Court hereby approves, as to form and content, the proposed Notice of

Settlement, attached as Exhibit E to the Agreement. The Court finds that the distribution of the

Notice of Settlement in the manner and form set forth in the Agreement meets the requirements

of due process and Federal Rules of Civil Procedure 23(c)(2) and 23(e) and is the best notice

practicable under the circumstances. The Notice of Settlement apprises Settlement Class

members in a fair and neutral way of the existence of the Agreement and their rights with respect

to the Agreement.

       8.      The Notice of Settlement shall be disseminated to the Settlement Class,

substantially in the form attached as Exhibit E to the Agreement by the following means:

            a. Within twenty (20) days of this Order, the City will cause a copy of the Notice of

               Settlement in English and Spanish and a copy of the Agreement to be posted and

               remain posted on the City’s official website (www.phila.gov) through the

               deadline for any member of the Settlement Class to submit an objection.

            b. Within twenty (20) days of this Order, Class Counsel will post on their websites a

               copy of the Notice of Settlement in English and Spanish (as provided by the City)

               and a copy of the Agreement. Additionally, Class Counsel will distribute the

               Notice of Settlement to local disability rights organizations.




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             c. Within thirty (30) days after the District Court has issued the Preliminary

                Approval Order, the City will cause the Notice of the Settlement to be published

                in a main local media outlet in English and Spanish.

       9.       Counsel for both parties shall submit declarations to the Court as part of the

Parties’ Joint Motion for Final Approval of the Class Action Settlement confirming compliance

with these notice provisions of the Agreement.

       10.      Any Settlement Class member may object to any aspect of the proposed

settlement agreement either on their own or through an attorney hired at their expense.

Objections by Settlement Class members must be mailed to the Court in writing no later than

______________ (thirty (30) calendar days before the hearing on final approval (the “Fairness

Hearing”)) with copies mailed on the same date to Class Counsel and Counsel for the City at the

addresses listed in the Notice of Settlement. Such objections should include:

   a) the name, address, and, if available, telephone number and e-mail address of the

       Settlement Class member objecting and, if represented by counsel, of their counsel;

   b) a statement of the Settlement Class member’s objection(s); and

   c) a statement of their membership in the Settlement Class.

       11.      Settlement Class members who have submitted a timely objection may also

appear to present their objections at the Fairness Hearing. Any Settlement Class member who

fails to properly and timely submit objections shall be foreclosed from objecting to the proposed

Settlement Agreement, unless otherwise ordered by the Court.

       12.      Class Counsel and counsel for Defendant will respond to any timely filed

objections and file them with the Court in conjunction with their Joint Motion for Final Approval

of the Class Action Settlement.




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       13.     A hearing is appropriate to consider whether this Court should grant final

approval to the Settlement Agreement, and to allow adequate time for members of the Settlement

Class, or their counsel, to support or oppose this settlement. The Court will schedule a fairness

hearing not sooner than 110 days after this Order to permit notification of the proposed

settlement to relevant authorities pursuant to 28 U.S.C. § 1715 of the Class Action Fairness Act.

       14.     A Fairness Hearing pursuant to Rule 23(e) of the Federal Rules of Civil Procedure

shall be held before the undersigned on __________________ at __________ in the United

States District Court for the Eastern District of Pennsylvania, Clarkson S. Fisher Building &

United States Courthouse, 402 East State Street, Trenton, NJ 08608, Courtroom 5E, to determine

whether the Agreement is fair, reasonable, and adequate, and whether it should be finally

approved by the Court. The hearing may be continued from time to time without further notice.

The Fairness Hearing may be held remotely.

       15.     The Parties will file their Joint Motion for Final Approval of Settlement no later

than __________ (two (2) weeks before the Fairness Hearing).

       16.     If for any reason the Court does not grant the Motion for Final Approval of

Settlement, the proposed Settlement Agreement and all evidence and proceedings in connection

therewith shall be null and void nunc pro tunc.

       17.     The Court further orders that pending further order from the Court, all

proceedings in this Action, except those contemplated herein and in the Settlement Agreement,

shall be stayed. Additionally, the Court enjoins all Settlement Class members from asserting or

maintaining any claims to be released by the Agreement until the date of the Fairness Hearing.

IT IS SO ORDERED.

DATED: ________________________                      ___________________________________
                                                     Honorable Harvey Bartle III
                                                     Senior United States District Judge


                                          Exhibit F, p. 9
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                     UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA




 LIBERTY RESOURCES, INC.; DISABLED                  Case No. 2:19-cv-03846-HB
 IN ACTION OF PENNSYLVANIA, INC.;
 PHILADELPHIA ADAPT; TONY BROOKS;
 LIAM DOUGHERTY; FRAN FULTON; and
 LOUIS OLIVO;                                       [PROPOSED] JUDGMENT

                       Plaintiffs,                  Judge: Honorable Harvey Bartle III
 -against-

 THE CITY OF PHILADELPHIA,

                       Defendant.



        Pursuant to Rules 54 and 58 of the Federal Rules of Civil Procedure, and in accordance

with the Court’s order granting final approval of the class action settlement (“Agreement”),

judgment is entered in this case with respect to all claims asserted in the complaint by Named

Plaintiffs Liberty Resources, Inc.; Disabled In Action of Pennsylvania, Inc.; Philadelphia

ADAPT; Tony Brooks; Liam Dougherty; Fran Fulton; and Louis Olivo and the certified class.

       The Court adopts the Agreement (ECF No. __) as an order of the court, and the Parties

shall timely implement its terms.

       The United States District Court for the Eastern District of Pennsylvania retains

jurisdiction during the Settlement Period (and any extension thereof) over the Agreement for the

purposes of enforcement of its terms and conditions and over any disputes that may arise

thereunder.




                                         Exhibit G, p. 1
     Case 2:19-cv-03846-HB Document 142-4 Filed 10/14/22 Page 690 of 690




      This action is dismissed with prejudice, and the clerk is ordered to terminate case No.

2:19-cv-03846-HB.

IT IS SO ORDERED.

DATED: ________________________                    ___________________________________
                                                   Honorable Harvey Bartle III
                                                   Senior United States District Judge




                                        Exhibit G, p. 2
